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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  BRANDON LEIDEL, individually,                                CASE NO. 9:16-cv-80060-KAM
  And on behalf of All others Similarly Situated,

                 Plaintiffs,
  v.

  PROJECT INVESTORS, INC. d/b/a
  CRYPTSY, a Florida corporation,
  PAUL VERNON, an individual,
  LORIE ANN NETTLES, an individual,
  RIDGEWOOD INVESTMENTS, INC,
  a New Jersey corporation, and
  KAUSHAL MAJMUDAR, individually,

              Defendants.
  ________________________________________/

                                DECLARATION OF Kara Kapp
                        Pursuant to 28 U.S.C. § 1746 and Fla. Stat. § 95.525

         Pursuant to 28 U.S.C. § 1746 and Fla. Stat. § 95.525, I, Kara L. Kapp, declare as follows:

         1.      My name is Kara Kapp. I am over 18 years old. I have personal knowledge of the

  facts herein, and if called and sworn as a witness, I could and would competently testify thereto.

         2.      I am a partner at Cozen O’Connor and one of the attorneys representing North Field.

  Cozen has partnered with CoinFirm to provide North Field with blockchain tracing for the

  11,825.0961 Stolen Bitcoin encompassed by this Court’s Final Default Amended Judgment (the

  “Amended Judgment”) and Permanent Injunction. I regularly monitor this tracing data in my

  representation of North Field.

         3.      The tracing data from March 29, 2022 revealed that Defendant Paul Vernon and/or

  his associates had transferred all 11,325.0961 bitcoin originally identified in Table 1 of the

  Amended Judgment and Permanent Injunction to private secondary wallet addresses. Since then,

  Vernon has engaged in a continuous effort to obfuscate and hide the Stolen Bitcoin by engaging
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  in successive transfers to additional secondary wallet addresses. In reviewing the March 29, 2022

  tracing data, it revealed that North Field had deposited some of the Stolen Bitcoin encompassed

  by the Amended Judgment on the Ren Project’s platform.

          4.      On March 30, 2022, Cozen prepared and sent to the Ren Project (“Ren”) via email,

  at its customer support email address, support@renproject.io, notice of the Permanent Injunction

  and amended Final Default Judgment and requested that Ren freeze the assets that had been

  deposited with Ren and freeze the associated accounts. I located the email address on the Ren

  Project’s Terms of Service page on the company website: https://forum.renproject.io/tos. Attached

  hereto as Exhibit 1 is a true and correct copy of the Ren Project Terms of Service listing the email

  address support@renproject.io under the “Contact” section of the Terms of Service, and stating

  “You may notify the company under these terms, and send questions to the company, at

  support@renproject.io.” Ex. 1, at 6. Attached hereto as Exhibit 2 is a true and correct copy of the

  cover email, attached notice letter, and attached exhibits sent to Ren on March 30, 2022.

          5.      The notice letter attached to the cover email informed Ren of Vernon’s active

  movement of the Stolen Bitcoin onto the Ren Protocol platform and requested that Ren

  “immediately freeze certain assets subject to the Amended Final Default Judgment that have been

  recently transferred to [its] exchange, and to freeze any and all assets originating from the wallet

  addresses listed in the Amended Final Default Judgment and Permanent Injunction should they

  hereafter make their way to [its] exchange.” The letter also highlighted Ren’s obligations under

  Paragraphs 2 and 4 of the Permanent Injunction to (i) refrain “from directly or indirectly

  transferring the Stolen Bitcoin . . . that were originally held in the wallet addresses identified in

  Tables 1 and 2 other than to a digital wallet or account held by North Field” (ii) to “freeze, or assist

  in or facilitate the freezing of, the Stolen Bitcoin . . . held in or transferred from any wallet address



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  listed in Tables 1 and 2 of this Order” (iii) to “freeze all customer accounts related to the Stolen

  Bitcoin . . . held in or transferred from any wallet addresses listed in Tables 1 or 2 of this Order”

  and (iv) to “take all steps necessary to transfer, assist in the transfer of, facilitate the transfer of,

  validate or assist in the validation of the transfer of the Stolen Bitcoin . . . to a digital wallet or

  account held by North Field.”

          6.      Two days after the Court issued its April 14, 2022 Clarification Order clarifying

  the scope of the Amended Judgment and Permanent Injunction, on April 16, 2022, notice was

  provided to Ren of this clarification order. Attached hereto as Exhibit 3 is a true and correct copy

  of the cover emails and attached exhibit (the Clarification Order) sent to Ren on April 16, 2022.

  The first cover email, sent at 9:38 am, informed Ren of the Court’s April 14, 2022 clarification

  order and described its holdings as follows: “2. The Court hereby clarifies that the Amended

  Judgment by its terms awards the 11,825.1484 Stolen Bitcoin and Forked Digital Assets to the

  Plaintiff Class as its property, regardless of which digital wallet addresses presently holds those

  assets, and in particular, regardless of whether those assets are presently held in the original wallet

  addresses listed in Tables 1 and 2 or new wallet addresses to which they were subsequently

  transferred. ” The cover letter continued: “3. The Court further clarifies that all subparts of

  Paragraph 4 of the Permanent Injunction apply not only to the original wallet addresses listed in

  Tables 1 and 2 but also to any and all subsequent wallet addresses into which the Stolen Bitcoin

  and Forked Digital Assets have been or are in the future transferred. The Permanent Injunction

  recognizes that the Stolen Bitcoin and Forked Digital Assets are the property of the Plaintiff Class.

  Therefore, by its terms, the order applies to those stolen digital assets whether they are held in the

  original “wallet addresses listed in Tables 1 and 2” of the Permanent Injunction or held in any

  subsequent wallet address into which they were directly or indirectly transferred after being



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  “transferred from” the original wallet addresses.” The second email, sent at 9:43 am, sent the

  tracing data provided notice of how many BTC from the Stolen Bitcoin had been deposited with

  Ren as of April 16, 2022.

         7.      After Ren failed to respond to North Field’s original March 30, 2022 notice and the

  follow-up notice sent on April 16, on May 2, 2022, North Field sent a follow-up notice directly to

  the CEO of Ren, Taiyang Zhang, and the Chief Technology Officer of Ren, Loong Wang, at their

  work email addresses, taiyang@renproject.io and loong@renproject.io. I received these email

  addresses through business contacts who engaged in regular direct email correspondence with both

  parties at these email addresses. In the email I also cced Ren’s customer support email address,

  support@renproject.io. In the cover email, I emphasized that the matter was “extremely time

  sensitive and of the highest importance” and requested “a prompt response.” The cover email

  informed Messrs. Zhang and Wang of the Court’s Amended Judgment and Permanent Injunction

  and the need to freeze the Class’s Stolen Bitcoin that had made it ways onto Ren’s platform. The

  cover email quoted from the Clarification Order and requested that “all of the Stolen Bitcoin that

  has made its way to the Ren Project, and the accounts sending these illicit assets to the Ren Project,

  be immediately frozen.” I attached to this May 2, 2022 notice (i) the March 30, 2022 notice letter

  sent to Ren; (ii) the Amended Judgment (Exhibit A); (iii) the Permanent Injunction (Exhibit B);

  (iii) the initial Coinfirm tracing showing Vernon’s movements of the 11,325 BTC into secondary

  wallet addresses on March 29, 2022 (Exhibit C); (iv) a Coinfirm tracing report showing that as of

  May 1, 2022, 184 BTC of the Stolen Bitcoin had been deposited on Ren’s platform (Exhibit D);

  (v) the Court’s Clarification Order (Exhibit E); and (vi) the indictment against Vernon in federal

  court. Attached hereto as Exhibit 4 is a true and correct copy of the cover email and attached

  exhibits sent to Ren on May 2, 2022.



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         8.      In response to these three notice letters, Ren failed to respond and confirm that the

  Stolen Bitcoin deposited with their platform had been frozen. However, through North Field’s

  dogged efforts to find a contact at Ren with whom counsel could speak to directly, counsel for

  North Field eventually made contact with counsel for Ren, Clarence Guo at Jacque Law, on August

  30, 2022. Attached hereto as Exhibit 5 is a true and correct copy of the email received from Mr.

  Guo on behalf of Ren acknowledging Ren’s knowledge of this litigation and the Class’s rights to

  the Stolen Bitcoin. Upon making contact with Mr. Guo via email on August 30, 2022, North Field

  immediately provided counsel for Ren updated notice, informing Ren that as of August 30, 2022,

  a total of 524 BTC of the Stolen Bitcoin had been deposited on Ren’s platform and reiterating the

  requests to immediately freeze these assets. Attached hereto as Exhibit 6 is a true and correct copy

  of the exhibit containing the Coinfirm tracing as of August 30, 2022 showing 524 BTC from the

  Stolen Bitcoin deposited with Ren. This exhibit was sent to Ren’s counsel on August 30, 2022. On

  September 5, 2022, we sent a follow-up email to Mr. Guo to confirm his receipt of our August 30,

  2022 notice. The same day, on September 5, 2022, counsel for Ren replied and confirmed receipt

  of North Field’s August 30, 2022 notice email.

         9.      Counsel for North Field then engaged with counsel for Ren from September

  through November 2022 in an effort to obtain Ren’s compliance with the Permanent Injunction.

  By November 10, 2022, North Field had notified Ren that as of November 10, 2022, at least 685

  BTC from the Stolen Bitcoin had been deposited on Ren’s platform.

         10.     The parties ultimately entered into an oral settlement agreement in November 2022,

  but shortly after the agreement was reduced to writing and sent to Ren for signature, Ren stopped

  responding to North Field’s communications. On November 28, 2022, counsel for North Field sent

  an email to counsel for Ren again notifying Ren of the 685 BTC deposited with the platform, and



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  informing Ren of North Field’s intention to file a contempt motion to recover these assets.

  Attached hereto as Exhibit 7 is a true and correct copy of the November 28, 2022 email.

         11.     Thereafter, on November 30, 2022, counsel for North Field attended a meet and

  confer with counsel for Ren to discuss whether a settlement remained possible. Counsel for Ren

  explained that his client had refused to engage in further discussions about the proposed settlement

  and had cut off communication. Id. On the call, it was agreed that counsel for Ren would follow

  up with the platform one final time in an effort to get clearance to settle, and that if Ren did not

  follow up and confirm its desire to resolve the matter privately, North Field would be filing a

  motion for contempt against Ren. Id. On December 3, 2022, counsel for North Field followed up

  with Ren to confirm that since Ren had not engaged since November 30, 2022 in any further effort

  to resolve the matter privately, North Field would be filing its contempt motion against Ren. As

  counsel for North Field has not heard back from Ren since that time, North Field is now filing its

  motion for contempt.

         I declare under penalty of perjury under the laws of the United States of America that the

  foregoing is true and correct.

  Executed on this 23rd day of December 2022.



  Kara Kapp




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    Ren Forum

   About
   FAQ
   Terms of Service
   Privacy

    These terms govern use of the Internet forum at http://forum.renproject.io. To use the forum, you
    must agree to these terms with Ren, the company that runs the forum.

    The company may offer other products and services, under different terms. These terms apply
    only to use of the forum.

    Skip to:

       Important Terms
       Your Permission to Use the Forum
       Conditions for Use of the Forum
       Acceptable Use
       Content Standards
       Enforcement
       Your Account
       Your Content
       Your Responsibility
       Disclaimers
       Limits on Liability
       Feedback
       Termination
       Disputes
       General Terms
       Contact
       Changes

    Important Terms
    These terms include a number of important provisions that affect your rights and responsibilities, such as the
    disclaimers in Disclaimers, limits on the company’s liability to you in Limits on Liability, your agreement to cover
    the company for damages caused by your misuse of the forum in Responsibility for Your Use, and an agreement to
    arbitrate disputes in Disputes.


    Your Permission to Use the Forum
    Subject to these terms, the company gives you permission to use the forum. Everyone needs to
    agree to these terms to use the forum.

    Conditions for Use of the Forum
    Your permission to use the forum is subject to the following conditions:
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  1. You must be at least thirteen years old.
  2. You may no longer use the forum if the company contacts you directly to say that you may
     not.
  3. You must use the forum in accordance with Acceptable Use and Content Standards.

  Acceptable Use
  1. You may not break the law using the forum.
  2. You may not use or try to use another’s account on the forum without their specific
      permission.
  3. You may not buy, sell, or otherwise trade in user names or other unique identifiers on the
      forum.
  4. You may not send advertisements, chain letters, or other solicitations through the forum, or
      use the forum to gather addresses or other personal data for commercial mailing lists or
      databases.
  5. You may not automate access to the forum, or monitor the forum, such as with a web crawler,
      browser plug-in or add-on, or other computer program that is not a web browser. You may
      crawl the forum to index it for a publicly available search engine, if you run one.
  6. You may not use the forum to send e-mail to distribution lists, newsgroups, or group mail
      aliases.
  7. You may not falsely imply that you’re affiliated with or endorsed by the company.
  8. You may not hyperlink to images or other non-hypertext content on the forum on other
      webpages.
  9. You may not remove any marks showing proprietary ownership from materials you download
      from the forum.
  10. You may not show any part of the forum on other websites with <iframe>.
  11. You may not disable, avoid, or circumvent any security or access restrictions of the forum.
  12. You may not strain infrastructure of the forum with an unreasonable volume of requests, or
      requests designed to impose an unreasonable load on information systems underlying the
      forum.
  13. You may not impersonate others through the forum.
  14. You may not encourage or help anyone in violation of these terms.

  Content Standards
  1. You may not submit content to the forum that is illegal, offensive, or otherwise harmful to
     others. This includes content that is harassing, inappropriate, or abusive.
  2. You may not submit content to the forum that violates the law, infringes anyone’s intellectual
     property rights, violates anyone’s privacy, or breaches agreements you have with others.
  3. You may not submit content to the forum containing malicious computer code, such as
     computer viruses or spyware.
  4. You may not submit content to the forum as a mere placeholder, to hold a particular address,
     user name, or other unique identifier.
  5. You may not use the forum to disclose information that you don’t have the right to disclose,
     like others’ confidential or personal information.
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   Enforcement
   The company may investigate and prosecute violations of these terms to the fullest legal extent.
   The company may notify and cooperate with law enforcement authorities in prosecuting
   violations of the law and these terms.

   The company reserves the right to change, redact, and delete content on the forum for any
   reason. If you believe someone has submitted content to the forum in violation of these terms,
   contact us immediately.

   Your Account
   You must create and log into an account to use some features of the forum.

   To create an account, you must provide some information about yourself. If you create an
   account, you agree to provide, at a minimum, a valid e-mail address, and to keep that address up-
   to-date. You may close your account at any time by e-mailing support@renproject.io.

   You agree to be responsible for all action taken using your account, whether authorized by you
   or not, until you either close your account or notify the company that your account has been
   compromised. You agree to notify the company immediately if you suspect your account has
   been compromised. You agree to select a secure password for your account, and keep it secret.

   The company may restrict, suspend, or close your account on the forum according to its policy
   for handling copyright-related takedown requests, or if the company reasonably believes that
   you’ve broken any rule in these terms.

   Your Content
   Nothing in these terms gives the company any ownership rights in intellectual property that you
   share with the forum, such as your account information, posts, or other content you submit to the
   forum. Nothing in these terms gives you any ownership rights in the company’s intellectual
   property, either.

   Between you and the company, you remain solely responsible for content you submit to the
   forum. You agree not to wrongly imply that content you submit to the forum is sponsored or
   approved by the company. These terms do not obligate the company to store, maintain, or
   provide copies of content you submit, and to change it, according to these terms.

   Content you submit to the forum belongs to you, and you decide what permission to give others
   for it. But at a minimum, you license the company to provide content that you submit to the
   forum to other users of the forum. That special license allows the company to copy, publish, and
   analyze content you submit to the forum.
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   When content you submit is removed from the forum, whether by you or by the company, the
   company’s special license ends when the last copy disappears from the company’s backups,
   caches, and other systems. Other licenses you apply to content you submit, such as Creative
   Commons licenses, may continue after your content is removed. Those licenses may give others,
   or the company itself, the right to share your content through the forum again.

   Others who receive content you submit to the forum may violate the terms on which you license
   your content. You agree that the company will not be liable to you for those violations or their
   consequences.

   Your Responsibility
   You agree to indemnify the company from legal claims by others related to your breach of these
   terms, or breach of these terms by others using your account on the forum. Both you and the
   company agree to notify the other side of any legal claims for which you might have to
   indemnify the company as soon as possible. If the company fails to notify you of a legal claim
   promptly, you won’t have to indemnify the company for damages that you could have defended
   against or mitigated with prompt notice. You agree to allow the company to control
   investigation, defense, and settlement of legal claims for which you would have to indemnify the
   company, and to cooperate with those efforts. The company agrees not to agree to any settlement
   that admits fault for you or imposes obligations on you without your prior agreement.

   Disclaimers
   You accept all risk of using the forum and content on the forum. As far as the law allows, the company and its
   suppliers provide the forum as is, without any warranty whatsoever.

   The forum may hyperlink to and integrate forums and services run by others. The company does
   not make any warranty about services run by others, or content they may provide. Use of
   services run by others may be governed by other terms between you and the one running service.

   Limits on Liability
   Neither the company nor its suppliers will be liable to you for breach-of-contract damages their personnel could
   not have reasonably foreseen when you agreed to these terms.

   As far as the law allows, the total liability to you for claims of any kind that are related to the forum or content on
   the forum will be limited to $50.


   Feedback
   The company welcomes your feedback and suggestions for the forum. See the Contact section
   below for ways to get in touch with us.

   You agree that the company will be free to act on feedback and suggestions you provide, and that
   the company won’t have to notify you that your feedback was used, get your permission to use it,
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   or pay you. You agree not to submit feedback or suggestions that you believe might be
   confidential or proprietary, to you or others.

   Termination
   Either you or the company may end the agreement written out in these terms at any time. When
   our agreement ends, your permission to use the forum also ends.

   The following provisions survive the end of our agreement: Your Content, Feedback, Your
   Responsibility, Disclaimers, Limits on Liability, and General Terms.

   Disputes
   Singapore will govern any dispute related to these terms or your use of the forum.

   You and the company agree to seek injunctions related to these terms only in state or federal
   court in Singapore. Neither you nor the company will object to jurisdiction, forum, or venue in
   those courts.

   Other than to seek an injunction or for claims under the Computer Fraud and Abuse Act, you and the company
   will resolve any dispute by binding American Arbitration Association arbitration. Arbitration will follow the
   AAA’s Commercial Arbitration Rules and Supplementary Procedures for Consumer Related Disputes.
   Arbitration will happen in Singapore. You will settle any dispute as an individual, and not as part of a class
   action or other representative proceeding, whether as the plaintiff or a class member. No arbitrator will
   consolidate any dispute with any other arbitration without the company’s permission.

   Any arbitration award will include costs of the arbitration, reasonable attorneys’ fees, and
   reasonable costs for witnesses. You and the company may enter arbitration awards in any court
   with jurisdiction.

   General Terms
   If a provision of these terms is unenforceable as written, but could be changed to make it
   enforceable, that provision should be modified to the minimum extent necessary to make it
   enforceable. Otherwise, that provision should be removed.

   You may not assign your agreement with the company. The company may assign your
   agreement to any affiliate of the company, any other company that obtains control of the
   company, or any other company that buys assets of the company related to the forum. Any
   attempted assignment against these terms has no legal effect.

   Neither the exercise of any right under this Agreement, nor waiver of any breach of this
   Agreement, waives any other breach of this Agreement.
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   These terms embody all the terms of agreement between you and the company about use of the
   forum. These terms entirely replace any other agreements about your use of the forum, written or
   not.

   Contact
   You may notify the company under these terms, and send questions to the company, at
   support@renproject.io.

   The company may notify you under these terms using the e-mail address you provide for your
   account on the forum, or by posting a message to the homepage of the forum or your account
   page.

   Changes
   The company last updated these terms on July 12, 2018, and may update these terms again. The
   company will post all updates to the forum. For updates that contain substantial changes, the
   company agrees to e-mail you, if you’ve created an account and provided a valid e-mail address.
   The company may also announce updates with special messages or alerts on the forum.

   Once you get notice of an update to these terms, you must agree to the new terms in order to
   keep using the forum.

     Home
     Categories
     FAQ/Guidelines
     Terms of Service
     Privacy Policy

   Powered by Discourse, best viewed with JavaScript enabled

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                    EXHIBIT 2
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Kapp, Kara L.

From:                             Kapp, Kara L.
Sent:                             Wednesday, March 30, 2022 7:57 PM
To:                               'support@renproject.io'
Cc:                               Boss, Barry; Kapp, Kara L.
Subject:                          Cryptsy Asset Freeze Notice Letter to Ren
Attachments:                      3-30-2022 Cryptsy Notice Letter to Ren.pdf; Exhibit A.pdf; Exhibit B.pdf; Exhibit C.pdf


To whom it may concern,

Please take notice of the attached Amended Final Judgment and Permanent Injunction, which identify digital assets
subject to the Judgment and Injunction that you must freeze if received by your exchange.

Don’t hesitate to reach out if you have any questions.

Sincerely,
Barry Boss




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    March 30, 2022                                                                                   Barry Boss
                                                                                           Direct Phone 202-912-4818
                                                                                           Direct Fax 866-413-0172
    Via E-mail [support@renproject.io]                                                              bboss@cozen.com




                  Re: Brandon Leidel, et al. v. Project Investors, Inc. d/b/a Cryptsy, Paul Vernon,
                  et al., U.S. Dist. Ct. – S.D. Fla. – Case No. 9:16-cv-80060-MARRA.

   Dear Sir/Madam:

           We represent North Field Technology Ltd (“North Field”), assignee of the May 24, 2021
   Amended Final Default Judgment (“Amended Judgment”) entered by United States District Court
   Judge Kenneth Marra against Project Investors, Inc. d/b/a Cryptsy (“Cryptsy”) and Paul Vernon
   in the above-captioned case. We write to request that you immediately freeze certain assets subject
   to the Amended Final Default Judgment that have been recently transferred to your exchange, and
   to freeze any and all assets originating from the wallet addresses listed in the Amended Final
   Default Judgment and Permanent Injunction should they hereafter make their way to your
   exchange.

           The Court entered the Amended Judgment in favor of a class of plaintiffs (“Plaintiff Class”)
   that consists of former customers of Cryptsy—a now-shuttered South Florida-based
   cryptocurrency exchange operated by Paul Vernon, who fled to China shortly before the lawsuit
   was filed in January 2016. Mr. Vernon is now under indictment in the Southern District of Florida
   for the same conduct adjudicated in Civil Case No. 9:16-cv-80060.

          The Amended Judgment awarded to the Plaintiff Class the 11,325.0961 Bitcoin held, as of
   May 24, 2021, in the Bitcoin Wallet Addresses set out in Table 1 below, as well as all associated
   forked assets:




                                   1200 19th Street, NW Washington, DC 20036
                           202.912.4800   800.540.1355   202.861.1905 Fax      cozen.com
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            The Amended Judgment likewise awarded to the Plaintiff Class the 500.052319 Bitcoin
   held, at the time they were stolen, in the Bitcoin Wallet Addresses set out in Table 2 below, as well
   as all associated forked assets:
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           A copy of the Amended Judgment, Doc. 157, is attached hereto as Exhibit A. The stolen
   bitcoin listed in Tables 1 and 2 and the associated digital assets are collectively referred to herein
   as the Stolen Bitcoin and Forked Digital Assets.

          Subsequently, on June 22, 2021, the Court issued a permanent injunction freezing all Stolen
   Bitcoin and Forked Digital Assets (“the Permanent Injunction”). Doc. 177. A copy of the
   Permanent Injunction is attached hereto as Exhibit B.

           The Court ordered that all entities having notice of the Permanent Injunction “are
   permanently enjoined from directly or indirectly transferring the Stolen Bitcoin and Forked Digital
   Assets that were originally held in the wallet addresses identified in Tables 1 and 2 other than to a
   digital wallet or account held by North Field.” Doc. 177, at ¶ 2. The Court further ordered that all
   “digital asset trading platforms [and] cryptocurrency exchanges . . . receiving notice of this Order
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   by electronic mail” must “freeze, or assist in or facilitate the freezing of, the Stolen Bitcoin and
   Forked Digital Assets held in or transferred from any wallet address listed in Tables 1 and 2 of this
   Order[.]” Id. at ¶ 4(b). And the Court likewise ordered that all digital asset trading platforms [and]
   cryptocurrency exchanges . . . receiving notice of this Order by electronic mail” must “freeze all
   customer accounts related to the Stolen Bitcoin and Forked Digital Assets held in or transferred
   from any wallet addresses listed in Tables 1 or 2 of this Order[.]” Id. ¶ 4(c). Finally, the Court
   ordered that “all digital asset trading platforms [and] cryptocurrency exchanges . . . receiving
   notice of this Order by electronic mail” must “take all steps necessary to transfer, assist in the
   transfer of, facilitate the transfer of, validate or assist in the validation of the transfer of the Stolen
   Bitcoin and Forked Digital Assets to a digital wallet or account held by North Field.” Id. ¶ 4(d).

          Upon information and belief, Mr. Paul Vernon (individually or acting in concert
   with/through one of the people or entities cited in the Order) has an account(s) at your institution
   at which he holds assets that are subject to the Amended Judgment and Permanent Injunction.

           Upon information and belief, Mr. Vernon has recently moved 11,000 BTC from the
   addresses in Table 1 to the Secondary Wallet Addresses contained in the attached spreadsheet
   entitled Exhibit C.

           In accordance with the Permanent Injunction, we hereby provide notice that the digital
   assets originally contained in Tables 1 and 2 of the Amended Final Default Judgment, including
   those 11,000 BTC that have since been moved into the secondary wallet addresses contained in
   Appendix 1, attached hereto, must be frozen and not transferred to any account other than to a
   digital wallet or account held by North Field.

          Please confirm by the close of business on Thursday, March 31, 2022, in writing, that you
   have frozen the BTC at issue as required by the Permanent Injunction.

          Further, if you have any questions about the foregoing, please contact us, or have an
   attorney on your behalf contact us, to discuss.

           Thank you for your anticipated cooperation.

                                                    Sincerely,



                                                    Barry Boss
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                Civil Action No. 9:16-cv-80060-MARRA

   BRANDON LEIDEL,
   individually and on behalf of All Others Similarly Situated,
        Plaintiffs,
   v.
   PROJECT INVESTORS, INC. d/b/a CRYPTSY, a Florida corporation,
   PAUL VERNON, an individual, et al.,
      Defendants.
   ___________________________________________/

                        AMENDED FINAL DEFAULT JUDGMENT AGAINST
                               DEFENDANT PAUL VERNON

            THIS MATTER came before the Court upon the motion of Plaintiff BRANDON

   LEIDEL, individually, and on behalf of all other similarly situated members of the Certified

   Class (the “Plaintiff Class”), for entry of an Amended Final Default Judgment against Defendant

   PAUL VERNON (“Amended Final Default Judgment”), an individual (“Defendant Vernon”)

   [DE 156]. After having reviewed the pleadings and sworn declarations submitted on behalf of

   the Plaintiff Class, the entry of default as to Defendant Vernon for failure to answer or otherwise

   plead to the Summons and Amended Class Action Complaint served upon him by the Plaintiff

   Class [ECF No. 51], this Court’s July 27, 2017 Final Default Judgment against Defendant

   Vernon (“Final Default Judgment”), as thereafter amended and clarified, and for good cause

   shown, the Court hereby DECLARES, ORDERS and ADJUDGES as follows:

            1.        Plaintiffs’ Motion To Amend Final Default Judgment Against Defendant Paul

   Vernon To Include Newly Discovered Assets And To Approve Second Amendment to

   Assignment Agreement [ECF No. 156] is GRANTED.
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          2.     Consistent with the Order Approving Assignment and Clarifying Final Judgment

   Against Defendant Paul Vernon [ECF No. 142] and the Order Approving Amended Assignment

   of Final Judgment Against Defendant Paul Vernon [ECF No. 147], North Field Technology, Inc.

   shall have the right to enforce the Amended Final Default Judgment.

          3.     This Amended Final Default Judgment is hereby entered in favor of Plaintiffs

   BRANDON LEIDEL and MICHAEL WILSON, individually, and all other similarly situated

   members of the Plaintiff Class certified by the Court on August 25, 2016 [ECF No. 65]; and

   against Defendant PAUL VERNON, an individual; upon the Second Amended Class Action

   Complaint herein.

          4.     The terms of the Final Default Judgment remain in effect as follows:

                 (a) Defendant Vernon is liable to the Plaintiff Class in the principal sum of

                       $8,200,000.00, for which let execution issue forthwith.

                 (b) Prejudgment interest in the amount of $688,788.76 shall be awarded as

                       interest on that principal sum from November 1, 2015 to July 27, 2017, which

                       is the date of entry of this Court’s initial Final Judgment at the rate fixed by

                       the Florida Department of Financial Services, as set forth by § 55.03, Florida

                       Statutes.

                 (c) The judgment shall bear interest at the post-judgment interest rate prescribed

                       by 28 U.S.C. §1961 and shall be enforceable as prescribed by, inter alia, Rule

                       69(a) of the Federal Rules of Civil Procedure.

                 (d) The Court further declares that the 11,325.0961 Bitcoin which were stolen

                       from Cryptsy customers on July 29, 2014 and which, as of the date of the

                       initial Final Judgment, were stored in the cryptocurrency or digital wallet




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                  addresses identified in Table 1 below, are property of the Plaintiff Class and

                  subject to and encompassed within this Amended Final Default Judgment:



                                           Table 1

         #                        Wallet                            Amount of Bitcoin
                                                                     Stored in Wallet
         1    18E3AWaadnUPQ1aMpfEoyTXN49NYAZzbpD                        1,000 BTC
         2    1DSxcqygQ69MxRc8oW94kQjWHzMb4BYsnG                        1,000 BTC
         3   1LwZYCt8dDhZDMd6uXGMwVsmWPXW9eX9Ww                         1,000 BTC
         4     13nAJw8jw7BiYKLnad9YGdPxybK9mgPkM6                       1,000 BTC
         5     1DqCNwUffFTxULH8crehynw53TwrHnrv1c                       1,000 BTC
         6     1AWdxqABYiDxcY1sxzPzEotvjFjq8NUY8Z                       1,000 BTC
         7     18nb1NQCeoZLucMdrNdu2wb7jcyDvSgr3Y                       0.0961 BTC
         8     13QxkdrhfeQ6aCF4TBWg8knQGBmiwL2rpV                       1,000 BTC
         9     17nmFFPSANbPGgdtoEEuc6xbHoaP1n6ZBb                       1,000 BTC
        10     14nzbWNMPjmvwy96uuFVXtj6VgChJtHvU9                       1,000 BTC
        11     1315LzDFcBLDBKgVAr4ZhCkcT5GXivpiuj                       1,000 BTC
        12     1KBy6MvcBb2qQRS5fQT92o2c5Dq2W6ygx4                       1,325 BTC
                                                         TOTAL       11,325.0961 BTC

               (e) After entry of the Final Judgment, the Bitcoin blockchain forked numerous

                  times, and with each such fork, each of the wallet addresses identified in the

                  table above were awarded forked assets. These forked assets include amounts

                  of Bitcoin Cash (BCH), Bitcoin Gold (BTG), Bitcoin Diamond (BCD), Super

                  Bitcoin (SBTC), Bitcoin2 (BTC2), Bitcoin Private (BCTP), Bitcoin

                  Dark(BTCD), and Bitcoin SV (BSV) equivalent to the amount of BTC in each

                  of the wallets in the table above. The forked assets also include an amount of




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                     Bitcore (BTX) equal to one-half the amount of BTC identified as being in

                     each of the wallets listed in the table above.

                 (f) The Plaintiff Class is entitled to recover all of the BTC identified in the table

                     above from the corresponding wallet addresses identified above in Table 1,

                     and an equivalent amount of BCH, BTG, BCD, SBTC, BCT2, BCTP, BTCD,

                     and BSV associated with each of the wallet addresses. The Plaintiff Class is

                     also entitled to recover an amount of BTX equal to one half of the amount of

                     BTC associated with each of the wallet addresses above (all of the foregoing,

                     “Forked Assets”).

          5.     This Amended Final Default Judgment also adds and includes as property of the

   Plaintiff Class an additional 500.052319 Bitcoin that were stolen from Cryptsy customers on July

   29, 2014 and recently discovered by the Plaintiff Class (“Newly Discovered Assets”). These

   Newly Discovered Assets, at the time they were stolen from the Plaintiff Class, were located in

   ten (10) additional cryptocurrency, digital, or hardware wallet addresses identified in Table 2

   below (“Newly-Discovered Wallet Addresses”). Some of the Newly Discovered Assets have

   since been moved to secondary digital wallet addresses as of the date of this Amended Final

   Default Judgment (“Secondary Wallet Addresses”). A non-exhaustive list of Secondary Digital

   Wallet Addresses known to hold Newly Discovered Assets subject to this Amended Final

   Default Judgment is contained in Table 3, below. The full list of currently known Secondary

   Digital Wallet Addresses through which the Newly Discovered Assets have been transferred is

   contained in Appendices 2 and 3 of Receiver’s Emergency Motion For Temporary Restraining

   Order Without Notice Against Defendant Paul Vernon [ECF No. 153-1], which are hereby

   incorporated into this Amended Final Default Judgment. This Amended Final Default Judgment




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   also adds and includes all forked assets to which the Plaintiff Class, as proper owners of the

   500.052319 Bitcoin, is entitled (“Newly Discovered Forked Assets”):

                                              Table 2

                                                        Date and Time of      Transfer
                          Newly-Discovered
               #                                        Transfer (UTC)        Amount
                           Wallet Address
                                                                              (in BTC)
               1     1BjRLELf3xX5Tz8c43H36n
                         kmNwqnPuuVAv                   2014-07-29 08:54       0.010265
               2     12KBnNKkEdjcojNZ7ceBhD
                          BJWhMZbtttgr                  2014-07-29 08:54          100
               3      17QwFUD9awdi4JcncVrkxf
                          DDBvEos8HU8H                  2014-07-29 08:54          100
               4     19TbZFeHjTx76yKnwGTqeh
                          Th1VLHLxx9km                  2014-07-29 08:54       0.010659
               5     159m8sYcDJwPfJaVpLeKJit
                          kQTiPKevnY4                   2014-07-29 08:54          100
               6     1JhoQ1Zs2EqjXh1GzjwtQeth
                          AbNG6bNGTW                    2014-07-29 08:54       0.010021
               7      1AA8YJ2DeYr99BS1PrsFK
                         WC1p9hXT28dup                  2014-07-29 08:54          100
               8     1ABpMg9prfa6dtZqTqpcmN
                          5cAsjj1Cx77V                  2014-07-29 08:54       0.010393
               9     15yRZyEyzwyNhCFBfqWBJ
                         DXsuJn9WJVhnJ                  2014-07-29 08:54          100
              10     19mkygdiY9Ay7dL2LLmAS
                         Zzi2bXEp9NwLj                  2014-07-29 08:54       0.010981
                                                                 TOTAL       500.052319




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                                              Table 3

                                   Newly-Discovered     Date and Time of       Transfer         Amount
           Secondary Wallet
#                                 Wallet Address From      Transfer to         Amount          Traceable
          Address Containing
                                     Which Assets       Secondary Wallet       (in BTC)        To Newly-
        Newly Discovered Assets
                                      Originated         Address (UTC)                         Discovered
                                                                                                 Wallet
                                                                                                Address
1       18tTX9XCrxQL1wsssHE5 12KBnNKkEdjcojNZ7
           Qppoh9VNyEJFB8    ceBhDBJWhMZbtttgr          2021-05-02 17:46         4.096                4.096
2       1NpQ5uz2MC4cmLSDbm 12KBnNKkEdjcojNZ7
          V58YiAarZUUJesG  ceBhDBJWhMZbtttgr            2021-05-02 17:46         4.096                4.096
3       1KxZc4L6sfWqnQPrPMZ       12KBnNKkEdjcojNZ7
          bsbhgQX1oqMhqnE         ceBhDBJWhMZbtttgr     2021-05-02 17:46         4.096                4.096
4                                 17QwFUD9awdi4Jcnc
        36eg2udC9bKb5JyvZktxJ     VrkxfDDBvEos8HU8
            6MnfS3xHadFai                H              2020-05-14 09:51      18.925531         18.925531
5                                 17QwFUD9awdi4Jcnc
        3NmP957MF3da9u5wtLY       VrkxfDDBvEos8HU8
          K591JKNeZpJwmxU                H              2020-05-14 10:41           11                  11
6                                 17QwFUD9awdi4Jcnc
        35VheJJNovHsTbJy2iScfq    VrkxfDDBvEos8HU8
            GxqtLR3Sdk3f                 H              2020-05-18 06:49      16.325525         16.325525
7                                 15yRZyEyzwyNhCFB
        36Ma8dY44xtM8sFKqpv       fqWBJDXsuJn9WJVh
          Kfb4A8TeXFFvchv                nJ             2020-04-05 14:15           14                  14
8                                 15yRZyEyzwyNhCFB
        3EspfvBwtx2Wcg6y2pNX      fqWBJDXsuJn9WJVh
           2T8rB599zURoop                nJ             2020-04-05 14:15           12                  12
9                                 15yRZyEyzwyNhCFB
        3JpXuV2vAY35wyzvUoN       fqWBJDXsuJn9WJVh
          CYHGS8TBJoSh5Ws                nJ             2020-04-05 14:15           11                  11
10                                15yRZyEyzwyNhCFB
        3PEHvQysjnnPLct9M3hU      fqWBJDXsuJn9WJVh
           cwauWzTBhioyzN                nJ             2020-04-05 14:24      8.99987577       8.99987577




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          6.     This Amended Final Default Judgment includes all 11,825.1484 Bitcoin, the

   Forked Assets, and the Newly Discovered Forked Assets, in the wallet addresses identified

   above, as well as in any secondary wallet addresses to which the Newly Discovered Assets

   and/or the Newly Discovered Forked Assets have been or are in the future transferred.

          7.     The Court reserves jurisdiction to enter further orders that are proper to compel

   Defendant Vernon to complete all procedures in execution of this Amended Final Default

   Judgment, unless the Court directs otherwise.

          DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County, Florida,

   this 24th day of May, 2021.




                                                              KENNETH A. MARRA
                                                              United States District Judge




   Copies furnished to:
   All Counsel of Record

   Paul Vernon
    P.O. Box 7646, Delray Beach, FL 33482, E-mail: PaulEVernon@yahoo.com
     Defendant




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

   BRANDON LEIDEL, individually,                                CASE NO. 9:16-cv-80060-KAM
   and on behalf of All others Similarly Situated,

                  Plaintiffs,
   v.

   PROJECT INVESTORS, INC. d/b/a
   CRYPTSY, a Florida corporation,
   PAUL VERNON, an individual,
   LORIE ANN NETTLES, an individual,
   RIDGEWOOD INVESTMENTS, INC,
   a New Jersey corporation, and
   KAUSHAL MAJMUDAR, individually,

               Defendants.
   ________________________________________/

    ORDER GRANTING PLAINTIFF AND ASSIGNEE’S MOTION FOR ASSET FREEZE
    INJUNCTION AND ORDER TO TRANSFER THE STOLEN BITCOIN TO ASSIGNEE

          THIS MATTER is before the Court upon the motion of the Plaintiff Class and Assignee

   North Field Technology Ltd. (“North Field”) for a permanent injunction ordering the freeze and

   transfer of the Bitcoin (“BTC”) and other Forked Digital Assets subject to the Amended Final

   Judgment. BY THEIR MOTION, the Plaintiff Class and Assignee North Field seek an injunction:


          (1) Freezing, as identified in the Amended Final Default Judgment, 11,825.1484 Bitcoin

              stolen from the Plaintiff Class on July 29, 2014 and then held, as of the date of the July

              29, 2014 theft, in the digital wallets identified in Tables 1 and 2 below (the “Stolen

              Bitcoin”);


          (2) Freezing the forked digital assets associated with the Stolen Bitcoin, which includes

              Bitcoin Cash, Bitcoin Gold, Bitcoin Diamond, Super Bitcoin, Bitcoin2, Bitcoin Private,

              Bitcoin Dark, and Bitcoin SV in an amount equal to the amount of BTC in each of the
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            wallets identified in the tables below, along with additional forked assets of Bitcore

            (BTX) in an amount equal to one-half the amount of BTC in the digital wallets

            identified in the tables below (the “Forked Digital Assets”) (collectively, “Stolen

            Bitcoin and Forked Digital Assets”); and


         (3) Transferring any and all Stolen Bitcoin and Forked Digital Assets subject to the

            Amended Final Judgment to a wallet address controlled by Assignee North Field.


                                             Table 1

                                                                             Amount of
           #                   Original Wallet Addresses                  Bitcoin stored in
                                                                          wallet address at
                                                                            time of theft
            1    18E3AWaadnUPQ1aMpfEoyTXN49NYAZzbpD                          1,000 BTC
            2    1DSxcqygQ69MxRc8oW94kQjWHzMb4BYsnG                          1,000 BTC
            3    1LwZYCt8dDhZDMd6uXGMwVsmWPXW9eX9Ww                          1,000 BTC
            4    13nAJw8jw7BiYKLnad9YGdPxybK9mgPkM6                          1,000 BTC
            5    1DqCNwUffFTxULH8crehynw53TwrHnrv1c                          1,000 BTC
            6    1AWdxqABYiDxcY1sxzPzEotvjFjq8NUY8Z                          1,000 BTC
            7    18nb1NQCeoZLucMdrNdu2wb7jcyDvSgr3Y                          1,000 BTC
            8    13QxkdrhfeQ6aCF4TBWg8knQGBmiwL2rpV                         0.0961 BTC
            9    17nmFFPSANbPGgdtoEEuc6xbHoaP1n6ZBb                          1,000 BTC
            10 14nzbWNMPjmvwy96uuFVXtj6VgChJtHvU9                            1,000 BTC
            11 1315LzDFcBLDBKgVAr4ZhCkcT5GXivpiuj                            1,000 BTC
            12 1KBy6MvcBb2qQRS5fQT92o2c5Dq2W6ygx4                            1,325 BTC
                                                               TOTAL 11,325.0961 BTC




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                                                 Table 2

                                                                                  Amount of
             #               Newly-Discovered Wallet Addresses                 Bitcoin stored in
                                                                               wallet address at
                                                                                 time of theft
              1    1BjRLELf3xX5Tz8c43H36nkmNwqnPuuVAv                           0.010265 BTC
              2    12KBnNKkEdjcojNZ7ceBhDBJWhMZbtttgr                              100 BTC
              3    17QwFUD9awdi4JcncVrkxfDDBvEos8HU8H                              100 BTC
              4    19TbZFeHjTx76yKnwGTqehTh1VLHLxx9km                            0.010659 BTC
              5    159m8sYcDJwPfJaVpLeKJitkQTiPKevnY4                              100 BTC
              6    1JhoQ1Zs2EqjXh1GzjwtQethAbNG6bNGTW                            0.010021 BTC
              7    1AA8YJ2DeYr99BS1PrsFKWC1p9hXT28dup                              100 BTC
              8    1ABpMg9prfa6dtZqTqpcmN5cAsjj1Cx77V                            0.010393 BTC
              9    15yRZyEyzwyNhCFBfqWBJDXsuJn9WJVhnJ                              100 BTC
              10 19mkygdiY9Ay7dL2LLmASZzi2bXEp9NwLj                              0.010981 BTC
                                                                   TOTAL      500.052319 BTC


          In considering a permanent injunction, the Court must evaluate the following factors: (1)

   whether the plaintiff has prevailed on the merits; (2) whether the plaintiff has suffered an

   irreparable injury; (3) the unavailability of an adequate remedy at law; (4) considering the balance

   of hardships between the plaintiff and defendant, a remedy in equity is warranted; and (5) whether

   the public interest would or would not be disserved by the injunctive relief. Jysk Bed’N Linen v.

   Dutta-Roy, 810 F.3d 767, 774 n.16 (11th Cir. 2015).

          HAVING REVIEWED THE MOTION AND SUPPORTING PAPERS and being

   otherwise fully advised in the premises, the Court hereby finds as follows:

          First, the Plaintiff Class and Assignee North Field (collectively referred to herein as

   “Movants”) have demonstrated that the Plaintiff Class has prevailed on the merits against

   Defendant Paul Vernon. Specifically, Movants obtained an initial default judgment against


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   Defendant Vernon (the “Original Judgment”) [ECF No. 123] and an amended final judgment

   against Defendant Vernon (the “Amended Final Default Judgment”) [ECF No. 157]. As reflected

   in these judgments, Movants have prevailed on the merits in this action.

          Second, the Original Judgment and Amended Final Default Judgment [ECF Nos. 123, 157]

   establish that the Movants have been wrongfully deprived by Defendant Vernon of 11,825.1484

   Stolen Bitcoin and the associated Forked Digital Assets. See [ECF Nos. 123, 157]. As

   demonstrated in the report of Pawel Aleksander, Chief Information Officer and Co-Founder of

   Coinfirm, portions of the 11,825.1484 Stolen Bitcoin have begun to move in what appears to be

   an attempt to liquidate such bitcoin holdings, which are property of the Movants. [ECF No. 153-

   1]. Therefore, the Court finds that the Movants have suffered an irreparable injury.

          Third, remedies available at law are inadequate to compensate for this injury for several

   reasons. Defendant Vernon has no right to claim either possession or ownership of the Stolen

   Bitcoin and associated Forked Digital Assets, yet Defendant Vernon currently has sole dominion

   and control over these assets, and appears to have made efforts to liquidate these assets. Further,

   considering the speed with which cryptocurrency transactions are made, the fact that transactions

   on the Bitcoin blockchain are irreversible, as well as the pseudonymous nature of those

   transactions, remedies at law are inadequate to redress the harm to the Movants.

          Fourth, the balance of hardships weighs decidedly in favor of granting injunctive relief.

   The actual and threatened injuries to the Movants outweigh any possible harm to Defendant

   Vernon because Defendant Vernon has no right to claim either possession or ownership of the

   Stolen Bitcoin and associated Forked Digital Assets. In contrast, the Plaintiff Class has suffered

   an irreparable injury—the wrongful deprivation of 11,825.1484 Stolen Bitcoin and Forked Digital

   Assets that belong to them. Defendant Vernon is wrongfully withholding these assets from the



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   Plaintiff Class. Further, the proposed injunctive relief adequately considers the rights of bona fide

   purchasers who may have purchased Stolen Bitcoin from Defendant Vernon. Under this Order,

   any bona fide purchaser will be able to obtain a release from the scope of the injunction for any

   qualifying assets presently owned or controlled by the affected purchaser upon proof that he/she/it

   qualifies as a bona fide purchaser in good faith.

          Finally, a permanent injunction would not disserve the public interest, but rather would

   further it. The public interest is properly served by promoting the objectives of the Financial

   Crimes Enforcement Network [FinCEN] (a division of the U.S. Department of the Treasury). The

   public interest is also served by providing assurance that courts will protect investors’ assets from

   theft and will aid investors in their recovery of stolen assets when they can be readily located and

   traced to specific locations, like the purloined assets in this action. An injunction here would thus

   serve the public interest by placing the Stolen Bitcoin and Forked Digital Assets in the hands of

   their rightful owners, as in Jysk. See Jysk, 810 F.3d at 780.

          Moreover, the relief sought by the Movants is well supported by authority in this Circuit.

   The Eleventh Circuit has long recognized that district courts have the inherent power to freeze a

   defendant’s assets to ensure the availability of equitable relief. See Levi Strauss & co v. Sunrise

   Int’l Trading Inc., 51 F.3d 982, 987 (11th Cir. 1995) (concluding that the district court had

   authority to freeze assets that could have been used to satisfy equitable relief sought).

          Courts in this District and elsewhere have extended such orders to digital assets, including

   cryptocurrencies. See, e.g., CFTC v. Fingerhut, No. 1:20-cv-21887, 2021 U.S. Dist. LEXIS 2653,

   at *15-18 (S.D. Fla. Jan. 7, 2021) (granting injunction and asset freeze against defendants in digital

   asset fraud scheme); Lagemann v. Spence, No. 1:18-cv-12218-GBD, Doc. 47 (S.D.N.Y. Feb. 11,

   2019) (issuing injunction and asset freeze against defendants extending to “any cryptocurrency



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   wallet or cryptocurrency trading account” maintained by the defendant); FTC v. Dluca, No. 18-

   cv-60379, 2018 U.S. Dist. LEXIS 192310 (S.D. Fla. Apr. 16, 2018) (granting injunction and asset

   freeze where defendants allegedly secured payments from customers under the false guise of

   earning income through purported cryptocurrency investments).

            Further, federal courts in this District and across the country routinely issue freeze and

   transfer orders that extend to third parties with custody or control over such assets. See Gucci Am.

   Inc. v. 2005qihui8, No. 15-cv-61649, Doc. 68 (S.D. Fla. Jan. 11, 2016) (granting amended default

   judgment and permanent injunction ordering PayPal to “transfer[] to Plaintiff [“[a]ll funds

   currently restrained”] in partial satisfaction of the monetary judgment”); Malletier v.

   Aabagcn.com, No. 13-61629-CIV, 2013 U.S. Dist. LEXIS 191881, at *19 (S.D. Fla. Dec. 9, 2013)

   (issuing permanent injunction including freeze of assets based on the court’s determination that

   “Plaintiff ha[d] a good reason to believe Defendants will hide or transfer their ill-gotten assets

   beyond the jurisdiction of this Court unless those assets are restrained” and attaching freeze order

   against PayPal); Developers Sur. & Indem. Co. v. Bi-Tech Constr., Inc., 979 F. Supp. 2d 1307,

   1316 (S.D. Fla. 2013) (report and recommendation), adopted by 979 F. Supp. 2d 1307 (S.D. Fla.

   2013) (recognizing that “[o]rders freezing assets and prohibiting transfers from . . . accounts are

   routine methods of enforcing injunctive relief, even if they are directed to third parties in

   possession of the funds”); Tiffany (NJ), LLC v. 925jewelrymax.com, No. 12-23518-CIV-

   SEITZ/SIMONTON, 2013 U.S. Dist. LEXIS 190948, at *20 (S.D. Fla. Mar. 28, 2013) (issuing

   permanent injunction transferring assets frozen by PayPal to plaintiff in partial satisfaction of

   judgment).1 In this case, extending the order to third party payment processors is particularly


   1
     See also, e.g., SEC v. Qin, No. 20-cv-10849 (LGS), Doc. 27 at 3-4 (S.D.N.Y. Jan. 6, 2021) (ordering third-parties to
   freeze defendant’s digital assets); Amazon Content Servs. LLC v. Kiss Library, No. 2:20-cv-01048, 2020 U.S. Dist.
   LEXIS 155676, at *9-11 (W.D. Wash. Aug. 27, 2020) (ordering payment processors, such as BitPay, PayPal and
   MasterCard, who receive notice of the order to locate defendants’ accounts and not allow withdrawal or disposal of

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   appropriate because the Stolen Bitcoin has continued to move since this Court issued the

   Temporary Restraining Orders on May 17-18, 2021 [ECF Nos. 154, 155], and these transactions

   could not have occurred without the involvement—whether knowing or unknowing—of third

   parties involved in processing these transactions.

            Therefore, HAVING REVIEWED THE MOTION AND SUPPORTING PAPERS and

   being otherwise fully advised in the premises, the Court hereby ORDERS AND ADJUDGES:

            1.     The motion (DE 173) is GRANTED.

            2.     Defendant Vernon, and all persons in active concert or participation with him or his

   agents, servants or who otherwise having notice of this Order, are permanently enjoined from

   directly or indirectly transferring the Stolen Bitcoin and Forked Digital Assets that were originally

   held in the wallet addresses identified in Tables 1 and 2 other than to a digital wallet or account

   held by North Field.

            3.     Defendant Vernon, and all persons in active concert or participation with him

   having notice of this Order, shall immediately (within seven (7) days of the entry of this Order)

   transfer the Stolen Bitcoin and Forked Digital Assets to a digital wallet or account held by North

   Field.

            4.     Any persons, firms, corporations, or other entities, including digital asset trading

   platforms, cryptocurrency exchanges, payment processors, digital cryptocurrency wallet

   providers, developers, mining pools, miners, other parties involved in validating transactions on

   the Bitcoin network or the networks for the Forked Digital Assets encompassed by the Amended

   Final Default Judgment, and other parties receiving notice of this Order by electronic mail, mail



   the assets); Volkswagen AG v. Unincorporated Ass’ns, No. 1:17-cv-1413, 2018 U.S. Dist. LEXIS 149536 (E.D. Va.
   July 13, 2018) (recommending issuance of permanent injunctive relief transferring assets frozen by PayPal to
   plaintiff), adopted as to properly served defendant by No. 1:17-cv-113, Doc. 74 (E.D. Va. August 30, 2018).

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   via postal service or mail carrier, private or other courier service including an overnight carrier

   service, facsimile transmissions, personal delivery, personal service, or other method sufficient to

   give the entities listed in this paragraph notice of this Order, shall immediately:

               a. locate the Stolen Bitcoin and Forked Digital Assets;

               b. freeze, or assist in or facilitate the freezing of, the Stolen Bitcoin and Forked Digital

                   Assets held in or transferred from any wallet address listed in Tables 1 and 2 of this

                   Order, and (other than as Ordered in subsection (d) hereof) refrain from

                   transferring, disbursing, assigning, dissipating, disposing of, validating, or

                   participating in or assisting in the validation of, any transaction in the Stolen Bitcoin

                   and Forked Digital Assets;

               c. freeze all customer accounts related to the Stolen Bitcoin and Forked Digital Assets

                   held in or transferred from any wallet addresses listed in Tables 1 or 2 of the this

                   Order, and (other than as Ordered in subsection (d) hereof) refrain from

                   transferring, disbursing, assigning, dissipating, disposing of, validating, or

                   participating in or assisting in the validation of, any transaction in the Stolen Bitcoin

                   and Forked Digital Assets; and

               d. take all steps necessary to transfer, assist in the transfer of, facilitate the transfer of,

                   validate or assist in the validation of the transfer of the Stolen Bitcoin and Forked

                   Digital Assets to a digital wallet or account held by North Field.

          5.       The freeze shall stay in effect for the duration of this Order.

          6.       Should     any    affected     cryptocurrency      exchange      or    Wallet    Address

   owner/accountholder wish to be relieved of the restrictions set forth herein, he/she/it may apply to




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   this Court in writing for relief from the Order and shall serve a copy of his/her/its request for relief

   upon all counsel and parties of record in this matter.

            7.     Service to Defendant Vernon at his last known e-mail address and via Defendant

   Vernon’s ex-wife and her counsel, who the Plaintiff Class believe to be in contact with Defendant

   Vernon, is deemed sufficient notice to him under Federal Rule of Civil Procedure 65. It shall not

   be necessary for Defendant Vernon to sign any form of acknowledgement of service.

            8.     Violation of this Permanent Injunction shall expose Defendant Vernon and all other

   persons bound by this Permanent Injunction to all applicable penalties, including contempt of

   Court.

            9.     The Court reserves jurisdiction to enter further orders that are proper to aid in the

   execution of the Amended Final Default Judgment, including further injunctions extending to

   secondary wallet addresses containing the Stolen Bitcoin and/or Forked Digital Assets, and to

   otherwise facilitate the efforts of or taken on behalf of Plaintiff Class, the Receiver, and Assignee

   North Field to recover the assets subject to the Amended Final Default Judgment.



            DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County, Florida

   this 22nd day of June, 2021.




                                                                   KENNETH A. MARRA
                                                                   United States District Judge




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                         EXHIBIT C
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                                                                                              Funds under claim
 Owner     Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                       Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name        Name                                                          Unit            tracing methodologies;
                                                                                            in cryptocurrency unit)

                         1AA8YJ2DeYr99BS1PrsFKWC1p9hXT28dup                BTC                             100.00000000     2014-07-29 08:54:46         2014-07-29 08:54:46
Binance   Suex           1Edue8XZCWNoDBNZgnQkCCivDyr9GEo4x6                BTC                              31.14578175     2021-02-24 09:50:43         2021-05-11 09:17:00
                         bc1q9ykztnded5hwl2wacf034hmxw3ykw8sj382yfp        BTC                              18.99487160     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1q8gnxkc0xywr92h5pt0cgatpgenflxtw6udfe7u        BTC                              18.98967146     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qel000fr8fw8tgtz29zyp02v23gy8khmnax3ecr        BTC                              18.98047162     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qwlzf7vzq7eakv3jtukpxrf8372z8fpldd2ek5c        BTC                              18.97947148     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1q4anwws7k9kgd8mwa4jtfp7wje5f9qtkenajmtw        BTC                              18.96667150     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qlk5nwlhwvdyvjhkxv6j3stnr6acvk4pp3x468r        BTC                              18.94967150     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1q4f9jy8jcl0c4uj6ku4xk2r4tru0wh5gpv0hhxd        BTC                              18.94917167     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qv44fhfms65d0ta2gjr93hhaumspmnnmtkktzwd        BTC                              18.94834527     2022-03-29 21:44:59         2022-03-29 21:44:59
                         bc1qzx2hsps4xz9ucmlwjz7c7kk20fd2g4mcz54fpk        BTC                              18.94717150     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qagzu867q6x5568kq7u6zv67q0jwamvzy5nmpqv        BTC                              18.94150000     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qxap9qnfu4hylzaxy8jd0t804qfpjj47863prwq        BTC                              18.94067168     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qya6437q2tjfuj3uxu5jw7w4s25wexhjxt7mw39        BTC                              18.92587170     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1q7zk3tr440kmdsvwhkqtrns62cpyvtuwmpyww9a        BTC                              18.92157171     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qk6up0khnyyd9nuhnapgadtwwcns5dxfacu3gwg        BTC                              18.91450000     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qhz2te3la8yg5uqa5wp3hdtw79tjmp8q8p430ql        BTC                              18.91237131     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qwxca3df6xjvrfnx5wtduvfl2la68nln5sjqey2        BTC                              18.91187172     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1q4a6nnvz8d9j3vvfnecm5errwl3x26jeysr2lkg        BTC                              18.90877156     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qhwddn8evfn6c7vshmwa35zdxdjelm3pc5u8xtz        BTC                              18.90397157     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qjxqfgdazv3ac82pca3rmvhtmt0qzjyuhhyce0r        BTC                              18.87984537     2022-03-29 21:44:59         2022-03-29 21:44:59
                         bc1q0rpyhtrqkacl7pu8eez6n02v0elmxpefxm9q6m        BTC                              18.87357180     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qx90733rhr0axjh54qsf0ahag8x6qnpmpuu052u        BTC                              18.86747179     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qz5f3g469g38ayh7gyy4xk28nd6ym6nvvj0stmw        BTC                              18.86267178     2022-03-29 17:41:00         2022-03-29 17:41:00
                         bc1qxtzfesek0esg9p7zede9qat9qg6ltlreezzfq4        BTC                              18.85547181     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1q92rmk5x2rlpw6xxsg8fkwhg6a3tpxjurehmmnu        BTC                              18.85174541     2022-03-29 21:44:59         2022-03-29 21:44:59
                         bc1qpuppf9w6m0vgqwqgy2qcfs7szkm5rrphj898e2        BTC                              18.84650000     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qtf9ulcxkkgeax4anfaqgktgcpv6xs0l75vrrar        BTC                              18.84527185     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qasdvn9dzrlzmu88z322t8jkrr9esjqpql7qsyy        BTC                              18.84437180     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qfjt3am2ng6f6n9qtj83pknwjqv3vvzyc9f907q        BTC                              18.84224543     2022-03-29 22:59:22         2022-03-29 22:59:22
                      bc1q9ttqa8kxjvs0f2hsyz73f7wsevqs5yk2zd258l        BTC                              18.83527143     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh8cclu9axungzgd6yl44qfg9s43ma8c3qf7djg        BTC                              18.81737170     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qddf5h46ueunxzrth7ugdje3ckrtdvsadcsytyu        BTC                              18.81477187     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmuvyhys3vr6zzgdj357mw7gzjcl76eygl8ln6p        BTC                              18.81110000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnxqe2hzy0gd42txn498c00mzwlxg8e6k6rudgt        BTC                              18.80867173     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzyvf9gqs7uaxh2ewh97ds6qas6awwxtawvz6ju        BTC                              18.80777174     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q0yw9zl5zt7824d4uz596uw50ujpr4x9l40dkr6        BTC                              18.80437174     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4tnpga7q97az88egfcf8r0whlm4ex0e9dfuu4u        BTC                              18.79184550     2022-03-29 21:27:37         2022-03-29 21:27:37
                      bc1qewl04khn2vw9z6csyul0wcz6sw2qkt0azpxjwv        BTC                              18.78617191     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvuqxfcg69l8v09dkt4ydkjlafqcfzav69n7kjd        BTC                              18.78527150     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6v76ldpf08r30jrccucfa3pjv4ghj5yp9p6p0y        BTC                              18.78367177     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6n9hw5m2zr6tqnksg8y64uc99anxqkgays6yjq        BTC                              18.77937190     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qsf6e6zm630wsa68f5dm683g42yt8vuuuh5xg3n        BTC                              18.77860000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6vlwr4xht5xxuh04ymxkc5pwknrh84dekfgsj4        BTC                              18.76677194     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfesuqc7733v8n9f27v02uvrkpnh7lg4eg4kscs        BTC                              18.75747198     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qszmrv99xpvu6hlccqrn60y2w7hvulpaa3uxy52        BTC                              18.75154556     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qmxfj3edhzawzhnjxp46vwye2atrwjhdwlul8pw        BTC                              18.73937184     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrgpt0p9mvdqzu6mns0h83fj537nasf330vdtuj        BTC                              18.73317199     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsnjygx6r384tz3f5jucfe7f8f9vydcluc2hnur        BTC                              18.72797183     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qthv2uccflw74vyq05lpef36emtua8sg50mwskd        BTC                              18.72417184     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4tc4ukaw4cwhqc0qg0sk7ss4ayknktja68jg8z        BTC                              18.71647161     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrltt7kfvx4tzdjk0rk0njsafwncev83pdn2e75        BTC                              18.70180000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qw8msx4pdh558h2gzzazknzkp3y7f8fnhrmlns4        BTC                              18.69667164     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qt49076dc3enl5gpavmk9thmkdp32qjwze4g33s        BTC                              18.69334079     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsymwfhr9wd27k7kjsvherqtm9re95nnc22u62k        BTC                              18.69207189     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q02haks37sshfdhvjjxuay5rk63wkzw8w6xn95a        BTC                              18.68574566     2022-03-29 22:59:22         2022-03-29 22:59:22
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qam08y49ygk2xd70tj068j3kehm0qxqgln7hpcy        BTC                              18.68007193     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdw4q7dfm264duaas5m0j85dcgf9wtdsvrfd375        BTC                              18.67857207     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qk88ae2r2xkypmys5eypf2lfccrnw2suxdf2s6x        BTC                              18.67670000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzsry668gpxas5veapmms9uyn3ymjmqg6ktxuf3        BTC                              18.65887210     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6znrhytm8xekc7wet2qa04d0efwdp0zlvl877c        BTC                              18.65470000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqpun5avj680y4f0r74savqp340a3h7q27rakq6        BTC                              18.64747212     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkw4k5kqux3pmnhy2v6uyxammgfg3xhp7zfcqaw        BTC                              18.64517212     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsrgs46tdncprwqv72wd0evvwnj8xdxzuy3gup2        BTC                              18.63857213     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qhnkj96al60njv5g5560matfe4h2yrsrgzah8th        BTC                              18.63747213     2022-03-29 18:18:34         2022-03-29 18:18:34
                      bc1qwftjk3hsxr0kcdwz49fsd87mz22j6lxvdxre7m        BTC                              18.63464574     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qsnv3rml6zr0uzk8rpzf06u7hdslw49e6gst9e4        BTC                              18.62387213     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qhuktu4c6z58la4yaxqd65jsk5rm3jnjgr8k5s3        BTC                              18.61297217     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgypfndsp76ldyehp0lz77zxxdthtdrkxl24lp2        BTC                              18.61047201     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgafj4t3hujwx9n5kwtv4kag27ydw5smhm2neh6        BTC                              18.61027217     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6a9w57pr5ggpksqanqgjr5weqrlrszt30hhga8        BTC                              18.60677218     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkuceaevarndmfglw9x63kfcy0pm9zdwxlzfe50        BTC                              18.60077203     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdzr99gfl08x2e90mlxqdpk2vjv4f9yuellke3u        BTC                              18.59290000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyx6zcffzdtxuua2dpcwcm76kuprnk4nl6sjleq        BTC                              18.58197208     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6l93ungk693nx64wvrr9zs4v9yv9yl28zxuprs        BTC                              18.57787220     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qa59prxfkt8vlv205p02rwdfughe6x4qqrf2awg        BTC                              18.57600000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qymkkwmw7xtz7xt7fwvrppmgh2wpjnw9jqayt45        BTC                              18.57177209     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa0gpal3c94xgpnzerz9vf37ezy3cewwxs9kt8f        BTC                              18.56257227     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpqcaepk7fwhcrrhycwf7u36s03mre75p4wz8q5        BTC                              18.56207225     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzykgxvj4ntxughq7qjyrrh27gtp79gnsas9x6d        BTC                              18.55740000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5legcc7kfvrlhzpv9awgkyrr79zqq0h7d3sfzp        BTC                              18.53707228     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnmaz5gaqfsamxxmut3xwvrfce6ysa9gwms0fqk        BTC                              18.53627227     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qtp4gg7hp4ztuz4mjt34pjrslyer5stjkggzlsn        BTC                              18.51397232     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qylcffx6wr4sdhp0sl2dt0zjzpjpdch8tc9lycn        BTC                              18.50597219     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                   Destination Address                                                                 Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qzkzhxmdkd92gpjecexuu6l3smkck3gpyak0fdn        BTC                              18.49497235     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qak0hctxcvxzvv82268aduhzga0ucjgv7jntkx9        BTC                              18.49047235     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qeh8txm587r2q3ryq438v7z9alamkkkykhd7vy9        BTC                              18.48797220     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qygssr20angjsfh86w05jaw592p6pmmgmpycaqs        BTC                              18.48087237     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzsgr59c6waqlrvnjt27zyusn4hn6tztw9hm7mh        BTC                              18.47607238     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qtkwy0yfr7zr0s3qevmfvjc8x05edx33hyklpcd        BTC                              18.46977224     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1ql0zkzya4jghvrs4zu9ns597usn0vg0yvjzk7kj        BTC                              18.45527241     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmeg8s222wp7eg5qwzne36qtp3p486d8mg7pklc        BTC                              18.44754602     2022-03-29 21:22:50         2022-03-29 21:22:50
                      bc1qf4ruxhhlyj7y7k3nj750xp5ztmcdw09l6mv7y5        BTC                              18.44667228     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q884fjkc838h6c0y9cy2llerrxpdrvzfh6skp4c        BTC                              18.44037243     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwapa29tps3265dykrdqfc7vqzvn3aalju7wgpa        BTC                              18.43794117     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyp5k8wnjzwxh6asgy43lu0rc9cxstpwgxr8zgk        BTC                              18.43787245     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qx40c3nwcx8g2s6rz7k9fjhqnr94l3neakseyut        BTC                              18.43540000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q37gjjpvxawpkyctwf7hy7h9vevykdrkfqyr7t7        BTC                              18.43257204     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjc0549kch8nupyqeln499vd2xqc7rff6ju0lzp        BTC                              18.43037244     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7lpnstjj74fmdazqpcsm7pepgktkg9gj9yskxd        BTC                              18.42837229     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnv7gu5568g49j4mscaays28jsfpqg2mc0rjhrj        BTC                              18.42530000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpw9mcs6505wa66wvwgt47htmdwrpga43mkndq5        BTC                              18.41637232     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvnqtrlvx9twv6s29lp79yzygd6csk8c0stmr3a        BTC                              18.41284607     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qjxlrs2996hn4jyfqmtctz2k5yz4kqxx7rklje3        BTC                              18.39847251     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqljzj3qh2wk29j2k3675h89s270g7v7wxlf02m        BTC                              18.38817237     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qez4284etcdvrr4dnfexcs7svyvxvsnrn67wwym        BTC                              18.38574611     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qlay0g2xgchgk35zr7mh670n07avzjsu8n87vg3        BTC                              18.38507235     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7m5vuv85rxr7fmfzfs05j88z4cy0vukv9hkppg        BTC                              18.37697238     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5pc0wl20slgw3yyn09nrn8zc24s8wkfnmartg8        BTC                              18.37377237     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2hlde72l9v29zyaa5vxg5rcgkrpzfnueyrgz6g        BTC                              18.36181168     2022-03-29 21:22:50         2022-03-29 21:22:50
                      bc1qy7jggcmkemjsgerrvrj0fagtslh4yf8ayem434        BTC                              18.36017253     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qzd83744y5k0nhr550xtuc8vh87us8n0mpgxns3        BTC                              18.35457256     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                   Destination Address                                                                 Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qazqkqzve556n7sz7qpmsdn6u256ecx25aaw5up        BTC                              18.34957259     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qj6nzwcux6vvkqlqj5j4z0jrnq9jwwaswtg5czm        BTC                              18.34508727     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qaqn5n8j80wgwhjryvpagcc4qpsen3ma6ljfcjk        BTC                              18.34487241     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7d8a9px7662k008t86vgtl6rmrexavu3j4dxyv        BTC                              18.34337257     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzqktqzphak3m63kpu05xngk5mqrzg95yq2hxrk        BTC                              18.34067258     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qs5f2kcxjrxgmg5yhklcaqplwe8pna8ryx8fr33        BTC                              18.33407219     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qejqcf4lq07q2slp2uy38gw8e2j9sc7lst0lveq        BTC                              18.33127257     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qw3hnu7v25hw8khfwzlgafavpxgrhkjrt9hce8q        BTC                              18.32537220     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qga8mxlmggh43me436jarf64x5s5gk7udz2fwx6        BTC                              18.31620000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfkr6sg2nmxpjrdh5hjaatzpnx93j0llnmqev3x        BTC                              18.31331835     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qcna0xhl0fy4390uzp34x9xg2esxfpj2ejh89h8        BTC                              18.30964622     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qhq64jhsful4n2cqcgylg4cy7pdhqrh5ml7hnml        BTC                              18.29710000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qhxtcw52tl33v3srpstk98hqwrxatzr3sv4dv4v        BTC                              18.29477263     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qg5m6th44wxrj5mqxvmuz62dug4jfap8l0fkfz2        BTC                              18.29117265     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwuwz4dgr7r6rhf5zumdhx7qe2eyggwu8zgkvcm        BTC                              18.28557252     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qr3dmw4vv2mktsgsn0jlgy467xpvekcfrumsu3q        BTC                              18.27657270     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvndtx85tdyg8u2mr4qlpa084nhtcj7tk5lvlhm        BTC                              18.27503476     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qv7n59f9qcr4frjmgf6weygtsv2k9zmmyrnja9t        BTC                              18.26117270     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkw2n3nysxe49afdzqan3c4wrmpm7x4khk5hesx        BTC                              18.25237273     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzfjkqgedfqhl0wmqhy63w9r5r7jr42nlfk4lzk        BTC                              18.24657274     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q89emdasydum0t050mc2nnyecuq6n5k5ugm73mj        BTC                              18.24617272     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh6uyr0e85cy757glzjlvevelns7sq5zq33wmea        BTC                              18.23437258     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qhprvahqr7822v2z52d30g0c5kh6sluepenz3uv        BTC                              18.22517275     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qw0n00nnt03edasq84s7uewruytedmsxvyma8ju        BTC                              18.22437275     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7hcvntw9kplc3ngtt4jfxknaue3tsmywcvgswe        BTC                              18.22227275     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyvhmdz9s8dem8r8fv29eghqrg0epx6ex50cxmu        BTC                              18.22207276     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q293xfezr6m2qewfyewyu80z6s0cepvmdu3rdxv        BTC                              18.21847276     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwrx6duagac9yv6fdcgz4u4tz2gkrg33ht82v4n        BTC                              18.21497237     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qjfru6ucup7vj8qz2yle6jemlu7pkwjzywg4rmr        BTC                              18.21007279     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh2ewjjmfyy8vemyrg4cqw9m88s5ee49n3ay8hj        BTC                              18.20907238     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjd86dlzsrelpkmkqx90khrz4kkqy9rzakjssdm        BTC                              18.20587278     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8nu6dvtngfnr6xczclv45s60yqn9ltvy96czmt        BTC                              18.20027263     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvtyg9kv27uyp5mj87p7fkyur3q48cexatwms38        BTC                              18.19987277     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qmd96fl4uj0mcear78ujxw2cvhxvskz6y4xrgkf        BTC                              18.17468751     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qdvchv3wayvc75ha76h52y9074g8dsn5279aqey        BTC                              18.17180000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkzceuneeugyjxzkk7zwyf3cad0yzfga6a38rll        BTC                              18.16427284     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlyrqyd3arfqknscqsj5w86x3whwnyzqhr3t0nc        BTC                              18.13967288     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrv3akdwyx7mwgn89gvnmxu0d63qhsp2xc9as7y        BTC                              18.13017289     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlpkg56jppkdkj8vrfes738qc8z29wcf033ky2h        BTC                              18.10197280     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2dp55p9uxshmmt358dq4nwsac9qpyrddg45cvx        BTC                              18.08347257     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm4kxuzsy40vzn2lgnv5yms0wf3c3ejzrp0a93e        BTC                              18.08137283     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsa23gmyjftuhva8c38ke8s85fp0dgqallcdtz6        BTC                              18.08095643     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5n374np68zx890j22ap4pymc8mmcs6npx0j3gv        BTC                              18.07767283     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qx8pk0wkp497zellzge6dzrc2kp89tduw2aazcj        BTC                              18.07357258     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxgqj0nltrkkx063zmv0wlhqfcagxz3extjw4ku        BTC                              18.06067260     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy7ukgk79tj09tk0k55lytjevehsxqjt2f4y58u        BTC                              18.05327261     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q58gjrx5pvlt0334qpfe0wm594nnvx8ravptum3        BTC                              18.04530000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2m6zhyrw8vn9c9vymsrk97wnwm2hdrv5w05c2j        BTC                              18.01837308     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qc26qgxphalzqvc7nwxxlvh4a0usmu9t98ctmtf        BTC                              18.01387293     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9fxylvdqanxfy90q3ylz4anm4l95jlsjcj2af0        BTC                              18.00291882     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgels4s2g3h9s3szc8r683pul006f9e96fvxzze        BTC                              17.99997311     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1ql378jp46tdsq25svqdajw6fkxhmmptpzkzfr67        BTC                              17.99498779     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qhfueehzprjl4v6p6p2kyv898svghj7xpkkceh7        BTC                              17.97668782     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa52qty4j2d75kyp00yw76ylfutf32h9a7a249s        BTC                              17.97027313     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qj78mrl68hrva088ue27cluxuuumkmm44sv9lfr        BTC                              17.95887299     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrnkndmd67qet52hmlg5ln7ea36jwnd6lyemmhn        BTC                              17.95207316     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qst8nul8lpwf7dd76w9tycwpmft2w0kdvu7fta0        BTC                              17.94697319     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmwpe5p0p2yvvwytp4nfzdwmel6d6tqg3ak2g6r        BTC                              17.94567319     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qthhs7jpzgau79vvj0ewfymwkpzrdye2fndcggv        BTC                              17.94537303     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh33ekr0ceah5nwhk5c08vy2638zvl62ytfnnuc        BTC                              17.92547318     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qvv83gwf7dyrm7rpnpq878gphpp34sk535ctfy8        BTC                              17.92027321     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9a55emj0l6kd2g7sevd9msjwmchcrfd0wclvd3        BTC                              17.90657323     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgfzq6eavgcnfua4p00ck9qkkpyxsqhcd8dhgqm        BTC                              17.89904684     2022-03-29 22:54:53         2022-03-29 22:54:53
                      bc1q273ynplrkgt2fv3jsd7qwk5rfec8m8rxmv8dxh        BTC                              17.89747322     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q6x9p8n756j8tg0wl8hhau9hmwgukgs93tw08ka        BTC                              17.89730000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qk8kyfv2aluu5ql9kmyll4je69tsl7nw3t67mqt        BTC                              17.89547322     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qvujsyhvyj92u6hz2wy5986sgm78p9cal3kj67w        BTC                              17.89327327     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7g53yvduhejqvf0zafcttepnprf6xrey4uml0d        BTC                              17.88137326     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qe6fkkq4ymj64fs8hqmvtvx56dhmulvmyc5j27r        BTC                              17.87230000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qp6k37n80pqjmu0x3d40kytq0nje5wdz73cqylm        BTC                              17.87130000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2andfngz0n94tfn9pl0u5xldnxyf6nytjfylr6        BTC                              17.87010000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6lrlw2h6w8tjmzssz4mgymm67jg3l90mam6uha        BTC                              17.86582038     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpzy6cehq8ru38r2g3v5vp4nquyflfmea3hrd6k        BTC                              17.86117329     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qla0q0szazesgacet797edpsfe7alt6hmywfu7g        BTC                              17.85837314     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqej222ampvkmx500kd8fdmcze9jrlxnju5l7q2        BTC                              17.84887331     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrltkzlp632rrfasnzdj8cewkhznt2xm564vujc        BTC                              17.84527316     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3lgjwxnyauhzn9xhje7fnj53hnn2e6vjkhqnkw        BTC                              17.83937294     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qetgnss9sv87q959n85qdsfqj92krqfvf8qg90r        BTC                              17.83827335     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3wf7m8twmzsz0yljlxml9dr83k4qlw0d7a8586        BTC                              17.83617333     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qaakx9ccxm4ejdpg2rdsenefylyq47t4prrqwy3        BTC                              17.83357334     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzzwclnfupsd5ezp45xdl53e9dgaqjsazhnd24a        BTC                              17.83347318     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmas7gl8mlr02rgjzuvtnkcet0k38kf5nxx94xw        BTC                              17.82337337     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkee4hvx7rdk72t99742u4y26afsqwfgn47g7qz        BTC                              17.81317337     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsvu6a97cewcayp9p8c9weg6868kgu8t02gazr2        BTC                              17.79507337     2022-03-29 17:41:00         2022-03-29 17:41:00
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qgkh4fkz0tca0dms2qtt2nnd7esxzq358hg6c7z        BTC                              17.78727325     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qr0ph6em6wd8yjtp32620mff08kmq9z2vym0e66        BTC                              17.78437341     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q477umc0ddwtrtmn93wgp5mmt42wfq7av0srkz5        BTC                              17.78120000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkeq7sqx82s7a4s68nnx5cjrpp0e2pkm42qpfjm        BTC                              17.78107341     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdfx02yx658zuzl66mfpy6r0qr0hvhwmzwf7u74        BTC                              17.77447342     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpypyw08mx4mf5ee0gr2rscgv0duq38hlylczr0        BTC                              17.77427329     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qn2qf8c838mxsvr7y6ar2zw04mqf74k3vnw4qrq        BTC                              17.77247343     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q853y8zrh26t4xtmlvgafauz0n7saz306d32a0w        BTC                              17.76677305     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7edewee7ut2rfern4yxqg49a298248z68x293k        BTC                              17.75747331     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnlmmq60guf0edehyra69rhj4rqd9h0azuu6cl4        BTC                              17.74867346     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvw6dxs6kdhj8u5kcgfnjv8fl983r064ffrl9ed        BTC                              17.74267347     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qna05mqqqsujy8asjaymtcqykjld65ptdcesw7j        BTC                              17.74150000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qx0562vz22dgrc9fhkmqzk7cqllq8uah8qz7509        BTC                              17.72257352     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4aenhc7yap5u0lxhjhuvyc8zz02esr4xzc4fmp        BTC                              17.71097336     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q36049yfh8mzwpjkumwmd3pfu54p66kcazvgjgm        BTC                              17.70877352     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quz6m77rnhpnz2yul53nnu9wwjpmz6ug2wfup0r        BTC                              17.69384714     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qfyy963yh2tuajevmgklhs50mnvknwk0mrqww0f        BTC                              17.69107357     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzmy8wn52ww6pjr5e79rfxtj7cakusnpfy0tdk9        BTC                              17.69027340     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qu9lef3ygs4u27ypfgykuj8aflqx2ygka4pzxtd        BTC                              17.68087354     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qmrtwmzurmjuwdk7zf7kkkgnjrykgzkleaunvsj        BTC                              17.67114718     2022-03-29 21:44:59         2022-03-29 21:44:59
                      bc1qh9h9yex38cr0fzgfl73cwm4mqnguy9j3tny649        BTC                              17.66197359     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qs607mf7xnd2l3tlupn0jept73lrwk4sqxnxtw0        BTC                              17.65624720     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qz9yr2g6jfp68zu5r896nhg8x878jw4s2u0a9pe        BTC                              17.65507360     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q239mqha9sl63rshcc9lw475re064h0c7rf6ta0        BTC                              17.65327322     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvta4txfe6xqqkc9yp5qj0s5vfhmsmswx2dg8f8        BTC                              17.64877346     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qex0m4f5tuyjjndn34xwywyxyu2v00hk5sdfuj5        BTC                              17.64757323     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3cp58td33rakrxvu32txz6rc6yzt9jstjrgp8e        BTC                              17.64127362     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qympmkjcshwq3e4fya6uahn9cs95sh8lmsz39uk        BTC                              17.62477349     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qxrja0dvgclxlnw89mx82ags7g8d7g364zufzp2        BTC                              17.62120000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa4rvugfr0t8dvqg76fku0s69q4zlgg5h5lw870        BTC                              17.61497366     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsse3vsrqmrz8uv7dewpssrze33azu66hjdcqtc        BTC                              17.61447353     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qg3dugzmtvwptcfe3hurrwqxqtpmpgjcvynp6ug        BTC                              17.61177367     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q927qphxxyvzae78v7pl6leszj6a548aefyjwkc        BTC                              17.59784243     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfvwc42gfp3r7kp3nly95r904jsmu3992vg5x9g        BTC                              17.58697368     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q5n4h0wc55e7h9v33grcgtrlt8ed75dcgr7jpe2        BTC                              17.58117371     2022-03-29 18:18:34         2022-03-29 18:18:34
                      bc1qjx4hdmhd7sz6tay6y2ejy77a76z5mmc7jjswzl        BTC                              17.58077371     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qphwx4t4y8h54f0x2rqas9uwk4vpt7qkh95ezuw        BTC                              17.57967372     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm7m87slgnmeczjqjyk6vgvutjnlc7cf28adv3u        BTC                              17.56967373     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy3fc8c0qkcgaznsfnl9jyqmukw2zu9h7zqh0uz        BTC                              17.56807371     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qv9xg22vxu4hzwls88z4c9pcn7pvnee3kkv4vpg        BTC                              17.56374734     2022-03-29 22:18:04         2022-03-29 22:18:04
                      bc1qdshejjvvtpan734tgrlrw7xnq8ux8v850hfpjf        BTC                              17.56117374     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q33yp9xsvqgkns0ll3h84uwsfchs8zgvmv3zy5r        BTC                              17.55897336     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qv89nj064gfsap0496wx63pjfpvtl24rwpylq6h        BTC                              17.54447361     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q70tnw385wpef8phwwpejsz62lpq83c0ycp98lf        BTC                              17.53208849     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvuavw2qrg8chdfcs3l86c5y96tv7l82kvzj746        BTC                              17.52577380     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qahsafw7fvn23rrlgv73hf2hc9keuakgvxr5ncm        BTC                              17.51377343     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdn38jpaj34q2p5jpadc8rtcadr2h6ak9jzzpd7        BTC                              17.51194255     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qn80y0czc8zggp5cgfx06ryn4h8j94z9r05zspl        BTC                              17.51027384     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9xhyr98jwutaudgf2pjx2dx9v6cync8pw6vhuh        BTC                              17.50527383     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2f9p6063ye9dl6uucxx6ekv8saxtd3zz5l6uzc        BTC                              17.50237383     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9adsetpcf0skxwhfty7xfptlhtwsknwywnde62        BTC                              17.48827385     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlr095pce058ecuk7hffvgqnx3n67x75g3dhpkd        BTC                              17.48750000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa4qqewglnl380pc7qrnddky9tpc3w6gc8kyunm        BTC                              17.48447372     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qspljw3t8rpq47kpxctypmsn50lsqcr32yaeyyg        BTC                              17.48377386     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmffa7w2ftkhggwd5ylcz49vujr7v2sgg5ra5xa        BTC                              17.48177386     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkyg8n8ff49fkx588skmq6amgpqd3dkq35d6xnn        BTC                              17.47947387     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qycd55frpdxyrl9chsr9w09zqdlw95rduhhtzxe        BTC                              17.46717390     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qw5xxrh07uqcld7gtydujgm2w83te5gv9e7wdhs        BTC                              17.46479976     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjphna0ww3f7k2npentejvsg9tujdcvvg94m7pj        BTC                              17.45994749     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1q3utx0uzvrtweuxdpr3h8wckayfu6fjlnrzpyrz        BTC                              17.45607352     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3gedu9wdehr9azkapmtagxrqdthanj5mff3cgf        BTC                              17.44727376     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2c9sywyk4pmw26fqq4yrghwwqwesxg8dk0ktt6        BTC                              17.44547392     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8vpve0q7j5gajz0sdxw2m8vfe07ssr84q53uvt        BTC                              17.44008824     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qg92s9ju9uxm6qhdqapp8w4qzpuf7lu6t7uqtq2        BTC                              17.42837394     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkhdf0dqgqknxs66zw5a2z9p37q52zu5d8ctakf        BTC                              17.42697394     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qd492029qfmn94x949s365cq0ccz8nnnax5jenz        BTC                              17.42187395     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnupdpftl05m5u7tjwx4kaak03ehcmy83eawa4z        BTC                              17.40614757     2022-03-29 22:51:22         2022-03-29 22:51:22
                      bc1q98l23jyh0pzjjvcm7sxf6uutf6fa3cg424mkm9        BTC                              17.40237385     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlvjvfjagucqjrsx8zs8lfhs8jf6raptj29x7t8        BTC                              17.39500000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q39j4a6kahvs357krq03jpwqwmnlgyve32tdgxl        BTC                              17.39314759     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qpvdct69ftrya5t7fwnk6h35lxa27mygy0efpmv        BTC                              17.39307362     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3wjcqgj9vnzmzce00qkktesj2f7txxktv0qap4        BTC                              17.37587402     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8tfd6075kg4fsdufkge4vfqr4lldgpfcpj8nn6        BTC                              17.36457402     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qjlcmny5g33nde8mgn7rgqh798myarf3ckcgffs        BTC                              17.36307402     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qy6w93xfg00jtt9ztvwt9dc7mk9w2f7j40zn0yf        BTC                              17.36007402     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qr74wp5yqru53j66tnr9zzn6ym2cv6zt9n9wpl2        BTC                              17.35980000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q09kvn3vt3dun8eqwjz6h0gpnepvrzpl8csxhzs        BTC                              17.35977391     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvraw7etwk5lxy7tsgm6585rdak9dgdu3yv4epd        BTC                              17.35330000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9pszn2gtp9wrktsvjpdy46zcc8qv46kzyevndj        BTC                              17.35097406     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q86zhgagnhgxqaeg0frrnrtvnvnm49dm6avyxez        BTC                              17.33464768     2022-03-29 22:54:53         2022-03-29 22:54:53
                      bc1qna9ttyfa7mm2y4n6ec9kjp9talvzdw0m70mapj        BTC                              17.33077411     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q74vwy0zdpuw42rdtpekjfsag5s649a0jh5hyvl        BTC                              17.32887394     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quj7yzgu03c9rkf6w376rpqz4wqd5dsvdfgnaqm        BTC                              17.32154770     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qx3w3ddsvttrw96gesyjwnww799hqhtvh2er7q8        BTC                              17.31357398     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1q4l5zr3d2t4w6xxeqmscathk57qx2qd6w2he8vt        BTC                              17.30747399     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy858w4sv0ff38cmq688aaxa7y5mumzc29lfgla        BTC                              17.30647375     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwq8t0xjxlw58u4jx6gn3spv4g83a49t6c4yw7k        BTC                              17.30070000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmjgre9frcukyuz3luhc5ujmtxee3k57ydu3ece        BTC                              17.29389625     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4pj728nr0x9gnl9awgl2yqxq6daw8ng5t6u94m        BTC                              17.29167377     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa0m4897c8fs0z99e02lwfeakq59vkd2mvw9qqu        BTC                              17.28997413     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qtgrfme3727t7cas3quhqxv5v7cnrpyf2pxfaw9        BTC                              17.28707415     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q039vd4zt0xhuydjtn0vf408fm7d9awtp68y9fx        BTC                              17.28490000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qad9xx5z9agzrlpun6c5m4tdtn0mx47sekev9e6        BTC                              17.28274290     2022-03-29 18:18:34         2022-03-29 18:18:34
                      bc1q2kxzkws3wrupemv4wfreyepjqphgq3ptywcjdw        BTC                              17.28097416     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgh6079nr7lzzk3qegthyah8l3rql5pz7zzqdzk        BTC                              17.27454777     2022-03-29 22:51:22         2022-03-29 22:51:22
                      bc1qfc9ggl28fhfg6lysh9efxmeq96vly64d0ge6l8        BTC                              17.26250000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6yk906f8zg5c7u430qhyppw2qr6mrdtgh92k5j        BTC                              17.26007417     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qkjpgmrxux58j5cqrurn0gjyxrv65qtet4yvysd        BTC                              17.25887421     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqgv9umd09j2t83mmm9sntlzd3y4wravu9uxpqm        BTC                              17.24347422     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qg06h0e2fkck49s85elmjgpeksl8z6vlzudp5ra        BTC                              17.22587424     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmu7nrte8xpv9mcxh9xr46vr5qhg7aa7jejened        BTC                              17.22160000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9ydcdfqg54n5ykhhq8f8j7nlgf06mhy9t4edq4        BTC                              17.22157425     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qahth6sxavc5dkj9t3e7wrxgh7jaxwezp029pw5        BTC                              17.21717426     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8dux5j7e9ywsnf3a8qm88vmsfcl9lc3n8k40we        BTC                              17.20587426     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qmce2eeqg4vajsm8e2ptxdwjnpgv2pnz2w4gp8g        BTC                              17.18397431     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quvd6ylgpeqkvuczudgny9zs3q9y29l6csle7ry        BTC                              17.17935443     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7f9f3ljtyanq0j354eupdh334ca64k8rwlpjhh        BTC                              17.17917431     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quyfh5gxkh6ug33075lat32874hlsx0keexl3rl        BTC                              17.16610000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qq5nyvhrq6e8wesklxggjt9slcmdgzqvugn8zxy        BTC                              17.16257397     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjwg5dg38nq8shwjtupddece7ct95h3zdqag2lx        BTC                              17.14827436     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfzeyq8ls0vlaf94jq3a9gsxdmyv9pzwgfl3dxe        BTC                              17.14827434     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qkjl0qq0myhvsk348ljg7s80jg5ek726ud267c5        BTC                              17.14477439     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                   Destination Address                                                                 Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qqmgewgsskgt9wpq380ufnrxyl4ev78nzcmypkh        BTC                              17.14380000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzxwla5xg0a8fmkdws9laf2drmexlgjekjw5k4u        BTC                              17.14207422     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxfamn5cf3mqet9kuqgnxdxtu359nh0y3l99g6z        BTC                              17.12897439     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q79tjtcfjlrp3c6f3eprxh3tk2ztzlt552gh09z        BTC                              17.12877437     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qz0qlm0ng5zfayg6hlvseq76tphytvd4en3g5al        BTC                              17.12127403     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdcx55n0ewspttrhdyp0zk7aa88kuyh0g607272        BTC                              17.11457426     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpvh3n2rrcq7m9nay6jftdq24fw9zga9jauzzm7        BTC                              17.10897442     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q32lz5jeuet4rupjunwtyztaqer7gy8wvjf5y63        BTC                              17.10710000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjywp9vdawmhyumrh84qve7j7dhrwsexalk39p4        BTC                              17.10624802     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qmm67kncsdctzu3yk9km2wxzmec3a5yyvp7wm9q        BTC                              17.10617442     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3hruu2el65wju9q856jzqck9nua3h8n4l46vqr        BTC                              17.10312016     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdelvj0cntnsnr5tzw3ytle9xq0nerjgfj25na5        BTC                              17.10167428     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5c03nrf3qqr28mnr6mek6zst5ne8lxdf973s0r        BTC                              17.09887443     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qf72kqx9q6lhdnv4vdru20rr2pfvdstdqhlehvq        BTC                              17.09497442     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qcchjkmxl7xgf63n0l2as77nvkrdjmyh5ch30jl        BTC                              17.09257446     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgl0u8ddmdhm58w4zmycfjpg0ga2a89tkqd45gy        BTC                              17.07867446     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qu4rg97mfkufy5y5ma96z2c5qt3z6ftzjynng0y        BTC                              17.07760000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy8erl2wtamr09dzlydyheqm88wedcspra5qqmt        BTC                              17.07487449     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdy2x36tju2y7aet2h6lyl30eat5kyw6r3zsu77        BTC                              17.07077448     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qajcw4w7k5u376y4m5m8mmsgvrklwczpypu3dk9        BTC                              17.04857414     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrf2cmmcdjwqj77peq3t8a0xjw7cjarscs7vt2x        BTC                              17.04720000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyaglmhwzrrnrt6jelhed5w49m63n9amlg42gmq        BTC                              17.03897450     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qz33kny7pznvfxy2stpp9us0me25nfkvl2vyjz4        BTC                              17.03747453     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlvyz0u06npnclzjxnmuzk4qj9nfuz47yf0jp77        BTC                              17.02950000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9juxgm8rvpjrde00eqk4rhtxslwfzyxx3yvmcc        BTC                              17.02830000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfj60pmjg0w8yn880hz7e4dsj5m5qmdgdc4zeyw        BTC                              17.02564814     2022-03-29 22:59:22         2022-03-29 22:59:22
                      bc1qhnnthcz7fjg2kq79ppz29f4j9kj9rnzwqnue9j        BTC                              17.02487454     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qx48qx802tqdp3tfns8x9dpyqrkrejx9rm5nlnr        BTC                              17.02477457     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qr55lp8f0rrfr7uqmt47y0g5vz7vxua47zdm62t        BTC                              16.99784330     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1ql38p4tmx4rx6xjts5vdsafwk0dqd4u2wv2xec4        BTC                              16.99007460     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfvsll9fs4nc6e7l57gnjfaph07arhys0q866le        BTC                              16.97897461     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qt86wmxwz2ds4h5pp0xvgzhuk0am9hl9894dm3y        BTC                              16.97877461     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyhy94mtv2222a5jmqd9wt284akrtu33j4l23ex        BTC                              16.97097426     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3kd7h8yg7due4kqxcz7c9jt2mu37qaqnl9rpdv        BTC                              16.96477463     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qq0p36czn34u22yhc3mpse3ga682fnjh0puvj0v        BTC                              16.95937462     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qmt7v0rfmpylfp56cd4g2k59g7cga88fe6fn4pw        BTC                              16.95537465     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxvlpltu7382mqasj590xh4pcgwwev5vlmf2983        BTC                              16.94897429     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrym0uu3hda5m4fknrl70ma3k684hdya89m909e        BTC                              16.94087454     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwn2wq324c69teyr0jzdhvchcdcc0nfm3x6j7hk        BTC                              16.93287455     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qeahsnu76jxk2420j5l0swy89m0zu49s78feafa        BTC                              16.93177468     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrkgpgnglqffggapztz9ghe8stcugkrys6qa0fg        BTC                              16.92020000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5mesfn2aqr2246u592ae9cpsp0xykx87ks6mwd        BTC                              16.91697473     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpw8t005f60w796a5xduytlp67kgcjlk84xz332        BTC                              16.90457458     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfg0jhxgvfdd792vqh4dspzsgfarphhar3fexwk        BTC                              16.90397458     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q0dqf3tr7736tfps90mgp6q0ly9ec083258ej85        BTC                              16.88774835     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1q6dayfsc6nk7k04zf2spg2mfrn63yllhcy5jcjd        BTC                              16.87500000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qw2gm6tp7mx7fad4cthfsjgvgeqz3wh5hy3vxaj        BTC                              16.87207477     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qern6wy38r6ywuxgyfk0jm02ht026ml99a80l7m        BTC                              16.86780000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfp3t8f54lyq292kxhnsujuypk46meug7nnvwu6        BTC                              16.86237442     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qu2vayv43yunhdxmlty2mrsys9glesrxmyxu70k        BTC                              16.85717467     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qn8t5dfg6zs9y6n965hc4h5sq04dk6pv0vfr2yc        BTC                              16.85684840     2022-03-29 21:44:59         2022-03-29 21:44:59
                      bc1q00rxugd8hnjee95gklgxmuqgm0jps0yl87rzm6        BTC                              16.85460000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qewv39t6df7yaztsd8ad7vn4lxdg8ldgdzz9h67        BTC                              16.85332374     2022-03-29 21:44:59         2022-03-29 21:44:59
                      bc1ql6t0386r4vlrt8gscm3q0erh8cx9q5hpudx9ke        BTC                              16.85217478     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qu2tf65aytju5e04dz35ymp9ju0t2m0xw5g9u4q        BTC                              16.84790000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzgzrm5x6kmrq3shp5a9skx4xvmwu6m4celv0hc        BTC                              16.84637479     2022-03-29 17:41:00         2022-03-29 17:41:00
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qtuy9zss5kxqq0ymcqt0xf0f46aqdxfl5sunp9t        BTC                              16.84577481     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpynj53zs2hxr5cjnjwus523g6jqspasegapyye        BTC                              16.83947482     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qel202s28zxe5cywum80ca5phhpqz604f079duc        BTC                              16.83480000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyx6h2sl8p5p0m0aj4nm8g5ch72l5lcrt7ylmr0        BTC                              16.83387483     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqaruz7j67hx68l5478u3hmfwyeernscv6mwf7m        BTC                              16.83087447     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh6v0tm6jx4azx5a4suqvjatlvje9m4yjv32w0g        BTC                              16.82640000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8uxv4aykrnkgvjdeakh4mt2k5ng379ca3cxlaa        BTC                              16.82277485     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgaa4leghhd2sjxjrwnfgx7v0re35u2s4q3zjyx        BTC                              16.78867490     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5hl230ne5mcnfl6mudqc6r9e6mtzjxwdqs545k        BTC                              16.78537490     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7q5tp3cxyjv2jmp4a0uv0h05tctxkvcsmrtf44        BTC                              16.78094363     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qvcamupgqjsglsp7d6kjzkw2y7m8sqskzssjmt8        BTC                              16.77947491     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmwvllgzg0nmu6lt54vyrwldfnpnrgg5jkxr5en        BTC                              16.77677492     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qtzk2zu4vcw0eq7793lw570j0cum5sjlqfmwsp9        BTC                              16.77597490     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qvkgdc5yp3xfsy7mnmrfqxdpnew7qsn2vmuyqz0        BTC                              16.77207494     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2x7cl4wmrsxe7m5s7zfkvpj752lkfegrax2gcu        BTC                              16.76160000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q99q95dllhw7kggfaysrywg4ukqylv5qjwre9yk        BTC                              16.75967458     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qq5ryughhrrnghpd3nfc07etfpdeuy4765u0ec3        BTC                              16.74874856     2022-03-29 21:27:37         2022-03-29 21:27:37
                      bc1qneayvahesr48l76zwywn5srtxrgk5sdedhxufe        BTC                              16.74597482     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqdv8xzd2w8es8m4fz0z9jxl2x2zl96rmr7q7a5        BTC                              16.72537487     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9ar2k774pv03mpm2ss5z6m4xegjkjsalppq90q        BTC                              16.72337502     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5zkyaktqq73zml0xgpwcwfc7nf0fqgsrce977m        BTC                              16.72147500     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6ehvxywk84ue4fhle5h6cdpzp5sd7ckx4fh8dv        BTC                              16.71347465     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1ql8ul7amj8keq78tfnkw6qfclee9lup9n7jpp9z        BTC                              16.70947502     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5xuch7swp283avn3asgqhsxmzc237fcx3hda3x        BTC                              16.70110000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrq6umk0nwgwt8s88f88my0ms5uep85d4z799qj        BTC                              16.69957503     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrc3v8gz9a7a00yc3wl2ymxza8pfkfvs577d6jg        BTC                              16.69847503     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qg9daljpq4kh5206mjr2y48cyrsr64wfjnt9zk8        BTC                              16.69537504     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqzf6x8ph8e8zgzvjqxw67umk3rc5vx66j66y8d        BTC                              16.67897508     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qm3xx9xuu64awff3r2p57dplrd2jtl2700ad2zy        BTC                              16.66677508     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qce5zz7gfujzvuw9uk8q5h2wa4wx9hn3eayn5x3        BTC                              16.66227472     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy9q9s2uucgwxhc669wstq2hz6lr0ycz8w7guv0        BTC                              16.65827509     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgkcs9szdgcxtpfqheu0kpjc2k6v7slmza2pcka        BTC                              16.65647495     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qt93gck3pljrenr8fcvsgj4cees83mdsmp9cwag        BTC                              16.65437510     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdpnhpwqyh7ag2ktm5ngg2azn4my4rs79r4986q        BTC                              16.64327475     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmj0rl42r5m6w8tfrt895smwmgxjafk9llla25h        BTC                              16.63014387     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9djway5wgqufx7ek90dzanqwfdt530n43syqlg        BTC                              16.62667514     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfj2ma0j575peu03nxqgpvw3rqtdhzsa99k4dyj        BTC                              16.62187517     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qw3lwdqs0scz4ljjtc24j3y3pq5jg5t9vxzjvcx        BTC                              16.61124876     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qavxzld6x3pacdwta6vyf9x452r2nu32m8n4gsw        BTC                              16.60677481     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5ntmsj52de6mar6v9swndwsq802lfesfc4sce2        BTC                              16.59967516     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qmk2v5pgx8nxfdep2qxsv088579aldrzvepz0cy        BTC                              16.59800449     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qn6gzalvjskxz64xhsvnvyqy630ruwfev3496c4        BTC                              16.59774878     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1q9fgjrapqvxfpk6f3cphslatfcnzvq5uzncerp6        BTC                              16.59657519     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsntqg43wz42yqa6xptrdlykun488kvkz3thrqh        BTC                              16.59107519     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzwgw06h5f5v2ma5t8q0xrt90r85n3gxkt3049e        BTC                              16.59057519     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlh2wxns8hsg3euqwhv95hq5zft6yvt8mh09cr0        BTC                              16.58457518     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q6rmfscn7gk7zkafjjl4np8esle6zwxm0yahy7y        BTC                              16.58427519     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qtfn2v5uyg468f6cdthr2gvm9fqsh9pmys2upgn        BTC                              16.58354880     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1q4sk0ewg580ugmktmqgrct586n5zl466dejj9mk        BTC                              16.58037506     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnkpp8r8u89r9az3fu6j867nkm4racaltnynpmh        BTC                              16.57927509     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh5krv884hv7rfj4amayg62wye3j6a8xnxshxp3        BTC                              16.55197513     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6x06yznh9l0ek9fvpgy7g9e8r68j50entp9xz3        BTC                              16.52650000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5d409hce83jxy2c7f4ajqw894ha4jfhs773ynw        BTC                              16.52200000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjss5dq5qdu6wl84q4lgug577np70p07gd9yzed        BTC                              16.51567533     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnc9zc582hdxlvph54d99gnevm4e4c3yr9a3cj8        BTC                              16.50857534     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5p20szt49dlqpjputy95qry6x0722q85qkh0l0        BTC                              16.50597532     2022-03-29 18:18:34         2022-03-29 18:18:34
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qr7a05d4rxqres3mhygdnj75fgynwvwsgkx56fu        BTC                              16.48967534     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa08lld2hqht46tk29rwk0cpmlz02hszm9pmypf        BTC                              16.48637535     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwhzukdd8xtjylule8qu9t6f5hcrqk24vuwrl3z        BTC                              16.46877523     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8h9f8d9c4llhyx0gaeuglzv05cuurz5dj8r5aq        BTC                              16.46717536     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q5kleet4jkr5u7f48tj7jwvej9llenl8u892w0t        BTC                              16.46547536     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qggqvw6p3xa6hhdkxegxuzeds75jr2xccs6528s        BTC                              16.46497536     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qsnwzd9j3ujj25xlzcccwxwxew00kp4qagp9ur4        BTC                              16.44937541     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2qq0pg7982x2apv07mxsl4a4g8h5268k7kdzsr        BTC                              16.44107540     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1quenruqdr9kzwy7ls67n89gs507nj3rtvg22lt5        BTC                              16.43897540     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q87fptx5f4qvqfw5lq0qzygj2m00v9kgjsxv0we        BTC                              16.43737528     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qragv07feecp0vzpyas7vfxvj8ulcs9kcx5yydf        BTC                              16.42747544     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qhyguxptexhal9qaeghrcfl09xy0s9pvqlfxyxs        BTC                              16.42417544     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkn2s2lx3sg0ce4sxku52gkdy8x0pn96tghy58e        BTC                              16.42207545     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qg9dqatyffd2kc0c40feck454jgegvznc2pnt39        BTC                              16.42177545     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7gkm6cyj7ugq5p4kgxqu9myreepulamk4fry5h        BTC                              16.41997509     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6c40rhdlenkrjvvgkn2276trnt0ujwyrwg6jq2        BTC                              16.40397512     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qplc0rmzyjj2wxt4456uf8zcsacawgm5plgkugx        BTC                              16.39317549     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qz7fa4v07kc5ygp86yy0np0n6dgzhusekvqcye4        BTC                              16.38677536     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qncncnjwggfaewnht5sk3ngrqg3me3tpyh7y022        BTC                              16.38297550     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4dxwns5aptgw0aqsysanrahfr7rwnw7wvq9pef        BTC                              16.38270000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8v8fjfrvuj96g3r27veu30x20qvnqe9w9es3c7        BTC                              16.37827549     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qe6f9jt0zzvzqwf0uz4q5fgwfj2wwrk50eztufh        BTC                              16.37707551     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsr6zsuhsx8dd7dtwddcf4ajvfn254peeuh5cxs        BTC                              16.37617537     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpqtm7ds9gm2nk4ukpwr9d0ywjnvhfvjvru06tj        BTC                              16.36877553     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdcv0vqy5p87d6xarcg6d8r0njz0ryxlj6qfvh0        BTC                              16.36852488     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwhc6e6swcacnze90rvy6kwjg94wts7sw0wnn0w        BTC                              16.36567539     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q22jz2xna50hzcj8ueekq839w739gl5zchegyef        BTC                              16.34877543     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qf725j4jtpq29evxxkk9n3xru6lv3t6tyeedz9p        BTC                              16.34407556     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1q3zy4ejyt8mw4mewuam9d08cehta6v2n8ql3v00        BTC                              16.33597545     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qhscss3f94wvpjrxuaf7vxjte0wdln57zg58l0x        BTC                              16.32490000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qcs8zdrhx7hav40tsm3q9wcjr52g8mfr7enxd8m        BTC                              16.32037546     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8yxnhqczr28l3eqrq88cl9ksq5cul0q3mlt5h4        BTC                              16.30587562     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q79zfm0k268cy6xup63hhta6agwn0xkccmxpsze        BTC                              16.30497562     2022-03-29 18:18:34         2022-03-29 18:18:34
                      bc1q9s06yv8k3czdmats0h7uqlfv9l79spjaja55dc        BTC                              16.30357562     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpktut59ykd05kms35t30qjvzw2qyjcsfrk95az        BTC                              16.30320000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q0q6dlnhmr5tr8p8lvduz3h5v830kjw0gtfl480        BTC                              16.30217563     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqrx4ypw8nlt5yua4z0u6ywpdlqs5xmpd45mvcq        BTC                              16.29770000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3rw87eq9gqmkwpeg72twgz2pm86m70k8v83fj6        BTC                              16.28807565     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm7mkye7zfl99mj46gk3dlmsxf7d82nkfhlv07l        BTC                              16.27214927     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qvvfc6jjjpc3gczt3cz8par34sveysppumqdsk2        BTC                              16.26967567     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q0lcdr7usfd48q5g0hyjdu5gda062dyq52ec4c6        BTC                              16.26857568     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qd5c8qfwxnppxajrlt905xpt0t64fhcllfdvvyz        BTC                              16.25131814     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q8m6lek94e6pyp6t5lr9je5pt3fj0rs283wadv6        BTC                              16.24717573     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxfgpeq0qrrfte4cp58e8qdwwja6nzrnajy5atv        BTC                              16.24117536     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrgdnqt58jdcjqy6up5gwrlpxseu2msh4mn6kg0        BTC                              16.23547573     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q537h8wdcy47c5km7wfnhjvjjmn3t3r7g9cdegp        BTC                              16.22007575     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8jwxj3zqeenc9jarjhw7x0khjpxxrj40y4kjjc        BTC                              16.21907575     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkukngqd9rv05dc0h3ynq5v9ugm2esr7swfm9vt        BTC                              16.21857573     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qhux3pl6y44j48xcpn8krfynsazac23hrwevfnq        BTC                              16.21647575     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7dzr9as3hyzp46ex9fe5llvgprkczlfy2z0nkh        BTC                              16.21227541     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qr7myhrcr87ggulu426ywgucxanrs920t9vzmz9        BTC                              16.20787579     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qr8szfj86vne4p8jr24zmyst5lg48tsg2dergw7        BTC                              16.20667577     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmyy92mvl0ex32533jat6vf8qpgfl7pen8yslw9        BTC                              16.20374937     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qd4vtzf79mtu58vfw6pjnyxkyxetfy3xt360qaa        BTC                              16.19447543     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqf2jv7382cpenjnh4sswa77w6t37w524x3lmuw        BTC                              16.18970000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh6rmq4zxzqd8cd7ngn89mm3kkc78yk3wg49p0p        BTC                              16.18877579     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qqmhqaljyusgkwetu39c0x82fktsect8ursx35k        BTC                              16.18317566     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5eny32hhz5s6mysx8frd40q6teu0qapydttphk        BTC                              16.17754457     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qng5ac5gqnqesw7mmgfpaausjzd9y7qcgrfc3aj        BTC                              16.17217570     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qctp5h0fk7ddy5csu5e7m8n0mu7jmphpuas9xls        BTC                              16.17027582     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwuttq2kujuaa5vdswesjc08m5g5nw9lpcsq888        BTC                              16.17027570     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q56r8n5j42sk3uqxxn60frm2n0v3qg4fjd2szyg        BTC                              16.16927581     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q3vf06u66x9s8dkn88586a80wzr7mgcqvs5f6l5        BTC                              16.16587583     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7tduuw6y6lmmwsyqsky8rjzzqq6z39c2tpahkx        BTC                              16.16397585     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvqtn0mffpd2hq4tjce5a0t3hw4lrc7rlxtt0f3        BTC                              16.16037584     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrlhkthdxu4upyap6phn2w3ks8795ved4gc9gza        BTC                              16.13957589     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qww46j4rnu04ahu20r3gdqtspfgmdsslfku5q8u        BTC                              16.13197576     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9zwpmadsvfpzmgv3wqsrhuy4u42hqmg05g4n3d        BTC                              16.12580000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q63gvy8jjv58sknu4ey0xlw7t9j9znfmat4pa53        BTC                              16.12513798     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6698srt4pvuxae0fgs8sgj2xqt04tutldkppn7        BTC                              16.12434428     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qj52d7tvrtpt6gl2s2eqh35w35ugqvf6jknvt72        BTC                              16.12247589     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyj807mzs9ddy2mndnyf3z8z8pvtufltweel5w7        BTC                              16.12100000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qn0hx45fwwunqehdpj0knvvdqqgjdw47m85xwh0        BTC                              16.11417556     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q488wnp4sjqkqas4rkffs2v78u3lck3eyhug3fr        BTC                              16.10177592     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3wnxhclxx3mvzg7k5fahzf6stk0ytmk3sspmsg        BTC                              16.09227596     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3zsgk08mua29ty8v57exqexngs2x2faqxag2zv        BTC                              16.08307595     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm08j82akx6lfzfflyequ389dzss9vqmz29u9sy        BTC                              16.07137585     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8038jaw6yn32gavpknd2f0wmy2tsmwhhnkl5s0        BTC                              16.06524958     2022-03-29 22:59:22         2022-03-29 22:59:22
                      bc1qvmhx0l73rv08zqn7pznz6jweq0qsv4ngeyx45m        BTC                              16.04374961     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qwu4nwleag4slspuarsjxf80sjgf9cgp799mgwr        BTC                              16.03767602     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qaprce5shp9su049x3etj23q7wd8zcc2axq7t8k        BTC                              16.01197606     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5t42lnrdvxd7s7rrsq00dn2d99wtkutmtttrg3        BTC                              16.01107606     2022-03-29 18:18:34         2022-03-29 18:18:34
                      bc1q9u7l00pzqvr2wr0cpehwj9qy562x7cpal00k44        BTC                              16.00857606     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlnssnz5e7vlgxmc6wmepyep82n70sa5fcsgymt        BTC                              16.00767593     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1q23qmrjrc340ztz4f20ge7exj778t63d6z5m9e2        BTC                              15.99387611     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qeyyj9xlaged6td05jt8rt3v64snrx4u69p9t7h        BTC                              15.98764970     2022-03-29 22:54:53         2022-03-29 22:54:53
                      bc1q8quyk463wt9kdr862fv4g6dyelz6taekgmzrnf        BTC                              15.98637608     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q2ekmuhae2pggqrnt4fuvpna4d4yf22k724mxrs        BTC                              15.98127611     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qj3ggz2u2702lnrxne2q6mkdjh60tadj3a9d0j0        BTC                              15.96162187     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa796h09yaxxpm850yrddnyw6nhr0d3u4k3mnuh        BTC                              15.96147579     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qev2370m0eytfmw6lpyavpjxnjnjp2h5q5r9w0l        BTC                              15.95354975     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1q3w830x9ndth5hmz3qp0drqzlne5apgcfu2elen        BTC                              15.94993826     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm66rkllvr2rzazcwg28wtl3drsel5fc8grsvxn        BTC                              15.94877581     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qathx9zqemzdvvmnksm8rgszxpw27ft74m5h28a        BTC                              15.94837617     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qthdsj9fatjzre5eqy27qvgvrlatyzx3wqyncyv        BTC                              15.93980000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9gs4el0c6x6q57hzkxwpxtpezgs8cxywtswquc        BTC                              15.92627619     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qt8jvfks4cyznuwla592ppa2hsyrvrmxdcatnds        BTC                              15.92487619     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrsl8txv56k4pvvh5px5gegsgvnf7x0f0fduac8        BTC                              15.91677620     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qf4rvxnu2vhwuxmt54rqkyjx7dshs953lcnr7yh        BTC                              15.90657610     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qe0tmzmf34znxna4tlzwwe9xu670q4eq65cm7ya        BTC                              15.89127612     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qd5s5vlgw2w635x325tgtm638luhewl5uk2v064        BTC                              15.88637625     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvl9uryd6uf4ls2mptzchd0gvd6269v2n4ut3z6        BTC                              15.88490000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3560zh957sj484mf3gk77hufpnpfmzmle09yc2        BTC                              15.87067627     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qz98jz72hx9lvq4jm68entqlt65k9herxw3dz3c        BTC                              15.86537614     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q0879s5jmyajr70teru2k50rjrn34s595jm77xu        BTC                              15.86260000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qf0ve6r9qxzlnh06wngevyh09avded5epd0060p        BTC                              15.85420000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmgy3w34glckm0rw2cx95tucgf2n94nc0ghqz99        BTC                              15.85407630     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnw7xzrfzav4k988uguj9tuv066c826gzln9g03        BTC                              15.84827596     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlkjd95rf5ghnrhrq4z4h2axr8p0k9xdtjpf9xp        BTC                              15.84077632     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvfe23jzlrx25yw8gw2ssaf85rtymljdtnkvpny        BTC                              15.83437634     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy3xt7m300l2rq74aun3azpvzurp4syyy9phj0e        BTC                              15.83137635     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa2k4yh9h3z4z8xgga2hjlg6222ex7kfaf829jc        BTC                              15.82587636     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qgke60ywg0e0stpr659vy7w5ewz2zk823n4klrv        BTC                              15.81160000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qusrsal4tpt3y5xmv8q043c30nqhtwddn07n9q9        BTC                              15.80157637     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q75qzwlhuzyap6lac77edeukgl0yagk55wy8epn        BTC                              15.79947638     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q87jesllwj90wm5lwnnn5fwvr4ex0sh0e0dll8x        BTC                              15.79837638     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qt0x79dspxtgf20kzhzysh47degdlcq6kea59p3        BTC                              15.79117637     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q9t9w86spqz57amguvmxzqwja8qkdq80ua5xhl6        BTC                              15.79100000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvfzdjjk70w900new3mtdqu50qx6kqjckvqj2f5        BTC                              15.78517640     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwegzkga3r5zruywmzr7wnmg6y638yvm4aj7mrk        BTC                              15.76777642     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh29xuvfqqnvdduptgwf20k9hk3xfwpwv06g8g9        BTC                              15.76277643     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qag6590st8q2pwpqjsw95f28uaycy8vqd9zlp4g        BTC                              15.76247642     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qq8cvl3pn9gd33jpg843ywk8sxuu4h98442jwm2        BTC                              15.75020000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdnkf85223u3le7ewaa99zp4cckwphys63z5wqt        BTC                              15.74717611     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdeuz9u5a85zk00gnfa0ssr0vqsjg4764qlwnv2        BTC                              15.74597646     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnvsxdppqvhprrw6kk77jjgc2w00p77knxkcjgc        BTC                              15.74527612     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwf797nleh32nj45r4g6waus57me7fm2trf7hzy        BTC                              15.74297646     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvy093h4agmge3csqkta5gth539jwk4nrpqgr27        BTC                              15.74087646     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quegh0ke8f86xdqea6u84wrwknesp3jc4t4aax0        BTC                              15.73607647     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q38dk5auumep96cssa4ukeq4ter7jm6lk3phtjf        BTC                              15.73415007     2022-03-29 21:44:59         2022-03-29 21:44:59
                      bc1qh7vkyjegtayxwhfjrkatkx22mndpdt7xyjuyva        BTC                              15.72747650     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkmef7n3jf7qzvw2vmsyw5ajlg0q4nncyznl8fv        BTC                              15.72567651     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qu09y8w9umlt8s3cqsc9zl4vhdcua76rq7ejwgy        BTC                              15.72380000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7hat5tn99c40lpxyxkrnzzyrdju5qtnd4eelqk        BTC                              15.71807650     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q26nfjf397el7zal2w420nnpdl89e0dakch7kw7        BTC                              15.71267653     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qna92njd7shaqk4kf66mkzmel676dmmhhc3qvwv        BTC                              15.69767653     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qchn4w0wkjlu926sm283x884635qdlpepclzktc        BTC                              15.69327652     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qx3ew8v56h8vyky6zgzztvf70ec2mwxe9jr2hpm        BTC                              15.68237643     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdndpss25jac62maw7ltn5g4t9xm8rl6kgrhv69        BTC                              15.67915016     2022-03-29 21:22:50         2022-03-29 21:22:50
                      bc1q5dd57n4g9d9qu4uvdq0au8vmmnt4hwsrsxhtlx        BTC                              15.67677656     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                   Destination Address                                                                 Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qjlzuy8f364jry4azgdzaqu4tus0ylr947v2z2w        BTC                              15.66047658     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qq6pfd8ddn4vr3p6l578eeuq6lf740pnwjk37sw        BTC                              15.65957659     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxrfd73wdl4wv6gd4s9l5g2e82fzwxlk3eh22nn        BTC                              15.65897661     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4jh53w6rhelsne4nx4wd3t4hr48g95v6clvdhf        BTC                              15.65157660     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qt3vwqfqkzs44pxn8e6ww0cgfstelzu2maqsvkn        BTC                              15.65057660     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9zgqfs7xe54dxcc6pcggfyf2cahd97f05gjdh8        BTC                              15.64870000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxs4wa49x86x9mwlt6tnmtwewc4vce0a9exws4c        BTC                              15.64407663     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqvg86jny4x0rzcgrn83yv0npsyt0gmtf9calvn        BTC                              15.63777662     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qztzdet87ldaepqu0anaut7wttt9v60uvw4g8zz        BTC                              15.63487649     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvy4tjdyjtc5kjupyxc9xs7v3a2n4kfs6qqpnsp        BTC                              15.62437664     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qz3j0g8nkpkg4nky29jytv7lgucflquv9w77ztk        BTC                              15.59137657     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4fculnfd9dg89ysptmtwqg7ca8cel3ty6ttw2u        BTC                              15.58753879     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnnpv676tql2fq8gzrrqrn6rdhl27v3w55tavrf        BTC                              15.58597670     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qcrpz7jn2vv0rpqx3mydrc476dxe45c73fa2j7n        BTC                              15.58577672     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6ax65de99hy2zhnehlglzcz4dcd0q2zrz79umz        BTC                              15.57657671     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q87mgg5fkvk2av3enzgprkgt2t3ql7uqp2z0ngv        BTC                              15.57207658     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm9rmmjgd9fk4ucdfxsr3g2ftzw4jv7uyj9z9dc        BTC                              15.57056502     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qsuykqf45y0fyzkaxmxnp205zert7exqxc7zmdw        BTC                              15.56477673     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgmmmd9pndkhhtcw6erxqvtg75j0njzxjwdqk6k        BTC                              15.55497674     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyk7d26k0asmym956efq8a3qaxch5wjkumsw68m        BTC                              15.55080000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qtfus7a4zyv9pm7e5l3ar38rs0hm2vt0s86v2qa        BTC                              15.53727677     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9td7wlj6gm32npxzacw4hc0f0n3c5pz9jprye0        BTC                              15.52577667     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmeukund88y3674dualnfz7wqc0qsm2jyp6j5d8        BTC                              15.51297681     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qp5ppgk7ms7vnwjyq3yrjqzy9d4jwgtp7uckfvt        BTC                              15.51277681     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh4funtq5q52unh43vh8ylsavaujzp5rsjhfc83        BTC                              15.50990000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdjd9k0x98qs9dzx2a7e57zzmzhe2afuyzx5nvj        BTC                              15.50357682     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qv4legqua0rm3m269d3qseu6rjkl4cqt8pqfhut        BTC                              15.50277648     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q70zq4u60nh2sc8juyzqu4953qq7aq7mg3t9r4v        BTC                              15.50227680     2022-03-29 17:41:00         2022-03-29 17:41:00
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1q4j80qcnysv4jy2hrypeteczzs4va4nwklyf090        BTC                              15.49737671     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q308yjnm84rhplz8j43uepdqj066fehukv2v09g        BTC                              15.48920000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qedc5gw48guna7yuay3jrj8qxh2hrr3675k4kyf        BTC                              15.48764524     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qj75aenld690s7lsamx0gjalfhl8dyjgd82ps5m        BTC                              15.48337685     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy2qcu9ptztvy5pqv62k6prta74pzlqsyphqunj        BTC                              15.46515048     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qqzrq4a74ce0s7ngyysfkq8q4pu32ylvjhvkxqx        BTC                              15.45937689     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q45nev9vqh8dtqxq4gsy9ad32s0h9xphkagjqlu        BTC                              15.45330000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrjqfnjgkp7eetfrytnha3p3neslxnmuasc6v3r        BTC                              15.45207676     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qn6u9azrr6t9ttzdjzudq0mlc25rlv3gpy04kef        BTC                              15.44547691     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjsmx37mhqq5t8u8cryxgs3cyu0pnct2vualhyd        BTC                              15.42967679     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qf53mpqkxupsmedt6ffv25ehxjwqwc46rvege36        BTC                              15.42014568     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4yj0rnz73uatkqvdws07phlkn22mgnv8xxn6k2        BTC                              15.41807693     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qrlz5dxawmr3eyp38ldvfe4u2etuazyu56jhwvp        BTC                              15.41767695     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2d45rv6pswxyg5rxelyd4quuxyqgxphk3px4ll        BTC                              15.41207694     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qzhnemtv04jzqvtzamnnx3z775vnmf6p7mds3tp        BTC                              15.40757696     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qngyf8dfkalsjrcruh870m7r35dw48nsmqyhzte        BTC                              15.40655056     2022-03-29 21:44:59         2022-03-29 21:44:59
                      bc1qvcjt2w59zrrpplnyc3pesncnhgl44nnla047hh        BTC                              15.40157699     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9awk0k25l7r9ephkn2gk72dy02z4nnmhu4wa6p        BTC                              15.39770000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4q9hmk8s92jfntysw7e79klp77hpxzph3yrzr3        BTC                              15.39577698     2022-03-29 18:18:34         2022-03-29 18:18:34
                      bc1qhfxtnr2ns34k98ren48ug9mv8fsp447haqxnqz        BTC                              15.39207699     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qu88sehuyva2ktt7mht4vxwqxn7p99t0gaxhaq9        BTC                              15.39107699     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3edh96z68djtkg07j2wtqkr7hzr4es0qa9hz8l        BTC                              15.38837701     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxr809kdh6twjvp0pjgg99n34tuptdlz86kurwm        BTC                              15.38807699     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qv0dus75xt0vqf8xj62swktn0ue6zvq54ugqvda        BTC                              15.38527698     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qyxft0c4f9ks3lexp422ag78alpm5edxvvl526l        BTC                              15.37790000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qp44hw0llytp6u5gfptw2z77jfu0jmgj4um74px        BTC                              15.37117700     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qvsyxnkfm45klv3ls6fd0lfu33sryk85m75u4u0        BTC                              15.37057690     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwqe8lyx6h8zvse3rl9rt0cmjaks4fpgtj8a874        BTC                              15.36487703     2022-03-29 18:18:34         2022-03-29 18:18:34
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1q5ft5nwcg8jtwk4m3n6tarjmpvaqx2a357y55e5        BTC                              15.36167701     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qgk4a5c7gxhvnwkcvx6djz3htuajlhjq4kencky        BTC                              15.35927704     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q09ya47h6tevqxv2pa3nzvdmdlgd6g3stlqrevj        BTC                              15.35650000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm76uhrv4984xe2udmtht85xmm6tdlzv34z78jv        BTC                              15.33627695     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkktddsguerculynh42kqmek26vdwkeec0j9v68        BTC                              15.32282422     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyjs9ys7n86cw4gq8muf2xguua6au0xrprvfgzv        BTC                              15.32107696     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnq3grj8th63xtfyg3dh7q9u82feh4cqf28k2kr        BTC                              15.31887708     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qz9rudkg8xy43549l3mn8qwd8uz2nd3mjejwyfp        BTC                              15.30825071     2022-03-29 22:51:22         2022-03-29 22:51:22
                      bc1q5jlsltstk89mz2typw54qgsa34dk3fzcpsujwe        BTC                              15.30817678     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8yuz0xy3gvq0gt36yv08694tnhn8hz70nudjew        BTC                              15.27595076     2022-03-29 22:59:22         2022-03-29 22:59:22
                      bc1qyj8d2xhcucftm3vnsdj2gz3afgad6cr8990t37        BTC                              15.27397716     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quvgs939cglc9cyddu652xhxfakke9kxg7slu7k        BTC                              15.26937715     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qcrry55sq6zkytp4mjtyytsn407fd5aft2naf0r        BTC                              15.25287718     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qkjyrahygf3yy44e5cxgft79jasnrvzp85g0zh8        BTC                              15.25117720     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qcsa4lyq4dlpx0jk7nfl0pjzkc4nhmmvjs59gm7        BTC                              15.24735080     2022-03-29 21:51:13         2022-03-29 21:51:13
                      bc1qz3jfahcrvm88ej7dght4c5mwmv78g3zrzqrujy        BTC                              15.24577720     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qskxygznnn3r6y9ehuaq9x522zkr398kxdfv9j2        BTC                              15.24564594     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qka3ruay09n44xt55jzzclyrfwwjd3m3nhkmjv7        BTC                              15.24237721     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quxha6fawsv6kfkw7v6qwtwt6pcpky9wz0ng0dr        BTC                              15.23147711     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6r8vk2mvz768qd5qafvzgyjlc8jazxkxlhzgn4        BTC                              15.23077725     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh5tnn2z45qf69x0hk6cpkau9rcqh5clh3qzenq        BTC                              15.21667725     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qp65vzh293c2ngyqcydpu38t4uk25huj3utyjgg        BTC                              15.20507694     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9xfv6zrwfelvucpdr6jrumznat07jfp0wflje9        BTC                              15.19857714     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qep32mwza5vfrm9d6h5p98z5q2lhlxnqj2eyjyf        BTC                              15.19137696     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsd8y7v90yzed99w8t3pz75cpfzff5j9q3j8u9c        BTC                              15.18397732     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7aptdtc87wm272kd7fq5g3v0tpuxr9aggwxt02        BTC                              15.17045092     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qzpzc5vjq55qsrnzh4e0s6qu3zmskthu42fnlm3        BTC                              15.16557733     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnx2npkgvq54vf5mpyf7pmtnq4mr9fp4klv2xvl        BTC                              15.16317700     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                             Funds under claim
 Owner    Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                      Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name       Name                                                          Unit            tracing methodologies;
                                                                                           in cryptocurrency unit)

                        bc1qml6uadlgagzwn8mvm2jtu057u2yzvc3er5gucl        BTC                              15.15450000     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qgsrkuedl7mgaft4gyhr3hrf2j65e96pa0vfa3x        BTC                              15.14107736     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q4nfeatdsqgg5xj60nt90l5nlrt233xjkc804ax        BTC                              15.12777738     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q72qj7x33a8ljympw5fzc2ugzghmmjkvxmg7svc        BTC                              15.12250000     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qn7wzj273v5hqpz8gu4mhhhnj8zyv3gf65wlxru        BTC                              15.10917741     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qe8yq7my5tqr0h5tljcuvqa97m787qm3evpauvv        BTC                              15.10685101     2022-03-29 22:59:22         2022-03-29 22:59:22
                        bc1qm6m5655erkrf86prqz08jnfdvdads00jqu2fdg        BTC                              15.10655101     2022-03-29 21:44:59         2022-03-29 21:44:59
                        bc1qnjdz9ex9phcgaczsgp9tc5gusqsaf8dsazr72c        BTC                              15.10507742     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qea7lhuynzuxv4z0hexznedm0sad0zl87y7wvch        BTC                              15.10457730     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qzx22jvfnmyd5sursxwgxjnmpkx6sjhxvdyfke7        BTC                              15.08867731     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qfz0t5hqu0zn844p9qg7k7p9elkrs2uj5c7vsj0        BTC                              15.08787746     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qhxveh4cx9tz5s7hs0xr0jxgnka4jarz5953rgx        BTC                              15.08127745     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q7xpctyx20r6762h7248nu0ky8ndt66yzn98wdm        BTC                              15.07337733     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qanrrfj9dalv9gzt8txwru83m7agqwfah2gc5s0        BTC                              15.05947748     2022-03-29 18:18:34         2022-03-29 18:18:34
                        bc1q3rreq6sdz8648vvlad7ay5wwr2h75ktzxt8z6u        BTC                              15.05187738     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q5ksyr8acf88dpg54fa8p7eq9pvsf578xjj5yqd        BTC                              15.04920000     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q6k7zfkf836qjarapnnw7ch0x8577e4wq72hljy        BTC                              15.04837750     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qfpq332phu33cyz345kntdhpdn8rr4ypvauwn8s        BTC                              15.04814624     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q3w7nzk5vntmddk256j4c5z5faq58288ztw44jy        BTC                              15.04737750     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qmgc0fgy83ywze87d6lf5td3r9ueu90hz6z3ug3        BTC                              15.02960000     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q3sa8pkszkkg9tr2sd6qjutvqm5hxtf243t6rzn        BTC                              15.02777720     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q8d06pxv86sqlg7dfh8f0kp0ea66hw35wmdgpf8        BTC                              15.02457721     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qsp5lcqeyrmr7knp8jj692mmc8qkyp7jl6pk0ly        BTC                              15.02437754     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q0eqyuc8x3utx33fj5u09lakgxcggfwwhzrsfhf        BTC                              15.00787723     2022-03-29 18:30:06         2022-03-29 18:30:06
                        1156oPWN2U4aYa5yHnQQeeWC8Md1uRzhZo                BTC                              11.17130350     2022-03-04 01:02:35         2022-03-04 01:02:35
Binance                 1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg                BTC                              10.94525982     2021-02-24 08:11:46         2021-04-18 10:53:00
Ren                     3LqdjTMqS7q9AeGfWd1xk9rz64D5qgUmzT                BTC                               9.28167776     2021-03-01 13:52:38         2021-03-01 13:52:38
Binance                 1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG                BTC                               9.06994620     2021-02-24 08:17:53         2021-04-18 10:53:00
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                                                                                               Funds under claim
 Owner      Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                        Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name         Name                                                          Unit            tracing methodologies;
                                                                                             in cryptocurrency unit)

Binance                   17iwoMJv33UgjWxsM1j4UpKtMnGC8hh5nD                BTC                               8.83901059     2021-04-01 13:43:02         2021-08-16 08:27:40
                          bc1qra99c2y4hsu0qx35g5nejx56zhe6gmwdx6xadg        BTC                               7.99197644     2022-03-27 23:54:03         2022-03-27 23:54:03
                          bc1qytx462v93nya0w86eca9hce8tr5n0jwpx8ex4u        BTC                               5.52891525     2021-03-29 12:29:40         2021-03-29 12:29:40
Binance                   13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR                BTC                               4.59320846     2021-03-14 19:43:26         2021-03-20 18:43:23
Huobi.com                 1NnwU2wqppE4f7cjHPHRh79kF6UDMcwGzB                BTC                               3.81539799     2021-06-02 22:37:14         2021-10-01 15:35:17
Huobi.com                 1L15W6b9vkxV81xW5HDtmMBycrdiettHEL                BTC                               3.70618106     2022-03-29 13:58:11         2022-03-30 11:36:45
eezy.cash                 398FNpRVsj72YHcagHyExDeSTH4FG3t1KG                BTC                               3.59489019     2022-03-21 20:40:59         2022-03-28 20:14:28
Binance                   bc1qt73y0anphywgrf570twd0htekatr435d9xf5mt        BTC                               3.58410164     2021-04-19 18:22:10         2021-04-19 18:22:10
Binance                   1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx                BTC                               3.43832425     2021-03-08 09:34:45         2022-02-13 16:41:01
Ren                       38L2i15SxTqJ2vD8X71DtfsBhuUefwibJX                BTC                               3.36616218     2021-03-01 13:52:38         2021-03-01 13:52:38
Binance                   1Fs4QNPYf7Zf7CeJiFmSkTK3kzvENVD5w4                BTC                               2.32731897     2021-02-16 02:39:49         2021-05-24 18:55:51
Ren                       19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                BTC                               2.26423183     2021-04-27 21:43:52         2022-03-28 15:28:47
FTX                       3LmNPNQRWt74qvVrsFZerUcSpkH4UZg5sA                BTC                               2.20563584     2022-01-06 15:48:14         2022-03-29 05:47:59
Gemini                    bc1ql8c2rgv2qpa25cc77usap7lvsvms6tgyv6smxk        BTC                               2.02532661     2021-03-10 01:12:35         2021-03-30 05:38:04
Ren                       3CzGP9Je4jHD591qW6e6c1AbtLQrsxQZo4                BTC                               1.99991662     2021-03-11 03:11:02         2021-03-11 03:11:02
                          bc1qfvtcxxxfvcx65f5wq2p5f9s64e0kgjlpu2dg6k        BTC                               1.94636578     2022-03-30 08:54:51         2022-03-30 08:54:51
                          3LpdFRNgGdVsRuxj4RGJCJLN99TJNyUgbK                BTC                               1.92094692     2022-01-31 19:06:48         2022-01-31 19:06:48
                          bc1ql88yt08t8z7mzfd7luvp9x903z2alvm93szzwn        BTC                               1.91972765     2022-03-22 21:51:16         2022-03-22 21:51:16
Ren                       3HUQjCX6bLXzHMdCzTduAUWc3yMkzRA6La                BTC                               1.82352728     2021-03-26 23:53:49         2021-03-26 23:53:49
                          bc1q84p540mk0fjzx2t0yc70q67g3q5yvsxpez2jzs        BTC                               1.66660525     2021-03-30 16:47:06         2021-03-30 16:47:06
Bybit                     1Etc4GPZbe7iXY7y5zqpA3gRhGqSLBGXt1                BTC                               1.59985854     2021-06-11 08:34:44         2021-06-11 08:40:16
Binance                   17oFzfQQb79jHghVBLF5wic1tKASRjpT67                BTC                               1.52477837     2021-03-16 03:49:39         2021-05-20 03:37:24
                          bc1qjchu79yew2wv4mt08xp57vvule0dq49xf5m2d2        BTC                               1.49701725     2022-03-03 06:42:18         2022-03-03 06:42:18
Kraken                    38HyrjdARosXGr8SXyzLQLWuSCdi8hqcDR                BTC                               1.39992011     2021-02-27 15:21:00         2021-02-27 15:21:00
                          bc1qffm9u7a8czk8pgyjznkwvavkutwgfrnlvdkhay        BTC                               1.39992011     2021-02-17 03:06:09         2021-02-17 03:06:09
                          bc1qrrm8wgkt5sdkcr9qp2eth4ltr9q3xhn06v6l70        BTC                               1.39992011     2021-02-17 03:06:09         2021-02-17 03:06:09
Ren                       36CpqVr1SHJ3aj5NcWbnnDaZNxTN3PrtcT                BTC                               1.39987192     2021-02-16 14:30:47         2021-02-16 14:30:47
Ren                       33DaZYib7zij1LP2x9VHHSb6dYDhUymqXt                BTC                               1.39987007     2021-02-16 14:56:40         2021-02-16 14:56:40
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                                                                                                   Funds under claim
  Owner         Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                            Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
  Name            Name                                                          Unit            tracing methodologies;
                                                                                                 in cryptocurrency unit)

Binance                       1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                BTC                               1.39406858     2021-04-27 18:07:07         2021-11-09 16:44:29
                              bc1qzfhwgletqd4u4vgg0lca5nlgatj8evz2uuq5cv        BTC                               1.38222881     2021-03-30 05:09:20         2021-03-30 05:09:20
Binance                       14kbqzg3mJrx6zmY5dYpCVhBJ3mrd7pYSt                BTC                               1.35380062     2021-05-11 11:53:29         2021-06-05 22:37:32
Binance                       1J9UZvdFP5betiX2oFkeHBcDjVXD8ceFPV                BTC                               1.33290382     2021-03-27 14:28:50         2021-05-03 22:36:38
ePay.com                      345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz                BTC                               1.29111901     2021-03-21 04:43:57         2022-02-09 17:30:18
                              17Q63JDKjEeaEcLuFNrvoozbP6Qx8G7xfs                BTC                               1.26661505     2021-02-28 21:14:21         2021-02-28 21:14:21
                              1KNyd3rmeaUMptExLR2fy4kd8eppCdfpW9                BTC                               1.26661505     2021-02-28 17:10:03         2021-02-28 17:10:03
                              bc1qsnz7d7zkeg90yxe9hsufhv8qcp8353jlpce47h        BTC                               1.22541131     2021-03-29 12:34:57         2021-03-29 12:34:57
Ren                           3953TFvpANofLb45AkrtitCp2k35sp2kJg                BTC                               1.19998029     2021-03-15 13:36:06         2021-03-15 13:36:06
                              bc1qxnrhje9ekvu3qyx534t38q3j0g0w85c3ruwznf        BTC                               1.19998029     2021-03-29 12:29:40         2021-03-29 12:29:40
Huobi.com                     1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw                BTC                               1.18715936     2021-04-26 13:38:26         2021-08-21 08:30:12
Bitfinex.com                  bc1qfvejaeuq8pef8dph9v2zgg0qndszxjvnupk74r        BTC                               1.12518030     2021-06-22 19:11:02         2021-08-24 18:07:51
                              bc1qvvxu96tf7wtsmjd4usv7p4nm50yzr8ffa88qcq        BTC                               1.09897684     2022-01-27 10:59:39         2022-01-27 10:59:39
Binance        Suex           1L4ncif9hh9TnUveqWq77HfWWt6CJWtrnb                BTC                               1.02996683     2021-06-22 09:11:17         2021-06-22 09:11:17
Binance                       1JTDfmnMJPUSE5iHM5tfvbWC8wGkiqJhsF                BTC                               1.00912125     2021-11-07 04:00:12         2021-11-11 18:21:08
KuCoin                        36LKXRs5nvELt9oJDWa6wi66Zu8jiwxj9U                BTC                               0.97565993     2022-03-27 22:35:33         2022-03-29 21:27:37
                              31yj1DBjxkyk4jQ1HGFDLGKidaEzZKP7Vm                BTC                               0.94583983     2022-03-29 19:20:55         2022-03-29 19:20:55
Bybit                         1K2NLvcHwup8FbGiUVdRWefKxnTCLd8t5n                BTC                               0.90420114     2021-03-25 20:04:03         2021-03-25 20:04:03
                              bc1q60vu5wptrcw528429vthfapxsmr3stl3trkdkf        BTC                               0.89351412     2022-03-29 03:47:46         2022-03-30 04:14:35
                              bc1q89auwcjq74nsac2sfed3whx67863kdsvxua0hw        BTC                               0.86837611     2021-04-29 02:02:09         2022-02-21 06:45:45
Kraken |-| H                  1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit                 BTC                               0.86061844     2021-03-11 00:29:47         2021-09-07 22:56:08
Mandala                       1BqazAeRaCLJUquxWfQPhWGU1nqVmyFmMU                BTC                               0.84861044     2021-02-23 15:36:54         2021-02-23 15:36:54
                              14qrRJYj1umtUktTJ9aSzvXScdSsrNegoP                BTC                               0.84861044     2021-02-26 13:00:10         2021-02-26 13:00:10
Binance                       12K8u22kjGxWadyks4YSZbNqZbEGpmUNpm                BTC                               0.84215171     2021-02-27 23:53:43         2021-02-27 23:53:43
Binance                       bc1q5ewee3tn53kqapqhn4c2r652lpv5llvud0r40m        BTC                               0.79992927     2021-05-26 11:09:01         2021-05-26 11:09:01
Binance                       1LArmCe82visDjDeKXq3xxCWGmFMW8f3Sz                BTC                               0.79904496     2021-07-06 09:22:06         2021-07-06 09:22:06
Binance                       1HVj6JWaAqu6JSjhQeq9YpG8kRCAywY8nk                BTC                               0.78480180     2021-05-12 14:10:25         2021-05-21 23:13:00
KuCoin                        bc1qx65xcxz6dfsge2g4eaerercslh83y66wrpm79r        BTC                               0.72165325     2021-04-28 15:08:19         2022-03-20 15:01:48
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                                                                                                 Funds under claim
 Owner        Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                          Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name           Name                                                          Unit            tracing methodologies;
                                                                                               in cryptocurrency unit)

WebMoney                    1N615Az75xbRtQsTDvDRrxEaRuL4SxdARs                BTC                               0.70461396     2021-02-27 01:07:26         2021-02-27 01:07:26
                            1Gy3f9vDFrFZY9sgqQ6gmxAko8ZRGyPaPJ                BTC                               0.70461396     2021-02-22 04:13:53         2021-02-22 04:13:53
Huobi.com                   1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66                BTC                               0.66898374     2021-11-07 04:47:25         2022-02-15 11:55:04
                            14tkMGARrkM5QNJexJFqP1gGJTYoJ5z5bm                BTC                               0.66662837     2021-02-24 22:54:43         2021-02-24 22:54:43
                            bc1q942nekgt2r080x04ytc900t02cyyqug8qmldhj        BTC                               0.66662837     2021-03-09 17:16:57         2021-03-09 17:16:57
Huobi.com                   1xSEjfGqgxXkSzeG6MEVtfdjUuumEZqsB                 BTC                               0.64986873     2021-04-29 13:58:34         2021-06-15 11:43:04
                            bc1q26rgpvcnrgfu3ay7rvhjj8hddlng30f9ld73j7        BTC                               0.63084987     2022-03-24 00:25:38         2022-03-24 00:25:38
KuCoin                      38mtv2P85GLKLBQ99b9vk3MQ8vorVJ1TBB                BTC                               0.63084930     2022-03-29 20:17:43         2022-03-29 20:17:43
                            bc1q0kkhuhs35jkvla43nefmsggwwc0kvwmevc350j        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1q6xwzfvdrztg7yfqetv5qfsspxemmlqk89u50q4        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1q74clp37u6e9kxd0rsuchd98yz4tf4v2fzlah2s        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1q7ag3d3kqsenkzkd69nwxum0za9uxwzpyjdfwqu        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qck8grfkyzt3n49h6dwgf3g633lfagr998l4skl        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qd38e9k75d5l9zdtfz8dk35uh0khfjz40a6vamj        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qgk63nhphq0t4qg92aey4hajunuqd0zmjj5etkp        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qj7mafvpnppqa263t96at9ar78qaptc7d6f2hdf        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qkh9j59tzsgfpm5r7yzxzjv8tsuemeapdlkhur0        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1ql862fdu5m4xg60trzhk9gsct3a30hxh3mllvvx        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qmhux6ucklkxzd89vqmm49zgx2hn7y8fn4gsqf0        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qq09th3heych8lvzu53y9vaxyeywyv67fq5y5u0        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qq600x69vtzl2l60tntfhz39lnjglh9vgpwtmm7        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qvt63qc6ktcy3rlc7s3mj3wtu079cargwx45gle        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qwa8eqgqefzz5gqwnc48sert68t6lmj8de7fhws        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qx8przrauvnn2jp4hc8g675e7fgh86p96fl9y5m        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qy0qqa32ag69a2ccu9dwyujhpsu09plmcnkwn5e        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
Binance                     1FwAX1yW2szV6gG7YNJvRWY242dokFCrtf                BTC                               0.62657482     2021-03-27 21:29:01         2021-05-25 16:42:56
Bitstamp.ne                 3QgTU5fwPWHMNkbx4fhwU9MgPzPbrYnXqY                BTC                               0.61318338     2021-03-08 04:10:29         2021-07-25 06:15:20
Ren                         3GwVA3kPCxkfxiTnZUJbBzF9cH7j5omtFh                BTC                               0.60953274     2021-03-25 08:11:10         2021-03-25 08:11:10
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                                                                                                       Funds under claim
 Owner       Beneficiary                                                       Cryptocurrency   (average confirmed with the five
                                          Destination Address                                                                      Tainted Inflow Start Time   Tainted Inflow End Time
 Name          Name                                                                 Unit            tracing methodologies;
                                                                                                     in cryptocurrency unit)

                           1JYiHUUxcLSo3dzNHu1gc3EhCuoFK5iAtX                       BTC                               0.59999651     2021-04-25 09:37:01         2021-04-25 09:37:01
                           1Ld3oUUcN7EGhJ1ckoBnZ2LoN2QmCbBHX5                       BTC                               0.59999651     2021-03-24 15:40:11         2021-03-24 15:40:11
                           bc1qz9e7p85d7n4rgkarudx80xh77crzz4ad0pnnvg               BTC                               0.59999651     2021-04-08 00:50:18         2021-04-08 00:50:18
HitBtc.com                 1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                       BTC                               0.59772461     2021-05-11 09:43:18         2022-03-03 08:58:50
Binance                    bc1qhjja98qwyf8lhw480u7aq2je7vhstluvz3cqzn               BTC                               0.59769477     2021-05-12 13:09:23         2021-05-12 13:14:01
Kraken                     bc1qfuddrpsmkymngxkm4nz99ac95vrxad7carhxp945ajrcr        BTC                               0.59450753     2021-05-04 06:33:22         2021-05-04 06:33:22
Huobi.com                  16jjLTYuDkxJMvqWCbp6vsznBGYoTgysNT                       BTC                               0.59179182     2021-11-07 08:47:35         2021-11-09 08:25:49
Binance                    1DqfMX5dGC1pbPtHE9hb7b9NSe4krJXByH                       BTC                               0.58142987     2021-05-13 14:24:04         2021-05-13 14:24:04
                           3E6LcDYmsTgqSDPK1WL9dCR8anypGSKCdD                       BTC                               0.58121912     2021-07-20 12:30:38         2021-07-20 12:30:38
Ren                        3HSUqCM5BqF2mZW3RKExw9AGQvE5eAaCnb                       BTC                               0.57000334     2021-03-24 14:20:43         2021-03-24 14:20:43
                           3Mb5fYVRqgsvvXBLAG4DpbpPNa2mKhSdYH                       BTC                               0.56907181     2021-04-10 11:29:37         2022-03-30 11:16:56
                           15LvA1NxD2musvaqsTe7jTL38jnhG3XhR3                       BTC                               0.56892175     2022-03-28 16:25:01         2022-03-28 16:25:01
                           bc1q0nfzd7u4gp4ujqnjqvn2avaka7apw69yhune55               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1q2n7vle3ndlkvwj3rwflz5wltdqhvvjkwgrp8pg               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1q3qlsplctu0gdjtfn9ru9ssgauwq5flj5r6t3vm               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1q4wgkthjsed7zpnrsz72ld37g55h6lq3lc94e5r               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1q6n5gn0acmjhzd7e0q65ghynuvcsy6pk99pgm68               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1q9pcylvq33rfja32vqjmkwh2fkdp6qe4gqa9k80               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qcly2e28c2n0urdu7el3el54numesud6cmmn8r3               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qjxl425j8nzmn5lwtem9rzu24n9gql2t90yhrn8               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qnnxkjj0fxun6dyqaucp22kyt7mhpn9nrxwvfp7               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qqe0c2hdfwgafvuh45k4pnejfx0hepa02845wzz               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qqnte539mh8r20hc3wpjyua6hda2alfyndef44t               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qscuxw70wuugt49yj0kd58hjkawztur2lljh7nf               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qsywe8ng5avwkzqz2rskunfjreh70xngs365068               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1quqmwlk7rhynuepm2kdz6rve7ugagfpf55j22m4               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1quvty9m279paqg0qt04m5y7qa85a603ghgcazt6               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qx06a93u5g852x4y684kgsu6yag4k4pwec90z34               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
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                                                                                             Funds under claim
 Owner    Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                      Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name       Name                                                          Unit            tracing methodologies;
                                                                                           in cryptocurrency unit)

                        bc1qxydj4s39e6ntwjm6z7vwxzdv3jycpmtuaapmsl        BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
Binance                 17ssMKaUL7vVJZQBs1CSP7oD8in6fFQ2vz                BTC                               0.56689702     2021-06-15 09:43:53         2021-10-08 12:39:37
KuCoin                  3Agw5GYmkpsJmg9kajCvxx4mq9UwtZKLvM                BTC                               0.55118600     2021-08-20 19:33:42         2021-08-31 02:32:28
                        bc1q5xx0efc6eg65t44f84xmpx5dhmy66337egdqma        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1q62gyqqzgy40g4skdtg7a8ed359y4em8nvvemvy        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1q7arw7sz8mczyry4v3yzwj4m4ylhtujs3renkp0        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qa9080ucs7ydwxwshulhgncv6q5rkuefs3nc5pc        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qg58g6mjj63k46q872tsex63mhnrhp59l6qpsv9        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qjdgqs5ckupyxu7fh2rnqdmw7jrwkqlskv7sevt        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qm6e0rajkvhkkzs9tt3j74wdeyxuvujsllqm2ze        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qmr4pws8ak73xfwu87ssgtzw5562ez70npazg93        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qnajvq48c0cgjr0vcgjcv4n570ws47pww655cm3        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qpz5adrc2kqz4rs4eg2vlan0v9vt80vqpf6phh0        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qqp5rcklcd2ac798qc9avt3v4hmr5ezazzr0rcf        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qrrskakx3n32n82wllxg8ue36xq329gde947cl8        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qskdw772zr6z3nsyyg5stca9jwnjz4emuc7pwjh        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qt3wccpd6h0y7sz3p2auer4ewh0900r75dp2ud6        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qw564upzhd5avj4fsne0dvvgswrf28qzscp07t0        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qyqqlnn8sv2gnp4pyks0mtyucls7pcn3f0n7w6d        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        1JjNHsLp4x6BkeBz8hyk5tGtynykgXYk3y                BTC                               0.54224364     2021-04-24 02:29:41         2021-04-24 02:29:41
                        1M91yasLRiWghSHsg3kfmxfwUaeC7F5f3T                BTC                               0.54028621     2021-05-27 18:59:06         2021-05-27 18:59:06
Bybit                   1DEBVQ1bVgvMXFmrTHi7AWSCaQGBCm55NB                BTC                               0.52627984     2021-03-10 21:06:18         2021-04-06 19:10:10
Binance                 19U6Fk9YQGAhi5bBg6xcvNydPd9SJyCmXf                BTC                               0.52447578     2021-05-25 07:42:30         2021-05-25 07:42:30
Binance                 1NkFXyXcaYKqnuc3EC5JB1CnvHjQYH1x5                 BTC                               0.50793289     2021-05-01 21:59:47         2021-10-20 16:37:20
Ren                     35TjCuKRbKcofxnKG2EkC8B66ZNXKqE1aN                BTC                               0.49996934     2021-04-22 02:00:30         2021-04-22 02:00:30
                        bc1qaucqacwa5huhwcxhnyzcadrpfq2ananru06jfs        BTC                               0.49996934     2021-04-08 00:48:32         2021-04-08 00:48:32
                        bc1qswqxyaan9s29r42mhy93pt02rcnc3dw3t55uxl        BTC                               0.49996934     2021-04-08 01:14:25         2021-04-08 01:14:25
                        32NNmWqELdRvpKwgwxc8jWXdStSDt55uCR                BTC                               0.49972764     2021-03-17 21:13:25         2021-03-17 21:13:25
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                                                                                                  Funds under claim
  Owner        Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                           Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
  Name           Name                                                          Unit            tracing methodologies;
                                                                                                in cryptocurrency unit)

Huobi.com                    1DgFr4KzUZD9cpgnBZCypK9iYeHb7vgRH1                BTC                               0.49915514     2021-04-05 03:53:54         2021-04-05 03:53:54
                             bc1qa9z7y9m056wz6hrzqaznv4zdu0dfld97mcvrx2        BTC                               0.46666504     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1q3xkg523g2e8fuu6v2hnsl2hgnx9p3mzgz69u88        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1q4ah3ksyeu6wdxf5yc09w206u82s8pmqq9gg2d8        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1q4enlt0wmxxs9mphxdtk59g22l4v6zctsgw9hhs        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1q5cvtwt6pw9fghdmnat23gf0gu0fj5zs9jgtvty        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1q6wpn9mzk5xsqxk3024kgc5jx6r5aqh4augtxne        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qa64nnpnd8saltw35n378xz0rywsuy75pexrgna        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qenkthya086fntrp7cj2fruesjrag6tvuwfcnda        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qepfr4z7mcd4hzqzm4lzw0e2dajwv76d3lngpq2        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qf9elym9vt4xvyhzmchqzdtpkz6t93y4856smq7        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qfxy2d56mlusu9y0qd0qam5zqwkr9tfsq0xkjh6        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qk6dghfg3fpv8z8vupt0zxqt3h0ct9q35htvgrr        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qk764kjla2r5300njcs5pdlnyasy84tavspkplv        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qlayhwj7p0rnez9vx9xm64aqcwqedmc7g78smg3        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qrywv6cj0mpejvkzrkuvj803j2akjn8y4n4ep3r        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qrzltvvpef4v2jr8625ar9w6kk6kya894s7kv8k        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qrzm6l6uaquwuvzjd4p5aqummmfp8guyvuz50qh        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qs4rthcl345qn98yjt9qnchkkpv8smk96c8myhn        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qt2ee5hff3p20hf52895lr9466rshlpxqpzzxap        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qttdz8p5kwfp2c49sd5kf4wcw7rf5a6lynrycvm        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qu0pteap0avz7k65j7v4s99rgawqgde842h4km2        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qvjkd53ltlrdan97294mpl2e38z0vgvrjklt9t7        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qvpfnxzfmge30v3cndktau27smgqekcst35ykea        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qwg4scylw2fufthd3y9a6cml48cyy0q99ad4hj9        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qx9l70vs36wangm9u37fys4rmpqkvafy8x9x394        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
LocalBitcoin                 3Hc17tSzv1L1J7GU7FC7624m7vm7EVnxZS                BTC                               0.46658883     2021-03-12 20:12:05         2021-03-12 20:12:05
Ren                          39TSkidWoFVb4qnnWDrcgXirwoxCLRjYbC                BTC                               0.46658883     2021-03-21 18:47:47         2021-03-21 18:47:47
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                                                                                               Funds under claim
 Owner      Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                        Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name         Name                                                          Unit            tracing methodologies;
                                                                                             in cryptocurrency unit)

Ren                       3M8VZjtAqi51LsMuRGGY9mhPvQk5hvubvt                BTC                               0.46658883     2021-04-22 02:00:30         2021-04-22 02:00:30
                          14kj2WqjoDqfqRJo2Mtop9DofELcdR2X4i                BTC                               0.46658883     2021-03-24 20:13:41         2021-03-24 20:13:41
                          bc1q6ajkvyjrtn9dpszmz58gvh9nux6jx42d37dkp2        BTC                               0.46658883     2021-06-28 13:34:32         2021-06-28 13:34:32
                          bc1qsfsmdaqun72j8haws5hxwclal5x4lzctyhrjkk        BTC                               0.46658883     2021-04-08 01:04:38         2021-04-08 01:04:38
Binance                   1XYEAuFfgrwzLbQvUKfJNZmwrqguXsnmd                 BTC                               0.46256888     2022-03-28 10:19:50         2022-03-28 10:19:50
OKX (OKEx                 32rKAri2ED9ngZiKZAKhfiRQ8hTSEEnDQw                BTC                               0.45738987     2022-03-29 20:14:38         2022-03-29 20:14:38
Kraken                    3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                BTC                               0.45644656     2021-04-06 23:56:53         2021-05-12 08:08:59
                          17BbJDYvPLFN13d4DcUXSYmLUfG9253TmE                BTC                               0.44901103     2022-02-12 13:43:44         2022-02-12 13:43:44
Binance     NEXO          1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG                BTC                               0.44757220     2021-03-26 21:30:05         2021-08-29 08:30:48
Ren                       3Nwebgx6r4cu8gsLcBao7SMayDHmjAaDYM                BTC                               0.39999020     2021-03-21 20:41:31         2021-03-21 20:41:31
                          bc1qupfaz34ry8vn2l8f4mjj5yjpy7j63vfnt4xspj        BTC                               0.39999020     2021-03-30 16:47:06         2021-03-30 16:47:06
                          bc1quy22vmeg7j9nuw5all5e60fcxpzr4jny0tjcjw        BTC                               0.39999020     2021-03-31 11:53:47         2021-03-31 11:53:47
                          bc1q0cart3cj46dff4nzyz8tl0gg8vyt3hfz6gw02x        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1q2r5vrwqwst4ravmhmhhk0fd26kksh6ge352k2t        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1q6qm746y4plxjy5wukzfxn7dk0taxyqx5nr8kwv        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1q7nzqdrrr87hnyhjfxwlenqgaphmv7pychkhxnc        BTC                               0.39986846     2022-03-30 01:01:44         2022-03-30 01:01:44
                          bc1q9sc42acqcup8djtjkpl9exx6juqr44ccj36zah        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qcvdq9uymk8j6cuszelnj2a9ms88z3g90akz8lf        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qdt4qj0av4j08pxy6weltyv0sqg2vp9p9e63gvt        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qjrr9dfwx59jf2q90mecea4egvsr60km2kd2p5n        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qkm2tjzj0c52uwku8m9d3nva32c0pqdpffgdazy        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qr934s8470qs8wads889h3km7dd470nvu405q99        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qrcj6wdr4ndh5ztrj5g69gxyvcsmqgck0ercdrz        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qrk6y9vyx7ps7tmzl67athrape9llkgjvm9930e        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qs5x3saxf56gagrhyeety2ye7zuufh6rqkqqk25        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qtqa6scpm2cf4xmxkglt78q9mq48zhvvvp9knu8        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qtu27fkqjycqf52tgws24v24sa33gg5n664m97t        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qudfwd6ng4fxx6f5nn2dg42a203lerahs5knz86        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
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                                                                                            Funds under claim
 Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                     Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name      Name                                                          Unit            tracing methodologies;
                                                                                          in cryptocurrency unit)

                       bc1qvl9vrxlmh5rgfhrxpcw4r988npv3c3ggw7f0tw        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                       bc1qy5w4sy8z3460x5v4tqwjzca06jd9hqhhn586tp        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                       bc1qhewr9vle7zhz635njcj65333aw0lvyqzc4xqdm        BTC                               0.39295819     2021-04-29 13:10:14         2021-04-29 13:10:14
                       bc1qg29njpg7ee0gdhtcgunjhg7fs8uqjfwtpz2kza        BTC                               0.37951898     2022-03-30 12:15:25         2022-03-30 12:15:25
                       34dKNXgo9UH4qqYE4XgkNMCo3Cczu7XrhA                BTC                               0.37283333     2022-01-20 13:05:59         2022-01-20 13:05:59
Ren                    3BhWD6JtX3RXS6JeKyBoo2BEpfeoK3HhxE                BTC                               0.36839428     2021-03-09 22:03:57         2021-03-09 22:03:57
                       1DXByswUcFrU1zio2PCBuqrS8XUwqtmCxE                BTC                               0.36666516     2022-03-23 17:12:18         2022-03-23 17:12:18
                       bc1q3q5lvlqvls5u90g0whs6s4d92sed94tl5kqcar        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1q579y6jgun4876vjf3cx9a0jegqltr29e6eqzxk        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qae503h8fxhf32mhufarhwqhtpx3x4nd2jthzcu        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qex5hptzfcxfmnhspmxsqaj86e0u8pjer4k2kzs        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qf3ftulzxmwl907a6ws4uau4wn3ml2xlhr4vt4x        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qfsdzcqf94qj6r57tgak7xg4e4lpe5kqxgvxyuc        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qquea3deh5h286q28kpmd4qv2t75h9xekr3q67d        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1quc45a5p6frshw4k6tmrw2awvccvx6usa94falw        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qxzjzwql7ezvaq00ecp7jan562r7063d6fks6uu        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qy24jsqwrh3vamd62983jw4xnnqsc0d76fkafx0        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1q0etcsphst97anpjp6m46p0r53pht6faf3k96c8        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1q4cy2t5s69etpsu7vm5ujj0temmtzxu4n00cvue        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1q4r9enwd785pxh2tcgzef9k707vga3kv6vc874f        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1q5lr6uqwq2a4lrwtf5h4f8agysvrc558c05ftlk        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qasppe2qp93ypkez9yrc7lpf4l62xjz336ntmt3        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qe90plsajfenecpv6dv2fn93g9xu4z0e9mwnsgw        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qfnf90j37ym6aecr85tvl4h3mw8wzduyt04yplv        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qfqkt3ske29fqd67ugjn9dt0w73c5wjnfl2m7np        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qgrpvusdt59hceqlcf2wwdhxzyprx42rtulvzs8        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qjx7p5qcrn86hd0x6k2f3j48fanav67znvjsrku        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qk5rlmdc2vh73g4jerdlksch3r4epddyxdpxmjn        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
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                                                                                                        Funds under claim
  Owner        Beneficiary                                                      Cryptocurrency   (average confirmed with the five
                                           Destination Address                                                                      Tainted Inflow Start Time   Tainted Inflow End Time
  Name           Name                                                                Unit            tracing methodologies;
                                                                                                      in cryptocurrency unit)

                             bc1qkr9d9vvj8t05nzw2gg5vkfnxpdce74vnde2z5s              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qlk2962n0qjxe5xydqh4ug09sqsl0kchgwhfn7r              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qn50ekv02clh7avcx8vr439uwrtf92t8gyg0mka              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qpukg0mr44hwlldk9hsvjmtcfxhum7qkx64pwej              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qsgqzg3w850lht0y287gqnkp22nfudjknfl6vjf              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qsyqgxjgc5v57e6tq4cj8g839kj3cp3l3mt3c9z              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qtcwyttj9ppcekdn3lk703v32f73wr9xw5cdwyp              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qwlqux4hdun8r2cez7rgavsv0xz30wg7mhhcv2r              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qxzqgvl2zd8cfz4aezgmr8xp72lc8n2g0x9l3xm              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qzzd7vv98pq3ypx2h54uh7mdh5tukp7vlfnqcpx              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q9yexm4z0d07jnqlq6t7llzwx3tg48sgw08gu7f              BTC                               0.36587047     2022-03-25 00:12:44         2022-03-25 00:12:44
                             129ogBs3PZw3yC7T3A2PZ9Eb2Duej5f1We                      BTC                               0.36030570     2022-03-29 16:00:12         2022-03-29 16:00:12
                             bc1q200humncd63q0dzwt4n6g6yyeue8kq6je5y0wu              BTC                               0.35914616     2022-03-22 11:55:35         2022-03-22 11:55:35
                             bc1qxljfjnp5fgkq6snauffj63j4cv0saqjjj5fesr              BTC                               0.35914334     2022-03-23 17:50:55         2022-03-23 17:50:55
Binance                      1LmFmScFggjDak4JBZqJsxhAykRwYtkTFv                      BTC                               0.35700215     2021-03-27 10:21:37         2021-04-05 05:46:37
                             bc1qxul7shms33h3j7r99t6kjumquzjht2vnfvswvy              BTC                               0.35669602     2022-03-24 11:38:50         2022-03-24 11:38:50
                             3GmJCyed93nVimY2QFG7sCTp4FREDfraFo                      BTC                               0.34938163     2021-12-27 10:22:22         2021-12-27 10:22:22
Binance                      1P1LCMr7U6jxf1Mx2XYTRPQzRSsvjZcTc                       BTC                               0.34528192     2021-05-01 09:50:27         2021-05-04 16:32:35
Kraken                       39SaPmECYfU1EHc6Gxu1mYiarudJ2ywY42                      BTC                               0.33474991     2021-03-14 04:10:10         2021-05-15 18:54:44
LocalBitcoin                 37PPZuGqkg7rSXy1VNTvUB6CHeU3jz2poz                      BTC                               0.33190362     2021-04-05 10:23:29         2021-04-05 10:23:29
HitBtc.com                   35MiwdASDkgFqUa3YQfHFucggwNYjrBjeG                      BTC                               0.32627438     2021-02-28 13:02:44         2021-02-28 13:02:44
                             bc1qhhd2ny5ae6s53vcz4u4f3xsy893ew8hl647qs4              BTC                               0.32497947     2022-03-30 01:20:11         2022-03-30 01:20:11
Kraken                       bc1qqwy50uahzvnn8lpc8769sk3q8dsl3fe0ye02ksk43m74        BTC                               0.30821102     2021-06-22 18:34:31         2021-06-22 18:34:31
HitBtc.com                   3JSc8fYRWsn6qAq7UnZE8Q9vm2aE5Whg1b                      BTC                               0.30698342     2021-02-28 13:13:01         2021-02-28 13:13:01
                             19sosF6jvurWL3VYe4MF9KwCmKk1RQm34D                      BTC                               0.29979908     2022-03-28 11:14:22         2022-03-28 11:14:22
                             1CixWyvkSLseDGpkC7Fbm5qFDbZ4dSN41x                      BTC                               0.29979908     2022-03-30 03:16:10         2022-03-30 03:16:10
                             bc1q0enqea9uycv86yajvxlgd05alj3r46jyhyve6d              BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q440kwh66gdecmwh5kn8kx5mjvuar2pxpjzxm3s              BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
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                                                                                                  Funds under claim
  Owner        Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                           Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
  Name           Name                                                          Unit            tracing methodologies;
                                                                                                in cryptocurrency unit)

                             bc1q4hnw4v5c3njxgk5f9kw546n29x9zvfdnlf765d        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q5vmkc2hpnqp7j3kd62vrjtcejvflv2ulc76dyx        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q6czm4z5d6rnxddkjfus5szwp36j9kamfrx9lyf        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q72w9mg0a00j5v07wgxmhmp43juzj4ge8qrzcja        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q7t2lt3gmx0hpwdamwgy4l8a4lxgy7p87qe2xcp        BTC                               0.29979908     2022-03-23 01:05:04         2022-03-23 01:05:04
                             bc1q7wuyjhgf8s4cv2xcw8av6rar7lvhuku7lpe8hx        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q86julvk8ttkvwuwwc8gu6ny4sxawyq4jdgmtql        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qdu920z6qm6gvrglw70g5f5v4ewmn89rcsjklrn        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qh0kghzlgecnfp3p9nnk28zwvwkq3tp08vukas8        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qjylp4wkuxkfjuar09zh3gyqg2n0ap8vsf2y7e3        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qkq787y7q9qpyfqpffwqwp3qpc80qh5qqsw0ta5        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1ql6e5dn2j4cmv0df2z33jvr8kkzmwa4thz0zzxk        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qlfc75da3609pmgsyp0ws7ems3y4p6ae796hcvd        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qmdmz5zppylkyzsspt2uxyhwwuxgzhvu88q7exs        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qmyjajhqznzwczawfk3dm7u0ml4wul3vxywxjuz        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qnd96sp4l04vleks3w0ftca303h9ukq5cd4hfdm        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qr5ypj8hhsz0xzpy2egagdytxpf8zp486h5lwe0        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qrczh6s24kdmn0h59cy86dt64l4d39n9dzuefhw        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qtqahcehy94kkpsh4y4glzx7w3caq6m88dyu6rv        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qtr3xv0xt78ey0k0ea0s7qejv9f9yaqy24f5t58        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1quzmf9e4gflrme09qx7cwhqe9njcahllza2zwyg        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qxet5vq0xztrf4pys9vy2742cjfux7grrj3qvfv        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qy4rdr8hs7lz7u7sdwfs2jw57k48xahpw26kwsq        BTC                               0.29419772     2022-01-08 12:21:14         2022-01-26 23:04:32
                             bc1qyfjv0hs9hyxnrkse34x0j0kzj60qpdvdhvn7rj        BTC                               0.27377889     2021-03-30 00:23:23         2021-03-30 00:23:23
LocalBitcoin                 3Fyg8b8416fvgB9SMLjxHZDSuVVvHBf7Te                BTC                               0.26929146     2021-04-06 19:07:23         2021-04-06 19:07:23
Binance                      12T6d7EJUKft8Nh1AthLakm3hMuM7UXndv                BTC                               0.26408622     2021-02-24 17:59:31         2021-02-26 13:52:31
Binance                      1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY                BTC                               0.24063387     2021-05-20 10:28:47         2021-07-31 02:01:07
                             bc1q89fqjd7jx3sgzdlfe7zcgla3st9lv7q9mehq95        BTC                               0.22356966     2022-03-30 01:22:45         2022-03-30 01:22:45
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                                                                                                            Funds under claim
  Owner        Beneficiary                                                          Cryptocurrency   (average confirmed with the five
                                            Destination Address                                                                         Tainted Inflow Start Time   Tainted Inflow End Time
  Name           Name                                                                    Unit            tracing methodologies;
                                                                                                          in cryptocurrency unit)

Kraken                       bc1qyxfd2ctza3npghs9qphpfa2p3su7wxhafs2z4txdmmpep           BTC                               0.20477522     2021-07-03 22:43:08         2021-07-03 22:43:08
                             1AGxhidQnHK3rtQTTcbLWFCCaGqvyqrWW6                          BTC                               0.19649979     2022-03-30 06:54:31         2022-03-30 06:54:31
LocalBitcoin                 3PHS3rk7Rkwz8f39ZE7CuxjAL7YvH86rUH                          BTC                               0.19555794     2021-03-26 10:31:35         2021-03-26 10:31:35
                             bc1q77wxatdmg46ps9zjd0v83cn4f0dprumremhupp                  BTC                               0.19495577     2022-03-29 22:10:34         2022-03-30 10:57:06
FTX                          3Lvr7473mA8fiJzpc6qf4oS7nAtGPTJ8ZA                          BTC                               0.19399382     2022-03-25 13:51:03         2022-03-25 13:51:03
LocalBitcoin                 3JFrJ6P6t5icD7bSAGtVU9Vbg8bQhfDHpg                          BTC                               0.18868763     2021-07-26 11:04:09         2021-07-26 11:04:09
                             bc1q84dwk8eayjntwzsp8hnxg0ezcv6a9waptf9v24                  BTC                               0.18493648     2022-03-21 17:12:38         2022-03-21 17:12:38
                             bc1qkcrf5dx508ptkmwrl7tnnlplnh3fz3z3xwj9jx                  BTC                               0.18224852     2021-03-30 05:09:20         2021-03-30 05:09:20
HitBtc.com                   1CnCfvUTFQf11QNeBEpk29rRXfNFg75R9n                          BTC                               0.15821696     2022-03-30 05:10:47         2022-03-30 05:10:47
HitBtc.com                   3HxnoQXVhPXeZyqgmTRnV4pDJaZME4k1ZC                          BTC                               0.15456499     2021-02-28 13:13:01         2021-02-28 13:13:01
Poloniex                     1AQJFdK8aAiy7jSpu3KeoVP6sXzsPjBVvf                          BTC                               0.15438851     2021-10-03 20:07:10         2021-11-11 18:21:08
Ren                          3KN8ZNAmsfybuieLTU2rwJQoWttiSECztQ                          BTC                               0.15058266     2021-03-25 22:33:21         2021-03-25 22:33:21
Bitstamp.ne                  37VWXtmckaPrKaeARcRvToJsEWLxeQYutd                          BTC                               0.14325588     2021-03-12 15:04:26         2021-05-06 16:41:07
                             bc1qxme9w7jdj94sefhdvj86tkjgx5jx03vkzdkgm4                  BTC                               0.14236451     2022-02-16 22:17:45         2022-02-16 22:17:45
Kraken                       bc1qyvqls3p8t6jp4g8yqjg50n6jpkaqfcypyqcgr9smy64ldz54        BTC                               0.13533877     2021-06-22 19:40:48         2021-06-22 19:40:48
MEXC Glob                    32YgzEsdvt8Mh4s3skG7UYYAEcorxdoMo1                          BTC                               0.12886460     2022-02-14 04:01:36         2022-03-25 02:20:37
                             1PYtAJPnL2SAPQVnMMyHNRzthKcTiK9G5H                          BTC                               0.12680340     2022-01-31 21:48:23         2022-02-17 12:28:58
Binance                      12or6jPtCQXvdU3H1EyEHgCEX62Ga6jSid                          BTC                               0.12259585     2021-05-19 13:05:41         2021-10-04 13:14:36
                             1JZqZP3v5GkfhAH1o7ZhNSwMEqDojoreDq                          BTC                               0.11557473     2021-04-07 09:11:00         2021-04-07 09:11:00
                             bc1q4xyrapnzamf4k3t3edd6k32872xf2kqff3284q                  BTC                               0.11486260     2022-03-21 17:12:38         2022-03-21 17:12:38
                             3K8Qu3XahfaxG7v5D5N4FWqTUZ8E73sNNJ                          BTC                               0.11396751     2021-03-26 19:34:05         2021-03-26 19:47:32
Binance       SimpleSwap     19iSJXBSJpiGPmyLkz8c9sx3Nk3amyJok5                          BTC                               0.11254411     2021-06-27 16:40:15         2022-03-13 00:58:55
                             bc1q7ndcwe28clgv04vw8n36r5fusrd658ep5nr6vt                  BTC                               0.10868975     2021-03-30 12:04:58         2021-03-30 12:04:58
Binance                      1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU                          BTC                               0.10062081     2021-03-28 22:24:57         2021-12-17 15:03:48
KuCoin                       3NgEQb6dTjdLdtTjDnBaZMbau79gHScodt                          BTC                               0.09808890     2022-02-12 04:00:43         2022-03-28 08:33:09
Binance                      1AKtxjFfY3kGzWGX5XvEyGiZXR9ZCGmXFB                          BTC                               0.09778368     2021-05-13 21:33:56         2021-06-11 23:01:57
Nominex                      31s4AxJaFthfSG21ScGHT9LEPPrp4mR2Cn                          BTC                               0.09605104     2021-07-18 01:52:20         2021-08-11 08:04:31
                             bc1q495y585ssu4qqqp66gyxhhslkldk8p5cf2j66l                  BTC                               0.09442945     2022-03-28 22:09:57         2022-03-28 22:09:57
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                                                                                                             Funds under claim
  Owner        Beneficiary                                                           Cryptocurrency   (average confirmed with the five
                                             Destination Address                                                                         Tainted Inflow Start Time   Tainted Inflow End Time
  Name           Name                                                                     Unit            tracing methodologies;
                                                                                                           in cryptocurrency unit)

                             bc1qmv7mudrvjc64c0fsmptx9dghpxxsn367zse6lx                   BTC                               0.09442945     2022-03-28 22:09:57         2022-03-28 22:09:57
                             bc1qvelej34mct26hnx7y0mu6uzhpxfmluddnca326                   BTC                               0.09442945     2022-03-28 22:09:57         2022-03-28 22:09:57
                             bc1qhe55h202gk9z0jsg5h0vzqydjsgmjl3c3490j0                   BTC                               0.09427943     2022-03-28 22:09:57         2022-03-28 22:09:57
Bit-x.com                    bc1qpq00d2yg848ljcsypg0p7jj5gttap9l4attpjw56rzn93x6cw        BTC                               0.09341780     2021-04-08 02:56:14         2021-04-08 04:44:27
OKX (OKEx                    bc1qaqeu4s7drfpxdrt505fe8qcraymplh7eh7339g6jfh30mv           BTC                               0.09317869     2021-12-22 10:35:29         2022-01-19 10:33:26
OKX (OKEx                    3Ejcov8UL29FW6sozV1vFfyT4npDUwEJsn                           BTC                               0.09127831     2021-09-16 15:54:52         2021-11-08 05:50:12
                             bc1q9qtnxs4vjtdpmflav5n6xck0shvsjw7wxy49qdxnpn92zn           BTC                               0.08904310     2022-03-29 21:51:13         2022-03-29 21:51:13
                             bc1qqz5xamdwfklv7qr3fp52s89l3jdmx4fkj9fpcx                   BTC                               0.08596064     2022-02-12 02:53:42         2022-02-12 02:53:42
                             bc1qyq62hmu0736nvzu5s6w9v4tevwze28ymamvq0w                   BTC                               0.08596064     2022-02-21 13:30:03         2022-02-21 13:30:03
                             bc1q7vsrpvk7dtxeet87fa3tjzg0yfvzytz5pxaz2f                   BTC                               0.08518203     2022-03-28 22:09:57         2022-03-28 22:09:57
LocalBitcoin                 3GQQM3zDK9tvvdnQ24vaoqkyCr8vzEQvM9                           BTC                               0.08439749     2021-08-26 16:05:39         2021-08-26 16:05:39
                             bc1quyytcd090xn5hm2l4r0822ngxmcqx627pu2mv2                   BTC                               0.08022858     2022-03-29 21:22:50         2022-03-29 21:22:50
KuCoin                       3EtnttbT7MwzrMNwPc4SVsBtd5obqkcDzT                           BTC                               0.08008933     2022-01-15 22:37:14         2022-03-21 20:40:59
FTX                          3Aqx9j4V3hipZdCEkM5RaEoYbo8CvmKmrP                           BTC                               0.07998647     2022-03-27 12:26:43         2022-03-27 19:08:13
Binance                      1AwhgUBg7ew6jcCpiun5zJXDmJMqo38HBh                           BTC                               0.07857063     2021-03-11 20:42:39         2021-05-15 15:27:17
                             bc1qa3jygewzeck97j33v8535ng9hzsad30mwuc92y                   BTC                               0.07673837     2022-03-29 21:22:50         2022-03-29 21:22:50
                             19tbywqEFgqo4pkvdH1GdcDDzpYqB7ftLh                           BTC                               0.07619770     2021-06-26 13:21:41         2021-06-26 13:21:41
                             bc1qla5t99qf4j4muwulftwnawrggnddlw8rx4kg3t                   BTC                               0.07549603     2022-03-29 03:47:46         2022-03-30 04:14:35
Ren                          3ErtV4K3sDHoshbudwAnkreSuXS7u2YREJ                           BTC                               0.07513967     2021-05-05 06:22:24         2021-05-05 06:22:24
                             bc1q9hghr9m0v4kz2lm6xaa4u328sem4jsd4rx9885                   BTC                               0.06534965     2021-11-13 20:29:13         2021-11-13 20:29:13
                             bc1qjer2lhn50pxjrg73mxa6evwjjxk36jgn3s0lgk                   BTC                               0.06407880     2022-03-28 22:09:57         2022-03-28 22:09:57
                             bc1qaw8d0msdzlpg5r8mphkm7v0xmkzsgjxa7aj9hq                   BTC                               0.06206556     2022-03-26 18:12:53         2022-03-26 18:12:53
HitBtc.com                   3HVfPsMegSmX1PwUcmvRyqCrXng4tQpbzX                           BTC                               0.06061241     2021-04-08 05:52:57         2021-04-08 05:52:57
Binance                      bc1q0lfwx3d7hnuttnmn8mzcegjda4avmq8sdxujey                   BTC                               0.05800039     2022-03-27 04:08:58         2022-03-27 04:08:58
Paxful.com                   37jdH27yixRNcK9Vyg5FvcBfMimTXjHTbG                           BTC                               0.05799017     2021-03-12 20:45:20         2021-03-12 20:45:20
Binance                      1KKFohFF6yBZhqqfKfMrwPUDE2BwTGU2N9                           BTC                               0.05755191     2021-05-15 07:20:35         2021-05-15 07:20:35
Binance                      1H23VQRYDYvTeov3CVEJopy4JdtzXzdeEa                           BTC                               0.05699151     2021-05-17 04:23:19         2021-05-17 04:23:19
Huobi.com                    17oXZFjxV3TRwPGRB5gwxEttEupphM4k3U                           BTC                               0.05699151     2021-05-05 11:18:12         2021-05-05 11:18:12
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                                                                                                  Funds under claim
  Owner        Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                           Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
  Name           Name                                                          Unit            tracing methodologies;
                                                                                                in cryptocurrency unit)

Binance                      bc1qvw0876ldh6mfcmdv25xu9xqmfzth76lawkxhyd        BTC                               0.05699151     2021-04-25 14:54:33         2021-04-25 14:54:33
                             bc1qzx7gl3jlvapm53ngg0xhgl5wckkrf3ydmk3m9j        BTC                               0.05604895     2021-04-12 17:08:21         2021-04-12 17:08:21
Binance                      1NNC1t8quVLQz9dn2ZGQqZAsZV5dFEYEPe                BTC                               0.05582116     2021-03-29 17:52:04         2021-03-29 17:52:04
Kraken                       3HGdiSbfnM3FH4CapoDctJ1ffXz8cd56er                BTC                               0.05276544     2021-03-16 00:09:13         2021-03-16 00:09:13
                             bc1q6l8lsn4kttlvpc3g6up8t25f75s0nr4gj5k5jk        BTC                               0.05266181     2022-01-19 19:14:15         2022-01-19 19:14:15
                             bc1qutv962rncmm5eamguuf4nvnj6mw3dkw9y9j58e        BTC                               0.05266181     2021-12-07 17:27:31         2021-12-07 17:27:31
Huobi.com                    13z7nQx7nLJNdQPxMa4RmVgsfqhhm9sgDC                BTC                               0.05261756     2021-04-05 09:19:22         2021-04-05 09:19:22
                             bc1qkfv5r2l69ujfugfrjrlzuzp2kdaykgeg2lrn6z        BTC                               0.05227597     2021-04-07 17:00:34         2021-04-07 17:00:34
Binance                      19RuWhdXUruJECvdaiYVcHdtqT19Ue3Hin                BTC                               0.04953150     2021-06-21 12:22:44         2021-06-21 12:22:44
Binance                      1HjCsxkyJBbRSZU7fqpUczz96wK1JP7eES                BTC                               0.04953150     2021-07-14 21:01:58         2021-07-14 21:01:58
Binance                      146QSUpVgEnw6cPdvqK9Ektc6Fs6T6Y78m                BTC                               0.04953150     2021-07-03 18:24:11         2021-07-03 18:24:11
                             bc1qcmm3vk59junfzztae9hz82kq4p8s5myaygjpd8        BTC                               0.04870071     2022-03-29 21:22:50         2022-03-29 21:22:50
                             bc1q6qtk68af3yjg7fzn4992eh96m2wk4g5lkxc58t        BTC                               0.04858017     2022-03-24 00:25:38         2022-03-28 20:48:20
                             bc1qd6rpjyzhym7v6ug45r2kf4g5c5xm7a978m7m8g        BTC                               0.04830540     2022-03-27 04:08:58         2022-03-27 04:08:58
                             bc1qdvrj6w6q9gnwjk8k80f9ht3galnx3swkzmxfy6        BTC                               0.04577013     2022-03-29 21:22:50         2022-03-29 21:22:50
Binance                      16MoMBF2pQyq1xHWpU2QtdApSocWnkRdg4                BTC                               0.04398661     2021-05-12 22:52:21         2022-01-05 19:27:49
Bitfinex.com                 bc1qnfd26kl2l9kyezchn9xa82k3nnyla2ascdzuwh        BTC                               0.04394173     2021-06-19 19:37:37         2021-06-19 19:37:37
Binance                      1D3XqcAkcUYz6N3mCLaK2brwPT28wrXCae                BTC                               0.04358540     2021-11-18 13:32:38         2021-12-18 12:23:18
Binance                      1CEvgeHddizVumNdT2V2P9yRgHtQjuMfhM                BTC                               0.04244118     2021-04-27 08:47:01         2021-04-27 08:47:01
                             1NoeNfqBxhS1BHuLk483wv1DKHDRefjYW7                BTC                               0.03760716     2021-03-10 14:29:09         2021-03-10 14:29:09
                             1JVpq7G4eg9krVeufUmrkS3bMPwR2LRPez                BTC                               0.03758381     2021-03-09 15:26:54         2021-03-09 15:26:54
Bybit                        18Wn4PdYZXrrxyMdZvMofyLfNKWVtCZviM                BTC                               0.03745606     2021-03-24 16:16:19         2021-03-24 16:16:19
                             bc1qhke5wpy7teah90ncsqaraft5f4ll2vkp54fkdq        BTC                               0.03707367     2022-03-27 04:08:58         2022-03-27 04:08:58
                             bc1q04zrnl4g0xf4h8zc0amf44r9qczsm5m52fncnh        BTC                               0.03627789     2021-07-18 01:52:20         2021-07-20 03:15:51
Binance                      15XeU1EtEwNzRQ9eWYRxkomBFdBMH79KDX                BTC                               0.03610531     2021-11-14 05:15:27         2022-03-27 04:08:58
Binance                      16DHWd9D88WpHxL51d4MixrC1LvoTHE9oj                BTC                               0.03357427     2021-07-03 18:24:11         2021-11-23 08:33:30
                             1NjfsPVwHippjcZUU3jMiGs5WoUE4LDeGQ                BTC                               0.03213093     2021-05-04 09:25:33         2021-05-04 09:25:33
KuCoin                       3JtozJ9CCkfw9KUpUD6tZnEF36bv4Mv54A                BTC                               0.03077355     2021-04-21 08:31:08         2021-04-21 08:31:08
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                                                                                                          Funds under claim
  Owner       Beneficiary                                                         Cryptocurrency   (average confirmed with the five
                                           Destination Address                                                                        Tainted Inflow Start Time   Tainted Inflow End Time
  Name          Name                                                                   Unit            tracing methodologies;
                                                                                                        in cryptocurrency unit)

Poloniex                    1917vGDrz4ukiuNx5vzMMkTXaXbsG9BWLF                         BTC                               0.03074507     2022-03-28 17:52:59         2022-03-28 17:52:59
                            1AwyRpD6KHJVHDuAAKQjE72aVNMn61J4FC                         BTC                               0.03014960     2021-03-10 13:43:42         2021-03-10 13:43:42
Crypto.com                  3CXDfdypUbQdu14NhhAfWerRcsifL8cTGk                         BTC                               0.02965372     2021-03-30 03:16:23         2021-03-30 03:16:23
Gemini                      bc1qg3z6gv0gyn2pw3ktnr9h4ehfzcexdxq0yy8plc                 BTC                               0.02888805     2021-04-07 16:14:27         2021-04-07 16:14:27
                            1BgZDS3Z5LbyU3bDQcX5S9Uf7dztWrFSjb                         BTC                               0.02848793     2021-03-10 17:31:56         2021-03-10 17:31:56
                            1KR1ZUCzGd4ndPjCFPoopRi4zxQ83MfBhw                         BTC                               0.02827639     2021-03-11 16:36:36         2021-03-11 16:36:36
Binance                     bc1qmazmlmkyl3995l3qw49uya2k97wjcrmumwg8ct                 BTC                               0.02788380     2021-04-21 08:31:08         2021-04-21 08:31:08
                            1PsNZVAfJq9y2Uvy6NQhj1CzgrjadY3rua                         BTC                               0.02744252     2022-03-29 05:34:01         2022-03-29 05:34:01
                            3PFz8DYcpqKiE7fm6LFvN7f4CynaZiWM5n                         BTC                               0.02651832     2021-11-14 05:15:27         2022-03-27 04:08:58
                            1AhNDX24iwCwamGPT8w2RYexWeM6t98s6v                         BTC                               0.02619829     2021-03-10 16:20:36         2021-03-10 16:20:36
                            33UJjQE3PiHJeFEUAMdBuzY8jw7nRJGBmb                         BTC                               0.02424595     2022-03-26 18:47:48         2022-03-26 18:47:48
                            1CgeP3bo7i95kJaW1DrDD1amRSrovBHpCL                         BTC                               0.02346233     2021-03-09 14:46:09         2021-03-09 14:46:09
                            bc1qz8auns0l52uvm4szfzrup4ysh9sd8m3kk82tre                 BTC                               0.02202640     2021-03-20 05:43:55         2021-03-20 05:43:55
                            1MT61qG17FZUcTrKvotkXFTCMdGt93EupT                         BTC                               0.02119018     2021-03-11 17:06:25         2021-03-11 17:06:25
Kraken                      bc1qlfyznlvatcm3wchudqmx79fg5u0xl5ejx6dq8xx6p3sr0ks        BTC                               0.01957083     2021-05-05 23:39:43         2021-05-05 23:39:43
                            bc1q6urkwxxa0am00ax2xaf4nv4htnclfy30jd9eg3                 BTC                               0.01942788     2022-03-30 08:54:51         2022-03-30 08:54:51
Coinbase                    35yxnumGu23y5FYnRLssntZ86nUQZqkuCY                         BTC                               0.01937410     2021-04-21 08:31:08         2021-04-21 08:31:08
Binance                     17chsw2ms7pJqV46onQqpMkiUc6ctKWvfP                         BTC                               0.01689129     2021-04-19 08:58:40         2021-12-21 07:14:19
Binance                     1LL4DoZP9vfEsw4VRqvx4M9CcE2qWFKYph                         BTC                               0.01657129     2021-11-14 05:15:27         2022-03-27 04:08:58
Binance                     bc1qhnhh3j2fxn9fu5vcuqly4ntc39wzsq3yp8476f                 BTC                               0.01468140     2021-05-07 23:22:42         2021-10-12 13:34:23
Crypto.com                  39cUnKwrRCPF7NqSRiAwF6x5Mk6nWywMDg                         BTC                               0.01440663     2021-05-14 18:13:53         2021-06-20 10:23:50
Binance                     16aVSQ8CK5Z9UTdtzHiRKrD8wg8b5K7Yij                         BTC                               0.01384736     2022-03-27 04:08:58         2022-03-27 04:08:58
Kraken                      36GNnB2G8mo7nv62MmtH4sUUg647rFxrwP                         BTC                               0.01348439     2021-06-20 12:07:54         2021-06-20 12:07:54
Coinbase |-                 3AUZE1wrARfzv1ZjuM9ZnjfgUNh31zmmY6                         BTC                               0.01129230     2022-03-27 04:08:58         2022-03-27 04:08:58
Binance                     165aq15HV6PZSkyfprSBoMRtenXHq9DuQT                         BTC                               0.01084292     2022-03-27 04:08:58         2022-03-27 04:08:58
Coinbase                    35MkdfL2CZidgvq3HsZQ1PLWdo1znuMMF8                         BTC                               0.00582604     2021-03-01 18:17:42         2021-06-24 06:12:33
                            1KBy6MvcBb2qQRS5fQT92o2c5Dq2W6ygx4                         BTC                               0.00270375     2014-07-29 13:17:36         2022-03-29 18:30:06
                            159m8sYcDJwPfJaVpLeKJitkQTiPKevnY4                         BTC                               0.00146536     2014-07-29 08:54:46         2021-02-19 14:37:16
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                                                                                      Funds under claim
 Owner     Beneficiary                                        Cryptocurrency   (average confirmed with the five
                                      Destination Address                                                         Tainted Inflow Start Time   Tainted Inflow End Time
 Name        Name                                                  Unit            tracing methodologies;
                                                                                    in cryptocurrency unit)

Binance                  1BqNAxgppfFTFRTXtiU6FebqR1XDzyNjYN        BTC                               0.00130640     2021-05-31 14:02:06         2021-06-02 15:46:10
Coinbase                 3H332gtSHCYnUDuzVnzPNZu9V5jxhf6HX9        BTC                               0.00040478     2021-06-13 10:54:59         2021-06-13 10:54:59
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        12K8u22kjGxWadyks4YSZbNqZbEGpmUNpm          BTC            8a945c1469663fae2ff33a4cfeaf948ba82ee9a74f71e2bbe88212a62d411394   2021-02-27 23:53:43                         0.84215171
Binance        12T6d7EJUKft8Nh1AthLakm3hMuM7UXndv          BTC            bf3733394bbf299916d090b9ce4d66f145224e821bff0e2efe3e8e32a4ebd1e1   2021-02-24 17:59:31                         0.11185959
Binance        12T6d7EJUKft8Nh1AthLakm3hMuM7UXndv          BTC            cb51ab19319a999eddb1135f7e642d3db4135b5c5c666402f07d83daedbebaea   2021-02-25 16:12:10                         0.03899375
Binance        12T6d7EJUKft8Nh1AthLakm3hMuM7UXndv          BTC            dd61fe138b8908572be8731b907f53556326d6fc41c8abf96286874830a4a7fa   2021-02-26 13:52:31                         0.11323288
Binance        12or6jPtCQXvdU3H1EyEHgCEX62Ga6jSid          BTC            c50d9d842ead951b2e6b7e2068ee2f1e351bc73d2e0ce3bb21f0af2cbabbfb5b   2021-05-19 13:05:41                         0.00201627
Binance        12or6jPtCQXvdU3H1EyEHgCEX62Ga6jSid          BTC            ce98d8a2972107a9306025c93b9f646ad3d2c255655a84d0c9b9b3ea3035bfd9   2021-06-13 23:37:37                         0.05715225
Binance        12or6jPtCQXvdU3H1EyEHgCEX62Ga6jSid          BTC            85f3bacd28fbb82a965e7921d0e932cfa425a068bb0af38da4a9d40ccd3b42ed   2021-06-29 09:22:45                         0.05011109
Binance        12or6jPtCQXvdU3H1EyEHgCEX62Ga6jSid          BTC            f242b159ae1d4b800dc64ed5a9433196b87ee97479db4bbd55f1ad9fc3449f80   2021-10-04 13:14:36                         0.01331624
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            37aafd738a5ec65a9272495ca6842b1bac84cb07e6bb18df38fbb8b002c716e1   2021-03-14 19:43:26                         0.20550635
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            dad8faf3facc84bd41d2a1582b5ddc0d3a1f25704b93c5b90739e699b02bed9a   2021-03-16 15:02:58                         0.35991912
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            81f021aa447ed904fdbd607286596b8460d4e9e3334ad18e62b585594a05f5aa   2021-03-16 15:49:52                         0.21351748
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            30850ea2ceded334cb8cc3170c8cfb3938265137f8485e787175c20d48ae176e   2021-03-16 18:06:06                         1.47131788
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            845e89e986adef4a27c235e543296a4ad3f6c9bf9d14a45bc33e5d61f64ad603   2021-03-16 22:34:56                         0.40823475
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            0bc4d33959004e9a3ac9e808c2e5816491511848af6c135e81f79ed492ed08db   2021-03-17 00:32:20                         0.11025811
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            6d675f1e8ba320046d4628ff5bd807e5b11ff6cabc0cddc840c82235141fe08d   2021-03-17 10:58:37                         0.31286174
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            4b6bbf863c744cd3772f7c874eb49adf19f2ec3e1758326adde74d9111177018   2021-03-17 20:09:56                         0.27788505
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            c85e43d59137a93ad09a83c05fd99e79f76826a6222cdea2f516a6a8c75e6803   2021-03-17 20:09:56                         0.09700972
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            980973cd6577adc7fc6739849962d31c1e1771537c85868013b1cde0853ac036   2021-03-17 23:42:33                         0.67952373
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            8c03db1279da7758be163a20d0b82388ede8b96037a548cc60cc21dc0057742b   2021-03-19 15:33:43                         0.00506710
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            8321b44612f3e12e6a3bf504e7fd58a17dd5900ace1f5ab3de3bfb7f7e3dc3c6   2021-03-19 17:58:28                         0.12138696
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            7401cab6a96c8281b74145a7d97690fe310ef1fa1d4476a79592597fde7aba58   2021-03-19 17:58:28                         0.06294581
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            1e15b350a8007759212485f492717a0baba695ad9257aad3e59131abbb97ad7a   2021-03-19 20:03:45                         0.25973178
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            7d48676879b27743a61f5ccc26a04b76c00859a1b8491fd67efc8d768bb3ee7d   2021-03-20 18:43:23                         0.00804288
Binance        146QSUpVgEnw6cPdvqK9Ektc6Fs6T6Y78m          BTC            8502b1ded87f77b61e4c3410d7e45d965b34fbe99dab5aa4f156ccda5135a75f   2021-07-03 18:24:11                         0.04953150
Binance        14kbqzg3mJrx6zmY5dYpCVhBJ3mrd7pYSt          BTC            a1f43ac1c8770aa97cfedbb15ae67694d17ca8ba7f0f502b2bedb6567074e978   2021-05-11 11:53:29                         0.49972895
Binance        14kbqzg3mJrx6zmY5dYpCVhBJ3mrd7pYSt          BTC            1e081d7912124daf60d52b85248eb70d1f239e365d1ed02dbef09a8029d24e96   2021-06-05 20:11:15                         0.76401933
Binance        14kbqzg3mJrx6zmY5dYpCVhBJ3mrd7pYSt          BTC            39fa84209a0b1ede489638194acc33f731b49ace68da57c319bb6d6289f60078   2021-06-05 22:04:36                         0.05557181
Binance        14kbqzg3mJrx6zmY5dYpCVhBJ3mrd7pYSt          BTC            3f4790cb846058453e14e3c4cc97317ac8ddbbb6c7ab70d38b796b77e8e23fcb   2021-06-05 22:37:32                         0.03448053
Binance        15XeU1EtEwNzRQ9eWYRxkomBFdBMH79KDX          BTC            718a1e8df7e2c67a6a97768fd84249fe29bb5be45624a0e9d2bcfbff7aac7fde   2022-03-27 04:08:58                         0.03610531
Binance        165aq15HV6PZSkyfprSBoMRtenXHq9DuQT          BTC            718a1e8df7e2c67a6a97768fd84249fe29bb5be45624a0e9d2bcfbff7aac7fde   2022-03-27 04:08:58                         0.01084292
Binance        16DHWd9D88WpHxL51d4MixrC1LvoTHE9oj          BTC            4b810888e73fcf8a48885c8bcb1592e5f62ad746b85e7b1a62094896eaf784ac   2021-07-03 18:24:11                         0.00384842
Binance        16DHWd9D88WpHxL51d4MixrC1LvoTHE9oj          BTC            203d2456cde0436971f4290306538603d42b8da30bc224cdc843ff4903a222cc   2021-07-12 14:43:28                         0.00541160
Binance        16DHWd9D88WpHxL51d4MixrC1LvoTHE9oj          BTC            4860d1a8bff0d2f52c10cf0a6ddd1479a9fe128b139c3f1f27d3e4a47cf32a9c   2021-07-25 16:00:44                         0.00740480
Binance        16DHWd9D88WpHxL51d4MixrC1LvoTHE9oj          BTC            d003d20aec2daf76c659739ec7ee53e3aa44dc11f36b4d494f4a517918844d18   2021-11-23 08:33:30                         0.01690945
Binance        16MoMBF2pQyq1xHWpU2QtdApSocWnkRdg4          BTC            ff156e0dd697f16b835f3eef3bd42a79854fe04597caf9a28fd96a91329f67c0   2021-05-12 22:52:21                         0.01458145
Binance        16MoMBF2pQyq1xHWpU2QtdApSocWnkRdg4          BTC            35bfd360c1ef8f4567f1632d7471cd7b8bc3a40738ae9d4af32c12790b552805   2021-08-18 12:05:01                         0.00564533
Binance        16MoMBF2pQyq1xHWpU2QtdApSocWnkRdg4          BTC            20a68d99bb33b0b573584e7374a135cc724016ccb2aca726bd7a4042ee74c7ae   2022-01-05 19:27:49                         0.02375983
Binance        16aVSQ8CK5Z9UTdtzHiRKrD8wg8b5K7Yij          BTC            718a1e8df7e2c67a6a97768fd84249fe29bb5be45624a0e9d2bcfbff7aac7fde   2022-03-27 04:08:58                         0.01384736
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        17chsw2ms7pJqV46onQqpMkiUc6ctKWvfP          BTC            ed6f9e0353317ab11809656816cec66c3e4ce1118df8d528a48681c309ce1baa   2021-04-19 08:58:40                         0.00879788
Binance        17chsw2ms7pJqV46onQqpMkiUc6ctKWvfP          BTC            7bbc502069d1ac1bb00a7109d7a05aaea49c2b20956ed0353f95c7c6c6057a80   2021-12-21 07:14:19                         0.00809342
Binance        17iwoMJv33UgjWxsM1j4UpKtMnGC8hh5nD          BTC            a0d739ae2dcc028d11900c9912a69f7819e0cc461a969800a4b4e96c34af9ea6   2021-04-01 13:43:02                         8.04098631
Binance        17iwoMJv33UgjWxsM1j4UpKtMnGC8hh5nD          BTC            79da48b2806746859d289411f50c939fff1f217488d45164814917e7ddaf7717   2021-04-01 15:37:12                         0.02122634
Binance        17iwoMJv33UgjWxsM1j4UpKtMnGC8hh5nD          BTC            3ee65234f824d46df806d034e805687192301d265c4485bb6fb2db1412518aa5   2021-08-16 08:27:40                         0.77679793
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            c78a931a5f698ab3ef3090cd50cc8280003727a14949807f5ae946e1d41169bf   2021-03-16 03:49:39                         0.46658883
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            d2ba7ed86b5e6c1d5bd6c53e06a1c516d86787add147d70a08d2231c7467060a   2021-04-20 23:56:48                         0.09850967
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            42ceaf25bbcc2921e6ff1201926780e70af6304d5b666bdf9d587494ef7582f2   2021-04-21 00:47:31                         0.29528010
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            bf6c9fe2443f8f80cf57a1077ec7b07cae056284446c9ca79eeec831dedcd9af   2021-04-21 01:14:44                         0.07258172
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            5929eb726826d21ac05d4e4ee2f868e61611b4d5dc62f2d7fccc79d7f79b6902   2021-04-30 01:13:01                         0.12328542
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            3f431db78d6afade2de37005b327d4cfe7d49433107d0f0d55b8534f84b124fd   2021-04-30 01:53:49                         0.02284149
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            5eb289e704119b0cbb23de0267ef14128d07827696249daf8fc244704cea2a58   2021-05-17 04:04:25                         0.29752921
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            ccca79f4a689e230d2fd115b341f27be1843b8a7c90b6e4390f61724209b255f   2021-05-19 02:08:55                         0.12299363
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            363db164598cf9b7db0260f18693772bc4dd928ad4603238151bf8a4face0421   2021-05-20 03:37:24                         0.02516829
Binance        17ssMKaUL7vVJZQBs1CSP7oD8in6fFQ2vz          BTC            5e6ec9ccf6aaa8e508a7f5a491c2ea8ee38c5c96aec326d4b071634395585cfe   2021-06-15 09:43:53                         0.00100262
Binance        17ssMKaUL7vVJZQBs1CSP7oD8in6fFQ2vz          BTC            c0479fb4255ab18e088ffff1be186e64256d8345c85f99b326edc7e176b8d279   2021-08-17 12:09:28                         0.08599086
Binance        17ssMKaUL7vVJZQBs1CSP7oD8in6fFQ2vz          BTC            ed844d463be5d3e467d0201b8ca9e81045c96f72d177551e134fe3feeb6a0758   2021-09-22 06:45:41                         0.34199914
Binance        17ssMKaUL7vVJZQBs1CSP7oD8in6fFQ2vz          BTC            f7381a55f2ca0d8c6f745b9e3ce886d047a4f0946a9b114492af42158c6a3344   2021-10-04 06:26:14                         0.12956621
Binance        17ssMKaUL7vVJZQBs1CSP7oD8in6fFQ2vz          BTC            229d322b4542bf7ba4329d143c403ff6dccb920c4f763f3e33602a96d35ac049   2021-10-08 12:39:37                         0.00833819
Binance        19RuWhdXUruJECvdaiYVcHdtqT19Ue3Hin          BTC            517e86656d961c754ce00fcaa8f6181da6a87b3afb41a12d3f70015266cffcd6   2021-06-21 12:22:44                         0.04953150
Binance        19U6Fk9YQGAhi5bBg6xcvNydPd9SJyCmXf          BTC            90396691af0751484cdb626c385ec52349fcd0d88fbf22fa9954cd1187c4cfbc   2021-05-25 07:42:30                         0.52447578
Binance        19iSJXBSJpiGPmyLkz8c9sx3Nk3amyJok5          BTC            08def9ec9dbd0ba7f2ba67752c6c601bc8ac16086e15e5894ae9e16cdd0f0100   2021-06-27 16:40:15                         0.00353935
Binance        19iSJXBSJpiGPmyLkz8c9sx3Nk3amyJok5          BTC            4039306b2e7d5a5e455941854edaf15eeef09f47bacfc30f78f037713bd43abf   2021-10-23 16:11:56                         0.03551232
Binance        19iSJXBSJpiGPmyLkz8c9sx3Nk3amyJok5          BTC            d9154523eadfb9556eba19ce01148a46c236a56b80413a256d4499af69214c36   2021-10-23 16:23:30                         0.07349244
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            b88b5febb4b9c7e53c919e21459c72f56d8154ba34ca17553ef850af58c979fd   2021-03-08 09:34:45                         0.46658883
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            c50caaa1d86a6bb1d246bf43aa085a2f6ed9dc6442c912444496c2f451bca885   2021-03-12 12:43:11                         0.45776544
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            a112888e5acd2eb76a3bdcecbaf1ff1627ab8c2878765cfb67b0f097ff168ab3   2021-03-15 05:17:00                         0.59999651
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            764808ef218b056e2552a052037cb22667110a5014a497556a7a0eaf76269e6f   2021-03-15 07:23:33                         0.59999651
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            647898419a89c4d77051558c97dbed91fd2135e4734704f02985435b80494184   2021-03-19 11:40:27                         0.59999651
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            074a0020c4742dc5800dce2fea2b19a8faa5c6001916ea7c813238eb08255e1f   2021-04-13 13:38:49                         0.02743932
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            6da7c465aecc9a4a4c9bcfb0432c19d8c93043bdf1fe803b7a508dfd8b906e2e   2021-04-22 19:10:51                         0.05699151
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            143e070ffdde323dff2aaef21a5e32bb06c68a5455e93e08d90f80194741bcef   2021-04-25 12:43:00                         0.59999651
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            9dd03ded4c1ae6ac4554ffebe42e8a00dbb189df5c74192ca3833306eccba3d4   2022-02-13 16:41:01                         0.02955310
Binance        1AKtxjFfY3kGzWGX5XvEyGiZXR9ZCGmXFB          BTC            c236ca21ee9b56d8e05e8532c6f80d2eaf4889c5efdeb2c9788e065d7b6f449e   2021-05-13 21:33:56                         0.08229850
Binance        1AKtxjFfY3kGzWGX5XvEyGiZXR9ZCGmXFB          BTC            62debbabff57c86e3067c9cfadc563b6ce098b4ed5a0eda946bd847f25b5d5b6   2021-05-15 13:41:52                         0.00221585
Binance        1AKtxjFfY3kGzWGX5XvEyGiZXR9ZCGmXFB          BTC            b777b4e29ca055ee4553ae92d38e8154f8d783699cbc44297c01fc2582cd35cd   2021-05-16 18:26:26                         0.01112716
Binance        1AKtxjFfY3kGzWGX5XvEyGiZXR9ZCGmXFB          BTC            06fcc66aabf214acf459c534d2d29b51ec1ce734b95874948267094cac3c6e51   2021-06-11 23:01:57                         0.00214217
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c0fb40c3d2bc2822525654830778b498d123009f409277eb257e723c728cadf8   2021-02-24 08:11:46                         0.03216695
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                               Transaction Hash                       Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            4c08af8c63f2fb9cfcee2aca005c87ce11eec83d47a25d9f636d43df63414bc3   2021-02-24 08:41:30                         0.03156520
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c3663ab9bbeb49409b5f7384cabdb333a4038dc0181577b1ef4ae188accb60fa   2021-02-24 09:18:42                         0.03096367
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0238edd3943667b05af0f802f05c71b36a88519f1f33a6ccd4a7cb32e9f26be2   2021-02-24 09:54:58                         0.02639785
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c1ea878e75381ff82f6eb1f4b343bb57391dd31ca3579e2285d5d25451c37e80   2021-02-24 10:49:18                         0.03087536
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            cc2a8d32d4ccb476f02a6c249ead1399be1fa7f7b4e1d5358f6ac46a01ce018d   2021-02-24 11:34:51                         0.03007537
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            dd82473bded5d653623f7a73940ed9eeeb1a7f8b719b80332d9c60b056c8cb38   2021-02-24 12:19:25                         0.02641993
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            300b96086ae93e95824b1f5dfd8340a285a797746e448d254c0e007e46629379   2021-02-24 13:05:41                         0.02983161
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0a5af62da8890c3b17bcf2ce101c0834b15da45e531c6cce88d092470b0beaba   2021-02-24 15:15:49                         0.02850849
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0c63072f130f3b29ad5a0f71f68dd0e2d4dc879db8fed3192accc272fcc42dd9   2021-02-24 15:54:58                         0.01771413
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8a2891a2d0a774efa7e43ed2a83d553a1ccca77c16c7054ade95ff5069c67f13   2021-02-25 13:57:43                         0.03619920
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a7188d8e58e655524fa165a4ded21595d74dc46d8b40c056047f69c35d19e167   2021-02-25 14:42:52                         0.08487516
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            9d91c11738daa498005116ee65b1a2aa340bc18fc9798dd3d43293fa7ac29cea   2021-02-25 15:51:12                         0.06087282
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3dc10fb10fc4a04a552bd74dd51b3b6844da35dce7f9a70572c39918a40bef7a   2021-02-25 16:37:09                         0.06239297
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5333ca93d24cb9297a291b5ed7ba58b665b972b443602554aea42e52407a14c5   2021-02-25 19:26:39                         0.08830747
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            019c008887198b59274787f9a4e082c5064b46c6d6f909de10e75b4e1e04f72a   2021-02-25 20:19:21                         0.07363594
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            54dd66d4c0a7265927e95386e5273bd7eb9b435980b3838f02c07fdeebe5d0b3   2021-02-25 21:13:25                         0.03948262
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            015ebe4631d4f6e7b3bc70949db8ccb04d7dce0198b01d48480046fba31728d5   2021-03-02 01:15:12                         0.03542405
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f09a3bc299bdf4a3d50b2f9751f5bafa47477ffc880290a932e9571289d1279b   2021-03-02 01:50:23                         0.02703987
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8f81ed71125321144e4c49c03ff226205b49a2154b2b430d22720406689e2a5f   2021-03-02 03:05:04                         0.03535824
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            2552ea073b4eb98dfa9e9a4fa7b1b508191dcf99b5bfeda6e1a69f38aed1306f   2021-03-02 04:03:10                         0.02704623
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a2cbe039f8422d9ef25b4f326d753d306c1281fbd8531a563494bbc03b202dd9   2021-03-02 09:48:50                         0.02705002
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            78ffe6fb38a07f2ae521059a8332a4c7622053e7f744f292f533cf4e44399442   2021-03-02 10:21:56                         0.02705434
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            9389eaa5a177e4faa5a246447c28346aa265cb54cbbec1dc6cad3d2e480f60a2   2021-03-02 11:26:00                         0.02705938
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5a83906c25e1bebc76fd94000a0e2e582c4c17380499c53c252b9993bb64e271   2021-03-02 13:41:31                         0.02706487
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5df7fa63615526bcee5a30db0a5856df3c36e1e3a55d2f28009431039c982ba5   2021-03-02 14:53:00                         0.04084281
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            7288a459124aae638b8bf26acd6bd5ff029fe4a7a538290fd9962970bf0fdd25   2021-03-02 18:30:22                         0.03694933
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f2ce12a64fd7ce6167bfdae8fb655ed4d9c127bac24c4e8d4a42dd36ecadbe19   2021-03-02 19:05:15                         0.02709451
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            301fb14b5d30d0bd8392342a02170f5217802e03421dd498df6606d8b70119d1   2021-03-02 23:03:38                         0.02737870
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            afb6fd857df4227e8a71e54ee4082b9a58970a42e4e99a182ce99fdc4f91c84c   2021-03-03 22:58:30                         0.09016808
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            eeb7f82549226f63040c24ba00b4b547a91f8a9ffb9afe25a4226589324298af   2021-03-04 00:52:07                         0.03004863
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            54a13772e08bddacf6d8f0e9ff72524b1b3f85d5d4bd268e639130b25d743c75   2021-03-04 01:45:31                         0.03005184
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a7b88b69277adcdd6e0d29ff7453a05017a7f2232e095ad6bc8475e38df50f08   2021-03-04 02:32:38                         0.09017782
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ba83693c11bc60bbebab69cfcfc5a4aae964c633dc14a010ee8750a3238f44b9   2021-03-04 03:21:42                         0.04452821
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            4420b83e17d8c310183feb827ade094ffa9022d1d571896338e0273f16134d15   2021-03-04 03:48:27                         0.06351245
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            290d2df2ebdb95d454834e04975bca4e2c8a086f52ce0dcbe7863a6e677d9e62   2021-03-04 09:42:18                         0.06486680
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3ceb8c843dd61cf99a2690a7074f47b385b05c03fd7ac0c0aa56e8e3d80ac97a   2021-03-04 18:27:22                         0.08414925
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            2435e1815f1c840c95bd821c3663048674b7749ddfe209c1e809722cbdf327e3   2021-03-04 19:14:39                         0.09020944
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a21a0f6283df93c70d79246810b510808332304f1263f9ef646fc96abf17f502   2021-03-04 20:32:24                         0.09022383
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            dc96afd17928b74ee62a1fec1f881ee35aebad11cba660bbf0211f8cfa819372   2021-03-04 21:37:27                         0.08284560
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d4fd720c787ac3afba0c804f9cda803f6e031aa1b5bc91ca9c6766f57b2e245a   2021-03-05 16:59:37                         0.00620012
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0c384276cc622061d95e6073ab331d4e07589d9d7976061dc4dea0f7d718538a   2021-03-05 22:34:16                         0.09036458
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ff04e1e1a1ff9b81a02f13b8cd2349bed199135fd3a48bc52395b48bea9cad79   2021-03-05 23:43:00                         0.08891010
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            9d5614dfb485a5b4e794bd882e4b4cb099e2d649964cd846bdf058b8c070909a   2021-03-06 00:15:17                         0.08620028
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            7db1c9180651e6486a67223a44df60387b39a82d65c412ddaa1527964a4108b6   2021-03-06 00:58:18                         0.03025108
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            72e9252e2b03dbcc1f4d5853345a73d4748fdf2123d036aba13f89ad8a5caa91   2021-03-06 02:08:20                         0.08587273
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c833e92316073ea1ea8c312a8b88173677d4edfe01b4149a6cd80773f4a2abc7   2021-03-06 08:15:00                         0.03025891
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            fb33a8de9a088b6ac9c2fda1212921f4fee3f938aec7ca2bc3d2bc11e0eb2147   2021-03-06 08:59:12                         0.03251898
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d4b3be52751ff1e1cfa9d187fdf72d6d45040ea80a5bc007b62579bdd1a5b004   2021-03-06 09:40:02                         0.08895189
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            91714ddb4c31c79f618fc707f982347a1b9e805dab5352382e0ea80a24299056   2021-03-06 10:23:17                         0.08265271
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            281c591a015cf2e11c2b2acb78487df79608ad60d49ee8195f8a65f4cdb1518d   2021-03-06 10:49:51                         0.04516872
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b4cc01e948580a28bd5b214f5e8bc853bed9fddc923ff6d0a72754dde682c817   2021-03-06 14:10:23                         0.07958554
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            9cf6da04e20d4c20e234c343b090b627a8f62a7a72a61530576779271c51a5aa   2021-03-06 16:01:13                         0.05911810
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3d9d674cb056eb3c3c8322d6cebbd8b51b7291a1b9e70916ea3b0c170a3ae0d4   2021-03-07 01:29:35                         0.01264402
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            80c18a8fd4beebd05e6343a49f0d97442a946e35de9a316cb3451e6aca822918   2021-03-07 02:33:50                         0.01264514
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e52644defff5cf161942fa0fd8d4578096cca5f74d471b69f7b254771337a37a   2021-03-07 03:30:31                         0.06055802
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            094b09934c6c891395697118a5771aca013b8707fc7a6346dde04cb54684ca43   2021-03-07 04:39:12                         0.01264772
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6cbeb40475cc17886ad6d7295569bc0886b8ebe6f195827ce736fb3d12856f12   2021-03-07 05:21:15                         0.01264926
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            aab4d38701c3e5f9d9742a26994c0537b7763b1987471d3091d3b2c0bc8fc745   2021-03-07 06:12:05                         0.06234262
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            013c9f1862070792c28157d178832c5ac0b627f8fa0977346edfcb7d011576bd   2021-03-07 15:13:07                         0.01265294
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            41518a61b51cdb1e8b25b27ec4fd568c6b3916b0ba40389104e60b8338245cc1   2021-03-07 15:53:09                         0.06174904
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c90371c63be8e90d36bf8b44be25816e149c3c114406f99c89ff25834f6a0eba   2021-03-07 16:38:43                         0.01476493
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            abab6af64b9bfaeb4ce9b370e43c44da1f16f94300892f8ec22dfaccc1e75290   2021-03-07 17:20:47                         0.01616834
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d4d5efc140db56c6583c461f3aff9e6f901b0fbd23775feb003c6c2356a7777c   2021-03-07 17:56:25                         0.06390555
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5a8fc161449075b970cb74431008cd0487580af021b10d01a9b76a1cdbb553c8   2021-03-07 18:47:24                         0.03135350
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            615d32ed2450fced4747919d64178b4703cdb1fa75dc729cf7b7c5284795e183   2021-03-08 20:40:41                         0.08621283
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            598c71f5a9e8e903b535a3302a6e9c95235b6515e7b0bf5576fdb1b9d5551ab2   2021-03-08 21:41:20                         0.02609268
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b16bd6655a7ecbda06ea2d5d091e9fe1efc98e0f1f4654ca3d1e1f2ee23eadc9   2021-03-08 22:34:13                         0.08621742
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            acf0ac93af4a08611e742db22b159612de8f9133a8211160a61d1c88c4aa8820   2021-03-09 03:02:52                         0.02609775
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b3891d290f77b957333983c705f06f2e3f35bc3f473246fdb7ca857e2901bbec   2021-03-09 04:02:12                         0.03655295
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c0f5fb2c82c03efd61dc31c4f9362620b7dcd7ec6148dfca67efa6bb797a96cd   2021-03-09 05:02:07                         0.08622652
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5da8c0b84aea68abfaf028fe69973839b332885d1d5da5ce261b106eafde759c   2021-03-09 11:57:45                         0.05898844
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d36a0213ef484592d044446cec333762381416c9c3f23117dbee00c0605970f8   2021-03-09 13:04:53                         0.08623532
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            dd27b8d98766dd26bd940944586ed774a4072cbf13616f8afd5673821d93b181   2021-03-09 13:50:30                         0.08624131
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d1982e3c5bb77ea066caf507e49485785300b9be2673641dc54d6e8b97504557   2021-03-09 15:44:16                         0.06050889
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e4aee273f8564572e547ca64714f63f1758358858ebeafa93ffc0dc04094189d   2021-03-09 17:03:18                         0.08247888
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6f96fb0160e3da3b3d1d2736f270121080a0ba703f5e56f9b9d6c5da6866b0a7   2021-03-09 18:15:37                         0.06169197
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            56e01fe028159b74c6acd84a1aeb4c3c318ea96f575ea369b55cd2505989112e   2021-03-11 21:36:44                         0.02602711
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a1c4f584a0c0ea13de5f9b14eaf6afa4de109d2221ef5fb5877f21580a8cf54f   2021-03-11 22:13:06                         0.08615147
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            cdf17ce3fb561c790f74eddafaff8044857f2e7b0e0eeaecfccf5c984036c2f9   2021-03-11 23:15:15                         0.08615373
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            eed7614b9c004d29dc4b9aba2aecc0f1a9a3a1db86db766e41ed99bedb75908d   2021-03-12 00:40:34                         0.02603394
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e453cc3c9999d8ba9d62967b63638009cc74ca59977cf68d62e8ee8b0f45491c   2021-03-12 01:20:53                         0.08615908
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            132cc85fb8cdb2fe5567d74339dddafe0ee24de19a24eb0a43f6876eac8858b9   2021-03-12 02:03:18                         0.03652821
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            938f45ffa3f391f603e5fb6bc4f8aa3804f907c63af7e71222e2be37286d322f   2021-03-12 02:58:12                         0.08616608
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f6d1273f1ec4c41b66f21b7bad37686e5391d1e63c7ec0429b9dc8d5e4e9e602   2021-03-12 03:55:14                         0.05895800
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            2922494439cbd5954dcae50c24699b86ff068922b79eb3211c3217ac1cd7e258   2021-03-12 05:11:36                         0.08617626
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            2372337829237d420a89881f9d07648cb0b1accf57d3cb5cdf1f26d6d0c67be5   2021-03-12 12:43:11                         0.06039383
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            1691ceefd15482e31e80007486bd383509d0c39e896826572f61d5bfbd08ee5c   2021-03-12 15:45:23                         0.06461585
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8ed703e4024b38ff465a1839bf28d35340fb673331a82bb5f4c04bb8a626d11f   2021-03-12 16:35:16                         0.07438286
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d5b443f8f7fee0e7bfbe317f26f6fa5dd21a12d9fd36d310eff6fdc2c3e55731   2021-03-14 08:34:42                         0.00547155
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e5f40cc9d5d31ded48851ee7ade3ffb69941b26edd21049cb170596246e10843   2021-03-14 18:58:38                         0.01218714
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            55fe988e9f1ad8500db33dbbb418a38d11d1f85a91be124f44556ebb5c09a9ed   2021-03-16 12:08:05                         0.03741578
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6b375fb297d5924870a1d9582a91cb6ec0d9b6e600c820596f75b26dd7badbfd   2021-03-18 12:10:24                         0.00756606
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d98e04fb103b01a71e6cacb5536555df2529036daffec7f307a75c784d80a052   2021-03-18 18:48:29                         0.01173038
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f4d179ede4e31496935fe663663b02f69082e792b312aafcc40f7c0672445fb2   2021-03-18 20:16:41                         0.03536736
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3f423637226fb4646f7285fd9ebdb3c1bb304a06aa92fbda26f8b41eb5e27f33   2021-03-19 10:11:13                         0.05546107
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            dfd4128c531959f61bad7e21beca4f518e4329d42010863b0d4fc94ff4d7a998   2021-03-19 11:22:54                         0.05035940
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            35f895debab805f4207000ce7b4c6c091aadef61d5ce1f3efad1048db2fa5dfd   2021-03-19 12:06:06                         0.05800993
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c093b27fcd5a85355091fa2555259125d4fe01414c2076cba72683a5ba6bf05b   2021-03-19 12:45:13                         0.03740699
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            1c9facda41da713ad835cd45a6533b1c897aac16566cfd3532d80a2aa5d1dd52   2021-03-20 11:51:14                         0.02689003
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a6a9f0a4c0b4e10a1a81222097aed5dcd8741693a1fc00546c777bb5d9108b67   2021-03-20 12:09:28                         0.05408775
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0627b93071c0aee7d1ab2ef7d61bcddad722ae34cb178fe9429d74c9ffa9d31a   2021-03-20 13:24:11                         0.05527245
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a66050fc42eda827371f0278ef96adf554ada89150c74c60fc256246e79e1c0f   2021-03-20 14:29:17                         0.03723589
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f102c9427eb95756c43daff3e50c4160624d8f9a97e09792aad07be5ea525ceb   2021-03-20 23:10:18                         0.03295773
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e103dae06da27bdbaf46a68298e64ef0a8e89bfef7d1cec7c3a4d709f71c23fd   2021-03-21 12:37:30                         0.01341125
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            60340978dc6b591a26f3e081f080596d97032a5d2fcbb8b2ecfae1eb120e2359   2021-03-21 13:06:50                         0.01604070
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            66061e940a1079a449c94a85357b69448e3e1f193fd52f2111f67b58f0d7f9df   2021-03-21 15:26:55                         0.03957864
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a0267c3feda4a05e026f7d02f8d3b7bb7a23fca59be1e6efbeda62c95bfda8c2   2021-03-21 21:09:39                         0.02406132
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a18b43de0ae0b8e4fd423903d2bf5b73e0d46d20324bf2237cb69c7580126c34   2021-03-21 23:37:27                         0.02406178
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            2e35096c6ec9e630779691c1999011364b0fc1a8ea9a71d188b6e6a9eb11d2ac   2021-03-22 11:18:53                         0.02406243
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            99723f1c7289967c40ed14e211df45f404e652a8f0a86cb58c3f3e1b437f2eef   2021-03-22 12:14:18                         0.03957948
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            184eace474e54fdb10731b5fe62e9ef283db4dfeda0b5eb882e2aae27b5ab14a   2021-03-22 12:42:05                         0.02406300
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6f5f73483768747519ba4f0f34de31f82ef927a8373966acf7c255bbb0e9d325   2021-03-22 14:57:54                         0.02678228
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a3c8da845da687918178d5f63b54dffd7673f385385968f395b90ca2ddf338ad   2021-03-22 16:09:32                         0.01604484
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            1282f9778810ea30b002d3c3418927171ad3f2d9b3a0129eb1856bc7072001f7   2021-03-22 21:21:32                         0.03958113
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e1dad8c1561512109e7fad73bacd929d888cff0fb9c6306f55f1e35f5466efa2   2021-03-22 23:29:18                         0.03958185
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            837210b6235c473ee8464edcaf2ee6fffd06dd71038fb0ab4fa6fee6e8465fff   2021-03-23 11:52:35                         0.03958288
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            883cd26215c0c70a8f0ee9ded5a4e99aad6d5861516c46577915044ee687660c   2021-03-23 12:13:56                         0.11606640
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            90a12e6c3df7b6548bcdbb68c4c30377d2854ae14d076966443c8d1aeaf1263e   2021-03-23 12:58:47                         0.14407422
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c5c52cc07da00fd25746b7e1c95899955073f609bfca9c12c1a57cc6c44ebfdc   2021-03-23 23:22:19                         0.04171713
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6e8c29cf48ca13f9ed8da9c03d4f44ea858fdb32514197df74a6a107b416b829   2021-03-24 09:36:04                         0.04268944
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            db99fb7319efb04d7cd36256f45a5b4d348bf248bb984b86c38fb7c94d6ceca6   2021-03-24 09:56:23                         0.02858191
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            205f245828b3bc9f51f6489aa2b73e8203e3deb8916e28b76b77c5378201e057   2021-03-24 10:19:34                         0.09741790
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5f81520ee9de61a164cf170325317ed251db6d6d4af9b8865da7b0570f731e90   2021-03-24 16:16:19                         0.15959701
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8f553f77df2c9f1dbadd81db36939f535c62a087a0a07f0de56411ebc5f037fa   2021-03-24 16:50:11                         0.12377490
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            18a46812d03cd840dccd41b7c4007b97dc4f5b448ce259f70650a1596bc2ff37   2021-03-24 17:59:51                         0.03339874
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            862ba1945294653f8f35607c60c7cfaed5fcd811dfbb7b973804c77f09994229   2021-03-24 23:19:01                         0.02306409
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            4b8fc18e9087dd778cb73757908a36269e33aec535c3e04b680b7e66e3284e67   2021-03-25 09:53:45                         0.02306551
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            cfb7e264c30017e66ad7c60aa6323333f7a22fe5c29b7ce35fde79dc285d9951   2021-03-25 10:36:38                         0.01727777
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b07102fc026e1cb95020b39db66db5a4662b6167ecd2b3de31da0e20373c32a1   2021-03-25 10:58:57                         0.02306630
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ba785bf24474deaa561b231aedb9afd4b5d8c24d3ea6c7a27925329307777c46   2021-03-25 16:34:43                         0.02306746
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3e84f3ee8aa9e1f3cf08ccb1236eb5e3c4d14bd025aec2b2c90859b1f57ee17b   2021-03-25 17:14:28                         0.02306893
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3912c0a88c091c8627e57bf0dbb38756f52d87333c0b44554c7d976eb32cd3a0   2021-03-26 01:34:38                         0.02565818
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b576e427eb813a8dc99aada74b29f8d7236cd030bbea301f8e8388f7587757d3   2021-03-26 09:26:30                         0.02826997
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b5606c5ee1e674d13f59f97587b57e7a67fa4b1317a8d921394d8cb59f0f142a   2021-03-26 10:14:08                         0.02870968
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            263124e8c76781bb4ffe674e7d88025f146bdf178e02d62538045b17019ac6f2   2021-03-26 11:11:52                         0.03034016
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b04fb61bb763bb8b43fff7cd9725c6fa8206c48f50631dacbcfae4156798bad5   2021-03-26 12:07:42                         0.05263128
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ab4abb19c6fa9e95774dbd208dfe4a138c94db4e7dd1ee1fae935f045c4818b7   2021-03-26 17:35:45                         0.13763518
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0340b33bce5093a4e6e8dcb5a5d136359d61b4ef20148f5c96e5be363b246749   2021-03-26 17:57:57                         0.08766534
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            dbfb640ea3a57966c745eaa52b5594abf3cdce96262ad09d9d1e709df18ec8f4   2021-04-04 13:22:17                         0.01796205
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            1af5715cf8bbf18955e726d61b4cfa94ea5e9f1988828f9471f9bebd19bdf90e   2021-04-04 23:50:42                         0.09464651
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            93de582840f5215e4f1504a5caa20b94467f3e11653f5cd900a2851ea7fed795   2021-04-05 22:36:16                         0.02502555
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e369d97ba80f4eac7654e9e03702a6e0e699535664aba5f952592157605a218e   2021-04-05 22:55:03                         0.09567025
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            29b5277abd578c79abbdfaad744a9d3c6641de195134fc044b64700ffa606b02   2021-04-05 23:41:15                         0.02502728
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5513f1b11e9eda801742ab230a3a6028a02fea7f243cbab36282f5802f7c2776   2021-04-06 23:16:04                         0.02502833
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            4d2075ee03f4b805fedae6ec01bca354437e3691d7acb4ee67b8719cd649f4d3   2021-04-06 23:56:53                         0.02502884
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ce08a916916c9bb61f34f7b68e049a8d5b39ca58fe83e9ad86cd6033f8379194   2021-04-08 09:10:07                         0.21193136
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            35e0f947102093cdf9d187a367acd32f5be79a617f72102e38be9f079005dc53   2021-04-08 09:41:17                         0.21193875
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            996dfa2b345dd8b1e2ca11bc507f4eecb97c7747fce57ab63977a0723cf32943   2021-04-08 10:44:48                         0.21194592
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            483919db32b6068b5e3d567f812b3a9ff6ca1485569350dec0ef376ce46959fe   2021-04-08 10:59:48                         0.02814765
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            73b6551751b2d196479dc9af66cc7046d56c49d63b59384c4ea124322089dea5   2021-04-08 11:38:18                         0.02933171
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d5c25551e692b81ffd92c2ebcd9e4ef729e7b7ffd9537297a8a40530d40e5e2a   2021-04-08 12:47:13                         0.03135131
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6469646c4567098e9d93c0d9bbf2269627d55708f58b4802437245b2a057c3be   2021-04-08 13:25:28                         0.14133100
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                               Transaction Hash                       Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d2899ce4ef81a3ff6acb18d17b6b35c360aeea5fa1890a7d531d15720a48c87e   2021-04-09 08:45:37                         0.07816255
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b0fc4b264ba05536640d9c8721e774687195a90c5264c7ac389b7df29cfc23fe   2021-04-09 09:31:56                         0.09392774
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            23000f8c032b24d000c2d9539e9a937c5ee47b76cc1dad506120f3ad7ebdfaff   2021-04-09 11:41:35                         0.17620398
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8edb9f7d946f4447a8ea7f1d102990b24ce5db2bb293d25e88a4bdc13406d622   2021-04-10 20:59:22                         0.03733364
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            9bc940c7565c83c8fbd9da4c67d4383f27f7c253836fe51484d492a4430f3b62   2021-04-10 21:50:57                         0.05132007
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            2f794315393badd0a6b14725eb24b6eba70195406413082f324ecf2c199a0b4b   2021-04-11 00:13:27                         0.09560022
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            116b8f5d89d695c08899c49a77b7291a76ffcd5c905db2e3aec00bfafb9c3637   2021-04-11 01:13:53                         0.09633371
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            fdfb7fdd0773bd3378f0717f3ff01468380db6d2d70901a2c1d50d733a3322fa   2021-04-11 09:39:51                         0.09730516
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            052ea19d3a64c72c9e08c90f97585e51aa4b5447f12eea2d952ff701fe74bfd8   2021-04-11 10:13:24                         0.17206540
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ef900eff522f31360c07c9624034cc8b18395c89293b1d4241bdd747ed0ec839   2021-04-11 10:55:01                         0.03421523
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            50c9473067265fc7394c30a3c4ad9637be8d4eaa2e3afa70c2d79ecbe34de6f8   2021-04-11 21:45:01                         0.21185098
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0f91f54e89bbfb0547aea2765f2bab9814c09ec29dc97de8af004bda4aaafcfb   2021-04-11 22:51:51                         0.05464838
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e416202818ec08c12fab95cfc4e6d5ce4eb898319a54ace3fa35567a3c43ae61   2021-04-12 09:11:21                         0.05548299
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            62406db2d347fbbfb14803f85574fa492a28aaf90974309c87430042bb4e9f22   2021-04-12 09:30:50                         0.05667784
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ae9ec494412c0dc8adb7c733fd5cffc738ac55388ae8080d2025f1a6fe9f2cc7   2021-04-12 10:28:43                         0.21187463
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d6e4e9b6b477ff7a0d5e0da6d49a6274c0baee25a7f861377b8909fc680eec48   2021-04-12 11:09:55                         0.10310211
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            9c0e06714a6e5d253bc6c22401394834466f86bf204981dae25208bbb3afd344   2021-04-12 11:26:53                         0.12992138
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            768399343cba492203d00a7d2f322ed76558161ed58a1b823fabf2cf13ce800a   2021-04-13 09:35:35                         0.17134587
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8b40644df37441d3f689e86cb404316755470c3eeafc91b2649356778bc61476   2021-04-13 10:15:52                         0.17135502
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c48e6e5419c4c1060866eddbe23204ddcfa8d24c51c48ee1acddb6dffcc8756d   2021-04-13 10:35:56                         0.17137027
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            063c85bf5b63040df9c1677546fa88fccab1a97700a7f4ee814661b7c30ab405   2021-04-13 10:51:20                         0.00291006
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            613ac6f6c1e5f84ccb52e1044dcbc31fdce39b4c2e4b9e2b41c765ec2eeefbdb   2021-04-13 11:41:28                         0.00291015
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8a96a27d213b46e308ecd986e060f602c941e40f5522953f53a41d52dae69944   2021-04-13 13:26:59                         0.00291025
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3d85813e7d523ed96ccd57fb17cba7477b603c564fe9d77a26e55ace50047a1a   2021-04-14 10:35:09                         0.00291055
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ec1fbae2957bcda9fbd2ae1d4030ab7b10991ccbb51e239b86816d3f97ffbac6   2021-04-14 11:09:04                         0.00291072
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            bb17edf50573be457c34c3cd9914df4235a67d3e751d879549c911b17569a658   2021-04-14 11:30:46                         0.02441397
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d35866aa3bc8692162a8ce4608034cb294be258610ba82c36163fd145d1d93b6   2021-04-14 11:57:00                         0.00291112
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            4898adbb60c41ae1139b85085fb2c034d4da117af717bb23a89d2f95a1ba5b0c   2021-04-14 12:20:12                         0.02441647
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3055b909a44f1f28860f4b39e68dcbf3d683d1b4759696155cb6e84f7e3e0050   2021-04-15 11:36:08                         0.02441998
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            678cfb8010a0c65ae1bb77214f68447933ce68ebe92d843b0c3bce351f96f2d8   2021-04-15 12:13:59                         0.00693696
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c61084ed45c1af8dedf303115516c73f19db9750627d7b0aadbc0c47aeeee43d   2021-04-15 12:34:40                         0.02741702
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b20b3e7241bd3b980c59924ac847330ab126acaf8b21ed82a3c608f37055d279   2021-04-15 13:54:44                         0.08681186
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f403772ada90df2c40fa1e110244f35fdfc304e17904a5e94104e81b0693c10b   2021-04-15 14:38:01                         0.03040064
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            4723b88793cd9700d2fdd10aa11868feda7a35b19d9f47a1936ef0f5657e0485   2021-04-15 16:56:00                         0.03392892
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            228a6e9b1a5b782916a55498bc2e6e576638aed0bb12ab5ea4e598868103dbc1   2021-04-15 17:26:49                         0.09172563
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f106aaff413397f4d09716cdc6f93a5d9decd3477a2933220ad88914de9e8191   2021-04-15 22:30:54                         0.01586892
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3fac7d637daad01cfc425199922a6494d897c14bc79728f532ece779cbb8ad74   2021-04-16 12:14:09                         0.02380452
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            bd12869df4d9a615a03aa06b4bd0b6828cdc49f37534b870b1dd32869979ab57   2021-04-16 12:51:34                         0.02380709
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                            Address To              Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ce5e905e2000783892abf180b38c7cc7c17d36717e118e322b7bfa0ec1c13787   2021-04-16 17:02:29                         0.02381033
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            89c9c6812faf2b3e6533add47b28784f06cc8b4ee76cdd590683ef831cb2f57c   2021-04-17 10:52:44                         0.02381414
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6da0a7ea22231e2c2547334688991496c989ec8aa4096570f7bf263d1ec41e2e   2021-04-17 12:09:12                         0.02681031
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e30f3580dccaf9c161dab91d07e72a54cf9940e155e02c7007f737840a0d2745   2021-04-18 01:57:12                         0.02979701
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8b104dae461a930916fc0d6d6b76f3c177f9911e56f2451b0cd132abc9366cf8   2021-04-18 10:53:00                         0.17260566
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            8ceb0514b1f605bd07279b2e44b585277cbac30a19cb2cbdb7e6baff81ad77c3   2021-02-24 08:17:53                         0.03962643
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            24ea1856753cd3891765347a7e3ef27ae4b0831d1166bcb57ce4fe22cbad53f5   2021-02-24 08:49:10                         0.03842703
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            94f58f7b3b743bf1ad7df1aec0d1ff75984047418833b5b5df365acc1fcf8cc0   2021-02-24 09:18:42                         0.03722796
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d1727627c8a6c4806b9fec25b5175236cd49079bb7f208eaf2e831f9c41e4fab   2021-02-24 09:54:58                         0.03602936
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d64e0649acfd5ac6f0a7138ba0f7844ae0c8b1e0364b60a79bc4b4c8655ac9f6   2021-02-24 10:49:18                         0.03483142
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            07fb7e3b611bc3a7a050c0505056a0edda18eb391e588c1d4badb7095f0a53fc   2021-02-24 11:34:51                         0.02816570
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6fbd916956af91bb01939923da59b80a28c17cfa91d1e4e3f82637d6568f39c0   2021-02-24 12:19:25                         0.02817524
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b3861f6915a58d29320e08f370762787bf754785cd27154b6ddb0903d16c407f   2021-02-24 13:55:43                         0.02818795
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5d439315d1441f1311b48691d605fad7e922f2e92de843dd4386e1cf953c62b8   2021-02-24 15:15:49                         0.03117345
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d089c050623cd694696fa2aae6f81d42caa5f79c6ab45fe63c4e876d3fe3cc01   2021-02-24 22:15:23                         0.02678083
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            26906c4b542cf2a3c3e785c9c21f14388cf4415696477e4d30fce29e48a0e63d   2021-02-25 20:38:00                         0.01020749
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            af3fef5490b7f634f25a48aef9ecccf9441091f6fcffcdff2b9a64347a3ae867   2021-02-25 21:13:25                         0.01799300
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            fd05cc13afef5f00ee989b1af50c35769c22de4d6e5d389d120eaa8777cbd951   2021-02-25 21:52:36                         0.07773852
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c75ea4180d9db1e19e29a234993a6cac2a90f013eb659758207320cf501c4b62   2021-02-25 22:41:49                         0.01633831
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            32d1ebf2f0101f7f268733bf2e8a7e5c6ef577df2dd12da323bcdbdb48a1c63e   2021-02-25 23:55:34                         0.01768444
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            957ebd1f7f47c20a8a545c53253b66eac370082d75322296a5df068d0ab8a681   2021-02-26 01:33:47                         0.02284785
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            8fed608c944f10ef50dc0ccd2dc3b74943df013571bbff6d0344a4b0b476abf1   2021-02-26 03:16:24                         0.07972419
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7558d89b484fea95f015dde3c0ad7ea5ea55b322f059a8d1b01ccf9c18fb2e19   2021-02-26 14:39:57                         0.06862299
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a801d7398b08de36bb6e3e57c668a273f4c3d65364cdb2975ff5920905fd9f86   2021-02-27 01:53:17                         0.00692714
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            3d72bc4bb94a7d5cec8f9545ca7f3bd3a8ed9dbedabe5b73e30942c0dd2ae4a1   2021-02-27 11:01:53                         0.09373124
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d6add1b4b07fa2784210eb039edfbd0e73e9252e46e7e29b3964cac2a503b9bd   2021-02-27 11:52:29                         0.03361283
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            9cd9a838d5722642c48d469bdb2224d8ed3ce10e243248dbfb98f64ef8186b58   2021-02-27 15:12:39                         0.03361719
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            60bca9058053883876e2c761262e16d74ae9c5923aae4d741cdb681052fc8f39   2021-02-27 15:50:00                         0.09374439
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            fca5d56fe9d9ba9236a2c8a025d11864298c3a5bbafaeb9a5f0a8b913ff651f9   2021-02-27 16:34:52                         0.03568280
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            ab4fc6f3b692d657b68bdf26b27747719452e628c32063633dcf79505aa81626   2021-02-27 17:14:32                         0.09375604
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c71d5b6b814da919017b054815599ef749ea5a83fa8ea3c4e8535ed075d52ddc   2021-02-27 20:25:33                         0.09376230
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            f36d176888ee3145a64a4f6670587090600c5243d5ce68bd4bd32b4f2b4d31e3   2021-02-27 21:41:40                         0.08887541
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            3d7998c6b563fcbb23164a8319a052067f5f92062944639981d299c993e98043   2021-02-27 22:57:12                         0.08331458
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c6239828e3a9316e94b3f4448c84c75a0184e5c2de6099c4650ccf583b19fcbd   2021-02-27 23:24:59                         0.04880068
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            8eb2c8d72c49f58d2e3f43267365a46a1773f0243dcde9faeb3bef4e04c4e06f   2021-02-28 00:14:37                         0.08058820
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            dd7d1c46a14fd66417993606d8c88aeb1ba18caf025affacf88c323dfaf84140   2021-02-28 01:08:23                         0.06580007
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            01831aac67f5639a427080874713955cb4a2b983b1835d12f264ed193b3a735e   2021-03-02 23:57:22                         0.02508246
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            341cf1a56ebae66cfd5e98a3d62cbcd12438c2d1a0213363ffe03210fe0157bb   2021-03-03 00:53:22                         0.03385249
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                            Address To              Cryptocurrency Unit                               Transaction Hash                       Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b36abb42bcab85e0bf458128743a77725e6661ca8de652b85ffde01b9ae4e483   2021-03-03 01:57:38                         0.02508751
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            64b1d5760b7d0d445285ad59d45e909afb0b3478ec7b7f728d24f42a51f406b3   2021-03-03 03:06:13                         0.02509046
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            20561cc7eb2ceaf75e85fbaddd5ad4ae306d49bd204624ef16147f7d9878a21d   2021-03-03 03:51:38                         0.02509377
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            2e2a10057067888ef705cd1618602a2fcbc667c4dd7eb07c07dba080e04fcc5d   2021-03-03 04:42:00                         0.03575741
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a0ca2b29bb23f5c34a5364a62186680209401e6050ec24a1c2127fc48f79bf2c   2021-03-03 06:32:47                         0.03412823
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            574eaad72eb344d728ae9b612081d8b15648f05f3ff4fb671bac155dd5dc5caa   2021-03-03 09:59:50                         0.02510732
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            14d8094e051af011a2befb54f5bc03c9680848aa118d7e7c4c031db35a49cc4a   2021-03-03 14:59:15                         0.02511367
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            080e9c67b3e7f63abc39c04f9147c6b96bc21dbc4ff09beb8d6b3304f118d4be   2021-03-03 16:34:24                         0.03538422
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            4a12891410c15392382d25f5d2c31bbd30e8e2cf42f2c2ce6ec5600982148e21   2021-03-03 17:38:22                         0.02716955
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6ccc054c90b2e26ba8019e1a70b0db1a3744f958a4772bb7869a3350c8ad2aea   2021-03-03 19:11:53                         0.02914641
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bb5271a7a6c7c71cf8bb4a0f98a0f96f8d5c83d9883253178af80d1dc4ad9db3   2021-03-06 00:59:14                         0.01177447
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            72f6a6ad2d08b3ba918303ef08456eaadf6aaeb50437ff03dccc5fedf76868b4   2021-03-06 02:08:20                         0.01492768
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6cf6da239b11050a45a65c93feb57ce1366c8f423ea541bc7c78db5475fd5df1   2021-03-06 08:15:00                         0.01177664
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6f814cc0ffca207ebb8674de926b40ec79a4252419517a14d96cedeb053fe545   2021-03-06 08:39:45                         0.01489731
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            69b190192a6d04e4fba2dae2a08efee98517e6b6872a043c643ef5e66e6d0a1c   2021-03-06 09:06:03                         0.01177933
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            67eb8752f50f988876ef5218bdb811565dda3c939bfddcd6fcbf29f7d8ffdc68   2021-03-06 14:01:01                         0.01484884
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5129ed87111e612ea053fcb93db176e58c4abadc3efd782025456443d8530328   2021-03-06 16:01:13                         0.01178285
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            919f78e3a10e44afdbcba94b5815eece58d831cf6466bec29831b682856f0101   2021-03-06 17:00:16                         0.01476032
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            9adf9d320f43f13b5e751b57718bf2672f4f6b573af3e0317908e5d9236c49db   2021-03-06 17:58:29                         0.01410710
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            8a6fcb8bd2d0b7b007fdc5c7705baf888395772036241a129ead6495212b3576   2021-03-06 20:20:51                         0.01179173
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b5eeed83ddd5d3a6598245052da45dc91537ddc267180b6a98997394a706b631   2021-03-06 23:29:20                         0.01179736
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7734ae059de62e2ed533422407606a7cb810143aea62e5862a5d9001d8eedd29   2021-03-07 00:46:45                         0.01038378
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            53a792062e19e3fb7a622c77428ec53426238f512036a97120a6c7642b413e72   2021-03-07 23:20:10                         0.02976018
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            52718d7ba4bbd29071e2c03d37dfec853caf7c022b8b7ce1a1a5989309e55c29   2021-03-08 11:24:31                         0.02925417
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            57542d1bdcaeaf96da450b673c8464dd50a47bffb7f5fc4a8407224fceaffb81   2021-03-08 12:13:21                         0.02390099
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c658a00febead2fc240e7071439d8cbbff06da5894f0f95705474ba90cf877ef   2021-03-08 12:51:10                         0.02920312
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            0c986716e26617e3cf641618f211d167c365a2fcebab53e8c5e2c2e29d517596   2021-03-08 13:28:26                         0.02858523
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5a792de97d561b2c26baf13bccebdd44b2dc40e2ed9f3383bbc0842c3b041d19   2021-03-08 14:07:39                         0.02390932
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            ef980623957920044d5759c9160a20130b553905150979f413efe816657d545f   2021-03-08 14:49:42                         0.02391298
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            24d6cb8110851f5abe2104176113b270599241ca2cdfc7b11fd0e4c5a565538c   2021-03-08 16:07:02                         0.02391736
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            ecb76d7d53ad80c031124a6755ced09de4702a690103414c9ceb86bf7cb199c2   2021-03-08 17:18:58                         0.02392284
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            3823985f750958e204375a3446bc47982da80d5c55d841065a525b12039c0a18   2021-03-08 18:52:36                         0.03120095
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            f271400230bfece69498b0697ba14640eee90ae30c866555f820f9f3556ac40d   2021-03-08 19:25:24                         0.02834189
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b8efeb361df010be14f9fac0a9a0a28f693840913b7e0f25106d9cb0c703fa0f   2021-03-08 20:40:41                         0.02051103
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1b06993ac120e8ae9e2637ed118df5a90ca26bb4dfd90916912bbec3c7224950   2021-03-11 00:09:22                         0.02960225
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            966e0301119802e615dac028cfaffd1d81a27e69587039b2ea0b7750a985430f   2021-03-11 01:07:00                         0.02377976
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            705d42be63dc8685d2ae1c15defa60a8a1f44e33edcd089947de54916196fe11   2021-03-11 03:11:02                         0.02378154
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            509c1e4321c8bf3079598e0706dd6d89f77e350d5c3d2c0df22971a1f18be5b5   2021-03-11 03:53:20                         0.02378353
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                            Address To              Cryptocurrency Unit                               Transaction Hash                       Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5efcdfb4ed3425966e7bdc2e88aa35b002830d38667dc3e00446227f6dcc2823   2021-03-11 12:14:08                         0.03074697
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7e1388293f97b1da87f120f63bd0f932e4072320b3ab3ca3be3feb878f561da5   2021-03-11 14:40:33                         0.02982585
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            554d0f896f29fada25374a31c4e9bcd0e8045ba2cf6aa73e344547cfc2661be8   2021-03-11 15:56:32                         0.02379165
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            748d070f6318192aa2f28b2437f293a9bc93aca6c1d6d69d9f4fb37f897da36c   2021-03-11 17:11:19                         0.02965072
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            e2e5806df4211949acd063191c1f9810d1121542c617ed134c93c1dc987ddacf   2021-03-11 18:33:35                         0.02380056
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1c1923837168108bd0fb9725b5e3c391e0339a82774492e3beb20f8346dd8b0b   2021-03-11 22:24:32                         0.02380714
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            782625d9403ceac05a55522c9154d402d22f044369c790dcabacc5be2ec0afd5   2021-03-11 23:15:15                         0.03033879
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            95c52d11718656d12f527eda281071a6ba1eb807cd3ddd163b2c2b15ee8ca118   2021-03-12 00:40:34                         0.02395548
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            85dcbdf242e64bdb745a5a0617654877e543234f5b95b4cd29b951bfc922a529   2021-03-13 21:49:55                         0.01358529
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            2d06f733c007d2e90bf2d9141a47a32a7055b14bbb2c67357cea4db8110dd185   2021-03-13 23:18:17                         0.01093306
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d9570481740d41c6ac83162f8d4f384d0ecaa1c7910840cb33e5fdf073a0e83f   2021-03-14 00:01:16                         0.01356512
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5414e691eafb8ef7bacbb78ce49ad0e2cfca2ecca4b8a1cb95e306747174d3dc   2021-03-14 00:31:48                         0.01093541
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            dc9d7783cc22cd0c88e0ff072a40d0c1325546a21794139632c99e5c2f5f8521   2021-03-14 01:27:31                         0.01353373
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6fad7dfbfa27f7f8b4d5f3c0adf7ebbb686b949d050ed78483d3dbc54c2aa4a9   2021-03-14 02:30:18                         0.01093838
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            0ec82845719b36d367cf024e62d4ffffc239287ae9341599de4c30de049a7ce8   2021-03-14 03:23:18                         0.01094014
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            82a0790bb0a41b70fc3faa8cc26e9f57c92f976973e90317332ebad9c190eb2d   2021-03-14 03:52:58                         0.01385067
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c950bc40b3ed21a688ba953c5431ac2aaf06a8834ce4d85121697ae0313f858c   2021-03-14 05:12:35                         0.01094487
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            507a4bc7d5561949d720c82e01391b48041d822d69ed68b3418a6210c65da1b1   2021-03-14 06:04:08                         0.01364580
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6a798a90212c6f6f84cfa5f270a3e982d58eddf0138e09afe830da6c8daf9144   2021-03-14 06:48:20                         0.01095362
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            e249986526e0a372dfab76a0444ff9cf12e2012f09f96c41d49173efa30bed0d   2021-03-14 07:22:28                         0.00948502
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a591e56aa8a064ee22389c1273cd1411f9a711b2470ca29e7ae9ec0b841cc486   2021-03-14 19:08:34                         0.01771901
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5b948457691c3b8d8a9017797a54c666ca45c40a37ae1d7d2a90a769a73da27e   2021-03-15 22:39:26                         0.07016077
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            9223802f39950e36c34faf72661f663b6cba010a35bac9b922539fc06242afa1   2021-03-16 01:07:52                         0.06551285
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            e67a1469c489ca519ba2ecb005856404bb9d5247ff4d641fc97581b5a84af940   2021-03-16 11:51:11                         0.03364803
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            aaab5f76fbde63288b2c6171f8db214fee1aae2a80cc33ac421e0fce144ccb13   2021-03-16 22:57:42                         0.03728807
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            f1c73436d5acbf601726d1c765f013420b505dd0ac91dadba97ea132c80756f6   2021-03-18 18:48:29                         0.04002790
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            14cc9950d354e09f12a238f8ac507bce985458b4e0ad23e10679b4fc92037c53   2021-03-18 20:16:41                         0.05423943
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            f3c62ec09878ef49abdcff5c659e96c9a630fac54df2eea1e105fd16328f370b   2021-03-19 10:11:13                         0.04824674
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            37c35de2105828af0b5d9da4f1727c1e1e8f03035a0ecc4b31b8eb72ae30288e   2021-03-19 11:22:54                         0.05810182
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c1e0e61c732392a4726fb5af6649675d5357e7b0c513d512fa98f06b0780c1af   2021-03-19 12:06:06                         0.08134963
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            11869a4a3bdf6db6e67856ae4c9c7071da21803a92aae6020fc229b2e775cf79   2021-03-20 11:51:14                         0.00929884
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            3fd71abb5a6ec85e6d4c1312857d55eea70855d0b7377c73292f09c06447e78f   2021-03-20 19:50:37                         0.08067987
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c0a4905618cc577fffc71552ff3fc37c6f58958cf6a9ed3b46379e6ec81ff2cf   2021-03-21 12:10:53                         0.02136557
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            2762207f63b334c684b6cc1cfdb90cbe5acd238467b38493f2dac34f9af1488c   2021-03-21 13:06:50                         0.01278498
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b18b21891016f335f4b812525169ae88f1391e8f0a4425e00fe2bde4048ea55a   2021-03-21 15:26:55                         0.01604078
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            e3eec3964b586e9875286228b5869f1fc20d37f7f12aec1d8a3bfcd23b5772e9   2021-03-21 21:13:25                         0.02406141
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            09c32bfbddef1c7805a9d0622113ade47ad2b40878ca58c329063cc47590d219   2021-03-21 22:55:20                         0.02406151
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            786965f711ba179511a96b30a209cd88354898f4c063b8380da2317012d70de8   2021-03-22 11:18:53                         0.03957923
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                            Address To              Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d91a835bc477890c58ff21d335dcbe00556db229d11b59d8970c25fa8679d9fe   2021-03-22 12:14:18                         0.02406274
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c207e01ac61716cdbe6765dec4d6dbba0963f9d79476ea1b57bfb820c7808eea   2021-03-22 12:42:05                         0.03957975
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7aec09f4009835cc20b3083f6207dc00f71a88dcf5dde4af6727879026ca81aa   2021-03-22 14:48:52                         0.02615846
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bc57e5c217a0bb3af3a6e35f63302d134b622a5dd152e00388416e345fe12198   2021-03-22 16:09:32                         0.02638713
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            cbd974ad6c7e261d39e09a0a3070c206feeb47cce63a861ae203c29f57578008   2021-03-22 21:21:32                         0.02869925
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            60ca833de62087ad63326a69392a5eeda05bbce926d29bf9854c8d19cf381091   2021-03-22 23:29:18                         0.03098069
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            3e35735a7f219049dc1225df9d4d067f8a6b3f914723a1bb0f1ece520e230fad   2021-03-23 11:52:35                         0.04502796
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            80fdf6554c892e8dd0525d42ba7ac3e87801ede557c653e1775b40e26d716add   2021-03-23 12:18:11                         0.03958319
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            eeab036ecdeac19ea6ee673aa7423535facf9b104afaf80c06044fb7b49379be   2021-03-23 12:58:47                         0.03958339
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            062f93d23444c7ce967a1a210679752a75e8bf26bc306cb5b905012f0c40a0af   2021-03-23 23:22:19                         0.04213501
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            dbbbf775b0c4ae7782f355bea8e03ef38f0edcd98ae0961ca080159a7542cb09   2021-03-24 09:36:04                         0.04344572
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            11cbe1a3340d984d5334363d7a4517f98c11bba058f69b8487e7446efe6fe8a2   2021-03-24 09:56:23                         0.02902769
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            749ce4e80e0b52b1359c551723f5779e8c53d37e24949f695b5b4a7496164655   2021-03-24 10:19:34                         0.04685814
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            9fda92029c026ccd99eabb8772e1f677d4ded15b0bd6696a65c57fed41894859   2021-03-24 16:16:19                         0.15960252
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            719156434abae09a6ef5dfdeec5185586d9c8afba4c543d921bc71a959afeb81   2021-03-24 16:50:11                         0.19152772
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d7f364436dcca73f44ac2c5fdca19f9ecd31be700fd9f1ead56d5cb0d357f680   2021-03-24 17:59:51                         0.03258596
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            dbd28ff2b2a1395ee31783c982f869271ba13d9543a6f1fc54a26e81df834146   2021-03-24 23:19:01                         0.02591613
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6a5f26757ef3e1e7faea0fd9fdfff5d09ecda79050652d820d1f8cd8a22d4849   2021-03-25 09:43:01                         0.02306460
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            50edf733301ba26591255041b3671bdb4e31d056fec237f5b8204028fa66e0fb   2021-03-25 10:36:38                         0.01537741
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            e95a988029e1eafd3240c4070c5320f1593a8aa21cf606a688c7ada85b3b2376   2021-03-25 10:58:57                         0.02591683
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            130f2379012673c9544ed0db0d607b27926a27b04bbfe3ecc7b3d5f801e70ec4   2021-03-25 16:36:46                         0.02591721
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            72427096264036a67c948e1082ce8a8b910fb44e258d8d92108d0fd8e55c0bc1   2021-03-25 17:14:28                         0.02591849
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a5341744cb4f382e651bcffc566dafd9302220b406780cd74815cfe32fd9926c   2021-03-26 01:34:38                         0.02591918
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            eeff41d710f4fbd4c180b26feabd3faaa9a0e364ea23566b2664b7b92a652be4   2021-03-26 09:25:23                         0.02674877
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1be0a56ab404883f274017065ae6a9045074e8b079a274154d7cfd8643a7ab9d   2021-03-26 10:14:08                         0.02906385
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1d4a81c0ee022d9d62489454335b0a90ebb149ca3f0b9006e639a126a988d9ea   2021-03-26 11:11:52                         0.03280456
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            4244c739123a988d012508e9f706db435f0ee42e1c7d7a5eaf8458a97b0a2b08   2021-03-26 12:07:42                         0.02024549
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            12781f57fd5cd8b6b624ceadfdfbfa4fe99322d80695924c3796cefec992bf05   2021-03-26 17:35:45                         0.03531480
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bc55eab70b407634bde4864cf70101ee7a819bdfa5567b775fcdeedefef86b7e   2021-03-31 21:01:22                         0.14594303
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            664c1a4fa6ae2f36a7fce8bdaf22e416fb3ebd55d2b348665c7dd431fe7dc81c   2021-04-03 15:23:57                         0.03170579
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            fbc75f183bfbec287c350c1e20213ee037a97056da4e09e7329bd0c1d05beb88   2021-04-04 12:13:16                         0.06397237
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            ae4bd8850f1acc705287d7901e418651ff34ec2702226eca126dbf785f91a337   2021-04-04 12:45:12                         0.09399193
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c9eaf965cb76d0d5781975e26f5bef7b9f155df37c1a3606d576afddc4be4159   2021-04-04 13:22:17                         0.09428674
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            63c31a16a90788888c6b282a38df38006b044a92cdbd7223daf4a448a17501f1   2021-04-04 23:50:42                         0.02502423
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            9ac270bc776518d81df96a5ed54be850029f0ee3154e8f8c395fcc2de5234650   2021-04-05 22:36:16                         0.09509955
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c3c03885d055123047a5fe45955b07e4dd6bd1bfd0f02d0e89e7d026a27106ad   2021-04-05 22:55:03                         0.02502649
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            acb10836fdbaf5b41039b4294a75d4e7b234bf6ec6ab37034297d19309917fdc   2021-04-05 23:41:15                         0.09640640
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c62671ae97b7ba87bb0c90f64eac9759d26cb07e9f999ad30f5010641c326d3d   2021-04-06 22:44:48                         0.09738086
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                            Address To              Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            73e6161f9bef05f46d0df01b12e781fd2b47bc981b6b45da6e7ddb7121048c2f   2021-04-06 23:56:53                         0.17234203
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            99d3563324a263b0341d6b12ffc5a05f9abe4bf63ad68f2b8301eb665cb9bfe2   2021-04-08 09:13:21                         0.02503042
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            24851fd7e89f48081563ab28f61f464c073bf5b043e2fca305471e5af08186b8   2021-04-08 09:41:17                         0.02503195
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b9955d2e4c44365f61e8132c74aded51a5a275db881360fde49372bef3f7eb23   2021-04-08 10:44:48                         0.02739208
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bc506b9b72ff634ed74765b01d3a1e776574e0cbad5b090bda10b8b38caefbf6   2021-04-08 10:59:48                         0.21195570
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7e8c9916eea161af76eb0249106b00700407675019c72bbf6264adab66c497a2   2021-04-08 11:38:18                         0.21195889
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            52d444adad5ab47f203179ebcc0bd313e7e9a81c92c0e7751f7a7079aa86e2e9   2021-04-08 12:47:13                         0.21197679
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bbd4c149925217b6b0a02fdef36e05f1c38b7411b9f2450ff1f0431aebbda72e   2021-04-08 13:25:28                         0.02122127
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            f633a09d7b87b71caf9f66ca553ae7bcb08b559e74f86f7335388445eb701e09   2021-04-09 08:45:37                         0.06491935
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5a51bcc2157afe2fdb0f01964f0d489d94c586b6f2d4e2c5029b5ccb8a2b2fe0   2021-04-09 09:31:56                         0.14504574
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b99c57073fe2c64b0d46cfdb2ae35efbb303f7d62ac08634d7279c01d14cab41   2021-04-09 11:41:35                         0.09422281
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a1b3615d4e1ac789a825c3baf4bd4de4c4532a4ebd07a0469f7839f808120ee7   2021-04-10 20:59:22                         0.09458247
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            0b6fb8221bcfc48f101e9e6095d011ebbfb03f02547ebbd0564f5965b951a691   2021-04-10 21:50:57                         0.09503005
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1739276a455a6c84230e0b709e7bc0c5971f40ef32d1cd514f3365dc25a444c5   2021-04-11 00:13:27                         0.05132166
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            8d4881e9195fbbd49a10c21ec2cbb7496cefc6bdec17885faa61c9cc4e37e0b6   2021-04-11 01:13:53                         0.05132224
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bc82e0df06e8e05535e196b7ba9dd6764b645905c00a43991530b1f5fe4173db   2021-04-11 09:39:51                         0.05132246
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bd021f4cbe159dcb75274912609c024f85843607b7acea63154f0e6caaf5f7bf   2021-04-11 10:13:24                         0.05334038
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b8b7a6a6308853ef27b2b0c3b74a1e3205c9ce5fd1db96754aac766462880e8d   2021-04-11 10:55:01                         0.14123235
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            3455a6106df760ad371fca6dae43e74d76c877e66b5ac8f66db238e4120bfb7f   2021-04-11 21:45:01                         0.05404141
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            e703eb9ff6bf47ee76cca153fe3d9a59c70525dd6024878652b7e905e7747391   2021-04-11 22:51:51                         0.21185361
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            8ec6dce831bd0107832162abfc8f7171c421fb05d987ebc0bac5c98ed1e5876a   2021-04-12 09:11:21                         0.21185554
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            9da20e399f98a62261357d426570d1f801d8818965fceaf2400f97b9eb35aa96   2021-04-12 09:30:50                         0.21186201
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            afe8cbf80e05701feefee0e701e53917d98a268c0357c36f040e97a526a30e1a   2021-04-12 10:28:43                         0.05847410
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c470ac4ee7324311b46506c39162bfe4ee79e40d4327570198333af23a85cfb6   2021-04-12 11:09:55                         0.21189534
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            31905b45304aa7622f12c3ac5575f5e5d379e7aee3dcfafa92615c05f8c4d5b7   2021-04-12 11:26:53                         0.11354342
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            f79b1404e2d7d99687b6fa720b60314105a44dd0fb35cc5db4e0784d7ec3a485   2021-04-13 10:15:52                         0.00290993
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            36e4743789a256e3cde496793afa99e51cf070bca796b69901b980d1c0376be8   2021-04-13 10:35:56                         0.00291000
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a2f36f8c9492745d117cbafc16d11757bebb07861bac17fb87d2e99e5bd82cb1   2021-04-13 10:51:20                         0.00781243
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1ea4fcb4a9614362fae1736600c254d601a241e30a45f3740d4a60f6ce7801ac   2021-04-13 11:57:48                         0.02441045
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            93290e07e4416288f507bad090fd76e3fc5e33eaf2889328f877b7469d373a38   2021-04-13 13:26:59                         0.02441112
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b3040b584ab402b4b8b677910faece2038644de10f006b3991ab2ab91e6e3b3c   2021-04-14 10:15:02                         0.07246795
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a3b628f971ba4934cee076a75940db21630072c312e08fc952f969dfb0fad595   2021-04-14 10:36:12                         0.02441202
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            016f0fad4a852845b4f44f917659a96c60869d5c442949440c3a4022f5d26945   2021-04-14 11:09:04                         0.02441300
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            64d1ae39a4250a66914d4ae928fe5686bbadb31d178d1f619d8b3503bc10d0b6   2021-04-14 11:30:46                         0.00291090
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            067d92c0c273204be402081e62f8eae42b881a66279e3bb6009efa725c6ea18a   2021-04-14 11:57:00                         0.02441516
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7f7998ec50b0b74a3c816ab4e6fa8d8fc0220a78141f9c049b151e4fd34cc36b   2021-04-14 12:20:12                         0.00291139
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            579af06ae03ef61bf4647456529f88517590cfd51ae0576ee10fc1ee88793ceb   2021-04-14 14:12:39                         0.01627877
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            10057bdc75a88a7075d227d9fd1875b6366f2a0dae5f1fb9a2ca025ef843d4e3   2021-04-15 11:36:08                         0.00541691
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                            Address To              Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            cb6dd84672df8b5021cc67bec6dea0212e8cb2b832db1e2d9073224f77404804   2021-04-15 12:13:59                         0.02670152
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            500780b9fab3ce9a5bb6d4939a09d90ce28e9c84247d9f0a716a30fe65f2050e   2021-04-15 12:34:40                         0.01044088
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1766284cd315c3bf6715de5caafcf27085a81590606d3236801d4f35f6729282   2021-04-15 13:54:44                         0.02852848
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            755532ec4c5376e09d41e04adcf060b0d2753ac10d0705a1e6fe3fc64c835f36   2021-04-15 14:38:01                         0.01757768
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            75d7768aeb5b53507d9c6c5fb559d38a240a663a240fa101e056d217a1af0b09   2021-04-15 16:56:00                         0.02380294
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1f10b2d485052023980cd74f55fddfc4cc44ad4b8e88e82d456d66a1014a6da0   2021-04-15 22:30:54                         0.14444266
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c8d77f0ca865ec3c9659e4721c68684e6bacd2f346b270d44d75256b402b9d1e   2021-04-16 12:01:14                         0.05426355
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            905bd45e16488f62e68479ca3f9249ae591fd03845e8c44477b5d811427c911e   2021-04-16 12:37:00                         0.02380569
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            02678c4002c2ad604c3da8688ddfbd734058e799b139949e7b1a4a00c54955ea   2021-04-16 12:51:34                         0.02380849
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            22517182d80c2c8bd3ec7a7283cdca68cb872001810304e69abed81ef6a3a0dd   2021-04-16 17:02:29                         0.02381236
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            0743ed70525167be2122aeb869414244703c1a3fe1787063b2db88bfd905f59f   2021-04-17 10:52:44                         0.02609443
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            80d1eb93f41c3d87c3118dc01eb37c74e8d286b1c4cd98b8cd12fad0f9e36a7e   2021-04-17 12:09:12                         0.02792383
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7cd5f63825f548e76a8079f15c4e17f2bb46f8c4454bcd1de54389d3686a5a93   2021-04-18 01:57:12                         0.03332717
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b5e51fcefb49f0dc7cf23eab0fc847eeeee07770dadd95dfa9b1315d6f6dac13   2021-04-18 10:53:00                         0.11727459
Binance        1AwhgUBg7ew6jcCpiun5zJXDmJMqo38HBh          BTC            78f13861c9e28b064294bd9018bfdb9e0539d865ab6bf8fa5fef3655788a36d2   2021-03-29 22:39:04                         0.00619830
Binance        1AwhgUBg7ew6jcCpiun5zJXDmJMqo38HBh          BTC            764d1a2a1053646a4cb5d48387d2aee55f60d029d8cd736c93f405664d01a20b   2021-04-06 21:14:14                         0.00219284
Binance        1AwhgUBg7ew6jcCpiun5zJXDmJMqo38HBh          BTC            d761b092a8177cb80d6aa743b977442a821aaf8aaeaaca9e3c8e1a674c2c2004   2021-04-11 22:34:08                         0.05070322
Binance        1AwhgUBg7ew6jcCpiun5zJXDmJMqo38HBh          BTC            736c4056d74b8a3b8791f09481b101416b6e3f13d7bd78db471e3e12384e6a8e   2021-05-15 15:27:17                         0.01947627
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            c638aa58173a85fc12068b9c0343951bfdc10e4996eec2457a3e01940ab66300   2021-03-28 22:24:57                         0.01079729
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            e31c32bb9c183c58538cf94477f73179507aa56ef629e8cb377b7b84f6e23fbb   2021-03-28 23:01:50                         0.00463975
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            8f01ca55570b06e3ddf06fa018ffdeb0a3f3e5b949879e253ffccf2b7772b8c7   2021-04-06 14:23:54                         0.00858682
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            6a40cbcf6813d9f1186d92cda7ec8d74295cdba9291fb58803db4b3192ba6ce1   2021-04-06 15:32:18                         0.00223473
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            2cfe3ea4e1883adcd36a773c30f15cde5215a9b54ed50b79119a9a795521e920   2021-04-06 16:48:43                         0.00217806
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            4e413a88823ece072c914cf404fe3263286e578f4a0afcee34ff452c007c9446   2021-06-01 13:06:38                         0.00302491
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            357caf3983c079094fbf977642c94bbd8c81c18db5966dcad43bdc64521066d8   2021-06-25 12:31:23                         0.00659166
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            c71e43f23cc5b2eae357056c99a8cd74ba82d00151bbf4a7edd482532541f08b   2021-08-22 01:47:35                         0.00448537
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            da6cd97eda3abdf4ba24ea85165aae69d4dd877ba2a29f5f3d5f7840f88c08d9   2021-12-12 18:23:51                         0.00542040
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            626456a515a67fa0dfef9534cb55e7ca8542c2c676df73cd86003246218465e7   2021-12-17 15:03:48                         0.05266181
Binance        1BqNAxgppfFTFRTXtiU6FebqR1XDzyNjYN          BTC            b2478ed9f10460dfe74482b36d2836b6d9acf1c9e8abffacd4a92fde60de1e65   2021-05-31 14:02:06                         0.00092674
Binance        1BqNAxgppfFTFRTXtiU6FebqR1XDzyNjYN          BTC            ebac43cac2bb4c7f7d884e998579afbf2320c68ed2b91a768031b294f1715410   2021-06-02 15:46:10                         0.00037965
Binance        1CEvgeHddizVumNdT2V2P9yRgHtQjuMfhM          BTC            bdbf4441fc6206a0c7864c013e6195db7150c0985a901fcdfe7222f738bea8dd   2021-04-27 08:47:01                         0.04244118
Binance        1D3XqcAkcUYz6N3mCLaK2brwPT28wrXCae          BTC            8f76638b7f1f368c6ad3a9da4b4187ff02d15d6b5b482c8d72b502ebca0c317f   2021-11-18 13:32:38                         0.01884894
Binance        1D3XqcAkcUYz6N3mCLaK2brwPT28wrXCae          BTC            7d54a50fd557cd53c707465109c277085376e19e3346f48f992f24701fbcefb5   2021-12-18 12:23:18                         0.02473646
Binance        1DqfMX5dGC1pbPtHE9hb7b9NSe4krJXByH          BTC            2b22f39eccc987a1861368c655b3a0a1f0644a230bc289cbfedab5a7437a7e4f   2021-05-13 14:24:04                         0.58142987
Binance        1Edue8XZCWNoDBNZgnQkCCivDyr9GEo4x6          BTC            a31a24b0e4733cb98f1087e3d4a79ea6ed024171e8a701ae1dc3f6508ffb51c0   2021-02-24 09:50:43                        31.01535275
Binance        1Edue8XZCWNoDBNZgnQkCCivDyr9GEo4x6          BTC            3e37a8ece93f043460a9722dce8753f8c1ba7c2b8fef7e7aa07a4c61b07b60b4   2021-04-05 09:35:22                         0.08468491
Binance        1Edue8XZCWNoDBNZgnQkCCivDyr9GEo4x6          BTC            ccb8b13df44d6f3dd3c578f21b131da2660bb7362da365213635fa86185f9c62   2021-05-11 09:17:00                         0.04574408
Binance        1Fs4QNPYf7Zf7CeJiFmSkTK3kzvENVD5w4          BTC            8a5ec1664cd83eba24862e0c78f0f1dedec78c84bc2e65dd4461ea019b26c005   2021-02-16 02:39:49                         1.39992011
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1Fs4QNPYf7Zf7CeJiFmSkTK3kzvENVD5w4          BTC            59a08a43d6ac424dade060926cefd71cd8930dc275c866eabababc18df8970b4   2021-03-27 23:24:57                         0.49996934
Binance        1Fs4QNPYf7Zf7CeJiFmSkTK3kzvENVD5w4          BTC            ce1d42834bcf6f5f83119dc103680548b6768f3892030a8f5300958d51b045f1   2021-03-29 22:39:04                         0.39999020
Binance        1Fs4QNPYf7Zf7CeJiFmSkTK3kzvENVD5w4          BTC            c724883392a1f351834ffc53c65147ac75e382beaadb44d2f25335d79717bc31   2021-05-24 18:55:51                         0.02743932
Binance        1FwAX1yW2szV6gG7YNJvRWY242dokFCrtf          BTC            9cc347b32e2f49a5b732d086bf89173785cf8512ae21187d4ab1a9fe038ed607   2021-04-08 19:21:26                         0.00294509
Binance        1FwAX1yW2szV6gG7YNJvRWY242dokFCrtf          BTC            14effb1de61bf70760c7139fd92ef667799c2a9e29b3ffd6d25344875fec5660   2021-04-14 21:41:19                         0.15113284
Binance        1FwAX1yW2szV6gG7YNJvRWY242dokFCrtf          BTC            b56dcd4af56cc56e12c4885716baa37b576dce956f8ba9cfb7c273c53b6be952   2021-04-14 22:13:51                         0.12341867
Binance        1FwAX1yW2szV6gG7YNJvRWY242dokFCrtf          BTC            1101f765236f212a91d806781c21c46b0745ac0b541b497b80c673b404131956   2021-04-15 20:28:02                         0.09182970
Binance        1FwAX1yW2szV6gG7YNJvRWY242dokFCrtf          BTC            a2db6b794b3df3fda222d7f9eb5731339fa46894e2b30388dcc2d7e26dd5a0f4   2021-05-25 16:42:56                         0.25724852
Binance        1H23VQRYDYvTeov3CVEJopy4JdtzXzdeEa          BTC            0f247b5af611d7c5be4ab575888bef2a412043b3fb39555ad0cfdeef031193ec   2021-05-17 04:23:19                         0.05699151
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            1ba3c1fe18b21c45022670a028d2b827e23defdc35dd811b9af98f4ffa02ee7d   2021-03-26 21:30:05                         0.00453100
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            5f8f18b074b8a7eb13bd5135a748c78683f94a5eeeeb6058110c67ebaf65873d   2021-03-28 05:53:47                         0.09329742
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            3a43b387f4021b51a72f0c10ae570d764a85cc0d7bf6a79ab3dc0127a9afff6c   2021-03-28 07:14:45                         0.07365476
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            3b6125eb9e7cfefd37f2bddca146039567f1289cff91b7fd79ceab47cff8ae32   2021-03-29 18:33:18                         0.23665197
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            42572e7a8e50ee02252b1e8d7e5f0e5cf9f0feca7ad43cf1df7879d092e182e0   2021-05-07 14:58:53                         0.00369815
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            8ddb9fe0b65e1025e779e00435455c0219a22712851e833a0b9d02593a9fc86c   2021-05-09 05:28:18                         0.00926328
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            dee85775f8e1ef6c53fb7e3b2929c56881ca80c882b10a75b42d2009f0a9f82c   2021-05-13 20:44:55                         0.00205650
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            9dc0f7122d41ff1f470a86d43f2793865d0ae97913c2003b5f2deec135a6ef5e   2021-05-21 23:13:00                         0.00219035
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            52b97c2dbb1229fb924681b8826ffc6deb811dec45d28b3a787edc291e5db748   2021-06-08 16:12:12                         0.00447868
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            d360c1a4af52f6ffbf235fd66b5ee0b3b73d5a8f70cbaddfd08ab9fdde9a54c9   2021-07-19 03:03:36                         0.01414069
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            61bb3f53ff92e5532402424367c3c8a15a32503e6435730a46a87b7ce6e20d4b   2021-08-29 08:30:48                         0.00360940
Binance        1HVj6JWaAqu6JSjhQeq9YpG8kRCAywY8nk          BTC            52756db7712a569ac82cd5ed62637eeeb234de79066a58831b36c521f72a12ed   2021-05-12 14:10:25                         0.62037124
Binance        1HVj6JWaAqu6JSjhQeq9YpG8kRCAywY8nk          BTC            a4406892221c1d005c6fde1c833f79977ba234b9b6c3fb99c1e380f7732df59f   2021-05-21 23:13:00                         0.16443056
Binance        1HjCsxkyJBbRSZU7fqpUczz96wK1JP7eES          BTC            42065119403594a4b4c15a2853c5d238ffdf751efda5231b74f3bf8e7ac57be3   2021-07-14 21:01:58                         0.04953150
Binance        1J9UZvdFP5betiX2oFkeHBcDjVXD8ceFPV          BTC            f3f78aaf4ba2b3c9ffdb40e5423535dd647b38adb3800f8178f2d686d87d44a5   2021-03-27 14:28:50                         0.59999651
Binance        1J9UZvdFP5betiX2oFkeHBcDjVXD8ceFPV          BTC            5522e9d587ada60ca9d187abb975090aaa66eca1787ede5c0d87fedbb49c3ec1   2021-03-28 14:03:22                         0.70461396
Binance        1J9UZvdFP5betiX2oFkeHBcDjVXD8ceFPV          BTC            76dbfe70571127d0d9a8edc5e0986abcf774a252cf2da025a0fb7dd340ecbfd2   2021-04-04 16:52:51                         0.01168993
Binance        1J9UZvdFP5betiX2oFkeHBcDjVXD8ceFPV          BTC            0e9976591f938d216f83c3739774ac6ab7c645fd3809bd9259b6d926829d34fc   2021-04-06 16:00:31                         0.01378627
Binance        1J9UZvdFP5betiX2oFkeHBcDjVXD8ceFPV          BTC            9141a8dee160af1a3395e88f10e80d68fbe5bbb4e148df618f5db82f7ac4e2f9   2021-05-03 22:36:38                         0.00281715
Binance        1JTDfmnMJPUSE5iHM5tfvbWC8wGkiqJhsF          BTC            9193c2bbac90cd34d12f0afa6d6c049f770ee927d47a3edc6c14af9fede2c108   2021-11-07 04:00:12                         0.26883754
Binance        1JTDfmnMJPUSE5iHM5tfvbWC8wGkiqJhsF          BTC            acb7529b9e84be29a97781604fe24e40727f1f9484da2f348d12a2a91371a6e1   2021-11-08 04:58:31                         0.38703791
Binance        1JTDfmnMJPUSE5iHM5tfvbWC8wGkiqJhsF          BTC            11cf89266a451669fac79aad90a420564b783844382d42bc2883b0d793ad0283   2021-11-08 05:09:29                         0.31158556
Binance        1JTDfmnMJPUSE5iHM5tfvbWC8wGkiqJhsF          BTC            d05d6e9a8a077d7ca594ea15c5dfdfa65afc696528b53da7b52a9ff2fb657529   2021-11-09 06:15:02                         0.03116660
Binance        1JTDfmnMJPUSE5iHM5tfvbWC8wGkiqJhsF          BTC            2870a700a97a1cb6ffb091076302e30a18f95389dc393c573e21f18b2277bb40   2021-11-11 18:21:08                         0.01049364
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            90e855a470e25d0fbafb7f3438985c697b59d6a6ee304efd78032aac8d9d11c1   2021-05-20 10:28:47                         0.02172266
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            60547fb136001b99f17ba17c41acd9b9165c4ecf43c921ce446163041ef7d8cd   2021-06-16 07:36:10                         0.00274551
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            a902ec52cc4dce61214d2ca6c10ea801cb1fe73eecddbc905881f769bd4f24fe   2021-06-25 06:53:28                         0.01351074
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            ec43597cf816d0c31de55689bae957a18b9c8a3a6480338f0122c8d496f67f30   2021-06-29 07:08:31                         0.01320786
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            d0c231a9f45f0b051f422ea57fea2c8dbd925795d95fe63f5cf6dedef37fc515   2021-07-03 01:53:24                         0.03278538
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            1aade96fa98e4512539755d6214ce228008db732a1494f119a1c1d13b9e836ec   2021-07-14 16:55:49                         0.14796826
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            00b192737684e53cb7f129d423b0ea0928b64c9367169a82a3221d68cf2b7736   2021-07-26 05:21:29                         0.00251823
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            58cfe7919d094958c8c069c8c17bc3b2dce193b535139eb246154d6c00ce8e2c   2021-07-31 02:01:07                         0.00617523
Binance        1KKFohFF6yBZhqqfKfMrwPUDE2BwTGU2N9          BTC            1c6b17a2227527c812bae86f3c525f2fa03aa9999b079d7b5c12922935265606   2021-05-15 07:20:35                         0.05755191
Binance        1L4ncif9hh9TnUveqWq77HfWWt6CJWtrnb          BTC            d4f59563dedded7d440277b856bcfabd33dc90bb220838e21cb657619b81fb70   2021-06-22 09:11:17                         1.02996683
Binance        1LArmCe82visDjDeKXq3xxCWGmFMW8f3Sz          BTC            69d3516763b34723d724a5ae8708dd9ea2b680315381d70eb883cb2fe21aacfe   2021-07-06 09:22:06                         0.79904496
Binance        1LL4DoZP9vfEsw4VRqvx4M9CcE2qWFKYph          BTC            718a1e8df7e2c67a6a97768fd84249fe29bb5be45624a0e9d2bcfbff7aac7fde   2022-03-27 04:08:58                         0.01657129
Binance        1LmFmScFggjDak4JBZqJsxhAykRwYtkTFv          BTC            b8873883a5812a944ff49fefc16de853b33ec3980ac7c31e24195f61783e54ca   2021-03-27 10:21:37                         0.00203493
Binance        1LmFmScFggjDak4JBZqJsxhAykRwYtkTFv          BTC            06022cf820b56251f02c7adc524e68626be706c4cdb3bbddf3d5794c65b155bf   2021-04-04 11:22:12                         0.01834741
Binance        1LmFmScFggjDak4JBZqJsxhAykRwYtkTFv          BTC            718e1d4aa237a748003820ce72d1ed811d770580dc37e6ea62a8ab8e47f9d8e0   2021-04-05 05:46:37                         0.33661981
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            4e22c03571bdd9d6513833299df521bed106aa0e091d85eadfc3f271eb244797   2021-04-27 18:07:07                         0.07738889
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            d34650a1a45e3ad60ec4882fb6d2514bcc54ad468ea5d8ebcdd1eafc963199e9   2021-04-28 16:08:02                         0.09785386
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            fedd2f7690c719f94ebcec3a2193cb3db5602157eac7b708898252bf382799a6   2021-04-29 06:26:08                         0.06599198
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            def6fe699273fcb11d0d155df580f57bd3e17acff86e228a1d84c4d871ad4507   2021-05-01 16:18:20                         0.01576395
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            e82ac5bbdad15a15f1c1b55010b9d395f4263221100d283900fd9bc4a6551363   2021-05-04 05:12:55                         0.00450549
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            3cd560d118a36dd34685e119c0e4b64b110a3a6807d31fa4ee07b74c6cd584e2   2021-05-04 12:07:55                         0.15780868
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            b05b1a551e77c9d5763fb1de0fc28fc5ebad8c6d5329824a0d89e76aab4085d8   2021-05-04 14:01:22                         0.00231821
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            7e09c6b2f3a449ae13bc0969c99040899bcdbccf1eece856db00dab2e087548b   2021-05-04 22:14:43                         0.02450416
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            361e80e6b6669beebe8e2c753b739ead76d6a258a3b8cfee0747c1153617741c   2021-05-21 08:21:57                         0.00355832
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            91c074819cff4fcdf3b6ded25655f4f1bb714d2b39d52bcf947e59d3c4c6a78d   2021-05-24 12:11:27                         0.05447642
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            e0e70c361e7a0d89f45ad2a737346e38ad7744b73dd052c955b49680dd80f4c8   2021-05-27 20:10:53                         0.03096695
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            1cea1b169e40eaf7f8d65d35c802661ed70d7b94c1bde9da56a3ff13ac78feb4   2021-06-08 11:32:34                         0.00363226
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            bdb765239ec7171d34b258fbe9dabf1f08302aba023764333f12e066df30806f   2021-06-09 22:51:23                         0.00029478
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            5e472df2fc9931813da82bc600099809bb46b27237e10b801c5dfc9810418287   2021-06-10 03:23:43                         0.02803693
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            fe2c6712a2d77c03210ee4d8c62fcc8e49872f310a1e04ca22e61cafcec17431   2021-06-13 00:14:01                         0.00285859
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            9e270ddfb3353f47b28a30a99bbf3562067cdeac601ee3ead0c2dbd77340d4ab   2021-06-14 04:05:16                         0.00236817
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            1da7a7a9a79cddd806d8910afc890c90e9741491c3bb791331bd4213b64d4340   2021-06-17 12:18:20                         0.00402315
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            4cc9c771428d0f6af280d81bd9fb03d7dbc6a1b434d5b200498b31ddf2d0784a   2021-06-23 22:04:29                         0.21136114
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            d9694e9cd64a24c4a8c859d5baeae39d92e48d6ce0f80d77784c4f8c7f6755ba   2021-06-24 00:12:19                         0.09302711
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            a9ec1720bed7bc560cedfbfc26593583f33134b967092a4f5c7e24ccf0bd8440   2021-07-16 03:44:38                         0.00787251
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            f8968626606d6d1b724bbaade393422a796d8fcb364bf8788053f2aee2039763   2021-07-16 03:47:07                         0.00353970
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            677b65cbebfa3c19a9560d319bb882d32b1df5f4afad6682195bf5dcef225c46   2021-07-26 14:40:36                         0.02845147
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            9903f6a69c48478723371346b02b2981715d3c11f71d5d22fd227508963d12b4   2021-07-27 19:04:59                         0.02960781
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            1101c5cec218d9bcab7687c17b5acc28599c268b2deb2f1cfa4965562cfc2b1c   2021-07-29 18:18:39                         0.00619967
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            25c21f0dd3319c0f7eba59007f7d5a86fe39d65cb2e37b34419c2e533d88c0aa   2021-07-29 18:22:58                         0.00573105
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            576ded5c52d895c1ff550f5867ea5005db2385c4f60f8fba814cd70c91a4a558   2021-07-30 18:11:13                         0.05763398
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            a59fadf8bf2da9af186f3bd4276a6380a911bb75af17a5987c0074ae6390de0b   2021-08-02 03:40:37                         0.12302367
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            bed946ae0e7975a59a9c42f4c9e6d61a6cb3274e626623de92a441974b34e710   2021-08-15 14:10:24                         0.01071602
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                                                                                                                                                                                         Funds under claim
   Owner                                                                                                                                                                          (average confirmed with the five
                                 Address To                        Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                                          tracing methodologies;
                                                                                                                                                                                       in cryptocurrency unit)
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            f1c7b73cdf4f34d8679f847f022ea843ba12995cfc4684babc655d902f2ab2ba   2021-08-16 15:03:07                         0.01397890
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            7e7685441f925cd7c5891b19398042f64b82b16a514028b6e3b2fc9cdcaf9115   2021-08-16 20:11:06                         0.01776140
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            6d7ffdded8829c30af2928023c689b7f74c4329c0041f621e36835edec14e206   2021-08-18 02:05:39                         0.00643678
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            a683186d39f041288dac4ab109d0edb19d5cd4baccf5158fb56e129399ba2f53   2021-09-02 20:42:33                         0.15524540
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            1343877c93ca18a2313a5f90996021b103008ab9b366efc9b4210f1fc95f78db   2021-09-07 20:01:42                         0.00218490
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            910fb9b3bda205bd3667ec7817f2c59b0352faea308ddd4e843e73827d3493ad   2021-09-20 04:08:31                         0.00229452
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            e4750405c044456c45b2f99be0dce2647c947b3312abffa468722c9468dc7972   2021-10-04 14:06:00                         0.00598533
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            e64992552ed8be506e9610e47c5253a6c6755dc8699fc706b9e02e2cc501ea33   2021-10-16 20:01:33                         0.01292629
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            ed000427b2913dabab9f45bb1998404958e997a859790d64c406d8bc3bc6db21   2021-10-20 10:17:23                         0.00943248
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            efe1c017f4b8bbe5bed96785611dd425c94cb3d9b9fc950ff9202eb49f1b3ddc   2021-11-04 18:07:12                         0.00750975
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            da5e57d5ef77e59c983706d9c95201cb2cf3f72999a30b4d0e1c441447c8175a   2021-11-09 16:44:29                         0.00679792
Binance        1NNC1t8quVLQz9dn2ZGQqZAsZV5dFEYEPe                         BTC            77e436211ffdb0c69c387e0a10b479dc79d42f0879e70a298f4d76f4f01ad68b   2021-03-29 17:52:04                         0.05582116
Binance        1NkFXyXcaYKqnuc3EC5JB1CnvHjQYH1x5                          BTC            6399fe78db5dd5e6dd0980cd87e03ecb9f0f6c3b6926e4d3e5590acf9a000e71   2021-05-01 21:59:47                         0.43064220
Binance        1NkFXyXcaYKqnuc3EC5JB1CnvHjQYH1x5                          BTC            ab8a123a9525d46a4fc51088bfe137ce85d950e2ff0f41b087957fdec06ec9ab   2021-10-20 16:37:20                         0.06932714
Binance        1NkFXyXcaYKqnuc3EC5JB1CnvHjQYH1x5                          BTC            472bd78668d56a1c267630076967cd84b6a7f465f83b11bf09ef64d38bc399e4   2021-10-20 16:37:20                         0.00796355
Binance        1P1LCMr7U6jxf1Mx2XYTRPQzRSsvjZcTc                          BTC            2e8d9a4339e1a773c29b3eb23038c8022f66715bdcdc8e123da05830b9328efc   2021-05-01 09:50:27                         0.13953806
Binance        1P1LCMr7U6jxf1Mx2XYTRPQzRSsvjZcTc                          BTC            56c1528b62e5cc52b3cbe1128fcc676cc0b40aed08ff7d3c8a58507abc1d6800   2021-05-01 23:27:38                         0.11054845
Binance        1P1LCMr7U6jxf1Mx2XYTRPQzRSsvjZcTc                          BTC            aff3f6c386748e3b4bc1c1edeea0f23d74dbd11cf44f15aa9cf78545e933b5d8   2021-05-04 16:32:35                         0.09519541
Binance        1XYEAuFfgrwzLbQvUKfJNZmwrqguXsnmd                          BTC            a3dd5b4fcf4867cec6cb60a84e28b34f2d84933b1a2ffafd978f96463f162914   2022-03-28 10:19:50                         0.46256888
Binance        bc1q0lfwx3d7hnuttnmn8mzcegjda4avmq8sdxujey                 BTC            718a1e8df7e2c67a6a97768fd84249fe29bb5be45624a0e9d2bcfbff7aac7fde   2022-03-27 04:08:58                         0.05800039
Binance        bc1q5ewee3tn53kqapqhn4c2r652lpv5llvud0r40m                 BTC            bfdcbc8528a2105214429ce1c1a31296f1d6e4c3689ad9128cd83807f343baa1   2021-05-26 11:09:01                         0.79992927
Binance        bc1qhjja98qwyf8lhw480u7aq2je7vhstluvz3cqzn                 BTC            41676ac91ecdf06e73a40d4de928fa55f5370b4f5bdc6f396d03a59114fa170f   2021-05-12 13:09:23                         0.31639317
Binance        bc1qhjja98qwyf8lhw480u7aq2je7vhstluvz3cqzn                 BTC            cbd1edb1a27ca1a95f16899ec3ae405b17460d91c43fa28188911e1413ebd0a9   2021-05-12 13:14:01                         0.28130160
Binance        bc1qhnhh3j2fxn9fu5vcuqly4ntc39wzsq3yp8476f                 BTC            e50daacfadbf1ecdf4cd8de81874f1126cee0e95b5e5b5cf329f36d791e4f665   2021-05-07 23:22:42                         0.00430538
Binance        bc1qhnhh3j2fxn9fu5vcuqly4ntc39wzsq3yp8476f                 BTC            12c7f2a5368b497827ddd7901c8053d4d32211be104b5db6ba4e01e854225374   2021-06-15 16:42:36                         0.00678170
Binance        bc1qhnhh3j2fxn9fu5vcuqly4ntc39wzsq3yp8476f                 BTC            3dae7fa018cac4629e99fedbedbdeaeebbbfe06a02a0c8a0654c2abab05d1daa   2021-06-22 21:39:02                         0.00359432
Binance        bc1qmazmlmkyl3995l3qw49uya2k97wjcrmumwg8ct                 BTC            8911ac58aa3ae83b356461298ec64bcd70b5f78c3703b3121c2a647c13740a6e   2021-04-21 08:31:08                         0.02788380
Binance        bc1qt73y0anphywgrf570twd0htekatr435d9xf5mt                 BTC            e34f5d750eca9f417b909782f274502144da34c64c2c8bef957d14d608e5e73b   2021-04-19 18:22:10                         3.58410164
Binance        bc1qvw0876ldh6mfcmdv25xu9xqmfzth76lawkxhyd                 BTC            981634852f4d7720549eb677523ee91bf2a39528509e930c174a568e44ee9ae7   2021-04-25 14:54:33                         0.05699151
Bit-x.com      bc1qpq00d2yg848ljcsypg0p7jj5gttap9l4attpjw56rzn93          BTC            5ace7138defdb516c7f8bd91300cc9ab55771410d240f213056c4f809e021c60   2021-04-08 02:56:14                         0.09098950
Bit-x.com      bc1qpq00d2yg848ljcsypg0p7jj5gttap9l4attpjw56rzn93          BTC            7772b328c80f80cfa6a13a9c617351c55123a4aa63ea41ae680da48d232e3dcb   2021-04-08 04:44:27                         0.00242830
Bitfinex.com   bc1qfvejaeuq8pef8dph9v2zgg0qndszxjvnupk74r                 BTC            1d3d334eee67bef098aed76dfd3775b012a7788a91f1bb9bda8163514c08ec66   2021-06-22 19:11:02                         0.92952956
Bitfinex.com   bc1qfvejaeuq8pef8dph9v2zgg0qndszxjvnupk74r                 BTC            8ed89de66adea5419d3c6040b51e5a34f4e837b72fcfa8134d1cf3391ca0815c   2021-06-24 18:21:31                         0.07619770
Bitfinex.com   bc1qfvejaeuq8pef8dph9v2zgg0qndszxjvnupk74r                 BTC            fd06f8f43b724e84e9c22e9c971afd1895a36760d0734b1c3f9db7504190252b   2021-08-24 18:07:51                         0.11945304
Bitfinex.com   bc1qnfd26kl2l9kyezchn9xa82k3nnyla2ascdzuwh                 BTC            0038498013696653372df0aee7b0a845c9cd10d5fcc1ef7ada3cb3b4de582ffc   2021-06-19 19:37:37                         0.04394173
Bitstamp.net   37VWXtmckaPrKaeARcRvToJsEWLxeQYutd                         BTC            a57618664f4800c4c5d5dcb92fa3f8dbacdb00a2f4d4d15adb15241a07062d41   2021-03-12 15:04:26                         0.09649985
Bitstamp.net   37VWXtmckaPrKaeARcRvToJsEWLxeQYutd                         BTC            1bcd3f2c1795ca747173b86ae926344f061f65b349bd0a60195c3af65b4d84e4   2021-05-06 16:41:07                         0.04675604
Bitstamp.net   3QgTU5fwPWHMNkbx4fhwU9MgPzPbrYnXqY                         BTC            9c87cce7e99e95522a8e28b5c63cab1fa293353ffd8e9497bdafafeae25650ab   2021-03-08 04:10:29                         0.01556411
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                                                                                                                                                                                  Funds under claim
   Owner                                                                                                                                                                   (average confirmed with the five
                                Address To                  Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                                   tracing methodologies;
                                                                                                                                                                                in cryptocurrency unit)
Bitstamp.net   3QgTU5fwPWHMNkbx4fhwU9MgPzPbrYnXqY                  BTC            8a488ceb30b974f673ec7883f2855ef71fc5cb238f54c4541d15ede1100887a4   2021-04-27 04:01:46                         0.13900212
Bitstamp.net   3QgTU5fwPWHMNkbx4fhwU9MgPzPbrYnXqY                  BTC            512272e49ce2897b3da12363c6e06b36bd6ebfb7036fffca547ce76bcb781952   2021-04-27 10:10:37                         0.44955517
Bitstamp.net   3QgTU5fwPWHMNkbx4fhwU9MgPzPbrYnXqY                  BTC            4c07b5747f83768b64cc144ce30575ec3994a825465cd9f07cca9c017a9b39cb   2021-04-27 13:53:39                         0.00471650
Bitstamp.net   3QgTU5fwPWHMNkbx4fhwU9MgPzPbrYnXqY                  BTC            893e6fb0295baa10f1fa40d2739634bcd86da8c3a31a1756024e495df1dd4e2b   2021-07-25 06:15:20                         0.00434547
Bybit          18Wn4PdYZXrrxyMdZvMofyLfNKWVtCZviM                  BTC            6bf2cbc9e98590670006a9b4a5587cd15bbb46e52f9c4998bbed747172b6feec   2021-03-24 16:16:19                         0.03745606
Bybit          1DEBVQ1bVgvMXFmrTHi7AWSCaQGBCm55NB                  BTC            fc03f41ba4a3e61ebc9f64c6ebe40a4ad02b84054b098ce98d646af442cf912a   2021-03-10 21:06:18                         0.02049021
Bybit          1DEBVQ1bVgvMXFmrTHi7AWSCaQGBCm55NB                  BTC            4aef3f09192a20d49a596053e3543ca5d4448838805237343dc0fe2ecbebfde4   2021-03-31 18:03:12                         0.02663377
Bybit          1DEBVQ1bVgvMXFmrTHi7AWSCaQGBCm55NB                  BTC            94573ffc37056c543e82659998a5022c85554451da3ce4846d8a5d6b990aacc7   2021-04-06 18:01:50                         0.03027401
Bybit          1DEBVQ1bVgvMXFmrTHi7AWSCaQGBCm55NB                  BTC            879e1b5fc82dcc83218df76f10ff8611dd64f93ec0574260794a88c12b1ab686   2021-04-06 18:27:47                         0.03259911
Bybit          1DEBVQ1bVgvMXFmrTHi7AWSCaQGBCm55NB                  BTC            c85a3c15c482a980a80405b6f8d745fb40ce5dc83606a9339a27f1a9552ec1b0   2021-04-06 19:10:10                         0.41628275
Bybit          1Etc4GPZbe7iXY7y5zqpA3gRhGqSLBGXt1                  BTC            d0a118890f4d51014842491fd88eef92aac8efd0417909cea0b6db28d0b1b765   2021-06-11 08:34:44                         0.79992927
Bybit          1Etc4GPZbe7iXY7y5zqpA3gRhGqSLBGXt1                  BTC            0a9f76979eabbbe656fc65a1aa703cdaa12632aaf325d06ebca9be8f53977111   2021-06-11 08:40:16                         0.79992927
Bybit          1K2NLvcHwup8FbGiUVdRWefKxnTCLd8t5n                  BTC            476754a00a6ffb63b9f070af88a89812eb2c2c1b36653a411c1774d24f238091   2021-03-25 20:04:03                         0.90420114
Coinbase       35MkdfL2CZidgvq3HsZQ1PLWdo1znuMMF8                  BTC            7e5aef08d0a60bc9a095bf76908457b20d51d13c257af414e12216a7e47c74ac   2021-06-01 09:10:51                         0.00206339
Coinbase       35yxnumGu23y5FYnRLssntZ86nUQZqkuCY                  BTC            8911ac58aa3ae83b356461298ec64bcd70b5f78c3703b3121c2a647c13740a6e   2021-04-21 08:31:08                         0.01937410
Coinbase       3H332gtSHCYnUDuzVnzPNZu9V5jxhf6HX9                  BTC            88410d37b5b3bda9597a995caf501f5f16ffc9b736234bb0012b953df53dff56   2021-06-13 10:54:59                         0.00040478
Crypto.com     39cUnKwrRCPF7NqSRiAwF6x5Mk6nWywMDg                  BTC            82eb001dfe6a3e4e5018aac935c7034289cce30140eea369959356d4ffa14d2e   2021-05-14 18:13:53                         0.00200474
Crypto.com     39cUnKwrRCPF7NqSRiAwF6x5Mk6nWywMDg                  BTC            0b9a79b1c0d56d2979d29cfdeab91bfc84e67e6c25390918eb772d16840678da   2021-06-20 10:23:50                         0.01240189
Crypto.com     3CXDfdypUbQdu14NhhAfWerRcsifL8cTGk                  BTC            8b5b8611bc4675377e72fc2076f765feec72e17a12e46bc7102d146c19f81673   2021-03-30 03:16:23                         0.02965372
FTX            3Aqx9j4V3hipZdCEkM5RaEoYbo8CvmKmrP                  BTC            025f3c1e31c93bb9f145047d5b0d0c1fdf1e975d0a79afc9ca707f4b049c346c   2022-03-27 12:26:43                         0.01594793
FTX            3Aqx9j4V3hipZdCEkM5RaEoYbo8CvmKmrP                  BTC            0c43f65e010ea54d414eed0f35dcad91f447a4ebb8ffbdc9dc711655acbbc271   2022-03-27 12:39:23                         0.01014591
FTX            3Aqx9j4V3hipZdCEkM5RaEoYbo8CvmKmrP                  BTC            036f2605f0e51a98df63d10a31966c6b024bc38e0ac31ec0bf2d1037be492095   2022-03-27 17:22:49                         0.05389263
FTX            3LmNPNQRWt74qvVrsFZerUcSpkH4UZg5sA                  BTC            7f2453eb42f121aa29c74e422cb412caa0aceb4bc139f7703a99882867d70f13   2022-01-06 15:48:14                         0.00743974
FTX            3LmNPNQRWt74qvVrsFZerUcSpkH4UZg5sA                  BTC            cb36db77220aaf3e872899c60abc1d319f2b1580ccad70bc1f14543b68ef241e   2022-03-26 18:27:57                         2.14382194
FTX            3LmNPNQRWt74qvVrsFZerUcSpkH4UZg5sA                  BTC            7a31122829895b6240d673385414af3aac83c339b6866b578664bafffc9f588d   2022-03-29 05:47:59                         0.05437416
FTX            3Lvr7473mA8fiJzpc6qf4oS7nAtGPTJ8ZA                  BTC            1988291a78b4da392634c665142ffc51cf0779a6f8651d21536c33daf839e343   2022-03-25 13:51:03                         0.19399382
Gemini         bc1qg3z6gv0gyn2pw3ktnr9h4ehfzcexdxq0yy8plc          BTC            757e9488b44b4042f7285d0161194cd51426a99e248d2eeb188968000bed08ee   2021-04-07 16:14:27                         0.02888805
Gemini         bc1ql8c2rgv2qpa25cc77usap7lvsvms6tgyv6smxk          BTC            07c9a3e24f5bebb9df8e1677d04269c5ab4ca8f8357d6c77aa4fd5b2fcc5e7fb   2021-03-10 01:12:35                         0.49952726
Gemini         bc1ql8c2rgv2qpa25cc77usap7lvsvms6tgyv6smxk          BTC            66ce6e97445d9b991b2563bc0ba6908bd88f771228bf15f75d76b8a95b16c53a   2021-03-15 01:49:36                         1.41829825
Gemini         bc1ql8c2rgv2qpa25cc77usap7lvsvms6tgyv6smxk          BTC            51a299813e5afe3eced3989e378adb75b861ff2767532bfa3de40dc29fecdd52   2021-03-30 05:38:04                         0.10750110
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            f705742b6d6001725c2aa7e938ab53bcd772e693e553404eef81306261764625   2021-05-11 09:43:18                         0.00203789
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            e0b6bd04e0899d7e28c1d9b64cbb954407c9ed23394e6796f8d8c778c9cff9f0   2021-05-12 23:52:44                         0.00218700
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            71a3154a19ce076b8cfac72a4cdaf503e68bf4a9817950aa30152c4a33adfa6c   2021-06-03 19:48:39                         0.00992896
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            4c5cf2bcc70edfaca128d9fc8d55a8d52fcbf0d5cfb971b9686a5ec24e17cdd2   2021-06-07 23:49:16                         0.00474785
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            c41c81857f2f0a962a4c879ce214c61861f266b5e170b91553a9b2f47dcc55f3   2021-06-08 23:26:25                         0.49170189
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            1d8c3eec4138065faae5ddedc96285466b570d5abad675ae503b8154b5671fa3   2021-08-14 07:33:40                         0.04396490
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            89ab445cc7eb32c4a96df51c5af67101f9c41e04202ccc66c3a0e4dcfef38619   2021-09-08 08:21:18                         0.00202197
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            1171b6b2f6778b8b77627624b20249a44419ae9a11ddbbbb3f4400bbd2cbecc8   2021-10-12 04:40:18                         0.00750975
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                               Transaction Hash                       Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1          BTC            74dd68c0e621497ba640dc9a0ad17d9157f64d3b9304278aea6e312e449e2a64   2021-12-03 20:50:31                         0.01079987
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1          BTC            18be9cad91885dd5646be9298aabf8fdd3e8f6b4779de400e96994d2ddae40be   2021-12-31 11:41:10                         0.00299774
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1          BTC            d873349852d540e14a427421133f436b06183bc1c91f0a2d90cee9d3784f8474   2022-01-25 14:23:39                         0.01148853
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1          BTC            4e60eeb301fdaa6536995ef00c3c0b09fd34a6ff17a3a044d57c8c8258c402ac   2022-03-03 08:58:50                         0.00833826
HitBtc.com     35MiwdASDkgFqUa3YQfHFucggwNYjrBjeG          BTC            494026f8a2840edbd0a7fdbe6f2a74a4d137421fe67f8e9985f156479f367543   2021-02-28 13:02:44                         0.32627438
HitBtc.com     3HVfPsMegSmX1PwUcmvRyqCrXng4tQpbzX          BTC            fbd045001201d8f0d836a16346d8fa557e384f6a78f85aba009cec0e259702f6   2021-04-08 05:52:57                         0.06061241
HitBtc.com     3HxnoQXVhPXeZyqgmTRnV4pDJaZME4k1ZC          BTC            750ef88f2fd3e523524bd67a0915dbb10e2ac07302cbbb6ccc8336ba835ff046   2021-02-28 13:13:01                         0.15456499
HitBtc.com     3JSc8fYRWsn6qAq7UnZE8Q9vm2aE5Whg1b          BTC            5322d48a2593f5f31bb62fe68f10b920709215e01beb2a995816e063614f2b6c   2021-02-28 13:13:01                         0.30698342
Huobi.com      13z7nQx7nLJNdQPxMa4RmVgsfqhhm9sgDC          BTC            b30e00e9e6dec81b444870b97bb19cdb1e46a7b0cb87820115c52055ea7b96ad   2021-04-05 09:19:22                         0.05261756
Huobi.com      16jjLTYuDkxJMvqWCbp6vsznBGYoTgysNT          BTC            c5a6477fddfbce6b959c43d320a97ec683691cfc4ed1d11b3602ad52c25f9956   2021-11-07 08:47:35                         0.01103029
Huobi.com      16jjLTYuDkxJMvqWCbp6vsznBGYoTgysNT          BTC            d0905b469ed90b42b96b3ca9f3c9bac7fa946fb8414f6dd1a4710bd080438f40   2021-11-08 05:46:14                         0.57792745
Huobi.com      16jjLTYuDkxJMvqWCbp6vsznBGYoTgysNT          BTC            71ba83b3d1fe63e93e403dbe417b487e587fe2e0da7b667224a5286595ef87c8   2021-11-09 08:25:49                         0.00283408
Huobi.com      17oXZFjxV3TRwPGRB5gwxEttEupphM4k3U          BTC            d10a7e93e2d3d674d29e66e606fc882a273b54e98b2224cbd528b9f5161884af   2021-05-05 11:18:12                         0.05699151
Huobi.com      1DgFr4KzUZD9cpgnBZCypK9iYeHb7vgRH1          BTC            4e2b24233a93346093da1aa22b826f7743d5f43bedd05649f533bbc78541f8a8   2021-04-05 03:53:54                         0.49915514
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            0d0fb5e2667977fa049a050dd69b38adb20db7d9be4c7ad3dda91909fcb74a0d   2021-04-26 13:38:26                         0.14684365
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            075a6ac4f1fa4f02544e259492ac6472374056489c3e2d22811ca2d361c62c7a   2021-05-03 21:53:18                         0.43136660
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            54477f0480e608883abf9635ad6a37012c4caec88ab7b35025f39b89a7aa414e   2021-05-14 11:28:02                         0.00312824
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            f169f58cfc3f26149ca63cf6acba779469d688f11d607fa94c73e77639ac04cb   2021-07-22 11:00:53                         0.23962043
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            5c3491287cba1540a73e2142eec0ed24b22709a61905fe5f814485000f1c02b7   2021-07-30 06:47:57                         0.09037640
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            89ec88d94a7af13cfdebcd39497deb2d68e90ea666b68f667af2fe2f360d127d   2021-08-06 00:50:58                         0.21372302
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            8adad9b7a1ab2288d682305ae993158fe3a59bd632bb4b8f3a66900e02507aa4   2021-08-21 08:30:12                         0.06210102
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            43145226bb1090d21e9149b51cf47564ed03322a00a35b3675f2e61f9258a67a   2021-11-07 04:47:25                         0.39213402
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            76f34c9753c66dc9bd5182aa0b044984db3c876b96da42dba8d9dec41287b5f8   2021-11-07 06:49:04                         0.07385358
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            008a8c1ac26ff244743b92f3a5fb3fb2a10eb43b53cee645e2ba894fc9a08f4b   2021-11-07 07:52:33                         0.00400873
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            acb7529b9e84be29a97781604fe24e40727f1f9484da2f348d12a2a91371a6e1   2021-11-08 04:58:31                         0.06506219
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            3b8af1f16b83064c9f14afbe0a7177a4fca40d2aac8056462ca0dcb8fa6175e0   2021-11-08 05:46:14                         0.11189912
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            d05d6e9a8a077d7ca594ea15c5dfdfa65afc696528b53da7b52a9ff2fb657529   2021-11-09 06:15:02                         0.01578951
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            102849feb45360cc96076c1220b98aef5175620fa44cf195031fa66b17271370   2022-02-15 11:55:04                         0.00623658
Huobi.com      1L15W6b9vkxV81xW5HDtmMBycrdiettHEL          BTC            364089080124aaa1e96122036fca3847258210f76cc4076486db308839b10dcf   2022-03-29 13:58:11                         1.16422484
Huobi.com      1L15W6b9vkxV81xW5HDtmMBycrdiettHEL          BTC            09c1c3c4b73ef1ffef3af899cf7d899d19d4ce064ebebc116519ad0302faa64c   2022-03-29 15:16:48                         0.01006183
Huobi.com      1L15W6b9vkxV81xW5HDtmMBycrdiettHEL          BTC            0c05cc7b2e3660c759bcd5b88455b67677a6efb829e9f6fede81277c18082475   2022-03-30 11:36:45                         2.53189439
Huobi.com      1NnwU2wqppE4f7cjHPHRh79kF6UDMcwGzB          BTC            ba5c49f11445d7c0cf26e704177432e08dd706bd1371a46c818c4c50a1f8de23   2021-06-02 22:37:14                         3.81539799
Huobi.com      1xSEjfGqgxXkSzeG6MEVtfdjUuumEZqsB           BTC            2c4b044145ffd3db1d862dcd70dc214ef0c7ed11250464723e73ecd0ae49ee61   2021-04-29 13:58:34                         0.00790712
Huobi.com      1xSEjfGqgxXkSzeG6MEVtfdjUuumEZqsB           BTC            a228bd2f20fd254c1b6e05e06c30b69ec59757d25d85b61a26d4557c3a69515f   2021-05-10 15:16:37                         0.00218700
Huobi.com      1xSEjfGqgxXkSzeG6MEVtfdjUuumEZqsB           BTC            395a12fec4a44ab12e8e965052278b9672051f9fda5f7d2e35d42899ba2f6263   2021-06-13 16:19:46                         0.47923993
Huobi.com      1xSEjfGqgxXkSzeG6MEVtfdjUuumEZqsB           BTC            ae2ddf7392ff040d8847f09a9570c944149e6c28debbcb6509a217a4afe17775   2021-06-15 11:43:04                         0.16053469
Kraken         1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit           BTC            85f822aaa672440b0b96822e92516ad62fa2521d284b4eadd3dc8c5f46674f96   2021-05-24 20:46:01                         0.00192306
Kraken         1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit           BTC            d3e01346da5679a12427f66f30d9e7ac33ac441cd2fc329d28f223f75cb8af8a   2021-05-26 14:25:17                         0.00793220
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                                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                                           (average confirmed with the five
                                 Address To                         Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                                           tracing methodologies;
                                                                                                                                                                                        in cryptocurrency unit)
Kraken           1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit                         BTC            6fd3181ffc978d5650fb279cfbb06a53cb2c48d3c537ef43336223e43ffb02db   2021-05-26 14:47:00                         0.00838441
Kraken           1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit                         BTC            589a16457266fc3a5a38eeaf6313ca000fed43a6a7620cb8b876534d5848b540   2021-07-12 18:07:53                         0.08935756
Kraken           1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit                         BTC            8d698c0949ddf94d95a0b54980928c9d72d836108dbfa9b0c00880160c8398ca   2021-07-17 23:17:13                         0.48519395
Kraken           1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit                         BTC            630cdaf07d5287e81ad5fe399a608551cc6d1bc497e2b00dd328288c8adacb6a   2021-09-07 22:56:08                         0.00207386
Kraken           36GNnB2G8mo7nv62MmtH4sUUg647rFxrwP                        BTC            6ef161dde9ece6226ee021df8c15da4d740dc925c26dfabe158f6d0e23dc6213   2021-06-20 12:07:54                         0.01348439
Kraken           38HyrjdARosXGr8SXyzLQLWuSCdi8hqcDR                        BTC            1678b9b693a4a5d30a0e504dd41005c996f9f3a289d6b244b9192d0426037ca9   2021-02-27 15:21:00                         1.39992011
Kraken           39SaPmECYfU1EHc6Gxu1mYiarudJ2ywY42                        BTC            b00cb09bca7146c700c2dc98d67191fe7a21c17010a2d4ba75b6d1d587de1a38   2021-03-14 04:10:10                         0.13149559
Kraken           39SaPmECYfU1EHc6Gxu1mYiarudJ2ywY42                        BTC            30873517330c8d3524fc2df61f6ffb7ece1a20a2fa7d154b7e8d1d0e666caf8c   2021-03-16 03:49:39                         0.10723812
Kraken           39SaPmECYfU1EHc6Gxu1mYiarudJ2ywY42                        BTC            d7fde02a0c2020a94f1062fa8945234a556a7753c11aa40fc5ad54c5ed8c6ea7   2021-04-11 22:06:01                         0.06193736
Kraken           39SaPmECYfU1EHc6Gxu1mYiarudJ2ywY42                        BTC            78a9c89e4f7dee223a360b8dbad083f5fea9026198f5561099aff968177fb441   2021-05-07 08:25:40                         0.00516423
Kraken           39SaPmECYfU1EHc6Gxu1mYiarudJ2ywY42                        BTC            2d0306537ee150408ca7c5803cf0b9eee37deb0e191229caac0b261811f66a86   2021-05-15 18:54:44                         0.02891461
Kraken           3HGdiSbfnM3FH4CapoDctJ1ffXz8cd56er                        BTC            163400fac0a63015b4f8fa27147844d74e775e18489b987a2b9878a438cb78b8   2021-03-16 00:09:13                         0.05276544
Kraken           3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                        BTC            bec8899b602b18a270e61c3daed03f295289d0491f923553ea72f31c0c10a315   2021-04-06 23:56:53                         0.04350350
Kraken           3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                        BTC            85fa7110dc547ade4f6a0b5adfe319c37424b43c7dd5ce0922f814625977c378   2021-04-07 13:14:22                         0.33778742
Kraken           3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                        BTC            25d8615cffecb1822f9f476db7fe15eab917ec893d5a288f25a0a71f7ed0fbcf   2021-04-29 19:10:03                         0.03520630
Kraken           3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                        BTC            41a5d08c8ca64ce7a98abc79e4d6d9b30bc498ebc1873639176c3ccb9abf2e78   2021-05-06 07:01:41                         0.01890440
Kraken           3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                        BTC            7f1419c3acb924f1fd60085efde2598dbfefb04635fa1c72f6139eb2021f168d   2021-05-06 12:53:18                         0.00218700
Kraken           3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                        BTC            6abf5c24cca9c04b9815b6d94a7244a47b99d7d40a888e36e713a8fb329334c8   2021-05-12 08:08:59                         0.01885794
Kraken           bc1qfuddrpsmkymngxkm4nz99ac95vrxad7carhxp945              BTC            77cd7c1f5f497c9d2971a075116b4e2967ec0479e1fff702e6feab48832dde18   2021-05-04 06:33:22                         0.59450753
Kraken           bc1qlfyznlvatcm3wchudqmx79fg5u0xl5ejx6dq8xx6p3s           BTC            4b2e43cb1f58103206c3c1e4384d3d356314831668cf059aff3f01b27a4c1681   2021-05-05 23:39:43                         0.01957083
Kraken           bc1qqwy50uahzvnn8lpc8769sk3q8dsl3fe0ye02ksk43m            BTC            a21d66a33a94d74e7e6963f84ba869c2e721b0fb15e5b1472a81c78639183f61   2021-06-22 18:34:31                         0.30821102
Kraken           bc1qyvqls3p8t6jp4g8yqjg50n6jpkaqfcypyqcgr9smy64l          BTC            591e968eb3f5a2308f8506bd3ac198b67d48d9beca370374771fdcb05f969ca7   2021-06-22 19:40:48                         0.13533877
Kraken           bc1qyxfd2ctza3npghs9qphpfa2p3su7wxhafs2z4txdmm            BTC            28d9c1c5e37f084d9d5a122728b8b83cd2999e521a14424c03d620b32efa9d6b   2021-07-03 22:43:08                         0.20477522
KuCoin           36LKXRs5nvELt9oJDWa6wi66Zu8jiwxj9U                        BTC            41919caca4ba1cd357b3d1538753445ddb97fbeb17fabb332eff94fcb3fdb24d   2022-03-27 22:35:33                         0.62072766
KuCoin           36LKXRs5nvELt9oJDWa6wi66Zu8jiwxj9U                        BTC            d2f12e30e809fb865d391d77e450b5df6a1b977f435896d76081bf1e09b1cf6e   2022-03-29 21:27:37                         0.35493227
KuCoin           38mtv2P85GLKLBQ99b9vk3MQ8vorVJ1TBB                        BTC            bca61545fed990f7fbcb6770fcc7293617cf789dd52b0762f09cdcd09f8dbbb8   2022-03-29 20:17:43                         0.63084930
KuCoin           3Agw5GYmkpsJmg9kajCvxx4mq9UwtZKLvM                        BTC            76a8cf8bb1ca401e8edd5e7881f31cf05e5989abff43188a08fc443d624bd412   2021-08-20 19:33:42                         0.03065334
KuCoin           3Agw5GYmkpsJmg9kajCvxx4mq9UwtZKLvM                        BTC            b9242ff492d52f927fcea70c8fc61a8f3faf4bf1e5a5f92b957ef160d07fa63b   2021-08-31 02:32:28                         0.52053266
KuCoin           3EtnttbT7MwzrMNwPc4SVsBtd5obqkcDzT                        BTC            de94e637991447d9ba3303c100f13a7b4871d8c4317ebfca81d2719d2b8a5728   2022-03-21 20:40:59                         0.08008933
KuCoin           3JtozJ9CCkfw9KUpUD6tZnEF36bv4Mv54A                        BTC            8911ac58aa3ae83b356461298ec64bcd70b5f78c3703b3121c2a647c13740a6e   2021-04-21 08:31:08                         0.03077355
KuCoin           3NgEQb6dTjdLdtTjDnBaZMbau79gHScodt                        BTC            85def204d28e781b085cb206c865cd764c65936560157e56731282ddb95c7be0   2022-03-28 08:30:23                         0.09401955
KuCoin           3NgEQb6dTjdLdtTjDnBaZMbau79gHScodt                        BTC            537a7130204740dcd92f4c0ab9ec9b4d4777b282aac792ed17505201f692bfba   2022-03-28 08:33:09                         0.00406935
KuCoin           bc1qx65xcxz6dfsge2g4eaerercslh83y66wrpm79r                BTC            b2d01e29510b491db1766d9cd66c74b98ff2fbbf16be3da113551c8f96e4d5bd   2021-04-28 15:08:19                         0.01693697
KuCoin           bc1qx65xcxz6dfsge2g4eaerercslh83y66wrpm79r                BTC            27d559c7bbf9195802f6a427decd5831ed3377449e66fa2a42ff347a6b1818ca   2021-05-13 07:26:45                         0.00209749
KuCoin           bc1qx65xcxz6dfsge2g4eaerercslh83y66wrpm79r                BTC            d6e99026bb5d9bc4a1f5e4ef8db1e04bd9d203cb14564cf0a0f2f4ad8febf255   2021-08-01 19:49:50                         0.00230687
KuCoin           bc1qx65xcxz6dfsge2g4eaerercslh83y66wrpm79r                BTC            5d08afb0d6ff194a68ad8233b193d64a34fb88677975ee619bf8da1e772cf5d8   2022-02-25 17:33:35                         0.00346875
KuCoin           bc1qx65xcxz6dfsge2g4eaerercslh83y66wrpm79r                BTC            9c3fb4893c3696fcd945a7e0a6bd2c759ae56dc7d33c2aa01001cd99fca5a4b9   2022-03-20 15:01:48                         0.69684316
LocalBitcoins.co 37PPZuGqkg7rSXy1VNTvUB6CHeU3jz2poz                        BTC            fee026e4a9f2c727a2c6b2fa0f4116af70aff7286d2d876c643f0bc4c56cc27b   2021-04-05 10:23:29                         0.33190362
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                                                                                                                                                                                   Funds under claim
   Owner                                                                                                                                                                    (average confirmed with the five
                              Address To                     Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                                    tracing methodologies;
                                                                                                                                                                                 in cryptocurrency unit)
LocalBitcoins.co 3Fyg8b8416fvgB9SMLjxHZDSuVVvHBf7Te                 BTC            ee666829879b8a52b2cd9263646c809f4b3a3dfc8a375e97a6d324e3383c9008   2021-04-06 19:07:23                         0.26929146
LocalBitcoins.co 3GQQM3zDK9tvvdnQ24vaoqkyCr8vzEQvM9                 BTC            6137c6e708f449a69cff4a1d00d7c0bca968dae4b75b98542ca7aeccd5127c2d   2021-08-26 16:05:39                         0.08439749
LocalBitcoins.co 3Hc17tSzv1L1J7GU7FC7624m7vm7EVnxZS                 BTC            bc5d07166e162d562f6278108f43b6031152cd0932d031aee88545051b9fb694   2021-03-12 20:12:05                         0.46658883
LocalBitcoins.co 3JFrJ6P6t5icD7bSAGtVU9Vbg8bQhfDHpg                 BTC            a84eaa29aee1b78168804414c6daa6bb15c7a984d0f99a02384386d2ea0fd471   2021-07-26 11:04:09                         0.18868763
LocalBitcoins.co 3PHS3rk7Rkwz8f39ZE7CuxjAL7YvH86rUH                 BTC            0d1ac0f98ef1f876f370ba3af4f715f55940688ce599764f0e0e23b584096482   2021-03-26 10:31:35                         0.19555794
MEXC Global (M32YgzEsdvt8Mh4s3skG7UYYAEcorxdoMo1                    BTC            4c94f894f495d5af40c44205374b65c4ad7ee4294a0f2ba623bdda624add1b90   2022-02-14 04:01:36                         0.01853309
MEXC Global (M32YgzEsdvt8Mh4s3skG7UYYAEcorxdoMo1                    BTC            770b462b0e3a3647357c35df2fc736c9ca1691c77f758b5bc029242af6d50c2c   2022-03-25 02:20:37                         0.11033151
Mandala          1BqazAeRaCLJUquxWfQPhWGU1nqVmyFmMU                 BTC            15f17c64484efb46d7ac56c165e251c84661b5241be96bf64f27f6d4b688a24e   2021-02-23 15:36:54                         0.84861044
Nominex          31s4AxJaFthfSG21ScGHT9LEPPrp4mR2Cn                 BTC            38802700198549e1b92862e256d0f1dda16b53ec2821a7cb8a19610db4ce10d6   2021-07-18 01:52:20                         0.08954865
Nominex          31s4AxJaFthfSG21ScGHT9LEPPrp4mR2Cn                 BTC            5b48f4101ac5130748b01a6cbd68a86d79aba9b0a07839dd529e61a57d89c5fa   2021-08-11 08:04:31                         0.00650239
OKX (OKEx) 32rKAri2ED9ngZiKZAKhfiRQ8hTSEEnDQw                       BTC            4f19a72bfc68da87a2e818109231c98c84d3f341fa487369cb9271f4e850c10f   2022-03-29 20:14:38                         0.45738987
OKX (OKEx) 3Ejcov8UL29FW6sozV1vFfyT4npDUwEJsn                       BTC            673fd58465c174ff04ae3a9e2cd6da21f308cfea6feafcf87d2e32f71a625ba8   2021-09-16 15:54:52                         0.00492696
OKX (OKEx) 3Ejcov8UL29FW6sozV1vFfyT4npDUwEJsn                       BTC            67fa6a2aa50f2dc1c279fddf5ea27fcf60d4f9ff51f63bb5d7f264ea49854e30   2021-11-08 05:50:12                         0.08635135
OKX (OKEx) bc1qaqeu4s7drfpxdrt505fe8qcraymplh7eh7339g6jfh3          BTC            ed2a63063094edfaef7c0765e45b1f30ab50fc9990114b45ff5733374c2ea215   2021-12-22 10:35:29                         0.02334489
OKX (OKEx) bc1qaqeu4s7drfpxdrt505fe8qcraymplh7eh7339g6jfh3          BTC            614be3d79a36c2a33710a7f666242b8c5c856b897dfd1b45f67e73f32e5e8af2   2021-12-24 13:21:01                         0.05176749
OKX (OKEx) bc1qaqeu4s7drfpxdrt505fe8qcraymplh7eh7339g6jfh3          BTC            931de202b5c75470956a053a9dfea43c6126a11a5b0d20e24ea24f37ea89137f   2021-12-25 12:05:42                         0.01806631
Paxful.com       37jdH27yixRNcK9Vyg5FvcBfMimTXjHTbG                 BTC            1336cfd9c900fdaf2059e38bbc1d01c58fcd54c3e2143f3e46c3bddbd89ec2f1   2021-03-12 20:45:20                         0.05799017
Poloniex         1917vGDrz4ukiuNx5vzMMkTXaXbsG9BWLF                 BTC            4aca692e9a110effee061e94f9410047549c74c88866a6781b27ffe879db2ec6   2022-03-28 17:52:59                         0.03074507
Poloniex         1AQJFdK8aAiy7jSpu3KeoVP6sXzsPjBVvf                 BTC            f73c064054b0e6c1be2a74ed60929ee9d571c4a2e416bf331f9612cb48225a83   2021-10-03 20:07:10                         0.00513708
Poloniex         1AQJFdK8aAiy7jSpu3KeoVP6sXzsPjBVvf                 BTC            9193c2bbac90cd34d12f0afa6d6c049f770ee927d47a3edc6c14af9fede2c108   2021-11-07 04:00:12                         0.07702755
Poloniex         1AQJFdK8aAiy7jSpu3KeoVP6sXzsPjBVvf                 BTC            acb7529b9e84be29a97781604fe24e40727f1f9484da2f348d12a2a91371a6e1   2021-11-08 04:58:31                         0.03846658
Poloniex         1AQJFdK8aAiy7jSpu3KeoVP6sXzsPjBVvf                 BTC            d05d6e9a8a077d7ca594ea15c5dfdfa65afc696528b53da7b52a9ff2fb657529   2021-11-09 06:15:02                         0.03147307
Poloniex         1AQJFdK8aAiy7jSpu3KeoVP6sXzsPjBVvf                 BTC            0db52738d3f8b4ee9316b23818fddb719a34310d07325c291cbfc59db02ebbb2   2021-11-09 07:10:13                         0.00228422
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            283ec31a10d4697c3bd8424552d422f0b0dca7fd7678236e0a22fd588239dd76   2021-04-27 21:43:52                         0.06185985
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            dd0800a9fc9a95472d96c571925542aad0049b442ff4fba6730145527de76279   2021-04-28 23:24:28                         0.02991093
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            ca0fcacd64ae479045cf085b0bdbad48205d4da5a848908588798d1d25f6edf3   2021-05-02 13:19:59                         0.01149342
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            a337c251bf3910d87fbee4f03e5779b83eb9d3310ff011081074f947d4af04f6   2021-05-04 14:01:22                         0.01653742
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            daa07c8237e6130b056b60e5de97928b8154fe466f874bb75aaf906dccf48afa   2021-05-09 13:26:21                         0.70461396
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            7d5bf4fd38d25b9f6c31633ac74cae4eecaee598345a3c85b21790bce49f2766   2021-05-10 03:34:32                         0.34948369
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            2c8e2b98c7330ae0cf5a357137d77bfff198bd8023e7cb2e5ef173e1c9d49250   2021-05-13 16:25:15                         0.63519876
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            bc2d054b3a93076d161be8d0bdedfe86751d886b5fb2dbfdd3d8e5b617a73121   2021-05-14 02:40:58                         0.04879734
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            ed7335f1011f5c6e0db81f196bf5b78c5799f180342476a97eb4a85a9f1363bc   2021-05-14 03:34:30                         0.14506610
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            9ffb066f45b69d03bdb513325e3b9c24471de42266df324ec96c6c64e3d25f3a   2021-06-01 06:50:20                         0.02850758
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            4f9f6ee4e94d8aafac785a61a8111f102e27f240046e8c681a57d3ff76aea881   2021-06-11 04:52:50                         0.00300903
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            742a94ce780baaf1b9214d9f4885a83b84d4f2a98cc2e8f7760b916696318909   2021-06-22 05:55:29                         0.00215673
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            879f24082775e22257e235c55d942cd25f1bc6f2bfcb8b72908465c4e317aafc   2021-06-24 04:14:42                         0.00244778
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            5909262b3a3fa3cdb915e7f2aa60a88c0a78a8d06f4b8db7d477728ab21350f2   2021-06-24 05:49:38                         0.01940765
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            7e5bebff3efb2fdd35c35bd94118a197d9cced5dcb6ff8bbbf3d606c46b49a4e   2021-07-07 22:29:14                         0.00856737
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                                                                                                                                                                        Funds under claim
   Owner                                                                                                                                                         (average confirmed with the five
                          Address To              Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                         tracing methodologies;
                                                                                                                                                                      in cryptocurrency unit)
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            93d007f09297325bfe4b661743dcf0df714999f3ca0796d6e82a7fdd817bb236   2021-07-24 12:34:19                         0.04109236
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            c0151c28685118b9176ca02fc300db3beb1038ec44b9c84750131d9ec4d29c85   2021-08-31 07:20:49                         0.02371048
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            04fd253515c693dd37023bea1b1aa67a5e95a1a4d02a2464226bb2d49f61bedf   2021-09-01 18:11:18                         0.07237954
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            e174b1476e1ceb580e9161612fa4d9a23f776f2488ecb5c29d1926356024a169   2021-10-18 13:15:07                         0.02401787
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            0a285eeb90857885ca598849ad68f2a0b192a220c0d1372ded224cd08f9922bc   2022-03-15 06:06:52                         0.00263360
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            f1216d8d86d4145c66d11133054146e67023b9117f16524b94700b2ee6aee4ba   2022-03-25 10:26:23                         0.00405855
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            5889d1e8c1c8323be989f5b2228c2bc41d71002df264dbf2bcab866a03953f6f   2022-03-28 15:28:47                         0.02928181
Ren          33DaZYib7zij1LP2x9VHHSb6dYDhUymqXt          BTC            7431c046f22b19711d3d0936e61428ada3c42742c4a627ac7a359582c8d117cf   2021-02-16 14:56:40                         1.39987007
Ren          35TjCuKRbKcofxnKG2EkC8B66ZNXKqE1aN          BTC            84b7c4a2b79d454bbb1636d6d872ed367bbcf4b664193b7b8baded8675085935   2021-04-22 02:00:30                         0.49996934
Ren          36CpqVr1SHJ3aj5NcWbnnDaZNxTN3PrtcT          BTC            653fc81796b80dd43739fed50fd4cc7e7b2a16e9a8e7de4e1de6995e78810ada   2021-02-16 14:30:47                         1.39987192
Ren          38L2i15SxTqJ2vD8X71DtfsBhuUefwibJX          BTC            e9a0d0bbfb37bf9d31db4451ccc1ea7c440c078ae5b155673b0d244a38d2abc3   2021-03-01 13:52:38                         3.36616218
Ren          3953TFvpANofLb45AkrtitCp2k35sp2kJg          BTC            c1ab7d53a4f7953fa0c8f295f5797f856cecef6cfce4644feae5eaf314e9f6ff   2021-03-15 13:36:06                         1.19998029
Ren          39TSkidWoFVb4qnnWDrcgXirwoxCLRjYbC          BTC            4205761eb2aab8f8cd73ffb8dc32090b189919dd8d76a1226150c7e3ce482337   2021-03-21 18:47:47                         0.46658883
Ren          3BhWD6JtX3RXS6JeKyBoo2BEpfeoK3HhxE          BTC            e7a083178540701a4953c7935ce8a49f18bf1b2eedbea3715e6e373e5ff1706b   2021-03-09 22:03:57                         0.36839428
Ren          3CzGP9Je4jHD591qW6e6c1AbtLQrsxQZo4          BTC            1fee58cf31200643fca368aa0188c88e6ce63d0260acea5eea8a0d41a51bc9c5   2021-03-11 03:11:02                         1.99991662
Ren          3ErtV4K3sDHoshbudwAnkreSuXS7u2YREJ          BTC            7d28b624e77373528b77effab16d9741752a1bfb9acc3af422628aa08c11669b   2021-05-05 06:22:24                         0.07513967
Ren          3GwVA3kPCxkfxiTnZUJbBzF9cH7j5omtFh          BTC            686c623566f6d07be4804ae68205f6d73ceba7355b4b2aedc12e422de3f189c5   2021-03-25 08:11:10                         0.60953274
Ren          3HSUqCM5BqF2mZW3RKExw9AGQvE5eAaCnb          BTC            69768859a8f4b0f6fc31ad775308ac3bd0598380f2c76227eddca76f5bdf195c   2021-03-24 14:20:43                         0.57000334
Ren          3HUQjCX6bLXzHMdCzTduAUWc3yMkzRA6La          BTC            c2e273a70a32ba4d80416f13432f75f3c482f4a1e482ce6ec29eb5462423b145   2021-03-26 23:53:49                         1.82352728
Ren          3KN8ZNAmsfybuieLTU2rwJQoWttiSECztQ          BTC            f1f88cc05c85c0681e94b10e1551bf178e4f8b495a6d916fe1920a5d39e2df5f   2021-03-25 22:33:21                         0.15058266
Ren          3LqdjTMqS7q9AeGfWd1xk9rz64D5qgUmzT          BTC            469b896564766388756e13c55f328f8feb1c00574e55de352dcf64b9f7317c07   2021-03-01 13:52:38                         9.28167776
Ren          3M8VZjtAqi51LsMuRGGY9mhPvQk5hvubvt          BTC            3e3b2950c72f863642db0a1bd248be3009ba65e9fa950d5a3094a7b1d7b14e2e   2021-04-22 02:00:30                         0.46658883
Ren          3Nwebgx6r4cu8gsLcBao7SMayDHmjAaDYM          BTC            c64cbb8f6a1b8d14ae0f0adf8aacc79a2d7430df83ad5f005c5821f252be8978   2021-03-21 20:41:31                         0.39999020
WebMoney Tran1N615Az75xbRtQsTDvDRrxEaRuL4SxdARs          BTC            e7510289fb7427432c61eb9455eb3ac61f0f8e324bd2fa20a15985a5835638c6   2021-02-27 01:07:26                         0.70461396
ePay.com     345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz          BTC            6969b0f527a260a1272a25dee6bdbc5dfa83e1b5a33406af41355a9237a5f922   2021-03-21 04:43:57                         0.25867847
ePay.com     345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz          BTC            97c1f1eed0e95f247d0dc8552a1703c83a2d182d0da56050b2506ca80d13acb8   2021-03-22 09:09:00                         0.20235584
ePay.com     345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz          BTC            7cc302ab0b17981bf3cfe417db4740352eef670a19e94ce697146183b554d8d1   2021-06-24 13:46:43                         0.79275800
ePay.com     345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz          BTC            34e4c9637dc74562cb6b34794c7b95d3bcee3d70bc7c5082d1a19a880b871872   2021-07-07 12:43:07                         0.00461458
ePay.com     345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz          BTC            64b928666b306c4b6d8e19bf5c1b9be69eb32960f0e474b86a85068476898fb7   2021-07-20 06:36:21                         0.01759928
ePay.com     345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz          BTC            367991140b014de77ee3b226b2664d23b2425b122633ee11572a0c7f78ce4539   2022-02-09 17:30:18                         0.01511283
eezy.cash    398FNpRVsj72YHcagHyExDeSTH4FG3t1KG          BTC            c6f8d483705a7795453bb360cf5bfa29f43dec67a51cc7fe8c076da33ea619bc   2022-03-21 20:40:59                         0.15838508
eezy.cash    398FNpRVsj72YHcagHyExDeSTH4FG3t1KG          BTC            4dbcceea25a04790875a5bfc459312cddc77b1072789e65687180052adeec90f   2022-03-21 20:57:08                         0.16469817
eezy.cash    398FNpRVsj72YHcagHyExDeSTH4FG3t1KG          BTC            569bd3a0c08513bec699ac8ee445589da47daa57dad506f50132e8dd0877e114   2022-03-21 21:27:53                         0.77691223
eezy.cash    398FNpRVsj72YHcagHyExDeSTH4FG3t1KG          BTC            655bca9dc8f1549726ab6f66bb69c54170eb5e4064da5a805d29a12193aa7c32   2022-03-28 19:23:35                         0.43715432
eezy.cash    398FNpRVsj72YHcagHyExDeSTH4FG3t1KG          BTC            e130a189536e972068b693856e0d4f1a07828b3ff84326463ea4581681e03ec8   2022-03-28 19:53:00                         1.26416995
eezy.cash    398FNpRVsj72YHcagHyExDeSTH4FG3t1KG          BTC            c9928c4e1cf6b8f30e4afe3e0710c67c1e34384aa782d0867efd871640ce8324   2022-03-28 20:14:28                         0.79357044
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           Tab                      Column                                                                                  Description
                                                      The blockchain address to which the transaction was sent. Note: there may be multiple addresses receiving funds in on blockchain transaction.
   Transactions summary           Address To

                                                       An entity or an individual identified as managing the private keys allowing to distribute funds from blockchain addresses corresponding to these private
   Transactions summary       Owner (Address To)
                                                      keys.
   Transactions summary        Transaction Hash       Unqiue identifier of a particular blockchain transaction.
   Transactions summary       Transfer Date (UTC)     The time of adding indicated block to the blockchain ledger which is identical with the time of indicated transaction, provided in UTC standard.
                                                      The amount of stolen funds traced - the average from the five tracing methods. Coinfirm use Destination of Funds analysis to identify addresses that hold or
                                                      received funds originating from starting transfers indicated by Client as constituting assets misappropriation. An algorithm uses five different tracing
                              Funds under claim       methodologies, “First In First Out”, “Last In First Out”, “Pro Rata Distribution by Blocks”, “Pro Rata Distribution by All Outputs”, and “Taint Last”, to trace the
                              (average confirmed      fraudulent transaction. Only results confirmed with the said 5 tracing methods are provided, namely only addresses for which the amount traced by each
                                  with the five       tracing method varies less than 20% from the amount equal to the mean from the 5 tracing methods.
   Transactions summary              tracing
                                methodologies;
                               in cryptocurrency
                                       unit)



                                                      Asset Type – type of asset that was transferred by the transaction, for example "AMLT" for AMLT token on ETH. The value of this data field is "native", if the
                                                      asset type is the first asset supported by given blockchain network (e.g. ETH for Ethereum blockchain). Note: multiple assets types may be carried in one
                                                      transaction. Note 2: No such field in the BTC blockchain.
   Transactions summary            Asset Type




                                                      An entity or an individual identified as managing the private keys allowing to distribute funds from blockchain addresses corresponding to these private keys.
Receiving Addresses summary       Owner Name
Receiving Addresses summary    Beneficiary Name       The identified beneficiary of the address owned by the address owner.
                                                      "If Owner Name is empty then: addresses that currently hold traced funds. Those funds can be traced further, once a new transaction occurs.

                                                      If the Owner Name is identified then: the address that received traced funds, but the funds can't be traced any further - typically these are addresses with
                                                      the identified owner e.g. cryptocurrency exchanges, payment processors, online wallet services.

                                                  Whether traced funds are received by a VASP-controlled* wallet or not has an impact on our tracing analysis. Tracing of the Client's cryptocurrency will
                                                  continue until either those funds are received by a VASP-controlled wallet, or the funds are received by a wallet that still currently holds those funds (i.e.
                                                  there has been no further onward dissipation of the funds). Most VASPs operate pooling addresses used to store customer deposits and to execute
                                                  transfers. When a user of the VASP wishes to transfer cryptocurrency from their exchange account, often the exchange will use cryptocurrency held in one
                                                  of its pooling addresses to settle the transaction, rather than transfer cryptocurrency held in a wallet that only includes that specific user’s cryptocurrency. In
Receiving Addresses summary   Destination Address
                                                  these cases, the records matching user account transactions to the movements on the blockchain showing which addresses have been used to settle the
                                                  transaction are kept only by the exchange. These internal records are not publicly available. The tracing of the Claimant’s cryptocurrency must, therefore,
                                                  stop once those funds are received by a wallet controlled by an exchange as we do not know which user account transactions relate to transfers from these
                                                  wallets."

                                                      * The term ‘Virtual Asset Service Provider’ or ‘VASP’ was introduced by the FATF to recognize those firms that perform services relating to ‘Virtual Assets’
                                                      or ‘VAs’ which definition covers cryptocurrencies and other blockchain assets. The ‘VASP’ definition covers the providers of custodial digital wallet services,
                                                      transfer services and brokerage or investment-related services. A VASP under these regulations would become an ‘obliged entity’ with all the consequences
                                                      and obligations to comply with the same standards as traditional financial institutions such as banks.

Receiving Addresses summary   Cryptocurrency Unit Blockchain Type – the symbol of blockchain network on which the transaction was executed, for example "BTC" for Bitcoin or "ETH" for Ethereum.
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                                                     Asset Type – type of asset that was transferred by the transaction, for example "AMLT" for AMLT token on ETH. The value of this data field is "native", if the
Receiving Addresses summary       Asset Type         asset type is the first asset supported by given blockchain network (e.g. ETH for Ethereum blockchain). Note: multiple assets types may be carried in one
                                                     transaction. Note 2: No such field in the BTC blockchain.
                              Funds under claim      The amount of stolen funds traced - the average from the five tracing methods. Coinfirm use Destination of Funds analysis aims to identify addresses that
                              (average confirmed     hold or received funds originating from starting transfers indicated by Client as constituting assets misappropriation. An algorithm uses five different tracing
                                  with the five      methodologies, “First In First Out”, “Last In First Out”, “Pro Rata Distribution by Blocks”, “Pro Rata Distribution by All Outputs”, and “Taint Last”, to trace the
Receiving Addresses summary          tracing         fraudulent transaction. Only results confirmed with the said 5 tracing methods are provided, namely only addresses for which the amount traced by each
                                methodologies;       tracing method varies less than 20% from the amount equal to the mean from the 5 tracing methods.
                               in cryptocurrency
                                       unit)
                              Tainted Inflow Start   The time of the first Tainted Funds inflow of the indicated asset type and to the specific "Address DoF“, provided in UTC format. Note: The earliest date
Receiving Addresses summary
                                      Time           from the 5 tracing methods is taken
                              Tainted Inflow End     The time of the last Tainted Funds inflow of the indicated asset type and to the specific "Address DoF“, provided in UTC format. Note: The latest date from
Receiving Addresses summary
                                      Time           the 5 tracing methods is taken
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                    EXHIBIT 3
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Kapp, Kara L.

From:                              David Silver <dsilver@silvermillerlaw.com>
Sent:                              Saturday, April 16, 2022 9:38 AM
To:                                support@renproject.io
Cc:                                Kapp, Kara L.; Boss, Barry
Subject:                           Cryptsy Asset Freeze Notice Letter to Ren
Attachments:                       2022-4-14 Dkt 193 Liu v Cryptsy.pdf



**EXTERNAL SENDER**


To whom it may concern,

Further to the e‐mail you received on March 30, 2022, which attached the Amended Final Judgment and Permanent Injunction, which identified digital assets
subject to the Judgment and Injunction that you must freeze if received on your platform; on April 14, 2022, the Court granted North Field Technology’s
Assignee’s Motion to Clarify the Scope of the Amended Judgment and Permanent Injunction by stating:

2. The Court hereby clarifies that the Amended Judgment by its terms awards the 11,825.1484 Stolen Bitcoin and Forked Digital Assets to the Plaintiff Class as its
property, regardless of which digital wallet addresses presently holds those assets, and in particular, regardless of whether those assets are presently held in the
original wallet addresses listed in Tables 1 and 2 or new wallet addresses to which they were subsequently transferred.

3. The Court further clarifies that all subparts of Paragraph 4 of the Permanent Injunction apply not only to the original wallet addresses listed in Tables 1 and 2
but also to any and all subsequent wallet addresses into which the Stolen Bitcoin and Forked Digital Assets have been or are in the future transferred. The
Permanent Injunction recognizes that the Stolen Bitcoin and Forked Digital Assets are the property of the Plaintiff Class. Therefore, by its terms, the order
applies to those stolen digital assets whether they are held in the original “wallet addresses listed in Tables 1 and 2” of the Permanent Injunction or held in any
subsequent wallet address into which they were directly or indirectly transferred after being “transferred from” the original wallet addresses.

Don’t hesitate to reach out if you have any questions.

Sincerely,
David Silver


David Silver, Esq.
SILVER MILLER
4450 NW 126th Avenue - Suite 101
                                                                                  1
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Coral Springs, FL 33065-7604
Telephone: (954) 516-6000
E-mail: DSilver@SilverMillerLaw.com
Web site: www.SilverMillerLaw.com
[**PLEASE NOTE OUR NEW POSTAL ADDRESS AS OF MARCH 15, 2022.**]




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Kapp, Kara L.

From:                             David Silver <dsilver@silvermillerlaw.com>
Sent:                             Saturday, April 16, 2022 9:43 AM
To:                               support@renproject.io
Cc:                               Kapp, Kara L.; Boss, Barry
Subject:                          RE: Cryptsy Asset Freeze Notice Letter to Ren



**EXTERNAL SENDER**

The attached list shows all transactions (~140 BTC ‐ $5.5m USD) Northfield reasonably believes are associated with this Court order as of today:

                                                                                                                                                                                                             Funds under claim
                                                                                                                                                                                                      (average confirmed with the five
  Owner (Address To)                     Address To                               Cryptocurrency Unit                                       Transaction Hash                    Transfer Date (UTC)
                                                                                                                                                                                                          tracing methodologies;
                                                                                                                                                                                                           in cryptocurrency unit)

 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 283ec31a10d4697c3bd8424552d422f0b0dca7fd7678236e0a22fd588239dd76   2021-04-27 21:43:52                             0.06185985
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 dd0800a9fc9a95472d96c571925542aad0049b442ff4fba6730145527de76279   2021-04-28 23:24:28                             0.02991093
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 ca0fcacd64ae479045cf085b0bdbad48205d4da5a848908588798d1d25f6edf3   2021-05-02 13:19:59                             0.01149342
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 a337c251bf3910d87fbee4f03e5779b83eb9d3310ff011081074f947d4af04f6   2021-05-04 14:01:22                             0.01653742
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 daa07c8237e6130b056b60e5de97928b8154fe466f874bb75aaf906dccf48afa   2021-05-09 13:26:21                             0.70461396
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 7d5bf4fd38d25b9f6c31633ac74cae4eecaee598345a3c85b21790bce49f2766   2021-05-10 03:34:32                             0.34948369
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 2c8e2b98c7330ae0cf5a357137d77bfff198bd8023e7cb2e5ef173e1c9d49250   2021-05-13 16:25:15                             0.63519876
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 bc2d054b3a93076d161be8d0bdedfe86751d886b5fb2dbfdd3d8e5b617a73121   2021-05-14 02:40:58                             0.04879734
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 ed7335f1011f5c6e0db81f196bf5b78c5799f180342476a97eb4a85a9f1363bc   2021-05-14 03:34:30                             0.14506610
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 9ffb066f45b69d03bdb513325e3b9c24471de42266df324ec96c6c64e3d25f3a   2021-06-01 06:50:20                             0.02850758
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 4f9f6ee4e94d8aafac785a61a8111f102e27f240046e8c681a57d3ff76aea881   2021-06-11 04:52:50                             0.00300903
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 742a94ce780baaf1b9214d9f4885a83b84d4f2a98cc2e8f7760b916696318909   2021-06-22 05:55:29                             0.00215673
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 879f24082775e22257e235c55d942cd25f1bc6f2bfcb8b72908465c4e317aafc   2021-06-24 04:14:42                             0.00244778
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 5909262b3a3fa3cdb915e7f2aa60a88c0a78a8d06f4b8db7d477728ab21350f2   2021-06-24 05:49:38                             0.01940765
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 7e5bebff3efb2fdd35c35bd94118a197d9cced5dcb6ff8bbbf3d606c46b49a4e   2021-07-07 22:29:14                             0.00856737
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 93d007f09297325bfe4b661743dcf0df714999f3ca0796d6e82a7fdd817bb236   2021-07-24 12:34:19                             0.04109236
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 c0151c28685118b9176ca02fc300db3beb1038ec44b9c84750131d9ec4d29c85   2021-08-31 07:20:49                             0.02371048
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 04fd253515c693dd37023bea1b1aa67a5e95a1a4d02a2464226bb2d49f61bedf   2021-09-01 18:11:18                             0.07237954
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 e174b1476e1ceb580e9161612fa4d9a23f776f2488ecb5c29d1926356024a169   2021-10-18 13:15:07                             0.02401787
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 0a285eeb90857885ca598849ad68f2a0b192a220c0d1372ded224cd08f9922bc   2022-03-15 06:06:52                             0.00263360
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 f1216d8d86d4145c66d11133054146e67023b9117f16524b94700b2ee6aee4ba   2022-03-25 10:26:23                             0.00405855
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 5889d1e8c1c8323be989f5b2228c2bc41d71002df264dbf2bcab866a03953f6f   2022-03-28 15:28:47                             0.02928181
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 be911681c3b4a5de15a370ca4c3f0a060362f4a79d61a821dcad0d61ab09971d   2022-04-11 15:10:28                             0.00205172
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 699e4fe8b8ef52ffe474253e60513cf8957112139562521ba668c214054387a5   2022-04-11 22:49:02                             0.00326772
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 46fcbc6e9992b2b379744d51f04f4357a5a88de67eaceed1491a519cc0653de1   2022-04-12 14:10:37                             0.46663362
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 b31b503338a50c9a6475adf2459d2243af09c6a9bd477ffcbe2016999aa2ae93   2022-04-13 10:59:49                             4.75919542
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 c0670f6747d0955970b8cf9a054cb2210b8841e4102bb75febcd8ddf55766481   2022-04-13 12:04:08                             1.86705977
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 c637da65859c44157b09fb712ff7a2434a756960afafc69c71f0c1922b8d0ee6   2022-04-13 13:24:52                             0.22940786
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 e45bdd6fcd406492707b425f16b4935394d58fb24c86c13b85b25b091160045f   2022-04-13 14:11:34                             1.20363147
 Ren                   19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                                BTC                 efcce77d529c80ebdc728d0b74674a2ab8e87996f23d0973f2e095ded724e123   2022-04-13 15:34:07                             1.32568874

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Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6              BTC             76ecd3bfaddc4dbc62b4f90e93718d7f6427613723383445bcfa5e5731927ff9   2022-04-13 17:50:06    1.51299418
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6              BTC             b47097cb7817cb041ad12babc6e4f3f1f361ba3a22b90344b43ee0f1362c9cec   2022-04-14 07:09:14    0.86996645
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6              BTC             a38fdcaab723dd9b6c43ce10fd2252d2838ebbf4cf4e2c1db655033abd88c9f9   2022-04-15 01:12:56    0.00229749
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6              BTC             079d67f4b02d9d9c99d3e6b3b0e28a0bfbfb4c47a61a57854cc15a5b4a1c6f92   2022-04-15 11:27:49    0.09999917
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6              BTC             1dbaa92860fc8018bc6ff2ec5693e6ae5150b8a787ddf3a214192a7d88e84b95   2022-04-16 05:43:14    4.74948452
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6              BTC             b6802095d548f90cca334ce5676f31560f3c62033cc26521b01e0a8393190b48   2022-04-16 06:28:28    0.15426202
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6              BTC             1372265098837860a27a4ab77e4c4a7585388fdbab93ad42edf6deef6f131d01   2022-04-16 07:33:29    4.10598070
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6              BTC             5419cf60ee348bea2c75c34efec71b1953f6564acb705551c6bb95f65af62d64   2022-04-16 08:03:18    1.33327098
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6              BTC             b0bc1d981e5c6725d1337ef3c106a083fd8d4d6181bc362b9adbf4feaef3f2d4   2022-04-16 08:21:02    5.93346104
Ren            33DaZYib7zij1LP2x9VHHSb6dYDhUymqXt              BTC             7431c046f22b19711d3d0936e61428ada3c42742c4a627ac7a359582c8d117cf   2021-02-16 14:56:40    1.39987007
Ren            35TjCuKRbKcofxnKG2EkC8B66ZNXKqE1aN              BTC             84b7c4a2b79d454bbb1636d6d872ed367bbcf4b664193b7b8baded8675085935   2021-04-22 02:00:30    0.49996934
Ren            36CpqVr1SHJ3aj5NcWbnnDaZNxTN3PrtcT              BTC             653fc81796b80dd43739fed50fd4cc7e7b2a16e9a8e7de4e1de6995e78810ada   2021-02-16 14:30:47    1.39987192
Ren            38L2i15SxTqJ2vD8X71DtfsBhuUefwibJX              BTC             e9a0d0bbfb37bf9d31db4451ccc1ea7c440c078ae5b155673b0d244a38d2abc3   2021-03-01 13:52:38    3.36616218
Ren            3953TFvpANofLb45AkrtitCp2k35sp2kJg              BTC             c1ab7d53a4f7953fa0c8f295f5797f856cecef6cfce4644feae5eaf314e9f6ff   2021-03-15 13:36:06    1.19998029
Ren            39TSkidWoFVb4qnnWDrcgXirwoxCLRjYbC              BTC             4205761eb2aab8f8cd73ffb8dc32090b189919dd8d76a1226150c7e3ce482337   2021-03-21 18:47:47    0.46658883
Ren            3BhWD6JtX3RXS6JeKyBoo2BEpfeoK3HhxE              BTC             e7a083178540701a4953c7935ce8a49f18bf1b2eedbea3715e6e373e5ff1706b   2021-03-09 22:03:57    0.36839428
Ren            3CzGP9Je4jHD591qW6e6c1AbtLQrsxQZo4              BTC             1fee58cf31200643fca368aa0188c88e6ce63d0260acea5eea8a0d41a51bc9c5   2021-03-11 03:11:02    1.99991662
Ren            3ErtV4K3sDHoshbudwAnkreSuXS7u2YREJ              BTC             7d28b624e77373528b77effab16d9741752a1bfb9acc3af422628aa08c11669b   2021-05-05 06:22:24    0.07513967
Ren            3GwVA3kPCxkfxiTnZUJbBzF9cH7j5omtFh              BTC             686c623566f6d07be4804ae68205f6d73ceba7355b4b2aedc12e422de3f189c5   2021-03-25 08:11:10    0.60953274
Ren            3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x              BTC             aa74a244673458315bf0bbfc291eb7fc7a1fb8710fd130ca81dc097a4645ddf3   2022-04-14 07:17:12    8.49572733
Ren            3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x              BTC             b6f9144c76e74c8ecc9ac1efa02777e7ba3404d5955dfa3d7f2a2165eec0cd7c   2022-04-14 07:17:12    7.15849321
Ren            3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x              BTC             3465eb5c269e993b109b56ef3e8f4157938dc183b24e90814a28d132f1cff1c4   2022-04-14 07:17:35    7.66229605
Ren            3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x              BTC             e857a30c17c7f60a308dfa19b267c2f3d28de79929e7717e3b883bc6b5a34fc8   2022-04-14 08:43:30    9.57153650
Ren            3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x              BTC             381760a9dbd66545156819323231c276f2e69a79481c3fef7f0f4b807d891e05   2022-04-14 09:52:49   11.68281263
Ren            3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x              BTC             f022c1ec26b1681b591e47f27738c9e5fbcd441709e9f1224f18112ce2dfcf24   2022-04-14 11:06:41    2.44944628
Ren            3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x              BTC             08857232e095aa1b0fbc6da24b48704abdd12b8316701aaaa13719a70c1513b5   2022-04-14 14:03:28    8.74995105
Ren            3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x              BTC             0c9f74bb383ec75bec63c03230480979d7cd46ac864721dc77b6abf35d2fe6bf   2022-04-14 14:23:25   10.33202234
Ren            3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x              BTC             9f8d1414deeb2ba0821572d6a06c49db9341d0babe26aedbc928386f28cc9f00   2022-04-14 14:26:47    8.96868824
Ren            3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x              BTC             118e11b6f4d3cd42fd7366c500dc5b0040d658dd017ecec47b1b39873bd905ea   2022-04-14 14:42:32    9.35024909
Ren            3HSUqCM5BqF2mZW3RKExw9AGQvE5eAaCnb              BTC             69768859a8f4b0f6fc31ad775308ac3bd0598380f2c76227eddca76f5bdf195c   2021-03-24 14:20:43    0.57000334
Ren            3HUQjCX6bLXzHMdCzTduAUWc3yMkzRA6La              BTC             c2e273a70a32ba4d80416f13432f75f3c482f4a1e482ce6ec29eb5462423b145   2021-03-26 23:53:49    1.82352728
Ren            3KN8ZNAmsfybuieLTU2rwJQoWttiSECztQ              BTC             f1f88cc05c85c0681e94b10e1551bf178e4f8b495a6d916fe1920a5d39e2df5f   2021-03-25 22:33:21    0.15058266
Ren            3LqdjTMqS7q9AeGfWd1xk9rz64D5qgUmzT              BTC             469b896564766388756e13c55f328f8feb1c00574e55de352dcf64b9f7317c07   2021-03-01 13:52:38    9.28167776
Ren            3M8VZjtAqi51LsMuRGGY9mhPvQk5hvubvt              BTC             3e3b2950c72f863642db0a1bd248be3009ba65e9fa950d5a3094a7b1d7b14e2e   2021-04-22 02:00:30    0.46658883
Ren            3Nwebgx6r4cu8gsLcBao7SMayDHmjAaDYM              BTC             c64cbb8f6a1b8d14ae0f0adf8aacc79a2d7430df83ad5f005c5821f252be8978   2021-03-21 20:41:31    0.39999020



David Silver, Esq.
SILVER MILLER
4450 NW 126th Avenue - Suite 101
Coral Springs, FL 33065-7604
Telephone: (954) 516-6000
E-mail: DSilver@SilverMillerLaw.com
Web site: www.SilverMillerLaw.com
[**PLEASE NOTE OUR NEW POSTAL ADDRESS AS OF MARCH 15, 2022.**]



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                                                                        Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 106 of
                                                                                                              603
From: David Silver
Sent: Saturday, April 16, 2022 9:38 AM
To: support@renproject.io
Cc: Kapp, Kara L. <KKapp@cozen.com>; Boss, Barry <BBoss@cozen.com>
Subject: Cryptsy Asset Freeze Notice Letter to Ren


To whom it may concern,

Further to the e‐mail you received on March 30, 2022, which attached the Amended Final Judgment and Permanent Injunction, which identified digital assets subject to the Judgment and Injunction that you must freeze if received on your platform; on April
14, 2022, the Court granted North Field Technology’s Assignee’s Motion to Clarify the Scope of the Amended Judgment and Permanent Injunction by stating:

2. The Court hereby clarifies that the Amended Judgment by its terms awards the 11,825.1484 Stolen Bitcoin and Forked Digital Assets to the Plaintiff Class as its property, regardless of which digital wallet addresses presently holds those assets, and in
particular, regardless of whether those assets are presently held in the original wallet addresses listed in Tables 1 and 2 or new wallet addresses to which they were subsequently transferred.

3. The Court further clarifies that all subparts of Paragraph 4 of the Permanent Injunction apply not only to the original wallet addresses listed in Tables 1 and 2 but also to any and all subsequent wallet addresses into which the Stolen Bitcoin and Forked
Digital Assets have been or are in the future transferred. The Permanent Injunction recognizes that the Stolen Bitcoin and Forked Digital Assets are the property of the Plaintiff Class. Therefore, by its terms, the order applies to those stolen digital assets
whether they are held in the original “wallet addresses listed in Tables 1 and 2” of the Permanent Injunction or held in any subsequent wallet address into which they were directly or indirectly transferred after being “transferred from” the original wallet
addresses.

Don’t hesitate to reach out if you have any questions.

Sincerely,
David Silver


David Silver, Esq.
SILVER MILLER
4450 NW 126th Avenue - Suite 101
Coral Springs, FL 33065-7604
Telephone: (954) 516-6000
E-mail: DSilver@SilverMillerLaw.com
Web site: www.SilverMillerLaw.com
[**PLEASE NOTE OUR NEW POSTAL ADDRESS AS OF MARCH 15, 2022.**]




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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

    BRANDON LEIDEL, individually,                                 CASE NO. 9:16-cv-80060-KAM
    And on behalf of All others Similarly Situated,

                    Plaintiffs,
    v.

    PROJECT INVESTORS, INC. d/b/a
    CRYPTSY, a Florida corporation, and
    PAUL VERNON, an individual,

                Defendants.
    ________________________________________/

                     ORDER GRANTING NORTH FIELD TECHNOLOGY’S
                    ASSIGNEE’S MOTION TO CLARIFY THE SCOPE OF THE
                    AMENDED JUDGMENT AND PERMANENT INJUNCTION

           THIS MATTER is before the Court with the consent of Plaintiff Brandon Leidel,

    individually and on behalf of all other similarly situated members of the Certified Class (“Plaintiff

    Class”), and upon the motion of North Field Technology (“North Field”), which is the assignee

    under the Assignment Agreement [ECF No. 139-1] to clarify the Amended Final Default Judgment

    (the “Amended Judgment”) [ECF No. 157] and the Order for Asset Freeze Injunction and to

    Transfer the Stolen Bitcoin to Assignee (“Permanent Injunction”) [ECF No. 177].

           BY ITS MOTION, Northfield seeks to clarify the original intent of the Amended Judgment

    and Permanent Injunction to apply to all secondary wallet addresses (the “Clarification Motion”

    or “Motion”).

           The Amended Judgment “declares that the 11,325.0961 Bitcoin which were stolen from

    Cryptsy customers on July 29, 2014 and which, as of the date of the initial Final Judgment, were

    stored in the cryptocurrency or digital wallet addresses identified in Table 1 below, are property

    of the Plaintiff Class and subject to and encompassed within this Amended Final Default

    Judgment[.]” [ECF No. 157, ¶ 4(d)]. The Amended Judgment further “adds and includes as
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    property of the Plaintiff Class an additional 500.052319 Bitcoin that were stolen from Cryptsy

    customers on July 29, 2014[.]” [ECF No. 157, ¶ 5]. The Amended Judgment further holds that the

    Plaintiff Class “is entitled to recover” the forked assets (the “Forked Digital Assets”) associated

    with the 11,825.1484 Bitcoin (the “Stolen Bitcoin”). [ECF No. 157, ¶¶ 4(e),(f), 5].

            The Permanent Injunction, in Paragraph 4, addresses the obligations of third parties that

    may obtain custody or control over the Stolen Bitcoin and/or Forked Digital Assets. It requires

    those parties to:

            a. locate the Stolen Bitcoin and Forked Digital Assets;

            b. freeze, or assist in or facilitate the freezing of, the Stolen Bitcoin and Forked Digital
               Assets held in or transferred from any wallet address listed in Tables 1 and 2 of this
               Order, and (other than as Ordered in subsection (d) hereof) refrain from transferring,
               disbursing, assigning, dissipating, disposing of, validating, or participating in or
               assisting in the validation of, any transaction in the Stolen Bitcoin and Forked Digital
               Assets;

            c. freeze all customer accounts related to the Stolen Bitcoin and Forked Digital Assets
               held in or transferred from any wallet addresses listed in Tables 1 or 2 of [this] Order,
               and (other than as Ordered in subsection (d) hereof) refrain from transferring,
               disbursing, assigning, dissipating, disposing of, validating, or participating in or
               assisting in the validation of, any transaction in the Stolen Bitcoin and Forked Digital
               Assets; and

            d. take all steps necessary to transfer, assist in the transfer of, facilitate the transfer of,
               validate or assist in the validation of the transfer of the Stolen Bitcoin and Forked
               Digital Assets to a digital wallet or account held by North Field.

    [ECF No. 177, at 7-8, ¶ 4].

            HAVING REVIEWED THE MOTION AND SUPPORTING PAPERS and being

    otherwise fully advised in the premises, the Court hereby ORDERS AND ADJUDGES:

            1.      The motion (DE 191) is GRANTED.

            2.      The Court hereby clarifies that the Amended Judgment by its terms awards the

    11,825.1484 Stolen Bitcoin and Forked Digital Assets to the Plaintiff Class as its property,

    regardless of which digital wallet addresses presently holds those assets, and in particular,

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    regardless of whether those assets are presently held in the original wallet addresses listed in Tables

    1 and 2 or new wallet addresses to which they were subsequently transferred.

           3.      The Court further clarifies that all subparts of Paragraph 4 of the Permanent

    Injunction apply not only to the original wallet addresses listed in Tables 1 and 2 but also to any

    and all subsequent wallet addresses into which the Stolen Bitcoin and Forked Digital Assets have

    been or are in the future transferred. The Permanent Injunction recognizes that the Stolen Bitcoin

    and Forked Digital Assets are the property of the Plaintiff Class. Therefore, by its terms, the order

    applies to those stolen digital assets whether they are held in the original “wallet addresses listed

    in Tables 1 and 2” of the Permanent Injunction or held in any subsequent wallet address into which

    they were directly or indirectly transferred after being “transferred from” the original wallet

    addresses.

           4.      The Court reserves jurisdiction to enter further orders that are proper to compel

    Defendant Vernon, his associates or conspirators, and all persons or entities subject to the

    Permanent Injunction to complete all procedures in execution of the Judgment and to otherwise

    facilitate the efforts of or taken on behalf of Plaintiff Class to recover the assets subject to the

    Judgment.

           DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County, Florida

    this 13th day of April, 2022.




                                                                   KENNETH A. MARRA
                                                                   United States District Judge




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                    EXHIBIT 4
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                                        603

Kapp, Kara L.

From:                              Kapp, Kara L.
Sent:                              Monday, May 2, 2022 3:58 PM
To:                                'taiyang@renproject.io'; 'loong@renproject.io'
Cc:                                Boss, Barry; support@renproject.io
Subject:                           RE: Cryptsy Asset Freeze Notice Letter to Ren
Attachments:                       3-30-2022 Cryptsy Notice Letter to Ren.pdf; Exhibit A.pdf; Exhibit B.pdf; Exhibit C.pdf;
                                   Exhibit D- Ren 5-2-2022.pdf; Exhibit E.pdf; Vernon Indictment.pdf

Importance:                        High


Messrs. Zhang and Wang,

We are writing to resend this notice letter to your personal attention because it is extremely time sensitive and of the
highest importance. We would appreciate a prompt response.

On Wednesday March 30, 2022, we notified the Ren Project of the need to freeze stolen digital assets subject to the
attached Judgment and subject to a Permanent Injunction issued by the federal district court for the Southern District of
Florida. See reattached Notice Letter of 3‐30‐2022 and attached Exhibits A, B, and C. Under the Judgment and
Permanent Injunction, the assets must be frozen from both the originating wallet addresses as well as any and all
secondary wallet addresses into which they have been and may be moved. (See attached Exhibit E).

The order specifically provides that:

"[T]he Amended Judgment by its terms awards the 11,825.1484 Stolen Bitcoin and Forked Digital Assets to the Plaintiff
Class as its property, regardless of which digital wallet addresses presently holds those assets, and in particular,
regardless of whether those assets are presently held in the original wallet addresses listed in Tables 1 and 2 or new
wallet addresses to which they were subsequently transferred."

The Court further clarifies that "all subparts of Paragraph 4 of the Permanent Injunction apply not only to the original
wallet addresses listed in Tables 1 and 2 but also to any and all subsequent wallet addresses into which the Stolen
Bitcoin and Forked Digital Assets have been or are in the future transferred. The Permanent Injunction recognizes that
the Stolen Bitcoin and Forked Digital Assets are the property of the Plaintiff Class. Therefore, by its terms, the order
applies to those stolen digital assets whether they are held in the original “wallet addresses listed in Tables 1 and 2” of
the Permanent Injunction or held in any subsequent wallet address into which they were directly or indirectly
transferred after being “transferred from” the original wallet addresses."

The Defendant is using your platform as the primary means of laundering these criminal proceeds. Since the beginning
of April 2022, as of this morning, the Defendant against whom the Judgment has been entered, who is also subject to a
criminal prosecution for the same underlying conduct (see attached indictment), has moved an estimated 184.306 BTC
of these criminal proceeds onto your platform. See attached Exhibit D with tracing specific to the Ren Project updated as
of May 1, 2022.

We hereby again reiterate our time‐sensitive and critically important request that all of the Stolen Bitcoin that has made
its way to the Ren Project, and the accounts sending these illicit assets to the Ren Project, be immediately frozen.

We ask that you please personally respond by May 4, 2022 and confirm that these criminal proceeds and the associated
accounts have been properly frozen as required by the Court’s Judgment and Permanent Injunction.


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                                        603
Don’t hesitate to reach out if you have any questions.

Sincerely,
Barry and Kara


                        Kara Kapp
                        Member | Cozen O'Connor
                        1200 19th Street NW | Washington, DC 20036
                        P: 202-304-1457 F: 202-559-7318
                        Email | Bio | Map | cozen.com




From: Kapp, Kara L. <KKapp@cozen.com>
Sent: Wednesday, March 30, 2022 7:57 PM
To: support@renproject.io
Cc: Boss, Barry <BBoss@cozen.com>; Kapp, Kara L. <KKapp@cozen.com>
Subject: Cryptsy Asset Freeze Notice Letter to Ren

To whom it may concern,

Please take notice of the attached Amended Final Judgment and Permanent Injunction, which identify digital assets
subject to the Judgment and Injunction that you must freeze if received by your exchange.

Don’t hesitate to reach out if you have any questions.

Sincerely,
Barry Boss




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    March 30, 2022                                                                                   Barry Boss
                                                                                           Direct Phone 202-912-4818
                                                                                           Direct Fax 866-413-0172
    Via E-mail [support@renproject.io]                                                              bboss@cozen.com




                  Re: Brandon Leidel, et al. v. Project Investors, Inc. d/b/a Cryptsy, Paul Vernon,
                  et al., U.S. Dist. Ct. – S.D. Fla. – Case No. 9:16-cv-80060-MARRA.

   Dear Sir/Madam:

           We represent North Field Technology Ltd (“North Field”), assignee of the May 24, 2021
   Amended Final Default Judgment (“Amended Judgment”) entered by United States District Court
   Judge Kenneth Marra against Project Investors, Inc. d/b/a Cryptsy (“Cryptsy”) and Paul Vernon
   in the above-captioned case. We write to request that you immediately freeze certain assets subject
   to the Amended Final Default Judgment that have been recently transferred to your exchange, and
   to freeze any and all assets originating from the wallet addresses listed in the Amended Final
   Default Judgment and Permanent Injunction should they hereafter make their way to your
   exchange.

           The Court entered the Amended Judgment in favor of a class of plaintiffs (“Plaintiff Class”)
   that consists of former customers of Cryptsy—a now-shuttered South Florida-based
   cryptocurrency exchange operated by Paul Vernon, who fled to China shortly before the lawsuit
   was filed in January 2016. Mr. Vernon is now under indictment in the Southern District of Florida
   for the same conduct adjudicated in Civil Case No. 9:16-cv-80060.

          The Amended Judgment awarded to the Plaintiff Class the 11,325.0961 Bitcoin held, as of
   May 24, 2021, in the Bitcoin Wallet Addresses set out in Table 1 below, as well as all associated
   forked assets:




                                   1200 19th Street, NW Washington, DC 20036
                           202.912.4800   800.540.1355   202.861.1905 Fax      cozen.com
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    _______________________________________




            The Amended Judgment likewise awarded to the Plaintiff Class the 500.052319 Bitcoin
   held, at the time they were stolen, in the Bitcoin Wallet Addresses set out in Table 2 below, as well
   as all associated forked assets:
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           A copy of the Amended Judgment, Doc. 157, is attached hereto as Exhibit A. The stolen
   bitcoin listed in Tables 1 and 2 and the associated digital assets are collectively referred to herein
   as the Stolen Bitcoin and Forked Digital Assets.

          Subsequently, on June 22, 2021, the Court issued a permanent injunction freezing all Stolen
   Bitcoin and Forked Digital Assets (“the Permanent Injunction”). Doc. 177. A copy of the
   Permanent Injunction is attached hereto as Exhibit B.

           The Court ordered that all entities having notice of the Permanent Injunction “are
   permanently enjoined from directly or indirectly transferring the Stolen Bitcoin and Forked Digital
   Assets that were originally held in the wallet addresses identified in Tables 1 and 2 other than to a
   digital wallet or account held by North Field.” Doc. 177, at ¶ 2. The Court further ordered that all
   “digital asset trading platforms [and] cryptocurrency exchanges . . . receiving notice of this Order
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   by electronic mail” must “freeze, or assist in or facilitate the freezing of, the Stolen Bitcoin and
   Forked Digital Assets held in or transferred from any wallet address listed in Tables 1 and 2 of this
   Order[.]” Id. at ¶ 4(b). And the Court likewise ordered that all digital asset trading platforms [and]
   cryptocurrency exchanges . . . receiving notice of this Order by electronic mail” must “freeze all
   customer accounts related to the Stolen Bitcoin and Forked Digital Assets held in or transferred
   from any wallet addresses listed in Tables 1 or 2 of this Order[.]” Id. ¶ 4(c). Finally, the Court
   ordered that “all digital asset trading platforms [and] cryptocurrency exchanges . . . receiving
   notice of this Order by electronic mail” must “take all steps necessary to transfer, assist in the
   transfer of, facilitate the transfer of, validate or assist in the validation of the transfer of the Stolen
   Bitcoin and Forked Digital Assets to a digital wallet or account held by North Field.” Id. ¶ 4(d).

          Upon information and belief, Mr. Paul Vernon (individually or acting in concert
   with/through one of the people or entities cited in the Order) has an account(s) at your institution
   at which he holds assets that are subject to the Amended Judgment and Permanent Injunction.

           Upon information and belief, Mr. Vernon has recently moved 11,000 BTC from the
   addresses in Table 1 to the Secondary Wallet Addresses contained in the attached spreadsheet
   entitled Exhibit C.

           In accordance with the Permanent Injunction, we hereby provide notice that the digital
   assets originally contained in Tables 1 and 2 of the Amended Final Default Judgment, including
   those 11,000 BTC that have since been moved into the secondary wallet addresses contained in
   Appendix 1, attached hereto, must be frozen and not transferred to any account other than to a
   digital wallet or account held by North Field.

          Please confirm by the close of business on Thursday, March 31, 2022, in writing, that you
   have frozen the BTC at issue as required by the Permanent Injunction.

          Further, if you have any questions about the foregoing, please contact us, or have an
   attorney on your behalf contact us, to discuss.

           Thank you for your anticipated cooperation.

                                                    Sincerely,



                                                    Barry Boss
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                          EXHIBIT A
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                 Civil Action No. 9:16-cv-80060-MARRA

    BRANDON LEIDEL,
    individually and on behalf of All Others Similarly Situated,
         Plaintiffs,
    v.
    PROJECT INVESTORS, INC. d/b/a CRYPTSY, a Florida corporation,
    PAUL VERNON, an individual, et al.,
       Defendants.
    ___________________________________________/

                         AMENDED FINAL DEFAULT JUDGMENT AGAINST
                                DEFENDANT PAUL VERNON

             THIS MATTER came before the Court upon the motion of Plaintiff BRANDON

    LEIDEL, individually, and on behalf of all other similarly situated members of the Certified

    Class (the “Plaintiff Class”), for entry of an Amended Final Default Judgment against Defendant

    PAUL VERNON (“Amended Final Default Judgment”), an individual (“Defendant Vernon”)

    [DE 156]. After having reviewed the pleadings and sworn declarations submitted on behalf of

    the Plaintiff Class, the entry of default as to Defendant Vernon for failure to answer or otherwise

    plead to the Summons and Amended Class Action Complaint served upon him by the Plaintiff

    Class [ECF No. 51], this Court’s July 27, 2017 Final Default Judgment against Defendant

    Vernon (“Final Default Judgment”), as thereafter amended and clarified, and for good cause

    shown, the Court hereby DECLARES, ORDERS and ADJUDGES as follows:

             1.        Plaintiffs’ Motion To Amend Final Default Judgment Against Defendant Paul

    Vernon To Include Newly Discovered Assets And To Approve Second Amendment to

    Assignment Agreement [ECF No. 156] is GRANTED.
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           2.     Consistent with the Order Approving Assignment and Clarifying Final Judgment

    Against Defendant Paul Vernon [ECF No. 142] and the Order Approving Amended Assignment

    of Final Judgment Against Defendant Paul Vernon [ECF No. 147], North Field Technology, Inc.

    shall have the right to enforce the Amended Final Default Judgment.

           3.     This Amended Final Default Judgment is hereby entered in favor of Plaintiffs

    BRANDON LEIDEL and MICHAEL WILSON, individually, and all other similarly situated

    members of the Plaintiff Class certified by the Court on August 25, 2016 [ECF No. 65]; and

    against Defendant PAUL VERNON, an individual; upon the Second Amended Class Action

    Complaint herein.

           4.     The terms of the Final Default Judgment remain in effect as follows:

                  (a) Defendant Vernon is liable to the Plaintiff Class in the principal sum of

                        $8,200,000.00, for which let execution issue forthwith.

                  (b) Prejudgment interest in the amount of $688,788.76 shall be awarded as

                        interest on that principal sum from November 1, 2015 to July 27, 2017, which

                        is the date of entry of this Court’s initial Final Judgment at the rate fixed by

                        the Florida Department of Financial Services, as set forth by § 55.03, Florida

                        Statutes.

                  (c) The judgment shall bear interest at the post-judgment interest rate prescribed

                        by 28 U.S.C. §1961 and shall be enforceable as prescribed by, inter alia, Rule

                        69(a) of the Federal Rules of Civil Procedure.

                  (d) The Court further declares that the 11,325.0961 Bitcoin which were stolen

                        from Cryptsy customers on July 29, 2014 and which, as of the date of the

                        initial Final Judgment, were stored in the cryptocurrency or digital wallet




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                   addresses identified in Table 1 below, are property of the Plaintiff Class and

                   subject to and encompassed within this Amended Final Default Judgment:



                                            Table 1

         #                         Wallet                            Amount of Bitcoin
                                                                      Stored in Wallet
         1     18E3AWaadnUPQ1aMpfEoyTXN49NYAZzbpD                        1,000 BTC
         2     1DSxcqygQ69MxRc8oW94kQjWHzMb4BYsnG                        1,000 BTC
         3    1LwZYCt8dDhZDMd6uXGMwVsmWPXW9eX9Ww                         1,000 BTC
         4      13nAJw8jw7BiYKLnad9YGdPxybK9mgPkM6                       1,000 BTC
         5      1DqCNwUffFTxULH8crehynw53TwrHnrv1c                       1,000 BTC
         6      1AWdxqABYiDxcY1sxzPzEotvjFjq8NUY8Z                       1,000 BTC
         7      18nb1NQCeoZLucMdrNdu2wb7jcyDvSgr3Y                       0.0961 BTC
         8      13QxkdrhfeQ6aCF4TBWg8knQGBmiwL2rpV                       1,000 BTC
         9      17nmFFPSANbPGgdtoEEuc6xbHoaP1n6ZBb                       1,000 BTC
         10     14nzbWNMPjmvwy96uuFVXtj6VgChJtHvU9                       1,000 BTC
         11     1315LzDFcBLDBKgVAr4ZhCkcT5GXivpiuj                       1,000 BTC
         12     1KBy6MvcBb2qQRS5fQT92o2c5Dq2W6ygx4                       1,325 BTC
                                                          TOTAL       11,325.0961 BTC

                (e) After entry of the Final Judgment, the Bitcoin blockchain forked numerous

                   times, and with each such fork, each of the wallet addresses identified in the

                   table above were awarded forked assets. These forked assets include amounts

                   of Bitcoin Cash (BCH), Bitcoin Gold (BTG), Bitcoin Diamond (BCD), Super

                   Bitcoin (SBTC), Bitcoin2 (BTC2), Bitcoin Private (BCTP), Bitcoin

                   Dark(BTCD), and Bitcoin SV (BSV) equivalent to the amount of BTC in each

                   of the wallets in the table above. The forked assets also include an amount of




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                      Bitcore (BTX) equal to one-half the amount of BTC identified as being in

                      each of the wallets listed in the table above.

                  (f) The Plaintiff Class is entitled to recover all of the BTC identified in the table

                      above from the corresponding wallet addresses identified above in Table 1,

                      and an equivalent amount of BCH, BTG, BCD, SBTC, BCT2, BCTP, BTCD,

                      and BSV associated with each of the wallet addresses. The Plaintiff Class is

                      also entitled to recover an amount of BTX equal to one half of the amount of

                      BTC associated with each of the wallet addresses above (all of the foregoing,

                      “Forked Assets”).

           5.     This Amended Final Default Judgment also adds and includes as property of the

    Plaintiff Class an additional 500.052319 Bitcoin that were stolen from Cryptsy customers on July

    29, 2014 and recently discovered by the Plaintiff Class (“Newly Discovered Assets”). These

    Newly Discovered Assets, at the time they were stolen from the Plaintiff Class, were located in

    ten (10) additional cryptocurrency, digital, or hardware wallet addresses identified in Table 2

    below (“Newly-Discovered Wallet Addresses”). Some of the Newly Discovered Assets have

    since been moved to secondary digital wallet addresses as of the date of this Amended Final

    Default Judgment (“Secondary Wallet Addresses”). A non-exhaustive list of Secondary Digital

    Wallet Addresses known to hold Newly Discovered Assets subject to this Amended Final

    Default Judgment is contained in Table 3, below. The full list of currently known Secondary

    Digital Wallet Addresses through which the Newly Discovered Assets have been transferred is

    contained in Appendices 2 and 3 of Receiver’s Emergency Motion For Temporary Restraining

    Order Without Notice Against Defendant Paul Vernon [ECF No. 153-1], which are hereby

    incorporated into this Amended Final Default Judgment. This Amended Final Default Judgment




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    also adds and includes all forked assets to which the Plaintiff Class, as proper owners of the

    500.052319 Bitcoin, is entitled (“Newly Discovered Forked Assets”):

                                               Table 2

                                                         Date and Time of      Transfer
                           Newly-Discovered
                #                                        Transfer (UTC)        Amount
                            Wallet Address
                                                                               (in BTC)
                1     1BjRLELf3xX5Tz8c43H36n
                          kmNwqnPuuVAv                   2014-07-29 08:54       0.010265
                2     12KBnNKkEdjcojNZ7ceBhD
                           BJWhMZbtttgr                  2014-07-29 08:54          100
                3      17QwFUD9awdi4JcncVrkxf
                           DDBvEos8HU8H                  2014-07-29 08:54          100
                4     19TbZFeHjTx76yKnwGTqeh
                           Th1VLHLxx9km                  2014-07-29 08:54       0.010659
                5     159m8sYcDJwPfJaVpLeKJit
                           kQTiPKevnY4                   2014-07-29 08:54          100
                6     1JhoQ1Zs2EqjXh1GzjwtQeth
                           AbNG6bNGTW                    2014-07-29 08:54       0.010021
                7      1AA8YJ2DeYr99BS1PrsFK
                          WC1p9hXT28dup                  2014-07-29 08:54          100
                8     1ABpMg9prfa6dtZqTqpcmN
                           5cAsjj1Cx77V                  2014-07-29 08:54       0.010393
                9     15yRZyEyzwyNhCFBfqWBJ
                          DXsuJn9WJVhnJ                  2014-07-29 08:54          100
               10     19mkygdiY9Ay7dL2LLmAS
                          Zzi2bXEp9NwLj                  2014-07-29 08:54       0.010981
                                                                  TOTAL       500.052319




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                                              Table 3

                                   Newly-Discovered     Date and Time of       Transfer         Amount
           Secondary Wallet
#                                 Wallet Address From      Transfer to         Amount          Traceable
          Address Containing
                                     Which Assets       Secondary Wallet       (in BTC)        To Newly-
        Newly Discovered Assets
                                      Originated         Address (UTC)                         Discovered
                                                                                                 Wallet
                                                                                                Address
1      18tTX9XCrxQL1wsssHE5 12KBnNKkEdjcojNZ7
          Qppoh9VNyEJFB8    ceBhDBJWhMZbtttgr           2021-05-02 17:46         4.096                4.096
2      1NpQ5uz2MC4cmLSDbm 12KBnNKkEdjcojNZ7
         V58YiAarZUUJesG  ceBhDBJWhMZbtttgr             2021-05-02 17:46         4.096                4.096
3       1KxZc4L6sfWqnQPrPMZ       12KBnNKkEdjcojNZ7
          bsbhgQX1oqMhqnE         ceBhDBJWhMZbtttgr     2021-05-02 17:46         4.096                4.096
4                                 17QwFUD9awdi4Jcnc
        36eg2udC9bKb5JyvZktxJ     VrkxfDDBvEos8HU8
            6MnfS3xHadFai                H              2020-05-14 09:51      18.925531         18.925531
5                                 17QwFUD9awdi4Jcnc
       3NmP957MF3da9u5wtLY        VrkxfDDBvEos8HU8
         K591JKNeZpJwmxU                 H              2020-05-14 10:41           11                  11
6                                 17QwFUD9awdi4Jcnc
       35VheJJNovHsTbJy2iScfq     VrkxfDDBvEos8HU8
           GxqtLR3Sdk3f                  H              2020-05-18 06:49      16.325525         16.325525
7                                 15yRZyEyzwyNhCFB
        36Ma8dY44xtM8sFKqpv       fqWBJDXsuJn9WJVh
          Kfb4A8TeXFFvchv                nJ             2020-04-05 14:15           14                  14
8                                 15yRZyEyzwyNhCFB
       3EspfvBwtx2Wcg6y2pNX       fqWBJDXsuJn9WJVh
          2T8rB599zURoop                 nJ             2020-04-05 14:15           12                  12
9                                 15yRZyEyzwyNhCFB
       3JpXuV2vAY35wyzvUoN        fqWBJDXsuJn9WJVh
         CYHGS8TBJoSh5Ws                 nJ             2020-04-05 14:15           11                  11
10                                15yRZyEyzwyNhCFB
       3PEHvQysjnnPLct9M3hU       fqWBJDXsuJn9WJVh
          cwauWzTBhioyzN                 nJ             2020-04-05 14:24      8.99987577       8.99987577




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           6.     This Amended Final Default Judgment includes all 11,825.1484 Bitcoin, the

    Forked Assets, and the Newly Discovered Forked Assets, in the wallet addresses identified

    above, as well as in any secondary wallet addresses to which the Newly Discovered Assets

    and/or the Newly Discovered Forked Assets have been or are in the future transferred.

           7.     The Court reserves jurisdiction to enter further orders that are proper to compel

    Defendant Vernon to complete all procedures in execution of this Amended Final Default

    Judgment, unless the Court directs otherwise.

           DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County, Florida,

    this 24th day of May, 2021.




                                                               KENNETH A. MARRA
                                                               United States District Judge




    Copies furnished to:
    All Counsel of Record

    Paul Vernon
     P.O. Box 7646, Delray Beach, FL 33482, E-mail: PaulEVernon@yahoo.com
      Defendant




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

    BRANDON LEIDEL, individually,                                CASE NO. 9:16-cv-80060-KAM
    and on behalf of All others Similarly Situated,

                   Plaintiffs,
    v.

    PROJECT INVESTORS, INC. d/b/a
    CRYPTSY, a Florida corporation,
    PAUL VERNON, an individual,
    LORIE ANN NETTLES, an individual,
    RIDGEWOOD INVESTMENTS, INC,
    a New Jersey corporation, and
    KAUSHAL MAJMUDAR, individually,

                Defendants.
    ________________________________________/

     ORDER GRANTING PLAINTIFF AND ASSIGNEE’S MOTION FOR ASSET FREEZE
     INJUNCTION AND ORDER TO TRANSFER THE STOLEN BITCOIN TO ASSIGNEE

           THIS MATTER is before the Court upon the motion of the Plaintiff Class and Assignee

    North Field Technology Ltd. (“North Field”) for a permanent injunction ordering the freeze and

    transfer of the Bitcoin (“BTC”) and other Forked Digital Assets subject to the Amended Final

    Judgment. BY THEIR MOTION, the Plaintiff Class and Assignee North Field seek an injunction:


           (1) Freezing, as identified in the Amended Final Default Judgment, 11,825.1484 Bitcoin

               stolen from the Plaintiff Class on July 29, 2014 and then held, as of the date of the July

               29, 2014 theft, in the digital wallets identified in Tables 1 and 2 below (the “Stolen

               Bitcoin”);


           (2) Freezing the forked digital assets associated with the Stolen Bitcoin, which includes

               Bitcoin Cash, Bitcoin Gold, Bitcoin Diamond, Super Bitcoin, Bitcoin2, Bitcoin Private,

               Bitcoin Dark, and Bitcoin SV in an amount equal to the amount of BTC in each of the
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            wallets identified in the tables below, along with additional forked assets of Bitcore

            (BTX) in an amount equal to one-half the amount of BTC in the digital wallets

            identified in the tables below (the “Forked Digital Assets”) (collectively, “Stolen

            Bitcoin and Forked Digital Assets”); and


         (3) Transferring any and all Stolen Bitcoin and Forked Digital Assets subject to the

            Amended Final Judgment to a wallet address controlled by Assignee North Field.


                                             Table 1

                                                                             Amount of
            #                  Original Wallet Addresses                  Bitcoin stored in
                                                                          wallet address at
                                                                            time of theft
            1    18E3AWaadnUPQ1aMpfEoyTXN49NYAZzbpD                          1,000 BTC
            2    1DSxcqygQ69MxRc8oW94kQjWHzMb4BYsnG                          1,000 BTC
            3    1LwZYCt8dDhZDMd6uXGMwVsmWPXW9eX9Ww                          1,000 BTC
            4    13nAJw8jw7BiYKLnad9YGdPxybK9mgPkM6                          1,000 BTC
            5    1DqCNwUffFTxULH8crehynw53TwrHnrv1c                          1,000 BTC
            6    1AWdxqABYiDxcY1sxzPzEotvjFjq8NUY8Z                          1,000 BTC
            7    18nb1NQCeoZLucMdrNdu2wb7jcyDvSgr3Y                          1,000 BTC
            8    13QxkdrhfeQ6aCF4TBWg8knQGBmiwL2rpV                         0.0961 BTC
            9    17nmFFPSANbPGgdtoEEuc6xbHoaP1n6ZBb                          1,000 BTC
            10 14nzbWNMPjmvwy96uuFVXtj6VgChJtHvU9                            1,000 BTC
            11 1315LzDFcBLDBKgVAr4ZhCkcT5GXivpiuj                            1,000 BTC
            12 1KBy6MvcBb2qQRS5fQT92o2c5Dq2W6ygx4                            1,325 BTC
                                                               TOTAL 11,325.0961 BTC




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                                                  Table 2

                                                                                   Amount of
              #               Newly-Discovered Wallet Addresses                 Bitcoin stored in
                                                                                wallet address at
                                                                                  time of theft
               1    1BjRLELf3xX5Tz8c43H36nkmNwqnPuuVAv                           0.010265 BTC
               2    12KBnNKkEdjcojNZ7ceBhDBJWhMZbtttgr                              100 BTC
               3    17QwFUD9awdi4JcncVrkxfDDBvEos8HU8H                              100 BTC
               4    19TbZFeHjTx76yKnwGTqehTh1VLHLxx9km                            0.010659 BTC
               5    159m8sYcDJwPfJaVpLeKJitkQTiPKevnY4                              100 BTC
               6    1JhoQ1Zs2EqjXh1GzjwtQethAbNG6bNGTW                            0.010021 BTC
               7    1AA8YJ2DeYr99BS1PrsFKWC1p9hXT28dup                              100 BTC
               8    1ABpMg9prfa6dtZqTqpcmN5cAsjj1Cx77V                            0.010393 BTC
               9    15yRZyEyzwyNhCFBfqWBJDXsuJn9WJVhnJ                              100 BTC
               10 19mkygdiY9Ay7dL2LLmASZzi2bXEp9NwLj                              0.010981 BTC
                                                                    TOTAL      500.052319 BTC


           In considering a permanent injunction, the Court must evaluate the following factors: (1)

    whether the plaintiff has prevailed on the merits; (2) whether the plaintiff has suffered an

    irreparable injury; (3) the unavailability of an adequate remedy at law; (4) considering the balance

    of hardships between the plaintiff and defendant, a remedy in equity is warranted; and (5) whether

    the public interest would or would not be disserved by the injunctive relief. Jysk Bed’N Linen v.

    Dutta-Roy, 810 F.3d 767, 774 n.16 (11th Cir. 2015).

           HAVING REVIEWED THE MOTION AND SUPPORTING PAPERS and being

    otherwise fully advised in the premises, the Court hereby finds as follows:

           First, the Plaintiff Class and Assignee North Field (collectively referred to herein as

    “Movants”) have demonstrated that the Plaintiff Class has prevailed on the merits against

    Defendant Paul Vernon. Specifically, Movants obtained an initial default judgment against


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    Defendant Vernon (the “Original Judgment”) [ECF No. 123] and an amended final judgment

    against Defendant Vernon (the “Amended Final Default Judgment”) [ECF No. 157]. As reflected

    in these judgments, Movants have prevailed on the merits in this action.

           Second, the Original Judgment and Amended Final Default Judgment [ECF Nos. 123, 157]

    establish that the Movants have been wrongfully deprived by Defendant Vernon of 11,825.1484

    Stolen Bitcoin and the associated Forked Digital Assets. See [ECF Nos. 123, 157]. As

    demonstrated in the report of Pawel Aleksander, Chief Information Officer and Co-Founder of

    Coinfirm, portions of the 11,825.1484 Stolen Bitcoin have begun to move in what appears to be

    an attempt to liquidate such bitcoin holdings, which are property of the Movants. [ECF No. 153-

    1]. Therefore, the Court finds that the Movants have suffered an irreparable injury.

           Third, remedies available at law are inadequate to compensate for this injury for several

    reasons. Defendant Vernon has no right to claim either possession or ownership of the Stolen

    Bitcoin and associated Forked Digital Assets, yet Defendant Vernon currently has sole dominion

    and control over these assets, and appears to have made efforts to liquidate these assets. Further,

    considering the speed with which cryptocurrency transactions are made, the fact that transactions

    on the Bitcoin blockchain are irreversible, as well as the pseudonymous nature of those

    transactions, remedies at law are inadequate to redress the harm to the Movants.

           Fourth, the balance of hardships weighs decidedly in favor of granting injunctive relief.

    The actual and threatened injuries to the Movants outweigh any possible harm to Defendant

    Vernon because Defendant Vernon has no right to claim either possession or ownership of the

    Stolen Bitcoin and associated Forked Digital Assets. In contrast, the Plaintiff Class has suffered

    an irreparable injury—the wrongful deprivation of 11,825.1484 Stolen Bitcoin and Forked Digital

    Assets that belong to them. Defendant Vernon is wrongfully withholding these assets from the



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    Plaintiff Class. Further, the proposed injunctive relief adequately considers the rights of bona fide

    purchasers who may have purchased Stolen Bitcoin from Defendant Vernon. Under this Order,

    any bona fide purchaser will be able to obtain a release from the scope of the injunction for any

    qualifying assets presently owned or controlled by the affected purchaser upon proof that he/she/it

    qualifies as a bona fide purchaser in good faith.

           Finally, a permanent injunction would not disserve the public interest, but rather would

    further it. The public interest is properly served by promoting the objectives of the Financial

    Crimes Enforcement Network [FinCEN] (a division of the U.S. Department of the Treasury). The

    public interest is also served by providing assurance that courts will protect investors’ assets from

    theft and will aid investors in their recovery of stolen assets when they can be readily located and

    traced to specific locations, like the purloined assets in this action. An injunction here would thus

    serve the public interest by placing the Stolen Bitcoin and Forked Digital Assets in the hands of

    their rightful owners, as in Jysk. See Jysk, 810 F.3d at 780.

           Moreover, the relief sought by the Movants is well supported by authority in this Circuit.

    The Eleventh Circuit has long recognized that district courts have the inherent power to freeze a

    defendant’s assets to ensure the availability of equitable relief. See Levi Strauss & co v. Sunrise

    Int’l Trading Inc., 51 F.3d 982, 987 (11th Cir. 1995) (concluding that the district court had

    authority to freeze assets that could have been used to satisfy equitable relief sought).

           Courts in this District and elsewhere have extended such orders to digital assets, including

    cryptocurrencies. See, e.g., CFTC v. Fingerhut, No. 1:20-cv-21887, 2021 U.S. Dist. LEXIS 2653,

    at *15-18 (S.D. Fla. Jan. 7, 2021) (granting injunction and asset freeze against defendants in digital

    asset fraud scheme); Lagemann v. Spence, No. 1:18-cv-12218-GBD, Doc. 47 (S.D.N.Y. Feb. 11,

    2019) (issuing injunction and asset freeze against defendants extending to “any cryptocurrency



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    wallet or cryptocurrency trading account” maintained by the defendant); FTC v. Dluca, No. 18-

    cv-60379, 2018 U.S. Dist. LEXIS 192310 (S.D. Fla. Apr. 16, 2018) (granting injunction and asset

    freeze where defendants allegedly secured payments from customers under the false guise of

    earning income through purported cryptocurrency investments).

             Further, federal courts in this District and across the country routinely issue freeze and

    transfer orders that extend to third parties with custody or control over such assets. See Gucci Am.

    Inc. v. 2005qihui8, No. 15-cv-61649, Doc. 68 (S.D. Fla. Jan. 11, 2016) (granting amended default

    judgment and permanent injunction ordering PayPal to “transfer[] to Plaintiff [“[a]ll funds

    currently restrained”] in partial satisfaction of the monetary judgment”); Malletier v.

    Aabagcn.com, No. 13-61629-CIV, 2013 U.S. Dist. LEXIS 191881, at *19 (S.D. Fla. Dec. 9, 2013)

    (issuing permanent injunction including freeze of assets based on the court’s determination that

    “Plaintiff ha[d] a good reason to believe Defendants will hide or transfer their ill-gotten assets

    beyond the jurisdiction of this Court unless those assets are restrained” and attaching freeze order

    against PayPal); Developers Sur. & Indem. Co. v. Bi-Tech Constr., Inc., 979 F. Supp. 2d 1307,

    1316 (S.D. Fla. 2013) (report and recommendation), adopted by 979 F. Supp. 2d 1307 (S.D. Fla.

    2013) (recognizing that “[o]rders freezing assets and prohibiting transfers from . . . accounts are

    routine methods of enforcing injunctive relief, even if they are directed to third parties in

    possession of the funds”); Tiffany (NJ), LLC v. 925jewelrymax.com, No. 12-23518-CIV-

    SEITZ/SIMONTON, 2013 U.S. Dist. LEXIS 190948, at *20 (S.D. Fla. Mar. 28, 2013) (issuing

    permanent injunction transferring assets frozen by PayPal to plaintiff in partial satisfaction of

    judgment).1 In this case, extending the order to third party payment processors is particularly


    1
      See also, e.g., SEC v. Qin, No. 20-cv-10849 (LGS), Doc. 27 at 3-4 (S.D.N.Y. Jan. 6, 2021) (ordering third-parties to
    freeze defendant’s digital assets); Amazon Content Servs. LLC v. Kiss Library, No. 2:20-cv-01048, 2020 U.S. Dist.
    LEXIS 155676, at *9-11 (W.D. Wash. Aug. 27, 2020) (ordering payment processors, such as BitPay, PayPal and
    MasterCard, who receive notice of the order to locate defendants’ accounts and not allow withdrawal or disposal of

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    appropriate because the Stolen Bitcoin has continued to move since this Court issued the

    Temporary Restraining Orders on May 17-18, 2021 [ECF Nos. 154, 155], and these transactions

    could not have occurred without the involvement—whether knowing or unknowing—of third

    parties involved in processing these transactions.

             Therefore, HAVING REVIEWED THE MOTION AND SUPPORTING PAPERS and

    being otherwise fully advised in the premises, the Court hereby ORDERS AND ADJUDGES:

             1.     The motion (DE 173) is GRANTED.

             2.     Defendant Vernon, and all persons in active concert or participation with him or his

    agents, servants or who otherwise having notice of this Order, are permanently enjoined from

    directly or indirectly transferring the Stolen Bitcoin and Forked Digital Assets that were originally

    held in the wallet addresses identified in Tables 1 and 2 other than to a digital wallet or account

    held by North Field.

             3.     Defendant Vernon, and all persons in active concert or participation with him

    having notice of this Order, shall immediately (within seven (7) days of the entry of this Order)

    transfer the Stolen Bitcoin and Forked Digital Assets to a digital wallet or account held by North

    Field.

             4.     Any persons, firms, corporations, or other entities, including digital asset trading

    platforms, cryptocurrency exchanges, payment processors, digital cryptocurrency wallet

    providers, developers, mining pools, miners, other parties involved in validating transactions on

    the Bitcoin network or the networks for the Forked Digital Assets encompassed by the Amended

    Final Default Judgment, and other parties receiving notice of this Order by electronic mail, mail



    the assets); Volkswagen AG v. Unincorporated Ass’ns, No. 1:17-cv-1413, 2018 U.S. Dist. LEXIS 149536 (E.D. Va.
    July 13, 2018) (recommending issuance of permanent injunctive relief transferring assets frozen by PayPal to
    plaintiff), adopted as to properly served defendant by No. 1:17-cv-113, Doc. 74 (E.D. Va. August 30, 2018).

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    via postal service or mail carrier, private or other courier service including an overnight carrier

    service, facsimile transmissions, personal delivery, personal service, or other method sufficient to

    give the entities listed in this paragraph notice of this Order, shall immediately:

                a. locate the Stolen Bitcoin and Forked Digital Assets;

                b. freeze, or assist in or facilitate the freezing of, the Stolen Bitcoin and Forked Digital

                    Assets held in or transferred from any wallet address listed in Tables 1 and 2 of this

                    Order, and (other than as Ordered in subsection (d) hereof) refrain from

                    transferring, disbursing, assigning, dissipating, disposing of, validating, or

                    participating in or assisting in the validation of, any transaction in the Stolen Bitcoin

                    and Forked Digital Assets;

                c. freeze all customer accounts related to the Stolen Bitcoin and Forked Digital Assets

                    held in or transferred from any wallet addresses listed in Tables 1 or 2 of the this

                    Order, and (other than as Ordered in subsection (d) hereof) refrain from

                    transferring, disbursing, assigning, dissipating, disposing of, validating, or

                    participating in or assisting in the validation of, any transaction in the Stolen Bitcoin

                    and Forked Digital Assets; and

                d. take all steps necessary to transfer, assist in the transfer of, facilitate the transfer of,

                    validate or assist in the validation of the transfer of the Stolen Bitcoin and Forked

                    Digital Assets to a digital wallet or account held by North Field.

           5.       The freeze shall stay in effect for the duration of this Order.

           6.       Should     any    affected     cryptocurrency      exchange      or    Wallet    Address

    owner/accountholder wish to be relieved of the restrictions set forth herein, he/she/it may apply to




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    this Court in writing for relief from the Order and shall serve a copy of his/her/its request for relief

    upon all counsel and parties of record in this matter.

             7.     Service to Defendant Vernon at his last known e-mail address and via Defendant

    Vernon’s ex-wife and her counsel, who the Plaintiff Class believe to be in contact with Defendant

    Vernon, is deemed sufficient notice to him under Federal Rule of Civil Procedure 65. It shall not

    be necessary for Defendant Vernon to sign any form of acknowledgement of service.

             8.     Violation of this Permanent Injunction shall expose Defendant Vernon and all other

    persons bound by this Permanent Injunction to all applicable penalties, including contempt of

    Court.

             9.     The Court reserves jurisdiction to enter further orders that are proper to aid in the

    execution of the Amended Final Default Judgment, including further injunctions extending to

    secondary wallet addresses containing the Stolen Bitcoin and/or Forked Digital Assets, and to

    otherwise facilitate the efforts of or taken on behalf of Plaintiff Class, the Receiver, and Assignee

    North Field to recover the assets subject to the Amended Final Default Judgment.



             DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County, Florida

    this 22nd day of June, 2021.




                                                                    KENNETH A. MARRA
                                                                    United States District Judge




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                          EXHIBIT C
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                                                                                              Funds under claim
 Owner     Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                       Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name        Name                                                          Unit            tracing methodologies;
                                                                                            in cryptocurrency unit)

                         1AA8YJ2DeYr99BS1PrsFKWC1p9hXT28dup                BTC                             100.00000000     2014-07-29 08:54:46         2014-07-29 08:54:46
Binance   Suex           1Edue8XZCWNoDBNZgnQkCCivDyr9GEo4x6                BTC                              31.14578175     2021-02-24 09:50:43         2021-05-11 09:17:00
                         bc1q9ykztnded5hwl2wacf034hmxw3ykw8sj382yfp        BTC                              18.99487160     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1q8gnxkc0xywr92h5pt0cgatpgenflxtw6udfe7u        BTC                              18.98967146     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qel000fr8fw8tgtz29zyp02v23gy8khmnax3ecr        BTC                              18.98047162     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qwlzf7vzq7eakv3jtukpxrf8372z8fpldd2ek5c        BTC                              18.97947148     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1q4anwws7k9kgd8mwa4jtfp7wje5f9qtkenajmtw        BTC                              18.96667150     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qlk5nwlhwvdyvjhkxv6j3stnr6acvk4pp3x468r        BTC                              18.94967150     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1q4f9jy8jcl0c4uj6ku4xk2r4tru0wh5gpv0hhxd        BTC                              18.94917167     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qv44fhfms65d0ta2gjr93hhaumspmnnmtkktzwd        BTC                              18.94834527     2022-03-29 21:44:59         2022-03-29 21:44:59
                         bc1qzx2hsps4xz9ucmlwjz7c7kk20fd2g4mcz54fpk        BTC                              18.94717150     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qagzu867q6x5568kq7u6zv67q0jwamvzy5nmpqv        BTC                              18.94150000     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qxap9qnfu4hylzaxy8jd0t804qfpjj47863prwq        BTC                              18.94067168     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qya6437q2tjfuj3uxu5jw7w4s25wexhjxt7mw39        BTC                              18.92587170     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1q7zk3tr440kmdsvwhkqtrns62cpyvtuwmpyww9a        BTC                              18.92157171     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qk6up0khnyyd9nuhnapgadtwwcns5dxfacu3gwg        BTC                              18.91450000     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qhz2te3la8yg5uqa5wp3hdtw79tjmp8q8p430ql        BTC                              18.91237131     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qwxca3df6xjvrfnx5wtduvfl2la68nln5sjqey2        BTC                              18.91187172     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1q4a6nnvz8d9j3vvfnecm5errwl3x26jeysr2lkg        BTC                              18.90877156     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qhwddn8evfn6c7vshmwa35zdxdjelm3pc5u8xtz        BTC                              18.90397157     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qjxqfgdazv3ac82pca3rmvhtmt0qzjyuhhyce0r        BTC                              18.87984537     2022-03-29 21:44:59         2022-03-29 21:44:59
                         bc1q0rpyhtrqkacl7pu8eez6n02v0elmxpefxm9q6m        BTC                              18.87357180     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qx90733rhr0axjh54qsf0ahag8x6qnpmpuu052u        BTC                              18.86747179     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qz5f3g469g38ayh7gyy4xk28nd6ym6nvvj0stmw        BTC                              18.86267178     2022-03-29 17:41:00         2022-03-29 17:41:00
                         bc1qxtzfesek0esg9p7zede9qat9qg6ltlreezzfq4        BTC                              18.85547181     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1q92rmk5x2rlpw6xxsg8fkwhg6a3tpxjurehmmnu        BTC                              18.85174541     2022-03-29 21:44:59         2022-03-29 21:44:59
                         bc1qpuppf9w6m0vgqwqgy2qcfs7szkm5rrphj898e2        BTC                              18.84650000     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qtf9ulcxkkgeax4anfaqgktgcpv6xs0l75vrrar        BTC                              18.84527185     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qasdvn9dzrlzmu88z322t8jkrr9esjqpql7qsyy        BTC                              18.84437180     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qfjt3am2ng6f6n9qtj83pknwjqv3vvzyc9f907q        BTC                              18.84224543     2022-03-29 22:59:22         2022-03-29 22:59:22
                      bc1q9ttqa8kxjvs0f2hsyz73f7wsevqs5yk2zd258l        BTC                              18.83527143     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh8cclu9axungzgd6yl44qfg9s43ma8c3qf7djg        BTC                              18.81737170     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qddf5h46ueunxzrth7ugdje3ckrtdvsadcsytyu        BTC                              18.81477187     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmuvyhys3vr6zzgdj357mw7gzjcl76eygl8ln6p        BTC                              18.81110000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnxqe2hzy0gd42txn498c00mzwlxg8e6k6rudgt        BTC                              18.80867173     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzyvf9gqs7uaxh2ewh97ds6qas6awwxtawvz6ju        BTC                              18.80777174     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q0yw9zl5zt7824d4uz596uw50ujpr4x9l40dkr6        BTC                              18.80437174     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4tnpga7q97az88egfcf8r0whlm4ex0e9dfuu4u        BTC                              18.79184550     2022-03-29 21:27:37         2022-03-29 21:27:37
                      bc1qewl04khn2vw9z6csyul0wcz6sw2qkt0azpxjwv        BTC                              18.78617191     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvuqxfcg69l8v09dkt4ydkjlafqcfzav69n7kjd        BTC                              18.78527150     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6v76ldpf08r30jrccucfa3pjv4ghj5yp9p6p0y        BTC                              18.78367177     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6n9hw5m2zr6tqnksg8y64uc99anxqkgays6yjq        BTC                              18.77937190     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qsf6e6zm630wsa68f5dm683g42yt8vuuuh5xg3n        BTC                              18.77860000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6vlwr4xht5xxuh04ymxkc5pwknrh84dekfgsj4        BTC                              18.76677194     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfesuqc7733v8n9f27v02uvrkpnh7lg4eg4kscs        BTC                              18.75747198     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qszmrv99xpvu6hlccqrn60y2w7hvulpaa3uxy52        BTC                              18.75154556     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qmxfj3edhzawzhnjxp46vwye2atrwjhdwlul8pw        BTC                              18.73937184     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrgpt0p9mvdqzu6mns0h83fj537nasf330vdtuj        BTC                              18.73317199     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsnjygx6r384tz3f5jucfe7f8f9vydcluc2hnur        BTC                              18.72797183     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qthv2uccflw74vyq05lpef36emtua8sg50mwskd        BTC                              18.72417184     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4tc4ukaw4cwhqc0qg0sk7ss4ayknktja68jg8z        BTC                              18.71647161     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrltt7kfvx4tzdjk0rk0njsafwncev83pdn2e75        BTC                              18.70180000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qw8msx4pdh558h2gzzazknzkp3y7f8fnhrmlns4        BTC                              18.69667164     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qt49076dc3enl5gpavmk9thmkdp32qjwze4g33s        BTC                              18.69334079     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsymwfhr9wd27k7kjsvherqtm9re95nnc22u62k        BTC                              18.69207189     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q02haks37sshfdhvjjxuay5rk63wkzw8w6xn95a        BTC                              18.68574566     2022-03-29 22:59:22         2022-03-29 22:59:22
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qam08y49ygk2xd70tj068j3kehm0qxqgln7hpcy        BTC                              18.68007193     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdw4q7dfm264duaas5m0j85dcgf9wtdsvrfd375        BTC                              18.67857207     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qk88ae2r2xkypmys5eypf2lfccrnw2suxdf2s6x        BTC                              18.67670000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzsry668gpxas5veapmms9uyn3ymjmqg6ktxuf3        BTC                              18.65887210     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6znrhytm8xekc7wet2qa04d0efwdp0zlvl877c        BTC                              18.65470000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqpun5avj680y4f0r74savqp340a3h7q27rakq6        BTC                              18.64747212     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkw4k5kqux3pmnhy2v6uyxammgfg3xhp7zfcqaw        BTC                              18.64517212     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsrgs46tdncprwqv72wd0evvwnj8xdxzuy3gup2        BTC                              18.63857213     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qhnkj96al60njv5g5560matfe4h2yrsrgzah8th        BTC                              18.63747213     2022-03-29 18:18:34         2022-03-29 18:18:34
                      bc1qwftjk3hsxr0kcdwz49fsd87mz22j6lxvdxre7m        BTC                              18.63464574     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qsnv3rml6zr0uzk8rpzf06u7hdslw49e6gst9e4        BTC                              18.62387213     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qhuktu4c6z58la4yaxqd65jsk5rm3jnjgr8k5s3        BTC                              18.61297217     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgypfndsp76ldyehp0lz77zxxdthtdrkxl24lp2        BTC                              18.61047201     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgafj4t3hujwx9n5kwtv4kag27ydw5smhm2neh6        BTC                              18.61027217     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6a9w57pr5ggpksqanqgjr5weqrlrszt30hhga8        BTC                              18.60677218     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkuceaevarndmfglw9x63kfcy0pm9zdwxlzfe50        BTC                              18.60077203     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdzr99gfl08x2e90mlxqdpk2vjv4f9yuellke3u        BTC                              18.59290000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyx6zcffzdtxuua2dpcwcm76kuprnk4nl6sjleq        BTC                              18.58197208     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6l93ungk693nx64wvrr9zs4v9yv9yl28zxuprs        BTC                              18.57787220     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qa59prxfkt8vlv205p02rwdfughe6x4qqrf2awg        BTC                              18.57600000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qymkkwmw7xtz7xt7fwvrppmgh2wpjnw9jqayt45        BTC                              18.57177209     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa0gpal3c94xgpnzerz9vf37ezy3cewwxs9kt8f        BTC                              18.56257227     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpqcaepk7fwhcrrhycwf7u36s03mre75p4wz8q5        BTC                              18.56207225     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzykgxvj4ntxughq7qjyrrh27gtp79gnsas9x6d        BTC                              18.55740000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5legcc7kfvrlhzpv9awgkyrr79zqq0h7d3sfzp        BTC                              18.53707228     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnmaz5gaqfsamxxmut3xwvrfce6ysa9gwms0fqk        BTC                              18.53627227     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qtp4gg7hp4ztuz4mjt34pjrslyer5stjkggzlsn        BTC                              18.51397232     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qylcffx6wr4sdhp0sl2dt0zjzpjpdch8tc9lycn        BTC                              18.50597219     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                   Destination Address                                                                 Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qzkzhxmdkd92gpjecexuu6l3smkck3gpyak0fdn        BTC                              18.49497235     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qak0hctxcvxzvv82268aduhzga0ucjgv7jntkx9        BTC                              18.49047235     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qeh8txm587r2q3ryq438v7z9alamkkkykhd7vy9        BTC                              18.48797220     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qygssr20angjsfh86w05jaw592p6pmmgmpycaqs        BTC                              18.48087237     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzsgr59c6waqlrvnjt27zyusn4hn6tztw9hm7mh        BTC                              18.47607238     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qtkwy0yfr7zr0s3qevmfvjc8x05edx33hyklpcd        BTC                              18.46977224     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1ql0zkzya4jghvrs4zu9ns597usn0vg0yvjzk7kj        BTC                              18.45527241     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmeg8s222wp7eg5qwzne36qtp3p486d8mg7pklc        BTC                              18.44754602     2022-03-29 21:22:50         2022-03-29 21:22:50
                      bc1qf4ruxhhlyj7y7k3nj750xp5ztmcdw09l6mv7y5        BTC                              18.44667228     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q884fjkc838h6c0y9cy2llerrxpdrvzfh6skp4c        BTC                              18.44037243     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwapa29tps3265dykrdqfc7vqzvn3aalju7wgpa        BTC                              18.43794117     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyp5k8wnjzwxh6asgy43lu0rc9cxstpwgxr8zgk        BTC                              18.43787245     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qx40c3nwcx8g2s6rz7k9fjhqnr94l3neakseyut        BTC                              18.43540000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q37gjjpvxawpkyctwf7hy7h9vevykdrkfqyr7t7        BTC                              18.43257204     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjc0549kch8nupyqeln499vd2xqc7rff6ju0lzp        BTC                              18.43037244     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7lpnstjj74fmdazqpcsm7pepgktkg9gj9yskxd        BTC                              18.42837229     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnv7gu5568g49j4mscaays28jsfpqg2mc0rjhrj        BTC                              18.42530000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpw9mcs6505wa66wvwgt47htmdwrpga43mkndq5        BTC                              18.41637232     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvnqtrlvx9twv6s29lp79yzygd6csk8c0stmr3a        BTC                              18.41284607     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qjxlrs2996hn4jyfqmtctz2k5yz4kqxx7rklje3        BTC                              18.39847251     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqljzj3qh2wk29j2k3675h89s270g7v7wxlf02m        BTC                              18.38817237     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qez4284etcdvrr4dnfexcs7svyvxvsnrn67wwym        BTC                              18.38574611     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qlay0g2xgchgk35zr7mh670n07avzjsu8n87vg3        BTC                              18.38507235     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7m5vuv85rxr7fmfzfs05j88z4cy0vukv9hkppg        BTC                              18.37697238     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5pc0wl20slgw3yyn09nrn8zc24s8wkfnmartg8        BTC                              18.37377237     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2hlde72l9v29zyaa5vxg5rcgkrpzfnueyrgz6g        BTC                              18.36181168     2022-03-29 21:22:50         2022-03-29 21:22:50
                      bc1qy7jggcmkemjsgerrvrj0fagtslh4yf8ayem434        BTC                              18.36017253     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qzd83744y5k0nhr550xtuc8vh87us8n0mpgxns3        BTC                              18.35457256     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                   Destination Address                                                                 Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qazqkqzve556n7sz7qpmsdn6u256ecx25aaw5up        BTC                              18.34957259     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qj6nzwcux6vvkqlqj5j4z0jrnq9jwwaswtg5czm        BTC                              18.34508727     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qaqn5n8j80wgwhjryvpagcc4qpsen3ma6ljfcjk        BTC                              18.34487241     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7d8a9px7662k008t86vgtl6rmrexavu3j4dxyv        BTC                              18.34337257     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzqktqzphak3m63kpu05xngk5mqrzg95yq2hxrk        BTC                              18.34067258     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qs5f2kcxjrxgmg5yhklcaqplwe8pna8ryx8fr33        BTC                              18.33407219     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qejqcf4lq07q2slp2uy38gw8e2j9sc7lst0lveq        BTC                              18.33127257     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qw3hnu7v25hw8khfwzlgafavpxgrhkjrt9hce8q        BTC                              18.32537220     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qga8mxlmggh43me436jarf64x5s5gk7udz2fwx6        BTC                              18.31620000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfkr6sg2nmxpjrdh5hjaatzpnx93j0llnmqev3x        BTC                              18.31331835     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qcna0xhl0fy4390uzp34x9xg2esxfpj2ejh89h8        BTC                              18.30964622     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qhq64jhsful4n2cqcgylg4cy7pdhqrh5ml7hnml        BTC                              18.29710000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qhxtcw52tl33v3srpstk98hqwrxatzr3sv4dv4v        BTC                              18.29477263     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qg5m6th44wxrj5mqxvmuz62dug4jfap8l0fkfz2        BTC                              18.29117265     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwuwz4dgr7r6rhf5zumdhx7qe2eyggwu8zgkvcm        BTC                              18.28557252     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qr3dmw4vv2mktsgsn0jlgy467xpvekcfrumsu3q        BTC                              18.27657270     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvndtx85tdyg8u2mr4qlpa084nhtcj7tk5lvlhm        BTC                              18.27503476     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qv7n59f9qcr4frjmgf6weygtsv2k9zmmyrnja9t        BTC                              18.26117270     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkw2n3nysxe49afdzqan3c4wrmpm7x4khk5hesx        BTC                              18.25237273     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzfjkqgedfqhl0wmqhy63w9r5r7jr42nlfk4lzk        BTC                              18.24657274     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q89emdasydum0t050mc2nnyecuq6n5k5ugm73mj        BTC                              18.24617272     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh6uyr0e85cy757glzjlvevelns7sq5zq33wmea        BTC                              18.23437258     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qhprvahqr7822v2z52d30g0c5kh6sluepenz3uv        BTC                              18.22517275     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qw0n00nnt03edasq84s7uewruytedmsxvyma8ju        BTC                              18.22437275     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7hcvntw9kplc3ngtt4jfxknaue3tsmywcvgswe        BTC                              18.22227275     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyvhmdz9s8dem8r8fv29eghqrg0epx6ex50cxmu        BTC                              18.22207276     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q293xfezr6m2qewfyewyu80z6s0cepvmdu3rdxv        BTC                              18.21847276     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwrx6duagac9yv6fdcgz4u4tz2gkrg33ht82v4n        BTC                              18.21497237     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qjfru6ucup7vj8qz2yle6jemlu7pkwjzywg4rmr        BTC                              18.21007279     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh2ewjjmfyy8vemyrg4cqw9m88s5ee49n3ay8hj        BTC                              18.20907238     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjd86dlzsrelpkmkqx90khrz4kkqy9rzakjssdm        BTC                              18.20587278     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8nu6dvtngfnr6xczclv45s60yqn9ltvy96czmt        BTC                              18.20027263     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvtyg9kv27uyp5mj87p7fkyur3q48cexatwms38        BTC                              18.19987277     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qmd96fl4uj0mcear78ujxw2cvhxvskz6y4xrgkf        BTC                              18.17468751     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qdvchv3wayvc75ha76h52y9074g8dsn5279aqey        BTC                              18.17180000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkzceuneeugyjxzkk7zwyf3cad0yzfga6a38rll        BTC                              18.16427284     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlyrqyd3arfqknscqsj5w86x3whwnyzqhr3t0nc        BTC                              18.13967288     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrv3akdwyx7mwgn89gvnmxu0d63qhsp2xc9as7y        BTC                              18.13017289     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlpkg56jppkdkj8vrfes738qc8z29wcf033ky2h        BTC                              18.10197280     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2dp55p9uxshmmt358dq4nwsac9qpyrddg45cvx        BTC                              18.08347257     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm4kxuzsy40vzn2lgnv5yms0wf3c3ejzrp0a93e        BTC                              18.08137283     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsa23gmyjftuhva8c38ke8s85fp0dgqallcdtz6        BTC                              18.08095643     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5n374np68zx890j22ap4pymc8mmcs6npx0j3gv        BTC                              18.07767283     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qx8pk0wkp497zellzge6dzrc2kp89tduw2aazcj        BTC                              18.07357258     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxgqj0nltrkkx063zmv0wlhqfcagxz3extjw4ku        BTC                              18.06067260     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy7ukgk79tj09tk0k55lytjevehsxqjt2f4y58u        BTC                              18.05327261     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q58gjrx5pvlt0334qpfe0wm594nnvx8ravptum3        BTC                              18.04530000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2m6zhyrw8vn9c9vymsrk97wnwm2hdrv5w05c2j        BTC                              18.01837308     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qc26qgxphalzqvc7nwxxlvh4a0usmu9t98ctmtf        BTC                              18.01387293     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9fxylvdqanxfy90q3ylz4anm4l95jlsjcj2af0        BTC                              18.00291882     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgels4s2g3h9s3szc8r683pul006f9e96fvxzze        BTC                              17.99997311     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1ql378jp46tdsq25svqdajw6fkxhmmptpzkzfr67        BTC                              17.99498779     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qhfueehzprjl4v6p6p2kyv898svghj7xpkkceh7        BTC                              17.97668782     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa52qty4j2d75kyp00yw76ylfutf32h9a7a249s        BTC                              17.97027313     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qj78mrl68hrva088ue27cluxuuumkmm44sv9lfr        BTC                              17.95887299     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrnkndmd67qet52hmlg5ln7ea36jwnd6lyemmhn        BTC                              17.95207316     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qst8nul8lpwf7dd76w9tycwpmft2w0kdvu7fta0        BTC                              17.94697319     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmwpe5p0p2yvvwytp4nfzdwmel6d6tqg3ak2g6r        BTC                              17.94567319     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qthhs7jpzgau79vvj0ewfymwkpzrdye2fndcggv        BTC                              17.94537303     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh33ekr0ceah5nwhk5c08vy2638zvl62ytfnnuc        BTC                              17.92547318     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qvv83gwf7dyrm7rpnpq878gphpp34sk535ctfy8        BTC                              17.92027321     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9a55emj0l6kd2g7sevd9msjwmchcrfd0wclvd3        BTC                              17.90657323     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgfzq6eavgcnfua4p00ck9qkkpyxsqhcd8dhgqm        BTC                              17.89904684     2022-03-29 22:54:53         2022-03-29 22:54:53
                      bc1q273ynplrkgt2fv3jsd7qwk5rfec8m8rxmv8dxh        BTC                              17.89747322     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q6x9p8n756j8tg0wl8hhau9hmwgukgs93tw08ka        BTC                              17.89730000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qk8kyfv2aluu5ql9kmyll4je69tsl7nw3t67mqt        BTC                              17.89547322     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qvujsyhvyj92u6hz2wy5986sgm78p9cal3kj67w        BTC                              17.89327327     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7g53yvduhejqvf0zafcttepnprf6xrey4uml0d        BTC                              17.88137326     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qe6fkkq4ymj64fs8hqmvtvx56dhmulvmyc5j27r        BTC                              17.87230000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qp6k37n80pqjmu0x3d40kytq0nje5wdz73cqylm        BTC                              17.87130000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2andfngz0n94tfn9pl0u5xldnxyf6nytjfylr6        BTC                              17.87010000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6lrlw2h6w8tjmzssz4mgymm67jg3l90mam6uha        BTC                              17.86582038     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpzy6cehq8ru38r2g3v5vp4nquyflfmea3hrd6k        BTC                              17.86117329     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qla0q0szazesgacet797edpsfe7alt6hmywfu7g        BTC                              17.85837314     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqej222ampvkmx500kd8fdmcze9jrlxnju5l7q2        BTC                              17.84887331     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrltkzlp632rrfasnzdj8cewkhznt2xm564vujc        BTC                              17.84527316     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3lgjwxnyauhzn9xhje7fnj53hnn2e6vjkhqnkw        BTC                              17.83937294     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qetgnss9sv87q959n85qdsfqj92krqfvf8qg90r        BTC                              17.83827335     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3wf7m8twmzsz0yljlxml9dr83k4qlw0d7a8586        BTC                              17.83617333     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qaakx9ccxm4ejdpg2rdsenefylyq47t4prrqwy3        BTC                              17.83357334     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzzwclnfupsd5ezp45xdl53e9dgaqjsazhnd24a        BTC                              17.83347318     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmas7gl8mlr02rgjzuvtnkcet0k38kf5nxx94xw        BTC                              17.82337337     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkee4hvx7rdk72t99742u4y26afsqwfgn47g7qz        BTC                              17.81317337     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsvu6a97cewcayp9p8c9weg6868kgu8t02gazr2        BTC                              17.79507337     2022-03-29 17:41:00         2022-03-29 17:41:00
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qgkh4fkz0tca0dms2qtt2nnd7esxzq358hg6c7z        BTC                              17.78727325     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qr0ph6em6wd8yjtp32620mff08kmq9z2vym0e66        BTC                              17.78437341     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q477umc0ddwtrtmn93wgp5mmt42wfq7av0srkz5        BTC                              17.78120000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkeq7sqx82s7a4s68nnx5cjrpp0e2pkm42qpfjm        BTC                              17.78107341     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdfx02yx658zuzl66mfpy6r0qr0hvhwmzwf7u74        BTC                              17.77447342     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpypyw08mx4mf5ee0gr2rscgv0duq38hlylczr0        BTC                              17.77427329     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qn2qf8c838mxsvr7y6ar2zw04mqf74k3vnw4qrq        BTC                              17.77247343     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q853y8zrh26t4xtmlvgafauz0n7saz306d32a0w        BTC                              17.76677305     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7edewee7ut2rfern4yxqg49a298248z68x293k        BTC                              17.75747331     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnlmmq60guf0edehyra69rhj4rqd9h0azuu6cl4        BTC                              17.74867346     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvw6dxs6kdhj8u5kcgfnjv8fl983r064ffrl9ed        BTC                              17.74267347     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qna05mqqqsujy8asjaymtcqykjld65ptdcesw7j        BTC                              17.74150000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qx0562vz22dgrc9fhkmqzk7cqllq8uah8qz7509        BTC                              17.72257352     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4aenhc7yap5u0lxhjhuvyc8zz02esr4xzc4fmp        BTC                              17.71097336     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q36049yfh8mzwpjkumwmd3pfu54p66kcazvgjgm        BTC                              17.70877352     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quz6m77rnhpnz2yul53nnu9wwjpmz6ug2wfup0r        BTC                              17.69384714     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qfyy963yh2tuajevmgklhs50mnvknwk0mrqww0f        BTC                              17.69107357     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzmy8wn52ww6pjr5e79rfxtj7cakusnpfy0tdk9        BTC                              17.69027340     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qu9lef3ygs4u27ypfgykuj8aflqx2ygka4pzxtd        BTC                              17.68087354     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qmrtwmzurmjuwdk7zf7kkkgnjrykgzkleaunvsj        BTC                              17.67114718     2022-03-29 21:44:59         2022-03-29 21:44:59
                      bc1qh9h9yex38cr0fzgfl73cwm4mqnguy9j3tny649        BTC                              17.66197359     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qs607mf7xnd2l3tlupn0jept73lrwk4sqxnxtw0        BTC                              17.65624720     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qz9yr2g6jfp68zu5r896nhg8x878jw4s2u0a9pe        BTC                              17.65507360     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q239mqha9sl63rshcc9lw475re064h0c7rf6ta0        BTC                              17.65327322     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvta4txfe6xqqkc9yp5qj0s5vfhmsmswx2dg8f8        BTC                              17.64877346     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qex0m4f5tuyjjndn34xwywyxyu2v00hk5sdfuj5        BTC                              17.64757323     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3cp58td33rakrxvu32txz6rc6yzt9jstjrgp8e        BTC                              17.64127362     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qympmkjcshwq3e4fya6uahn9cs95sh8lmsz39uk        BTC                              17.62477349     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qxrja0dvgclxlnw89mx82ags7g8d7g364zufzp2        BTC                              17.62120000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa4rvugfr0t8dvqg76fku0s69q4zlgg5h5lw870        BTC                              17.61497366     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsse3vsrqmrz8uv7dewpssrze33azu66hjdcqtc        BTC                              17.61447353     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qg3dugzmtvwptcfe3hurrwqxqtpmpgjcvynp6ug        BTC                              17.61177367     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q927qphxxyvzae78v7pl6leszj6a548aefyjwkc        BTC                              17.59784243     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfvwc42gfp3r7kp3nly95r904jsmu3992vg5x9g        BTC                              17.58697368     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q5n4h0wc55e7h9v33grcgtrlt8ed75dcgr7jpe2        BTC                              17.58117371     2022-03-29 18:18:34         2022-03-29 18:18:34
                      bc1qjx4hdmhd7sz6tay6y2ejy77a76z5mmc7jjswzl        BTC                              17.58077371     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qphwx4t4y8h54f0x2rqas9uwk4vpt7qkh95ezuw        BTC                              17.57967372     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm7m87slgnmeczjqjyk6vgvutjnlc7cf28adv3u        BTC                              17.56967373     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy3fc8c0qkcgaznsfnl9jyqmukw2zu9h7zqh0uz        BTC                              17.56807371     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qv9xg22vxu4hzwls88z4c9pcn7pvnee3kkv4vpg        BTC                              17.56374734     2022-03-29 22:18:04         2022-03-29 22:18:04
                      bc1qdshejjvvtpan734tgrlrw7xnq8ux8v850hfpjf        BTC                              17.56117374     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q33yp9xsvqgkns0ll3h84uwsfchs8zgvmv3zy5r        BTC                              17.55897336     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qv89nj064gfsap0496wx63pjfpvtl24rwpylq6h        BTC                              17.54447361     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q70tnw385wpef8phwwpejsz62lpq83c0ycp98lf        BTC                              17.53208849     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvuavw2qrg8chdfcs3l86c5y96tv7l82kvzj746        BTC                              17.52577380     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qahsafw7fvn23rrlgv73hf2hc9keuakgvxr5ncm        BTC                              17.51377343     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdn38jpaj34q2p5jpadc8rtcadr2h6ak9jzzpd7        BTC                              17.51194255     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qn80y0czc8zggp5cgfx06ryn4h8j94z9r05zspl        BTC                              17.51027384     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9xhyr98jwutaudgf2pjx2dx9v6cync8pw6vhuh        BTC                              17.50527383     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2f9p6063ye9dl6uucxx6ekv8saxtd3zz5l6uzc        BTC                              17.50237383     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9adsetpcf0skxwhfty7xfptlhtwsknwywnde62        BTC                              17.48827385     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlr095pce058ecuk7hffvgqnx3n67x75g3dhpkd        BTC                              17.48750000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa4qqewglnl380pc7qrnddky9tpc3w6gc8kyunm        BTC                              17.48447372     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qspljw3t8rpq47kpxctypmsn50lsqcr32yaeyyg        BTC                              17.48377386     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmffa7w2ftkhggwd5ylcz49vujr7v2sgg5ra5xa        BTC                              17.48177386     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkyg8n8ff49fkx588skmq6amgpqd3dkq35d6xnn        BTC                              17.47947387     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qycd55frpdxyrl9chsr9w09zqdlw95rduhhtzxe        BTC                              17.46717390     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qw5xxrh07uqcld7gtydujgm2w83te5gv9e7wdhs        BTC                              17.46479976     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjphna0ww3f7k2npentejvsg9tujdcvvg94m7pj        BTC                              17.45994749     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1q3utx0uzvrtweuxdpr3h8wckayfu6fjlnrzpyrz        BTC                              17.45607352     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3gedu9wdehr9azkapmtagxrqdthanj5mff3cgf        BTC                              17.44727376     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2c9sywyk4pmw26fqq4yrghwwqwesxg8dk0ktt6        BTC                              17.44547392     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8vpve0q7j5gajz0sdxw2m8vfe07ssr84q53uvt        BTC                              17.44008824     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qg92s9ju9uxm6qhdqapp8w4qzpuf7lu6t7uqtq2        BTC                              17.42837394     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkhdf0dqgqknxs66zw5a2z9p37q52zu5d8ctakf        BTC                              17.42697394     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qd492029qfmn94x949s365cq0ccz8nnnax5jenz        BTC                              17.42187395     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnupdpftl05m5u7tjwx4kaak03ehcmy83eawa4z        BTC                              17.40614757     2022-03-29 22:51:22         2022-03-29 22:51:22
                      bc1q98l23jyh0pzjjvcm7sxf6uutf6fa3cg424mkm9        BTC                              17.40237385     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlvjvfjagucqjrsx8zs8lfhs8jf6raptj29x7t8        BTC                              17.39500000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q39j4a6kahvs357krq03jpwqwmnlgyve32tdgxl        BTC                              17.39314759     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qpvdct69ftrya5t7fwnk6h35lxa27mygy0efpmv        BTC                              17.39307362     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3wjcqgj9vnzmzce00qkktesj2f7txxktv0qap4        BTC                              17.37587402     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8tfd6075kg4fsdufkge4vfqr4lldgpfcpj8nn6        BTC                              17.36457402     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qjlcmny5g33nde8mgn7rgqh798myarf3ckcgffs        BTC                              17.36307402     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qy6w93xfg00jtt9ztvwt9dc7mk9w2f7j40zn0yf        BTC                              17.36007402     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qr74wp5yqru53j66tnr9zzn6ym2cv6zt9n9wpl2        BTC                              17.35980000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q09kvn3vt3dun8eqwjz6h0gpnepvrzpl8csxhzs        BTC                              17.35977391     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvraw7etwk5lxy7tsgm6585rdak9dgdu3yv4epd        BTC                              17.35330000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9pszn2gtp9wrktsvjpdy46zcc8qv46kzyevndj        BTC                              17.35097406     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q86zhgagnhgxqaeg0frrnrtvnvnm49dm6avyxez        BTC                              17.33464768     2022-03-29 22:54:53         2022-03-29 22:54:53
                      bc1qna9ttyfa7mm2y4n6ec9kjp9talvzdw0m70mapj        BTC                              17.33077411     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q74vwy0zdpuw42rdtpekjfsag5s649a0jh5hyvl        BTC                              17.32887394     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quj7yzgu03c9rkf6w376rpqz4wqd5dsvdfgnaqm        BTC                              17.32154770     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qx3w3ddsvttrw96gesyjwnww799hqhtvh2er7q8        BTC                              17.31357398     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1q4l5zr3d2t4w6xxeqmscathk57qx2qd6w2he8vt        BTC                              17.30747399     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy858w4sv0ff38cmq688aaxa7y5mumzc29lfgla        BTC                              17.30647375     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwq8t0xjxlw58u4jx6gn3spv4g83a49t6c4yw7k        BTC                              17.30070000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmjgre9frcukyuz3luhc5ujmtxee3k57ydu3ece        BTC                              17.29389625     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4pj728nr0x9gnl9awgl2yqxq6daw8ng5t6u94m        BTC                              17.29167377     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa0m4897c8fs0z99e02lwfeakq59vkd2mvw9qqu        BTC                              17.28997413     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qtgrfme3727t7cas3quhqxv5v7cnrpyf2pxfaw9        BTC                              17.28707415     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q039vd4zt0xhuydjtn0vf408fm7d9awtp68y9fx        BTC                              17.28490000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qad9xx5z9agzrlpun6c5m4tdtn0mx47sekev9e6        BTC                              17.28274290     2022-03-29 18:18:34         2022-03-29 18:18:34
                      bc1q2kxzkws3wrupemv4wfreyepjqphgq3ptywcjdw        BTC                              17.28097416     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgh6079nr7lzzk3qegthyah8l3rql5pz7zzqdzk        BTC                              17.27454777     2022-03-29 22:51:22         2022-03-29 22:51:22
                      bc1qfc9ggl28fhfg6lysh9efxmeq96vly64d0ge6l8        BTC                              17.26250000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6yk906f8zg5c7u430qhyppw2qr6mrdtgh92k5j        BTC                              17.26007417     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qkjpgmrxux58j5cqrurn0gjyxrv65qtet4yvysd        BTC                              17.25887421     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqgv9umd09j2t83mmm9sntlzd3y4wravu9uxpqm        BTC                              17.24347422     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qg06h0e2fkck49s85elmjgpeksl8z6vlzudp5ra        BTC                              17.22587424     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmu7nrte8xpv9mcxh9xr46vr5qhg7aa7jejened        BTC                              17.22160000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9ydcdfqg54n5ykhhq8f8j7nlgf06mhy9t4edq4        BTC                              17.22157425     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qahth6sxavc5dkj9t3e7wrxgh7jaxwezp029pw5        BTC                              17.21717426     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8dux5j7e9ywsnf3a8qm88vmsfcl9lc3n8k40we        BTC                              17.20587426     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qmce2eeqg4vajsm8e2ptxdwjnpgv2pnz2w4gp8g        BTC                              17.18397431     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quvd6ylgpeqkvuczudgny9zs3q9y29l6csle7ry        BTC                              17.17935443     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7f9f3ljtyanq0j354eupdh334ca64k8rwlpjhh        BTC                              17.17917431     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quyfh5gxkh6ug33075lat32874hlsx0keexl3rl        BTC                              17.16610000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qq5nyvhrq6e8wesklxggjt9slcmdgzqvugn8zxy        BTC                              17.16257397     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjwg5dg38nq8shwjtupddece7ct95h3zdqag2lx        BTC                              17.14827436     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfzeyq8ls0vlaf94jq3a9gsxdmyv9pzwgfl3dxe        BTC                              17.14827434     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qkjl0qq0myhvsk348ljg7s80jg5ek726ud267c5        BTC                              17.14477439     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                   Destination Address                                                                 Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qqmgewgsskgt9wpq380ufnrxyl4ev78nzcmypkh        BTC                              17.14380000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzxwla5xg0a8fmkdws9laf2drmexlgjekjw5k4u        BTC                              17.14207422     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxfamn5cf3mqet9kuqgnxdxtu359nh0y3l99g6z        BTC                              17.12897439     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q79tjtcfjlrp3c6f3eprxh3tk2ztzlt552gh09z        BTC                              17.12877437     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qz0qlm0ng5zfayg6hlvseq76tphytvd4en3g5al        BTC                              17.12127403     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdcx55n0ewspttrhdyp0zk7aa88kuyh0g607272        BTC                              17.11457426     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpvh3n2rrcq7m9nay6jftdq24fw9zga9jauzzm7        BTC                              17.10897442     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q32lz5jeuet4rupjunwtyztaqer7gy8wvjf5y63        BTC                              17.10710000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjywp9vdawmhyumrh84qve7j7dhrwsexalk39p4        BTC                              17.10624802     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qmm67kncsdctzu3yk9km2wxzmec3a5yyvp7wm9q        BTC                              17.10617442     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3hruu2el65wju9q856jzqck9nua3h8n4l46vqr        BTC                              17.10312016     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdelvj0cntnsnr5tzw3ytle9xq0nerjgfj25na5        BTC                              17.10167428     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5c03nrf3qqr28mnr6mek6zst5ne8lxdf973s0r        BTC                              17.09887443     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qf72kqx9q6lhdnv4vdru20rr2pfvdstdqhlehvq        BTC                              17.09497442     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qcchjkmxl7xgf63n0l2as77nvkrdjmyh5ch30jl        BTC                              17.09257446     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgl0u8ddmdhm58w4zmycfjpg0ga2a89tkqd45gy        BTC                              17.07867446     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qu4rg97mfkufy5y5ma96z2c5qt3z6ftzjynng0y        BTC                              17.07760000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy8erl2wtamr09dzlydyheqm88wedcspra5qqmt        BTC                              17.07487449     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdy2x36tju2y7aet2h6lyl30eat5kyw6r3zsu77        BTC                              17.07077448     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qajcw4w7k5u376y4m5m8mmsgvrklwczpypu3dk9        BTC                              17.04857414     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrf2cmmcdjwqj77peq3t8a0xjw7cjarscs7vt2x        BTC                              17.04720000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyaglmhwzrrnrt6jelhed5w49m63n9amlg42gmq        BTC                              17.03897450     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qz33kny7pznvfxy2stpp9us0me25nfkvl2vyjz4        BTC                              17.03747453     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlvyz0u06npnclzjxnmuzk4qj9nfuz47yf0jp77        BTC                              17.02950000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9juxgm8rvpjrde00eqk4rhtxslwfzyxx3yvmcc        BTC                              17.02830000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfj60pmjg0w8yn880hz7e4dsj5m5qmdgdc4zeyw        BTC                              17.02564814     2022-03-29 22:59:22         2022-03-29 22:59:22
                      bc1qhnnthcz7fjg2kq79ppz29f4j9kj9rnzwqnue9j        BTC                              17.02487454     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qx48qx802tqdp3tfns8x9dpyqrkrejx9rm5nlnr        BTC                              17.02477457     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qr55lp8f0rrfr7uqmt47y0g5vz7vxua47zdm62t        BTC                              16.99784330     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1ql38p4tmx4rx6xjts5vdsafwk0dqd4u2wv2xec4        BTC                              16.99007460     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfvsll9fs4nc6e7l57gnjfaph07arhys0q866le        BTC                              16.97897461     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qt86wmxwz2ds4h5pp0xvgzhuk0am9hl9894dm3y        BTC                              16.97877461     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyhy94mtv2222a5jmqd9wt284akrtu33j4l23ex        BTC                              16.97097426     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3kd7h8yg7due4kqxcz7c9jt2mu37qaqnl9rpdv        BTC                              16.96477463     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qq0p36czn34u22yhc3mpse3ga682fnjh0puvj0v        BTC                              16.95937462     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qmt7v0rfmpylfp56cd4g2k59g7cga88fe6fn4pw        BTC                              16.95537465     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxvlpltu7382mqasj590xh4pcgwwev5vlmf2983        BTC                              16.94897429     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrym0uu3hda5m4fknrl70ma3k684hdya89m909e        BTC                              16.94087454     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwn2wq324c69teyr0jzdhvchcdcc0nfm3x6j7hk        BTC                              16.93287455     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qeahsnu76jxk2420j5l0swy89m0zu49s78feafa        BTC                              16.93177468     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrkgpgnglqffggapztz9ghe8stcugkrys6qa0fg        BTC                              16.92020000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5mesfn2aqr2246u592ae9cpsp0xykx87ks6mwd        BTC                              16.91697473     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpw8t005f60w796a5xduytlp67kgcjlk84xz332        BTC                              16.90457458     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfg0jhxgvfdd792vqh4dspzsgfarphhar3fexwk        BTC                              16.90397458     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q0dqf3tr7736tfps90mgp6q0ly9ec083258ej85        BTC                              16.88774835     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1q6dayfsc6nk7k04zf2spg2mfrn63yllhcy5jcjd        BTC                              16.87500000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qw2gm6tp7mx7fad4cthfsjgvgeqz3wh5hy3vxaj        BTC                              16.87207477     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qern6wy38r6ywuxgyfk0jm02ht026ml99a80l7m        BTC                              16.86780000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfp3t8f54lyq292kxhnsujuypk46meug7nnvwu6        BTC                              16.86237442     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qu2vayv43yunhdxmlty2mrsys9glesrxmyxu70k        BTC                              16.85717467     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qn8t5dfg6zs9y6n965hc4h5sq04dk6pv0vfr2yc        BTC                              16.85684840     2022-03-29 21:44:59         2022-03-29 21:44:59
                      bc1q00rxugd8hnjee95gklgxmuqgm0jps0yl87rzm6        BTC                              16.85460000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qewv39t6df7yaztsd8ad7vn4lxdg8ldgdzz9h67        BTC                              16.85332374     2022-03-29 21:44:59         2022-03-29 21:44:59
                      bc1ql6t0386r4vlrt8gscm3q0erh8cx9q5hpudx9ke        BTC                              16.85217478     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qu2tf65aytju5e04dz35ymp9ju0t2m0xw5g9u4q        BTC                              16.84790000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzgzrm5x6kmrq3shp5a9skx4xvmwu6m4celv0hc        BTC                              16.84637479     2022-03-29 17:41:00         2022-03-29 17:41:00
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qtuy9zss5kxqq0ymcqt0xf0f46aqdxfl5sunp9t        BTC                              16.84577481     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpynj53zs2hxr5cjnjwus523g6jqspasegapyye        BTC                              16.83947482     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qel202s28zxe5cywum80ca5phhpqz604f079duc        BTC                              16.83480000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyx6h2sl8p5p0m0aj4nm8g5ch72l5lcrt7ylmr0        BTC                              16.83387483     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqaruz7j67hx68l5478u3hmfwyeernscv6mwf7m        BTC                              16.83087447     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh6v0tm6jx4azx5a4suqvjatlvje9m4yjv32w0g        BTC                              16.82640000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8uxv4aykrnkgvjdeakh4mt2k5ng379ca3cxlaa        BTC                              16.82277485     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgaa4leghhd2sjxjrwnfgx7v0re35u2s4q3zjyx        BTC                              16.78867490     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5hl230ne5mcnfl6mudqc6r9e6mtzjxwdqs545k        BTC                              16.78537490     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7q5tp3cxyjv2jmp4a0uv0h05tctxkvcsmrtf44        BTC                              16.78094363     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qvcamupgqjsglsp7d6kjzkw2y7m8sqskzssjmt8        BTC                              16.77947491     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmwvllgzg0nmu6lt54vyrwldfnpnrgg5jkxr5en        BTC                              16.77677492     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qtzk2zu4vcw0eq7793lw570j0cum5sjlqfmwsp9        BTC                              16.77597490     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qvkgdc5yp3xfsy7mnmrfqxdpnew7qsn2vmuyqz0        BTC                              16.77207494     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2x7cl4wmrsxe7m5s7zfkvpj752lkfegrax2gcu        BTC                              16.76160000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q99q95dllhw7kggfaysrywg4ukqylv5qjwre9yk        BTC                              16.75967458     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qq5ryughhrrnghpd3nfc07etfpdeuy4765u0ec3        BTC                              16.74874856     2022-03-29 21:27:37         2022-03-29 21:27:37
                      bc1qneayvahesr48l76zwywn5srtxrgk5sdedhxufe        BTC                              16.74597482     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqdv8xzd2w8es8m4fz0z9jxl2x2zl96rmr7q7a5        BTC                              16.72537487     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9ar2k774pv03mpm2ss5z6m4xegjkjsalppq90q        BTC                              16.72337502     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5zkyaktqq73zml0xgpwcwfc7nf0fqgsrce977m        BTC                              16.72147500     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6ehvxywk84ue4fhle5h6cdpzp5sd7ckx4fh8dv        BTC                              16.71347465     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1ql8ul7amj8keq78tfnkw6qfclee9lup9n7jpp9z        BTC                              16.70947502     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5xuch7swp283avn3asgqhsxmzc237fcx3hda3x        BTC                              16.70110000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrq6umk0nwgwt8s88f88my0ms5uep85d4z799qj        BTC                              16.69957503     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrc3v8gz9a7a00yc3wl2ymxza8pfkfvs577d6jg        BTC                              16.69847503     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qg9daljpq4kh5206mjr2y48cyrsr64wfjnt9zk8        BTC                              16.69537504     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqzf6x8ph8e8zgzvjqxw67umk3rc5vx66j66y8d        BTC                              16.67897508     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qm3xx9xuu64awff3r2p57dplrd2jtl2700ad2zy        BTC                              16.66677508     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qce5zz7gfujzvuw9uk8q5h2wa4wx9hn3eayn5x3        BTC                              16.66227472     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy9q9s2uucgwxhc669wstq2hz6lr0ycz8w7guv0        BTC                              16.65827509     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgkcs9szdgcxtpfqheu0kpjc2k6v7slmza2pcka        BTC                              16.65647495     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qt93gck3pljrenr8fcvsgj4cees83mdsmp9cwag        BTC                              16.65437510     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdpnhpwqyh7ag2ktm5ngg2azn4my4rs79r4986q        BTC                              16.64327475     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmj0rl42r5m6w8tfrt895smwmgxjafk9llla25h        BTC                              16.63014387     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9djway5wgqufx7ek90dzanqwfdt530n43syqlg        BTC                              16.62667514     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfj2ma0j575peu03nxqgpvw3rqtdhzsa99k4dyj        BTC                              16.62187517     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qw3lwdqs0scz4ljjtc24j3y3pq5jg5t9vxzjvcx        BTC                              16.61124876     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qavxzld6x3pacdwta6vyf9x452r2nu32m8n4gsw        BTC                              16.60677481     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5ntmsj52de6mar6v9swndwsq802lfesfc4sce2        BTC                              16.59967516     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qmk2v5pgx8nxfdep2qxsv088579aldrzvepz0cy        BTC                              16.59800449     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qn6gzalvjskxz64xhsvnvyqy630ruwfev3496c4        BTC                              16.59774878     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1q9fgjrapqvxfpk6f3cphslatfcnzvq5uzncerp6        BTC                              16.59657519     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsntqg43wz42yqa6xptrdlykun488kvkz3thrqh        BTC                              16.59107519     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzwgw06h5f5v2ma5t8q0xrt90r85n3gxkt3049e        BTC                              16.59057519     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlh2wxns8hsg3euqwhv95hq5zft6yvt8mh09cr0        BTC                              16.58457518     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q6rmfscn7gk7zkafjjl4np8esle6zwxm0yahy7y        BTC                              16.58427519     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qtfn2v5uyg468f6cdthr2gvm9fqsh9pmys2upgn        BTC                              16.58354880     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1q4sk0ewg580ugmktmqgrct586n5zl466dejj9mk        BTC                              16.58037506     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnkpp8r8u89r9az3fu6j867nkm4racaltnynpmh        BTC                              16.57927509     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh5krv884hv7rfj4amayg62wye3j6a8xnxshxp3        BTC                              16.55197513     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6x06yznh9l0ek9fvpgy7g9e8r68j50entp9xz3        BTC                              16.52650000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5d409hce83jxy2c7f4ajqw894ha4jfhs773ynw        BTC                              16.52200000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjss5dq5qdu6wl84q4lgug577np70p07gd9yzed        BTC                              16.51567533     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnc9zc582hdxlvph54d99gnevm4e4c3yr9a3cj8        BTC                              16.50857534     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5p20szt49dlqpjputy95qry6x0722q85qkh0l0        BTC                              16.50597532     2022-03-29 18:18:34         2022-03-29 18:18:34
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qr7a05d4rxqres3mhygdnj75fgynwvwsgkx56fu        BTC                              16.48967534     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa08lld2hqht46tk29rwk0cpmlz02hszm9pmypf        BTC                              16.48637535     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwhzukdd8xtjylule8qu9t6f5hcrqk24vuwrl3z        BTC                              16.46877523     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8h9f8d9c4llhyx0gaeuglzv05cuurz5dj8r5aq        BTC                              16.46717536     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q5kleet4jkr5u7f48tj7jwvej9llenl8u892w0t        BTC                              16.46547536     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qggqvw6p3xa6hhdkxegxuzeds75jr2xccs6528s        BTC                              16.46497536     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qsnwzd9j3ujj25xlzcccwxwxew00kp4qagp9ur4        BTC                              16.44937541     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2qq0pg7982x2apv07mxsl4a4g8h5268k7kdzsr        BTC                              16.44107540     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1quenruqdr9kzwy7ls67n89gs507nj3rtvg22lt5        BTC                              16.43897540     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q87fptx5f4qvqfw5lq0qzygj2m00v9kgjsxv0we        BTC                              16.43737528     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qragv07feecp0vzpyas7vfxvj8ulcs9kcx5yydf        BTC                              16.42747544     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qhyguxptexhal9qaeghrcfl09xy0s9pvqlfxyxs        BTC                              16.42417544     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkn2s2lx3sg0ce4sxku52gkdy8x0pn96tghy58e        BTC                              16.42207545     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qg9dqatyffd2kc0c40feck454jgegvznc2pnt39        BTC                              16.42177545     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7gkm6cyj7ugq5p4kgxqu9myreepulamk4fry5h        BTC                              16.41997509     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6c40rhdlenkrjvvgkn2276trnt0ujwyrwg6jq2        BTC                              16.40397512     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qplc0rmzyjj2wxt4456uf8zcsacawgm5plgkugx        BTC                              16.39317549     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qz7fa4v07kc5ygp86yy0np0n6dgzhusekvqcye4        BTC                              16.38677536     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qncncnjwggfaewnht5sk3ngrqg3me3tpyh7y022        BTC                              16.38297550     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4dxwns5aptgw0aqsysanrahfr7rwnw7wvq9pef        BTC                              16.38270000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8v8fjfrvuj96g3r27veu30x20qvnqe9w9es3c7        BTC                              16.37827549     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qe6f9jt0zzvzqwf0uz4q5fgwfj2wwrk50eztufh        BTC                              16.37707551     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsr6zsuhsx8dd7dtwddcf4ajvfn254peeuh5cxs        BTC                              16.37617537     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpqtm7ds9gm2nk4ukpwr9d0ywjnvhfvjvru06tj        BTC                              16.36877553     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdcv0vqy5p87d6xarcg6d8r0njz0ryxlj6qfvh0        BTC                              16.36852488     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwhc6e6swcacnze90rvy6kwjg94wts7sw0wnn0w        BTC                              16.36567539     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q22jz2xna50hzcj8ueekq839w739gl5zchegyef        BTC                              16.34877543     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qf725j4jtpq29evxxkk9n3xru6lv3t6tyeedz9p        BTC                              16.34407556     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1q3zy4ejyt8mw4mewuam9d08cehta6v2n8ql3v00        BTC                              16.33597545     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qhscss3f94wvpjrxuaf7vxjte0wdln57zg58l0x        BTC                              16.32490000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qcs8zdrhx7hav40tsm3q9wcjr52g8mfr7enxd8m        BTC                              16.32037546     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8yxnhqczr28l3eqrq88cl9ksq5cul0q3mlt5h4        BTC                              16.30587562     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q79zfm0k268cy6xup63hhta6agwn0xkccmxpsze        BTC                              16.30497562     2022-03-29 18:18:34         2022-03-29 18:18:34
                      bc1q9s06yv8k3czdmats0h7uqlfv9l79spjaja55dc        BTC                              16.30357562     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpktut59ykd05kms35t30qjvzw2qyjcsfrk95az        BTC                              16.30320000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q0q6dlnhmr5tr8p8lvduz3h5v830kjw0gtfl480        BTC                              16.30217563     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqrx4ypw8nlt5yua4z0u6ywpdlqs5xmpd45mvcq        BTC                              16.29770000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3rw87eq9gqmkwpeg72twgz2pm86m70k8v83fj6        BTC                              16.28807565     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm7mkye7zfl99mj46gk3dlmsxf7d82nkfhlv07l        BTC                              16.27214927     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qvvfc6jjjpc3gczt3cz8par34sveysppumqdsk2        BTC                              16.26967567     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q0lcdr7usfd48q5g0hyjdu5gda062dyq52ec4c6        BTC                              16.26857568     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qd5c8qfwxnppxajrlt905xpt0t64fhcllfdvvyz        BTC                              16.25131814     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q8m6lek94e6pyp6t5lr9je5pt3fj0rs283wadv6        BTC                              16.24717573     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxfgpeq0qrrfte4cp58e8qdwwja6nzrnajy5atv        BTC                              16.24117536     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrgdnqt58jdcjqy6up5gwrlpxseu2msh4mn6kg0        BTC                              16.23547573     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q537h8wdcy47c5km7wfnhjvjjmn3t3r7g9cdegp        BTC                              16.22007575     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8jwxj3zqeenc9jarjhw7x0khjpxxrj40y4kjjc        BTC                              16.21907575     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkukngqd9rv05dc0h3ynq5v9ugm2esr7swfm9vt        BTC                              16.21857573     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qhux3pl6y44j48xcpn8krfynsazac23hrwevfnq        BTC                              16.21647575     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7dzr9as3hyzp46ex9fe5llvgprkczlfy2z0nkh        BTC                              16.21227541     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qr7myhrcr87ggulu426ywgucxanrs920t9vzmz9        BTC                              16.20787579     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qr8szfj86vne4p8jr24zmyst5lg48tsg2dergw7        BTC                              16.20667577     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmyy92mvl0ex32533jat6vf8qpgfl7pen8yslw9        BTC                              16.20374937     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qd4vtzf79mtu58vfw6pjnyxkyxetfy3xt360qaa        BTC                              16.19447543     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqf2jv7382cpenjnh4sswa77w6t37w524x3lmuw        BTC                              16.18970000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh6rmq4zxzqd8cd7ngn89mm3kkc78yk3wg49p0p        BTC                              16.18877579     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qqmhqaljyusgkwetu39c0x82fktsect8ursx35k        BTC                              16.18317566     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5eny32hhz5s6mysx8frd40q6teu0qapydttphk        BTC                              16.17754457     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qng5ac5gqnqesw7mmgfpaausjzd9y7qcgrfc3aj        BTC                              16.17217570     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qctp5h0fk7ddy5csu5e7m8n0mu7jmphpuas9xls        BTC                              16.17027582     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwuttq2kujuaa5vdswesjc08m5g5nw9lpcsq888        BTC                              16.17027570     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q56r8n5j42sk3uqxxn60frm2n0v3qg4fjd2szyg        BTC                              16.16927581     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q3vf06u66x9s8dkn88586a80wzr7mgcqvs5f6l5        BTC                              16.16587583     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7tduuw6y6lmmwsyqsky8rjzzqq6z39c2tpahkx        BTC                              16.16397585     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvqtn0mffpd2hq4tjce5a0t3hw4lrc7rlxtt0f3        BTC                              16.16037584     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrlhkthdxu4upyap6phn2w3ks8795ved4gc9gza        BTC                              16.13957589     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qww46j4rnu04ahu20r3gdqtspfgmdsslfku5q8u        BTC                              16.13197576     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9zwpmadsvfpzmgv3wqsrhuy4u42hqmg05g4n3d        BTC                              16.12580000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q63gvy8jjv58sknu4ey0xlw7t9j9znfmat4pa53        BTC                              16.12513798     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6698srt4pvuxae0fgs8sgj2xqt04tutldkppn7        BTC                              16.12434428     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qj52d7tvrtpt6gl2s2eqh35w35ugqvf6jknvt72        BTC                              16.12247589     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyj807mzs9ddy2mndnyf3z8z8pvtufltweel5w7        BTC                              16.12100000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qn0hx45fwwunqehdpj0knvvdqqgjdw47m85xwh0        BTC                              16.11417556     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q488wnp4sjqkqas4rkffs2v78u3lck3eyhug3fr        BTC                              16.10177592     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3wnxhclxx3mvzg7k5fahzf6stk0ytmk3sspmsg        BTC                              16.09227596     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3zsgk08mua29ty8v57exqexngs2x2faqxag2zv        BTC                              16.08307595     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm08j82akx6lfzfflyequ389dzss9vqmz29u9sy        BTC                              16.07137585     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8038jaw6yn32gavpknd2f0wmy2tsmwhhnkl5s0        BTC                              16.06524958     2022-03-29 22:59:22         2022-03-29 22:59:22
                      bc1qvmhx0l73rv08zqn7pznz6jweq0qsv4ngeyx45m        BTC                              16.04374961     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qwu4nwleag4slspuarsjxf80sjgf9cgp799mgwr        BTC                              16.03767602     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qaprce5shp9su049x3etj23q7wd8zcc2axq7t8k        BTC                              16.01197606     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5t42lnrdvxd7s7rrsq00dn2d99wtkutmtttrg3        BTC                              16.01107606     2022-03-29 18:18:34         2022-03-29 18:18:34
                      bc1q9u7l00pzqvr2wr0cpehwj9qy562x7cpal00k44        BTC                              16.00857606     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlnssnz5e7vlgxmc6wmepyep82n70sa5fcsgymt        BTC                              16.00767593     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1q23qmrjrc340ztz4f20ge7exj778t63d6z5m9e2        BTC                              15.99387611     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qeyyj9xlaged6td05jt8rt3v64snrx4u69p9t7h        BTC                              15.98764970     2022-03-29 22:54:53         2022-03-29 22:54:53
                      bc1q8quyk463wt9kdr862fv4g6dyelz6taekgmzrnf        BTC                              15.98637608     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q2ekmuhae2pggqrnt4fuvpna4d4yf22k724mxrs        BTC                              15.98127611     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qj3ggz2u2702lnrxne2q6mkdjh60tadj3a9d0j0        BTC                              15.96162187     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa796h09yaxxpm850yrddnyw6nhr0d3u4k3mnuh        BTC                              15.96147579     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qev2370m0eytfmw6lpyavpjxnjnjp2h5q5r9w0l        BTC                              15.95354975     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1q3w830x9ndth5hmz3qp0drqzlne5apgcfu2elen        BTC                              15.94993826     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm66rkllvr2rzazcwg28wtl3drsel5fc8grsvxn        BTC                              15.94877581     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qathx9zqemzdvvmnksm8rgszxpw27ft74m5h28a        BTC                              15.94837617     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qthdsj9fatjzre5eqy27qvgvrlatyzx3wqyncyv        BTC                              15.93980000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9gs4el0c6x6q57hzkxwpxtpezgs8cxywtswquc        BTC                              15.92627619     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qt8jvfks4cyznuwla592ppa2hsyrvrmxdcatnds        BTC                              15.92487619     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrsl8txv56k4pvvh5px5gegsgvnf7x0f0fduac8        BTC                              15.91677620     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qf4rvxnu2vhwuxmt54rqkyjx7dshs953lcnr7yh        BTC                              15.90657610     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qe0tmzmf34znxna4tlzwwe9xu670q4eq65cm7ya        BTC                              15.89127612     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qd5s5vlgw2w635x325tgtm638luhewl5uk2v064        BTC                              15.88637625     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvl9uryd6uf4ls2mptzchd0gvd6269v2n4ut3z6        BTC                              15.88490000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3560zh957sj484mf3gk77hufpnpfmzmle09yc2        BTC                              15.87067627     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qz98jz72hx9lvq4jm68entqlt65k9herxw3dz3c        BTC                              15.86537614     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q0879s5jmyajr70teru2k50rjrn34s595jm77xu        BTC                              15.86260000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qf0ve6r9qxzlnh06wngevyh09avded5epd0060p        BTC                              15.85420000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmgy3w34glckm0rw2cx95tucgf2n94nc0ghqz99        BTC                              15.85407630     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnw7xzrfzav4k988uguj9tuv066c826gzln9g03        BTC                              15.84827596     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlkjd95rf5ghnrhrq4z4h2axr8p0k9xdtjpf9xp        BTC                              15.84077632     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvfe23jzlrx25yw8gw2ssaf85rtymljdtnkvpny        BTC                              15.83437634     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy3xt7m300l2rq74aun3azpvzurp4syyy9phj0e        BTC                              15.83137635     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa2k4yh9h3z4z8xgga2hjlg6222ex7kfaf829jc        BTC                              15.82587636     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qgke60ywg0e0stpr659vy7w5ewz2zk823n4klrv        BTC                              15.81160000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qusrsal4tpt3y5xmv8q043c30nqhtwddn07n9q9        BTC                              15.80157637     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q75qzwlhuzyap6lac77edeukgl0yagk55wy8epn        BTC                              15.79947638     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q87jesllwj90wm5lwnnn5fwvr4ex0sh0e0dll8x        BTC                              15.79837638     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qt0x79dspxtgf20kzhzysh47degdlcq6kea59p3        BTC                              15.79117637     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q9t9w86spqz57amguvmxzqwja8qkdq80ua5xhl6        BTC                              15.79100000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvfzdjjk70w900new3mtdqu50qx6kqjckvqj2f5        BTC                              15.78517640     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwegzkga3r5zruywmzr7wnmg6y638yvm4aj7mrk        BTC                              15.76777642     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh29xuvfqqnvdduptgwf20k9hk3xfwpwv06g8g9        BTC                              15.76277643     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qag6590st8q2pwpqjsw95f28uaycy8vqd9zlp4g        BTC                              15.76247642     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qq8cvl3pn9gd33jpg843ywk8sxuu4h98442jwm2        BTC                              15.75020000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdnkf85223u3le7ewaa99zp4cckwphys63z5wqt        BTC                              15.74717611     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdeuz9u5a85zk00gnfa0ssr0vqsjg4764qlwnv2        BTC                              15.74597646     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnvsxdppqvhprrw6kk77jjgc2w00p77knxkcjgc        BTC                              15.74527612     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwf797nleh32nj45r4g6waus57me7fm2trf7hzy        BTC                              15.74297646     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvy093h4agmge3csqkta5gth539jwk4nrpqgr27        BTC                              15.74087646     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quegh0ke8f86xdqea6u84wrwknesp3jc4t4aax0        BTC                              15.73607647     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q38dk5auumep96cssa4ukeq4ter7jm6lk3phtjf        BTC                              15.73415007     2022-03-29 21:44:59         2022-03-29 21:44:59
                      bc1qh7vkyjegtayxwhfjrkatkx22mndpdt7xyjuyva        BTC                              15.72747650     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkmef7n3jf7qzvw2vmsyw5ajlg0q4nncyznl8fv        BTC                              15.72567651     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qu09y8w9umlt8s3cqsc9zl4vhdcua76rq7ejwgy        BTC                              15.72380000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7hat5tn99c40lpxyxkrnzzyrdju5qtnd4eelqk        BTC                              15.71807650     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q26nfjf397el7zal2w420nnpdl89e0dakch7kw7        BTC                              15.71267653     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qna92njd7shaqk4kf66mkzmel676dmmhhc3qvwv        BTC                              15.69767653     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qchn4w0wkjlu926sm283x884635qdlpepclzktc        BTC                              15.69327652     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qx3ew8v56h8vyky6zgzztvf70ec2mwxe9jr2hpm        BTC                              15.68237643     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdndpss25jac62maw7ltn5g4t9xm8rl6kgrhv69        BTC                              15.67915016     2022-03-29 21:22:50         2022-03-29 21:22:50
                      bc1q5dd57n4g9d9qu4uvdq0au8vmmnt4hwsrsxhtlx        BTC                              15.67677656     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                   Destination Address                                                                 Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qjlzuy8f364jry4azgdzaqu4tus0ylr947v2z2w        BTC                              15.66047658     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qq6pfd8ddn4vr3p6l578eeuq6lf740pnwjk37sw        BTC                              15.65957659     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxrfd73wdl4wv6gd4s9l5g2e82fzwxlk3eh22nn        BTC                              15.65897661     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4jh53w6rhelsne4nx4wd3t4hr48g95v6clvdhf        BTC                              15.65157660     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qt3vwqfqkzs44pxn8e6ww0cgfstelzu2maqsvkn        BTC                              15.65057660     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9zgqfs7xe54dxcc6pcggfyf2cahd97f05gjdh8        BTC                              15.64870000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxs4wa49x86x9mwlt6tnmtwewc4vce0a9exws4c        BTC                              15.64407663     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqvg86jny4x0rzcgrn83yv0npsyt0gmtf9calvn        BTC                              15.63777662     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qztzdet87ldaepqu0anaut7wttt9v60uvw4g8zz        BTC                              15.63487649     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvy4tjdyjtc5kjupyxc9xs7v3a2n4kfs6qqpnsp        BTC                              15.62437664     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qz3j0g8nkpkg4nky29jytv7lgucflquv9w77ztk        BTC                              15.59137657     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4fculnfd9dg89ysptmtwqg7ca8cel3ty6ttw2u        BTC                              15.58753879     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnnpv676tql2fq8gzrrqrn6rdhl27v3w55tavrf        BTC                              15.58597670     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qcrpz7jn2vv0rpqx3mydrc476dxe45c73fa2j7n        BTC                              15.58577672     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6ax65de99hy2zhnehlglzcz4dcd0q2zrz79umz        BTC                              15.57657671     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q87mgg5fkvk2av3enzgprkgt2t3ql7uqp2z0ngv        BTC                              15.57207658     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm9rmmjgd9fk4ucdfxsr3g2ftzw4jv7uyj9z9dc        BTC                              15.57056502     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qsuykqf45y0fyzkaxmxnp205zert7exqxc7zmdw        BTC                              15.56477673     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgmmmd9pndkhhtcw6erxqvtg75j0njzxjwdqk6k        BTC                              15.55497674     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyk7d26k0asmym956efq8a3qaxch5wjkumsw68m        BTC                              15.55080000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qtfus7a4zyv9pm7e5l3ar38rs0hm2vt0s86v2qa        BTC                              15.53727677     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9td7wlj6gm32npxzacw4hc0f0n3c5pz9jprye0        BTC                              15.52577667     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmeukund88y3674dualnfz7wqc0qsm2jyp6j5d8        BTC                              15.51297681     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qp5ppgk7ms7vnwjyq3yrjqzy9d4jwgtp7uckfvt        BTC                              15.51277681     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh4funtq5q52unh43vh8ylsavaujzp5rsjhfc83        BTC                              15.50990000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdjd9k0x98qs9dzx2a7e57zzmzhe2afuyzx5nvj        BTC                              15.50357682     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qv4legqua0rm3m269d3qseu6rjkl4cqt8pqfhut        BTC                              15.50277648     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q70zq4u60nh2sc8juyzqu4953qq7aq7mg3t9r4v        BTC                              15.50227680     2022-03-29 17:41:00         2022-03-29 17:41:00
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1q4j80qcnysv4jy2hrypeteczzs4va4nwklyf090        BTC                              15.49737671     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q308yjnm84rhplz8j43uepdqj066fehukv2v09g        BTC                              15.48920000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qedc5gw48guna7yuay3jrj8qxh2hrr3675k4kyf        BTC                              15.48764524     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qj75aenld690s7lsamx0gjalfhl8dyjgd82ps5m        BTC                              15.48337685     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy2qcu9ptztvy5pqv62k6prta74pzlqsyphqunj        BTC                              15.46515048     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qqzrq4a74ce0s7ngyysfkq8q4pu32ylvjhvkxqx        BTC                              15.45937689     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q45nev9vqh8dtqxq4gsy9ad32s0h9xphkagjqlu        BTC                              15.45330000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrjqfnjgkp7eetfrytnha3p3neslxnmuasc6v3r        BTC                              15.45207676     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qn6u9azrr6t9ttzdjzudq0mlc25rlv3gpy04kef        BTC                              15.44547691     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjsmx37mhqq5t8u8cryxgs3cyu0pnct2vualhyd        BTC                              15.42967679     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qf53mpqkxupsmedt6ffv25ehxjwqwc46rvege36        BTC                              15.42014568     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4yj0rnz73uatkqvdws07phlkn22mgnv8xxn6k2        BTC                              15.41807693     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qrlz5dxawmr3eyp38ldvfe4u2etuazyu56jhwvp        BTC                              15.41767695     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2d45rv6pswxyg5rxelyd4quuxyqgxphk3px4ll        BTC                              15.41207694     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qzhnemtv04jzqvtzamnnx3z775vnmf6p7mds3tp        BTC                              15.40757696     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qngyf8dfkalsjrcruh870m7r35dw48nsmqyhzte        BTC                              15.40655056     2022-03-29 21:44:59         2022-03-29 21:44:59
                      bc1qvcjt2w59zrrpplnyc3pesncnhgl44nnla047hh        BTC                              15.40157699     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9awk0k25l7r9ephkn2gk72dy02z4nnmhu4wa6p        BTC                              15.39770000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4q9hmk8s92jfntysw7e79klp77hpxzph3yrzr3        BTC                              15.39577698     2022-03-29 18:18:34         2022-03-29 18:18:34
                      bc1qhfxtnr2ns34k98ren48ug9mv8fsp447haqxnqz        BTC                              15.39207699     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qu88sehuyva2ktt7mht4vxwqxn7p99t0gaxhaq9        BTC                              15.39107699     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3edh96z68djtkg07j2wtqkr7hzr4es0qa9hz8l        BTC                              15.38837701     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxr809kdh6twjvp0pjgg99n34tuptdlz86kurwm        BTC                              15.38807699     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qv0dus75xt0vqf8xj62swktn0ue6zvq54ugqvda        BTC                              15.38527698     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qyxft0c4f9ks3lexp422ag78alpm5edxvvl526l        BTC                              15.37790000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qp44hw0llytp6u5gfptw2z77jfu0jmgj4um74px        BTC                              15.37117700     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qvsyxnkfm45klv3ls6fd0lfu33sryk85m75u4u0        BTC                              15.37057690     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwqe8lyx6h8zvse3rl9rt0cmjaks4fpgtj8a874        BTC                              15.36487703     2022-03-29 18:18:34         2022-03-29 18:18:34
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                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1q5ft5nwcg8jtwk4m3n6tarjmpvaqx2a357y55e5        BTC                              15.36167701     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qgk4a5c7gxhvnwkcvx6djz3htuajlhjq4kencky        BTC                              15.35927704     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q09ya47h6tevqxv2pa3nzvdmdlgd6g3stlqrevj        BTC                              15.35650000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm76uhrv4984xe2udmtht85xmm6tdlzv34z78jv        BTC                              15.33627695     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkktddsguerculynh42kqmek26vdwkeec0j9v68        BTC                              15.32282422     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyjs9ys7n86cw4gq8muf2xguua6au0xrprvfgzv        BTC                              15.32107696     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnq3grj8th63xtfyg3dh7q9u82feh4cqf28k2kr        BTC                              15.31887708     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qz9rudkg8xy43549l3mn8qwd8uz2nd3mjejwyfp        BTC                              15.30825071     2022-03-29 22:51:22         2022-03-29 22:51:22
                      bc1q5jlsltstk89mz2typw54qgsa34dk3fzcpsujwe        BTC                              15.30817678     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8yuz0xy3gvq0gt36yv08694tnhn8hz70nudjew        BTC                              15.27595076     2022-03-29 22:59:22         2022-03-29 22:59:22
                      bc1qyj8d2xhcucftm3vnsdj2gz3afgad6cr8990t37        BTC                              15.27397716     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quvgs939cglc9cyddu652xhxfakke9kxg7slu7k        BTC                              15.26937715     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qcrry55sq6zkytp4mjtyytsn407fd5aft2naf0r        BTC                              15.25287718     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qkjyrahygf3yy44e5cxgft79jasnrvzp85g0zh8        BTC                              15.25117720     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qcsa4lyq4dlpx0jk7nfl0pjzkc4nhmmvjs59gm7        BTC                              15.24735080     2022-03-29 21:51:13         2022-03-29 21:51:13
                      bc1qz3jfahcrvm88ej7dght4c5mwmv78g3zrzqrujy        BTC                              15.24577720     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qskxygznnn3r6y9ehuaq9x522zkr398kxdfv9j2        BTC                              15.24564594     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qka3ruay09n44xt55jzzclyrfwwjd3m3nhkmjv7        BTC                              15.24237721     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quxha6fawsv6kfkw7v6qwtwt6pcpky9wz0ng0dr        BTC                              15.23147711     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6r8vk2mvz768qd5qafvzgyjlc8jazxkxlhzgn4        BTC                              15.23077725     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh5tnn2z45qf69x0hk6cpkau9rcqh5clh3qzenq        BTC                              15.21667725     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qp65vzh293c2ngyqcydpu38t4uk25huj3utyjgg        BTC                              15.20507694     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9xfv6zrwfelvucpdr6jrumznat07jfp0wflje9        BTC                              15.19857714     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qep32mwza5vfrm9d6h5p98z5q2lhlxnqj2eyjyf        BTC                              15.19137696     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsd8y7v90yzed99w8t3pz75cpfzff5j9q3j8u9c        BTC                              15.18397732     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7aptdtc87wm272kd7fq5g3v0tpuxr9aggwxt02        BTC                              15.17045092     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qzpzc5vjq55qsrnzh4e0s6qu3zmskthu42fnlm3        BTC                              15.16557733     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnx2npkgvq54vf5mpyf7pmtnq4mr9fp4klv2xvl        BTC                              15.16317700     2022-03-29 18:30:06         2022-03-29 18:30:06
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                                                                                             Funds under claim
 Owner    Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                      Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name       Name                                                          Unit            tracing methodologies;
                                                                                           in cryptocurrency unit)

                        bc1qml6uadlgagzwn8mvm2jtu057u2yzvc3er5gucl        BTC                              15.15450000     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qgsrkuedl7mgaft4gyhr3hrf2j65e96pa0vfa3x        BTC                              15.14107736     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q4nfeatdsqgg5xj60nt90l5nlrt233xjkc804ax        BTC                              15.12777738     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q72qj7x33a8ljympw5fzc2ugzghmmjkvxmg7svc        BTC                              15.12250000     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qn7wzj273v5hqpz8gu4mhhhnj8zyv3gf65wlxru        BTC                              15.10917741     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qe8yq7my5tqr0h5tljcuvqa97m787qm3evpauvv        BTC                              15.10685101     2022-03-29 22:59:22         2022-03-29 22:59:22
                        bc1qm6m5655erkrf86prqz08jnfdvdads00jqu2fdg        BTC                              15.10655101     2022-03-29 21:44:59         2022-03-29 21:44:59
                        bc1qnjdz9ex9phcgaczsgp9tc5gusqsaf8dsazr72c        BTC                              15.10507742     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qea7lhuynzuxv4z0hexznedm0sad0zl87y7wvch        BTC                              15.10457730     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qzx22jvfnmyd5sursxwgxjnmpkx6sjhxvdyfke7        BTC                              15.08867731     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qfz0t5hqu0zn844p9qg7k7p9elkrs2uj5c7vsj0        BTC                              15.08787746     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qhxveh4cx9tz5s7hs0xr0jxgnka4jarz5953rgx        BTC                              15.08127745     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q7xpctyx20r6762h7248nu0ky8ndt66yzn98wdm        BTC                              15.07337733     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qanrrfj9dalv9gzt8txwru83m7agqwfah2gc5s0        BTC                              15.05947748     2022-03-29 18:18:34         2022-03-29 18:18:34
                        bc1q3rreq6sdz8648vvlad7ay5wwr2h75ktzxt8z6u        BTC                              15.05187738     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q5ksyr8acf88dpg54fa8p7eq9pvsf578xjj5yqd        BTC                              15.04920000     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q6k7zfkf836qjarapnnw7ch0x8577e4wq72hljy        BTC                              15.04837750     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qfpq332phu33cyz345kntdhpdn8rr4ypvauwn8s        BTC                              15.04814624     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q3w7nzk5vntmddk256j4c5z5faq58288ztw44jy        BTC                              15.04737750     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qmgc0fgy83ywze87d6lf5td3r9ueu90hz6z3ug3        BTC                              15.02960000     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q3sa8pkszkkg9tr2sd6qjutvqm5hxtf243t6rzn        BTC                              15.02777720     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q8d06pxv86sqlg7dfh8f0kp0ea66hw35wmdgpf8        BTC                              15.02457721     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qsp5lcqeyrmr7knp8jj692mmc8qkyp7jl6pk0ly        BTC                              15.02437754     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q0eqyuc8x3utx33fj5u09lakgxcggfwwhzrsfhf        BTC                              15.00787723     2022-03-29 18:30:06         2022-03-29 18:30:06
                        1156oPWN2U4aYa5yHnQQeeWC8Md1uRzhZo                BTC                              11.17130350     2022-03-04 01:02:35         2022-03-04 01:02:35
Binance                 1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg                BTC                              10.94525982     2021-02-24 08:11:46         2021-04-18 10:53:00
Ren                     3LqdjTMqS7q9AeGfWd1xk9rz64D5qgUmzT                BTC                               9.28167776     2021-03-01 13:52:38         2021-03-01 13:52:38
Binance                 1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG                BTC                               9.06994620     2021-02-24 08:17:53         2021-04-18 10:53:00
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                                                                                               Funds under claim
 Owner      Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                        Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name         Name                                                          Unit            tracing methodologies;
                                                                                             in cryptocurrency unit)

Binance                   17iwoMJv33UgjWxsM1j4UpKtMnGC8hh5nD                BTC                               8.83901059     2021-04-01 13:43:02         2021-08-16 08:27:40
                          bc1qra99c2y4hsu0qx35g5nejx56zhe6gmwdx6xadg        BTC                               7.99197644     2022-03-27 23:54:03         2022-03-27 23:54:03
                          bc1qytx462v93nya0w86eca9hce8tr5n0jwpx8ex4u        BTC                               5.52891525     2021-03-29 12:29:40         2021-03-29 12:29:40
Binance                   13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR                BTC                               4.59320846     2021-03-14 19:43:26         2021-03-20 18:43:23
Huobi.com                 1NnwU2wqppE4f7cjHPHRh79kF6UDMcwGzB                BTC                               3.81539799     2021-06-02 22:37:14         2021-10-01 15:35:17
Huobi.com                 1L15W6b9vkxV81xW5HDtmMBycrdiettHEL                BTC                               3.70618106     2022-03-29 13:58:11         2022-03-30 11:36:45
eezy.cash                 398FNpRVsj72YHcagHyExDeSTH4FG3t1KG                BTC                               3.59489019     2022-03-21 20:40:59         2022-03-28 20:14:28
Binance                   bc1qt73y0anphywgrf570twd0htekatr435d9xf5mt        BTC                               3.58410164     2021-04-19 18:22:10         2021-04-19 18:22:10
Binance                   1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx                BTC                               3.43832425     2021-03-08 09:34:45         2022-02-13 16:41:01
Ren                       38L2i15SxTqJ2vD8X71DtfsBhuUefwibJX                BTC                               3.36616218     2021-03-01 13:52:38         2021-03-01 13:52:38
Binance                   1Fs4QNPYf7Zf7CeJiFmSkTK3kzvENVD5w4                BTC                               2.32731897     2021-02-16 02:39:49         2021-05-24 18:55:51
Ren                       19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                BTC                               2.26423183     2021-04-27 21:43:52         2022-03-28 15:28:47
FTX                       3LmNPNQRWt74qvVrsFZerUcSpkH4UZg5sA                BTC                               2.20563584     2022-01-06 15:48:14         2022-03-29 05:47:59
Gemini                    bc1ql8c2rgv2qpa25cc77usap7lvsvms6tgyv6smxk        BTC                               2.02532661     2021-03-10 01:12:35         2021-03-30 05:38:04
Ren                       3CzGP9Je4jHD591qW6e6c1AbtLQrsxQZo4                BTC                               1.99991662     2021-03-11 03:11:02         2021-03-11 03:11:02
                          bc1qfvtcxxxfvcx65f5wq2p5f9s64e0kgjlpu2dg6k        BTC                               1.94636578     2022-03-30 08:54:51         2022-03-30 08:54:51
                          3LpdFRNgGdVsRuxj4RGJCJLN99TJNyUgbK                BTC                               1.92094692     2022-01-31 19:06:48         2022-01-31 19:06:48
                          bc1ql88yt08t8z7mzfd7luvp9x903z2alvm93szzwn        BTC                               1.91972765     2022-03-22 21:51:16         2022-03-22 21:51:16
Ren                       3HUQjCX6bLXzHMdCzTduAUWc3yMkzRA6La                BTC                               1.82352728     2021-03-26 23:53:49         2021-03-26 23:53:49
                          bc1q84p540mk0fjzx2t0yc70q67g3q5yvsxpez2jzs        BTC                               1.66660525     2021-03-30 16:47:06         2021-03-30 16:47:06
Bybit                     1Etc4GPZbe7iXY7y5zqpA3gRhGqSLBGXt1                BTC                               1.59985854     2021-06-11 08:34:44         2021-06-11 08:40:16
Binance                   17oFzfQQb79jHghVBLF5wic1tKASRjpT67                BTC                               1.52477837     2021-03-16 03:49:39         2021-05-20 03:37:24
                          bc1qjchu79yew2wv4mt08xp57vvule0dq49xf5m2d2        BTC                               1.49701725     2022-03-03 06:42:18         2022-03-03 06:42:18
Kraken                    38HyrjdARosXGr8SXyzLQLWuSCdi8hqcDR                BTC                               1.39992011     2021-02-27 15:21:00         2021-02-27 15:21:00
                          bc1qffm9u7a8czk8pgyjznkwvavkutwgfrnlvdkhay        BTC                               1.39992011     2021-02-17 03:06:09         2021-02-17 03:06:09
                          bc1qrrm8wgkt5sdkcr9qp2eth4ltr9q3xhn06v6l70        BTC                               1.39992011     2021-02-17 03:06:09         2021-02-17 03:06:09
Ren                       36CpqVr1SHJ3aj5NcWbnnDaZNxTN3PrtcT                BTC                               1.39987192     2021-02-16 14:30:47         2021-02-16 14:30:47
Ren                       33DaZYib7zij1LP2x9VHHSb6dYDhUymqXt                BTC                               1.39987007     2021-02-16 14:56:40         2021-02-16 14:56:40
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                                                                                                   Funds under claim
  Owner         Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                            Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
  Name            Name                                                          Unit            tracing methodologies;
                                                                                                 in cryptocurrency unit)

Binance                       1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                BTC                               1.39406858     2021-04-27 18:07:07         2021-11-09 16:44:29
                              bc1qzfhwgletqd4u4vgg0lca5nlgatj8evz2uuq5cv        BTC                               1.38222881     2021-03-30 05:09:20         2021-03-30 05:09:20
Binance                       14kbqzg3mJrx6zmY5dYpCVhBJ3mrd7pYSt                BTC                               1.35380062     2021-05-11 11:53:29         2021-06-05 22:37:32
Binance                       1J9UZvdFP5betiX2oFkeHBcDjVXD8ceFPV                BTC                               1.33290382     2021-03-27 14:28:50         2021-05-03 22:36:38
ePay.com                      345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz                BTC                               1.29111901     2021-03-21 04:43:57         2022-02-09 17:30:18
                              17Q63JDKjEeaEcLuFNrvoozbP6Qx8G7xfs                BTC                               1.26661505     2021-02-28 21:14:21         2021-02-28 21:14:21
                              1KNyd3rmeaUMptExLR2fy4kd8eppCdfpW9                BTC                               1.26661505     2021-02-28 17:10:03         2021-02-28 17:10:03
                              bc1qsnz7d7zkeg90yxe9hsufhv8qcp8353jlpce47h        BTC                               1.22541131     2021-03-29 12:34:57         2021-03-29 12:34:57
Ren                           3953TFvpANofLb45AkrtitCp2k35sp2kJg                BTC                               1.19998029     2021-03-15 13:36:06         2021-03-15 13:36:06
                              bc1qxnrhje9ekvu3qyx534t38q3j0g0w85c3ruwznf        BTC                               1.19998029     2021-03-29 12:29:40         2021-03-29 12:29:40
Huobi.com                     1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw                BTC                               1.18715936     2021-04-26 13:38:26         2021-08-21 08:30:12
Bitfinex.com                  bc1qfvejaeuq8pef8dph9v2zgg0qndszxjvnupk74r        BTC                               1.12518030     2021-06-22 19:11:02         2021-08-24 18:07:51
                              bc1qvvxu96tf7wtsmjd4usv7p4nm50yzr8ffa88qcq        BTC                               1.09897684     2022-01-27 10:59:39         2022-01-27 10:59:39
Binance        Suex           1L4ncif9hh9TnUveqWq77HfWWt6CJWtrnb                BTC                               1.02996683     2021-06-22 09:11:17         2021-06-22 09:11:17
Binance                       1JTDfmnMJPUSE5iHM5tfvbWC8wGkiqJhsF                BTC                               1.00912125     2021-11-07 04:00:12         2021-11-11 18:21:08
KuCoin                        36LKXRs5nvELt9oJDWa6wi66Zu8jiwxj9U                BTC                               0.97565993     2022-03-27 22:35:33         2022-03-29 21:27:37
                              31yj1DBjxkyk4jQ1HGFDLGKidaEzZKP7Vm                BTC                               0.94583983     2022-03-29 19:20:55         2022-03-29 19:20:55
Bybit                         1K2NLvcHwup8FbGiUVdRWefKxnTCLd8t5n                BTC                               0.90420114     2021-03-25 20:04:03         2021-03-25 20:04:03
                              bc1q60vu5wptrcw528429vthfapxsmr3stl3trkdkf        BTC                               0.89351412     2022-03-29 03:47:46         2022-03-30 04:14:35
                              bc1q89auwcjq74nsac2sfed3whx67863kdsvxua0hw        BTC                               0.86837611     2021-04-29 02:02:09         2022-02-21 06:45:45
Kraken |-| H                  1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit                 BTC                               0.86061844     2021-03-11 00:29:47         2021-09-07 22:56:08
Mandala                       1BqazAeRaCLJUquxWfQPhWGU1nqVmyFmMU                BTC                               0.84861044     2021-02-23 15:36:54         2021-02-23 15:36:54
                              14qrRJYj1umtUktTJ9aSzvXScdSsrNegoP                BTC                               0.84861044     2021-02-26 13:00:10         2021-02-26 13:00:10
Binance                       12K8u22kjGxWadyks4YSZbNqZbEGpmUNpm                BTC                               0.84215171     2021-02-27 23:53:43         2021-02-27 23:53:43
Binance                       bc1q5ewee3tn53kqapqhn4c2r652lpv5llvud0r40m        BTC                               0.79992927     2021-05-26 11:09:01         2021-05-26 11:09:01
Binance                       1LArmCe82visDjDeKXq3xxCWGmFMW8f3Sz                BTC                               0.79904496     2021-07-06 09:22:06         2021-07-06 09:22:06
Binance                       1HVj6JWaAqu6JSjhQeq9YpG8kRCAywY8nk                BTC                               0.78480180     2021-05-12 14:10:25         2021-05-21 23:13:00
KuCoin                        bc1qx65xcxz6dfsge2g4eaerercslh83y66wrpm79r        BTC                               0.72165325     2021-04-28 15:08:19         2022-03-20 15:01:48
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                                                                                                 Funds under claim
 Owner        Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                          Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name           Name                                                          Unit            tracing methodologies;
                                                                                               in cryptocurrency unit)

WebMoney                    1N615Az75xbRtQsTDvDRrxEaRuL4SxdARs                BTC                               0.70461396     2021-02-27 01:07:26         2021-02-27 01:07:26
                            1Gy3f9vDFrFZY9sgqQ6gmxAko8ZRGyPaPJ                BTC                               0.70461396     2021-02-22 04:13:53         2021-02-22 04:13:53
Huobi.com                   1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66                BTC                               0.66898374     2021-11-07 04:47:25         2022-02-15 11:55:04
                            14tkMGARrkM5QNJexJFqP1gGJTYoJ5z5bm                BTC                               0.66662837     2021-02-24 22:54:43         2021-02-24 22:54:43
                            bc1q942nekgt2r080x04ytc900t02cyyqug8qmldhj        BTC                               0.66662837     2021-03-09 17:16:57         2021-03-09 17:16:57
Huobi.com                   1xSEjfGqgxXkSzeG6MEVtfdjUuumEZqsB                 BTC                               0.64986873     2021-04-29 13:58:34         2021-06-15 11:43:04
                            bc1q26rgpvcnrgfu3ay7rvhjj8hddlng30f9ld73j7        BTC                               0.63084987     2022-03-24 00:25:38         2022-03-24 00:25:38
KuCoin                      38mtv2P85GLKLBQ99b9vk3MQ8vorVJ1TBB                BTC                               0.63084930     2022-03-29 20:17:43         2022-03-29 20:17:43
                            bc1q0kkhuhs35jkvla43nefmsggwwc0kvwmevc350j        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1q6xwzfvdrztg7yfqetv5qfsspxemmlqk89u50q4        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1q74clp37u6e9kxd0rsuchd98yz4tf4v2fzlah2s        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1q7ag3d3kqsenkzkd69nwxum0za9uxwzpyjdfwqu        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qck8grfkyzt3n49h6dwgf3g633lfagr998l4skl        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qd38e9k75d5l9zdtfz8dk35uh0khfjz40a6vamj        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qgk63nhphq0t4qg92aey4hajunuqd0zmjj5etkp        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qj7mafvpnppqa263t96at9ar78qaptc7d6f2hdf        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qkh9j59tzsgfpm5r7yzxzjv8tsuemeapdlkhur0        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1ql862fdu5m4xg60trzhk9gsct3a30hxh3mllvvx        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qmhux6ucklkxzd89vqmm49zgx2hn7y8fn4gsqf0        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qq09th3heych8lvzu53y9vaxyeywyv67fq5y5u0        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qq600x69vtzl2l60tntfhz39lnjglh9vgpwtmm7        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qvt63qc6ktcy3rlc7s3mj3wtu079cargwx45gle        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qwa8eqgqefzz5gqwnc48sert68t6lmj8de7fhws        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qx8przrauvnn2jp4hc8g675e7fgh86p96fl9y5m        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qy0qqa32ag69a2ccu9dwyujhpsu09plmcnkwn5e        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
Binance                     1FwAX1yW2szV6gG7YNJvRWY242dokFCrtf                BTC                               0.62657482     2021-03-27 21:29:01         2021-05-25 16:42:56
Bitstamp.ne                 3QgTU5fwPWHMNkbx4fhwU9MgPzPbrYnXqY                BTC                               0.61318338     2021-03-08 04:10:29         2021-07-25 06:15:20
Ren                         3GwVA3kPCxkfxiTnZUJbBzF9cH7j5omtFh                BTC                               0.60953274     2021-03-25 08:11:10         2021-03-25 08:11:10
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                                                                                                       Funds under claim
 Owner       Beneficiary                                                       Cryptocurrency   (average confirmed with the five
                                          Destination Address                                                                      Tainted Inflow Start Time   Tainted Inflow End Time
 Name          Name                                                                 Unit            tracing methodologies;
                                                                                                     in cryptocurrency unit)

                           1JYiHUUxcLSo3dzNHu1gc3EhCuoFK5iAtX                       BTC                               0.59999651     2021-04-25 09:37:01         2021-04-25 09:37:01
                           1Ld3oUUcN7EGhJ1ckoBnZ2LoN2QmCbBHX5                       BTC                               0.59999651     2021-03-24 15:40:11         2021-03-24 15:40:11
                           bc1qz9e7p85d7n4rgkarudx80xh77crzz4ad0pnnvg               BTC                               0.59999651     2021-04-08 00:50:18         2021-04-08 00:50:18
HitBtc.com                 1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                       BTC                               0.59772461     2021-05-11 09:43:18         2022-03-03 08:58:50
Binance                    bc1qhjja98qwyf8lhw480u7aq2je7vhstluvz3cqzn               BTC                               0.59769477     2021-05-12 13:09:23         2021-05-12 13:14:01
Kraken                     bc1qfuddrpsmkymngxkm4nz99ac95vrxad7carhxp945ajrcr        BTC                               0.59450753     2021-05-04 06:33:22         2021-05-04 06:33:22
Huobi.com                  16jjLTYuDkxJMvqWCbp6vsznBGYoTgysNT                       BTC                               0.59179182     2021-11-07 08:47:35         2021-11-09 08:25:49
Binance                    1DqfMX5dGC1pbPtHE9hb7b9NSe4krJXByH                       BTC                               0.58142987     2021-05-13 14:24:04         2021-05-13 14:24:04
                           3E6LcDYmsTgqSDPK1WL9dCR8anypGSKCdD                       BTC                               0.58121912     2021-07-20 12:30:38         2021-07-20 12:30:38
Ren                        3HSUqCM5BqF2mZW3RKExw9AGQvE5eAaCnb                       BTC                               0.57000334     2021-03-24 14:20:43         2021-03-24 14:20:43
                           3Mb5fYVRqgsvvXBLAG4DpbpPNa2mKhSdYH                       BTC                               0.56907181     2021-04-10 11:29:37         2022-03-30 11:16:56
                           15LvA1NxD2musvaqsTe7jTL38jnhG3XhR3                       BTC                               0.56892175     2022-03-28 16:25:01         2022-03-28 16:25:01
                           bc1q0nfzd7u4gp4ujqnjqvn2avaka7apw69yhune55               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1q2n7vle3ndlkvwj3rwflz5wltdqhvvjkwgrp8pg               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1q3qlsplctu0gdjtfn9ru9ssgauwq5flj5r6t3vm               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1q4wgkthjsed7zpnrsz72ld37g55h6lq3lc94e5r               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1q6n5gn0acmjhzd7e0q65ghynuvcsy6pk99pgm68               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1q9pcylvq33rfja32vqjmkwh2fkdp6qe4gqa9k80               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qcly2e28c2n0urdu7el3el54numesud6cmmn8r3               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qjxl425j8nzmn5lwtem9rzu24n9gql2t90yhrn8               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qnnxkjj0fxun6dyqaucp22kyt7mhpn9nrxwvfp7               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qqe0c2hdfwgafvuh45k4pnejfx0hepa02845wzz               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qqnte539mh8r20hc3wpjyua6hda2alfyndef44t               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qscuxw70wuugt49yj0kd58hjkawztur2lljh7nf               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qsywe8ng5avwkzqz2rskunfjreh70xngs365068               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1quqmwlk7rhynuepm2kdz6rve7ugagfpf55j22m4               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1quvty9m279paqg0qt04m5y7qa85a603ghgcazt6               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qx06a93u5g852x4y684kgsu6yag4k4pwec90z34               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
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                                                                                             Funds under claim
 Owner    Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                      Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name       Name                                                          Unit            tracing methodologies;
                                                                                           in cryptocurrency unit)

                        bc1qxydj4s39e6ntwjm6z7vwxzdv3jycpmtuaapmsl        BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
Binance                 17ssMKaUL7vVJZQBs1CSP7oD8in6fFQ2vz                BTC                               0.56689702     2021-06-15 09:43:53         2021-10-08 12:39:37
KuCoin                  3Agw5GYmkpsJmg9kajCvxx4mq9UwtZKLvM                BTC                               0.55118600     2021-08-20 19:33:42         2021-08-31 02:32:28
                        bc1q5xx0efc6eg65t44f84xmpx5dhmy66337egdqma        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1q62gyqqzgy40g4skdtg7a8ed359y4em8nvvemvy        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1q7arw7sz8mczyry4v3yzwj4m4ylhtujs3renkp0        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qa9080ucs7ydwxwshulhgncv6q5rkuefs3nc5pc        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qg58g6mjj63k46q872tsex63mhnrhp59l6qpsv9        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qjdgqs5ckupyxu7fh2rnqdmw7jrwkqlskv7sevt        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qm6e0rajkvhkkzs9tt3j74wdeyxuvujsllqm2ze        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qmr4pws8ak73xfwu87ssgtzw5562ez70npazg93        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qnajvq48c0cgjr0vcgjcv4n570ws47pww655cm3        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qpz5adrc2kqz4rs4eg2vlan0v9vt80vqpf6phh0        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qqp5rcklcd2ac798qc9avt3v4hmr5ezazzr0rcf        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qrrskakx3n32n82wllxg8ue36xq329gde947cl8        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qskdw772zr6z3nsyyg5stca9jwnjz4emuc7pwjh        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qt3wccpd6h0y7sz3p2auer4ewh0900r75dp2ud6        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qw564upzhd5avj4fsne0dvvgswrf28qzscp07t0        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qyqqlnn8sv2gnp4pyks0mtyucls7pcn3f0n7w6d        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        1JjNHsLp4x6BkeBz8hyk5tGtynykgXYk3y                BTC                               0.54224364     2021-04-24 02:29:41         2021-04-24 02:29:41
                        1M91yasLRiWghSHsg3kfmxfwUaeC7F5f3T                BTC                               0.54028621     2021-05-27 18:59:06         2021-05-27 18:59:06
Bybit                   1DEBVQ1bVgvMXFmrTHi7AWSCaQGBCm55NB                BTC                               0.52627984     2021-03-10 21:06:18         2021-04-06 19:10:10
Binance                 19U6Fk9YQGAhi5bBg6xcvNydPd9SJyCmXf                BTC                               0.52447578     2021-05-25 07:42:30         2021-05-25 07:42:30
Binance                 1NkFXyXcaYKqnuc3EC5JB1CnvHjQYH1x5                 BTC                               0.50793289     2021-05-01 21:59:47         2021-10-20 16:37:20
Ren                     35TjCuKRbKcofxnKG2EkC8B66ZNXKqE1aN                BTC                               0.49996934     2021-04-22 02:00:30         2021-04-22 02:00:30
                        bc1qaucqacwa5huhwcxhnyzcadrpfq2ananru06jfs        BTC                               0.49996934     2021-04-08 00:48:32         2021-04-08 00:48:32
                        bc1qswqxyaan9s29r42mhy93pt02rcnc3dw3t55uxl        BTC                               0.49996934     2021-04-08 01:14:25         2021-04-08 01:14:25
                        32NNmWqELdRvpKwgwxc8jWXdStSDt55uCR                BTC                               0.49972764     2021-03-17 21:13:25         2021-03-17 21:13:25
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                                                                                                  Funds under claim
  Owner        Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                           Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
  Name           Name                                                          Unit            tracing methodologies;
                                                                                                in cryptocurrency unit)

Huobi.com                    1DgFr4KzUZD9cpgnBZCypK9iYeHb7vgRH1                BTC                               0.49915514     2021-04-05 03:53:54         2021-04-05 03:53:54
                             bc1qa9z7y9m056wz6hrzqaznv4zdu0dfld97mcvrx2        BTC                               0.46666504     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1q3xkg523g2e8fuu6v2hnsl2hgnx9p3mzgz69u88        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1q4ah3ksyeu6wdxf5yc09w206u82s8pmqq9gg2d8        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1q4enlt0wmxxs9mphxdtk59g22l4v6zctsgw9hhs        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1q5cvtwt6pw9fghdmnat23gf0gu0fj5zs9jgtvty        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1q6wpn9mzk5xsqxk3024kgc5jx6r5aqh4augtxne        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qa64nnpnd8saltw35n378xz0rywsuy75pexrgna        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qenkthya086fntrp7cj2fruesjrag6tvuwfcnda        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qepfr4z7mcd4hzqzm4lzw0e2dajwv76d3lngpq2        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qf9elym9vt4xvyhzmchqzdtpkz6t93y4856smq7        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qfxy2d56mlusu9y0qd0qam5zqwkr9tfsq0xkjh6        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qk6dghfg3fpv8z8vupt0zxqt3h0ct9q35htvgrr        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qk764kjla2r5300njcs5pdlnyasy84tavspkplv        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qlayhwj7p0rnez9vx9xm64aqcwqedmc7g78smg3        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qrywv6cj0mpejvkzrkuvj803j2akjn8y4n4ep3r        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qrzltvvpef4v2jr8625ar9w6kk6kya894s7kv8k        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qrzm6l6uaquwuvzjd4p5aqummmfp8guyvuz50qh        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qs4rthcl345qn98yjt9qnchkkpv8smk96c8myhn        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qt2ee5hff3p20hf52895lr9466rshlpxqpzzxap        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qttdz8p5kwfp2c49sd5kf4wcw7rf5a6lynrycvm        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qu0pteap0avz7k65j7v4s99rgawqgde842h4km2        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qvjkd53ltlrdan97294mpl2e38z0vgvrjklt9t7        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qvpfnxzfmge30v3cndktau27smgqekcst35ykea        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qwg4scylw2fufthd3y9a6cml48cyy0q99ad4hj9        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qx9l70vs36wangm9u37fys4rmpqkvafy8x9x394        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
LocalBitcoin                 3Hc17tSzv1L1J7GU7FC7624m7vm7EVnxZS                BTC                               0.46658883     2021-03-12 20:12:05         2021-03-12 20:12:05
Ren                          39TSkidWoFVb4qnnWDrcgXirwoxCLRjYbC                BTC                               0.46658883     2021-03-21 18:47:47         2021-03-21 18:47:47
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                                                                                               Funds under claim
 Owner      Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                        Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name         Name                                                          Unit            tracing methodologies;
                                                                                             in cryptocurrency unit)

Ren                       3M8VZjtAqi51LsMuRGGY9mhPvQk5hvubvt                BTC                               0.46658883     2021-04-22 02:00:30         2021-04-22 02:00:30
                          14kj2WqjoDqfqRJo2Mtop9DofELcdR2X4i                BTC                               0.46658883     2021-03-24 20:13:41         2021-03-24 20:13:41
                          bc1q6ajkvyjrtn9dpszmz58gvh9nux6jx42d37dkp2        BTC                               0.46658883     2021-06-28 13:34:32         2021-06-28 13:34:32
                          bc1qsfsmdaqun72j8haws5hxwclal5x4lzctyhrjkk        BTC                               0.46658883     2021-04-08 01:04:38         2021-04-08 01:04:38
Binance                   1XYEAuFfgrwzLbQvUKfJNZmwrqguXsnmd                 BTC                               0.46256888     2022-03-28 10:19:50         2022-03-28 10:19:50
OKX (OKEx                 32rKAri2ED9ngZiKZAKhfiRQ8hTSEEnDQw                BTC                               0.45738987     2022-03-29 20:14:38         2022-03-29 20:14:38
Kraken                    3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                BTC                               0.45644656     2021-04-06 23:56:53         2021-05-12 08:08:59
                          17BbJDYvPLFN13d4DcUXSYmLUfG9253TmE                BTC                               0.44901103     2022-02-12 13:43:44         2022-02-12 13:43:44
Binance     NEXO          1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG                BTC                               0.44757220     2021-03-26 21:30:05         2021-08-29 08:30:48
Ren                       3Nwebgx6r4cu8gsLcBao7SMayDHmjAaDYM                BTC                               0.39999020     2021-03-21 20:41:31         2021-03-21 20:41:31
                          bc1qupfaz34ry8vn2l8f4mjj5yjpy7j63vfnt4xspj        BTC                               0.39999020     2021-03-30 16:47:06         2021-03-30 16:47:06
                          bc1quy22vmeg7j9nuw5all5e60fcxpzr4jny0tjcjw        BTC                               0.39999020     2021-03-31 11:53:47         2021-03-31 11:53:47
                          bc1q0cart3cj46dff4nzyz8tl0gg8vyt3hfz6gw02x        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1q2r5vrwqwst4ravmhmhhk0fd26kksh6ge352k2t        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1q6qm746y4plxjy5wukzfxn7dk0taxyqx5nr8kwv        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1q7nzqdrrr87hnyhjfxwlenqgaphmv7pychkhxnc        BTC                               0.39986846     2022-03-30 01:01:44         2022-03-30 01:01:44
                          bc1q9sc42acqcup8djtjkpl9exx6juqr44ccj36zah        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qcvdq9uymk8j6cuszelnj2a9ms88z3g90akz8lf        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qdt4qj0av4j08pxy6weltyv0sqg2vp9p9e63gvt        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qjrr9dfwx59jf2q90mecea4egvsr60km2kd2p5n        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qkm2tjzj0c52uwku8m9d3nva32c0pqdpffgdazy        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qr934s8470qs8wads889h3km7dd470nvu405q99        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qrcj6wdr4ndh5ztrj5g69gxyvcsmqgck0ercdrz        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qrk6y9vyx7ps7tmzl67athrape9llkgjvm9930e        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qs5x3saxf56gagrhyeety2ye7zuufh6rqkqqk25        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qtqa6scpm2cf4xmxkglt78q9mq48zhvvvp9knu8        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qtu27fkqjycqf52tgws24v24sa33gg5n664m97t        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qudfwd6ng4fxx6f5nn2dg42a203lerahs5knz86        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
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                                                                                            Funds under claim
 Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                     Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name      Name                                                          Unit            tracing methodologies;
                                                                                          in cryptocurrency unit)

                       bc1qvl9vrxlmh5rgfhrxpcw4r988npv3c3ggw7f0tw        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                       bc1qy5w4sy8z3460x5v4tqwjzca06jd9hqhhn586tp        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                       bc1qhewr9vle7zhz635njcj65333aw0lvyqzc4xqdm        BTC                               0.39295819     2021-04-29 13:10:14         2021-04-29 13:10:14
                       bc1qg29njpg7ee0gdhtcgunjhg7fs8uqjfwtpz2kza        BTC                               0.37951898     2022-03-30 12:15:25         2022-03-30 12:15:25
                       34dKNXgo9UH4qqYE4XgkNMCo3Cczu7XrhA                BTC                               0.37283333     2022-01-20 13:05:59         2022-01-20 13:05:59
Ren                    3BhWD6JtX3RXS6JeKyBoo2BEpfeoK3HhxE                BTC                               0.36839428     2021-03-09 22:03:57         2021-03-09 22:03:57
                       1DXByswUcFrU1zio2PCBuqrS8XUwqtmCxE                BTC                               0.36666516     2022-03-23 17:12:18         2022-03-23 17:12:18
                       bc1q3q5lvlqvls5u90g0whs6s4d92sed94tl5kqcar        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1q579y6jgun4876vjf3cx9a0jegqltr29e6eqzxk        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qae503h8fxhf32mhufarhwqhtpx3x4nd2jthzcu        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qex5hptzfcxfmnhspmxsqaj86e0u8pjer4k2kzs        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qf3ftulzxmwl907a6ws4uau4wn3ml2xlhr4vt4x        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qfsdzcqf94qj6r57tgak7xg4e4lpe5kqxgvxyuc        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qquea3deh5h286q28kpmd4qv2t75h9xekr3q67d        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1quc45a5p6frshw4k6tmrw2awvccvx6usa94falw        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qxzjzwql7ezvaq00ecp7jan562r7063d6fks6uu        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qy24jsqwrh3vamd62983jw4xnnqsc0d76fkafx0        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1q0etcsphst97anpjp6m46p0r53pht6faf3k96c8        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1q4cy2t5s69etpsu7vm5ujj0temmtzxu4n00cvue        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1q4r9enwd785pxh2tcgzef9k707vga3kv6vc874f        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1q5lr6uqwq2a4lrwtf5h4f8agysvrc558c05ftlk        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qasppe2qp93ypkez9yrc7lpf4l62xjz336ntmt3        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qe90plsajfenecpv6dv2fn93g9xu4z0e9mwnsgw        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qfnf90j37ym6aecr85tvl4h3mw8wzduyt04yplv        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qfqkt3ske29fqd67ugjn9dt0w73c5wjnfl2m7np        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qgrpvusdt59hceqlcf2wwdhxzyprx42rtulvzs8        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qjx7p5qcrn86hd0x6k2f3j48fanav67znvjsrku        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qk5rlmdc2vh73g4jerdlksch3r4epddyxdpxmjn        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
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                                                                                                        Funds under claim
  Owner        Beneficiary                                                      Cryptocurrency   (average confirmed with the five
                                           Destination Address                                                                      Tainted Inflow Start Time   Tainted Inflow End Time
  Name           Name                                                                Unit            tracing methodologies;
                                                                                                      in cryptocurrency unit)

                             bc1qkr9d9vvj8t05nzw2gg5vkfnxpdce74vnde2z5s              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qlk2962n0qjxe5xydqh4ug09sqsl0kchgwhfn7r              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qn50ekv02clh7avcx8vr439uwrtf92t8gyg0mka              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qpukg0mr44hwlldk9hsvjmtcfxhum7qkx64pwej              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qsgqzg3w850lht0y287gqnkp22nfudjknfl6vjf              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qsyqgxjgc5v57e6tq4cj8g839kj3cp3l3mt3c9z              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qtcwyttj9ppcekdn3lk703v32f73wr9xw5cdwyp              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qwlqux4hdun8r2cez7rgavsv0xz30wg7mhhcv2r              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qxzqgvl2zd8cfz4aezgmr8xp72lc8n2g0x9l3xm              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qzzd7vv98pq3ypx2h54uh7mdh5tukp7vlfnqcpx              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q9yexm4z0d07jnqlq6t7llzwx3tg48sgw08gu7f              BTC                               0.36587047     2022-03-25 00:12:44         2022-03-25 00:12:44
                             129ogBs3PZw3yC7T3A2PZ9Eb2Duej5f1We                      BTC                               0.36030570     2022-03-29 16:00:12         2022-03-29 16:00:12
                             bc1q200humncd63q0dzwt4n6g6yyeue8kq6je5y0wu              BTC                               0.35914616     2022-03-22 11:55:35         2022-03-22 11:55:35
                             bc1qxljfjnp5fgkq6snauffj63j4cv0saqjjj5fesr              BTC                               0.35914334     2022-03-23 17:50:55         2022-03-23 17:50:55
Binance                      1LmFmScFggjDak4JBZqJsxhAykRwYtkTFv                      BTC                               0.35700215     2021-03-27 10:21:37         2021-04-05 05:46:37
                             bc1qxul7shms33h3j7r99t6kjumquzjht2vnfvswvy              BTC                               0.35669602     2022-03-24 11:38:50         2022-03-24 11:38:50
                             3GmJCyed93nVimY2QFG7sCTp4FREDfraFo                      BTC                               0.34938163     2021-12-27 10:22:22         2021-12-27 10:22:22
Binance                      1P1LCMr7U6jxf1Mx2XYTRPQzRSsvjZcTc                       BTC                               0.34528192     2021-05-01 09:50:27         2021-05-04 16:32:35
Kraken                       39SaPmECYfU1EHc6Gxu1mYiarudJ2ywY42                      BTC                               0.33474991     2021-03-14 04:10:10         2021-05-15 18:54:44
LocalBitcoin                 37PPZuGqkg7rSXy1VNTvUB6CHeU3jz2poz                      BTC                               0.33190362     2021-04-05 10:23:29         2021-04-05 10:23:29
HitBtc.com                   35MiwdASDkgFqUa3YQfHFucggwNYjrBjeG                      BTC                               0.32627438     2021-02-28 13:02:44         2021-02-28 13:02:44
                             bc1qhhd2ny5ae6s53vcz4u4f3xsy893ew8hl647qs4              BTC                               0.32497947     2022-03-30 01:20:11         2022-03-30 01:20:11
Kraken                       bc1qqwy50uahzvnn8lpc8769sk3q8dsl3fe0ye02ksk43m74        BTC                               0.30821102     2021-06-22 18:34:31         2021-06-22 18:34:31
HitBtc.com                   3JSc8fYRWsn6qAq7UnZE8Q9vm2aE5Whg1b                      BTC                               0.30698342     2021-02-28 13:13:01         2021-02-28 13:13:01
                             19sosF6jvurWL3VYe4MF9KwCmKk1RQm34D                      BTC                               0.29979908     2022-03-28 11:14:22         2022-03-28 11:14:22
                             1CixWyvkSLseDGpkC7Fbm5qFDbZ4dSN41x                      BTC                               0.29979908     2022-03-30 03:16:10         2022-03-30 03:16:10
                             bc1q0enqea9uycv86yajvxlgd05alj3r46jyhyve6d              BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q440kwh66gdecmwh5kn8kx5mjvuar2pxpjzxm3s              BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
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                                                                                                  Funds under claim
  Owner        Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                           Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
  Name           Name                                                          Unit            tracing methodologies;
                                                                                                in cryptocurrency unit)

                             bc1q4hnw4v5c3njxgk5f9kw546n29x9zvfdnlf765d        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q5vmkc2hpnqp7j3kd62vrjtcejvflv2ulc76dyx        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q6czm4z5d6rnxddkjfus5szwp36j9kamfrx9lyf        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q72w9mg0a00j5v07wgxmhmp43juzj4ge8qrzcja        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q7t2lt3gmx0hpwdamwgy4l8a4lxgy7p87qe2xcp        BTC                               0.29979908     2022-03-23 01:05:04         2022-03-23 01:05:04
                             bc1q7wuyjhgf8s4cv2xcw8av6rar7lvhuku7lpe8hx        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q86julvk8ttkvwuwwc8gu6ny4sxawyq4jdgmtql        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qdu920z6qm6gvrglw70g5f5v4ewmn89rcsjklrn        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qh0kghzlgecnfp3p9nnk28zwvwkq3tp08vukas8        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qjylp4wkuxkfjuar09zh3gyqg2n0ap8vsf2y7e3        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qkq787y7q9qpyfqpffwqwp3qpc80qh5qqsw0ta5        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1ql6e5dn2j4cmv0df2z33jvr8kkzmwa4thz0zzxk        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qlfc75da3609pmgsyp0ws7ems3y4p6ae796hcvd        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qmdmz5zppylkyzsspt2uxyhwwuxgzhvu88q7exs        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qmyjajhqznzwczawfk3dm7u0ml4wul3vxywxjuz        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qnd96sp4l04vleks3w0ftca303h9ukq5cd4hfdm        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qr5ypj8hhsz0xzpy2egagdytxpf8zp486h5lwe0        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qrczh6s24kdmn0h59cy86dt64l4d39n9dzuefhw        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qtqahcehy94kkpsh4y4glzx7w3caq6m88dyu6rv        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qtr3xv0xt78ey0k0ea0s7qejv9f9yaqy24f5t58        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1quzmf9e4gflrme09qx7cwhqe9njcahllza2zwyg        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qxet5vq0xztrf4pys9vy2742cjfux7grrj3qvfv        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qy4rdr8hs7lz7u7sdwfs2jw57k48xahpw26kwsq        BTC                               0.29419772     2022-01-08 12:21:14         2022-01-26 23:04:32
                             bc1qyfjv0hs9hyxnrkse34x0j0kzj60qpdvdhvn7rj        BTC                               0.27377889     2021-03-30 00:23:23         2021-03-30 00:23:23
LocalBitcoin                 3Fyg8b8416fvgB9SMLjxHZDSuVVvHBf7Te                BTC                               0.26929146     2021-04-06 19:07:23         2021-04-06 19:07:23
Binance                      12T6d7EJUKft8Nh1AthLakm3hMuM7UXndv                BTC                               0.26408622     2021-02-24 17:59:31         2021-02-26 13:52:31
Binance                      1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY                BTC                               0.24063387     2021-05-20 10:28:47         2021-07-31 02:01:07
                             bc1q89fqjd7jx3sgzdlfe7zcgla3st9lv7q9mehq95        BTC                               0.22356966     2022-03-30 01:22:45         2022-03-30 01:22:45
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                                                                                                            Funds under claim
  Owner        Beneficiary                                                          Cryptocurrency   (average confirmed with the five
                                            Destination Address                                                                         Tainted Inflow Start Time   Tainted Inflow End Time
  Name           Name                                                                    Unit            tracing methodologies;
                                                                                                          in cryptocurrency unit)

Kraken                       bc1qyxfd2ctza3npghs9qphpfa2p3su7wxhafs2z4txdmmpep           BTC                               0.20477522     2021-07-03 22:43:08         2021-07-03 22:43:08
                             1AGxhidQnHK3rtQTTcbLWFCCaGqvyqrWW6                          BTC                               0.19649979     2022-03-30 06:54:31         2022-03-30 06:54:31
LocalBitcoin                 3PHS3rk7Rkwz8f39ZE7CuxjAL7YvH86rUH                          BTC                               0.19555794     2021-03-26 10:31:35         2021-03-26 10:31:35
                             bc1q77wxatdmg46ps9zjd0v83cn4f0dprumremhupp                  BTC                               0.19495577     2022-03-29 22:10:34         2022-03-30 10:57:06
FTX                          3Lvr7473mA8fiJzpc6qf4oS7nAtGPTJ8ZA                          BTC                               0.19399382     2022-03-25 13:51:03         2022-03-25 13:51:03
LocalBitcoin                 3JFrJ6P6t5icD7bSAGtVU9Vbg8bQhfDHpg                          BTC                               0.18868763     2021-07-26 11:04:09         2021-07-26 11:04:09
                             bc1q84dwk8eayjntwzsp8hnxg0ezcv6a9waptf9v24                  BTC                               0.18493648     2022-03-21 17:12:38         2022-03-21 17:12:38
                             bc1qkcrf5dx508ptkmwrl7tnnlplnh3fz3z3xwj9jx                  BTC                               0.18224852     2021-03-30 05:09:20         2021-03-30 05:09:20
HitBtc.com                   1CnCfvUTFQf11QNeBEpk29rRXfNFg75R9n                          BTC                               0.15821696     2022-03-30 05:10:47         2022-03-30 05:10:47
HitBtc.com                   3HxnoQXVhPXeZyqgmTRnV4pDJaZME4k1ZC                          BTC                               0.15456499     2021-02-28 13:13:01         2021-02-28 13:13:01
Poloniex                     1AQJFdK8aAiy7jSpu3KeoVP6sXzsPjBVvf                          BTC                               0.15438851     2021-10-03 20:07:10         2021-11-11 18:21:08
Ren                          3KN8ZNAmsfybuieLTU2rwJQoWttiSECztQ                          BTC                               0.15058266     2021-03-25 22:33:21         2021-03-25 22:33:21
Bitstamp.ne                  37VWXtmckaPrKaeARcRvToJsEWLxeQYutd                          BTC                               0.14325588     2021-03-12 15:04:26         2021-05-06 16:41:07
                             bc1qxme9w7jdj94sefhdvj86tkjgx5jx03vkzdkgm4                  BTC                               0.14236451     2022-02-16 22:17:45         2022-02-16 22:17:45
Kraken                       bc1qyvqls3p8t6jp4g8yqjg50n6jpkaqfcypyqcgr9smy64ldz54        BTC                               0.13533877     2021-06-22 19:40:48         2021-06-22 19:40:48
MEXC Glob                    32YgzEsdvt8Mh4s3skG7UYYAEcorxdoMo1                          BTC                               0.12886460     2022-02-14 04:01:36         2022-03-25 02:20:37
                             1PYtAJPnL2SAPQVnMMyHNRzthKcTiK9G5H                          BTC                               0.12680340     2022-01-31 21:48:23         2022-02-17 12:28:58
Binance                      12or6jPtCQXvdU3H1EyEHgCEX62Ga6jSid                          BTC                               0.12259585     2021-05-19 13:05:41         2021-10-04 13:14:36
                             1JZqZP3v5GkfhAH1o7ZhNSwMEqDojoreDq                          BTC                               0.11557473     2021-04-07 09:11:00         2021-04-07 09:11:00
                             bc1q4xyrapnzamf4k3t3edd6k32872xf2kqff3284q                  BTC                               0.11486260     2022-03-21 17:12:38         2022-03-21 17:12:38
                             3K8Qu3XahfaxG7v5D5N4FWqTUZ8E73sNNJ                          BTC                               0.11396751     2021-03-26 19:34:05         2021-03-26 19:47:32
Binance       SimpleSwap     19iSJXBSJpiGPmyLkz8c9sx3Nk3amyJok5                          BTC                               0.11254411     2021-06-27 16:40:15         2022-03-13 00:58:55
                             bc1q7ndcwe28clgv04vw8n36r5fusrd658ep5nr6vt                  BTC                               0.10868975     2021-03-30 12:04:58         2021-03-30 12:04:58
Binance                      1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU                          BTC                               0.10062081     2021-03-28 22:24:57         2021-12-17 15:03:48
KuCoin                       3NgEQb6dTjdLdtTjDnBaZMbau79gHScodt                          BTC                               0.09808890     2022-02-12 04:00:43         2022-03-28 08:33:09
Binance                      1AKtxjFfY3kGzWGX5XvEyGiZXR9ZCGmXFB                          BTC                               0.09778368     2021-05-13 21:33:56         2021-06-11 23:01:57
Nominex                      31s4AxJaFthfSG21ScGHT9LEPPrp4mR2Cn                          BTC                               0.09605104     2021-07-18 01:52:20         2021-08-11 08:04:31
                             bc1q495y585ssu4qqqp66gyxhhslkldk8p5cf2j66l                  BTC                               0.09442945     2022-03-28 22:09:57         2022-03-28 22:09:57
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                                                                                                             Funds under claim
  Owner        Beneficiary                                                           Cryptocurrency   (average confirmed with the five
                                             Destination Address                                                                         Tainted Inflow Start Time   Tainted Inflow End Time
  Name           Name                                                                     Unit            tracing methodologies;
                                                                                                           in cryptocurrency unit)

                             bc1qmv7mudrvjc64c0fsmptx9dghpxxsn367zse6lx                   BTC                               0.09442945     2022-03-28 22:09:57         2022-03-28 22:09:57
                             bc1qvelej34mct26hnx7y0mu6uzhpxfmluddnca326                   BTC                               0.09442945     2022-03-28 22:09:57         2022-03-28 22:09:57
                             bc1qhe55h202gk9z0jsg5h0vzqydjsgmjl3c3490j0                   BTC                               0.09427943     2022-03-28 22:09:57         2022-03-28 22:09:57
Bit-x.com                    bc1qpq00d2yg848ljcsypg0p7jj5gttap9l4attpjw56rzn93x6cw        BTC                               0.09341780     2021-04-08 02:56:14         2021-04-08 04:44:27
OKX (OKEx                    bc1qaqeu4s7drfpxdrt505fe8qcraymplh7eh7339g6jfh30mv           BTC                               0.09317869     2021-12-22 10:35:29         2022-01-19 10:33:26
OKX (OKEx                    3Ejcov8UL29FW6sozV1vFfyT4npDUwEJsn                           BTC                               0.09127831     2021-09-16 15:54:52         2021-11-08 05:50:12
                             bc1q9qtnxs4vjtdpmflav5n6xck0shvsjw7wxy49qdxnpn92zn           BTC                               0.08904310     2022-03-29 21:51:13         2022-03-29 21:51:13
                             bc1qqz5xamdwfklv7qr3fp52s89l3jdmx4fkj9fpcx                   BTC                               0.08596064     2022-02-12 02:53:42         2022-02-12 02:53:42
                             bc1qyq62hmu0736nvzu5s6w9v4tevwze28ymamvq0w                   BTC                               0.08596064     2022-02-21 13:30:03         2022-02-21 13:30:03
                             bc1q7vsrpvk7dtxeet87fa3tjzg0yfvzytz5pxaz2f                   BTC                               0.08518203     2022-03-28 22:09:57         2022-03-28 22:09:57
LocalBitcoin                 3GQQM3zDK9tvvdnQ24vaoqkyCr8vzEQvM9                           BTC                               0.08439749     2021-08-26 16:05:39         2021-08-26 16:05:39
                             bc1quyytcd090xn5hm2l4r0822ngxmcqx627pu2mv2                   BTC                               0.08022858     2022-03-29 21:22:50         2022-03-29 21:22:50
KuCoin                       3EtnttbT7MwzrMNwPc4SVsBtd5obqkcDzT                           BTC                               0.08008933     2022-01-15 22:37:14         2022-03-21 20:40:59
FTX                          3Aqx9j4V3hipZdCEkM5RaEoYbo8CvmKmrP                           BTC                               0.07998647     2022-03-27 12:26:43         2022-03-27 19:08:13
Binance                      1AwhgUBg7ew6jcCpiun5zJXDmJMqo38HBh                           BTC                               0.07857063     2021-03-11 20:42:39         2021-05-15 15:27:17
                             bc1qa3jygewzeck97j33v8535ng9hzsad30mwuc92y                   BTC                               0.07673837     2022-03-29 21:22:50         2022-03-29 21:22:50
                             19tbywqEFgqo4pkvdH1GdcDDzpYqB7ftLh                           BTC                               0.07619770     2021-06-26 13:21:41         2021-06-26 13:21:41
                             bc1qla5t99qf4j4muwulftwnawrggnddlw8rx4kg3t                   BTC                               0.07549603     2022-03-29 03:47:46         2022-03-30 04:14:35
Ren                          3ErtV4K3sDHoshbudwAnkreSuXS7u2YREJ                           BTC                               0.07513967     2021-05-05 06:22:24         2021-05-05 06:22:24
                             bc1q9hghr9m0v4kz2lm6xaa4u328sem4jsd4rx9885                   BTC                               0.06534965     2021-11-13 20:29:13         2021-11-13 20:29:13
                             bc1qjer2lhn50pxjrg73mxa6evwjjxk36jgn3s0lgk                   BTC                               0.06407880     2022-03-28 22:09:57         2022-03-28 22:09:57
                             bc1qaw8d0msdzlpg5r8mphkm7v0xmkzsgjxa7aj9hq                   BTC                               0.06206556     2022-03-26 18:12:53         2022-03-26 18:12:53
HitBtc.com                   3HVfPsMegSmX1PwUcmvRyqCrXng4tQpbzX                           BTC                               0.06061241     2021-04-08 05:52:57         2021-04-08 05:52:57
Binance                      bc1q0lfwx3d7hnuttnmn8mzcegjda4avmq8sdxujey                   BTC                               0.05800039     2022-03-27 04:08:58         2022-03-27 04:08:58
Paxful.com                   37jdH27yixRNcK9Vyg5FvcBfMimTXjHTbG                           BTC                               0.05799017     2021-03-12 20:45:20         2021-03-12 20:45:20
Binance                      1KKFohFF6yBZhqqfKfMrwPUDE2BwTGU2N9                           BTC                               0.05755191     2021-05-15 07:20:35         2021-05-15 07:20:35
Binance                      1H23VQRYDYvTeov3CVEJopy4JdtzXzdeEa                           BTC                               0.05699151     2021-05-17 04:23:19         2021-05-17 04:23:19
Huobi.com                    17oXZFjxV3TRwPGRB5gwxEttEupphM4k3U                           BTC                               0.05699151     2021-05-05 11:18:12         2021-05-05 11:18:12
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                                                                                                  Funds under claim
  Owner        Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                           Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
  Name           Name                                                          Unit            tracing methodologies;
                                                                                                in cryptocurrency unit)

Binance                      bc1qvw0876ldh6mfcmdv25xu9xqmfzth76lawkxhyd        BTC                               0.05699151     2021-04-25 14:54:33         2021-04-25 14:54:33
                             bc1qzx7gl3jlvapm53ngg0xhgl5wckkrf3ydmk3m9j        BTC                               0.05604895     2021-04-12 17:08:21         2021-04-12 17:08:21
Binance                      1NNC1t8quVLQz9dn2ZGQqZAsZV5dFEYEPe                BTC                               0.05582116     2021-03-29 17:52:04         2021-03-29 17:52:04
Kraken                       3HGdiSbfnM3FH4CapoDctJ1ffXz8cd56er                BTC                               0.05276544     2021-03-16 00:09:13         2021-03-16 00:09:13
                             bc1q6l8lsn4kttlvpc3g6up8t25f75s0nr4gj5k5jk        BTC                               0.05266181     2022-01-19 19:14:15         2022-01-19 19:14:15
                             bc1qutv962rncmm5eamguuf4nvnj6mw3dkw9y9j58e        BTC                               0.05266181     2021-12-07 17:27:31         2021-12-07 17:27:31
Huobi.com                    13z7nQx7nLJNdQPxMa4RmVgsfqhhm9sgDC                BTC                               0.05261756     2021-04-05 09:19:22         2021-04-05 09:19:22
                             bc1qkfv5r2l69ujfugfrjrlzuzp2kdaykgeg2lrn6z        BTC                               0.05227597     2021-04-07 17:00:34         2021-04-07 17:00:34
Binance                      19RuWhdXUruJECvdaiYVcHdtqT19Ue3Hin                BTC                               0.04953150     2021-06-21 12:22:44         2021-06-21 12:22:44
Binance                      1HjCsxkyJBbRSZU7fqpUczz96wK1JP7eES                BTC                               0.04953150     2021-07-14 21:01:58         2021-07-14 21:01:58
Binance                      146QSUpVgEnw6cPdvqK9Ektc6Fs6T6Y78m                BTC                               0.04953150     2021-07-03 18:24:11         2021-07-03 18:24:11
                             bc1qcmm3vk59junfzztae9hz82kq4p8s5myaygjpd8        BTC                               0.04870071     2022-03-29 21:22:50         2022-03-29 21:22:50
                             bc1q6qtk68af3yjg7fzn4992eh96m2wk4g5lkxc58t        BTC                               0.04858017     2022-03-24 00:25:38         2022-03-28 20:48:20
                             bc1qd6rpjyzhym7v6ug45r2kf4g5c5xm7a978m7m8g        BTC                               0.04830540     2022-03-27 04:08:58         2022-03-27 04:08:58
                             bc1qdvrj6w6q9gnwjk8k80f9ht3galnx3swkzmxfy6        BTC                               0.04577013     2022-03-29 21:22:50         2022-03-29 21:22:50
Binance                      16MoMBF2pQyq1xHWpU2QtdApSocWnkRdg4                BTC                               0.04398661     2021-05-12 22:52:21         2022-01-05 19:27:49
Bitfinex.com                 bc1qnfd26kl2l9kyezchn9xa82k3nnyla2ascdzuwh        BTC                               0.04394173     2021-06-19 19:37:37         2021-06-19 19:37:37
Binance                      1D3XqcAkcUYz6N3mCLaK2brwPT28wrXCae                BTC                               0.04358540     2021-11-18 13:32:38         2021-12-18 12:23:18
Binance                      1CEvgeHddizVumNdT2V2P9yRgHtQjuMfhM                BTC                               0.04244118     2021-04-27 08:47:01         2021-04-27 08:47:01
                             1NoeNfqBxhS1BHuLk483wv1DKHDRefjYW7                BTC                               0.03760716     2021-03-10 14:29:09         2021-03-10 14:29:09
                             1JVpq7G4eg9krVeufUmrkS3bMPwR2LRPez                BTC                               0.03758381     2021-03-09 15:26:54         2021-03-09 15:26:54
Bybit                        18Wn4PdYZXrrxyMdZvMofyLfNKWVtCZviM                BTC                               0.03745606     2021-03-24 16:16:19         2021-03-24 16:16:19
                             bc1qhke5wpy7teah90ncsqaraft5f4ll2vkp54fkdq        BTC                               0.03707367     2022-03-27 04:08:58         2022-03-27 04:08:58
                             bc1q04zrnl4g0xf4h8zc0amf44r9qczsm5m52fncnh        BTC                               0.03627789     2021-07-18 01:52:20         2021-07-20 03:15:51
Binance                      15XeU1EtEwNzRQ9eWYRxkomBFdBMH79KDX                BTC                               0.03610531     2021-11-14 05:15:27         2022-03-27 04:08:58
Binance                      16DHWd9D88WpHxL51d4MixrC1LvoTHE9oj                BTC                               0.03357427     2021-07-03 18:24:11         2021-11-23 08:33:30
                             1NjfsPVwHippjcZUU3jMiGs5WoUE4LDeGQ                BTC                               0.03213093     2021-05-04 09:25:33         2021-05-04 09:25:33
KuCoin                       3JtozJ9CCkfw9KUpUD6tZnEF36bv4Mv54A                BTC                               0.03077355     2021-04-21 08:31:08         2021-04-21 08:31:08
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                                                                                                          Funds under claim
  Owner       Beneficiary                                                         Cryptocurrency   (average confirmed with the five
                                           Destination Address                                                                        Tainted Inflow Start Time   Tainted Inflow End Time
  Name          Name                                                                   Unit            tracing methodologies;
                                                                                                        in cryptocurrency unit)

Poloniex                    1917vGDrz4ukiuNx5vzMMkTXaXbsG9BWLF                         BTC                               0.03074507     2022-03-28 17:52:59         2022-03-28 17:52:59
                            1AwyRpD6KHJVHDuAAKQjE72aVNMn61J4FC                         BTC                               0.03014960     2021-03-10 13:43:42         2021-03-10 13:43:42
Crypto.com                  3CXDfdypUbQdu14NhhAfWerRcsifL8cTGk                         BTC                               0.02965372     2021-03-30 03:16:23         2021-03-30 03:16:23
Gemini                      bc1qg3z6gv0gyn2pw3ktnr9h4ehfzcexdxq0yy8plc                 BTC                               0.02888805     2021-04-07 16:14:27         2021-04-07 16:14:27
                            1BgZDS3Z5LbyU3bDQcX5S9Uf7dztWrFSjb                         BTC                               0.02848793     2021-03-10 17:31:56         2021-03-10 17:31:56
                            1KR1ZUCzGd4ndPjCFPoopRi4zxQ83MfBhw                         BTC                               0.02827639     2021-03-11 16:36:36         2021-03-11 16:36:36
Binance                     bc1qmazmlmkyl3995l3qw49uya2k97wjcrmumwg8ct                 BTC                               0.02788380     2021-04-21 08:31:08         2021-04-21 08:31:08
                            1PsNZVAfJq9y2Uvy6NQhj1CzgrjadY3rua                         BTC                               0.02744252     2022-03-29 05:34:01         2022-03-29 05:34:01
                            3PFz8DYcpqKiE7fm6LFvN7f4CynaZiWM5n                         BTC                               0.02651832     2021-11-14 05:15:27         2022-03-27 04:08:58
                            1AhNDX24iwCwamGPT8w2RYexWeM6t98s6v                         BTC                               0.02619829     2021-03-10 16:20:36         2021-03-10 16:20:36
                            33UJjQE3PiHJeFEUAMdBuzY8jw7nRJGBmb                         BTC                               0.02424595     2022-03-26 18:47:48         2022-03-26 18:47:48
                            1CgeP3bo7i95kJaW1DrDD1amRSrovBHpCL                         BTC                               0.02346233     2021-03-09 14:46:09         2021-03-09 14:46:09
                            bc1qz8auns0l52uvm4szfzrup4ysh9sd8m3kk82tre                 BTC                               0.02202640     2021-03-20 05:43:55         2021-03-20 05:43:55
                            1MT61qG17FZUcTrKvotkXFTCMdGt93EupT                         BTC                               0.02119018     2021-03-11 17:06:25         2021-03-11 17:06:25
Kraken                      bc1qlfyznlvatcm3wchudqmx79fg5u0xl5ejx6dq8xx6p3sr0ks        BTC                               0.01957083     2021-05-05 23:39:43         2021-05-05 23:39:43
                            bc1q6urkwxxa0am00ax2xaf4nv4htnclfy30jd9eg3                 BTC                               0.01942788     2022-03-30 08:54:51         2022-03-30 08:54:51
Coinbase                    35yxnumGu23y5FYnRLssntZ86nUQZqkuCY                         BTC                               0.01937410     2021-04-21 08:31:08         2021-04-21 08:31:08
Binance                     17chsw2ms7pJqV46onQqpMkiUc6ctKWvfP                         BTC                               0.01689129     2021-04-19 08:58:40         2021-12-21 07:14:19
Binance                     1LL4DoZP9vfEsw4VRqvx4M9CcE2qWFKYph                         BTC                               0.01657129     2021-11-14 05:15:27         2022-03-27 04:08:58
Binance                     bc1qhnhh3j2fxn9fu5vcuqly4ntc39wzsq3yp8476f                 BTC                               0.01468140     2021-05-07 23:22:42         2021-10-12 13:34:23
Crypto.com                  39cUnKwrRCPF7NqSRiAwF6x5Mk6nWywMDg                         BTC                               0.01440663     2021-05-14 18:13:53         2021-06-20 10:23:50
Binance                     16aVSQ8CK5Z9UTdtzHiRKrD8wg8b5K7Yij                         BTC                               0.01384736     2022-03-27 04:08:58         2022-03-27 04:08:58
Kraken                      36GNnB2G8mo7nv62MmtH4sUUg647rFxrwP                         BTC                               0.01348439     2021-06-20 12:07:54         2021-06-20 12:07:54
Coinbase |-                 3AUZE1wrARfzv1ZjuM9ZnjfgUNh31zmmY6                         BTC                               0.01129230     2022-03-27 04:08:58         2022-03-27 04:08:58
Binance                     165aq15HV6PZSkyfprSBoMRtenXHq9DuQT                         BTC                               0.01084292     2022-03-27 04:08:58         2022-03-27 04:08:58
Coinbase                    35MkdfL2CZidgvq3HsZQ1PLWdo1znuMMF8                         BTC                               0.00582604     2021-03-01 18:17:42         2021-06-24 06:12:33
                            1KBy6MvcBb2qQRS5fQT92o2c5Dq2W6ygx4                         BTC                               0.00270375     2014-07-29 13:17:36         2022-03-29 18:30:06
                            159m8sYcDJwPfJaVpLeKJitkQTiPKevnY4                         BTC                               0.00146536     2014-07-29 08:54:46         2021-02-19 14:37:16
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                                                                                      Funds under claim
 Owner     Beneficiary                                        Cryptocurrency   (average confirmed with the five
                                      Destination Address                                                         Tainted Inflow Start Time   Tainted Inflow End Time
 Name        Name                                                  Unit            tracing methodologies;
                                                                                    in cryptocurrency unit)

Binance                  1BqNAxgppfFTFRTXtiU6FebqR1XDzyNjYN        BTC                               0.00130640     2021-05-31 14:02:06         2021-06-02 15:46:10
Coinbase                 3H332gtSHCYnUDuzVnzPNZu9V5jxhf6HX9        BTC                               0.00040478     2021-06-13 10:54:59         2021-06-13 10:54:59
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        12K8u22kjGxWadyks4YSZbNqZbEGpmUNpm          BTC            8a945c1469663fae2ff33a4cfeaf948ba82ee9a74f71e2bbe88212a62d411394   2021-02-27 23:53:43                         0.84215171
Binance        12T6d7EJUKft8Nh1AthLakm3hMuM7UXndv          BTC            bf3733394bbf299916d090b9ce4d66f145224e821bff0e2efe3e8e32a4ebd1e1   2021-02-24 17:59:31                         0.11185959
Binance        12T6d7EJUKft8Nh1AthLakm3hMuM7UXndv          BTC            cb51ab19319a999eddb1135f7e642d3db4135b5c5c666402f07d83daedbebaea   2021-02-25 16:12:10                         0.03899375
Binance        12T6d7EJUKft8Nh1AthLakm3hMuM7UXndv          BTC            dd61fe138b8908572be8731b907f53556326d6fc41c8abf96286874830a4a7fa   2021-02-26 13:52:31                         0.11323288
Binance        12or6jPtCQXvdU3H1EyEHgCEX62Ga6jSid          BTC            c50d9d842ead951b2e6b7e2068ee2f1e351bc73d2e0ce3bb21f0af2cbabbfb5b   2021-05-19 13:05:41                         0.00201627
Binance        12or6jPtCQXvdU3H1EyEHgCEX62Ga6jSid          BTC            ce98d8a2972107a9306025c93b9f646ad3d2c255655a84d0c9b9b3ea3035bfd9   2021-06-13 23:37:37                         0.05715225
Binance        12or6jPtCQXvdU3H1EyEHgCEX62Ga6jSid          BTC            85f3bacd28fbb82a965e7921d0e932cfa425a068bb0af38da4a9d40ccd3b42ed   2021-06-29 09:22:45                         0.05011109
Binance        12or6jPtCQXvdU3H1EyEHgCEX62Ga6jSid          BTC            f242b159ae1d4b800dc64ed5a9433196b87ee97479db4bbd55f1ad9fc3449f80   2021-10-04 13:14:36                         0.01331624
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            37aafd738a5ec65a9272495ca6842b1bac84cb07e6bb18df38fbb8b002c716e1   2021-03-14 19:43:26                         0.20550635
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            dad8faf3facc84bd41d2a1582b5ddc0d3a1f25704b93c5b90739e699b02bed9a   2021-03-16 15:02:58                         0.35991912
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            81f021aa447ed904fdbd607286596b8460d4e9e3334ad18e62b585594a05f5aa   2021-03-16 15:49:52                         0.21351748
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            30850ea2ceded334cb8cc3170c8cfb3938265137f8485e787175c20d48ae176e   2021-03-16 18:06:06                         1.47131788
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            845e89e986adef4a27c235e543296a4ad3f6c9bf9d14a45bc33e5d61f64ad603   2021-03-16 22:34:56                         0.40823475
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            0bc4d33959004e9a3ac9e808c2e5816491511848af6c135e81f79ed492ed08db   2021-03-17 00:32:20                         0.11025811
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            6d675f1e8ba320046d4628ff5bd807e5b11ff6cabc0cddc840c82235141fe08d   2021-03-17 10:58:37                         0.31286174
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            4b6bbf863c744cd3772f7c874eb49adf19f2ec3e1758326adde74d9111177018   2021-03-17 20:09:56                         0.27788505
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            c85e43d59137a93ad09a83c05fd99e79f76826a6222cdea2f516a6a8c75e6803   2021-03-17 20:09:56                         0.09700972
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            980973cd6577adc7fc6739849962d31c1e1771537c85868013b1cde0853ac036   2021-03-17 23:42:33                         0.67952373
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            8c03db1279da7758be163a20d0b82388ede8b96037a548cc60cc21dc0057742b   2021-03-19 15:33:43                         0.00506710
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            8321b44612f3e12e6a3bf504e7fd58a17dd5900ace1f5ab3de3bfb7f7e3dc3c6   2021-03-19 17:58:28                         0.12138696
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            7401cab6a96c8281b74145a7d97690fe310ef1fa1d4476a79592597fde7aba58   2021-03-19 17:58:28                         0.06294581
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            1e15b350a8007759212485f492717a0baba695ad9257aad3e59131abbb97ad7a   2021-03-19 20:03:45                         0.25973178
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            7d48676879b27743a61f5ccc26a04b76c00859a1b8491fd67efc8d768bb3ee7d   2021-03-20 18:43:23                         0.00804288
Binance        146QSUpVgEnw6cPdvqK9Ektc6Fs6T6Y78m          BTC            8502b1ded87f77b61e4c3410d7e45d965b34fbe99dab5aa4f156ccda5135a75f   2021-07-03 18:24:11                         0.04953150
Binance        14kbqzg3mJrx6zmY5dYpCVhBJ3mrd7pYSt          BTC            a1f43ac1c8770aa97cfedbb15ae67694d17ca8ba7f0f502b2bedb6567074e978   2021-05-11 11:53:29                         0.49972895
Binance        14kbqzg3mJrx6zmY5dYpCVhBJ3mrd7pYSt          BTC            1e081d7912124daf60d52b85248eb70d1f239e365d1ed02dbef09a8029d24e96   2021-06-05 20:11:15                         0.76401933
Binance        14kbqzg3mJrx6zmY5dYpCVhBJ3mrd7pYSt          BTC            39fa84209a0b1ede489638194acc33f731b49ace68da57c319bb6d6289f60078   2021-06-05 22:04:36                         0.05557181
Binance        14kbqzg3mJrx6zmY5dYpCVhBJ3mrd7pYSt          BTC            3f4790cb846058453e14e3c4cc97317ac8ddbbb6c7ab70d38b796b77e8e23fcb   2021-06-05 22:37:32                         0.03448053
Binance        15XeU1EtEwNzRQ9eWYRxkomBFdBMH79KDX          BTC            718a1e8df7e2c67a6a97768fd84249fe29bb5be45624a0e9d2bcfbff7aac7fde   2022-03-27 04:08:58                         0.03610531
Binance        165aq15HV6PZSkyfprSBoMRtenXHq9DuQT          BTC            718a1e8df7e2c67a6a97768fd84249fe29bb5be45624a0e9d2bcfbff7aac7fde   2022-03-27 04:08:58                         0.01084292
Binance        16DHWd9D88WpHxL51d4MixrC1LvoTHE9oj          BTC            4b810888e73fcf8a48885c8bcb1592e5f62ad746b85e7b1a62094896eaf784ac   2021-07-03 18:24:11                         0.00384842
Binance        16DHWd9D88WpHxL51d4MixrC1LvoTHE9oj          BTC            203d2456cde0436971f4290306538603d42b8da30bc224cdc843ff4903a222cc   2021-07-12 14:43:28                         0.00541160
Binance        16DHWd9D88WpHxL51d4MixrC1LvoTHE9oj          BTC            4860d1a8bff0d2f52c10cf0a6ddd1479a9fe128b139c3f1f27d3e4a47cf32a9c   2021-07-25 16:00:44                         0.00740480
Binance        16DHWd9D88WpHxL51d4MixrC1LvoTHE9oj          BTC            d003d20aec2daf76c659739ec7ee53e3aa44dc11f36b4d494f4a517918844d18   2021-11-23 08:33:30                         0.01690945
Binance        16MoMBF2pQyq1xHWpU2QtdApSocWnkRdg4          BTC            ff156e0dd697f16b835f3eef3bd42a79854fe04597caf9a28fd96a91329f67c0   2021-05-12 22:52:21                         0.01458145
Binance        16MoMBF2pQyq1xHWpU2QtdApSocWnkRdg4          BTC            35bfd360c1ef8f4567f1632d7471cd7b8bc3a40738ae9d4af32c12790b552805   2021-08-18 12:05:01                         0.00564533
Binance        16MoMBF2pQyq1xHWpU2QtdApSocWnkRdg4          BTC            20a68d99bb33b0b573584e7374a135cc724016ccb2aca726bd7a4042ee74c7ae   2022-01-05 19:27:49                         0.02375983
Binance        16aVSQ8CK5Z9UTdtzHiRKrD8wg8b5K7Yij          BTC            718a1e8df7e2c67a6a97768fd84249fe29bb5be45624a0e9d2bcfbff7aac7fde   2022-03-27 04:08:58                         0.01384736
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        17chsw2ms7pJqV46onQqpMkiUc6ctKWvfP          BTC            ed6f9e0353317ab11809656816cec66c3e4ce1118df8d528a48681c309ce1baa   2021-04-19 08:58:40                         0.00879788
Binance        17chsw2ms7pJqV46onQqpMkiUc6ctKWvfP          BTC            7bbc502069d1ac1bb00a7109d7a05aaea49c2b20956ed0353f95c7c6c6057a80   2021-12-21 07:14:19                         0.00809342
Binance        17iwoMJv33UgjWxsM1j4UpKtMnGC8hh5nD          BTC            a0d739ae2dcc028d11900c9912a69f7819e0cc461a969800a4b4e96c34af9ea6   2021-04-01 13:43:02                         8.04098631
Binance        17iwoMJv33UgjWxsM1j4UpKtMnGC8hh5nD          BTC            79da48b2806746859d289411f50c939fff1f217488d45164814917e7ddaf7717   2021-04-01 15:37:12                         0.02122634
Binance        17iwoMJv33UgjWxsM1j4UpKtMnGC8hh5nD          BTC            3ee65234f824d46df806d034e805687192301d265c4485bb6fb2db1412518aa5   2021-08-16 08:27:40                         0.77679793
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            c78a931a5f698ab3ef3090cd50cc8280003727a14949807f5ae946e1d41169bf   2021-03-16 03:49:39                         0.46658883
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            d2ba7ed86b5e6c1d5bd6c53e06a1c516d86787add147d70a08d2231c7467060a   2021-04-20 23:56:48                         0.09850967
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            42ceaf25bbcc2921e6ff1201926780e70af6304d5b666bdf9d587494ef7582f2   2021-04-21 00:47:31                         0.29528010
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            bf6c9fe2443f8f80cf57a1077ec7b07cae056284446c9ca79eeec831dedcd9af   2021-04-21 01:14:44                         0.07258172
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            5929eb726826d21ac05d4e4ee2f868e61611b4d5dc62f2d7fccc79d7f79b6902   2021-04-30 01:13:01                         0.12328542
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            3f431db78d6afade2de37005b327d4cfe7d49433107d0f0d55b8534f84b124fd   2021-04-30 01:53:49                         0.02284149
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            5eb289e704119b0cbb23de0267ef14128d07827696249daf8fc244704cea2a58   2021-05-17 04:04:25                         0.29752921
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            ccca79f4a689e230d2fd115b341f27be1843b8a7c90b6e4390f61724209b255f   2021-05-19 02:08:55                         0.12299363
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            363db164598cf9b7db0260f18693772bc4dd928ad4603238151bf8a4face0421   2021-05-20 03:37:24                         0.02516829
Binance        17ssMKaUL7vVJZQBs1CSP7oD8in6fFQ2vz          BTC            5e6ec9ccf6aaa8e508a7f5a491c2ea8ee38c5c96aec326d4b071634395585cfe   2021-06-15 09:43:53                         0.00100262
Binance        17ssMKaUL7vVJZQBs1CSP7oD8in6fFQ2vz          BTC            c0479fb4255ab18e088ffff1be186e64256d8345c85f99b326edc7e176b8d279   2021-08-17 12:09:28                         0.08599086
Binance        17ssMKaUL7vVJZQBs1CSP7oD8in6fFQ2vz          BTC            ed844d463be5d3e467d0201b8ca9e81045c96f72d177551e134fe3feeb6a0758   2021-09-22 06:45:41                         0.34199914
Binance        17ssMKaUL7vVJZQBs1CSP7oD8in6fFQ2vz          BTC            f7381a55f2ca0d8c6f745b9e3ce886d047a4f0946a9b114492af42158c6a3344   2021-10-04 06:26:14                         0.12956621
Binance        17ssMKaUL7vVJZQBs1CSP7oD8in6fFQ2vz          BTC            229d322b4542bf7ba4329d143c403ff6dccb920c4f763f3e33602a96d35ac049   2021-10-08 12:39:37                         0.00833819
Binance        19RuWhdXUruJECvdaiYVcHdtqT19Ue3Hin          BTC            517e86656d961c754ce00fcaa8f6181da6a87b3afb41a12d3f70015266cffcd6   2021-06-21 12:22:44                         0.04953150
Binance        19U6Fk9YQGAhi5bBg6xcvNydPd9SJyCmXf          BTC            90396691af0751484cdb626c385ec52349fcd0d88fbf22fa9954cd1187c4cfbc   2021-05-25 07:42:30                         0.52447578
Binance        19iSJXBSJpiGPmyLkz8c9sx3Nk3amyJok5          BTC            08def9ec9dbd0ba7f2ba67752c6c601bc8ac16086e15e5894ae9e16cdd0f0100   2021-06-27 16:40:15                         0.00353935
Binance        19iSJXBSJpiGPmyLkz8c9sx3Nk3amyJok5          BTC            4039306b2e7d5a5e455941854edaf15eeef09f47bacfc30f78f037713bd43abf   2021-10-23 16:11:56                         0.03551232
Binance        19iSJXBSJpiGPmyLkz8c9sx3Nk3amyJok5          BTC            d9154523eadfb9556eba19ce01148a46c236a56b80413a256d4499af69214c36   2021-10-23 16:23:30                         0.07349244
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            b88b5febb4b9c7e53c919e21459c72f56d8154ba34ca17553ef850af58c979fd   2021-03-08 09:34:45                         0.46658883
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            c50caaa1d86a6bb1d246bf43aa085a2f6ed9dc6442c912444496c2f451bca885   2021-03-12 12:43:11                         0.45776544
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            a112888e5acd2eb76a3bdcecbaf1ff1627ab8c2878765cfb67b0f097ff168ab3   2021-03-15 05:17:00                         0.59999651
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            764808ef218b056e2552a052037cb22667110a5014a497556a7a0eaf76269e6f   2021-03-15 07:23:33                         0.59999651
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            647898419a89c4d77051558c97dbed91fd2135e4734704f02985435b80494184   2021-03-19 11:40:27                         0.59999651
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            074a0020c4742dc5800dce2fea2b19a8faa5c6001916ea7c813238eb08255e1f   2021-04-13 13:38:49                         0.02743932
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            6da7c465aecc9a4a4c9bcfb0432c19d8c93043bdf1fe803b7a508dfd8b906e2e   2021-04-22 19:10:51                         0.05699151
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            143e070ffdde323dff2aaef21a5e32bb06c68a5455e93e08d90f80194741bcef   2021-04-25 12:43:00                         0.59999651
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            9dd03ded4c1ae6ac4554ffebe42e8a00dbb189df5c74192ca3833306eccba3d4   2022-02-13 16:41:01                         0.02955310
Binance        1AKtxjFfY3kGzWGX5XvEyGiZXR9ZCGmXFB          BTC            c236ca21ee9b56d8e05e8532c6f80d2eaf4889c5efdeb2c9788e065d7b6f449e   2021-05-13 21:33:56                         0.08229850
Binance        1AKtxjFfY3kGzWGX5XvEyGiZXR9ZCGmXFB          BTC            62debbabff57c86e3067c9cfadc563b6ce098b4ed5a0eda946bd847f25b5d5b6   2021-05-15 13:41:52                         0.00221585
Binance        1AKtxjFfY3kGzWGX5XvEyGiZXR9ZCGmXFB          BTC            b777b4e29ca055ee4553ae92d38e8154f8d783699cbc44297c01fc2582cd35cd   2021-05-16 18:26:26                         0.01112716
Binance        1AKtxjFfY3kGzWGX5XvEyGiZXR9ZCGmXFB          BTC            06fcc66aabf214acf459c534d2d29b51ec1ce734b95874948267094cac3c6e51   2021-06-11 23:01:57                         0.00214217
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c0fb40c3d2bc2822525654830778b498d123009f409277eb257e723c728cadf8   2021-02-24 08:11:46                         0.03216695
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                               Transaction Hash                       Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            4c08af8c63f2fb9cfcee2aca005c87ce11eec83d47a25d9f636d43df63414bc3   2021-02-24 08:41:30                         0.03156520
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c3663ab9bbeb49409b5f7384cabdb333a4038dc0181577b1ef4ae188accb60fa   2021-02-24 09:18:42                         0.03096367
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0238edd3943667b05af0f802f05c71b36a88519f1f33a6ccd4a7cb32e9f26be2   2021-02-24 09:54:58                         0.02639785
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c1ea878e75381ff82f6eb1f4b343bb57391dd31ca3579e2285d5d25451c37e80   2021-02-24 10:49:18                         0.03087536
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            cc2a8d32d4ccb476f02a6c249ead1399be1fa7f7b4e1d5358f6ac46a01ce018d   2021-02-24 11:34:51                         0.03007537
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            dd82473bded5d653623f7a73940ed9eeeb1a7f8b719b80332d9c60b056c8cb38   2021-02-24 12:19:25                         0.02641993
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            300b96086ae93e95824b1f5dfd8340a285a797746e448d254c0e007e46629379   2021-02-24 13:05:41                         0.02983161
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0a5af62da8890c3b17bcf2ce101c0834b15da45e531c6cce88d092470b0beaba   2021-02-24 15:15:49                         0.02850849
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0c63072f130f3b29ad5a0f71f68dd0e2d4dc879db8fed3192accc272fcc42dd9   2021-02-24 15:54:58                         0.01771413
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8a2891a2d0a774efa7e43ed2a83d553a1ccca77c16c7054ade95ff5069c67f13   2021-02-25 13:57:43                         0.03619920
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a7188d8e58e655524fa165a4ded21595d74dc46d8b40c056047f69c35d19e167   2021-02-25 14:42:52                         0.08487516
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            9d91c11738daa498005116ee65b1a2aa340bc18fc9798dd3d43293fa7ac29cea   2021-02-25 15:51:12                         0.06087282
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3dc10fb10fc4a04a552bd74dd51b3b6844da35dce7f9a70572c39918a40bef7a   2021-02-25 16:37:09                         0.06239297
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5333ca93d24cb9297a291b5ed7ba58b665b972b443602554aea42e52407a14c5   2021-02-25 19:26:39                         0.08830747
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            019c008887198b59274787f9a4e082c5064b46c6d6f909de10e75b4e1e04f72a   2021-02-25 20:19:21                         0.07363594
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            54dd66d4c0a7265927e95386e5273bd7eb9b435980b3838f02c07fdeebe5d0b3   2021-02-25 21:13:25                         0.03948262
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            015ebe4631d4f6e7b3bc70949db8ccb04d7dce0198b01d48480046fba31728d5   2021-03-02 01:15:12                         0.03542405
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f09a3bc299bdf4a3d50b2f9751f5bafa47477ffc880290a932e9571289d1279b   2021-03-02 01:50:23                         0.02703987
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8f81ed71125321144e4c49c03ff226205b49a2154b2b430d22720406689e2a5f   2021-03-02 03:05:04                         0.03535824
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            2552ea073b4eb98dfa9e9a4fa7b1b508191dcf99b5bfeda6e1a69f38aed1306f   2021-03-02 04:03:10                         0.02704623
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a2cbe039f8422d9ef25b4f326d753d306c1281fbd8531a563494bbc03b202dd9   2021-03-02 09:48:50                         0.02705002
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            78ffe6fb38a07f2ae521059a8332a4c7622053e7f744f292f533cf4e44399442   2021-03-02 10:21:56                         0.02705434
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            9389eaa5a177e4faa5a246447c28346aa265cb54cbbec1dc6cad3d2e480f60a2   2021-03-02 11:26:00                         0.02705938
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5a83906c25e1bebc76fd94000a0e2e582c4c17380499c53c252b9993bb64e271   2021-03-02 13:41:31                         0.02706487
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5df7fa63615526bcee5a30db0a5856df3c36e1e3a55d2f28009431039c982ba5   2021-03-02 14:53:00                         0.04084281
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            7288a459124aae638b8bf26acd6bd5ff029fe4a7a538290fd9962970bf0fdd25   2021-03-02 18:30:22                         0.03694933
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f2ce12a64fd7ce6167bfdae8fb655ed4d9c127bac24c4e8d4a42dd36ecadbe19   2021-03-02 19:05:15                         0.02709451
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            301fb14b5d30d0bd8392342a02170f5217802e03421dd498df6606d8b70119d1   2021-03-02 23:03:38                         0.02737870
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            afb6fd857df4227e8a71e54ee4082b9a58970a42e4e99a182ce99fdc4f91c84c   2021-03-03 22:58:30                         0.09016808
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            eeb7f82549226f63040c24ba00b4b547a91f8a9ffb9afe25a4226589324298af   2021-03-04 00:52:07                         0.03004863
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            54a13772e08bddacf6d8f0e9ff72524b1b3f85d5d4bd268e639130b25d743c75   2021-03-04 01:45:31                         0.03005184
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a7b88b69277adcdd6e0d29ff7453a05017a7f2232e095ad6bc8475e38df50f08   2021-03-04 02:32:38                         0.09017782
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ba83693c11bc60bbebab69cfcfc5a4aae964c633dc14a010ee8750a3238f44b9   2021-03-04 03:21:42                         0.04452821
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            4420b83e17d8c310183feb827ade094ffa9022d1d571896338e0273f16134d15   2021-03-04 03:48:27                         0.06351245
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            290d2df2ebdb95d454834e04975bca4e2c8a086f52ce0dcbe7863a6e677d9e62   2021-03-04 09:42:18                         0.06486680
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3ceb8c843dd61cf99a2690a7074f47b385b05c03fd7ac0c0aa56e8e3d80ac97a   2021-03-04 18:27:22                         0.08414925
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            2435e1815f1c840c95bd821c3663048674b7749ddfe209c1e809722cbdf327e3   2021-03-04 19:14:39                         0.09020944
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a21a0f6283df93c70d79246810b510808332304f1263f9ef646fc96abf17f502   2021-03-04 20:32:24                         0.09022383
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            dc96afd17928b74ee62a1fec1f881ee35aebad11cba660bbf0211f8cfa819372   2021-03-04 21:37:27                         0.08284560
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d4fd720c787ac3afba0c804f9cda803f6e031aa1b5bc91ca9c6766f57b2e245a   2021-03-05 16:59:37                         0.00620012
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0c384276cc622061d95e6073ab331d4e07589d9d7976061dc4dea0f7d718538a   2021-03-05 22:34:16                         0.09036458
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ff04e1e1a1ff9b81a02f13b8cd2349bed199135fd3a48bc52395b48bea9cad79   2021-03-05 23:43:00                         0.08891010
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            9d5614dfb485a5b4e794bd882e4b4cb099e2d649964cd846bdf058b8c070909a   2021-03-06 00:15:17                         0.08620028
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            7db1c9180651e6486a67223a44df60387b39a82d65c412ddaa1527964a4108b6   2021-03-06 00:58:18                         0.03025108
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            72e9252e2b03dbcc1f4d5853345a73d4748fdf2123d036aba13f89ad8a5caa91   2021-03-06 02:08:20                         0.08587273
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c833e92316073ea1ea8c312a8b88173677d4edfe01b4149a6cd80773f4a2abc7   2021-03-06 08:15:00                         0.03025891
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            fb33a8de9a088b6ac9c2fda1212921f4fee3f938aec7ca2bc3d2bc11e0eb2147   2021-03-06 08:59:12                         0.03251898
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d4b3be52751ff1e1cfa9d187fdf72d6d45040ea80a5bc007b62579bdd1a5b004   2021-03-06 09:40:02                         0.08895189
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            91714ddb4c31c79f618fc707f982347a1b9e805dab5352382e0ea80a24299056   2021-03-06 10:23:17                         0.08265271
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            281c591a015cf2e11c2b2acb78487df79608ad60d49ee8195f8a65f4cdb1518d   2021-03-06 10:49:51                         0.04516872
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b4cc01e948580a28bd5b214f5e8bc853bed9fddc923ff6d0a72754dde682c817   2021-03-06 14:10:23                         0.07958554
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            9cf6da04e20d4c20e234c343b090b627a8f62a7a72a61530576779271c51a5aa   2021-03-06 16:01:13                         0.05911810
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3d9d674cb056eb3c3c8322d6cebbd8b51b7291a1b9e70916ea3b0c170a3ae0d4   2021-03-07 01:29:35                         0.01264402
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            80c18a8fd4beebd05e6343a49f0d97442a946e35de9a316cb3451e6aca822918   2021-03-07 02:33:50                         0.01264514
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e52644defff5cf161942fa0fd8d4578096cca5f74d471b69f7b254771337a37a   2021-03-07 03:30:31                         0.06055802
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            094b09934c6c891395697118a5771aca013b8707fc7a6346dde04cb54684ca43   2021-03-07 04:39:12                         0.01264772
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6cbeb40475cc17886ad6d7295569bc0886b8ebe6f195827ce736fb3d12856f12   2021-03-07 05:21:15                         0.01264926
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            aab4d38701c3e5f9d9742a26994c0537b7763b1987471d3091d3b2c0bc8fc745   2021-03-07 06:12:05                         0.06234262
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            013c9f1862070792c28157d178832c5ac0b627f8fa0977346edfcb7d011576bd   2021-03-07 15:13:07                         0.01265294
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            41518a61b51cdb1e8b25b27ec4fd568c6b3916b0ba40389104e60b8338245cc1   2021-03-07 15:53:09                         0.06174904
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c90371c63be8e90d36bf8b44be25816e149c3c114406f99c89ff25834f6a0eba   2021-03-07 16:38:43                         0.01476493
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            abab6af64b9bfaeb4ce9b370e43c44da1f16f94300892f8ec22dfaccc1e75290   2021-03-07 17:20:47                         0.01616834
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d4d5efc140db56c6583c461f3aff9e6f901b0fbd23775feb003c6c2356a7777c   2021-03-07 17:56:25                         0.06390555
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5a8fc161449075b970cb74431008cd0487580af021b10d01a9b76a1cdbb553c8   2021-03-07 18:47:24                         0.03135350
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            615d32ed2450fced4747919d64178b4703cdb1fa75dc729cf7b7c5284795e183   2021-03-08 20:40:41                         0.08621283
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            598c71f5a9e8e903b535a3302a6e9c95235b6515e7b0bf5576fdb1b9d5551ab2   2021-03-08 21:41:20                         0.02609268
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b16bd6655a7ecbda06ea2d5d091e9fe1efc98e0f1f4654ca3d1e1f2ee23eadc9   2021-03-08 22:34:13                         0.08621742
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            acf0ac93af4a08611e742db22b159612de8f9133a8211160a61d1c88c4aa8820   2021-03-09 03:02:52                         0.02609775
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b3891d290f77b957333983c705f06f2e3f35bc3f473246fdb7ca857e2901bbec   2021-03-09 04:02:12                         0.03655295
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c0f5fb2c82c03efd61dc31c4f9362620b7dcd7ec6148dfca67efa6bb797a96cd   2021-03-09 05:02:07                         0.08622652
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5da8c0b84aea68abfaf028fe69973839b332885d1d5da5ce261b106eafde759c   2021-03-09 11:57:45                         0.05898844
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d36a0213ef484592d044446cec333762381416c9c3f23117dbee00c0605970f8   2021-03-09 13:04:53                         0.08623532
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            dd27b8d98766dd26bd940944586ed774a4072cbf13616f8afd5673821d93b181   2021-03-09 13:50:30                         0.08624131
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d1982e3c5bb77ea066caf507e49485785300b9be2673641dc54d6e8b97504557   2021-03-09 15:44:16                         0.06050889
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e4aee273f8564572e547ca64714f63f1758358858ebeafa93ffc0dc04094189d   2021-03-09 17:03:18                         0.08247888
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6f96fb0160e3da3b3d1d2736f270121080a0ba703f5e56f9b9d6c5da6866b0a7   2021-03-09 18:15:37                         0.06169197
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            56e01fe028159b74c6acd84a1aeb4c3c318ea96f575ea369b55cd2505989112e   2021-03-11 21:36:44                         0.02602711
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a1c4f584a0c0ea13de5f9b14eaf6afa4de109d2221ef5fb5877f21580a8cf54f   2021-03-11 22:13:06                         0.08615147
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            cdf17ce3fb561c790f74eddafaff8044857f2e7b0e0eeaecfccf5c984036c2f9   2021-03-11 23:15:15                         0.08615373
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            eed7614b9c004d29dc4b9aba2aecc0f1a9a3a1db86db766e41ed99bedb75908d   2021-03-12 00:40:34                         0.02603394
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e453cc3c9999d8ba9d62967b63638009cc74ca59977cf68d62e8ee8b0f45491c   2021-03-12 01:20:53                         0.08615908
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            132cc85fb8cdb2fe5567d74339dddafe0ee24de19a24eb0a43f6876eac8858b9   2021-03-12 02:03:18                         0.03652821
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            938f45ffa3f391f603e5fb6bc4f8aa3804f907c63af7e71222e2be37286d322f   2021-03-12 02:58:12                         0.08616608
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f6d1273f1ec4c41b66f21b7bad37686e5391d1e63c7ec0429b9dc8d5e4e9e602   2021-03-12 03:55:14                         0.05895800
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            2922494439cbd5954dcae50c24699b86ff068922b79eb3211c3217ac1cd7e258   2021-03-12 05:11:36                         0.08617626
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            2372337829237d420a89881f9d07648cb0b1accf57d3cb5cdf1f26d6d0c67be5   2021-03-12 12:43:11                         0.06039383
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            1691ceefd15482e31e80007486bd383509d0c39e896826572f61d5bfbd08ee5c   2021-03-12 15:45:23                         0.06461585
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8ed703e4024b38ff465a1839bf28d35340fb673331a82bb5f4c04bb8a626d11f   2021-03-12 16:35:16                         0.07438286
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d5b443f8f7fee0e7bfbe317f26f6fa5dd21a12d9fd36d310eff6fdc2c3e55731   2021-03-14 08:34:42                         0.00547155
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e5f40cc9d5d31ded48851ee7ade3ffb69941b26edd21049cb170596246e10843   2021-03-14 18:58:38                         0.01218714
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            55fe988e9f1ad8500db33dbbb418a38d11d1f85a91be124f44556ebb5c09a9ed   2021-03-16 12:08:05                         0.03741578
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6b375fb297d5924870a1d9582a91cb6ec0d9b6e600c820596f75b26dd7badbfd   2021-03-18 12:10:24                         0.00756606
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d98e04fb103b01a71e6cacb5536555df2529036daffec7f307a75c784d80a052   2021-03-18 18:48:29                         0.01173038
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f4d179ede4e31496935fe663663b02f69082e792b312aafcc40f7c0672445fb2   2021-03-18 20:16:41                         0.03536736
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3f423637226fb4646f7285fd9ebdb3c1bb304a06aa92fbda26f8b41eb5e27f33   2021-03-19 10:11:13                         0.05546107
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            dfd4128c531959f61bad7e21beca4f518e4329d42010863b0d4fc94ff4d7a998   2021-03-19 11:22:54                         0.05035940
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            35f895debab805f4207000ce7b4c6c091aadef61d5ce1f3efad1048db2fa5dfd   2021-03-19 12:06:06                         0.05800993
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c093b27fcd5a85355091fa2555259125d4fe01414c2076cba72683a5ba6bf05b   2021-03-19 12:45:13                         0.03740699
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            1c9facda41da713ad835cd45a6533b1c897aac16566cfd3532d80a2aa5d1dd52   2021-03-20 11:51:14                         0.02689003
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a6a9f0a4c0b4e10a1a81222097aed5dcd8741693a1fc00546c777bb5d9108b67   2021-03-20 12:09:28                         0.05408775
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0627b93071c0aee7d1ab2ef7d61bcddad722ae34cb178fe9429d74c9ffa9d31a   2021-03-20 13:24:11                         0.05527245
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a66050fc42eda827371f0278ef96adf554ada89150c74c60fc256246e79e1c0f   2021-03-20 14:29:17                         0.03723589
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f102c9427eb95756c43daff3e50c4160624d8f9a97e09792aad07be5ea525ceb   2021-03-20 23:10:18                         0.03295773
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e103dae06da27bdbaf46a68298e64ef0a8e89bfef7d1cec7c3a4d709f71c23fd   2021-03-21 12:37:30                         0.01341125
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            60340978dc6b591a26f3e081f080596d97032a5d2fcbb8b2ecfae1eb120e2359   2021-03-21 13:06:50                         0.01604070
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            66061e940a1079a449c94a85357b69448e3e1f193fd52f2111f67b58f0d7f9df   2021-03-21 15:26:55                         0.03957864
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a0267c3feda4a05e026f7d02f8d3b7bb7a23fca59be1e6efbeda62c95bfda8c2   2021-03-21 21:09:39                         0.02406132
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a18b43de0ae0b8e4fd423903d2bf5b73e0d46d20324bf2237cb69c7580126c34   2021-03-21 23:37:27                         0.02406178
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            2e35096c6ec9e630779691c1999011364b0fc1a8ea9a71d188b6e6a9eb11d2ac   2021-03-22 11:18:53                         0.02406243
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            99723f1c7289967c40ed14e211df45f404e652a8f0a86cb58c3f3e1b437f2eef   2021-03-22 12:14:18                         0.03957948
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            184eace474e54fdb10731b5fe62e9ef283db4dfeda0b5eb882e2aae27b5ab14a   2021-03-22 12:42:05                         0.02406300
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6f5f73483768747519ba4f0f34de31f82ef927a8373966acf7c255bbb0e9d325   2021-03-22 14:57:54                         0.02678228
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a3c8da845da687918178d5f63b54dffd7673f385385968f395b90ca2ddf338ad   2021-03-22 16:09:32                         0.01604484
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            1282f9778810ea30b002d3c3418927171ad3f2d9b3a0129eb1856bc7072001f7   2021-03-22 21:21:32                         0.03958113
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e1dad8c1561512109e7fad73bacd929d888cff0fb9c6306f55f1e35f5466efa2   2021-03-22 23:29:18                         0.03958185
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            837210b6235c473ee8464edcaf2ee6fffd06dd71038fb0ab4fa6fee6e8465fff   2021-03-23 11:52:35                         0.03958288
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            883cd26215c0c70a8f0ee9ded5a4e99aad6d5861516c46577915044ee687660c   2021-03-23 12:13:56                         0.11606640
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            90a12e6c3df7b6548bcdbb68c4c30377d2854ae14d076966443c8d1aeaf1263e   2021-03-23 12:58:47                         0.14407422
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c5c52cc07da00fd25746b7e1c95899955073f609bfca9c12c1a57cc6c44ebfdc   2021-03-23 23:22:19                         0.04171713
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6e8c29cf48ca13f9ed8da9c03d4f44ea858fdb32514197df74a6a107b416b829   2021-03-24 09:36:04                         0.04268944
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            db99fb7319efb04d7cd36256f45a5b4d348bf248bb984b86c38fb7c94d6ceca6   2021-03-24 09:56:23                         0.02858191
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            205f245828b3bc9f51f6489aa2b73e8203e3deb8916e28b76b77c5378201e057   2021-03-24 10:19:34                         0.09741790
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5f81520ee9de61a164cf170325317ed251db6d6d4af9b8865da7b0570f731e90   2021-03-24 16:16:19                         0.15959701
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8f553f77df2c9f1dbadd81db36939f535c62a087a0a07f0de56411ebc5f037fa   2021-03-24 16:50:11                         0.12377490
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            18a46812d03cd840dccd41b7c4007b97dc4f5b448ce259f70650a1596bc2ff37   2021-03-24 17:59:51                         0.03339874
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            862ba1945294653f8f35607c60c7cfaed5fcd811dfbb7b973804c77f09994229   2021-03-24 23:19:01                         0.02306409
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            4b8fc18e9087dd778cb73757908a36269e33aec535c3e04b680b7e66e3284e67   2021-03-25 09:53:45                         0.02306551
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            cfb7e264c30017e66ad7c60aa6323333f7a22fe5c29b7ce35fde79dc285d9951   2021-03-25 10:36:38                         0.01727777
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b07102fc026e1cb95020b39db66db5a4662b6167ecd2b3de31da0e20373c32a1   2021-03-25 10:58:57                         0.02306630
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ba785bf24474deaa561b231aedb9afd4b5d8c24d3ea6c7a27925329307777c46   2021-03-25 16:34:43                         0.02306746
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3e84f3ee8aa9e1f3cf08ccb1236eb5e3c4d14bd025aec2b2c90859b1f57ee17b   2021-03-25 17:14:28                         0.02306893
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3912c0a88c091c8627e57bf0dbb38756f52d87333c0b44554c7d976eb32cd3a0   2021-03-26 01:34:38                         0.02565818
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b576e427eb813a8dc99aada74b29f8d7236cd030bbea301f8e8388f7587757d3   2021-03-26 09:26:30                         0.02826997
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b5606c5ee1e674d13f59f97587b57e7a67fa4b1317a8d921394d8cb59f0f142a   2021-03-26 10:14:08                         0.02870968
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            263124e8c76781bb4ffe674e7d88025f146bdf178e02d62538045b17019ac6f2   2021-03-26 11:11:52                         0.03034016
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b04fb61bb763bb8b43fff7cd9725c6fa8206c48f50631dacbcfae4156798bad5   2021-03-26 12:07:42                         0.05263128
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ab4abb19c6fa9e95774dbd208dfe4a138c94db4e7dd1ee1fae935f045c4818b7   2021-03-26 17:35:45                         0.13763518
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0340b33bce5093a4e6e8dcb5a5d136359d61b4ef20148f5c96e5be363b246749   2021-03-26 17:57:57                         0.08766534
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            dbfb640ea3a57966c745eaa52b5594abf3cdce96262ad09d9d1e709df18ec8f4   2021-04-04 13:22:17                         0.01796205
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            1af5715cf8bbf18955e726d61b4cfa94ea5e9f1988828f9471f9bebd19bdf90e   2021-04-04 23:50:42                         0.09464651
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            93de582840f5215e4f1504a5caa20b94467f3e11653f5cd900a2851ea7fed795   2021-04-05 22:36:16                         0.02502555
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e369d97ba80f4eac7654e9e03702a6e0e699535664aba5f952592157605a218e   2021-04-05 22:55:03                         0.09567025
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            29b5277abd578c79abbdfaad744a9d3c6641de195134fc044b64700ffa606b02   2021-04-05 23:41:15                         0.02502728
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5513f1b11e9eda801742ab230a3a6028a02fea7f243cbab36282f5802f7c2776   2021-04-06 23:16:04                         0.02502833
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            4d2075ee03f4b805fedae6ec01bca354437e3691d7acb4ee67b8719cd649f4d3   2021-04-06 23:56:53                         0.02502884
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ce08a916916c9bb61f34f7b68e049a8d5b39ca58fe83e9ad86cd6033f8379194   2021-04-08 09:10:07                         0.21193136
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            35e0f947102093cdf9d187a367acd32f5be79a617f72102e38be9f079005dc53   2021-04-08 09:41:17                         0.21193875
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            996dfa2b345dd8b1e2ca11bc507f4eecb97c7747fce57ab63977a0723cf32943   2021-04-08 10:44:48                         0.21194592
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            483919db32b6068b5e3d567f812b3a9ff6ca1485569350dec0ef376ce46959fe   2021-04-08 10:59:48                         0.02814765
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            73b6551751b2d196479dc9af66cc7046d56c49d63b59384c4ea124322089dea5   2021-04-08 11:38:18                         0.02933171
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d5c25551e692b81ffd92c2ebcd9e4ef729e7b7ffd9537297a8a40530d40e5e2a   2021-04-08 12:47:13                         0.03135131
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6469646c4567098e9d93c0d9bbf2269627d55708f58b4802437245b2a057c3be   2021-04-08 13:25:28                         0.14133100
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                               Transaction Hash                       Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d2899ce4ef81a3ff6acb18d17b6b35c360aeea5fa1890a7d531d15720a48c87e   2021-04-09 08:45:37                         0.07816255
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b0fc4b264ba05536640d9c8721e774687195a90c5264c7ac389b7df29cfc23fe   2021-04-09 09:31:56                         0.09392774
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            23000f8c032b24d000c2d9539e9a937c5ee47b76cc1dad506120f3ad7ebdfaff   2021-04-09 11:41:35                         0.17620398
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8edb9f7d946f4447a8ea7f1d102990b24ce5db2bb293d25e88a4bdc13406d622   2021-04-10 20:59:22                         0.03733364
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            9bc940c7565c83c8fbd9da4c67d4383f27f7c253836fe51484d492a4430f3b62   2021-04-10 21:50:57                         0.05132007
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            2f794315393badd0a6b14725eb24b6eba70195406413082f324ecf2c199a0b4b   2021-04-11 00:13:27                         0.09560022
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            116b8f5d89d695c08899c49a77b7291a76ffcd5c905db2e3aec00bfafb9c3637   2021-04-11 01:13:53                         0.09633371
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            fdfb7fdd0773bd3378f0717f3ff01468380db6d2d70901a2c1d50d733a3322fa   2021-04-11 09:39:51                         0.09730516
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            052ea19d3a64c72c9e08c90f97585e51aa4b5447f12eea2d952ff701fe74bfd8   2021-04-11 10:13:24                         0.17206540
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ef900eff522f31360c07c9624034cc8b18395c89293b1d4241bdd747ed0ec839   2021-04-11 10:55:01                         0.03421523
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            50c9473067265fc7394c30a3c4ad9637be8d4eaa2e3afa70c2d79ecbe34de6f8   2021-04-11 21:45:01                         0.21185098
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0f91f54e89bbfb0547aea2765f2bab9814c09ec29dc97de8af004bda4aaafcfb   2021-04-11 22:51:51                         0.05464838
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e416202818ec08c12fab95cfc4e6d5ce4eb898319a54ace3fa35567a3c43ae61   2021-04-12 09:11:21                         0.05548299
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            62406db2d347fbbfb14803f85574fa492a28aaf90974309c87430042bb4e9f22   2021-04-12 09:30:50                         0.05667784
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ae9ec494412c0dc8adb7c733fd5cffc738ac55388ae8080d2025f1a6fe9f2cc7   2021-04-12 10:28:43                         0.21187463
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d6e4e9b6b477ff7a0d5e0da6d49a6274c0baee25a7f861377b8909fc680eec48   2021-04-12 11:09:55                         0.10310211
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            9c0e06714a6e5d253bc6c22401394834466f86bf204981dae25208bbb3afd344   2021-04-12 11:26:53                         0.12992138
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            768399343cba492203d00a7d2f322ed76558161ed58a1b823fabf2cf13ce800a   2021-04-13 09:35:35                         0.17134587
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8b40644df37441d3f689e86cb404316755470c3eeafc91b2649356778bc61476   2021-04-13 10:15:52                         0.17135502
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c48e6e5419c4c1060866eddbe23204ddcfa8d24c51c48ee1acddb6dffcc8756d   2021-04-13 10:35:56                         0.17137027
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            063c85bf5b63040df9c1677546fa88fccab1a97700a7f4ee814661b7c30ab405   2021-04-13 10:51:20                         0.00291006
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            613ac6f6c1e5f84ccb52e1044dcbc31fdce39b4c2e4b9e2b41c765ec2eeefbdb   2021-04-13 11:41:28                         0.00291015
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8a96a27d213b46e308ecd986e060f602c941e40f5522953f53a41d52dae69944   2021-04-13 13:26:59                         0.00291025
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3d85813e7d523ed96ccd57fb17cba7477b603c564fe9d77a26e55ace50047a1a   2021-04-14 10:35:09                         0.00291055
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ec1fbae2957bcda9fbd2ae1d4030ab7b10991ccbb51e239b86816d3f97ffbac6   2021-04-14 11:09:04                         0.00291072
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            bb17edf50573be457c34c3cd9914df4235a67d3e751d879549c911b17569a658   2021-04-14 11:30:46                         0.02441397
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d35866aa3bc8692162a8ce4608034cb294be258610ba82c36163fd145d1d93b6   2021-04-14 11:57:00                         0.00291112
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            4898adbb60c41ae1139b85085fb2c034d4da117af717bb23a89d2f95a1ba5b0c   2021-04-14 12:20:12                         0.02441647
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3055b909a44f1f28860f4b39e68dcbf3d683d1b4759696155cb6e84f7e3e0050   2021-04-15 11:36:08                         0.02441998
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            678cfb8010a0c65ae1bb77214f68447933ce68ebe92d843b0c3bce351f96f2d8   2021-04-15 12:13:59                         0.00693696
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c61084ed45c1af8dedf303115516c73f19db9750627d7b0aadbc0c47aeeee43d   2021-04-15 12:34:40                         0.02741702
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b20b3e7241bd3b980c59924ac847330ab126acaf8b21ed82a3c608f37055d279   2021-04-15 13:54:44                         0.08681186
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f403772ada90df2c40fa1e110244f35fdfc304e17904a5e94104e81b0693c10b   2021-04-15 14:38:01                         0.03040064
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            4723b88793cd9700d2fdd10aa11868feda7a35b19d9f47a1936ef0f5657e0485   2021-04-15 16:56:00                         0.03392892
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            228a6e9b1a5b782916a55498bc2e6e576638aed0bb12ab5ea4e598868103dbc1   2021-04-15 17:26:49                         0.09172563
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f106aaff413397f4d09716cdc6f93a5d9decd3477a2933220ad88914de9e8191   2021-04-15 22:30:54                         0.01586892
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3fac7d637daad01cfc425199922a6494d897c14bc79728f532ece779cbb8ad74   2021-04-16 12:14:09                         0.02380452
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            bd12869df4d9a615a03aa06b4bd0b6828cdc49f37534b870b1dd32869979ab57   2021-04-16 12:51:34                         0.02380709
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                            Address To              Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ce5e905e2000783892abf180b38c7cc7c17d36717e118e322b7bfa0ec1c13787   2021-04-16 17:02:29                         0.02381033
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            89c9c6812faf2b3e6533add47b28784f06cc8b4ee76cdd590683ef831cb2f57c   2021-04-17 10:52:44                         0.02381414
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6da0a7ea22231e2c2547334688991496c989ec8aa4096570f7bf263d1ec41e2e   2021-04-17 12:09:12                         0.02681031
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e30f3580dccaf9c161dab91d07e72a54cf9940e155e02c7007f737840a0d2745   2021-04-18 01:57:12                         0.02979701
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8b104dae461a930916fc0d6d6b76f3c177f9911e56f2451b0cd132abc9366cf8   2021-04-18 10:53:00                         0.17260566
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            8ceb0514b1f605bd07279b2e44b585277cbac30a19cb2cbdb7e6baff81ad77c3   2021-02-24 08:17:53                         0.03962643
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            24ea1856753cd3891765347a7e3ef27ae4b0831d1166bcb57ce4fe22cbad53f5   2021-02-24 08:49:10                         0.03842703
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            94f58f7b3b743bf1ad7df1aec0d1ff75984047418833b5b5df365acc1fcf8cc0   2021-02-24 09:18:42                         0.03722796
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d1727627c8a6c4806b9fec25b5175236cd49079bb7f208eaf2e831f9c41e4fab   2021-02-24 09:54:58                         0.03602936
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d64e0649acfd5ac6f0a7138ba0f7844ae0c8b1e0364b60a79bc4b4c8655ac9f6   2021-02-24 10:49:18                         0.03483142
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            07fb7e3b611bc3a7a050c0505056a0edda18eb391e588c1d4badb7095f0a53fc   2021-02-24 11:34:51                         0.02816570
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6fbd916956af91bb01939923da59b80a28c17cfa91d1e4e3f82637d6568f39c0   2021-02-24 12:19:25                         0.02817524
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b3861f6915a58d29320e08f370762787bf754785cd27154b6ddb0903d16c407f   2021-02-24 13:55:43                         0.02818795
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5d439315d1441f1311b48691d605fad7e922f2e92de843dd4386e1cf953c62b8   2021-02-24 15:15:49                         0.03117345
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d089c050623cd694696fa2aae6f81d42caa5f79c6ab45fe63c4e876d3fe3cc01   2021-02-24 22:15:23                         0.02678083
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            26906c4b542cf2a3c3e785c9c21f14388cf4415696477e4d30fce29e48a0e63d   2021-02-25 20:38:00                         0.01020749
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            af3fef5490b7f634f25a48aef9ecccf9441091f6fcffcdff2b9a64347a3ae867   2021-02-25 21:13:25                         0.01799300
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            fd05cc13afef5f00ee989b1af50c35769c22de4d6e5d389d120eaa8777cbd951   2021-02-25 21:52:36                         0.07773852
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c75ea4180d9db1e19e29a234993a6cac2a90f013eb659758207320cf501c4b62   2021-02-25 22:41:49                         0.01633831
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            32d1ebf2f0101f7f268733bf2e8a7e5c6ef577df2dd12da323bcdbdb48a1c63e   2021-02-25 23:55:34                         0.01768444
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            957ebd1f7f47c20a8a545c53253b66eac370082d75322296a5df068d0ab8a681   2021-02-26 01:33:47                         0.02284785
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            8fed608c944f10ef50dc0ccd2dc3b74943df013571bbff6d0344a4b0b476abf1   2021-02-26 03:16:24                         0.07972419
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7558d89b484fea95f015dde3c0ad7ea5ea55b322f059a8d1b01ccf9c18fb2e19   2021-02-26 14:39:57                         0.06862299
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a801d7398b08de36bb6e3e57c668a273f4c3d65364cdb2975ff5920905fd9f86   2021-02-27 01:53:17                         0.00692714
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            3d72bc4bb94a7d5cec8f9545ca7f3bd3a8ed9dbedabe5b73e30942c0dd2ae4a1   2021-02-27 11:01:53                         0.09373124
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d6add1b4b07fa2784210eb039edfbd0e73e9252e46e7e29b3964cac2a503b9bd   2021-02-27 11:52:29                         0.03361283
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            9cd9a838d5722642c48d469bdb2224d8ed3ce10e243248dbfb98f64ef8186b58   2021-02-27 15:12:39                         0.03361719
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            60bca9058053883876e2c761262e16d74ae9c5923aae4d741cdb681052fc8f39   2021-02-27 15:50:00                         0.09374439
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            fca5d56fe9d9ba9236a2c8a025d11864298c3a5bbafaeb9a5f0a8b913ff651f9   2021-02-27 16:34:52                         0.03568280
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            ab4fc6f3b692d657b68bdf26b27747719452e628c32063633dcf79505aa81626   2021-02-27 17:14:32                         0.09375604
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c71d5b6b814da919017b054815599ef749ea5a83fa8ea3c4e8535ed075d52ddc   2021-02-27 20:25:33                         0.09376230
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            f36d176888ee3145a64a4f6670587090600c5243d5ce68bd4bd32b4f2b4d31e3   2021-02-27 21:41:40                         0.08887541
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            3d7998c6b563fcbb23164a8319a052067f5f92062944639981d299c993e98043   2021-02-27 22:57:12                         0.08331458
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c6239828e3a9316e94b3f4448c84c75a0184e5c2de6099c4650ccf583b19fcbd   2021-02-27 23:24:59                         0.04880068
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            8eb2c8d72c49f58d2e3f43267365a46a1773f0243dcde9faeb3bef4e04c4e06f   2021-02-28 00:14:37                         0.08058820
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            dd7d1c46a14fd66417993606d8c88aeb1ba18caf025affacf88c323dfaf84140   2021-02-28 01:08:23                         0.06580007
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            01831aac67f5639a427080874713955cb4a2b983b1835d12f264ed193b3a735e   2021-03-02 23:57:22                         0.02508246
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            341cf1a56ebae66cfd5e98a3d62cbcd12438c2d1a0213363ffe03210fe0157bb   2021-03-03 00:53:22                         0.03385249
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                            Address To              Cryptocurrency Unit                               Transaction Hash                       Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b36abb42bcab85e0bf458128743a77725e6661ca8de652b85ffde01b9ae4e483   2021-03-03 01:57:38                         0.02508751
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            64b1d5760b7d0d445285ad59d45e909afb0b3478ec7b7f728d24f42a51f406b3   2021-03-03 03:06:13                         0.02509046
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            20561cc7eb2ceaf75e85fbaddd5ad4ae306d49bd204624ef16147f7d9878a21d   2021-03-03 03:51:38                         0.02509377
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            2e2a10057067888ef705cd1618602a2fcbc667c4dd7eb07c07dba080e04fcc5d   2021-03-03 04:42:00                         0.03575741
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a0ca2b29bb23f5c34a5364a62186680209401e6050ec24a1c2127fc48f79bf2c   2021-03-03 06:32:47                         0.03412823
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            574eaad72eb344d728ae9b612081d8b15648f05f3ff4fb671bac155dd5dc5caa   2021-03-03 09:59:50                         0.02510732
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            14d8094e051af011a2befb54f5bc03c9680848aa118d7e7c4c031db35a49cc4a   2021-03-03 14:59:15                         0.02511367
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            080e9c67b3e7f63abc39c04f9147c6b96bc21dbc4ff09beb8d6b3304f118d4be   2021-03-03 16:34:24                         0.03538422
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            4a12891410c15392382d25f5d2c31bbd30e8e2cf42f2c2ce6ec5600982148e21   2021-03-03 17:38:22                         0.02716955
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6ccc054c90b2e26ba8019e1a70b0db1a3744f958a4772bb7869a3350c8ad2aea   2021-03-03 19:11:53                         0.02914641
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bb5271a7a6c7c71cf8bb4a0f98a0f96f8d5c83d9883253178af80d1dc4ad9db3   2021-03-06 00:59:14                         0.01177447
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            72f6a6ad2d08b3ba918303ef08456eaadf6aaeb50437ff03dccc5fedf76868b4   2021-03-06 02:08:20                         0.01492768
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6cf6da239b11050a45a65c93feb57ce1366c8f423ea541bc7c78db5475fd5df1   2021-03-06 08:15:00                         0.01177664
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6f814cc0ffca207ebb8674de926b40ec79a4252419517a14d96cedeb053fe545   2021-03-06 08:39:45                         0.01489731
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            69b190192a6d04e4fba2dae2a08efee98517e6b6872a043c643ef5e66e6d0a1c   2021-03-06 09:06:03                         0.01177933
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            67eb8752f50f988876ef5218bdb811565dda3c939bfddcd6fcbf29f7d8ffdc68   2021-03-06 14:01:01                         0.01484884
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5129ed87111e612ea053fcb93db176e58c4abadc3efd782025456443d8530328   2021-03-06 16:01:13                         0.01178285
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            919f78e3a10e44afdbcba94b5815eece58d831cf6466bec29831b682856f0101   2021-03-06 17:00:16                         0.01476032
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            9adf9d320f43f13b5e751b57718bf2672f4f6b573af3e0317908e5d9236c49db   2021-03-06 17:58:29                         0.01410710
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            8a6fcb8bd2d0b7b007fdc5c7705baf888395772036241a129ead6495212b3576   2021-03-06 20:20:51                         0.01179173
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b5eeed83ddd5d3a6598245052da45dc91537ddc267180b6a98997394a706b631   2021-03-06 23:29:20                         0.01179736
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7734ae059de62e2ed533422407606a7cb810143aea62e5862a5d9001d8eedd29   2021-03-07 00:46:45                         0.01038378
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            53a792062e19e3fb7a622c77428ec53426238f512036a97120a6c7642b413e72   2021-03-07 23:20:10                         0.02976018
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            52718d7ba4bbd29071e2c03d37dfec853caf7c022b8b7ce1a1a5989309e55c29   2021-03-08 11:24:31                         0.02925417
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            57542d1bdcaeaf96da450b673c8464dd50a47bffb7f5fc4a8407224fceaffb81   2021-03-08 12:13:21                         0.02390099
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c658a00febead2fc240e7071439d8cbbff06da5894f0f95705474ba90cf877ef   2021-03-08 12:51:10                         0.02920312
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            0c986716e26617e3cf641618f211d167c365a2fcebab53e8c5e2c2e29d517596   2021-03-08 13:28:26                         0.02858523
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5a792de97d561b2c26baf13bccebdd44b2dc40e2ed9f3383bbc0842c3b041d19   2021-03-08 14:07:39                         0.02390932
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            ef980623957920044d5759c9160a20130b553905150979f413efe816657d545f   2021-03-08 14:49:42                         0.02391298
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            24d6cb8110851f5abe2104176113b270599241ca2cdfc7b11fd0e4c5a565538c   2021-03-08 16:07:02                         0.02391736
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            ecb76d7d53ad80c031124a6755ced09de4702a690103414c9ceb86bf7cb199c2   2021-03-08 17:18:58                         0.02392284
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            3823985f750958e204375a3446bc47982da80d5c55d841065a525b12039c0a18   2021-03-08 18:52:36                         0.03120095
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            f271400230bfece69498b0697ba14640eee90ae30c866555f820f9f3556ac40d   2021-03-08 19:25:24                         0.02834189
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b8efeb361df010be14f9fac0a9a0a28f693840913b7e0f25106d9cb0c703fa0f   2021-03-08 20:40:41                         0.02051103
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1b06993ac120e8ae9e2637ed118df5a90ca26bb4dfd90916912bbec3c7224950   2021-03-11 00:09:22                         0.02960225
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            966e0301119802e615dac028cfaffd1d81a27e69587039b2ea0b7750a985430f   2021-03-11 01:07:00                         0.02377976
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            705d42be63dc8685d2ae1c15defa60a8a1f44e33edcd089947de54916196fe11   2021-03-11 03:11:02                         0.02378154
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            509c1e4321c8bf3079598e0706dd6d89f77e350d5c3d2c0df22971a1f18be5b5   2021-03-11 03:53:20                         0.02378353
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                                                                                                                                                                          Funds under claim
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                            Address To              Cryptocurrency Unit                               Transaction Hash                       Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5efcdfb4ed3425966e7bdc2e88aa35b002830d38667dc3e00446227f6dcc2823   2021-03-11 12:14:08                         0.03074697
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7e1388293f97b1da87f120f63bd0f932e4072320b3ab3ca3be3feb878f561da5   2021-03-11 14:40:33                         0.02982585
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            554d0f896f29fada25374a31c4e9bcd0e8045ba2cf6aa73e344547cfc2661be8   2021-03-11 15:56:32                         0.02379165
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            748d070f6318192aa2f28b2437f293a9bc93aca6c1d6d69d9f4fb37f897da36c   2021-03-11 17:11:19                         0.02965072
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            e2e5806df4211949acd063191c1f9810d1121542c617ed134c93c1dc987ddacf   2021-03-11 18:33:35                         0.02380056
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1c1923837168108bd0fb9725b5e3c391e0339a82774492e3beb20f8346dd8b0b   2021-03-11 22:24:32                         0.02380714
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            782625d9403ceac05a55522c9154d402d22f044369c790dcabacc5be2ec0afd5   2021-03-11 23:15:15                         0.03033879
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            95c52d11718656d12f527eda281071a6ba1eb807cd3ddd163b2c2b15ee8ca118   2021-03-12 00:40:34                         0.02395548
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            85dcbdf242e64bdb745a5a0617654877e543234f5b95b4cd29b951bfc922a529   2021-03-13 21:49:55                         0.01358529
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            2d06f733c007d2e90bf2d9141a47a32a7055b14bbb2c67357cea4db8110dd185   2021-03-13 23:18:17                         0.01093306
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d9570481740d41c6ac83162f8d4f384d0ecaa1c7910840cb33e5fdf073a0e83f   2021-03-14 00:01:16                         0.01356512
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5414e691eafb8ef7bacbb78ce49ad0e2cfca2ecca4b8a1cb95e306747174d3dc   2021-03-14 00:31:48                         0.01093541
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            dc9d7783cc22cd0c88e0ff072a40d0c1325546a21794139632c99e5c2f5f8521   2021-03-14 01:27:31                         0.01353373
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6fad7dfbfa27f7f8b4d5f3c0adf7ebbb686b949d050ed78483d3dbc54c2aa4a9   2021-03-14 02:30:18                         0.01093838
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            0ec82845719b36d367cf024e62d4ffffc239287ae9341599de4c30de049a7ce8   2021-03-14 03:23:18                         0.01094014
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            82a0790bb0a41b70fc3faa8cc26e9f57c92f976973e90317332ebad9c190eb2d   2021-03-14 03:52:58                         0.01385067
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c950bc40b3ed21a688ba953c5431ac2aaf06a8834ce4d85121697ae0313f858c   2021-03-14 05:12:35                         0.01094487
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            507a4bc7d5561949d720c82e01391b48041d822d69ed68b3418a6210c65da1b1   2021-03-14 06:04:08                         0.01364580
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6a798a90212c6f6f84cfa5f270a3e982d58eddf0138e09afe830da6c8daf9144   2021-03-14 06:48:20                         0.01095362
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            e249986526e0a372dfab76a0444ff9cf12e2012f09f96c41d49173efa30bed0d   2021-03-14 07:22:28                         0.00948502
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a591e56aa8a064ee22389c1273cd1411f9a711b2470ca29e7ae9ec0b841cc486   2021-03-14 19:08:34                         0.01771901
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5b948457691c3b8d8a9017797a54c666ca45c40a37ae1d7d2a90a769a73da27e   2021-03-15 22:39:26                         0.07016077
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            9223802f39950e36c34faf72661f663b6cba010a35bac9b922539fc06242afa1   2021-03-16 01:07:52                         0.06551285
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            e67a1469c489ca519ba2ecb005856404bb9d5247ff4d641fc97581b5a84af940   2021-03-16 11:51:11                         0.03364803
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            aaab5f76fbde63288b2c6171f8db214fee1aae2a80cc33ac421e0fce144ccb13   2021-03-16 22:57:42                         0.03728807
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            f1c73436d5acbf601726d1c765f013420b505dd0ac91dadba97ea132c80756f6   2021-03-18 18:48:29                         0.04002790
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            14cc9950d354e09f12a238f8ac507bce985458b4e0ad23e10679b4fc92037c53   2021-03-18 20:16:41                         0.05423943
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            f3c62ec09878ef49abdcff5c659e96c9a630fac54df2eea1e105fd16328f370b   2021-03-19 10:11:13                         0.04824674
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            37c35de2105828af0b5d9da4f1727c1e1e8f03035a0ecc4b31b8eb72ae30288e   2021-03-19 11:22:54                         0.05810182
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c1e0e61c732392a4726fb5af6649675d5357e7b0c513d512fa98f06b0780c1af   2021-03-19 12:06:06                         0.08134963
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            11869a4a3bdf6db6e67856ae4c9c7071da21803a92aae6020fc229b2e775cf79   2021-03-20 11:51:14                         0.00929884
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            3fd71abb5a6ec85e6d4c1312857d55eea70855d0b7377c73292f09c06447e78f   2021-03-20 19:50:37                         0.08067987
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c0a4905618cc577fffc71552ff3fc37c6f58958cf6a9ed3b46379e6ec81ff2cf   2021-03-21 12:10:53                         0.02136557
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            2762207f63b334c684b6cc1cfdb90cbe5acd238467b38493f2dac34f9af1488c   2021-03-21 13:06:50                         0.01278498
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b18b21891016f335f4b812525169ae88f1391e8f0a4425e00fe2bde4048ea55a   2021-03-21 15:26:55                         0.01604078
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            e3eec3964b586e9875286228b5869f1fc20d37f7f12aec1d8a3bfcd23b5772e9   2021-03-21 21:13:25                         0.02406141
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            09c32bfbddef1c7805a9d0622113ade47ad2b40878ca58c329063cc47590d219   2021-03-21 22:55:20                         0.02406151
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            786965f711ba179511a96b30a209cd88354898f4c063b8380da2317012d70de8   2021-03-22 11:18:53                         0.03957923
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                            Address To              Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d91a835bc477890c58ff21d335dcbe00556db229d11b59d8970c25fa8679d9fe   2021-03-22 12:14:18                         0.02406274
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c207e01ac61716cdbe6765dec4d6dbba0963f9d79476ea1b57bfb820c7808eea   2021-03-22 12:42:05                         0.03957975
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7aec09f4009835cc20b3083f6207dc00f71a88dcf5dde4af6727879026ca81aa   2021-03-22 14:48:52                         0.02615846
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bc57e5c217a0bb3af3a6e35f63302d134b622a5dd152e00388416e345fe12198   2021-03-22 16:09:32                         0.02638713
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            cbd974ad6c7e261d39e09a0a3070c206feeb47cce63a861ae203c29f57578008   2021-03-22 21:21:32                         0.02869925
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            60ca833de62087ad63326a69392a5eeda05bbce926d29bf9854c8d19cf381091   2021-03-22 23:29:18                         0.03098069
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            3e35735a7f219049dc1225df9d4d067f8a6b3f914723a1bb0f1ece520e230fad   2021-03-23 11:52:35                         0.04502796
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            80fdf6554c892e8dd0525d42ba7ac3e87801ede557c653e1775b40e26d716add   2021-03-23 12:18:11                         0.03958319
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            eeab036ecdeac19ea6ee673aa7423535facf9b104afaf80c06044fb7b49379be   2021-03-23 12:58:47                         0.03958339
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            062f93d23444c7ce967a1a210679752a75e8bf26bc306cb5b905012f0c40a0af   2021-03-23 23:22:19                         0.04213501
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            dbbbf775b0c4ae7782f355bea8e03ef38f0edcd98ae0961ca080159a7542cb09   2021-03-24 09:36:04                         0.04344572
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            11cbe1a3340d984d5334363d7a4517f98c11bba058f69b8487e7446efe6fe8a2   2021-03-24 09:56:23                         0.02902769
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            749ce4e80e0b52b1359c551723f5779e8c53d37e24949f695b5b4a7496164655   2021-03-24 10:19:34                         0.04685814
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            9fda92029c026ccd99eabb8772e1f677d4ded15b0bd6696a65c57fed41894859   2021-03-24 16:16:19                         0.15960252
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            719156434abae09a6ef5dfdeec5185586d9c8afba4c543d921bc71a959afeb81   2021-03-24 16:50:11                         0.19152772
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d7f364436dcca73f44ac2c5fdca19f9ecd31be700fd9f1ead56d5cb0d357f680   2021-03-24 17:59:51                         0.03258596
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            dbd28ff2b2a1395ee31783c982f869271ba13d9543a6f1fc54a26e81df834146   2021-03-24 23:19:01                         0.02591613
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6a5f26757ef3e1e7faea0fd9fdfff5d09ecda79050652d820d1f8cd8a22d4849   2021-03-25 09:43:01                         0.02306460
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            50edf733301ba26591255041b3671bdb4e31d056fec237f5b8204028fa66e0fb   2021-03-25 10:36:38                         0.01537741
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            e95a988029e1eafd3240c4070c5320f1593a8aa21cf606a688c7ada85b3b2376   2021-03-25 10:58:57                         0.02591683
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            130f2379012673c9544ed0db0d607b27926a27b04bbfe3ecc7b3d5f801e70ec4   2021-03-25 16:36:46                         0.02591721
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            72427096264036a67c948e1082ce8a8b910fb44e258d8d92108d0fd8e55c0bc1   2021-03-25 17:14:28                         0.02591849
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a5341744cb4f382e651bcffc566dafd9302220b406780cd74815cfe32fd9926c   2021-03-26 01:34:38                         0.02591918
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            eeff41d710f4fbd4c180b26feabd3faaa9a0e364ea23566b2664b7b92a652be4   2021-03-26 09:25:23                         0.02674877
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1be0a56ab404883f274017065ae6a9045074e8b079a274154d7cfd8643a7ab9d   2021-03-26 10:14:08                         0.02906385
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1d4a81c0ee022d9d62489454335b0a90ebb149ca3f0b9006e639a126a988d9ea   2021-03-26 11:11:52                         0.03280456
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            4244c739123a988d012508e9f706db435f0ee42e1c7d7a5eaf8458a97b0a2b08   2021-03-26 12:07:42                         0.02024549
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            12781f57fd5cd8b6b624ceadfdfbfa4fe99322d80695924c3796cefec992bf05   2021-03-26 17:35:45                         0.03531480
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bc55eab70b407634bde4864cf70101ee7a819bdfa5567b775fcdeedefef86b7e   2021-03-31 21:01:22                         0.14594303
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            664c1a4fa6ae2f36a7fce8bdaf22e416fb3ebd55d2b348665c7dd431fe7dc81c   2021-04-03 15:23:57                         0.03170579
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            fbc75f183bfbec287c350c1e20213ee037a97056da4e09e7329bd0c1d05beb88   2021-04-04 12:13:16                         0.06397237
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            ae4bd8850f1acc705287d7901e418651ff34ec2702226eca126dbf785f91a337   2021-04-04 12:45:12                         0.09399193
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c9eaf965cb76d0d5781975e26f5bef7b9f155df37c1a3606d576afddc4be4159   2021-04-04 13:22:17                         0.09428674
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            63c31a16a90788888c6b282a38df38006b044a92cdbd7223daf4a448a17501f1   2021-04-04 23:50:42                         0.02502423
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            9ac270bc776518d81df96a5ed54be850029f0ee3154e8f8c395fcc2de5234650   2021-04-05 22:36:16                         0.09509955
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c3c03885d055123047a5fe45955b07e4dd6bd1bfd0f02d0e89e7d026a27106ad   2021-04-05 22:55:03                         0.02502649
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            acb10836fdbaf5b41039b4294a75d4e7b234bf6ec6ab37034297d19309917fdc   2021-04-05 23:41:15                         0.09640640
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c62671ae97b7ba87bb0c90f64eac9759d26cb07e9f999ad30f5010641c326d3d   2021-04-06 22:44:48                         0.09738086
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                            Address To              Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            73e6161f9bef05f46d0df01b12e781fd2b47bc981b6b45da6e7ddb7121048c2f   2021-04-06 23:56:53                         0.17234203
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            99d3563324a263b0341d6b12ffc5a05f9abe4bf63ad68f2b8301eb665cb9bfe2   2021-04-08 09:13:21                         0.02503042
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            24851fd7e89f48081563ab28f61f464c073bf5b043e2fca305471e5af08186b8   2021-04-08 09:41:17                         0.02503195
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b9955d2e4c44365f61e8132c74aded51a5a275db881360fde49372bef3f7eb23   2021-04-08 10:44:48                         0.02739208
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bc506b9b72ff634ed74765b01d3a1e776574e0cbad5b090bda10b8b38caefbf6   2021-04-08 10:59:48                         0.21195570
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7e8c9916eea161af76eb0249106b00700407675019c72bbf6264adab66c497a2   2021-04-08 11:38:18                         0.21195889
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            52d444adad5ab47f203179ebcc0bd313e7e9a81c92c0e7751f7a7079aa86e2e9   2021-04-08 12:47:13                         0.21197679
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bbd4c149925217b6b0a02fdef36e05f1c38b7411b9f2450ff1f0431aebbda72e   2021-04-08 13:25:28                         0.02122127
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            f633a09d7b87b71caf9f66ca553ae7bcb08b559e74f86f7335388445eb701e09   2021-04-09 08:45:37                         0.06491935
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5a51bcc2157afe2fdb0f01964f0d489d94c586b6f2d4e2c5029b5ccb8a2b2fe0   2021-04-09 09:31:56                         0.14504574
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b99c57073fe2c64b0d46cfdb2ae35efbb303f7d62ac08634d7279c01d14cab41   2021-04-09 11:41:35                         0.09422281
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a1b3615d4e1ac789a825c3baf4bd4de4c4532a4ebd07a0469f7839f808120ee7   2021-04-10 20:59:22                         0.09458247
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            0b6fb8221bcfc48f101e9e6095d011ebbfb03f02547ebbd0564f5965b951a691   2021-04-10 21:50:57                         0.09503005
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1739276a455a6c84230e0b709e7bc0c5971f40ef32d1cd514f3365dc25a444c5   2021-04-11 00:13:27                         0.05132166
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            8d4881e9195fbbd49a10c21ec2cbb7496cefc6bdec17885faa61c9cc4e37e0b6   2021-04-11 01:13:53                         0.05132224
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bc82e0df06e8e05535e196b7ba9dd6764b645905c00a43991530b1f5fe4173db   2021-04-11 09:39:51                         0.05132246
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bd021f4cbe159dcb75274912609c024f85843607b7acea63154f0e6caaf5f7bf   2021-04-11 10:13:24                         0.05334038
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b8b7a6a6308853ef27b2b0c3b74a1e3205c9ce5fd1db96754aac766462880e8d   2021-04-11 10:55:01                         0.14123235
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            3455a6106df760ad371fca6dae43e74d76c877e66b5ac8f66db238e4120bfb7f   2021-04-11 21:45:01                         0.05404141
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            e703eb9ff6bf47ee76cca153fe3d9a59c70525dd6024878652b7e905e7747391   2021-04-11 22:51:51                         0.21185361
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            8ec6dce831bd0107832162abfc8f7171c421fb05d987ebc0bac5c98ed1e5876a   2021-04-12 09:11:21                         0.21185554
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            9da20e399f98a62261357d426570d1f801d8818965fceaf2400f97b9eb35aa96   2021-04-12 09:30:50                         0.21186201
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            afe8cbf80e05701feefee0e701e53917d98a268c0357c36f040e97a526a30e1a   2021-04-12 10:28:43                         0.05847410
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c470ac4ee7324311b46506c39162bfe4ee79e40d4327570198333af23a85cfb6   2021-04-12 11:09:55                         0.21189534
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            31905b45304aa7622f12c3ac5575f5e5d379e7aee3dcfafa92615c05f8c4d5b7   2021-04-12 11:26:53                         0.11354342
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            f79b1404e2d7d99687b6fa720b60314105a44dd0fb35cc5db4e0784d7ec3a485   2021-04-13 10:15:52                         0.00290993
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            36e4743789a256e3cde496793afa99e51cf070bca796b69901b980d1c0376be8   2021-04-13 10:35:56                         0.00291000
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a2f36f8c9492745d117cbafc16d11757bebb07861bac17fb87d2e99e5bd82cb1   2021-04-13 10:51:20                         0.00781243
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1ea4fcb4a9614362fae1736600c254d601a241e30a45f3740d4a60f6ce7801ac   2021-04-13 11:57:48                         0.02441045
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            93290e07e4416288f507bad090fd76e3fc5e33eaf2889328f877b7469d373a38   2021-04-13 13:26:59                         0.02441112
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b3040b584ab402b4b8b677910faece2038644de10f006b3991ab2ab91e6e3b3c   2021-04-14 10:15:02                         0.07246795
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a3b628f971ba4934cee076a75940db21630072c312e08fc952f969dfb0fad595   2021-04-14 10:36:12                         0.02441202
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            016f0fad4a852845b4f44f917659a96c60869d5c442949440c3a4022f5d26945   2021-04-14 11:09:04                         0.02441300
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            64d1ae39a4250a66914d4ae928fe5686bbadb31d178d1f619d8b3503bc10d0b6   2021-04-14 11:30:46                         0.00291090
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            067d92c0c273204be402081e62f8eae42b881a66279e3bb6009efa725c6ea18a   2021-04-14 11:57:00                         0.02441516
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7f7998ec50b0b74a3c816ab4e6fa8d8fc0220a78141f9c049b151e4fd34cc36b   2021-04-14 12:20:12                         0.00291139
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            579af06ae03ef61bf4647456529f88517590cfd51ae0576ee10fc1ee88793ceb   2021-04-14 14:12:39                         0.01627877
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            10057bdc75a88a7075d227d9fd1875b6366f2a0dae5f1fb9a2ca025ef843d4e3   2021-04-15 11:36:08                         0.00541691
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                            Address To              Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            cb6dd84672df8b5021cc67bec6dea0212e8cb2b832db1e2d9073224f77404804   2021-04-15 12:13:59                         0.02670152
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            500780b9fab3ce9a5bb6d4939a09d90ce28e9c84247d9f0a716a30fe65f2050e   2021-04-15 12:34:40                         0.01044088
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1766284cd315c3bf6715de5caafcf27085a81590606d3236801d4f35f6729282   2021-04-15 13:54:44                         0.02852848
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            755532ec4c5376e09d41e04adcf060b0d2753ac10d0705a1e6fe3fc64c835f36   2021-04-15 14:38:01                         0.01757768
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            75d7768aeb5b53507d9c6c5fb559d38a240a663a240fa101e056d217a1af0b09   2021-04-15 16:56:00                         0.02380294
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1f10b2d485052023980cd74f55fddfc4cc44ad4b8e88e82d456d66a1014a6da0   2021-04-15 22:30:54                         0.14444266
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c8d77f0ca865ec3c9659e4721c68684e6bacd2f346b270d44d75256b402b9d1e   2021-04-16 12:01:14                         0.05426355
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            905bd45e16488f62e68479ca3f9249ae591fd03845e8c44477b5d811427c911e   2021-04-16 12:37:00                         0.02380569
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            02678c4002c2ad604c3da8688ddfbd734058e799b139949e7b1a4a00c54955ea   2021-04-16 12:51:34                         0.02380849
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            22517182d80c2c8bd3ec7a7283cdca68cb872001810304e69abed81ef6a3a0dd   2021-04-16 17:02:29                         0.02381236
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            0743ed70525167be2122aeb869414244703c1a3fe1787063b2db88bfd905f59f   2021-04-17 10:52:44                         0.02609443
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            80d1eb93f41c3d87c3118dc01eb37c74e8d286b1c4cd98b8cd12fad0f9e36a7e   2021-04-17 12:09:12                         0.02792383
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7cd5f63825f548e76a8079f15c4e17f2bb46f8c4454bcd1de54389d3686a5a93   2021-04-18 01:57:12                         0.03332717
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b5e51fcefb49f0dc7cf23eab0fc847eeeee07770dadd95dfa9b1315d6f6dac13   2021-04-18 10:53:00                         0.11727459
Binance        1AwhgUBg7ew6jcCpiun5zJXDmJMqo38HBh          BTC            78f13861c9e28b064294bd9018bfdb9e0539d865ab6bf8fa5fef3655788a36d2   2021-03-29 22:39:04                         0.00619830
Binance        1AwhgUBg7ew6jcCpiun5zJXDmJMqo38HBh          BTC            764d1a2a1053646a4cb5d48387d2aee55f60d029d8cd736c93f405664d01a20b   2021-04-06 21:14:14                         0.00219284
Binance        1AwhgUBg7ew6jcCpiun5zJXDmJMqo38HBh          BTC            d761b092a8177cb80d6aa743b977442a821aaf8aaeaaca9e3c8e1a674c2c2004   2021-04-11 22:34:08                         0.05070322
Binance        1AwhgUBg7ew6jcCpiun5zJXDmJMqo38HBh          BTC            736c4056d74b8a3b8791f09481b101416b6e3f13d7bd78db471e3e12384e6a8e   2021-05-15 15:27:17                         0.01947627
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            c638aa58173a85fc12068b9c0343951bfdc10e4996eec2457a3e01940ab66300   2021-03-28 22:24:57                         0.01079729
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            e31c32bb9c183c58538cf94477f73179507aa56ef629e8cb377b7b84f6e23fbb   2021-03-28 23:01:50                         0.00463975
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            8f01ca55570b06e3ddf06fa018ffdeb0a3f3e5b949879e253ffccf2b7772b8c7   2021-04-06 14:23:54                         0.00858682
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            6a40cbcf6813d9f1186d92cda7ec8d74295cdba9291fb58803db4b3192ba6ce1   2021-04-06 15:32:18                         0.00223473
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            2cfe3ea4e1883adcd36a773c30f15cde5215a9b54ed50b79119a9a795521e920   2021-04-06 16:48:43                         0.00217806
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            4e413a88823ece072c914cf404fe3263286e578f4a0afcee34ff452c007c9446   2021-06-01 13:06:38                         0.00302491
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            357caf3983c079094fbf977642c94bbd8c81c18db5966dcad43bdc64521066d8   2021-06-25 12:31:23                         0.00659166
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            c71e43f23cc5b2eae357056c99a8cd74ba82d00151bbf4a7edd482532541f08b   2021-08-22 01:47:35                         0.00448537
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            da6cd97eda3abdf4ba24ea85165aae69d4dd877ba2a29f5f3d5f7840f88c08d9   2021-12-12 18:23:51                         0.00542040
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            626456a515a67fa0dfef9534cb55e7ca8542c2c676df73cd86003246218465e7   2021-12-17 15:03:48                         0.05266181
Binance        1BqNAxgppfFTFRTXtiU6FebqR1XDzyNjYN          BTC            b2478ed9f10460dfe74482b36d2836b6d9acf1c9e8abffacd4a92fde60de1e65   2021-05-31 14:02:06                         0.00092674
Binance        1BqNAxgppfFTFRTXtiU6FebqR1XDzyNjYN          BTC            ebac43cac2bb4c7f7d884e998579afbf2320c68ed2b91a768031b294f1715410   2021-06-02 15:46:10                         0.00037965
Binance        1CEvgeHddizVumNdT2V2P9yRgHtQjuMfhM          BTC            bdbf4441fc6206a0c7864c013e6195db7150c0985a901fcdfe7222f738bea8dd   2021-04-27 08:47:01                         0.04244118
Binance        1D3XqcAkcUYz6N3mCLaK2brwPT28wrXCae          BTC            8f76638b7f1f368c6ad3a9da4b4187ff02d15d6b5b482c8d72b502ebca0c317f   2021-11-18 13:32:38                         0.01884894
Binance        1D3XqcAkcUYz6N3mCLaK2brwPT28wrXCae          BTC            7d54a50fd557cd53c707465109c277085376e19e3346f48f992f24701fbcefb5   2021-12-18 12:23:18                         0.02473646
Binance        1DqfMX5dGC1pbPtHE9hb7b9NSe4krJXByH          BTC            2b22f39eccc987a1861368c655b3a0a1f0644a230bc289cbfedab5a7437a7e4f   2021-05-13 14:24:04                         0.58142987
Binance        1Edue8XZCWNoDBNZgnQkCCivDyr9GEo4x6          BTC            a31a24b0e4733cb98f1087e3d4a79ea6ed024171e8a701ae1dc3f6508ffb51c0   2021-02-24 09:50:43                        31.01535275
Binance        1Edue8XZCWNoDBNZgnQkCCivDyr9GEo4x6          BTC            3e37a8ece93f043460a9722dce8753f8c1ba7c2b8fef7e7aa07a4c61b07b60b4   2021-04-05 09:35:22                         0.08468491
Binance        1Edue8XZCWNoDBNZgnQkCCivDyr9GEo4x6          BTC            ccb8b13df44d6f3dd3c578f21b131da2660bb7362da365213635fa86185f9c62   2021-05-11 09:17:00                         0.04574408
Binance        1Fs4QNPYf7Zf7CeJiFmSkTK3kzvENVD5w4          BTC            8a5ec1664cd83eba24862e0c78f0f1dedec78c84bc2e65dd4461ea019b26c005   2021-02-16 02:39:49                         1.39992011
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1Fs4QNPYf7Zf7CeJiFmSkTK3kzvENVD5w4          BTC            59a08a43d6ac424dade060926cefd71cd8930dc275c866eabababc18df8970b4   2021-03-27 23:24:57                         0.49996934
Binance        1Fs4QNPYf7Zf7CeJiFmSkTK3kzvENVD5w4          BTC            ce1d42834bcf6f5f83119dc103680548b6768f3892030a8f5300958d51b045f1   2021-03-29 22:39:04                         0.39999020
Binance        1Fs4QNPYf7Zf7CeJiFmSkTK3kzvENVD5w4          BTC            c724883392a1f351834ffc53c65147ac75e382beaadb44d2f25335d79717bc31   2021-05-24 18:55:51                         0.02743932
Binance        1FwAX1yW2szV6gG7YNJvRWY242dokFCrtf          BTC            9cc347b32e2f49a5b732d086bf89173785cf8512ae21187d4ab1a9fe038ed607   2021-04-08 19:21:26                         0.00294509
Binance        1FwAX1yW2szV6gG7YNJvRWY242dokFCrtf          BTC            14effb1de61bf70760c7139fd92ef667799c2a9e29b3ffd6d25344875fec5660   2021-04-14 21:41:19                         0.15113284
Binance        1FwAX1yW2szV6gG7YNJvRWY242dokFCrtf          BTC            b56dcd4af56cc56e12c4885716baa37b576dce956f8ba9cfb7c273c53b6be952   2021-04-14 22:13:51                         0.12341867
Binance        1FwAX1yW2szV6gG7YNJvRWY242dokFCrtf          BTC            1101f765236f212a91d806781c21c46b0745ac0b541b497b80c673b404131956   2021-04-15 20:28:02                         0.09182970
Binance        1FwAX1yW2szV6gG7YNJvRWY242dokFCrtf          BTC            a2db6b794b3df3fda222d7f9eb5731339fa46894e2b30388dcc2d7e26dd5a0f4   2021-05-25 16:42:56                         0.25724852
Binance        1H23VQRYDYvTeov3CVEJopy4JdtzXzdeEa          BTC            0f247b5af611d7c5be4ab575888bef2a412043b3fb39555ad0cfdeef031193ec   2021-05-17 04:23:19                         0.05699151
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            1ba3c1fe18b21c45022670a028d2b827e23defdc35dd811b9af98f4ffa02ee7d   2021-03-26 21:30:05                         0.00453100
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            5f8f18b074b8a7eb13bd5135a748c78683f94a5eeeeb6058110c67ebaf65873d   2021-03-28 05:53:47                         0.09329742
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            3a43b387f4021b51a72f0c10ae570d764a85cc0d7bf6a79ab3dc0127a9afff6c   2021-03-28 07:14:45                         0.07365476
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            3b6125eb9e7cfefd37f2bddca146039567f1289cff91b7fd79ceab47cff8ae32   2021-03-29 18:33:18                         0.23665197
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            42572e7a8e50ee02252b1e8d7e5f0e5cf9f0feca7ad43cf1df7879d092e182e0   2021-05-07 14:58:53                         0.00369815
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            8ddb9fe0b65e1025e779e00435455c0219a22712851e833a0b9d02593a9fc86c   2021-05-09 05:28:18                         0.00926328
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            dee85775f8e1ef6c53fb7e3b2929c56881ca80c882b10a75b42d2009f0a9f82c   2021-05-13 20:44:55                         0.00205650
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            9dc0f7122d41ff1f470a86d43f2793865d0ae97913c2003b5f2deec135a6ef5e   2021-05-21 23:13:00                         0.00219035
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            52b97c2dbb1229fb924681b8826ffc6deb811dec45d28b3a787edc291e5db748   2021-06-08 16:12:12                         0.00447868
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            d360c1a4af52f6ffbf235fd66b5ee0b3b73d5a8f70cbaddfd08ab9fdde9a54c9   2021-07-19 03:03:36                         0.01414069
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            61bb3f53ff92e5532402424367c3c8a15a32503e6435730a46a87b7ce6e20d4b   2021-08-29 08:30:48                         0.00360940
Binance        1HVj6JWaAqu6JSjhQeq9YpG8kRCAywY8nk          BTC            52756db7712a569ac82cd5ed62637eeeb234de79066a58831b36c521f72a12ed   2021-05-12 14:10:25                         0.62037124
Binance        1HVj6JWaAqu6JSjhQeq9YpG8kRCAywY8nk          BTC            a4406892221c1d005c6fde1c833f79977ba234b9b6c3fb99c1e380f7732df59f   2021-05-21 23:13:00                         0.16443056
Binance        1HjCsxkyJBbRSZU7fqpUczz96wK1JP7eES          BTC            42065119403594a4b4c15a2853c5d238ffdf751efda5231b74f3bf8e7ac57be3   2021-07-14 21:01:58                         0.04953150
Binance        1J9UZvdFP5betiX2oFkeHBcDjVXD8ceFPV          BTC            f3f78aaf4ba2b3c9ffdb40e5423535dd647b38adb3800f8178f2d686d87d44a5   2021-03-27 14:28:50                         0.59999651
Binance        1J9UZvdFP5betiX2oFkeHBcDjVXD8ceFPV          BTC            5522e9d587ada60ca9d187abb975090aaa66eca1787ede5c0d87fedbb49c3ec1   2021-03-28 14:03:22                         0.70461396
Binance        1J9UZvdFP5betiX2oFkeHBcDjVXD8ceFPV          BTC            76dbfe70571127d0d9a8edc5e0986abcf774a252cf2da025a0fb7dd340ecbfd2   2021-04-04 16:52:51                         0.01168993
Binance        1J9UZvdFP5betiX2oFkeHBcDjVXD8ceFPV          BTC            0e9976591f938d216f83c3739774ac6ab7c645fd3809bd9259b6d926829d34fc   2021-04-06 16:00:31                         0.01378627
Binance        1J9UZvdFP5betiX2oFkeHBcDjVXD8ceFPV          BTC            9141a8dee160af1a3395e88f10e80d68fbe5bbb4e148df618f5db82f7ac4e2f9   2021-05-03 22:36:38                         0.00281715
Binance        1JTDfmnMJPUSE5iHM5tfvbWC8wGkiqJhsF          BTC            9193c2bbac90cd34d12f0afa6d6c049f770ee927d47a3edc6c14af9fede2c108   2021-11-07 04:00:12                         0.26883754
Binance        1JTDfmnMJPUSE5iHM5tfvbWC8wGkiqJhsF          BTC            acb7529b9e84be29a97781604fe24e40727f1f9484da2f348d12a2a91371a6e1   2021-11-08 04:58:31                         0.38703791
Binance        1JTDfmnMJPUSE5iHM5tfvbWC8wGkiqJhsF          BTC            11cf89266a451669fac79aad90a420564b783844382d42bc2883b0d793ad0283   2021-11-08 05:09:29                         0.31158556
Binance        1JTDfmnMJPUSE5iHM5tfvbWC8wGkiqJhsF          BTC            d05d6e9a8a077d7ca594ea15c5dfdfa65afc696528b53da7b52a9ff2fb657529   2021-11-09 06:15:02                         0.03116660
Binance        1JTDfmnMJPUSE5iHM5tfvbWC8wGkiqJhsF          BTC            2870a700a97a1cb6ffb091076302e30a18f95389dc393c573e21f18b2277bb40   2021-11-11 18:21:08                         0.01049364
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            90e855a470e25d0fbafb7f3438985c697b59d6a6ee304efd78032aac8d9d11c1   2021-05-20 10:28:47                         0.02172266
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            60547fb136001b99f17ba17c41acd9b9165c4ecf43c921ce446163041ef7d8cd   2021-06-16 07:36:10                         0.00274551
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            a902ec52cc4dce61214d2ca6c10ea801cb1fe73eecddbc905881f769bd4f24fe   2021-06-25 06:53:28                         0.01351074
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            ec43597cf816d0c31de55689bae957a18b9c8a3a6480338f0122c8d496f67f30   2021-06-29 07:08:31                         0.01320786
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            d0c231a9f45f0b051f422ea57fea2c8dbd925795d95fe63f5cf6dedef37fc515   2021-07-03 01:53:24                         0.03278538
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            1aade96fa98e4512539755d6214ce228008db732a1494f119a1c1d13b9e836ec   2021-07-14 16:55:49                         0.14796826
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            00b192737684e53cb7f129d423b0ea0928b64c9367169a82a3221d68cf2b7736   2021-07-26 05:21:29                         0.00251823
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            58cfe7919d094958c8c069c8c17bc3b2dce193b535139eb246154d6c00ce8e2c   2021-07-31 02:01:07                         0.00617523
Binance        1KKFohFF6yBZhqqfKfMrwPUDE2BwTGU2N9          BTC            1c6b17a2227527c812bae86f3c525f2fa03aa9999b079d7b5c12922935265606   2021-05-15 07:20:35                         0.05755191
Binance        1L4ncif9hh9TnUveqWq77HfWWt6CJWtrnb          BTC            d4f59563dedded7d440277b856bcfabd33dc90bb220838e21cb657619b81fb70   2021-06-22 09:11:17                         1.02996683
Binance        1LArmCe82visDjDeKXq3xxCWGmFMW8f3Sz          BTC            69d3516763b34723d724a5ae8708dd9ea2b680315381d70eb883cb2fe21aacfe   2021-07-06 09:22:06                         0.79904496
Binance        1LL4DoZP9vfEsw4VRqvx4M9CcE2qWFKYph          BTC            718a1e8df7e2c67a6a97768fd84249fe29bb5be45624a0e9d2bcfbff7aac7fde   2022-03-27 04:08:58                         0.01657129
Binance        1LmFmScFggjDak4JBZqJsxhAykRwYtkTFv          BTC            b8873883a5812a944ff49fefc16de853b33ec3980ac7c31e24195f61783e54ca   2021-03-27 10:21:37                         0.00203493
Binance        1LmFmScFggjDak4JBZqJsxhAykRwYtkTFv          BTC            06022cf820b56251f02c7adc524e68626be706c4cdb3bbddf3d5794c65b155bf   2021-04-04 11:22:12                         0.01834741
Binance        1LmFmScFggjDak4JBZqJsxhAykRwYtkTFv          BTC            718e1d4aa237a748003820ce72d1ed811d770580dc37e6ea62a8ab8e47f9d8e0   2021-04-05 05:46:37                         0.33661981
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            4e22c03571bdd9d6513833299df521bed106aa0e091d85eadfc3f271eb244797   2021-04-27 18:07:07                         0.07738889
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            d34650a1a45e3ad60ec4882fb6d2514bcc54ad468ea5d8ebcdd1eafc963199e9   2021-04-28 16:08:02                         0.09785386
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            fedd2f7690c719f94ebcec3a2193cb3db5602157eac7b708898252bf382799a6   2021-04-29 06:26:08                         0.06599198
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            def6fe699273fcb11d0d155df580f57bd3e17acff86e228a1d84c4d871ad4507   2021-05-01 16:18:20                         0.01576395
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            e82ac5bbdad15a15f1c1b55010b9d395f4263221100d283900fd9bc4a6551363   2021-05-04 05:12:55                         0.00450549
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            3cd560d118a36dd34685e119c0e4b64b110a3a6807d31fa4ee07b74c6cd584e2   2021-05-04 12:07:55                         0.15780868
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            b05b1a551e77c9d5763fb1de0fc28fc5ebad8c6d5329824a0d89e76aab4085d8   2021-05-04 14:01:22                         0.00231821
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            7e09c6b2f3a449ae13bc0969c99040899bcdbccf1eece856db00dab2e087548b   2021-05-04 22:14:43                         0.02450416
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            361e80e6b6669beebe8e2c753b739ead76d6a258a3b8cfee0747c1153617741c   2021-05-21 08:21:57                         0.00355832
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            91c074819cff4fcdf3b6ded25655f4f1bb714d2b39d52bcf947e59d3c4c6a78d   2021-05-24 12:11:27                         0.05447642
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            e0e70c361e7a0d89f45ad2a737346e38ad7744b73dd052c955b49680dd80f4c8   2021-05-27 20:10:53                         0.03096695
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            1cea1b169e40eaf7f8d65d35c802661ed70d7b94c1bde9da56a3ff13ac78feb4   2021-06-08 11:32:34                         0.00363226
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            bdb765239ec7171d34b258fbe9dabf1f08302aba023764333f12e066df30806f   2021-06-09 22:51:23                         0.00029478
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            5e472df2fc9931813da82bc600099809bb46b27237e10b801c5dfc9810418287   2021-06-10 03:23:43                         0.02803693
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            fe2c6712a2d77c03210ee4d8c62fcc8e49872f310a1e04ca22e61cafcec17431   2021-06-13 00:14:01                         0.00285859
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            9e270ddfb3353f47b28a30a99bbf3562067cdeac601ee3ead0c2dbd77340d4ab   2021-06-14 04:05:16                         0.00236817
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            1da7a7a9a79cddd806d8910afc890c90e9741491c3bb791331bd4213b64d4340   2021-06-17 12:18:20                         0.00402315
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            4cc9c771428d0f6af280d81bd9fb03d7dbc6a1b434d5b200498b31ddf2d0784a   2021-06-23 22:04:29                         0.21136114
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            d9694e9cd64a24c4a8c859d5baeae39d92e48d6ce0f80d77784c4f8c7f6755ba   2021-06-24 00:12:19                         0.09302711
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            a9ec1720bed7bc560cedfbfc26593583f33134b967092a4f5c7e24ccf0bd8440   2021-07-16 03:44:38                         0.00787251
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            f8968626606d6d1b724bbaade393422a796d8fcb364bf8788053f2aee2039763   2021-07-16 03:47:07                         0.00353970
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            677b65cbebfa3c19a9560d319bb882d32b1df5f4afad6682195bf5dcef225c46   2021-07-26 14:40:36                         0.02845147
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            9903f6a69c48478723371346b02b2981715d3c11f71d5d22fd227508963d12b4   2021-07-27 19:04:59                         0.02960781
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            1101c5cec218d9bcab7687c17b5acc28599c268b2deb2f1cfa4965562cfc2b1c   2021-07-29 18:18:39                         0.00619967
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            25c21f0dd3319c0f7eba59007f7d5a86fe39d65cb2e37b34419c2e533d88c0aa   2021-07-29 18:22:58                         0.00573105
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            576ded5c52d895c1ff550f5867ea5005db2385c4f60f8fba814cd70c91a4a558   2021-07-30 18:11:13                         0.05763398
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            a59fadf8bf2da9af186f3bd4276a6380a911bb75af17a5987c0074ae6390de0b   2021-08-02 03:40:37                         0.12302367
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            bed946ae0e7975a59a9c42f4c9e6d61a6cb3274e626623de92a441974b34e710   2021-08-15 14:10:24                         0.01071602
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                                                                                                                                                                                         Funds under claim
   Owner                                                                                                                                                                          (average confirmed with the five
                                 Address To                        Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                                          tracing methodologies;
                                                                                                                                                                                       in cryptocurrency unit)
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            f1c7b73cdf4f34d8679f847f022ea843ba12995cfc4684babc655d902f2ab2ba   2021-08-16 15:03:07                         0.01397890
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            7e7685441f925cd7c5891b19398042f64b82b16a514028b6e3b2fc9cdcaf9115   2021-08-16 20:11:06                         0.01776140
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            6d7ffdded8829c30af2928023c689b7f74c4329c0041f621e36835edec14e206   2021-08-18 02:05:39                         0.00643678
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            a683186d39f041288dac4ab109d0edb19d5cd4baccf5158fb56e129399ba2f53   2021-09-02 20:42:33                         0.15524540
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            1343877c93ca18a2313a5f90996021b103008ab9b366efc9b4210f1fc95f78db   2021-09-07 20:01:42                         0.00218490
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            910fb9b3bda205bd3667ec7817f2c59b0352faea308ddd4e843e73827d3493ad   2021-09-20 04:08:31                         0.00229452
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            e4750405c044456c45b2f99be0dce2647c947b3312abffa468722c9468dc7972   2021-10-04 14:06:00                         0.00598533
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            e64992552ed8be506e9610e47c5253a6c6755dc8699fc706b9e02e2cc501ea33   2021-10-16 20:01:33                         0.01292629
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            ed000427b2913dabab9f45bb1998404958e997a859790d64c406d8bc3bc6db21   2021-10-20 10:17:23                         0.00943248
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            efe1c017f4b8bbe5bed96785611dd425c94cb3d9b9fc950ff9202eb49f1b3ddc   2021-11-04 18:07:12                         0.00750975
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            da5e57d5ef77e59c983706d9c95201cb2cf3f72999a30b4d0e1c441447c8175a   2021-11-09 16:44:29                         0.00679792
Binance        1NNC1t8quVLQz9dn2ZGQqZAsZV5dFEYEPe                         BTC            77e436211ffdb0c69c387e0a10b479dc79d42f0879e70a298f4d76f4f01ad68b   2021-03-29 17:52:04                         0.05582116
Binance        1NkFXyXcaYKqnuc3EC5JB1CnvHjQYH1x5                          BTC            6399fe78db5dd5e6dd0980cd87e03ecb9f0f6c3b6926e4d3e5590acf9a000e71   2021-05-01 21:59:47                         0.43064220
Binance        1NkFXyXcaYKqnuc3EC5JB1CnvHjQYH1x5                          BTC            ab8a123a9525d46a4fc51088bfe137ce85d950e2ff0f41b087957fdec06ec9ab   2021-10-20 16:37:20                         0.06932714
Binance        1NkFXyXcaYKqnuc3EC5JB1CnvHjQYH1x5                          BTC            472bd78668d56a1c267630076967cd84b6a7f465f83b11bf09ef64d38bc399e4   2021-10-20 16:37:20                         0.00796355
Binance        1P1LCMr7U6jxf1Mx2XYTRPQzRSsvjZcTc                          BTC            2e8d9a4339e1a773c29b3eb23038c8022f66715bdcdc8e123da05830b9328efc   2021-05-01 09:50:27                         0.13953806
Binance        1P1LCMr7U6jxf1Mx2XYTRPQzRSsvjZcTc                          BTC            56c1528b62e5cc52b3cbe1128fcc676cc0b40aed08ff7d3c8a58507abc1d6800   2021-05-01 23:27:38                         0.11054845
Binance        1P1LCMr7U6jxf1Mx2XYTRPQzRSsvjZcTc                          BTC            aff3f6c386748e3b4bc1c1edeea0f23d74dbd11cf44f15aa9cf78545e933b5d8   2021-05-04 16:32:35                         0.09519541
Binance        1XYEAuFfgrwzLbQvUKfJNZmwrqguXsnmd                          BTC            a3dd5b4fcf4867cec6cb60a84e28b34f2d84933b1a2ffafd978f96463f162914   2022-03-28 10:19:50                         0.46256888
Binance        bc1q0lfwx3d7hnuttnmn8mzcegjda4avmq8sdxujey                 BTC            718a1e8df7e2c67a6a97768fd84249fe29bb5be45624a0e9d2bcfbff7aac7fde   2022-03-27 04:08:58                         0.05800039
Binance        bc1q5ewee3tn53kqapqhn4c2r652lpv5llvud0r40m                 BTC            bfdcbc8528a2105214429ce1c1a31296f1d6e4c3689ad9128cd83807f343baa1   2021-05-26 11:09:01                         0.79992927
Binance        bc1qhjja98qwyf8lhw480u7aq2je7vhstluvz3cqzn                 BTC            41676ac91ecdf06e73a40d4de928fa55f5370b4f5bdc6f396d03a59114fa170f   2021-05-12 13:09:23                         0.31639317
Binance        bc1qhjja98qwyf8lhw480u7aq2je7vhstluvz3cqzn                 BTC            cbd1edb1a27ca1a95f16899ec3ae405b17460d91c43fa28188911e1413ebd0a9   2021-05-12 13:14:01                         0.28130160
Binance        bc1qhnhh3j2fxn9fu5vcuqly4ntc39wzsq3yp8476f                 BTC            e50daacfadbf1ecdf4cd8de81874f1126cee0e95b5e5b5cf329f36d791e4f665   2021-05-07 23:22:42                         0.00430538
Binance        bc1qhnhh3j2fxn9fu5vcuqly4ntc39wzsq3yp8476f                 BTC            12c7f2a5368b497827ddd7901c8053d4d32211be104b5db6ba4e01e854225374   2021-06-15 16:42:36                         0.00678170
Binance        bc1qhnhh3j2fxn9fu5vcuqly4ntc39wzsq3yp8476f                 BTC            3dae7fa018cac4629e99fedbedbdeaeebbbfe06a02a0c8a0654c2abab05d1daa   2021-06-22 21:39:02                         0.00359432
Binance        bc1qmazmlmkyl3995l3qw49uya2k97wjcrmumwg8ct                 BTC            8911ac58aa3ae83b356461298ec64bcd70b5f78c3703b3121c2a647c13740a6e   2021-04-21 08:31:08                         0.02788380
Binance        bc1qt73y0anphywgrf570twd0htekatr435d9xf5mt                 BTC            e34f5d750eca9f417b909782f274502144da34c64c2c8bef957d14d608e5e73b   2021-04-19 18:22:10                         3.58410164
Binance        bc1qvw0876ldh6mfcmdv25xu9xqmfzth76lawkxhyd                 BTC            981634852f4d7720549eb677523ee91bf2a39528509e930c174a568e44ee9ae7   2021-04-25 14:54:33                         0.05699151
Bit-x.com      bc1qpq00d2yg848ljcsypg0p7jj5gttap9l4attpjw56rzn93          BTC            5ace7138defdb516c7f8bd91300cc9ab55771410d240f213056c4f809e021c60   2021-04-08 02:56:14                         0.09098950
Bit-x.com      bc1qpq00d2yg848ljcsypg0p7jj5gttap9l4attpjw56rzn93          BTC            7772b328c80f80cfa6a13a9c617351c55123a4aa63ea41ae680da48d232e3dcb   2021-04-08 04:44:27                         0.00242830
Bitfinex.com   bc1qfvejaeuq8pef8dph9v2zgg0qndszxjvnupk74r                 BTC            1d3d334eee67bef098aed76dfd3775b012a7788a91f1bb9bda8163514c08ec66   2021-06-22 19:11:02                         0.92952956
Bitfinex.com   bc1qfvejaeuq8pef8dph9v2zgg0qndszxjvnupk74r                 BTC            8ed89de66adea5419d3c6040b51e5a34f4e837b72fcfa8134d1cf3391ca0815c   2021-06-24 18:21:31                         0.07619770
Bitfinex.com   bc1qfvejaeuq8pef8dph9v2zgg0qndszxjvnupk74r                 BTC            fd06f8f43b724e84e9c22e9c971afd1895a36760d0734b1c3f9db7504190252b   2021-08-24 18:07:51                         0.11945304
Bitfinex.com   bc1qnfd26kl2l9kyezchn9xa82k3nnyla2ascdzuwh                 BTC            0038498013696653372df0aee7b0a845c9cd10d5fcc1ef7ada3cb3b4de582ffc   2021-06-19 19:37:37                         0.04394173
Bitstamp.net   37VWXtmckaPrKaeARcRvToJsEWLxeQYutd                         BTC            a57618664f4800c4c5d5dcb92fa3f8dbacdb00a2f4d4d15adb15241a07062d41   2021-03-12 15:04:26                         0.09649985
Bitstamp.net   37VWXtmckaPrKaeARcRvToJsEWLxeQYutd                         BTC            1bcd3f2c1795ca747173b86ae926344f061f65b349bd0a60195c3af65b4d84e4   2021-05-06 16:41:07                         0.04675604
Bitstamp.net   3QgTU5fwPWHMNkbx4fhwU9MgPzPbrYnXqY                         BTC            9c87cce7e99e95522a8e28b5c63cab1fa293353ffd8e9497bdafafeae25650ab   2021-03-08 04:10:29                         0.01556411
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                                                                                                                                                                                  Funds under claim
   Owner                                                                                                                                                                   (average confirmed with the five
                                Address To                  Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                                   tracing methodologies;
                                                                                                                                                                                in cryptocurrency unit)
Bitstamp.net   3QgTU5fwPWHMNkbx4fhwU9MgPzPbrYnXqY                  BTC            8a488ceb30b974f673ec7883f2855ef71fc5cb238f54c4541d15ede1100887a4   2021-04-27 04:01:46                         0.13900212
Bitstamp.net   3QgTU5fwPWHMNkbx4fhwU9MgPzPbrYnXqY                  BTC            512272e49ce2897b3da12363c6e06b36bd6ebfb7036fffca547ce76bcb781952   2021-04-27 10:10:37                         0.44955517
Bitstamp.net   3QgTU5fwPWHMNkbx4fhwU9MgPzPbrYnXqY                  BTC            4c07b5747f83768b64cc144ce30575ec3994a825465cd9f07cca9c017a9b39cb   2021-04-27 13:53:39                         0.00471650
Bitstamp.net   3QgTU5fwPWHMNkbx4fhwU9MgPzPbrYnXqY                  BTC            893e6fb0295baa10f1fa40d2739634bcd86da8c3a31a1756024e495df1dd4e2b   2021-07-25 06:15:20                         0.00434547
Bybit          18Wn4PdYZXrrxyMdZvMofyLfNKWVtCZviM                  BTC            6bf2cbc9e98590670006a9b4a5587cd15bbb46e52f9c4998bbed747172b6feec   2021-03-24 16:16:19                         0.03745606
Bybit          1DEBVQ1bVgvMXFmrTHi7AWSCaQGBCm55NB                  BTC            fc03f41ba4a3e61ebc9f64c6ebe40a4ad02b84054b098ce98d646af442cf912a   2021-03-10 21:06:18                         0.02049021
Bybit          1DEBVQ1bVgvMXFmrTHi7AWSCaQGBCm55NB                  BTC            4aef3f09192a20d49a596053e3543ca5d4448838805237343dc0fe2ecbebfde4   2021-03-31 18:03:12                         0.02663377
Bybit          1DEBVQ1bVgvMXFmrTHi7AWSCaQGBCm55NB                  BTC            94573ffc37056c543e82659998a5022c85554451da3ce4846d8a5d6b990aacc7   2021-04-06 18:01:50                         0.03027401
Bybit          1DEBVQ1bVgvMXFmrTHi7AWSCaQGBCm55NB                  BTC            879e1b5fc82dcc83218df76f10ff8611dd64f93ec0574260794a88c12b1ab686   2021-04-06 18:27:47                         0.03259911
Bybit          1DEBVQ1bVgvMXFmrTHi7AWSCaQGBCm55NB                  BTC            c85a3c15c482a980a80405b6f8d745fb40ce5dc83606a9339a27f1a9552ec1b0   2021-04-06 19:10:10                         0.41628275
Bybit          1Etc4GPZbe7iXY7y5zqpA3gRhGqSLBGXt1                  BTC            d0a118890f4d51014842491fd88eef92aac8efd0417909cea0b6db28d0b1b765   2021-06-11 08:34:44                         0.79992927
Bybit          1Etc4GPZbe7iXY7y5zqpA3gRhGqSLBGXt1                  BTC            0a9f76979eabbbe656fc65a1aa703cdaa12632aaf325d06ebca9be8f53977111   2021-06-11 08:40:16                         0.79992927
Bybit          1K2NLvcHwup8FbGiUVdRWefKxnTCLd8t5n                  BTC            476754a00a6ffb63b9f070af88a89812eb2c2c1b36653a411c1774d24f238091   2021-03-25 20:04:03                         0.90420114
Coinbase       35MkdfL2CZidgvq3HsZQ1PLWdo1znuMMF8                  BTC            7e5aef08d0a60bc9a095bf76908457b20d51d13c257af414e12216a7e47c74ac   2021-06-01 09:10:51                         0.00206339
Coinbase       35yxnumGu23y5FYnRLssntZ86nUQZqkuCY                  BTC            8911ac58aa3ae83b356461298ec64bcd70b5f78c3703b3121c2a647c13740a6e   2021-04-21 08:31:08                         0.01937410
Coinbase       3H332gtSHCYnUDuzVnzPNZu9V5jxhf6HX9                  BTC            88410d37b5b3bda9597a995caf501f5f16ffc9b736234bb0012b953df53dff56   2021-06-13 10:54:59                         0.00040478
Crypto.com     39cUnKwrRCPF7NqSRiAwF6x5Mk6nWywMDg                  BTC            82eb001dfe6a3e4e5018aac935c7034289cce30140eea369959356d4ffa14d2e   2021-05-14 18:13:53                         0.00200474
Crypto.com     39cUnKwrRCPF7NqSRiAwF6x5Mk6nWywMDg                  BTC            0b9a79b1c0d56d2979d29cfdeab91bfc84e67e6c25390918eb772d16840678da   2021-06-20 10:23:50                         0.01240189
Crypto.com     3CXDfdypUbQdu14NhhAfWerRcsifL8cTGk                  BTC            8b5b8611bc4675377e72fc2076f765feec72e17a12e46bc7102d146c19f81673   2021-03-30 03:16:23                         0.02965372
FTX            3Aqx9j4V3hipZdCEkM5RaEoYbo8CvmKmrP                  BTC            025f3c1e31c93bb9f145047d5b0d0c1fdf1e975d0a79afc9ca707f4b049c346c   2022-03-27 12:26:43                         0.01594793
FTX            3Aqx9j4V3hipZdCEkM5RaEoYbo8CvmKmrP                  BTC            0c43f65e010ea54d414eed0f35dcad91f447a4ebb8ffbdc9dc711655acbbc271   2022-03-27 12:39:23                         0.01014591
FTX            3Aqx9j4V3hipZdCEkM5RaEoYbo8CvmKmrP                  BTC            036f2605f0e51a98df63d10a31966c6b024bc38e0ac31ec0bf2d1037be492095   2022-03-27 17:22:49                         0.05389263
FTX            3LmNPNQRWt74qvVrsFZerUcSpkH4UZg5sA                  BTC            7f2453eb42f121aa29c74e422cb412caa0aceb4bc139f7703a99882867d70f13   2022-01-06 15:48:14                         0.00743974
FTX            3LmNPNQRWt74qvVrsFZerUcSpkH4UZg5sA                  BTC            cb36db77220aaf3e872899c60abc1d319f2b1580ccad70bc1f14543b68ef241e   2022-03-26 18:27:57                         2.14382194
FTX            3LmNPNQRWt74qvVrsFZerUcSpkH4UZg5sA                  BTC            7a31122829895b6240d673385414af3aac83c339b6866b578664bafffc9f588d   2022-03-29 05:47:59                         0.05437416
FTX            3Lvr7473mA8fiJzpc6qf4oS7nAtGPTJ8ZA                  BTC            1988291a78b4da392634c665142ffc51cf0779a6f8651d21536c33daf839e343   2022-03-25 13:51:03                         0.19399382
Gemini         bc1qg3z6gv0gyn2pw3ktnr9h4ehfzcexdxq0yy8plc          BTC            757e9488b44b4042f7285d0161194cd51426a99e248d2eeb188968000bed08ee   2021-04-07 16:14:27                         0.02888805
Gemini         bc1ql8c2rgv2qpa25cc77usap7lvsvms6tgyv6smxk          BTC            07c9a3e24f5bebb9df8e1677d04269c5ab4ca8f8357d6c77aa4fd5b2fcc5e7fb   2021-03-10 01:12:35                         0.49952726
Gemini         bc1ql8c2rgv2qpa25cc77usap7lvsvms6tgyv6smxk          BTC            66ce6e97445d9b991b2563bc0ba6908bd88f771228bf15f75d76b8a95b16c53a   2021-03-15 01:49:36                         1.41829825
Gemini         bc1ql8c2rgv2qpa25cc77usap7lvsvms6tgyv6smxk          BTC            51a299813e5afe3eced3989e378adb75b861ff2767532bfa3de40dc29fecdd52   2021-03-30 05:38:04                         0.10750110
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            f705742b6d6001725c2aa7e938ab53bcd772e693e553404eef81306261764625   2021-05-11 09:43:18                         0.00203789
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            e0b6bd04e0899d7e28c1d9b64cbb954407c9ed23394e6796f8d8c778c9cff9f0   2021-05-12 23:52:44                         0.00218700
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            71a3154a19ce076b8cfac72a4cdaf503e68bf4a9817950aa30152c4a33adfa6c   2021-06-03 19:48:39                         0.00992896
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            4c5cf2bcc70edfaca128d9fc8d55a8d52fcbf0d5cfb971b9686a5ec24e17cdd2   2021-06-07 23:49:16                         0.00474785
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            c41c81857f2f0a962a4c879ce214c61861f266b5e170b91553a9b2f47dcc55f3   2021-06-08 23:26:25                         0.49170189
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            1d8c3eec4138065faae5ddedc96285466b570d5abad675ae503b8154b5671fa3   2021-08-14 07:33:40                         0.04396490
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            89ab445cc7eb32c4a96df51c5af67101f9c41e04202ccc66c3a0e4dcfef38619   2021-09-08 08:21:18                         0.00202197
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            1171b6b2f6778b8b77627624b20249a44419ae9a11ddbbbb3f4400bbd2cbecc8   2021-10-12 04:40:18                         0.00750975
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                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                               Transaction Hash                       Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1          BTC            74dd68c0e621497ba640dc9a0ad17d9157f64d3b9304278aea6e312e449e2a64   2021-12-03 20:50:31                         0.01079987
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1          BTC            18be9cad91885dd5646be9298aabf8fdd3e8f6b4779de400e96994d2ddae40be   2021-12-31 11:41:10                         0.00299774
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1          BTC            d873349852d540e14a427421133f436b06183bc1c91f0a2d90cee9d3784f8474   2022-01-25 14:23:39                         0.01148853
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1          BTC            4e60eeb301fdaa6536995ef00c3c0b09fd34a6ff17a3a044d57c8c8258c402ac   2022-03-03 08:58:50                         0.00833826
HitBtc.com     35MiwdASDkgFqUa3YQfHFucggwNYjrBjeG          BTC            494026f8a2840edbd0a7fdbe6f2a74a4d137421fe67f8e9985f156479f367543   2021-02-28 13:02:44                         0.32627438
HitBtc.com     3HVfPsMegSmX1PwUcmvRyqCrXng4tQpbzX          BTC            fbd045001201d8f0d836a16346d8fa557e384f6a78f85aba009cec0e259702f6   2021-04-08 05:52:57                         0.06061241
HitBtc.com     3HxnoQXVhPXeZyqgmTRnV4pDJaZME4k1ZC          BTC            750ef88f2fd3e523524bd67a0915dbb10e2ac07302cbbb6ccc8336ba835ff046   2021-02-28 13:13:01                         0.15456499
HitBtc.com     3JSc8fYRWsn6qAq7UnZE8Q9vm2aE5Whg1b          BTC            5322d48a2593f5f31bb62fe68f10b920709215e01beb2a995816e063614f2b6c   2021-02-28 13:13:01                         0.30698342
Huobi.com      13z7nQx7nLJNdQPxMa4RmVgsfqhhm9sgDC          BTC            b30e00e9e6dec81b444870b97bb19cdb1e46a7b0cb87820115c52055ea7b96ad   2021-04-05 09:19:22                         0.05261756
Huobi.com      16jjLTYuDkxJMvqWCbp6vsznBGYoTgysNT          BTC            c5a6477fddfbce6b959c43d320a97ec683691cfc4ed1d11b3602ad52c25f9956   2021-11-07 08:47:35                         0.01103029
Huobi.com      16jjLTYuDkxJMvqWCbp6vsznBGYoTgysNT          BTC            d0905b469ed90b42b96b3ca9f3c9bac7fa946fb8414f6dd1a4710bd080438f40   2021-11-08 05:46:14                         0.57792745
Huobi.com      16jjLTYuDkxJMvqWCbp6vsznBGYoTgysNT          BTC            71ba83b3d1fe63e93e403dbe417b487e587fe2e0da7b667224a5286595ef87c8   2021-11-09 08:25:49                         0.00283408
Huobi.com      17oXZFjxV3TRwPGRB5gwxEttEupphM4k3U          BTC            d10a7e93e2d3d674d29e66e606fc882a273b54e98b2224cbd528b9f5161884af   2021-05-05 11:18:12                         0.05699151
Huobi.com      1DgFr4KzUZD9cpgnBZCypK9iYeHb7vgRH1          BTC            4e2b24233a93346093da1aa22b826f7743d5f43bedd05649f533bbc78541f8a8   2021-04-05 03:53:54                         0.49915514
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            0d0fb5e2667977fa049a050dd69b38adb20db7d9be4c7ad3dda91909fcb74a0d   2021-04-26 13:38:26                         0.14684365
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            075a6ac4f1fa4f02544e259492ac6472374056489c3e2d22811ca2d361c62c7a   2021-05-03 21:53:18                         0.43136660
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            54477f0480e608883abf9635ad6a37012c4caec88ab7b35025f39b89a7aa414e   2021-05-14 11:28:02                         0.00312824
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            f169f58cfc3f26149ca63cf6acba779469d688f11d607fa94c73e77639ac04cb   2021-07-22 11:00:53                         0.23962043
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            5c3491287cba1540a73e2142eec0ed24b22709a61905fe5f814485000f1c02b7   2021-07-30 06:47:57                         0.09037640
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            89ec88d94a7af13cfdebcd39497deb2d68e90ea666b68f667af2fe2f360d127d   2021-08-06 00:50:58                         0.21372302
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            8adad9b7a1ab2288d682305ae993158fe3a59bd632bb4b8f3a66900e02507aa4   2021-08-21 08:30:12                         0.06210102
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            43145226bb1090d21e9149b51cf47564ed03322a00a35b3675f2e61f9258a67a   2021-11-07 04:47:25                         0.39213402
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            76f34c9753c66dc9bd5182aa0b044984db3c876b96da42dba8d9dec41287b5f8   2021-11-07 06:49:04                         0.07385358
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            008a8c1ac26ff244743b92f3a5fb3fb2a10eb43b53cee645e2ba894fc9a08f4b   2021-11-07 07:52:33                         0.00400873
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            acb7529b9e84be29a97781604fe24e40727f1f9484da2f348d12a2a91371a6e1   2021-11-08 04:58:31                         0.06506219
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            3b8af1f16b83064c9f14afbe0a7177a4fca40d2aac8056462ca0dcb8fa6175e0   2021-11-08 05:46:14                         0.11189912
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            d05d6e9a8a077d7ca594ea15c5dfdfa65afc696528b53da7b52a9ff2fb657529   2021-11-09 06:15:02                         0.01578951
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            102849feb45360cc96076c1220b98aef5175620fa44cf195031fa66b17271370   2022-02-15 11:55:04                         0.00623658
Huobi.com      1L15W6b9vkxV81xW5HDtmMBycrdiettHEL          BTC            364089080124aaa1e96122036fca3847258210f76cc4076486db308839b10dcf   2022-03-29 13:58:11                         1.16422484
Huobi.com      1L15W6b9vkxV81xW5HDtmMBycrdiettHEL          BTC            09c1c3c4b73ef1ffef3af899cf7d899d19d4ce064ebebc116519ad0302faa64c   2022-03-29 15:16:48                         0.01006183
Huobi.com      1L15W6b9vkxV81xW5HDtmMBycrdiettHEL          BTC            0c05cc7b2e3660c759bcd5b88455b67677a6efb829e9f6fede81277c18082475   2022-03-30 11:36:45                         2.53189439
Huobi.com      1NnwU2wqppE4f7cjHPHRh79kF6UDMcwGzB          BTC            ba5c49f11445d7c0cf26e704177432e08dd706bd1371a46c818c4c50a1f8de23   2021-06-02 22:37:14                         3.81539799
Huobi.com      1xSEjfGqgxXkSzeG6MEVtfdjUuumEZqsB           BTC            2c4b044145ffd3db1d862dcd70dc214ef0c7ed11250464723e73ecd0ae49ee61   2021-04-29 13:58:34                         0.00790712
Huobi.com      1xSEjfGqgxXkSzeG6MEVtfdjUuumEZqsB           BTC            a228bd2f20fd254c1b6e05e06c30b69ec59757d25d85b61a26d4557c3a69515f   2021-05-10 15:16:37                         0.00218700
Huobi.com      1xSEjfGqgxXkSzeG6MEVtfdjUuumEZqsB           BTC            395a12fec4a44ab12e8e965052278b9672051f9fda5f7d2e35d42899ba2f6263   2021-06-13 16:19:46                         0.47923993
Huobi.com      1xSEjfGqgxXkSzeG6MEVtfdjUuumEZqsB           BTC            ae2ddf7392ff040d8847f09a9570c944149e6c28debbcb6509a217a4afe17775   2021-06-15 11:43:04                         0.16053469
Kraken         1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit           BTC            85f822aaa672440b0b96822e92516ad62fa2521d284b4eadd3dc8c5f46674f96   2021-05-24 20:46:01                         0.00192306
Kraken         1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit           BTC            d3e01346da5679a12427f66f30d9e7ac33ac441cd2fc329d28f223f75cb8af8a   2021-05-26 14:25:17                         0.00793220
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                                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                                           (average confirmed with the five
                                 Address To                         Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                                           tracing methodologies;
                                                                                                                                                                                        in cryptocurrency unit)
Kraken           1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit                         BTC            6fd3181ffc978d5650fb279cfbb06a53cb2c48d3c537ef43336223e43ffb02db   2021-05-26 14:47:00                         0.00838441
Kraken           1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit                         BTC            589a16457266fc3a5a38eeaf6313ca000fed43a6a7620cb8b876534d5848b540   2021-07-12 18:07:53                         0.08935756
Kraken           1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit                         BTC            8d698c0949ddf94d95a0b54980928c9d72d836108dbfa9b0c00880160c8398ca   2021-07-17 23:17:13                         0.48519395
Kraken           1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit                         BTC            630cdaf07d5287e81ad5fe399a608551cc6d1bc497e2b00dd328288c8adacb6a   2021-09-07 22:56:08                         0.00207386
Kraken           36GNnB2G8mo7nv62MmtH4sUUg647rFxrwP                        BTC            6ef161dde9ece6226ee021df8c15da4d740dc925c26dfabe158f6d0e23dc6213   2021-06-20 12:07:54                         0.01348439
Kraken           38HyrjdARosXGr8SXyzLQLWuSCdi8hqcDR                        BTC            1678b9b693a4a5d30a0e504dd41005c996f9f3a289d6b244b9192d0426037ca9   2021-02-27 15:21:00                         1.39992011
Kraken           39SaPmECYfU1EHc6Gxu1mYiarudJ2ywY42                        BTC            b00cb09bca7146c700c2dc98d67191fe7a21c17010a2d4ba75b6d1d587de1a38   2021-03-14 04:10:10                         0.13149559
Kraken           39SaPmECYfU1EHc6Gxu1mYiarudJ2ywY42                        BTC            30873517330c8d3524fc2df61f6ffb7ece1a20a2fa7d154b7e8d1d0e666caf8c   2021-03-16 03:49:39                         0.10723812
Kraken           39SaPmECYfU1EHc6Gxu1mYiarudJ2ywY42                        BTC            d7fde02a0c2020a94f1062fa8945234a556a7753c11aa40fc5ad54c5ed8c6ea7   2021-04-11 22:06:01                         0.06193736
Kraken           39SaPmECYfU1EHc6Gxu1mYiarudJ2ywY42                        BTC            78a9c89e4f7dee223a360b8dbad083f5fea9026198f5561099aff968177fb441   2021-05-07 08:25:40                         0.00516423
Kraken           39SaPmECYfU1EHc6Gxu1mYiarudJ2ywY42                        BTC            2d0306537ee150408ca7c5803cf0b9eee37deb0e191229caac0b261811f66a86   2021-05-15 18:54:44                         0.02891461
Kraken           3HGdiSbfnM3FH4CapoDctJ1ffXz8cd56er                        BTC            163400fac0a63015b4f8fa27147844d74e775e18489b987a2b9878a438cb78b8   2021-03-16 00:09:13                         0.05276544
Kraken           3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                        BTC            bec8899b602b18a270e61c3daed03f295289d0491f923553ea72f31c0c10a315   2021-04-06 23:56:53                         0.04350350
Kraken           3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                        BTC            85fa7110dc547ade4f6a0b5adfe319c37424b43c7dd5ce0922f814625977c378   2021-04-07 13:14:22                         0.33778742
Kraken           3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                        BTC            25d8615cffecb1822f9f476db7fe15eab917ec893d5a288f25a0a71f7ed0fbcf   2021-04-29 19:10:03                         0.03520630
Kraken           3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                        BTC            41a5d08c8ca64ce7a98abc79e4d6d9b30bc498ebc1873639176c3ccb9abf2e78   2021-05-06 07:01:41                         0.01890440
Kraken           3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                        BTC            7f1419c3acb924f1fd60085efde2598dbfefb04635fa1c72f6139eb2021f168d   2021-05-06 12:53:18                         0.00218700
Kraken           3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                        BTC            6abf5c24cca9c04b9815b6d94a7244a47b99d7d40a888e36e713a8fb329334c8   2021-05-12 08:08:59                         0.01885794
Kraken           bc1qfuddrpsmkymngxkm4nz99ac95vrxad7carhxp945              BTC            77cd7c1f5f497c9d2971a075116b4e2967ec0479e1fff702e6feab48832dde18   2021-05-04 06:33:22                         0.59450753
Kraken           bc1qlfyznlvatcm3wchudqmx79fg5u0xl5ejx6dq8xx6p3s           BTC            4b2e43cb1f58103206c3c1e4384d3d356314831668cf059aff3f01b27a4c1681   2021-05-05 23:39:43                         0.01957083
Kraken           bc1qqwy50uahzvnn8lpc8769sk3q8dsl3fe0ye02ksk43m            BTC            a21d66a33a94d74e7e6963f84ba869c2e721b0fb15e5b1472a81c78639183f61   2021-06-22 18:34:31                         0.30821102
Kraken           bc1qyvqls3p8t6jp4g8yqjg50n6jpkaqfcypyqcgr9smy64l          BTC            591e968eb3f5a2308f8506bd3ac198b67d48d9beca370374771fdcb05f969ca7   2021-06-22 19:40:48                         0.13533877
Kraken           bc1qyxfd2ctza3npghs9qphpfa2p3su7wxhafs2z4txdmm            BTC            28d9c1c5e37f084d9d5a122728b8b83cd2999e521a14424c03d620b32efa9d6b   2021-07-03 22:43:08                         0.20477522
KuCoin           36LKXRs5nvELt9oJDWa6wi66Zu8jiwxj9U                        BTC            41919caca4ba1cd357b3d1538753445ddb97fbeb17fabb332eff94fcb3fdb24d   2022-03-27 22:35:33                         0.62072766
KuCoin           36LKXRs5nvELt9oJDWa6wi66Zu8jiwxj9U                        BTC            d2f12e30e809fb865d391d77e450b5df6a1b977f435896d76081bf1e09b1cf6e   2022-03-29 21:27:37                         0.35493227
KuCoin           38mtv2P85GLKLBQ99b9vk3MQ8vorVJ1TBB                        BTC            bca61545fed990f7fbcb6770fcc7293617cf789dd52b0762f09cdcd09f8dbbb8   2022-03-29 20:17:43                         0.63084930
KuCoin           3Agw5GYmkpsJmg9kajCvxx4mq9UwtZKLvM                        BTC            76a8cf8bb1ca401e8edd5e7881f31cf05e5989abff43188a08fc443d624bd412   2021-08-20 19:33:42                         0.03065334
KuCoin           3Agw5GYmkpsJmg9kajCvxx4mq9UwtZKLvM                        BTC            b9242ff492d52f927fcea70c8fc61a8f3faf4bf1e5a5f92b957ef160d07fa63b   2021-08-31 02:32:28                         0.52053266
KuCoin           3EtnttbT7MwzrMNwPc4SVsBtd5obqkcDzT                        BTC            de94e637991447d9ba3303c100f13a7b4871d8c4317ebfca81d2719d2b8a5728   2022-03-21 20:40:59                         0.08008933
KuCoin           3JtozJ9CCkfw9KUpUD6tZnEF36bv4Mv54A                        BTC            8911ac58aa3ae83b356461298ec64bcd70b5f78c3703b3121c2a647c13740a6e   2021-04-21 08:31:08                         0.03077355
KuCoin           3NgEQb6dTjdLdtTjDnBaZMbau79gHScodt                        BTC            85def204d28e781b085cb206c865cd764c65936560157e56731282ddb95c7be0   2022-03-28 08:30:23                         0.09401955
KuCoin           3NgEQb6dTjdLdtTjDnBaZMbau79gHScodt                        BTC            537a7130204740dcd92f4c0ab9ec9b4d4777b282aac792ed17505201f692bfba   2022-03-28 08:33:09                         0.00406935
KuCoin           bc1qx65xcxz6dfsge2g4eaerercslh83y66wrpm79r                BTC            b2d01e29510b491db1766d9cd66c74b98ff2fbbf16be3da113551c8f96e4d5bd   2021-04-28 15:08:19                         0.01693697
KuCoin           bc1qx65xcxz6dfsge2g4eaerercslh83y66wrpm79r                BTC            27d559c7bbf9195802f6a427decd5831ed3377449e66fa2a42ff347a6b1818ca   2021-05-13 07:26:45                         0.00209749
KuCoin           bc1qx65xcxz6dfsge2g4eaerercslh83y66wrpm79r                BTC            d6e99026bb5d9bc4a1f5e4ef8db1e04bd9d203cb14564cf0a0f2f4ad8febf255   2021-08-01 19:49:50                         0.00230687
KuCoin           bc1qx65xcxz6dfsge2g4eaerercslh83y66wrpm79r                BTC            5d08afb0d6ff194a68ad8233b193d64a34fb88677975ee619bf8da1e772cf5d8   2022-02-25 17:33:35                         0.00346875
KuCoin           bc1qx65xcxz6dfsge2g4eaerercslh83y66wrpm79r                BTC            9c3fb4893c3696fcd945a7e0a6bd2c759ae56dc7d33c2aa01001cd99fca5a4b9   2022-03-20 15:01:48                         0.69684316
LocalBitcoins.co 37PPZuGqkg7rSXy1VNTvUB6CHeU3jz2poz                        BTC            fee026e4a9f2c727a2c6b2fa0f4116af70aff7286d2d876c643f0bc4c56cc27b   2021-04-05 10:23:29                         0.33190362
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   Owner                                                                                                                                                                    (average confirmed with the five
                              Address To                     Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                                    tracing methodologies;
                                                                                                                                                                                 in cryptocurrency unit)
LocalBitcoins.co 3Fyg8b8416fvgB9SMLjxHZDSuVVvHBf7Te                 BTC            ee666829879b8a52b2cd9263646c809f4b3a3dfc8a375e97a6d324e3383c9008   2021-04-06 19:07:23                         0.26929146
LocalBitcoins.co 3GQQM3zDK9tvvdnQ24vaoqkyCr8vzEQvM9                 BTC            6137c6e708f449a69cff4a1d00d7c0bca968dae4b75b98542ca7aeccd5127c2d   2021-08-26 16:05:39                         0.08439749
LocalBitcoins.co 3Hc17tSzv1L1J7GU7FC7624m7vm7EVnxZS                 BTC            bc5d07166e162d562f6278108f43b6031152cd0932d031aee88545051b9fb694   2021-03-12 20:12:05                         0.46658883
LocalBitcoins.co 3JFrJ6P6t5icD7bSAGtVU9Vbg8bQhfDHpg                 BTC            a84eaa29aee1b78168804414c6daa6bb15c7a984d0f99a02384386d2ea0fd471   2021-07-26 11:04:09                         0.18868763
LocalBitcoins.co 3PHS3rk7Rkwz8f39ZE7CuxjAL7YvH86rUH                 BTC            0d1ac0f98ef1f876f370ba3af4f715f55940688ce599764f0e0e23b584096482   2021-03-26 10:31:35                         0.19555794
MEXC Global (M32YgzEsdvt8Mh4s3skG7UYYAEcorxdoMo1                    BTC            4c94f894f495d5af40c44205374b65c4ad7ee4294a0f2ba623bdda624add1b90   2022-02-14 04:01:36                         0.01853309
MEXC Global (M32YgzEsdvt8Mh4s3skG7UYYAEcorxdoMo1                    BTC            770b462b0e3a3647357c35df2fc736c9ca1691c77f758b5bc029242af6d50c2c   2022-03-25 02:20:37                         0.11033151
Mandala          1BqazAeRaCLJUquxWfQPhWGU1nqVmyFmMU                 BTC            15f17c64484efb46d7ac56c165e251c84661b5241be96bf64f27f6d4b688a24e   2021-02-23 15:36:54                         0.84861044
Nominex          31s4AxJaFthfSG21ScGHT9LEPPrp4mR2Cn                 BTC            38802700198549e1b92862e256d0f1dda16b53ec2821a7cb8a19610db4ce10d6   2021-07-18 01:52:20                         0.08954865
Nominex          31s4AxJaFthfSG21ScGHT9LEPPrp4mR2Cn                 BTC            5b48f4101ac5130748b01a6cbd68a86d79aba9b0a07839dd529e61a57d89c5fa   2021-08-11 08:04:31                         0.00650239
OKX (OKEx) 32rKAri2ED9ngZiKZAKhfiRQ8hTSEEnDQw                       BTC            4f19a72bfc68da87a2e818109231c98c84d3f341fa487369cb9271f4e850c10f   2022-03-29 20:14:38                         0.45738987
OKX (OKEx) 3Ejcov8UL29FW6sozV1vFfyT4npDUwEJsn                       BTC            673fd58465c174ff04ae3a9e2cd6da21f308cfea6feafcf87d2e32f71a625ba8   2021-09-16 15:54:52                         0.00492696
OKX (OKEx) 3Ejcov8UL29FW6sozV1vFfyT4npDUwEJsn                       BTC            67fa6a2aa50f2dc1c279fddf5ea27fcf60d4f9ff51f63bb5d7f264ea49854e30   2021-11-08 05:50:12                         0.08635135
OKX (OKEx) bc1qaqeu4s7drfpxdrt505fe8qcraymplh7eh7339g6jfh3          BTC            ed2a63063094edfaef7c0765e45b1f30ab50fc9990114b45ff5733374c2ea215   2021-12-22 10:35:29                         0.02334489
OKX (OKEx) bc1qaqeu4s7drfpxdrt505fe8qcraymplh7eh7339g6jfh3          BTC            614be3d79a36c2a33710a7f666242b8c5c856b897dfd1b45f67e73f32e5e8af2   2021-12-24 13:21:01                         0.05176749
OKX (OKEx) bc1qaqeu4s7drfpxdrt505fe8qcraymplh7eh7339g6jfh3          BTC            931de202b5c75470956a053a9dfea43c6126a11a5b0d20e24ea24f37ea89137f   2021-12-25 12:05:42                         0.01806631
Paxful.com       37jdH27yixRNcK9Vyg5FvcBfMimTXjHTbG                 BTC            1336cfd9c900fdaf2059e38bbc1d01c58fcd54c3e2143f3e46c3bddbd89ec2f1   2021-03-12 20:45:20                         0.05799017
Poloniex         1917vGDrz4ukiuNx5vzMMkTXaXbsG9BWLF                 BTC            4aca692e9a110effee061e94f9410047549c74c88866a6781b27ffe879db2ec6   2022-03-28 17:52:59                         0.03074507
Poloniex         1AQJFdK8aAiy7jSpu3KeoVP6sXzsPjBVvf                 BTC            f73c064054b0e6c1be2a74ed60929ee9d571c4a2e416bf331f9612cb48225a83   2021-10-03 20:07:10                         0.00513708
Poloniex         1AQJFdK8aAiy7jSpu3KeoVP6sXzsPjBVvf                 BTC            9193c2bbac90cd34d12f0afa6d6c049f770ee927d47a3edc6c14af9fede2c108   2021-11-07 04:00:12                         0.07702755
Poloniex         1AQJFdK8aAiy7jSpu3KeoVP6sXzsPjBVvf                 BTC            acb7529b9e84be29a97781604fe24e40727f1f9484da2f348d12a2a91371a6e1   2021-11-08 04:58:31                         0.03846658
Poloniex         1AQJFdK8aAiy7jSpu3KeoVP6sXzsPjBVvf                 BTC            d05d6e9a8a077d7ca594ea15c5dfdfa65afc696528b53da7b52a9ff2fb657529   2021-11-09 06:15:02                         0.03147307
Poloniex         1AQJFdK8aAiy7jSpu3KeoVP6sXzsPjBVvf                 BTC            0db52738d3f8b4ee9316b23818fddb719a34310d07325c291cbfc59db02ebbb2   2021-11-09 07:10:13                         0.00228422
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            283ec31a10d4697c3bd8424552d422f0b0dca7fd7678236e0a22fd588239dd76   2021-04-27 21:43:52                         0.06185985
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            dd0800a9fc9a95472d96c571925542aad0049b442ff4fba6730145527de76279   2021-04-28 23:24:28                         0.02991093
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            ca0fcacd64ae479045cf085b0bdbad48205d4da5a848908588798d1d25f6edf3   2021-05-02 13:19:59                         0.01149342
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            a337c251bf3910d87fbee4f03e5779b83eb9d3310ff011081074f947d4af04f6   2021-05-04 14:01:22                         0.01653742
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            daa07c8237e6130b056b60e5de97928b8154fe466f874bb75aaf906dccf48afa   2021-05-09 13:26:21                         0.70461396
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            7d5bf4fd38d25b9f6c31633ac74cae4eecaee598345a3c85b21790bce49f2766   2021-05-10 03:34:32                         0.34948369
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            2c8e2b98c7330ae0cf5a357137d77bfff198bd8023e7cb2e5ef173e1c9d49250   2021-05-13 16:25:15                         0.63519876
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            bc2d054b3a93076d161be8d0bdedfe86751d886b5fb2dbfdd3d8e5b617a73121   2021-05-14 02:40:58                         0.04879734
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            ed7335f1011f5c6e0db81f196bf5b78c5799f180342476a97eb4a85a9f1363bc   2021-05-14 03:34:30                         0.14506610
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            9ffb066f45b69d03bdb513325e3b9c24471de42266df324ec96c6c64e3d25f3a   2021-06-01 06:50:20                         0.02850758
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            4f9f6ee4e94d8aafac785a61a8111f102e27f240046e8c681a57d3ff76aea881   2021-06-11 04:52:50                         0.00300903
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            742a94ce780baaf1b9214d9f4885a83b84d4f2a98cc2e8f7760b916696318909   2021-06-22 05:55:29                         0.00215673
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            879f24082775e22257e235c55d942cd25f1bc6f2bfcb8b72908465c4e317aafc   2021-06-24 04:14:42                         0.00244778
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            5909262b3a3fa3cdb915e7f2aa60a88c0a78a8d06f4b8db7d477728ab21350f2   2021-06-24 05:49:38                         0.01940765
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            7e5bebff3efb2fdd35c35bd94118a197d9cced5dcb6ff8bbbf3d606c46b49a4e   2021-07-07 22:29:14                         0.00856737
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                                                                                                                                                                        Funds under claim
   Owner                                                                                                                                                         (average confirmed with the five
                          Address To              Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                         tracing methodologies;
                                                                                                                                                                      in cryptocurrency unit)
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            93d007f09297325bfe4b661743dcf0df714999f3ca0796d6e82a7fdd817bb236   2021-07-24 12:34:19                         0.04109236
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            c0151c28685118b9176ca02fc300db3beb1038ec44b9c84750131d9ec4d29c85   2021-08-31 07:20:49                         0.02371048
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            04fd253515c693dd37023bea1b1aa67a5e95a1a4d02a2464226bb2d49f61bedf   2021-09-01 18:11:18                         0.07237954
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            e174b1476e1ceb580e9161612fa4d9a23f776f2488ecb5c29d1926356024a169   2021-10-18 13:15:07                         0.02401787
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            0a285eeb90857885ca598849ad68f2a0b192a220c0d1372ded224cd08f9922bc   2022-03-15 06:06:52                         0.00263360
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            f1216d8d86d4145c66d11133054146e67023b9117f16524b94700b2ee6aee4ba   2022-03-25 10:26:23                         0.00405855
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            5889d1e8c1c8323be989f5b2228c2bc41d71002df264dbf2bcab866a03953f6f   2022-03-28 15:28:47                         0.02928181
Ren          33DaZYib7zij1LP2x9VHHSb6dYDhUymqXt          BTC            7431c046f22b19711d3d0936e61428ada3c42742c4a627ac7a359582c8d117cf   2021-02-16 14:56:40                         1.39987007
Ren          35TjCuKRbKcofxnKG2EkC8B66ZNXKqE1aN          BTC            84b7c4a2b79d454bbb1636d6d872ed367bbcf4b664193b7b8baded8675085935   2021-04-22 02:00:30                         0.49996934
Ren          36CpqVr1SHJ3aj5NcWbnnDaZNxTN3PrtcT          BTC            653fc81796b80dd43739fed50fd4cc7e7b2a16e9a8e7de4e1de6995e78810ada   2021-02-16 14:30:47                         1.39987192
Ren          38L2i15SxTqJ2vD8X71DtfsBhuUefwibJX          BTC            e9a0d0bbfb37bf9d31db4451ccc1ea7c440c078ae5b155673b0d244a38d2abc3   2021-03-01 13:52:38                         3.36616218
Ren          3953TFvpANofLb45AkrtitCp2k35sp2kJg          BTC            c1ab7d53a4f7953fa0c8f295f5797f856cecef6cfce4644feae5eaf314e9f6ff   2021-03-15 13:36:06                         1.19998029
Ren          39TSkidWoFVb4qnnWDrcgXirwoxCLRjYbC          BTC            4205761eb2aab8f8cd73ffb8dc32090b189919dd8d76a1226150c7e3ce482337   2021-03-21 18:47:47                         0.46658883
Ren          3BhWD6JtX3RXS6JeKyBoo2BEpfeoK3HhxE          BTC            e7a083178540701a4953c7935ce8a49f18bf1b2eedbea3715e6e373e5ff1706b   2021-03-09 22:03:57                         0.36839428
Ren          3CzGP9Je4jHD591qW6e6c1AbtLQrsxQZo4          BTC            1fee58cf31200643fca368aa0188c88e6ce63d0260acea5eea8a0d41a51bc9c5   2021-03-11 03:11:02                         1.99991662
Ren          3ErtV4K3sDHoshbudwAnkreSuXS7u2YREJ          BTC            7d28b624e77373528b77effab16d9741752a1bfb9acc3af422628aa08c11669b   2021-05-05 06:22:24                         0.07513967
Ren          3GwVA3kPCxkfxiTnZUJbBzF9cH7j5omtFh          BTC            686c623566f6d07be4804ae68205f6d73ceba7355b4b2aedc12e422de3f189c5   2021-03-25 08:11:10                         0.60953274
Ren          3HSUqCM5BqF2mZW3RKExw9AGQvE5eAaCnb          BTC            69768859a8f4b0f6fc31ad775308ac3bd0598380f2c76227eddca76f5bdf195c   2021-03-24 14:20:43                         0.57000334
Ren          3HUQjCX6bLXzHMdCzTduAUWc3yMkzRA6La          BTC            c2e273a70a32ba4d80416f13432f75f3c482f4a1e482ce6ec29eb5462423b145   2021-03-26 23:53:49                         1.82352728
Ren          3KN8ZNAmsfybuieLTU2rwJQoWttiSECztQ          BTC            f1f88cc05c85c0681e94b10e1551bf178e4f8b495a6d916fe1920a5d39e2df5f   2021-03-25 22:33:21                         0.15058266
Ren          3LqdjTMqS7q9AeGfWd1xk9rz64D5qgUmzT          BTC            469b896564766388756e13c55f328f8feb1c00574e55de352dcf64b9f7317c07   2021-03-01 13:52:38                         9.28167776
Ren          3M8VZjtAqi51LsMuRGGY9mhPvQk5hvubvt          BTC            3e3b2950c72f863642db0a1bd248be3009ba65e9fa950d5a3094a7b1d7b14e2e   2021-04-22 02:00:30                         0.46658883
Ren          3Nwebgx6r4cu8gsLcBao7SMayDHmjAaDYM          BTC            c64cbb8f6a1b8d14ae0f0adf8aacc79a2d7430df83ad5f005c5821f252be8978   2021-03-21 20:41:31                         0.39999020
WebMoney Tran1N615Az75xbRtQsTDvDRrxEaRuL4SxdARs          BTC            e7510289fb7427432c61eb9455eb3ac61f0f8e324bd2fa20a15985a5835638c6   2021-02-27 01:07:26                         0.70461396
ePay.com     345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz          BTC            6969b0f527a260a1272a25dee6bdbc5dfa83e1b5a33406af41355a9237a5f922   2021-03-21 04:43:57                         0.25867847
ePay.com     345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz          BTC            97c1f1eed0e95f247d0dc8552a1703c83a2d182d0da56050b2506ca80d13acb8   2021-03-22 09:09:00                         0.20235584
ePay.com     345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz          BTC            7cc302ab0b17981bf3cfe417db4740352eef670a19e94ce697146183b554d8d1   2021-06-24 13:46:43                         0.79275800
ePay.com     345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz          BTC            34e4c9637dc74562cb6b34794c7b95d3bcee3d70bc7c5082d1a19a880b871872   2021-07-07 12:43:07                         0.00461458
ePay.com     345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz          BTC            64b928666b306c4b6d8e19bf5c1b9be69eb32960f0e474b86a85068476898fb7   2021-07-20 06:36:21                         0.01759928
ePay.com     345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz          BTC            367991140b014de77ee3b226b2664d23b2425b122633ee11572a0c7f78ce4539   2022-02-09 17:30:18                         0.01511283
eezy.cash    398FNpRVsj72YHcagHyExDeSTH4FG3t1KG          BTC            c6f8d483705a7795453bb360cf5bfa29f43dec67a51cc7fe8c076da33ea619bc   2022-03-21 20:40:59                         0.15838508
eezy.cash    398FNpRVsj72YHcagHyExDeSTH4FG3t1KG          BTC            4dbcceea25a04790875a5bfc459312cddc77b1072789e65687180052adeec90f   2022-03-21 20:57:08                         0.16469817
eezy.cash    398FNpRVsj72YHcagHyExDeSTH4FG3t1KG          BTC            569bd3a0c08513bec699ac8ee445589da47daa57dad506f50132e8dd0877e114   2022-03-21 21:27:53                         0.77691223
eezy.cash    398FNpRVsj72YHcagHyExDeSTH4FG3t1KG          BTC            655bca9dc8f1549726ab6f66bb69c54170eb5e4064da5a805d29a12193aa7c32   2022-03-28 19:23:35                         0.43715432
eezy.cash    398FNpRVsj72YHcagHyExDeSTH4FG3t1KG          BTC            e130a189536e972068b693856e0d4f1a07828b3ff84326463ea4581681e03ec8   2022-03-28 19:53:00                         1.26416995
eezy.cash    398FNpRVsj72YHcagHyExDeSTH4FG3t1KG          BTC            c9928c4e1cf6b8f30e4afe3e0710c67c1e34384aa782d0867efd871640ce8324   2022-03-28 20:14:28                         0.79357044
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           Tab                      Column                                                                                  Description
                                                      The blockchain address to which the transaction was sent. Note: there may be multiple addresses receiving funds in on blockchain transaction.
   Transactions summary           Address To

                                                       An entity or an individual identified as managing the private keys allowing to distribute funds from blockchain addresses corresponding to these private
   Transactions summary       Owner (Address To)
                                                      keys.
   Transactions summary        Transaction Hash       Unqiue identifier of a particular blockchain transaction.
   Transactions summary       Transfer Date (UTC)     The time of adding indicated block to the blockchain ledger which is identical with the time of indicated transaction, provided in UTC standard.
                                                      The amount of stolen funds traced - the average from the five tracing methods. Coinfirm use Destination of Funds analysis to identify addresses that hold or
                                                      received funds originating from starting transfers indicated by Client as constituting assets misappropriation. An algorithm uses five different tracing
                              Funds under claim       methodologies, “First In First Out”, “Last In First Out”, “Pro Rata Distribution by Blocks”, “Pro Rata Distribution by All Outputs”, and “Taint Last”, to trace the
                              (average confirmed      fraudulent transaction. Only results confirmed with the said 5 tracing methods are provided, namely only addresses for which the amount traced by each
                                  with the five       tracing method varies less than 20% from the amount equal to the mean from the 5 tracing methods.
   Transactions summary              tracing
                                methodologies;
                               in cryptocurrency
                                       unit)



                                                      Asset Type – type of asset that was transferred by the transaction, for example "AMLT" for AMLT token on ETH. The value of this data field is "native", if the
                                                      asset type is the first asset supported by given blockchain network (e.g. ETH for Ethereum blockchain). Note: multiple assets types may be carried in one
                                                      transaction. Note 2: No such field in the BTC blockchain.
   Transactions summary            Asset Type




                                                      An entity or an individual identified as managing the private keys allowing to distribute funds from blockchain addresses corresponding to these private keys.
Receiving Addresses summary       Owner Name
Receiving Addresses summary    Beneficiary Name       The identified beneficiary of the address owned by the address owner.
                                                      "If Owner Name is empty then: addresses that currently hold traced funds. Those funds can be traced further, once a new transaction occurs.

                                                      If the Owner Name is identified then: the address that received traced funds, but the funds can't be traced any further - typically these are addresses with
                                                      the identified owner e.g. cryptocurrency exchanges, payment processors, online wallet services.

                                                  Whether traced funds are received by a VASP-controlled* wallet or not has an impact on our tracing analysis. Tracing of the Client's cryptocurrency will
                                                  continue until either those funds are received by a VASP-controlled wallet, or the funds are received by a wallet that still currently holds those funds (i.e.
                                                  there has been no further onward dissipation of the funds). Most VASPs operate pooling addresses used to store customer deposits and to execute
                                                  transfers. When a user of the VASP wishes to transfer cryptocurrency from their exchange account, often the exchange will use cryptocurrency held in one
                                                  of its pooling addresses to settle the transaction, rather than transfer cryptocurrency held in a wallet that only includes that specific user’s cryptocurrency. In
Receiving Addresses summary   Destination Address
                                                  these cases, the records matching user account transactions to the movements on the blockchain showing which addresses have been used to settle the
                                                  transaction are kept only by the exchange. These internal records are not publicly available. The tracing of the Claimant’s cryptocurrency must, therefore,
                                                  stop once those funds are received by a wallet controlled by an exchange as we do not know which user account transactions relate to transfers from these
                                                  wallets."

                                                      * The term ‘Virtual Asset Service Provider’ or ‘VASP’ was introduced by the FATF to recognize those firms that perform services relating to ‘Virtual Assets’
                                                      or ‘VAs’ which definition covers cryptocurrencies and other blockchain assets. The ‘VASP’ definition covers the providers of custodial digital wallet services,
                                                      transfer services and brokerage or investment-related services. A VASP under these regulations would become an ‘obliged entity’ with all the consequences
                                                      and obligations to comply with the same standards as traditional financial institutions such as banks.

Receiving Addresses summary   Cryptocurrency Unit Blockchain Type – the symbol of blockchain network on which the transaction was executed, for example "BTC" for Bitcoin or "ETH" for Ethereum.
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                                                     Asset Type – type of asset that was transferred by the transaction, for example "AMLT" for AMLT token on ETH. The value of this data field is "native", if the
Receiving Addresses summary       Asset Type         asset type is the first asset supported by given blockchain network (e.g. ETH for Ethereum blockchain). Note: multiple assets types may be carried in one
                                                     transaction. Note 2: No such field in the BTC blockchain.
                              Funds under claim      The amount of stolen funds traced - the average from the five tracing methods. Coinfirm use Destination of Funds analysis aims to identify addresses that
                              (average confirmed     hold or received funds originating from starting transfers indicated by Client as constituting assets misappropriation. An algorithm uses five different tracing
                                  with the five      methodologies, “First In First Out”, “Last In First Out”, “Pro Rata Distribution by Blocks”, “Pro Rata Distribution by All Outputs”, and “Taint Last”, to trace the
Receiving Addresses summary          tracing         fraudulent transaction. Only results confirmed with the said 5 tracing methods are provided, namely only addresses for which the amount traced by each
                                methodologies;       tracing method varies less than 20% from the amount equal to the mean from the 5 tracing methods.
                               in cryptocurrency
                                       unit)
                              Tainted Inflow Start   The time of the first Tainted Funds inflow of the indicated asset type and to the specific "Address DoF“, provided in UTC format. Note: The earliest date
Receiving Addresses summary
                                      Time           from the 5 tracing methods is taken
                              Tainted Inflow End     The time of the last Tainted Funds inflow of the indicated asset type and to the specific "Address DoF“, provided in UTC format. Note: The latest date from
Receiving Addresses summary
                                      Time           the 5 tracing methods is taken
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                          EXHIBIT D
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                                                                                                                                                Funds under claim
                                                                                                                                           (average confirmed with the
   Owner                                                                                                                                                               Cryptocurrency
                                Address To                                   Transaction Hash                          Transfer Date (UTC)              five
(Address To)                                                                                                                                                                Unit
                                                                                                                                             tracing methodologies;
                                                                                                                                              in cryptocurrency unit)

Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   7a6506d43cde822003590a9e1f82e37eef2c57ec67c5060f480ddac3474dc9ad   2022-04-23 20:00:45                 0.07600530      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   5af5aef3c4ccccda56a472986305d08543a83f6f0736cc842680f9ae57a0c5b3   2022-04-23 18:42:40                 0.01683183      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   d0573e81b241e665e16b312f0f27ac909d33adc9b2092dd659292cd8f49f8f95   2022-04-23 13:02:04                 0.04495456      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   836cf06fd42b4e61875e94aba9f20da7662cc4a7d891c7e40c431282d8ab92b8   2022-04-23 08:21:59                 0.00464632      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   22cb62bea4ae0b79b7ed6f8a1253aa1cf1bd5885130619866c5909165da18ba4   2022-04-22 13:00:06                 0.00953437      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   b5778fc291c133462eca2bd0235f7c04bc5009de0403b594054cc6e71080f540   2022-04-21 19:43:26                 0.00889113      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   4798ebd86b1ee03127ddaf1c76d58f6811b708078244f620c5326afab69ae76c   2022-04-21 10:12:48                 0.00745629      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   4c7b697f5e1be47e6004411650d9db5ae0cc4aef46b4e11734cc9f804783fca2   2022-04-20 19:17:36                 0.00723998      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   15f75ddefa3b2f0420aece1ebe80ecf0bcb52f26fe7989fb53ad02612d487d69   2022-04-20 14:24:36                 0.22606672      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   299fbcc8d0602ed43544266c08d0836bebef55f3d328329d6db85ff23716f421   2022-04-20 13:01:58                 0.09457232      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   eb693f53a175571d7373bd6316daba7d1a591145586a147a770b1bc4f3276d02   2022-04-20 08:21:38                 0.03584825      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   56a667c6f281b8a7c40f418099e3d73df1912eeb3d0a44284c57708ca6350a0c   2022-04-19 14:53:50                 0.11808524      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   dae74402dbc3ded01c27b1af98891e07d92ef4082dfb274da5aefe44e97772d4   2022-04-19 13:31:45                 0.22651353      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   dc50519c0caad123c6ad22ec6910a1b1992560df8d67260b4839510a34439c9a   2022-04-19 11:31:41                 0.11741108      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   34ba1a3a6c105ea904b9e78f385b62afd6c0eabd85f6272fb971fd7746bcda2a   2022-04-19 08:20:58                 0.94611653      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   66e4cebca82707c590e355147e24bad34c7f320de4d847d0b148e6351f60c003   2022-04-19 08:08:51                 0.14980393      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   b13dcb33f9adfd3fa0edd57381797c9c930f53cb48c57406b9d4011f8fdb2c70   2022-04-19 06:48:26                 2.63175425      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   557fe40f9f48465ca21f9a77924cf53081d2098d5d4fcfbce23a51f3bd68eda2   2022-04-18 18:46:34                 0.00473414      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   c1089619a3cd497fc89b573fb10077d852deab44711384b3538c188ff58eb4b3   2022-04-18 14:11:24                 0.00231444      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   2ea37545622f3016154435e6943ae4e682432d244fb4ce0b695fb05486e8ab97   2022-04-18 12:37:35                 0.00317779      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   5faa96d202fe01cfd857b8c5b4166f6fd92c137f5a294f02555ee5a5112ed9c1   2022-04-18 10:35:31                 0.00317183      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   18bcf9b0d96dd0f5770e8ee8c0a3d9f7c121c4c98baaf9c56664481b05ed6f64   2022-04-17 21:13:41                 0.05712675      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   ccacaf2574e92cace8855cc96bdea37c4d2c6bc321d7d1d2d7ff09f93473454d   2022-04-17 19:28:40                 0.02618579      BTC
Ren            3JDmvAZwH8wncpE7ZF3vUwdcuJxGHwhpd2   9efaafa15ddcd5c75d2348fdae059a72d27e2a60ad0124f54c7b92ce00096c4c   2022-04-17 13:25:23                 2.57306553      BTC
Ren            3JDmvAZwH8wncpE7ZF3vUwdcuJxGHwhpd2   bfccf8c64e2f859f9bd18512d15d7777bc7ae72afbf2e76b3a25cc3f3a462a69   2022-04-17 13:16:25                17.26372497      BTC
Ren            3JDmvAZwH8wncpE7ZF3vUwdcuJxGHwhpd2   1ace2c4c1f0a553a3b4d6e1d644d707cf3d6ce6ed311a4cba33babc3a522c0ad   2022-04-17 13:16:25                25.63895669      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   74ca0a5b9b77832c1558a8599d056cf76fa28e3ad0ea1639c52af0e234087f83   2022-04-17 13:03:47                20.50280690      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   d7f6f937919ff0a4f2d9e69e064ed9766a3e5a93f802863401d97980d0317ea1   2022-04-17 07:17:59                 0.00471304      BTC
Ren            3GrVa1413BKGL3CsUiwyKfjynZLRB2qK2T   bf9120251636b377941eea9beffe9152061173391eebc9a441cdc2cb902cf8c7   2022-04-17 02:03:30                 0.36350947      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   5016c76516cdd95103e7f58d4d8a8416d783370f079462a9d74729217ee75c7f   2022-04-17 01:19:15                 0.09376985      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   3b59d46218fe6a038ab70e23b6100574beea84258eba36a5369f065ae949e596   2022-04-16 13:22:22                 0.00731582      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   b0bc1d981e5c6725d1337ef3c106a083fd8d4d6181bc362b9adbf4feaef3f2d4   2022-04-16 08:21:02                 5.93346104      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   5419cf60ee348bea2c75c34efec71b1953f6564acb705551c6bb95f65af62d64   2022-04-16 08:03:18                 1.33327098      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   1372265098837860a27a4ab77e4c4a7585388fdbab93ad42edf6deef6f131d01   2022-04-16 07:33:29                 4.10598070      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   b6802095d548f90cca334ce5676f31560f3c62033cc26521b01e0a8393190b48   2022-04-16 06:28:28                 0.15426202      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   1dbaa92860fc8018bc6ff2ec5693e6ae5150b8a787ddf3a214192a7d88e84b95   2022-04-16 05:43:14                 4.74948452      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   079d67f4b02d9d9c99d3e6b3b0e28a0bfbfb4c47a61a57854cc15a5b4a1c6f92   2022-04-15 11:27:49                 0.09999917      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   a38fdcaab723dd9b6c43ce10fd2252d2838ebbf4cf4e2c1db655033abd88c9f9   2022-04-15 01:12:56                 0.00229749      BTC
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                                                                                                                                                Funds under claim
                                                                                                                                           (average confirmed with the
   Owner                                                                                                                                                               Cryptocurrency
                                Address To                                   Transaction Hash                          Transfer Date (UTC)              five
(Address To)                                                                                                                                                                Unit
                                                                                                                                             tracing methodologies;
                                                                                                                                              in cryptocurrency unit)

Ren            3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   118e11b6f4d3cd42fd7366c500dc5b0040d658dd017ecec47b1b39873bd905ea   2022-04-14 14:42:32                 9.35024909      BTC
Ren            3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   9f8d1414deeb2ba0821572d6a06c49db9341d0babe26aedbc928386f28cc9f00   2022-04-14 14:26:47                 8.96868824      BTC
Ren            3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   0c9f74bb383ec75bec63c03230480979d7cd46ac864721dc77b6abf35d2fe6bf   2022-04-14 14:23:25                10.33202234      BTC
Ren            3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   08857232e095aa1b0fbc6da24b48704abdd12b8316701aaaa13719a70c1513b5   2022-04-14 14:03:28                 8.74995105      BTC
Ren            3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   f022c1ec26b1681b591e47f27738c9e5fbcd441709e9f1224f18112ce2dfcf24   2022-04-14 11:06:41                 2.44944628      BTC
Ren            3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   381760a9dbd66545156819323231c276f2e69a79481c3fef7f0f4b807d891e05   2022-04-14 09:52:49                11.68281263      BTC
Ren            3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   e857a30c17c7f60a308dfa19b267c2f3d28de79929e7717e3b883bc6b5a34fc8   2022-04-14 08:43:30                 9.57153650      BTC
Ren            3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   3465eb5c269e993b109b56ef3e8f4157938dc183b24e90814a28d132f1cff1c4   2022-04-14 07:17:35                 7.66229605      BTC
Ren            3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   aa74a244673458315bf0bbfc291eb7fc7a1fb8710fd130ca81dc097a4645ddf3   2022-04-14 07:17:12                 8.49572733      BTC
Ren            3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   b6f9144c76e74c8ecc9ac1efa02777e7ba3404d5955dfa3d7f2a2165eec0cd7c   2022-04-14 07:17:12                 7.15849321      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   b47097cb7817cb041ad12babc6e4f3f1f361ba3a22b90344b43ee0f1362c9cec   2022-04-14 07:09:14                 0.86996645      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   76ecd3bfaddc4dbc62b4f90e93718d7f6427613723383445bcfa5e5731927ff9   2022-04-13 17:50:06                 1.51299418      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   efcce77d529c80ebdc728d0b74674a2ab8e87996f23d0973f2e095ded724e123   2022-04-13 15:34:07                 1.32568874      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   e45bdd6fcd406492707b425f16b4935394d58fb24c86c13b85b25b091160045f   2022-04-13 14:11:34                 1.20363147      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   c637da65859c44157b09fb712ff7a2434a756960afafc69c71f0c1922b8d0ee6   2022-04-13 13:24:52                 0.22940786      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   c0670f6747d0955970b8cf9a054cb2210b8841e4102bb75febcd8ddf55766481   2022-04-13 12:04:08                 1.86705977      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   b31b503338a50c9a6475adf2459d2243af09c6a9bd477ffcbe2016999aa2ae93   2022-04-13 10:59:49                 4.75919542      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   46fcbc6e9992b2b379744d51f04f4357a5a88de67eaceed1491a519cc0653de1   2022-04-12 14:10:37                 0.46663362      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   699e4fe8b8ef52ffe474253e60513cf8957112139562521ba668c214054387a5   2022-04-11 22:49:02                 0.00326772      BTC
Ren            19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   be911681c3b4a5de15a370ca4c3f0a060362f4a79d61a821dcad0d61ab09971d   2022-04-11 15:10:28                 0.00205172      BTC
                                                                                                                       TOTAL                           184.3061802
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     3LFsHecAtFCbh1B9QMMxqsWCnPM7G5XWja                BTC                 406.76641482 2022-04-20 04:12:21   2022-04-20 08:31:30
                     3NFhbERAQojaWW71WTdVXyL8A4MrZh9kxW                BTC                 209.79934016 2022-04-20 11:43:53   2022-04-21 09:57:48
                     1AA8YJ2DeYr99BS1PrsFKWC1p9hXT28dup                BTC                 100.00000000 2014-07-29 08:54:46   2014-07-29 08:54:46
                     3B8kcdGBtpT7Wjzy5DWePtnTXfU6rpfSGb                BTC                  56.40695190 2022-04-16 06:28:28   2022-04-16 09:43:19
                     bc1qagwkg93sxs2c2zpc9f7fkansaus3vj99gwacdd        BTC                  34.81406752 2022-04-06 12:59:39   2022-04-06 12:59:39
                     bc1qy2gpvyhqa3qr76vzy95efq00j8zedkpwhmc98w        BTC                  26.29076038 2022-03-31 23:36:49   2022-03-31 23:36:49
                     3Qdt1GPkKox47g2yzBDL2BNeJ5WUHMCJ9V                BTC                  22.37543254 2022-04-21 15:42:50   2022-04-21 15:42:50
                     37unnDgFyYmzQYH9LVn1dex3rYis4pxob3                BTC                  20.35760805 2022-04-21 15:03:50   2022-04-21 15:03:50
                     bc1q4knnv9futs5v8qz92tzrgg7fzhtw57yuzsjdw4        BTC                  19.96630681 2022-04-10 17:21:20   2022-04-10 17:21:20
                     bc1qm6rqmazef3rhscgpnejqlwhx5ycrx9u2gf454q        BTC                  19.96401214 2022-04-06 18:42:49   2022-04-06 18:42:49
                     bc1q7k5txal9g07snr8pgt9wcy0a98fpvg872f9etp        BTC                  19.96245848 2022-04-06 18:42:49   2022-04-06 18:42:49
                     bc1q36p39n9qls3nl0q9r04u22y57ss99svge8y05x        BTC                  19.96125254 2022-04-06 18:42:49   2022-04-06 18:42:49
                     bc1qcz3f2e2gkdmszh5teurvjzmh4a0acjtm7c8dr7        BTC                  19.96116935 2022-04-06 18:42:49   2022-04-06 18:42:49
                     bc1q2gkqmmmc7fe7nfy5c5ufymmtqra8ujut90h7fa        BTC                  19.95733156 2022-04-10 18:00:55   2022-04-10 18:00:55
                     bc1qj2klyeuvgwrpzd5y79zw3fkak9kmmr6ahnfajd        BTC                  19.95657495 2022-04-10 18:38:41   2022-04-10 18:38:41
                     bc1qm55e0gj94xkd4f5pa0jfdwwy2wcrpm89ayp4q2        BTC                  19.95632583 2022-04-10 18:38:41   2022-04-10 18:38:41
                     bc1qe37kvqxr90xq9cs6yl5kdqs0d9u203tg06tcu9        BTC                  19.95622676 2022-04-06 18:19:56   2022-04-06 18:19:56
                     bc1qus26500ta5savxgc55mk00utu3r464uds46ycy        BTC                  19.95500765 2022-04-10 18:00:55   2022-04-10 18:00:55
                     bc1qa07cr50uv0ju87f4gtkfqgshwgapwplvpn0gv6        BTC                  19.95413658 2022-04-10 18:38:41   2022-04-10 18:38:41
                     bc1qjh4zzs8njpau5pc83m052eqdt4zckwk902gtrc        BTC                  19.95325924 2022-04-10 18:00:55   2022-04-10 18:00:55
                     bc1qheguppv5g0zedfqyghmfzkkdzcx2c6zjnwxklu        BTC                  19.95174295 2022-04-25 14:09:39   2022-04-25 14:09:39
                     bc1q3wf92ytsku6ymfdpsmrrzr24juz7vz5wmwpvvv        BTC                  19.95118440 2022-04-06 15:54:27   2022-04-06 15:54:27
                     bc1qyulwtm9jldk4jctfj866czmc7zuck66weh6yvj        BTC                  19.92102036 2022-04-25 14:52:04   2022-04-25 14:52:04
                     bc1qd8et78f4a9jsc2cv580peuwx42n0gj2h3rqer9        BTC                  19.91651815 2022-04-26 14:20:44   2022-04-26 14:20:44
                     bc1q5az6mv7g09rmrrgl35eqx0fu8st2yz8sc3d6ux        BTC                  19.87350459 2022-04-27 14:09:00   2022-04-27 14:09:00
                     bc1qqhczda5pynz9ez9e4ydk5ngdt7stjau77twp5a        BTC                  19.86546717 2022-04-27 13:53:11   2022-04-27 13:53:11
                     bc1qqxu4k9slzqv4vz9gznyvdqyta5p8w0n37lsxyv        BTC                  19.84699538 2022-04-20 15:33:24   2022-04-20 15:33:24
                     bc1q5wm60uk3lhx7q29fcpzdaym5h7jrm8gyhzjwqy        BTC                  19.83869771 2022-04-26 18:35:41   2022-04-26 18:35:41
                     bc1q3l8dkh08sk4syhr3sg0va3c0cmqg9ha4z2gtvf        BTC                  19.82476141 2022-04-26 16:05:56   2022-04-26 16:05:56
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q5d3yu4amg4ee2vszm77ksre3w6022j6uhzxj42        BTC                  19.72178383 2022-04-26 15:00:44   2022-04-26 15:00:44
                     bc1q5msfd7me5ufp59kdgqfgxftcnwhsq7qeq09599        BTC                  19.66298295 2022-04-27 14:09:00   2022-04-27 14:09:00
                     bc1q9528y6vfh98pzmp9633lxdqha6k5aa0rvkcasx        BTC                  19.65182691 2022-04-26 14:20:44   2022-04-26 14:20:44
                     bc1qwrjw9xs07sa7semc402dn9fgzz5gg0jr83xelp        BTC                  19.59080134 2022-04-22 12:08:25   2022-04-22 12:08:25
                     bc1qqvds6l2fpr8z89c3vhfzwtwcr8jwp7pv3h3mz9        BTC                  19.56785985 2022-04-10 14:34:17   2022-04-10 14:34:17
                     bc1qxcuww6c93f7rw4aw9rmjsv54grjwuthg3wxyn9        BTC                  19.56780368 2022-04-10 17:21:20   2022-04-10 17:21:20
                     bc1q4qgpdgzau6v8fs907q82jn087s4t4673sjfenm        BTC                  19.56778579 2022-04-10 16:37:51   2022-04-10 16:37:51
                     bc1q2wxu0cww96656shjwmz6c534trdjzdretajqzl        BTC                  19.56737194 2022-04-10 17:21:20   2022-04-10 17:21:20
                     bc1q5cjj4y92gtgnjzngj6tvpcfzj4sk9n3zcz9y7p        BTC                  19.56670997 2022-04-25 13:03:16   2022-04-25 13:03:16
                     bc1qxdf0z6h0stuy8fhv86tgm7lpgsffkn4j8rr24h        BTC                  19.56590521 2022-04-10 14:34:17   2022-04-10 14:34:17
                     bc1q299hjkx7ksz9m83jjd9j20dg325z6zxrd8f3wp        BTC                  19.55538503 2022-04-23 14:24:45   2022-04-23 14:24:45
                     bc1qe3wprlxk2lxcx4nx8kp6f65jsg4ehmrl0uucmt        BTC                  19.55260334 2022-04-09 20:12:43   2022-04-09 20:12:43
                     bc1qrffssclxyn7my3lt66pmmdhvpvu53w8lprwcgg        BTC                  19.55224613 2022-04-22 12:53:23   2022-04-22 12:53:23
                     bc1qjzc0p559t5kjmgtfe74lkwhl4a8d069rrakpx4        BTC                  19.54072625 2022-04-25 15:16:51   2022-04-25 15:16:51
                     bc1qv7tt7cdzrlz2ke6cjxgg27dtp8q4zr64dd67aa        BTC                  19.51957591 2022-04-22 14:28:19   2022-04-22 14:28:19
                     bc1qtz78s2sphwqagrl597h4wt6yp85w6mtjxc3m9y        BTC                  19.51675779 2022-04-20 12:51:36   2022-04-20 12:51:36
                     bc1qrcfyuhnqrnawkrvuuqxtnt46whadmprs8h352g        BTC                  19.50478600 2022-04-27 14:30:10   2022-04-27 14:30:10
                     bc1qs6rqq56dpdkd8w5y8erj8fle2ljh7ymx6wzedm        BTC                  19.49217967 2022-04-23 12:10:12   2022-04-23 12:10:12
                     bc1qfytn69k4ptm7wam3ac99sevrhw8xw2wf63lxwc        BTC                  19.45578430 2022-04-06 15:27:08   2022-04-06 15:27:08
                     bc1qjchvgdgdzmrpdx92vlewcng22wnztm0d96w2pt        BTC                  19.45574617 2022-04-25 12:26:29   2022-04-25 12:26:29
                     bc1qe6wxwqrz747xtfcryk7pauwm3009pwv435rcyz        BTC                  19.45569270 2022-04-09 20:12:43   2022-04-09 20:12:43
                     bc1qymd80hzdvyeyayzg0hvm7jt7ecjtjlk3dnjax3        BTC                  19.45566220 2022-04-06 18:19:56   2022-04-06 18:19:56
                     bc1qxc7dp9ukk9qla48nsdau8lknd9dyz9qqnej7rz        BTC                  19.45564994 2022-04-09 16:00:33   2022-04-09 16:00:33
                     bc1q2xz6l9csn2qplj0szw0lu8wnvyzv2tpaf4u423        BTC                  19.45560130 2022-04-06 16:17:55   2022-04-06 16:17:55
                     bc1qlf8ualgnrwam60q4yx7rt4arjaxf826zw9zmnd        BTC                  19.45507498 2022-04-10 16:37:51   2022-04-10 16:37:51
                     bc1qk3r6q7c0rxz7vgkfq2jd7xzq30fpvs4v7dzt3z        BTC                  19.45496697 2022-04-10 17:21:20   2022-04-10 17:21:20
                     bc1qvavwmmyktcmzsye39zhyjy7lqxv8ad3k2a0m07        BTC                  19.45371984 2022-04-06 15:54:27   2022-04-06 15:54:27
                     bc1q6ttkz0nnfv5jw7m7lzvdn9pjt5ylccfud2v7yg        BTC                  19.45335476 2022-04-06 15:54:27   2022-04-06 15:54:27
                     bc1qp8neq0phq5l43cpnvn5xj3mmxz0cwfc3kq6x8a        BTC                  19.45309288 2022-04-06 15:54:27   2022-04-06 15:54:27
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qtndq5r70yyw9l22n5dqwmvacmrtgn8392n4ldg        BTC                  19.45307384 2022-04-06 18:19:56   2022-04-06 18:19:56
                     bc1qwy867d2sgc5sd0h44sdxm3hy0a3u9d75ysdpw6        BTC                  19.45307384 2022-04-06 18:19:56   2022-04-06 18:19:56
                     bc1qsmaygf9cs0kz54m3fdhqh0x6h7pjgf8qkyd5mw        BTC                  19.45235665 2022-04-22 16:48:09   2022-04-22 16:48:09
                     bc1qdjz5vfzceutn2pwejag3qgdcsqfvucq24gc63j        BTC                  19.45222138 2022-04-06 18:19:56   2022-04-06 18:19:56
                     bc1qh7a7puqx9dc2u7esjj6tap23mq3ts0qepa4yjd        BTC                  19.45220411 2022-04-06 16:17:55   2022-04-06 16:17:55
                     bc1q8gsuvawanvtsl66q375q8a6q4glfgxrcfttmdv        BTC                  19.45194037 2022-04-06 16:17:55   2022-04-06 16:17:55
                     bc1qzfkvas955ytlhq9ahsrqm3au2vzfunv8j83ad6        BTC                  19.45165678 2022-04-09 16:31:43   2022-04-09 16:31:43
                     bc1q8sah87wq8s902xz5f9ky6yzdwpw6xv8jtnx2ck        BTC                  19.45160337 2022-04-20 16:43:00   2022-04-20 16:43:00
                     bc1qk0fda2efuxv36udkwwhm6pssd0xdznuvhd7cx6        BTC                  19.45082384 2022-04-06 18:19:56   2022-04-06 18:19:56
                     bc1qm9az69ygfc4v2jvtvh7ercxp79cueld82kcecx        BTC                  19.44891162 2022-04-06 18:42:49   2022-04-06 18:42:49
                     bc1qtafhzc5pslh6u0l3lls86szt76x862u704r69x        BTC                  19.44827489 2022-04-06 16:17:55   2022-04-06 16:17:55
                     bc1q0mwdvlywzkck2vu8radmwyq6tvzm2052r0rhj7        BTC                  19.44598148 2022-04-06 18:42:49   2022-04-06 18:42:49
                     bc1qxq88awchrpg4yq9f7swqlaxsandskvxthk5a4f        BTC                  19.44445234 2022-04-09 20:12:43   2022-04-09 20:12:43
                     bc1qyz9ypjy48cpmm07080nlfv4vqu34adgsat8a44        BTC                  19.44427247 2022-04-06 16:17:55   2022-04-06 16:17:55
                     bc1qsuzlgjqkftm2dtpc3kx3yuscsgla956n89phdm        BTC                  19.44419588 2022-04-06 18:19:56   2022-04-06 18:19:56
                     bc1qyxu5x3wtzsn3uf2ulvzeke9vx9md5wktvkptju        BTC                  19.44092492 2022-04-27 14:09:00   2022-04-27 14:09:00
                     bc1qsnyvfnp024f2yefvne04ur9z7nuh8nqhkpjmgj        BTC                  19.44033147 2022-04-10 13:59:09   2022-04-10 13:59:09
                     bc1qe5jj6dsxhw5336uyg09c5r85lx7wz72u4ffgzz        BTC                  19.42947176 2022-04-20 17:44:06   2022-04-20 17:44:06
                     bc1qacsq4gskyrcn446k4fawelk2gke56ns4sqhyyn        BTC                  19.42413224 2022-04-23 12:10:12   2022-04-23 12:10:12
                     bc1qd4uzj7nq0c8hcxvflghqer27ng58ky85r5mucy        BTC                  19.41769438 2022-04-25 15:16:51   2022-04-25 15:16:51
                     bc1qr6ylth4lnm2lxhvegrusm96lkjhu2gp9m59quw        BTC                  19.37929819 2022-04-26 16:05:56   2022-04-26 16:05:56
                     bc1qee76erx687ptvmfh22rny6nmcna23sms7pktdk        BTC                  19.36435224 2022-04-25 13:42:40   2022-04-25 13:42:40
                     bc1qupfshpm3jh9kx4ysa3e69f6zu590aw264qvj44        BTC                  19.25982821 2022-04-23 13:02:04   2022-04-23 13:02:04
                     bc1q36vdvsk76kv8wc07geazq8vcu8ee594heujdpz        BTC                  19.25777903 2022-04-27 12:57:38   2022-04-27 12:57:38
                     bc1q9ha7dw998m6wg94s5cgugegdu3w5qzfx25y99t        BTC                  19.25748306 2022-04-25 15:02:05   2022-04-25 15:02:05
                     bc1q6an7n69yx6sx88gk352dnn83cpayec8vah2vkc        BTC                  19.24673000 2022-04-22 15:38:32   2022-04-22 15:38:32
                     bc1q9jhqcq2ns9duys58dchwu4w0mnshjfakv8fdl3        BTC                  19.18903846 2022-04-26 16:05:56   2022-04-26 16:05:56
                     bc1qnp9ee9kckjjsgw3y9w2sdvmpqfy466d4dlrwnt        BTC                  19.18512192 2022-04-08 19:03:50   2022-04-08 19:03:50
                     bc1qw3aq8z2ug8zp99tg553ccpdstfgd7wnhpxwgja        BTC                  19.18512192 2022-04-08 19:03:50   2022-04-08 19:03:50
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q2zrkyzy25mmmk9708m84463u6de6exe2g7xwyr        BTC                  19.18433525 2022-04-25 13:03:16   2022-04-25 13:03:16
                     bc1qdlcpgxwwss040mz7dm53kuwvwa8aamdl857ymw        BTC                  19.17786037 2022-04-09 16:31:43   2022-04-09 16:31:43
                     bc1qd7w3hjnzlus2mpplxymd0yv2fwurlp8ngfkpup        BTC                  19.17694507 2022-04-09 15:31:17   2022-04-09 15:31:17
                     bc1qll4dufqy8sjtq60y3shyar9zl0wglhq8khm8j6        BTC                  19.16799068 2022-04-10 14:34:17   2022-04-10 14:34:17
                     bc1qxe06m6te4gy9twzthwlzf2jjmpvr0qhfqz6de3        BTC                  19.12032484 2022-04-25 12:49:55   2022-04-25 12:49:55
                     bc1qtqk2l99pk06jcr3t5yhgd8gejtcj9ctuyvmyh3        BTC                  19.11702942 2022-04-23 15:32:19   2022-04-23 15:32:19
                     bc1qngmxxfge9lxrpf77xk23ga9h9g9dkkupp9ywcu        BTC                  19.10817430 2022-04-26 18:27:36   2022-04-26 18:27:36
                     bc1qs49ry7nt5k963r5v3nc8h76xt9p69j6rugcqyk        BTC                  19.08682383 2022-04-27 14:30:10   2022-04-27 14:30:10
                     bc1qnudj7ehxx7a35v20cc5jxxgne9a2c3t02wmk20        BTC                  19.05603379 2022-04-09 19:46:54   2022-04-09 19:46:54
                     bc1qhuhz5h8g7dgn2fj0dzvxmlvq77465lxfwappwk        BTC                  19.05580547 2022-04-10 17:21:20   2022-04-10 17:21:20
                     bc1qql2ku4lwcgt57qjkveekuyjvqj5trr8uujtw0g        BTC                  19.04316000 2022-04-23 13:55:09   2022-04-23 13:55:09
                     bc1quft2ltjfxshhepley4u74y6gm97kp3aqf8kdjx        BTC                  19.01204069 2022-04-27 13:53:11   2022-04-27 13:53:11
                     bc1qecs2erz6dy2nc8v9v2v7vey759u7l4zncyaxzq        BTC                  18.94378430 2022-04-05 19:50:19   2022-04-05 19:50:19
                     bc1qn48u9h50vdchnetl6h7w3dhwrsk6xw92z4pfuj        BTC                  18.94300703 2022-04-23 13:35:48   2022-04-23 13:35:48
                     bc1q5pc9mdw63mymej28f25tylkhxtsqfvnzeqnk7f        BTC                  18.94221451 2022-04-06 14:42:13   2022-04-06 14:42:13
                     bc1qvl6xvxh03m9nq2l3mxnwh65lgjr8yu9xv64vpg        BTC                  18.93957649 2022-04-26 16:05:56   2022-04-26 16:05:56
                     bc1qlt8jm0upd7aphu4t8fv55desgglgupg9p8y806        BTC                  18.93451674 2022-04-26 14:20:44   2022-04-26 14:20:44
                     bc1q0gjknjtrgvpupnpm47823uq8mgule04zvq66ag        BTC                  18.92755770 2022-04-23 13:55:09   2022-04-23 13:55:09
                     bc1q3pgg5kpe7yxsrrqk9sh3z4snxmvuwlqgx2lftk        BTC                  18.91488775 2022-04-20 15:21:47   2022-04-20 15:21:47
                     bc1q4vn6rueh896uzg5qk6tsze9rvu40p8wa5q7m88        BTC                  18.91445954 2022-04-09 19:46:54   2022-04-09 19:46:54
                     bc1q0grpvlmlhw43p7vfuxrdkuhxa9u32dgk2x7sg3        BTC                  18.91415217 2022-04-22 13:17:32   2022-04-22 13:17:32
                     bc1qwqdw3c92wvj03ja5sgpncz9w8fvj869efl88rj        BTC                  18.91294225 2022-04-25 13:42:40   2022-04-25 13:42:40
                     bc1q0ef2th7yrml3jwgj6m0wlxp20d2e07yqj5rn23        BTC                  18.91030397 2022-04-09 13:17:07   2022-04-09 13:17:07
                     bc1q9t477a7r7yj5rg4fld44kg6qj4vpzduchj5jz4        BTC                  18.90717220 2022-04-09 16:00:33   2022-04-09 16:00:33
                     bc1qhyx3cccxgcwgjq0llq5ev2wtv4h4yelysxrhkn        BTC                  18.87940717 2022-04-27 12:57:38   2022-04-27 12:57:38
                     bc1qpdl33tpysk6rl49x4plrw7ue25xa3zarfsrd46        BTC                  18.85017879 2022-04-25 15:54:31   2022-04-25 15:54:31
                     bc1qavjy2a557wk9tng3ujsn85tc7j4v7zwhksczyc        BTC                  18.77806176 2022-04-09 20:12:43   2022-04-09 20:12:43
                     bc1qlhquylnat6kljvq5aqjlt3nquxqma9yah42qm8        BTC                  18.77406199 2022-04-09 20:12:43   2022-04-09 20:12:43
                     bc1q4zpk2sxv6qlkffsnzmv644u8mtvzawth7nyfsu        BTC                  18.76673022 2022-04-10 16:37:51   2022-04-10 16:37:51
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qturhyntjth7w9h6qz0np7rqklkak0a3htthr6m        BTC                  18.76381096 2022-04-22 16:48:09   2022-04-22 16:48:09
                     bc1qcxs75xc7rgdsmetsxzdss0p66ly4v4scrseltd        BTC                  18.66179411 2022-04-09 16:00:33   2022-04-09 16:00:33
                     bc1qvr0dhaqwekc0g0m8xngvls4v4ugja2frnvelly        BTC                  18.65859696 2022-04-09 15:31:17   2022-04-09 15:31:17
                     bc1qnn7lp7060q4l2jqupukdxtkjszlu664nk48ue3        BTC                  18.65373257 2022-04-20 12:51:36   2022-04-20 12:51:36
                     bc1qng3yh6hfzuu3emn4gpt8g9dggtpjj5mf9j2afg        BTC                  18.63050654 2022-04-27 13:53:11   2022-04-27 13:53:11
                     bc1q5a9grpw9u5jrjhhh047shk3ef88788azndtcw2        BTC                  18.60930875 2022-04-25 13:15:37   2022-04-25 13:15:37
                     bc1quh6x5shxl6syyywe053zdl98urf95hgy7uzp7z        BTC                  18.58368775 2022-04-20 15:33:24   2022-04-20 15:33:24
                     bc1qjkuvk58kvqv7q6xeap9yzg8qcv93kcz3l9w5qp        BTC                  18.51952398 2022-04-22 12:08:25   2022-04-22 12:08:25
                     bc1qt8hjnxd5xj04rgfuq9j3mpnwwt9rp6ypfx3wc7        BTC                  18.50337658 2022-04-10 13:59:09   2022-04-10 13:59:09
                     bc1qq4hfasdv9fy8uyq6ax2f6zy9wqqsnxja7234q7        BTC                  18.44018263 2022-04-23 14:41:12   2022-04-23 14:41:12
                     bc1qvm2f3dxngykvemv5mnpenddr4m24y343qnm80a        BTC                  18.43188570 2022-04-08 14:19:41   2022-04-08 14:19:41
                     bc1q7s4xxc2rvmjcgvzljpyxzfm8ekqeqvnjar9a9p        BTC                  18.43184520 2022-04-27 12:11:37   2022-04-27 12:11:37
                     bc1qfpeaapcxadefm3n9k85dj8d85r6rvtrssq5ydq        BTC                  18.43184520 2022-04-25 13:15:37   2022-04-25 13:15:37
                     bc1qh2ne7dcuy72vcv9sq48jpdztgzp35echu249y4        BTC                  18.43182480 2022-04-20 15:21:47   2022-04-20 15:21:47
                     bc1qhhat2eds9n0l6xqvzhwr609lm84wku6hy9xezt        BTC                  18.43180440 2022-04-09 15:31:17   2022-04-09 15:31:17
                     bc1qrzlc0dnpdmkhra8tqpnmak99945u4e50lc9g5q        BTC                  18.43180440 2022-04-06 12:50:56   2022-04-06 12:50:56
                     bc1qran9a7gc7vsj4l43jhj6wz0fvl6qgu9ve0j4aq        BTC                  18.43178430 2022-04-06 13:09:01   2022-04-06 13:09:01
                     bc1qc0af0gkyd6ze3df7jd95jq6vlepl5xtl62p6ts        BTC                  18.43177646 2022-04-06 15:27:08   2022-04-06 15:27:08
                     bc1qupaeazhaue9kpp7ffexk5s6l4rf8xwd6wauvc3        BTC                  18.43176511 2022-04-06 13:34:28   2022-04-06 13:34:28
                     bc1qm455hct6cckvrzryrfy4v3etrzyfrsum8txvl2        BTC                  18.43176390 2022-04-09 16:31:43   2022-04-09 16:31:43
                     bc1qeqhsntu3r444fyactwahmwmtdp5zrcj5kj6zj6        BTC                  18.43174853 2022-04-06 14:42:13   2022-04-06 14:42:13
                     bc1qf3f5s0m73qfyuku405jsccqhtdu928te53j7uf        BTC                  18.43174853 2022-04-06 13:09:01   2022-04-06 13:09:01
                     bc1q5kr7u3537flkzccsuhk2drzkl5vvjcyu54vfxy        BTC                  18.43101793 2022-04-06 12:50:56   2022-04-06 12:50:56
                     bc1qfxwg6kkmxmkxunwczp6l2x7chw3j98dz4wev7l        BTC                  18.43098998 2022-04-06 15:27:08   2022-04-06 15:27:08
                     bc1qtkyu8qegqg47ue2034jlr26jcqerzdu65a5w44        BTC                  18.43098998 2022-04-06 14:40:04   2022-04-06 14:40:04
                     bc1q3k7qpszvfqetg6vth7az2kr6jwysv6zn4m2w6q        BTC                  18.43096204 2022-04-06 14:40:04   2022-04-06 14:40:04
                     bc1qucwzeaeldv5zk7zqrpafnle9g7ggde4n3vlcjc        BTC                  18.43078796 2022-04-20 15:21:47   2022-04-20 15:21:47
                     bc1qk39na3q7mgyrjgr58tvwmy2wjk8y7g4twk6gaj        BTC                  18.43034082 2022-04-27 12:11:37   2022-04-27 12:11:37
                     bc1qfanm5z6v5sjclgqkwd4xpvt77juckc2gm8feh6        BTC                  18.43031152 2022-04-25 13:42:40   2022-04-25 13:42:40
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q4yw0uammtae5f6x5aa4ww06gzlv32rmqzm84fs        BTC                  18.43020351 2022-04-06 12:59:39   2022-04-06 12:59:39
                     bc1q2zf7ue3x0nqqp9dh27f5k8shlt4y2gw4hk9dl7        BTC                  18.43017558 2022-04-06 15:27:08   2022-04-06 15:27:08
                     bc1qs4fffumtyrgxv3g5ujz8g86gne3pcmxlcn7yaq        BTC                  18.42950510 2022-04-25 15:54:31   2022-04-25 15:54:31
                     bc1qms8xceacre7mml4kdkqkhnvxavanz48qc2ws7m        BTC                  18.42944496 2022-04-06 12:59:39   2022-04-06 12:59:39
                     bc1qwauaj7h973h7sr7zvfn4nhj5tzkwlx2x5lp20u        BTC                  18.42892030 2022-04-06 13:34:28   2022-04-06 13:34:28
                     bc1qt08zjxzyzs3zycag6mz9pwjnl2rmjged5vsynp        BTC                  18.42868179 2022-04-22 15:38:32   2022-04-22 15:38:32
                     bc1qa8q67dpt96vl7yhf99ex8vp6plhjuqdzv3as70        BTC                  18.42796493 2022-04-07 10:23:46   2022-04-07 10:23:46
                     bc1q3qsexhvxkew47akk74mn00fjqz7xyjtzsm40fn        BTC                  18.42773301 2022-04-09 14:09:02   2022-04-09 14:09:02
                     bc1qz6fjyhc0xt292svpqhwcj9y25jfyg3gq50dcah        BTC                  18.42766168 2022-04-09 16:00:33   2022-04-09 16:00:33
                     bc1qzsjwrj37dmr2zdqqgqf4ndv4cqrwan2dqsek8x        BTC                  18.42516583 2022-04-07 11:13:56   2022-04-07 11:13:56
                     bc1qrutqvtv3vx6dc62nss73tr9kg07xrs5x7du632        BTC                  18.42452177 2022-04-09 14:09:02   2022-04-09 14:09:02
                     bc1q9c0jgswu8f2as6kuqzepkjv0qlmtdngxsj82er        BTC                  18.42364598 2022-04-10 13:59:09   2022-04-10 13:59:09
                     bc1qjr9ldly4su90z0y0dr5d98ut5gdgnlmd5qk674        BTC                  18.42355294 2022-04-08 19:03:50   2022-04-08 19:03:50
                     bc1qz5tn83lrnc8vn09c9424ykx38tz6gvek3f6375        BTC                  18.42310554 2022-04-23 14:24:45   2022-04-23 14:24:45
                     bc1qqas2a4c25k7f25yktnzjj7ayd7fecu6vqcee8q        BTC                  18.42041415 2022-04-08 19:03:50   2022-04-08 19:03:50
                     bc1qqzaz7gdr7xlrmpt3y06ntmde4uveh50q7heg2d        BTC                  18.41637899 2022-04-09 15:31:17   2022-04-09 15:31:17
                     bc1qc8gxftnz9uqw7uz2jwpr0raez306yryfte4236        BTC                  18.41230760 2022-04-09 13:17:07   2022-04-09 13:17:07
                     bc1q6l7ys92ygygwzewahrufhhkgcq2zc7vf8fcskn        BTC                  18.40875448 2022-04-27 14:30:10   2022-04-27 14:30:10
                     bc1q48wfaajwh4lyw5w77la602gj695u00dwte08x2        BTC                  18.33726519 2022-04-25 15:02:05   2022-04-25 15:02:05
                     bc1qmm8v8xqgaenemt77yg4lscjlej39plecurqj38        BTC                  18.32297846 2022-04-22 14:28:19   2022-04-22 14:28:19
                     bc1qw70exctg8ajtqn8emcpwvr856x5dms4x2tmrvm        BTC                  18.30780392 2022-04-26 15:29:42   2022-04-26 15:29:42
                     bc1qgtqpkh0kceetzcq7j30fwl7cpqa9v7quhlc55j        BTC                  18.30038440 2022-04-07 14:07:56   2022-04-07 14:07:56
                     bc1q272p9svqjk8z8nvjjkujf6fzkhu3s5mnxrfunc        BTC                  18.27254137 2022-04-20 18:21:15   2022-04-20 18:21:15
                     bc1qr228pfahtm05evl8225k264u7rsjxf05leedje        BTC                  18.26051061 2022-04-20 17:54:00   2022-04-20 17:54:00
                     bc1qzyazrc3p4csfx2r3ahzp36r2wncsv9nwuj5tsn        BTC                  18.25628811 2022-04-10 14:34:17   2022-04-10 14:34:17
                     bc1qm0p8zfgkujy7l5kss98rq3l76393ur2h2wdxll        BTC                  18.24905805 2022-04-22 15:11:57   2022-04-22 15:11:57
                     bc1qdtga6v0cagq5ysr68jysqnunjas9f6ycxfr3nh        BTC                  18.23595047 2022-04-22 13:17:32   2022-04-22 13:17:32
                     bc1qmhnycdq2zmua7vfrmasja2c02w9k49c0k7pj8g        BTC                  18.23330818 2022-04-27 13:20:13   2022-04-27 13:20:13
                     bc1qhk6f3kagt77ac0jnggzynptkxzjxzduekpf746        BTC                  18.16108691 2022-04-10 13:59:09   2022-04-10 13:59:09
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qg5j2439gk6q0pre0h42msn8n69dmvd2mf5caup        BTC                  18.15383140 2022-04-09 19:46:54   2022-04-09 19:46:54
                     bc1q9zn5424fk35ry0dxenmujfpg8lztcgwwhjvwgk        BTC                  18.15378570 2022-04-09 19:46:54   2022-04-09 19:46:54
                     bc1qcvzvdufxazcmpu5w96lv97p5ueuqwg7hq0lh7v        BTC                  18.14978701 2022-04-09 15:31:17   2022-04-09 15:31:17
                     bc1qsp52rryry5ue4854ympe5n53urj7lrtahzm8e2        BTC                  18.14978701 2022-04-08 19:03:50   2022-04-08 19:03:50
                     bc1qnq0r2nlxhrld75955lpdanadshq2x27qyk4dt0        BTC                  18.14030184 2022-04-20 12:51:36   2022-04-20 12:51:36
                     bc1q0xnxh7ktt5qgz9ccd78kaajwxj3acltxshuqqf        BTC                  18.12631910 2022-04-22 15:11:57   2022-04-22 15:11:57
                     bc1q866l3ptsnyxu6zhk7quqs26am6nwtu0nhppsv4        BTC                  18.10185170 2022-04-25 14:09:39   2022-04-25 14:09:39
                     bc1q4t5kejky3thfmr54m8drdyylt8j5y04yqjnpk0        BTC                  18.10061474 2022-04-26 15:00:44   2022-04-26 15:00:44
                     bc1q0nt3wfel77nhufycrws6rhynwxznv782ufpn83        BTC                  18.08975771 2022-04-26 16:05:56   2022-04-26 16:05:56
                     bc1qulc5k3r6camygfu8f6ahydyem9he7pv7uxcrg8        BTC                  18.08647415 2022-04-25 12:49:55   2022-04-25 12:49:55
                     bc1qj7x2kkfyn8enmnd4wrzhat6ludw3aug28krts3        BTC                  18.07571724 2022-04-26 18:27:36   2022-04-26 18:27:36
                     bc1qjh2m9004z7v63ev7pcwke2ht6m34yfpadec0x4        BTC                  18.05333330 2022-04-20 17:44:06   2022-04-20 17:44:06
                     bc1qzesg5lk6kyz6lu0sefqr8hgfxxj436sdnernuv        BTC                  18.02471852 2022-04-10 13:59:09   2022-04-10 13:59:09
                     bc1q899d56ts8ya3e6xhl4uyw3s5k6s2twk0g2r56c        BTC                  17.99901750 2022-04-26 14:01:11   2022-04-26 14:01:11
                     bc1q782hm8z7g5697fq43z7jwxjrth2nmtg2jjqctt        BTC                  17.95622273 2022-04-22 16:48:09   2022-04-22 16:48:09
                     bc1qp3xml0zhkw7amcwzvp8r3mh0tduf30tpl8wc4v        BTC                  17.94681680 2022-04-22 14:28:19   2022-04-22 14:28:19
                     bc1q4sm8spmtzq7hrxyryldrzwrd85nnjun0m729u2        BTC                  17.94249362 2022-04-26 14:01:11   2022-04-26 14:01:11
                     bc1qryqnmu9yff43rpdczfr6wnmgj2ym6pa9qf5na7        BTC                  17.93247942 2022-04-22 16:48:09   2022-04-22 16:48:09
                     bc1q87rl720qqw9lvll008gf870krpxsu839dl54u3        BTC                  17.93069760 2022-04-20 16:09:23   2022-04-20 16:09:23
                     bc1qafjxcsl76jfn0jx3mmt3fzenn5hm0l7r2dmz54        BTC                  17.93068628 2022-04-23 12:10:12   2022-04-23 12:10:12
                     bc1qa0zxk5kffkmuvxts893rga9cxhz34qfk8r2h2d        BTC                  17.91412989 2022-04-10 18:00:55   2022-04-10 18:00:55
                     bc1q2gevny4jxfnsk0zp47qvx7q82sv26hre480wsv        BTC                  17.89782342 2022-04-20 12:51:36   2022-04-20 12:51:36
                     bc1q0c2as0zxl3gjg6m007f83d79nk2gqqwudu44c8        BTC                  17.88168574 2022-04-07 11:13:56   2022-04-07 11:13:56
                     bc1qf9q0nnjr3gk9636mtzxm5jchtmpemayvg8c7yf        BTC                  17.87912367 2022-04-09 13:17:07   2022-04-09 13:17:07
                     bc1q8ptrq3plg5yx37xdd08c6r4mkrasrr7fua5ml7        BTC                  17.87383903 2022-04-20 16:09:23   2022-04-20 16:09:23
                     bc1q435pm0ne7a22qegur3zufqmxkfmkd9t3hedutn        BTC                  17.86897718 2022-04-26 18:27:36   2022-04-26 18:27:36
                     bc1q7clqjr8yvx53nz6r0hp5dm7s73m43xlcl7jj46        BTC                  17.84374029 2022-04-20 14:08:14   2022-04-20 14:08:14
                     bc1qqm4nquw5dqttyw0cqycv3y3ucvsnvy203hpjj9        BTC                  17.79428745 2022-04-22 13:17:32   2022-04-22 13:17:32
                     bc1qcq6tecdy7vg8rquznypkemsknkd9tz3mrxnznc        BTC                  17.71914685 2022-04-22 13:57:38   2022-04-22 13:57:38
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q5vetflew0qn9m4upxeflgere38sst9knqelg57        BTC                  17.71092288 2022-04-26 13:32:36   2022-04-26 13:32:36
                     bc1q7dxs5vsz2v6julnsg2jjxt0pnkwwlxpxhh5t58        BTC                  17.68048136 2022-04-23 13:02:04   2022-04-23 13:02:04
                     bc1qp9tp9v729989cun0jcv0ma0k97lgugenk5mf86        BTC                  17.67253800 2022-04-20 16:26:59   2022-04-20 16:26:59
                     bc1qa69pz82sfvrsuyta5knx67d6tyg5mt8n036qqj        BTC                  17.66343200 2022-04-25 14:33:07   2022-04-25 14:33:07
                     bc1qnnzg3x7aqgcgap4gw2y3gqfmj5v6dxd09zm48d        BTC                  17.65434280 2022-04-25 12:26:29   2022-04-25 12:26:29
                     bc1q6glky8888jnchu96gqw23ylss477z9xx76vrhv        BTC                  17.63235554 2022-04-27 12:11:37   2022-04-27 12:11:37
                     bc1qw44m77y7wgrqc7y06sa9vd5e33zjuju6xncvuh        BTC                  17.62501241 2022-04-10 13:59:09   2022-04-10 13:59:09
                     bc1qnmjy8742hpwdzy2z4dqysacjg4dc4zvdxp5qus        BTC                  17.61256790 2022-04-09 13:17:07   2022-04-09 13:17:07
                     bc1qha85re3lggu9ur82zjuwhs5v9lgc8txp6k9ejr        BTC                  17.61253169 2022-04-09 14:09:02   2022-04-09 14:09:02
                     bc1q08a2p8wc948t764nqa4dtt0e2xe9xh592g0ndk        BTC                  17.58779852 2022-04-25 13:40:01   2022-04-25 13:40:01
                     bc1qthcn7zzylcawwtvxxvypz22g70t67fcfl88ufk        BTC                  17.56921761 2022-04-10 16:37:51   2022-04-10 16:37:51
                     bc1q78c5nemauxj5mu9pk50x0vsvmgqzlwz2z46t5x        BTC                  17.56824684 2022-04-20 17:44:06   2022-04-20 17:44:06
                     bc1qwzpgesfeqkaewc5vhywr6n96npdv4lagpvztjq        BTC                  17.55880440 2022-04-26 15:00:44   2022-04-26 15:00:44
                     bc1q7wph0s3k84xp9zznczuysw9t9qrjha6547965h        BTC                  17.55508855 2022-04-23 18:06:54   2022-04-23 18:06:54
                     bc1qrrzddwgu93ejhfs3nxfwkdv8mqmgu2drry7x6j        BTC                  17.55445244 2022-04-25 15:54:31   2022-04-25 15:54:31
                     bc1qm29luc0yymqxj6ylhx85aa5s9djdgwf7cktn7a        BTC                  17.54256617 2022-04-23 14:24:45   2022-04-23 14:24:45
                     bc1qqv6psvywhpvwn83juhr06lgc5ncgeuvl2gm6f8        BTC                  17.49118632 2022-04-27 12:43:19   2022-04-27 12:43:19
                     bc1qw2rww9tl9276zjc0vhd0pz63y8r28nu4nerak6        BTC                  17.44885538 2022-04-25 14:52:04   2022-04-25 14:52:04
                     bc1qd5pp5aaua4djv8axsg08qnknkqfu4psfget28q        BTC                  17.40788603 2022-04-07 12:40:56   2022-04-07 12:40:56
                     bc1qr3yfq2utgnqufc7ezfhmkkxqya2spyzdu78y64        BTC                  17.40788570 2022-04-23 14:41:12   2022-04-23 14:41:12
                     bc1q6hnz5fur9944s8300j5urz52xt8dl6a4zvgjvm        BTC                  17.40701920 2022-04-06 14:42:13   2022-04-06 14:42:13
                     bc1q96mp8hsuhx769mjfe2w7zg8r43xsgnu0n59e8u        BTC                  17.40660717 2022-04-06 13:34:28   2022-04-06 13:34:28
                     bc1qt9tttzpcev7qtjfeshnrzfk3xyg7cll8wkg6nv        BTC                  17.40522046 2022-04-06 14:40:04   2022-04-06 14:40:04
                     bc1q63fn6w8weh84x9wvl2mjv46kqa4whv7navse34        BTC                  17.39905255 2022-04-26 15:29:42   2022-04-26 15:29:42
                     bc1qm5wgqaeedphv7ez468u09hxhl9mkym4v92cfyw        BTC                  17.39707682 2022-04-23 18:06:54   2022-04-23 18:06:54
                     bc1q6u7fdlpaue6j4jqa5g546sdmjssxm6t08j735g        BTC                  17.39590490 2022-04-07 13:13:59   2022-04-07 13:13:59
                     bc1qgw3fd4f65xsyahf445fkz05lv25ccz4qupefg3        BTC                  17.37849376 2022-04-20 18:21:15   2022-04-20 18:21:15
                     bc1qmnqh67xvgyvswda70al6wcrluzzjsxf289t0ut        BTC                  17.32264556 2022-04-23 15:32:19   2022-04-23 15:32:19
                     bc1qwleeqmnswnztrx0jprxm8jq2fwyyeq5hxmqvgd        BTC                  17.32102272 2022-04-22 13:57:38   2022-04-22 13:57:38
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qrx22xjase8y20eqmv3ut0d2uy8tmd2magqsg0k        BTC                  17.31904300 2022-04-07 11:13:56   2022-04-07 11:13:56
                     bc1q2uyn3udtvj2f5re5x90vw8cxam6knfxpr6wtsu        BTC                  17.25421968 2022-04-25 13:40:01   2022-04-25 13:40:01
                     bc1qqa3fednjp5hsnff3l2gcq4n8yj408tnygatvxz        BTC                  16.89580420 2022-04-06 13:34:28   2022-04-06 13:34:28
                     bc1qsnrj7l08qzscaugj4c6cltwmf4ffc08a2zdsgg        BTC                  16.89374743 2022-04-06 13:09:01   2022-04-06 13:09:01
                     bc1qj8ugraj6k0mmy62gdqetpcf4ezyeucjs5tt5t0        BTC                  16.89203650 2022-04-27 12:11:37   2022-04-27 12:11:37
                     bc1qerd953gzea76d3zhxfk4zu54gk0ffp3cfegw4s        BTC                  16.89080710 2022-04-08 12:34:23   2022-04-08 12:34:23
                     bc1qjp9295kjms09dkx9q4h6z0pngv03n8x63e324y        BTC                  16.85794026 2022-04-07 13:13:59   2022-04-07 13:13:59
                     bc1q67m0qspz88gv85l8t6pq3hvcm8y402pdtlfsca        BTC                  16.83652524 2022-04-20 14:08:14   2022-04-20 14:08:14
                     bc1qge28m8gae8nkxc3skv2qft78h7a2x64qqprlcj        BTC                  16.80261387 2022-04-07 10:23:46   2022-04-07 10:23:46
                     bc1q9kfnctc579ffpqfhj8udks8nkerrmqh8ls8966        BTC                  16.75610242 2022-04-07 11:31:58   2022-04-07 11:31:58
                     bc1qz0x45c503cheaqhty6ta7pdnc2f3fhpautqj5s        BTC                  16.68171627 2022-04-27 13:01:24   2022-04-27 13:01:24
                     bc1qcpseypzu86q7uqze2mv2lh589k8evcymnad34d        BTC                  16.64943950 2022-04-25 13:40:01   2022-04-25 13:40:01
                     bc1q6kc3wg4gna932e2q4g3f6rqzwry7jrclf3h7dn        BTC                  16.64009957 2022-04-20 15:21:47   2022-04-20 15:21:47
                     bc1qk3nk8taypxfqqgkwksdjwgrqwlgp6tt0ag0fuj        BTC                  16.49217303 2022-04-07 10:23:46   2022-04-07 10:23:46
                     bc1qk2t375c8qfkn8pkmejtkfyn7zqwunlsyusltcg        BTC                  16.38391903 2022-04-27 13:53:11   2022-04-27 13:53:11
                     bc1q0ajrn85e55mgv00tvy3ep5fj2f296gkszffmdr        BTC                  16.38390610 2022-04-08 09:05:54   2022-04-08 09:05:54
                     bc1q38qu2rhmyj7yc79r5aedfvl5vl3k7yadm3v5t5        BTC                  16.38390610 2022-04-07 15:28:57   2022-04-07 15:28:57
                     bc1q5rr8jyt3r8w09qcqrtpauqzpuhhfm4ea6jtd0h        BTC                  16.38390610 2022-04-25 15:16:51   2022-04-25 15:16:51
                     bc1q6fqz4dzfwas4aryyxdmud2ecvwtyh76y4cy3x9        BTC                  16.38390610 2022-04-08 14:19:41   2022-04-08 14:19:41
                     bc1qcz2x9prffs7klukck3y28rhfxvnzepue8d6ner        BTC                  16.38390610 2022-04-07 16:47:03   2022-04-07 16:47:03
                     bc1qd8r425reu78wqtwk87r0eefau2cwvyca36rtyq        BTC                  16.38390610 2022-04-07 17:58:26   2022-04-07 17:58:26
                     bc1qjedqcjdqlw5y66hdjvyvcxfffnpefka2yql7nw        BTC                  16.38390610 2022-04-07 15:28:57   2022-04-07 15:28:57
                     bc1qk7whxcal5qdv0e0hy4cv84pwh7h9ufku0p9qga        BTC                  16.38390610 2022-04-07 15:28:57   2022-04-07 15:28:57
                     bc1qkmleze4436z5dzhem6r0hdakksc38vf6xj7mt2        BTC                  16.38390610 2022-04-07 15:28:57   2022-04-07 15:28:57
                     bc1qltxq2g04nfe95vckrhxamzqzsdzl6smrc9n3kc        BTC                  16.38390610 2022-04-07 16:47:03   2022-04-07 16:47:03
                     bc1qma5mxwg2dfw3u4s5mk372du7jslel26l8qye3m        BTC                  16.38390610 2022-04-07 16:47:03   2022-04-07 16:47:03
                     bc1qtwrygmcf7urzeusp7au9n8e5z8gly9555xcc7r        BTC                  16.38390610 2022-04-27 12:43:19   2022-04-27 12:43:19
                     bc1quzfqammw8hv8lv22glmwchwcyukstmuc5un5fe        BTC                  16.38390610 2022-04-26 18:27:36   2022-04-26 18:27:36
                     bc1qvhmkly9t05mldzagj66pvj6g3hq2tlj8qmx0au        BTC                  16.38390610 2022-04-27 13:20:13   2022-04-27 13:20:13
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q96057tzuc9ntneldhl4utat3z4s9gwwla6jlqd        BTC                  16.38390068 2022-04-26 16:05:56   2022-04-26 16:05:56
                     bc1qj299zderf0lmzdjfd2tgfak3sf3jf7xmltchsp        BTC                  16.38384520 2022-04-23 13:02:04   2022-04-23 13:02:04
                     bc1q6xruzezp50jp42r7uz3fdl68rzz5s00rc8uss9        BTC                  16.38382322 2022-04-20 17:10:19   2022-04-20 17:10:19
                     bc1qe28a4jksufultql7cpn7agdhwyp3ytjcaet26g        BTC                  16.38382321 2022-04-26 18:27:36   2022-04-26 18:27:36
                     bc1qxxq0d0s6q6rd5fn7y3u67rw64l74ysce9nymr5        BTC                  16.38382321 2022-04-23 13:35:48   2022-04-23 13:35:48
                     bc1q3egpvdltwudmwjp27yl6cumrzadww0tc2ad8ya        BTC                  16.38381042 2022-04-08 12:34:23   2022-04-08 12:34:23
                     bc1qyp3n90uz2f02je0uac03mr8kpcjn60fy9lla88        BTC                  16.38381042 2022-04-08 09:05:54   2022-04-08 09:05:54
                     bc1ql6drsqwddhlehejpev580mueg027ev0nxklylw        BTC                  16.38381041 2022-04-08 09:05:54   2022-04-08 09:05:54
                     bc1q2l4sm7kqu90x8h9400ev0ldz6vstdk8q6rxcm3        BTC                  16.38379690 2022-04-05 19:43:17   2022-04-05 19:43:17
                     bc1q4s0vu53mlechff4fjf6vh02w2hmu7uxl3te6pr        BTC                  16.38379690 2022-04-06 14:42:13   2022-04-06 14:42:13
                     bc1qmxt8yjaxrfvc7m47z23re5x96hehvs9pag852g        BTC                  16.38374446 2022-04-26 16:05:56   2022-04-26 16:05:56
                     bc1q496xx7tnmwsu844nr9rfx6q3x32ky2lj3qd79c        BTC                  16.38374033 2022-04-22 15:11:57   2022-04-22 15:11:57
                     bc1qyyq30wd3njmahhan2eny6rwyz2s48tp842nazl        BTC                  16.38371473 2022-04-08 12:34:23   2022-04-08 12:34:23
                     bc1qdcn2eed0sfsqdk28ytjnlcm00z2g6qwhul3cdc        BTC                  16.38371473 2022-04-08 14:19:41   2022-04-08 14:19:41
                     bc1qf7eyr6n47gja3f5lnf7sws7zdd056aj5qu9dua        BTC                  16.38371473 2022-04-07 15:28:57   2022-04-07 15:28:57
                     bc1qqc7gwmzhyzz886s5kvmpgy8md7q24d649zf93d        BTC                  16.38229206 2022-04-20 16:43:00   2022-04-20 16:43:00
                     bc1qgsdgt60xcmr8gz3y0dwgaklpyrl6ayppgsrve9        BTC                  16.38224834 2022-04-27 12:43:19   2022-04-27 12:43:19
                     bc1qkdxhcvl4e8480qajj0zwz37wekj9qudal9jwnx        BTC                  16.38164858 2022-04-22 13:57:38   2022-04-22 13:57:38
                     bc1qla3y9pp6f2sgw2tyufwae7d2lq5wr3un7hrfqa        BTC                  16.38136100 2022-04-23 15:32:19   2022-04-23 15:32:19
                     bc1qyl594f0p8dvxezqlazqugpsc7kurv4wreflytt        BTC                  16.38090763 2022-04-27 13:53:11   2022-04-27 13:53:11
                     bc1qwhqlvqknms44758uer8cv8a6sf5wx6r4f0dczk        BTC                  16.38084375 2022-04-22 13:57:38   2022-04-22 13:57:38
                     bc1qypahatv9yszvlwqasv9m59qk20n9f5njltmm7h        BTC                  16.38079751 2022-04-25 12:49:55   2022-04-25 12:49:55
                     bc1qhtnal7td8wje8z8yw2pvp28n7wadrtnfrktu44        BTC                  16.38079750 2022-04-23 12:10:12   2022-04-23 12:10:12
                     bc1qlswylamhd95mdh39we0pqgkfq56kg2jqf0sls9        BTC                  16.37997922 2022-04-07 14:07:56   2022-04-07 14:07:56
                     bc1qjpew46n8gj207cz7ezac9l99gv75wxd4aa9w4y        BTC                  16.37995900 2022-04-07 13:13:59   2022-04-07 13:13:59
                     bc1qk2e85sctpeee45qrdr68h0wxekygrzxsvhxrzs        BTC                  16.37969749 2022-04-22 13:17:32   2022-04-22 13:17:32
                     bc1qzrwuxns2mjd94yznaa42gkaqp2v9kcy30ls65e        BTC                  16.37968797 2022-04-27 13:20:13   2022-04-27 13:20:13
                     bc1qrykl6vvqqwwsksh5znjdqs4487ahyv7ffppmeg        BTC                  16.37967029 2022-04-22 15:38:32   2022-04-22 15:38:32
                     bc1qyemj5fny8je4zu46hvj9pp23geg52fntznxmaw        BTC                  16.37882327 2022-04-07 17:58:26   2022-04-07 17:58:26
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qngx7uqpkdpynvl3pcesdr56pwlxz0dxh608stw        BTC                  16.37882327 2022-04-07 15:28:57   2022-04-07 15:28:57
                     bc1qlj7rep6jd7gxx7tyd4ukz0aufutp6pppu7nsc4        BTC                  16.37882326 2022-04-08 12:34:23   2022-04-08 12:34:23
                     bc1qufymkx4p0gr58sllu973lj3f3u7q6wssmcetsd        BTC                  16.37882326 2022-04-07 15:28:57   2022-04-07 15:28:57
                     bc1q0jgnesfm00xu0njcsps67u37vmg8emxta45zf6        BTC                  16.37881733 2022-04-07 17:58:26   2022-04-07 17:58:26
                     bc1qaafjuj29c7fjjydhh7ql8f7p52dkkzvf0csr40        BTC                  16.37823069 2022-04-20 17:10:19   2022-04-20 17:10:19
                     bc1qup5ydm0xq8e9tk9jxrznx7fueq4zg3nqjnzg32        BTC                  16.37823068 2022-04-26 15:00:44   2022-04-26 15:00:44
                     bc1qwzxkmcx3s30qlpw2hh8g282xvzgx8xfyav457u        BTC                  16.37823068 2022-04-25 12:26:29   2022-04-25 12:26:29
                     bc1qtfn9gkz5r87all0hze5mfpjagalauzhl0fjurw        BTC                  16.37822222 2022-04-20 17:44:06   2022-04-20 17:44:06
                     bc1qf9ccl7uv6s5v8jupg8klx6vqq09azzaafhnrur        BTC                  16.37721122 2022-04-26 13:32:36   2022-04-26 13:32:36
                     bc1qlxv2a9skxsqhmy7nc393j6t3kvp7gqchsqmj65        BTC                  16.37669952 2022-04-23 14:09:12   2022-04-23 14:09:12
                     bc1qh64pgwet0fjddf6q8qmx4d5kcs0n93ajm4hve8        BTC                  16.37669951 2022-04-26 16:05:56   2022-04-26 16:05:56
                     bc1q24th2qg9el6mgdxcv3vuc3833w6k82hsnv5v87        BTC                  16.37512209 2022-04-26 15:00:44   2022-04-26 15:00:44
                     bc1qxvf25eryy84k98utq5a06h0se2tu5he5x54gln        BTC                  16.37470768 2022-04-27 12:57:38   2022-04-27 12:57:38
                     bc1qqjs7zd77mvg45cx70np7fz9w5fx5pqyvel42vn        BTC                  16.37468049 2022-04-22 12:08:25   2022-04-22 12:08:25
                     bc1q2yye3yjzvmpm2e04pqw7r2a2j6yalpa5kg4d5l        BTC                  16.37359094 2022-04-26 18:27:36   2022-04-26 18:27:36
                     bc1q2q5cqge7vtpsqg3r049xpjqneqdw5ycu5xfha2        BTC                  16.37255527 2022-04-27 13:53:11   2022-04-27 13:53:11
                     bc1qank7dcd83d75q0jkkne0phesz6tz0f8lcdhrhn        BTC                  16.37255527 2022-04-25 12:26:29   2022-04-25 12:26:29
                     bc1qpj2ex6h26mmgla6sxl9wtgzvsjfve3vy2w98zr        BTC                  16.37191726 2022-04-07 11:31:58   2022-04-07 11:31:58
                     bc1qwyad08s7h5x0eacqtkt4s4vtzjlayml47yc2na        BTC                  16.36936379 2022-04-20 17:54:00   2022-04-20 17:54:00
                     bc1qhkq52zfqd7mufpvx8j4rlj9u955e5eh0as80gj        BTC                  16.36648148 2022-04-20 17:10:19   2022-04-20 17:10:19
                     bc1q59gphu4p62vw5r2fgxzmgncuf920t4alnafjnf        BTC                  16.36589153 2022-04-22 15:38:32   2022-04-22 15:38:32
                     bc1qjvnf38t73uueaa9dydymrde2nd2v4p83rnkyn8        BTC                  16.35779099 2022-04-07 12:40:56   2022-04-07 12:40:56
                     bc1q7z9lg4edxmt39ls5r8y6dgl8uan5hd65zcwf7v        BTC                  16.35772343 2022-04-07 13:13:59   2022-04-07 13:13:59
                     bc1q6dt626hm3egd49vc5rlf42cqtdfuuyx8ffvehs        BTC                  16.35760759 2022-04-07 11:31:58   2022-04-07 11:31:58
                     bc1qdajaylfwlattjjc96a7xk4rsjdtljtt7na35wd        BTC                  16.35400445 2022-04-12 15:13:25   2022-04-12 15:13:25
                     bc1qxn5c2d59k7gcgq2zg99cfaslv8276vdk3dp8lc        BTC                  16.35287398 2022-04-07 14:07:56   2022-04-07 14:07:56
                     bc1qgmgfm0jd4u2rdfw00awyt2u6xcf4qeru6lpkch        BTC                  16.34354183 2022-04-26 13:32:36   2022-04-26 13:32:36
                     bc1qkrsq0phephn0v5red65zcdvn9nt94t92vefa3t        BTC                  16.34352413 2022-04-26 18:35:41   2022-04-26 18:35:41
                     bc1qqh9t7zc5zyv092ywjfrrqhlwm9sdkm4w3whr3f        BTC                  16.33026904 2022-04-25 14:09:39   2022-04-25 14:09:39
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q24jm8g7a7pnm79kxqcsuct393m2n09aelvj929        BTC                  16.33026836 2022-04-26 16:05:56   2022-04-26 16:05:56
                     bc1qscajpnf4kpf24kqnl2zsjzafvl69z0ef9qnxzh        BTC                  16.33021495 2022-04-20 12:51:36   2022-04-20 12:51:36
                     bc1qwwm68c0llswdknj76r3mzhwrdkum246tgt57px        BTC                  16.32504778 2022-04-25 13:42:40   2022-04-25 13:42:40
                     bc1q0qjhynhv7v7mp6ct8dd23s79dqyw2rr6rwuxjs        BTC                  16.29653046 2022-04-26 15:00:44   2022-04-26 15:00:44
                     bc1ql38wc26jgy3tcg5z72g3y6nje5nfwplltsl0v9        BTC                  16.29501894 2022-04-26 18:35:41   2022-04-26 18:35:41
                     bc1qgae7vs4fsyqzcfypjua9wlsd58vskjz3f0ljn3        BTC                  16.26917743 2022-04-07 12:40:56   2022-04-07 12:40:56
                     bc1qljx6y4mylvarkxqxajmxduk8mmtz8rpypjx3fl        BTC                  16.26894612 2022-04-13 17:34:41   2022-04-13 17:34:41
                     bc1qpaxkx2zpdhxv0dhxm9hzzyhlattvnj85ww87hq        BTC                  16.26440146 2022-04-07 15:28:57   2022-04-07 15:28:57
                     bc1q4yupktv5m2pa5raqe4u5yeepe2x6mtmm8sspll        BTC                  16.26440146 2022-04-08 14:19:41   2022-04-08 14:19:41
                     bc1qqm7wqxpxsul7hv4qtqkslncyr4707ruxjwsugz        BTC                  16.26271162 2022-04-07 16:47:03   2022-04-07 16:47:03
                     bc1qecp4d0r700lzlt3a52sw3umq6hw43fkwc7razp        BTC                  16.26151731 2022-04-08 14:19:41   2022-04-08 14:19:41
                     bc1q36w9ndgzhkm685ynms8ka3tnwg0jupepgl3z2w        BTC                  16.25931863 2022-04-08 09:05:54   2022-04-08 09:05:54
                     bc1qeueta4juapp2qqe3854etru3htjj7wpmlzkzzx        BTC                  16.25931862 2022-04-07 17:58:26   2022-04-07 17:58:26
                     bc1qq7e4ga8wtc9z3shh400t5swe00vaupem9u7eyw        BTC                  16.25931862 2022-04-07 17:58:26   2022-04-07 17:58:26
                     bc1qc02sweyfmhaafd9ysp30uqdwg588tpzgc0h4k3        BTC                  16.24925220 2022-04-07 15:28:57   2022-04-07 15:28:57
                     bc1q593wdrlj7hqzhxlcppypje3dwtzahrkj3zfx0q        BTC                  16.24440428 2022-04-23 12:10:12   2022-04-23 12:10:12
                     bc1qgevczywdj6m0fmzehxp237d0x5rtz5snh7sutw        BTC                  16.23928346 2022-04-07 15:28:57   2022-04-07 15:28:57
                     bc1q7lhtav9lj6hve95mg8y4wjgeg8mvwyphlshgw7        BTC                  16.22806165 2022-04-22 12:53:23   2022-04-22 12:53:23
                     bc1q0yc9jyhscxa75ewk9awzurw8x57qtjmkfjt57z        BTC                  16.21019350 2022-04-20 15:33:24   2022-04-20 15:33:24
                     bc1qndf4qchv7xvuaswf85enxuevse7e5w2aeyyxtw        BTC                  16.16358885 2022-04-20 18:21:15   2022-04-20 18:21:15
                     bc1q8ry92jlscnccuelag935h0yu5lyr7t3wd7y6n3        BTC                  16.15280144 2022-04-26 18:27:36   2022-04-26 18:27:36
                     bc1q9k5yfam034tgwx79yvcvfuecvscuj0h7t2l7vw        BTC                  16.14486118 2022-04-07 17:58:26   2022-04-07 17:58:26
                     bc1q8lvzswl4jnjg2k0dmxqje39dd243lt67yzlv3r        BTC                  16.06577690 2022-04-20 16:26:59   2022-04-20 16:26:59
                     bc1qx6ry9fs0fc3lvmy3uzgm5e492knaahzk47l92s        BTC                  16.05246874 2022-04-26 16:05:56   2022-04-26 16:05:56
                     bc1q9t4fleqcnjkl38zscruvd25y4k0uhs7cudp0ys        BTC                  16.04071832 2022-04-25 13:03:16   2022-04-25 13:03:16
                     bc1q3u0n2aaxa2l7jtnfzx4ltvjw0va354pru0p5xh        BTC                  16.04071220 2022-04-27 13:01:24   2022-04-27 13:01:24
                     3K4TSmLPgA2WfkkS6SyQ3EYJvXpJaMzisr                BTC                  16.04058076 2022-04-21 09:57:48   2022-04-21 09:57:48
                     bc1qqphwn5rfgjk49dvrmqrj722xawnt7w4unk70je        BTC                  16.03446430 2022-04-25 12:49:55   2022-04-25 12:49:55
                     bc1qeduzwtrdl0ffkyw7ddzpqayu7l5ae2hxrls3gf        BTC                  16.01209628 2022-04-25 13:15:37   2022-04-25 13:15:37
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qwpzhtq2kyqkkjh7g5j9lfwjyfnmfz4d39a66am        BTC                  16.01209627 2022-04-27 13:01:24   2022-04-27 13:01:24
                     bc1qdtchm9fx6cqchc63p5kwuztm6x2yj0hy3tt7xu        BTC                  16.01208919 2022-04-20 14:08:14   2022-04-20 14:08:14
                     bc1qzn72670tnuc5zype4epjc6wlh4h3wyv402mzdr        BTC                  16.00773952 2022-04-25 13:40:01   2022-04-25 13:40:01
                     bc1qmdj2vnz8zldhhkpkxsexl7r2a5qdcsj383rszp        BTC                  15.96870694 2022-04-27 14:30:10   2022-04-27 14:30:10
                     bc1qe9gf82tz4ryv5867t6z36j69nqjqkpxp5kfss5        BTC                  15.95230471 2022-04-20 16:09:23   2022-04-20 16:09:23
                     bc1qmfw8zygm66ruy3myma3qnjmfyezgmefccmlcm5        BTC                  15.92629880 2022-04-11 16:53:10   2022-04-11 16:53:10
                     bc1qutv77hpa3auel49f6ruqyt5jcgzmpdgsh9dvm8        BTC                  15.83871283 2022-04-20 16:26:59   2022-04-20 16:26:59
                     bc1qr6e56gt0c3krvq8g3yqets5ah778czyhv9sq8s        BTC                  15.83687013 2022-04-23 18:06:54   2022-04-23 18:06:54
                     bc1q6uf2xgzyrxcpmr43nuthml8tagmx2nqmnc2rwn        BTC                  15.82584591 2022-04-22 14:28:19   2022-04-22 14:28:19
                     bc1q2vd5xgjxshlvwzs0g5s3punfw7n76wyx6nvr26        BTC                  15.76470354 2022-04-20 15:33:24   2022-04-20 15:33:24
                     bc1qrex4frsxeq3q2a988sxs4xdyy9vzrf9kuc2ztl        BTC                  15.73822433 2022-04-26 15:29:42   2022-04-26 15:29:42
                     bc1q7saz25p4uax76ar842z0eg7xur97qnkwlqfw7x        BTC                  15.73583842 2022-04-26 13:15:29   2022-04-26 13:15:29
                     bc1qwnuh4khn5qgesuc7chhh56ztjaq9gzmk7zvrg9        BTC                  15.67849092 2022-04-23 14:09:12   2022-04-23 14:09:12
                     bc1q7876wwn44aatwfwvml597a8lq6dwyhu7ne7qs8        BTC                  15.67715277 2022-04-26 16:05:56   2022-04-26 16:05:56
                     bc1q25z45cpnvzl0ngxptxafcym38smtxk6pxpkqcz        BTC                  15.56918208 2022-04-25 14:52:04   2022-04-25 14:52:04
                     bc1qlkxj5fg6pvfxmde53p3hkwvlyzum8ztzmyvlnf        BTC                  15.52008061 2022-04-20 16:09:23   2022-04-20 16:09:23
                     bc1qxlfkqgltpqqt9nu06sypdgsl8afvqt6ru200vh        BTC                  15.42294616 2022-04-22 12:53:23   2022-04-22 12:53:23
                     bc1qjae8me7kxamx7ja888zfxmcm886jsjfdnuak5u        BTC                  15.34909187 2022-04-25 14:52:04   2022-04-25 14:52:04
                     bc1q947znkhkdcemf6zl6gx3dx6032nhnn4dvtm885        BTC                  15.15403896 2022-04-23 12:10:12   2022-04-23 12:10:12
                     bc1qwny9cjaw3cqs5ye0nxthwew0nqlk0t9yvc4cna        BTC                  14.70810783 2022-04-26 14:20:44   2022-04-26 14:20:44
                     bc1qz3gnszs0s85uqdehmnnvujql4my27q8x8sq8kc        BTC                  14.70809417 2022-04-07 11:13:56   2022-04-07 11:13:56
                     bc1qmqpuksht3acpx8x3wvl5rfsjd08w2y8unnu3p6        BTC                  14.70049912 2022-04-26 15:00:44   2022-04-26 15:00:44
                     bc1qwspwyh5luvv4pgyv4pdmnls6ucm003npd2s3nk        BTC                  14.33590610 2022-04-22 15:11:57   2022-04-22 15:11:57
                     bc1qmfg56azkuc8rghlstcsfh8zncuhds7k6uaeq4w        BTC                  14.33503124 2022-04-06 14:40:04   2022-04-06 14:40:04
                     bc1qw7a93aa08j7cfl4wenve2kgdyv2272a86yw4np        BTC                  14.26414074 2022-04-25 15:54:31   2022-04-25 15:54:31
                     bc1q9pt0qed8za9xa9dz8dx35rv7w9mtt6fpzkewll        BTC                  14.24060410 2022-04-27 14:09:00   2022-04-27 14:09:00
                     bc1qynsgz784gf3hw65q37e9wm4cfdm0f495sxyyx6        BTC                  13.29908243 2022-04-26 15:00:44   2022-04-26 15:00:44
                     bc1qe2lz0wam9wk6q6ygezjf2jc326nksqz5empnze        BTC                  12.79981476 2022-04-07 10:23:46   2022-04-07 10:23:46
                     bc1qzwkamrj8nrhz6cgyydvfsrduvxljucrnyv0ezw        BTC                  12.79806307 2022-04-06 18:42:49   2022-04-06 18:42:49
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qp47lsdng37kzuxeqavlr2scn5q67msav3wp7j7        BTC                  12.78759990 2022-04-23 13:35:48   2022-04-23 13:35:48
                     bc1qhfamm2pc4nhur8x6457dp8swt778rxl2zfwvwh        BTC                  12.74345412 2022-04-07 12:40:56   2022-04-07 12:40:56
                     34CjWUVgri2Xwn9xjp798qGSjjDBMweXKB                BTC                  12.28797162 2022-05-02 11:05:11   2022-05-02 11:05:11
                     bc1q5rwa9un5mekuk5gz94z58wp8w49evpedqg52lq        BTC                  12.28794690 2022-04-26 13:15:29   2022-04-26 13:15:29
                     bc1q8c5mjs3lhvnu6k4kqu0vkumf6duvrslcscndsn        BTC                  12.28792193 2022-04-27 13:20:13   2022-04-27 13:20:13
                     bc1qw5d038zhkawutpeuk75nnewdwnndljuk2xw0lu        BTC                  12.28792080 2022-04-26 18:35:41   2022-04-26 18:35:41
                     3M4PuEf9vVvNgj8EwLKU1K3WUBcwnGbMcA                BTC                  12.28790349 2022-05-02 10:55:58   2022-05-02 10:55:58
                     bc1qmlahth4ccme0mdlfhjyru29dh9e6s70047juld        BTC                  12.28640995 2022-04-20 12:51:36   2022-04-20 12:51:36
                     bc1qlaf3ytslz843zx3a7skcw9ugh9u3k7v2x4hqch        BTC                  12.28483025 2022-04-26 15:29:42   2022-04-26 15:29:42
                     bc1qcz534fpwjt4ehy3es2zzed6ez89hn4ksnxuc34        BTC                  12.28474416 2022-04-20 17:10:19   2022-04-20 17:10:19
                     bc1q92xzc96gtrsydslpcr0j53gy4c8nn95gpg4czz        BTC                  12.27963922 2022-04-26 13:32:36   2022-04-26 13:32:36
                     bc1qks2xeutr9pnkahyn07jyfcfn37l08mmfxjfvax        BTC                  12.26173228 2022-04-07 11:31:58   2022-04-07 11:31:58
                     bc1qdaxqpzsxa4f4qrmcv7zpwlta592lgmejnavx35        BTC                  12.25191480 2022-04-25 13:15:37   2022-04-25 13:15:37
                     bc1qqrpuufeck46fpmpvduymlnkryth83skn08lcft        BTC                  12.24753842 2022-04-23 13:35:48   2022-04-23 13:35:48
                     bc1qshd0dpptfcj24u7c0l7a8j6ynanl33uc92x429        BTC                  12.21154315 2022-04-23 14:24:45   2022-04-23 14:24:45
                     bc1qyug8wt2ukzapv6tkv5eanxyfhlm2036zj22ery        BTC                  12.16842362 2022-04-07 16:47:03   2022-04-07 16:47:03
                     bc1qpn3uhjtthk78s5mp4lmfa60ezcp82p7s4yhec6        BTC                  12.16608237 2022-04-27 00:46:59   2022-04-27 00:46:59
                     bc1qgd5nax50re7e7am7vj8zt9v74pr6jv408ucav4        BTC                  12.15150512 2022-04-23 18:06:54   2022-04-23 18:06:54
                     bc1qu5y6vwx88s3ksyn4upxgnste4s090jj8vam30l        BTC                  11.89544071 2022-04-20 16:43:00   2022-04-20 16:43:00
                     bc1qdaa7mh63lmqj94msnmsmd4ptgnzqp5arhsv3d7        BTC                  11.58665906 2022-04-20 17:54:00   2022-04-20 17:54:00
                     bc1qr84y4cnfyxx6e334c2mu7rp9eu4a3x5q9ps6ae        BTC                  11.26151676 2022-04-06 18:19:56   2022-04-06 18:19:56
                     1156oPWN2U4aYa5yHnQQeeWC8Md1uRzhZo                BTC                  11.17130350 2022-03-04 01:02:35   2022-03-04 01:02:35
                     bc1q7flvftexqesgu6e0j626l0tk75c696xx6l9mcx        BTC                  10.30882841 2022-05-02 07:29:58   2022-05-02 07:29:58
                     35hxPhWS4adTHUNbKSFYktyhCujjie1TEo                BTC                  10.22250003 2022-04-21 15:45:07   2022-04-21 15:45:07
                     bc1q05qwzu3qu54wjhc74800nuz6mhmpvs3rzzygu0        BTC                  10.17335335 2022-04-25 14:33:07   2022-04-25 14:33:07
                     bc1qtyl2jpyt7gnexnkf9dppn5987q6ncwwk6lltvc        BTC                  10.08701063 2022-04-23 15:32:19   2022-04-23 15:32:19
                     1FMgXohEiG99wgGsFHs8n9WGyJnRacn2gF                BTC                   9.83980867 2022-04-03 12:30:43   2022-04-12 16:23:31
                     bc1q6aghc05gzdyyu8t0q0fqmddnax93me54qdaf6d        BTC                   9.24720719 2022-04-26 18:27:36   2022-04-26 18:27:36
                     bc1q2h69f40eplfg9nhffkr6wxnsl3zf4vgr86zrru        BTC                   8.19199954 2022-04-03 23:31:37   2022-04-03 23:31:37
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qx9wllr92ywtqjn6pxdnfns8uk2wjntw5u907a0        BTC                   8.19199953 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1quzm4p897f5uum38dds84pww4kq5wmlahjngh6s        BTC                   8.19199812 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qr6ft6pqhjkpxa3ajqrhwc86m853enm2n9hrw3a        BTC                   8.19199761 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qrs4x76tyd9633aa3tt5sr30u50jpraunh9kkwr        BTC                   8.19199761 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qdsaqq6ztrg4qwpw6lmekzpqx8my7r2cqntyvn9        BTC                   8.19199760 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qnh95hvq07ssqu49sa335q75gu9rgj4xc0ywjam        BTC                   8.19199621 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q2xjznwwmlefy2levklzla5ax3u6us3qvgz7s6u        BTC                   8.19199509 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q28rvhszjhw505a4tdvf45jxwh60cnggwldurfa        BTC                   8.19199493 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qnmmf2tjfdwpsxm8jvruwqmr9zunepm6slfe5pv        BTC                   8.19199493 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qqunf8e08qdmg60ay2wcz9esrwzfhgpa9dfuhq6        BTC                   8.19199493 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qdee7hmzhajjqs90leftuxx60ad80gvs3qarttu        BTC                   8.19199493 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qvgay9nh2n4zghg8e3x4cl0tv5kzaadk5r0dnlj        BTC                   8.19199349 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q4g7aa5e202zv2g5gn77nf95hsaf5uza5xgr3un        BTC                   8.19199349 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qjut842dqqx94slz733hr4pmsynjy49lezpaqw3        BTC                   8.19196782 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qjtzxakcv7xzhe6pnlde6myqcrdda0nw0kndl6h        BTC                   8.19196782 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qgnl763pfr5lgruml7lrqntwrwjflmyx2hewzs6        BTC                   8.19196700 2022-04-25 15:54:31   2022-04-25 15:54:31
                     bc1q3fcjma35efeh9ycrt3e6ywk604r8skyhnjgqk0        BTC                   8.19194690 2022-04-13 18:02:27   2022-04-13 18:02:27
                     bc1q9u422u28taf6k3zl9mpaqqr4lfjhkqtmypp0y7        BTC                   8.19194690 2022-04-11 16:39:26   2022-04-11 16:39:26
                     bc1qdyh82hrrngpejc2kghel23szryx7tu5ajkmcn8        BTC                   8.19194158 2022-04-13 16:28:01   2022-04-13 16:28:01
                     bc1q5xnvzsha09v59pc6mcfmrkppngxpgrwrlakqqm        BTC                   8.19185245 2022-04-11 17:45:34   2022-04-11 17:45:34
                     bc1qkftx4xwsnzcq49uj8htdfrf9p2qc66nv8w5n5h        BTC                   8.18991065 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q2q9vnnsg6p8w489u5y2wmlpv8lzqt7cuy42zen        BTC                   8.18967581 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qgj0zqtytpk4trmka0k7dqyh3ddvdd0jmayl24p        BTC                   8.18967580 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qgzrtu3qprwc7eaxfv35mxx7npz9d0m7kcprsgu        BTC                   8.18939775 2022-04-01 22:51:53   2022-04-01 22:51:53
                     bc1qdwnamekwa62k9qlufcf4fytlzkn3a4k4l5splw        BTC                   8.18939774 2022-04-01 22:51:53   2022-04-01 22:51:53
                     bc1qdf4ufffq07mjj46tmylvntp76tv20p2hlxclkm        BTC                   8.18898124 2022-04-13 17:34:41   2022-04-13 17:34:41
                     bc1q2ru883d726rajlcsvrxq9k0ger3mqgesm57g8y        BTC                   8.18876186 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qq4kfdl5jhqchgsh8e2zgl7hrsckgpyrx884wc0        BTC                   8.18876186 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q5gjjsrta3l5rq96edngexvalvwrhw4j3nvtja4        BTC                   8.18854641 2022-04-02 23:10:09   2022-04-02 23:10:09
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qnd694r5kkwps6j0us7cp07k042ghps6yajepm4        BTC                   8.18854641 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qvg4mny2uh99uhspfjzmry0h7u2s5nlet0qpkws        BTC                   8.18854641 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qzwe6j9u2wk0ppppd9hau03eu4vcr8ll46n5st3        BTC                   8.18854641 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qxxn2q0md0l06spkfk3d48ccdvhljrfzpl8errw        BTC                   8.18772471 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q76khku0enwtqjxpgv3ysn9x9arvqurxx0qtlwa        BTC                   8.18686714 2022-04-13 13:47:13   2022-04-13 13:47:13
                     bc1qu6adpq3d0emm63z4hne0jvzedvk4y2t382cc3p        BTC                   8.18686714 2022-04-11 17:26:32   2022-04-11 17:26:32
                     bc1qup3k9vjwwvk0yx3v5ysmhevr23ddm3cxsgy39z        BTC                   8.18520338 2022-04-11 17:08:28   2022-04-11 17:08:28
                     bc1qvxdrk764hfdf3jg2sfvywsazlyjkh2py3u6uu3        BTC                   8.18273491 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qawchkddhuk0qq2f6uq8l0ej6r22jlrz8s247mr        BTC                   8.17723446 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q02elv73nw2ppcumyyy9r7437hn5qv6f6hj58l7        BTC                   8.13987438 2022-04-13 15:52:05   2022-04-13 15:52:05
                     bc1q5crh9m0rxal3nwuhka9jea8vezc46vk8qdggg8        BTC                   8.13829559 2022-04-03 00:19:04   2022-04-03 00:19:04
                     1DviNS8REg82HkPHmphT9qheTKvg2rMS8k                BTC                   8.06830994 2022-04-09 20:46:58   2022-04-13 14:54:15
                     bc1qra99c2y4hsu0qx35g5nejx56zhe6gmwdx6xadg        BTC                   7.99197644 2022-03-27 23:54:03   2022-03-27 23:54:03
                     bc1q5q6hy28n5jpwg93he6zdrz8un94fwla7ataxtu        BTC                   7.98339643 2022-03-31 22:32:06   2022-03-31 22:32:06
                     bc1qeh9sed63h9aamfutpzn78lu93q49ufetm4wk6d        BTC                   7.98339643 2022-03-31 22:32:06   2022-03-31 22:32:06
                     bc1q6ndkmduvf69mec37pvc6mrr95glmll09w6ehfn        BTC                   7.88165138 2022-04-20 12:51:36   2022-04-20 12:51:36
                     bc1qgncp6r2dtzvahw4xklxy8htx7zrea080apdzgh        BTC                   7.88165138 2022-04-26 14:01:11   2022-04-26 14:01:11
                     bc1qe87qawjxxy65nykdsslnw33dp7uv995n7t7lzg        BTC                   7.78522121 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qhxuc724zk2zwdl82ud9s74vrlcytz0xukppn24        BTC                   7.78522121 2022-04-02 21:55:52   2022-04-02 21:55:52
                     1M9jBgjJKwRhrkSuoLrpeu6FnmrCdY3xWt                BTC                   7.70833418 2022-04-06 06:57:43   2022-05-02 14:24:17
                     bc1qj8crwn3qqelvm8mmmlylwljs5pu0uu76q4jyl0        BTC                   7.69887905 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q4scnjgln8w78w8567v6skqp4k7gxgxqcx85x8y        BTC                   7.63562808 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qygcmc4v2exwsyxs0zwsv9ld6fysrt2m9hhru79        BTC                   7.57701948 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qzswpg2n4j8m7m7hndmjsqt7xenjljx8qn0z29h        BTC                   6.91126492 2022-04-25 15:02:05   2022-04-25 15:02:05
                     bc1qsx35rv3h93jj72qgr0ugkptdztfuszlwy2s096        BTC                   6.83997327 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qcesel5y3ruc5uj7zeygaa60uyc9a8yrry3vare        BTC                   6.83997327 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qdv48x25l5f0y7jjxxrqz6fktchtvuz4uqxqzvs        BTC                   6.83997327 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q4swhwtgjg7drw2yptl9mddqj74fv8p24z68u78        BTC                   6.58595248 2022-04-25 14:33:07   2022-04-25 14:33:07
                     bc1qvnftlu5rlyzdj6dnkmlvddls4a6cqv2nxk7phq        BTC                   6.52289079 2022-04-20 16:43:00   2022-04-20 16:43:00
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     1DXByswUcFrU1zio2PCBuqrS8XUwqtmCxE                BTC                   6.23543615 2022-03-23 17:12:18   2022-04-06 16:27:40
                     bc1q6aflcdm3eaaq3wf0e4hcuak3796anwnjcgjmzw        BTC                   6.15177096 2022-04-16 21:59:03   2022-04-16 21:59:03
                     bc1q05844ev2xcps7rnswqg293wfaql4j403d3q996        BTC                   6.14392650 2022-04-11 17:59:46   2022-04-11 17:59:46
                     3CWX6DJvUCA8YzXKwxj7P1WnZ63t4VdnkN                BTC                   6.14389729 2022-05-02 04:44:05   2022-05-02 04:44:05
                     bc1q4jvd0lsxw934eptpw7g30wnpp89594gaqhvv0d        BTC                   6.14389262 2022-04-11 16:18:12   2022-04-11 16:18:12
                     bc1q9m0zyl7fqjth7flvlsspkf5d975e6xgnxl0xl3        BTC                   6.07737105 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qjv26lk645ze2hu8mvse8r23kupq45e0fjajvfe        BTC                   6.07737105 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qytx462v93nya0w86eca9hce8tr5n0jwpx8ex4u        BTC                   5.52891525 2021-03-29 12:29:40   2021-03-29 12:29:40
                     bc1q03wg00uv8vk2vll5dwqafnqz4q0m9jp98xdegg        BTC                   5.37178226 2022-04-23 13:55:09   2022-04-23 13:55:09
                     bc1q67rudx36q5jkqnv6faha5t49xvh4wvkzq82hsy        BTC                   5.25947432 2022-05-01 17:17:52   2022-05-01 17:17:52
                     bc1qtaa7hs59dzmlxchkf00y99m5p33erahtqygugk        BTC                   5.11992650 2022-04-09 16:31:43   2022-04-09 16:31:43
                     bc1qjf6duzpk74rd52xvmy6wujnj0e5y3wlde5qsj3        BTC                   5.10618078 2022-04-26 13:32:36   2022-04-26 13:32:36
                     bc1q095fwfcswnryu8tzp79dmp59q0nlw02ttgm0n6        BTC                   4.97169146 2022-04-28 07:48:07   2022-04-28 07:48:07
                     bc1qlgkvl5ycxvyspezsdfewk6quhgdcdzsn9sxju7        BTC                   4.86388703 2022-04-09 11:14:06   2022-04-09 11:14:06
                     17YSfscJgwdxwvcaJroth8EFiqdqVNkCjz                BTC                   4.47997329 2022-04-19 13:54:05   2022-04-19 13:54:05
                     bc1qpmmhe6kd66zrlh3fe0mtfm9c3xgp65ucyl4kcn        BTC                   4.38835546 2022-04-26 16:05:56   2022-04-26 16:05:56
                     1M4QRZ8PzbNZdpZ2jD6dQ6eWpAmwniMuDd                BTC                   4.36875552 2022-04-14 12:27:52   2022-04-14 12:27:52
                     1ChT4oCUmerEvV2Z5Pvxt5WsXUvVknNPR2                BTC                   4.32658469 2022-04-15 16:48:13   2022-04-15 16:48:13
                     bc1qkhqrjv29ygl0a30fkmq4kukclds0gcd5uymm2d        BTC                   4.09600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qv2uzwq9n36md9jjae8qvqxtlsj3lja4kyxe4mg        BTC                   4.09600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qhmhgfv9ftwmnjt53sal7gdpvj3xhvnqm5xcm7v        BTC                   4.09599960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qkm96sg3znqlcwwsl5kcslkzemdrtu9adkvm638        BTC                   4.09599960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qshm7sfldx79g5r09muj6mh2l2cv5n0pn93qfca        BTC                   4.09599960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q3a9xuuu46n0gncv5fpw3rxcfmw0vs795gx6xv6        BTC                   4.09599960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qx3n0xyckmmv849nck4ey34hl9r56mt0y2xfcgv        BTC                   4.09599960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qfxq4fg4ahm4depxn5xzvzwdunht0h7r56af2k6        BTC                   4.09599958 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qp6s90eljtds5zljq59f5pa6302wqjzk4ufz06v        BTC                   4.09599958 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qzdzrckvnmsjerqve2fr3xuj4qlmy3qt9zfte7r        BTC                   4.09599958 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q6geeffswknvcjtp0cxu9gknraf4cjysktte3nf        BTC                   4.09599948 2022-04-03 23:31:37   2022-04-03 23:31:37
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q3c33wahmquurldqlpnmcmm2rf7ph8ej4gunskk        BTC                   4.09599932 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q3wxna0zs0yv048zwl7hjup9yuagup507fgm0fd        BTC                   4.09599929 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qenjtw9dmp5e3hpym7xak6ug38lhuz9kt52l445        BTC                   4.09599929 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qp797rp2g9fv7uenq7tc5flcpv7fqvagzt0j5x3        BTC                   4.09599929 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qq4apf3sc8pl4c26ua7tuaqncz03dkerutf56hx        BTC                   4.09599929 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1quygnnlglcv0z69pwfemvcky7mfpme643jups4n        BTC                   4.09599929 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qvucyxf6qzlnlvhu3xfttxqjd4cf47xh60kvwz3        BTC                   4.09599929 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qc9yqkkzv0wxsdufrwj74pcf3m4xdxvrhv6x0zh        BTC                   4.09599922 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qx7u50gs40x4ken3gz0qhq7dtdkycddr2crj4hp        BTC                   4.09599922 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qgxzzh7xe6wffvg382pmes6y7sgn5mpytt0uq65        BTC                   4.09599897 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qq85r7lu5sht8pl0a34urmzk2fmhd6ug75rdknp        BTC                   4.09599897 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qwyx3r2h9ez4crnnd004r6ffm7x2rwunk42sckj        BTC                   4.09599897 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qd92c06kfy5nr8dfmktyur6qtj09hezcs774yh6        BTC                   4.09599889 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qql9wlxx2lv06cw6hf397eyq3qjjj0n6xzvj83f        BTC                   4.09599889 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qr5450zcld0h5ww0zm8xgfgm6q772fhjvykccjj        BTC                   4.09599888 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qgcdv4lfgktz2jzkrvmgj3cv25mv9mfacgqgp4l        BTC                   4.09599843 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qrpx67eljcupsklhf9sdf9h7twu9p5prhsnrjcy        BTC                   4.09599843 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qa7383w607crtmanuzne5w084gvw44ek8ltxjdz        BTC                   4.09599839 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qxw3c6ctn053qwyuys5fwjy753rm43pn0xlfuc9        BTC                   4.09599839 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qg45er40790k05ll76r4yxjwnqnj0qkw53m34mx        BTC                   4.09599835 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q67vscvzzm0qsw3nr7jk22w7y339gv8xjtcj8n7        BTC                   4.09599799 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qdu00cj9ewhdtlyd82246lkymkv9rpllq9y0ahu        BTC                   4.09599799 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qyu30cncef4qw97mg76dl9zxszhaly4rsvkefcd        BTC                   4.09599799 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qf0vylhh6ktu0lrp7pjhe65fccs9mssksj6yhsu        BTC                   4.09599793 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qsms8hr78s9ska5vyffkvmeuqarln204u9ct2lv        BTC                   4.09599793 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qvtkg5huzkwz4p456n75mwv3ht9vxy2ctr2wj9z        BTC                   4.09599793 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qxafepw325fsx0es6j83zpduqdr90a65c25axju        BTC                   4.09599793 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qr2rjw7s6s3hpj7q5lv9w26y5ac9klm0ntz3e9e        BTC                   4.09599793 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q2j3vm8fhdcjnckxhnu0skdgyf207fxzkz4q4zf        BTC                   4.09599793 2022-04-03 00:15:53   2022-04-03 00:15:53
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qa4a5nqhfc0myhkezzsyxr4n7cwrm2pas7vu08d        BTC                   4.09599788 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qhg5x9uxtuyuc683hf8rwmmktk07prj9mu5q8jj        BTC                   4.09599788 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qj5r5ss5ywpdqwd3594yyrse8yf04cuk87c4z3l        BTC                   4.09599788 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qmew84g4jxe5vgt6heq63myajvqexc6lhdvfp9w        BTC                   4.09599788 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qn5zvjv8j239xws7ynzwhw6judppawl7tfg0yll        BTC                   4.09599788 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qmgfntk8vns8myzrsp9klwdcvaa5ymekpj9yrhm        BTC                   4.09599787 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q2w7amzmk0f238mn7um6fm9503c2394gjq87sev        BTC                   4.09599785 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qjlyavzz27s40y2d0lr4mdl4he9padn0qhxx3dp        BTC                   4.09599785 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qsg6xd5derdxv0amw23xwncd00c7rfkskl3f4wl        BTC                   4.09599785 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qvyyaezlrw5mrgnu4hrht0wxsd9gyjqhyg8efse        BTC                   4.09599785 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q2yx4lec4lk8tq32tau33h86sfxwtcaed43qfqs        BTC                   4.09599784 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qpv7g8mu8wyd2a9pazl4sr2zvlj6d3j2ryauv78        BTC                   4.09599784 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q4p3m3mkhmhstmws4y9eph5d2ckawq08rm0q87z        BTC                   4.09599775 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q7jvfvfw8v66ud7gu7d3vemkzh9ss249ldc26jp        BTC                   4.09599775 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q3mavuvf82xmes4f025ae58cdvw9fz4jeaw0022        BTC                   4.09599772 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qgl46c2t8scdfr7cgve58w6lxhmzhg787y9rv7w        BTC                   4.09599772 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qen673vj7dwxhszc23mrg7rzjy2emg6fan6k7lc        BTC                   4.09599771 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qcn4zrgx2r6gmny9t4r803z73d7xtz20zcwf0ym        BTC                   4.09599771 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qt38wrv56jaezdktarxmudcnkrrdqqu58wan8sw        BTC                   4.09599771 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qtt4qj9e9vpuhkva8664kvq9qf5v49977zedhfc        BTC                   4.09599771 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q5s0zw6pc9lcaqcjjvvnpgw7qangzyslscwumzv        BTC                   4.09599755 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qka3wjlzacwvujucs65dkjal8p36km5j7te3h98        BTC                   4.09599755 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qug8wcht9wfc46qgzme3w4fy67vetvf8ua6qhgv        BTC                   4.09599755 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q6e2ussd5dgh7s099pnsegp20lw9jve0u5uuncf        BTC                   4.09599739 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qru752c6qgcn4r47rwv3vh9v54h8tr4apnrthzy        BTC                   4.09599739 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qrz90pl7k8wfj4lgkt6q0rg5ct79kp027074y3j        BTC                   4.09599739 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qznqy8ddt0vhkjfp52h6xh75zs0n38jqp9j0nv9        BTC                   4.09599738 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q84482lr0lyussrnlae9x8us4k33p88lsfyzpth        BTC                   4.09599726 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1ql5k3u0u56m2cw4ky54jjy94at8eh9nyvzz0e8t        BTC                   4.09599726 2022-03-30 22:36:21   2022-03-30 22:36:21
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qc4wyljz9gg6pmg4hj2cm2y8jrzdjkjrc74ufar        BTC                   4.09599698 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qqw96wln26n2t9xsyz648wxn0k5neurx6m8y6r0        BTC                   4.09599698 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qse7tw8xv552k0tpku632amplr766c2e0ewzezv        BTC                   4.09599698 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qtakcgyfuz9vpyhuvdcmjuqtt85n94jhsvwhzrr        BTC                   4.09599698 2022-04-04 22:14:59   2022-04-04 22:14:59
                     1S6QRiRULRW5PUQrQVTB9rSJ6EaprSC7c                 BTC                   4.09599607 2022-04-07 19:30:38   2022-04-07 19:30:38
                     bc1qhyunnh7tndvuj39nv8z34qpde03lcc2zlwsn66        BTC                   4.09598681 2022-04-28 03:10:01   2022-04-28 03:10:01
                     bc1q336qs6u2xctcgp932kv9gjdx63csqprssrlj2n        BTC                   4.09596700 2022-04-12 12:45:22   2022-04-12 12:45:22
                     bc1q43yxqsccan2q26wasz2jxl2azp0g3nfvw89xkl        BTC                   4.09596700 2022-04-25 13:03:16   2022-04-25 13:03:16
                     bc1q558y7ahq6yq9fxcqs527k6uhr2d7mf9leu35l2        BTC                   4.09596700 2022-04-13 18:02:27   2022-04-13 18:02:27
                     bc1q5h72n5c0xlalth7ky62n0h635fr6g6hcc8t4r0        BTC                   4.09596700 2022-04-13 14:29:34   2022-04-13 14:29:34
                     bc1q6fskgrcx9tq7auzc5ryty9p5rs3a3wt8f769me        BTC                   4.09596700 2022-04-25 14:09:39   2022-04-25 14:09:39
                     bc1q9n9dn97u9z3f2fmx6jurg8ydaf7gt7p6un249p        BTC                   4.09596700 2022-04-13 18:51:06   2022-04-13 18:51:06
                     bc1qdgm79rt8nycsc4h5yq4dudun62z2exge02s6qz        BTC                   4.09596700 2022-04-11 16:53:10   2022-04-11 16:53:10
                     bc1qdtp5qn070xww6qu6auaunp2kwal0nljhcclm75        BTC                   4.09596700 2022-04-11 16:18:12   2022-04-11 16:18:12
                     bc1qf27nr0g4ej5tv66tx6a4kvtl7kzrm35ryvd4eh        BTC                   4.09596700 2022-04-13 18:51:06   2022-04-13 18:51:06
                     bc1qk0fv2ryxuejtp4p93386s85jz7y086vxdlls5n        BTC                   4.09596700 2022-04-23 12:10:12   2022-04-23 12:10:12
                     bc1qk7t5cj4gd7d0n9xhkn5d7p9fy0l8j30us6t7kp        BTC                   4.09596700 2022-04-13 18:51:06   2022-04-13 18:51:06
                     bc1qvt2897hev4lzl4l3zcnwfhcnc97dl4rc8f28pd        BTC                   4.09596700 2022-04-26 14:01:11   2022-04-26 14:01:11
                     bc1qafk2gurnwsjznfq37dlcvpyztswqs3feqf5jyw        BTC                   4.09596261 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qhh4d3qxvvrl7eqld7sd96txszxnhx5u78rgg0d        BTC                   4.09596261 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qqtx4qtkaw78zr4fgqqrtxpzqwtrrna87qt0u8t        BTC                   4.09596261 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q7vldjn5qqfh69anasrqmwzfa2wzk7qcmzczq04        BTC                   4.09596261 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q0vxj46jelxax5rmzh3k7pxyfmqduhm6pewtzhh        BTC                   4.09594690 2022-04-09 14:09:02   2022-04-09 14:09:02
                     bc1q2ufaev4ncd2klyk86523vf8wm3vplgcyrmzau5        BTC                   4.09594690 2022-04-13 18:02:27   2022-04-13 18:02:27
                     bc1qnhtpv4p4uyrm3ks9x8mm060fjyy2apjs3rcwnk        BTC                   4.09594690 2022-04-13 17:34:41   2022-04-13 17:34:41
                     bc1qtuskh3hmujyd6cfcn75s04tl3kgxurzhqn38sm        BTC                   4.09594690 2022-04-11 16:39:26   2022-04-11 16:39:26
                     bc1qv4h4vxeqgt2evpm7f836mec7hxuezcvhdpgh56        BTC                   4.09594690 2022-04-13 15:28:21   2022-04-13 15:28:21
                     bc1qw2lknyqyucgj4w28s4muegw9ypf3nzg422w4q5        BTC                   4.09594690 2022-04-11 16:23:11   2022-04-11 16:23:11
                     bc1qvatm3l0ves45vf9zg7zksctgxnmw3em2cyvy7e        BTC                   4.09591572 2022-04-04 22:14:59   2022-04-04 22:14:59
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q04qk7d28j0m5kypvqwtuaplll37h06myewtlxu        BTC                   4.09591164 2022-04-12 14:26:08   2022-04-12 14:26:08
                     bc1q8yyfgewh0tlewr5gxmdlpdc4th6dptmruefm8q        BTC                   4.09591164 2022-04-13 14:29:34   2022-04-13 14:29:34
                     bc1qgfg63cuq80sngkqp452dx4fyyqa9mtere58jtn        BTC                   4.09591164 2022-04-13 13:47:13   2022-04-13 13:47:13
                     bc1ql0x09awqlhp0tfgddpk0spnxcvv2h44c6t6mld        BTC                   4.09591076 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q22rxwn3ej7ldzsa44rgnkrqn8euyzk9zn295c8        BTC                   4.09591076 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qyz3lamrj7j5y88jjft5pan4rca68umpjk2m0lt        BTC                   4.09590610 2022-04-10 17:21:20   2022-04-10 17:21:20
                     bc1qcp9vjvvqr6c4v7qvq4az346syxzhmkdx4p6u9t        BTC                   4.09587322 2022-04-27 13:01:24   2022-04-27 13:01:24
                     bc1q2acukwfgve8uqcuq06jf2rnau873lq3hesrya7        BTC                   4.09493783 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qa5yy7x7cuv58pcztdpzkmrgd2lh0z6x6vkxm6l        BTC                   4.09493783 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qgyu3sxhfdrnvl6l78cdjs3yg75a09zlwzjsdsx        BTC                   4.09493783 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qa7tqzpznz8gun5zacyl9egp2m0968uac8zx9e8        BTC                   4.09444535 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qzvvedjuvv942qfszk4m0xuvuyzxejv2xqrkpj5        BTC                   4.09444535 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q528ftxa32x9hk0er4fjje0u4zg5tquhxltrtrz        BTC                   4.09286793 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q29hj23yngwd3m9hdm7jdxsfwdwf0qsk7fwj3g6        BTC                   4.09286793 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q82skhrfqtgel3jqa05gt9zvxnhzjz9yzesapdz        BTC                   4.09286793 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1ql3tk0jdge5qyq25slywl84p3njl62sqlwfnc7g        BTC                   4.09286793 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qw767pjxcrcqk75r94k524en9fpacrqy0mxl7dv        BTC                   4.09286793 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qh8vn97sq35tphhv7vw7efdvpv5d0wf3qf309c6        BTC                   4.09188033 2022-04-11 16:18:12   2022-04-11 16:18:12
                     bc1qrrzncgqltsymguq88t5qe4fdspulqnefvz8d37        BTC                   4.09188033 2022-04-11 16:23:11   2022-04-11 16:23:11
                     bc1qzu9nqqudy4yrhpw8m6aheu8dv7jhdvk2qcfmwg        BTC                   4.09188033 2022-04-13 15:28:21   2022-04-13 15:28:21
                     bc1qy2qhuzsh9uc6nzx77k6h6hnx9jum7gj2dsxhu7        BTC                   4.09183187 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q9cerkxpnlvtg2r8a563xy3tux2emka5geugrm9        BTC                   4.09183186 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qu7yxk8mn96a62s8egnv35vepuksqlp2mezwrku        BTC                   4.09183186 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qmkcscr4fgugrfzykstajtup0sk79sa2f6wrzp3        BTC                   4.09089369 2022-04-12 12:45:22   2022-04-12 12:45:22
                     bc1qq4ywje7mrlhwff0y8h0urcxezz59etaprxdswc        BTC                   4.09089369 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qvayfhrv05hesxh4ppfx8rrzqvu2trxgtn797l5        BTC                   4.09030111 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qdhxhrg52hh947l434a7xvqctu90gsxjn2sc0h4        BTC                   4.08983295 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qkfqtwz0faxvqkp6fn93z34gsrg8ey3frd7rw00        BTC                   4.08983295 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qmtyvazhwn3npdt658q8j2u7cy740qhw02k7s78        BTC                   4.08983295 2022-04-04 22:51:20   2022-04-04 22:51:20
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qrszrx3f8gezcnvesedsd9k8wq7xyd8d4g8ht87        BTC                   4.08983295 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qzeatujnkkjt2ls625yfg25vqdlfrmep8s98zrg        BTC                   4.08983295 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q53pjrnr8sst8qu3n5cmnxn4sf3uyg2efj66xlf        BTC                   4.08218816 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qg8lw0m5dhc98l4avg6q33s7h6gu9wnvedm8wtd        BTC                   4.08218816 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qwr7q2rzw8p2hatsv7p2379x29xvym83enmlfjf        BTC                   4.08218816 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qyxmglsd6qx60wey20vcv6dh5k9ulzmrpn34kl4        BTC                   4.08218816 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qzj925xa6wnuyqhxlrru9kapclavfexwkum0wm6        BTC                   4.08218816 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qnmfmd28wnj974gr85tsz2wzsdy2v9sgu8vp7xr        BTC                   4.07797208 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qykrm67lkv9kmr50jn89yqnmuhjz3y08nl07tfk        BTC                   4.07797208 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qy86eg0hn46ek77m5ntjqp9f3n9ruq2at3ppqyd        BTC                   4.07758475 2022-04-20 16:26:59   2022-04-20 16:26:59
                     3LKiRXR7dxvQwn8ag9A74uh6cBwoZiKQ2w                BTC                   4.06788987 2022-04-21 19:23:40   2022-04-21 19:23:40
                     bc1qfeyndhq5wleacsvdn0r5p88qt6zdp5xxj4qu3v        BTC                   4.00963958 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qau6z0uszzuknm02ml6m8ms6ljzt2klkdamnr2r        BTC                   4.00963958 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qtwzrqrzc8jh24zvgyfaanyk7yecg7ns4dznwcg        BTC                   4.00963958 2022-04-23 18:06:54   2022-04-23 18:06:54
                     bc1ql5eq7e78xf923qmpvw60m06a47l7t8dzgjjzcl        BTC                   4.00963957 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qywka4t6dmearpvlpasqq43t2rxdlxv5z7asw80        BTC                   3.98790299 2022-04-10 02:13:33   2022-04-10 02:13:33
                     bc1qpv0mc5e2zr9t4rvnd8nyyfx54g5y4vkv2ljuzs        BTC                   3.98790299 2022-04-27 02:24:59   2022-04-27 02:24:59
                     bc1qyhc2mvtn0g8a386r4hdkyrd7ekpr8kryfl790e        BTC                   3.98790299 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qrkce6t7vl595mr5ypzaea3k52u9zawwskjuq8v        BTC                   3.97647189 2022-04-12 15:13:25   2022-04-12 15:13:25
                     bc1qameg68fnyljk39c4mhw3df02pgtth3cnhhztp7        BTC                   3.97647189 2022-04-11 17:08:28   2022-04-11 17:08:28
                     bc1qd74eu4jqvxw2dhe6dvxzu3l4lqcm4ue6styqv3        BTC                   3.78981952 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qgq9akex09rax5x4k7aq5cn55t57ya0jgep6vac        BTC                   3.78981952 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1q9e44vfy3aga5dq2jp2mzzknxlawfg02llr06zf        BTC                   3.76454423 2022-03-31 22:32:06   2022-03-31 22:32:06
                     bc1qe77fwuyfs0zeupchwhtpj6pudvnalvmsmfzctt        BTC                   3.76454423 2022-03-31 22:32:06   2022-03-31 22:32:06
                     bc1qrkaxs5z75t2dgl2ed84sx08etem5jym7m6yt65        BTC                   3.76454423 2022-03-31 22:32:06   2022-03-31 22:32:06
                     bc1q06xdmfm50l342m0rkqm97h9ardkk4mg35smz52        BTC                   3.76454423 2022-03-31 22:32:06   2022-03-31 22:32:06
                     bc1q40mcexcxjg3nvkhvc4d4kx522weqwqcsfgkgzt        BTC                   3.72060274 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qgshfryu7ncsrwejj8f5s58f9eyxent4h8wglea        BTC                   3.72060274 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qkter8v99tfzd40l2r744rum9xz7lqe46m0lreq        BTC                   3.72060274 2022-03-30 22:36:21   2022-03-30 22:36:21
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                                                                                      Funds under claim
                                                                                      (average confirmed
Owner   Beneficiar                                                  Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                    with the five
Name     y Name                                                          Unit                                      Time                 Time
                                                                                   tracing methodologies;
                                                                                    in cryptocurrency unit)

                     bc1q4k5aclkmk63jearm2n7rq8q8r8ht972y8j77uk          BTC                   3.70407741 2022-04-27 12:57:38   2022-04-27 12:57:38
                     bc1qpgm2yttefthq0k4sp6q2452428xvtkzx0qus4h          BTC                   3.70052020 2022-04-12 05:40:15   2022-04-12 05:40:15
                     bc1qeq640w2f6rm2mxsn4tkq2zg9yx42jl9k5uh0k5          BTC                   3.60532479 2022-04-27 12:43:19   2022-04-27 12:43:19
                     bc1qfqlsvtzfsmmpzeykfulqfpjxlphhh344zyvtke          BTC                   3.60126320 2022-04-22 12:08:25   2022-04-22 12:08:25
                     bc1qecjt4u99z49uln3zeswvexrz7mhcympy8vff9x          BTC                   3.55496251 2022-04-27 13:53:11   2022-04-27 13:53:11
                     bc1qxs4l2ecsstxpf9mqcsg9knkx4u2aulv46wrc6z          BTC                   3.52427983 2022-04-27 14:02:07   2022-04-27 14:02:07
                     bc1q36w7crx0yr3sg8cstmx59zppf49hwm3s8m7vx9          BTC                   3.39627999 2022-04-10 02:13:33   2022-04-10 02:13:33
                     bc1qcu5n7pxnc877u6kgky37429e424pfgl4ephy7z          BTC                   3.30754103 2022-04-27 13:53:11   2022-04-27 13:53:11
                     1AUGnA1Zm8ZQAjmuQYFLzrDPq7R7eUfj4                   BTC                   3.24799272 2022-04-23 11:50:55   2022-04-23 11:50:55
                     bc1qclln2dnxelddhx794pcj3faem6k2as5na2xv59          BTC                   3.21367113 2022-04-20 17:54:00   2022-04-20 17:54:00
                     bc1q9p8awqsj2pactg78naql8ugtxu2tk9wg7x87y3          BTC                   3.11821453 2022-04-27 02:32:39   2022-04-27 02:32:39
                     bc1qqf5qypeyq90t8pzwdms7lqyl9k0d6kxhu05xap          BTC                   3.07186534 2022-04-07 11:42:43   2022-04-07 11:42:43
                     1B1RyYUeAbyd4P7Mhb3BenrjuLzbUvKpk7                  BTC                   3.04736840 2022-04-04 10:04:48   2022-04-04 10:04:48
                     bc1qjfh2cd0r296gza5xlgg9cj37734vl9aprplrun          BTC                   2.98829134 2022-04-20 18:21:15   2022-04-20 18:21:15
                     bc1qlvk4vja6yh897l8jfsx297rxye2wans039hflw          BTC                   2.93980035 2022-04-25 15:54:31   2022-04-25 15:54:31
                     bc1q6fd4gj4cdpwwj4t68lhuyudxsj9a69ejadhr7k          BTC                   2.90096800 2022-04-25 15:54:31   2022-04-25 15:54:31
                     bc1qymhed2v6yeanwlvdjch7xw478t82hlaj3ag59w          BTC                   2.85646106 2022-04-03 13:14:27   2022-04-03 13:14:27
                     bc1qhu7llc3mnwgngv8vtgtxg6f6te76x220ugwsxf          BTC                   2.78493455 2022-04-17 22:53:28   2022-04-17 22:53:28
                     bc1qklg3dw2cxyk97xqru7kkml5gvz4yu28grvftt3          BTC                   2.67392999 2022-04-25 14:33:07   2022-04-25 14:33:07
                     bc1qymxfedqypyv357lslamvgzfju4tkuqlxph886c          BTC                   2.66479328 2022-04-03 17:16:10   2022-04-03 17:16:10
                     bc1q39sl8jpu4t04eakde3k8dr45w37h5xve2d8c9l          BTC                   2.65392612 2022-04-25 15:02:05   2022-04-25 15:02:05
                     bc1qawxkl8wdlfqv680maq0nar4m3338qx5yufvq83          BTC                   2.55999644 2022-04-13 10:59:49   2022-04-13 10:59:49
                     bc1qtzq5gl0yz7e9qd9fq9nd228u0qnsna6t3wppcx          BTC                   2.36631832 2022-04-17 17:15:50   2022-04-17 17:15:50
                     bc1qx7xgcq5c3g0p2cwpthvgj2mlk0gcy049vc26495zkq24    BTC                   2.30192637 2022-04-08 18:04:01   2022-04-08 18:04:01
                     bc1qaemux86g7rvd7mw60c3jn7z93fpegj5tuvnpfn          BTC                   2.27976004 2022-04-26 13:15:29   2022-04-26 13:15:29
                     3PsvyrHnqoHZHtbZScp3YocRGvuGc329RJ                  BTC                   2.21317115 2022-04-14 09:52:49   2022-04-14 09:52:49
                     bc1qf23l5vzphx2kcs6sanvjygn2v5sxvxs80gzptc          BTC                   2.09594627 2022-05-02 11:53:15   2022-05-02 11:53:15
                     bc1q2c9hzur9mppu8uvs9h3mfupyg0fac8ruy38pnp          BTC                   2.07993687 2022-04-27 00:46:59   2022-04-27 00:46:59
                     bc1q5tyajtqh57e92cehahdnmj7hnphhwh5mulfcdr          BTC                   2.04800000 2022-04-04 22:57:34   2022-04-04 22:57:34
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qexgw40j9cg3mqydt2ludrwr42jqkxzv70s9jhx        BTC                   2.04800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qhlmhxhkx3g2wk7qkjjjrhl6mzs046py699q4eh        BTC                   2.04800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qhuxahpxxd2f8pvkc4zdjf5sxajflkrrdumagf4        BTC                   2.04800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qpfakfwczf2u8rlq6gddus007gpr9lxckjat2hd        BTC                   2.04800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qt8exneagt4kyf0pz4xtrwgv29h8fezs220dq6s        BTC                   2.04800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qv08qtv4sdguurgcyd9vmel0srmaa74gk40f3ks        BTC                   2.04800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qx9mqv9usnef0xtk6ukrm7mrruxxh09cfwtqhg7        BTC                   2.04800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qcct0kty670g3gr9tsw2v552gmqs6znw5mwq5xk        BTC                   2.04799980 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qd04zuv83uevkheukaldap2mqm4a4muklnc56pd        BTC                   2.04799980 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qk5xa3cjl0k6e6eupptc795vun4j34aqqcrgfrw        BTC                   2.04799980 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q5p5ut4g23tpz3r4psv254tg7lysgq42crk2qw0        BTC                   2.04799980 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q9z7hl8rr227rclmq4nmkflpz4d44zx5j6yzcwa        BTC                   2.04799980 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qtlegcaxyc5250zqrratdmlphgfns7qxklnngvn        BTC                   2.04799980 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qtv9wrlaqnjx9r5z5vem0l5rxdqw38zxuaerds5        BTC                   2.04799980 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qupnglgecdl7mph8wmxfsw5qj4dcd394nqs9gqs        BTC                   2.04799980 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qw4efuww2kmswjd3xm6830t4ksvd6lyjsv5ttn2        BTC                   2.04799980 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qnhmgn592nyqsr73lefa6eunxuaj2nhmsgch9fn        BTC                   2.04799979 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qvc3r9qvdp7rjz4khqczscw97gfjzzvg39xn32a        BTC                   2.04799979 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q4xxuxhcya84erv68x7dlhl5ggc6vq3r7t33d3r        BTC                   2.04799965 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qfer2u8k60rmhffkewr7qsv4fyegtwuzqjnw5c0        BTC                   2.04799965 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qh93vysghfd6j75a6da09rqdg7yzyp5mxkeut74        BTC                   2.04799965 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q2y8jv3sxhhaxupxgkalu5d87g6pg896wdjtlvm        BTC                   2.04799965 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qu69tggtysftq6s2mepcdkwsqvd0z50ssm5k9lw        BTC                   2.04799965 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q7dwwkvghpww5vgz7lu8t5mj8cw0nq8g4kw6mxh        BTC                   2.04799965 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q8r6hepqdcqz307x67affy47m9jrvkv625drtm2        BTC                   2.04799965 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q9un9cds4uultkm9hwe633kp4x8gedytjkde957        BTC                   2.04799965 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q9w8xght59c3h24afs6vj8aesrqlf7jq6z8r2yx        BTC                   2.04799965 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qgnl68h9u4ghyzgd0d0r4lg4gdw5rntzjsgj4zv        BTC                   2.04799965 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qq0fnx32u5jcpts5kz0utrpt648apku50ec56gm        BTC                   2.04799965 2022-04-04 22:51:20   2022-04-04 22:51:20
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qv27uqlduueg4at2r9al6edm5jrld9u7z0zftgn        BTC                   2.04799965 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qydsadwcdlv4qmcmca0f3ghhdjud8alvy4regam        BTC                   2.04799965 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q5su645fa93ztr3wuxr794tqryv6tmsktclcm9h        BTC                   2.04799964 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qj9jgzpa2vml67zsrzpe05v8trcphfeal5lzmpl        BTC                   2.04799964 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qk2vmtuff66hmudn2ud8k6wgh6cg7l6etmzdlax        BTC                   2.04799964 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qm5q2d9daypdp5xxt2h2q4dqmax2vgcal5m09df        BTC                   2.04799964 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qtj7qzes6rl9kkzkynh7g085dvdne3j6lj27mmg        BTC                   2.04799964 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qd7z7xf3k3ww6plaez0v8qqqy3kzerrzpv98qlw        BTC                   2.04799962 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q2r5ep6ry3wf5r5gnzn53jnqs42nl4ex0lf7ahv        BTC                   2.04799961 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q4mv76lqw3wf6h8sk2jjzhlznyx2yy0g0kpvqpq        BTC                   2.04799953 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q8nd32vuujj0csvfamgcnsjczdn0tc0n4zpyvj8        BTC                   2.04799953 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qazumgj8gzrh76wqshszdzfsjhnemx7mzzmla5x        BTC                   2.04799953 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qea0r6fte3ev2nmg5jzupfqjpm2c8k7ya8prddm        BTC                   2.04799947 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qzv09ul6zwaqg277mejr6w2jn4d70ad5qxtk536        BTC                   2.04799945 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qytkg0zx03a66mgxhe65mdmumtuj5yf0368lnga        BTC                   2.04799944 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q3dgysxlnfsgfu6u0dgc5vjnzzdv068dsngyykg        BTC                   2.04799944 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q3gww9wlk0pqm7qeercxapawjk8tv34sxf93kpa        BTC                   2.04799944 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qtj35tpmegzh5c8c4n4vl7v67sacnxwvje4l4dh        BTC                   2.04799941 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1quymxerrvf68fcfkrf22dtptznekyzjf6z33ej7        BTC                   2.04799941 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qy3jqvgpvel86vxysn9ss8uch0svfkxues5ezdt        BTC                   2.04799941 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q37kd96nqrwwnj5hwfxr6vzr070sp4fwr7l4h8v        BTC                   2.04799941 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qlg8r654udjphz7ysh4kjhl97jft6v8z8jpzsdr        BTC                   2.04799941 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qq50zdy40p9s5ahksqc580rfurene29un4guu5f        BTC                   2.04799941 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qxeu4x3s2gw8upelzs32dff08wyavnluxy47ypq        BTC                   2.04799941 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qjtm64f4w73cgg0mcrmyrzthnwcvnfz2jn9ux53        BTC                   2.04799940 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qcw8femat6wqcek5k5gzsu3zwk8q2dcawc5ery2        BTC                   2.04799938 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qz80gcrmuvv8emfzejvtm7apl8k4722almq945x        BTC                   2.04799938 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qtxr5ygagvf52prn2m2mvvjrh6ue3fyle8902cn        BTC                   2.04799937 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qa5qmg3hepqk0l3n3t66tuvrhzac58jgjkajlpg        BTC                   2.04799929 2022-04-02 22:45:49   2022-04-02 22:45:49
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qe72vkwqh69laz24nrevz7zvjgqpdnavter2sne        BTC                   2.04799920 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qn9rx2cj6cv8vpyc82d9w7trupx8w8vc6c2h6dh        BTC                   2.04799920 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qaypghza67kj3klkzgaqrfcqtw2x739kesutlxr        BTC                   2.04799877 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qfm0a3hfkjhp6qpxrfhxvjmhsq9t8n8e8zwfetl        BTC                   2.04799877 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qjcuh52u4z2taj9ntajn6t08l6essyu4z0ksemc        BTC                   2.04799877 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qkz00p0fy2nwnlrf4sua7cmy674m0mvkec5y02z        BTC                   2.04799877 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qlxj8l83yyfp60gx5lxe59ndys45lhadqkm9apa        BTC                   2.04799877 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qpzz7s2vqfrxfsr00vcjjcypxgdvua8r90gpgze        BTC                   2.04799877 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qrtcrqdezscrxd7td8f3wkj2jxljfz3u0dz94wp        BTC                   2.04799877 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qsttg54c3nu677y4w4mw4gwwrxsga9gxa3d5p23        BTC                   2.04799877 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qt2554qx9u8pfzetv86clmz5pu03kx4s5a2k4jp        BTC                   2.04799877 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qzdy2aht27nkvv070l3lf64gwzske2tqryldw3p        BTC                   2.04799877 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q2s47v4sx284p3py390makedp7s3pe2qs3kxdfn        BTC                   2.04799852 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q32apyp7j44vls93pkjut4cefwalkt83t2dgr9s        BTC                   2.04799852 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q85wcg40h7urdlfvunsenmv7ta3nx6zqszkrrwn        BTC                   2.04799852 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q9dm6ec9lkrdlkq08nvl484vy8amtcc9kxpc8jz        BTC                   2.04799852 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qdyf7z5tatq36wrsywkq9ndqqkuqjdghp5aulkz        BTC                   2.04799852 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qjtnr6m4ppcxcjl23dwyylu3mwgzznehxeffmv9        BTC                   2.04799852 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qlcmj6k8quyts4c4j0f46ta7gzts96cfa2alvkl        BTC                   2.04799852 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qqec4ecx8x2t2rw6d2gxztc45fazcx3f8rp8rwr        BTC                   2.04799852 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qs3augnmnmg25lm3m7nqpkuurcf0y5dstu5qk8l        BTC                   2.04799852 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qyr3thhafqk4ljvlmtdt9t8jh8n64p5cyz9hc5f        BTC                   2.04799852 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qz4uj3eycrnpztjf9kys3h0c3ckl27n9gvn60d3        BTC                   2.04799852 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qzqz0grxgyy2q8wdl28z09nn8y8xt09md222qn6        BTC                   2.04799852 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q6qqd8k7h7l4hf7rfklfdyf57ujrruqnk630lxl        BTC                   2.04799059 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qhxhe750wufycwa0euw7j50j5j8lu2kx7p524jt        BTC                   2.04796734 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q9ke8w32640m5vfxnfylraztnzrf2asf9vp36eg        BTC                   2.04796733 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q2eyerv58vsk95ndxu4pttag3rew6m5x0kf6hsq        BTC                   2.04796700 2022-04-11 17:51:29   2022-04-11 17:51:29
                     bc1q4vfx5svjs608ze96xuwx3qkqp6c0fedphhylt3        BTC                   2.04796700 2022-04-11 16:18:12   2022-04-11 16:18:12
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qdv8luugm6zqjnel44qhaatl7x3rv0jtkcfxqe6        BTC                   2.04796700 2022-04-13 15:52:05   2022-04-13 15:52:05
                     bc1qe7g57x0j0gttmz6gp2exr2uf5jgqyl9y2ghg3m        BTC                   2.04796700 2022-04-11 17:59:46   2022-04-11 17:59:46
                     bc1qgsapysxdp3732y5l4sczzmxs99q7sygns3rma9        BTC                   2.04796700 2022-04-11 17:08:28   2022-04-11 17:08:28
                     bc1qjvzmmeh6v3fxyrghdu20m9ae3vpc7prwkkxx2j        BTC                   2.04796700 2022-04-11 16:23:11   2022-04-11 16:23:11
                     bc1qmh7r27zj3wu6jejtrf7g434uq0az4z3d3acqsv        BTC                   2.04796700 2022-04-13 13:47:13   2022-04-13 13:47:13
                     bc1qnurwersjtc8lakcy7zpcvakz0fcst7f56q94f7        BTC                   2.04796700 2022-04-13 15:28:21   2022-04-13 15:28:21
                     bc1qpevdvyw8ya9wm2csfrykm40qt60cgxw2gr8mlh        BTC                   2.04796700 2022-04-23 14:09:12   2022-04-23 14:09:12
                     bc1qqac37tl78wtlkd2qfn36xk8gegwa2vf5d90e5t        BTC                   2.04796700 2022-04-11 17:51:29   2022-04-11 17:51:29
                     bc1qr3x0wepg4tlkp8kl3hkkghlfj53fn0grdra3ws        BTC                   2.04796700 2022-04-11 17:26:32   2022-04-11 17:26:32
                     bc1qrwa9epulqu5sn858p7f2lvyuk8rw6uuzlm4w40        BTC                   2.04796700 2022-04-13 16:28:01   2022-04-13 16:28:01
                     bc1qlmu65efw65puc3xy0s7ffjcns9xufr76e8dmg9        BTC                   2.04796651 2022-04-27 02:43:48   2022-04-27 02:43:48
                     bc1qn9g4pf9ea0pnju5lppstrvm3jgpumu0chzz8d0        BTC                   2.04795936 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qqj0ae6lf9n58a6u32g9esl5ac50u4dh3x83mc8        BTC                   2.04795936 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qrkt30j0l3j5hlr06tf3mq9xlxx2jlx54rhy8dq        BTC                   2.04795936 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q8uy3wj32devqdh60dphej7h0aprvsm6gsnqmft        BTC                   2.04795936 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qcqspzgnmfvjzgk6f8r7jq64qxdueuxg43eku7s        BTC                   2.04795936 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qwk7suct2l0707njpyvdgha5mgcpfazvs8jthm7        BTC                   2.04795925 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qxmrz0tvggmchwexeahph7jp3my7ty5v5ck243k        BTC                   2.04795840 2022-04-04 23:09:54   2022-04-04 23:09:54
                     37zdH6vSAqqY46N3trLMJYNwEqsxLmLCeh                BTC                   2.04795056 2022-05-02 11:05:11   2022-05-02 11:05:11
                     bc1qet8sf0q93fxxgwjrmtjledjudlzgpmvcejvgq2        BTC                   2.04794690 2022-04-13 18:02:27   2022-04-13 18:02:27
                     bc1qgwj6aeu0w6la8k486zmnxj3kq7mckm5fj30c8c        BTC                   2.04794690 2022-04-11 16:39:26   2022-04-11 16:39:26
                     bc1q5vlq8d7q0lcfwj8s3dwgx4f4llqzgqd330fz2p        BTC                   2.04794509 2022-04-27 00:46:59   2022-04-27 00:46:59
                     bc1qs2yf68a5ltrw2g6wv0ey2gzhw30n3ntm64v5zl        BTC                   2.04794132 2022-04-11 16:23:11   2022-04-11 16:23:11
                     bc1qdvtmvsv8kyhnfg7728uqg7fdwh9u38255du5p3        BTC                   2.04793303 2022-04-12 14:01:18   2022-04-12 14:01:18
                     bc1q3y5kh6jj6dz2n47uylmg08ja0kd0vwng6cd0m0        BTC                   2.04791087 2022-04-13 18:51:06   2022-04-13 18:51:06
                     bc1q8wlm9rrfjxjdkzkh5fcvllnnm3576qnwa6gu0a        BTC                   2.04786650 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qar0e507ttmd54kppjvz9dlpyy872ky5hg55z3h        BTC                   2.04786650 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q23c7mv2teu9djw2mqtkmqyjpsamjpg3fyyvqh4        BTC                   2.04745418 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qh5vaxltzw32xmgf23avewvznwh73p9ulk2xan4        BTC                   2.04745418 2022-03-30 22:36:21   2022-03-30 22:36:21
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qznv37c8sj03eqsef5t8px9n9hx3rdygc884r9x        BTC                   2.04745418 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q5p6ze8cw0trtq9xsw8n9pkd3tpl8syrutv9z49        BTC                   2.04719179 2022-04-25 15:16:51   2022-04-25 15:16:51
                     bc1qr4elqjpzav482vemrh25wt6dtverm4gj957g95        BTC                   2.04632194 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qwkm4ymd2ys3vuc5rf8gfu2qmsdgm68r7zj8sny        BTC                   2.04632194 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qzhumy8hyvppdz76pxwnzcvtp0k40u5nz0kee96        BTC                   2.04632194 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qhh74302qec59hpy2ehv7munsatxkfxlcnj0us7        BTC                   2.04631865 2022-04-27 00:46:59   2022-04-27 00:46:59
                     bc1qtpuy4ej0xltj7acp9f3sg4tlaknfdffke93kw6        BTC                   2.04631865 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1quvncsxrt2kyagv5a3age6lzdtpltkfthaljg5l        BTC                   2.04631865 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qz6xhlltycx6l2ralalah5c58mn2k4msjefrf5t        BTC                   2.04631865 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qt9yf20cy290mq0ylddsgz9y6tnwpqqwkae440f        BTC                   2.04073185 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qvk0sf0jvsfrhee5l6typ0xvwcnj22cxxvp4xhp        BTC                   2.04073185 2022-04-13 13:24:52   2022-04-13 13:24:52
                     bc1qw2xcekl670zznu0rqnqeenz05py2r92ddp6t4k        BTC                   2.04073185 2022-04-26 13:15:29   2022-04-26 13:15:29
                     bc1qx0ufnmmuny6hj9qfk08v50y6xsw0pfylf9rpm3        BTC                   2.04073185 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qdkys6t0rs888cf7dta3wtppfug7rtt2xnh9dsw        BTC                   2.03434411 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qlyutzdg8mfsc87xqa4j86ztk8txtqyz6ck50qn        BTC                   2.03434410 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qpp3965wgq8k3tp4kp2u2a9rw7tzfmwmt7jd2kz        BTC                   2.03434410 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qcqueppwmkrfs2evwm48xwlrhf2w9sh94w2ghk7        BTC                   2.03164040 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qp88m2laq2klcpv38qg9t0aw4fw6xxl8qm4wg99        BTC                   2.00493230 2022-04-27 01:50:42   2022-04-27 01:50:42
                     bc1q3z44c0y3fn2yk7rkhfaanwc87gz4jj4fd877sk        BTC                   1.98168834 2022-04-01 22:10:03   2022-04-01 22:10:03
                     1ELkn2hu12425M4W6FQhB8WNmgxjnt5aKj                BTC                   1.92781228 2022-04-18 19:25:22   2022-04-18 19:25:22
                     3KoXTwZLEFdgzP8rUUk4dKRq8vCQh6YmbD                BTC                   1.92781228 2022-05-02 10:55:58   2022-05-02 10:55:58
                     bc1q7lrwvgxpar0nw6v5j6jdpxtrcmn0s6ej43j9sh        BTC                   1.92781228 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q9ytmhnstj083txm4xlyuygm7wqx6ddmeyrkgk3        BTC                   1.92781228 2022-04-27 00:46:59   2022-04-27 00:46:59
                     bc1qaqd0cwgqnqz6xvt78ju0nm7xshal7s0nnx2vy3        BTC                   1.92781228 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qhrh7uvfyuydxtk64ulqmcp7ax4wtja08ektzy4        BTC                   1.92781228 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qjwn8al6kzthy64yxxxzdfxqdlgfx56ujdm3lmg        BTC                   1.92781228 2022-04-27 02:52:35   2022-04-27 02:52:35
                     bc1qjycx9w9m8tp7vq2jllyv5907r5f329p43g8zg5        BTC                   1.92781228 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qxq4nf7zt3l4klm0p4hjkdg4glx2vv4hkgjclqn        BTC                   1.92781228 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qya6kwaf93g4lmje8f3ex5mlq3pkjkcjvz8v7rx        BTC                   1.92781228 2022-04-04 21:59:05   2022-04-04 21:59:05
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     3LpdFRNgGdVsRuxj4RGJCJLN99TJNyUgbK                BTC                   1.92094692 2022-01-31 19:06:48   2022-01-31 19:06:48
                     bc1ql88yt08t8z7mzfd7luvp9x903z2alvm93szzwn        BTC                   1.91972765 2022-03-22 21:51:16   2022-03-22 21:51:16
                     3AWoXxb8Aj6fzdR7FFJ7fzxdtBrH7wYuNY                BTC                   1.90917435 2022-04-05 16:39:16   2022-04-06 04:52:59
                     bc1qacky0hpgy2yv45mykwmyuuay95vtcfvfgntfc8        BTC                   1.88932389 2022-03-30 22:01:48   2022-03-30 22:01:48
                     bc1q49cvfxjmps0pvkeqvsfs5uam5klmkusakhjeuu        BTC                   1.88932388 2022-03-30 22:01:48   2022-03-30 22:01:48
                     bc1qrzsl5zd5vncxf6977tdele643nkdhm6ylqrqrw        BTC                   1.88932388 2022-03-30 22:01:48   2022-03-30 22:01:48
                     bc1qw2njt5ajj2g869zj8lnunnx6s5j9h5d9kkn0vx        BTC                   1.88932388 2022-03-30 22:01:48   2022-03-30 22:01:48
                     bc1qc6zjrsj2zzhpywlkw722gx6eg505mra7v3qnt8        BTC                   1.88403837 2022-04-25 15:54:31   2022-04-25 15:54:31
                     bc1q3hlxpj4fzqkz7jzk5cuhjwu0h94qxr2n9k6qc5        BTC                   1.88178423 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q4yx0pxjw4c6h5vrvhfm96x9jpclxlh7mzwj5na        BTC                   1.88178423 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q5vr0ctjrjwwptvtcztzr3uexmtqtfuztjfyz5c        BTC                   1.87699710 2022-03-30 22:06:15   2022-03-30 22:06:15
                     bc1qcd54s84nkhyu653qe45ydp2cqdnumf90xpxrfd        BTC                   1.87699710 2022-03-30 22:06:15   2022-03-30 22:06:15
                     bc1ql7fe55xvxsfhs7c4hc6wz5lq6s2vjmnkwwnkxj        BTC                   1.87699710 2022-03-30 22:06:15   2022-03-30 22:06:15
                     bc1qn9uqp6lar6fj99nje60edjdsvg4rltwt7e44pf        BTC                   1.87699710 2022-03-30 22:06:15   2022-03-30 22:06:15
                     bc1qhs9yh3d2r58wv4yz64l4j2esh5hg2x4c9u690x        BTC                   1.86843047 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qudvjps9s0a70fglegrr2jr60q9y22xwkgtrakz        BTC                   1.86843047 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qayvm0vqulp0e5x4vkcrc7kscgmg02qmeyk2as9        BTC                   1.86768288 2022-03-31 22:32:06   2022-03-31 22:32:06
                     bc1qmkfp25hzuly0d6snxg75vxf2g7emgysaxssnnd        BTC                   1.86768288 2022-03-31 22:32:06   2022-03-31 22:32:06
                     bc1qt39nu44pr9stqevjru3q8y72styp4y0w9s4g2n        BTC                   1.86768288 2022-03-31 22:32:06   2022-03-31 22:32:06
                     bc1qg4njsvdu9rgtq87jpmdydfupgnzl99kxfpk0rw        BTC                   1.86768288 2022-03-31 22:32:06   2022-03-31 22:32:06
                     bc1qlscc9ax8mk26az3j4yd4ddlxmqskx70gtpxt6h        BTC                   1.86768288 2022-03-31 22:32:06   2022-03-31 22:32:06
                     bc1q5y6wtt5h8clhea77wutqxkpr9lhz9s9pjesctu        BTC                   1.83062035 2022-04-06 12:59:39   2022-04-06 12:59:39
                     1KqFR9VkmHhEQ4J9jDm1DQAMguHw8KGEVN                BTC                   1.78278277 2022-04-21 16:08:10   2022-04-21 16:08:10
                     1KT6iXWSQx1XhCGq7XRMLyUuSRAApztWQ1                BTC                   1.78277721 2022-04-21 16:08:10   2022-04-21 16:08:10
                     1KqLA4v8ashBbjTo8W5AYLLCLZEUFcVzMY                BTC                   1.78277074 2022-04-21 16:08:10   2022-04-21 16:08:10
                     1L1qpBCkoy6Vbru4eY2bJeod3bLLZ9omEN                BTC                   1.78256813 2022-04-21 17:04:45   2022-04-21 17:04:45
                     1KzrpaBHMyAGGT95eu5BYXbipmWFAXUmnS                BTC                   1.78256258 2022-04-21 16:58:26   2022-04-21 16:58:26
                     1Ky29TQCYQ1hSoVaq5UH3M7m8QAbxGTTZt                BTC                   1.78255887 2022-04-21 16:58:26   2022-04-21 16:58:26
                     1KzjWAQYfGWJmv1gpEsZng19uN6wCZeFba                BTC                   1.78255610 2022-04-21 16:58:26   2022-04-21 16:58:26
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     1KsxzjWgFikr7gsdp1N7QeBCMiwx97eXQq                BTC                   1.78255044 2022-04-21 16:38:21   2022-04-21 16:38:21
                     1KTkjakuAXZvVjdsVLSBy4HM33ZjQUzw4M                BTC                   1.78191010 2022-04-21 16:08:10   2022-04-21 16:08:10
                     bc1qlwx0ca3pn4w6ewf4pr9ay6q4vtchyxj2rum5d3        BTC                   1.77212686 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qvgp4tq8sly28wldzyysj4tcf6ml4rgtd66yjf6        BTC                   1.77212686 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qz9cvnt9g6uj3z40hxmz67haf0e2e6duww7aakp        BTC                   1.77212686 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q7lm9264kv5sf2du7rynms9mn0ucxrdyvq54w9j        BTC                   1.77212686 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qte5u8nrpxfedmnr7wwcdnxjf6chdjf0fzafyda        BTC                   1.75393414 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qfu0lktpl34rx5zpp45m6vpmhmyml6umfy9temu        BTC                   1.75393413 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qsryj5je7kzwqcgpaz5hh0msdnfsc2d2qmurkte        BTC                   1.75393179 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qsyxj4saprhf5s9a0yljrn99d7f9w6shahhftfq        BTC                   1.75393179 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q7g2v5gqsfrn5m3qzdhhpmx09y93zkxugnmzjr4        BTC                   1.72789325 2022-04-27 02:24:59   2022-04-27 02:24:59
                     bc1qayhy4qem3pxx25ceefh3ndhjrqjtmujjlq9h3f        BTC                   1.70700458 2022-04-23 14:09:12   2022-04-23 14:09:12
                     bc1q84p540mk0fjzx2t0yc70q67g3q5yvsxpez2jzs        BTC                   1.66660525 2021-03-30 16:47:06   2021-03-30 16:47:06
                     168EGLQmTkGnhxiJig2ehAz4h3pmzVemhy                BTC                   1.62573545 2022-04-17 03:17:51   2022-04-17 03:17:51
                     bc1qxp9w2y5up27k3p8gf8vytfu8tlcu23fha9dtrs        BTC                   1.61863679 2022-04-27 02:13:00   2022-04-27 02:13:00
                     1HVi68BxxacQGahwjwzW63VHXoEmijwq3Y                BTC                   1.61256039 2022-05-02 08:35:40   2022-05-02 08:35:40
                     1J8LFJx5Q9Q4TJDaYYoSVpwchkP7Z82e7A                BTC                   1.61151861 2022-05-02 08:33:52   2022-05-02 08:33:52
                     bc1q5nyl3shpkcspl6twean2akmgh8u60kxxfj4w63        BTC                   1.56914720 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qgfek6ryhptuhe4dktzp877axnq5nw96yw574jt        BTC                   1.56795524 2022-04-13 14:44:57   2022-04-13 14:44:57
                     bc1qafyhmxyp6cefaup3axtu7jreuhwe7rrm5euk6c        BTC                   1.53594690 2022-04-13 18:02:27   2022-04-13 18:02:27
                     bc1qdfpnafy4ymux7p9rkuh7rs3cxve6gn9jleveql        BTC                   1.50546271 2022-05-01 20:50:40   2022-05-01 20:50:40
                     bc1qummwwt7dvnm6pq2ut6mtrrpyf9adj2tkyh6crk        BTC                   1.47170975 2022-05-01 20:01:47   2022-05-01 20:01:47
                     bc1qrr6fylnmsmrxd9rqm3kgnt0gg4f47ackrnxfla        BTC                   1.45761918 2022-04-05 23:34:57   2022-04-05 23:34:57
                     bc1qc07r0fp30dkqttw90dt0tsdzqjavs4ehcqfq7v        BTC                   1.44093150 2022-05-01 08:25:07   2022-05-01 08:25:07
                     bc1quwdvgp0umyqxlzjwn59lrhusaq8cuf2las0xz0        BTC                   1.43984731 2022-04-27 02:43:48   2022-04-27 02:43:48
                     bc1qffm9u7a8czk8pgyjznkwvavkutwgfrnlvdkhay        BTC                   1.39992011 2021-02-17 03:06:09   2021-02-17 03:06:09
                     bc1qrrm8wgkt5sdkcr9qp2eth4ltr9q3xhn06v6l70        BTC                   1.39992011 2021-02-17 03:06:09   2021-02-17 03:06:09
                     bc1qzfhwgletqd4u4vgg0lca5nlgatj8evz2uuq5cv        BTC                   1.38222881 2021-03-30 05:09:20   2021-03-30 05:09:20
                     1HyXUspmEgKCjtH9pvpbwqUhwgeYdBrutG                BTC                   1.37828707 2022-04-21 16:24:58   2022-04-21 16:24:58
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     148eivGmxEyXXFu77UAvmEwwr6n1smRQ7s                BTC                   1.34391935 2022-04-07 08:31:59   2022-04-07 08:31:59
                     18HSMjemRM3AaGYCWzCXrJVSq4uzuPBJjV                BTC                   1.33181123 2022-04-26 13:32:36   2022-04-26 13:32:36
                     bc1qyukw9uw097gvwk4rnzlvq7t8rdjrde2lv4dm8w        BTC                   1.29794991 2022-05-02 05:46:23   2022-05-02 15:11:27
                     1JM6cSRWZJAEX5xeCd6NGQMJ7je9uhoRyL                BTC                   1.27828361 2022-04-10 09:04:33   2022-04-10 09:04:33
                     17Q63JDKjEeaEcLuFNrvoozbP6Qx8G7xfs                BTC                   1.26661505 2021-02-28 21:14:21   2021-02-28 21:14:21
                     1KNyd3rmeaUMptExLR2fy4kd8eppCdfpW9                BTC                   1.26661505 2021-02-28 17:10:03   2021-02-28 17:10:03
                     bc1qpfkqrluax5eusmzz2lrm9klra9svm6uxdr04d6        BTC                   1.23075879 2022-04-22 21:41:47   2022-04-22 21:41:47
                     bc1qsnz7d7zkeg90yxe9hsufhv8qcp8353jlpce47h        BTC                   1.22541131 2021-03-29 12:34:57   2021-03-29 12:34:57
                     bc1qxnrhje9ekvu3qyx534t38q3j0g0w85c3ruwznf        BTC                   1.19998029 2021-03-29 12:29:40   2021-03-29 12:29:40
                     bc1q80nfxsqn0kjklmdhx25wg8mxwneledvvfepv79        BTC                   1.17733697 2022-04-06 17:14:44   2022-04-06 17:14:44
                     bc1qwp8zshpxrwychrqctl8uhr9l8gjsupxeyxkk2y        BTC                   1.15551981 2022-03-13 16:05:01   2022-05-01 16:00:26
                     bc1q00xa8h7d4pqvsnl8mxrz0hvc99wpexqrhpr4vn        BTC                   1.13640296 2022-04-11 15:33:30   2022-04-11 15:33:30
                     bc1q0h6mjwyelyut8ag6453dwc9l9dcnl75wht5gdq        BTC                   1.11914914 2022-04-22 06:43:22   2022-04-25 11:54:27
                     bc1qvvxu96tf7wtsmjd4usv7p4nm50yzr8ffa88qcq        BTC                   1.09897684 2022-01-27 10:59:39   2022-01-27 10:59:39
                     bc1qagpu0l4mp96a20p9k4gyjeld9e8g2yj5hudrsv        BTC                   1.08548248 2022-04-04 19:44:17   2022-04-04 19:44:17
                     3KM7iF1KkZJ5ZxQoaGemtFpigQ78R63xsW                BTC                   1.04797701 2022-04-12 22:18:41   2022-04-12 22:18:41
                     38zbyXEx83A1ppboXZLibntagP2tYWg49s                BTC                   1.03998220 2022-04-13 10:11:52   2022-04-13 10:31:32
                     bc1q05z4wz2qhcucu43qzrng4atx9mrr0nxadv0qxj        BTC                   1.02400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q0p06v0k0s2mtee08wzhzahfc27lf0dq895m3ae        BTC                   1.02400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q2gth9p2p6j7k7qvln83tkn255l9k94zupzlvnr        BTC                   1.02400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q2pkxl6emzp6zay8fr4js0cdc8vgnhtjs72we8k        BTC                   1.02400000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q2t89xv6x4ysyfgnz2h9gshdcqakjskhf5azg8k        BTC                   1.02400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q46px24tur0v9mafslfeftcaw7clr5pys0qrny4        BTC                   1.02400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q4lcfcw59cmnqat82v87560deqrr2p52zqzeyht        BTC                   1.02400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q5j4jma00wrx89hm4s3dwqur2rk8wyd890qc359        BTC                   1.02400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q646qxsgleeulv7umggu24suhgk7rechc5dkhgg        BTC                   1.02400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q6yct6k4qfwy4r3dmh0w6qwkw34yay0g0hyrv6p        BTC                   1.02400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q9muz2dz78u67x68jtwug3rhphy2rhwyptnc2cv        BTC                   1.02400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qaawgnud9l56850rtanvmj92tr6cglu88j2h7nz        BTC                   1.02400000 2022-04-04 22:51:20   2022-04-04 22:51:20
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qanf5rnj9mdaj80vql9rdrnts24urjmzlcc8hfc        BTC                   1.02400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qc8yemeht9vu5hfuq8m4uy63j252srxwzndxhzy        BTC                   1.02400000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qcnkh2s5vf96y8y4xkhfavm4rr3yhymvzlym49u        BTC                   1.02400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qdcyfpvc9xm6sm78eucfhgh7a8ffwyllt46apl4        BTC                   1.02400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qdze4d2md29gsexdm8q0t4ld4j3cgsdgf3rsj90        BTC                   1.02400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qe4703kwlmahntx4kn5d0dmnwe9uarceknx4fsr        BTC                   1.02400000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qf2mtuv7hwsz8dpe27wy3dkl4mnz40ha6cwzdmg        BTC                   1.02400000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qfe45emxx399wy26knr8l2suaydm8gldthuns4a        BTC                   1.02400000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qgcsmsrrjm2gfgcyzpaaykk7avcqyvlw27svdpw        BTC                   1.02400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qgna7egdyjyrd9n44tyeudcl9dssustdnexamk7        BTC                   1.02400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qhw73rupvn5k6hl3ye86y43rwtzc750q5mxyexg        BTC                   1.02400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qlyx2h6up36x09r9tcez2t98rtle8p8u8vndp39        BTC                   1.02400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qnaffk0ycfhudmcxcs2x0g7wn3kcd95ky3x547z        BTC                   1.02400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qnw3nd5cham9v0rqs8zhzgck2ggpymslcus8dar        BTC                   1.02400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qnxaucfgvw0ps52nz3jwx58lx4guld9ggm7jhwx        BTC                   1.02400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qp7wr9qrtc7u6akcfs0tyrqm0pfc6cevd95v4ur        BTC                   1.02400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qpa32w3wpnld7qrnjgkv6a9p6q2xrwssvk6hdxv        BTC                   1.02400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qpglzsgxrktcurdztatnnaj3sfxmqen7w64lcge        BTC                   1.02400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qpwrs7cy8g7c6rjcqndakwh80t7keewsl9nnazl        BTC                   1.02400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qqx57l6vnp2dd2cguygt86ttv6dkpqhy43n7885        BTC                   1.02400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qrgletzt593yzewhmyzkfx4n0jrz94arrxff4sf        BTC                   1.02400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qrn00vkwhsrwt3hmp7sp9vdcx49fnkwep2msyqw        BTC                   1.02400000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qrs8h4ssrrqprj8gf2sstzqhx96wetxhfd4clge        BTC                   1.02400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qrsafnsh7x7t95s9er3jx5z4xu6sg7kcnrlxcxp        BTC                   1.02400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qu0p5gwchfekd0cqh8u3792a5e4ke5rxjhvvd3t        BTC                   1.02400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qu3ev5v5y496a9sv8lqajm5qhxcf64mms0vdakm        BTC                   1.02400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qul9c448r6kxj0qar8sumwgmkh83583zfcxwjxl        BTC                   1.02400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qvj3qu5kvthqw22wstur258jyg58xz8qdenfr0w        BTC                   1.02400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qvj7mcpuxv693pl36ykzgacxwzpjfm5fd9zgnsu        BTC                   1.02400000 2022-04-06 23:31:00   2022-04-06 23:31:00
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qvzd5z5r397kx3ccu9e28s545kds922u8mw9p9n        BTC                   1.02400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qx5y5x5v4e988c3quxxvx8nmtgd8nqmhk83aj52        BTC                   1.02400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qyda73aga9gdt02ylpgxllc4fgl0hyly787n6jv        BTC                   1.02400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qyhsky832s0a7hhjvjkxphe4mgtk83c4ad9wamx        BTC                   1.02400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qzgy4gxmyp99kaxp63wta0ut4q690rtf3845c93        BTC                   1.02400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q76vpztnmp5x2u975vm7xxrs2vmc603cqqlmq6v        BTC                   1.02399971 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qv48thrp0w2vrs4u5df0gqkjfe8zd2tgtaj2s68        BTC                   1.02399971 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qz0ehy0eekjgshh8q2j7vl23q5ptsyzj7vektjp        BTC                   1.02399855 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qxxl9p5wnva93jdqdnnryuhswhhs7zx685gngyr        BTC                   1.02398102 2022-04-27 04:02:35   2022-04-27 04:02:35
                     bc1q3j28jg66zqhwqe5e3zs00hw8ecu2lqe0nen24z        BTC                   1.02396700 2022-04-11 16:18:12   2022-04-11 16:18:12
                     bc1q452c9eewhhdxdxytzeknd45me7pvlt8vrfst5u        BTC                   1.02396700 2022-04-12 14:01:18   2022-04-12 14:01:18
                     bc1q6e7ycgy7l8rn0x9z9cyh8alppvcxm8d2qvdmzq        BTC                   1.02396700 2022-04-13 17:34:41   2022-04-13 17:34:41
                     bc1q834x7ykeyedrg3grscnp3z6a5dqgh756yr2xfx        BTC                   1.02396700 2022-04-12 14:26:08   2022-04-12 14:26:08
                     bc1q9jqasex05fk33dleltfd3j5d97ct0c7e6tc0r2        BTC                   1.02396700 2022-04-22 12:53:23   2022-04-22 12:53:23
                     bc1qf2sntvjxeqcm57m9r2veazk3j6yf6tl2k5m40a        BTC                   1.02396700 2022-04-23 13:55:09   2022-04-23 13:55:09
                     bc1qgpwvcqfxlsrwjvwg09nhe50u42jw5xkptznrcy        BTC                   1.02396700 2022-04-12 15:13:25   2022-04-12 15:13:25
                     bc1ql7rmjd5lzgkkmuxa3ek4fcrj7wmud4u7nj0p48        BTC                   1.02396700 2022-04-12 14:26:08   2022-04-12 14:26:08
                     bc1qnl5xdxga4ackekn873mwemcvzzkgv7fw50ptp2        BTC                   1.02396700 2022-04-12 12:45:22   2022-04-12 12:45:22
                     bc1qp4794a0h4hs7my222qfm3kf6c4we3yec8qrhrm        BTC                   1.02396700 2022-04-12 15:13:25   2022-04-12 15:13:25
                     bc1qs2748uyy97h0rkx0vc4fpcdq75ljaxgsmmaw6t        BTC                   1.02396700 2022-04-13 16:28:01   2022-04-13 16:28:01
                     bc1qtu6y2gpk383sxaqnn65lhsxm793vh2sqlzk4ru        BTC                   1.02396700 2022-04-12 14:01:18   2022-04-12 14:01:18
                     bc1qzn748n90flaah4rndjc09ej00k6e4jpxfe4xuf        BTC                   1.02396700 2022-04-13 15:52:05   2022-04-13 15:52:05
                     bc1q6t2hkugr9ewgcz03vuhdjdq0ln34jzyg5w6pcy        BTC                   1.02396490 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q4rcjlhdsw9538e67qztpmn9kngkc68h6c7ymss        BTC                   1.02396330 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qkkwyy89pwcl76ls6y8n4xp48m84lh93jr5k3eu        BTC                   1.02396330 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q7t5p9dzhqls6kwf3na3ez96xhqpx3teddzn6xe        BTC                   1.02395714 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q3gw4rkx0u3rdsd247nawcn3vnlslthwkwnykp3        BTC                   1.02394690 2022-04-13 18:51:06   2022-04-13 18:51:06
                     bc1qy75f2kukumgje47mf6ujustqw4gxf4q0g6rvj3        BTC                   1.02394690 2022-04-11 17:51:29   2022-04-11 17:51:29
                     1HMPThJrv7fuR8kekYvvcwdxkNLL3LhDP2                BTC                   1.02394350 2022-04-09 14:56:01   2022-04-09 14:56:01
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     1L17PXNTVVHH8yJzt31SvNL82s72d2Nf45                BTC                   1.02394350 2022-04-17 16:48:05   2022-04-17 16:48:05
                     bc1qclz5szpkjrrxwjaet5wh5y8nt2p23znrrvlqct        BTC                   1.02319797 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qv6tzr00el9n6nplwzmnak6spe890vdtvulgqx3        BTC                   1.02319797 2022-04-07 00:14:17   2022-04-07 00:14:17
                     1EToTZ6FuTtJxN8imog7uH2vox46DAEuNb                BTC                   1.02294794 2022-04-08 20:47:19   2022-04-08 20:47:19
                     1MovN1eqFcnBqyY1zeMYx51XC7BfDdBjok                BTC                   1.02287140 2022-04-05 23:39:30   2022-04-25 10:23:53
                     bc1q0gknrtrkcwzk550h02lf7qxy9nl3gx5shk7t83        BTC                   1.02284924 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q0uz7r6e8e09vrdlucjqxu4r48f9wsckmxkkze0        BTC                   1.02284662 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q9thvj2gjk5vwhnz94jldcj77966tgpyh0kyc86        BTC                   1.02284662 2022-04-13 15:52:05   2022-04-13 15:52:05
                     bc1qjraz0q03twwyv9fymc0q95qpkmrlujv4mkf95n        BTC                   1.02284662 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qkulsw8qysjs5r3dmqmg5q5e4fghe8utaj4x82m        BTC                   1.02284662 2022-04-13 14:29:34   2022-04-13 14:29:34
                     bc1q348fzp9g362ukyrkf6su2ptc69takpaf3c7ask        BTC                   1.02243828 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q8xfl9c5g8jy44xdh9fvl8lmenlkea8qqfmkw9p        BTC                   1.02143223 2022-04-11 16:18:12   2022-04-11 16:18:12
                     bc1q8ycw2d4azqntyyce9lf9fwf5tdgnzjwz8pdxv3        BTC                   1.02112029 2022-04-18 08:58:14   2022-04-18 08:58:14
                     bc1qazt3cwppm2sajyggcptxy3mkcfyhmcllmhkk4r        BTC                   1.01873614 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qfhqgyju7cs9mev3dyd8d8k57fvut9sdtlr4rr7        BTC                   1.01873614 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qhzdk7zhfpg8kgvsv8lx8sgjjcd67y9rwgw9yyp        BTC                   1.01873614 2022-04-16 21:13:36   2022-04-16 21:13:36
                     bc1qmxvgwykxx2gmj9pugsaprz7cgt2n3fv2t9l3jx        BTC                   1.01873614 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qnzk5jetl8mxsuk75cyrqa25ut940yk4djhk5ms        BTC                   1.01873614 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qsme99vd8dk96e6gy6pmsyzf08dg3cq4vypway9        BTC                   1.01873614 2022-04-06 23:24:03   2022-04-06 23:24:03
                     12QDDyfy1Ar3iZb5urfPgZbDn8zF17FHK1                BTC                   1.01864080 2022-04-18 14:11:36   2022-04-24 01:39:29
                     bc1q47gg0dwrh4tl5764ukmxl2klklhu0z8t8hrxns        BTC                   1.01663760 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qan0wquhc02hmy220y7yg8r5655c32pjpk6xwcx        BTC                   1.01663760 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qumcypzwkjp95lz4l7w8ym25ypgqzt9vygkjk9j        BTC                   1.01663760 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qrpvsewc5jeaxjdevar28epe6wq8pjrczetsa9m        BTC                   1.01495130 2022-04-05 22:12:55   2022-04-05 22:12:55
                     12Vbn8wVPM8s9BCoXcxcgtqT5NFqTGtjYL                BTC                   1.01111254 2022-04-14 10:31:49   2022-04-14 10:31:49
                     bc1q3wg3c4ejupg4hs7u4stdlcwjyx8q34vyskfsvr        BTC                   1.00942553 2022-05-01 00:20:37   2022-05-01 00:20:37
                     31jv1qZijKnwrBwAkjo7Dfo7dcZ38SSvNW                BTC                   1.00000000 2022-04-12 22:18:41   2022-04-12 22:18:41
                     bc1qu99z7dlmqjl983we7zauw78q3h5s3d6w0rq3y8        BTC                   0.98542079 2022-05-01 23:17:22   2022-05-01 23:17:22
                     bc1ql8kteevsnzuv5rjrjmnnegfz5zuknff73kx74a        BTC                   0.98484766 2022-04-04 03:47:02   2022-04-04 03:47:02
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qdq52wsm5dee4q8fuw3ctnh7jr8gzyjqf6x0jj2        BTC                   0.97829177 2022-05-02 13:22:23   2022-05-02 13:22:23
                     35W9UTsnbkU56ceWQao46HKbRojfjQYg1g                BTC                   0.96422683 2022-04-05 08:41:19   2022-04-05 08:48:38
                     bc1qs2wfh463wa9564sp8tlzn0ncfmmass5j56h3ve        BTC                   0.95702426 2022-04-30 12:52:51   2022-04-30 12:52:51
                     bc1qwmnaaqrfk5w4qrfwsh0uferclp8gvky7n4xhnt        BTC                   0.95342306 2022-05-02 14:24:17   2022-05-02 14:24:17
                     bc1qpjt6ft3jz6wz52r4tnenjn9fygtlu2cwgkapy9        BTC                   0.94770311 2022-04-30 11:28:53   2022-04-30 11:28:53
                     31yj1DBjxkyk4jQ1HGFDLGKidaEzZKP7Vm                BTC                   0.94583983 2022-03-29 19:20:55   2022-03-29 19:20:55
                     bc1qdwe75ajcn5n235pyqyet4ga9w27zq7ragkl0lm        BTC                   0.94225348 2022-05-02 15:11:27   2022-05-02 15:11:27
                     bc1qddulyuhqz2kat22t257km7z4agkus3md9wgj6g        BTC                   0.91565419 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qhk4ymjnle3khzr9z8kqh3am93gd5sjt7hgy2e4        BTC                   0.91565419 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qs9xpzefaq94ngwx0vgl4qwewzgfa6nryy72405        BTC                   0.91565419 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q3af8agn3gqvcjhl5qtfmypcqlyu86qzh6yzwtx        BTC                   0.91195655 2022-04-27 01:50:42   2022-04-27 01:50:42
                     bc1q4tfxg7l3pszu3d4fj33lyyml5dys5eh3m4r0ug        BTC                   0.90047022 2022-05-02 11:17:19   2022-05-02 11:17:19
                     bc1q9agdkha0nzn0eaulq098c09a0qk0e34xnekn2a        BTC                   0.89254647 2022-05-02 12:40:50   2022-05-02 12:40:50
                     bc1q89auwcjq74nsac2sfed3whx67863kdsvxua0hw        BTC                   0.86837611 2021-04-29 02:02:09   2022-02-21 06:45:45
                     bc1qsu3axhfr3440v0w4k6hy2xpdf7h3s8a6626x8k        BTC                   0.86791642 2022-04-30 17:28:37   2022-04-30 17:28:37
                     14qrRJYj1umtUktTJ9aSzvXScdSsrNegoP                BTC                   0.84861044 2021-02-26 13:00:10   2021-02-26 13:00:10
                     bc1qpv3m9dnvwpfvt7d5jwxx887qs0u0d457ah3g8p        BTC                   0.84373509 2022-04-11 08:27:48   2022-04-11 08:27:48
                     bc1qkjgkkahh0twdl9p490vam2jxs4ka4p2ka9dzcp        BTC                   0.84243504 2022-04-13 16:49:04   2022-04-13 16:49:04
                     3MRcED2Fx8R9AHuw5Y8EJDE5HqTEhYnPvx                BTC                   0.82522219 2022-04-28 14:30:21   2022-04-30 19:04:42
                     bc1q43mgj9hxptm356nycvuwje8l9urfawrxkpaft6        BTC                   0.79880041 2022-04-04 20:19:50   2022-04-04 20:19:50
                     bc1qljfnutuss5ywvq4pwuwaq6q72wynyt4uctwua4        BTC                   0.79790546 2022-05-01 18:10:16   2022-05-01 18:10:16
                     bc1qr05qz0u6q6kahx3mn8vdqmkuwv4qk0ed79hn2k        BTC                   0.78263350 2022-05-01 16:52:45   2022-05-01 16:52:45
                     1NPda1Zuuz37Ac6Q76WKmuzpvxP8dX2oDX                BTC                   0.76653362 2022-04-06 08:38:06   2022-04-06 08:38:06
                     bc1q7s4u5pqzvw8stvl7x8vmc6rtzlt7fp7ms4emsv        BTC                   0.75423771 2022-04-19 19:56:02   2022-04-23 16:46:40
                     bc1q4xjavz3hq23t8v90j9ht4n8myad5ftftfl8n4j        BTC                   0.75268141 2022-05-02 01:31:06   2022-05-02 01:31:06
                     142BgFGAPu8qzRPDQfNnbvBLRgr3bzV1EU                BTC                   0.74039605 2022-04-03 19:36:30   2022-04-03 19:36:30
                     bc1q6dg5ly9q7af62j2f9rgeh69muvp7z5k3q9ty7j        BTC                   0.73799716 2022-04-30 19:19:18   2022-04-30 19:19:18
                     bc1qdya7sr90a9hlp465y5h9qxv80s3uh6nf6r65wu        BTC                   0.73597331 2022-04-22 22:53:26   2022-04-22 22:53:26
                     3AXn2Y3abhRB9Awc82FBC4cA6o8vPAwS9T                BTC                   0.73597096 2022-04-11 09:32:11   2022-04-12 07:25:30
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                                                                                      Funds under claim
                                                                                      (average confirmed
Owner   Beneficiar                                                  Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                    with the five
Name     y Name                                                          Unit                                      Time                 Time
                                                                                   tracing methodologies;
                                                                                    in cryptocurrency unit)

                     bc1qe2msawpuur3634uwe9w9m350x4yf9edvph0cv6          BTC                   0.73390641 2022-04-29 15:47:07   2022-04-29 15:47:07
                     1Gy3f9vDFrFZY9sgqQ6gmxAko8ZRGyPaPJ                  BTC                   0.70461396 2021-02-22 04:13:53   2021-02-22 04:13:53
                     bc1qe9s9xsmr88mh23tplagwwqlf35h56le42nhaw6          BTC                   0.70304257 2022-05-02 15:22:10   2022-05-02 15:22:10
                     1PujNsHqHcMrMA4bKPPqYjDLdHd74hbLbE                  BTC                   0.68554129 2022-04-20 10:22:38   2022-04-20 10:22:38
                     bc1q7ujackj07r04zaqkjs0hnwcqjwmn4q47nax4xn          BTC                   0.67291465 2022-04-04 11:36:45   2022-04-04 11:36:45
                     bc1qf289mm3u4tq5jml8yu49q555ulkqamu22ekydx          BTC                   0.66998651 2022-04-04 03:47:02   2022-04-04 03:47:02
                     14tkMGARrkM5QNJexJFqP1gGJTYoJ5z5bm                  BTC                   0.66662837 2021-02-24 22:54:43   2021-02-24 22:54:43
                     bc1q942nekgt2r080x04ytc900t02cyyqug8qmldhj          BTC                   0.66662837 2021-03-09 17:16:57   2021-03-09 17:16:57
                     bc1qmjercldn6ravk3nl236ek77gjqtupz4la7y800          BTC                   0.66336271 2022-05-02 04:29:06   2022-05-02 15:11:27
                     bc1qxqg254m5u3w9rfm7evzrd98r4xke42tp67ydvh          BTC                   0.65878309 2022-04-04 18:11:30   2022-04-04 18:11:30
                     bc1qkkyd3xw8qvn4n02usu62s6erwrpl69tjx0zfrm          BTC                   0.65603989 2022-04-04 05:53:00   2022-04-04 05:53:00
                     18oMZ8iH4mZkzeVCzdE74Ha3nEeedYsXFR                  BTC                   0.64635243 2022-05-02 08:33:52   2022-05-02 08:57:32
                     bc1q0rlcf23njm40l35q979uwdlvykz2lahh5r5dsk          BTC                   0.62806977 2022-03-30 22:01:48   2022-03-30 22:01:48
                     bc1qyv4tuhwymmrp7kwtlu4wj9gdp3k7u0j9s9hzvx          BTC                   0.62425746 2022-04-11 16:39:26   2022-04-11 16:39:26
                     bc1qnuarlc3hcgcghwqj4eqatr702sk5z4v28k0hm6          BTC                   0.62399689 2022-05-01 04:10:18   2022-05-01 04:10:18
                     367w1iub4ZLUe1B2NXQL2eKzRViqDxbMD2                  BTC                   0.62397901 2022-04-12 20:55:01   2022-04-12 20:55:01
                     3GcUKLpk5KmS2EA4H7Dgo5SiWRghkPMwrJ                  BTC                   0.62396406 2022-04-25 08:24:22   2022-04-25 08:24:22
                     bc1q6dp3lyfjg0nlzn275g7fsa853n9lkyn9ks8tnk          BTC                   0.62285090 2022-03-30 22:06:15   2022-03-30 22:06:15
                     bc1qcuxktn0dg0xdyjv3sm3d5eg6nz2py976hm0dmx          BTC                   0.62285090 2022-03-30 22:06:15   2022-03-30 22:06:15
                     bc1qxyj0htz9pqudqwwluyrs8cxypar9equ3xcz0vd          BTC                   0.62285090 2022-03-30 22:06:15   2022-03-30 22:06:15
                     bc1q76fuslmuze3c40rdv0pxnzldk2ht845akmxgxz          BTC                   0.62157567 2022-03-31 22:32:06   2022-03-31 22:32:06
                     bc1qrtkxjj6dhh7e9ehpfzqesvf0jzhunf969znsa0          BTC                   0.62157567 2022-03-31 22:32:06   2022-03-31 22:32:06
                     bc1q8n8fle59mjznc8rqt72etltha4yzlxry489tls          BTC                   0.62123573 2022-03-30 22:24:29   2022-03-30 22:24:29
                     bc1q93pddvarlqwjun6d72q38g5x3c0a0ar0m6f2auvy72gh    BTC                   0.61920381 2022-04-10 20:12:51   2022-05-02 05:50:29
                     bc1qgk9943azw5d72wm7acatffz3fzsk5tcz0gzlz9          BTC                   0.61913697 2022-04-17 22:53:28   2022-04-17 22:53:28
                     bc1q8fpfveseclxy4ya6gqdkd4se3afj4pw7shphxp          BTC                   0.61793391 2022-04-04 07:58:25   2022-04-04 07:58:25
                     1PvuN5qFJr37gFE4p1ehAp4Viqmyjxzovw                  BTC                   0.61550859 2022-04-07 13:13:59   2022-05-01 18:41:37
                     1JYiHUUxcLSo3dzNHu1gc3EhCuoFK5iAtX                  BTC                   0.59999651 2021-04-25 09:37:01   2021-04-25 09:37:01
                     1Ld3oUUcN7EGhJ1ckoBnZ2LoN2QmCbBHX5                  BTC                   0.59999651 2021-03-24 15:40:11   2021-03-24 15:40:11
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qz9e7p85d7n4rgkarudx80xh77crzz4ad0pnnvg        BTC                   0.59999651 2021-04-08 00:50:18   2021-04-08 00:50:18
                     bc1qq4x4xzawlccadj4ey7n8v3fvdsyn6ckc3zj0mj        BTC                   0.59845908 2022-05-01 02:17:23   2022-05-01 02:17:23
                     bc1qw3s6zumzk6wkey9eche5e399q5rquq0p7qtrkv        BTC                   0.58204283 2022-04-04 15:56:48   2022-04-04 15:56:48
                     3E6LcDYmsTgqSDPK1WL9dCR8anypGSKCdD                BTC                   0.58121912 2021-07-20 12:30:38   2021-07-20 12:30:38
                     bc1qja9v2p9nu7srp43ezfhs773jhg2nnapj7az799        BTC                   0.56400000 2022-04-04 22:57:34   2022-04-08 11:16:41
                     3QrruKt3zcCRb2YrZ4T3daCLBY9tBD3wAF                BTC                   0.56044304 2022-03-26 16:46:03   2022-05-01 14:57:23
                     bc1qayhkxkgtlzawqwt0x2xe4yetvp2tfhusc36234        BTC                   0.54395881 2022-04-27 04:02:35   2022-04-27 04:02:35
                     1JjNHsLp4x6BkeBz8hyk5tGtynykgXYk3y                BTC                   0.54224364 2021-04-24 02:29:41   2021-04-24 02:29:41
                     1M91yasLRiWghSHsg3kfmxfwUaeC7F5f3T                BTC                   0.54028621 2021-05-27 18:59:06   2021-05-27 18:59:06
                     1De3caz9HLD8NF4pAWdBs8TZoNAv8jxvYH                BTC                   0.53344215 2022-05-01 19:56:38   2022-05-01 19:56:38
                     3DKaPdevepGv8ey96yw4azUJuJTmyFcK5H                BTC                   0.52974509 2021-11-12 20:02:52   2022-04-29 20:48:06
                     bc1q455jtjqghcn6g8st4mka3aal833jjrsh427vls        BTC                   0.52885165 2022-04-04 01:41:27   2022-04-04 01:41:27
                     bc1qw8gm4dhs64py5l9nd3mhvydyzuxpx2mlnnt06w        BTC                   0.52796299 2022-04-27 04:12:21   2022-04-27 04:12:21
                     bc1qd9m5092cahfdeyw3zzwq07erfud8jyafekxqh9        BTC                   0.51258977 2022-04-29 17:46:44   2022-04-29 17:46:44
                     bc1q00k97xefppjph52r7uw7gpsx7dvm43dr3hj0tc        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q023qhvc3jmnvt4ysva57w80aq2hp9ph7w9q76e        BTC                   0.51200000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q062y93cr3snw8jg637zerjrl6wz9p8apcmre7j        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q0a75y5mhw2uytxhkjfu0xp7sd3grcyzyv0tydd        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q0dcckwv48wycadq68wvmdmm3zp0lwv9xvrnnz0        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q0fv5fz86m8fhturq4ywkejzzzrhagkqy37vrf9        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q0xmjm9t9r04ennntmzutkz3agdl95z6uwa8zde        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q0yj8ampxkcsg74vzj88vrymwuawfpckjj963tz        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q268vmcpcee9xyclhpg5xa8kqk6scw72ur7xnfk        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q26hhz36zwws7k52rvea6nzd4drqkz2rfz5yfyg        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q2acglku0qqz43upcm4yhy4zcw7lhjy5vs7najn        BTC                   0.51200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q2c03fkplzczhlef8lpyg4al7yvy069pvkf8qgm        BTC                   0.51200000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q2jus36g4p4wcl5yrav4trnekj2z7zp6aea4du5        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q2lzwlut60hm6g5hyyqxytzg582myy060aeycgl        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q2mer6kcx3jueulz6xfqjhcx74g8xukacu6t6xk        BTC                   0.51200000 2022-04-03 23:31:37   2022-04-03 23:31:37
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q2nkajm92vrw73e3vh7935j86lzdjh9dyz6l579        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q2rqf7dpalx6tkekqnykw2f0kz7cx3e2fv9xw5j        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q2w40rsfnh3lf8lrgc0mqdrym6hlr285v22lp0h        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q2ylp043yyslhkru8ldlmgn0cr6eumlq7e8cvde        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q32m0faex3gyrzstzy9gusymmgz5ld8x3t3zrez        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q32m747nlkfumkl47he2y0va85q2lrszdmfrm5y        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q32vk9shvuha76rspd99ajgkw245yy67mcwq7vn        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q35u76fznpe5zu5euvwc6qjhnp8xtvv52y74agp        BTC                   0.51200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q3cdqfjf9nhkg3q2cffkr2celake8663sh85l0x        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q3d3zyjwyeevjl05wv3zer632auvcnqjqu8lm50        BTC                   0.51200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q3eqlcl85nqxqee9ak3j7krfrgtj65mzpujkdau        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q3g76dl6ey5v9k47mqwzf66qzn46u7xkasqjx89        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q3g7mqhfwyu4y7lxdfetj9ds6zxe4rmfsnc6dcr        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q3jtppdhma44frckuxmhvr9q89gt4w6xn3pr9h3        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q3jz070wjetny8ywrs83dr39v62fy29a0ekjw9z        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q3t74hdqxga98f2addsgx9c07v8zluhd26whh7n        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q3urhs9wk3gtpfzquh07ge92uw930tngz0hdhzm        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q3w4m99dqnk9xqq5aj4ezqjm0h38el2enmu8n35        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q40trhe8fjhs959wvdsw0nys7wyfddsyyeruuq0        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q42nzdcuyr2auseth8myx4jvzva4m6ard8l40l6        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q45pngjnjs7cmjncm5xvaav00d29gdcqxchw97w        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q45vt8kupk28cvf6p78u2stx04lf40kcfg73kr6        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q46evht0vsd0mr3wecrr2vxfq8cdmptcrdaq5hp        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q47p4qnpzr52nerhcv6hz8gwylassesktel97zl        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q4alav23mvy8w82z0tfsfjnyrldzy93hs9qgww3        BTC                   0.51200000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q4fhx4uz78cn8vxm42tflrlnvj0fz0y04t5r50t        BTC                   0.51200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q4fkka4qddvld3rrlrj663jk59tq97gdx8g5yad        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q4fpana8qmpgkjq03rdyfx89nllrpnh4usr0v3s        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q4g4klsxstlyv3n336v849w5hhrzp52t52tymn9        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 239 of
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q4gjg99zaul2kd9wcqjfhuh0h858w27jcv69fgx        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q4gv45n8vmdgxxwdyrxxwc2nazzm5zf606epg95        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q4lwa5sjz8ndv9epsumg9lf8nqrs5vvj4dnqdfu        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q4s4pngmm7vch8qcq8hqck54h2gmarsm6p0gzg3        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q4sr02hh4jgj6g7uzxcrzkzj2pj2f07cyjlejga        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q4xwm4pzfuhv8ya02vc5nkf8g03trvef2ky4pdt        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q4zu6fhxxvdstxqpkajg0a9lnqhak9wfngts56e        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q5088jdj4p5z68fd43v0yspl8fx79hh255emkye        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q55w45trm0ynjvtcgdaks7gmt7cru05ylmft2h3        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q5757ehchdaqpq0ywk5nc4pe24m5tgh0psntsyy        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q5fmc6z2ms5atvu2wyc35huj4pal2acgsn8zxx0        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q5gnn5q7dqjpp8v4gnlypzwr59vlcd3v05ac97q        BTC                   0.51200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q5ha8cz38fdhcu3gux9qtg8a5e9l6gr9xgpctls        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q5pz3gjyzpqfqn25keme8hqw3af9g26c4y0vghp        BTC                   0.51200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q5q0js5ftvfp3ufzl8fn42utn6cw676pp9jsx57        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q5vhx8avd9rdu3kkzwcs7g0ve9fzc5s5507j3qc        BTC                   0.51200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q5xgfre3z0dz2v6p34jxzpha0epnm4mmwgyd687        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q5xpplslqlda93jkvgagwvsrs0vlvhe8ktwd6f2        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q5xqasgd6n3ezpwjwar87wvy7pjyh4j27klcm97        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q5yhgy3vhwejnemeunl4lhd6glnp7jr8rpwdavl        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q5yxcstpu07unlypswzac9trguxchdw5x4ajfp8        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q62ak60l529n2va96t3gfgze6nz9dm255jtrrvc        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q62gq78j65slfan6qp54a27t96dulsu0zmxhhtr        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q62ywwpxewdf2h8x8ckhmx63p7f44u7gsf5nn2g        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q67l2n7rxags8g2el9vfwed6vmuxehn65wzu2jd        BTC                   0.51200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q69l3ct4mxqegt39a2lnap6hnazukn8zmv57n5l        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q6a5gd89z9m3890mgcxu9hn53wpf3u5hrja27w3        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q6ffq2j0e5cuw0jl5psyz6evesyw3n74a5e4zpk        BTC                   0.51200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q6fpy5m9hdzzr0nqpx97cpqynlm350q4grhjhzs        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q6jgastdax3qrcf3c9vwapvtsaflmmhyqalkhmm        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q6nfgwurkqpevmjx7u0mjdrja2ddd2yvxlqt9p0        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q6nhzk0qqgn6tw68ep9dln3rnt5a30uypj0pv64        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q6nlhjeqnk3glk9amgjt844fg3fgkxqju8t9xs4        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q6p6e3sw2zg3wyt4sd7zfggs8jgldzx99vdrdgu        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q6rqcp08wcxah5jre5duwq3x52d6ap638xygr8x        BTC                   0.51200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q6uf8cjmphz0evhykflky5uww0vp8frh29239dy        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q6vjgu6y2jsjwz87yyfj3jewcyz8sxarf5zeaww        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q6we6dv8g9fkp6v2cecwcp2al6pz5rlnn5tkuda        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q6x8veat8ywjpn06d3lys0zmxglgz50fgtt3pmf        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q73ur3vxqj6dsdqlv6uu6aeevwp0rdqzx78twmy        BTC                   0.51200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q77dh3rhvwkphn6lq6mxwyypuwz4cgu0k3den6m        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q79kg3yn48qx7y7cuy4edrhqzpezsyyajxtldhx        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q7azgv9nt3lzvutsk549qmmlt84n8xu5qn7q6j5        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q7d25phntgs4r40pvfh3xluxv2g0ps448vtyu95        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q7dfs36etqvehhecway9qt94s3fm379ut5j4yqx        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q7fjya0x03hxjmmq08x52nun5umad3hmede8pms        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q7gapw9n42w98k645mjm96ajj856ng9nt2qef95        BTC                   0.51200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q7l23ykthktvl4jagvun4up4d8u9arnqln75y6d        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q7rl9k8w2yc7yawjwrmanhyhrxaj05xkms88xp3        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q7rvy9qrt74nn6e72k6sld6px4cx9wkrs2ca0lv        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q7ssnqg606wp8ttn3s77w2775k8trtrthmx55ya        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q7wpp8pmtuss3mcjdfwt5490dev8fgw9pth690v        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q7wssp0wzdpmjk572tewrucsmj7wutl0tj7m595        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q7zpxszxfvvp89e4696sjhg3zt72acxczfll8pk        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q7ztz58rpxjjapaqevkp8t9s2uvtdhgdmpjtcvn        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q85vau8cgghlvh5jyt2w5jvtzypsmkxy4ekwt4p        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q8756fhrexx0fgrw3hevuu047c9xds3whag9c0e        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q8gsc8dznnj6nlawzty9c6fzln7mv0xm7sd3uys        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q8m9856n40e8ayhpcumvannj263d9et2dlfvvg3        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q8p0gtglfrjh0xs8fpfr7kskgg6ygu59t4ql5p7        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q8rmxw7k5xjevd7sal3695u4q2dh4da9xvgukhd        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q8v9ndj04775crwjap6xjx7dqfgntfddggyj9d5        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q8z3p4lxw5ym9e6qrvfu39wsv9rrva0wykpgs87        BTC                   0.51200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q903y3fu79x69qhgnagyvpayhw4n7qmgvmk2qlg        BTC                   0.51200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q947fre6p4jqdaa55gjgpxwe7vdhq7qcst869rc        BTC                   0.51200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q98gx9dygwshlhphv83hdcfnay95rd8qhswm5zt        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q99c4030d86zlu5qtlve8grchgp237peyykzg2a        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q9d2szzpx8w52ahkjua82rjdxtwad26xyjmjg9k        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q9kwlgydd998tgqc23pskmk9kdr4n0rpylmsrj3        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q9mx3gwrg5dxs2q7x30w3lnek7wcrn8qquc2fmt        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q9n0yld48yrwucpjdccz82c4dk3yxguj60p474k        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q9nxgz2agrj8q66h3nrrvnrwr79au3fvgydwzfc        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q9tqmlylw43hptrjswq5lrud3w7g9l8qtvscfzs        BTC                   0.51200000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q9vxtccwlrej74k95nvhurdhvl3ax6e4rqs66kz        BTC                   0.51200000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q9wvs2xtmdngq5lf862yt8mrvtzuz7c9cyql8zt        BTC                   0.51200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q9x869whau8arntgr05c85rpta0kveqruzfrkvh        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q9y9rllu93ql8zg06zz9agzkczmzuy5t9fyjcyj        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qa0qnjsdktprsaqatdv0akvwpqjnudz7z7m6sqn        BTC                   0.51200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qa2ffcmehmpdf33zr73qapr2z9sulnuh2tgslpa        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qa383pvy3kshfy400zjdnx54ej6h7h8pq5tlm97        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qa6z7y48r49txyjsns0am24rsfk6ztt6n52fcau        BTC                   0.51200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qa789wdf0qj4uhdep0327knanfc9yed392m0x9x        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qa82288cf9qjr9rtedtukh9r8830ydzk5k8ew85        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qacruxqywax6atzd4ghquuau89g2765wcre5kxr        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qaenz9540864tchxevw5yv8ptxhw3kuq0d7ruw7        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qagr8nalfqrp6u7g53sk0h2rv6ewgqe538vpytx        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qajwmjgw98607y33pzhgj4t6434fwyq3ey47j2j        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qamq0cmp75kgq5gts2skl62z0pzm2kay0nn3pad        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qanzhcrcssvwsmdvh2p3rv5tvqwm4jhv533hp9g        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qc3kjtt4q499fspz79yue94dhrh2ulmk3dty5j5        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qc49tple8zefy3jm5s3js3jl3wp9y0e5ea43h46        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qc52clmmt8w28hqjsqktaft5q9apj982uscqv8y        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qc7cln7t00ljkpuqfx6srfjjlxeadz0zk99dlce        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qc7uq8atlg3vxhj6npa94p69z3eqxvu6ky9dx0x        BTC                   0.51200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qc8qrvz02up9z73zf6485dqv43mpnhu4a5xhsjg        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qcckxpazplejp2a0u2hj0n2j2zff9h3cryumgad        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qcdvlez5eexdnkqf7uea3yqa9l889djv46ereaa        BTC                   0.51200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qcf8z2ap62rgvynyqsfxv2p0qn0d4uchr72jh04        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qch9r0emfd8s6jq2qpnyteuur078fv6tstdaa0c        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qcjkncvkshg4flpc6r3vmvjyw0sd8rj43yae7wy        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qcjn8ux87xdcj3h05hn54jrsnlqgurxw95zhvxy        BTC                   0.51200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qcp7vxk5l4kfes78x267sqhyqwqdl8fvncz84k4        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qcph8lnetxgafpjr2p8vvwsay63cvdahn88qnzc        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qcrt9lrfdn9mrv23g2phks0xretwk7pq3qs37gr        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qd0wu8fnwnke7lm2xhxfpkef457yumljm0s462c        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qd2gyu30fw43vg89vlxqnsuu2v78aftxglucztn        BTC                   0.51200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qd7ndwvts6fez0yx4qc7gl56u0fks9nhngjrsfd        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qd7r7hc5a9u7s827enqeqzu7yelv33ekmlr89en        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qd85g9ncux7rh4w09a66dcnh9ne60wmg5hapx0t        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qdayqh26765q8nwsft66yqmgd9c4ahe33yqxlnd        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qde7th8rnt2yzvsz4ny3gtnyvqsaesuretzg2up        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qdf54cn4cv2h54ed4uwwxt5qknkkqnwnmga09kk        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qdga8gfxjesfgsx9epl003yrf52xmx9q85u8xk2        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qdlvt97lzvvkruytwug6ys6f74444jw3peanfxu        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qdn28qktz080gxjjwm7g248j0z9qvtt6dy67mlf        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qdurjxydmhqnzqspx4g7gklyre50kdpjdwq8jyy        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qdvdq2zw05zm3fxjm5efr47g7ky99t5x2v308xh        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qdvfu0mnhra8cg0xyxuzjt59yg2w923yq8w80ln        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qdw6thse2lvd0xqvycq6yushk3r0e2yna0thuck        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qdx9xpynxg8u9tzvc90hzra9a8zevm5jrat56v4        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qe0cw2lgfz2np3cvqehvnm580lh5st64773l34f        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qe0padxdpk5n2v6gv6d5le2rsmwn7jhaqu5djl0        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qe0svsmkjekggardflkaq7jh04s96nk806spdeq        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qe65ax3q0tlqfr7r5x3lztecq2yms2vsuf7zgk7        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qea6rcckz3r8dr3sgq5kvr4ywly8yfezfgncxq6        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qegq6dzrkhnjgz9z60splr9ap6md2a4rx5uzh7q        BTC                   0.51200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qegyupgwntssk3ygrydewfm26grnpgp8lqp9m6a        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qekj7ru8sysymjgggsqamcze9f5h3yavsvvet6u        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qel9z49vvmny2reayht08p47hxtwq8qa2w2hnle        BTC                   0.51200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qelqv0608wa8zy7xjncsy67z5t6tn3uddpzz58e        BTC                   0.51200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qep7xf6rtvktr9hp3xcekwhj6p2j2t653q0xy45        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qeuw3redxht96ldc3da3pptcytc2r08ng89slqv        BTC                   0.51200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qewjhj4zkc6veerw2tnpjcekgecyyx7qhaslfry        BTC                   0.51200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qey4ad7tedraa3lercznrelka4dajhzyz5j30r4        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qeyta5k7ssp3pkeng4dzee25qdzevxmfd4c89hh        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qf0764eleklw39yj62qtg0ppavt7qhc7p52l668        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qf75ekukkk5rede3y4ehvhtw2r5fnlqtp4cz0ue        BTC                   0.51200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qfcrrx0tdr7yrw2pw9zcsp023wu8u47h2xarxgp        BTC                   0.51200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qfg27cuf8qlgey3tv5tszp4jz69n23rx4nu3t40        BTC                   0.51200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qfgstjfaysurw0uwn9hpeps369xvddrzhf5h3l6        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qfjucm5v5fd72z9dsfcx3vg859hpm85qqzque7r        BTC                   0.51200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qfk2nhtnuaj5c6mtgkvzchz9j5qzd5x5uxdnns7        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qfl9en922fky8zapn3a042w7as8zaywdkd88va7        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qfw65n0hkzc6xhed72e9kcwxx5xxwhdsemal5pa        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qfx7yu466atxlampsz9lqrunnktye4yxduska7e        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qfyvkm9pe8jfag7klpggl4t8uyaynumhsyrm0ed        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qg2y2w8hdfefd8s372ff8cyh8cznt2cath2nth5        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qg3az7ec40thd9vcgv0p3sfcljf3pjtnxhh2tqe        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qg40e6l70gp40yhs4gwmjjse330fs9v85e6lfr2        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qg5qj3cm4knq3mq3c0lmhfdnx3kjkaj46qrunhe        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qg5rlpav4emk0cn6hjpt0qmn40x50us27e6unaq        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qg633lt3sl35qe56mtqktvm22pxrq2lw2l37e5n        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qg79f9dzqmfy7g2k3876rx95htv05yjdm55gz5g        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qggp7plygr8jse8zy0awnrfyhqey02rqwjpurn7        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qgm36yrzwzpnmak0kkgw4ar79fh7k92ehed5xud        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qgm9hhvnsqdr7ql0g2mzz7fw04x283tgxm33tgg        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qgng424p6yk24eth5uhdwy7wc2rjr3l04fj2gt7        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qgrhtjvskssnharr0n0rspj26wja9yhksmxzuqt        BTC                   0.51200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qgsve5w9aaw4qgm9endxw0vqsrzhdz9tdhcwsey        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qgtgw5spsf32jn68x8g3vwqd545yrpp6kfacslg        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qgw24ss7fnwq0ffra5ny28gccc3539panq6zjhl        BTC                   0.51200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qgw7zglgd88hp258yjy40j9a4wuf2s8n6eam3l4        BTC                   0.51200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qgwcjv5lxfvcdh9un7weqq30uwgnxpk83ef888h        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qgz2yzzg0af2q0arf825g6c87hq7a9p089de0pp        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qh2v0nrgl47yg3ruzyl7nqqmyq34ww3aty64qch        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qh4tylm899let8xnrwrqxy8lqq0jhuzfeyuwe3a        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qh58chhcnndfmecuryggay36x08dv2x4rnfvuvk        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qh8ajuglqecjg4gjj0efmrw59h9wry9z6lsfcp9        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qhhd8myfvlgl26t75yh7skkfre3xktad7m2ulxr        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qhk7aegyaf4ue5npgq3wm4xfqtvns9rrm62pax3        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qhlcvtfa47wej586jd5ukfds43zmy4d9tn8pqup        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qhn6snx8zfxjzmlvz3yy22npxz2msgjcpnjfmz6        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qhu695crmt4p2dxvkvlpe3ptva3j53wz6x5f365        BTC                   0.51200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qhw9ewcjva3za0f4mhlmskjkj0h9eg0l32g88ru        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qhxv82hw363kvka28xjm7n7hw582frv4km9hvrq        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qhxvm09nta98zjnyt8n8wxaptll5k7ru5924rxl        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qhyzxpldgf5q7nu0x4zrf74aznzrjrvrnsyqx8a        BTC                   0.51200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qj7j8g0ehn404wkf5m6when7lt7zf6wcpq40s3l        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qj98ar5qk5mjmaavpzxhu2kuks2t6tzr3rd0d2z        BTC                   0.51200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qjcnp30jdn6fk80qjewfxzxslahwpldsufzntyl        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qjdm3js0p8tmck0cq4rasc7c3g8el7kynuq5p7x        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qjk7jwk4mc2x4v2wyjxhttkrwelsvyythyzstrx        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qjv6z4urdnd66rxyckthfggwrxsz6vhhck53y0y        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qjwavug9su30g7gpmpc4hyrd32mjyre9drfx8yx        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qk0m88nf7l4dg22qr7xy3zpjryvwjg77qdztatm        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qk3vc63aj0knajcs09p503xyzfsk5hwcsr57hph        BTC                   0.51200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qk9f6zsek7ydelez9fuar4yjan84ydu8ppyeml9        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qkdltt64j38t80mktfpkgmhw9hsl5jc0aurmp8j        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qkdtm04k4gh8qjw3jj8932yj45v755vqlf02d23        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qkhqq2f4vu9ca60y8n33czw9dv9p9ax09c33lnv        BTC                   0.51200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qkjsaqafduv8y6t3drjmhqn43p2zjd5jz9n45ca        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qkstn9d4tqrzm6scz93duks8tsapgy4p3lcz9j5        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qku9a2n63d98cjmd49cxrvae5zccffk8xahugkm        BTC                   0.51200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qky20dmrdgkugaxd6923uwwxynjdx03stwurxgv        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qky6d4nlq907a0usf6cw7qgz9zvl6cytucur93t        BTC                   0.51200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1ql280u7dncmrpevu0y6qrc6rl7d0ypeh3pw88ll        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1ql4rxtg68t7xzfz9h3l2xt7xjgc2tfjhh3pl3rv        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1ql5yuxk63paf2atwse0h4pkcc607n8hs9a77vj8        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1ql60gsympqqj9asvk247u8kpjlmqefpuz8y4ktu        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1ql6daw6nprq6rafag3v5lmahhew6qqqp6s49363        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1ql775c6dtc82qq6ty0g8llm85u6ry687fs477fq        BTC                   0.51200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1ql7kcrpwk0yk03tzvlu9hatarwehr76ppfydhf5        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qlcegl5r8aw6es3jhzrz6tqm8wqxu8jw3dz7mlw        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qldlnfd222psqzykk6zaez2khe752e22r4w5v5d        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qljsfzvv6c5yqwtlqud0gm5uhalnh0wcqucu54j        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qlkahdajxp58wnzluuhypzlktsr3j7x0m64tfpf        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qlnr75af05ynl8q8rqa872jg6pdf3m920sz9eed        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qlrsyjuhkeql6kvur0napdsqdc3pjr8c3hs47vr        BTC                   0.51200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qlu5a9r6g4y9emgyv0znl9jepf6734kr0v56nu4        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qlwjmvg7vm85mc3drd7qf5k8569fegmlgwf0mzf        BTC                   0.51200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qlz3uqswlkrq3h6r0jhsdtngvrzywus0l3kqg08        BTC                   0.51200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qm20t0xnh4gp0aryzm7u3vvk4kztpcndshghh8r        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qm5r78stn2wehx4vc5y8akt759esynm6qj0chjp        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qm65g39ujzu4dpt8wh7myrpjmdezvvvjsq0vufm        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qm8pk0wuac4vvmvy6d5n266ux3kumz6c2f3nkng        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qmcqqsc00j7t6dzhaw7g9h2cg3dgm0tfme47wpk        BTC                   0.51200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qmczhsve97pmjlkldxcfq9m252z2sgyxxs2zmf7        BTC                   0.51200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qmf3elyx8svs0v86j0suvzjwlr4s2xmspje67fy        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qmfa7yhh6w4fuaz5c7atjups59xg5vwwnryp75e        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qmgvzpx4pv73wezqqqrd5dh52x3wrwthx2vvshn        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qmk56xmq30cac9qzvpuskp6vq4msvzeqa75xtxg        BTC                   0.51200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qml9qnm4sd8mg37zw7r3zwy47cs0zdeu8p75a04        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qmucuwjrxw93ff080rxm5zjmqwfmr56eq9ytylj        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qmxvnq9uu4n0n0xsmq505v20y09e9ahf7cwwr7l        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qmzg0j7sh65gc7pq78nmky4amwuhehzq440j77x        BTC                   0.51200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qn2gzq8fpkwysm44uckvd44yns6qfevh0n2f7pp        BTC                   0.51200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qn5zp7sj2xkd8enjdttrs8tc0scd74hl4g65dcv        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qn62f9rhlhz7jukplqh94xgsv346lgkv7ejpna9        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qn7m25cyflf5xn4e8ks70ute6tudne3y2je9ynv        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qn9ft87v3ef5xf7dcgvmkprayqpqysppfq79q04        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qnaf6w8z3j9rswhksk3fr9x94jgtuwtnwgr85wl        BTC                   0.51200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qnas9p8xsjpxhetnz88davzlp9c3xz24m3hm765        BTC                   0.51200000 2022-04-02 22:42:55   2022-04-02 22:42:55
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qnc6twxr7txetskq5k4n3h8ce89djxnxwy7jq4f        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qne3vlwfvnmktwj75wv9xvkd2j8hrns0yj8j7ca        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qnf8zftjumndxwwmh5j7njw77fkkjrhyvehnplh        BTC                   0.51200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qnk22e5nanzdvqpzf382dm63490j9myzuv8q9c0        BTC                   0.51200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qnsgywysq3lc6lp4lkd6kzl843earrj0qr3qvhe        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qnsuly0csamst0hprgznku999z5n2pxrx2ru99w        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qntdc7jfyypradxv5at3ul03ettxremr9e53kdj        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qnw2mp44xenened3zkqvj78j3u570l88nv8ql9p        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qnx9sdqvpwce4fz8nn0m44x9flz5k5nw7jmxe70        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qnyend265r7xqcgxvhl4ggsgf65l0k424vu8q9n        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qp0xysrv35jkxu7qpxz8zyy079jkh82a3y3yh5y        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qp4njrpqy4e3xqd0gq882ler8xqrw8xpgpv66vl        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qp4uefr2yljtzx9kdcfvkgj0d7rgf6nq5p9wm7m        BTC                   0.51200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qp5grxt3gx9ja7ql092jl3r8pu6w5zvleqrr3wd        BTC                   0.51200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qp5j8c9akj7236wdnec3edsmujndfgr9u3e4ffl        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qp5n6evc76jr8y5yys8ppsyege8e6kz6pm6yl58        BTC                   0.51200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qpa3t359aua9snc0hx00y5tuv0rvvvd2nzc0lkz        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qpflq2zaxv3tyaz2nfdazj9dave0wagkm4f2htq        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qpjrkzwkhmceejknkwnz94z6n0ysgnhctkgdvpm        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qpktgt26dyc5g9mc4cscr0kmv9acfrscr7svhf9        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qpl3de0pq200hums25wvg4vapdac3me4ahm0rns        BTC                   0.51200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qps7j8th60acwt2ml3rzunuvqskvtsfv64ksmua        BTC                   0.51200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qpsj9w5kmuh05v5fj6vfnutqgtldy4m389ra0sn        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qpuxn0m03cfjqqekgwdzrhzr74ynlp2xffnjr8c        BTC                   0.51200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qpvdj0mp5txuwsmvq2dt5y45l648peahdy2wvsg        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qpvtf0t8jt86dej6gmhalp7u5nm5zeu94udykfe        BTC                   0.51200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qpw48jst0kp7tduutyn0p3wytng5de6qytyn9qa        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qpw4zjsqr8tr672knhxw4rzlp5n5ygq6g3s6nfr        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qq0hl3n70kv8zsycj68ef279zqvetqmret4avtm        BTC                   0.51200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 248 of
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qq5xqxpmkl98rqd0qc0w0whd67s27u763hg2smc        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qq90jec6pg856m06zkr52wa07e4ankfp558xtqx        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qq9u7ug90pszll9vm0ttg450j8ccrqhtk9jg7uw        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qqfylvlterflt5hk6qrzcrc2alvezpu434rcg8q        BTC                   0.51200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qqgljdw5sewav5uxjtym3lpyrc854jxfzmk9e9k        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qqjzf0ukmyzqfzjnc2uwrkr2d667fkkvt8h0eck        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qql72rfnd9z23t49s7y9yzrf5yrq9r5gu22tq6u        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qqlsp3zd98wz922r7z7rcsvdv403u52v6c8klha        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qqm0a9tqnk8jswqpu586xrp4tnzc4jc3p2mx7qe        BTC                   0.51200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qqs6a5pgrtwy39vzytagek37y9j2fjse6u0ecxc        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qqscpf3r639lyk72mfzyxp3wxwn2a4a4uh9c5jn        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qqt6s9uqd3q3cz2qt3hx8nputzknsr4ddmvn6c8        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qqu7fv88jutskqpe99p7wn2rxazq8p5df5jn44s        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qqwxcjqyarpu06zpwuhlkvw36fe89j689dyppu7        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qqxzpvcw9f9t80lafvzwtcyfc0d9wypz6m2yz9n        BTC                   0.51200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qqz9hhqgqcmjm94zxt26eaal0e252p36refg2lj        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qr0fsj5sn7kcldljmlnmzr28dd80yvxlxvmwhpt        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qr2l2vzvn6lehgyemxlnyq825u9j2e6ff0ax795        BTC                   0.51200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qr4tc2xgw58smp44xjxd6je2y3z5tgzlt2zg6am        BTC                   0.51200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qr8h8kdu4v4hnv4h4lhq5jytd4wp6j5rva4wj9e        BTC                   0.51200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qrccns685fmk5jvhhjgqd6mrhpqernaz6le7ysz        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qrcj0me0zq4vsyyz7rprg3ddfrr2qqqaptm87m4        BTC                   0.51200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qrdyldwk8rz8wekpajhvlwyl34g03y4xagft8n5        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qrf9mrm6n2q8lf9h72ysje2su2vuytgmrejpvce        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qrg4n52f4ekh90a5js0dhxq0uvu57s3h2c4wa2q        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qrjmzag2su7xmdvgev5rckpyvhmmmsg4k48gafk        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qrvm822k2vhtehmmrvugh7sdnlxxfxtcj4r8xty        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qs5qlxfefajt03dy29fh6jf3kfv2whfkyx9cwh7        BTC                   0.51200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qs6nu8h934vynwlqkwdquq528ufhfywzs4xpqvg        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qs9uegmtf5tygrwww0l0w3fyzfmgsdxeg8f0gq4        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qscv5jvgfa4qnmmuctc9hva4d5q4elr0a4vrczj        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qsdghgyypda3fq5qkw9gh2qr5pk6hh5dtpqfrnz        BTC                   0.51200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qsjgzfhv4ya40dzemdqpdxw43neqe976vp27273        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qsku65gugh0dwlr2qq8syjx55quqsryps6h432r        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qsm56avflep5gfjw59jgvvx8wvu9fe630xz58ns        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qsq3fweyuheux6fdzdaln675h42hndsrzhvyzgj        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qsqcks4d949v648sau4d2ze3ewjpj0wlfejxzsw        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qsrtpvqytdj3m3rvu9nxhk76rc4089uafjpfljh        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qsy0uedd4z6e75zh54wrrzsvvncl6c23fqyxs3g        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qt6nfkzvqfhxy6ft6djta06kvugzxnnuwyz7fk0        BTC                   0.51200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qtc573zpp0hhl0zqqekc56ugar29uaak4xrkj4t        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qtek39mazzh840z8aucvra2976lywm3fxps3h3k        BTC                   0.51200000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qtjj9r54nnk82qwn37vv40w08wgkqdn9x7r82rx        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qtmgtqy7qpzw0q758tpsqy3qsha3dxzmudz9dm7        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qtpf9gmv2nj67yw3r2arzev5m0p2sqf0z5p7x2t        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qtse7mfqcuazkwjhe7rneduk8c6qzu5qp2jlmpz        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qtsmg0v55j2rgy6mp4a02kqw9emxgvg5ufjnnky        BTC                   0.51200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qtwh4s20nk7zsk6xcl7wk9kyj4af3mk9l3tsnut        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qu2r70gejhhfy8f8epuclnwjvln8k9exmkxgxa4        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qu4qrpn04fevv93zqpcfd22y6c2rlu9hw0zu8nz        BTC                   0.51200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qu6za2x0wak0wy43g2x6q49rmgcgdcwsyhzwa2g        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qu75xqshnpz6m28gf0556xppmwn4d7tcaqahts0        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qu9cp3gxqwp5ysrh9n5hvcca8q483nz4m6kczwm        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1quc6dzh4zxteqaezrxc6l8apqzppmxvsvgcax4c        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qud4375m9n5xtqaum3vmxw3swcmnxmnvm2rx7xc        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qudf52gz6swjdw7j769ygrgfsygg9zf4vr854cl        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1quh575uw440j7fwt2cm80jm2m4cyv2vdjwk63yf        BTC                   0.51200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qukq0zyk3y440vpwqwyc2gttczutzayg4dlze7p        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 250 of
                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qut6sxukvwnj2djrc35500gjpnj04xj57wa9pch        BTC                   0.51200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1quwx24pgwwv2wgyyz65d5gd2kyx3cwkj66ld9fj        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qv204puz3ksfr6h74h55l9cceasskweulcte2w9        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qv25nc49kwhaf35rqczzydfk9n4gvjv4aatspkw        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qv6n9cvqrhj6jzpxxkxdcly7vk638ewueec4p5v        BTC                   0.51200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qv76nema0clgnvxmkrcyphr763m7zkmsddkt2a9        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qvhhszrj5lvuz3n8qlmyqv0p3qxhevneuy2vtav        BTC                   0.51200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qvjsphjsu2vdy5xje5tkmuk3nag9j6hvkgldcaj        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qvkkh99g23en5cegacmru6dett7ne6y5g4qd9sw        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qvmfs4eu8angez89el4gzsdee3fv2zxhvgjxjpc        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qvmnn4znrtyp03m6hnqyzadge4uqekcld334y0z        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qvpd002lw5pew3etya9w4rmjwsdsa38mkqprajt        BTC                   0.51200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qvzqs07zw3s7vp5yghgsx3ukq543rnsxjhejg3f        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qw4j9krv9zl7jla8ujles5dv0uedmufkaw9pg89        BTC                   0.51200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qw7hzgycwu6l54rgkf026fzwrmr4hezg4l7xlze        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qwcq8sgm432y6ee3ve3kyjreeyfvy838szmtcqg        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qwdq3jwx2djpaaasjqey7ed56d42r7dt4pvnfq9        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qwe6t3ke3nhyap4r9qcr7lqcmcr545jk0gaqf03        BTC                   0.51200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qweurkersxde2ap5lv66pr7dsp4xay8vr29hsw2        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qwf246s9cxknk073jd4xguhgzsnmm2cwzz4sqrx        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qwhmvxnsupcw52upq3y77v53ctfw63s5ea2a2ud        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qwjetcx4l6h7fspmyxs25pkt5h7vy63nuy6c0zj        BTC                   0.51200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qwl68r3ydc5lquakafhtmzqn90hr0purjq0q0j8        BTC                   0.51200000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qwpqkpppm2vjp0yzddfwxrh6zenqn5acymwcry7        BTC                   0.51200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qwtglz2ejt5p8xyl5h4lmwmsu5a6znt9urzwxq6        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qwudxclvrvnrnvtxuzme83eldz5a9sna9vfpv0n        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qwvl895nydk68emkqgw8fjlnrpgvpch94ry8mm2        BTC                   0.51200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qwxz4l5ra29jnftuz0xgn48m7kcxv8ysj5amgd7        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qwynpd5yg4kljr22dpzx70ash924c0yh2tjyv4v        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qx0j0yg7gjxtrh3v6n2ek52z6rc0xr0a5fruw95        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qx43hjmkcep82rctk5gglwyv3m0w49r8uqzksl0        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qx6u2wet7xv6m97tcv4asc7q3az576dfnevkhwl        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qx6w7vcrsswfupz33dfwwu8jsh5y0p365u55jpk        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qxax4j850kd5kksqrtkn2tjpse0mz77ht5w9ku3        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qxayryvtgfsdm36hqkvthdxxpwc8yx9ku0ema7h        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qxeg34k65w32prg2xaqnxhh7w57092gv8fksr5d        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qxfnycvx5hr4su7u82jg9umkvt0ec3w6vcecq73        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qxgy06800ak78ng34xzeeum9f8katgxrmw0pl2h        BTC                   0.51200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qxkq4zuleam857ewfuy4x4rfjel0f3qz6wd8pwd        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qxl2qhfx94q94sht85cqc6raee8rrhj8d9j5xmd        BTC                   0.51200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qxn5tmy9hv87rjyng24783wc5w7hvw48wj7rq2e        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qxqvz6z4s8r5mtq0xj4hta7fryrtp522rm257h0        BTC                   0.51200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qy0xdhrkd0hycmt30vqspdn3mpsdl7nqkwsymtf        BTC                   0.51200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qy0zvrjg7my8sgpekf33q7ud8jecc2fjkqkx6au        BTC                   0.51200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qy3wpr5pgv09sygdpudz7jyzh6q6tgg8xl8r474        BTC                   0.51200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qy529th58un4072xhw96uwrj8ep7rzny89ctqvt        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qy66a484guw9v9gnna6k9jsh2a9zj2sfpwwpvw9        BTC                   0.51200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qy88ss4g26xn75uw6dj3d94fd4lhc3gkntas265        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qy9fp24n8dl3xdgc7hcyq8wzwmgqzw872k5757g        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qyd6vfnxn2z0t4q6dfk5gyxlwknuemem3g7s265        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qyfy9qfdf563x4cg00x9qxqs5jaj5h383a4d89k        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qyg7xnxvhsl0m8qy0fv6372y6wkg7d6ujaase8f        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qygcuhk54qyzp6kwzwy7d4r6nh8fl0g5vm5gakc        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qygqallj6z3pdtwusfycg0g75hcphfeq8vdq7pp        BTC                   0.51200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qyp7c2j05uczcsurj6vhn5rhyj54wsq78f53cqm        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qyql38w8fdvhfk2dkf63mcte9vjvlwfwenlyvdf        BTC                   0.51200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qysmsm7sykxauxvkffknzp2g2g4k8ja3xc06u8w        BTC                   0.51200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qyu0r9gn67sye2dphadt72qw7p3y36ysvlsld4t        BTC                   0.51200000 2022-04-04 22:51:20   2022-04-04 22:51:20
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qyuav0mv8pze5lxvjjpcum4ftnxz2ez4d7qc92r        BTC                   0.51200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qyuhsl7cky94akm06q3n4wxynsrgzvmukjcyafc        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qywy92m5yxfqlc5gc4elwv3kudupsafd6cdulwq        BTC                   0.51200000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qz27e0uk46j2kdmjzs73qwp9var86g2mz32ky56        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qz7fsln5sr3m3z5jzhf83x2mk4vmuegxqkvuftf        BTC                   0.51200000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qz8h0tr4qr7l8h55ha0syzjnayhp8pnn85hv8ce        BTC                   0.51200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qzfldwfnrttwem949pz4xhk9v94wrm42vz2ewca        BTC                   0.51200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qzl48pu07jyuvvhxr374g05qvujmqc9dz20wd66        BTC                   0.51200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qzmwq426zt94qdy9c4mtgj097euy9aadn4ca09p        BTC                   0.51200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qznpf44k94fyvnjtgqs4x825q2rm2nkvuwv2jjl        BTC                   0.51200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qztchd2gmq8ysnlsa873uf5a7x4k9tj5c6jyadu        BTC                   0.51200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qztzssdz85zld003mrrh38rx0tpcmrkvdnvvm5t        BTC                   0.51200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qzzqqzwjw2gupsq6xxknhvv0r8cu3pyep9uhejz        BTC                   0.51200000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qhvqpsc65lgkpg8lv8zrq2ph8m4k3zhlf3kccz0        BTC                   0.51199890 2022-04-20 17:10:19   2022-04-20 17:10:19
                     bc1q4dxydpeg2mdx5fqcmj9w2ll56e23vtjrhfkxhw        BTC                   0.51199862 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q9mfaur65gax3um6c4q2d8qc7addsyv6t2d7zsv        BTC                   0.51199862 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qzt6hh0guqfwsxzh8jtu0l0hrgpg8xnaspye8ln        BTC                   0.51199862 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q3yapk79aeedywfh956aktm79xkl3z80cefezu7        BTC                   0.51199861 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q8g8zten6gvzk08gfar7p3mwkx0lf65z7yhkrfe        BTC                   0.51199861 2022-04-02 23:45:35   2022-04-02 23:45:35
                     178QeEhksfWayRTzaEYxiDKNsewuUxKt4H                BTC                   0.51199737 2022-04-17 01:37:57   2022-04-17 01:37:57
                     bc1q5upzjhy4uxyckstqujx9ln0xcph0swdpznwdfd        BTC                   0.51199725 2022-04-23 13:39:04   2022-04-23 13:39:04
                     bc1qr66rdfukwdvy6nke0hl0w50kmj4833z3zdvgrr        BTC                   0.51199670 2022-04-23 12:41:04   2022-04-23 12:41:04
                     3QuRpc9vVgCsisfqcUe6WEGWd5imozBXeH                BTC                   0.51199401 2022-04-12 22:21:45   2022-04-12 22:21:45
                     bc1qwtkzja552u863zx5xy6qv4w9upe8c905xya0wk        BTC                   0.51199208 2022-04-27 02:43:48   2022-04-27 02:43:48
                     bc1qqnyvxpvgs9w3hzfsye95w99l60vj99cwkn00nr        BTC                   0.51199010 2022-04-22 17:31:00   2022-04-22 17:31:00
                     bc1qrg8t6x5mm0znp4e45qctgsfhtjwtj8kv5c3ea0        BTC                   0.51198944 2022-04-07 17:27:32   2022-04-07 17:27:32
                     3Je7ALccpRWnAyyHrLbvPERatPUJaSkRY9                BTC                   0.51198801 2022-04-12 20:48:49   2022-04-12 20:48:49
                     bc1qls0qrqj3n9ctkepp5962xmzdkwl4k39g35lunc        BTC                   0.51197032 2022-04-15 05:33:50   2022-04-15 05:33:50
                     bc1q3s7m9wjj4mztxavu7lj3gpxawae96jx8hw4wmt        BTC                   0.51196700 2022-04-12 14:01:18   2022-04-12 14:01:18
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qkf0jwyvm8kvttdjhehk3mq2yx4u3l9rz0yhtk4        BTC                   0.51196700 2022-04-13 14:29:34   2022-04-13 14:29:34
                     bc1q5350u8xcf0yak0yeextk6ayu8h6wpn5ypftarp        BTC                   0.51196073 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qa8apptsc5076tjxyhww7tpsuwjz4l23n9g5lt8        BTC                   0.51196073 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qg65rawt2mlscgj8kjj8vnpf0f9nrln8edr4mg3        BTC                   0.51196073 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qnp78llzv3fguz67etnf6k6zujk42eafwd93jc6        BTC                   0.51196073 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qwz3vwuw9pv5j6y8uqwmmtjmckyptclep55rxgk        BTC                   0.51196073 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q2kn5f57gfrsr72qdgxzelaaktpzqqrrt3822l0        BTC                   0.51194500 2022-04-17 16:14:45   2022-04-17 16:14:45
                     16Rw5ErfUf15MpLRaMe4FoVyJe8yhsD5e5                BTC                   0.51194350 2022-04-09 12:29:25   2022-04-09 12:29:25
                     1CFFuCmBrRMpQzQfDRyAei763qmazcgAAG                BTC                   0.51194350 2022-04-09 13:35:11   2022-04-09 13:35:11
                     bc1qk7skjhsu3guhfad3xs36t5jcapxays8x569da8        BTC                   0.51193433 2022-04-13 16:28:01   2022-04-13 16:28:01
                     bc1q8jnyn20dmeegtj94dtlqvfvtle9r0xt7pg0yk9        BTC                   0.51190917 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qzkvt2fpxt2q9w2pqrm9l88ectvy02ndzrrqs8v        BTC                   0.51167037 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q59m6gaut30vfyvx8378339dhhjh4h54lj9v0c9        BTC                   0.51165891 2022-04-11 17:59:46   2022-04-11 17:59:46
                     bc1qtz38lujx3dz7wh9jthhnhsuvz4su5t6t9yuez3        BTC                   0.51165891 2022-04-22 22:53:53   2022-04-22 22:53:53
                     bc1qwft4j3qac9c4nvyc8eu59mfhn9wue5tun64uym        BTC                   0.51165891 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qxxh35dvuvnq57t0sy5mpax79n8ukmr6as9cc5u        BTC                   0.51165891 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q659n2pa7nmqkqnxrylnfzf4zhwdltvqxenzcw3        BTC                   0.51159382 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qf9uujv2yhr5y874ct7z4393a05mc0whassdf9p        BTC                   0.51159382 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qfwtayv4lzk7glqve0ezdr25cgjc9k0tc0cqekw        BTC                   0.51159382 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qgpxqd89an9949v3gnv2ye404u650rh0dn7p0lq        BTC                   0.51159382 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qhv79e6pfca8e9935gfrtvn69rnhe9zh0y52ajs        BTC                   0.51159382 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qruy5gnmld2mjyajchshzjjtuqszz37jxwglkcy        BTC                   0.51159382 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qv7mper59uwleru5lxfrl82nnj29r8rkjcd2ylt        BTC                   0.51159382 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qv9xj2gdw85839u2tztce2eufpx3vncw4wv65n8        BTC                   0.51159382 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q00uq09rus57yrl47y3ls2dlhp538635cvc26s7        BTC                   0.51153365 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q6prfj7x2qnv8js38nzqfagu4c7lpppp34hwwmv        BTC                   0.51153365 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q8smzhu20mp2t06xme6nn02fe3rsdzuh9azfrkj        BTC                   0.51153365 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qv9gr9ceenhsr5n3hgns6z2uz44k5m5g24t4fd9        BTC                   0.51153365 2022-04-02 22:09:39   2022-04-02 22:09:39
                     15pe5kfj1P8tc3h6PkhAnu7CDdTKNq1BA8                BTC                   0.51141196 2022-04-17 01:43:12   2022-04-17 01:43:12
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q6kwqxzjy3lxcc0kkcjkwspn9rttq4pj4ad426z        BTC                   0.51141196 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q8hreh7p8555dlvzu32xz9y23rw993lasn2vau8        BTC                   0.51141196 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q9fazx7v5u49g62qdc86tyfllvy0lnwekuvkuhg        BTC                   0.51141196 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qa4nl9xe2wel3n294tpk8vfc6xujepkenx6fpyc        BTC                   0.51141196 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qhmrxr8e5rp023yxfe9d7a6aqnf25zc7elrts0s        BTC                   0.51141196 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qm7rc2047tpft8m9428t0x4mh67kwqlm6xf93x8        BTC                   0.51141196 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qp8tstc0q8vwjjet4cgaky6kdrlp7h87xul29vm        BTC                   0.51141196 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qsh8dm359qzcnrkg79yg94hfryr2as4wk33crxy        BTC                   0.51141196 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qsshw9pjx2wy78p627jmksnchwrvnsy6qpqj8y0        BTC                   0.51141196 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qta99xlfczc066fxqcrmf4he6wkxwz90vwqqx8e        BTC                   0.51141196 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qknukrk6mqwh54nlt6skuwz9crqf2qsdzncm65v        BTC                   0.51095221 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q0f7397lswv3s6lya4x0hcv3nmjssn8vk664eln        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q3f4zxgffjtg0lkavlz4vxjp40hq4rqupplqax8        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q7498u04ehppj808nncwhj3kcd05nh469sqwcfv        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q8nl7yhqwguuw3ahllx7rnhv5yqcjdsq698ttlc        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q9qrr7992ert8yhexgc4rrzhfryu85g7xvmxmrc        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qc0xms9llup5gtpw9sz2gnatptmncn9a6sthns8        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qd6fh43dsfat4vvc83hru2yfaynky9t8xkm4qg2        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qdp4r0gz9hjueksn46zqe28mh2dlarlu50vhfdt        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qdwh9mnlldshq325lvdlp2lwwjhk63q0avqckzv        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qfrdzkuyqsuweqqkamftxcex07n3wxjyy2tyunk        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qhajs6y9ke3lgmdgn4q9sdcneup3hy5ca3jttdg        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qlv5pjp9z76e7nx6m9hc9zrerg7dqh24u6578vg        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qn0pr9w3eeck27zl4zeavumk8xkmza6wee75env        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qqnff849llffx2p092lxvchlq7szr68kms0pnjp        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qr4n4yfyd0nzumjlgke5wnd479xp92m97vw3cyd        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qrnkmz4h2xwzser2qkxhyrandyfpx407fsh00tk        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qsqgqwagufyrf3m3gu0krx2ux975epug5qzak4k        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qt3d6fsxd6ws92g08gnzynexmswymn7ppw2humc        BTC                   0.51076063 2022-04-10 17:21:20   2022-04-10 17:21:20
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qt6ldtt02kmwra9wvnty7f45fgtljmsc50t5hkm        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qtamcfhw04flp8rpr434cvzg0uz3mta4jm57067        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qwdmwr0v9pj53rxu66z9vzgvgtyv92pcsc0elcc        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qwhtu4fu9r83caj74zqaalwz6d8cxtpwa8a6aqd        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qwz6qe6cu4zkvtmmgmqyvsaha90jr4pt2h9qqvu        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qx7tce0ekynra32vyautnwhdpnck9lqx4l6h8x5        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qzjvyjc72cu0j4dm9tcqj50hlqtqr7ju3uxgyye        BTC                   0.51076063 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q0pcp247karu5a2mxy70ctwu2a8qdzvasvpp8ct        BTC                   0.51075220 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q5vdkduzcj6t2fqdxmapus8ls305va8tps56vd4        BTC                   0.51075220 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q6x209ln6umwawj6x6w7eyynz22w0h3nff9xgv7        BTC                   0.51075220 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qg5560d6s2j6rlseqarl43mzzy9naaycqtvc45q        BTC                   0.51075220 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qyum8n520phf05shy5h3p0qagfk2mt48jmk3m2u        BTC                   0.51075220 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qscah7c2q2rd4898ph3rmvp5xh38xu7g8dgvh98        BTC                   0.51069378 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qf2fwrhckfefdrqqnm5mhs444k5qrsmpj0zzxqu        BTC                   0.51069369 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qsgpls07ywly08a03x97c6t9v98v7fw2evw9vmn        BTC                   0.51069369 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qsx7uzpta38ven02dn9djuhapuw6ldx7a8yx3f4        BTC                   0.51069369 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qzj9e53pj39kyc4ap6qufk6mqfz66y53mdduwaz        BTC                   0.51069369 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qscn9w4qp9ptfnprrskq87msamgpc84fufv2ajt        BTC                   0.51069334 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1q2q8ps386rvm9lqa4e0as7qjeezxs5xlh4079l2        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1q2w3yrwcsqc0cvrrvfqq4wg3nt9psx9pjk0q26x        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1q4jlajwwgj5388tp8gdx5p9pyag54cn3us92u4j        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1q4zxvltxzr4vucqk2tvdwysdtlc3uykpms2ky0k        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1q5t2qm92chae8djetzt6l0p752s7apueswvj9tn        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1q6dvjskae8zydxrm25akq09d76eqkv4dufgkude        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1q6numna0xq6p6rdfsu3vaqnk8gc0rt7hw25mdhk        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1q7kksc543cy0rla5szze26qqlvszzll909v6n9m        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1q8477m9209wacae2sex8dvsmcgjgx9vdsdsklty        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1q8d2hrn4udadz4gqrn4pyda5m2vu7rjfqm9cmx3        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1q9xmttkfez5qel36mqv9gvu4lc06yztgpvp7ppd        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qd4euyryaqxg3lvzsadr893064xuglludzpgm4u        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qerpyhfcxnrgave9ay0nu79yuyvrhdhvpluswc7        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qf37pq90jr3hf2rj3de6z3ecqzh27ungrl49tth        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qhwhc8eg6c09wdhsdvav38fy5ysjat0kcjdj7fg        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qk6fdk4ushf2tuqmsv7cqheexwtp67xfhcwlrps        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qkf2uhg6vdt2aef8azq2rfsqaswpuwsreyzgcv3        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qlvle67salaljdh7mjkfddccyzulrxzg9kugl2t        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qmue00t5ph7lwvh6x6famqyu2gxnsas6zjt5and        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qnwy39kr4mtr2xrqprrhlljaq9xepzp62eunf62        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qre8rya8pqx6tgmu96ea0txq07x9fus0nudm5yy        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qrlxsuahtsj0plnay2ywyplvnh4w0hxxnmk5us2        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qsz0ke62y88z0v358fkns73q54mg6zj7s8dsdnx        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qu8vr5h506hmj6ncltzhevuf8utckr8spq247zd        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qujag6f9h2kyff89lg2lvrxewjd8senc4ns6tw6        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qvpyc894e84m26szas5juec0msepk9tlhhf2xwa        BTC                   0.51069325 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1q52zef3vf4tpk9url6484m6gtqe6kl7n73gas50        BTC                   0.51064826 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q6rpvc6w7tg7w3drgthsa7yxx0uzg46rffcwxpt        BTC                   0.51064826 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qeejc309thdcqkqm6ervfpnznumqnmq7ny6ycgf        BTC                   0.51064826 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qqpcnfdg70l09pduh43ehjre5p0xpr8l4kk3ecl        BTC                   0.51064826 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qsne7venk2gfvt5mytk9pzwys2h9u967clhj3pa        BTC                   0.51064826 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qwafdk8c6gvld2zgfmlg97g9e6rp9zqe674pyzt        BTC                   0.51064826 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qxs7l0dusu9xlnk8a52p3y0huk9wmw9v7m53e54        BTC                   0.51064826 2022-04-03 22:53:46   2022-04-03 22:53:46
                     1GwyuwhXPABNvb8Zby24SAM61ES3zn2qtu                BTC                   0.51062053 2022-04-28 11:50:40   2022-04-28 11:50:40
                     bc1q2wqywknn95wthj2zyn563rdde9g32rjm97n7kk        BTC                   0.51062053 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q2zl09cu3kd04n8ywc8h2rh3p3dqma3trmzehrn        BTC                   0.51062053 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q4z0uhnffc44xqrry0dkt7uuwa8lp0f0upzzu5s        BTC                   0.51062053 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q9esl3upka5f48nj0457lyvpy35yvgjf2yd73gd        BTC                   0.51062053 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qengcv4yv30h83mx4je6nfchn2c0hue3c8z9t0s        BTC                   0.51062053 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qg78pde0eqna8umtdqwpa78ecaddcppv0305u50        BTC                   0.51062053 2022-04-04 21:59:05   2022-04-04 21:59:05
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qhcz8n2zrcfuwc067wjeje44v9uv22xpal476yu        BTC                   0.51062053 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qhs8guau4w86gqffa5cuxr49kc694qcv2c3lqh7        BTC                   0.51062053 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qmu82u86q64nw36flrued3v2agmlze57yassv0j        BTC                   0.51062053 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qqlnxxphqw8ka29ctx8d7lh99c2g7xz3cggqpud        BTC                   0.51062053 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qqzu6gufds9m5xxyahtyvuzml54me8adp5lwspd        BTC                   0.51062053 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qr6702allslwsccc2fan4h93xvk5fccy289whgd        BTC                   0.51062053 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qsd6vy3d7qzv0fh7uqnjs4jnfa5swmrtm4z5fpj        BTC                   0.51062053 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qsf0r84m8lzd8mzsctcqncunezeg8a8auk6nv4s        BTC                   0.51062053 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qsr9vtya20lpc6k7q2jelk3czuwwtrdv668vq44        BTC                   0.51062053 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qv7rp0fpydvmprckudsl76stzem456px90cmarw        BTC                   0.51062053 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qvdrj6mfhqu0tvfpduww8y6rezzc3uz03f7kr7w        BTC                   0.51062053 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qvg8tw7xt0grvzw86q8u0uf0eqxl8nvgvrqhtsu        BTC                   0.51062053 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qvr7du2xcy7g2h5uwsvceqj6d4xcyf7gl0c06x2        BTC                   0.51062053 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qz7pv0j0pp5l0ehes6cycs0ygskvlhunfeh8frn        BTC                   0.51062053 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qc65yp6fgkww9zh2p7h5r09elcwkqsyt8qmr44y        BTC                   0.51026784 2022-03-30 22:01:48   2022-03-30 22:01:48
                     bc1qzql4ddae4uuzg7kcj46wvvsthlzy336g2vtvcp        BTC                   0.51010000 2022-04-14 12:37:08   2022-04-14 12:37:08
                     18gwe6MAAuk4BGEMvLfZvAa644JkADDCYY                BTC                   0.51002960 2022-04-30 17:36:41   2022-04-30 17:36:41
                     bc1q2hcxww40tsee72mv8uf8u5atvezlu37yvusgrx        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q2rtvqsr25cgaxwudzrvt70a57szphfm29tr7yd        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q4te339dk3dnafw3gaz0n8gzl3va4dg5ezl2c3c        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q5qjyqhdqkncvrm6mcnyl59l5plts4wpzeahxeh        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q8t5dmskejx58gckx4al654pwgpvr0wckgx3e9l        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qad6tna5u6taqmtp42p24dhe3l56h8c2u64pk7v        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qd5hhy3k0eenrr38642ejn7wakhedsn7n06klaf        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qdca3ht6c3f2hhj0ygqznh0797ghy0l4al6v7f3        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qdgh84f7yyjqe6wm74ywfyrcu8857n5nujvh5jd        BTC                   0.51002960 2022-04-26 06:11:41   2022-04-26 06:11:41
                     bc1qeqjc67za6zvfzaa0lgl6wfmhuldhlzskh8nwax        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qgmeh4ru9ed7azdagkvmtwdcqj5659g0upxrmds        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qhmf3ayxx6y8x3tz6mg64uxgfxrv47zy4qjpqk4        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qjaq7sfmz498af9a7qddgs3kjj95zjmujg6qd6x        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qkp43d83y9jxf4s0qjrhkqr43my70zm2pqe56c7        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qkz92a5fl7at85htf32cehm02lt4p5ddmvkmjxq        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qllu3xfj0h9fsc2ma5d359lgzt9ux40ydghnd2n        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qqgpjst0pet5t2kpqkml0gwzwuay302mvfuhw5f        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qqml2xr30y0dcc4d0exak52urh4jk8tqrhjn6aj        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qrslzxtpp5ley8xps30kyty2df9ny5k09e9m7qm        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qryaned8y4c484kjjdq5wa26v9emvz2c0lzuvmj        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1quccfcnqc0vc0xj0rrqkqh6qyzpzdmfau28gcpr        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1quzcqrzrdqvcf7hu0ea8mqe488m9uq6e0lyz6zl        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qv9yz44qensh6xrd3qmz07j0apmn7l93rggnkt6        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qzph826g9xu2h89tpels56ryqvpt8824yau5adq        BTC                   0.51002960 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q3fzu0c75mmg9u2yhw2t3p7tek6aya9wdzxefk8        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q3q8tjv2v5aa9rexu7g92hhann5hc89mc7le3ru        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q3v3eznjgjta9jp34y3ursv5ymy44ev37amurcw        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q6qgm6u0z4s7j9l2gvyawmat78ldj50kpeve4rx        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q6sq40zpa440qqeqvu5dnws4pl75kcdrhpf954s        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q9692nrhp6pkamtrusq0eaj0mwwpgf7v0xpw06w        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q9fedqyfwlrrxuyv8f9y5j8euukykxkucs69xcd        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qcphntgqjelr5n44728kkft5l76rvfzty37h5xn        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qhppx4ngjzl3gxquqxvecv9glumx33qxwdnlxp7        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qjtlqamklxyqfduj4kjpqa0rdgr8zg37v0kvg7x        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qkv8tcvvrnscu08et4hnhtw63khfffq67qe7j6f        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qmmah8u3503mgr37aqygdesujmpcy29775lgkv0        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qn9re976m42q5fl8sfzw39t69ufwd7y6ujfaudn        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qqqm559ayd3cn0vjcu93s86pr3sw3fcpaeykevj        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qr2rzn8x5a3tk5pluwt0zwsevxhrh2nws5tafc4        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qrvcszvwt32awpkkz4qfjehrkg3gxnfl4gd80rq        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qshap7npqwzyaaksp06laytspq4nv8n2shy8e4l        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qsrd0289hzs0kcx8p2q78fk904k8zpt4aqmv5ms        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qth9gswkln6xfy83px42eq78tdpdxeq0sevu3e7        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qum9t06jjvc73l3xcpknlxvrse9tegacd72dgas        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1quwenj9wny70wzly05mss2mndlw7u8a076wfxdj        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qvp6xmmpqz70yewadsks39ddewqwct3nn3hhxlu        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qwsmstu3cuzr63zaek6qcaswn5m7tpawj2eyjzn        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qxgj58k48xsdkn4rm2k7fc3yw4rsrxjhws3um9z        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qy3xhuc350yxu89lcfgfjtuvs8en573w97kdzvs        BTC                   0.50923656 2022-04-26 18:27:36   2022-04-26 18:27:36
                     bc1qygnfsye8vjpc6v2jtcww0x9lxppxvn7w5x0vgv        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qyrqnmv93feu4gs4f88y86mtutwxm652ml2dx3j        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qyynsh3xxeunc5pc4wdluh85y3dc4kqqs44udxf        BTC                   0.50923656 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qz7x9036q6vut9gg8a95rg72zsuc4e7qwur5ptt        BTC                   0.50923656 2022-04-10 17:00:43   2022-04-10 17:00:43
                     bc1qvkdezzaf0a837kdcw5je5wass8jn9w57frc63d        BTC                   0.50836464 2022-03-31 22:32:06   2022-03-31 22:32:06
                     bc1qwfkcq6z7ckjpnszwnvav34vy6spzcyg3f94z4w        BTC                   0.50836464 2022-03-31 22:32:06   2022-03-31 22:32:06
                     bc1q9rakvfcscaq4240fmnqnygkhlcklkwlrwehk52        BTC                   0.50768371 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qlp2j4w77wnmuweufvnw2tpuaurwf96m4jxcaa3        BTC                   0.50768371 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qdtd2rrhrrgck9wa5uhk6yp33vr8mv2cl3875nn        BTC                   0.50684811 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q0uee3wflhwefpnwrccy8clsss46actjc0r5hqc        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1q2fknzx8qh3m78mf7ujwpp94lf5nqu8sh4rh3t8        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1q4ux2as4uqyg9zfa8xnc5zfxxn56akz59vwjtxh        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1q6kr2s0yx0zwfa7wft263z48g35qyerzve7735c        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1q82w3dkgcu92yjtyv6j00uzxg7ntqm9hys9qjmm        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1q979unkx77272qtwmnzg660p86krx7rep8nfay3        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1q9x6vzya62v7smwzfs2xsjjyuted2m8rttat0re        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qdc5wr4fnuzlvqymecgldpy7y0r58cmwx38wszp        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qdxel4e70et7clyfkhptwytszqjq9u9cz05rga7        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qexpu9nyyppzjlp26h4hd2vfvs6p0pyfu2vve49        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qqhgl2cupqpd6f09f07jyztlxn4y2fu57mlusu6        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qrf9drf2h503g99erd54jw4cmm5ml0yjue8gy34        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qs7sjm68cfpnxlr374rf79ycdcshc5v6wy22mja        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qsdmxjnz7hdlnvfk4cnm9a6776dtqp8nu59af6w        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qsmfav4kuz7f5ff0kezefq5qaz4jxfjg55g9wph        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qtz9hvfx67lwtrqxex50vr2uh2ngzlslla67xn5        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qvcm8p4a90vd2r6alr0qyrq33l6du59k33zjrg8        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qvxf2ep7ugk96huqhjyppc4vm926q74flzsdyt8        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qxkkwywwpp6mkrf0c5cz3cr68gmmql2r46tax8r        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qxprw80rtkra52mfgren5pqzfde30cvvc0zyajt        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qye4ck5vc6uu79kykgzwqzsh0jf3ttzdr4rv53j        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qyk6wyydlr2arze6dl7qv2s0qk358qwgvur3au7        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qyt0mp9ewywp6fhhtz79ghmslhh0y8p0plnfh5l        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qytwmejwp9dmawk9n86h3umzfamg86kxjxvlrjf        BTC                   0.50659689 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qhp3vw8evf79z6znwajdjp99ljye7hmhfvzmxxt        BTC                   0.50000568 2022-04-19 19:43:55   2022-04-23 15:59:16
                     bc1qaucqacwa5huhwcxhnyzcadrpfq2ananru06jfs        BTC                   0.49996934 2021-04-08 00:48:32   2021-04-08 00:48:32
                     bc1qswqxyaan9s29r42mhy93pt02rcnc3dw3t55uxl        BTC                   0.49996934 2021-04-08 01:14:25   2021-04-08 01:14:25
                     32NNmWqELdRvpKwgwxc8jWXdStSDt55uCR                BTC                   0.49972764 2021-03-17 21:13:25   2021-03-17 21:13:25
                     13oMD3dNamXJXcC48SKxEDykireacN3AjK                BTC                   0.49877677 2022-04-04 07:39:54   2022-04-04 07:39:54
                     bc1q2w84gpjs3n5n8580x7ywycvs68q3rnuufxskcp        BTC                   0.49788879 2022-04-14 12:37:08   2022-04-14 12:37:08
                     bc1qvyfvj7x567ncm5pq37e2czh8ff44uzk5s6ctuv        BTC                   0.49745785 2022-05-02 08:33:52   2022-05-02 08:33:52
                     bc1qnd6wtnfzu6rlj9x8u3gnda0pa9gzsj5hh8jukh        BTC                   0.49595824 2022-05-02 08:35:40   2022-05-02 08:35:40
                     bc1qcf9q54e4k75xcyrrneygrmnfe4udh8huxczdqv        BTC                   0.49463550 2022-05-01 19:56:38   2022-05-01 19:56:38
                     bc1q9yyk4j9k0aecz5vr38m2pdhz5cqz2azwvu04f3        BTC                   0.48915954 2022-04-07 22:32:19   2022-04-07 22:32:19
                     bc1qp4499vwr3vm3nrtls3ky08apd37alhzxmuzv8t        BTC                   0.48915954 2022-04-17 06:18:28   2022-04-17 06:18:28
                     bc1q03w9733sxvn2xcr2m4mxgc2sa6h9vhz9h0wnjc        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q0y6ef40gs06ent6jmdstuzt7fl8qsrnvcywlu2        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q33hej9nvhdjqkx47kpw0dwgg3m8cg4s6g955k0        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q6sq76lc4t0swdfgfxkyyp70gtgw4myy4taphvv        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q763spu9j2qm35lkhsz2qghynnjdhk5am35hnwp        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q7nwrdav3a37s96yggmgtpljar9qurdvnfzdn0k        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q7q97lann90q3vz2r29y2g6su9u6xlps4eh9724        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q7ye5hunmhhj7tttvw2wvcc4mdc3t572tfusrsk        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q8qnjmgv86xvywpvd0uhfthapds9vq28040rgxe        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q97cdguj60knkj5j6kwtjy73u74ssxccatqa32e        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q9rskp9n566n96tvf0tnphz3sqmq5cy6zwdnt9z        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qe9g93ad6730n438k6ft5vlp3su84yy07ljpucw        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qeakn90nh0vvw3se9tm997nzkr8ln83qazkx9sv        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qgh9eqvn0qg5ve6duzcgv2u9aunczn79de7645t        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qhuuv4lnj49w07m2ky4mmac67vwlkk4zjp56mtp        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qjflk8l80al50m7ajx6pyuw58h7qcc0jnzu2kcv        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qmc362qzaas654g4278hv8nehu8j6zrn0455fgs        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qmfw4uzhkgzpsnh934643tpvwx58znuudzf3zpx        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qr0afcu9d7f4kmdq76n970w00us4n2mtt5p0gg6        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qv28q2mh72ycfg2664e5tf5avuvf989zq7r7pfz        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qvhfwp7ft70043xdcjk9htegn4q9p08hgc8kz6v        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qw2sxgdpaaz7m8nfa8xtdjk0r5lphq3nlysganh        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qwqkud5wcfvc99auggje86kcl8g27cajfscl555        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qx0mddf8zury2h3lnklmczdzkknrjgnchfdnk5j        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qxp98l05q0s54z5xarvsvzv3u34v52gt4crsr9n        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qycr6u9xvg63ty2kju7qp9rwatqg2200g2jd92k        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qyrtne98mgatpa5zzlux8k878pyvfxmkvgx5dg9        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qzwrhdtxgh3m5rs2nkxpauq94gxtnlzqfmulqc4        BTC                   0.48901905 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q3hlp0252jgqqne0qkh9e6ywdxhhw388pq8n9zj        BTC                   0.47482432 2022-05-01 23:17:22   2022-05-01 23:17:22
                     bc1qn7keu33fttjstvg2d3mje7rdamqtml4pccqzsw        BTC                   0.47362734 2022-04-17 18:52:09   2022-04-18 01:24:52
                     bc1qd8r7pckw7c3mts5f7huz9x06ne9kka7d9kyxlx        BTC                   0.47158746 2022-04-30 08:49:12   2022-04-30 08:49:12
                     14kj2WqjoDqfqRJo2Mtop9DofELcdR2X4i                BTC                   0.46658883 2021-03-24 20:13:41   2021-03-24 20:13:41
                     bc1q6ajkvyjrtn9dpszmz58gvh9nux6jx42d37dkp2        BTC                   0.46658883 2021-06-28 13:34:32   2021-06-28 13:34:32
                     bc1qsfsmdaqun72j8haws5hxwclal5x4lzctyhrjkk        BTC                   0.46658883 2021-04-08 01:04:38   2021-04-08 01:04:38
                     1C3VSyxfxQdD23zDB7yYxNcVK3dwiVJpBr                BTC                   0.46399399 2022-04-17 22:53:28   2022-04-17 22:53:28
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q824z0ha03xpgqhnl7czp4728untjh2tfhqw705        BTC                   0.45760653 2022-04-18 13:57:25   2022-04-18 13:57:25
                     1EBZkwouCQuexqEzP58Y4WGddb7vUqagdS                BTC                   0.45091576 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qzd0tzugju4y8sg3446nnzn3pmmp38ru7ccmxk2        BTC                   0.42994916 2022-04-04 15:56:33   2022-04-04 15:56:33
                     3PPZHf3x994dGcKV6FbB53KWZ8v4SBV3LY                BTC                   0.42443695 2022-04-12 07:44:55   2022-04-12 07:44:55
                     bc1qywsvshq3wztef5ez05hnnkjjppt0j7vmk4uxfm        BTC                   0.41776030 2022-04-23 16:46:40   2022-04-23 16:46:40
                     bc1qzdyqcxyjfnvk0zv4nvyfy9e37vu5tc0v3lx03s        BTC                   0.41769667 2022-04-27 04:02:35   2022-04-27 04:02:35
                     15WvV2xkDagLQTY2sRaZhk9u4WJYftVpN2                BTC                   0.41246891 2022-04-16 13:13:05   2022-04-25 07:55:09
                     3FEms4o9XguLHdfu9U91fFcJKHn3K3Ao8D                BTC                   0.40000000 2022-04-12 20:48:49   2022-04-12 20:48:49
                     bc1qupfaz34ry8vn2l8f4mjj5yjpy7j63vfnt4xspj        BTC                   0.39999020 2021-03-30 16:47:06   2021-03-30 16:47:06
                     bc1quy22vmeg7j9nuw5all5e60fcxpzr4jny0tjcjw        BTC                   0.39999020 2021-03-31 11:53:47   2021-03-31 11:53:47
                     bc1q96j6hc4904kphd2gvsx57x322haw2mdlqay76d        BTC                   0.39992764 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qqdjuprfvrs22kk7czn0yhh3eahfe9t9t82j720        BTC                   0.39992764 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1q2r5vrwqwst4ravmhmhhk0fd26kksh6ge352k2t        BTC                   0.39986846 2022-03-24 00:25:38   2022-03-24 00:25:38
                     bc1qdt4qj0av4j08pxy6weltyv0sqg2vp9p9e63gvt        BTC                   0.39986846 2022-03-24 00:25:38   2022-03-24 00:25:38
                     bc1qy5w4sy8z3460x5v4tqwjzca06jd9hqhhn586tp        BTC                   0.39986846 2022-03-24 00:25:38   2022-03-24 00:25:38
                     bc1qhewr9vle7zhz635njcj65333aw0lvyqzc4xqdm        BTC                   0.39295819 2021-04-29 13:10:14   2021-04-29 13:10:14
                     14yk5g36Ru8VJMkwDiKuSrvHeMaq5VYDEZ                BTC                   0.38919099 2022-03-30 12:55:57   2022-03-30 12:55:57
                     bc1q2th0pwp967xfz9fyq6q54v8wrm4y6c0trpt8fh        BTC                   0.38826610 2022-04-08 04:38:28   2022-04-08 04:38:28
                     181DxRctFSwM5znZVLPxzjnxpMEaNdtDSM                BTC                   0.38398045 2022-05-01 15:29:55   2022-05-01 15:29:55
                     bc1qvy34guudjv6g3x7h72v3fuz5wc4684e3hj5dkg        BTC                   0.38396257 2022-05-01 04:10:18   2022-05-01 04:10:18
                     bc1q0aferldhn7ux8qmva23wjqan5ywdwxvkq25hh4        BTC                   0.38394760 2022-04-11 14:56:53   2022-04-11 14:56:53
                     1PRHt7zsfseJWQwap3f4dTwyQazWRTaUCL                BTC                   0.37677813 2022-04-04 19:04:16   2022-04-04 19:04:16
                     3AZ7CcUqDAJB2D4DrzvTb3smgwepcGeega                BTC                   0.37320101 2022-04-14 03:11:45   2022-04-14 03:11:45
                     34dKNXgo9UH4qqYE4XgkNMCo3Cczu7XrhA                BTC                   0.37283333 2022-01-20 13:05:59   2022-01-20 13:05:59
                     bc1qyaaj4xyk5yrtef2lysu22dmvsgj56pkr8m6fwg        BTC                   0.37129273 2022-04-04 04:30:20   2022-04-04 04:30:20
                     bc1q56td3zq4qm88kprwsmguhkd7ckzp8njty8dpf5        BTC                   0.36697571 2022-04-04 01:28:35   2022-04-04 01:28:35
                     1N96W5HDoYGCpLs55rNrGyTMkhqo2tvsV4                BTC                   0.36666516 2022-04-03 15:31:23   2022-04-03 15:31:23
                     1PqAJz9kXgQHEVGUF6kvxtLyekugC8CEV7                BTC                   0.36666516 2022-04-02 01:18:30   2022-04-02 01:18:30
                     bc1q579y6jgun4876vjf3cx9a0jegqltr29e6eqzxk        BTC                   0.36666516 2022-03-20 04:23:44   2022-03-20 04:23:44
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qf3ftulzxmwl907a6ws4uau4wn3ml2xlhr4vt4x        BTC                   0.36666516 2022-03-20 04:23:44   2022-03-20 04:23:44
                     bc1qxzjzwql7ezvaq00ecp7jan562r7063d6fks6uu        BTC                   0.36666516 2022-03-20 04:23:44   2022-03-20 04:23:44
                     bc1q0etcsphst97anpjp6m46p0r53pht6faf3k96c8        BTC                   0.36666496 2022-03-20 04:23:44   2022-03-20 04:23:44
                     bc1qkr9d9vvj8t05nzw2gg5vkfnxpdce74vnde2z5s        BTC                   0.36666496 2022-03-20 04:23:44   2022-03-20 04:23:44
                     bc1qpukg0mr44hwlldk9hsvjmtcfxhum7qkx64pwej        BTC                   0.36666496 2022-03-20 04:23:44   2022-03-20 04:23:44
                     bc1qsgqzg3w850lht0y287gqnkp22nfudjknfl6vjf        BTC                   0.36666496 2022-03-20 04:23:44   2022-03-20 04:23:44
                     bc1q9yexm4z0d07jnqlq6t7llzwx3tg48sgw08gu7f        BTC                   0.36587047 2022-03-25 00:12:44   2022-03-25 00:12:44
                     37f7pMhen9xZN2JxGDWzuBefVLKgiHfVaM                BTC                   0.35972152 2022-04-14 03:11:45   2022-04-14 03:11:45
                     bc1q200humncd63q0dzwt4n6g6yyeue8kq6je5y0wu        BTC                   0.35914616 2022-03-22 11:55:35   2022-03-22 11:55:35
                     bc1qxljfjnp5fgkq6snauffj63j4cv0saqjjj5fesr        BTC                   0.35914334 2022-03-23 17:50:55   2022-03-23 17:50:55
                     bc1qxul7shms33h3j7r99t6kjumquzjht2vnfvswvy        BTC                   0.35669602 2022-03-24 11:38:50   2022-03-24 11:38:50
                     13iqP7jEsV4STjcsmir69omznXCzqcMfDq                BTC                   0.35364218 2022-04-21 22:22:31   2022-05-01 10:09:03
                     1EUvkrRw8bGYYMv1kcin9hfRJrb2t8LHTo                BTC                   0.35198872 2022-04-24 15:20:04   2022-04-24 15:20:04
                     368PvCmk3QxGFAU2NyXpv5s8p9qhcUnBwB                BTC                   0.34773775 2022-04-08 01:48:15   2022-04-08 01:48:15
                     3LGJNHfrJJWe5x7PevR8uCC4VjdGnNzgFd                BTC                   0.34463435 2022-04-18 02:24:33   2022-04-28 17:31:54
                     1AnZZqTNTt77Sx6QWbbLVDspcsSfXuxxdP                BTC                   0.33784024 2022-04-27 23:50:33   2022-04-27 23:50:33
                     3GjW2qPrXp7dEFvTFPFQ5xVfcXn4JpzBxS                BTC                   0.33690561 2022-04-15 05:49:42   2022-04-15 05:49:42
                     bc1qh8cqr2xwyw8jjsqqrftx4ly5m7u2x5l5k0d64u        BTC                   0.32559405 2022-05-02 00:47:55   2022-05-02 00:47:55
                     bc1qudkrd98y4qyapnhyn46kr3dxrkld35g5pjyw8y        BTC                   0.31995747 2022-04-09 11:49:17   2022-04-09 11:49:17
                     bc1qecluaq62r82y02javhg7rsdr06l42yhm7pc7ll        BTC                   0.31746031 2022-04-11 04:55:00   2022-04-11 04:55:00
                     bc1q3tklrywumhkp3x3s2v87pdwu8j3avqzs7z9vgw        BTC                   0.30361272 2022-04-15 22:39:33   2022-04-15 22:39:33
                     bc1q5a60puvwun8xuxvxn4nuneuxegvzteeartm26p        BTC                   0.30361272 2022-04-15 22:39:33   2022-04-15 22:39:33
                     bc1qc0nj023mpa30nfvmtauvv9agnm7nz448ss8k0y        BTC                   0.30361272 2022-04-15 22:39:33   2022-04-15 22:39:33
                     bc1qdzuhpjss555wt3rrxn4ej5nptqa5qvx69l66j0        BTC                   0.30361272 2022-04-15 22:39:33   2022-04-15 22:39:33
                     bc1qrukucd8hwway0f286vnl2sdms0hjgx4lcatrmp        BTC                   0.30361272 2022-04-15 22:39:33   2022-04-15 22:39:33
                     bc1qp79p95t4am644uvmuzzh4tlcj88k2ra76jjxyq        BTC                   0.30361272 2022-04-15 22:39:33   2022-04-15 22:39:33
                     38dM7KAWfVQ83gfzkJv4WDb2gGrxTgRYd7                BTC                   0.30068504 2022-04-24 11:11:42   2022-05-01 11:08:10
                     19sosF6jvurWL3VYe4MF9KwCmKk1RQm34D                BTC                   0.29979908 2022-03-28 11:14:22   2022-03-28 11:14:22
                     bc1q4yhenxye3kplmhm4rnyclrpqarnmvgs60x46rs        BTC                   0.29979908 2022-04-27 00:46:59   2022-04-27 00:46:59
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qnd96sp4l04vleks3w0ftca303h9ukq5cd4hfdm        BTC                   0.29979908 2022-03-20 04:23:44   2022-03-20 04:23:44
                     bc1qrczh6s24kdmn0h59cy86dt64l4d39n9dzuefhw        BTC                   0.29979908 2022-03-20 04:23:44   2022-03-20 04:23:44
                     bc1qv9csrprtyhufn39sdvmnsh5qqkhuvfuugal23x        BTC                   0.29893260 2022-04-02 12:01:49   2022-04-02 12:01:49
                     3DiqvDxRqPecarGsccpWpXng7wLL6d9Q7j                BTC                   0.29240687 2022-04-18 21:51:23   2022-04-18 21:51:23
                     bc1qy4rdr8hs7lz7u7sdwfs2jw57k48xahpw26kwsq        BTC                   0.28934895 2022-01-08 12:21:14   2022-04-18 09:42:11
                     bc1qyfjv0hs9hyxnrkse34x0j0kzj60qpdvdhvn7rj        BTC                   0.27377889 2021-03-30 00:23:23   2021-03-30 00:23:23
                     bc1qm0evles3l7e487mwtgc7t9a0pahwj7uuc9xu2n        BTC                   0.27299524 2022-04-30 12:52:51   2022-04-30 12:52:51
                     bc1qyg6tjaxmru5jls32yxlsacsuqa7x5e5rhjxdef        BTC                   0.27196768 2022-04-19 19:15:56   2022-04-19 19:15:56
                     bc1qksx37xd3h099szdxxawcadz5337vev9nej22mr        BTC                   0.27059082 2022-04-07 12:40:56   2022-04-07 12:40:56
                     bc1qyk2g9hdvey70c5zsnargqf4zcez29e354drd9h        BTC                   0.26270713 2022-05-02 11:05:11   2022-05-02 11:05:11
                     bc1qwfvnuwtc6x3tps6j3q4znzuajv8pdupgqrdh2e        BTC                   0.26145067 2022-04-21 16:38:21   2022-04-21 22:22:31
                     bc1q00ax7m5v85w55t2r2602evjl29veppae4s24v8        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q00yc7x5xfm8lhzaxp9tud0lqu47kdjkplljmd5        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q027pk5unhazhdk94mszcpas2hhfpxruk26fpxw        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q02cscpqycwle9x6xpf2zsvttrte07vdcx4dqzp        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q03hwfrkc2nda38ve5c0juq73wpd99kx87gqx02        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q04sech5mwaxv0w4mzh4qtgyrc8ckup9zcegn50        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q053rptf0wnufud2xquqy4h4xsrlc6c3xvnh9dn        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q057qsh2peytqxazfdtl4g9t0asrpu6yyxa4j9n        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q05c8uawla3cwj82agkcfd0mlr352zfyq07fl92        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q06j73nfyqddk5vwc6m7cnanc5xtj9fn6q4xvak        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q074z2m3v6s33azwuvt9j6x7yq0elj94jz0yf9z        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q080agm0p8wal0yycmyvwg3ss9u3gqtrryenzcw        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q086wsh3g34dhsmr0qel0sgqd8dgmx8ej87rxm7        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q08f3lc3wrug54yfhfqn8cj8j34qe6wxyvgac28        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q0957kgd6nwcvew2q0tkuv2e9yk9jlrwxnaslyr        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q0a9068xzrx2xw4r6lj9zjae48m34745pqpel5g        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q0aqeyp2vu320cz3a0g0ep97dzml2aa42f5cwp0        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q0aue33tfzxkngsjrkenq674qczredjl38dpwfj        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q0cagj9przsun2nrey92jlst3e5gn5ksjsgwt6s        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q0dsnt7pff782q0qag3w2dtl6nh3a367g2ce2te        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q0h0f22e4kllevpaqn3m54cgy9kx5n6fmmw5zee        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q0jw6s6mf2mzdyyz0mumm0r8qelnyp798pnp2w4        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q0k3w85nvry9d72c5x5yd0u52vwpx847n94z3wm        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q0kyt5g6xfw2emnskp8epfqzwdf8j9gznj2jmqg        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q0mpx57uqesaw3egxumdznv9ttaru8y20zsq7j2        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q0n4cqfkdycj0m89wwwef5afs2fnmxr7sxh2lzx        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q0nxkce8ftdwjd3wr6vp48snthe96857jhq5xf9        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q0p74hdysxh8mkery44983k2jdwkyp2fwdg4nuy        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q0pgj4xw9u5kyhty8h6gjytdh5enr0f5y6anev7        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q0q9rye4d5q9ecvws528kryzjzzkzr68rrwy6cc        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q0sdrkwuehqu76vzklsexzf5g85zp5wpt9e2kjm        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q0t8kcxmawm58ampy9kwmuy9a5xyrpy334gtjgl        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q0u0sal6l002xpa6eq45n5ln6wst40wfss5tu84        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q0uzpzlrawc24gvg5uwuy809qcphtal055qtn8n        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q0vxlyyzf3cxln53rykud2wtcsgaa8gg3ty3d58        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q0w7jnut5a9qgxqau9ngmpzp7dj2nrz3xmxv3fa        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q0wdauph5k053hdggtvy9ucr5pg025pg4zutftp        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q0wz5jms0q97v9tufgex90h6wsvryhkhukzvyuk        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q0xpt5pdtcpzhpqwuxj2nasrzdw0gee8egxuvhc        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q0z0hlgq043skhdnzteadhyx8n5nh7d4dgckd07        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q0zzr5kuhnnljtcnma2pru9d3vxva6f62c9g3la        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q2038attx97azqrfp3xk4yrhyg8sejhj4yyhszn        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q207230edhpzrkpflpwkum94tgupeelpnfg03s8        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q20d8n985ef249n0u7fpptf8c98vncagxgqmv8y        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q20f8436auvsm640xarkk92d69pz264kyptv0kg        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q20gew73uds8s8hm06ev8dxwl33vzxq6rends8u        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q22ceat6gzkrk0pr5edz7pngtlles8dqe3ms0fm        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q266mr0qv3tydvrl065t7gqcgek74x3vz0le37w        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q26pts5n5ptazzuyxjm4aw77ew02sh9wks7uxcy        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q26vgj6hg3qnmfae2jfnzcmejmjqatadww2wwuz        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q26xnhyuqcpp2d8cvc2s2n8mfhz5wugl20rych0        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q26z9vdd4gwh4a8gxk0mcm7th8jtgcf52eu0wc5        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q27esvt2v2ttkjxpmf6pyfksxpzkjp3ldvlz8u0        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q282tyxdw38w5q7uu5cyy2dv07y8l0x0d2psnu8        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q288pu42g4zqzkzhf896ydvpeneclc3yhpr8p8t        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q28dx2q046luv3t0vcvh5gsrrjqwf7fvl8dnzpt        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q29l4nwetvd4ddfj4kj0729g9l4hhmhj25pvhmm        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q29nkt8jgxhne2msx2mhgf2unugxhzwzd0uty8y        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q29vxd4fqc37qazhz8vq8zh08p4wgh8wt7cdn5f        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q2a49h8dadtj0pflrephk7972m5dc2fyr0ufgu8        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q2amhv6lcw9m8l2nhpt467rp0f8wqz6z6ccch98        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q2c2vl53ngvchxd8y235l3dlysh5vyj5sx4qnud        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q2cdr6v9ghacpj20fy6td99xljdduqyp46peltn        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q2d8kca525uvjggjvqw3rm4yryqz7rw57r8d0ur        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q2dc9s2lx2yjt5hvsz0ks5lj98rwynjd266kcjd        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q2fk6m2pn76cq0mrkckjnnfzlpz4jln07da49aw        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q2hel4c8s8wg4rtkpx47m6f9m0fytd36v84yn24        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q2hxuneehklm5ytp078us9zkp7nm85hvfqf48zf        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q2k8jangsfsgjz0tmn0kaxjk462zpjlzgdlz0vy        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q2kncvga3nekzzcnv5t8jrnvwkulg84vwgm0kfz        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q2l8tfyycrs8s2n33tk7p3crj5p62gtcp7va5mv        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q2mauhjyh0k6ph2kf9sj5zldfp3aj8envnne4wa        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q2mvcjkxmh7fdcefng3jw90tml0smfcan50ffzy        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q2nh89wtddkm2axazgw8zc5n52xuld4xldc90sd        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q2pmz4300f4amyss9f6x4tq87r3ly0ktjtqzctv        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q2qay936x0ge3qxe3rkcs5f8t220q0v7f9nm9lu        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q2qc0auulzyfzadsuvynzqhfu7unv29s39xs7eg        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q2rjq4vg0xz53n3yvvhxgut68gs59y9ygm99fwy        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q2rlg4kf55efdjvhnpzd546sqe0hgx5shaetw85        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q2ta9yt0ajm7q0rsa2efhfn5dy7q5n5tugnvltz        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q2tlyepg4qxu7mz3wu9kz667m3wadp83wfu4342        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q2tqftyz9n7k3ruj7preklsrcfrt06zl500swpt        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q2tupcvcz4a6qzjjha3shdk0xqmscvvt0t7xgxn        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q2vdcg8l4lh5yrufzr0qytca3qs6hsqsnt2ty7v        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q2ve6sp5x5r5du9y0h9mq6cnpu9ju6w8r8hzwj2        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q2wdur5jv95j0nfks4ff7efzdhnd4l32q7fvywr        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q2wvsrqeacl6t93cxx0lu4a804sderk99530z0z        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q2x29tfjdc0nn7udwp7lavcnsj2junsz2w2zg62        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q2xc5v7xzphj74lmh2fh0fpurgjlg9kdejy5e0x        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q2xfx5v5hgy3ns73ya3v3gd60vg3kur94w207gg        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q2xgj47w3m7fp40saw07lflg55276yagcr9av8x        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q2yzancgd68ukuarek23x6xtdc6qsws8qp97auq        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q2z9zd5fka30w8rh343qxya4l8vqclr4eyt7qjk        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q2zzf3yn6v2zllm2p6kz590jk55urv76c0sz4v5        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q30jj55r36hmm3hm6csf6rjc3c23w8z84fknfw0        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q328hcl6vdhuvuqpdxm4wnhr8ka3lehsd37af07        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q33u948f624frjpl85kqw70cd4rmp3hu67nxw5m        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q346026kc05dsfdcxvddwn2qq3mx22rjdkf2q9z        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q34erpag5vdcdy6f9350xvvv6f6y5dctplwunhy        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q34hnhz0jka68z6gm2qyyx9mpkwx7h7s4hflqa4        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q34r62wxx79yj29fkfqth3vst9gpyrhudm847e9        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q35cwacez9nlh444293djxf68u89kscp93pf2e7        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q35hpgg3zkaf6wava9zqx5fplmyze75rm6zzkh4        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q35lpwv0rw73j292yrjh9xgs3ptmw6uxadn6j6a        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q35xyz37z9xf8lrxesurwxqzryjdayz9yjj9v42        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q36rsp4zepr4n8w0t0w6wydjhfjft5378dgyf0t        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q36tjcl9a73ucnwhy3n0xx8f2sxqp7lvc08xqlw        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q38t8yval4g8aa22jh2v4797uq73x9suwtnjgva        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q3a08kns6tz3ytcnxqenw2x0m87pdepfxt6kwju        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q3a3rm6zr9a802nvm74s9p65eldh36ussyyf2mw        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q3a8trq0ktedl320x7ndskppjf22mzm7jz2k4ry        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q3asj485jz6dz2czxsdayjkhamqu7zhf564lmqc        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q3dkw4x9erafq3vduxzjh34szdme0zceht83hl9        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q3dp6ley3slt0xlhw9snlxn724tsvlsku32ywq9        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q3e2z4tx4afz9s08s6vsmgkld8fek0y5l5wf8zk        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q3fm5w8qa2gav2usjdwv8emu9qk3w447jlje0fm        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q3futqra59zj9ujar93m0rhjj5naxn85r6vu5p2        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q3ha02c97fv3rc3n28vfkeyxkagxv729c5c3t2p        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q3lux5zlhk350u5sgt806yd726m0lhrhx89car5        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q3pfv8m9dex8g8qm866mg5ce8qqmcf77peq0936        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q3q20l46t5cj8w5xxmerxy9hr7aakvjaaxf7x90        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q3qe9uudgvgv5xn9ga59jaytnk569fv7kyqxz3a        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q3r4rvxjarghkyf9qte59xlcmgszm8qt4vm0v0v        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q3t5tl530q5zpfmr4gwqn0lj54rzy2gjafj55a6        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q3t7jyyv9ylf7q2snf42y6g00dgh7d5xe4fwwfp        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q3vcu0ykmysjqf4ga7xwgrwjx2trtqyqzrr9enx        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q3x3rvw5hqh8wmw4lkhcvh59lfqsfvfsup3xl2h        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q3xft97lm2sr3k4grxgak09zcpm92qnryrwqc0y        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q3xg4vvcevjtel9qqlfayz32hgqmt5n52py5zx4        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q3xpdytyxa96w386p036mdtm7wrzdlsuh7lhduq        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q3xrh93m0qu0ngqa2v464g3r8eyl64dqgq5f7cd        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q3y9uej5h2v6f8w40ygmem7gu4kjvcnxa4uwmlv        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q3ya6e7706srgwylkzmyzrpheu3padvjhy7rp3k        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q3z6rv46kmlux5ly6df4tpr5xpfjc5kqhg3xv7j        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q3z75sq3lwxj0fk2g8klr09gw4pwuumqlqen2h2        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q40hsry540fh04w9a7y9xt5ect3w22cggqyflpn        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q42e5tx4zaj4um08jdrshnk6wg93j5p7m3vuv4m        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q444k2mth0stmafkwqh6hqwx2dhrryrt0lff7dq        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q44q7czng0gpxvl06n6jetusurwq48vytrlzvkz        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q469278j4easwqgvyws5xus25v7n3genxdaf8m3        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q470hfrlgkwqmth99slmjrfrtp77wuruhkxmcxy        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q477rc4zvcwzzxau0nttm8vjg8ml8ytpjerjx85        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q47a44fnrax9a3u90y0pe794f64p3gqtfx4zcku        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q47fvy2yg8l6h773xlaeskuwxf7gthr9de35h8r        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q47ycjcs5azjyh8tq3z56e8qsk2ws0gk4rfls65        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q48z2eqz27f398vglmnq3vhkzvtc0ys7es5as84        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q4973pgsevjqs0snjv2ltnnwedlx3sspvuufmw7        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q49tkfcf72qvhq0ftyhy3vtxegxk3ksqn8cvzyx        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q4avvk0ksndgpud30x0tz9rfxgmyrq50m5f2v98        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q4c5yj92p9q0khc6p8kayf5s3hnl6fylylqdwfl        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q4ceppjhhq49hdm5yum3pt4u4shu2q8sf0k3ml8        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q4chgp5tmtywm6q6t7xvqxv25prqmv8sjzp9l6g        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q4clustevhfcanuagx34exsc0c92ru5mxly7ckr        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q4cn96qzcv8ngjpn40kplu5ah7rpr3jsxs3lwr2        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q4dt3e5y0xzzy9mf5cmyljzp9sy2tu7xe6nswxa        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q4el5cgrkup2am628knf5z9fcct2hl8scfrawpl        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q4gr6h33p2ztpcz6ktxcjrs7cfdnvevfpw77k74        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q4gugsrhjrkys2gmqax7k9snhw77nyd0clfmnmh        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q4h38q5nmud9zx27cry47qse3qwv46jxtr99frc        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q4h3pcp86wvmjgyuztcjxmzmr7tsa603qgzp79e        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q4hwsc76v573vz7y9pajnrlzxzk77kqzmq0k4p3        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q4jd2c8d7lz93xggpaqmxafwnqk2rpn5fn26v9j        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q4jx0r7hllyrnhpj9rry7e5k7q09f0q0x7st3k7        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q4la3v43se0v3prq7te9292l9tjhqa7u0rt7e5p        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q4mgcgj79mrwwl9ca4klhsszfsqexha7d087v6n        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q4nqd738jxn6nx3egnjhlnehzsrgk987t65fkmu        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q4pcsmwnk959zu8zgqlm7qwhvj7yqclhjls3hfd        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q4qkx4kx3g40u9wtdwsftcp8ax4xl6vhvkq6pk0        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q4s0dde2zxqqk00fy8m95vrk48eu7vl2dmuzsm8        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q4svz6edc02mqgqpk8ha4k7adu5kckamxpxp5je        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q4t5j4jfeapvkka2ykknu2j22r079hfc4rm4xew        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q4u4p8lwfrezle8qm29uannq752j5lycjuay38r        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q4us6zyzf2v02n26n0qnm8ymldf6a8a5nkewtpm        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q4uvtcwtutghs2ldguukadutfd34rqy99naaj89        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q4wy9m7drmfd8klr7424m5gnefeykfucxdstvhl        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q4y6k4z9509x3hjusmkam8tdsftqez0xyvghxyw        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q4yqg668u5tewzqlyqcu464ht6jf7j2gznkwjrg        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q4yzh966zqp3fdltjnhacq39ct5yu5pvgx40sfg        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q4zvrj30mysr0xteny9939hhgh3e5gk6xzmzcyj        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q509uare7xkvy2n300t0czsqgs3wdk9cecqltmv        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q53ahn7ckfhtrerscfnuqa8qt9l0q6r5dyycy09        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q53ge5nknvtcu6j95amkvwxrljwdaqqkk7rzjmc        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q53gpuysd49lc87y7yv0l7q6tv6hcze2vun44en        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q55hve8h7dwpx5zsl3ehpqddgj9q60tknae2hh5        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q55mw85zvm5jv2gdf2jw76e57zfpz4g4puxcdkh        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q55ps4uh3yrvt80we6tx6jrrvraz485exueq7vm        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q56w5erras2nz6rqpfhmwmvwcweq47ezgn0lljz        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q5777ukxpkaqz65my7fcr5q792wgtpx7lma79t4        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q59y4xm3qzwckl6uwj3drppvxgfsd6ssuhfcjtn        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q59zt8j7kxncptv6h9mkhu2823u87qq9ceya70c        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q5a5jvrjyhg4ec0eh55t0h0uqwrfp5a28llmq9l        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q5a78eeyg2sjt6t5gv4d3ssy7r06x8a2stz98l8        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q5ckue6xmclmp2fwker8wzn66encd02e8djple9        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q5ehddkvrdcvpamm20rw08dxa8ja9hzraw05qae        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q5fx59udgm8z3gjvtxj8yw7rjpdwzcja97jlwk4        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q5fy9vgggem2kw36skdjjzntkdpuq37v3y2adzu        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q5g9ug22s86acdkjtv5ju7weqaxfd6y5fs940h9        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q5gczxjy9y50t622ukezjqvf9z86n6zxkfgl8eg        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q5gpun7ltumdhhfnjhyz457z9g7j07d8za9dlyj        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q5hrg9cm2yltqy2ff4w09nwznwcn6nez43w68u2        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q5kj32thdd95rc509whduk2uyvhyfx3gwz4khh4        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q5lkhtcast9c37yerjvxvnwjwgt3njqwz5zluc4        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q5ll9f5t95k0nn6c9y400kyns45axy5vnql8hj2        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q5ltfavtq3pdyq24uvcvpvs0ex53t9f40p7zenp        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q5m5ajrrdsp3qrvdrtvq5xvls9t5phgdvfnjzhf        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q5puh5pnxczdzzuphneuvrer0fggexlxmgsj37t        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q5q8jrdj8t4xd5kqv296j6rh9667h4xrfsdjul3        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q5qjqmjku5t34696lx8m6y5q5e37jsdla2qvun2        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q5s5fq7ls272rm544f7mdyywglw9p9frjtylt22        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q5te9p87v3kfh6f6yrmgw32axt6yzvc0l3wqnpr        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q5tyek33qffhmlzlup248quvc65ywpjm932l7gy        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q5us6664vc0ky5m7725xmxs4uc2kpq2jx4gljfe        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q5usv75j9v5dxhc7wl32nc4fmwh30wdperp4k7s        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q5vpqjfzjye9e6jpjng09a42h55tunf0r366y8k        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q5wcr244gh76kxnn7a4zqtapc29e8n9gpdpder2        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q5xml9vgv9xw3fpy7twn898ukx7kc4wl8suk4k4        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q60yumpcdt7s4mdsqvqr08cajcwmkaf3l0etuz5        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q62fvwklakh4ee8l79uhwlz7r39ehvgzlu82prn        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q630z9zuxxsd0eqw5xktxfcqg6lt4p8tng5k64e        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q655lkhy03xn6zc0tct78fk57zc22feyzr2ug76        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q65epf5rjkfaw86dvyh5vnlc87xz60hhtlnmpxq        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q66vkhs0hnlzjl2egmxz5zgk0wdlcnnt6wuxgnw        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q67ws0hth0p847j9xwzqqmrsne74asht5f7u0fh        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q687w3duf6kz2h5t3sugvmvca7ptkvqjshyc7pk        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q68nr5g22jayjvt0xk0chyp4gytk9sud9cfjlvk        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q68s5hn0z9ns248ugeky9j3qdpnnueg9ef4uty5        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q695ytlrn5jut2qdy60m5zum0jt6vdgnyn48lqe        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q697nushfntwazxch9djmgfhs036fnmprygezcu        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q6d6s8mtn72fxwtmeegywyfra9tfrrnzppp2m56        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q6euhn37p3el85nyjn5twn7m064cs5tp4fkgk5p        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q6gh8dthzc89wyrxa57pjdxtnau8n6rzxgmhue2        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q6gm0wr0y30yz4lujgzrvkfxunajtwda8l8jkyt        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q6hc7rrrr5ktdczmpadj9plrn3r7c4gmu7674ul        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q6hfc5eq38rvrxfralch3mzu9g8hylkqwx3x3w6        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q6hywmh9tajj9kejs5vc5pyrmk6580ca43zcyld        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q6j3e9l9mpt9qnu7ls2wgc6vgdp0cddf8qh5u8c        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q6jgy753h0e7f6fx9ry9whhrzxvzn62fxfzfnz3        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q6jva4xjs9wmd2g5g243qmdrxsl65xyzjk0ejng        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q6k3yq3f0dm0huepheaqc74st2t0m5ycnt60e2d        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q6kmvwx5xnjg69278wwmfskcqpp7n59s98r0aqr        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q6lu0gul6dv2gf24k88cv7vtm9y4n8n0nwenave        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q6nhsscnq6su2je7ua4x22l5qtls8juepdcdsme        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q6p0vsmc3nrvmasafyf9frurt694zhxjxwl3x4u        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q6pv8d4vj4kc82wsk4e025fj7zu5ls3wqcrjrhx        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1q6q8g2n9y6p76vzad2j647ng0aeedj5dupwa9ne        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q6qnyw49nemfdvr38wuazm0pc6q06f3kvej2m8y        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1q6qvm9exs0mh9f0fvkkqa0dhp3c8xjsg56k5pks        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q6qxrx6l6tw9xx7uc62ykwhufjhaeym0qjxrpw3        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q6qym8jjg667d2e23qkeqxegd6zgwpm0zc7ulam        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q6sctw82j0f4wpr6c4fdkplv423sgzyf0f7hr46        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q6seaeaxk748x7qc70n440jqlecnvyzx2yph7gk        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q6skd8hwlxq3j8ne0hg5j0snlesyqn06pls3l3y        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q6tt53gfe7mlnuae097uq8wlld92tptxz6k4gar        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q6up0gtdxdppw69eq9nfrkhft3l64gu5nsxuj2m        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q6vj438sh5ucj3h366dsjqdmswytatueyqqd6xp        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q6wl864y4jj2cr72ep0kwy0w80x2s2zj5gs9ra3        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q6xydr87k36n0ay8pcwk2qxty97hcuexgr6aulr        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q6ymhltj5xnhj2u67l3ha26xw5gn8csxtp3k68p        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q6ywasqte6tmasxnp89muedlau7z4wlv39enczv        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q70wrneath77hmyuk25au6w8eyhfn35cdfl55hq        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q73g9xgdqaymaw4qt2ydjhmwztrj2rqflk7hmhu        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q74f8s506077p4ytwtjnkknl2xt2erldw32yz90        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q7554hj74c6pejqxjq77x47xjpw3pgmantyj57v        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q756tq3amwkt6ej68wndctuuw0df7nzt4f5kxq6        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q75jw3m3qxn2ecer46myc5t9fn0xheq0vj759rz        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q75mvne37tgjzl7d692aewghm9lfqkcy4uzakt4        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q76w5srrez8pezr4syxche95yuw88nqf2s0uq30        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q77a9q0zt45ngepur8cu57pkcfyxxsdad5dm0tj        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q77zt2uv7fnq5r8g84j4a66y9g028x8sdkt9fzq        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q78kkafeyh0xe8wn8ps37knax43hr59zhl5aqpm        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q78sd5q3tegddvf8hrp28u2xmtcm8vks294alph        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q78y3hs49vprpxpsyu5qg97wpxgaxgy00j895x8        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q7aq2u22y7et0wtnxvmfud3y3e0css4889ktxvd        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q7c07tdy4j3gq5u36tyzzlmkgj4w93xn9erhu44        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q7c8nww6jwqam8ggjx2xyn94n779e4a7vhcfsye        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q7ct96zq5t3np3j38n28u6cwlx3t4aw2vtctwsr        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q7cx2y2ct3ljcg2sng67n45r73ayqejzf6rsf96        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q7dvc8n489dcmt4tullv0zn079s5kxdkxvx60sa        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q7eeh6l3wg5fccgaswzwf6ufzg3q7xzfpe6zknf        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q7efcty2jk4krd2596ynf73ny6hat6vpdlgy20j        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q7g30yfgmry22gc6myfnlk5e3y8hf8g60xx2egw        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q7g4uq75cw2uvdg6fm5j9tktkns9nzd4crlp67y        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q7g58klzx4dtknyugesety7zzy5p9dxgrk0san7        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q7g9lcnt72hpauj8vv3nvhh85sgw37m3shkyszh        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q7hp60xpcquzy3j047uzcffxpam8s23lnlxzaff        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q7jcj097pjg3pf4tkp00vl58ml8lpaqdct74u38        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q7jjxct76989erltvr2c07vt9s7p3gr0gvk6w2v        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1q7jlj2pej6nnfaxeqgkv7ne6efhgfqufuq80guy        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q7jwt7tz6dwz9ul7q23mcejehzge2hr9ps77p4g        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q7m8whaffrykp9kj6f06eg73cm9nq64vlyexkhm        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q7ng6dus4hymat4hyjhtw375t8x5eua23ywnfhq        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q7pdgthdd7945x8hqa6szv5l2gdqw47j45xcx2x        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q7qg0dhu0tkxs8lx50w2s4gg7szaq89zt7essqm        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q7qzwzkvmd3rfwgcr8xny24lqn52z4kj5xl4ha7        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q7rdqsj9tmlnyjmnvrvm097xq8esujj5pvn7qnc        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q7rjhtf4ru7gqkp620u03yapc09k3hkdqgvrptn        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q7rs4psq95q7qvv7e6939eu6y0t5f2lu47p5v9l        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q7t5rsv470dv0mzjq466jlxpa9srlfa8nx34pmr        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q7t79u82ret5lflyag8tmzym83xxw5j2xcfdysq        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q7twd4cka086wlgl2flh2ucu95tgn874kwkj5pa        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q7uykacvrlskzcepl9kwey94gmfjlxumcfw56gu        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q7vl0lmem5c3wkxf627spxtju3w6ch8nu8e7mwz        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q7vrdv7e24xc82zsrqqa3y6fcq9mz4hf0r5h0n5        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q7vx5lhgzf3lmvauv6mavem4m4f0egdeuyfwq6y        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q7xc4hfj2wcua0xt80lwu9ycf0mrf0j9rn0zfsd        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q7ysp2a4uj9sx64hn5t07r8ahfsml8hczvc225p        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q829zwum3q7hcna548rhc002z3rn2qtrz3r3wwj        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q84h6fxnurglz9gwg3skenlhak25x7x2n03q88g        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 275 of
                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q8538dmls7r3der77gn7mmdvne2r5cp4a55lex2        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q859samk079jg745dmmdvcpg2hg0p6t8nyr5nul        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q86hdssl3zujm02eg74ypf42pffcysjyg7sfncw        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q86hh9fn338fdapx572w9rxsnhq3ct6j0x9p3ch        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q86vn4h99jv9keeveyefzdmys2us26ll9q2mekp        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q86vvmq5mrzuzsrw298rc04cvl5dj0tqgnztv2g        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q87flzn7mg5nau7xmq29ekqg4tfe9an2r9srvy4        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q87fr4lxx4prrh4r02heuquy88fqzslvdeftrtn        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q886pq9j4vmvef9p649z4q9mhjlulw4ylgy968e        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q88ezjddnn0h99lumamphx33kxektn0fnvpstql        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q89t4r9caxrkn3cxcr884mpzeljkn42xchrf7zm        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q8a5wfc7ta0j34fkum0ye07kgad9v0p3rk5g2jv        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q8adec7zqded7ky6jz7s8umk3lq6sqshp87f6s5        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q8aju9e0xf4uv02k6tzhegz7qhhcwkhjvdcw9yp        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q8amhhxdclwtmm56zu87vjz0zkl8h455rryq77m        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q8asx9792lutcy4294my4t82e4cw0g0j03gjkal        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q8celerzzl50z4pza57yerg8ezxt6d5yxvkwga4        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q8d0rvh4t2h3fg3qryqxzzk7paym3czld3y7vg0        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q8dym67petmzxvxtq2vvdl68lpv7arq7a85t2lt        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q8e6h0exe4qaknrlsm2vynyex540xzpvj49h3lq        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q8e8f9j05s08kucsdn75csf49wvhw48zjmnqfgv        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q8fh6c8msl78tyawu308pfdn6g0fevv7h375gy5        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q8gpd3xtwjh456c636msu9u23ft00uwf4e5cd8y        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q8j7e5r2sjc4uf4ffd0n3uq5nz8pnew6fq0gldx        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q8j7jy4uxl03c63xpxz4u9fp7xtp66tcqfmcur0        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q8jhem6cxntqquq5d5d9mwlnnfglzac2wmh49mp        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q8mr9flgky3gd0rhy493wdmc79m886aj8rcs3rj        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q8ntktnhypk6483kx6vu9tx0rfqyffnpeaskpfl        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q8pldhr9a9gug57yue29k9ygc90qlgcfkxyk2q4        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q8qxkms8eclfg25uy4rarq5xk6k5px579dsfwcn        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q8ryyundrlc0es3z5hgf9k57znd73fqxnlyj5zs        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q8ul2dnskpdk837s28jhwswr4zjl26qym8cy8x5        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q8vl33030v4wqnd0vs4fut6tc04r9vz55k6dqwq        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q8vqv43l44g5pgpdpnmrx9ue8g9yyklvx9qh06p        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q8whnvc6ntj5pmynldfl3xq3y9ndaq34qesly6s        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q8x05ef7t3l6wsglr7975yf4vn0cy3hfgdneluk        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q8xc3ph9a497jlcwyjh7se0ecfe58q5genk2pwq        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q907dz84s0aaajg8vwkyjf43y2375h5duwrtdvx        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q90m7x4dcjt08fsfcdh3lh7umzxxpz4kn8xq3f9        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q9249npjwyat4my68aevsxetqmzvtrd5nnv0n3g        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q929q4gyfrecfjedqj69jhdhvh2pvmezs0ypvk4        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q92tnltvwv6lrfdhw3cz9jgd2s6l39lw5cqv8ad        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q93e9zys7674zwaxc7m5re8kxhm5dcjfz0cswy8        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q93k8a2rnvdmfkrwxz9er93psr04m85e7q563a3        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q93s38aek7zre6jdvcps87mkkx3xuxy2avwaw05        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q93uhvh58y5c8ru9lp48ddjl9rt0kzx8tlretlx        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q93vqu67xkg0p56m0uual8yjy3k49st2gqml6r4        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q93wz42lry3zks0c8nchymegptxw5z2akxkz3fd        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q949tqxdw65nwlcxr3k5hwxhjnpgv3cqanx3ww8        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q94adem9kfycdqqz8g4th5m9urjxmlgr37xg9ae        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q955jrek6k9d89dxq5j6h6ag2en2kuzh4t6wgk8        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q95mafds2uwyrqnacwqsdqfzkgcjasm0dke2ys9        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q96k45jkmt3m7dnsn5efjjarqgeeaprkvlpssrn        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q96rzrz97cmgcu34er0fkrvzggn8rynf43x5ru8        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q96t4rpp5ccxjjjxmlh0npa27s04qn2rwtlqxcf        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q97zrcud58w5wdehdv3hpcsxtazak4w2v699rl2        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q984pvmhdn2dnejwmn48cnxyhq43pgs6gw2fkuh        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q99fvy7hlfqmrd9jg6hzyjktqgrhs66256uufpz        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q99g3l2rr82wgkh8fsuw634prlusx69xv9gc8vn        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q99s675n57n0tj4act9nwwl9lwc5k402ny6pqxu        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q9aqlz0fn6vsrlj4wn9saxghjl5j7a59cu7zg8d        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q9aspd43rjly0hd0gky6yrmtpt0ve8w92hvd8cr        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q9d0250jcvnnz3mxfxx32ukgjyjmy9j42f9hlqe        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q9ewelvf28dhsk8utztueakp97q336fpr8m4zke        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q9fcl0vf3z9dnp5ddyn5gtan83dzwn8fltptwqt        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q9fz5lzvatt5pr06qkg0ujr48durzp27ekvmpzn        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q9gejzng5lpq9lcqfu038c4eh3k7tkkhjvpvv96        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q9gf84gym3ac3v30g75647tljpeh4uvaknfpgq6        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q9gwnsekqr0wkarzsv5h2gvqll4cqm8p3w3ckth        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q9hhrzu9hra2ytalsnnr5mvrqedwmrez6ewktkk        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q9k3g758nw4p93jufsd9en64at7rzrnaz3xjmwd        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q9kztxm3jemhchamgj5lkdrysu5cp7l9n637359        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q9ljd5csu4nr7evm5k4mzhqh6ftatw3vfpgkc6n        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q9lvatyqjdzgjdpmgdpt9prtz8xr9eku9l4c8m6        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q9m4fufyq4v0kulndsed678r2378p7wt80fyase        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q9m6rx7wpzla6n446rvymkcsaxjz4wl4prpfv38        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q9mf8m7kdhzcd4fsdzeqr8qledqvz8hwdjlacn0        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q9p9n2us6hakqsgmq2zrqfa60hku0g9evj0d5jw        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q9pkzrpxl898r7zsyvklf5raw53w84mycxuflmy        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q9pqsu4erpzqvqy65l8eq504ghrjt7qux0ann8v        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q9r3tjstp5j5xpz46ul4eaxe0x86auf7jyzerst        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q9s0c77fwcf9j2p9fhm6msptwmpe997wmqdvz2c        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q9s7l6gq57sccgk0gkn3qe9p7cuznzmv55fxg0c        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q9sgnncygng9epkr22dce59lkl535u2qvuu6283        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q9tg863vaqgdx46helw3sdl05txk2anq8cp6vag        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q9tysav4ec4td4v0re2rfehvfmvvjyu5jp787f4        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q9upm0acr5z3vddw55tmvjkr8zp97l97m83waev        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q9vd2yujagt2gemgymq3qtcfjxjk4rkr7457029        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q9wqgg0hlwwwa76avwfz6fru3fp89f467hrmstx        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q9wwgnunjhpkt4rpz75sf0h4qpcjzkceq3r58l6        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q9xdaemux4xq7g0p3zm540wnd6vq479naaw0tc6        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q9xprd8hxq464gdsgtucg008yqkjhw3whvzefrx        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q9xq44kk47nhv0f5w70q6xwf7dna90kxxnvrz66        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q9yuz8d6lf9c2hs4lmh7n6vwu9ga8lwyp6jfwe5        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q9yylt2adhyt6v2f6lfvwj62wuacxyyaulqxcx7        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q9zxcxwdq0g9vka8yzgrhpc9g6rjt0w7200nure        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qa2efxgdc2n462x3yjut5gxdjg6wnha3rlueadq        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qa2frgk576a44hdsqmazvs2f35gs8lzwcllrm5x        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qa52t6ag890z6qnct7c4a55ma9jugclwt0sdhyn        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qa7taffu6pexp6m25c3uc99n4uddqeyhnxjdzg8        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qa8pl9xncr94zswshprt660lc2fs39rzl3j2mvn        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qa9cc95x2d0aqcr8cqy9ez2r7s2vly8rgjyl6w4        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qa9sjqkkrkg2kkfxm2p7v8shcs2pvzqvrq69pj4        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qacesnlujzqelx7ju7jjffjz53vf6knwkr55uqn        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qadle52h4gl40p6x95zql8zf4z6kn2vxxx930y0        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qadlycgja5m92r0u4dc7788yvwh9ttfq85gfnkj        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qafz0suagej0rce3k2tqrfrxt9tfrcfzsfhazc0        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qagcq4cprrg75p66u53ym078vseel83n36tqtna        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qagdjmfj2fe00ne7tzqyzyavxxnydn9ctgcus3l        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qah4e8qrup24wwvqqhpkajxk5stfm8lr45kxyv7        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qah4g5j0tusc3kxknwy36fdsrpwzd2w72vwmqxw        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qakmxv0gdq7uuu3662xpc4gadnp6gaw6hc8jxvs        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qamtrnf9w4rnxg3p9xpvw43rjuzycr953la6f3r        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qamy93t6208ysu6wxhtf777qqpxsvc4qmqk5qkw        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qane92pw55p74l0svv8uu9w9lgzxxfw23ur5uld        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qanlmgcjuynwt57kc48tu97g9f93mlgzalh2vn9        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qany9gpwasfxtx3rz47rknj3gjjpe7f45rz3k5x        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qap8spvaf6jx2dgdc9d7fu4fjdvyqdzfrgp0nqr        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qaquu9kxclhc8a2auwaamddp9uvumtjkf6u0jw5        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qaru4jt02t82wlu5mrmk6lmcvrer0xrw876g0qg        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qasfs0xz7vhmcq2j7drnxcpyn4yp0cs7jvzpdkn        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qatgc2maufas7xzuetk45yg3dgk9jrw492ct7jd        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qauhn430ftay6v6ztsvvs9n6x9u5jdl9qlkrnuj        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qavwnwyez9e7nvh8kajz64a8d4sldaxpmk3m2xp        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qavypxggzgule2fs4ghjlsf6ejxd539k3emsv9k        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qaxx8mx0enga92dfqtsvcm7pn2a4r36znf2qah7        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qay72q3nurprf6dlcgsgt44en4qk5p7hjx57wcc        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qayp3r6dhtfxz5uk5uz9qtxsqzc4zpdqwpefncf        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qc0cyq08ffca7f8luzsd476lkh6kmrsu2uhkqvc        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qc0rz3k7tsz090phfd3usmus8gcmu3l4l0mqpw7        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qc2ysr79j27n4jyhwruxe9rjkcpnkuns84srd3d        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qc3fdn9twgxhlfj8tnu7hx50u6ajrlhtth7fz6a        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qc3tt3px03uft3ymya0epp5zqhhqh3r9qdsrn2q        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qc3z9fgdc59mn7nm44606g9tal320n729tvarg9        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qc4cegdpupavpe5hxpjvx97dzl2r2p2mqvch82d        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qc5qd6udstjed5xx9ykgg60vgx9h2gp5kqkpcyl        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qc642d06gflx5a0zzdr9tg5u9ujtkhsnklzr4hs        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qc6eu7zjgdqsdlqfj7k8acfvyvj6ta93rqa3efh        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qc6r3n30ea8gsw5qzsfyks5d4w9q4xe565ge4w9        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qc73j9fkqwl494utqgj88twf9ahk383xtqnfvev        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qc8j5ujrkzw0nkfz9gvs2pn58hremwqqhnapf0d        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qc8thze0ruemzxfvnfmae8patj6jzzrnz32vrh7        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qcfguhz7qrcc4jfukuy2t4gkhhc386ucv35fqfn        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qcj42mx0uzt4ka74yl6d5xvja4370j24ygg3hzh        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qcjgq5wuapfmyy9sawnrqrf2dcqfqyxvzd8pwt9        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qcjw4anz098yhj48vpctwzsy5zk9gz4n973uxds        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qckf68leqwqm249zmawnacf7yw2f5rcs5fuzqc6        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qcly3476fex9t2rupvys6tspg4p5eezr54qgg5k        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qcm05a56szx26kem65vkm8ydu3z3dv0qakdln3e        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qcmdt23q3kdlq788ewxaz74qrd2ru5jhsdeqh2r        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qcn58weuyfldef925x8nnfxpmydw0s94hvmcphx        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qcnej78c9hwwdz4wfe95590ah3476qxvtq77yzu        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qcnxufyvrygyphs5gjqczqtm2zzeq7kp5ldwdfv        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qcprz2dkg37v0qg87qdtdjjh6jm0j3ech8agpwk        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qcpzszw27jgaahdk46yl5h499s2dknylx7a08f3        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qcqz2nd3unnyawmvwdfam264dz6dhw5n7upvgfk        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qcr0sl3k4f25evauw4ma78pu5lz5ru8vej82qwt        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qcr47hwaqgstzws45m06em326jgw2xuqg92fjmx        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qcrf9r85tcgl4rkfsr532nmfycxfjm260tesk50        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qcrqxuf4yrlnkhnjkym0aazf3mq0wkqgkxak8g5        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qcrzld9964dgraw7d7ehngmpq7vqyrh6eqfakgs        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qcssyx2eukjp9rk82kah4y8g63cm2g7v23aflpm        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qct5uj7rs4d046rshdp6a4hgfkeqhtrpqfht5pv        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qctufy5ccswpuzqvhjpcrajxdam0dtekyyeuc28        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qcumtd4qwlkrv2lrd92amuyhv6l4759dsfuzucm        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qcv0mvqpuhppssx09myps5nfeqmt8hqwl2fvw4d        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qcv8hxmegnxj0yf5qxut5cxsmkl27wrm5jag7sa        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qcvr98hxrzdfaqfpr4wag6ttalac3ljuj8cyz5z        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qcwa3rcefs0wf47lxqxspjf9nzrsyhjgrqnuzaw        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qcwl8nckus4335pqpruvfpkgspn4ynk2fyh4qwa        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qcwy6j6t2cmp4v4yc5m9rj86mkwccwevw333m6j        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qcy5nr8ddtwqxzv3h9txmn43s2rlye27lfwkkta        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qcy6e5adyncjq33ujdd9q0pstc0wsdmkvkz0u2v        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qcye6r4u3f8peekprckaskvqm5a9tdz880gukky        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qcyhav29sty7kwmvuma6saujtnucyquv5ucthg7        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qczffzngp5xlx2lvv8epvcjg9qdph5d7k9uhxkp        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qd2cteyj2vk9ul6waechn3u89jw60llzms69s3j        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qd2m0m3eqeeu8g65az4f9y3frr6w5gusjzsf379        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qd3q2tw9pr6se6vkswj2kfyu4n0s3uww6xjz3ry        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qd4kjp3683s5ftqklq38r86weren27v6rncvmdr        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qd4ng72enf0zcgq9v6myzp6fdnrfzashzq8f869        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qd4zp5x3zau53jt63mejtcss3dfjwelpwtp9lls        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qd56myrelvpwz9hk0srmtuqj4nwmzve6twu3dkz        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qd754ja44vlje378f3lyjktk365vy7mc3nepelr        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qd9cyn6p2ynhm2vz7w872xmaucnrfaq8ax2sj48        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qd9xnznnuft4zk4x0zx4q85a8fpy78kavl8udrk        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qda5a2trxzz0fdj90fvulssegpjatqd7vhxupqv        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qdczhl9ny6z5wjvdhajylmzk3cyd4hjzryn44f9        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qdg3xsaraa69rv6kqadspus2kw64xywgtvnvwgc        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qdhnvaayw2qdpyqsen8ucyt6qjttf3z0kdg95wk        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qdj38xy929pnsk544xng6pjpz5tyrkjk8tyxr60        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qdjnm563lawmawdp4ndx3alhwmjud2j42g92aqm        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qdk7syk9cde4srlumydcv5thc5e2umv887jvs3c        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qdmul53zyf2t828r92qz268ezy5zlk2g0m4pwjr        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qdmzf0dq5rgxnvmpsw2ue8pp8pgvrxdpsqvkrpy        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qdnc6c2jl50yqaejjnkegsaqp4y5zqwr5demsxs        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qdp3tc2zyw5yg3mrmdh08t7j00ugs7zn7tnsx3j        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qdql3khcr8y6n2f82waqk2z8cn62u6ucmetq9za        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qdqtcjfw0eva09pk88kg35nfyz3l9rln3xht89t        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qdrhkfc59tw224xzq4vpc5wplg5ulkcj57sprvg        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qdwevyxz2nuw223a5ly6f20kcxsskmedsh9fzz4        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qdxfdy32wt2y99n0tf9ar8lnk2nq5gcpjq830ux        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qdxfx7nff4vu0vatuxth7wncphn780jndzd9zp2        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qdy2w6lyl2y8j84peke25rsy52s4g28z9shl9tp        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qdynelkqy2vfuawgrwekm7m3sdplkpzsnf3jnk7        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qdzkmxm5rmvc0p0shsv98m4l3nq7dv8lkpqys82        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qe0q5nlfu65nwpwje7fjyjfvdwdftrvv48p3rwq        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qe0x9m9xy3jqkqay0p7zgt6ymsauryj5ydgsvc8        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qe2upsj9n30n6nt2rq5ey9n525kvjtzzyrtlxly        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qe2y769a6c6200nw5c96k8p638lg9zckse9qlh4        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qe3wt8hcqwtpjpx3ezjcr92wzkhquldzns07g9p        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qe5s0z9x8qvcsvkxhh9rfe6vutjwatqtrfyvfez        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qe5vysqtxjw9hy5x3kqp2ecxg0zr8xm8meah75n        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qe75asfr2ttehmgjjkd9ucx3ap6l6ct2hpmzu8q        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qe8903q8pzssm5qq9jd9n38u9vu2cz9svzrmtf9        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qe942jfepqsl8u53cjn2udvx28ttkfaecve4st8        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qeaa379gem0x2sm9gdyzme833nf5pqxtxw8ec7q        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qeas8spyu0tcqrp4qt2htc5klau3ukjwcvp8zef        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qee9r4pkleqq5zwycgh0mfzc70llzg0m76qgfyp        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qeeeyktvqcehxx90nh70ww7c35rdqj058qtmfjv        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qefanm6dgptkjm8lnqyrlnpk9tavc70z8ukndm5        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qeg29k5lccjfdmtf943r5dwuudzj94wdal5sve9        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qeg9sv3d6ptgne5f9wmxfe9cpvv5jmt8e85jtrj        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qeggfpmzt9gg0ez3ye4qgwelfvyq7vu4j0k5zj8        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qegl46p93l623uhycnlsf8cw9j9wrwyyq4jdyag        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qeh3aree95gteaasaxc2cpjl5zc7xq4qczen8yz        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qeh7etnl2ag355jyx0v0csdyt9f9ytscxqea04h        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qehfsmrnksq4qak669hjrv0l4hqyfxsxd36zd7v        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qejl38eajlczaxxq732hpughww4drkd82427lwd        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qekdemr5c7mkhs7yg8ane8y06gshdw63pktp2h5        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qel2mnwcvchghzx3g3msq0r7h64ahwtlzxugn6q        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qel8rr2pzfwg60khwmxlpzez4m8c3w3u9zdpurg        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qem4gmy68k8p4x0rn8ge3vfapxu6xyxx4yxc8qq        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qepvg2pc349wnly3xt5s6y3va43cq9pee5us467        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qepzjvj49gzqj7t5r9q8k6qgktna5u2aharnsrl        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qeq3rg4j2y8m27r9ct6ulwjrhn6057gdx3e6zsp        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qeqz30vdqldk72ly5n0lwcdzas5uue9djegr9s7        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qeqz7qmju4l4epajhq5txk3f5fg9tdv2hdwmhl4        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qew6x3ly7es2nzhvzr3ejn824g42wl89t9zfhj6        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qewx5afjgl268jn3c9fyjag3sxf2mhnscsal2l8        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qexcucs53tlus6fap465vw08yf9k8vjdznacn8s        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qexyy4q8ldda8dtnemmgh35k6jcqkg29zrjyjn0        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qf0mweudvmftxmcznwfvjq54fptzmpeeg9k4rk6        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qf4puyjv60tz0m0wmq97lum735gdgaflgf3sc77        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qf4szz8x9j38zaxz7g6zzgedy7f9jvtpd3prewg        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qf4w8sfas3qynvly2z4c2536ypfl7enstztvs7c        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qf54p4kf22qdeer68psnedkj9yxypzezrc7fgc6        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qf6ajfwu8ex9ly2hw8jse32sl4ka4skhwnesue8        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qf8cun4ca47cn39ehm9m5u087fenxme8c7q2k90        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qf8jddwyjcxxwdz7fdjn83vzhwyw3wg4umyl27s        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qf8wr2z3rxh2vqhmhygxknrxm6qvjy26nvvxamq        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qfa7gdelwfcr30xllsv9xhr9fev3akt73r2prem        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qfas5v0uz8wlmwel6gcjdg0ea0nvsxf3wht9pw8        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qfc3kgepmw08v3mjmrflxrhk9lafufg4gduhrsf        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qfcwrwzq3qxmedhrvpjt4336kkfmedc3c8zpvea        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qfdmnnedsgu7sxu4wydvp0zfvly7rllxzxuyddm        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qff505695pluhaj8xtg5mgxyxxxh3jmkvqv74yg        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qfgwqtgp9ckzjcmfgvhf06uuve06qshe34zmlne        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qfhmlr9dvv5p9uw8hkjh0h525qj9ydq6vfxffdr        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qfhp9uw6lrssqd59gegjt3yl9zsuwvph0c6437h        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qfj7m44qxwkdqsurmgx7gqnj4d9qpp29m3ys5gn        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 284 of
                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qfk7w5g2auwn6hkll32aeecjyfjjnwj5lzs6vhm        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qfkwx8yl6unuxzr2rnan0h3pyw8ykgrazat25cy        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qfm6rmh9xge2vdgm0syrgy6f2j2zkhanr6y3syf        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qfmge66944kxseu3yy077la3gpedypgjck9avfd        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qfnyqg75jzw2rk9j3yul8taptuk2gqthg3m8yxt        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qfphp6kdgtuug2xknd7sqlzv7vx7ullxrrhdg5p        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qfpwuq8jntv6835ffy637yzxsv3px5sgqdy0r2w        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qfq3u8a9fk5njumt5g77xy25uym4r88p5tnlla0        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qfq57prnm9pu5ev5y279aqerdmr3va5xdlxlts5        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qfr4jnchnv5kuzwpcrnld3zc93qy8n6jxt2x40v        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qfr7d2nrax2ndjxl9sy5jk0ycn98f2mezxdx7he        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qfrzhncfjwy7dxuwhy8nxc66v8cqhmc3rk6r2w6        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qft64xfrdvxmf8tyv5gk5kutlp4qjarznefugml        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qftkvr3xu3wnthdzy4z0wtn30anfpuyqk5ny26f        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qftym3pnguf46l9d7nn7796pygce6dutky8f0d0        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qfu7cvc7nk6u7zlhrl4ynu0rkhx05xlvpmgamva        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qfucljqklsang9quppmxa59277z6udlwx8pzz0g        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qfug58g6t88y7tduw3y0wne5gcdf0s5eup7z6zj        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qfuxrz8cj7jku9g2ry04n7lful8968p6ze96rjy        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qfuydhrnwp3sahzl9we3zhk7cuwswavgmxdk9x7        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qfwk00tezdm07c0ddhvxcnsgzwn3kjch0shx2mh        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qfwyl4efvdzsj36hgrectzw37pljhgjrfuwm2kh        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qfyddrf327ctcky8qydcw4vdm7vhywra6z4vj8d        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qfz2rjpjjz48kcz7h4ch3fkvplx0vl33krxr6r4        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qfz47kvhgfrx4nnj43y6266zsgqf99apvkxfq37        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qfz6jvh92u7t43w8rfvraelwdlmajya0d42676s        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qfznlf9acg4m0m3tlkp32cx4q7gxfnqlv4u33am        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qg0q5futffzty7al6pjhk6t4puajv7065yeu57z        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qg2ls6ynnuwrpkrlqej62ddmk5px4j57x28yk68        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qg34sz7ht49fdaf4g9hladr6c5zuctgfr7ta2wm        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qg4me7g5jl5ls4nr3lcepmhtefd38dfzptw6jte        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qg4yq7ls4fef3e7hlddsayqxt03fl33zvqzmmvn        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qg5rzw96a808t093p20z3a3slt0x9qj0c2mfwtv        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qg73htyr5g8ydntphhss7uuh8jcjklg0ghng4qp        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qg7d58z0ym8zwgvx2m278f6wn30lhr7sxp4qr79        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qg7mtctaylkzxkpu8d9c2e5vgntp592xavaswaw        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qg8fjr9sk7r7v5rhrpyywjpm3084mx6ghhprw4p        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qg9lh705r3p5yde7slsenzcznw7etj6zguxwtmh        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qg9w4an0xdzkszhhqrw63gdlsfxmx6ckqyvfsj9        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qgakr4lnrtzw5xdsr6h8axrfwxwkkhy6pxe4ed9        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qgatfx62z92s0t8a4al8ntvej7jyunngjwkflcy        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qgc48wafn0zj74xk5z07gk9mras9etdwne86mur        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qgc6mjvpnl4vkg9ue7e3uc9vz74f754k6zw86qw        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qgcv57phtw8nltr8dqul4d3v0szwx4myjd02z70        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qgdp754pjttnyt4452x42dne7e99g6p8zrp3mp2        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qgdzl0807av0luxe2ntzk5cydm3ye2e82zctst8        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qge3e852y4a2c2hja6sueq4gen2k0hfz2fgudv4        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qgemy0a53y8s8cxu96qva2mqnxqzr75drjlxnzn        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qgeqmlj248jv2ezlpnck3gry0hul6y4h7wst5sw        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qgft96vk9qt2vze9ln0v0jghh4usjfsyt3d5g4h        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qgg84tj4efhsghv8femcftzf9jfjdnyzmagrghn        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qghmxcxnjpll6de6ez36ap0mzsqf804fwft9l9s        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qgj7sauu55v2asgtl6p8hqnaqp0t8u0dhy255m8        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qgjdfyfgu86vt33h044e6a6s47upmqp8kqnethd        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qgknpqma6l33lfkjxydtxh5dq8mcfdrsy5204ty        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qgks6djfcpcsxap2lvqxzevhylx479ja78yyfjg        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qgl0qq2q97lmh0uvt7x9725gcgrg9a5ehun2rt8        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qgl4kdcs7uvdnplygfcvqkt58dvjj78xw9mfe5j        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qglnmk2gxgjj3qfvfy2f3uqdgc6lcuhzgwwz2zl        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qglv9jgdg07e97wc7xx63v30y9awjrh9wcd62qw        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qgmjz5el0dvd2jv3xzay06qlze86p2rk6wumvf7        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qgmtuscxzke2dz8ysuyqms0s668p2rgr32g4pe3        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qgqdu7dyear3vktarpt9sx6egugfzykgwpmc8ad        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qgrjhn7g978alwasd59dfwuhp8th6cgqamp5y0v        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qgrygvxusv286r3cup5uglmlkyxpduxdfhcvxdl        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qgsxgx4jfmmp0twynwpcvmtz8dnaumlzv7mwve6        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qgsxwvwjfz8qp8lswpahv4v9jgy78955vrtsrx6        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qgt0pahjm5awjm59wf3wn3px2zpazdg0mnd84gn        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qgu79awyur9n026p0vlaws9l0l2qeu508gl6agh        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qguuukq3usk32cuc8w053uv6w768hcnx3srvyl6        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qguvpv9s73zw9aje4tgm2l53f63l0rz9n0ud0dk        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qgwt5xkytxh63l8fpn68cljkmqxwc4h9ngl3pgp        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qgypnl20p9utwxamgc4mwnrmkxg4dwxn3x6lt3g        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qgzf068mx3d4daf9fvzt3ax2apu90qxh45sgpzf        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qh05mlgdfg7yy8tedvjzy9vf9zaeq9gj9r7er7z        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qh0mzmp8myc578gknzrat99lh255cc7sy8zd84m        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qh2q4zd3m67c8dlxl26eu25h3nga4h3sgg56uvh        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qh4fld2smjevvvmwufm9hp4qcpaqqnqsejats0e        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qh4rkdd42wwran05xn2nkv0fkawve0dlu0aw68a        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qh4uhn8lwm5uy8gvdkszthd2333v7ecs9p7yuxe        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qh5apnzuymsf9at544mpey06zwvgp45js4zj0ng        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qh5ukkczp8sfwuuwm50rwp9e29hn9jgzk7dqjzm        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qh7cp2s9dygnvfsg78kd6ujnfzngvejd5qzcjmr        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qh8gg7y028ffp9h9stk9stsp9whp7tx432ef60g        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qh8un82vzevh8kfh2zy82ggn9687n00qk0x0lpf        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qh92h9d7zm5kdxk6qltx0f83ar385cn8vdjv87z        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qh93fmss59qtk2rm2j86rc9yt7p80l08xuq5xfu        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qh9d3du8g0w3ygkunee7lv3kzz6m9ftl0mjnt5m        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qh9lhz79uncwxfcexqd2tq6t9jws6dnc7c22hut        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qhax75y8asxlj75f5vsl8pcau7t6r4tj6u457jc        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qhd96pyk2pqt5xjkalgvnzuqkjqu8k6nl44rmnn        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qhdc63nw6r7edw7fl86f68yn9579r39pgx59xxw        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qhegj4s30awmkpfyqwsn3ut7ljgvs0vd7naxcm2        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qhep43thv35yk324dqvwmt527wqedg23u8s955e        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qheva4ygn8jj2slc4j66ftj7t97h5ekqmym9ky3        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qhf34nmukpgq6wfw49d69cdnmc6yr0zr5vmrrks        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qhf5ak0vt034j9qz3tctpmlhwylawzpjtpwnrs6        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qhf8q5q9y4ynl9s8ukpvugklxz3ywq4tdcgmzd3        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qhfapnxhzy76myl9t29f76lehhjdumwcf4rk9zm        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qhg3vc6cc2v2wjcchf620umdqv8hhyfmw57lar4        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qhgdg5hxh75cjccumyyrnx2xqarzvmv4skgnr89        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qhglg0ckx86tl5zkdev4ss5yvalg2ehxluy5pzk        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qhjhrxqg7t39ckumu4jwfaz3g9n724lsmeycdc3        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qhjmjfkul8swazx86yhz3ynq2wyjrm0qlltr2dt        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qhk4ny3fk8uu9jpy4hte8zsra4kqj90w9jgvtn3        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qhkeeztt9x5q2cqywu74u4eqg8mhhus9dfmrxzv        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qhlq27y7hzjz4mw2dyn9qzxdwpg7hhuryww55s4        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qhmeamp73vjy6w65mv3xsyrmrrldu9tajrzsnv8        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qhn2a7jmd6cvspjk53207ynt9gkjhlp2ttggrrf        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qhngfuc5p4scjlqnp0h9rgkhg259ck590lnq8nz        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qhp3e6mejsxc7t7kvcmnkrdlzalq97v8mwl9w9t        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qhpkgvungy2a79msgfnyr79j5fg85a3mthl9ts3        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qhpvfwu2tu9zm7z9xwvs6kr8v09zpglgq5ceac9        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qhs4f5l4rq5v4gml33cw4as835ql0duq43647zm        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qhtxe8nskrvpuq54axae87aam0u02au4nx38gfx        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qhvl8kjkcexc42dem9l7zyehpxj429g9s5l2257        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qhwdpznwpvnavswre7tve5w370chvwa3ukc854r        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qhxq76n568rck8k5usz75k3908jgxjz7mufmyyy        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qhy3vkl3v3unvdqrwl8fcp4c2x305c9a9ef7ctj        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qhyjgm5qzqfu5xtspq2xwaqjrmmau6lc0knmald        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qhyxne0y4dmfktsjj89uw5tw0nzrrk0nfpxdxhz        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qhzsjtp4m3zumnazkkx7l5pm5l6k5xhsnq47g59        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qj0qrxasjvquv05k7ndm55q8vacxu8u8v0dj8q3        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qj48tjws6qksgspcnqcx3ewhtjc4hktn8k29p3r        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qj4z88ahsz36yxfn4k0zu63nlykjfhx2zyyn296        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qj5jpscdzzzweep62aue0jpxn3mf0ql4r4shz3t        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qj6vcxuestddggfwh8tld088c5qsc4uk94t7m4d        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qj8am8w6mlz5kvgpac8el5gvt44megg6ch6wr79        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qj8ca56zvtj2l2kaa8pnaksk26vuqggqrndh7lf        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qj9h5krccpx55yefm95u4av2w2wvxukq23wytcq        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qjafyu2g50yxr7pyg2djnel2m70ksmwn7d0k0u4        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qjchmwfgrspufnren8q5jd7jc2j9e6n9g78r4xs        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qjcwa789kun6pkhll6xk2yvm7qv3mel29qxt2xk        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qjd85k6tldjuvv4ulumu226w54afp9900sfqp5s        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qjelqycxdgp03cte9f5k2alquxgdkrdfl3lwfdv        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qjf2394w6pxyvlpslem0xzl2lnmszndjmgkfpmw        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qjh5aymejmh55vvyla805f2fdw72cdh95q778v2        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qjl0rh8cym3yq5dcu7uyyljavvqdswnejhvfqwf        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qjlkrcj8m98ehyyd0gxwp02w26hsunxlju6ts49        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qjma77ul9fly6e0uchs2wruvhyj6myngt3k384r        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qjmehvtxktw4ddgul5jucqtlydr3a7yuetv5nlu        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qjmhqp0lr3wdxvhxuquzf0mjzxpkxarptyn8pkv        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qjq48xqsnyy0haqs563swdlanswq7kd4dch7msp        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qjrsznxkrt7t2h95y50wt8yy9yc8jzxep6wzs3w        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qjrz7fezzzqry99mfjq3tv9vcrrqjt8y8uwl3nd        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qjtdj8hjxgal6l5gc8a0sd8pa0dwvhsxg9fgl0t        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qjtfa5v5y633v2adm6lzs7l9ud4mhxghzlhd32k        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qjupvtn4a4acnp6w7qeth70n8wf5ka4p5acn3hs        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qjv29fhj6ejwn84x2pe63tmgzrvyrw89ll7rerd        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qjvlm7rpr9sm93cysz29xcl6mnlxfy6s9eeh2ah        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qjvpnnqm8p02j0grwg84zv5y75xh53pyua5m3zv        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qjxwzjeyfp00tt0kqqzcvczczwf48udwujg48vq        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qjy6huxsw2n4ft230tdnwmxfdpe7p9h9z0fshpq        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qjypcg44sxd3m4ctv955a6mq5fdacqlhlvkmc2u        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qjzd7casj52wfsl3ek97t96kpw5zgxjzj2crl8e        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qjzfypr5xwsdvdxc0c2nmmhyx62qldld4y9mek3        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qk0jgak9y5362ya2ghxq0gr7hjy7k09fmj70zud        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qk0t42kj9dfl74p89dndqq7h6c9e8n3j5d427td        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qk0zxtcpx4wftgnh72d3ehaazqdd8hpygmlqvkx        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qk24jvhmrzeafdrtky4qkjeaech25ffl42ztsqq        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qk28pv0ee6mw9ph9x9lxf7jerfdzj8fcgec3t30        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qk2my2j5w6frwaxy6vdf9enu88usrn8w5qtuzm8        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qk2zq09stx7aaka58l47hcrv8jcmyxdpmqgy7vd        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qk3u4acvand3ecmkejchv89wmt7lkwtesdpq8fl        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qk3yvd6thv9mmr30wjfvja4q4m0fjdurpyqpz68        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qk45wjh8suv35n475upyyz77y3utucaxgh8rfps        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qk50nt28p7e3mx2lndz9zn7kdtku4anemcud78z        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qk5879p0uskqpz69qgl84hm4kdku4rl7udv9603        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qk5qa40658wpkkcttfdtufnxsx3sfw403cgg6an        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qk5ttuejujd203p9ut4z50rpx597djhe06wzwut        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qk6vwaxnd9nqa4rel50flkja8zfmaschegxu6wf        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qk7hygu6gj57p69ffh2p8g0f4dc6jh8ytxw3dgp        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qk7uthufj86wmyez8j8xg2t5p0e290l4llgyghe        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qk8amny2wzetr6lugexhf03cs3ja5ecpj07phnq        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qk8j4vdt0vcumvvtklf2jfv6rrmkd5aunsrdl95        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qk8pjc460yuqvaxw08djd4dazdwq7tpsvrcmles        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qk8vwmj8v8nk4zaqnqs8dsshvsgq6x7pn03rxz9        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qk9xxjcpnes394t8tydna7h7y0vkjqdt58fws62        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qka4u3w3w46t8jpd8v64mu3cpw50fjvzv25yrd3        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qka9a8cudqpjdk289xjxv9r9fjplsu68x7s9dvv        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qkc95xzuhgsfhvz5h7v7c8uskd0tk945f6rsn5e        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qkcdyfu2ascefy7xalfxehwy8fgxgkx9kxswed9        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qkd8hmzpgqhvrlsgzr97upam62658uadvwcg7fm        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qkffwdcvcupxmsq8a42gpk5g9je85k8vd2amdhe        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qkgxj9kvmm44mnvth82g56gqrqrj4w7tmvp4sya        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qkgzf6jzqfezefcw0fvcvyjpgcnlw5tcfylw5u0        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qkh2zde0zgt633errdgr4jd90mkzn2j4lvac8tq        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qkjv9fgj90kxdkfqw84m5pqkc0n8wklv6uvg939        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qklmjkdxzq7j33avgxlsdkcn942uumgjqf7qw02        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qklnk2l0zkcv3ak7gceq27j45xxns4sx5z5dz35        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qklvfk6mmj0e00h0wk5j0ph6mg6svg68g86xc37        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qkm4hapumds56t6pu3dfpsxrclw3pkavt2msvva        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qkncyys303x8v0xjc8vpvmenqsnp75watny98df        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qkr0llmamrpxp4qf7zw2hpulx94w02v0vmew43c        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qkuaw0hk58l8gl0nf7kd7m9gyz9gus5crj3mueq        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qkvs5kh40rcj3nhgcvzgtul3uhxqyt2dzdys93s        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qkwzc90gkhaamys0pw0ajhzeq0tsamh4nsu85dv        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qkxc44fmxj4xhr8tpmk6f2mpkf3t8kh7lvqw8ud        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qky7vl599m0vdt6vr06t8g3ydzg8nnj7yv87r67        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qkz9mzyd3tv7ucxj82qcemj9kf2m36x6vq4hx4n        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1ql0cd0af9vcdy2nkzlhehfyfsq6gvhp2f7vtl6c        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1ql0zpea2vtyx4lug9u2x4zzgflxl3pgjzaz96me        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1ql2vqp2w94u07qrv567kqzfskesq3ycxrahxgc9        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1ql4dnvpszmauarlq6vpwyrnwp9ekaak3qhk9yra        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1ql4j8gxc7s7w4dwnesuxajdqzc96y9qglsdc7t7        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1ql509l46v50wt87xlzm4s5sv640uumq5r5nels9        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1ql5auhllxf482vrklhmxnnqf3qqqe6l2079fkj6        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1ql67p3uarx97tl9uv4gc3t7h7tz7f924vy0xtvv        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1ql6dj9pdwlwan6unclh5a03gex6fk4dvfp7s0ja        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1ql6rap0eyrsntcz9jc42kkfwj4wcdr5z4474xxd        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1ql722r5cymvpsn4gf22cp33j5elq4y34mekzhra        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1ql7e2cw28xw358tjmgnyjhsw0n3rnzplfkzc6vw        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1ql7xsce7kuar2x0nckkcfklvqn2vxthy0xrt4zg        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1ql82w4hv7c4hy5e5m2dp82enqcqa4yxfy2rvnkn        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1ql87mesaupdpj3t5f7u75qx5mhj6j4su9f2tk8j        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1ql87zddp3kalqw0qv0snkm9stzux0cnzq4makst        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1ql89fnrmpv8e99arpdzgj4c9zhwp37sxfrf8dds        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1ql8sccgh5nkeeexeas68qxs4wxnd09ausmqyn2f        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1ql8t0w0r62mtzrsnsnmqvja4vd9wnvt9gsc8kga        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qlazpj5tr2kpg4je7p7m8jzpum90mugh76t2kkn        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qlc82pat2hdz4lrfy5hn0rgqjmzaaf73p02pn0z        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qlcaesnrzg0mq4kwkvradp80hmqzkl933ykrm7c        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qlddzxudla9cnhjtdpg9y5a2mh793slr3zu69hz        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qlekc989zte09tqkv4s7qgpeaqucm3daxq07s9h        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qlemlq7mjmcj2usvvckng4922xshdgs357x0cfj        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qlet4gm46jnwk6rdr5rlj4sjztuj6cx9ug9a5uq        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qlfjnjg3zvuk8dq976lpagf4cngpd735ae4mwz4        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qlg0gl0s0ccpg9ufd73uq9wr0mgpr6p2hmenrcx        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qlg8vwdzj354y3dr6tyjxun6gp47t75fmmr85mt        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qljwzgsse2wwrj45yym632tjg9nu36rv9zdpa0d        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qljzxdck4p7eu6xs9gf3kuerp66qt22j7dws3jg        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qlks9jvwtz356u5h2fzlrusjcgzxhrevyv8hq8x        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qllc4w49pnm6njyem6688p234d507u6awn8uk6t        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qlm6kegkkddx4zyrse64pp0k6lkm02zvhwtacc9        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qlmkrs46j3sfrmy2w57zvxqhf73t5xfkwg3f3ux        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qlmsd0ecnhr05k9p56m5ujmnnfkwmadsajytcsw        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qlnjd8psg38a3xk9rjvvs60jxx54n86lzvgxyzj        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qlnqtakku7vtsj6e5y2s4jx8sgmzpv5lv8mmcyc        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qlp9m3msl3reyzkw37kxy720fhnd7jmdc6fjahr        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qlphhmsw2tpzczjdad8qmjlhcl4wqs9accyfuvl        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qlpwv80r46jpjvr7g4glda5wc8laf7kfw8f6t2q        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qlpy3z2j6xrvn75nq3w0w3tharfcjpzacp89c3a        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qlrjm2twpz67yd0zc6kcpk43yejrgl3584fm4v6        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qlrru675pu5f0420s9jsf78ar0m65geymm23792        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qls7qcwdw78cvvykfjrzyqu3a79gustwfmfx70r        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qlsj2yyu4jf5l6scc0zhuxwkuv6gxd72kft5da4        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qluws35rwn2mlwlycaxu6j6ctuj9d7k9anjqguc        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qlvax8dlyejfaj97rllng6qdmpx396080mzmnvd        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qlvzlsats8lszfe6mx4vmztu3uxc2zyw7z0sezh        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qlx3cjapkm4ymxm22plhqpepgh34pz7mr545dw8        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qlx6rdlvr58jnq9qwq53uldamueqvpmfme9zrk8        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qly05xlgcagq0pv2ffl720zeksrev4wn6mk75zq        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qly0mlnetsr8h595spma4hl96had20pjghysj4v        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qm26qhj0f5353z54934u2avp2fnm0ge3scazspp        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qm276q897mn2qa86qpn3ytwajnag7njqvtwc3lj        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qm4np332s0az9h7u6c2jdqwcz3nuapuk4tjawjt        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qm64t2hutggap4sus6nq9gvt6q2sgz3x6tqqm99        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qm6dhnqg5hk9qlvjsenueurec2aq6qdgcr5f8aw        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qm7v2khjwkksuvfxdrlqm5qzr6n3gq9tdqy25g4        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qm8fzyva43js98vpsz3uc7a3vayw306d4tj6zzh        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qm8lwqdm09nxk9lpjxefktvp0dp0kzh6uu08a6v        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qm8z0wwt33jj7qxudvkdw5qk4vapclcke69ldly        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qm96y2lq6g9cc0w5j22fw9ktmuqqpz5zq2p8t43        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qm9l0h9sqfs4k7dxseny6ljfj3f644eughlgh3d        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qm9lk4drx5qu9mpam9y4dwc0jkezhs9syjre9rh        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qm9zeyrx45yp4hz29udghzy2vfykksxy94f5yzf        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qmaeauc8j6z75c4lunhxyhzxgjm745z3hs57a8p        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qmds3g6twn6rwfap5kxx87s58yrvk77t0fgp38p        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qmevne4gvty5shundsundf56man7vch6wtn8gxe        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qmj4a43s8qdw0qrq655crv5l97s2dr3x597tzjz        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qmjx32n665v7ar0pyjceqpnmwa8dgfg8vyfyvtl        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qml7jqu9j068s2s05m6rgvc5gjasf6aejdaewak        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qmlgmzwkhp7rc5wugu20k9s5vf7p45zcwzylvx5        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qmm9fy8mhu36tv6qc0mn4u9lknnzz4drzwahc9l        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qmn2sqleqp7xd0e3e4rlrz3qcvlaf9xsvlrqhej        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qmplg57mfaw3uc7vfstj57skwvfupcxajv0zw9w        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qmq4chk0h6e8rwrv57hf9qtwqnkdlfuuh5jqkwu        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qmqwzlalr2agr004jqdpcaamh22r8ca5hrkneph        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qmr6wj98gf8lspn4d2wmthe2plwthsxf3gz2n3v        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qms7ng69rrgjv2ptunayknuawf8m76ns82un9w3        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qmsrzuxw6wp0r9l2lq8franrgtn055yqcmm83hh        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qmtr6k8yl2dvkld90mnt0z0z2d5thaxfg2yn8va        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qmtz4mgga96ve4fzaqd3zhu29deej64pfh2c37t        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qmufpkg7d2xmz2v4zecpkhkney74yt4uelfzg43        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qmvv899yf76juvaf22529frq5yk60ssyarytwg2        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qmvvx9huvhvkedzxffu0sm7ckl7u5ndhz3qhmtl        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qmwddn7pm0eydjwv0uanxt5c9qv4kwrzgg2d6qn        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qmwk958s5tzm792fz2a3ydm0wtqw8vg5dj332ue        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qmwv579hxp4zmawu2qg80lllnt0ae6j65fynlcy        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qmyd2a3s4kc03nrnyvgjxnvxyqpkcmdjvma2lw4        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qmydyveu0sq3p97yvwcsauseqrn4p7f8cwspg86        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qmyp9f2eawyg66ne3z47rgzadhk864kf8devzl7        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qmyrnd22rls2u080v2jxaajmfc52lf6u2eyvuvm        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qmyt84r6p8yu5jgyt8yycw9hquz4utxg4rwt7cc        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qmyvwndg4h3euee3vwv8f989jnhkqa8alwq5n3v        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qmz0y5gtqmjgvewp58xlguw2d5frvf625dxm3pj        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qmzv82u66wv85ndh6qf0da7kh5kvfw9adz0n237        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qn0pjndvapapfally8kwdrzzfhr76m0azqjt2m6        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qn3ekq997ewd4l89ms55f3df53fgag0s2f4ycsy        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qn45p0hjcup9qu8hnf03sd6fh7wtraeaem6d46a        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qn5709ut2pe04ayha9v7tdgcqpsrue5q6axu6r8        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qn58ktkz0jhdhgmaxlt8haxk0efeuq4nltnapf6        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qn5fkke0d7uuz2pj5c3dv4zakjxneuwd4fytlwz        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qn5lppregkk3hwy2q0vh4w04shxm0j29vysx6qf        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qn66rmdfnx4yjynshqtqnh7zjc5dv2nz02zpydh        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qn68sfylcufgc4npyfmv2rhgvh0dneespmn3lnw        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qn7vs8s3dnap3seh6a3dy7f5z0a6t2csl83cgsa        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qnacxjqqg5gz2s5gqne9esz2wgketh5yf4qu7ze        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qnaep7v7xtcmryadsyhjswjd3zslyh7zk6gqveq        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qnc095re58nrk433g39meuj0cgvxycm27auw8m5        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qnc33leuywqufgjw5jzksrhkp0jggqlu3yptdqu        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qnc7yh03d72g2syayzsuth4k3cj3954dnhe74ty        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qnd26mmp6vvztr0av6qdftmejxqvwgspf3pvdqg        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qndk8wnvzydpx6gpx6tcmx53wlxhgl64rcvrr6u        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qnedyqz5rhf322mhfsa6jp9fdhglp5cv8l8nd38        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qnfu7tmdtw8v0d7krcqq24y7w97kv8l0hfqvcsn        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qng4w7qd846nwsqjuhk4p8nn7zsvl3ncp8gkpa4        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qngxxh3h5zjccuydqmrcgfj8w60efsmrwxuwqgu        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qnjmr0vvptfntc9aznjcw4sjald3fhn7csx2vuc        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qnlec7ly20x3klwva47tu4tu60z0yhsurj3rjt2        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qnlpsa2df7qv57k5x7jgwj40ta8j625sh5wwa28        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qnm8qhnnljuh2de4xxcww6xeta29d09h9gtmgce        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qnmadvyjhc9gx646zyygjv57xmc3q2pmh8nck32        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qnmq79qq4x2t74zhlraq4u4lcdap9d6djwa2mnc        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qnn4y5028wcv9fkepj463z0jjuzwu6vsvpgz5a2        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qnnf6fna5pv2fnn6x0er678je9hms2zz3l7krfu        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qns7jlwmvpve7j5h4pvfytns6mjqz6ufug4fy8e        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qnuc754ffqfkpv0q7h7eq8z4zhqj46rqffdgx0e        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qnv6ekta837ys5jzx6pqk8zfuk9gxpj3905xd60        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qnv98zq5rtj40fpqt35uld23l0ew3c9x48zffft        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qnwaqmagg3456efmjhc7l8f84auy3lyz8ddhum3        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qp0pq2av6hqyeep800axr9csngfna96j28p2vcd        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qp55cjjafz0c7cfshgmy3h9w09j7uc52l3jnm0q        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qp5e6wvnpsjzlae66agpcwfecv80wefk3xz929r        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qp5u7ppa8tstjy7dvaw3ylctr3qeyacv0qfkytj        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qp66prcs6yk89cuxewxzqxerzlk86lv8mcggpjj        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qp7ttjhp68gx8au58y8ll4y9vdx8tlzpvkfegzn        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qp8tjmu58yxym5ktm4rtq0azfd494lg35w7a9kl        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qp8yvjcpcgwy69h8t77zt5wqp4jss62wufqr3v9        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qpa63m5yxfnn357xnvcswxvf38dk5mlm96470tr        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qpa762r7anehfl5cepp3sn2w69xq6xtaxeldzt9        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qpa8vf9ef58kpuq3fv6u9pta4aejd5vcmp03l69        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qpaj7ggm2wtp8zpfen7lanhftjn3hfmdn22pf2v        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qpchdw7yu7y5r7kj6z0527vr6w2t9hmku4hgk3l        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qpctllu4fz6tkjnpjsuczz328mwtm2s5r3gg73t        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qpdywqlzm294qrmqessm8eq5f33e9exph5cekx9        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qpe7qd4jjsurk6pvxg9qxsxyfj9p9r7rds4kpud        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qpglzvyelhp824uq5x42thveqjm3850vuut4nar        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qphj8zkv94k8q5v9ldur6pa95s3w9led9cqxtqh        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qpjhwvxt2hlky9wlv4t2duvsadeu7e3l07mm5u0        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qpjk8e95flw67swnt8jv9kulyvmmkg7dswqf459        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qpjs3r4ss4tn0tza0ddfh5xpndqf3w5py8gax2y        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qplrt7hrrcu5f4250n4k9kyjc5rvnqzjl4ayg60        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qpm8ag2gcs4ey6gwje3kd5wt44gdfnkd92smc8d        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qpmumjqpeh9lt572uypl45pr8zutet7dxm54nk9        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qpnzcdhq09843em8mvnmqyvxv98f356mt0gh47w        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qpq66sh3z4jzezqwhd0gw3xg2phdzmjmnyt7vk4        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qpsmh3q4wc5ka07sdn2xze97p7qsv7ly6698sjj        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qpt8ku944t7r3mu8zd6kt0dnlgufhnn27j9teuz        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qpu92m8908kkwsknmafnp42q2tpy934xl4xv5pf        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qpuqfwezkynjct0zd8572qjan0uy62dj6czuwzg        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qpvr7japnyq47c05wxqypn2yr06pxztmrufuvp9        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qpwvkl2y65xwsnsdm34ygpjy02d964fne6lz4v4        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qpxhhnlmj00md088clmprguywql4sydjqvtervs        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qpyjqxrv7gajw2a8ukr83fsdyetnm9ztjy6qswn        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qpyyfgsx3mg8w0j0jr5t22gclg520vp6cvq0ahz        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qq02gthpk6cev9zz9mtc8cz3m9dj35hyhlfwsx8        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qq02swup2nn6rfuz7m75cj633jp8phts0lg8u5l        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qq4mmht4997yn8ju8kfl0za09y6wxr5t28nghch        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qq6s8dakcc77s9uv7c0n3khtmw3vctspfd6kwe4        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qq6x68dp9zuh6uf068nu5jm5uzqgde4739n7t4t        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qq7he79e380ne08nj3khqdlra22d8gsw0nygh7j        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qq7rxtlul4m6xwt24wu3jm466ap9z0j0uqrdqk7        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qq8m70rrt06xauwlx8tukng3dps4mm7xxyj49mc        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qqagzyt906q7ftfjxnclkn0dwyz9lg84a38hg9n        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qqawye8r882rlpks0hvqpkddk6twtwjayvx3c79        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qqdg2896jhydp269pysml7e9zv667y3uy8c7q6q        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qqepz7uf23rhjntc6r5zja5raackwdph5w2ne4n        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qqffywz9f6vgp4dam7qtqjdlxh06sc53cus6esk        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qqfmunvskqy5q0dszl37atw73e4hg90h6eqc649        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qqg3slwxe8qj4xcpsy34mfnjanpc657559y2ryq        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qqg6mvspcsyuhajvvctj2x6tg56vj5flm022jgz        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qqgqtpk9smwndf8ggn7gva7h4n997vpp86l4vg5        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qqh755dkccmmr7mgthmv2j3236vz85w23dtm4zh        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qqhvqkr97htc8tsjacelmfguz40g4ck2jmfjgww        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qqj48qzjvglgzxklrkxcackxvakzlze6ddzdj5e        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qqj9vmpe3temtnud43kz4gkzrmgrlv4d8he8tu0        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qqkfasjumujfxz7dyh2yamx2fmj8hfzjvrhh45p        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qqlt906wngkkfdl6lcsvfau46pu05xpgwwxcha0        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qqmvv3e493hdm28k2ntkytdcs3vq6x98z2d9pzn        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qqsgpyhdlde7dtrv99q2jqjucjs8klfmcnq4205        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qqtq3e7rn44wwhnme2qxr0ry4e7truhtlmgsps8        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qqtwtassymzazjqw93aun6d2sdce48e8a2r5t7w        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qqtznwh3zpkem64ucncav26axyxu8pj5qlp0a75        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qqv07n7fm8dq2wpwdupfyzhx76z9vjyn8946nax        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qqw5p2pfkp20k6zeg0d2magz3shx4xywy5dfgjs        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qqwp4n4g3yrfkq0xpjel4kww6d64m4x80pk3qvl        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qqxa4m07tnswhjlc6lc5aa4ua0tau9avkmvz83l        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qqxerew38zrs5wytgl66ez7d6u45zhhvlvayv8y        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qqy5d8ztdaju4nkwaqu5t6lp4g7z0deqmg9lgen        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qqzghwp04s5akaacmlf8qcguv52l8vtm3wrfmd4        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qr0c658hmgq3hekzr3n48fp06ky3luuat5jsghp        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qr0dt9m6508npde0m38hyhgw8598ul07yxn9phw        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qr0fae29qdetkzkhc02kl7gszfw0h8n2g83cnnf        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qr0m79hgmqj5m5fp6umv05pfll7aedh8l2dv5sr        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qr3fj7jqfjayaeha2j9yy9dlavl65ffmd3uvf75        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qr44zca072e0ul3fkc24nxdsxdk532fn5z9qssd        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qr6d8rw8a4hkekjc4t6w8vx9wj0u969p6qw7lzh        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qr6rrdkeeewv37rjgcdd3nkmjf0wmdfxasrv8up        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qr6zgw5dw33sxyfrgu78a6kaps4xx70tfr8qfkl        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qr75c4ndrcs2e35mfyhpaemfdg22mupkdwr93gu        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qr7ztsls0nqs9h0yvtrrt9yxtfsgdyr3xlp7dw7        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qr9949wmjf9qmvhv5puhauxg6k0mw3mqxuqlfuq        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qraa287s0ralkdy0lvmur7zy6uexcxcu4ydh8yu        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qrcygwnvcwa5apx2ypac4e59wpklpd0felcj6sf        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qrd0es25qcrtgd8wjt36hh44v5v08xlrnwmsjnp        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qrddg6680n0jf3fa4fwe5vuxxushzcaqt9m6qcl        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qretfcnwtqeh0nq8lnkljwpquunstgnezu44ua6        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qrexs5jdemqem2vqeg0xycy2r2dnz9fmrutgynn        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qrf5e4nuj8qdyr6elzfl9hcpp89nmfgjtuztrfu        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qrf8440ldaw76q945cm7ejfg52atcwum9dc2wes        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qrfvt7yjsgfv59fgqe2dy5v39h0gksg0szlkjnx        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qrfzmpej4ayrfk9pvjfvhkef77c4yymzjk3777r        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qrg2j9fy4p50avcs6lqj0hxtzez2gqgcs7u52xu        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qrjlq9xjtah50p2hge03nqnd4vvug7muhmqk34j        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qrjxuc742qwr53ehhcm2ptd3q4dxzhmpl435g2e        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qrk5edlh8eyrukwwfjrhrzt2t50pn2gh768pr9s        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qrks0hzp32lmzf20vhdvdgrk3kkuqulkt9eq0sl        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qrlfxh5gjagg3646rguvjtccfdsuvadytz2k3qc        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qrm9g6qtsh927h4adl938ets8qvzl7c5y6masyj        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qrqan7a2a6veyfm4eshezycpzprlcx7zr6mk82n        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qrqxya9m7u9f8r75794rezfwf7kw7d33pwycq8z        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qrta3ed0sp5rzy75t3vj532hhspnjyzkc9hqach        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qrtutefqh8mg6fpgd5ewyvsxnmx4ntcy8wryfzh        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qru0xnx7ezpk2nngxh3ylzj4ygatvx9vgxzrtxs        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qrvrrp66s5qttaxw90elh36uf57735sw5wfmtqg        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qrw0ksk8nw4cy2jsdc58all97uzqtk4kcn5kzcn        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qrw6499rntf8eptfakefkxsgtrur96wwu5zekwd        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qrwswww4arn9k8yuclry2tk5g57upux2v7f67x9        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qrx26a80fkj7q5kycfkr00wtvyjntf8ac4zcuvz        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qrxfmx7py0l4xg4zer3l764pz4q2te3h32fvuz7        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qrxk8fedacvf7pk5028atp7pe98ngrq5wsxs3uv        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qrxzmvgaeg4xl97xj842dm5ktfr7mp58j23ppfp        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qryy4g8swjz7cuww70mutee37vm00jh9hgu6djh        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qrzzvf3zepha7xhqq8gyqwzvh3rjr5fnw6jy950        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qs2kf0n0scv7hyzqn6wq785zq3848pkdcwad436        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qs8p0zgupgjypmlzx0juwd5l5a4m7fe9f0w7ece        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qsc226jk7ksykgssx4yjahd7zggfrdg7jjg3d7k        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qsc8tmk8gqhcp62uv3af8nf70dcj5zrcl3vr5zz        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qscm5p20l3vxv04vhtswr8hphmm5zrf05y5z782        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qscp0ufvx8a0aqu69mq0ra5hfukhkft2l72yhk8        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qsd35j7zct9sreqpwepv4jtu0q464zj4ln5e6d3        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qsdnmnthd4c6dl8scp6rq46v0ha0usj9xl908gt        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qsdwu5dap7gm524jgetenc5gk9c0dlzslu8ucsa        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qsejv6t75ttthyqlrfryzvkw8ew2e0uymxemwvd        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qsf6af769jfsk8jrxfxqc2xgsqhdph76szdj3xd        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qsf8jta3axva5hud99uvnxd6k8c3l5d4m7av9ww        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qsg80kwwlue9cdghjamuuvczrrwqx29lff2nm87        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qshfxeg7tgrxdszjur8ypnmecz52ve3n0fr0mez        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qshz84lfw98ky4zksd9zlnll3gfzhnq5u2kwkm6        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qsjal50pyq6st0xhw3whzheh3lrcn9h28f6hm7m        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qsjqk4n6emuylqhzq2dzqkw4y0mlk7pn05qlwmz        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qsju8xge5r0xrn3gr4vqjkzryswtermcw44gy3j        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qsman4ayvpnpx75e9hmdt3x2sa3ytsgg29g9e7h        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qsmp8d8u4mlxnuv40k84sd77qewse24qg8mmlw3        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qsnzn4dz9tqfa89z98zc0rj60yt5apzupjftvr4        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qsp3e2xt8re0c38e38af3y764ujks07qdfsxr9a        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qsre26pxwm9phe7tf75dluagwlkzz0m6smh8vfs        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qsrevuktnuwxr7c83hc4rx8a9kvfnner24wtmrh        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qsrfdwrwddsg6cf5em3wf297ct7l4gujnlpk7hx        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qstge7hclll3gv3kap7c43raz2f9fmesgm0kxpu        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qsuvvwq4gzg56wand52yyvl5mmuenj2j47lzcqt        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qsvwnkjar29wrluscnqr6ve0c7y2rf72ce6zxew        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qsxdqw3gmjww5nlhzc9emjkjzwn0rwvapfjzd3p        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qsxz75g46ucf4ss8f6yp0q995jkhnlr73vz9tcn        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qsy5lx8nj4zqvze9l249vjx9ryave6xeklz3c2d        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qsyehe0hpg5e8tly09gnyhzdc3yaxk0ljq9w3xu        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qt07zd4dcdn6plly0n6yksg0v76fskl8ulmkte2        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qt0efvyuz9aju3wue8ddhh7e4ehznys6qjwyzw0        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qt0p3kee6etgzptt6wyjkyjp4f9m9k530matpm5        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qt3fvf3nsgtehysn59nshfym4rpfsk5n4cq8f3v        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qt3mzuxpza00a5zfx8qpzurvsw7r9c4rk2dzveh        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qt3ws7r9vyg77ref2q9h7vxt6hry2g8xuvc8wrm        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qt5574kezjj0wy8af2h08ws3g8jknjnl6wfdhl7        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qt5h9xksf6pfw7s8pf293thlttmg6le4kw5x2x2        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qt5yvlz6t4gr3u9wpuxuesn8x9z6l7uun3xuvpw        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qt84lctehjhg08grtlj72vwmztjq6tfxg73n74e        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qt854vttx2tkg0k35etl3kceps73lkgws2jxqz2        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qt9ul3c9fvnw3dzm0hv2paxy0vuwzhs3atjumge        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qtcyqgdmvxn64tksyssrc3je7c9da334s43e7g9        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qteg7gd6442066dmx89vw5926z6xvmarsa43zye        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qteycl3lkdrzne60jk76wja8xzlmradurml5s7e        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qteyr2gzyhsrgpxfs5ycyf45dn4q3z99jgpdwt4        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qtfdsaqehamvvgqf0vfq8gzw2gg6m20r7uwkpk4        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qtg7qlkmty0qhmxz90zlkc4vvt32ajcz4mp005j        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qtgslmgthumex8ved8n3kmgs2a09wyy4a0c5uqh        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qthp0s7xnnlm25apg4fw2vnynxc5c8hc2q4tvrn        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qtklal72ynyrh8damup043gyadt2ghjx06wytky        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qtkszglxc896mx726p63fjzl3dmy39dlu2mpkul        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qtngy24mlcp552rr4ymfslcly8wwrd9gp08gu0z        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qtnxeqprjx8thjt75wut8n6z7qmhrjvd86g4zp7        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qtp0t25v0pqwrfpu4n7azfkktxwmr63dqhca99e        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qtqxap2tr46q6scqta596a3m4z2xqpme23w27xa        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qtr4vruxathhl2p86ckpm2fj9zur36uqu0aqd4v        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qtr5dgafk0qr0wesq8ty92g7n9kj92sd4guyuqa        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qtu3p4smprpqsgrs3f52k9ryclcxhyc5j8jqfsu        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qtus7le6rc66l7qfktd9ymz3p8er99lt2pkck6u        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qtuvhrfrkzvwuxdt5030qywa80ufpah429ar2tz        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qtuw8m8zsvx2509s6vwas3z76pguaft09l7d4zt        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qtw842vcft8xdeqlm9lcflvzt638tj63kjnqv2y        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qtxhga60thnqpthzmay5llzeheym8xyk0wjqvc3        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qtxl5ewy34cws65fuhsdyhna2jd29a9jgr9lkx0        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qtzu8sukfyxnl8np35atezmxfelv97nx8z5e0tg        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qu0cpfc0fdwqj3dm9fdx3gc70gcznnev9tt7wgn        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qu0wuym996dga8kg4udss2wzlxgts78wgg602s0        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qu29v6ftlfchflq533z85s9um3khuwywx7usjsu        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qu2thmer09uwn3c030g4smc5fn4lrz3x8ltmwx5        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qu37fdlpj96ckwfkspvlfz6pmdwqh8z5y0zxvtg        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qu4xgt9nw7j7293gr80mnc8svkhmx3jn3pdfje3        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qu6ga3vr85p40hwsz8z7x8eaw99vhlyxzmquyxx        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qu6lg0d8eu9nej42hwdh3nmy5zlp3jv3s5hcxuh        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qu7hlq963ar044mv9h6tf5qmwymypx3xk8ndq5u        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qu854uhk577jak22cahfy8cayre2ly0uzya04th        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qu87pt09sp852kx60qwwh7erwmu0n4yvd55hlut        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qu8dx5uzn8gn52na2xt2jngehffv5jyr7md6j9f        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qu8ldynfhcz0xz3ck0ypvcyf088nnav0uutnc75        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qu8mxqtx702fehqjagzevkyap6yqxaxh7f65697        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qu9rnehyez4fx7nrjvvdfv2wwf386wq7d4jr6r4        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qua4v34mgwwg2lmyh42x7qmy5jr3kxkd8s3d7w8        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qucgdrey0tkq53lac4ua47u2sv6h0sdvt7m66ry        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qud4m76j79cpt45n3cmu4dppvcrgeuk55kl6uxw        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1que6g536af3cgmd0aejkwvmyy0dxm7frm5zqq8q        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1quesswsjm3zxarcq6vfl5e22e8qhce5yxk6q2d0        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1quf2trm6sstw7v9n5znt97j3w4dpp998h9p2zu3        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qufu5cvagwr3t3r98yt2yht5v9myktmr3zkluzv        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1quhdt428xdhcvnearfzj4zktt5p83nghhl4hk96        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1quhmhwxe3ayvmq8060a7d5vr3tta5dqp6f5hd7k        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qujpl22mlcaftunurtpjzwwsmq70vfu8lf4q6sm        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qukhhh4fdvzhavzltrd9uczn4g252f7ag77g389        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qule24h9qjxx585ex3jjlskkkdsm3fcjpqnuquz        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qulwfgwwcfgu0gwt0smhp4w74dguujuy3nfnt0g        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qumajfqq8dn7ggv8z85yu8y46gmsaj5fqhsh5nr        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qumytd25quzgjpgckhyafec8cckn992lj70u8qf        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qunexek0j2ghj8p4d6tleauk8lf8n4gf082t77d        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qupafaslguu3xuyurhnns9d2nzra5tdu6hzxk8d        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qupf5m5t64su8w8yzyrekxlscq2seh47l4yn22a        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qupfwp25uaml30edgfpet8lv0vr443uzqv00kds        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1quq4as69s3eeag6e9c5ekx04w25jeghdvn7h7vs        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1quqr69jjzpqdan8r6zzmfp9awrvhwcddvz085n7        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qus3fkwq3q6gl2ypr758l5dxvxc7zmqye5jqs00        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qutwl5hy3japx8ww2h3cuyt5d8jlurvx4ug2qp3        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1quulwdcre82fmu0zf64ngmemn6d06hll9f3qy7s        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1quw5mqzzw06g3qpgye3g5cuwx0s0lj3rprakzkn        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1quwjt4mmplgrg0kz7gx6ykm3khr87y4ky8h3u6y        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1quwzwea764dlxmmpljggy0ht4pk7qypdvrjn2tz        BTC                   0.25600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qux9jflcpllp9x9xfwpuauxc2uqa2y59tg93f3n        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1quzqwrfsq28xz6tky646eqwq85h52w9vtpnmxvg        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qv4teedl4mp5ked954t3h7kqrj24kzd8qv52dma        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qv6pm7nhhfsx29vssa6xw332sntzpzu5ma2xkny        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qv6vvr8ca5u2lyn9dc79909vx5wr9r2904dzx4j        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qv7mpmqzsxwxgfaddxwcgca2unpf2m0nk9v5444        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qv8gxcgt5sndxfc0prrued30y6lq5a2eljsq6uw        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qv94dcq6xmp4n25m35kja3rtdjec2jsuv4zq5zp        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qvch2mamml9k2ny2uw86l882fytpkemhwh5j9wy        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qvdjl48m9edwy347j7ed0zghccaa75nju53ma0e        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qvdz9j90qfwwkvv8t03lq82u54lxwc8m6yx8tdv        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qvefuf5dysummjvp4lm3p68e2wr5fpnjcdnscc9        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qvfnlwfdw47k5q6m4av22hcxfygprycmwu0uarc        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qvgdqqen67djecm2q396qzgq8w5lrat00jg5x47        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qvgx77wp26qcand85aenqag8dxwdmrfgf7mqzzv        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qvgxxuxslk56wtj08cg4chpdwr4rm4acmw2akc8        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qvh99wuewtgauz6tg07gqst7djp9r572fqngkqd        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qvhhpg3dr3pz43t3x7xlesjx5gq7v3nmpmrggfy        BTC                   0.25600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qvht0jt7nympelgv7rc8j78f7ky5fmyvt9y9say        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qvl64g24wtzeydw2jmpja0ykffkc2hc7tfxn5nt        BTC                   0.25600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qvlcy6jmkuy4q4wh7h3qcp0haeqqlvqxpt28hvr        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qvma7wv967a8r8xasjprtynuuzrg95w84m0pa5a        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qvmzfahyxpnkxp6txx5x6yhz73nfks29ehz9j4v        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qvnnfv4ud0ykjfu9d5v3dn9l3tx5uarz5yua90j        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qvnvdf6j2v3n3d0242y3scc9f4nu8npc695a709        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 304 of
                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qvpge523flqsr8j6w7e2sdu34csmhx699awjyh6        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qvpl56gwlf2z0y375vdsuqv3tgmfvq07w80hkru        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qvq6dda4lf0rjd93ysgu80nv2qc6v7f867lfnys        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qvqwtf9zu7sds8020xnnh7ufhxpcwke3dnc9gvf        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qvryes456pz87szenzt6gfa2wjzhp2d5xujdgpv        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qvsjqdd25zmt0fvd6j5a6uxr2dq9xvqx6g3f206        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qvtdfymqushwtc53m0vlpmdcsf469f608znpjrd        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qvtnp4dvuktyag9ju0jr9f94k266apya2muv05c        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qvuaxw6h9qs52457zxdfhlzcljk68fg5209dlqx        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qvv0svnlgjn20lvckrjr5gajnzvnmku7806ltqh        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qvwcaxruy35raxt8s3ul5jvk5jhhvxc2n3jxajd        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qvwlc8qdh0tskme27j7czd4c6vumjcyvhjlu5ht        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qvwxx8lvxah9fx9uqqjfaz9440pnse207cl990p        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qvwzmvvg7vr3078mvcyj6d0xfulcx9d9lgcfsus        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qvx80v4mfdr3l6tn2upmj7mh50vl9p3cpc9d3gk        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qvxc5kdnpuutf5u9cd0q4czlmk3hkhgrj7g2m5n        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qvyrqeu379jvne8xssweat5ufn6fj2dyxnrxcwm        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qvzmq3mwu5l0nc2rypsya7vrm0ufuzud7myl06j        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qw0jur5kyvztpmjrxvy7swv5m07avusuxwm49qk        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qw0lxd8d3mm5a52cthd72n7mqlqm63prg52cjn2        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qw5ezjg7zrztxfwk3m9975myfrvhggfvnnz6rrd        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qw6aa6eenv9jlm3nfrwfrz43ka35jjmax7ctm87        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qw6emlhzywmua59vhd0dewavvmmp4mytq6tsqur        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qw870nzzwtsqkpq3r0k0phm5skg9t8ljmkxdp44        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qw8m8w9u3hh3sjmdu55cyneqdtpu9mwgl5v2rfe        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qw8r8u6qakuhjgnmyp5zstmvlfm3e42jzlpdpfn        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qw973ugau44w8jahs06tzmhxqqwfj5hkmfksmnt        BTC                   0.25600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qw994mrng8apqch904s6eal45gpx8dgemvws0qy        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qw9htcl8uwskg8fglz9qvwura477h4rwaqxuy3h        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 305 of
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qwa07fhygrxml5hv5xqnk3z0f7zv556xrcs3mlp        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qwa5whtn6ga0mu2r9t59jl5ey4yvdhwfx8zgymh        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qwafuhcx9d64nwea4ujem74qxtj480j6g69vcr8        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qwaxg3wl9j8nqxftrsjnzs7wezuyrga289xeend        BTC                   0.25600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qwd8s3qphww7q7swmatluttvpkrc9nwy4xspgcy        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qwdfftgte8rg56ucsndzfjewvaxhws9y7sl835z        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qwed9fdxpasxp7gt4c3une056knc7d4hp64t4qm        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qwf2lwnyc46xeerxqs52wz7gdqgur77482pe2ht        BTC                   0.25600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qwf4tvtm8g4tm2428v3nvyacljhynw3uvq3qwzt        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qwf640ccd9na744e2krmmkn9unmrsvmsecjwsa8        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qwf7a5w0qz4nuqufgafhpx8c5cftytpgqg4dta8        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qwfrf8487axe8w393zxykj4u0xyuacg6wu7atce        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qwg805fajxgr0znrgtf44nsc5azkq76u5t6mmzj        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qwgw0p8qzyzss2wu4vx48drxqzwuh7zqt3ux6j8        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qwhntnsl42cts0vpt4ycfjcr59rpcrrnmz935yz        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qwhw6eszvgamp3v5fg6cgyvx3png70l6gtd3sls        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qwhzm08k8rtuplm94x5k5vdt88g92q8jhy47x09        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qwjrvdue8zn3lhm64elu7znkqy4xnqv6qj7njsa        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qwkjq5xm78hfka57t039et2dkqcv7l07h28e2lt        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qwklmd9pj8yu8y9lgqnrvkdt7c5gsc7jzs4qn32        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qwm2z3wqfn3y7xyd229h3gnz7cwjmmfwj8l76tt        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qwp9d2tqxkxv5jl5k2umydlj5yx5nhl32wa8ukf        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qwpefhh5jgxzfqcka5jz6nv2cx22cnc2euu7xa6        BTC                   0.25600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qwprj03j6w98auwmc5cyt4mu6g685a7t8sd6d2w        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qwqjfrc3rsdnqm0s425j2kg4gf6qnfr39euq9rv        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qwtcz79y6pk503afwrxqxgqwhcmhz59cn23dfrs        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qwtz0agx70mf0wer0rw5s35cdzycray4cdtpact        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qwu8mpee2hqnc564zccu499xlq0tn5yjvue7c5z        BTC                   0.25600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qwucq5zg9eewfmmqvxlh7ml3jaykkm06hw3h2uu        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qww45dyyp4jasuptmpyxz5gc2s940dyggg5cm3g        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qwxqu3336shxpq5f2tr77zz7htc6px27zv8x2x0        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qwyd3lzyndfceyaxw7ewquwqd4lzmxyj74cqfvm        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qwzgjvjl2c2c84h8pyjn3zg55u8pwyslujmrxtk        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qx2r7glj5m3h5mr2n35rth2mj8fjncurer557gh        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qx2xphnxrf3zp6tzqgxuwj3t3kzp9s8rjagxk7e        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qx5qn4dl9g5gjeg2dteah4y7a2u9vq9rvfdxrun        BTC                   0.25600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qx7p562wukaragqaqp0gct3vlmx04w3gv0t6d4n        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qx7qk2v0uxrey72wnzgeamhdckhmqvs9h5udd42        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qx99a4je84yfhmzfzcrhzdnp7tl9w2f53ptgdru        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qxa4u0r9qftyyktu6c30zf9mrmk8aseqsvdjwag        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qxa970wycwpdt623ewqvp39yuyn8tm5v5glhms5        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qxaeeqjag0g6us9tl4sxr63eey8y7ng3s6zpd2w        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qxd48gerdptlwnw3kyz7aank9z6xzzx0chu6juj        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qxeee68mr2ssphlwgqeth5k5j225g7dppn682hu        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qxfsr8gszqnt2mwqkqetvuv0u9cmghuqvlpev50        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qxjvwpytt5mvmmeqpv5hdn5aqfvyl3q8y5yxpcj        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qxlk0gz47sc2cqqhsfkegkejvemyervcpz53gyr        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qxmnggeych3f9kg4e0ucu7glxjnwzrpwds84y8m        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qxn2jlwpa55phu7f7jz3jfch0wr9e5l6hv4vkuy        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qxn6ue37ayrhfxsknan5kg2n37qlu5246xhh8d9        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qxp2pyrsrjql53yefsqp62x6q9qhy9rv9fnuajn        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qxr9g5396yazl9thw7uw5cu9vl8fzglg09lzt8u        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qxt4nrxdahshfmyxgtrygvdn97zhdpaza57qwhx        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qxtsztf9xe6amyfy9zu8ggeccc7qu3q0fmuv76n        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qxu98t4tkwnpwvxpnuk9nwjkxj296wvgalpd68g        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qxutv4ltrk7x96ngk2jdswtn3vry3d8742dxz8y        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qxvxk3v987dwjk8ghc9h3ulr3d8t372wy7zx6c3        BTC                   0.25600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qxx4z2puw5snawtku490awv0te4l5242j4t8jj6        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qxxv33x8swtnac53fr7fhfn6hxfl28462v9k7h7        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qxy6pzth0kcy34mqlgg0d2h3yrejq5xmnkrjtrr        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qxymmjw72vs58s0vz8xgmvj55u7xuu02gvw2fcy        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qxz445g5mruwhxsmns6kdvwfgyfqwxehupkcpv8        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qxzp6q559ms5e90xkf4jkgwrsw0ex2vq6k8j0wg        BTC                   0.25600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qy2cr3mqvpfr6jsmf2xuyp3c06ncxe8xgtuglcn        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qy37w7fhpx9wdnwr34wgwrd0at8xmfjyj5ha99t        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qy4hk2a40y9xk5hqj0jlh6n4mnsza7zm682vacm        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qy4jl4twlwplarxtr5x6m9f0k0urt43splwu70c        BTC                   0.25600000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qy5kh64ksma8fuh9aghrercx7ja2kjexs7j5mkg        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qy73aw0qkaruayqu7stnf3qv4rnsvtnkc3jr8zx        BTC                   0.25600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qy92dh50sycdzf094hjyk3tg036fw47xpgqnt32        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qy9kucye0hs208qa4jzdzzyyv47f7p49ss03uax        BTC                   0.25600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qyapgax9ryatuur2u83ctr88hj2v4weatwqunm9        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qycantm3j4ph4ehr0d2cxagekj86hasx486w739        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qycpmgvrqh9vv4jd4y2aq3ej05znl5turv8g6y9        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qyf337t2e76y4csuk8szy0kh2kqzycp9ekszflr        BTC                   0.25600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qyfr39lqaz4hfhp7f52njrt9xazvs9wu745zr37        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qyfyq3yy8ats5khcz59nhvgj0xh9vyquec8hmes        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qygkf36g0nlxjl5rafdhhsjj7xk9lccq5dkfepk        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qyhcph6kc46p9gnw2nqrl2vgrtmcd5zup32vcmw        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qyhfr8upfakycl4nsd2343r623y7zy89cpjk22r        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qyhxp8pjewapt4t7cxqx8kjg66e0l50s9c89drp        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qyhywt8txm73cz0rf4zxecl2258gm645puvs8j5        BTC                   0.25600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qyj0j2wqtuf574x7gs4y4e04nd4n0u97e050r8h        BTC                   0.25600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qym0n4qtuczrscrs6q70tqwue8j5pr85dneyu7p        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qym4h567y5hpsn4nff930zuwzude29sc8hut3t7        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qyn7gev7dnr4wqadxuh3jzue2jgm58p3qjfxdjh        BTC                   0.25600000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qyrum7cdeuex49z0d7zmy45cyh7y66sxlnldajg        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qys4lecwrnwhaurkf67p8d2yggkdyw9ry7jae7t        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qys8824rv57un3fjm3zqr9hg3yfxsrddt9g3vph        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qysn9z0wg9pmnxxqvk8gwt932cma239tfrhu6cc        BTC                   0.25600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qysy8nuqdggwrh82lugxk5ud8r2t70tn7sjrggv        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qyvq8k552xsm94cq5hgteltjt29yx3jdy366hu8        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qywt7zm9ecg0jnusgp6v82nhqz5hz5cp4tgk9e0        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qywvzaz5zzn39cellwmrj94k2qr276z2y6dhadm        BTC                   0.25600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qyy0yp08fj0gh3vwx3ccvf8daykl95x80y0703y        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qyy2j6zlnq96y4nlult8dqtcn2eer02z53rjv80        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qyynx7y9wdyhaqc86d37pkd9l2nl7s29qteyj9n        BTC                   0.25600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qyzs6gzgalvj5rghvlvg8ehx87htzt5r7tlgkh6        BTC                   0.25600000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qz02vpchw05kvhayz2vmumladeuqtzkylzyrz3h        BTC                   0.25600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qz2dkw90nfe6wphzqv6jfa6an5gj9qjpctu4erz        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qz3kg0vyva0f8w337288zj95djg404vmk9yzcmu        BTC                   0.25600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qz54tusrlhxzdmket7rw7teehgnqwz0w8zw0n08        BTC                   0.25600000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qz57hcshz966mjg4lxqlcvfplq7fm2lg0wgn94t        BTC                   0.25600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qz5l6lzw55njw98eye875whg4sw47cyw0eajq0j        BTC                   0.25600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qz5u6jjh6pu8k3h2m6fvck7f6frjeuay6uy7z6v        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qz5uc908jhzq8jj5snltjdv0ec7kc8ucy8xzvnu        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qz6dtupf0ckntfgucacrdl98phjm8jeycew8zym        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qz6h5tqak49z5gpmllp2597kthrrwk0mejhc4xh        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qz6uz9jr57c7ptmwhhuvgym0qdnrf22qj5wkcde        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qz6x0fxxdhfpyyh30rs82mrumh98gy23yldfec7        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qz77q7pvhvva9kt44r08spyxcrkg7q66dmlsvd8        BTC                   0.25600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qz7x8zg9ww5uqs8n4ahgffzacqvdj7h5m4fyccf        BTC                   0.25600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qz9hur48cxg8z0s8tp497f30gllgca35m02d8vk        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qza2qtnx7scu3asd3kd4ls9ty8d0efmukcp7du5        BTC                   0.25600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qzafv8362vf082rwstvcs2v3z8jtd2lmvvl7dkt        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qzany489e9v24mev22w73qnp0ykjjhjt0h8ex8d        BTC                   0.25600000 2022-03-31 23:17:52   2022-03-31 23:17:52
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qzc24evdtxlvk4wjurtzqedvf9wndt6qg7p86xk        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qzdwe3pnrrs6l34lngyd3qape7mzqln220ar7yg        BTC                   0.25600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qzg5a8kvgsfjy3el9vts0rq5njlxsngq7anv39c        BTC                   0.25600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qzh93cax445h2vm5ltk89qylpmdwu35cc9zgw70        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qzhquvlhwdqv7jp9jkffsv8mhktahghehjywgku        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qzjjt59ceywcp0xgz0e6hm4qawdw2f7z9vfhr6d        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qzm5pmj0ycsy28h78tg9ws9kzljng95dqz462dx        BTC                   0.25600000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qzmw3jysjx9uvdy5yjhj9vdjf9u4wj03k50ky23        BTC                   0.25600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qznpjl9tjsz66t3jfpk4ux2fppe7q0820yjykx4        BTC                   0.25600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qznth24t8pjxnnq7d4cwtgtgjyx2c2lrayjaw36        BTC                   0.25600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qzp8xj6csm58s58jua2ulf4k7kdymujmc3y0kly        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qzpk0a3c86z5k3tjw5p8xthwk9vxddlzafmvfat        BTC                   0.25600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qzprwlgrcsa5tcd7j2p2n9km23tm7e3twucyjar        BTC                   0.25600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qzq8ux3aehjmju7pq7hzra9yhj578q3shahc0ra        BTC                   0.25600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qzqsytcd3jecgur04rwwfvv09malkh68p7wz6zr        BTC                   0.25600000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qzr2thkj7rprrdhggxadhhpmmyuphrz37l8fdga        BTC                   0.25600000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qzr92q9dgdkluf9tg6c3ar3632lwv82wrrd0asr        BTC                   0.25600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qzrmmyluml6ydc3ggemm98nxp44j5ful9kmhjgc        BTC                   0.25600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qzt3zy3wzryycupqelkexc956dehlg0m5yjtezh        BTC                   0.25600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qzv6rcn4pc9mjtek8spxsav48mj7qg4enu4g73t        BTC                   0.25600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qzvp5hhpqzqpj7a744sr2p90gkpurdhyzhuscy7        BTC                   0.25600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qzvyxgu2trz698wdejyez4q9r73vkcd8z9je5ee        BTC                   0.25600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qzyykl8r7fsh83rajan2r5arx3djg4sjf7r7t90        BTC                   0.25600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q0r6z8evmfqd5fxhkvyfgqs8f27wltcj65t2mn4        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q3jvqtvf3k5sywu5xxfh4p87wfpk89vmr0v7jaj        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q6naw9npgjzpnyf92h7dl2gp8s9v9jyrw363ns2        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q80xcqztanptg8jyscvuavhqzfdef8p5r9h2kdm        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q9ahprdkzhkfra3ta3c62qc6dnc4elv2rshewlm        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q9f9m8ht73en0dy5hft7paslcn2zd9nt9md4ryk        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qa9ffqvnskrpwmq87fxs6tmqlw6efhwapyjnngu        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qh6pxq4r6ssg4snkwvk8r2040jcc7n4v7jlpujh        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qhfetry0dallzv6fzpnmhph5e868ezjk95zvxze        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qkkhzpfeusrpa9wme0s0epy5vzhezp0652z8v4z        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1ql6j0ptqex8zllw9dtjdgpewwyaxf6zleuzzm83        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qm0gwx7w3mzp0gpw3xz3xrxxw6p08h7u0pdu87x        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qmjpwxtm7fhp6hujrjsrqngnk6cgzycvff4feut        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qpze7dfz8u62ds8wndndj9uh9r0z4jf4wlwx44e        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qqfpt5guepsfhhz86a8qx5kdqzynm0tze5tywu3        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qrv5cz4pkzw6umwr5wfw37lnepmnfqwyg3f8fkf        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qs5wshpp3723rwg0f9n9lza7r4umrp7f0zy829n        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qudyquu6rcfa0lgmp5689z4pt3wlrflr2g9kwwu        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qug7yf4k9nsawyt9c82wstw2np2nuu2rs08mmhq        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qwq8updrftz07kg96zy0t506prnptk3jr76y7q6        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qwv848fpm4y086yqvphyueqx8teqfqy4666em75        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qxj486j25hgdhedh9vv4wtnglwax89v8uf2ywya        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qzj2h82f3cg0z8veythgp3cqwmtkk8nn40zkwqg        BTC                   0.25599986 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q453jjp7gtm7j0c378rjg04n7nhmdephewmharv        BTC                   0.25599890 2022-04-01 02:44:17   2022-04-01 02:44:17
                     bc1qsw5pfd662ls5n6afaj2gdlmhzsd0d0gm3v6kma        BTC                   0.25599890 2022-04-18 22:53:20   2022-04-18 22:53:20
                     12MaSDvdhGF9ATbAtN1qyYQD6yhf7Niojn                BTC                   0.25599887 2022-04-17 02:03:30   2022-04-17 02:03:30
                     1F1anZQ1gYJEG4Mes3LamXhd6nsyv6yqVK                BTC                   0.25599887 2022-04-17 02:03:30   2022-04-17 02:03:30
                     1PeW9ZyJV7b8gaundM3AtAhfVi56khMmop                BTC                   0.25599887 2022-04-17 01:55:40   2022-04-17 01:55:40
                     bc1q0qm8rhz7ask9g3r929aht67fy8cswpu72h3eem        BTC                   0.25599780 2022-04-30 14:56:21   2022-04-30 14:56:21
                     bc1qdqy3yjmuwcme5xe3vh7plk76qn27s4md84t8u5        BTC                   0.25599758 2022-04-02 08:52:39   2022-04-02 08:52:39
                     12ESKupnjApZMQtW9nHcuaJNe9JQewCFJS                BTC                   0.25599737 2022-04-17 01:39:26   2022-04-17 01:39:26
                     3Bvr8YahYXSjydkJaVg38JSLmGEaWKEYMB                BTC                   0.25599201 2022-04-12 20:48:49   2022-04-12 20:48:49
                     bc1qk93magntvu903zfgsl9xhyzyef69hcvr5pg494        BTC                   0.25599032 2022-04-09 06:46:08   2022-04-09 06:46:08
                     32HPgQPz36FLWsttY8SPW5QEoFAy8gxcj3                BTC                   0.25598834 2022-05-02 04:38:05   2022-05-02 04:38:05
                     bc1qhcwksyqqa55942yvq8ypnutjz7n36z67eg67w7        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q2sc28qz8rhpam4wpd0a3g9py5dvka27myec8mg        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q335z5zntdyahl7mqzyws49zzyk6h40xlwnxfdj        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q6g79z4wvtn7zwyvj4tjcgpxwz3kkjkrl6uygcv        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q7nex6x9spsfhqqqp7hggq7397nx24rh7cyxlmp        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q7tv0cwc2qzuc0r0r4gz497dzjxq03v2gd6kwzf        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qchm5y9k0lk32gk7dgn42umfy9l0z6e9zrqakn7        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qeh76l52f8l96na7l6mlu9kyjs59clwqrwj7npt        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qgckknvfkt2dnr49djna0nvgl3wtx5htdepm53m        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qh2tflf9gm3d9ancferlf7slz6vgm400h6qwk0z        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qha6s5tyjn69l84v87jlkxy20lts700nfgq0xvv        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qj9flthva5tf5xfg6sxkfvatfle7gf4an85fd24        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qj9suqqj5d9vhc3grcehv562xlxk6duy2v7fd2j        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qjj324u6kfr76rjraux7fznmx6hdglxqcyl85x3        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qk4pr60ckjawd7dzu6ve27jdud2ympd2kq8en2g        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qkffpc25x0j4d2nav4d6k8udwt06pdvvquccw6e        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qn92nlu783v02nc843jjyawtlhtuypmhf6t00ef        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qna2767mcw9smzjdu3kvadlhnxavkl3rcs3xnan        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qnak6c2dtm709ch28h9w80wzd3ks5u5p30292vn        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qp793l3hvzng3cyp7lgevrrpttsa9qmv55mmfh2        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qt26rwkm8q0sh0ucchzgs26c24vxc8sd7uh7hsm        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qteruz7gcnzat5408zyrvj3hmjc00lhfad686kw        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qu9agp448kpeaea3n26q9axjglyqj7fv98q284q        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1quvhkk59q8ke8v7xjcqfwl4yutqwdsf3d6sq9ag        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qwye0u6eh2lfntarsapg9zznxmr6ac0y3yl05ta        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qx4daery94rwn806x85zlvjz26xha58exe2r8re        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qx8tn9luvdtzx7y74pjx9a0zwczg35uwzwur7tg        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qych4u2vxrffqx4shqnasp8vsp6jdtgxnjmurvy        BTC                   0.25598426 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q6ssqfw304w2g2qen8nylv4lxj8yvq9j2kquczd        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q9hq9enc3y0e770d6pacp3zxu6pywj8f7mzmndh        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qc4h5lg4phyz09w9n9xqatx4q9aprejnlz9kg28        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qh4nd26lldee9zrxjpaw5jt7snkv4a392cfdptl        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qhmcekyxj08l0hjenvs0ne45depuw52ec76dh4g        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qhpl6nwhuhq4d6xag9z0h8v9apexwu80cl3qlw7        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qm0dneagwfhy0k4x78ekzz33uex6ynmh5z6mmle        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qu7pkdvs37rck02utfsgllc0ls96chz2ewvnqfd        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qwphlcuyh0czl0aqnxtda56w3tvftulxd679cc3        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qxl5a0kn86q3vezums5ct96w0j4uawgy3qekcs8        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q0qkhz9v57gr40z9p50r7hhwyf84znny68q4u3e        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q276ufh9d7alwsldyhqgv4jnw3pxac4mvc92ryy        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q3awsyrtz5kvvmqaj75pme04vzupajwvdpaj46q        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qd53grp5x6vypd5ta2yfrqhuflrvq7d3v7yu0yj        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qdfqdlp7d7tzr6emr36dzj3py6g6tak5tjmqdh6        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qesdgw5g4n3dchmdnnxc62l0hvc88gpp6xlgzq4        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qg23qm2nkplgh50ymttmvylj80fjd74z5ayd2kl        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qkq5wl2aune4hua03htwvv7s2k0patzvzvrrz2r        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qlqqv4jhgj82ky2juac3x2hwjlj3t8lhc0sv8e0        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qnwztytxy5eevl40xsz4c6jm847vz2ey3y2tffy        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qqj9zc8njpvaawhdjm582zjxtrgyh5m0dupfmrv        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qrzqttm82sl0qx2e8czlre4ehpj0s2casshm5fw        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qs07yc24kuss0lsszegllvf8v257uya0jq37xc2        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qu9sc00z0xhv8z4kadj67qcec87hnl5qsz0xh20        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1quf54ty4elax44a9940x9v9vl872rvth9cmc3y7        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qvwaltnfdc5x7jr3y39swt36uqdyus9uqwvcy08        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qzjdhut92mfplmfahm532a6a5lu35wq0kp2fr3c        BTC                   0.25598296 2022-04-07 00:08:00   2022-04-07 00:08:00
                     38CRcnqkqMN74mySayDDRa5tszXGREfu3E                BTC                   0.25598213 2022-04-27 02:52:35   2022-04-27 02:52:35
                     bc1qnel8vhwupt3dgvdhg77aaz0nwl0ew2p9ygta6x        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qnu3lfnc6cyts6u7cc236y0awd369y0h28ew23h        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q2a9pgq4p0gzwx0azwjrx9ch0nj2nv7tz2c0jl2        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q5xqegwj9s4yerl9mngqtjnmzmfqmnhqv953nmm        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q7fj8ygfkdgzc5wr44nu48keqw23gqtzg56jxuw        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q8xvn793t4rk4laa77e69jw47aum4c23x8ur9f9        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qcyqpvcjr02r5eqrfew9snn75usymv0r4hctcn2        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qeqcd3jytexhmeddna0sl4grvm2klg0kpmj9ccy        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qfgla6lhys0h5ytydmsgpghj6dfyhp6m5gjt6ka        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qgmjyf0h9nlj44dmg50vxauf66masklppewmwhm        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qh0sfu75azrqty0f30pwm6mymc0lmk36hqcf4ap        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qjd85zyfwdvwufcttvcwdqrpx8nvsgl7muasl6l        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qm9lg652g6at7kk9s2q23w2ak0j8rxplqf3u07x        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qp5w2swffmst2t568r6y2htynzty4shcsju6xmy        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qqhk2y7xzke6m6ut9rjpzja72z6z78el0gphje7        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qquexr84lj2qwuq7t2mft9vcctqtskwlcj40uh9        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qray69wzzuhzq7dvxnr5jjfe8rn40d8q9kzut2m        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qudjf9kfvz7guzgwdg2t8r3vnthhll92rxrcmsa        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qv0ddu42xpl292cdkz7jrx60v2dqklqpxh5js6x        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qv48j54mxuyaxm7gmjhsglqmuljdgdfz69p6d3j        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qxcazc0dxtqasag342r6eathfw4fxq4xlk39drx        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qxxm9tr3d9q4ehpxag7fm2l8rp4qcmsl4uhrpur        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qyn5d4l4v9zgl6tu8x3fpggmqhhm32cmhjlvm57        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qzn0kc5x0fmwqrua6azxeulwvl8h2ql0cxxqexg        BTC                   0.25598115 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q3e6n8r4e6l8gac7cgskw6668rcdgv65vza64l5        BTC                   0.25598068 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q3wwx3uwu0yr90ch8h8wmnr0mrjhdvj22nptnnl        BTC                   0.25598068 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q5aqfcmr5u38qmwd7vc8tqgyjnjraf8mcsaum5w        BTC                   0.25598068 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q5gh3m3q3rqreghhwpljv4fnh6adscushhzetpl        BTC                   0.25598068 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q6smcpkmmpyf8e2kn0jap0z595eca57efxpdr8l        BTC                   0.25598068 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q9gexusqv2jd2m77kjdkz3j5fqscrgvcvdq9cw7        BTC                   0.25598068 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qaljzun26c5905qaztvv6zzkte3j7hr2appkq2f        BTC                   0.25598068 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qcaemadryhuekl6xhdjwp97wazt7kpt62ly3s3d        BTC                   0.25598068 2022-04-03 23:31:37   2022-04-03 23:31:37
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qdc5cc20lg7yg9g7gdte9q0kw5fy3xj5zprkz3q        BTC                   0.25598068 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qkgzk96k76ktmdq6v5xwkat7fqqzrsvcw58y5xx        BTC                   0.25598068 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qkskrjqmhjmengu33tqp6tn7wuhzl9ze8rgyuhe        BTC                   0.25598068 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qn4zclfz7aqzt9w5uffz88ne0g7nqahyellu8tk        BTC                   0.25598068 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qp3tnulkzedrf7rvn9ud79d6skuqxg4s0l7e8w2        BTC                   0.25598068 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qpwjs9h3cmqvn4req5fksq4u3rrrygqrseqjlp4        BTC                   0.25598068 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qpy3ad3updfz3vz4nu7a2wfy0730q5tfqwcnxde        BTC                   0.25598068 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qqpa6rhqkh7hq5emkn2mdx6n95t8f0vglgrudwz        BTC                   0.25598068 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qw3m6ntcvnszwk54zvu3ukxrwudrg9vynme23gg        BTC                   0.25598068 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qw7gmcdzpryj3h4uexsmacknmhu7a40qpluq6hj        BTC                   0.25598068 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qx9xtpx0jqx894up0k99y2a5404xzhs98enf0t2        BTC                   0.25598068 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q0vumfz7eq2kt9rx2dks3gyrwrzhzsf7vy3cm3y        BTC                   0.25598067 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q48nq0zyayrjxq32tejkfk0hmvydzzqxymny26z        BTC                   0.25598067 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q5yp3teukrdafssdwfhazusjd2gk0w9kgvln38m        BTC                   0.25598067 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q6w4u8ch0w09pyp506g83jpcwkp2gvw38w5jk20        BTC                   0.25598067 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qd7k9an6l8npxqqlsm4phh7p6c4e62lese3m2kp        BTC                   0.25598067 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qltdkl2zafsvt7thysauq4z4m2r7eqcv8q6jjvz        BTC                   0.25598067 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qp2usvtxu9hnstuedxtccehn9qjdyklv23lhaw3        BTC                   0.25598067 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qr8thyva65xa6dsz2g4tmng7slwawuzzet5xe75        BTC                   0.25598067 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qww04xcg0suu8zxc947l46puqd5ej332rdehfhx        BTC                   0.25598067 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q3535dzcvel7g4mhfdsrhkmvm4pqaddn83vdp43        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q5jnxzne5nzglw24ke7vyvyrz43va3ma6jqvzrn        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q78dx6f5pvvzcn7rj529v8w79hvr9gc5r94mtpd        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q9rnx98rtelashqw58z9e2gv0xv2t6p9mkznnft        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qc43tzn5muauxxhrkthsmfa95fzqwjmurnk5ddr        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qdz8c5r5mlae2463dnsxrs2vlndcyn26qcmcz92        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qfmaqfzj689ex4q7jwlhwekcrvav4hfz249vq24        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qgdsr3a2vgg957wra2x779svsm3vhmphgxxxm8x        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qh2fca8p2zqap754uuha8qnzzlvdnchh00wz407        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qh9nlptf655rwg33yln5ud3qn0j7tq2d8f3yj9w        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qjag3f807x2tufcyrreg7atqd4pd3cq07n2wejs        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qkwaa7kwp800xv2zv748020d8nwffpfdp8xuahl        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1ql8c6gup69l8qveq89mh9lmv27z5423ya9cq3eh        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qlcwc07mu5k4k0nv2gcrwwh0ewj8gw7vne8cqpr        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qlhxrs9z79nhha38drfue95p5c8m7pug4c7uvvc        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qlyg08ru7pvuszkgdvy5grsh2fs84xpvqxfga9w        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qp8gzu7v5cyrc9tqx3m4fecm57a62y373qlkh09        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qtj43ghssfp6n2xapkx9hguvph932fu9y6grm3w        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qyau5cv9cw04e2nu7hn9lzgp0ygdegec4etsr9r        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qz4j0z3u347vphqk0w3t73rgtgcxpfj3ug72zf8        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qzfdcluk8uwatkmnftxeae8zag5e2prn293hr4p        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qzteerxs80ulw2yp9f72jqjzj3zc7wsk6zw8hdf        BTC                   0.25598008 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q70krr4xg3dkw2phkccv29rjtrz5ay54q8y8058        BTC                   0.25598007 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qf9ppyq9u8sd3ye5usducpspk8a53chqree6fg9        BTC                   0.25598007 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q0stz6gl8sqhpgk4q09xyezgu7nv7xnjzf9rccq        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q54fr6cc3rlcahkfrd7z82nvmfp7mtj7jxpuejv        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q9jh90ccxm3fmcavzf46tefs7h56w6hpqszd8f7        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qdy7zze36psvuf0280s22e3fpukpscav69a0eu0        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qhfsdl46pkx6aa9vekr004nqathz3uu2mk8ge30        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qk7xnj4aegssacxdl0c27l4zhlhj45qdtj7rufg        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q26n3g06tjgrv2n6qx8nst6y8nzjleq6msr8g5m        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q2gfnytl2umfyu9k839z9mfdgk9zqk2d0rggjau        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q3ncn0t70sd3p3dtnnskm3h673ak8fw960p48ze        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q3q9xt93e44p6mskeqeguf8vtjqgqkhy9c8rz9s        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q5wlzjj83q2naw4mxwk8m9m0muyelyqql2z9aqu        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q6w34kjcyh3thwq3xahv9de9mldcrk7g7e68hdw        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q8fjvkdnac3kjdnwrapt8y020y3fgl77t0q72qa        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qfs7qw27jaac75ck5vv3f2jy6a8k5wamsknw49v        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qfsf9f8y2vklc7g68qfqzzgvradragg5pvaaz6e        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qgtj0kjnqplvzchflvlc9rvqp5e72gxhzkw6van        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qjv3k4ehvnzc3hyfra6n7uhrthyk8kjqqycacqz        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qkzfxvkf4zslxgdfmrqg3xjv40d3q0q2jczde74        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1ql90s9h35nhkc6x2fhnsqhe9psrqelnejl0hyrh        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qmha3r4rk8uxwhdkf54g3ekj7wkqdmqmzt4tp2t        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qp0a65xmvdw6jv76aa6d5v62svw5as7dym8yj06        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qpd9zkwf5qyakvntrk6vsl6dd472ydcfhw9h2kr        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qtty0mnckkhae43met85nh4lz24w2gak7frjkt6        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qvg0e6uykxjxm4stcaq0pwnf6jvcl4y2vneyc5x        BTC                   0.25597870 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q5g4gktxj530tu6k7cggkn3awfn05fnzz0zqa69        BTC                   0.25595560 2022-04-26 18:27:36   2022-04-26 18:27:36
                     bc1qcjlc5c6m3k7gsce0n7g7mzp4tl22thyeue6xtc        BTC                   0.25594500 2022-04-17 16:14:45   2022-04-17 16:14:45
                     17sHsHXfEDsqKDdgNJJbvhxgUDgKm36kn3                BTC                   0.25594350 2022-04-28 11:50:40   2022-04-28 11:50:40
                     bc1qppwzcsspndr8z78gjrwvvjezddjkeswr9q890v        BTC                   0.25572169 2022-04-02 21:39:18   2022-04-02 21:39:18
                     bc1q3fdzlqgluvs3vx04nll685nw34urg8dtnhu7v8        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q3yl025x2dt7mdcs2l2c09h0g0fdenv3ge4mshy        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qce5rc8seqqkd8vnw4q9zwka203f4wethqp366p        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qddmxvrzungt59xsqugrsswmsrqjeelx0nm39zs        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qev74f5cmyt36w5dnpkfgwthrtf95rrajq3rq29        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qfa3j7jerpc3xe3qvqfrqwstqn6q2yrtkr4cy0l        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qgt67mf7nlx5k98zcw5v29jm9whyr7vjdk56msh        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qhzmwmk745mljz2qxqlm498g9hzr6v853fee9a0        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qkf7gd77v2qvrtnc30e4kx8km35h4eyddm8etm0        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qmqjr76jtar5597anhkm4hytr6m02d36tlmwtjw        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qnfu7cc837sft0wxwnkukmdfm45fdnnc5kr5e49        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qqxlj5x7t2yrewaphsx3z9p35t2takxtqr9wax7        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qru6r29ys7satjs7avf7x3yrrcst9x7weudh0sz        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qsgs2emltepdj7uey9yrf090zjuadxjps5xfwq6        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qyzm30rfeaa5yk3swgnpmh9laqkjsx9eeh0r5tn        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q3dufc4w9n4znv79ffm7pfe65vwr2qst33u0qfd        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q93qsggk4gqfs557p2x299waa7rj85m6krnexsv        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q97cgvxrm7uhafl9tmjm9zqdutndat376xw89vq        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q9wxxkf00pklyt6x0a33vt53yjjlfk0ytkuqf3r        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qf4ze2hndtt85yvm9mqk6x5ml978zenmd3ult90        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qgft0gjdkpdv4gnt5tnw53xnj7my0f4mgejuks7        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qhwarz3xnechmepma7709f3g6nz4lul87rz5a2d        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qkr7ywe9e69zjevuxt88kc9vssjyud989pxjyal        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1ql4kvce28tm9p6ajmcdsgft0v6qy4ups4k4ey2d        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qmtyqvcx7wcd046pv7w8k08av0z6dd3q8vhh9gp        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qmy4fwegx6re8v6up6jgj8k09qzs3f0sfwmyxz4        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qn5xkygy7085fns0s5sd2ag5ngavrnz2kxktyg7        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qng7l3gcc0dcht87h6whtrx8k8ul9pjtlnuvljq        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qqfssvqg8dgamy3apkjjcvt68yrw40fl7w7rrsh        BTC                   0.25414228 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qvyvy0xa0n4r7ctnzk6ge9cqlwlpjcsskaycmke        BTC                   0.25362152 2022-04-29 14:54:33   2022-04-29 14:54:33
                     bc1qjnyq2q9p9p8r5v5hl7mmmkaqlsr6s9fx5sucdm        BTC                   0.25335463 2022-05-02 14:55:28   2022-05-02 14:55:28
                     bc1qlp0swyypuf896wdtqnndt758k6w0mc95hll6zk        BTC                   0.25000000 2022-05-01 22:19:47   2022-05-01 22:19:47
                     bc1qtyew020slz4l0eje2ph257welhhk3wwtwuqqa4        BTC                   0.24746589 2022-04-12 13:43:32   2022-04-12 13:43:32
                     18UcMnagct74T4AtcANNoNRqMQKL6BmX6v                BTC                   0.24740744 2022-04-20 11:43:53   2022-04-20 11:43:53
                     1EN3o9pFhBoS5FKcwzr9LBAStuWgjBhBkB                BTC                   0.23566707 2022-04-21 18:31:25   2022-04-21 18:31:25
                     38nRzzVr2YN3gA7kUUdVEhADWw4xHvaHCu                BTC                   0.22966481 2022-05-01 12:12:05   2022-05-01 12:12:05
                     31j1w9Z6B5CLGuhqrraGWPZmVgF3g4QUbm                BTC                   0.22882455 2022-05-01 20:01:47   2022-05-01 20:01:47
                     12ftqXZRG4xr1okfib3mvQ1M3BD4JAwhEr                BTC                   0.22384697 2022-04-28 12:35:33   2022-04-28 12:35:33
                     3KKmGLRoADQQqdAiTmABQEpHV4fU1yzgBf                BTC                   0.22349290 2022-04-08 01:57:36   2022-04-08 01:57:36
                     1M1gZxTnVaKaRCamaQ2v4eN39se8ACXk4J                BTC                   0.21169995 2022-03-30 15:25:48   2022-03-30 15:25:48
                     bc1qrzhlrec6q76pplkw2hm5aj9lz3ds6fsfhjasqc        BTC                   0.21016421 2022-04-15 22:39:33   2022-04-15 22:39:33
                     1EDEG9uzQiXEdLtPWF5sd5rxCoBuTPzQHo                BTC                   0.20897083 2022-04-19 23:18:05   2022-04-19 23:18:05
                     1PCGekYs7jm82RQiosHaoqAomiqwfCLi7K                BTC                   0.20617012 2022-04-19 04:41:03   2022-04-19 04:41:03
                     bc1qh22rdw9hjr8ntl0d6cu664xxx8q2grvn4hjgdt        BTC                   0.20057259 2022-04-15 13:00:52   2022-04-15 13:00:52
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qahvmeg5u9chlylwv9kkdv9nvy8muk9erawnq6s        BTC                   0.19992313 2022-04-02 16:15:59   2022-04-02 16:15:59
                     bc1qhup702h9kqrd35mhzn9v0ku5dmkfgvwxhpxzne        BTC                   0.19923935 2022-04-23 15:59:16   2022-04-23 15:59:16
                     bc1q42q7263633je98ysvjf3j0gmczzntwxh9lldan        BTC                   0.19900000 2022-04-28 18:43:34   2022-04-28 18:43:34
                     3Kba83jF7QZM5tUxyAYCFfphN3YCRoujdV                BTC                   0.19872544 2022-04-29 20:16:37   2022-04-30 11:28:53
                     bc1qze8pn5vywzk8enqdr9ve28lyas23kurzd37027        BTC                   0.19741783 2022-04-13 15:52:05   2022-05-01 23:39:05
                     3MWnxd8WGGM2EmW9mAXzUSD5L8hFg3bgJy                BTC                   0.19575968 2022-04-24 07:03:41   2022-04-24 07:03:41
                     1CVU1gtCji9tNYYsAD1HSFYw9Td9Q49P9Z                BTC                   0.19186883 2022-04-28 11:50:40   2022-04-28 11:50:40
                     1NQuKQj8sdLJ4EJaCvZJZGdobVqCmzHQmF                BTC                   0.19177021 2022-04-30 13:54:02   2022-04-30 13:54:02
                     1PxnpXnPMVH4gozWmVFpfJf5BXccBY3L9i                BTC                   0.19093161 2022-04-19 20:40:23   2022-04-19 20:40:23
                     1C6dAyh487vYVHb5gjDWr3MWtbbrMrBkAZ                BTC                   0.19035711 2022-04-19 22:20:32   2022-04-19 22:20:32
                     17G9UnyhfuVFQfvJiMWUqE1PViyBLiCB1o                BTC                   0.18865342 2022-04-18 22:43:20   2022-04-18 22:43:20
                     bc1qpxprz9eenpcsramahhndu2ukazju5azzv9dlam        BTC                   0.18823876 2022-04-12 01:56:33   2022-04-14 20:35:59
                     162WU3h46dKbMhGxe9tLA2Xv2TMctmVCpp                BTC                   0.18805182 2022-05-02 04:04:18   2022-05-02 04:04:18
                     bc1qswup02v23hycpthdtgckf9mlucff60x7j8wz76        BTC                   0.18614694 2022-04-20 14:02:46   2022-04-20 14:08:14
                     bc1qc9yzu2xe0cv44esslhlhq0jgwuz6ggyjpmy048        BTC                   0.18504642 2022-04-17 00:09:58   2022-04-17 00:09:58
                     16ySBxEBhbxk3HC155FHB4DGQpAThLrHR7                BTC                   0.18489793 2022-04-19 21:31:59   2022-04-19 21:31:59
                     bc1qzykmpdw923f76vu7qzvapxzdczm8kerq2ft99x        BTC                   0.18241481 2022-04-14 06:18:35   2022-04-14 06:27:34
                     bc1qkcrf5dx508ptkmwrl7tnnlplnh3fz3z3xwj9jx        BTC                   0.18224852 2021-03-30 05:09:20   2021-03-30 05:09:20
                     3KY1HeauvismgT3KEuWu9WDxsFqC8z3gk8                BTC                   0.17916972 2022-04-15 05:49:42   2022-04-15 05:49:42
                     3PdHwx2mAw5LDTFnuKaHqT3wk1kEpa6yrp                BTC                   0.17857517 2022-04-18 21:02:03   2022-04-18 21:02:03
                     bc1qugqc6hcq24g0rtpunutweqmanragz8uvxxd6vl        BTC                   0.17850281 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qawlqshhazfnp8j85hrlg9w2w40g9mnrl6vhgmr        BTC                   0.17480223 2022-04-25 19:30:30   2022-04-25 19:30:30
                     bc1q058r3c6atf6tuej8v9ekzhl6856qwf3glnmlrn        BTC                   0.17267506 2022-04-29 01:16:20   2022-04-29 01:16:20
                     bc1qeg9mpanfjjapqs6pejehfc5e4cd40nl0arp4n6        BTC                   0.17012116 2022-05-02 01:48:48   2022-05-02 01:48:48
                     1H6r13ZGhJtgsYntCVXbxDW5feWGwuzPdj                BTC                   0.16982064 2022-05-02 04:58:30   2022-05-02 04:58:30
                     bc1q9d3wlawj832c97kdks2klq649hny0mhdum5d3x        BTC                   0.16652673 2022-05-01 09:12:06   2022-05-01 09:12:06
                     bc1qrd7dc0yslxv7323js6x67ng7vvv6eyh5vzgk7n        BTC                   0.16583681 2022-04-29 16:24:25   2022-04-29 16:24:25
                     bc1qth22w3se7ar5r06v6apj9gx96rgx3cmkf38374        BTC                   0.16573600 2022-04-19 11:43:36   2022-04-19 11:43:36
                     1QDPRKDKvTLSdgfACFifhsdNB8ST3E2iH9                BTC                   0.16293867 2022-05-01 22:01:58   2022-05-01 22:01:58
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q2qrrq6u8laf00s58zn7emprzj3ax7ehzk8w4m6        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q378wlnealnvght753z0n4rwf2tg0nvucqkr393        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q3pmhdu8gesnffpmkjpv62gqz05dettjvdx9pnw        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q3ux7ucy2c9h8900dcpskr3ups4sk2zhv7yrtnm        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q45qnahnc2982v5h6u2yvael0me3symqs9838nm        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q6d922n375u3tp85dx63zwq84ylw675t0ezrywq        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q794flamu4k9rvgelw2fs7kya37ytc58awv659y        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q7lj0tm26t9u6edy027qseqhhwrcy43f7vl2gtw        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q84rkktv2wkq6z0ztuf0zv8x60kywsvhlhj8ea7        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q87p82urssw8g5p70jggsmwngqc725upmw5hdnk        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q8wrkmt0pyedya096v5f996uwjzn3a2ju6purzn        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qae9avac4ryav60djzy26yht7vq79pr9ezyt2yd        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qcvnfrftuj630gj24ja0pltl4wdg5kw8df5zc3g        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qcye2m88weefqvn6q448fv7q23t2pewvqvk3pkp        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qdpuw7dukt3m6wayc8c496kwx8qy3tlhjwtjxn8        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qej2daheruhksjnlu0cfsn4rxgk3r6n2p9u6gnk        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qg48dpywjvvu3gpxlwj4mz99zrs6rksr3q08s9d        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qg9vn99sh7z36eqzpu3pdnlg5qfazqkjg288kyd        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1ql0a8hh7zjruxj7ye3he7srlppjh6d9k6mlf3qx        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qlnm690uw0p2purlyan0yncslcvhwanmvxev3ks        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qmz9uft2jc8nyl5fmkpjrja8z70l0v4mgmv2wlp        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qn2zs7cmv0fveavwwm9y7f0g4ede0zpez6zkss5        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qpl6ezrfrue807sda676ldkzc4tnszpuqdu39un        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qpze2wkw9qwx4psee0hzlsuah5ah8wmdev0y2v2        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qw44ph9z5asw46vfd6ynldp2jyaq3qm6nr608y9        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qxt38pemwd8jrspkq4kggn4ma5tx6wzd43yffjm        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qy4m5g7y7ku72a52ufuq34xalf7s5g778yh5473        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qya9cu79qk66xrgz0twyq4cuzjlvarkukl9xs6m        BTC                   0.15984773 2022-04-02 21:55:52   2022-04-02 21:55:52
                     1P2my6eHnrQ5pPe77uHBWLWTxXBFneDYPe                BTC                   0.15919083 2022-04-10 08:05:15   2022-04-10 08:05:15
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     3K6PfQqSmphBCR7PxZJ961iSMYTZmyoGgf                BTC                   0.15511587 2022-04-29 05:44:47   2022-04-30 04:56:13
                     1EKk31ai3DMq5Zm3cddKaJHB37bVfLpisG                BTC                   0.14962321 2022-04-19 02:26:10   2022-04-19 02:26:10
                     bc1qxm0y6upgj22mywll08uqhj824sr79y9lupdv50        BTC                   0.14683295 2022-03-30 22:42:42   2022-03-30 22:42:42
                     bc1qptzwzvnazrs67ssxg0p8tx8zdarjxla5zhhyef        BTC                   0.14671212 2022-04-30 01:40:07   2022-04-30 01:40:07
                     1Fp62FhYLpVPBJPideCE7j6iGqtm3wrfkx                BTC                   0.14508080 2022-04-21 11:39:03   2022-04-21 11:39:03
                     1HBRAF5FwCP62UoD4GDNvrhoqCMXFKUm3T                BTC                   0.14238067 2022-04-19 04:25:30   2022-04-19 04:25:30
                     bc1qxme9w7jdj94sefhdvj86tkjgx5jx03vkzdkgm4        BTC                   0.14236451 2022-02-16 22:17:45   2022-02-16 22:17:45
                     bc1q0mxkce7nnqsmhea8jfpucwfskegrm5a2k6s05n        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q30ey7aa6t6vlc8r0z22lqq8rcpcrhpzsewnakl        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q4fnpxesvw2l4xy565v90l3ukpen8p29eg2lt9l        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q5jahgyxjaj2reehuh7gjlvx5f3cqu5nldt7ad2        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q7rjas4an9e2rpz4yawm45eqz22znjv5nm32k5h        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q7xymuj5tw9am4hvnzxykx455lp092zfkg5pyxv        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q85vs6z3jusjpmxuvmatg2uf0pmlc3xslcm6xzl        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q8yeaqeanm7edutvxhj2gxrm4yge437u7g3p7r9        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q9z6mk5k93p669vh7t5z7wdgtvyl2wr490n3err        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qacrgysh6m74ur87l3dxtp0dm2hv3hff2z4adke        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qcpymau3rpaxkn9fu7jmns8dqalpgdzenh9mmt2        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qg3udsmvkwuy8dm30mpauxecx62dj4h4n9q8krk        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qj0p967jyejz0svt6x86tg2ff048zcqjsu5w7p8        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qkpaf36p57y9sv92d7vnmganp5vaxwn3qu5k445        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qmmung37amn4t2zmdz0f7xdcupqapy3h42hnc33        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qmw76gex4x6zh6aq860vfnazajue4lmx9suc2lh        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qp8tdxal5vwdtm5vcctplzhnx2gfjeqy6a86nky        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qq4arsqlsufdmf8ku4xgmcrw9khvqrgrg434k6j        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qrvczgywcvhsdeyhf7ur325avc0xlsgz4rvv66m        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qse6lnj9fku94ayee9gyfztxhrkg2hh98fxyzqq        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qujw8479e6tt0yrawrvgz9f9ja76l3ktrf5ska5        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qv3m8qfsrugnwh8l72j6qkseg59h6cl6msvnnw5        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qvdp526ysf90f00k0wm08vgml9ck39w9hrhyun6        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qvhg4fq0f6a7ywem2wj9cv6lj0yu6mhtnlffvsh        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qwel6s8ljtxc2v3dujqwu9jtgs8hyx4xc02s4ux        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qypekve2sp29a2dqhht0kz6yps5sjvm8jn93q2f        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qysfzhmdyvyyuvzvt848s2s9s0f97pn4lmr6n64        BTC                   0.14099163 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q92hrf6pa3wwjp0elerhzydwf43cns9ru5r6veg        BTC                   0.14053783 2022-05-01 20:26:36   2022-05-02 14:24:17
                     1MK1N7UYd64o6LoTi1Zx5iPdiYJAcQQpA                 BTC                   0.13944681 2022-04-13 14:54:15   2022-04-13 14:54:15
                     1NWEFZgWubF6VLrqWhNP9H8NrbDHHGWmKy                BTC                   0.13862477 2022-04-17 06:48:33   2022-04-17 06:48:33
                     3HCfbBnoJM8sGYgbPeJ71VpyVn6zc99HtM                BTC                   0.13567477 2022-04-21 02:16:27   2022-04-21 02:16:27
                     bc1qmgupuhvpr6qfsrsrs9kem8wswwxnemjstqnacu        BTC                   0.13312599 2022-05-01 13:22:14   2022-05-02 06:22:47
                     1MrtPX5Vrj2DNwtUPN4cHcoW2idxWh6bnd                BTC                   0.13168892 2022-04-20 00:17:20   2022-04-20 00:17:20
                     bc1qhmrmpy2jcllam7xcldtv9sea9w92nmdqn93lxp        BTC                   0.13034782 2022-04-23 17:02:15   2022-04-23 17:02:15
                     bc1qylfcq042lc03w6c2e3c256a5qkcrhfa8dnnr4u        BTC                   0.12918784 2022-04-18 09:41:52   2022-04-26 11:32:48
                     3G36ywzDna8uECibEmrxTZYD9AcqhzBc6Z                BTC                   0.12857807 2022-04-21 02:16:27   2022-04-21 02:16:27
                     bc1q00xq2w7rgysf4altljy72gvpm3grkxrj9d099c        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q02k7rtjdex5ld32zkfdksem8u2v94g94tfj473        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q02w9dnfxrferwqhkc9cc9udxhdadqxhpnsuyk5        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q03fymgt6kh68d5rftpfurefxcd9ce7vu35sxah        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q03qgaeanfje0gt73rmn4g7mte5xuusg7ctzjg4        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q047w9pypax6jygu0rt2yvc88dv6da237hts75j        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q05gcc8u9dx6u7x5ulghy2a5zs5ukjpzlf5ttma        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q069gdn8hrn2ux24tgzplz5ku2hqqz5yduwmv9v        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q069s67mf80ly4whkpeq8m5pgjklkrsfu6wxz3w        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q06clzfr7nznjav0e8pmfs3h83u2jh4yc9czegg        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q06yqx6ae66u3qkp4vvuyyhqqf7ru72r7d7enc5        BTC                   0.12800000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q07dv3lu54petxgxw47alqp29mlk4had0g8aum9        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q08jrt0tsmsg7k09ve42qtxc4nys5n6nmghzetg        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q08xnefhya8f2ns4hwu3cytetz9ss4reh6zptd6        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q09kf54ssm0wy9vtxy2u40g7jj32x7q5vs0hv73        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q0aq8w4wt7539nx7rn3f35j9d6vguzmp3e423j2        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q0cx62e5pww78zjvyvx8h77t527sdfe602ydh5k        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q0cyafhh0z3ll7e4zx9w800r2km5cwdlkv0syzj        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q0d2scwjmawslqu3vzkrxevkddf6dpca57w60gu        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q0eygpdh2mdhzvfhpv2jj0kg8h3p69faulvzhct        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q0fmlr5jesal266s48uuqfdhj9c8yqzgec4mt9t        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q0fvyy2hexukqsdqztxn64s0zvuhmeh3n4qmaa6        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q0fyjdspk5hgyjz8qfwdwt0k4y8xuplpz8zqa4l        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q0g54ryypv9wcvjfd58vnnra4w2m9xmjtr83mda        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q0hf3qhkk8yzqae3u0dfpcvakr6hpt66ztll85m        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q0htqeruqmkvejpx26uc6akepr6stfgy4pevlx5        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q0j8n6qrt67gldnsyxjznd7sr4gqqxm45fhqe3c        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q0kwmlzdcxsaa60jtk4mqma79m2pl5p6jyve2jd        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q0l8pv2xy80880emq87a6gwphvnfr82q68gd6ya        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q0ljdz9va8f97xv7z4mhuu8ca5u2npyfja6ntu5        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q0m4f5utxkdl86e58g2effme2h2mf9pgwfczatl        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q0mk6qh64mqm4x8nvxukjaaelwy82zp2676723m        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q0nkf5uym0lhlpq4cqx05nhche7was97d08z6sr        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q0p5jfhl0stufru9w98mhu3mgnf0m2nudsa0c3r        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q0p8yhyzan86nzsenjqmxfujgy9lxq49x5cufhq        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q0plzawxx2hzhvzk0rr2p3cnfpjasy3clysypwl        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q0q220swq2pv7zyq3xy9daqkv9dulcduhju2v73        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q0q6pgx3h4l4zfyutnpdyadz2v8mmxvmuzpsv6h        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q0re29kax3wct74ar785naaktje03cl7z2dl84v        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q0svhv6pxkt3edhct6reafxneukgh2ccpm35dzc        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q0svp9a2khyetsy8yyda3eyvatz09ztm0hrrt7l        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q0upnrtg5n7lyp33cdm37748nvf8g8kqarsxqr0        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q0uvmhhkhyh53hkhgemtd4cle40nrktefjs5nzs        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q0vaav0n8sh80u8z9yeffkkvrcfms6qkrgszeuh        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q0vqard5qzqdjtv02ghznvag0k5guqjlyh7hkmf        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q0xkw3239j92qjvptksta69ty0gwlehuzgzue3j        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q0xpvw2ey8upsgff5rlm4st45gmzckqa6gyf9py        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q0ywm62x2x3cjhrx2uf6zzg924z26jz5yltg9md        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q0zja754jcfgxh7tg2g7wewpfgvmkpl0jdpw42p        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q0zp9pwxeh6pkh52mcx6j2yrtkz3p658tt0y6rz        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q0zr83f9wdnhu4ckqvxmasvtd65vp2xcjk3w2cw        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q204mgkty4089my6pf62mzlursxzzc78g5hafp4        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q20klexucsjxgvskewmf3dksa75gd7t4l6d8705        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q22f5zha2t3gy28ddz7kmm2vem2lw0sez2cf47g        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q232jjd7pzd87t6cp2u6mvne8t04tv6kcyp50lk        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q258clfqz7wcjlntyq48c8ycnnsz6tcnmj45jww        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q25pdcs3tyk4l6jcc8d7ypjqrsmt8h246agnylw        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q25xetaw96wvdveh7l6g7u8dazdk73acxwx0y4c        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q264zntqt8ya4ult7tfw299j39fer0kuthewtkl        BTC                   0.12800000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q2745nlxrt3lsgxus4wvx0acced84pkmxnzpqwu        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q279y0th53s73xguzv4paquy863axu3rzlxf2ze        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q29ur7h4adzyagkserpamjgwwpaptpjyuswv5t3        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q2a5lrpc9ueqhge4v7ws6xne408uw3tzha4pueq        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q2f36cqsprk6dv9yf9pjmk3qkgj2zkd5ah00nju        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q2ftqdxw8rens06p5layy4l7u4kahtshr4gfllh        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q2g8358cp2j32va7xea3ezc7eljn37urmhfuhev        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q2h6hk3u69u2r0z670956ae4mn6a07q04ycd53q        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q2p6axpkcfy625efrn6ct35mwlk5zj5mnkgavue        BTC                   0.12800000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q2p8m3xqhaf8afkve6xkgz22f85leflcnufwh0r        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q2q59yzllf8talvgcetfyy9g2ua0ge0sqpm87fh        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q2qfc7lqpf3mr0jfz23ux8zfzzwux7p6ek3q2yu        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q2s0kwqm7wudkmsj4evqdvlwuf98ywahcxp8878        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q2sj6reahwaq362s07q03mplh8gr3mvgrf35m98        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q2u5la2q8grev39sc6vgjfe977tq3sxzv6auwj6        BTC                   0.12800000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q2u8prr2pv52rwrfccq4nukax6jzfe7h8l30fj9        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q2u9r8ej2rrawutq4t0tmwa9h3zmwc8jt9skce9        BTC                   0.12800000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q2updjkudfnwsrerjfrhzsdze6ajt5lhj7t9chl        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q2uun2v30na0qxd9uj83dfmpq48r5m267edu80n        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q2w8h8y45ewmkswtxg7scjz6z3typ8xxdaywnv0        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q2wx8zzecvfqn5l4xrm3gtkvdlvc9kvtcy89j23        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q2wxec8qjusa35e3trxjxc95024at76q74xsur4        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q2z0yw2pakdnu8ze0zjqp7rn4wwrgjgcxd4l2mz        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q2z52a988stzahzz7a4fvsz92z8zyp7fr29j2y3        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q2zdnjrzv95qmu2hak53yujy5vm2hrtmsxqzujj        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q2zf9qsywtluytehlyhvj9zzquvj4e0vk3ywm8m        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q300ja564t67eh3mpu7c6ddurwgjlp8agq350xk        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q302ajvuaz54e8m03n5mvg456c6djwl3g0f4tsu        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q32z99739s8lxepvymtww52hxldvwzrg7wxagpm        BTC                   0.12800000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q3359f3m36ntj9ge4qa7tzfgwgkh2jk6c5re0pp        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q33dnds5s3jd8zj8x4dzzfd5wtx6hhuh3g2ldgz        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q33dz7a96txd8zxxpy26xcxfct3c7znfnuyt8p5        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q33g5hfvdfv0d6n9e93eygm8asx889phrwffz6y        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q344t87axqhfr8et9tnsr37m3qxqfram0chy4fz        BTC                   0.12800000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q34pt5ghyraxct9yt976h5kxx399yjdgr293jqk        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q34qdtwqf83vs7wflqm56sg4ql7r6snhdsf3rnl        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q34r9vzxmrz6xe60u7m3szhcr6xw7r33dg52pa5        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q35htf9cpl9wkl5jjjdhc7xmwa7tj50v8zkk7d6        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q367rl09xcha7pdvf4jj2y44ydryc02pxgg4nkn        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q373lqhyxq23dcdfdw3uwrl6xr6ezlxu27rstfm        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q38cf40w2x5mysd5839mluq3sp7cmnxgagcha80        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q395xmn6j6zevd7q7vgwmzq3m8ay5atygys8h54        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q398ajn96h5h2e0vrw3razdv8anwq5erqkfguq8        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q3a839exae287zhjzfaftctspdjeg3tqedw8pup        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q3cve227sflvnrr2cu0cfd23qmgfnfasqkggnvn        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q3dftu7hwezvutc8x4yut3pzfz8lcf8e65vvquc        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q3dwc87360nf58f0ddhul6fhy94gzpkxs2ek82e        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q3edfwgh64lgerc2qqdrwmajlhwwmjgfdgcun4e        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q3en3h02wxxc8ds2sty4uf6h2kaxsmnvvx4fd08        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q3ezz5v5lmlezcc8x8kyhm9qmpqaq6grs0tt9ha        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q3f5n6tawaqp0g96v0uuq5p5kdnz2w7ymcdlqqq        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q3f78fs2lkc4utqr4mcwtwm5rrwr3h7tkuxnfud        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q3fsn46zgvvt0xkmx33c5h0e547j5kzr2gcnxry        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q3gccgweez3ymlrvf5t2utr92ex5yrg2kzgf2at        BTC                   0.12800000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q3h3e8m2rwtvy9sfdeetqum2dhxjqhcq82hayd5        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q3j76naf63dmm5zz857rrqcre6kymp6jgmqqfhe        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q3m0p5ylmup7d2l4mh7n53vfx627jjpvmw4xv45        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q3neh8ans0ydw22gdx9vw9a3d4epstfuq390tkz        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q3nqrwezllcad8wsq43djhnk2h7g4ppgqdh3g37        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q3p0u5f4dyan6ugsmykt3n6s5vlv83lkh4mlunr        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q3rsn4jzatnf537f7dqy9r2a0tte0hw6kdq9k7x        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q3szfhdwyu7lr9a08h68xq8c4uz43ff57gs9lk5        BTC                   0.12800000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q3trvvxecjg3h0g26k9rgy0zgpg6nde7jzl36dc        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q3uu96w4l0rrw6ayup5y740s6gwyzszkh7w72kt        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q3uuxptdfd72xm5kxyym0rsxkv8ahmh5amhljn8        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q3w30zgq2n46pxj22e338423sxwxq80tjwg6g7g        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q3wxsvexdrh65synjmc8wm5staulf4lu9kr40v0        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q3x6nwklawecvz0vpl5s4q3pnmsvysh40us8x8k        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q3xhxrgmg5y2228tapthxaczvt7l9nzxakwplkw        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q3xleu62mfhw3vvwfkghrx963jkfs9f8e4djf6n        BTC                   0.12800000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q3xwnejzmpew8mnrl63ehht95w73x2ypgsxcttm        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q3zx9uczl240zz0yguh43s0hqktnuayl9pq0tcw        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q40kdp4temk39c6kl34z4y5hzxhvc58u82axk5r        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q40m3p0zhj3rw8hz8mlqwmveaw7vp3hhj78z52g        BTC                   0.12800000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q458xh2t8kyhqe6e94qn9u2lwu6g5w2az7dv4uu        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q47j9ls3xl5c2e6j0v9nta4wlvagvz0vkuchwax        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q48m6wjtl5nhu3enwzz7rx4na5y885uaeal4g0j        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q49tceuxv6pce8pw2tpx79ztvgsaa86vcva40wz        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q4d9chk75zs3vxexchhadnjs0j5p0uvlw8gtz2v        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q4d9lr0chq4u3626ef0hy3psqllm2g8f2zh94ff        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q4da4ttktmt0xy5u5nmqjnvfkumhev34ez7dcqd        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q4dyedgvkuvlwvu2nchw0ur3xcz6kx82rmckhd8        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q4ect3hzmel80kudg8nadkvxky0jeqaqv69237w        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q4endfgur97nul840m653ask7ejqq5v9kqcd6at        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q4f4g0q28rm3s32m927eh8wrw7yuh43jxmxktmn        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q4f6f5p9f6hppzvu6nq6syje4mjrn60q9upe0dp        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q4fkw769hq0ukr05lxrgxw2y4x3d4mp8we5yz47        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q4fzjxugslm0wsmv3da6dgy0kpysdznmm078p9g        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q4gnrm9qknxtwj6dyd8rql0ld4ffu0kpjm43sgh        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q4hqaujqk7j0t2c6uya09tt2wyfkvx6k57fdmha        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q4huvv6a49kqn25xf8gd4fgmzcmnneh0jpk80js        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q4hz440vgr9dmdwlgdmk5zlw3eu3lmh93ah69q5        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q4j9t38vknw0kv08xupfjg6j64srktjwuaf9ftj        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q4jd4vf3d705r75zzgc66m59y30cya4vuwnh3zs        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q4jrs2kcs6h3j49g0v0xjvtje8d22wwxe6a3cz4        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q4m2498u5wqla8nkuhr6wpnafzy6wp39w8rqcx3        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q4nsq509puhn66xrn47vaadvnle4q44a9n7ek6e        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q4phcng8nl4f5c78v2gk27j4qsfh8n4cxnhhhx6        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q4qjs9kzg8xtdqegkp4vclj3mnrt2ywus6a8gh3        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q4r4lhuwjw6xv4jersytw67yn9s0vagpau6h9d7        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q4rszkgdgmqthswh0y0gsqnzxnvfm2x3psqe9zx        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q4rwghd9jnfjxrhmsf4qzv4nxkq73zmxyg8llzf        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q4sfvcgp05vzzgvxexjns2qyedw6dsctyxahvm5        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q4u42zen5xy027kh5598t348cdmmlgdetuu9hf4        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q4ulp5pgf0cjm873hwd2utjjzvjvhr7y9t77uj6        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q4vd58hv625932rr2s8pxlk9jpj9e08ectv4c55        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q4vlmjjmaajzr3a68m898whaff7fcxke99u6xgm        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q4vmh8hkp43me9n3l722du57u89tjkz02kf7g5d        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q4wmzejzhdw0lyzu5avq8grzlds9ae549l3tqlj        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q4wyu44rmar22ghyqhymk3g88frapnema9pfwnm        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q4x3r9723rfeq5t88dvxwg4pf3em7wx6lzay03n        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q4xsetxx9cdgdyv746xlhxc6nq8900mvexlxjdk        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q4y533m7fsa2tvxgx247pqd04nxdwy6p0szpjkd        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q4y97qlqk6ynehxquywkhgtny4zlzrq8ueaxeh8        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q4yxu253nyfu5lxunmawvdt3cnddc9j9jwczgqe        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q4zx5hs3vhnxdjgqp9lap3fs22l0a6lktg3zla4        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q52t34vjnp7qp56cmjqe7rv4l3ted3sve6myjut        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q5360vp0uqfdd7x367pf8n8fn9r35cg4g6u9293        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q53mh938kxneeu4pmuvly6zqxlu58zf0tr7dm0q        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q5467h02yypmgvpl038vuaeh8u8kuaykkhz3gtw        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q54832el5wnzmcqryp3n47wa0d3ckx6dlu2sg43        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q548wejeuwekg05h7scqy0m4ys6y2ajtj4na7am        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q54gz2d2p2husse3p3fr0ju066uzesenhaj0tfj        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q54kdl6ky6en9y6pw8jzp7d48tdv739txkquvaz        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q57zrgu2apcg46894urju69caewyutpju0judtv        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q580nzyd999khkkmwt9xge3ht84t00k75526dy7        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q5820dkrlsfpyr73we4fjljscqtus6mt9wmpd3j        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q58grpd6f479zdqvryqt324j70c480zvx2j4dqt        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q59fanrftl4j7tsn6jkz4g6wfe9qn03dm7yf6k7        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q59rj9hf8d4ce0jwhxgdswxyvqeky29rg4jgpgw        BTC                   0.12800000 2022-04-03 23:07:40   2022-04-03 23:07:40
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q5aff0qefdqqxvzq95mxtlz2hzczlvr5gn6sl2y        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q5c0r25cvecwzwf8hvpxrl9wld6v02kkmdfcxeq        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q5cderehhgjpwr57vs5p9yg5hkrlra0399yysv2        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q5d6kerg8acmvy9druhkmmlzsyxjpxeayt0ehtc        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q5e0tq6e2r7njdkzres0gtfrld2nuyh7psszvs6        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q5exy2xjc82tpey6rvnnyp5agakqad5flysqrqg        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q5f3ezrkpp3v3q2qje4j04wn7xglw0km9c9p5nf        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q5f3x707zawplgzzr6vt34geqmzge5fjgexz4qh        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q5f7nv5u8lelxru29nj9c9lwwghyk2wtc3kmhsk        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q5feuu829tqqm2hynwkfg583z8leh3u52h2e7q4        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q5fjra3dzvsh5edfa39648xtj4p5cxvj2yz3kdw        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q5jn4jyn54tuu4ytlnw4fhj3qpg6nm5tzvvhxlq        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q5jpr8zslf7d3r6rzkp5x339u5qgwggfjzj3xgw        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q5juv0p7nrxmr9j99f0qvny967mkfaz7mwrwlq5        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q5kd6sky5n7snv8ntmmtdpx9q6cevjrhkpu96kw        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q5kgh4l7njve3xpdr7hm2395pz7yetydkerjcm9        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q5knzzja27vwhcmwuh56agqyzmwjh70kc62dgwq        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q5l33zxk0ea8ldqnuc54g34hwgklfgz3zqfqkhr        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q5l3hsf58m7dj0gxkc7vadjraepxwsu9a7yw0wg        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q5l8qjq9cv7dhx8hckcala3g9t026meq5h7au4g        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q5lfpngwafwdwfndrkgnf65sz53592evrn6us4p        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q5lu8d4aarxzc8l5fflvdj835tgmkk557u5zpyd        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q5lwy0gusrak00n74r995ztrs79aec3ez6thhn5        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q5m6kvnk84ft3fkvpus60y85d7893dfp7na2zny        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q5mdnhgq6e22uh3w5ndxr72hd6qe9tngtjfw5rm        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q5muhu2ecv3l8r9q8fwz63pc66yznfhsatytw3z        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q5qc9xmpmdcadund03d0yww9jmdpswdmq7lmcdj        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q5qqlnmaylzqgph53au3chlps9spcl3e2zam545        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q5t8p2s7eh9dxgyp5a0mgvnvfzlz20fnrvx3sk0        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q5td4uljkd9xd34my9twszf3yg7l5h6unu4508x        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q5tdged6llfdln3au2yj9l44jw2em7ly0gl2wnn        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q5tfj46ac236vmgjrh6hd5au6vmac6rq6x9zv36        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q5v4llrdln0v5j6dccvtq45s0zyku0rvmggxksw        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q5vfxwj97qykqrm92366tt8ym65uxz0t6zg5jlh        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q5wrvtc2d6mm9wv0ggtsajj84k6fyjr6znwtgsd        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q5x647020qhq72zw6wflmqkuwk5msapfepnw0wl        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q5xahjpev7pamzj4na3pkk6ez9amgydl0j64rnv        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q5ye83w8q05zzaq7fwv9dscjlgx93m7madrmr6p        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q5z6rstgx0l8zfls2w0wcjmnmvw6kqfm8n8pqz8        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q5zlrcy4splv8888j4hwus23a0fjtpm5leyvwfp        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q60xz9jckz8hc0d5z2nsrjehwkzuynalhgc7f9j        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q6298ytejd3y3yj69edk0azpumd5d7ssd5mjuc9        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q63a4x07q7agpwrvzgqx4yaecqxh23ghy5gkazj        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q63r0mmsk0ckxqcy5wrp4lnn369sy2x838g7dwp        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q65l8m683zxwhqpc0l4sp4jcxg8xjhnyjz36tkv        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q65nalls7hxkf8u72s4twk8dxfur4mn3fyxa3dr        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q66gpvvf0pvw3pt0lyyznylv7hej9a0g50x45pd        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q67anee8429tvasv0mzr0zlfr9qjsjqmgfmc8j2        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q67em6uuah6zse82rc2ysvw3x4nztd9h90v6emf        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q67s440e0zx8ex5y6csgz0q9s0wzzkler6a7kz9        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q67xqjqskz5g40sqwskcjfsx5mwg3zgypqflcf8        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q67yjda9n63fl9dzmllu3eeg8ncahf7cypfgsl4        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q68f0c5g7y6rdzdfdn4ck5cwrake9vv95erz88h        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q69sg663q609esuhju9hk3qt28kt2umtv8tuyva        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q6aasazmdj8t9u0dp6l9ee5z3ja859chhwkmqx2        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q6cds982lm3rf58xsv07gln40q0vk347x05gsjd        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q6dux2z7lrs2ezxqw7m0q46hee5j2csvv5mehpm        BTC                   0.12800000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q6efxh64fp6kmn3u9fv8hd2qqps9n8lmm6hefgm        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q6elxaqcg6sel472t682x682m20w5sfyugegn87        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q6ewul4dm8ung2ghnxf3e9y0f4h5c9z4ftvmyqm        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q6fdwspyzswrw559u20qscfjsx726ms7huaedje        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q6g5c2208wpaylxytxk2fl8spuu55m08zkutyrk        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q6gguvukhw3rq8tyf4l6jj0c5cevyf8g0k5q020        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q6gysf8jhllngyrj89vuyk7cwpaygxwy4frp45x        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q6he4ln24amkp5elax68xn8mm5ejvx0we7myul7        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q6j3k7s9j2h06dy6jtj4yzywxtaduxkvdp0skw3        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q6jaz8cqzywjkfwqw02uzf7fkjdgktmm4dcu38n        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q6l0rvzld9u8rdjgu8wz8dzfvyjzf585w0hjqyq        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q6lk6r2u3rept0ul9hg9ddrs2kuk2ffkc3dezrm        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q6lra3repqgpt4gvdpac9qlm0jafpnt3puy33t6        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q6meu4mht3faan3gmxa8sna0jt8vwa7sn9z5zsa        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q6s094vp77mlgzpvgtrp2pwfpyf84sde8r7x56r        BTC                   0.12800000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q6s8mm64klhnz974vna40mf7075wmcjxuyfl2jt        BTC                   0.12800000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q6sg3ks9875nntyz4maupen86uuru7snn8n3kt4        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q6smras04apxsd69l6nc4wql70jscyerqlny6g2        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q6tf42pfpd78aqc0hdk9z3zpl395m2vw0k5esd4        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q6tnhhyccja5jlvware3w3h86tz0dktdjznsnce        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q6tqls2ww50g0g055lpfzvjeerlqmlgtwg53z6y        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q6tvg7pjgzjtuajq7tp2hnegwa7h24nzyaxny0d        BTC                   0.12800000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q6ty725m87z40c4zd9jshh4dvdm5nckt4gruann        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q6u2c09823flm88a8xuewnj4t54tyw6uuvlv42a        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q6u6eev6vkg5xqdkty9ks7cghhw87m2trvak5c9        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q6uqnegp0zvevsr323djg26a93d86r52t302wrp        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q6uthhard9cx2v3pes8vyrgv5a65f9aw77vals5        BTC                   0.12800000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q6vcqqxn3mnt0ln0v9c075pfq8523pepmzfsne7        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q6wt2n4vf7f8dalexmzkd2ryp05gdgnu3ez6wc2        BTC                   0.12800000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q6ymzehfq2vxuv35pqzx9wwk3e2jpdf5lh5n5wz        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q6yxun7454k8f5dje2lu0enzevwgxuzfxg09ns5        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q70k9uplxxmt65nev75k6yyfs8fy72lrvfl6kye        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q73f0g0un60ey208r6mslg674uqtlsdawlt6nmu        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q745pj9m4ex0ku3jl8lummkn7lhgvj0txg5gw4w        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q752y6z34dh3evqyetsj2derqyk8fy3n86020vx        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q758s90667fetf7ytewvx4z8nzze55peg4a3fjc        BTC                   0.12800000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q76rrtzjn33vkuaacekm99eycjyydz3mv7dxjt0        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q773g8x2hm20qe44qaem8jar39pnkpqyg93mx90        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q78rupdfgycqdra62xeess408vewphee3keh5dj        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q795ykcy4saacgvj0dddsu7rt8z0epcahgfjms8        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q79h4y4lcnylg2rujnj352hwh4zpp4chf83x5wh        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q7a5u3lgrsewv2drqagm3e3q60x3q8r2sct5jee        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q7aatqcst9nwgpfpqgl3vc8awaqllvn3kf7uj56        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q7aerwhhvvec5qtfhm5fh08x9yax9s98cjzn95h        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q7c30xz30gwk4z3e6t5vg3nv4fq2d0q3q9fxlz5        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q7djaycy598xlld730eehqcfr42xrsp3x8h5qmz        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q7dtxtape60da2udty8ruf5m48dmz96xjed8l0s        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q7hchazv8lmsxcesux2xcp0dzgusuvw8p4tlrwm        BTC                   0.12800000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q7htqxdausla6l5l0fsumxywnh5gasvdrz0c9xh        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q7jum60qslhq3t94zjf8c27t2vvzzujszezrmmf        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q7krhalayqc6qmzwlpsj2ry24dermk8xy5edh9d        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q7mcf2g3z0222v5mhf3gqhx9xsr53u58n0n5ph7        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q7nq0epg4azdp5s8tlhfujtk3zuttc7y4qyn9zq        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q7nwkl4c7jwxt68t0fmcx26z0hq4pwg50a5a9dn        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q7r65ehmk25rzh8cmw29ar38h60n7zmsgzq2gyh        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q7rrfe9kfyq4mgpew7ctxusz86n2wr220rwulej        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q7ru4xs030c6pslct7pjrvu8jdnhrtu3kvfrcgn        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q7srzyckk97gxp5ps0330u23udp4zvj8cuq2683        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q7tuclmgm4qnpqe60230v3kax48es9t484uctye        BTC                   0.12800000 2022-03-31 23:03:58   2022-03-31 23:03:58
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q7ty7dae5wwk8x3f8pdqgcl26xgcjl3y92fpvm2        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q7u242l7qcw84794qef9mf56r2fxh8g4zqarppg        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q7wv9shesugzt4fqfl9c9akspwr08e7w6j4t9xe        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q7ya8wgnsdng5wkmt8zshjtnttkfqhfazmx7rp6        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q7zqxlmujarsqqxvzyc7tze2dxqpcrzmn2256j9        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q7zx7guzass0zhz3jm7trzmz66waghas22974c2        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q80kv9u8sudafy0g0nzzexqjpkk8sdr23xu0ylz        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q80vxa98tn47k36tyc890tgmchntaxvdscdwzj7        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q82h6en35htvwhq6u6gants0e0glhqlw8944q29        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q83kgrak79ex5af2x0lzvtcnr0m6ncfk4g3nhdl        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q85zztutlgtfc5dw76e75ncynxcjvkekcsj4edq        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q86vx2f59j4hnzrnn4nzaqeptzwqfhtrn0t4qmg        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q87mdkqnawgc4ul5zuwvspdnx5xdmcgcv5agskk        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q884vnk9s80l3p2tlzf34q8tzk4kg6jpnju2jvc        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q88f3gchnzu58v2p0gryfk8ld53fgacr8zc7y5s        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q88mr44cld4cvzta2jz2gv4fd4t3phwrwn2cade        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q89ac3lraz2nfra3nf2k9epnr8jwsjcp2eda4cp        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q8ayj4uzwl4n4u7lg3zru76q9dy0zteapdzf7jc        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q8azrlx46gygvfezmnksuyvage2uyvt0nj47w3j        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q8cnshxhlqhdu57d7fsresffkm8je0l4wr9vfm0        BTC                   0.12800000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q8cq3txtnpk8sll6d6v9l6uqk55z4e5q6394tyq        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q8d0xqqm2h7xf8mfxv8h9xc960esmqaf3eg3ylx        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q8dfcyxpcw0ecptnrmtmj2ujptu0847ya3pdczw        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q8dvshxz0ztvkppss9tsv55d7nzv3qp8xquz5kt        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q8ed8ka36u5k9q6gscvtxga8xkeqtl6z5r6mgpp        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q8ep0k7mrxu002g39m6tv5cl5uyfpg5zw0xp6q7        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q8et9npar8tjtdvrpv2vjgput23h66fp96px6y0        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q8hy2zzxfc5z9tgnkuhtrlyy9q8gflz7ljmvf9c        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q8jw69yg475keyyfdkqa950qfhrcc7026rawuzm        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q8k3dn28at3whl9uqc9mqmw488nw5aeepwqkded        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q8k7zkqne9czqnu48zc77u63hshqqqvsmpdsy8s        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q8kq4c6x7fcan3fxjmhjjk3wd4n4tptx6wwa8dl        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q8kue9zs78h5z2ammkch5h32pw406fycth70fzx        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q8l8dyt2qq8qe2yj60mlllnc9wpd5jnp8pqjxz5        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q8lkrk2p39z82sgjvqd2xx4fj7e5yum7tny6n8c        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q8n8nj47chsr3ga6ek9xkfhwdyar75s8gt8x20z        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q8ng53syvgejaugfkvnrfpghrltc5mjq6l0fpht        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q8nkt4slk9jhfqrrqpgs44gpzk4tz4mca9rvnyj        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q8nw2gvcxu3g2y0c3czc05cmxzd9r3a36g9pe69        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q8puuxzssfpxpvps80vjkg80zjz4cu7ls0xuurc        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q8ql70p8d064pwp5kwemwpw9r620rkq9xtzj48d        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q8skeg7sjdm2r6yqnw6pzvzuvc343awynh7g7jw        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q8syn8utctlmaal4xs2hs4uq5e7smm6jkxa33xk        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q8t54zaqf8f44yjdsrysjrt6xfte8m2wd60s36a        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q8tlgc47gupr5cwj5g4jruuuew299ap299xu672        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q8udnrq6srmjxp47sqtut8uhcnuw7vh3cx95qe8        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q8unazckjx0a2e7dszhmz4cgltuzj27d83r0t4q        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q8we2d4cjdn22yl4m0mv9dp9wnje5se3t0v822w        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q8wnhvqnpmjx5p6895smgw7w6x2htrfqy6el0yr        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q8xmtl957uac4jezv05d5mjd83hr46xqf6llf3t        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q8y0ahn3ttma3g3adtdkzc0rt6uvapwk96lf8ty        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q8yk893pwgwadx0me78mwy72w2fsy79nyg0ypqe        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q8za0ak20sp2gv2p4x3jwatp99akwmhp2qwaawq        BTC                   0.12800000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q8zc328nll2mmcqx7mv692u3cusmcnq0fk54y4s        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q920n978ggxy7hfelru2kfs5yyqyc7hqqm5t58n        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q923zlp0hdrr3fnwah59hwve5x7wgdhnjqpg4t8        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q92m229n3lzw6rf4nqdxtkgnaqs2m2urvr0mzv4        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q92mu55ctx923c48w5483ut4a0ndzykmtfrs8yx        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q93j5rpn66hjrdfa6uz3rx9ujtfun6hcl6eq96v        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q94gttqm2h6p5qp2cgwkfketkcrwv02kzzsen07        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q965ujlfmxx5q9rg2rgwyq4y3pvfy4w8hhpt2g0        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q96f5llrkkvnk4rjwy56ze7pp9wmar6e9ep6n03        BTC                   0.12800000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q96mhwva74he2kcx7wp60xu0ayge9m29m5ngykz        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q96r7va8e4dxnzwg9d7fdt3a2l57tj2gvsgqj9w        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q97g9zakp3pfgw56yh2szgfvs6xnvexxj2ezp2s        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q98mum473s6sdpgm3f7ldahn4epgfaaz0sswjxq        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q98xx9jcrrkaqcnkt3z9yfyd562yhsys7vz7rja        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q99lgrjqud4e3jjyph7cl4g8u67dr5ahwxeka4f        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q9a2l0qzug38mxu64zrqa07duxh7sq3la8c822a        BTC                   0.12800000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q9a5wzcr03fj204dtuya4mjslpfakgtht7qavak        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q9ap09ptsc5j0jgfqytftx4dy4ykfmrmavxtmsa        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q9azj200c9f0629q0vemgnezp4785eew40vjv3a        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q9dqhpqyvqas37ev9e89qckjvl47qfwl6ruhuch        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q9dr8wtfxvge9el5w5jpgpe7h83w5hr3u38ynjx        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q9ehdvwuc2h7htm4m5wqnmh8ewyu7a4m3u4u8rt        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q9fj0dducw44tqpx20jdgvfak02z4a6gkcq82u6        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q9fwzseteykv39ur2h2jnhp5w6c0ng2h5mte88n        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q9gytl8jtfazdvjxtxjh6wwv3wc0hf3npjvxv6f        BTC                   0.12800000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q9hq03x7q0hdl9z4pyxt6t7elq3zp7mtxpwcvmh        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q9htj7vwvmjs35dfd6vvcc5mclj342w95nmc9m5        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q9jwlmnvcnw5deqmke5nlj47t8rl8cjtkl0f4n4        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q9kxpq58ujyna9e2lk7zjpzjxq8zp9dlkjhpm3e        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q9l8c3wmvxlz6mevx0dy097m7xly2vzzmmthrss        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q9peclrft0nhty09lvsy2hfrmgw7umz7uy4hu8t        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q9rechw4fc97exmd8app5kh6demqnxxdex6flk0        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q9rll04p9uj8e7w4ztg982khv7gal9lha7eupua        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q9tjt25l9tyxwmtyckendxyxfu3r4n8cyd2mjzg        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q9trnna4chhtrzccz2ae4y5kc9pdkjs7sevm9rx        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q9ue9qzwzrj0y5g86ph2jh29r2ndpdt95elrrf4        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q9ueu646sr95u6qltq2r5q635fut2crw6dzqk4p        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q9v8vaa0pyg2j0vef7dfx4jv4v7l98c02c5yup3        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q9xn4mdgr3l9mz0gj6fnsc4l38lcj74qntlwutm        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q9xsedf37xzxx3zpw3uwcgd3d99t88sq3xzpfax        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q9y5lv04p6c7r67naxadxhe4qgyjmxavyqkcsg6        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q9yht9qsrshp62cvr3xzghwendl5n7mp7cu57p5        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qa58tkss94689cqgl7cssjh4s2rhq3ywujk2rht        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qa58v3cy23nypds5ht4t7ggyw3j85vc9leq85v6        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qa6yqed9z5ea4juq8mpgcy9kam2z32rvkw5j9le        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qa8f0msrct7j08stjegwagxv24e2t555yt2ay2m        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qa8gp3emfx4f4g6kl6lra9e0fa6a0qxvnnp7hn0        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qa9dh7p0krg7nd3pl0ejq0sqrwtu0c9gfnmk6yk        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qaa5c5keccarengdnfgtg7zv5e8wwjx66tqgcfn        BTC                   0.12800000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qaafm5wdne4q6gwjf9s9fw5dh34v6k5krcahtyh        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qaanhh00yuceqzflgwh32kcg2ykerxzlr32tsg8        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qac4uulncqjfe6utsrf2fyq3slt4p3tttqsnu4h        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qac6927yrhe5zl4crqy3w3wjmeuxpw4xen09alv        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qaccrkuelwvlnmjfazpl0nrfwrguynr20r6lvdh        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qacqj49k0gs70wl45jyrl3c7st7usvtr3wvymqk        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qad27hmhup98gswm4xl3v53lnxwfpnnqcwrxtm5        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qadm48ehuhyejauy0gttst5ywzjh674wk9rkflr        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qaep85rdtvn4vqqan0c0uwkfwd8d5zvyah7yx3a        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qahdtghm4z905wctlf3d4l7kl0uyed64d7gh8k0        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qaj7jgkt6v562hj0v90uza00w4h4ugm2uyahgyd        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qakf53hrerrd8xuy2a9z4ysjxm0vfz8jhfq0j6y        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qakxjmznr0a3u4mqdew5wwgtwkn8a2jcchky7pw        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qalasyk0q7ar6tsettp5g0268a98skrmxsyl0en        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qam2m45v48rn2y460lyhzrzn9esafsdcs4evklf        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qanq4kq022l7kc5mudkwyf2lugm2hs8vmc4hyrd        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qaqcv93wmsdhmvv9zgj5tmrw8jtmdrpckh9v5kr        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qar99k6lz07r5dsmyqwp4uvvhxtqpdg8ve3jwdu        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qarktv54ld8jfm37z6g3342ewlnmcfqhklxgwc5        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qarqmzwdr3dj45dth326ne3vfh3hj95enayv7k2        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qaryq0yvnt0wew3dr3gmq5shx4wsvrfwy0aykvn        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qat0n6ky9vyxvgxu6jpvev0uy67pkdngyq93m0h        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qau9u9vk0xzzevp336l65wgcellkldteduvj4dl        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qaul8jz7lsvl8l7r2j9lhdsyxylza2tll6m8ea9        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qavhdtrjuawaafsl5l8m7hnj9rlsgydm50fl5hk        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qavk4xezelzllprehajw9fd8spq3z5jhwrf3k0d        BTC                   0.12800000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qavqxdeg65x8megg3edygwzdzjaky7vr3flca7s        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qaxltp3ej45xmg3de0yvcjr0vauaks9u6yw0km6        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qay5swsfx8m9kfjm8yfq25tea2pjyd4wtt75w84        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qayeujpufvfyxnh8sk3ygnf2pgajxezuup4hxjh        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qazg98c9jfcq3fkpj2eu9d4wakffgx96qg96rc8        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qc0w87dvck6yahms6zy0mrhm3mjc6dzllesecx8        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qc204m59h2erkypzpuf0wpt07ajnpry8j4j2e79        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qc4ee2yv56304guxsanmy2rm3keeyqekf3aamw8        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qc5n5wxps4k4kxw6vdjzxsn4cpad0l8zlyz890n        BTC                   0.12800000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qc624mdz0jfhjeycseeeqmxjphg9jxrld8tjv5d        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qc6g863ehvmgfvpqrdd2vpj25fdlmtvdpz0vlwr        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qc6pemj38xm2crwn97l7u7afaz8amkrwh0wv59z        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qc73cstt4n02yufkxlhyay5m700delgre4s3kff        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qc78za2l9lq0f3hh44yf74j7sqfe0r23kder3ar        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qc7l058jg76v8ywnd54agn3mdf4rxrs6jtqyqud        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qc7nd7rafxj64jlyhecnxt9hmp7mru9agcta7g5        BTC                   0.12800000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qc7yraxfnepx7npxj7g5m5gvzz8ww4f4qgwse7w        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qcatwvlqmtkeyhuv9rp67xtgznsmsav4echmvst        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qcayrxg3c6wfr33agzkd7nmf99zusst7urmzwk4        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qccty347z8css9luxe3r4220xr7utn7zevk0m2v        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qccycyecpnvxdp7z7drx4u2jl708w5g6cmwud8f        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qcd2zp7k83nzc2h65h2v28aqyk2y0tptzvvr0h6        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qcdcx9ay0vshmhh6whjnp4hacaxu7h3k9txuqgw        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qcddzc4xxccl00r22ntf732wx2eyc7t57ef7rn0        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qcdt3mzdxxj4ayrj0hj50xf2j5nd7hnlahf5gfs        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qcecj42hs5fj5duz2e6l4ucd68zkmjgrdgxa7sy        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qcex4ezfugynytx0vlcl4ympx2nh26zqc2hlq47        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qcexwxfamrj2pgqs66zhutazsxvneefxnd85jsp        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qcg7rydgq56rr8fjh25pdtr0t3x5gz4886a029x        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qch2kp7xmp45h3wezy32uu3r627j7ch4dfly00c        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qch46v8wu4nqg8vg33drdlsm0ug6wvt47l4v3za        BTC                   0.12800000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qchqmd7nyvhrnu295xsj8ck0vjgptuw6hc0vmr3        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qcksdz5eycnekeu6flue3e66ztnkle6zjyzudem        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qclgv2l8w6879wl3uxp8d9v3p2nshgh7yg8emqf        BTC                   0.12800000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qclqq0l53c5uyqy0klu0p9su386ag496qfk3zg7        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qcn5uepqptw7l4dr7k9ygupsuh2ugp59437egar        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qcnhymqu3dtr97c0yg574z7cmftkfxu924dwhxw        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qcnrawkqe5yme8dre0vayj89yx0cagx9hrggkjy        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qcnzcjggzqv8epytmvp469xs5uqkqlrgwelm34e        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qct648fnq7xxalucasxf067dcyqhyhyn9glp9cn        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qcw5d7raxhjs8pp3sqtxjv6l9sz7huxw75w9f2f        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qcwg83n29nd30n84vvm4azx8r77m8unlzgpp9g4        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qcxcw53z6rkgefvsz0v4zfa22h3wtkflqvua960        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qcxvu8uealqfv799updfa8s0t86lurnya0srphv        BTC                   0.12800000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qczlz27v2ay2pw9egze0euegezf9ckcvxw6yxhq        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qczpa9vtzzgqgqvg2gh2rr5ukz9ktvtnh9utz0v        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qd03mdry220ueppfnvc70lh0q4kz7wej2tlxmtd        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qd07yy6vs98pgnv78r232h8tkkagv4ls0q4glzw        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qd088ymwk8qgqdl8ayt2px3fxw6ru80swf6up32        BTC                   0.12800000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qd2agtezxym2w735z4h3tj9yt3fr4lkqytpmnsn        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qd2jyzerw6rpwhshje34nwx49anc7se6cjgmsez        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qd2lcrw3we6fl6eyvh9z4jvwv2vzwl3au3tx8ad        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qd2ngdnmcta2vguct4vk7nyenrmlhndnr7zf2gy        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qd387hpj8yqssykwjrj76ac24cu2e2edekp83gs        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qd5adxrprx3z24xzn4p0s2qeg5ezel7w8fygecj        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qd5sdnhjmkdwqvskjwlfrgv4tgjjvmsr5982u5r        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qd6kdfsgmm604eshdf6ru5a586jswwd08wgrcj2        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qd6z4x2ytdr3ln34ap6zmtnlhd96alan3jx8e5z        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qd76mhg97u5ut9mrva6cqulnkmg4mpyug0sn50x        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qd7ete9sdf7x3q34tehkf4xwfeulu2nwplvmcl3        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qd7pjfcfkkfj9d9qv3kv9fcvn7le8cl4xzft70e        BTC                   0.12800000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qd7t8wafwq9k6f929mwp33wluegcg3x5gz4pu65        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qd8lkqju9m46h6mwpfzwcmcx2ej2nu9xcx8n884        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qday626q6620gh860cflzs7gge6am2d2920v420        BTC                   0.12800000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qdcddv0e65ahuksdemnyf2emdm8yywd95qlzud3        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qdec5s8c6up5mmcfun0nnuc7hjl7ty0hefq9542        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qdf60ld6txjntljtjz66pvg7zawplzeyvfvzsve        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qdfng0y3826yfg7ayvau6smyae96vzgnehnvelj        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qdhgcdktxwr6vskykqsmja60n6h4qvwhxsqxnft        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qdj76w9un4h878e5ksrt7dqxd8xxsts986nw7fs        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qdk5umku4psdun3uplwrplvxmzj22nm67pth0pm        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qdlvwnkw9t0v9vvx053pvm4fy4fu0a4zk6zllam        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qdm2kd7p9vlm3qt3rcnafj22ef889ghmg2nspuv        BTC                   0.12800000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qdmnd8yp3ddjxdt66skllhyyc7s40l8rjkjcp7v        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qdn366us3a6vwdu5dlh902aw74dq0s8mt4n8w8v        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qdp302rxdx4qv28a0jknx5r8mvptpd9kncwmc65        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qdqvxu08n2mfvlyre5fw4373wec3854gq2rlvwr        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qdr65m69s5dsyw39cw5k2c9934c26z70hcq95r5        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qdrdrmxwxtt5ud053gte3aqzvqapsrusmul5gh4        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qds0djepjh3szjrnwuty4vht9v4xtxz72nzffw5        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qdssaa0v964znyn77tmxmyrjjy592akfchh0d5h        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qdtvr78xuduxhxzcau02qsafyxmpcascvedus06        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qdusel9240phweqpddm3sv4kr786s2fu9xdu98w        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qdv3ep6us2dysj9cynugkhw6a75ju5jydyevpda        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qdzprzp0s35ysep3nyeca9wklarn0mudrmdcfur        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qe088d0ydlda777xcv9sc3px7lmzuwm45ztmqfw        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qe0pqc4ymvwdncu07andp2xjdej936mxfprfa0u        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qe2gwrqf3rt9vu7yz5fhtz2enxtml7xc7hdfl7w        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qe35ewwxzjtkuzgkrlqwn3nl8km60nh6yya8ch7        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qe3jrpvzsmk5kj6443wnul6kry2w9nusqta509u        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qe4as3r20zulhtu6r8l8jt59sesyu50qg3rpk9m        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qe4fv6auptmhav3g44xum4edz3xzv4nln720xk3        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qe4qvz95vgaw8r3q5mkxj8duyer2uqtnylh500h        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qe4s4z5tfayk3wc93j0jkjq5vhvljx9rfjfluch        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qe5ztpdsdepvy4995yxsu4rf6kaqcgj7t8krq29        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qe7sse8z4xq9x7s7a46zx3705jzykj25qeqppft        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qe84qdfvuy2llqpm3te0yf46dmlrs5p64j8u8um        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qe8mz9hmu3uu6yv55yzzczq8l5agt0g7tz5mz0r        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qe9a2svhy3l0lufj0zuyj4hvwqg6zsjmnxn6ary        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qecw3wawdqaat24zs5qgvu4tqhxyynyp487dksx        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qecy4rvnav5tzcr0fwh7fqh59tsqfd7zvfeyut7        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qeddk6efkr3uzsn5jdw0e7747jfvpuzzgmm5n7u        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qeegjhn8ak7uahrnt26v0j35evsqk4730qvutp0        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qeeqtesr504g5cxhv6c0js64d9eezvmykhdxnf0        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qeerknfsrec2caxvysk5n4kmnf3qfj8gqxp8zjk        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qeerz07ppzad50jprxumxz2v8qzjf5qut0va7a9        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qef00p7tywt0l295r2edyylpkmnqwqmyfw29vam        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qegswnl628m22mw0amj8sxkaegvewa4t833rfyu        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qeguu2eecy4mq3sfu8rj4mee0yzx27rf4p0m7p5        BTC                   0.12800000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qehjv60pv8xdgayf4n73pmhd6zeu0ghdxg3jhfl        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qejclt2h7gcey9akwrjlaxjqrhnm6xvnkh0y8mw        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qejey5fm923yyhxm0hrs8fl0pppdvhvg3z3wexf        BTC                   0.12800000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qejygvjvtdwev283jz3rdxvfwyzwdrsw2j2hyyf        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qelvsl0tmx4nep5sucjgumavyf6vx5jef3g7rdq        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qely4hkfdm74zqymuyf0cu3k0r4d6vex78dq39c        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qemlx2ghtfgtcuzesjj9h3ynfjfe58t5rwrmewy        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qendq4qe2nl0gyh3tdt44x0p2e95786900f2ww8        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qephatgqrghw03zac8grw4a4ewff7p0uq0rmctc        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qeq23ejx98qlmxjt4kgadm5t5a33lywq4qx2w2z        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qeqtmffy6kzcay9ppd2h7lrn943qqhsy796gld3        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qet8gm3ze0f35wshj36p4ffqm5sjflhfw6qlj8n        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qetqs0dwqfjjgwrv9zvnjj0phsur5zxw6fhrkj3        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qetx5j7n3nyrvraq2hgclha02s2t79qyua9p45r        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qevvjqz34l7qevvfjm60z3ulk576t7np6kscvwn        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qewccalzkllglk60rlncm8zscdr6tygqvdr74qh        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qewxnaypwsfcew4m6jz7rwcsflfghyva8vdv6t6        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qexa8pkzkkduw370mwhzkqvkx3djf02hx053d37        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qey2qgu28pl4dm3ug3nvvthjs4psp5zeu3u3xgt        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qeydxv32ed7ugsvda7zv60j4rg9zznmh6qjgarc        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qez63fgzt5f2qtvtpzvf4yw4ekalrn337epfg68        BTC                   0.12800000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qez84szjfs849n8c7peeps2ap5m0vkcz7mdvv72        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qez9g7djfcjtxauqheup5efej5ztlcnwprvr8xd        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qezcqqaqrtes4pckm4al4vatymnwft8r0hh9948        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qezg9feq57rsljxkz6p0yr9wrs60dzs95p5tk4p        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qezra8zxvu3u0f86pghxwqaaqn2m7xgk0rv48a3        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qezrny8ye76laws8gwd38hah8fxfw0pu9dzstu9        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qf0a72hu8eh37us9922v9tjcswsp8399r2prexc        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qf0ms7xj9k26hsrmrlx2u6765wu5z4n96msh464        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qf2pgewxfj9a4hq9l9vd8vtwyszz9yc0cxxd5ze        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qf2xeelrgjuztnzuh5yhehdwdrlwpr34k42aemu        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qf55mjn4qzm3lvnjgwf3amrzhpmcqclvpwy4qmw        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qf5fh858vn907pm7uy85kkzrdgxxk7zdxzzssu6        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qf5gyj52r2kjv3wucj2mp0qgvjlfwucv6t2rr4n        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qf6059vzc6g96lqv53e8pz2rvfy4cjz9trdpegn        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qf680kq5uhk927lt9ywxarje7v4ea2x2kx4sn8m        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qf6exkvtadzgh5qkm4n4y4wkz0qql6pskzydf7e        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qf72g6rgxzh7ex3nuzu0m8xve2xtjdvyx8hrkr0        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qf7rr7ewl5s0aadgutuvfuhust49304zwh4hwux        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qf8c7y0795pe2he2s8r649y6phnr0zpuqptm89v        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qf9q45ndfhpmaa4mwxpenzp79gdlntwu6q37gaq        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qfahppt5pnxv0nde2h03jmhkreljrpmn7vkyqtq        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qfcha46z30cq78gsvu8ac60pchzkwk9hms0uuqr        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qfczwgpm7gkxrxh7e02kjng4w44wv3pdzpjhyk0        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qfdc522npnpflvcgxc45g5ucm6zjz6wklelaw3n        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qfeqs8vccpcygqrylr5pzmczu2r6yt8vmq5zqvn        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qfetzjm23zhfzjwcugpxdef8jtw3ucfgj3uvvux        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qfgh33k5nu9slpyvv2y5r00jajftd3csldwv2fe        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qfj4thmjs8krpluya74wxmvmcwd9a7mwsejktjk        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qfj86gtv68akfu34v6tgchh2jhy3dt0ynnx5kmk        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qfjkzus4tgh6zlh96j5xxkfnaftt0h69weugpqp        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qfkl7vyxwm7rqc6l4wpe848lc852tgjff0j53q2        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qfksp7q06kqzg3glz4prp3js62vetrf3y0rkrm9        BTC                   0.12800000 2022-03-31 23:51:02   2022-03-31 23:51:02
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qfkzrpq8n07mat5wtqjk3aqmupg63d8x5a7dfv8        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qfl3t59kmhaqwn9lvpctutz2ryxrxlr7kl6hn7e        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qfm07pqpw7jhw3e7cakj0pl9d63ru0gs45pdvxf        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qfqc6s6rm5nhzmhwmydhuzazen4mnjvnkpfwjue        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qfqq2d360q5xt7yffnupvkdhmv52ezqj85u43k0        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qfqzn33yz2gksz5xdvqwapqtz8l6w7kylqwr03s        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qfua63s3d2n3mygzpcsr9q9efnz74yp87k656yh        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qfuep345ku3tfljpadxrkascjvthpcyyxvxh3ee        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qfunrc9th0t0fykx4z2p0dehd9zhghhqmrep7l2        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qfunsddqwhx7slqxc5cxm3k0ljd2xcd2v4a9eq2        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qfvrgmdnuap896tgr83tzm7yyn6ekc577vdjvhz        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qfvxcs0pcuvax8d3nytg3ksxpa9vuggfdeqjdps        BTC                   0.12800000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qfwzpgfpj7ku88qp2ne3gmpfhcqqwnw3h84kq72        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qfx0djdm0cgr2f938znwces9hy8254mkky0kgxm        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qfx2dgzgq6g7qw8q6f8u9m849la6f220crhwcem        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qfz2tmfu65f85ufn807zvym9xw6p2ftwsuadwd2        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qg04y2r3ue0e57atcjqvvpmdpmmqrmy8lxjj4rg        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qg259ygmvy9vmc7h2cjf7xkcjqcwanfm8872aq5        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qg2e2v854zc3rnfljnl4jj6v33e3ean7ju5kdjw        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qg2lrtynrvjtxeyq9yhn9mmc8dhv9szqcrz9m34        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qg56sqj30zesanw0ccta50dmmn92s3amd8s4p7d        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qg57wawqmqpqgnyfjqtt5ec48u0j8axqanmkke9        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qg63r47735mp9gl40km2vjf5pr996gjazpy0wsp        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qg63tsfc7jp43dvjd4pu9myz6r8ak7cmzxwgqys        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qg7h8uqqrdhh8rlz6ec3vutejymuwge5psjuaf5        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qg897uw4fjwcp0d745glesqxjd2wv0dqc2cmw5d        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qg8z5knj3j5z5vqw4kqpj42ncurl6lua0tt8mcp        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qg9h9hf8z06nekacapkasdqkf6yuwtuk7wx5443        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qga06tydj3q8jhzqepxspnaqeklv0hz2gyuw07q        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qgcdse6xm0xlptxhn9ua0g2k267qccc2nfnasjv        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qgd8qxv3p8xtldcckvdl8a6h6gsukv95ll8gm8h        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qgdap5hx23mdv56fmknc4q0gt4kg8ae7lacuq0x        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qge47l89gdhr9t0na2jgvcrq5gruq7ahkzw407s        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qgepxg3m6s0zhz97zccpqr9enftfekmt0qkv9wh        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qggqqzf9z53my8djdv6vcnhq9vtye47h7jz3dul        BTC                   0.12800000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qggr6v4gmz0j0lzp9xl2nhn2f85j9aghztygvgy        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qghg52phffckxuny0mcv2g67z6mkmm49zx86n24        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qgjx7vnfhexlz63vemc8en2ug6z3srakptr3sry        BTC                   0.12800000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qgk2rh44lylvwurp9ut8zsnskcfuqef36a6ay5f        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qglddz02dkawspashy28qf9nmdjjt3cmfr29p9d        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qgm3vcykhj6py9nvul4hvpsnmvvs2tfyylskwdf        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qgm97tragea5w09rg0ffw8tdpke6jueludtswyk        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qgmh2jgesd2xqrvjrp304exua0huktlhdnwymuy        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qgmuhekhn9kru844s735lp983n3k80rundzec0l        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qgnskf43y5qq6g0nv8f98k9malftz5z2llhmwvd        BTC                   0.12800000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qgp5nvtxfx5cmet4km6cet0m2pnvzhumx7z200e        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qgpdc8nshcl8662gqnf3w624l7wm83mgy3e5fkz        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qgrtkt2v2vkr8xtd7xjuwctcas4aarfkkfd07wv        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qgsa8mw5h5fu33mtver87srzdk4r2vqvaehrr86        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qgtezp0xet9sjgwk9r2zkalcv28fvxuuhu9f7tj        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qgvjtuhcla8805v5c07ghk7muscfxu4ecjldqxe        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qgvrelta8dj7s33lyupnvr43zcxzj7hvglp80v6        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qgvtugzewvkxc277zjmqu94u29yl3wc03clrkvk        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qgvxdaj50fet3xjce7w0vcgxnp90dnpxvhgqgcn        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qgyadhw9a92pst7208sqcjg63gzxj5uxdytad3u        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qgyhnuksfcalsalekp53kmckwfgjfn7et0vtny0        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qh3f63uwstqxxhkvztlajdmnecalw3ya69krs7s        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qh3grug69vxj2vc5zqdsh7kyeanzhc2g5lxaceu        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qh3txurz3qpzvl5qjtqjwzuref76mqtr7dje4c5        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qh3vkrcphmj2kecmuzzm9jectffdtcchxtlwea0        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qh40p9wxzs0kqv6kmvanyl3ecm6skdn62d8jw0a        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qh467uz4aw6dcm8yhnrjphxwf2u3jtmjz0wsmsf        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qh4ws7qytgf0tzq6q235sqg8kd97yeycyctvatw        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qh6kf7d7en7xhsqql78zpmxngnh87su2dyut32g        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qh9neus6cc0grn6dujc6f39wj04ehqv0c8vdr6z        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qha6lnmt423r48rsn8g5fy2p409zr38v03llhwm        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qhan6hwpn9cl39t00nvfq5a9hsr7nwhg5vhfcsx        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qhcgtrc2ng0d7543zc4yxutldjuvfj755x7q577        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qhe2ur884wwryzp963hlpkrw5jnh2ph704uf3pz        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qhe4dafwz8k2xqjqmz5f5u67ydqvp25c7j0ta0p        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qhewdf6n9zqznlvczq6xqxe9es3trps5htjjquw        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qhfl7sy0l4u2dh26jw4m7eumw2lvkejnwxjxprx        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qhfnjeh8he357qk5u5vcef5zvmc8wfzpgdgywd0        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qhfpw4jsegmfeuxhqcrn84t785d7ake4rmx3y75        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qhg60ykc6rfkhg272w6axvdmtwkamfm5jv8mxz7        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qhgexgy0x0t9zu6j4m57p7axr6jnsyjyt78c7c2        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qhgq969n9y0s09lp5h08kf6uks0wsdvmkwyjkjz        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qhh95qz0d7y0rwzuup9z249yvkq9dqzq7p40a8f        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qhhuw4lyvhuqpw9zxpz7y35j46dkthldj2ag0mn        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qhjhyuwh37de6w9w6sal9n88qpmr5f5u62dxc64        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qhk9c57m3p2u2z0w6akkftqmr5329stfphdxchy        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qhkmrkd9jdd5cpml5yars7sa6e7u5fujwpqvy3p        BTC                   0.12800000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qhmjs66es009mluurexktkzjmf6wuewevmmu4yk        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qhn26cyerxjyp0heynpammzr0ll2t0244xfdm36        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qhnn2gu74w90pj5gqjj0mzuwrqhpvq3mmt30yg5        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qhqpsquy43yfkx5nlkctfestkgd3d7thaju4n2c        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qhrffakx5sy3u2vh9820jdyqs4papv3u8lgjtlh        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qhrfmhsvy6wrezv0g8z9nn4h9n2n55hcz4r5est        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qht0x876r4gc8292ykmfssvamthdayh27cegkt3        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qhu4etmgassz8g5qunqk63vdwfcmhpcppy2rxtv        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qhuqtq6p9mj7uexg72lhm3lvgfu2ex4qfy0ym0j        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qhuvdfrln00cxpl3z0l2lzaqadq4j4rpx7lk8z9        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qhvh3gq7khftea95lcnsl4jxlvyu39f0d00pacv        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qhvxkcmrpthtj573pcf983fdncjw07p52a0xaqv        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qhw9wfl2exjmpscvrq42ez5984u98sjmqe7wh9v        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qhwpl0ny0vdnnd7zaja58pr96vg27s0kyesytw4        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qhxn3kglkrezfr9y5lxjqjsvfm65xqhawk0e4s6        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qhyh5kksact5ew20vpeyf70jgrzxea844zqv9ac        BTC                   0.12800000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qj0vvc3as5hh4s5zxqaxulpu8zan6lerdrg902y        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qj23z4u00rajpsvnv0gy9lwj2jk4kfzqavffflp        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qj2vuzys2xw68sd6y6hwtpxp5786xlruufdmymn        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qj4g7mmf0uk7fyw3xttduvjy9szfsf0fl0tm86d        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qj4khtxf6746m5afk340vx5p7702a0m2uc5r7fq        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qj4xdmzxpjtc3as0avulrja6h7acp70cldj9s5g        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qj6lpfjx5m5sj3sjhywt2xd0wud99x2xpnk0wpm        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qj6tp76ujtcpz7lswcjdrmrt9l6n54trjdvxqur        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qj8auga535hupxhsnagsy467x4g43yrnsxxum0d        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qj8s8xs26ydm5z072xan2xxpsuh2vzcfrsv67ll        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qjc5l7wudlhrd8nqzqas7l8pd0vx9hmmm2cm7mm        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qjdpscxrs7dlrjl0yqclpckyzmfjh8hqav0hq69        BTC                   0.12800000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qjejvakqj5llgxfw5226hnx0dey0536gx70p0n0        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qjey28gpvjdqh82rekxnq84c8p69gpf0kghnzly        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qjf7m68jurzaafjmtjzsr479g08axzrvctse0ma        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qjff6jpt3d058vyxpq54nxkcznqzf26uc7yhea7        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qjgpuwpwepcas9yy7zjhhsxknp4r48yuyfl37ty        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qjhajsrxsskl554ylcd69ywcftnafhzwk86jtl5        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qjjmfds6rc3zsxr08sn4dgae0vc8r6654a8g45c        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qjmk5yzns0kh6v5fuyz8648qkwhlrucnwhpc3fn        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qjmsfv0chrzdaa34sxuu3jurj02y7tuu034ltzh        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qjmujvy8f9wv5jqhzsen9rgn6q9nceja4698ndj        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qjnv0wmnase8vt7f2k5duew9lrnchgddq2ntp8c        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qjnvjz50f3redrz8culpa95j2yx90qj0cwmehpc        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qjpl8nxgykq0drf96kluksv2fvq5d9yrvqlgk3t        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qjpz4ceywvhxqp8f3gsqypevmmxrv0kjamucnw5        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qjq97f0eg5nv2p0gnk80gf4drmxtuyx77p3ds46        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qjq99ufmxjjfzsag8t5zkqh9sg4ghnjtkrdy4wn        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qjqscdkvnc8899g2pm6yhyd47xgptq5uxadsrur        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qjqw3z049ayxdsrannjxvujnd5745wq07pgy8pf        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qjrthxc6sahenmvlue5w6k8n05fa79e4qezwds6        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qjt5l6ng20s9d5mxlt9zzt00tnt5n7apgr4ydz3        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qjtlvy5xrkgv9y6fvcsv2264w8eq9ws6udlx6qn        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qjtrhq76t0f8vnzyg3zukaejltmdt75cpu2phrq        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qjupyn3qn30uskd2dcfzqrjep3mtwlw76m9hgta        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qjveptapw0f4q9fk0rjqj5xkm29z4uvte6kgutz        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qjvu0q4t3n6vs5qt5v73jlzjzfg0vgvrvw2dxlc        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qjw87hucmh87ywtw557gnw9rt6g7dtkl6pjuqmm        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qjzg4lk8pyvkqpzxjr6emrxg274e7dfjpru8zlq        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qjzj7l3s73zyny4j0r3e2vztyw7ah4zsrujmgtx        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qk355hpffzrmsphq2gteg6geug0y40ku26dh6vs        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qk3h4zvqlthc0f9mwu73pxcxneh36qxrvkw03ec        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qk3jmy4ryczcpteflf7048gjuwdgc60pr7sau60        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qk3v3k62wzf380rwzerggr8vydxqn4t6s76tvm6        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qk4uuu0az5kuquaky47eh9pyux6v47kcs6j7ptp        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qk5huphhlek9gnpjglx6sqwhuyn2tfmv0x5wepj        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qk5w2j694d7ap7cf09w0ump4vq4ht03zan0kjv4        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 347 of
                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qk6c5757n54hp9uw266pztl4h2nuue38rvlal7u        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qk7hsarsmwfszf6xe8w9gr28pe4qsy0q3rhj9a2        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qk86dvftqraqe7aatvtar0hf6lmjqxc56vfaj7c        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qk90c3qnngcek6eqtmszk8hy5vknmpwvpck2aug        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qkcwwh6k0pw075dhk2kx3eupys38kpuduf82m9e        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qkd2yf3rcmqkgku02c55tchvv2qlv08upan3492        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qkd6e5clj5dcl0n3zps59glngdst5uecfjckk59        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qkdtn9sf8wtussaacr8lnwfys8davwvfa4nx65w        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qken48nkr2m7cj5w99zzkhamcu8yj079r5plspg        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qkexm5zd6p2cfty52paesklm93459v7ysk0mx23        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qkfu7vjyksagljw07alq5qfua6fcwr8mvzwphlz        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qkfuamtpryjad5t5k0y05qh8mwjgcg8ghjhkd7e        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qkg36tqey0a3e050spnw4gpyknq2lcdnpngk0pk        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qkgsazmanfz9lalzwlt0qxpnkw38hfc9pgls29c        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qkh3pfv65j0mx2xy8mt9pf3u6rznpqw2ydn7fzr        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qkhc46ta4zxqkdcu34947xtfhhphevv34fu7lem        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qkhqluglan2xjyj0d85q3ktt9z8sakalj3quf9g        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qkjwstf6a2cx24xte2z7z8anuj2wg4h5uhfy47t        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qkktsyejyjul2p3u5r9vcnfwwk3d7rv570nxh9u        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qklqd0js3vn65lef6vfne5utlcky6d6fdfup79c        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qkm9qwmz4ggjq8ayjr7x3v70pwr40zwdduaxpp3        BTC                   0.12800000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qknkp2j59drw562vmwqn38j88vn2crpksawfkc7        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qkp2hn3da2cad9fxf6mp5c38h786mfflx854wlu        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qkpxgjyhvwdzqaseazdnnm9uzqnl365tg47whgj        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qkqlgfef3q6pm3wwfku8f4wyz66dssjl4e0sh2j        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qkr35qwqxx6vgkj6zj4sl50z7l2vcsled8vtpp7        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qkraceagqevdgaa37qf2yqt3qg2ux0x9j9syaa2        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qks4sx46e4eclp5l9c53sj6kdzz38vgjylrr7nz        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qkt02lxpkp2peear4ej46jylr0n5vm68vk5rnrg        BTC                   0.12800000 2022-04-03 23:07:40   2022-04-03 23:07:40
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qkt4hqaeuf3m7ddssjchcz53jdc052nyzne0xgp        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qkvmcpjshd9v2p272shdqz2084jt43v4tdmsdn5        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qkwmu9cy9rd8rdnr7rrv2962mfpwtc7lfjxxuxy        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qkxgw98pay27ey22vl0x8dd5prmcx5sezf5plls        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qkxvs4ygxq0x603zu5a49dswkzrc7sy4290e3ev        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qky22vhguemv58npk4w5nu8mkcw943gxrzu3mxq        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qkyg45njmg6wk6rmlvaxjg6wejd2l05kn65rzsh        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qkzvmfk3g55q00l478nnsy5qydqukgadpcuwdma        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1ql0n6ra47szmqe0z8jaera3ehw3c7l4lp0uf7sl        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1ql25vxt5zqs9368c24xmk7ttmhr0mpcxsvtqwzf        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1ql25znz6ep49pk9nt6lc357qycs3mr53rqphws7        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1ql2v3899zda9mvdealuq6sczl7pvd7kcpdl2222        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1ql33g7xm8pwpe6vsevaznr5k3wkwzv8gkw3dwa6        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1ql33vexjp5yxjtxvj7zuk606suyl9d9hnv3sau7        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1ql3ku8s929nzqsr22ueas0f29t59wr8v7928wjg        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1ql445jr8x8upg8nx99lj36a66r86rchkhu8r3qx        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1ql46wu6ccm7wq38f2jgfetlj33ev4c6n03wqgvv        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1ql6qjg8m9nq5r2rty39tkmpjre6ltpezw8x6m3q        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1ql7xzaryq99lldrxnswcuw76n3ytwwsvfxg85vn        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1ql7z5kue9pkpzwgvp6nqth7rgv08e9lxhelhsy4        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1ql8l29pjjvct8d5lx0xea7vu08d5e4tajywzuuy        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qlapuuqpaeptlev2q8a2nk7m9c2t2g2u2h0hvuz        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qlfgk59hn4z5pe5ckg2vsnvaqh64dhw8rag3m3d        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qlgrwzc4rnhufrgf35hg6w8fdrn3ra4r6zyrqg4        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qlh9qyhlttwlxa0lvh7gm9hergd0hujn6wu9ypg        BTC                   0.12800000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qlhe5zwpnr7ss6ztxsxl5x4yrt3r8gt7nypt6kr        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qlhg24crtyhvq76e2v8q2ups5um2mfmyngrwu9j        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qlhk02lg3s77257drqfkhyzhayvldep7658hwp6        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qlj6hqmkyzw6mnnva95tccyzwqln9sedukdkaml        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qlj77ragzl4665lf44446v4maj5m2mz0m2v7uld        BTC                   0.12800000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qljtktlj8mshkpkdu4lwmf7c3hz70awfpn6j73w        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qlkwp96tqnget5lafn0kajgzqm76ppa29he74qp        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qlnnxtukdxrud7ydd2kcjutggyxjy9rjt2j5tyl        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qlnrvmykajddnfh5shqukg8fp9wxppfmnrdzg5a        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qlpkcyk2vl0qgq6x00akftk6halhp7rawcp7s0w        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qlrepg0tscs4w59e30n9hd79pxncwpce6l0dyfe        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qlrpezeq79vewg8ag404my89tjk0ftldv0w6w6m        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qltklqjng6trw8aychjfgj8wn9f2d7jxu8q6xxu        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qlugdedvm5cef6gf6vy37r6zsxm2ulj725p95cp        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qlv6nptfpadp5hzq3jq4jqzyyehcke7pwnfssxq        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qlw0jfw4efwu3deqhaq6ae958xplmpagdww0wq6        BTC                   0.12800000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qlw6ruk8ccckp44xng9cekwec7yjqlah0hpjrfu        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qlwlyvnkvujtlf6nc5vnu6xvr0fgrgalsq6ekcq        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qlz29e4s2zp7tdr2z4kgcx054n53khkxlgh559g        BTC                   0.12800000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qlz7scq5jymh3vfhn86rhz3e9367gkjqpn58ad7        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qlzc7tkgsws978qqqc0mjvjxxdlu8lwyvshhprh        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qlze7wfl8d47f3h2llunqe4xt4y5r9ykr3705lg        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qlzfwk50rxgh6vgvgnyqlg9jh90qw288gdfzv86        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qm0shyxkdxdjsz3qcgt72dh4na2ea0eqxwh0s8c        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qm0uk988z6pneu5rfppxwkt4svzlrfal8cpgjxk        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qm4gtday5ckjzavp2d8q8zrgf5zrcjay2wg9pxu        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qm4ltut0feske9m4c20yvc9fdd2e2k563t76nnz        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qm53jv6ewlsxpqhnpwjwt409rm3a6k9sn6htvnj        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qm5fd03x6xdmrks2att5wjf400ukqlc07eglfwm        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qm5q8l6hy95fz3u4hvekdu4pdaa77l4td7pajs5        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qm70zpjeqsrzl53z0v9mr6c3tnawpvvff0mm5gg        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qm7lnmzcnct9ayhp86uekudcvytx030lyhk8wfv        BTC                   0.12800000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qm83x3frl9nuqqezantxurgm78dz5vw2f2nn4th        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qm89zn3at6rlu86exh9ucxw8jd2e4hsqdeueexc        BTC                   0.12800000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qm8kjv27rjpl3gatvkn2pcjjdglks2p7xg3gsaf        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qm9kj24cw6kltss8u5k75at2885yxjnwaz8wzl9        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qm9lyf9am6fsehsfm5h3c3j8742wxg0p53ftlkv        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qmax9hszzv0wjnnjap7ap3yed7jdyq6n9ja966n        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qmcwfxk6vewxlkwx27my4vreyu4g58nj0xfhuy9        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qme532rad5hf7rmxmw77dmn34eme367gmtsqamj        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qmelpss3qjspnlsl2kdgz5l0vr97q4ppy5f3myr        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qmfyc0uwpp73npazlkmuce86l7pqza79a7u0lx9        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qmg3v2ynae67ya2z7jvt6quul8w0h95tnxv7evz        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qmgc8mkvwlypupmchfjyjtgp5tc34cfjemy4y08        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qmh4rr847gky74hq9cs355ht847jz0p4k9dwn30        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qmjqckuy4n23au9ygvh0mjjv6lqerzjtjh5rycw        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qmk7qevnckzhm5uknr99x9lkzca2vl73vl58dpd        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qml9yc5x3s8ft4v6qzec7q4k7am3hpp8yfq6s5x        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qmm3939pqasttx0c9pe3vr42uussgavspnaq7gv        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qmmjzj8x5nsfc0an29p530ze3phe2rx7lh3rpg6        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qmmld88wazt8mv9ef3uuk4vhdjk4eju443vyrgq        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qmn528jw6h840y49l9vxdwthv2gzjcplzmwq3c6        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qmp2u4amncrx5v9gn9suj3anj367yksstcfys3v        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qmpegul6mqd5nsmgp5f6nzm5hk3lp8hhjy4meew        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qmqxf742q594pty5lpejrnsprzdw5k6wcl24ffe        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qmra4q3f6m2g5m2z28h88hpwzfwnrj280ukrdmn        BTC                   0.12800000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qmrfnqyrhjwrrdtqhaupyg2qumelrkl0aefcu9n        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qmrluxkth37rmjyhjc46m0ymqfcgyl7smg4gp0y        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qms343x2kkzj27w2jpdyt7v7eprlwjqhaanefv9        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qmt74talh5kdd3f2waz8ct603dvl8dnhlsf0j7u        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qmtrgnypvfgn0y6qlaavrd2whm5eea5l762544h        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qmuqlqe2kqkmyrtfwdydac4lcduv7fnlsen4jkn        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qmw2hc5d9xgewhgz5dls3uf65pyefpk395jq6er        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qmw7nm2mjukm6gc7quvc05hz5fef7uk9zvv9np7        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qmwaq2pruerufg9x0cx7d5pltz3gvkuxnnpkn4e        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qmxnds9dc37za648xxqn9hv3kxl3skjwj9ketgc        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qmxyv60a7ylg0rkgnqncvvh08rd89c37atq8tr4        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qmz52lz628vhmy9xg3u5qx3v5ksa6f3dyk0rppg        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qmzefacmhd8gnq5yqxvwc8g99l6emr7c3s3hphk        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qmzs9dlfhlunammu9jlm0ny3ycdwr0cchukg6ve        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qmzthd4x6mlatgf3mnxlxd8jktp5qpv32cvp6y3        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qn09wejjeq40ngu20lm79k8as9vys0qxcjxv7g6        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qn0zljkwxcelnjshray96y555qad8d5d9p7z5vz        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qn2hhc25u3x89jylqf2znlmczrtet84r2sapt0m        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qn2kg9h7gmktxttdsxuxxgmah0ut44mu43sjqg3        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qn2rp5uepc47jrp0eckfz54mcy4g4f6yexluazn        BTC                   0.12800000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qn2yafv3nxdppxy0p859ey709ysvtc9fuslvcwz        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qn3gqxhr44tmmlxc8ls8564ftzxa2fev6ghqhyh        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qn442t9j8kwq8u07p5zyr7jeksqvmauezmy9pa4        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qn4fpzt0lmszj27uw9skgj9fvw8mty5grv40k9c        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qn4q2a9dpkq6989lapqzwmjwfv4jr00dpg4k9xk        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qn50hawx93mn0rptrndt9xk25f076vxf76ejysv        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qn53zyk2duxka06kf3u2erh7shqt0c34rzr5rez        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qn5g6lkm0nh5lh3clvllzwqzxwg220kcfl0jqak        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qn6wke3ywnhm85erxprwcchcptkxpt585wtnr7m        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qn70sms3ymjzukc6mnket70u0gueuf9yhjakj0y        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qn7hsj37va2q69unveje34eh5yupy7564qfsmrf        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qn8hteza4pcfa7zuztxfg39wk9w5vnp0y8g5a7q        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qn8ksd5rynk039ed9lk4epz7mdca54h647raa6q        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qn8y9u92jgawtddp2pmlwgae86eye8gkz8j9n3y        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qna4pcz5g6a83nkx9tlz04gz7g0p5pgaez3auds        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qnapjjyjgkmyam6ctjpm3x5rwrxv5jtz00nxmlw        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qnaqh98lqawahcavtv3dau94x5ue3cu2jznujm4        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qnau9wauqysyvu82nhxm4hwwpyzwclx353cc8le        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qnedml5lng90d6rzxqt6hsl95vms68a2eeewtcn        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qnegc0xdpw6p95smu7f6r52yq38elssqfujlj7l        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qnfx5pec6kp03p3llpc2hvl39tgswksryqd5esv        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qng3qj7xjzlfzc2zzf9pynjscag58shje72v4n8        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qnj2m0fdpk6axqjtschxfjkwj3afv5y3s036k3r        BTC                   0.12800000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qnjqxp78p5fnfdazzze2zrpfpz96j809gh57a88        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qnjxvz7zk08fw5qgykt5zxh8zq2rupj6d5tuhe4        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qnkerhlrrkjxqp0v0m2fxs68v2026hl9tp7xa4j        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qnkfw6ngrl7tjnxj2vzm9g6het65cm9dchstakj        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qnldvhxnx7674ugqnfvu0k8jq7mcssrpg5j6n97        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qnlk4u2exm02hanecwaffamj5qcj5zz2cg8m7t8        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qnns4y4wmyxvt0lljs5567apuqq45hwklwuankx        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qnpa2rgmrtkar2lm3jqt7p2nwusvhvj59gxlt9u        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qnpn9jd99thn6u02kl3l3wlw582ewykwfnjax2m        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qnqt77u9sdwmh3pwp0dq4m9qr9qfcqy5h2q767s        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qnrhnv5er48va98ekujyfut2hmm3z2j7uzqe88t        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qnrpps4fdvwx3ncpu4n4q0j6q6vfxehvtmx6knk        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qns3pja4g90f2j72wxajcq2d3jyge3pkph3yk6v        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qnt8ntqgmr89fe70djxd6x4clefufh3zlwngcm3        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qnvaswk98ydptvzxf8mxd058gmncwt5p8q0626g        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qnvqqg0rhfef40jykq9y0aer5hx2fne4vj9l6ce        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qnw09ts2hcjma8lfhevzxq0p8zndwq2p95e2tkl        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qnxlxfuz4wuj04m83g06y5nwwv99hya04e3xak3        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qnyx7nv64sdzde9hya6g6l2xxemjxr9q5hjaa6u        BTC                   0.12800000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qp05a2zma3ld5f4gq0yyc27psl3526uv3vmqtlh        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qp0a0n7g4vscw7h2yyx7cecmurp2enkug5n65mw        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qp0zm3f6kyl24deg2aenl65txyzju0rwlxn5cay        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qp29xs58se3xccupfrzwg7f0vuzuxqkk37p26rm        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qp3nvnvw8gstwgkgwlz27tqq5727au7vn8e9d79        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qp4psqsfs82q0hv64xvgdsnn3yjcsagtjvv0yxt        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qp50fu9lfuedvg02edecwvx5fr82j43n8p60pwg        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qp52a34yaqrelxfce9yvdfwpzdk7sema8rmefyy        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qp5cd2429svw92ppssa92tr3rvqvcny6gsuumkg        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qp5drqsc5mfudfj2s83vrsx2xwz90u6aklqrmlr        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qp5s6pksh2qga8xv72a8l7jfqmkeswrxp60vw0a        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qp6rtxz672r7secq4dg924agd5727w2ppf8kf48        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qp7hnmhhskrxu273kgq6t7nyphzuygwnxgsl88f        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qp7srwjg90k5gdlrdgvtx4vudxfakjw3e0hexws        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qp8gysndkjz6j7gynfjyq76s7286rqv64ya20pv        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qpa3cvr3cyfuhaqu4rvqevu6clpsqkyn3a409n2        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qpa85urm5f0tw3vqjkkwq0dl3s63rjpjmwy096j        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qpakwa7qjvmhx9qx0350a4ckeay8jvrp8aqdhfq        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qpcn23uyw4f7rvrcpucch8atqjsmzxdttzxfrwn        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qpd4pz0xe3l2nx0ggwae0hadaenvfa9sxepheyg        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qpe4xw2lpahxhvd649wrzv544fuyvgwu2y7gmdx        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qpf59fsqr0ktvyh9yzmmnry957cuxtlcwkme5pz        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qpg2pxwnqtl8rz0y56le9xwrhpglzggvatyse4g        BTC                   0.12800000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qpg3mg8vx25jyw9pkhfeps8pr0e8tcmj85ms8zg        BTC                   0.12800000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qph2ta2cn9e28swm7rk80h0mnp6egp9jtjlk7wd        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qphr9axxck5awp3jx5ek5w6227z6c5dyeeeesnu        BTC                   0.12800000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qphzja3yfwzcwcepcjrp9veell483wuyxytshkt        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qpj7m2k6q3v0edvd6mdexhcm7z8jh2g42rqnqaf        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qpjq8y2sxr08e2xjtjqffyqpmqjhz5q49g0tmke        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qpk8vezgdgmxlh53g4dfr0rcrmdc0pewenqplj9        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qpl4yxf5mep577kd6475hvuc3cmn90qvntk5fqh        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qpm3vnhdmldt4xujtwgda7jve05clupuslr3em3        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qpqaleqcwr7r3p4mmlqams283zckk8ees0htuwk        BTC                   0.12800000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qprek5n5c29q0cqzq3ps340phdj52j0208kl825        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qpsqper3ncvyue6u7l2h2g47haj7ul2rgjf2kkc        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qpu02rayljkf4q0ewr83pm3tgzjhhtjz2dt09kr        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qpuxqnh27r7t0gvj7se0kpmknt2yrmvma990d89        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qpvtydegvs5ezuv9mwx3z6zkxkv2kvjsgu3x37n        BTC                   0.12800000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qpwdjx3kz8deep6sl9k3958kg9jtyzmthfn0832        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qpyc8rrrzqmu49vf0pml92y3z9edk866t53puhj        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qpz5vjkhpsfs3xcft8lxkt9dn8h2j3u0kegx8zs        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qpz9z09ss9stnkxpr5x7ccvp2przw9tg2stzaav        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qpzw8fqya2rzdx2hmdgftdf2jcw72akf9lrru4q        BTC                   0.12800000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qq0npwglpmenzv7s3dwvp7geye6wdra6vqgmcm6        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qq0umc9kevd8cd9qdts60cvlzkq3x4p6udegsje        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qq2ehu6c7y20qf6q6esktmlu2zxpekn9ve4kpp0        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qq2r54c2lxpkhjx9xdr7w4260curr7al95m3pwa        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qq3674n4444g09jg5x4sjccnl60xjd5y0nk85tf        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qq3g7z2v87tle9964fjg9qtlvuzwsau687e2c9g        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qq3t7ht8u6k2pzfs4d8v7ncw4zsn28jk2cj4t7k        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qq5cu44my4udmruw0k7mrrhcwn7lv7rwtdupsm5        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qq5t07t49wa4u2m8pgm7usc894ak649ytda0ttr        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qq6lt9nw8vdn2gp2yrun8khdessxpw4vs5tnkpg        BTC                   0.12800000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qq7yel22u25m0tqh24lpsu6gyp8pn2e43mwpcmn        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qq8gq0ywx0my3ae03ch4v5fuquyh0arlk996kyr        BTC                   0.12800000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qq8phdem6fe98uzw2pg3uhw6xp6mlwudhtxjzu3        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qqa74plt7zmr88qpvqlnxnd59puer9qyjfa8jur        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qqavf89krhnpjz8cdz5fl7l9p5yzz052muk4ev4        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qqcrdqgznx84n6knfyp6cps7m436dpl8tpy3why        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qqdjr4dfdzjv7nz8gtngg3dt7grl5gk68axakhh        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qqdsxaa7wcefhmjyepyndrpuxz0agjsfx5e3uv3        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qqdvhpy7ugd32ltz48zx9np6wdmxej6kuphxxc0        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qqf6j84k7q5vruv67rdxv38sps82rda8yh3u6kv        BTC                   0.12800000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qqg4m8qkq0p5cwqqjkjsatsq0k4hmdz5uwp8686        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qqg6a9kqlap3zl0m29why97vr9y6weaqkgh2zdf        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qqgcl66f9ehuyf5urmeentah6423zmap4zudrmy        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qqh2zmrl37ynt8lm46ufep75xvu3gjze9k79c8z        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qqh35teyau8pm55jg0y272gnn5mvjx0gt802g4t        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qqhr2fhzwh7hex0we5973q4yae80hk3km8qg3kh        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qqhy93mfnz6fp888sy8l5dvnw3yt0fahj567mzg        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qqjarr7ctae2fjt97m7jy5xku6n6jcm5dqy7nnc        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qqkdcdqwrkvfegje7vm634fe34ktnkhs2ar2lc6        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qqkwtscswz5k7rgn33uvtmnpqqamehycnzdthk7        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qqlxnjj2smezklpeupuqlfxtcvq2eq96l7gchvl        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qqm66s8vpm44sw2jkl6u8cgkum63pmk48p3acw8        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qqpz8ude8hwrffjvnef8x4svjhaq7kz0fdl3q5s        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qqqyragfpalwzafkedv6cgr9jv6qr8cls9ez0u9        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qqr455qmtusxpd3m96lhtllfj943a2s9g8dyjdn        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qqrcxd20jrtsup2g0v3v8g6knwemynlex45jd3z        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qqt55l8yghahmcktym34afq3vj26td5f22m2vcx        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qqtd4jpm7jlquknyq0p3gh70r55zmge4etmlt5a        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qqu3vyh3lllds2arpgrerxmrtcl9pm807l7w2w2        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qqujycgga0xxdrz34tr0lw4da22x46grjwqm8vp        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qquz2asjx5z25zgamfl9sk5m5964ne3u4zxt6gt        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qqv328v4gya4hxt4vk2u7ujfns7yap3n4fpsxw4        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qqvvrrkejrr4qqg5e5f02sqkeu5wejssxjvu07p        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qqx56zzm9eqpu55mga4jc24565cuxmhuc0e89u6        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qqxckygc36tykpcaec05evtsjpukjquvh9q9wwn        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qqzmlvyvxx6pnr8gzk8pmp9nyjfauegmwr8t886        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qr0p98jdetvdsf8e65whnhz7yheq8wemfgh08l9        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qr2r7gar00u6kzvjw23vmtjt3u0hncqw0amwhmq        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qr39m8zdyhgc0kjdszjrysr6ctnwwdnzk56jadl        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qr4nszze9zg6yz30h6ec6se3gy7n5uqtugzzd9c        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qr4vxeefdc7lys69udfq3emkmhq5z9v3lunllwa        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qr6r63ylh5u7e3f4q3wp7lxtjyjhcdh89f9uc9t        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qr7whqfny02epfh7y6f6d5raalz779a405mtf45        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qr83etxv7zsepmtxmg2nsvvmrnhs2arzv0ck28w        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qr8nk49hz5x0ju2m935jest38plknnd62naqmln        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qran354lw5crx9z4d4fqk2flxkj5hq75m3jpzaq        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qrc3dauvjx66svvpu92suzuhlpwq69tpnzkhkwj        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qrckly5v9xp3qyd03xzu7urj08tj9ccr40gqd9x        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qrcl8qzf93f5vmwn3hhjx0ls5qwml26pgpk94kp        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qrdq7hel3v0jqzl32caycr9tdh5qpys3wvgmmze        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qrez72a0wvs54u2tmwd0tqcvvn53ztc3p40ycve        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qrf0yww24ue6d7z8uf26yu6q2fhnd7p7vr6pgx7        BTC                   0.12800000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qrfnuymwmamhjasllxyl3us97utqd8as76h7ye4        BTC                   0.12800000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qrg8exu2uvu63rp73nkfjrjjph3y3ap8vh8wdzu        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qrj367sjchxtwjg9p0yh0c4gkyqp7sj0mtgcqg7        BTC                   0.12800000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qrjgzlwr447cv074akk8v3vfe95aew0evzt6fqp        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qrjn3xcmplq239wee6p5zes9lvpmrk88sqr34pp        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qrlkl9esgwlzh0g4zjy373lk2f4d24wxe7l5h4y        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qrnt8jhtha0ahj3g6v6tfkk0nd98lcmvtfvacgr        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qrrnkt856vjx0hhdxlu8nev0rgttzp3mpdlagx2        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qrshy4q0fgu0jr6p34fr8fwhmy9z7ytudpwhpd5        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qrsnxyz823w3vg2tlwc23shtrsuq2fzzrguwg3k        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qruta3tp02xl7reqkl9yxmlf6fxtwda2qd6dewh        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qrvvc5ywt6pp6mc2v0gskfcken0ehtp8e6xqrww        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qrxlnwklhrtl0k4vvnt9lk5hswffv7f2nc582fn        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qrxsqj08afn69a5s8yvcs87qdfxggct6757emyu        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qrzcet9gyzhh38v3l26tzv8dz4gdv49f0yj48rd        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qs06zd7j3766q3d9umf6hst8qdjh255pzudkhre        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qs360dpgu59frf8csvlku8u7dn2g408zjjzgfcy        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qs4a7pnk8wpwjyx6tlzcfcnmz2a7hx67z5rxkws        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qs56l52f2kulde3kd9usy3mhe8ypvk99g4pckq7        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qs6c7nx6dedghm2cecgmcshe5yk7twat30se3jp        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qs6rz7wfuxtmqmng8glu6facj0vvelr9gv9y26g        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qs7tynw7fk4y038uf7r436tjas4qjyhlhxxcvem        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qs9uqeqxhqpqcexuh33rxmgj59rrru6v8l3ltmu        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qs9vswq8mj0mhsahs83sd3p6lvhjvmtjh6x4zyu        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qscj9snf5knrd8n5aeus9clk79fzan6u6jqalq4        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qsdxdjwvfskn2g0fv73dsvr4wp4x9sx0mrx2ey3        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qsgg409rs20s542z04zf0v8xpv455m4rxkrhhcx        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qsgkghg6xl779vee36a95grfm7ugpuh034x2gx9        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qsh8fag53rtcz9qgelkezjrh69cw4mr6flvd6fv        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qshndwm4khkr0scupm84558k6rn2ph4we96tugp        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qshptphdcs87x50dpzcmtfws8mveu4eu2lz0xar        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qshq8zms4pqldl89t7cy9gl3ktd39lska5w77fg        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qshuax03j09uhr4rdzphv77n0uwqpw7ecg70w7c        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qsjt4eca3rmp26aqpf9xsv07vcxrg4uuedmmlls        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qsktwxy79rnym086fr5d8zwkfw287y4as9yaxkr        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qsl4r5fezytdgvume4e4yuphc2shdwa8zc22n5m        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qslqu02dwecsvphp08hqqv9ncvm5u525jhq0p8p        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qsmtgfgj38z0kncjhvjljk7r4zxn2dkw8u5xt0z        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qsmvq55qtn6uh065eqsmsa26ay0fgt0uzdjqjnc        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qsn7fsfcvhvxplurjsmefhpks9p8d9f28xyxfnt        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qsns4927cmhkmv63g4cusz8mgcj6h4fqan8268s        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qsnzp4kfw6nafeagaysp68lrr336433sw5tvp0w        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qsp3efyyjhh4wq2dytyyun6wpjxgx2v523rsfhu        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qsp7xqwe6eyl86e68262xexv8yj993jk4g6qsqu        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qsp9r8v5m8n24ryz9gq0rvkr3cygc86ng8q3xwd        BTC                   0.12800000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qspttx4stz2hcls8kc73z4t5pxsnxn3eh7x5jf6        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qsqrntxrl0en5yczkp9tmtqeqlq83n6vxxvq6ps        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qsrp0xsfpg8ue4n2t4ph2zjz5cz22x7z9690wa9        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qss3w4wpscp9h9j8hxfwz2h905v4fa8xjcfpkt9        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qssnjfje865smdhxa4cx48jn00y0g0u7fltzc25        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qsswdzttfpqx9n8u86vl259cq966h8c8krvx7gt        BTC                   0.12800000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qstwqe6qsfscy3nrz2z9ss5m0n5pk7pd6r5ymek        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qsvgp4k9lekrxa459cnk43cwn54czlaay6tccx6        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qswnkwrern4k8u5qy704mkxqtlz5yvd0tge8lmd        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qsxuta8vc6wmruefhena9edk9t94u7vexkdm98l        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qsy0kjmpf47ay7t03ye5e4kygmunewd5cn767yp        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qsyggsx3uxwx3vmejdelfn5ttcy6y37j9kyr939        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qsyvtasmat7lgn9plej7uktxpsgtr8zwqrm48mz        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qt2r3h445mxqqvl89h5l96xqadd8ewrzt4ewk4s        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qt2wlfh5sqv9yzxd5qs8jjhl84epulwt93s0nf6        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qt4prf9mq5sdwmmenvtyz46hs34dvn74k5gqcen        BTC                   0.12800000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qt4yhkdgzhstknjt644dgqc80hkjej8v6f64yn2        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qt5dtrx9e664pxtjclga80c7n3anawht4znahym        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qt65w07wa8qc8q3kqn97fthtqdlzrremswtjgr7        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qt6ekz4nfqr2xp9s7gshev0vqcqxy4t7wct0ywy        BTC                   0.12800000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qt7cpayqj7lm7ftxj8fplh32mxk47lwc2desgme        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qt7fkx6tj4fjd2d9ye3v70t9e3unw75edch6ece        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qt7h2sm7qx0pwn5zca6ahstysarf04xhdxvj73n        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qt8dt8y0g232vcwyayr05dph2t2yfpf5fnh0snn        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qt8zcdvs4vghk09h6wqkd7e7rm9532ay5u89xas        BTC                   0.12800000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qt9000l2uqt22q8kvw3g3pspeaadvf4yn86x0en        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qt9emusudhpdk7vg6ax29gcp5mzkqfc5tflrnmf        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qt9u7ea80s8ultenc879rpv9m6q4uvy2yu05xfe        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qtaj762jz7ff7qcgdfj5hh3s8fu6qlxe9nnj2wn        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qtakx7dsvj5cqknrj0tz0aspg4xhzdxykag4jdc        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qtdl55xu6kahuuxegupl5w6j394ktk63sekyjdu        BTC                   0.12800000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qteya2p7f27w72hvjkwwyemnz2edafflw2jlrwz        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qtf5g3dszg0ez62qmcz0fcj8gd4208nmh5sfvj8        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qtflut0zp5e72pacsj925hge3zvd9nm26p26px7        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qtg6kuznfewvjq5egaxack8qk4qtft9wtn0n0xp        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qth6gdeyh2hka9tu0ywshvsxf5w43eegz7acjd0        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qthermtcwlspemy0q6gf2pwee5pt4t89kup7x44        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qthfhmtv939h3zth9xy3wgr9mj3xanuttawn7k9        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qthke9mqfdqd7556d9rj8t9f65qsnshp3u6092j        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qtkvsjsr2q60zf75ac3kykcjprxvsy03flm5f5k        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qtl2ecx59wlsm8dvmu4u69ynqk0avtmn7q2qlyz        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qtlzxdkfdng098k5duerwlzt3hz276h5qa6ghwd        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qtm0e2k2kze5qp9zxh5294267a6ql7hyrt4metz        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qtpvqeyn2m7x37llgaravezwsavgncegurr9vhr        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qtrw8vufzuhv68vze4w32cswy77aqtgsvn9t00f        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qtu0xfxqt2kq4s0gsspc0t0wr4s7vn2tfylgvl0        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qtukvtfl5adsvaujltzccjs5885ajqwavnw34jh        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qtv2quaajky8my4znu62msflt6qglsn6fsere06        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qtvpdldwaf2dyl6q2jz35gjlm9cxxj5jv7sagdp        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qtvu5j9ra9kruumvts3zspq325wr4jfun2qe5zc        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qtwx742wxezcd0vgxurac8vcvayp6759y0xw4lm        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qtxcaf7dxhqdgr8s6skgyhu500mfxt7864ngdg6        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qu26mpaxsyk0kfpjlta0zjpsj6h89cd0ve3ulg9        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qu34c6mls9wnjk8jfgaxlr5ffkxlu879hqzad77        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qu3fzpfts2tcfksj3vm66sglxt3f5lnmczxpn28        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qu3med0m0psla0zs7npt06zm73hp9f4ej768xpv        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qu3p78wvn9zkk3g53quxdvh6svcyyvz2gyzf9ga        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qu3suuatvrw2cah870w57lu3d36hfuf0rgczr3f        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qu5xsglhpyxxvsfms7x7537w92x329a55ysgu5r        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qu6ge62x67t0ewymz98ju03zfrcwlm26su4h4wv        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qu6p4t9p5lxd76w04pey3nfa8a42d0w694a7c8j        BTC                   0.12800000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qu73cm0sccfy0m8ktwsg8u80ckcnyv2nq9axp34        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qu7vupmv43c2qf47ts8ak8l9epvawc4466ny27c        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qu8lug24w52zc23nzruzpwmcj2kgw2an8cpzeea        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qu8rvjqzht9u2k0d7q2059vt8acxmz7tajv8enh        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qu99uzlm3smrydwjxk2dp352hd7v4w4ngu7skd6        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qu9ekz09rx3a7nd4td5uttruq4dzvrfnts6fadz        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qu9zz40nxyx8x44k22m5kteq5mqfygu9xf85mdx        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1quakhw8kfe6luxge23dgqum0pehjc66pncp8nxz        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1quck9w9r9kyr6fmw5a7th7q9d7dp7vejdzjlcml        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qucumn8uvnl2pay3njpzcl0ddyl9nzq7vmvsqkl        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1queyhfuec9zldncueu8852jdyeddl7zce25wcz6        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qug7n4pxv3lfjz9utghaw5dnhl5z30arc0wjldd        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1quhpduxszljc8swteawdytklrmp9qh92e3zgza4        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1quj8065sec7heuq5q7qmx00y4cvhkgr5jveplrx        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qujcj8f2y3cdfnps3xx4hr534m7z3j4junhxqcf        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qujj4dexwsq33z0h5r9fm5kvkp7hj7xf7yswr32        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qult0qp2ek34wy6jxxxpfcm63cp4wclug3z75fa        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qup9flpa878kpx5hddw3pcgg76546yl7r524p78        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1quphmvxhe6hn4zeqdxk9yjpkc59jz3cgufeh74d        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qupzs45ghjs66krgt5kmezkc7dpldkum05lv7sh        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qusk99dnwdqt9qzc6ccqrgee2tvklu6myqtpla0        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1quu2n08kfn4mdtrwnc4xl9z7mkd4lq72m6xm779        BTC                   0.12800000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1quudg37fg5f6a7qgz6m8hlcag76vqjy2x9jqngt        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1quvc8cs5mwa0yv2xx2q4kazvv9wu29g53hk4u8l        BTC                   0.12800000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1quw7xhhrz5jcgsk3cdpzlu5xp6t0gwu4gm5k5dn        BTC                   0.12800000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1quwgrck02wzyf836kw247sat5c9fre7lu2n7x7v        BTC                   0.12800000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1quxhfsdu3llcaqecjfd20wfhjt09r0aynaz877t        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1quxx890pgvll8fd84pv2y6z4n8gjsdakhuykfr0        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1quy60pkgkmwf7emaqjpefk6jcx67gke4wjz7mxr        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1quymen9vdy3rzxqntr99qrhmrjam7vqwja50shj        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qv03fku2gpvw9dcnxp8tufdhfdtarn466thneh6        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qv0wxce7dl2lw2n86d2qaze43phj4kmjvxsearc        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qv0znh03mptgn0mgu2gutnq4dqy4x8ywxm487zp        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qv3w4del6zd0ca0y7z4wxycnjpdsjcvlzfpysss        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qv3zfx3t4s0ftprjqdstgtuy0dea55vqlrg0klt        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qv5a5x7qkwnwqdk5h55evprvl564qvkexqz0ax2        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qv5gxz6679azaxhdcu08e9rpt49u38j5rnel6pu        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qv5pnl5r9d0uj6gqm76my277vtcw8er2eks00m5        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qv6ta0wvw2xevaeyq6wyhtty00y88qn04xsx05g        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qv7mrfxqxjrtfd76dp0hejpemwtyq7kl7ajtjnd        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qv86f6xvr3p3046grmf0tvvuf94hl0qqjm9dc2j        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qv8trqu4ryq2usx3p4dq5r2tccyn5v85828w7k8        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qv8ve33z779ze2wxlf38329cvgvuz33t9t09jmy        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qva4a96w5r8kfugl7xgslzpxwfu7apws6l0hs0s        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qva5484t8h5tzefwkv0lsm8d8hup6y7jgk644t7        BTC                   0.12800000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qva6c9aeehjqagc39gvv4sgkrgxypv7sv4a02a4        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qvamfsc5qv3hvzdy0mpq4exftdf7snxpcuwf9d0        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qvauz9h8nuhmk2xjcrlut6yhgpu8lnush4n6y23        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qvc3ew0uxddt5x3qv3dqc66sky642eynwkrhk3y        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qvcnjdwgfldn8qts2kg2mm6y6qgzvnu35fc7ern        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qvdutpevm3dhng4xdhukzal302jkwfmqjkt6lxk        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qve0euy2vgasxjr58hhp2g5utqccamtpxfz8f2c        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qve4gvw9lw5f9zwwde0ww3rx3tpx0529xwscmyd        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qved7hc608pydnu63c05a60prq7ax59c9p35mha        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qvetnrdeyjtmckgf3azf0z9ktm8j8vxwtsfcerh        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qvf09yjqje5n05hrr74r76xlshxe0kuphkkfamq        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qvf5slyhwq3eh77f30kh8d4xxsxt4f8a89lr6pq        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qvfu5nud7t9vhepcf6hgvu3x3y36vxa9ktn2x2a        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qvgceltg767tj8f6avj5jttll02y230xl029u6u        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qvhfe02q5d4g20akuzgj7h86fha9f8py63q5ued        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qvhp7cfsavef7uyevpfpf5lj228x02ge2w7ksrd        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qvjd9uuk5ujf6765vljz90zck3mmnjayf5vvvgj        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qvk8h0wp4ug36tdnjkzwqaej0cpqnrsheex8qnt        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qvkskzwucqg58v4jrdxhcckzc28048ycl0k0a7e        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qvkuuqqhpf2c2tz5ry72d8stzq9t5a96mlw3duc        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qvn4u2zpqdxw26uja5phrle2akyhp0napu3ad90        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qvpl55wap6vl0f5quufcq0nqtl65r3nlqhx0l7g        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qvredx5c2cm5vvacvc6fa7tp73jpwz8kehfgg09        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qvrlwy7zlrvp924hk0f7am4e4l4v4gqz9ehra64        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qvrm9e0qu6ylm788pfgs2rhusg67e92u4w23fmr        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qvs7xee0gqxhagsw2t7p73yrnjtqff9rhsv2l5g        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qvt0564plnlt4hj3wt4xld90h8s27jrt7xrpnrd        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qvtmgjuh08xzyu6cpfg09azw97uqdzhmc5gddgg        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qvtur69z7le7grt70ed4wyvr50xcahvgeumrzae        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qvtwj25zsjsvdxak2humy4shjqa0lhflqephl7n        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qvwa5drfeeu2rjqpv5nqra87qdxy8u5uy8m92v7        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qvwf7jh30r088dlxueah07q8kmakjf50lfud327        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qvwrmwcu6hv2f3md79r5r9x3d76tptx96f4q467        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qvx234xkkc9gdmke9vsf7zq3ayrxx8eec2242zx        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qvx697365eemr5gj3y89zd4ecdf68lnx9wmjqna        BTC                   0.12800000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qvxewnn8d8wgu55hrxe4mpvqfaf3p3qyl5y7d65        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qvxx5f6jh8svjajad38nn02qj6226ha822ztkse        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qvz7xzrnuj5e0swa5aq3wdfuw42px663rsgkpcw        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qw09drd6l3h7d7kqf98vujrquzzzvyyuj30ext3        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qw0evrw55tz2uxsvxa4dc98jtmzh89qzuftplav        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qw3m8m8hgzkhevkalqf27xhdfr2asf7unf6kxzr        BTC                   0.12800000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qw3u59sh2uh7l37utqvy2f5zatqe90d5t4fcuuq        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qw3vlt46kw89jx2xk5nc0qlkhxg2knnd8gtkyx6        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qw4p47tsnaekk2amt3h6pcp6pczzlgl06r4n30v        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qw4pa97dpzumvte0uganwlrjmmxrh0f90r8utxd        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qw5qnec4wqz5rn88vpsgzfhu6mc0a3vkjmhvcle        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qw68c79jgwvejgu7dx0awycsmkkdrg58f68xyh0        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qw6yftu8wc0qhxhppcepf629fwvpy90dgvt799y        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qw8fd2ekdhtj0q7lmpm4ahk4450ce056msp7y2l        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qw8fflq3a9k6q95w82n9ngflgznc6726m26ar29        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qw8jkukd0kmn8g3d0edhvxzaq84usxfg3yltymk        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qwadt3vn0w4j47kuujr4hxj4s63ljlsaataqy4z        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qwamtc34jj89spp8jpny3jct729uygamhuemwxy        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qwar2vu0sxfadcw5v8u9tpxz2qxvzzrctp3ar06        BTC                   0.12800000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qwdmmgx9qf369zlvmaqkhu4dhsut6zuukluhzq4        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qwdwklv6ap8qydzd2xr762f70suxmpjete8ylkh        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qwe0dfcyz7lqsknpgxm48kl9jl7tv892sz27jdg        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qwgg0nxj7v3ungezlaxwp9g8puwfgj4rp6ac9j2        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qwhpxp0gduv9st65aha3jk0l7tcpmnt9jxcjkcr        BTC                   0.12800000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qwjj3vnz3v0j4mdj6tvv46d4y5gkqvp5x5z6lrh        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qwk0duc0eqjuk2mvag848mvlgwx44ekyf79up05        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qwk2ps2p6zk8fs5fpmh3l3c5vz292hahxfwj34f        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qwk4g872ae2t0rtf9fsv9gyar9pvdny884xrjqf        BTC                   0.12800000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qwlkmtu84j804u8pvcjdg0ac4pghtmdes2te3w3        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qwlseus80hse54gpxagfnwzmnkcv3e8mjehwk5u        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qwlwmwgw9rmr52e380zxlfa3nqdpgfrdf5kcptm        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qwmafx6th5tnj82vk280vw6m76n73rac826xadg        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qwmf39ejg0myww4q3qhcg72rpwzytg35pkvmyxt        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qwpdn8dtgjy60784307cm27rg9e5p6tsr94gxa6        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qwq563vml5pzhzmnznzz5vcujejwtnegy4cpyd3        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qwr7dsawj8vakj5ms4l63myhr9y4xcdvqsdm5wa        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qwslwavpfpj38qs4270vrw7j2ey385wmeeswu9r        BTC                   0.12800000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qwsn00v09kllu60vghmeg8m0ww8f674gg68rl9y        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qwvanp8vng8sgzwju5zvzdds5r4c9997j79hduv        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qwwz0a9qgchae7m4wmm3pj5zvgwzg8n4mz0ttkh        BTC                   0.12800000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qwykj0d4mdk2zqlrkdg7fjc7zra6ddss702u8tw        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qwzn534nr5aettk9tvqqc9hwfc3868mfv3q3skq        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qx08s0h69rvmz04uql4uf8j5q53s6sjgvnvqrvq        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qx0jr4zwrnwg664fkyy7qjdyden8eacp8d3rz5t        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qx2e3qpgxh44altjyjufk296wcu00c8xdd9x839        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qx3jmpapfvuthyhykjtm4addcf7549ccsqx5v7t        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qx4n3hw0v6wjtvdt8v8s578qer4jd4grjqswczs        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qx66fkz67zjqd5c0max9jeen8dd4cetccyj5nx3        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qx6jkzyemf75t793alejvflmtc39tfngfjjmek5        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qx6l2grh26zxyv9ux5mrpt5xxuy4wv0gc0yyrwr        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qx6tccasgcdl20s756v6qsf5mer3n78atyr59kf        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qx7k75j9njx7euk2d8adgldl3ulta63vtkfkm2u        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qx7ks3td3acp5sd3pc2pwv2ws0hzr79puk3d98m        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qx82mgtwhz9ffu9c5glye4ztfescum8cwskmgxq        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qx8m32zfm0dw0a2dsglqrhm7hcru43xypjkecdk        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qx9xusj8td697rk3u7a3ddmkap20h5jsqgemm57        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qxak0tl82mpntvkgakqjmrqe6a4zaglar5we865        BTC                   0.12800000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qxcqla8npw3845xwvwp8jldh0wp0nrqjuww48gq        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qxdsyyderclyceunyuecvafm6kfkwddd6uwa6x4        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qxf9whta7gzwgq8qas02eqvgr48lzzmqhu6t0hv        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qxkrmteyjr0d947gtz4nzmz5m0rx5kj6eeulmtr        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qxm74383pzg05jt9csgvgjhqtu4trcmkrq0d9sc        BTC                   0.12800000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qxp4hm4af98snypaf6u3pus7vhq4e8u423v99ae        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qxpr67dpzj90e5aw0ktdgq7qxnsdfcl2ehzawd6        BTC                   0.12800000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qxq56q7qd5ed4xu8kyacc3vdllj5939u2p2q93v        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qxqc88waterswyccwd3rdrlqgrsdsc6euyvd3wh        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qxqdm4p5shvzhyxpsluzlzjvfhyv3a59x2nyr0c        BTC                   0.12800000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qxqh07thg09yzmphzdc3ruj2j8ytsraqp4fjjk8        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qxquy96lcyr5gh9uwyc9kq7vx23m952r0pdv2vf        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qxu0ngxylfahqc2za858ju5rrjr807khh33ksjr        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qxup463p70wtxv5y33hvjqk7ymrxs6wc32x973r        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qxw6gd7qqu5c4y9u46k7dwg0mlz4kguppyvwhtf        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qxw9gu6u50szmqxfztntrn484g945apw9l8f9s6        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qxwxg3zmlus2r33j9pkpj3v9dl76gnc794c462u        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qxx0ut5pegp8a6prqug79tsqm4eazgqll870wxq        BTC                   0.12800000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qxx3esqg4rjzw273qfaatv9ex0hd4r70hz9t9j9        BTC                   0.12800000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qxx4mw2mmw33k9padnkawswd22ry9epvuq9jax0        BTC                   0.12800000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qxx635mu0fnu0hetv0cnwk6jx7ttm424mng6cx0        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qxxc56339vdxmhjwcz3zreu8m3yjwndeq7frr3h        BTC                   0.12800000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qxxht4qyqg93sravc5aenfrvjwhc8gq6x9rejjj        BTC                   0.12800000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qxype4w3nt9q43wkckgt7g505dgpku3rzg7dlju        BTC                   0.12800000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qxznvl2s3n0s0s9vftk6rkr302r0upnhcxg2wse        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qy0ukayyyxu7gxuf80qpzxqmvzmw4qutw8jqcmr        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qy3a8ss5fhdf06aqpetf26spglrnw077d0vs2d4        BTC                   0.12800000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qy3cvhmpt3u2tyzjffqwtcrcc7ad0tamps4paah        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qy4zgzlrqf08zx87wsz89qfv9pzwskms8q97gxz        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qy5xjk32vatlxt9fnfqqf7xpn9e5rfsryllnv3h        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qy6dlgwjzm2txjflz95ezp2njjm0vkxhqsgj39w        BTC                   0.12800000 2022-04-03 23:07:40   2022-04-03 23:07:40
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qy7m985ukx08u6vk8mgnw025tph4vtw2cfhvmsq        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qy8kz0305mmnr97khd0l8nxt3naxkqw74vp2tzl        BTC                   0.12800000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qy8y0pgfjmfn94ltan4zu79ce6q6gt80g5qh5sk        BTC                   0.12800000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qy9y5zcd8kr5tcvucmmjaaqnh9v5urrfl3f0v7u        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qyaw22f63ur8hvn8hrxepwr6s5m8pgv7ymmektt        BTC                   0.12800000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qyaz9swklx9qmfy72pugnm4vv4vmx7s62ma78dj        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qyd62592lvn65j9z98x0tn6a9h8jx5z2jelysfq        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qye5wdpvptp7nf08r295nh7yy6mn4zan0l3hpwx        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qyercwngyvq6ay2smyr0n5rv5ephqxd8xdmexju        BTC                   0.12800000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qygxgryecvrsgwzhhll9cjyfd8whs8aeqqkggfe        BTC                   0.12800000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qyhxchem6rcy9teqpzwl865gl7v49l6de28q8nn        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qyjeu0l883u0mgtzxyme4ttkcqysrr09pwhcxe3        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qyku3al0m5vvl4krtr8wpuq6plmpy8e037gw2cu        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qylpefp049lxvep4jelrqxujdf3zvnm3g2jht8a        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qyma65cd8te04hc0zvg25z9vm70lx639x0sdxp9        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qyn3qmvlgn6dk6lk3grqjd9w4slsjpjeaahq7g4        BTC                   0.12800000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qyn7s0zvu3huvevq653phplqdvtzv9ca5rnt6ks        BTC                   0.12800000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qyp9yzc0sr0qz6xkqvnga208w6jschjh6m0237w        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qypwmsyg79tsfkk5jvdxgmwapgdpgelpyc8qwhg        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qypycgsden3fle73fd509ach5h89gsw4qz5pt0m        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qyrajre5u3ypy48n8h8uxjy09w7xt3yyhulptda        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qyrsnn2uex8e7q3wg7ck37c5ylmd59m95paw0u4        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qyrz0sd206tmp6un7w4q2a9dhxxdyceudrg5n7z        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qyseerm7zyh22hgepx57w24meha5rgut52nzzy4        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qyvph6ru8m5z3zh80uykn4ypq83l8chwelqhdn0        BTC                   0.12800000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qyvzgs6cjqq0qntu2y089z7svvj9mrkhufqs4tg        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qywdpcznjemezuz398jxvaa992g9476wslqxs96        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qyz75gxgaqmc03052njlz3kmwvj5c72vrjkvj2s        BTC                   0.12800000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qyzp9vqlypn9jj8qeva2pw8fx2r98gu0tmu7ldl        BTC                   0.12800000 2022-04-03 23:22:48   2022-04-03 23:22:48
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qz090l0r50pu48lt2sfkt00fxxeezc30zzq6ht9        BTC                   0.12800000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qz0cz4kh35vqyaswll6l92thvrnd40m6cam90ay        BTC                   0.12800000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qz29fmmapqewh3wp3s4wc6k5gm7j6mt3t42dv7h        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qz2a60hmmxk3mtuvzr9y6y5s5fyuh2n327w73hc        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qz3kmnf85y5fj06mcwh638dky3wheunf83aku6k        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qz3zmwrsh7cdcsy0a2l9lnp0un5vsu9s3qrc37r        BTC                   0.12800000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qz43vg7cgmzqk3ds290sfj8jxcvrz2emhlm38r7        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qz4f67r6sv8f3zwwknw32gnavnzm4hunehm8gj9        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qz4vpq8xwuccaed2jks3chy4ru60tl04842gzcc        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qz4zcrzgxkr8qldyf6j5px0sxau8gt432p0r2ta        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qz7tnvfknk2502rpef5p0w7rwz2dc8vlgkzagkm        BTC                   0.12800000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qz8dycu0fexpnrvv33nyl48h57ft967nk8dzaqd        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qz8r33hy44nnddxumnes22egxu67wu0qxzunqxm        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qz9l4jnhpc4jyq024ww6p8qxx8mgj2c572p77cw        BTC                   0.12800000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qz9lp955eeaqty74esqxrc9trnqsen7tq7v788t        BTC                   0.12800000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qz9t0lzwre4eakdgxg7nsh4jqd78pn35p6ncrc0        BTC                   0.12800000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qze4lahe0q9n0l6sxn5pp7qa8pg4awe08vthzzj        BTC                   0.12800000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qzes37nhfxp20ccdvjznvxdtdtp8hqv30gzsvrl        BTC                   0.12800000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qzg0m0exhzh60nmsmx0g02t4ee28m2yggghjra2        BTC                   0.12800000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qzgfznrk7fvc0hcta4es7kn3y8zj4eu2duqyu4t        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qzhcydlz4r60rqsmgj4ug24m6tqx7feye93ycta        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qzj670xz44fcjp848hq5hs8fwajx283zk7ycdws        BTC                   0.12800000 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qzjnuqs7wqzntjfyw9z4hgt5fgel4l795e26h7p        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qzjqdafxcqq0u2ef3rzwsljk8rz4554x95sljal        BTC                   0.12800000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qzk6tp6mu3qyefcj4hgr49glg4umsxl2hxey0d6        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qzkkqw42q5afqe3c837kldhsqwz87les0xfvhzg        BTC                   0.12800000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qzkxcpvvv3hhcvqudkrmxkqw2crvwyghdqvnvgz        BTC                   0.12800000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qzl3p6uh50tsaz3fnptg6z86v0r0ewjd3zfqrjk        BTC                   0.12800000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qzl5tvf2nnkz02e4ydtch5pn656cf483ylpxtmr        BTC                   0.12800000 2022-04-01 23:51:10   2022-04-01 23:51:10
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qzm6msjlev9mn2f7lyf5fxdn53vp58g56uyj8n2        BTC                   0.12800000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qzmdlmn5jkls9py6azggv37m95a27thas4shkqx        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qznag4d26jru5f5cwdz9l7xvg3sg382zwyz0xvg        BTC                   0.12800000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qznf7fudagw95s8mzacglkhc8w308vmz4zjz739        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qznpthndumdksq5vjmzagvhpm633f4q20l3cktv        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qzp47al6w9w37n2gpjtvz92e2svpuxd0vqyg7rq        BTC                   0.12800000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qzqqj3rkayzmdwe6ckuh90kqad77d86jkezvj52        BTC                   0.12800000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qzr2m0xc3dnjywuz2t4k8r2yzkk54dqn3hcwr6d        BTC                   0.12800000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qzr3448gjal9mc4gc7msnmsc7kcgjfc2wqz05es        BTC                   0.12800000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qzrvn98hluj8f56m8yl35zlqjnutvljtavur200        BTC                   0.12800000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qzrx0r6uv32jswgak0l430828y205q62p0hze3k        BTC                   0.12800000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qzshqrjkh9ah3wjnrxz64k6jmsm64k865g5szw9        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qzu5n0t67h0mw2spsllvqk38wgx0g7u6cmwkkjh        BTC                   0.12800000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qzune83lx8zznpvvx0mrn3yvegn5xmmdquge0jy        BTC                   0.12800000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qzutz9ng4p84r6zjjnsa4jjm4zrgwd0y9wl2zfd        BTC                   0.12800000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qzw4m23l07nldee3jcgflraykkney8wra9wv04e        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qzw5908ldsly4an0klqkng92et4vr7eglwnu8z2        BTC                   0.12800000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qzwnslw35x6algz5ye5ke4culs2wp3nucugyuez        BTC                   0.12800000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qzwu27e5ekw390gm96pgwd5l7jun3nvu542c2y5        BTC                   0.12800000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qzx2tlrwl666zq4tz0rj5eqvmqpmxkyj7nn9ltc        BTC                   0.12800000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qzxlzp8qe5sf9n99gfqjcahngs3h3v7aj679hrr        BTC                   0.12800000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qzz59ktpf3jaxkuwhqr2xtv9dfg78l2lyqesc8a        BTC                   0.12800000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qzzayhq2kpd638znya7kdpphal5cdqqgmmgmyfv        BTC                   0.12800000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     14a33X1kEHpPXVXzChsJWsYzJPhsCRSjzB                BTC                   0.12799887 2022-04-17 01:43:12   2022-04-17 01:43:12
                     15PWS4cBZU6mGmnuP8mKWFZh5t1N6AfmP6                BTC                   0.12799887 2022-04-17 02:03:30   2022-04-17 02:03:30
                     bc1qqmh3yq2lupaqenhmuts0dcwmzvc7u2n54q5kt9        BTC                   0.12799706 2022-04-27 00:46:59   2022-04-27 00:46:59
                     bc1q5jqttx2fzl055hd7nv4e5un269y75cvdtzk85q        BTC                   0.12799538 2022-04-09 12:29:25   2022-04-09 12:29:25
                     bc1qcv3mp6mes3dkp5svax3jejx0mpfjrry6qp62qz        BTC                   0.12799538 2022-04-07 14:24:41   2022-04-07 14:24:41
                     bc1q99kl93dzeuueef69afhd97npqv7gqx257ccps6        BTC                   0.12799191 2022-04-13 05:58:56   2022-04-13 05:58:56
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qrlkvyz4wepdk6nuk4775fhlceu4sgdnp69fuaa        BTC                   0.12799076 2022-04-23 03:47:22   2022-04-23 03:47:22
                     bc1quznhgnct6f4vuzm0wjlftwy0dry3zcrcgz9x3d        BTC                   0.12798994 2022-04-27 00:46:59   2022-04-27 00:46:59
                     321nfBiLVRfdETwxuSyPXAwnGo3apDswNB                BTC                   0.12798834 2022-05-02 04:29:06   2022-05-02 04:29:06
                     bc1qt39svl2xmtlp672zpauhqdhce646sr47k9n8mr        BTC                   0.12798687 2022-04-26 06:02:37   2022-04-26 06:02:37
                     3PLaUNtGq4Wmp5BJwqXhnLpnBTAR5q6t62                BTC                   0.12798590 2022-04-27 19:33:42   2022-04-27 19:33:42
                     3NDd96jPTRVHBsZYKVnDx99uxoQnMdtYEe                BTC                   0.12798535 2022-04-28 20:30:32   2022-04-28 20:30:32
                     1PKqZpaNJiFvd7DUQtTjCsotKhxrh92X2S                BTC                   0.12798525 2022-04-23 08:28:46   2022-04-23 08:28:46
                     bc1qtnrrap8ca6e0un82ndnj7vnpx6vtlhqz3mjpx8        BTC                   0.12798375 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1q6mrvx8q275g09nag8aurr2qk9hypn5krfqufvc        BTC                   0.12798339 2022-04-08 15:48:12   2022-04-08 15:48:12
                     3KhP3bhGLVWUmBhDsSuUWRBA2XGPQo8FeF                BTC                   0.12798213 2022-04-27 02:52:35   2022-04-27 02:52:35
                     bc1qe6fph8mp6pv3pa3j23s75t7w8hvg3uxeh7d503        BTC                   0.12793308 2022-04-23 08:47:37   2022-04-23 08:47:37
                     3FPdowmUDyDhtoz9dNGtwn6NFbrJrxxY3e                BTC                   0.12791787 2022-04-29 20:48:06   2022-04-29 20:48:06
                     bc1qjfhlkeq7vhlfxgujzh6u6hjg8sucdwu0p7c36m        BTC                   0.12732755 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qmshuvqh5q79n9gh9kfzrklmgph8d4frxmzyc5y        BTC                   0.12732511 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q0xh8hnmz7ysp0742m3gzwcwd6ts26x8xpvpmt5        BTC                   0.12732176 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q4wvpg9jwnsm8dd8h9qm06rhzqd85llaackjzyx        BTC                   0.12732176 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q8j3u8tzgm924gcffr3w8vky2dlar5yrs9m0zpf        BTC                   0.12732176 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q96e7sd8093zjfzyvvw5gnuwj8dgqyn3507at49        BTC                   0.12732176 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q9qtxuw25jyc2y2zmjpv2jer56zz6vs5uhe4xx4        BTC                   0.12732176 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qcmpkl4qm693v9qmk2hjsujp0t8qtyv2q5jwqqu        BTC                   0.12732176 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qd89y8zw99huasa9avk77n24nmg88uu5qwvzjpc        BTC                   0.12732176 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qfv77rh6xmnfqekj97nq487a56n4wsk8httpdkm        BTC                   0.12732176 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qgafl7ry3edq5r0jel69wn2nj2ma5xa3qeewevy        BTC                   0.12732176 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qh0djndcgve6ayjzpvh20vye7t2wusgl9nvw7gg        BTC                   0.12732176 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qjqekernggu7mgxwaq8vy66stafc39gx030naz0        BTC                   0.12732176 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qkfzdqz0xjk3frjd7lr3j2lm606mewjhg9qvhve        BTC                   0.12732176 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qpc69vcdn473z470ea4frjcgmk6uqz9sn5hvd4j        BTC                   0.12732176 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qprch6tjvcuqwh7dutwzfn9d9l3lz7rqyyccrdt        BTC                   0.12732176 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qprhzad5q88lp5j8ay0urg5m6xpnu9cw3qv5rxh        BTC                   0.12732176 2022-04-09 22:48:14   2022-04-09 22:48:14
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qt60s0fs3rzraclezjzq6lg974zetql2mtc8hsx        BTC                   0.12732176 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qvsqtty3zf9j2p97sffvcvx7v5pt5hlc3ycsdeq        BTC                   0.12732176 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qzrwjja73ck8pqxu9hldwwndsp67zkjxkcaffc5        BTC                   0.12732176 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q43xcfw9nqr0mvfpxs4fkdmmprtu3jwpd289wsf        BTC                   0.12731161 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q34fkd2n0nwuj0s8z9lee4n58dc6drh9qqtct53        BTC                   0.12730002 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qc4vc4rv7xqyks0jh3rzvu5nequfdta52xe39dn        BTC                   0.12699921 2022-04-23 00:29:28   2022-04-23 00:29:28
                     bc1q0mr3e92rz0smpkqxafuxdhpnvs73ttf0t3vv83        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q25lz9cw83cg7tehtgr7ts8zua5ga8sacd4us4x        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q2ak79plxal226yck6dwmk7w6lc7pjykwm3dzkc        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q3car42jd5ppmc8enapv0275uaytsl5svrt2rda        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q3ucazwhk8j2d8yxrudrvcaaykgs7caqzxvt6np        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q4pclnq6s4gdvq63v0vv3yz7mzfrfx8sqrdftq8        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q6vxdg8vye8dpkwdnh0z32cd3k4vmmdvx8rcr6m        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q8v5prgzv79pkm2rylkm0e8aux89ptt4ekdh4r9        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qegnma2dmtmpy899wh7ka3hycnjltjgvekxnfnc        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qekhx73768yenfqt2r9avy6t9utpjf8thgu9pal        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qetsu42jextujwderhz36tsn0mwk4d3cluu8vra        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qg08agq64yja8zqlx3rw0llk05u03pzt6t80me8        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qhynzvc9xfrynp5mcxyjlwl4wrss89df369u4fd        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qka4uyq3nmhxtulwyq8rnv20ery4629xwr7lsgt        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qkn0rp8wg60nuwdap6pjzf8tqhgeq4m0u5n6hhp        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qnl2tstcw6na6ympw4kx04u2ywa3r7amw6xsyj0        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qpysgv9rhm7n00k6nk74er03xhrq8j7khsapzwm        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qrmr7338mj76p254rpypt0zj6sklsy58sl4dztp        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qs2v7ul4xdm3fpet20e50nq6rspmv7s74qjaalc        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qt52ma8et9kye0mm763wdeg0gkguw29p6nsxpcm        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1quqwvm0am2lv80pjee5tlv4spepaqtuk3c9yxm0        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qvvrmxuwczxleau3mg2jqlvwfdj2gx3k68q257c        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qzyzgdd2jqu6d4qunnmrkx5mp8g7swftrn6qp5j        BTC                   0.12682393 2022-04-07 00:01:49   2022-04-07 00:01:49
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     1PYtAJPnL2SAPQVnMMyHNRzthKcTiK9G5H                BTC                   0.12680340 2022-01-31 21:48:23   2022-02-17 12:28:58
                     39Jm6PmxAjNsDNqG4qwFJTCKNH5iZBVgNd                BTC                   0.12658516 2022-04-28 03:29:55   2022-04-28 03:29:55
                     3NubtSCANb5M4sRMAs5wfE1tSpAHf33wGR                BTC                   0.12621670 2022-04-26 17:27:58   2022-04-26 17:27:58
                     144ZSn19NffQPgdG5q4VfukNfRhjXMpGtz                BTC                   0.12527405 2022-04-15 16:48:13   2022-04-15 16:48:13
                     bc1qr8lgz0nq99ux0eg37erjpr4yd750nar0c7tnk3        BTC                   0.12372545 2022-05-01 07:38:44   2022-05-01 07:38:44
                     bc1qhx65m7rqcx7gmqsfvvlxtypt96gwf23tjug4sf        BTC                   0.12128007 2022-05-01 17:41:24   2022-05-02 08:57:32
                     bc1q0ar4r7cc5j4l044gn6dnj498w39lnga6t5rs2w        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q0n6mumm9xlxq780c80ljq4kw09rxxvyf802yhe        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q28aj6k9t4qlztj0zee0dkswaeejtg7ccvyv3h8        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q29ll7v6gp5xazd0hpxu00aw9emwtcayh2hc28a        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q4qyqsxtg0fdjxqt9kq8cfgufzfgaga6at0plhr        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q5rwfd6wxjxqvjf076yeelzvn2z77semhsnrf8g        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q5wrujggr0dyktthjhzs5xaydx95er5w4ypaknr        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q6a4zmc2st26yj2mawmgqt3f6wnyvaapqwv9w6r        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q9a482yfdkxzqjrjvwq0plzepxd2fl6te6229ay        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q9gu7uwptjfukfgf7yenc9pdrrmwqfwrxsadnft        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q9waagcjz2c2fc536vuqcufxgmfgle6kmdkm2gr        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qcwldvnar9e4yf75j6w8zj9xpajw5ug2mdzqljl        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qd8x535x67kxcdwjkp89x7h3ww2055a8huhxhzc        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qdvzvrqekrdpc83trt2tdy3pvsna74v5ptlznux        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qf9pu75k7d75jdard8urn2s963770n5c75dmuft        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qflwy24v4ej9y0843y2ur37ahf4y6jqs55apksz        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qfyp4waczwvwpexfrtt740v8u2mqe94ptvtdrh5        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qgds9qjhev2re70fdq38eq0d34gq0sgfje0wruw        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qnxsafpfx3smzmw63wpln7lcqdna9fex8utmcnw        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qp8pjvepyyqgcc8fftdnuf283v3re2afezmndcq        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qpwu476kkc04mts3lwy5kpz09df7ljn9x8a85r9        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qr88playsw623hg3e760djt47slg5vapaz9g8t0        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qudpx95zvqk79wlunuwpmkk6xr5clc5kq9mh9a4        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qwcy5v5avh54zcqeg60m85ggr96ym0w6w4y578f        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qwm543ema8q6savdt5cpl4zhs49qjy2k26tne5u        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qzgse36v30h26f4xq6nh6n42ghav84pv8w7qsuf        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qzyqnc37qk0gl59nmgw6yqmt7af60tuuu7fsmsd        BTC                   0.12063432 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qe3yr8lhuencvvfzdjnq0ceg4svawkjl488vc6z        BTC                   0.11870719 2022-04-04 14:28:26   2022-04-04 14:28:26
                     bc1qrykdw2eaqutra53flygg0cxmtf28yz7x2vlm4d        BTC                   0.11779863 2022-04-16 05:03:25   2022-04-16 05:03:25
                     1JZqZP3v5GkfhAH1o7ZhNSwMEqDojoreDq                BTC                   0.11557473 2021-04-07 09:11:00   2021-04-07 09:11:00
                     1EHBzucTdcpESQhR9TqDPoucJFRAVruChx                BTC                   0.11518371 2022-04-05 02:02:34   2022-04-05 02:52:53
                     bc1q2m7c2luvmnu4fw227t498dj56rnpesy8jkzqhg        BTC                   0.11422073 2022-04-22 12:53:23   2022-04-22 12:53:23
                     3K8Qu3XahfaxG7v5D5N4FWqTUZ8E73sNNJ                BTC                   0.11396751 2021-03-26 19:34:05   2021-03-26 19:47:32
                     bc1qgdyzxz4cpz3mzaqd0wy8xzll2vkydazpuawel9        BTC                   0.11345810 2022-04-21 02:33:04   2022-05-01 22:26:26
                     3KEfnr1EohzLUg1LD2jaMotBfaFJ3xhYyh                BTC                   0.11250368 2022-04-21 03:58:07   2022-04-21 03:58:07
                     bc1q39c84c8f9z7nc5adgl9924vy6ax5dh39xswy8l        BTC                   0.11238657 2022-04-26 11:01:31   2022-04-26 11:01:31
                     bc1qeyamz9jq4tzrzyr0asq3nnd4z4kkd07acnurk0        BTC                   0.11158408 2022-04-26 17:27:58   2022-04-26 17:27:58
                     1PMsnXap6XsSBYW8f1AezE8YNhQbmjNtB4                BTC                   0.11038819 2021-10-14 04:44:17   2022-04-30 08:49:12
                     bc1q7ndcwe28clgv04vw8n36r5fusrd658ep5nr6vt        BTC                   0.10868975 2021-03-30 12:04:58   2021-03-30 12:04:58
                     3QUS5ZFf2JvsxQn2XzwBKmQrhXXR1QmqQ5                BTC                   0.10803404 2022-04-22 15:59:01   2022-05-01 07:44:15
                     bc1qmpnm5e4cwsxl7kadkj8y5h8ykwdumn33u3c0uj        BTC                   0.10759073 2022-04-09 07:59:09   2022-04-09 14:56:01
                     bc1qu64s5mtutayuh3nt3mqhm6gr6c5lephxfau5wu        BTC                   0.10740695 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qlaxpswgvekxaqmq4ajm4qzlg8wpmvunetzprfr        BTC                   0.10728749 2022-04-15 22:39:33   2022-04-15 22:39:33
                     bc1ql42ur7tun36qcmmdpklkvecfm4rr32w9l0nhqc        BTC                   0.10596256 2022-04-04 17:31:24   2022-04-04 17:31:24
                     3ATNJLfSxCsrU6acczTm9fLNgBUvvcysqG                BTC                   0.10587569 2022-05-02 10:14:24   2022-05-02 10:14:24
                     1MFHZ1ybu4jhtgwtKQ3MGrerJP6PfVGJZo                BTC                   0.10480733 2022-04-14 14:23:32   2022-04-14 14:23:32
                     bc1q2ry5vkfhxv407a5dzw22ym4ch5ml6prjs8hvgs        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q2t5aj8dl38yekzs9cpqmjac2gfs98exvnpsat6        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q3kep87peulcj98q0m32tgjwhed456suu39a05z        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q6v8tcujfng06kzat2sp90708al83ph8kwx2ft8        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q7dyx3es8ytdn62at9tm604qy8l9h7jrwpzl0l6        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q7lhckur46c02nmh7pumzxgfxx0f3ukqy9gumpt        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q8cl34p3ufy4e8gj7cjevvvv7k9jhs4cy69jg78        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q9sm6kfc5qu5x7r6cvsvjkghg7du7n9emawquya        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qdgf0slw0nslu4nptcxenkh9ww90shlc4yhmcc9        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qela5xwecpc08zt5tstvnh54mqc4uc8wdl2s25c        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qh9gnqxsggns2qnww8g8203lu9r0kecedzrvr46        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qhw2sm4qvyjpp479sqqtvd4s4eyclrum69gr4ex        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1ql4wtw67cc095wzc4rn2v7d5hnn4urwv5gwzdp3        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qn5xjavx2z8nuvfj7hulu90x0w2ymvndcpvy2l6        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qqqwtj6gwumhr2etcs5v6z45rfr8nl50nc2zqyh        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qqrwwznrrrf9tf58lnqp66t48p2pv2snuf23y0g        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qqxn9g50a3r609jcdncex892vkuutu0zz9a4jkz        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qr6xec7u4f0xp8tht5mjsvwmlzmu9hssuyfmqp2        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qrvgkaj5v3vesqs68phanf3c693mwnp5wsg8ql7        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qs9nuhsll9ycfn7twulmjcneazk0k3uj4qwkhdq        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qsfuysyuy9cf30qnqm7kw5ynxdeauxrgccvlg0n        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qt0w8tkdw0dxaj9jrkla7qvsqgcq5p46ux78jxt        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qvra98kylklv2pnydsevm7jv9thg07ypwul2pnu        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qvxdc6yv5x2v0e9xqn38t0km9v2rrmjv4uevtfx        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qwxc3lsjkmttj08dh5qm38rxrnmxygrmr25chnm        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qxp03z63zzr6q4rvz06pl5demcdd0uuwwww5srr        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qzls684fkt5cv4n33hkulknyxnkn0w3hunw83fp        BTC                   0.10354130 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qnn766knep5xjwmtckecckn0neczyywpyz7nu48        BTC                   0.10196097 2022-04-12 23:07:18   2022-04-12 23:07:18
                     1LHbGJpxgZYSjDwnjDwn9TZ613Vfn14aEQ                BTC                   0.10175377 2022-05-01 17:41:24   2022-05-01 17:41:24
                     bc1qlam8eeet7ymdq660w5an2v47phvvdex39phgwe        BTC                   0.10169253 2022-04-21 01:10:55   2022-04-21 01:10:55
                     1EzLbw2fLaJtXkBpD6mZacpc91gZSumZqH                BTC                   0.10082320 2022-04-17 13:52:04   2022-05-02 10:14:24
                     bc1qkgrzfc549qm3lmg6680p0wz04dryrj2687cw8n        BTC                   0.10000000 2022-04-29 03:50:32   2022-04-29 03:50:32
                     bc1qtdra4ld8g68xzd5mud95yk4a3qeahg2drwjtvs        BTC                   0.09920239 2022-05-01 14:33:34   2022-05-01 14:33:34
                     bc1q0vaz4gjs9s85ya20wuzx5vu4nd03nxqavh0m6h        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1q3g43jdxpn04kculkgmnjqzrx4etahqtdxp2jw5        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q6zm45mkddr5dm770mwzvy3v04nfvhy6cu3p597        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1q7sucgrk55rtpe9mnnpxw5jxx9y0lurgemyldcn        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1q7z59drxy52j97jvh4t2r96la03y7wdkc0fsywf        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1q8nwcchy7n4ytqr8u5lzhrv3y2cpqf8zj4nphng        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1q8r2d9g3gp0jt8grkvqnldwgdyy2uz74r284mra        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1q9wxq0dva3fm9vp0j030z7w3e6mp90hzq0un72d        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qa9cuu6vt8gemt09xtqvacv8qauz8jzt0v57gw2        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qazy099nmsyd0450uw6h54geu5yqekqffz0jdgw        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qe85amw2fm39g54dw6atxxw76mhk25eg8jvnxjh        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qffx5wxs6yfhwh62adqfk6a3pdqlfd2gye706c3        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qh33a4gvs3xzvsldys44282flh8ld72hw5dwwsk        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qj3epywcdmga0l79dkem9jxqp9ejetvyh74pjtv        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qj5fqtg2exyn42u4he56dka7wvm9ktxz6r9lc02        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qjhwhv9sf3uqgvfcqapfmc4zwe47jw0kwqc8k74        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qk9s2p8nvf9emkm4p08kzgww6fg580n2s8d9xuj        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qlrcrrkyhzy2cxkunmlqwgkw5phvm5qkxz6fx47        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qmtsr2zkgpfn3tgc0vyvh9ctaj465nk8kpgsy6w        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qpxw76k2cwugqhfdn6gkhtap68e9svvr2v2lnuz        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qrtl4zvcgzn8wsrj2e0ztger0k7kpl0d3mhp44m        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qtc7js4r8azeq8sr37yf53w8ek6crq0fjs0kw3u        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qtfgazxlu8x3u490c6vl92rv0wusyslvr58m53h        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qvaxm0s0lyhkx6pkcy4l7kjs88ynn38qvmxyw6l        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qvfh908ujhrtnlptg63t5zmdkg667wvexwlhh8f        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qyk4uxuphdw8mfzscswu6v8vcvl3cddtl60sv38        BTC                   0.09893923 2022-04-12 23:07:18   2022-04-12 23:07:18
                     123Q21uahE4d7jGQFL82CXbinKTgMsmtQR                BTC                   0.09745013 2022-04-15 16:55:59   2022-04-15 21:01:25
                     bc1ql7cngtx5ue0f2gx7d2v8qkshf2qn02j78y5xal        BTC                   0.09736940 2022-05-01 23:23:15   2022-05-01 23:23:15
                     173kivyXrsDhgsRtrynYSVTbEECKeBPE8G                BTC                   0.09728038 2022-04-19 19:43:55   2022-04-19 19:43:55
                     bc1q5zajdcarlc2xv527fymnj9mzpychdunqu03h82        BTC                   0.09626508 2022-04-14 22:54:45   2022-04-14 23:05:47
                     bc1qldc02qyrruc22s0ch5q8h79z8j9yvzp3a9hjaw        BTC                   0.09598835 2022-04-24 18:07:37   2022-04-24 18:07:37
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qccxmlzlta9nz67zuvutw820w77es2j7n64erxz        BTC                   0.09596039 2022-04-11 16:23:11   2022-04-11 16:23:11
                     1DiwPLzEgnf7JqXtbggXfBcvWLccmxWwB2                BTC                   0.09534149 2022-04-17 14:06:32   2022-04-17 14:06:32
                     1Hp73DniHpKhtgZkwUDMU4jpEdGps3J6Vi                BTC                   0.09469651 2022-04-06 01:53:18   2022-04-29 08:33:06
                     bc1qhh8p3vd98rkhphgfdaj0qtzer62qlclhgu30ax        BTC                   0.09468049 2022-04-21 20:44:25   2022-04-21 20:44:25
                     39s1CHhgmNKM9Z2PbLKurxUoq1UPKZezcb                BTC                   0.09109419 2022-04-24 00:25:18   2022-04-24 00:25:18
                     14dXAmzqy3XwXXExVjhCozRG1r6yztR478                BTC                   0.09081212 2022-04-04 13:45:25   2022-04-11 09:40:10
                     bc1qhvvxc2h33ajnw5ppnvqm8thzpf2ez8smuuly49        BTC                   0.08909061 2022-04-01 18:49:06   2022-04-10 23:23:06
                     1QFyJeSxjk98Xnfi4syWWedWdYGcExh5tw                BTC                   0.08773066 2022-05-01 11:50:15   2022-05-01 11:50:15
                     3QMfmu2MuSxmtAaYfj3pMUpP18QnCkxBWB                BTC                   0.08699479 2022-04-15 19:32:43   2022-04-16 14:28:52
                     365BXtLKULpsbAngzubMHAwBmncT8x7Gs1                BTC                   0.08641778 2022-04-03 11:55:50   2022-04-03 11:55:50
                     bc1qaptw8zk5zxjp0pdey5gj2y2s0t7gatclxmn5kc        BTC                   0.08596064 2022-04-09 16:23:33   2022-04-09 16:23:33
                     bc1qqz5xamdwfklv7qr3fp52s89l3jdmx4fkj9fpcx        BTC                   0.08596064 2022-02-12 02:53:42   2022-02-12 02:53:42
                     bc1qz87zg9wk7svtuehz94kjymlvqf3ywtcpsv8sdc        BTC                   0.08595940 2022-04-29 07:49:22   2022-04-29 07:49:22
                     bc1q6m0hjjd724etln24ecl8ysxclapwsf6kwcltg4        BTC                   0.08585984 2022-04-29 15:47:07   2022-04-29 15:47:38
                     bc1q39zsktp2lxftv695k3xqvu65njjr7rrk8u2suc        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1q3mrl5rts5fsk0myw658qs3cje2tw5ungxv25ja        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1q4fad6apsgw38zmrrn2qd0krek6tyu37yr4ux5f        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1q5gn4efppl7ehlldt5zfjn6lkc064juezhm43c5        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1q67ftr6fu9crnlejn3jfk2qn0z96uvafufft5g9        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1q6c75y0qqcw32vrcnlz8vjvzjjeqrnrsfp4qeau        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1q6esvphf9dhwl5nvyq2gv680sdgf8e25rpe5m6c        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1q7r4ld27urg6jmnn3mfr9r85gktlmurmdp8sh8n        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1q8kvtxt79g6et7y7tu6knylj27ltd958kz6vgcz        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1q93rgzqjt9fgp2qzv5xzhrmcpk0cwv0dmddhtwq        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1q97vr2p0x99eeldq2ksvd6qv8l0nf7hhn77w9dj        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qa862y50nydpp963wprupam0pypdjpmx3ykunhw        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qcv638pm7c70zyyfelsv9a53p5g0eujn70caeru        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qd2c0pz5qjpp0xj7kdadkjfujtkat5vfwfhy0dh        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qg27xgcm6ugxa2lut5lc49d5t4avj8s6zl7lydt        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qg4t437cr86ujxu8yw0vsj2thhptfc99mexw4yz        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qj0n8x4n7zzewsmf4t49g4rzd7papng25v3h8u6        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qj6purgvc3q32n0d3cvp90m3qyl485vth7gsqz9        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qlq499hmkc4tqz9er4cgal5rs5dnjkw38ck5ysz        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qnpupw7ryv8a8dt3ak4dxzdrlxncvawwszrzza6        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qq9mej5enw5rgq3y849xu6vrwrg39yh5rwzfuw4        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qrq0hrv7cc8z6tzdd95y6lth0cq5magz50jys8r        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qv84rz08vgdx5z6jerg98qvjr9njec6fn2l6txv        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qyct8wgetcqtx664u4w3ysn99dq9hqzk3lc04rt        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     bc1qyfgj0p90c6yu42vhskmf634adyjl3sfwwslctw        BTC                   0.08566430 2022-04-01 22:07:20   2022-04-01 22:07:20
                     36kpJHeFjAtMe3fLfxq5rsRsFpve1Jjsse                BTC                   0.08523134 2022-04-08 01:57:36   2022-04-08 01:57:36
                     bc1qwwn42lvymk35ymglvewtqg6f5l5wvasp9nvfpd        BTC                   0.08427545 2022-04-27 08:42:14   2022-04-29 08:44:42
                     39s2ZLTKZ8jV7Zaan6hrirXRrrUNyohR59                BTC                   0.08416363 2022-04-16 12:58:20   2022-04-16 12:58:20
                     bc1qzga8d9cpffkf3qdsslwtw330wprhrhrfg46vw4        BTC                   0.08365634 2022-04-27 19:51:23   2022-04-27 19:51:23
                     bc1qdp6cc2t2jxt44wrgttysr7lr70wt7avly0cqmn        BTC                   0.08243977 2022-04-22 15:42:43   2022-04-22 15:42:43
                     bc1q7nm2q0kezh005ujmjpwyl4la7ckhtknaf3mlx6        BTC                   0.08195228 2022-04-07 17:27:32   2022-04-07 17:27:32
                     bc1q9t59aagplg9nuhseetps2zjf5d96mjjgzkgc0d        BTC                   0.08165108 2022-04-22 15:38:32   2022-04-22 15:38:32
                     bc1qcgq7rrmndyhzaha6zqekhekjgp8mq4x96eve7v        BTC                   0.08118090 2022-05-02 00:34:28   2022-05-02 00:34:28
                     bc1qs70fh9ew2ukqd8d5apg2pdychc2kanmzqec9zx        BTC                   0.08055870 2022-04-07 07:15:44   2022-04-07 07:15:44
                     bc1ql9x5eyqad4ad4kr6x3cjuek02zjtdswgfllnkz        BTC                   0.07963786 2022-04-03 11:24:28   2022-04-03 11:24:28
                     bc1q5x97xta245cz9erl4ag8g33gsz437x2sh80c56        BTC                   0.07800000 2022-04-02 00:13:17   2022-04-24 10:15:25
                     19tbywqEFgqo4pkvdH1GdcDDzpYqB7ftLh                BTC                   0.07619770 2021-06-26 13:21:41   2021-06-26 13:21:41
                     1LxNPhVkSmUWejs4UTNXkXCZLkdwqCiiwA                BTC                   0.07460448 2022-04-16 12:48:32   2022-04-16 12:48:32
                     1DWrEYubyNsLFjRUJNLbjNRTSLZSKAe2cC                BTC                   0.07448648 2022-04-11 16:23:11   2022-04-29 14:39:03
                     bc1q9xqr95ddfa93efz7904gntnd90584awur28ycv        BTC                   0.07418472 2022-04-07 04:07:06   2022-04-07 04:07:06
                     1LEwWi9ZeTB95PDdLAbBXtpkPRnYDqqiwJ                BTC                   0.07389805 2022-04-26 18:52:25   2022-04-26 18:52:25
                     bc1q60sxvk6q35k0g77j0gv3yyddm35fxlf6tyqz5e        BTC                   0.07251048 2022-04-20 09:42:23   2022-04-20 09:42:23
                     bc1qchkgjj7t9prfeasxuj3dr83nw7xe2ttqu6xuh5        BTC                   0.07244632 2022-04-07 07:44:37   2022-04-07 07:44:37
                     bc1qxlmadpzj0h67htat4pfn2v5g9az7fg0n4dcruv        BTC                   0.07174306 2022-05-01 21:10:12   2022-05-01 21:10:12
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qhpv6ygpqgwjkusmzwdq42qlal63mg2yljjcgt0        BTC                   0.07162346 2022-04-12 01:56:33   2022-05-01 00:57:19
                     bc1qmtdhcztka8tl86uym38zkx2h7eefh0ka52rfkx        BTC                   0.07110381 2022-04-11 03:58:26   2022-04-11 03:58:26
                     bc1qv6w74mayn9kpq25v5zudyy4tjltp5ur63ysppe        BTC                   0.07080025 2022-04-09 20:12:43   2022-04-09 20:12:43
                     bc1qvqhmr3yt9nyu4az79j5vlsa6pe7cqvcgfr7ytl        BTC                   0.07064170 2022-04-23 10:34:43   2022-04-23 10:34:43
                     bc1qs7wr8fgaw8kuy2wwtzq2petphr5844htlt2mvp        BTC                   0.07036101 2022-03-25 16:02:01   2022-04-02 06:05:56
                     bc1q39hymfgzm49p7pmvzccmplqk0t0qrnhhdpan4d        BTC                   0.06957330 2022-04-23 10:23:46   2022-04-23 10:23:46
                     bc1qly9wyuw92p3dv0tsynxhcl3gmlm8gvavz0wawl        BTC                   0.06907929 2022-05-01 21:40:26   2022-05-01 21:40:26
                     bc1qf3qez4zqskt5fg7vr5crpgscgr3gafecs2t2ny        BTC                   0.06794375 2022-04-21 08:01:54   2022-04-21 08:01:54
                     bc1q0l6z4vw9ulp4kpu32v6l93f6trt3ly4z090hzz        BTC                   0.06791870 2022-04-08 22:17:07   2022-04-08 22:17:07
                     bc1qj3m3x0l65d4uvkue30hx5uvd4fxe8x8u56rmm2        BTC                   0.06791870 2022-04-08 22:17:07   2022-04-08 22:17:07
                     bc1qpswuyelj7w2r4z3hqccdrscfxx5zfp207xqzr3        BTC                   0.06791870 2022-04-08 22:17:07   2022-04-08 22:17:07
                     bc1q982z79e76hplrk2a7pgugenwy73zdgjaemydsz        BTC                   0.06791869 2022-04-08 22:17:07   2022-04-08 22:17:07
                     bc1qf62ahyu35zk376fldqpp6zgz55gv29de8lejst        BTC                   0.06791869 2022-04-08 22:17:07   2022-04-08 22:17:07
                     bc1qfxaaw6nl6p9dkzkv838wsjvnuge237q5jw3nnv        BTC                   0.06791869 2022-04-08 22:17:07   2022-04-08 22:17:07
                     bc1qrr3ltghx2y0676tysp9kcjf6gj4cmx3xj0qrmy        BTC                   0.06791869 2022-04-08 22:17:07   2022-04-08 22:17:07
                     bc1qstq5gcy7a8gjgenuq7v0w63q7kgmlp7m33kgj4        BTC                   0.06791869 2022-04-08 22:17:07   2022-04-08 22:17:07
                     bc1qt96fajnewc8gafxl29fpk37h97aa896mwuujnx        BTC                   0.06791869 2022-04-08 22:17:07   2022-04-08 22:17:07
                     bc1qvk2n5lytmse5u0syh6403csv2fq35wk7yslu42        BTC                   0.06791869 2022-04-08 22:17:07   2022-04-08 22:17:07
                     bc1q8jttrkrls3y9gwevaen9m5zcra72xj6p8s9hyd        BTC                   0.06786479 2022-04-08 11:16:41   2022-04-08 11:16:41
                     bc1qvn7k69jw5d0qkfzuhszemyjjuc4ltlnn8cgul0        BTC                   0.06741537 2022-04-18 08:12:31   2022-05-02 08:33:52
                     1GEzHgg1Y5esddPL1cbnpQvvr2GoNhPpbQ                BTC                   0.06608042 2022-05-01 21:02:21   2022-05-01 21:02:21
                     bc1q9hghr9m0v4kz2lm6xaa4u328sem4jsd4rx9885        BTC                   0.06534965 2021-11-13 20:29:13   2021-11-13 20:29:13
                     bc1qvxgshz9ajwdls37gscg5yr0pxn6jryr8hcrwwg        BTC                   0.06456043 2022-04-23 09:42:28   2022-04-23 09:42:28
                     bc1qlns0n5k8q6c9j59xzc50wy4ewauev6t80hr7nt        BTC                   0.06416962 2022-04-12 10:54:42   2022-04-12 10:54:42
                     bc1q00pwxd5axcxla440z7gghtcqexzjnxz5ryyhy3        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q00sn4f8aj2smd77ncsjmrh20fhxjef9zphfgaq        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q02hq8qhhxchsfvasvdu0ar7e2lsf08jmud90tp        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q037ggq8ueslvq874ujvte4sv509m92qnzjdcc0        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q03k0e0m3geq6t4vd9vtzr6ws322yasly5jhcq2        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q03m2j0ttwaq9hnp8f9pl2a23e46ufqpcxy85mx        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q04pd2s8hsx2ke29p0t6uqckj40weczsu30qc3n        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q053llzt87r59h00v7j0rqaysq09m80zjuaxkt7        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q05ku4tdr8r7xtra5l86zgmjhnaxvrsuwvvyuyy        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q05qlenckgm24leggyy38e0ezm0uwr0l9ye6kn2        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q05spz9xqwt6qhcyv3uuwvtltnu82ffezp7ca6z        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q0623e229w8pvxwzkyxjer8gx6gj7snle3fntnx        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q06ph5w602gvxtaym6jsgtur8x6ney03fgydv8s        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q070wqcvngs3s9akeqenr4u62grgycmmszjlaj4        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q08fwpqc0xe9lgqgddwvcnj2ye4d80vs0gameqy        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q08vuqa2k4e8evmfk6xmvrssdjthj9uzmxg763t        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q08zm3hl7nclqd7my9f8vqtgfty6juss8w664wf        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q095407jgmxx4trk6zhak0va8fx9fkru3ax66xw        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q0c6k9dn8axsvhl9xk7wvp2e9fa36u367fgr54w        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q0djccv7fav3jeeegmnev7a8czmuhxk8cmckvqs        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q0fa3drlq60ya5y45dl9quphu7qzsj5v985j67h        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q0gh8q34qh5v5wtrx7ylet4ln8lf0g894s7skwm        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q0jfmsp67lz6tt03jp66wa6m7wae7gqrdu4gzck        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q0kf2h8dklw5tkxd5cvfjp2f6tanke5ma6zxh8a        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q0lkzquzatzmnjqtu3yj8jm7vzrkxkfdvt930f5        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q0nllrp76duvrk0k0tvnm2ntaqzeyzhgmzsxpd8        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q0nwss0rx8932ag4d28xhmusr9yqv6plf5j2a2z        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q0p0xmgf2yed4r007trvg8zg3wcu95un060krkr        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q0pddfv40cqr8hcnksls78mskfcg06kr4ffr8s5        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q0r6gjlh4s69p4nm26s3hf7kl3u3zgjtkx3j9dr        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q0svcs4n50klv9rlrrx3j7mc2vcff3t5nxy5qzf        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q0t8a8hml0e8tmcujsa592chf5dndea35zkcxv0        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q0ttzt2srfrr77n80j4y32zrghjwwfaej5m02sj        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q0tx0k2yl4zj9cd4rtwjrzxywmk0tstue85vfqg        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q0urjjqk28kmymwlvqj7szkwzvxvc7asytdkjvk        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q0v3d2l58t4a9zd4ewhprvdfyu2kauwq7adwq7m        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q0vauaght87pxe7av6v4wjcy4jdwu49xta3msh4        BTC                   0.06400000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q0vpnpdr680zxupfpwcxuufepapjmk6xc2930n7        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q0vzm9qaugauujptd45afflvsnjlujqtgcrge3u        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q0zyfjmmgmyvz6l45du9vg749sc383rjtjp7zgq        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q20djrktv8g07mwd9l83s5g363f4rqdfjqq68lj        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q22l6c6llx6gvpatn7krkj9v2enq50a89kje3ch        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q25p7zy8jqatgankh4txjcwerway867lfe3ykpc        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q26822h8r9ndq0xqu3fsf83gswcphzee3x6qhye        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q26c0vdgve5hvkjgnj4f25lva8eh52xz7heg6rt        BTC                   0.06400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q27pt5x38vkssn8wj8g63ehw60t40fx8gr2pth0        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q28drkvrn0sz2t68fv624xfzep082mfqd62purf        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q28mcsa3keyfed7w6xdsl859g6nkrqcgx94eay2        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q28np7lc3472l5cy49kn325td6waxurf8kqxk05        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q28r3ctlphu2vdwuczgms8pk4kwfzcyx0y39jg7        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q28uzqa6hv6zqwu2mh7ygrx2unfd3mh78578eh6        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q28zah7psswpqgetx5hhygcrkxwrnpzm9uytzr9        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q29wjg4zmdjw3zdq5dtrhycyjrzrenneyxx7qg6        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q2afe9xxl0fzvv45dll7hs6t4up7eak4dxjklul        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q2afegj0a3lfp9fh3a77rmtxegy09zwa9e6djwf        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q2cef7gwy2h4yayzdrmkxtv4da2dkcpcdc6ulfh        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q2fg0n5te4w7s0echlmuavpnc7cpvhl4j5cu65c        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q2fmjfx0kwyrqmemuqn0dvgtu2nw9haplskwq5z        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q2gyfknf2zyy09qj8z5zvgupflyeydggxfazycp        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q2h802aums4yv6y3ge2zvupmzlmgdc5672zq4jf        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q2huv0cw4cqk955hx949shjuhkkhuqxq5d8592a        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q2j5uwvf8ccugw7dvdle4g77z09z0j4dqk8f89k        BTC                   0.06400000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q2jfqcmg0dcv7h4g6yhyrmx286hm5kwlevw6aqy        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q2kh0xpwz4z746gnk8vtgt838s5jg4p4jztcdet        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q2kyc3k6kxrq8e85epxrvrqefnuge3600fluc75        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q2lathuddzpaqc8kcupyykral04kp88m4s39wvf        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q2n3xe4sj9apertq2tlm5plqz37y4rr0l4mr92k        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q2qnccmhk6aam2rwpfpt5c7nnwtr9scvj85yra0        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q2r399r22lten5pqqg5dc883k0p0xynhx4pmvsc        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q2rrv8yrtk4kkvew6wg3calxqdyr6dq884cd0g0        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q2tcsyx82rxqcltuzffyy3ynu23wecqcfuaf9w6        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q2u3r967c6s3guudmuw05rmuzek708g2555s3r5        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q2u6s74szf8qle34vs3rs6lxpv6vyt8uq58qlce        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q2w3trdl04tatk8zum2mvc6wewm0mns2c3tn2ht        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q2wfmt4hwx5wnc3h9wkyhpjd7dh3ccf2p7qrsjg        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q2wsdc2hss6wjuh26wdczs4ekn6rhl243wegj6x        BTC                   0.06400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q2xleyqxtmsagtdkk3ym6cwkkhvrsct07gnr936        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q2yj46r2j3ultt826ya4kep7mwzp97w9ehaa23z        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q2yuhwqr3hspu7pt5gvh5rphpu9qrpulx584kcw        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q2zukfwp7fhsnnp0m079jscgxc2vmtek7649mvm        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q30ag4xntvkh4u3g0mz7sk8fv9wszcc24eccvuf        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q30phamu0t65waywk97ymvtkdjky7m3r9c3qqeg        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q33chjrdsulvxk8v0j5tsq7lx60ke9axduzl5hg        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q33hz5ef08kn2vsqfpqp9xhx9phhh8we2ytgpmx        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q33xpqg3afaznswpchhhj6v6flcplh9gvrwtjuc        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q3457lghglk7qe950v8suxvswxcwtd3dm4ujrtw        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q35srylql75lf42eynvkq472lxttewucdkxvsg2        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q38gd2z2l74tla8swxf7rmm6xywytpy8htvzd63        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q38uzkynmh6jnx5rxf205swkgmssfd48heg6wmc        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q39hxtus6u0gzcj90085q9v8z8cwsnxjw0tk2vl        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q39mzrqstnrgnw2eqgy3xxrfhk4g6a2twq0knhd        BTC                   0.06400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q3cjstpy85cnkj2cfmhj0ehtdjze53qwwmnml4w        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q3czy2yvedhf2wazp4nr35dn4zc286yxdg0l3m7        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q3dwmwk00c6l3yl6q2u2ptqsefpt6sm4kr3ujwt        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q3fewpse9pkruktp92rjhpazupxlgufcvhhjtze        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q3fl56y8xkr9vyfgy4cd7skgmz87mq9atugwjrk        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q3fqhu88u20fdtsapnvdt2fcvnmrz40gynpgn90        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q3gg0w07njh2rwqy8ywe7tc3vcnmrsu8p27ly49        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q3h7kcml9uu9mxt73ug2cf038quqsu5jxpyhqcw        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q3hxh7cw5665fr5eg49wq0uyv74e94had3fnmp5        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q3j60vpck48uv03wze5ycd4jwsruxsczs5x5t2d        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q3lednem9mvnl4d9xeljp8dxjl3raygflds4y4k        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q3legpqvwvdy2unp4vvx8aewfde7tygnmwefp0z        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q3m3f6759mudt2wp8hlpd0wcw364elz6rtyvh08        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q3nlrkjpknzg92ludtp28adymr3e7ktkyk4d6d4        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q3phytcalzqtml7yz34537eun93gqe2xvlfjd4q        BTC                   0.06400000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q3prq7ultfaj7qgafayd7zrx54p3ajg3p9y07fe        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q3qej9xw5pnr5dtrc456te36603y3hetcu857gu        BTC                   0.06400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q3sn0rlk5wd4x6783nnm5se35ja2f2a6ldvvkr6        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q3sqa9fn604evuwkf3z274raxdz4gn8u53tsnec        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q3ul4j8zvhztd9gm8q6lzxd63l43ud074grpc6g        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q3unx4n7u0w0py85whcnc8hrp958hdv84e6lc9n        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q3wcu0ec3t9ers4m6c87kmuzherm32gmsrtxm5g        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q3wdwqztt5hp868yr3ypafa6ax5h7xk0k8w5qrn        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q3wmsd3w84q7fq3yltrw93cf333h2xqwlnuw26f        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q3wp53pnjnc5wj27ayx3lv3gtp9r4wdwqffcqgr        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q3xcnd8vktgg4cedts35r5qvnyv6l8ur8qkpcxx        BTC                   0.06400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q3y5qe203arzm4n9sd5feeuyady3sxjkxkek4ct        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q3yn4cmex6trsc6sqeekna5pc406gfezecy3m5c        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q42f05tgtkt3clhkmd7kl5fl36e5tpsk7csj26a        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q42p53fu7chwxfzrhrd9h8gyd4rj6x5egwufvph        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q4492yn973wl6uzuz2es0l4rmqqsfmd5fwhqg3t        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q44v05sq0t8cz735x6hnjk7eth5tcdtz2d3wvt4        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q463qq80s2sqzqyvnqh6a5ap92f0dnqu84ts5qv        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q467qytmp5ahg0er5lsc70pc2hua7wjjde426n7        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q46a5j60xqqkwkylde9l8skgdh67syy4wk2hcdm        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q46lkpe0d9thl63ncf2ly5dpkvuxevpg3kt9qux        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q4724yx45gm2mwqs7v3hcdpjspyw2l9n65xahve        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q47e06q05d4mas5ffquhgw8h24ljxny2ueeknsc        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q47scdlgus2kla420rg3hlm7j3l0jyagplryq3q        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q47vmsvsy6fxqep7mns7zc07jruxph2xthcjjrv        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q49hzsqr34dmmhyuycszu6grtxah3tfn6c449gu        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q4cc96lfwk69aga8xhkvm45dqm67zqtxwagmd9u        BTC                   0.06400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q4d4hdy33t37jtljwdpfn45p2wywwf5vy7avfqx        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q4dprrdyhxq2ndvmrk2s9ej9394vtgklad5rvd2        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q4e48545wssds72fjfnp8y67hrf8e980crdm2mq        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q4eke9ke7grkfxgdck8jpk2yxjtskf4eq8uvsje        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q4eqhtms7z4hm3rfjt254wxkguyljmjl83t6hrq        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q4fc5tp8n4pt5m6ul8r7zk66sdtke6jrp5kns7s        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q4j4nml030jv9rmnqv74nnrpyxpewgjvxxj70p8        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q4lcs7rgvelm7jpzsfuaujmcagv32wu8e72fw0d        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q4mp6me5vku30xcdvfq3skeyuq5us4ar5eyd7kh        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q4nep9mpm5rvy8hwkvqh6rzzj89vlr22uc2wea3        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q4nn0a6582mmah8lkx539f8qrrl9zfeaygr8t2z        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q4qj44juvq8r2p2557zqnqz68pnyrql3hrkkjse        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q4reu5wf39lh6drpcznplz3p9nnl2n7nwzkff0h        BTC                   0.06400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q4rwrfxnuuqg053hre8478zch4pflhraw5t2jtx        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q4saxf2hhd2k07gn4m42dpa9kpq7e34gg3sywgp        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q4u6tgr3ht5gx2x0usp6xdzrpm9h0lvgz3ps73c        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q4u6tsew479v0vk877e2e7tzlkv34vnw0nn2azy        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q4uatcr9dp8p0ryx0sqfaf74h5y7qs9n9x82neq        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q4vppkjkmguwfz3940xeaq5jp2823v6mhp69yht        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q4vw8kgp7nvdqwt2fysda4rhp65kcrx0prte2pk        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q4wac6uvdmvf3qrlp4avwcgtydner9knt5a6q99        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q4wpaldtzlzgd4uelguxvsjt04uqtksk0gvhr37        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q505cpw582w7xpc3exnlqdqswp9cnc6nqvl6tqh        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q5482p6z2n33s0gw2y5u6k3cvythg2lx8texzh7        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q54zfsrrr87g8vlsxjz82vlfvxuchup5d8f8ega        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q55q89c6l04jdrgrh6m9gggnnz08q4q90cws7rz        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q56ggfywszwc38csyylk4jdhk50j9fnc9pcaq3t        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q56zzgnpk590amn3g8fycewn4enm8hwhryxcr96        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q575w5ukx30msquzv7hg69pe24qa3g5njk3cpj0        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q577vd75pq3nleuypykuk0588y8gdgug9zghmyq        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q57anv4df6ts0wntv6ssy9mudddalqysdjanme7        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q57kncgveng8pq73xtx6v06wa8a4x2e2qwj489t        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q59df4ksdxnahauuxlg8hq7uyxxfvrd73x55z8n        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q59sn9pqcgdtlxw3a44kqn5l2p4cm3qaxymwec8        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q59ysg90tk037l9gpm0tamsh9ftn5sw5nu22gnu        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q5a7e6u06nvffmdrscz25hux83g23ntgsey7d50        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q5amy7vnmtz0rlt7fx2teh442pu86guh7ldnzl4        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q5dgfuflzhcc984wxe9upp565qsfcxvm7h39ths        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q5djrlgf3d87h8h8ksd9dlve8l5vwxl5dgfq7h9        BTC                   0.06400000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q5ej5z7eqxcunzgdmt9npftevsvl7ud380x05z6        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q5fefcjjhhgk8kajr2rz2yj5sj0288l2sk735x8        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q5jc8xs4fd6jvj4xjs0p7m0wr8x3fj9nc308dvw        BTC                   0.06400000 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1q5k9lvhnxanlvk8dmqsxg2aa6fkl9unc5ej3wmv        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q5kx9l4rv2mkuna73dtrttvu8s5y843zhymf80u        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q5l7522axtv56y083v3w6e8e2cctj0fh8mxdc8p        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q5mldv3xge69kqrqrvu4fw6xma7pe3qvpz2lzut        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q5mvq00yyzyluekzpl5469e68yuajn3s7ds3s9p        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q5n649nxegpak8c6hqdafz3eavatglphwfw2wjr        BTC                   0.06400000 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1q5qgv04nc5y2x3l4dfkjkp6r8w8v23x6ays2cc6        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q5qx0terrqqvgapdt9sfgkuls6x3gv9x2del3jm        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q5tc7x4smtmuqdahe5kc2973g9tetxzasj0as4v        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q5tlsgh0c8tssw2af8kcltrwfmqh4zddcjvhz60        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q5trkyh7wss59p003uyrhr09jpvfg997mn6mwdv        BTC                   0.06400000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q5vgaa4zmyj9zde6aaff9p6da7ha0kknpsedhm0        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q5w7ekz8qcczzdpd3h8ha7vlyrufp3h9wz85awr        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q5xkghujqcmdc0r84k2xxz6ed8hlhxyrg3sck9v        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q5xra8yr608xfacz2wta9r607qsh0tmyzk0qtd4        BTC                   0.06400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q5y0yj08n7j0u5gllj9spxuckpduzxcnvmmpxu8        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q5yqycvl8d620r74yar5ter6kyg2gm799nrh0d9        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q5yw7lxha4sr4dcd432vxvwlr958lmedt52p6f7        BTC                   0.06400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q5z56u90mxx6hef7ty02txplm8kqzu44tpmqwmv        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q5zdjx80c08k7vsf6v0zldsh2vwduumrt984vwv        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q5zpz2geuglk6h0vdtm473uc6ydge0stkrkmcnh        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q5ztfrjlxme6a7w5n72hnguw3n7nre5zkmua9nk        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q60c2qg85846q73jhc7wwcxpeu9yqfgsj6txs08        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q60h4fqreu2sucuqw0rfc0fvp8fkl0wjpgqqxee        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q628dum55ey4krl4nqwmcqnygwuv03zy7hn6f4u        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q628vrf3p62l24tkwhk3ypqwzjumhu4j26sw4w2        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q62fnwanc80xd590rs7jntuchrrlc35ksng9dp9        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q65plq4m5kdxkkkt4gsh73z7pgppam4nkp48wpv        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q66p39cnmq4fq32lv59gx3zuzc46hhzwdu4cgfx        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q670txej3hs3ufy6j4x2mhcwh60nwrtyzep7use        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q67r6yx4hgp7tksf2ljlgfwmld8hyjhl5r5ng23        BTC                   0.06400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q69m5ng9kz2hz3yy6jyfjzv74ah8xxt27lpq4m5        BTC                   0.06400000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q69pnne3ynhr8ya9syxzhe6h9gt4udt3tqzntkk        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q6atwnqkp5z4899ry2vsjkdgyyxm6rpn33vjhh2        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q6cdlq8ag0xg37yfhzgwagxs0j4vm2us2fxq2nj        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q6d2ama259e0c8w7rltpffk5g6d6n8qm4qx442m        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q6ey73z3quxknwvhnwkmxtrn5dl9mrm87jc73v8        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q6fslzhn2gj7fygz2cul52j88w43t4x4c3qklgt        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q6g7hac0c37cje8z3tywdg8kakaj8q72kq5armk        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q6gdl680stg9fekgnscga4uqc8tyq6xf8f42s7z        BTC                   0.06400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q6gpu5fphr4xt77mt7kyq52w2etektnnl7dlakq        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q6h50kpugs9242qpsnh9xy03tnhullkxurkuezt        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q6je4zku79p0ma7w4zqu7smghtad2xr2d7lp99j        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q6je6v5tjyy7mq0d032s479280huv6lwae4lsk8        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q6kg0txu60jrlvn499an44mr4rjerrj5amywsa9        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q6kgcpgh98xzupw5892zfyslk0ellzkjt08tmhk        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q6lsvtljyqm7h7e9wgyshwwl0gy99vcsmxzs08j        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q6mpjxnmvhzva8en0ntgw9wml983sxquf3k8s8v        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q6nk09qc4d8qezjh8qag0w6mdk475zsz82l4u0m        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q6ns5v0hreyphj85drw7u909zfkqed2muz2kknc        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q6pkm9gj2leryme3p9g7esfh0cxpxefvwwpt0qa        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q6ptav3h6ys5s7uqh2p6xcvfwv99mvgekhlvch3        BTC                   0.06400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q6px2qfsvhhjxdvq8pymvh6kjx9d5yesc6zjjcf        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q6qufm3wgdwxahjnrt5cf39rum7nl6uw7mye957        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q6ryruagelwsqwwv77kqs0vmq0sjxclr8udnrap        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q6s9pgftffyt3ncnwp75c38hu0whkfvnzxzsmnn        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q6tzu6hpg3e7qmavzkyyt50fv937rdr89fpxq4d        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q6umeee63grcrm4lj49lyeerfvqzcp8v8erxdxf        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q6vlkc9sl6a7cudeqc4ge64gaz376xwj3z295h0        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q6werg7nlhx26t9pautjyuahu98hyzanhcrmr50        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q6wrzxqe8pe7ygcqh6ywrd39e3htx93pje0rrd3        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q6xyv2y80z4atregc0useypvrryutx3ugh9dps8        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q6yj4azke276fle5zjcglerjwvrzf37h5s6y6pp        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q707l29z9c7l4dc6py4fpwhtr4ry3ussj7lr8n3        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q70gq2gzjhfr70rzx45kc0x4wf2g9qmhpcdax88        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q70k3eduy7n0k8mg0ruzmzdrw9630teyyv8azrn        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q72etdpz6gepjse32gkrh6sjl070yrklp4fe0uu        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q7326ddr9gwgjaffj63fqdtfk69v3hfgljl4xn8        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q739vwvhp5sw8zyynuhy4trylq0pvtauq0a6eyp        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q73kpyp4d5js4pas5xtzz3j3xaayzqysdwa5a65        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q73kueqt5lpc8atkqxvy3tt5hewzf7ruc9havrn        BTC                   0.06400000 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1q74kq4jjrsdus5pklvz5zwzezmkf24fzgcx8hee        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q756dqldnunf3adpcqy2smk6rls55r73dfaa033        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q768fnnm3lzydsq99apgmuuzseyxsh7kpfue60p        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q773gg0qxsgtp0z5j4hpwp8snu6fw7wjguxdptz        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q77f4x6pu7sg50m6dvfmsrn9835rjsjgwh6yptr        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q785pz2drnsgvplxstn6hdm2w0s5wcw9lfl6k7h        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q787awhe6hgd7y5m2wrnewaqdy3ckk52ky5x54t        BTC                   0.06400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q78gdeej3n8xu9tp9plj754q5dw8y0u3067nphn        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q78n20vydh7u6dztnergyfswkjzpcez3ee7yr2r        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q79ujrpskh0pasfqsvn4f039c366rvxevgdpp35        BTC                   0.06400000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q7a3sfqv5sy85mgssk04xpld63xyhut0lqf34dd        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q7agefsq903mhvqmf7zel9cr789pq8rq55cn0ey        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q7ahah8uyu4v28tq0sr4lwlrp98fj96pfxqklpv        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q7ayelkk7tcmn6khqdkg8vhvjwkl0hunq90qrac        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q7dg2h29uy05hnu5t8r9jf6eguskmhqc03a8xf9        BTC                   0.06400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q7e4xqx2emmkc0rs33euyrqdedacm05tnm6trrf        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q7euwm9r74r0euyuxxhxdd9nl65ua5wl9ylr7wd        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q7fs4up475tte5mxdspj28xdl0nwyvjtmy5sf3v        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q7ftqgll3l97ep3le5k9kgeydec77xr5mu8ur26        BTC                   0.06400000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q7gljarje20gmykc0vmhlt8ueudc690uda58srn        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q7gtn7jzdsxq2qseu4whcmwkwedjy50nq6u8etg        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q7hccthpfgu5c8nkezwga2sl7h5wjrgyanz002y        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q7hnw55yshe30h8p0ggud3nw0j7mr0xwxzn7jnn        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q7hpa7aq7kgu8hlnh3yyta4whvtx59rn56mzy5r        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q7hpjy9jsmkmdh06zwhe2n6ygfcyj8jv5f0gy9r        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q7htr9zfuzlxmk78wl7hzuhlv926tey2d9ssm3r        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q7j6vvjvjqzj0lj2p7e8aaawrxjs8tdy9e8nthz        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q7kfgq9sqvh8z695yup6367k03ekq5h360c2z7s        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q7kx40r59z9m82za6z59lfzj90dvntpxu57vkgs        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q7mn6f8mudp7zp2qepstpgrdptc8txz7yc07sk2        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q7pe7v8srn2klwusets659tqk6yrqk804uqw5a6        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q7qd0hs2u2e8p2j3spj3dqvffcsmfuv7m03v0qw        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q7qq7gfy0xp3m2maf4tzydd37pkynkemdvpp7ue        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q7rz7hljnmt67xke7ppfncz0p3s06km7fk3x9u5        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q7s49eup4jzws3phkw3sf7f48gx0qapg6nxwaws        BTC                   0.06400000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q7t4xqgtpxrfssq5e42z4sprwnmk2zwprk33tn0        BTC                   0.06400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q7tdc7mf5m6j3wkkg0ec6u4dyf39udyd6gttpsp        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q7v3sl97dqq34n7mmc83hhcxsgder7qxhpwr0h5        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q7wgkmkhxvjewwpns5xkqkm5d37e8wjwwv57pm8        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q7ywcadk0093j79rrekvlemhr0ajqhkl2ds99l0        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q7zc3agtpplgg5dm0fz5444lelnhwez587hjnj5        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q807jaze304qtf8n2932rqure9svhtmw608fy4p        BTC                   0.06400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q82pymg0je2akgzqy7pp2rtde7pkarrg7rdqwm7        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q82xa49nr69hdpawu5zqnczcq6t5cgyy2snacjv        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q839w8styh42a3nqd6y5k8ufg686zq0ruhg3zwf        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q83jj7y53dfx7hdehrq47myc6nsvt96gsyce5yy        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q83rqndarzz0gsxcl6qg5fk98mg7ys706u83hmy        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q83wqrv764a8yjnwjsuhhn6y5lakqs6jf8k3jzq        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q84mx2d9waz5ldu9k88le0ru9de7d3yt3lnfe05        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q84y6exx005tluu4prczefdjmm74cy4cfynjjxr        BTC                   0.06400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q85mxedhqsyzxrmhcjr56rsy5lvstyh54fy25hd        BTC                   0.06400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q85n20425vvtyx84rsrr3t07e3lq80y3y987ncp        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q85v4y389qlenjq4ulqgepfnhghat9zz662ez2n        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q87vmxzg5nmglpwhfkxxekahfjxmuwe56vu4cd5        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q89d65q3dxaedtf98trr7vhlfwt7j934rqnad5h        BTC                   0.06400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q89p5llj5wqmpael8fk9u9hg4yapr2yug4c4psm        BTC                   0.06400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q8a74nhqrg07afmgdrjlfezvl9t9k86zzys0jqx        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q8ahftvtquxmcr5ed8sgan0tnrcjlwynl7pjhve        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q8alwe3v9z0l68jlk7525mfppquk9nmvxu6rwln        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q8aq0fpq52znglc0sr2ahf9spew3k5r2kn4k5uv        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q8av4ytuktraw7dshuyw6ldac99jd56rwyrx0lt        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q8ccu7gydrlvtu3njgjqy2cqt98lz52dvfdnwu2        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q8cr2y9082uqdcy6t5jpvfca8z8f6h6jsteffsz        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q8cxvfv7vpcqy5kkuquknr9559yz9pemvnf96gt        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q8cylqnykf9qcfwk3q00j3egh7g3kdclmj58vvu        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q8dchq0usnd7mxdssca2448uycjzufkvnftmatk        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q8el2xm42x89jca9fcrgfku9ha983fty7a9k7st        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q8gm28h0zdf0h7rjjj3vyjhaa70yw8s2fkntj04        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q8gpjs2l7eqc029gyu5nr93spn367dkep9kfkte        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q8hp9fd0p2xxqes864yedk4l5wja4ylge863esk        BTC                   0.06400000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q8jkdakfull93tzqpns5u4j7y3xhskku39q6gwe        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q8k0jp3u0earfwvhzpseh8rnlngwg383a06090g        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q8k9r69uk5ms4zjeqqn3s7qudx75jptfxjzekew        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q8kvf6w75lt96jj4tn7uhew0tjdjcq3yrewcp4j        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q8l2ktdnjxryzekhl9nd0azhs9ksftj6nkr2cn7        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q8lep9jsxdpecpr7qu309vgmgtga3u0daydjqpx        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q8pg2egx777lyft3fpa3f0p3unynsa2yew4exa8        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q8pnu0ytguem7mzlxtptptwnp9s289m6l94uadk        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q8pwj2raw5sf8thwngqx7lwh66ldxutfqg3l3rl        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q8qawy9mgqfekq3h6spsf9k5wpqx48a35fqfyz9        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q8r2w4kvzlrkl4e66pv0g8llak52wnj38d52gc5        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q8s2u3d7zf28r2eq53rvw3pf267jhuux4wsr88r        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q8s533fr5u86fg49jlydm6qyg8m5m637lk8yj4t        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q8t6my9wfdgujcwh0lwqgrdmjx5zwwkve7rqfg8        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q8ucqk6cch79surdgvgp96ha58jnu7pnlsapagg        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q8vagfxmr3f60kac9gu7srpkenxdf5axmquah5k        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q8w8lhtu5agm9lm70d48xl82n7y4peul0kwvrfc        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q8wdyhtpjeyfs0qty7xg9394wzvzwrtqxupa664        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q8x0meseh8wtqhahkj37c83npt4vslg29ssvjwk        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q8xkfrnsadympt93fs5n2f32yf45c9qj3pfaf3n        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q8xypxxd5g75ut6xya6k56wgr67fuln8pk66pel        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q8y7zhsdsqdw5d9nekgh6r60zzz2mgzp8aq8qav        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q8ze82gnnlc48aee3hyapa59jxtvlafcgkdpkwd        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q90fetzlk75avqu4a4u982mhay58xhw0dpg4fjh        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q90wdea8mym5fc005vpfgtsup9ave5zlujmymak        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q90yj4e5cpt80kv98vehn8830s9duljay56z5c9        BTC                   0.06400000 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1q92hejnednhgh67s845upm90883zpevs25wwd24        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q92xmyugavlf5wahyhagwuufcu9j2guw8cga79t        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q93f7xq7r2s5q6u5ttzjr47vvlrwj3hy8zmshsp        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q944fexanc7zg5zzve6rg60jfke9yr7fseqkru9        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q946k97xl8xlhtvu7gwz6q9tflrgpa4dkhk7p2y        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q94wlvw4qj655qdzu4t0hte53c88xx0e4q9u09z        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q94xf8rj9p6hau8q9ekahqf48g07wkakujgcvjy        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q94xttzd05ry2y9k6h2uguguurleyqayfmqjnyh        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q95znm8mkza0exk3pwkxt3g4n454arwyhwjz5u2        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q96znvt946qdlhzwwdpvaq6vudxs8fv8vwtsa06        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q9a9kgrpwft7dktq9fgfn4wp9lda87fsxjrywdc        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q9anthartdlnckhmcn9hfvdwpnh40jqam7z3q32        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q9avqfsaz74pl7eppnvgy5el7rpy5l6cg45dy0s        BTC                   0.06400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q9dl0d7pmu6q9mwu4zxqsxsm3gw2seqtt7c38y3        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q9e4lntsguscew4zpzt53nhl65hyx23l32hugnj        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q9f3k5k5992ymmmcjqxzfmz44wka5pnwmczdqk2        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q9fw4x949vmdf48n6sexz9q3r67kdlw4ed6fd0c        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q9gpy2f62le0ud2drhhhy3epandvv54hvk7yzal        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q9h3h46ua0aty637wl5ythqep3xks7zemqep3cm        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q9jud4hnv287lvr6eqj3t9t7w9kevl9xhj6ww4z        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q9lzwvgsm36ya8v9g2eyw5x5sr7g6pjx930muv0        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q9m7vgvh69uhrnqddaczktwld7w85x932lvfkzn        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q9nqn2l2e2jfaddnqcchztk80fkuldeq4k88fk9        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q9nujtawhpqcs4mwde6dw73ddwg3kfj9gjmxhr3        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q9r3h8n30vxwv4kvclp7uht8dtmt757zagvgedr        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q9rtc34alfnmgzu3vu9fkad9hhrnm7gltryvh2p        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q9syht9tlmmcl376wrk7jl6e3yfvtp44udrah9d        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q9u0drvddldsm2cx6tehntzjprpq84d3fksl6tt        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q9ucy8gplspakp5c4ytvfa6p3cvtjz84t5469p8        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q9vn8c92f5zcwrn8fa4y00q4fklgswkklcdlyan        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q9vnj83f9p8rw65vjlr7s7kcw84u836t3vvvxkz        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q9wuanw9k300k52tczr9gf43g944krqj3uks6y3        BTC                   0.06400000 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1q9ze3gz5hgpj6wlns5rmfvvqqglw2zxfpg739fa        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qa0mtqk84pdpq4ngwqxm6xfprg8jea2h4y39nce        BTC                   0.06400000 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qa2dta774x4sunhlfgw5fyaldgwxu9ypg38eusj        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qa3yfv4y0r5cdrv5r5p9gectknkgv0ws5udrss5        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qa4uydylv70wfdt8vnhuhm2dvz5gdjw7408xy04        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qa58f4sd3c7dhvp89a0xqce57t9cj35vmagcqws        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qa5cfdgt05c6hnmy2ld6v6hmquj2rpnszpgjx27        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qa6a8qqf0uw80ezyfauarhqrd6nwjaeer8u34su        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qa6e6rqm45w3y9jea5sa3yc3lm6hy4qhk549yvk        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qa6qqgxxwcdysg2qpwmvlhva6u8an5ezrdtu7p7        BTC                   0.06400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qa89cuy9j6qxv7ulc7x9c548smg80suv468g57c        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qa8gkfa4y0qf7jnkrqy085q8cv555em84ajdxlp        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qaa7q223cg73eewjpsnlmmqzywu6mad92whmeyq        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qadft4sz6r9ql5w08fk5vq6vr2qaghprzevw74v        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qaehfu9e2c5appne2w6ts5nzm3jk7l8hg2tm8e2        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qaf8rzw56jvxeplh60ha8k2r2drpasern000xnu        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qafjl5cjscl4yhvfynp6wkdmxxqmmuzuh954qpk        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qafw65zm82xa5tujssce3yq5a7hkhd98x9yx4da        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qagv4360t53cz90vu5dcxvvneune2qu4x5zz0r3        BTC                   0.06400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qaks80xce8ev7yjplspur9dm903dxjfe2hkg97j        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qakzk4ac0u7hljfnfk63crsh0jqyn9ukxrule5q        BTC                   0.06400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qamq4e8t7ssh3cfk9hpfguaxdsgh5hl8n8ugjq7        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qandnjkjxg8fzvnssu0a8ffjkqa8u99t582j4wf        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qankz7ju70l5vs9gpu34lh2hd2ppn5y88vn0fvs        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qanp9twn2dup9swxpxqfw2jcytwcd8x35cmu6l6        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qaqhrj4quufyhkl8tvxxr45462u4nv2mds73n42        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qard0nx9ndxewq7m0e2upqtdz8kemu6wljhfaj8        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qarr9n76k42rruunsfed9g2an9rxuq6rcmxcm4c        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qascfj8r6v3cr340gmxv57c8axkf6zsjxpzhxg9        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qasvsvy7fzq84khk4z5k3n44se9h9zpqtjknnk7        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qaty8k5nc270ylhezcv78qdc360zjhdrg3935m3        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qav7v5p6yt857kzqvm2unqlyemfwp3dmaarhr5l        BTC                   0.06400000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qav8e30k26skm0pncyv545xxw9p3t9pe6rxfvr4        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qavgqpwuf5j5cp59kmhmasqje88ps7r4ugz2zjn        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qawk38kmpk7t9t6a4295cfplx66axm9hc3rj8sd        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qawulwjkqlj88wjamrvraa0g9wp20vut0hzlhvg        BTC                   0.06400000 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qaxrwln79uc6eg63np0jt75aps23uneucc4mkx8        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qaz4dpakjrwn7hfzqxzju653868pd5kdgx69nmn        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qazf3gkudmfjjzk0x0vpp0f5k2r6xmh0rh2gfz4        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qc0njlhc7duvv9m9pu4avveeh7xklef9lzn3rkj        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qc0wv858l86nkz9m333fh78ekyeq0rcxxmfemkk        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qc2365rlr9x922awplalry7sye0jsc43zxegsf9        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qc2hh33vka6l47y69n2n0njyfc2580sg8hzy6q4        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qc2lj43ax49ex87mmcf9flewgvq303t850s29qg        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qc3gx092crsxff39qtlr05m0jk9sv6zmsmj708g        BTC                   0.06400000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qc4dlhz7scqus6fasrdqv6u0cfktnu76ds7zmuj        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qc4jnjk4cph279eg2fhhwnd2xfxuzygrxk04ssc        BTC                   0.06400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qc5m4a2ekvy0gws25nqz4h2nfd4elahf5jrdqps        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qc6j00fmflt6h4w76dqadlmaxwkxv5hgal09tvd        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qc8fcdjflrkwem2559juaj6t7ammjep5d8af699        BTC                   0.06400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qc8fqvdrxsa4j39tc3rs52tm47qyjg4sgkfklqd        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qc9cfewy9ynyacz92nwxu8x64hhsexp0k45ragl        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qc9cu2as92ncwlnv9tjhmcmn4z4mvhulwu7aw6l        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qc9y4y02nv3txld067zxz445p0mt4v2gapjvlgl        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qcdux6wrwfkrfzm67lghh7u6d3r6yajpzsn9exs        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qcek4gjqxme8mdwzn5pf7zqe0yhm6828dt58r3u        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qcel039gkcdqu760ckd5v72zx3jc0nlprrn5fnc        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qcelus36ej6gm6vydaw3udg3ha7tgzr5gxafu3y        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qceqfh6afvma8jeraj7fsnhm8egjul4vwvpshha        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qcjdy7fgkj7yz9cvtj2lx9s64nh63g8qvu43lyd        BTC                   0.06400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qck5tfhypd4ru7znyzvn9kvakdmyfhsglwsswmm        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qckp5hsc6y0y5s8z90demgnwelgkt5x34gq9up5        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qclf4nffdmn4k5qhk7zw0nel9fjeu8da5d2dztc        BTC                   0.06400000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qclq4snk3r8l4sy9z7v5t8arrtn6fq3tx7smr02        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qcnax9hghe8wrm2slte2x56wntt0n8e7pdg4cpv        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qcqzvlz882vwxc2jez523egxka23ck9jldxw04f        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qcra7pvuhux4algk90zl8ypjcx9u8me04h83pcq        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qcrznemld9x7v8d06sn86f0wqz5grr2rkypm2ec        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qctled8cnr4c4lkvre9mtad6t9twkv8tedaalxj        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qcu06vydaxkl3hlrrm3lw7sp2z90xp23zzx8ual        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qcu9zvvgl7cz5rpjx685zsyt2da4vkr3rgs2wem        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qcv59ccwlxtnguf6tn0lq0mh8h46tydt0yxgtsr        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qcv7qq6k5cn8p96srklqsmsd0ra466yq2vx2c7n        BTC                   0.06400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qcweueqpzg2ufvlqfcfqkxt53ajhvpwsldwmt65        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qcww7vkusn7zwhkn8sw9ufhg28lgqs3mfxhmuly        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qcx6t3wp7xc0ufrepedfm233v5fjndwkj9x4qkh        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qcx7cp8pcu0wrp4jct47rvkmxwkm2p58rtx0vql        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qcxh2js4uwf9wtscmn3gn5pfmcdl6gxyqs3dukk        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qcyznjwtkw5796ssp27hr3pvwwhprsckppx50tq        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qd2yyfvlm63ld4sknmu5nt3nr8l08nsftuf55we        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qd37kk6heruvn3jm0ggkmnkuxzw69q7y6mvft32        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qd44m5ht609lmp58jqlkyvjhymqsnskghsu3ldh        BTC                   0.06400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qd4ra2mav009dxrxxafc37n2v6srr89vfm7tfcq        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qd580crjgxpy3rfj8w97yp3ztlp6fcdvjuj2vkq        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qd5wmszemr5d6pa7l8v0h5d5mw4p73duh2pkjqx        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qd6txwh5rts6hhh6knt6gxgx7r2zxt9u28ufnsh        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qd7479lh2m3xruk5q66huy2y0vuk8r04a66ypfm        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qd7czly34uawlhftrf92nzlhdpxm3ugmxhssr0e        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qd80se84ejj306xey5xladn7704ph3vzx80m2y2        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qd8gukf95lglf46w7zyv6de64cgk7v48ryzm6x9        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qd8h0ezh5qynxq9wx4xduzgxhq9dn9cg273zekz        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qd8pjju0dn6hqzwrs3c9s4qy7fw07p6n7lszmhn        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qd90hw6t5598tthkfp8xyur66wmutnp3qgwhw4k        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qd9qsh2a07329clalnw2f7a7vldr53kvg2war90        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qda4yq6u57q252d23cl8yfyrwnmsvr3et6uceml        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qda4zr6c4gwmvqks7tlecg7gn8y24nam85urefh        BTC                   0.06400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qda5x4dltpfzk663wxndr95l5448yafggq0vxhq        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qdckdktkx33hm80hrmwg06rn4p9cqgmcmulerd8        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qdfkzvdphgzz9snpgl6q8pewuc389f594j7ru0k        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qdh2wf6snlhpgzkyervnd750v4hzsw28f6l2j5c        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qdh99w93empyhq09gn7dgtr3967a5rdrjdjx0d8        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qdhse7vmv04trtqsqacf44l2n5a34q93lhzhwfr        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qdjgawvq360j9juu06m3lrvgntu3z7y7mvk2tsp        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qdku433t0qut3mhe0df7zsjqdcggsxe0j7x3e04        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qdkwfy8g9gkhqnnj9k6n30tmkwu3a762adq8x7l        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qdlturaucwun2ka0g9emcw83qq2vr9fcq837e6q        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qdm9ypzxfy8e7ksvktu7tmzlhlxq2kg7cemg2yp        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qdp2w7r9r0dx4hqe9zsujy6eqy687s7ru7xs566        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qdps8zs2cvj5yhj3knha7fmyu6uzjxw33fw64q6        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qdv049hxe9v4tfr8nmgykrtwtgctd7lgwdct290        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qdwvhzg3xmrqkzhk8d2hcwk3vpqe0stf00g52yn        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qdyg84at5se87kunggh3e0kcwvft5hkuua6804j        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qdza37afkramu77n5tcq82kux5xptfw23xrx5wy        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qdzhj5qwy8cqda4ghm5znyc26lszmyme7qa99qa        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qe0gyp20wphuq9v2y9zncn8gshj98s0gwz4fkd3        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qe4232h4l85g73ylvj3ra26akxe05ar6qhrkamj        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qe50ed0u805fpu8pfatau4pw9006jnj0lh9j6pe        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qe5dd3ewza47nqz22lcngr90ktg4q8zv09ph8e8        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qe66ge9v8vf3prthp5vyj420ly04ersrdjpg4za        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qe7j65rw8wv0shmfu3crhetk2j2atccaf8ne8vj        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qe7qts6gp9mgpmmldpzdfynw5thqfnd3n8vmjqq        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qe90hewg3vaqkfh0k67e7ywc9hxajfeuvyalrg3        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qe94tpgseatlqfhclskvry6kgau92tm3pla9jg4        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qe98ca720x9awsl294zynzyav439qd3npzdyf7m        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qe9drxjuuea9erezd8qfj5ygx7wfl4d8q9ymhyx        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qea0fw0uvnvxtzwjg7u8l2uykdqy2w2mzm0l3cm        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qeattl3e2t7phss2akd05szmuvchqhxjrqlavhh        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qec5g0auh0rlt07vn7f8zztpzpm86hqtn37fwfe        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qecnwdruxz06d5xvrj58999m74e46zxz92a9pjd        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qedfh86atqwky2xnv9u2drdr4273303ch0zjc9l        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qedvkqyam723ys0e7a6gl05ucuvaay2drx5yxjk        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qees0jfr86c2dpnu3t3mxv292e4j8m8fpxd80l8        BTC                   0.06400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qeevlkh6ayfw7kv5e82xl3tjg5ere4xhc2xet8q        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qeg3kkux2m6k2aj7w6zw9vkp9h7rdmvek59lvrc        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qeg84sngwclxyxruu9cl5fdk3csdcyu7e8cqtlh        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qejrave4n7pax9gny4g2uhu22mlquhfjhcrmfdk        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qejy5fwcm0txqlz70p2x8hld0ulamveeezpvt8u        BTC                   0.06400000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qek69x5f2cajddhzhwkkqe4l737me0dz4m03k0n        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qektex6epj80kw43qmt7s2mtujktnxacwc2y24z        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qelhllgt08z0g4sf7tac9e3ttqasa5m5n9slq0f        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qelhwktc3lvcdn7xz475pfts4g97p7etxatzven        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qeqezqdzz03zvgc0xpstmjc2vllxsju43rgq7rj        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qeqrqrstztye6uj3zue5mfdwvn4ghy50pkg8puj        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qer92vu8q7vgh5dts2fmfgpmn5ty79x6ft6ckxn        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qesms9hxvqnmfmjlmdhrsz3y7jpe2v75ecdt27r        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qesrjqeejzhtp55r6fvv0d2n2tr37mg6fgr60zv        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qesvawfaezwfqhxx3yl2qlm4rtz5m3snlqu9yjk        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qewmnp6xemstnh32hgvn8u2dkv4aq82htcakry4        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qewxk0zf5m0x4vtqaph75xkcf7y7pvt74rc4xkh        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qeyd9u5u853u64dfrycmhqf3xvnldjulmvalrak        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qeyjc9uqehg0h9h8xvsl72gk7k2r3rx5mw98m09        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qeznv3hmdkxxfujwhyaxp43jpvhlnh600zwnl09        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qezyh6fh0pxyz9s0p4psmrnfx4h8qaqxczr3kg6        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qf0rdlexhetef6uq2r307pq8d32ft7ruaa7x07s        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qf2q865h7l6x0s4ljtrq3gsnylppcwv6ayf03hw        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qf2wc8nmarcjsjmezpjf05rywj96hvlc8xmw6h8        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qf3cv2zvrhs30lrph8sjxnfxdmxpzegp448twt5        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qf3zr8ywva9x5wrex390rtscdlkztcssg7zxvhj        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qf4gz46s8gd9rws24luuyf59lhpmzfcmgmr9vwm        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qf4uvgjrshmutpq646rhuc6vvd4et7tcq64xpe3        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qf6cy8v7p9wjm7gy2gumqhysph8x0xdertta6xs        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qf80g4jkagq4r7slvw5jwkmtqgpd52s7ytjktph        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qfakzu4hgmv92l6u4xkeey2sfhck2a0m5hrxtnv        BTC                   0.06400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qfc5gwwv0564r5wnl07jgyh5xw5km8fcmscxv68        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qfc7cd44r4zkztc73c88tx788haxw7n8kfdjayn        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qfc7kcgjhracg4u6677ep0r3g7rpmzrhlq45967        BTC                   0.06400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qfd5gfmtnz2dpu3wqrwenscj0vtptp3w73q6j8f        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qfdn8echqjap93nrdrha0gj8fs76afw4swt0efq        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qfdyukxaserzrfre8g8lm2uhxcvh8lemzp5ntft        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qfec8wcyv6p8ndsqf4ftspy6st74ua8g0du6qf4        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qfef39gzrq8r43xgmmwaq8wld0r082suk0hnhqg        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qfef4dz88wkcn5nr5u783n44cu7vvctstmdgtru        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qfgqpjg9kcef3vp0754nhsvwsn9m6gahx9e4jn5        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qfgwywj8p04gdam3rlgl27d8wscj8e2m7ntlgfs        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qfh22k3rfqpace7rwakr20ehhuc5s6kpu30427z        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qfh39tjyp9pet9xcw79fpx2g55saaes63vtz29n        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qfhc9ws7d7fwmk3su8nds5wcj5h5sv7lxh268d6        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qfhmdlqkjlnlwhrzx575gycgpj32yh3ckwmqzks        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qfhvfc40m2gk9ez6lxdwsr63pss8xc6dar3apcy        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qfjgle3fgxtdd2q7p3a0jjhcz4uhswvt0s8w8ld        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qfjnsck53ygxjk0x0jt8h53uyu7xnacr96kt7ug        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qfjuttrn3t8n8uw6u3j9mj9uledy3ufdc07cg8w        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qfjxesj0tcnz7p4fu3pcgaqrw43ggrflw52sr2a        BTC                   0.06400000 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qfljpf0egkpgpgav63gsxfn2ex8x9wajg9as29v        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qfm7z8lfrpvgdj5slnec0sz0jgptlz2r8hp4e6r        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qfmhca6q6uzu3ssqjnacleh86lsxwee8ctcfcyq        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qfmmkmhdqrcqaj3qex2xq4caspqcyx2xuysurd9        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qfq3a6esutf8f7xku9u46z3p9qvmzckczc3s4vc        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qfqpf930gzgzl32xfpxals59d4hq02qffgqukrn        BTC                   0.06400000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qfqx0vcksw5zy4sxargffg3vcktlv2n5q08yul9        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qfr2gdl3uztp508km3p3cunucval5wg3zd4eka8        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qfrmamkg2xh6hta0200hqspps4qhcljsq55g4xd        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qfspvfl4gtvpee33ftzu9hhftu7cepqp7xlzlau        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qfsvec364n9hnd03nx37n8pm9c8ds5rlw4la45q        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qfuhx476zsd8jsdxt8754g59ffcwavug8navd3z        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qfxk0h8drnsa7ydamn3gcczyus0ywh4t90ke2qy        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qfxvurvrrzfrkh4e8hapm5dmy2fjf60ruq0vyqg        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qg0jfykw64xfwrj6vvfnm2tcphgpr35c0kecl25        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qg2ngq79z7knhm2e2hv9mnwkf356a77kz7q4ds4        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qg2vjfke7l7lu54mgljy904673qv6r2zjvv9pf9        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qg49yh6e6uqam4qdqpw954e3edpkczq9wl7tv6p        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qg7cglqde98wd7cdvezmgwxxuwnw90f27cj9uke        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qg82xuwhy07y7759m0mfzhwjv3l9jr02dqdjzxg        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qg8u4r36tfz3jkqhaqemk6yea8k408cy3v22yaa        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qg92l2gce7mvwkxdy3x9ykl7gw7eujl8arp4r7p        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qg97anaw4d2k8e38sf8ep897g8ylcuwwf9g2jq0        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qg9sgmln8ak2w6hvk4mv9jw7xycv24kngrzdvyn        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qgcjf7wqjcmqpjglegz8u2uw0s6lp0t9lgfm9ap        BTC                   0.06400000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qgdtmm27kmkzz76r9g0kq49fqgpzw7p2zae4hyg        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qgdu58whjn36ltecha8q9h0qqqwhyxvs44xwa2g        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qgf5q5kxhxqutcy6x2x0ks0rl8c69was4xmnthv        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qgfu4a0kuww46sjnw2xyuh7qlrprauhklpnc62s        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qgfwnsdewnyxluhyxmx0m2gw3mq3lg2whuyl808        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qgg53p4rwufj0vn5yvcrgsda0aw6c2znhjazc5n        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qggeyer0fy0xnwp662u3awjhpcxcyt9zgfp42p9        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qgh6e5hme38fxek542mjvh366hy4rkpy7pjmsng        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qghc7t0mday33j4km5k5mma4lzugj406s6qrnn6        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qghqkkuqfxrs3h4sahzylgpu6x6mjx9y63e6u5c        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qgj3p0cmtvwnsvufvhcxmpgu5242j2660t76dkn        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qgklzmg2y3n7k3jjcjdvdas993x9vdrcg69lfld        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qglgs0cpawjeddk43jy5us7xernhtug639n4uf6        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qglh2y25lc9j0x677035wgy223u9c3l2nhe72ce        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qgluw77e0dk3mjp6ys8u607g3u4v3jnkva7y3qh        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qgm0rxnesey4pmpzjdz99c98wdpvt7e57tgxkk2        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qgm8gt2datlx7e2m5lprempcrxjxr9jfut32hnh        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qgn2423uye0yhf9phm2ww0gsvmhwprny0xkl097        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qgp5d4c3rxe94xjv9ezy7e0dk5xdun0j8llp82m        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qgphjz3g0xcqka4cdale9rkl2tx9vklcxj9chq9        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qgpps9ngq79lma2xgx06fcjyw6t66hs3wc6w5w8        BTC                   0.06400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qgqevnphhjv3hjm9lvg662l3cgr7kn8rje6us5s        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qgqx2v3lt2xwjg7kfeplcgju43hjqa2xvph8mgv        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qgqydzfexczn6u5e40rq8nwspqudp8yx6gaer07        BTC                   0.06400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qgr0jsu8h5ppsfwxyf6p0up2f34jc4sfxkx4xag        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qgrnkfrsgm76z2z2w5353jjk20dpd7xe790rku5        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qgtgnrvk68ssnszptjgtwd0l669e883ypnp39tn        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qgu4fncdmq0dk6s2tvkx3f6vnl9je5smh2j8j8h        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qguxa937vtlk8dpe6wcva7vpszsm0a6eymmhznu        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qgw76eu22dymcwwhc4utr4ylg7tycscqqy0e7rk        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qgx6z6sql2gav6u4jf6f0w6x9d5k7y7hzkxkfgk        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qgxfu6g066kkgak59520lzvuy8mxx50eqz9m393        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qgxvvx9826l75wch28nkavdwrqglkh5gpn4ua4j        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qgynpr4gpq4xhmeyahp35qsygyx7xs40zv9pa5l        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qh0pvjc6a8xqzu7hshwkd9p29wynx7xr64ml3ke        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qh0u7r6d8dn8wwvggasr9jd2jl8nxymadkgvfq0        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qh20mys04e0l4ejfzun043syn0tuzalh8we3zhl        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qh3g7hm4gk8r03ljggq3mjsv0h8exty9m6nkzqd        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qh3vxyd2ygc67d2uyzrukwhc4yhptzh5r2lt34r        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qh6sx2a7v5kegcp3s3xa48nh3kc45p9f3pphzrz        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qh9fme7vt7wufy3jeu9mh73reaqkasqgg4qp4yu        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qh9vtcts9etc2rsyekd9lnaen6kqvvf70rzjfhy        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qh9xj2pkxu7r7dkh6wnrl8nd2ewalsc6842n6zf        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qham5mqvu6w2d3ew3lg0pdnnn3ch0a7084seu87        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qhavndan5jhh2v83hramg8vkuej0czhj6lcsq80        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qhchcmhrrg3udsjz7r02axlenvazu3v200r7grf        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qhew52xvrh29rqmg89v03zyt90nk0yp6neknuha        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qhf664jllqkwrluge22ayg088whqevya60n8pdt        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qhf8fz90nzvpuau84qf3us0ag724km678l0fyg0        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qhfjkfmuwsmsrzwv72yss0pvdmtaxrjxp6mf3aa        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qhfvt0uk50htgn5kmcekgnkxqmumtngc4dam6hy        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qhg4ex2faw6maeuzyf5t9h2mcqyv50qxkp9tw84        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qhgtp9p57rq7gfwt5xsgxzryhfhaglm8tg84yz9        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qhjaqd6lrgke424tsg4p7r9w8nw0xzd477lru7h        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qhkk3me5wh2yxazm85esgyy07lc04c9v02ejnu8        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qhkt2m9prx0klwv5uctzvcrrcvg8hejmxmvg6ls        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qhmuz3rjap9t8j5qvqwdxfc3x8urhjxxden0nht        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qhmx7cr7hmguk6zdem9kuf3fupal6cajz9cha28        BTC                   0.06400000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qhnv09fxanc8z6zuyras49hk3d0y4mdsvcy4lcu        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qhnz9xlxf33kengrw85z46595u2qx2f5hnl485q        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qhp5v7tzerez85u97cy3hudj6uq0htanjmqknhl        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qhuqe65q9plm39n8dkn9g60vsgkdceja9gc0y8z        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qhvln6r5x6mvrewl3l8fr0jyp9mg85ycrv76sfm        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qhwly7p27je7g7yqpqngnlt3x3503hhcn07rqj8        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qhxhjr5ndskpy89lu0uqjzwzd95yxuuu2nupvr0        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qhz9ntsax6k5klavjkl5yzjlstql9cdeezc9v5v        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qhzn3pg96d77yusdcy5a5qck0ftxs7tfnk3swxz        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qj29zr6vtepr4q554uph69eceatggr3cp2l266e        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qj3cg2fqgmt5y0p0rcfev7pnmnpzzsmltakyyy2        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qj3kheyy2pkdczl64hxq0kvuwd2ujapx5shquap        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qj3n8vj9qn472lcagak4jwgxcxk6p8cpllxs44k        BTC                   0.06400000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qj4c3x83x9unu708uy9pfz5nrz8e2475c3y537x        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qj4eluug6zug0syg5uclw9gsjmu7723z0xsusre        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qj5tpv2wrgd3fznmjud8fuh29hx60ant7jl6re2        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qj7fflypqnmanvduruwqhcz62l99zpy6kercnz0        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qj7rdx7fcan6chm539m6wl0n9qpe9u4zxgpl6zy        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qj7s9uc5yclxgzx7hczyfl42ucktpem2pn35dmg        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qj80d3zcy8ev3m7u4qann42e0z7duzda6lhay4f        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qj84ru5cupylmp5ywa2lftzxckzrcecpu5xwsrk        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qj8hldl7p8rwtlw93yq7tt8wqk9xcs5lv6me9mj        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qja8spklw6wmcdh9py2vx77dwnuksfuhytxa48n        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qjc5fkm4vu7fn3nflf8ah9znghg0ddrn5gkqap6        BTC                   0.06400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qjcxpw7gwmkk8l6gapwmdwglrx4j6vzza2ymff2        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qjd0a6kh24r7njgxaav9tmfy3afzp7wauklx543        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qjentf9htrmq4emq6njswpxfad370nd36ajtzj3        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qjernrlnyevc384h8uac6u3a5eed34qytzm22eh        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qjf4dkn5nuuyr8k89a505e26nrhxlycsdjlq2my        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qjf7s6ww3sy0mf2nnuv96qdt5jnwdzm6mv2k6ez        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qjghn2st8rh5qc5c388x76a2sa8s582slke6k58        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qjh47q4ccmdu0jza9f763jqsar8j7fyxype9e4c        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qjhen5cqhzdnkk7laq09vahqd52709h3es9sxfk        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qjjvklhuhqe7r7q0naxdkkeercrr4g8cy5ssjv5        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qjkhs0wwl63u3mmrx0gr0lnatlag0qc44zdswlr        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qjkkm5xjflf2vvrynhtnkgmyfmyvdmra2822dsq        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qjkvqr0wngswdsfazevauchm7jsecnlc40vn4fa        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qjlke46krefpmsn3kmsec2qtjh7krk58mavwc6v        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qjm9ms3t4tagzyup4cfyxxsh74ed249xvae8v97        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qjnfw8edwtcuten79r90hg9xrq40sjvx8834qlx        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qjnl3j9ejccv5kr3cfdquz23yfeuhvc476em3fx        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qjnm72flfxecuu9equh7f949we4s92mkqzhpsas        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qjqm428nvwds5vyqks3vsffedme2trkmcxta3f6        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qjqvg55hn29h20dtagp49ah4hea96h8r98exn5y        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qjrws4vmteedurxmvetj7jke897nrfky8ecd7cu        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qjskj8fvmxm6mzepjfq720v2d0584gefywrww2e        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qjsncul92t2nx47vu98jr8egu7sdkglyh5hcmcq        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qjsrlzx6s7d8yxe5d7c8kfrqa87fmfywxshr75m        BTC                   0.06400000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qjt2m8qrrec83qjptaqz56nq6wual6ttnnkxkmr        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qjtcz59adujer4m2997a3nkap7wv4svux94j08j        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qjtdz4d2nxs7qk6f8r9fd92rt54cc43z6ghe0ve        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qjtuuhsm0sq0kky0au9pppm79wtjxk6ga60lgcc        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qjtzm8x3s7nt4qh8ec3mskav2u4crg42lgtsvu9        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qjuhru3rrwk0q92z7qt0pxky5hjz83tye037r9w        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qjupky2pvx7krjc5zzfywlp27h08dr0wlpunjmt        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qjv4hcg5f2deka92zadrup7cmajphj9vgad7nyh        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qjv7kg4xpfhmucfxlmyc5lh6vdspnent2dksck8        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qjvgg7r0ep2t2qmfmnxy7dds4k84gvaher36huq        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qjwxlfmr7xzhfdk0gjfju46jl0tc8g29wz2eny4        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qjxefvmxyaf0v5k68l7rav7kun86fr6706r60gv        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qjxrupn7543dhe2ev0euqcm0x94daa2m8uxlt0v        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qjy7s2fhsldrkdre0ec6f3almstfnn8sq927j9a        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qjzfed7kwr0rrdren9rv4gvccpymdcd00l8nrqd        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qk24sfk6n8qturssfye2ckttck9mgh5q798765f        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qk4ewwpfrur29a9nlrmz2fle8tvcllz25ruuvke        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qk4r5jhutndnm555yrymxps7td6sxwrzpfgdvdc        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qk5f5gmu3u9gge2dtydm6vxzmr0jjm9vdprhqre        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qk6z79vwdjak0gfqe4nanrhpdvqarp4tdedw98m        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qk78q45v32ycp70gftqtjwm4pa9n8flypnetmqt        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qk7ufl43anc803a2adg2uaxne9wsrym2g36423q        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qk86yv2ssdy8smccmme3545zj7gjrl5a6sxxf4x        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qk94r8zq0pxp8jwa4j6mqgg73neadasg3mewgwm        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qk9tepjd9hu55a4wxukjuyd0p369hhjj4ye763u        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qkashw06a009648urq24fegu29jjkrav4av6jen        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qkd68lrztm6yfallsdlh8k80enumrkvyxm7dax9        BTC                   0.06400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qkdjg46ah7v2n53wl80p5va5nwh3y57rqc203n3        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qkdq4evyxh89qqpzr2jujw9hna3lhnapnqsax79        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qkeaz2xaqehtkdq83jc07r7tzd5wyv5p5zc6cxc        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qkeursyxll9xq05sajslvhtf5lzlcdhsr3td5qv        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qkgdwgkrnp6ezxcp703l6yvgj775x2hqmtv444n        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qkggn0gegmcwrgk56wlndvh8p6wtrkl887zp8yk        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qkgw45z4rmkp2svng7mrg3e9f3f2ar3mec0rpr0        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qkhlxvgmznkd3lujqk7339jq8059v4eak4a37na        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qkhv3h5spd4gh5se33rlnqtkv65m44r5jhlxqcd        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qkknan6wc4el05ywn8zgn6adhv3cdn2mu27lecs        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qklp494rdwdjsgw8d9h5ddyu0e8jh4yqg0nm2tq        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qkmrxe23rfu2ul7jmuq5gcv6zel6nh7vdvlxs6v        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qkmu2wwfgam0sd5vuvxsxvuxd77xhxkpfyf3g0n        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qkncmsh4egsh5jjpe45cnf3h76780qhfzrcqyt2        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qkpmxmwfsc8e6rl7v43fycy8g652lcjaey5q9av        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qkpwjg6vs9ndrpgrsmpcf73mn0asrh54cz35fjd        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qkq8nmygupvtk822c6nfanue6hxans4m6xxtjyc        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qkr7wdkm68g2avgj0sj5lntnfy8qnys84fnufk7        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qks9h5rujyfe38ty2e0wtnt6hjwgqgvwr4mfzhk        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qkstr69wh44stgarx86rpdwgn9dpdk68nvneav8        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qkt524nhhg9upa7w5aycf2trqv9zk0ta7g7hth9        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qktmc77vree7s9ghqz6qvj8deqghfd7lj6mqsrv        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qkuhsmjtmg3hw8lf2rhl2dp06nl7x28r0nc39wl        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qkuxa0u4nftyhgu90qkqhn64j4h0f379qlcsxzf        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qkvkrpxjsylt6k9espj8q8pk9gv8e2zy9t08yyh        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qkxam0e8pe9dcq9gerjdglekryx79shxpf42zef        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qkyc2cgjwf46uysxzmsaty9549z5tr89qc5namv        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qkyeu6rm58gdwr878qy2ant3yd58nzxzqnh2kp9        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qkz50fy7x9nt7q50fkt77kct9umx5mumwjfrxwt        BTC                   0.06400000 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qkzn3q905au6a6ugaa2k28gvr3x4trqm7mqjvzl        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1ql0kr6txxpj7mzrg93gpphwgykarx0n0ukm2wrz        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1ql0p2scjhkhtvfdt345s5ntl0f77lyvwuh2h78u        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1ql3n3a0hed40u5mupr3mwssq6gfnkrhngpchf90        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1ql4dp8njscymewy9r7xf7vvpwjr4q4fvp2lzk5d        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1ql4s9vgv2952fvtl8yuvftztgcxh4r2dg7v82j7        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1ql5ln5zs2grnsw7sj08qt5n8cyvj9dg5m0hdjl2        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1ql64cgxfwqw4xpdz05lj9xa3654qurh7mnajtmk        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1ql77c8cfx2tn703eqemjx24zdg5t5n3hx4zt3yl        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1ql7jfsysqf2vell82c3qd87y8tpxvml4uqpdp7x        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1ql7mvrpqt2pjxu5gvjhlez3w9jjyu5jk0c85alh        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1ql7w5rqmwa7sj2fpu0pjwrsnfdvuyetmr0ufg6c        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qlapuynphj959ff6q40gdkt00jsf00kyfr49p96        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qlck8j7y7e0mg92qau6mxpfss2qczrxrxg7ugjf        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qlcmg08q3cr4q085rkculpyx7uvz5jcmzkcc279        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qldgy3shp6d9pk0pxk0h8tykhs7lce8j6ym3elm        BTC                   0.06400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qlfsulz22fvpjgs27csl25vrxempc3x4x8jmrly        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qlfzttuh2jy2zkr2tvttvdt9jymfcskyvgpaec3        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qlgvw8syhdqe094ts3ez6mu5mjfy08jtlgdcdtx        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qlh2496xmvdw3qq0luw557zaevrura5t0dnh9ck        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qlhlu52t2we8cek27p73wv3k5938k5qxd06mt9p        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qlj7e9zway3t6ujn0xzt93zejlkd9ks4c8rfvvn        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qlkqelmcxg9xyrfnzeu80cc4xhja88lfpnxu6dk        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qlkr2yd03exu26c0gltwvsfgmspkugc3tx700gu        BTC                   0.06400000 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qllvmj3cuzdcsveyaf9x265acw97sz8pz88qaxq        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qlmtw0xeflx58lud3f4sgt2eh3hev8meaud332j        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qlmv5p85ykldnujp9we2w647lqllzkjnljr67f8        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qln4p647s520xv2tfpfnk6pf2n2nujnepw48ghh        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qlp0k7avr4s9tu8gl7yn3z0nkccv339l946r0lm        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qlp5nu0ljy2xzt2ewhxfslk4dgxushpf65d9s32        BTC                   0.06400000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qlq3r836963xv8g7qy0uuqw9sqvpfaypur90w6d        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qlq5w4dc64lc3vgay3g09v750d8gs9wtznm357a        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qlqtfldjyc26504sk6tptj9u9dsmw2fs72y02qw        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qlqy0p0k4ustmvecguwllcrufpak643gp569d5h        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qlr67ahrf84qnl6hnmgwx0fjnjm6n4tkjhx7uga        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qlrttp0r4jaleev3mzak5e7g7q47p049shzmd7c        BTC                   0.06400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qls5jsyw73tcqmlhlma0l2fywfhvpm3z6343jmg        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qlsrhupx3ah2mdcjsstfeznsprxc46ksq9vj0vv        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qltehwyha8yccxycxqheryy2fgx2pwjpthm9tgq        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qltqr4syw33a9nuram4zgt97fwclcufxlnwxv5d        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qlu7xppylurzkkraa08kd8ka2j4xnadu4lqc5s8        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qlunut95n92ahgsn54kgs9thfjy6lcwcdg3fjru        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qlv24md8v828tplz3vqv8wfl8f9k93a5k8nd3jq        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qlv5ffv7wsgw7h42z4xms7d64tz8zkrj23f3xs5        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qlw024tga7axxy337k4l6fzyuf9rysuld5lr978        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qlyu0wel36l6vrx6mrcwgff9hrvywkkplxqxk65        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qlzr62dq4y7fexe7ep79k9f9u0s6uqy4rfsn9rm        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qm0nx057h0aecd6kx5m39dqpqts50nuclmkt8tr        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qm3p49ffv277n598w5eh57mnn3a86aj4nq3ax4s        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qm6lsulujkzp9lrgj3xfj5qnyvlp5e7kjtvvr8s        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qm8drydhjg8s7nnw8wwxzeruvwhqnn3l2je3stu        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qm9ftgmmamt4z6v4sg3ca6susqp0jmk4egdqszk        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qmewyt0sdsc94zf79u56ga3ldwgmm6a8rc2rhs8        BTC                   0.06400000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qmf0atqrusq0pj0y7mmy3z7s5fn225p7aysemsy        BTC                   0.06400000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qmf6w5vkelss2r8m0ymhlpk0w7fd8d3rtt7gxsy        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qmfhgcxy8gsx3f4zd7ux2ftdumcvv6ts35ynq0g        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qmg7ndy7psa2l9dwnwsgyz0wqh8ekm9yvsgvpm6        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qmgpf92yfdalu6vaww4ws262t2ru4y64r33yu3k        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qmh0rece9dnnsggfe2xuhtehusd24ldmgvmzl94        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qmhcrzsa8ykmmg8nsuhwvqzv36wl606q6uqr9j2        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qmlny6e4t8j7czsepn0nvw7su7p9l9akxgw3u3h        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qmlxh3fppktw6j93tvg5sfp3r9k93ululvfa9fg        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qmmzv27v0c2020qjj4zma7jt3qyygsjk28jy8hf        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qmn077y3as85p5zrdppeeqvgun37lu68d668d4j        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qmnxml9mfwe6kfdtejupmazq0t4nzr50utpq88f        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qmphaxajtqpqpap67mfsu50wzg6rfdpy0gq4a74        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qmq3xzvruv6rgw46hxhm7ujtqc0jyxx5zucs9la        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qmrccssvsnqkye7lwsj2n5glqm9sj2rn2tktkk9        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qms2ffvkvuek0wj730m3g665qtcaeux2fdpqzpk        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qms56784fu5yz67yagehuzxmmjw2m88kfaxeqzf        BTC                   0.06400000 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qmslry6e9yns2q98uyclfschlw7th464hqtnqf3        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qmsxe2r9rlcwaxkck2x75perfgmaqql2c77dfef        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qmtesewm93jujclhjys8v265qjptmju7l5lng9g        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qmtmtrpm58qdse5jvzdjkrze50ghcvedk3vj3vs        BTC                   0.06400000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qmvncqur3qar6efameag08emadh5jcdn70p3j8t        BTC                   0.06400000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qmvptufc500z7p6zy78cxg2mm4ax8zulrpkzj26        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qmw0dmxxm83s9wefa7drhhyehp8chmta25d0kt9        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qmwghn574hj3pvujx5aq5fnhu75z7z36wazw4ex        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qmxmtxcmdz3zac46tkrw5ms5wdesuuamxzmcdz4        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qmxnrawckhg29gjqnrekdl0wla6dz6mhrl7pwv7        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qmzzme8j7lcc3lq93smsd5mxyme2c459yf0lkfu        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qn20usge2p2tkww2vs8uzut0yzyec6vg2gax78m        BTC                   0.06400000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qn2jje2fa2c92mlxw0gj759d7wx33hpqn472w3x        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qn42tdryvzj7lkpkxq7msymnuanrzrwxjw4fkxj        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qn537rh35h654tyd43fhhvul6z3l982q9c6hh25        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qn54aupy3hcl0tlvd0c9693rqg8hh4ga5jxge60        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qn5aklzh37uacr0jyy628xjqrj54zn0ju2393pz        BTC                   0.06400000 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qn6u4f2hhma7083v2x2w9hujdzemtzs6thwu26h        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qn70g97mky56ykwvcl62q4r05t23yx5y95mgx8j        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qn77eetg6vppcn6z47u555fulfmtg2ue4f7mzkt        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qn97l4xh0llkywjyatgvsjwa8wshzlrxm79nnhh        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qn9whqpxqxpyp3phrnmhck404dlmueq8cn70mar        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qnc3jfz0fyjxlwelz0dhng08njlfk98fjyt4x8n        BTC                   0.06400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qncsxxh223rh6dymexv27jkawc5kqpadm8z85ye        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qnd7fskhdtdaxjnzlnq94lq0276pdy40q3upny3        BTC                   0.06400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qneqtfyjcuuct3ch2u5gh0m2g60l2gwm9z6kyl8        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qnernzdur3xxvz6xr7unsf5lh7ecjw7rfjegeq8        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qnf4lpwvuze38l043m3aksfump5a5cpycqguawm        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qnfcuanrh3muf8hquq0vqpj20q4g5ap0lgj9fd3        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qng5gd70g2hcnaq8htcs7l2g426fst7sy8f2cq5        BTC                   0.06400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qnhhe320y5zkp6zkjjx8uwvc0rltd28wqn8x268        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qnhvlkvetdwl4ldatktfhfletl0em4q79zc622p        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qnk8camhwxe4p2l84ujhryahcxcvheqn7d5d6t9        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qnkgx340vz2ykutp0cpzqdj4dxshhxce02y0q4j        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qnlphezpuzt583s53skkc9vt0v9rxtt3752zdck        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qnm7y95zn8dye49y99lanz4m5etkede3206fk94        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qnnreuflpe86fpsp4wkplflg66qkr6axhctvkr0        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qnpplrjykq09ta8tm9xr68zcmy53h0tqukjgfdu        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qnsyug68g7txp5lx4pr73gjuv7skzdh0yewgsgd        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qntan5k34pnu34luju08nu5t8qggju3gdlzcg6r        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qnvj8xltc5rde8a266w3w7c8z0s6axremmjeq38        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qnvjgmcd3tt0t5ryxmtxw6f49c5ztnsq4w87rgz        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qnwr8wa38wjd92vn6gm9x7zlllp8glrss29m7u4        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qp0k4490z5nf8hxtwwfjjhy6qlx2tx4ft42npqh        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qp20036ssaqafhjtfqlgvjd9qg86xmtyyrz07ps        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qp22y5l25577976lqfat22fugzwyu0hw6y4lph2        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qp2pju2plfxvmj54s9sw9jv2zuj8u90dy78kkjn        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qp3pxts4wc7g58uchazn65c5p9xxg9apeatc2ls        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qp4ntqh33wupjhp3xjn3cre2fr9qkftk30k6na0        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qp4slrpdjp9zru6mf42txfqk2whhdpethhwyn5k        BTC                   0.06400000 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qp4u53cup8atgxp8z2uzexwktrkvq7v9ej9k29e        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qp5xc8mr9an3p64x0prpgexlahw2dcyskrgapyd        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qp669kwtrvj33604rlvy7m323syqjtdlh4dgsst        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qp6d49hyr6ghtak9sy9fnqmnf0a4prhamtn99kt        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qp8qxs2t8hhvdz27hvzyskq3u2cxe8l75mf6g43        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qpalqu3qdzrxf48jaqayyhz7d7aaa7dzrqt4jtd        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qpanh4wt0se7drdmeyuguh7wl2eafwee54332s0        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qpavzf3xzuvhxndvcu7zsjp3akj2uals3gqqhgw        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qpc5nl72s637te2zd99az74ycy8x7twpuntks3x        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qpc6zvg437zs2jsg8lx3t2v674gqmhw4p548gfg        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qpdfd4857eu302u47flytkxrj7trnetqguslp9g        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qpfqny0rv9t3kvylxwlpd670z608ga0gcdldn6z        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qpfr6y0uld0gq6nr6cs26m4ggn6vken8ne2hkvx        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qpfvuzgy3vg8mqe64s6d6p52ukzc4h82mhs7an5        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qplvapzcmvf7gxn972apkpu82leanlp22kyjxha        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qpm8kz5m7vx808sngcvs0yyxaxvumxtvyf6d80m        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qpmjydj4j8025p6t3ctz96alhlv4hm2t7kdr5qh        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qpnl45sywrpamu08575axjm7k0agaecusf3qyd4        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qpnsv4n6eqs47r4uld5mg32hzmqw74stznjglyl        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qpnszz9u6x3r0zazwzke4qmapdtnlmv2nwmqvju        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qppf0p8f53ggjmwpez483a3wxej6ehkln54xap5        BTC                   0.06400000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qppx9vf9l40t5v36xretupcyaskxsdmeaeuze35        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qpqn97l4w4hgzcf80ytrp4xywtd2mzq7t2q8pcf        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qpr8avwnsw5qc2j6782xh0k7r3xlqp7vf5f539s        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qpsatgd0nj5324ve2lpjqqkcvje475cu3zmze3l        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qpszvzdy4pd4406mrvyqxs39h5z6xzluc9aa029        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qpuakltshy8na28ep7pmgf5yn3xst902yl8pqkw        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qpukczzny0phannph7jcfa694hj6u9snkqa5hd8        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qpuusjj4ntatheqh8cq7amrwmy8ng7cjzkv4w90        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qpv2y289lg7zghaaxvhhfr8ttqg2km6xzfw6w4f        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qpvjtn9ph72whx7vy0y8lrafvh8wuzmgyjs309q        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qpwv9hcx5xc03srlnn283xtu4a0myj3c8k6y94u        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qpx87crxslgg42umazg6q3c5dev4wdtqqqzawf2        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qpx90x4tz5vvcrampxdv5s7e7upg7ltlzddd9et        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qpygnyfrcuy4t295mz7yuvmrs9rpq7s3qw7fkkh        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qq2mtxpku0mffjgeym7cvkkgph73rpzfajahxsp        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qq2uw87t4aua9wct6he7gv9s4h79henqmrvwl7y        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qq3ydafqqv6mejja2na9qkx6c89gu233a8pdggj        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qq7p60fye4g6zx39ypc5xkrvtez4y5yeat4epzq        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qq7us04w7frnmj3fp6evw332h3u050eqsnllntw        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qq7vslm7psdqrdz65erhl42psk2cdrld24f6cpm        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qq9h2d07p938cwe483jjarc4nww6nt2jsmf97v4        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qq9kv35l9drnm70a3y4tx4n043xzdxdkffuz8ze        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qqac8pxd8vmchnmz0t7v9y5g47wmws064kdexed        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qqaul49yf6azl9e968en4dhyfemupfz8c5nrjmu        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qqchcpy06j8slaapjkth8uqfsckqnc3e4fe2r2u        BTC                   0.06400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qqcqnu408003aaefjhajqt5r8kwsmkh8xrqg3sz        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qqd3knx48g8w27aezsxr7xtl4v2nxd6repljvsp        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qqd5tuvsryp5tcz5c9taahm26njwsf4f43e60qx        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qqfm2k73fzvuft22hre7vgx2jyl7uglvdky57z3        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qqfpf79wz3kcw2npsq5luwdk50rarp64qrhrp6w        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qqhn0d8rtzwd0x8uc6ds4h8v5n3ykt33qpqanq6        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qqhtu7stdpcw6gdlk8xvxrdtf4qkz390mhjc4uw        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qqhws3mlp6al0vvfzsd706gqpvk3ldj0f77rjug        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qqjyczc9u66jtlxwewjl6fnn99td864960aettc        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qqlj3asytkjz4vefdnv85crue3xp3l2ft7kj3g4        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qqlrjh0c4ggfmjs2u30afl56k0s50ntvn7kl6cs        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qqmnjpu4xcqpqldqlqd5dkdtmy8yxred3ggfsjk        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qqnjwa7sm2kcneuk657jps3kusxcdxultkrjwk0        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qqq0v0uxjgk9qmhjru47kq36y9jk9zjxsu68vlc        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qqqe55h92rs0flm2psx3sjedsyvxjnqy0sa8my7        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qqqfmfzkwxdu2aly95jpxwu06gv6dcmvvnhq30g        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qqqggjg6e307d7k6jvrfehr0v5fnegw5hutuuxv        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qqqxlragslq4kdlmgcs8zeryvx5uj95nfhfd3gd        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qqrnsyjttuh00ha8nlavcpayygyl3sn08agwvlp        BTC                   0.06400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qqscwk93wcvxk63dndqfqwcahpe5gjqguett4s4        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qqtrgnc4c5smexfzun2xrk2mnt6agd8awua487p        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qqvcyk43095e5dvmqvy7zxgjnlr2sdukyukes9e        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qqvrhmd3qu9uynnz732ay3lzy8cfjm2ptumly7l        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qqvuyq5h4xns8p5lx6hlwkyzl86v00zua00qknp        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qqvvzjzfywslpe0r8njy6xmrrwpkl2zd8zex0l3        BTC                   0.06400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qqx6ape4zse8tylharmqg45kws6m84ex2jlgj3l        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qqx72agqya8q5jhpp205wj5c9hcy8xd2ty44xu4        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qqy3knjsxxsu5zxlf0zcttps5x0z7fzsmyjezjy        BTC                   0.06400000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qqzel0nljah0sudlwz2v7z5fd4crtwgsszxhces        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qqzz8wsfp0g3hlwl7nneukyhyyjfc97w64zch9m        BTC                   0.06400000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qr2kwru6e39mp3e2j3lxt7pacpcc9rudn5utfey        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qr37dk7eya85xxghsj54f8l5k69h83hkxghcd39        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qr39wvkv6pp98hqxn5kedsrd8za78nzt66ug434        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qr3skz2w6r52zjr2xh3kj7f50fpvm5ke50yd6fe        BTC                   0.06400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qr3ykgywmp4j8m888qsa6lxcmr9uccdxl0gtkyz        BTC                   0.06400000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qr48t3hhptrjdkhvywudn3m0sctp9m9e5sgnuze        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qr48vdxjzajulyuepryglhtqjgm6qerrjgz569z        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qr63zs8hwftdymun2a3q88merpx9k5dv5d4whlf        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qr6fz2xkrst286e5dtnft4s6zatd0ekv9s6a3g3        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qr6ygwke68rpas7pema6alrjy8875crk4vxkafm        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qr74xhuy6tvg3tv3dlhkguk00dq6thkevdr2lh4        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qr85usvtrglhx3hc8y65jlywk7uj3dgjjhzuv6u        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qradcel2d4ydyyjpj392umdmxw82ataq7ky9wz8        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qrcm6j3qxc86zxc7272rg3w40t2kgkanmlzy2n8        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qrcn4yj66qnty4m0gf3773rmd5hhnazp5az7y7j        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qrcyp42d5g9ev5fy7yum89qkwc2w5whnxxdlqdx        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qremp7g8jqdh0syttavjex95atvc90nuam9wkq7        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qrenvwv9vak3vlzpknhen6qp5gtnfyhcwalj6k8        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qrff0seqfgfldfeqwvyzhh8cfg4t6l5jmj2f8mk        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qrg0xg7adlh6ynl0uxa3sd6tsq8cjulfwvz27zl        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qrh02qc3pnjrmyx3nxk7h4rqlnht3wmy0f9p0xk        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qrje7eu44x6wmpduw67np8dymhvnm6s0m73z49s        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qrkegfsm3utartw8f29ecgfk4wv742zhc68lj27        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qrkkq73m2rjds9djhxayx6gr7dd0u25qc6sj7ya        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qrkn5a3r80qw0h44glrk39hl08n9elx7ucw8clx        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qrkuplyyv5fnvz6l6d9th206fkgcp5eesj4sjtf        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qrl8d54fk00s4y9c7fgarw2gy6d7u6dy34rl7rp        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qrmwykmlaq04ttyg3evsn5yrxc2y4jsz7yx6s2x        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qrmzsn0u36yuxesggyq0j57ka7hxdcjugxmk5au        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qrnqdwz45rt45gfx0yv5z8t377taklr46qzpulf        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qrqpgyudnayr034plgfjzlqgzmvs6llf7xs9skk        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qrrzn0eqeu3lc5ukg9n2cafcf36aq8y6nwt7qf2        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qrsn0us78tewaqkaqwfsruttj5cgvw8w7x5pztf        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qrsprh3hp8w0jr8gm0rjasjqf26ckmyvr9k6suw        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qrstcacq6hnap0wwsmu8swdrcakh3g08f863w0r        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qrt0krnc52wvrmk9r6l4v7a3vgp8rq8qe0yukld        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qrv49n9ldal86c9ylp9wjmwyngx7xqlwhrmuvl6        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qrvnnl26sr292wexgapyg03vcs964vymv52u0pe        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qrxjcqpl99g5eyf55c43ccv430sn0vsfmh82jus        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qrxq7c8537ffsudxvqtpqexu030wjpu0g4g5za8        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qrye6rw0lszzuzfnu9e38nx2vlk5wat4u4vqqk2        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qrzcrlgdcvfsmf467ynd50kkgfk8ufvnhgpp5d9        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qs0rhsmt7p622quftws7fjq4h7fu45cqqtjc8qn        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qs4aj4uawy3sku52n8as46w5a57mph0r6lkxeps        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qs5j5fdjcdjrqapt7ww0patt29sa7zrh9jfpn64        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qs60kj056m097hc49kukgkpmvys4ztuw2am0qfw        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qs6ah99wu2e25gvjdpqp4ty62sv2au8gk8ja3rc        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qs6ufy9q2f9zuxcyy28wpgy86lksmmpvy3ntglf        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qs83fxjdy6058dzcgrsamhtrrz8kh5ef9swjsr0        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qs8g8ywel62nxkzr009g2a3deadzrlprgyemlld        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qs8jfw46yls8ew0r3349nv3stavlytkjxwma9pp        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 412 of
                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qs8n3xywsw2aa93rp6z26e4p8sszm33jcvdzake        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qs8zxnqw48psw0majlttg8yxc399hdcrzumxwvf        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qs99gsgxulxxnv93rme0s55pefjdpjlzrg8whkl        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qsarg2lhdv6gcp2e65dmycpl0n8anh37nv7kjh4        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qscuwxay369wcxa3ter6aptv4yx4nsjc670dtm7        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qsdeg7w6uff0qdy4q589tfm4ysgt36z5dyax0s8        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qsdgqq6lgwru4xpq2caywa6cntzz7mj8j9p88dd        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qsdm6yl2765sjd9a258l4nancpd38jkwunuzq36        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qsf29d2ay6qlad2s5vsmcmlfpz2w8956khp75q7        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qsf9w6dpyjr3gwr7nceyxmdk498j4rrgv0j5ges        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qsgaey2hhlndv6ztfvk4jxh2s636zvh9q54kxc9        BTC                   0.06400000 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qsgh82sc6tq3ku0fumektnef4qak9cea9eqy7a3        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qsgn50w3s5te0gcew4yksjxdfaeq993a2dhrld0        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qsh0duq0j4scacxl327upt5f4lt7pqz64n5frh9        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qshef5lrpsuz4tqfh7dlpz8safkrwjg0lslnjhv        BTC                   0.06400000 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qshsz7r2s75lrl6ksehe4zt05273rhkdfpgpafx        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qsja0xc0h5fwq0ywu0kwldxtemlf5lwme52sxs9        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qsjljhghmkvafdrn2ja5nd6j0nqj2d03zszkah2        BTC                   0.06400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qsmeseslmg6880yfsx45t6vdwdqcv24ue6pkuyu        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qsnpuezme2l0z7t0culmmpgq2eafxptjls2ksdj        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qspm44hqd9layak0xgwez5ygaywxzhjpnv0unrv        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qsq60tfcwfwct839xd8eeaft28k6nx7wyexvchf        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qsq9c2976h2thrjeuqyek8huzkz7n9e9hh6maae        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qsrtxzkq4z897g30n8jyc4qpttwtktu02zuekq3        BTC                   0.06400000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qss7k0ln648m6uh7hdzzcvd4gr8q7xpwl06vkay        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qstfwujlgzfhnzrj8fmt36fzwws36yju2jpdeyr        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qstmdwnk4gxvt0n99v845qxnxgjqatgw2xv6scs        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qstslwj0kg0fg7tqezw2fpdjs3jj57f3gtfev7y        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qsuec6k6qxpfz0sy3qrvtw6fvsp9ffsm2c2hxq5        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qsw0m4fyr7zetj2g3pu0h54chh4r6l4pjn0gn56        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qswzmww5gp5k2ejw74ymm64jptwq8ty6gjpvsns        BTC                   0.06400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qsxas72c4vqfqu0sfdnvymp4aehwqvmsm9raea9        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qsxd56dt63qd54pmaq2apf6g3z8s70xhvmkufu4        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qsxkenc442kvz3shm657u6gfw7wy53rg0hl6zaa        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qt000wyj0sktg59h88wh7cexuzxhsk5amxmvqsu        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qt0236mt00jpjuafatwcj5r2qkq8lmsny9yjutv        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qt04mnj3htus8tzst07vfjfj7h0dwdj0lyl6d3u        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qt0un800kesqfh0ma3tsq7a6j703qxt9y060wrs        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qt3a7gytw433z69jxnmcer965j7kuxkejjkurqc        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qt56ax5rev6vr8wtm58grplyhkza5fh85920x7f        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qt79zdvae0yfyf5whghkxft56cc99w0ug4qlpja        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qt9f923rffl7pgkw4xf5g8gz97ga3ppy5jvffgr        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qt9nwwvuhu2pmff9dug28ms9k5lyqa9a9e0ecg9        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qtadlq3l5smymylgqgzj79cq3ump6tgsmkn38yc        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qtc87acq2dp2ukqnhv948vh8v63cqn2374ezz69        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qtcare5tkcpsdz0azxfqy8vmuqqmcuvptfal660        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qtcsv8jt6erfjt2yfffjm04ch0ghm7se6djpn6g        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qtfu6mz3quv4am4zs38egxg9dp4ypk0zehk3jgu        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qtg2evnshx35e6qf75x8sawxxn906fcazgftf5t        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qtgax7kpuuyfgexxn504j8wgtk3sjug262nw28d        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qth67xtr6qsku00pv6tpw7gk36zfn4e4d92e3ww        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qthw9jvs5g4smpsgh2ks2y30h37lnv50stdfsjz        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qtjjcah6asgarg07shuralvw5ts0w054vdf359w        BTC                   0.06400000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qtl67k5d0qq57hzgznxdf7tq3unqxlf2tn30u3m        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qtldw0kzd2j3yyguavcw0wuqp6tx3gstrkmdcd9        BTC                   0.06400000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qtlgfhc69y5e6y0gc9yqdyqakt3psrtchxm7alv        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qtm4uuddpmp9hpm20almgaytzdpm0znjqte5kdh        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qtmjetdetzp3svtw9curues0yc7v23vqmq4pngs        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qtn86ham5y6savdnsff93k6qqk8y7urtps0umyx        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qtndy03cw8ugnzvpgvmp9gwcp63frdpdgdfcyxu        BTC                   0.06400000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qtnq9096xw6aw95qtxx9rk23cy8h0600cz3ah9l        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qtqp97dct3mzj5wlu93zwx59rg5cgykk778lrn6        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qtt8nccrnmc8cavdjccjuh0alv09xapxnm5fxu2        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qtt94fezcndnxnhk6dplp0gmzw2p4453w8aaad3        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qttw3tr8ygsjcefk7jnrpmdva9fdml32wvxfge0        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qtu7zp0yztndkakk4hc8f3lrv4teep6wh0jx7lk        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qtua0mxlrs7tywdqp8jhn4tca00e0r7reuj0vvc        BTC                   0.06400000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qtuu92c3xdn08dl4kmkjuft8tzcsn3zh5582wtf        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qtvlurpmv78vqqm7trjdekgy5y9lpl4md9cv0ef        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qtxdfku7he5admk4l85lultdfyda7znapcym9ma        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qty4nwdf99cp87vgwmgacfn9tylrh6v3447l3y0        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qtyz0vwyq3q0pa0n9majzaluv0pc9aej68vyjs4        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qtzh9yzqvwny7k5schp7ztmqumhk3ftqqm8eljt        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qu03hedntqpxjut4ujfv3sxsj4eyr4ycnax0zcn        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qu0kgy9wrw5yjt9raz66694p80mzjzyed2u8u7x        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qu0n64fmkzqskpfttc4st4n8ca4pe4kl5l3u5j3        BTC                   0.06400000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qu0r6jrkdkymfh7tsmc7avcng5nw3f79y5rxxsy        BTC                   0.06400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qu0xfqtj9ps2jrdy4adzjdem5ysyxl65dfrfnq7        BTC                   0.06400000 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qu3jhrtatdgeczayagd5u8qjzp8j8evceu2du93        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qu462w7fl6ul9wjqpyypklleyzx3ze9f59n3a2h        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qu4leqdgtzfa3snvp8yuxzcylg0fqj32xzugwwg        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qu4tet2rhlf6cuudhp6859369jcy2hljmg8xtxv        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qu85dcukjpv4sag6rc35r4numk4hfqjl78gt6pc        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qu8kvaa7cmeer70wrp4f6kaxcd56w6353jeqw6y        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qucmf3u0aam2uz8gm307y0axm03h9apcd7sty9l        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qucn2kfp2m8966m3aup55ckevhvxvy9de9ycqek        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qudfwrc9rr2vf9aac7z42ehej2s45a3zretq79h        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1que3dn5kx4pq7rz6dr3m0s0n0hekxfpt260dj63        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qujgdr95p0ekwhp3stswzj4vwzh65ys2h6w47es        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1quk0dksmj0r6ryyd4em8etmwn2jhcrahjzr458v        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qukc5ghpqn5n42fndyd7eu45j8elmksc3da7sy3        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qum0as20gjy9rv96fsw7ryyxqwayhnducj2j35z        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qum5n2rzgdr69w7q4ufn4affzrumfcvvktsrst9        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qupuv7f3m4n2rz5tpavdtmvak34n9gdht06d0zt        BTC                   0.06400000 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1quq8y5k09rdy09pf37ce942fx5h38zg9xw3ygt3        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1quqgp9ss8z0s3l7kvxfkx6xczp4vah79ll2l3zv        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qur6d7y7n4l2xqkkhg86ywvg9wknnsl0g388vpd        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qurtguhwq9ttzmrtydnsq0mjeqef6f7x4cprz9q        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qus5s7j84f0fmcktkjavzdjn2laa9stquz657qy        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qusk30ymd3y38hmp6zh734pfzq0e2e8uxxrkxsp        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qusvgsfn0ru4r5sum0dy626pr28ygjktwsdye9s        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1quul04rs3t3h63vmqjr7ymxyqj29vwtgy8teg2y        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1quvmmwksknt5grtcz9zen859gs0cwgv0mves5vc        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1quza7unlm0tg342svh3kk5wnd0zwcf3x3sn2yxc        BTC                   0.06400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qv0zjj8zaz8jxkdzu5dx33j4sy3gmtzv32xr0p2        BTC                   0.06400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qv2gsqdyfjypwdkjzqq372mw8xaa0fuzlnrjaxk        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qv357gdkm6r53a5tfprasykuqgnnfypk8kz458z        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qv3hfc7nnst3fmu4r6eu8c82lj4kkrfrzm2f2he        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qv3ty5vuqptuztpqsg2kftw02hjtaql09q2rvgj        BTC                   0.06400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qv46t3x6rfwv3vnvz5w7ahmwvnr6ctgqsp3elew        BTC                   0.06400000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qv5ku0huzfd4apv2xuakx943gw7nuacjlpwctw4        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qv7s5w77hpaheqlj9kkmh7acf2rq9y72l39qmfu        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qv8x92l2nd3mdyly07j6462zqlrwxsa8as4wllt        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qva6cpgkrvcs4wkw2trkyrcjrg6xk46zukactpr        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qva95p5kvh68l7rqyhapm6aly8aed4k39dselem        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qvacn53kel0crhq0m7j7jc2expewvtvwshncuxv        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qvc8wfvy8x4ed8nje265m9t5ctc0y9w6w6ajap3        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qvcz7p2tdjc8nq8m6wj63pq7arpp8nmmxkrcwxs        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qvdzj49cg2lgu2544u5sek8tc9a503umrfwmep0        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qvfayr05q2pjzy3xukeprxzsnf0ujdex4k30nux        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qvgha2hwna8nps3w5equx9y3fektncx7347wq9l        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qvgzpvvx5275nr0lu28wzlzzd6vugkpsrrkqyl5        BTC                   0.06400000 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qvhthfvw7qa2aud24x7jv0dk5py40lc6svwrnqc        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qvj957zgqfmrfsf3yukc4nmg5s82f5xggzuzca5        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qvk0hfznndd2nudk7v5z0u5klut4x3mwrt9ls7v        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qvkkpy3h6gdu029mp7wr3k0p07r8ckahajg5lkm        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qvlzmysag4a8wk5lrydqua2r9ufxtcchsmf6g8x        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qvmez7k9d76qjywmets76l7mttdplke4l5584r0        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qvpkqace9mqx5zxmuyftatkm9yvntuvxg2c3jps        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qvpugtul270swx95899aet3lynnwcfcek8jlykz        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qvpyh9j5zlhgl5s9tc5jre7jde7j9q6jl5cpnfq        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qvq46pukcrvr77mg55ls8rtvd0et43vg8ee7xn5        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qvqc03wg2y4qv73q020s3gv8jrumzqqafusrqf3        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qvqdvw3mtjxagmtetuq06ft932903kpcu047rey        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qvs0sa0ldeq0cdsx2cjc4mh9k4wj5k0mlsj675w        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qvs433eavvyrlqzpg2xvckufq4vn5z9hwfgz4x4        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qvse8lf3szqfzqqr2zngy6esztevje3n8tdhyxh        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qvsg0vt430htdqcqphp3wpm9wdj33ym5gu8gvep        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qvtp8x9yt9kcv3mqvj32zfqghatlvsxhvlznw9u        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qvuk7xtapuhf9pgaxc6vlxnqvpj0zzsk58z4t6h        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qvut0hgr6p0fvw65cvfzjka3j8t92cfzu5heq60        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qvuv7vc4sys2nx43f4t9fssg3h5cvvfym394csn        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qvvd4xwzsccl9vt9v2l66ag2ta69x9uzl6u379j        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qvvw5ypn5v7ysndgszv6cszwdxz070mwcuqajxe        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qvwnvntxtzek5w3ryempjmtstjsq282pfdxrwfy        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qvxzw9pz2rtf8yt789eg0cun8g8u6wav7n8dfvn        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qvytasrthmugpq3ax2tyn4e9hfdq08lmu8xu92k        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qvyxgg0pm7l3c6tqs2uunklktkc7uga6k7x82h0        BTC                   0.06400000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qvzhh8kvd8f9r8wp5rxhx9andzgy8eg8vyhgln4        BTC                   0.06400000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qvzkt4m7ynencq9x34xvwgsc9k7phrd520mv47h        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qw2dyejl7x62vl8uwqmgp3yjaxs05xh2j55w76h        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qw2kf9u20y7rtketemrl5akxae4r4jzhccwh9y6        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qw2ngm32ka3cxqtsyjxmpehuzpruxlkp7ptdff7        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qw2p9wdyvjdagjp6eq9zqahk3svnexk9308n4av        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qw3ev6c9e7ptaaekauwmhsqt4ad8qa80c6fdc97        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qw3n48cekrpjsemgn65zjagxu8vqkyvywa6gsnx        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qw5scek8hsce53cgvxscu3y39gv4c3rj6kdg2ta        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qw5ugru2je8u2vnkmskkzcdh2srdgyvnds5gha3        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qw78q2w857384m5mk5ktk4kzl4g8nkjr2235dvk        BTC                   0.06400000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qw9mj67k6hdu7erz6458ke59m67fl8pghsmqdre        BTC                   0.06400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qwa56p8tqkmmwqpq505uxnqsa00j5q4frf3nht5        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qwate5e5e28mje9564gxd2pq5jumr2tepecz6j4        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qwcaswemvqj48wrr6suq5ts47vspvy5wgnkfswx        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qwcavm0ef6uaczx2nfl9qce6pj6et5pzfnn3nte        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qwdm9kzvmy3dznval32tlc7tucj6v6l5pjyw2w0        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qwe8gndwg3ua5v4nqhlu9rdjglvwvymj5zzz0fc        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qwfr57q3dq2az9qsr8ppuxp0asz70h5dc03clsq        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qwh43mkwrcjt89x52fzj6hu9nzup0lc987szc2c        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qwhsncecdj8j9a0ypkg3aksan9chmmndduhlywd        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qwjgqpf04x5w70895mx4fu26c20z3te8qaj9vzg        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qwk5hguv7wqluvnvdrk3jk979qjycq79nvppkh3        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qwkmkjw4tmhhzy5k8srdmls5jsvk846r0n86umt        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qwlm88r5ec7ex4dau8sfjr5d2t206gjdh5tsyd4        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qwlmhwqtlrc39hy3aptfdwu8ggsnmzq5yt84wca        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qwlphxc9r9j48wk40euqpaxurqurzaczez9jyqs        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qwltcgqx7d4yt6aygy87ecnhldf37wck8cwkm9u        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qwmdaqg3v547dus9ufepeas794s0uqvcsyvqss5        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qwn7qd25cnrru8anv6u24flvegxznvkm6g3uryd        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qwnuzk6498246csaape272phx658xkqqxyz9xkx        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qwnwk4upevl7uv24rszmhcarfeq7ta5hkc9l03s        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qwp36mqasgaekxng6w2v8uhv7uqjzp4f5sdrs8u        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qwq6cf3qhydhqlv74dnsgqh5z07v2sudhr839ut        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qws6748mtvhe98xmp5pasuyuc902a4qxks8lqpt        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qwvjrd798p6c6khkmcqw53tnp8grnmqzm0cmwft        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qww0fk0ezj4v60tpxepgqe42ten4lune930veym        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qww5snlesrskluf9jeltqqg950qsykd5zt5htel        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qwx6pc67ayr5q5cgucdvtml2t337vy6aa8qxqcc        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qwy97zpg0ewqaw7e93rkec3c6f223kzq758q6cp        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qwycfr59sxmf0uaywfvlxqs7w46nruzklnqa3xr        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qwz0xpfwjd2h3qsxkrj0g2xy4ku336rvsqgurwk        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qx2fmrw2e40n628vufef4yd9vmetu9tae3ht7ze        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qx4p535p67uhfavwvzkds5p32hd46l8um3rzj7x        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qx4sjxma0v4v4n87ncpgdmf0z7xxv2d378vh46q        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qx509tvrs7supf09ukc3wqe7fmmtfjhsfh9da3y        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qx5e9v4mhen9czjku0t0k7ulwd47pjhfzza2h8y        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qx5yfrafzwa3j7zxhuq7ltc6hfs3dtmj7kqrs2t        BTC                   0.06400000 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qx6mlg5247wudwwq7c6p6krvdqdd89sx6wms0ch        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qx6u2j044dlryuxvhx3jql33wd8ue2yfl6a5ymg        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qx7t26gja5a433httpqghrs20wzuvua35sem2kx        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qx7wa35wswj2eq90rgup008fage3fk8prnuxzym        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qx7xvcr3hxlj434puhmhgdjuwqslw57vze9l4z4        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qx9x5tuqrudcuc47pj6dgxjspz9xl2wrwkc78ut        BTC                   0.06400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qxd0fr36m3wpcxphjzddkvtnva4sxscxjnqdtsu        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qxfg8v2cjt4rhsf7u0lyhvrgpz6e5jqj5dxy8sw        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qxjecn5x2gen52pw53zejkspe5cus9l3jvw3esp        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qxjvdvkqhkrdlqdc6slr6752wjkavf0lq7qru5x        BTC                   0.06400000 2022-04-06 23:24:03   2022-04-06 23:24:03
                     bc1qxlnheeswxwj9v3lkyu3g0dyafamdag9nttp4sr        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qxm4z08a7946enxu042lm4wmk3kmmk0ey4l92dw        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qxm96qkcxydnpwu9t93kwq0sdld25a0ey3lqnrq        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qxmv9sm56sqk627su3cf8clv20z7ctmuaqzc6za        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qxmzdx45tn7pp6aeas0axzlnw6c6g70sqkgjjln        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qxn9tzpy0qy3rskm6uqdmqqpwsvgrqr444mh0gz        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qxnk867mnnk3gnssq3cnqxtgkzd5lsutslg7e6e        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qxnyfcvm4sc70n8jyn2lnp3rl33xg0mvtxqtjkc        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qxqkus8ua9aqmm4008y475hpej84jvumfy358jx        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qxrpuercmhnf4u0vmmyueh3trjx6ct3yz4w0f7w        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qxte2z7huxmk5d08t2t79n4qz4hgswfyjjz5kd3        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qxuhn5lxhuezs30hcvgs9h7azdvtdfqzphdrt9h        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qxuw6uql8c0hae93jj0m9z0e762r9ac7tp0veys        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qxvkmvwl48w9zu3dw0nw0h23fe5f0ngw6h2n9hy        BTC                   0.06400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qxy9znvhgnxurntp72m6l50zu7mxztspkfuznnv        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qy047l5c60xtd62zuwmaatjgphgdhy42xtwgzp9        BTC                   0.06400000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qy27snulz06qyev554h2q9ut6dshlfh6u5yyw8h        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qy2l709zkxn8t23eulw0xzev7exhkhhpz5t3u3h        BTC                   0.06400000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qy2yc5tsmy6ycjuvcw0ephgc2whyqv2t6tzw55g        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qy30s54a76qs8zcul0zujneleqwmrj5s39uhqh8        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qy35x3cckhv07vv33530vx3nzjzdy2270w3z5jh        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qy3katl3mm5nhdtp8ernedsz2mdw7nzjypeawxh        BTC                   0.06400000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qy3rd4g5puw5pqwkzdtujnr8sfyqn4t7aucqfw0        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qy44pg52e7772egd37sspej6cdx205znrhmhzrg        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qy4a9yvq2n9ymp53eaecv96phttd70jxmky0wa5        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qy4sem3um4lzc5yyfapxpmukeugku8xehmdjmcu        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qy6knf5mys878ff0ese2efpekg9gvq5csewtvjf        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qy93n8sm49ar0d8apwp65tn4sk6mh3wr68a8pz6        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qya0ptndky2n4yff07ar2hkvc732l0hugmzferh        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qya7rcnx80y6757x8ec7c3k0s3fge6u58d3r0xm        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qyacmmneu0ayvyh35azj2w9uyq4jwlydvtge7y8        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qyan4gwlqu2mks9zcc6egecfvrze69n6zl4fpx7        BTC                   0.06400000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qyawpy6cgthu07x04sys4g94l3jg4yz3y3hnvnq        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qyaywrcdyxlslx64zjt7ze4tdjdvr677v8ay7z4        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qyc3w09l8c870jm9k2c9x3gncylle40094suplr        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qyca4sqnl7ez4xcq8dytl8senjvvwu58gya5ycc        BTC                   0.06400000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qycjknmtecsajq9av8adkd3jczxga9ug6tkw68k        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qyd404mq7yk2m0vnqlplnfsdhxwfpzaw6uu8hng        BTC                   0.06400000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qye5gslse7xje3v80ztfzla7vxvd27sul2jer3q        BTC                   0.06400000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qyelgrl6pg7tmqh8txyqzw5jsxvngvm0d7jsv07        BTC                   0.06400000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qygas278g5dud0053lq28zgahrtax3x4mj3tgzm        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qygj7f7xvz82t8lychyjqqdafxdj5hkczqmf9gn        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qygr0q7fr75mtd4dwgvx58c0dtrp2kmuzq2edwr        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qyh5033wa72xy89xq6r36k2gy63ytq8n6glzslg        BTC                   0.06400000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qyhzyyg9p2tj7ygxdnpcedyyflcxp4gstanpgu4        BTC                   0.06400000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qyksurzttfagrgme2p5mzq4dy6f2wplpvlpcck2        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qym29wp9y3nxm642t5k72ah6em63wvdh42queke        BTC                   0.06400000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qym4rcqxh6udpg54e5klmuqzkhpty3xqqgn27ng        BTC                   0.06400000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qym58p9qy052n7unckarfdpsz9gczj4p3xl43qv        BTC                   0.06400000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qyn5v8nh85zrdq980zgmdh305zl97d8s9ctrkar        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1qyndq74fyl4czzwll28gt53aqnngv7rcvz4lk5h        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qypkd9cpgkuh5rqjltyyjtkfwtxaqwszf2d6wlm        BTC                   0.06400000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qyqhx95ce4ms9lp47tmr3z6k8ymlatvskw8xklv        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qyqk0np2jv5ak07s3zkcxfcrpaaj7e0huxxxr8m        BTC                   0.06400000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qyr9auax7yr4vagz6urf6af03n2sesfpe5s2xfr        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qyrh3r7qsqmz45kw84u405vkwuyrl8kzmlvttx8        BTC                   0.06400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qyslcp7wjy6hf24266sa7q7sehaly7pvhwt952w        BTC                   0.06400000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qyugp0st04kj9xqu0n0ghdkar92lvta96mgm0xt        BTC                   0.06400000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qyujnm07hu49kf3zv8r4278cnmuak4jehm6dy8e        BTC                   0.06400000 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qyv2zq5f0rduuupmsypf7cklud7cpl3f90ckswl        BTC                   0.06400000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qyv4g6lgm830g80ya8gm4ffz3wd4n2ew2sychhg        BTC                   0.06400000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qyvedll5m5cqwfmgu2kfzy6mh9zcenggmyyl232        BTC                   0.06400000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qyvmfleyhw2uh4hcxv9q80uzxkmlngc0q7tqq74        BTC                   0.06400000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qyvwqxk3te3hlgqesl6gmg0lc4789w63sz4avgr        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qyw93xdgu8k2xaz9ufnh479k24rgfrwad4ly2fl        BTC                   0.06400000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qyx5rj0erg9wg6tlcj5r63rs234hc3j32re46l6        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qz0kf6ua9ksry67fnx6nmewz77p92mx2zttzlr8        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qz0rup6fe67ekv2nv39zs9xyznn9mvfz393tmy4        BTC                   0.06400000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qz26u2vc3z3w49mftk3cyrqr56v8kt84ym9swcm        BTC                   0.06400000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qz2fkfdt80af3e06h7drr5e5rvq3c3724kmdhlx        BTC                   0.06400000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qz3d96aedu09u7a3n29y6xkk9h5qmgd06ak0ku5        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qz3lh9maeeh8l5y5fp33t9jdqp34nw5q0e37frx        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qz3p9nqmpzzqfhxagz93sflyprkq7yzs0vcrsgu        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qz4he0jpx3m5rdqljyrq070s27add4h925mf5fx        BTC                   0.06400000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qz6s7ydccew9fr7cmscwmsffq856gd273mkuk9r        BTC                   0.06400000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qz6tj90rzf43ke9mjc35ccsg7066zk0a68pnm6t        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qz6y7makcvcegu4365cwpmpg9z53tg8kk0ynkwm        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qz7au95e77nm3y9nza5gznf76fq05erhz7rsmav        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qz8mcx8m49wl4nts8ydxf22303dt46dc6apqpgy        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qzc4ldstal3lkz0ce965xzmn2cyhaancqrq8htc        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qzc8gmzqzth4846apk3yn4urdrrs3g7fftvy8hk        BTC                   0.06400000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qzdukgkwn4akupdxcp6d7x5gdsq2mmakmdgwlnx        BTC                   0.06400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qzefs53rjnnff93tk6fdn8lnwqgxqlmeln4947g        BTC                   0.06400000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qzep7lmpfdjm9qvc2y83vc8kvg4udshdg4uvvvl        BTC                   0.06400000 2022-04-02 00:17:11   2022-04-02 00:17:11
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qzf5k3j0e53cgw03ateuhjrp79c73czlx539afy        BTC                   0.06400000 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qzfwcy0ad7nzplf2asme8r975tjj7fltc89dv27        BTC                   0.06400000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qzg2guyzdu88vf0t48rnf487j6l2uvzsf8nxjen        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qzgyx3nx30clyyrw4yyhaw27xas37t7tnmxr0g2        BTC                   0.06400000 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qzhjfagrejhgzd8j3v26eya7kcuqwf2jawk5nwu        BTC                   0.06400000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qzjn94u0qjkvk0xjh5hchlqkwkjanhsw93jet8q        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qzk2sd56l56jgllve2ezfrlzqtmhvdm6nnqecmr        BTC                   0.06400000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qzkpv85fee4dv7xadr7dm7xkf7smqencfxvm8nn        BTC                   0.06400000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qzlg68e6w4rx9ny490eku0x4d0tv2c6a6gwxzjw        BTC                   0.06400000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qzmjeqsc8qj0nhspfvf3590g3rdn5tfjmgst3hs        BTC                   0.06400000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qzmn73n5wg3nr4hac2l39szssajv9qgskh08n29        BTC                   0.06400000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qzmz5zlg9p0wmz44g2pwkpjyvvwsgs0rghd0934        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qzn4kzv964swsvpuunknxy5leazsgukkl4uaemf        BTC                   0.06400000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qznhc6wn8rkrs5vyztc6mxklcazh62q2yl30d83        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qznm5p6m3mcaqmwqqpc7xjsfcn4udjv8r42r006        BTC                   0.06400000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qznnmel4tal6auy3l8cmvgxl65jgepja5tm7ur8        BTC                   0.06400000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qznp8kf3cw44mh2gpd974yl20ttarhvjr9sey3q        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qzpq9xlt0ua2dd8njpedpdtyfgxlxa07a74at5f        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qzta9s07s38xj9zje7nq896pqseaslzc7r5lvyh        BTC                   0.06400000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qztdpjuemeawf9h8yu6gz4ztklkrfq9fkzxn8wy        BTC                   0.06400000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qzu644fkapz5e9d4ktng3cvvwfuvcts4purf0vd        BTC                   0.06400000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qzum8ulkrpj6ml9nq3wx3gnelgw9ca0yu0hfgug        BTC                   0.06400000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qzwutzw2elac0c50mm9wfvj0ysde42h2k6m4u29        BTC                   0.06400000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qzyxw9c40v3sw0u2dgl62ldlt5xhjnv5qgqm87v        BTC                   0.06400000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qzz59n57cyc3ymfr749hgjey8y7jmepfu3pur39        BTC                   0.06400000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qzzvk8xejv5ky5anv7cdx4p7ajzwmxw99xdaj4g        BTC                   0.06400000 2022-04-10 22:32:32   2022-04-10 22:32:32
                     bc1q0qk33uj40mnus6j9cdrkyf0nwacfzyzczures9        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q3nk5045mptjhrrdz5gjkwjxpn9tc3flzs6utws        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q45rfalxmkwexdw5m276yzta7dc0n5d7a3s0c4v        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q4ya9gaefjra2txf59529n4scqa0638lf4hcmnw        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q5g6agwapj82d6tu74wvmmgm3u7rqtfldltc386        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q6d0p2es5mlk96vn3rqhst868ggrl8rkq09lsek        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q7le82wmeela6ar3snypr68mp00cx70kvrauqv3        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q8au8t99cdc2jqxx00dxmr2qxcpk7yyae3lgl39        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q8hn474xzttjps55ckyvhyl09st5pezmltcu75m        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q8jvru85z7u65e6lkw6aycc5lzxu0fs8g88ahku        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q9g0xmxwk8tpyazjqvnjyuhj7vzm6dz99atdk00        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qa76w6f3680gjc988ya7g303vrjp3evppwl2rsf        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qae06vts4yhe6yrp48tqffj7d45yk7z8sug030l        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qcyzs7jzlrcwkdapztqf8gxcxxsaggykdfjhh9v        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qd9kxxg6gj0fazmt9qfkg0ul2a84d3ehvptj4nm        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qdq78mdhqmdv8wrsz2gvncf9jj39ewrs6f50pwx        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qdulkl8djpelexrxqnjhphkjcueuw90269d8qtf        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qespj82dcm6av57kchlvetxmxn6n6a93xvrwvy2        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qf75kgg7w6lr49qu87eem35chcxzprdrxuynx0z        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qg7pgcut03wmwg579ukql32n5ug0rhaehwzu9sm        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qgujca8qyf2mmmmed90q4fdthpwffruu7swkcxk        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qj30uat06dns6gqemdp5h4dx0hsutm46wpysdeg        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qjqw56dvygde5xm779zq5jax4gke7wlqep2q3gz        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qk04s574wsftrxxpdttnz28e52ge9udjw3zxlyv        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qk243q5fdpp25lfslhj5gmvhuff5ptey8cqzffh        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qktuu5dtfncslu3e6646zzax8rflrsxa4tp3ujk        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qn7u5pttlq5zs7p7tjufzuswspeyy7m9ljfl0r6        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qnc6n5fvg8n2lypkluzgydlcrzj5v7zxkrh2xpe        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qnyqctvge0dfrkvu9wc43lewumcqcul8yqxpr06        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qp2epa8w2elhdvl8p7szenrg7svqll09960tmnm        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qpcs9lcu3anqf05z4zdwu7sqrwk6xelaz0l5fq9        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qqmxecmux5engfph5jj8q7234ulagh2weyquhpg        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qrh3njnt7kzaal900vnrdv6awlh3hdd34uc7j9z        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qrp6dhz2pxu4njcvhgazh464qtkm0jlq6ds3fgt        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qrr9qehy6aar02lks25t6yddc342flfun2yrhku        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qs8dz79lu2npgqlql8guez7yr08nngervazfhg6        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qsme0znwu30xncqh69k4zjefdlpnugc30duelep        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qsqdrpk23rwlexmr55d0cgamfh43pkn70kvj3ur        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qsqyxdhvdad2lgky6rd4thdywwundtw98aavz6y        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qtczsrpjydsgan2qv32r9r9a7ddw8u6pm6sj825        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qttqupujrz2hd2dam8x30pedv9p79aw84ghx3wv        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qu2tt7shrptet7tp07tfmyg5k9de5nzsry0nv0x        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qu3pkmq6nalsh4tk4248zcs898rkmsejkvgr73v        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qukrl646w6xwkp5yaz3pwenj5fmhegjqdgeskkd        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qvd95ttfuewmg74men47xdlucy40u73l464uqmd        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qw6wytr222kn2pz7mlfweueem503lq83rzh34gw        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qw7u90wd3kuphredd63urssu2wdlw30dw8ht6kl        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qws7wpjkvks0k5z6sne5x5lwf5u037yflvs9z36        BTC                   0.06399997 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qyc8lpnxjesmydqpy43d0kvuuwshspf6jtr3ys0        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qzt2m0mea9m0k0qxdc0xa6a0z422qaqh7ly3uxr        BTC                   0.06399997 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qpunvhept86r84qrswfq3dd4wt3t64qj2kcpnup        BTC                   0.06399989 2022-04-30 09:34:56   2022-04-30 09:34:56
                     bc1qs88sxwjtshv7gmzwxqnhulmfc3aggam63y68xx        BTC                   0.06399890 2022-04-28 08:27:41   2022-04-28 08:27:41
                     bc1qu570pyf9z74hdwlhwavxlgfpz0lw3s3grlapdd        BTC                   0.06399890 2022-04-27 02:26:31   2022-04-27 02:26:31
                     18aDA1ygzn39nhQPPaZ12GEVAFo3QjNpfu                BTC                   0.06399887 2022-04-17 01:55:40   2022-04-17 01:55:40
                     bc1qgqa7xzfwg3k9kgxkp84uz0k5rc3ag8laxsj794        BTC                   0.06399832 2022-04-07 11:42:43   2022-04-07 11:42:43
                     bc1q5zerf8z7d6a99tvumm8r8nuhwg662aksks65ah        BTC                   0.06399643 2022-04-27 02:24:59   2022-04-27 02:24:59
                     bc1q0j0230rdtszssng966jv5nwhmf4n00mypknhsc        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q0wlnegyhlrxgmd8ks4y3sz7yrpjthlpvxj9s3z        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q3accf3xrn6vq905hg2jnramdsaysmw8n9nm70u        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q59pfg5ytm2xx2qyd35n8crdv6u4gzfxfeetx3m        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qa5yzw4n6vq76qpdpd6z9rqkv56vuw4e5vxxhvy        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qcq3lxh8f3nyhfqxgy09u0npg6zmk09ak9y5027        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qe4ae0f6zxjmpjlf5j5pyf084nnzezutpuxnmjs        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qfnyxk9hpdffm0zckyjf4xn4h4ty62q4nvng4pz        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qgnuyd0cyr54mgvphe859uauq72uts80esgtzqe        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qhcdagzc4aq956960nkmywul08y20aa8w7lp566        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qhdusc3x7a2p87gdlqnd22l4xf0tgw8jq58he6f        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qjl2dkv2y2gy87uxg9v4pw77633s4lxp94yzqtn        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qlkunu79uwdlfwndkdfltaj8umhqqvmgzlhjztu        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qlssak4dvg4k8ujyqgd2smvgyd2r825zr8k3kq5        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qlx4pdy9wg009a9avuvcfz6d7hm67x8nfnvq6yj        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qn9h42kf4sls5v3z0ql2ugayl06d3vudu266u8d        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qpqnvz2qg6m87jrh29mp3phwtyqt0lxrhk5nsge        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qs35psd5fdtsr4geakvg5g3k25zm5jqte78gpye        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qv0lmgzpd9fz3zz7e9ltrtwu49ej8vwkp6njwas        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qvulh0m3hmw89j2szryrgspzytyktgpx7qf8rcy        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qw6ptu5vgkllxzu3fxju58uhqgpn6l3elwsamf8        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qyjzy94gh9cppy83r6hvrhwd3v9xfefnw8dqcer        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qyxqe2k4q85ev9sd0n8udknutpwhdzh8y7hscx3        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qzzwn5h52g9tv3ydygt3tv65r4rluhs2yd0rc47        BTC                   0.06399524 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q2nqx6k465vxej0r4j38r9sjdvhmu7pyfrp9s0c        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q3sl2lhpavasyel72qjpfjahzw0xq03z76ncasr        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q4awc2qjdy2ad88k6w4lgxkp5chp8vyj2xrnetp        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q4hc4sgzymca7uqu7n3vk4w4f7lzya2qt5mmmph        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q4ze3g4na2938ggnmcea6azpqhxl8k8df8y5vde        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q7epy56mzxt94gclel3jpqqp4ka00z9fhcs4em4        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q7l2ajs39e9ce8g79apu3amzs3k4cu7cgeja9wz        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q9upe255354uyxvtqnrxp9yry4wxvzcju9dnwlg        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qa0jvkkae5enrcfq5v700ldzghsx72a68xuvks6        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qau7g8l7vqv78sfw23k56any5zex6apdsuj8ztg        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qd3kkkshdgrrhtd3nffq0k6jhezewffft4cesj7        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qd8rvaf3dj5mrsu495r38fhufjruzw098w4f5h9        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qg5zcpjklyzz9f63azarfxz3gm97uqmn42gqu8p        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qjgp76wmk2cw42akdmv06t95q3vgyky0s5s83tp        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qk6728vfnts0qaukts8yxlyvzfa6rgjd4vfmkk5        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qqnrrkgea92t7cgu7jc2963pz055lcfe58cytuf        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qqtdjnealpegdec7awrq627yf9z4h76ccqx68kj        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qrf89f47sy030klna6sckylkdh7hrgsvltcgg8r        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qud2pn3xum9re8cpzeem5rllt9fvldaeqc2s5nr        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qwapmk4ak426fs82xwjgumf9r39k76k5d6dz54a        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qy006phycxy7jn327z72j0q6tfjzeg34l8k8p7j        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qy4mpahqwmlehj8lx46rvvx4d9hd96uw520x2t0        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qz7y9axrxp0xxj66x4mdd9m0n2kc37suavyvt06        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qst82fz8pu9fzmvxgn2eec48qntnwdgczwr6fay        BTC                   0.06399472 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q8wvvqus3zle87e22mwr5ysjv5vz08c05z2jjmg        BTC                   0.06399434 2022-04-16 14:41:39   2022-04-16 14:41:39
                     bc1qj079z7vtxxsmevlv6y7205ud7gn3muxm6njrkn        BTC                   0.06399391 2022-04-16 21:17:05   2022-04-16 21:17:05
                     33DLT26eqZBpwupkz11ii4fAaMfDEua2sv                BTC                   0.06399334 2022-04-12 20:21:13   2022-04-12 20:21:13
                     bc1q4p04zh0sla72lgu57guymtd9cgtncpveym3jfw        BTC                   0.06399025 2022-04-24 04:20:00   2022-04-24 04:20:00
                     bc1q3q7dnaaqcwkvrsxfm6zkcdp2f2kqes9typyelz        BTC                   0.06398716 2022-04-15 07:30:11   2022-04-15 07:30:11
                     bc1qt99v6a4fldh3kq8jku2lkcgh8psr6nnf4skpya        BTC                   0.06398635 2022-04-05 20:21:57   2022-04-05 20:21:57
                     39F25HdV5CjbmivvCx4cUD3PXRoaane6fP                BTC                   0.06398590 2022-04-27 19:33:42   2022-04-27 19:33:42
                     3Abz74Sr5ZjoQp9YhjSL28ZNTWp9ejXomP                BTC                   0.06398557 2022-05-02 15:11:27   2022-05-02 15:11:27
                     bc1qrmjl4004e6hjeyaesa056nndhfn6j489fch6wz        BTC                   0.06398537 2022-04-05 12:56:37   2022-04-05 12:56:37
                     3LskzYkuCHKPMn6MqoiEgLap6c49mTNqDd                BTC                   0.06398535 2022-04-28 20:30:32   2022-04-28 20:30:32
                     3BZ6LX2xT8HiwBMidH2Y4RLP1FB5n8Ejok                BTC                   0.06398213 2022-04-27 02:43:48   2022-04-27 02:43:48
                     bc1qpzpfhjukruhwrthf7pw46pecvhph445uwg48jn        BTC                   0.06397976 2022-04-13 08:27:47   2022-04-13 08:27:47
                     bc1qljgjwmvnpwcmu6c24xyjlcywk7zez6hwe2xjlk        BTC                   0.06396145 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qxc9m24mfdg822ppul7ckxj3xu6rjl2ds7tnldx        BTC                   0.06394932 2022-04-30 08:49:12   2022-04-30 08:49:12
                     bc1q0fqykjxskuzn0rr8kk5fvmetcqgxxxpu4h7lea        BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
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                                                                                           Funds under claim
                                                                                           (average confirmed
Owner   Beneficiar                                                       Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                         with the five
Name     y Name                                                               Unit                                      Time                 Time
                                                                                        tracing methodologies;
                                                                                         in cryptocurrency unit)

                     bc1q2epg4u7huza637k2wzf8wr3cyfe0qmypayrsy8               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q4eg2f49jkghmcvpwtuz9cfchrtnfm58avrg6wz               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q7dx6rz5n6k9vfeyp58wtcr4amtx06hzahd6m95               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q8ch2226k8apkme3hfr09mk2nvp64uur3xyjqsj               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qghp9tflh7w4fctxavl4r4gd2mx7yjheesrsj9p               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qgk2d59qmm9yx682zvlyfuu4r3k5zr0zvtca2xz               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qhztksfaalg8cr65c65rz007x4tp6zhzf80rjs5               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qklz6t55dqwg3dgdgstm0zac3s5tyttn33hrmss               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qls0sd4hrtdvwy2r0jt0zplzh5psazflcpxqmqv               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qmqjvygrtqwx5x8khdy7ad2fhlujsaytt58ljhr               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qnjpfthhpa48vdlp72lmnjm5mptz8m5wrmurdd6               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qp2sl7aj0f0ukwtemx3hxc5ykshksen0hpyqajh               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qqvpkeu3dh6xavuueeucjmwq8ychm6vkhahys60               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qrtrhgfmmp362yy7rndr939sh2xrrvzuhe0dhsa               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qslvgmd9adc5h73xkft23yj2n4q2nfcetkeeprl               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qw866j9355zjdvs0nyreuxyxjhcpav55vgn4g9j               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qwmjq2kmsvehpwkzm23q0fkvc5fytscp74nh6vu               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qwpn7lkrz8ferdyarv3dhtqg0cwadntlm5jqf5l               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qx63pge5zfneuapumcyed969j38lg0hzeg809gh               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qyeja2nqkya6sxwrzcqyne5mqyl2yvzzf0sxdyu               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qzsj9shnzsf0uwdwac4wugr5u7e4jytmmrpdfms               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qzy8u6z7ehv5mwjl9vjr4de6mlaqgccxzwvcjcf               BTC                   0.06236953 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qaw8d0msdzlpg5r8mphkm7v0xmkzsgjxa7aj9hq               BTC                   0.06206556 2022-03-26 18:12:53   2022-03-26 18:12:53
                     1MNZyvBMnDJqgMLNgE8SaJbmQuVFt8KNMR                       BTC                   0.06199003 2022-04-11 13:40:21   2022-04-15 14:18:28
                     1Mj6idn2STGbCF4Z7LBKKWtCz28Y2wKBU                        BTC                   0.06195224 2022-04-18 18:59:14   2022-04-18 18:59:14
                     1C6us1qmThh2TutDQVbkDr6dqdEKzBXPfQ                       BTC                   0.06168150 2022-04-03 14:18:40   2022-04-26 12:41:19
                     bc1q0yx60l69e59h274u3yc66erz8k52wj2vz9e6ylyyj76hv        BTC                   0.06134048 2022-04-27 08:49:35   2022-04-27 08:49:35
                     bc1qxdaxsu9qt0mvp2p97nlm8e035lgxgx8tf5wdtj               BTC                   0.06109600 2022-04-23 10:23:46   2022-04-23 10:23:46
                     bc1qvev43rv2lkeq58gz5fr3rz44gulgmwjeyfz0p4               BTC                   0.06076477 2022-04-08 12:36:27   2022-04-08 12:36:27
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qjvvce03rnp0mgmqe6p4akj6sf6cgng8fu970ny        BTC                   0.06068025 2022-04-28 03:29:55   2022-04-28 03:29:55
                     bc1q2ve3mz8a3a3an3ggrcz2xv97gpt2fsgh3ndhcy        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q354clrvkm0vvp59s5uhg9ljrlg5e00ry62dkj2        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q5jahxfc8x3t3qvdp433a3e5sus0gz0xuassqut        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q5yjzr52crzkpsg4zq3p5pgr0ajgrveymkytzsd        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q65npuhvy3wyw0zy5xznpyk7h0w7c9kn5kkvj2d        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q6ayv9dnhz8c47vmds75xjq5u54au5lvnfsx4nt        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q8fwpfl4qlmy8p2329xst9ahe0nkxxqdz9850sy        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q9n9gy9khz4e32zkt53j46fqzf0qhjf8lvpw539        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qczj2e75kj7rxv3gzlewu7jn7w9tjyjua4rs9p9        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qesvl9v2srcrf3hdyz8eg89cagughf4zamat7vd        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qfy6nhaaxjdrfh8ntktkcr9qqwysamxw23zl93k        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qj3hmvh3tu8swh84m42zvj3gg6xvzgpnefdlffu        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qjd4h9n4uf3ue0c5cnuay8par3pspjchjnwayfd        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qjsqmpvyyj28n6z2xpdr436s79lvkk5rm9jfuuj        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qlekfpyx2p269q3a50u5tqt959enhha4t0cxqm0        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qlxnezesh4lae6lf5cwwvx9059tfn452glw3rme        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qm7ahhwkxrr60vcddwa2qv7vccf9e6sja55vezz        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qmdnrnjm8nxhj70v8zw6f0tnc6yulylpm8c2au0        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qnla5qhcuxakmlzkdkmf3rvskadz25p64ls8r67        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qq0pnk32kzxndar0dtkfmw5n8t4cyu9ja8ursef        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qs98myycrtvvsdz0laf8dkvprdllrp7wvrlut6g        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qsxw7y972vf2jkvwax6sup3n5h4qpgycd6fryce        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qum9yasq4l697dprq5el4g3kupt4fh0xckkzflt        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qush9awd7lw33g40z2za3nngu6qudydtjagg6ja        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qx9djhfdcme622mp48hw62ky05m0uy3r00q8pmj        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qyj2hscz7q0nmm0cyfut8fqd7m45gyjgt4jhtfq        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qytteqpym68al5vuu4mgyz2wc90tm5s9dtgh6kp        BTC                   0.06058567 2022-04-01 23:23:39   2022-04-01 23:23:39
                     33WDjyUU88XzbiD75XgAf1VTebAQ91di9c                BTC                   0.06029389 2022-04-26 11:32:48   2022-04-27 18:08:27
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qt72zfdrs5uptenj765cy3e0y3476mjzgwzgkwy        BTC                   0.06015040 2022-04-29 08:00:23   2022-04-29 09:26:02
                     3QZqrPXn5zRMVcR4E9EYubuX9fiGXdHP35                BTC                   0.05893823 2022-04-02 01:05:12   2022-04-06 05:56:26
                     3HSJmZgF5jkGUNRUbTqitbzLEe2u965izK                BTC                   0.05868083 2022-04-22 12:42:43   2022-04-22 15:56:46
                     bc1qm2lk6qmv8uz6v29ztrcqmadx3304nj88segc22        BTC                   0.05813466 2022-04-08 22:17:07   2022-04-08 22:17:07
                     bc1qq23px6nakg80lm9ynke4hncac46ava6qsm56hx        BTC                   0.05768609 2022-03-31 00:35:18   2022-03-31 00:35:18
                     1DBJukLAsein62eLU27XuPkxuZffaQFjSC                BTC                   0.05736085 2022-04-20 04:14:28   2022-04-20 04:14:28
                     1Lejpj3QLRjsp99FPoRdLr96G6EJYS73mj                BTC                   0.05726147 2022-04-14 14:03:28   2022-04-14 14:03:28
                     bc1qmwytn4lppukcq2huafxyfwkgsqezwe8qcktlcl        BTC                   0.05698055 2022-04-14 08:43:30   2022-04-14 10:31:49
                     bc1qmhg3khuuau0xwawlwxp29t0qhkfuzet0marqzl        BTC                   0.05696123 2022-04-28 19:12:26   2022-04-28 19:12:26
                     3Pq1i5q3NVFhX2PPUkgwUULGmEAxTVupQ1                BTC                   0.05642778 2022-04-30 10:06:56   2022-04-30 10:06:56
                     bc1qsa0jjrpptypthg27tg6jzr7888gm35x9y2se03        BTC                   0.05618967 2022-04-20 18:01:39   2022-04-20 18:01:39
                     bc1ql33lwl87t3y46zde42vp0lvgp9m4wj0kjmknf8        BTC                   0.05605183 2022-04-16 07:33:29   2022-04-30 08:17:40
                     bc1qzx7gl3jlvapm53ngg0xhgl5wckkrf3ydmk3m9j        BTC                   0.05604895 2021-04-12 17:08:21   2021-04-12 17:08:21
                     3DbDYiVmZVuPvhZPCB23B4bHA1q6TahSAA                BTC                   0.05582086 2022-04-03 10:01:55   2022-05-02 13:03:57
                     bc1q0s6xwqzm4xtkjvwnsvh22xkzcjqlyema3x5r0u        BTC                   0.05563300 2022-04-29 07:31:22   2022-04-29 07:31:22
                     34czUWokKkgt8rVLbKgk33mNqAeggc6Xou                BTC                   0.05552383 2022-04-12 18:55:01   2022-04-12 18:55:01
                     33z3oDDyqwCvie8A5HhHWiDk6UjE9g6M5b                BTC                   0.05537445 2022-04-21 14:32:28   2022-04-24 12:23:21
                     bc1q5teanz2tl0kuz8mcukflclwm9zcx4svfq53nv4        BTC                   0.05500000 2022-04-29 03:50:32   2022-04-29 03:50:32
                     bc1qckrnzm6mrre7d7mr0fxqee5pygxc6e68pwa9tf        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1qvc6quxxkqhstqr9qshrshyd5ed0zj2t3sha6xz        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1q0usp0zqafgf2d574mazy7ssquej75fpmvdc8eg        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1q4qft9pa0xuvt3kjml2gmyg7ptqtdpspt7k0nyj        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1qf572m2ws6a29f9g3rlgjhs49rrj8hx9nu997sk        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1qg8dpcrhxs7rremtpzawr2mme770z6pgswsua8x        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1qhcd2q43ctgygdg3hx30vgqp6mxg42dm2uykkh6        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1qnes49mnarnrg3vxmpdvf4dzs535fnp92ecnqlp        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1qpy0uu9q0xy38nv735d84kl4zdxudevyef5lwcl        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1qsen0rgq6jm0ge9x9jgx6vdckjxqtgqz3anaxcc        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1qux57m5n9qyv65hr8qt2rc0agv2exf3ps5ypczg        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qv3ass76hc4p5d3qkv47c0qaramn7e2jfklqfzq        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1qv44xxjykedmqwyvfj04x0y3avqnqk5jk22fagj        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1qypl8uc4qk7f5mw4vt58plu5v7u7ggar2jndacx        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1qz7dvdy465g5f6vdkwzrttsgl3jm9k2jrcymufe        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1qzkkhmrzhaqthfxgqxjezj27axa6vvg4jt0s5n4        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1q2w5xz7c7alfjr9c35rh7hntacz9t22xz6v4puy        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1q89sd6mcdraeh77xmjer2t9h2a8atakmjwxr6tu        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1qdv99tmdahdz9lxkcas6d0zmawm5ap03kgu75cv        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1qjlrmz202u82uhcsfh0gjy8seg83246ktmzy08a        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1qre3y345wcn6w3yvnwfnd8d6tdmlmwj3ru270gv        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1qu39wtk7646v793haygj5xkzharww0yzz2dhqpr        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1qv0n0mztm9a3yk8reefkczrk33j065jpkvrc2w8        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1qznq7acz9umuytkn7ec9n872nnucl0yh8vwrg0r        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1q8gk22ehnsjn7tjzuqslffvk59ehawfhpe8v78e        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1qhp3p9x0k8ap4rkflpsuqtg5su60cfs0dlfx3xp        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     bc1qty3zw6k2vlks9hrsdv7rlps850ujllvgc4df3f        BTC                   0.05478177 2022-04-17 23:56:50   2022-04-17 23:56:50
                     3HcLLBCmYkZudTvfdWRGVox3pDKXTv75qc                BTC                   0.05473996 2022-05-02 03:38:53   2022-05-02 03:38:53
                     1DqC2w2dAs2B3AoWemVEKSfZnMf3DrB4gM                BTC                   0.05463582 2022-05-02 07:29:58   2022-05-02 07:29:58
                     3A24kjBQ1PtLnpursqG5VyGJ5YsfWEoMCW                BTC                   0.05412267 2022-04-19 13:46:12   2022-04-30 12:34:49
                     bc1q2v633j2vq28h7khcsapxhnnenq65u5py7g4axz        BTC                   0.05398938 2022-04-20 16:26:59   2022-04-20 16:26:59
                     bc1qurv2jjxvfnw9l89k7v96kpu65je87whq4xwx4s        BTC                   0.05389866 2022-04-25 13:22:26   2022-04-25 13:22:26
                     3KGE2WtHiUVhpaCn4hNtktTwrH2446W18n                BTC                   0.05375037 2022-04-08 16:42:04   2022-04-12 01:22:32
                     3EgEDMiNpe3raCCQrzhCrpvqtwjrHYjpf8                BTC                   0.05370516 2022-04-22 01:13:33   2022-04-22 01:13:33
                     1NiLToZ3tGAQv53SwScxbDh7RMu3ie74KN                BTC                   0.05322687 2022-04-20 02:58:02   2022-04-20 02:58:02
                     3Q38hKbvXy8xvoxmufDvLQ2hfaxQ9oiasb                BTC                   0.05318203 2022-04-04 00:58:03   2022-04-04 00:58:03
                     bc1qkegcl3f36w9d8c0x6v67re7r6u5laukr33hzpc        BTC                   0.05309366 2022-04-08 22:17:07   2022-04-08 22:17:07
                     bc1q774xx8ugln7mkr3lsu8cu4lppwcmtlelj6yz90        BTC                   0.05304729 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1qg24an7x4y3eu0qr98qpmyf67pdtd60exkh7sla        BTC                   0.05304729 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1qpe4jaedkk6pmqp9zsacju68uferja99d67qyfq        BTC                   0.05304729 2022-04-28 22:54:53   2022-04-28 22:54:53
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qqgh09j2933lqh32slpts82acsxtrrhk50shghc        BTC                   0.05304729 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1q22jctc8euyddnnwrcy4fwzkldvnzrgykqzdst9        BTC                   0.05304729 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1q40p793taeuknkfed6a3w9kpdse279e47tgcc7t        BTC                   0.05304729 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1q5z45lrh2wa5dp2090vhrfj36m4v2v0lm3srgh8        BTC                   0.05304729 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1qexawh7zmtmsaqtxf6afmt4206h6qy4n0lkhlc4        BTC                   0.05304729 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1qkmu8l4mhg2ntvs95rh84l967czjnmxjn9tl8pu        BTC                   0.05304729 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1qpa2jtd9nvdu5w4zkhvuhndf77qlt46u2cvmrpl        BTC                   0.05304729 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1qqdrr7w8aph8gz8whmj6muedqjt0j8g6yey5s4f        BTC                   0.05304729 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1qqtyldxty4fj5cq3wn0r6vce4nzfqqaz6430v8r        BTC                   0.05304729 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1qts4gfy7mrf8jq7n7eudae9w9hze02ma0zdnlhe        BTC                   0.05304729 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1qurglju37nt36lslfxms3htv0h7jk8p0xudcd6f        BTC                   0.05304729 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1qysnuzszrwk6axh543u3rfnvuf7wfxy734e55qr        BTC                   0.05304729 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1qz3t4l06zs5k6jvmp3hzwkmu96xpgq5jf84achc        BTC                   0.05304729 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1qfspgs4mre7u9a0zx52v6dq7nc4ar2m26yf9f6q        BTC                   0.05299765 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1q5de7r9clm578sfcj3lvs5v7mymck3zw6htfgyv        BTC                   0.05299765 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1q9a9gv0fmc8r289fmw6hpgkykstevvdav3ntvt2        BTC                   0.05299765 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1qcq0ygnxtp060ynkj4f8rx0uq8fup9vmj3ujuns        BTC                   0.05299765 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1qpnav0xcfg964guk7fzwg6nfncdarj9jlvtwz8k        BTC                   0.05299765 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1qxk65xa0jssff4c45temx2a8fnh0h9c003z2d45        BTC                   0.05299765 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1q97t3lpfc42zzysk63y745yyy9zz4ct6a9pn48v        BTC                   0.05299765 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1qudcmrvhjl86d7s8706gr9lm9jpe726g2jcvan7        BTC                   0.05299765 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1q6l8lsn4kttlvpc3g6up8t25f75s0nr4gj5k5jk        BTC                   0.05266181 2022-01-19 19:14:15   2022-01-19 19:14:15
                     bc1qutv962rncmm5eamguuf4nvnj6mw3dkw9y9j58e        BTC                   0.05266181 2021-12-07 17:27:31   2021-12-07 17:27:31
                     bc1qkfv5r2l69ujfugfrjrlzuzp2kdaykgeg2lrn6z        BTC                   0.05227597 2021-04-07 17:00:34   2021-04-07 17:00:34
                     bc1qscaehsm5dmkkje3nnhcscaan64awukhzu4sg74        BTC                   0.05216759 2022-04-18 17:47:06   2022-04-18 17:47:06
                     bc1qnnkpnjcyv5mjm565r0sw57z9qz3y8y3mh2pvrp        BTC                   0.05208091 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1qnrnsgsc7k2j9ny5cp5a3rxh7a0jtyhm86ln89j        BTC                   0.05208091 2022-04-28 22:54:53   2022-04-28 22:54:53
                     3JQM2MyMhHPJyKFG7KSD7cEqQMkWd2oNJG                BTC                   0.05201117 2022-04-03 18:17:30   2022-04-03 18:17:30
                     bc1qa8zn6ck0ylcx7qgc3cvunwtfnvsew7y442rzt2        BTC                   0.05197380 2022-04-28 22:54:53   2022-04-28 22:54:53
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                                                                                           Funds under claim
                                                                                           (average confirmed
Owner   Beneficiar                                                       Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                         with the five
Name     y Name                                                               Unit                                      Time                 Time
                                                                                        tracing methodologies;
                                                                                         in cryptocurrency unit)

                     bc1qy8mgevgmdee6m4g3vq6nrjfykmgpznxh27j8de               BTC                   0.05197380 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1q8flhnhv9tj7m3twv4srwse403crdyvzx35ral8               BTC                   0.05114296 2022-04-22 07:25:30   2022-04-22 07:25:30
                     18pGoeUHcZdcqNUALzVooTr1DTTWYZt9Qx                       BTC                   0.05101797 2021-04-10 15:28:04   2022-04-26 10:23:32
                     3AZsTPLUdnnHCfyjTwp75Rj39x4tG7wkDD                       BTC                   0.05087538 2022-04-03 19:52:45   2022-04-03 19:52:45
                     32XidQfLCXJXZHakxr9jrouEYBDiP5DTaA                       BTC                   0.05057896 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qxgkjjen570fyzkgsqy84r8mr3fu4jcgfqekwuy               BTC                   0.05017788 2022-03-31 00:13:29   2022-03-31 00:13:29
                     bc1qljjya2zklg6fnczy92avc0uq555y9m4dr7qx9u               BTC                   0.04972405 2022-04-06 10:25:32   2022-04-06 10:25:32
                     1FBDnfvx8y3QfXGE3sWQJyQRZZpK6QuE3r                       BTC                   0.04959886 2022-04-13 04:11:22   2022-05-01 14:13:11
                     bc1qtz8qyw27h75tmuzaek244qyvzcz2c4f9wcprhg               BTC                   0.04909735 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1q6qjzt9smuuedl05wpvsdxefl4z3xfy26s626cl               BTC                   0.04883305 2022-04-27 23:34:03   2022-04-27 23:34:03
                     bc1qfxqtxh6zcq959hxfzrsy3k92gzp9qrasgn32mq               BTC                   0.04883305 2022-04-27 23:34:03   2022-04-27 23:34:03
                     bc1qg95vhq3usz7yvkrlaemjhevs7k68z4v8mstfnr               BTC                   0.04883305 2022-04-27 23:34:03   2022-04-27 23:34:03
                     bc1qst0dejgcxx5hyqng752lzml56hk4hzdc35eqha               BTC                   0.04883305 2022-04-27 23:34:03   2022-04-27 23:34:03
                     bc1qxqj2m4rqe2l5ma7s3q80an5mrp2d0mx9xgnrat               BTC                   0.04883305 2022-04-27 23:34:03   2022-04-27 23:34:03
                     bc1qyynsk3xcyryaw9h6ms9andnt5zsc3vkm7q6sjl               BTC                   0.04883305 2022-04-27 23:34:03   2022-04-27 23:34:03
                     bc1q7hjnnfq6rjut762k50g5yxam04mehtyjs44eup               BTC                   0.04883304 2022-04-27 23:34:03   2022-04-27 23:34:03
                     bc1qgm05ddh2lvft9xmtrtjxt7zju4urv4w5trz95s               BTC                   0.04883304 2022-04-27 23:34:03   2022-04-27 23:34:03
                     bc1qhvlukjprg5qspf5kv0rws7qgjnqxfu68drqacj               BTC                   0.04872311 2022-04-28 22:54:53   2022-04-28 22:54:53
                     bc1qjeu8hjgektzlfncsydfx6p8psqgfve5tx9c3rr               BTC                   0.04872311 2022-04-28 22:54:53   2022-04-28 22:54:53
                     1D7ms5Uf5rvzN197rcmrN7aPGFp5pLGsaD                       BTC                   0.04851124 2022-05-02 03:38:53   2022-05-02 03:38:53
                     bc1q6yh2atkwcn7nwa8a27t3t03k90aahdddjm2n7n               BTC                   0.04847765 2022-04-22 02:50:56   2022-04-22 02:50:56
                     bc1q437vtqfheus9z7jarlq7sv8zzaqmklreg69m82               BTC                   0.04825338 2022-04-24 13:50:00   2022-04-24 13:50:00
                     1EK8VtadUeSb2ewJhMjQvipoNQBedxF6Ax                       BTC                   0.04805345 2022-04-10 10:34:45   2022-04-10 10:34:45
                     bc1qhlmfly8pysvxju45yxtgk8aqpn3vg2wu3e988p               BTC                   0.04799528 2022-04-10 16:45:26   2022-04-10 16:45:26
                     bc1qwu09flvze66wv46a0szaeewqucptw7gu8fgvtjf5fkmtk        BTC                   0.04797498 2022-04-29 21:25:52   2022-04-29 21:25:52
                     bc1qrrcqttewlnq0ppd2z5yum6qf4jgfxg97nkmmqq               BTC                   0.04796709 2022-04-07 22:05:10   2022-04-07 22:05:10
                     bc1qp5am8wvwde3th2u0q75d7q5djsq6g42xlfu7du               BTC                   0.04795740 2022-04-07 17:17:55   2022-04-07 17:17:55
                     bc1qm94s6kvk9jl8snef897e7099f8l9m6ahunahuu               BTC                   0.04762396 2022-04-07 08:28:44   2022-04-07 08:28:44
                     12nLBytwd4Yqj6kULaL9BztYDN7MTnAAEj                       BTC                   0.04748992 2022-04-18 18:54:46   2022-04-18 18:54:46
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qd2w6m897rjp4qxtu5l43mg0udqgqudw4hw0ukq        BTC                   0.04701780 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1qe5p7neqjsqjfpwdng2vygynecnlqzugl7k2jv2        BTC                   0.04701780 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1qzxed6ch0hpun53yvmw9zwg2xuuzsl35fkuypyk        BTC                   0.04701780 2022-04-29 23:25:42   2022-04-29 23:25:42
                     35vMLwpvv5qNryozaEfHPyTL8PgKwD1NJ1                BTC                   0.04680468 2022-04-03 10:58:41   2022-05-01 14:33:34
                     bc1qrpaj9wyvgesxsczheedxhg9tn2pwq0aupq5m2r        BTC                   0.04594152 2022-04-25 12:12:40   2022-04-25 12:12:40
                     bc1qhqhnghplvqup7zmr5zj6x8ye9u8wvxe56tk5kv        BTC                   0.04588164 2022-04-27 12:43:19   2022-04-27 12:43:19
                     bc1qqzrdnyyf7w7ztp9m6jz4drwkhr4zpjwqemlwdk        BTC                   0.04587455 2022-04-12 00:15:54   2022-04-12 00:15:54
                     3EocJbYFUcgjDBbg5BeebrcKT75nnCqDMt                BTC                   0.04575607 2022-04-08 11:16:41   2022-04-08 11:16:41
                     15DdsAT7h7NyEwUihgyHWX6g4J1k7aZDFT                BTC                   0.04575317 2022-04-13 17:50:35   2022-04-13 17:50:35
                     3GX433WJ4Sp9DmFK2vT6QpEnjJ817QEY3x                BTC                   0.04575317 2022-04-12 20:29:53   2022-04-12 20:29:53
                     bc1q2j0em804uzyzf72nz2kgjtl3sh2adaj8gzxmuj        BTC                   0.04575317 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1q3s0a53vr38yhh5yzxjwcx28fw399x0wr6ne7e3        BTC                   0.04575317 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1q50w94mrvjn6jny2thpsnmhd20q3lf9tcxltgng        BTC                   0.04575317 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qde3ngu0j2c7yn9ekhfrxmaajvlm7f5ydhjmc72        BTC                   0.04575317 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qgevvk329hw7y4xw3vd0p7xy3rzfca74fmm3ae7        BTC                   0.04575317 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qkfav73c8t9ekz8v6l4wjshaegy4lk2v6klraj4        BTC                   0.04575317 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qkxa2pwsppffca409j8llfu83fqnt37l53qxnmz        BTC                   0.04575317 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qlfx782nj3apzez5aewqxd2cu7rqsxwhqy8hm70        BTC                   0.04575317 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qm3e6zxh7anauwh38fwcy9vn8pu8mdnyd8wlx0q        BTC                   0.04575317 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qmsgzdwse4agp84ueg6xaty8hcrn84cdeqyd8vp        BTC                   0.04575317 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qnkt4mhfkg0zgxpjyc374rppa76vn404z5xhx2v        BTC                   0.04575317 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qnm9492tu8533lpry4k8j0tc0u2m3fnms3hr600        BTC                   0.04575317 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qqdgt3dglc3h6fyc6kg370awhayympqkhx382dr        BTC                   0.04575317 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qqdkyhmhewdeqa8226qthma7q0q3dlp9x464zxw        BTC                   0.04575317 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qvsp7vtlh5rrt6u2c3kxjf2c8sv6etn6wevjl60        BTC                   0.04575317 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qvwsmw9rvgcd4jpnryfsjvavnrq8x6fj9t4ty85        BTC                   0.04575317 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qwpcdkva8esmlhyk8d85j2kgrqm7ahahe52aq8v        BTC                   0.04575317 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qxw0t382g8vfffvgaz6a8kal8hyj7rvezmhe4t2        BTC                   0.04575317 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qznr68a4qumlgwuevk37guu00084dwlf0yql9wa        BTC                   0.04575317 2022-04-05 22:12:55   2022-04-05 22:12:55
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q5ptye2e55srj4c4jlrcecckz6tfrv93a0kuz8p        BTC                   0.04519255 2022-04-12 21:33:50   2022-04-12 21:33:50
                     1BtN8zP6e9VjwHcKtqa3YusTEdqodAMHE7                BTC                   0.04516046 2022-04-18 22:22:16   2022-04-18 22:22:16
                     bc1qlrtwqes74m0dt3ykrvz0dq49ucw9lual9v03sf        BTC                   0.04487469 2022-05-01 21:02:21   2022-05-01 21:02:21
                     bc1q07dth4ercgyqnwjgyywn5qd4xwxpjzvyu4myp9        BTC                   0.04484953 2022-04-25 17:58:10   2022-04-25 17:58:10
                     bc1qseu9epppc4gka76rdvgj02dg2w609z8m2ylgr4        BTC                   0.04484479 2022-04-27 23:34:03   2022-04-27 23:34:03
                     36bXgB4wzNRkXQ5hTcXKTFF6b4PcHvuLP7                BTC                   0.04470540 2022-04-06 12:59:39   2022-04-06 12:59:39
                     bc1qa3fm2fk3hrhy4z8w7k89ez24ayge5qgxxyk54t        BTC                   0.04362640 2022-04-11 08:27:48   2022-04-11 08:27:48
                     bc1qaqdj9wy824xakqpyhqfa6xfsnssgkrzk7td79r        BTC                   0.04351520 2022-05-01 10:09:03   2022-05-01 10:09:03
                     12UEgNmWUHgjvgPn8kePLBbpCFeN7WAvuL                BTC                   0.04334930 2022-05-01 15:15:54   2022-05-01 15:15:54
                     bc1qtqyt2d4dr9nwt0an96lz9jz3n8j6w6ruahpp72        BTC                   0.04311561 2022-04-21 22:50:43   2022-04-21 22:50:43
                     36e7RagYYdi466Rx5ACfDfSWpHbqX2Gabn                BTC                   0.04287867 2022-05-02 03:38:53   2022-05-02 03:38:53
                     bc1qs2dtsga4vqjh7lxktj3rcnrggdjpreqymjftnh        BTC                   0.04247679 2022-04-30 21:29:30   2022-04-30 21:29:30
                     bc1qfrlcfe9zjuc97n4hlncujsxdj560ucvwz3qfaq        BTC                   0.04245271 2022-05-01 12:36:03   2022-05-01 12:36:03
                     1Nkcp4pmRG39iXMhLotUsfDZi7QwFFPWxj                BTC                   0.04230554 2022-04-18 13:57:25   2022-04-18 13:57:25
                     19iUGm678Dh3Wmd6JPF7L9ju57R3Kc5S9x                BTC                   0.04225762 2022-05-02 14:24:17   2022-05-02 14:24:17
                     bc1q5ghcqg3ld72pwqa52pqhadwu88ceverjwsdsd9        BTC                   0.04180012 2022-04-07 08:28:44   2022-04-07 08:28:44
                     bc1q5ujdw9kmmmv3227yys5fa3r2m3zdurmvxfym53        BTC                   0.04172021 2022-05-01 12:36:03   2022-05-01 12:36:03
                     bc1q32s8mtpa9qqm0ry7y90yzydv088lh4crmw5led        BTC                   0.04142856 2022-04-28 22:54:53   2022-04-28 22:54:53
                     1GJzSB3SGWnLq7nWEqv2qFiSsAWSSguWpR                BTC                   0.04140322 2022-05-02 04:44:05   2022-05-02 04:44:05
                     3AqUEcRuALSipeYnzTsec2nTWAvtcsr1de                BTC                   0.04139988 2022-04-01 08:12:53   2022-04-01 08:47:09
                     1Brwzf32NjfacW74jxSpZgpEBP5ZWsSbGt                BTC                   0.04138557 2022-04-04 04:30:20   2022-04-04 04:30:20
                     3HeiyuZtzqDHudYhoqzQ26ajtUL6CcBYTB                BTC                   0.04137553 2022-04-14 23:52:36   2022-04-14 23:52:36
                     bc1qd2nwzsw7ptjh7q83zpx9ljkwyd88muph4k7pvh        BTC                   0.04129220 2022-04-12 19:39:37   2022-04-12 19:39:37
                     bc1qgl4cwvfkwj97ymgl7z0lm2ggpu7mghzpu962re        BTC                   0.04102335 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1q4hm2kj5nv33vw3lgk8n473hncpxv9tl5v6k087        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q5r99gw6tvzt8vpu8s4dq7drq5myqhyzssthhcf        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q5sq2gng6r3g3pf8r2u0uk43c0s5ek5zwjd7pqr        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q7xzdt9u2p9hwld7ufwzknawemy9mypeu3u7z3c        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q8pt9x8yc6597wzu4a47flykj3szygpl3davsst        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q8s8pgcq0y2dsjk83rmlp9jvmfnwfvz8ch548ux        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qankedvk6pxruweuey3e0uhdja753lg02swrsat        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qck9k99tjegj8098fdapqmwwrxw740tzeqd7hz6        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qe0ygtz8c5j0g9a59u8c9fhml3u8vnaq2g3h0rh        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qfepu9p0rjvlms825g7pcj4m77x32498wanlgkv        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qhkkryt66sc2e8wgyme9gcg02zt6jcdpp4ualzr        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qk0yqyrewtgxsfd965uzk2dky2rjqqvs9kfftpn        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qlszt9p0zqrymdfzk4yslxhtfuyfpfzemrketwy        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qpt4nvfgpn2uyt94zkuxyrdtq970fecdl9mferx        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qs2dtj53rdyhrn0ksfdmdv5pzkcfptp83ffa24n        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qsa5hfs62vl2hr6lqmplvej4ejyshc3kpsthq9g        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qskdtjjvuvv83ug8aw7md6w078s6yle7uvwfenz        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qslh7tfzgscxallvv3dj8ydqz9sjd8p22mgq6rh        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qt6578atk9fnwyqd4yhxuqswlp3msghqknddrns        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qu5avda03l4afqp260mq5tasy6fsn0ksl5g2rcq        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qudc09uypz053zz7aw6w6me6623xs4nnfhhvka0        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qw0eg9958h2xrwcxzt7mggpwm8vz6cfehpt249f        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qxgwezjnm2ycpyj6jcy9jcqsmyjg3rr5nakfkcr        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qykzqsxneyre04n22kk03ath0q6c8z754eyzxze        BTC                   0.04082331 2022-04-04 21:59:05   2022-04-04 21:59:05
                     19tDdJsZfowovdkmDF8pjJHA4f8vAAcsEc                BTC                   0.04060033 2022-04-12 08:37:01   2022-04-12 08:37:01
                     1CybXNUkgo5EWzvrPX6QddUyLDQCSqSbhM                BTC                   0.04037047 2022-04-12 09:48:59   2022-04-12 09:48:59
                     1AbUSPmNPZJUSdgxY1futtPrhrc7jmW4A6                BTC                   0.04028016 2021-07-08 17:13:23   2022-05-02 04:04:18
                     bc1q5mpcgyhzwf3wu7udggt49fqeej8w2y54u9cnpf        BTC                   0.04014369 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1qnhgrrpr2vjntg8y2vf89reen7f4qh3mcufgvlw        BTC                   0.04014369 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1qgxcpjc8hnglhl867qydj363jsg4zz58v0eld3c        BTC                   0.04014369 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1qmwjted488zzhu524zmn68yaxur64yuqttt4vgj        BTC                   0.04004721 2022-04-07 09:58:37   2022-04-07 09:58:37
                     bc1q2krxgn2x5n3yey5m3nwv6k97nadnmjwf5y2qq0        BTC                   0.03991460 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1q6y0u8k9alc0u3hlcdsxl3nu9raq24rw3zdeqzm        BTC                   0.03975179 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1qayu4aee523km63etdfsqvz65kd7r7aa6xrws3c        BTC                   0.03959770 2022-04-30 22:33:27   2022-04-30 22:33:27
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qvzll2sfxr2glat35gvh8p26jqwcg75lv9ggjt4        BTC                   0.03959770 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1q48nfd0tedq2adl6aw0snle38ltw98gsfxez02c        BTC                   0.03959769 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1q94z0ypyz7nqshc4lz9vvwz56uvml6sl92vudsg        BTC                   0.03959769 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1qcdvxkuw0h3h3yktxgkag7u7709r455vf5dqjsh        BTC                   0.03959769 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1qhyd0lvz4gymgmwn4x8xurhtgmpampv9nhquvyw        BTC                   0.03959769 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1qle9tm9k74qxgs3h6jpcg75tt49y4sjpe67evzd        BTC                   0.03959769 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1qn7d70xv00xncehpdnc9awxyrjmlnpy2ekgp52m        BTC                   0.03959769 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1quluc9g6z4f4m25pf79t2eagzdhqpzsa4xm5nve        BTC                   0.03959769 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1qxk7tc4axd0c5pt5j8eyrvxrl3qzmhxklj52qaa        BTC                   0.03959769 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1q68e9w67ctzzcgzqv5vres0h02f7akgvjnpjxhj        BTC                   0.03959769 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1qpt9eg94295sz8r4d43aqrxa6044v36p4zyrunc        BTC                   0.03959769 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1qu0s5pn62ksvyya8ksypmqwq90rnutnn6ppycue        BTC                   0.03959769 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1qatrwfsct9nntyxdqn5rh7f2vdspr7pvaep9p74        BTC                   0.03948359 2022-04-07 12:01:28   2022-04-07 12:01:28
                     bc1qel8ujg5aw70q267nmdeptj5tm8vmms5aa74sqh        BTC                   0.03918623 2022-05-01 11:08:10   2022-05-01 11:08:10
                     31xhH1772Qpw2E83ZybS7jvSZgMbyKMjwt                BTC                   0.03896444 2022-04-16 06:57:23   2022-04-16 06:57:23
                     bc1qceu87ax2dl7wey39q2f4kdtr49dtdy3dmkqt5m        BTC                   0.03891650 2022-04-12 02:08:47   2022-04-12 02:08:47
                     bc1q2r7lmvjnxp0tap24x6f3z0pdvelj0y4krphx8k        BTC                   0.03857433 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1q5tvurjjd5cvl4zlngwm0tgt6mplqwn68m4ffan        BTC                   0.03857433 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1qpw4s4kl4h9qf0csutccmdxk7ctjus2nhymh9lc        BTC                   0.03857433 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1qxr34mgy8gzc7qn6m6kn3anhhvkugvvdwlj5zh7        BTC                   0.03857433 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1q4k6ydns37zcdyr54f7wv22n5gpkvxl6v6a6r80        BTC                   0.03857433 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1q8f90jtj3grueuegtpum7lmm5fl33us4nh002gs        BTC                   0.03857433 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1qf89gkxvxcfenhq783yw8ety0f9rdquay29xgmk        BTC                   0.03857433 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1qj5etkd9ryh9gesjhesn7asshf3d74xnzcwh3ve        BTC                   0.03857433 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1qk4da39jcqexz7dsaeww829kadgskecf5gm43jd        BTC                   0.03857433 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1qqyunjhxqtj2c2admvvgjtlskddds4zwrjyjwg7        BTC                   0.03857433 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1qzv5e25ngvhx7yuhkkfnv97evspxyxxwd2eya0t        BTC                   0.03857433 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1q0sr9cszvdpvt5suxrzpuq3q3u35mmywe2fw0dq        BTC                   0.03857433 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1q48370p3ncgye7cr74ardv6sc5lqxcy9fd2f8vg        BTC                   0.03857433 2022-04-13 22:48:01   2022-04-13 22:48:01
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q6h22hk2tjk929jedqzak6gcx58fe0fdzkjacf5        BTC                   0.03857433 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1qg54ap79h3l3vetqcaksvxk3mg4lh3v0yh44dve        BTC                   0.03857433 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1qkdhr8rwn36zynhj2t5248074v2cx567mc5f7vm        BTC                   0.03857433 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1qkllv62wcqz2yhpdj8xe7a9f3gvrm2pxyr6hfjf        BTC                   0.03857433 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1qnnzefa7zhjlv8kww3l8z27hevtygjsl2a7mt6w        BTC                   0.03857433 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1qqxuvuscnyr0zkcu9ewphvtrflm23uranyskek3        BTC                   0.03857433 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1qrau4fnrzh3ghqf94ctjus5y6xr9qqhrcnzzdkm        BTC                   0.03857433 2022-04-13 22:48:01   2022-04-13 22:48:01
                     1N4ciwpni2LtZTbTJiFKDJS9fFbV381sXh                BTC                   0.03817266 2022-05-01 22:26:26   2022-05-01 22:26:26
                     3LZFKNu6xK1ankwXry9Y3h8brpkrQEQ1WN                BTC                   0.03816392 2022-04-24 23:00:14   2022-04-24 23:00:14
                     bc1qdd0mwavu2s0y2amq3dlwxamnj24qupmjyy78uw        BTC                   0.03785348 2022-04-07 07:44:37   2022-04-07 07:44:37
                     bc1qskhsa6qlz7fwfvpg6yasvxuq9k8r0zlfp3ympv        BTC                   0.03779532 2022-04-30 22:33:27   2022-04-30 22:33:27
                     1NoeNfqBxhS1BHuLk483wv1DKHDRefjYW7                BTC                   0.03760716 2021-03-10 14:29:09   2021-03-10 14:29:09
                     1JVpq7G4eg9krVeufUmrkS3bMPwR2LRPez                BTC                   0.03758381 2021-03-09 15:26:54   2021-03-09 15:26:54
                     bc1qqvwzrxa0w20utalalzawqa2cpxmxaz6dacvl9l        BTC                   0.03756014 2022-04-23 14:09:12   2022-04-23 14:09:12
                     1Cv42Ehc58Wng96ZrygtAQoW7V3TAHfphU                BTC                   0.03748524 2022-04-11 13:46:01   2022-04-11 13:46:01
                     bc1qdjnpqm0chmmfdt9un42kzpsj78tcxw3wz0qlw8        BTC                   0.03734940 2022-04-12 00:14:11   2022-04-12 00:14:11
                     bc1q39tqmwwz752k5fqaezdt76p7lx7k39mjqkk8h4        BTC                   0.03730843 2022-04-13 04:11:22   2022-04-13 04:11:22
                     3CuuPYDvP58RTbTZpnNrG76hWDnDPrEgEz                BTC                   0.03693351 2022-04-05 19:43:17   2022-04-30 05:19:14
                     bc1qvje53ucxxmyypwycmdws87qx3mk97rr9ktra0r        BTC                   0.03676428 2022-04-30 10:21:42   2022-04-30 10:21:42
                     bc1qwwch8hdv0jzx7e05d7h8y7awpldu2eyd2ek7ar        BTC                   0.03672059 2022-04-28 22:54:53   2022-04-28 22:54:53
                     31snV6zAMDhNXdDgPCr3GKGxviHaDrmZ2Y                BTC                   0.03632670 2022-04-02 14:17:19   2022-04-02 14:17:19
                     bc1q04zrnl4g0xf4h8zc0amf44r9qczsm5m52fncnh        BTC                   0.03627789 2021-07-18 01:52:20   2021-07-20 03:15:51
                     bc1qs0rcu475eyfykfmq9wr0v3re8k2e46cemj9x9w        BTC                   0.03613101 2022-04-22 01:44:20   2022-05-01 21:10:12
                     1FrhY5rRvMogfG6TwzBLwwA234H6Zq8NiU                BTC                   0.03588487 2022-05-02 07:48:22   2022-05-02 07:48:22
                     bc1qhke5wpy7teah90ncsqaraft5f4ll2vkp54fkdq        BTC                   0.03579646 2022-03-27 04:08:58   2022-04-20 11:53:50
                     bc1qemr8f3a2g589vu879twlp09gn60tx78pce0mmg        BTC                   0.03540055 2022-04-07 22:07:03   2022-04-07 22:07:03
                     1KryTWKL4J9hv8tAsnWCkMzZSqpm6AzSih                BTC                   0.03521659 2022-04-04 04:30:20   2022-04-20 04:14:28
                     bc1q7gyr7wq6vsz0ttcwv4rqrwsk830qlw8rns0xs2        BTC                   0.03506044 2022-04-22 08:04:37   2022-04-22 08:04:37
                     bc1qncl7fwexgylne8wlyc59w8ppwer09vx2dvhpvj        BTC                   0.03503224 2022-04-13 22:48:01   2022-04-13 22:48:01
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q7h84jycd0y6m4ayyaut6ghtj2k3whp046fknh7        BTC                   0.03454706 2022-05-02 12:34:32   2022-05-02 12:34:32
                     bc1q0dt7xu25360um3eqrmuuulm2w3ynslln0mmlzg        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1q3d33zm90v433n03apfq3a442z5yuykmfg6uth5        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1q408sxu87le29hvvn8hlju8lvhaa4mfgg4myfsy        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1q6f8jd70uh99v3wj0j8dx9mwjg05pqq29crev06        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1q6jmtw0g7hgydeq9yh8pxpftus6sfq2rlx4xcss        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1q7d68rvfh2jgp0dwpsf2w3s76s6yguejn0j68mh        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1q8s88mdmndvlzet6fsjtjayf8u0vkfmfwt453gx        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qca80g3e0wum5v880udp2ey4fsupd3g4der8lwz        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qcrhjvp79xaqhn90ydsusnpne0tpdqg5tzckpfw        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qd030448c2wgdqlfgkdcd0us8g59da0k3dem6ez        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qdax67nff6ex5ryaddqvwr2nzxnjurrtcl8auls        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qdlh7t9p894h2nrndhygkukg8lpn3563s5mljuq        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qeda5uznh8tgccz7nzy9e2fl2zjfzcqr9y6w5pc        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qgkdgftuahzw38mxjyz4q4mnqakdcn3cfdp6nem        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qj6ejpgpm60v6c5r7704z5kc4sfmc7tc3h6tmry        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qku9fj5weuanf7kqwgshw759rhxtlv7lvdzvm0h        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1ql6ww7ec8v6wlw07jr06hdrn47wfcs42dlexa7w        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1ql8jcpaq9l3f0mzwu5jvycq2r0q4ywqncqmeeet        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qnn8fmffs8ptpyg92sujwcsh34qtkkv4x95v056        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qqsqjakzwvjkuyjwtldzk685k2qyrmv5wd9ctcn        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qrr20s7retc2dr8lmrhsaer87xyy6555sdqgjcx        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qv85h0gqz2cpetsda4jyehdnu2kp2ey562nfrge        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qw8ee5gthuc4d5rz2d42jcxpu06zhz50away5ah        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qwlnzd27u03es89uvhvuawk8ynp4l8j76gjpyw5        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qwqakhf9xtm0hxknte3hkcgq3kkpqjafkf2h5cf        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     bc1qyus65taxw8wgygavehalh79uhk8hvsqmhcuzgc        BTC                   0.03412809 2022-04-12 23:07:18   2022-04-12 23:07:18
                     3FyXGYSeFxd9UdJEvMoGL6zirRzBQFx6L3                BTC                   0.03384811 2022-04-02 18:25:23   2022-04-02 18:25:23
                     bc1qd2h0tpxdd4ee4kdaczekpq767v8vl7m7l6v2c4        BTC                   0.03362903 2022-04-26 01:34:16   2022-04-26 01:34:16
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     1JdozkHhK4rUy7EYkMQ8G9wHqY7QaoD7bq                BTC                   0.03357465 2022-05-02 00:59:08   2022-05-02 00:59:08
                     bc1qxptw94sd500kucplfaplmzqaeg7k74tx9g0anu        BTC                   0.03343705 2022-04-15 18:41:00   2022-04-28 23:05:35
                     3AgZS823jviZJggC9YwSoea9o9EonVWa3i                BTC                   0.03314122 2022-04-08 21:38:13   2022-04-08 21:38:13
                     bc1qrkveevadqcwmfy68v2yc4jye8edxn8ztuvlgq8        BTC                   0.03299833 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qrqwsw5p6s5ugxu6jxvml5fm2rpstrfe0lpw8a7        BTC                   0.03274919 2022-04-11 16:39:26   2022-04-11 16:39:26
                     bc1qlpk4evy89xqj2248vaygc87wwt0uf7qmv5m7th        BTC                   0.03256695 2022-04-27 04:12:21   2022-04-27 04:12:21
                     1NjfsPVwHippjcZUU3jMiGs5WoUE4LDeGQ                BTC                   0.03213093 2021-05-04 09:25:33   2021-05-04 09:25:33
                     bc1q0zc49d7xpsepp6amd8j7vykdzyg4x7h7samxjv        BTC                   0.03210499 2022-04-22 12:19:56   2022-05-01 07:44:15
                     bc1q002kdefpyzkx9a56wd044vfegtejpg209fe00m        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q00rqcg6a32rac0t0c7u68gndsmgt60ehgpfw89        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q03dm2dmzrlmcwca55zjg3araz7ene247xkf499        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q03wp9rm64mgaf8dluv02705snavpvckyg8fdqe        BTC                   0.03200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q05n6ypautmtzqzr22jgeu80eulhw0jeerp3asx        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q06ryaeaa6wvlxs30hyad8vjll44s9l2pmgugf7        BTC                   0.03200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q077sst34mk4yth8ssyqmweaxg4pzrn8m0v3040        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q07dvreegur5hku3zvvje7kj5ffd09kll7ydg64        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q07e3jj92rxrmxupxknaeeqrqrjf7yx4f7g4y7x        BTC                   0.03200000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q07wymh8yc73pyc5aakwt73l3ft8k9mmpjjgjwl        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q08jyt9wpessyur3j3tee59cev0wv84g33ty29t        BTC                   0.03200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q08w2lvqmcykwtpntd6pnuznwr5hmt8g6trqswn        BTC                   0.03200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q08zfax5qrxdrzcpt9gmeze0t3xl8dc93e4j0jr        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q0953tgee7pdqm6kd4qfypc4ascnvqm4awzh4sd        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q0dal27p6uc904a6w20z7w7jtszs0qxyyrznkm4        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q0e7urky2qmrlgccjj40zpwtra8ewmf32cmaaa4        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q0ed4ulffpryn2gjyx9qsuvkggaadadxnrwcz3t        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q0f27w4j5mf3xvywplnacjx0m430kkvtkpz299q        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q0fm8ue7yzkw489h5p7mxavz5aqpqq4clhu9grl        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q0fyes947hhxf3gajvqenh0lrchh7vfylda90pd        BTC                   0.03200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q0gky4ewcfczmlj2jyvs604e34p28nc4rc4qwjc        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q0h5x3wt7p49w04ue6cy8qzps52ld07tt7l9dqt        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q0h6j2mef9e4wz44rlc696sc8ucu2spzedpzj6l        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q0jlhe0dtza8p3czgcwxu0lk3lrenf4mupz445y        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q0jm0z489t8crdj5ck8s6j3qmwpcmu2m70u9z75        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q0k3473t9r8gug7xp3n4yfjpfzsv8qezt6yfq4q        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q0klgk4dylhq3c3ygw3kc9j4kqkq906yv22ghnr        BTC                   0.03200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q0kw6f9uvx6wu2llwvmd5u0xevwznmexvcppksx        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q0ll3hxf9e00ncrlzcv0aqkjq3eperaudu4lhyd        BTC                   0.03200000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q0ll9adah493azvwu0l4aldjxrl5dt86a0l0h4k        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q0lukau44us6vd852xdvh864nxg4nm9hwy6vev8        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q0m2ngrlj03ka3mgxh8nnt3ymtf8l4wraqes402        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q0m5vd9t5qrlcz07lnaharwqdvv0lyta99q34xf        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q0mff7w4c308s9uz0hdyaxwlagwgpxnsnhe73x7        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q0mxdhg8feklsalp0w55pdy992vj0j3x2xjkn38        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q0ncxkwrrwah44whwz836cw7e0n6jevg5vr2gnq        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q0p2ngagcd0u7e7xlrudn8at9tt66y8ngk96cqr        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q0p44ks0ygnk39um8sjyrukeexa03d04rt0aaum        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q0qt6zept284zwflpp95sczd0c0gpcqe9adgm5x        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q0savjfxt0n0lgegkp520uv7000mdp5cm46ruup        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q0sy6jnhs3zqdn49hgqsaalnz3mps7hc2e6969n        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q0t0jeamcp3qzr37nydqrv02z65ww37j7ga9lr9        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q0uej0mgcwyzg6jllv7mz0c50h20hcjxur9swcz        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q0wpw3slwwfgce6ne382v7tjplgt5gz3jy47plv        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1q0wqw45yza3a98npas9mg6kzclt96ng7qnuleas        BTC                   0.03200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q0wwrr56vrjuv7hl36uq6cx9rfdvsk8esmnyd4e        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q0xwsk56tfmmrfasua854jh9ureka0lla9ukjeg        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q0xykq5w77g42pe96k4agg58vqpxjtr7nr9v6r2        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q0y8ehz27tzksq29nlnhlcf684a7dt5talh954u        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q0ydwqc2wr009w42z28l4zy2xdeqp02dg5rlyr3        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q0z46ajgusx9yt8qj6y5yecqe6y5yrhcpk6tlkq        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q0zfttuut53ptcv8ldysx97ld5mp8frtpvc8ark        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q20am9g3mdqnq0ujreln7lchdpvf2ta4p0hkdf6        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q23g9n4yvnw2k2cy9p8jzmdlffy05yenjzl3ufm        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q24p9pxyrza6q7umk6z68myhgmx5n6ne6l68grl        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q25anpfxhg30cmcl3256f3gzgj33um6r6fnr043        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1q25csyjd6x0w4vjgvadyg68ath6vqc5p32f5da3        BTC                   0.03200000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q28vgkym3u2md558urnqmuy054fspp3gem25cy8        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q2cd5gj2urswlfrpskugffy7xvxyeastnc5jf6j        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q2cjvu05eesnnf7dayptaqsmf2j3967xldzu5yk        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q2dx8fmqkeyfksf78ajfqq8shgkq2ux0g78u48j        BTC                   0.03200000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q2dzqhfkwq5z9dtjkcr7vfu2kxrg053gr7wcvxw        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q2f3mxe8ksvd2ur5wn9w5wna2wuh70e5h592pxj        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q2fkvvfspezzh9ja8gxwzd2pg5jdxf79mvnpu9q        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q2fyhrtn9gdn2dcl7gk6lu7l05vcszes58kpdrf        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q2gungh606jtyzv5x5xs2ef8q7724t4fwuk8aah        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q2hmlsrw54c4e49l4y464ha3khmd7pp9allnpjt        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q2jnls225k8yfmlr4yeyu000y68ue3uv2zq30hj        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q2ksrjhppqluuczs06llayc2pra7l3053zhjkgx        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q2ljnjal55saevxc5ymev9j7uadaqpnhcegyvq4        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q2m53xf2lp7s04wldzzzytz5pnnjujvw77585fs        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q2m5sse3y0nggs88qsr9pkh4kyxmh4cdlnzq6jh        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q2qmfm9mnrjp9js9ulj43n7yelzzvgepuyk2llv        BTC                   0.03200000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q2qndglh4me7nmrwrpdam0jdrwssct9jkcct7cq        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q2rwl34fc458z2c62chch90hhgf3eq2alftxy30        BTC                   0.03200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q2s59xysd93snapshxg9n0fq57h7k5yyd66kq8z        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q2tcxrd6rlnksemsd9t3lqagjg0dk42qwu396wm        BTC                   0.03200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q2telfxuf8mcyhvukrenc0mzxcrk4z7j44rkvr7        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q2vjer69fq3tm0vvuhg9vs6lnsmrcswzzd34hgw        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q2w0uh5g0l79nx8n9g3auxuzlrsq7lydv9gfl33        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q2yztea92hwywamk68s2xky8w9axnx2pqrp309u        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q2z7gaqz5dtkuv3ll2n7nygcgqzg4yyylnyspxy        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q2zjy2avgsk0salvpfx3artwcs2c8xvrrxgc0wv        BTC                   0.03200000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q303jyx89qlczw4tjelpvxlepnyyy2qyzzjszsf        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q327myw2qz7y5unsc2a939dm7ew4rhncz7s8pre        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q32e3kz0x0glf90fqkn8z0p93x5y7tcqw78u8xx        BTC                   0.03200000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q34d08qu5zfxqj2u8tl3l7qtw7x6f29ltqw8nec        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q34fj9f3j7yp87mwnnx3dapeuqu452hxn6frkj8        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q357at5ajxzglpj3f06m4zk874cumpkrcrrs0qh        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1q36pgvywrkzx4tvez680v5da00ehg6hqs370l92        BTC                   0.03200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q37002x70sa8ws7yprjvhtnrskecl47cmc0rx89        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q37alxl34sal5mzvr3dfkgk7q9hlaempna0qffe        BTC                   0.03200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q3998hyevtgmw9wx2twa6hxaql27vq6z775mr0n        BTC                   0.03200000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q39ta69k6yfll2yer08qqg2t3xssp6lwy5rwnff        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q3a4hssnmwd2gj00lexf5mw9nrmp6saqqlyauk8        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q3azj4cka4x8y0dvwvx9mtl3ug2f802ehvyvh2s        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q3cf3ktf3thn6jvwmgn8had5g4j7jj2k5k4edv5        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q3cuu5wrtpetj3ngv2gszn26qjnyn2qqn8gd4gt        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q3d9929ytptkk5urt22ehdwcf7d80xnstfc9qsp        BTC                   0.03200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q3elvpnnqpqg2wss4gd8vkqqdc8dx0500sh2ykn        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q3evnpqgnm5tdafrzdky6enyw58fd6ydsf4l3nd        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q3fnsmz6acnxnzpjhd2her9vv8pg87gdwtfs7aj        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q3g3qh8l9xnathq8m9sw9ql40pcwpd7ettd2sn7        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q3ge7n7qpwvehm58pfdsy0pw6s8496h39p8ysv4        BTC                   0.03200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q3gyfnh78zwgxwt9p5daht6a32h82v0mz4aw97g        BTC                   0.03200000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q3kvfd4guae8ftpzswgk0090ehj3thr87gxaa5l        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q3kw6ut8wjsgp5fh80npz9y582l3xdnauwfhh6r        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1q3m255at3nndj2nkw8uxy433uljjnv42c0r7quw        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q3mwzkprl4jmhy0eny83uaz8w2uzx23vkjlllps        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1q3stqasq6j9f7rdrfamptwde4u3z0heprcrgsjt        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q3trjg0wz33j9l45t3d7xyvg5s69w0cmnaz75ve        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q3u0sak5704ge564gua5qg30uhvt27j38dfvqn9        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q3u5hh5d5aag30rsjjwagy5xvskwascrxjzeyre        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q3v9fnz7z52thnwu9t6vz0vu4ahnum9ygxapq24        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q3vjgh00n700effcux43zwm6zdfwwn4p9smuekq        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q3vkcm7eu67wjelkcta5p3ea7yfdzjr2r56ey36        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q3vttahar6tjgy8gkj2ahdju2n8y0s0azssr65k        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q3wsj932392vypcmh9yvwpq5v0dc63fvn2lfqqn        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q3x2ddee0n4pf3stnktf6pfgy6e60gaxuuy62dm        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q3zduq9m5rv23jmgpa7dq3kyg4audsgwxttdp2u        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q3zzt5eyfh9p777rzxzx7053p0xhgm07ng3t288        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q40djq9d8f0srjv23j20953e8vplful7y90996m        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q4258plmrgtp9wfxr0rf37mtptmr2kut3v26c99        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q430g3rwrar0t3jhalggmhytg750msw8wczl4kc        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q43e3yayxws6rcq773rxxlnv4fdk6wtlurtr245        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q44n25fn2923zty9vmsudkzef6jmatx458vxwt0        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q48nr275eqkdufzzvq57nusghfta8404vepv9x6        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q4cc8v6n68h4fza6hpnrfdqg9upd87cjjxvm9uz        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q4d50egst2ynsefl3vcj79v0vdj8hjt9dv6trp7        BTC                   0.03200000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q4daexft9knz65jcfn2ufahcaf2v0gydpsxnwn9        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q4dqpwq3pyaud8lqxavvlcepqquv892fhdlhac5        BTC                   0.03200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q4e0nhuuhv0g6tfdgxm0v6jdm40tr3z6lnlf0ad        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q4hlz67c7act6a397d6n2s0v7gas8nr8uqm9plw        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q4kh2ay5742qm4knxtxwcyqyjueq9fml60d8tca        BTC                   0.03200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q4l4t34rr379r0puysf5eyxfp6x2j6s4m4cedcg        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q4llcwtavt80yml97kc6aclpsv7842kampwlhjm        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1q4mczy7yuc4qe885l77qnw4vlnx69qwttdhhcs4        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q4ng77nwghp343h5zag6as425n8rzv0q4agj22z        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q4nhedujnfm9c7ed7ys2d46yskarz3m4k0rfx66        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q4nt27v0tznylrxnulf9xgffkyy3lkht9dnmvaz        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q4pcsyjln8cmfg0p28h6v9qqwhvgmarf7gdqslm        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q4plj5hvj36qnne4l9mllet86ynznqmhftv05et        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q4pre3n70czwl2swyv8u9ycu57h3ewxtv66cfhy        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q4pxjh9rhye3m46k8wzq6340rhxhdgf356cpsqz        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q4q824rm468fv4kz3tmvyvjseq8d3f4cuusmnmw        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q4qcvaxwl05jjt2atvrldwatcq39dlpw4yd6ee7        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q4rxdp027ue6qc949awlw3gwzntv4k8ssfl40su        BTC                   0.03200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q4s04t87ay93jntuemskq6x9msfhtrlgxn7ea2l        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q4sw8w063atayuc2567pc7m5umqw07q8z9xghxm        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q4t3kv0y8asx6p824k4j2z0s7xyhj3vwpws6xsg        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1q4ttgtgrvycqqc2eq2hvrh3dy6lzjmjuaxa5u5z        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q4vjev2sqsajy8dwfwpef9j7t3ukz389g4dn39w        BTC                   0.03200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q4vmlp8mlml5jv7u9x70jzu5gwywc472f9ar0wt        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q4vqsu90qhjjczvfzuypevm2m9hy7tq853av27w        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q4y4c0dfkcnv9pqrx5c4y5xunu63cfy94xg9z79        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q4yd06ata7xnfwhnxjxyxpd8ef5my9zwuyycknz        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q4ysdyxkwxaaaeptha50v9xwg9vfup335l0ykmz        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1q503nzr69zsv2x6ujhvauwzs2fpyu5d6ycfq2qr        BTC                   0.03200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q50hyux47j3l3wk6jshwn4egqrjvlvvuylzgxpe        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q52yjneexxu3rgn9ugh8zzm8fyww22vz5ktkjfu        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q5447s72ksrhnm3ulq7rm9g6muyx8psfp8mt2jr        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q54xfhdawgujnwzlptqpmez7mw3yqgzgfs6lru4        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q5568h8ayp5f0xg4vy98snd3z6cmd8cq9343j6u        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q55904kxw5kmnuvnkucy5el0ht6madj296nrzzj        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q55mldl0t09fruzpnacdvt56fshxtxyedqy358y        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q55skhkaf0v8ykydupv70ul4ay9rt9nxyzv9e0x        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q56jqfmt7wlh6mv42ey6x9e083x64584n848amn        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q579n33xalxxuhyed8ynnhh839rhns3d24mpph5        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q57g74062ufvh300lm5hpl7rxyu7ufmy8958yeq        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q594uq0dnlau9qh808wr5dg54f47pjljax6txm2        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1q596e35xze4p6u72tpw90ca7urj0cmt4hw2gma2        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q59wy79gzwe9wt5ng205er9yrfv6ep7adctya7v        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q5am49chm4a65urnppgpzvrh9l9j7577axa5zvc        BTC                   0.03200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q5f47ltn5cetanegwx7xujuhnccz9ndqerv3ukd        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q5f53zt2atr6dmnxlnc9dpcm3kdynwdlpt7kv9q        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q5f8mtc5r990wger0tygnrvfsr79r2xtz6m07t9        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q5hfc64e74a7k2slsucxzy9l6yhqfqxfwcv5cst        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q5hj3kfzu38rzqhck5zt0h26kc9hytcc950lklz        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q5jy30rpppfmkhxfs9yu764hl2l9mjrkyh9zrvt        BTC                   0.03200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q5kvlt2v48kry2cjuytpdf92f900c6ey3zeufup        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q5lm777zhssngfq2m404ysrq38j7y84mhpr9jnw        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q5ls8ds2w8rjj4gmx5gqd4hd27a8rms5ca7xvqd        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q5nqcjey86qma2n2tx9dszq9tnz7pr5zpmtt27w        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q5qy302aw3l4f5j6ettc7snnkmgvafs2d8m7c06        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q5qy9x22ennfd5xmaypyp6zwe5v34rrkecesj8m        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q5r304yngh67kdeu64l6efwm9eu43dqpvpwrhl6        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q5rf3qwex65z2lxjmkclqa5lwpad66kkh9vxzgm        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q5u5q6getaz29fj3ay03eea70gs593hmqk4qcrz        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q5uavg4sqrz3ve60zvlvczhmm75huwff3sullwz        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q5ug8epdwxvzf78z5gnfvrecn3gczmegz6dduzl        BTC                   0.03200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q5ulhs4hln28wc4w9p7kn8qcq4us4v3qg8wjad5        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q5uwf0ylzncufjpyt29zc2v97hzlzry24ehpfyu        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q5uyh2dyv8ddr2376ug6qthn4kxeq88zrx8c2g7        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q5v5fk5fxcza9nvlvyala2zfgyahp0v3y8v538j        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q5wfdtgvdmdh8l5d5nmv8n9ak6efg2u58cpqnlf        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q5wnj5hv6un65nu89nawpgamht3chrxl6u5amnq        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q5wpcjheeld3gugv5vr26pz59aejty2qwgzhnfy        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q5x6qx6z3sq2hte4dp7sl2htgdu6zkd0mrdfunx        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1q5xa62afd2egq025k6at0tv9wmcquqptfter72m        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q5zyks8pwxvp43vmumq8p46ayjl466zgulgzaqn        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q60htv2rm3sqy5sj4tkqx48meqx8qwpqfc2es5c        BTC                   0.03200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q60hyfkenzax9j8a0jsztkl3klg2slrlf0rn624        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q60y3gfht99kymydqhlv0j2sawm64y7l02jhmdm        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q63aav20748gvkmpztdapjg92f2vtzfzzk2m09j        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q63auk4zya8ywsw6ssneddez7jadrr7f6nw988l        BTC                   0.03200000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q63k596kfq2ccn597undpnl0vs64aheftj69tfv        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q65s0xy9jurd4uqq5mfgtashxd6qjz9ef87vsxh        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q65z7zlcveqrtngn5haaglj25nr8kd6fy8h6m0q        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q66chwpfy7dtfr3tpcy69s2ljvla9gd8t62tzrl        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q67caec56dd2menl9wm00ne74zrusy23jygvlgz        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q67ntl8r3p0t6gax99z39nd0ka2vyjfmmv6kqxu        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q688q9n48qtvh649rf594lgwjyv5dcuth92k734        BTC                   0.03200000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q68p2h4qt6x6hfkchx4rzx423jm0qvkn6qvelgh        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q68zh9pfchxjjp8qsk5qsm8wm2sgawd30q9skp3        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q6d3r2lr8pr7v843jugup73925yd2kdgv98cuzh        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q6flvwzpzwyq3ma6v0asl4rlgallyypjmvt9c0t        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q6gp87qpne4qrp7q0a6m4twe47e960zrtzmkkdp        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q6jsjaa07g7a6fny5vcyqp56mt0hffepq0zjhle        BTC                   0.03200000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q6jtagyv7qqeanmq36aa6cmg8glfa6lct0l6n2h        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q6jx0zrnhpssaf3x4wqrm2th2cwyg8kxvr9fgk5        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q6jzrv33y9suskvnc5fyf329r7rkz0tkfvjwr0g        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q6lcrfl54zzdvhkuwdpq86xsffx6u7d6gsl7j4z        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q6lh4khfx8saxt6sczmpmwk2sa6yxcujsmv4hrj        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q6mfxwsk7eveuh4u60ednqq3dpta2rax50vyy5e        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q6n2lqazt282gss7llh479az9tl8v3qt68d734f        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q6palyrecf8apl3d2l746pgw7l9hvvwdnrvqt2z        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q6pcyskzalew6zgdy74vxyw4w8ptuspdw5ct3d2        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1q6peertyjkglnnma2m3ef76hwlq66euj97w5nta        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q6pnjh0nk0m3grv6k49qqgwy4p4r04urv4lcf23        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q6pynxxxw3ngf224uxeehunvz59z65le8ad8ymt        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q6qc0ul63fyestd008lc6twazsvvzymsga9h7dn        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q6qt9agfehqxl7w6fjm4pvwffrhvqkxe2zelu6g        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q6rk7npl6775anjpytt6gsk3z76qxl54ypd0xxe        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q6s2ztwf64dn0zzhdmry5yasv4wm7srtqwxumty        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q6s5au90uye3773n3k92tcwuvelm8wy2fa7ml3k        BTC                   0.03200000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q6t79xj6u0j3wxx2rzrhvtyw8nyfnserjj8xmlq        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q6wkyn9avq8ealmpgwyszksfjaft9zajh9h4f7r        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q6z4kukum9z0fqz05s999gqymslvl9l7z6ne7s0        BTC                   0.03200000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q6zmkyqrzc770jtj3u0h527pjfq2ldugwl44vl0        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q73p03mkqterdmwadlkn6uyagc6x5aa49huqdzc        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q73sa76jsxvt98ushllrmxrcxxl8m0u3xtsdphx        BTC                   0.03200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q75dnxrt8hpz2eg788nf8elasv2jq4s5ma9tzl9        BTC                   0.03200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q75k9jz3lk6j300pfu5j5w8zd89jykp705akgcs        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q75v8utnhgrfykdvz7kx956x74dqzfjuj7aznu6        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q789s87nc00uuvkdknkrt8vjn3m99mvdefsv5x7        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q79d7fcj9ng4vnhgql56ke653ksc4pdlz8fr9zp        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q79p5aa0r98yjqyuuraz5k77dt0snlxygw30gcn        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q7dmrxpt5pkvszdspf0p5ts8j8vkey4dyj6nyms        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q7e8c9cvezgtqy2myf66dxmufdhj74ganf7pd4w        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q7eh5hdykag7lu6ptycdnayhvtx5tns0y6edlkw        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q7f2mudwsumv46akkjmggxeflkkmvr4fn7tdfuv        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q7ff7ktdy3dpyc67e284ggf7kku0jfpa7pxy64n        BTC                   0.03200000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q7g8pke2ppwunjth5g0awys2xrm9vaqmfeaa295        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q7h8pyxmme5v2tt8zfhfrcee4xusznmansvs6px        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q7hv98990e73c2n44dtcgtj4luaj48hmhs09zny        BTC                   0.03200000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q7kkemlevv4xp2tvf7act2kjy8ttz9yxq6mkd3c        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q7lqclq4kun8s4fvy6e8du2e0fcxvl6lnhyxwal        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1q7me6qq9ee53nnqldsynhwmwqgvy5twqws0c89h        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q7mhm6sjjusmsj06t8al0w9zv5kfgsfnm3442xn        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q7mq480cazuyj6u5lmvzzmytr00wy6pe82nfja0        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q7ndfstated63nsgghhcx5wapgax7a3hh6a86jf        BTC                   0.03200000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q7q8glt56esh0uz8st8w78hjng67ku27uuzav7k        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q7rznh8709d5fcfguy4dx2xn4eq25py85nftm96        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q7ttl2tac79744pmsjf4a9llqnruxd357e6ypdv        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q7u4xn2u6ed0rqqn0md045fa6naa2qd9qfv3ljc        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q7u8qh2mmzqe5gd5xaecazwpy5wrhd9xywhayca        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q7w9dkd3gjfx88xwqe8mk82r0cdfwwaljwdnpr8        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q7yttz6png20garacedamhe65uevj5pkwaqlwmj        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q7yv8xsfmg0ht07fm9erd50fzuv7dxhm3a5shpn        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q7zn0dl4znzglc3ywafp0h2h69g353ngc8hm960        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q7zsrm6x35dkra46qyyltzs6eurfcz6l4elw6fe        BTC                   0.03200000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q7zt5jc50m9t76xls5tkveuhce97zhtpaefcyms        BTC                   0.03200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q80f24dsgrtq5z3nrvz3595vxxnm5lnzeedgx66        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q80k5e3l3hd8kyad44kqfeldhkcpmqtjw9k5gya        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q82wxvx7tew3e3vdxf097fyz2cg8pfstx5u53m6        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q83kn8rague048e86hk6mse4jjf7wu3q0p6t4gu        BTC                   0.03200000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q83tjnpsapuryy2j94ranz65vawdkw33y8pqy7c        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q83zuv0l7rnfw9lfd7yk6rxq53c9dve7dd3twcc        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q84ekwkg8u0nr09pakm3cp9ajnnvg3qrwfaw0py        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q856thuzdvkmz78d86kezxvgfcfupuydfa0x32l        BTC                   0.03200000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q8599j0dh868qvghwz7znnw0ugkkjxhtcc6kfxx        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q85q7gjx93c5fk97u04wc9u3u63rzhwuj8aeuat        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 449 of
                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q86e55rlrssp2zsmuqqggh79gn5phpt3ntyp3xn        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q87dasqdyjx9j5rnmex22wwafse7z0djxaj8x0q        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q88q0ctphe6efel7mv662l4s5h6dtvqk5ckmt3e        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q88u7zqzhsawxlxvwajdw3ycke73taygprh6k94        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q8a4skhfeh0eqnym7ce4f693l5tu8xxxypl5s3z        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q8acm8a4m6adn5wdcf42avqusjy59y7hpwgt6ac        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q8dvmkv37tyvyryg8ch4rl0es40g2jnn7gu52jc        BTC                   0.03200000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q8e68knwfere8m6hrvmap5e2xhdl2cctts8rx0m        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q8efxrtn75prwpg6wm8487v05fqy4u4czc44kpa        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q8eydsmu779q7v6u0ldwarxd9hs95ex2vzs6vp2        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q8ffp8rze4jye8rh2nar3xlh7ycawau03nyfyfk        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q8gf39vsp4fxn93wrf9zjk9gzvdfzm6wnuehuzy        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q8ghj8kwzw86jhxmgn4p4meky9a34eufwygxnxw        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q8h3t99d0rdu0tglvrr6ceu7qrj0c36ykq7y6wz        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q8jkxwzrr8ddgm6q873456rl25j6sajwujt6jd6        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q8kfl6g6qkx9e83hgj04lt57du38yllg257slsx        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1q8krg9q2cl7nzf0argvtkytxdudjt0jnfzlpfls        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q8l7m307xf52qkyprqz6q94m6ymttv63ssvxc0v        BTC                   0.03200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q8lc3fjvf5pwdsqwrw9uj2gsye586qdmn2dmkc5        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q8mayxm7xv3pdnmzevx5v3hpahhufm0ym5jy6yn        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q8mnm9crehk8z06cf0asluapykj257wad6dc5sp        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q8ndazkmsc399xrd3tyape03d4khtf6h622rx9y        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q8pj8xcc8pjhtvatzmhu040rp2a7mspsfnznm68        BTC                   0.03200000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q8psq7yzuwnc4ccn3ntknt5gdfsy2m5a4almtah        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q8pxny9flvlwwt0w573dp3359khljthc7gvtgtj        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q8rjlqtlaj7d2nwvvh74yr002fy7n3sjlxy2kge        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1q8ruh5cnce4m4tzn506vz655lwaam5ggcx8yzy8        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q8t80s0m8mjkh9ecvp993dnfgfn8kdjm5ee3ljc        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q8thrhc80kq6hvchsk44dy2xva2py9w26584cru        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q8txz6dr6hkktdx2ez268kahp2y9afcy5agndas        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q8uukffwkf5m4vgf3qg57d5mff8p8qqzjpm4d30        BTC                   0.03200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q8vgtsa3cuhlg8s4law7xmrha8hd8wnm3clu4yu        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q8wfwanz8uuwzkcgk0wmy0p5h5k32tt8a3l57du        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q8xc4hd78qzpt8tykpxg2eavw4uqns87dnlyqk2        BTC                   0.03200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q903eq6d06zjgqqlmesthemfjzpz8g5agqtgh8f        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q906pdqaucea6rcp200p23ujde5anppcuu0qnlf        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q9076rlw6g2pe9j5d6qdw4a5c2gkel78lg50prm        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q90gjsn6a240e6j968adm4fmwm2kxerf0cdqrdu        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q90pnjrxlyufy9zvyk6xpp2xu4q9spqm6p67qm4        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q90wfkthhtzhzl68cfk35lyd8zw303ltjmczhsy        BTC                   0.03200000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q9234qu45u46d9upygs535a6qvnpxjvtwzzf9c4        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q9277kt24u0s72h3jlrd2m7m7wwy08j5mlmenz7        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q9287lhkttjcpdg7xw3yeu4hmdlcut2f9xw65ru        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q92c2pzfzmva4eqmrles4nsmmvxedfr40d4fypu        BTC                   0.03200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q92kn49k83w8ahpc7rvaxxtzhcjccyeqplq6ezd        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q92svp69vkdxpfxucuccux8k6427y7j66qdlkqj        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q93pvt9wgemswwazh2hgsplwd36nuceqey8yrrj        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q954gn0t4dhhugrtvc29ry9c88sskk3u8kfzelh        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q95dl059mumnr39v66djvckt4gxsuedssqqxghu        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q9684h8fgahx0fhhrhajprhy0uvpxxmh87ftyve        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q96elv2jqqz26au99hfg3wk2gqsyxa24wm5w8w6        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q96ev803sfxn5vhkw9qte22mmuyvmwvmpc5frcs        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q97a0wmgxalx5k4dwecfmd903ja6q3602aw58yv        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1q97fww5v90wx5fqun66yu253qalj9nxpwsncetz        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q98a6rrm74npxmqp50c09cfe66cmlypexc799vl        BTC                   0.03200000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q98cpsq72vj85jap0m7z5znvhsuchv9nzxk74tz        BTC                   0.03200000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q98dpvl0j47lfkv4lsznusjkx0fakf3wqdl59fs        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q98klpwfqmzdefm4ea5dvw835wp5lun6uydfzrt        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q98nrtdtumcrmmcn8n7j4dn5vy7c5hnl9pz4v60        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q9afc8v80m2yp23enjxehdezk74efufldvjjqvy        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q9agykrnpxvgx4utkwwftk4am4zgwhnd9lhnjdp        BTC                   0.03200000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q9dd45f48n2mmkfxjm5s5aa0f92kvd53t9aw8nr        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q9dp2f2rfltt3hh68dawvhl7gsfwpuxh3p0v3gn        BTC                   0.03200000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q9eg44mnt0g0l3z4dgqtnf5vwr4n7efayxv3vef        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q9eycrtpteuqzx444qzfayrzs8a86cw7cfcy7zu        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q9f5s652nhh4sqgzgv3hjzjr8xa3ffj7v95vjt4        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q9hthj7x36j7tkjcsxg7qsfs7wezq0vh5xp3c7c        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1q9j9kd23jr3r4f0wa3t2dftvf9t4aq74nhnqsqa        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q9k9qkvy2mfrgsezjstxws4h86a9cws6jqn6egc        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q9kavtlgfyga2w86fh4czzqgukt8gfemnru09y4        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q9kxjj8u4yfus429d6w4ugz4stw4m963qlx5llc        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q9ltz20z0j3wdrdktxqdhqgzzt8y459kpg2nw3g        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q9pfh2rz5wxwdnawwdrr3wg60lxgkfkkx692fp9        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q9pmaxxy4hv4dzs5axr733rmjttll90xkptuhtg        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q9rexsmmku00xvwghtzqtc2yds5eeyh8pq9zf8h        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q9uk5d6pp3ajtq28e9u7arm78z4hdju8tgahnp5        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q9v5ep3l87yxmk65m6ryntxhdjf9s3qktjzyw25        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q9xqnywfumecnfqspvn8wp2evnajd9yt8qfw3h3        BTC                   0.03200000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q9zxgvfsqkrfnr2hluqx02ngjjwa43vhku908z0        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q9zyevcauynuta6kauktjdqqmezd87f76vzev6t        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qa2dec4rqpcslkdyz59wl7fkn8mu3lnw2ulyggw        BTC                   0.03200000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qa2rty3asvpqnvygqwucjsrvj4evnmrsl2t7j30        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qa3jwltx7qwktgan30zy520wnaw2kv542q5wfeh        BTC                   0.03200000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qa4cptk35fvmtnd8wksga079cfx0zfn7l664mp5        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qa4skuw94hxn2j7jpp3dve2aazgmlg232m78fl5        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qa545x9v6g06hvyamqyrlw5h55dc23msx5dfj2v        BTC                   0.03200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qa5pfg2nd0zrarvk95tx7cfyyajuyce3msjhauh        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qa5ppl5va6f4n73xedv8083ya9wwyjdd2srw704        BTC                   0.03200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qa6x582fytmspycmcq69rmtk5upmw50r0e4pnyu        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qa70klujzwclsez606j3gg7a6qmkukncvkvwyl2        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qa7xt8e6ehpr9ste0zluduggsf7aaehgr8kswg8        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qa93pwgky8uvqe84hnapryfeh8vuefvgf8g98qn        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qaan78ecz8tcu290f75r7xz9d4e5evc6k20eh2t        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qadu642cqxw7dnmqm2gg0ceykrp7803eyc75n4t        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qaewncu8wqtpmgk80klyx5sglf5399ck9nv4rts        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qakgyxdvta6f2xzl5ycp0ap9rkj6ngmdgqvuj65        BTC                   0.03200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qanw8hvr0hhtjhksqufqp8kh849dp32d5la2fa6        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qar7hpl3k7dla6t8t5plrxcg68zzhsf7eefwatm        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qas9d6qwujd95970h43ncu0jawdtqz0qn3mefsj        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qaudf7k2sk6emeg8kfhv2mmly5jrtr9yrdj74sg        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qaue4wgqk96gzj3slsjq2wmmcfnhg09f4av49sv        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qavv5xhjqq7kuz9rp6t2t02knyt4cr26tftpatk        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qaw7hn303jcfhhzflagsxznwaw9cgzmgxaxsta7        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qawsn6j4u63lx3xh2esqj988e5avuy7p0n0yq5u        BTC                   0.03200000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qax62gsmggefvgq5js07k89y09kuh940gczz3x2        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qaxgexn6cnmkcp3da2sj9edpyephwyqf7ffrrle        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qayfjs2n7nf5qytk69rgkas90s4h7v3wa7wasnh        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qaynm8vx4q6vf7ktppzywr8yst57mye9qqn7nvz        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qayr0qxfsyw5z3fjyfx0yuz2495nnpk24fgdsy3        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qazkhhv6seef2rnp4llf8gadvrlvunqpjqpk8ux        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qc25pca2fknuw2dm4x3hpah38ds3mxtxs8ruxs8        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qc2e0dp0n59ldevzwnkrrztrfuh5aul0ypws96n        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qc2j542z8w287n2cmx0v5ssjg8tva6tk6z5ypdn        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qc2l3hr3n39pyn0u53cm9t5xd7jg4g5cyxq2m3q        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qc2njayt46trv3huqpqqu8nxrs5tvwhuf57jf6r        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qc2uyla0zuu6q5ks2pjkx4denzndznujkw8ezvq        BTC                   0.03200000 2022-04-01 23:03:38   2022-04-01 23:03:38
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qc5gdyc3qst2v4hdp97hcg05fz4pkh5fn06xyzv        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qc6wfxc6k0tlg2thnn0tl97ydsrvgmrv5mlznju        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qcaqfvtu8mq2v2sx5h5fssnkvsmsptva7r2rkze        BTC                   0.03200000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qcc4wmr7v3rd4kymqg2sgjnqmu7ytpz2yz66e4g        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qcc6ltnaf4l32x9zp9n76tqardugv9kqmjw37qk        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qcczlsa2jwq0d4h93k089enl7jv0e9pe4c80ung        BTC                   0.03200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qcczt4pl4z3v8jnf8dtlet99ats9s5p0kkj0d26        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qcd0mg4h9sf80lnvm0knfkddq3sn7enh80ym898        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qcdp5pp6e3ty7de7wc2nfe2c82kqqugmrzlqs7m        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qce7zjrgcy32j20vdp7qe89futqmcyuhser39s4        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qcecatsgz5s60zr02fae9k0n3vw984fx6gr9fug        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qcenwqqk8esdtth9el9uj84hsweqmc0xr43k7jr        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qcfu4pupalvlesahfy4fvml8ch9pxsm4g5l5y7k        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qcfv7a62cfea05pcer9qcw99hlwh4lezjkm74zr        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qcgj8hglganwh20p8036hgclkmj548pnxk0wm4g        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qck7wgv8w7xr0warl3t5k5ad6a8ztv4qeq0gwhj        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qcmdu790yqec8dc5df74y77n6g4uu9cu52py05p        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qcnr7gezhd5qsp0pl5syl9n8ceruwe79zf442ly        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qcp04dexyczdw5mw5xylla9whuawuynakg03paf        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qcr2a0rel3zz98qt0c0cwmcy0rh6k2sx5k6ynpd        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qctaqdrp0754qyja26adgqgq2h2ykrvezmzdevg        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qcuj6rl3h2lexe882aswvqrlnhd0e98zfs0xmva        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qcuvtfu9qs8geja25j349sre7wuuk8dx5kchq45        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qcwa6ztr846dp9l9g2mvgrq86uq0atlakgvr7v2        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qcxefg0a04yrdyfl8yuxr4dhrcqesrutkxautxv        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qcy956sq0mdsm5x0axhzhzh35t9gn5pax64a6gt        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qcykckjensgvdckd60cpqzpw5z99lq7tkf6raff        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qcylu6jqk3629dv77g0s745ccjk8gl5xp46y092        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qcyqs9aerhut5nrphxf9r28wr70tzlam387nj79        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qd0jjmdhlu6acex9h2n5fd0fc0yf7n8w8sgwfee        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qd0u9dcc2gy2tyxtskaf3fvqs7zjdtfzah4zgzm        BTC                   0.03200000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qd3syrd49a9fw4u5pcufc296hj8p3g3qz55fkw7        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qd5kfwttjfqwphhnu2melglt2fr34kdnd4s3s79        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qd5t5e2src5tsegtw2tfkurcrpzppyystq7yxah        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qd6ljnkyptztj5k3m84t7hzfu0cccjvnlxq4pl3        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qd930sael3fmrpvusmecu6pydullua44xazkacx        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qd9emn3yapa0wd9c653w4286eq9lxznq6qfxrn0        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qda3jeuag044raz2axz0nkh34sfps0p2kkm204e        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qdaqnzayzydlgxk62xj46snzuf6jrwcdkmuua4d        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qdcma7hfx96u6qh4yt36uepkwsdtsld0y8ze65q        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qdep0248wwe3rf2rt3uraupgk7nyvp9qh0eu7j3        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qdf0uru3fg0395238gzs4ck53n930c9tk29227g        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qdfqphfl54g78ng05zwv886d8vt7avcl3hk73fj        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qdgfktk92xum9jdz0fqda6apva5hd2zd6x9kk0m        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qdj443f37rz6h8lcacdtts30stc7vp0ak66x5jr        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qdjzgrv4dh99urr5s40dw56d6xr4vayk8g0f5kr        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qdk0vyek5a6p3sz28px7qheyx3j3t3rtcmm0kms        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qdk0yrgpfay3d6cy2ttc0cqzly34xkh00ygqzme        BTC                   0.03200000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qdkx863l0acz23nercprdcrgs9vnkxt75dj3cyj        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qdlsg2n9cgumwtk8jnnvg43r3j3tvtajjr8c69s        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qdlvz92hxj0tggqke88a34svvdtmteu2hjczv4s        BTC                   0.03200000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qdnh8x6ahct9t33wr97wv652q2kwhldrf4a0xgf        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qdnp3agsquskmxalvhtas3tqs25t3eceug34k7y        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qdpwhgg0zvlk87dsrjv7vc0mfaw9zpqrj9vukr5        BTC                   0.03200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qdq7ymezsfys03zpvtl63s86xreekm4z5fzwjh6        BTC                   0.03200000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qdtr6qjp92xkw0phrf6m2yyqx79lujyuy6vfa00        BTC                   0.03200000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qdts2c26gjdn22mj5ft7ldgycnu5sg3kw6kh53v        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qdu2ej88x0j7tf9cm8u2xj3wcyp6e03h9y6q67x        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qdum9e3zklrqkl0p72ahxlx39atefgg4qjqh64w        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qdva6zsc8dx0jpe2zpf9lclutrkrf02pr09djxd        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qdvm30qccxwfsux4h4fqhcrh3aswlk7r3vs9qty        BTC                   0.03200000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qdzx0eym5securfzq29xnr4cjcs7fpvp9y62fgc        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qe0gkcs24m32njjfg4w275syqwlqmrv24yuzdx4        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qe2t0xyy3jzm9rery576fa4u24r5l0wxf986m42        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qe3h3rd0yyudzmpja3t0lvmehglttdr9kvz9r7c        BTC                   0.03200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qe4ut7qaceenhmwjywlz4mqszpk6kjv7yfmpl7j        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qe58esuyruqgpajj0kvpwj8ffp23l496haun0fr        BTC                   0.03200000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qe6q4qjgdkyhcxdrtml0puahdhu4xvuyw2jm62c        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qe7dac8vprffdkw5vfpr75c9gxf3k6ajs8ulsy7        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qe7ssrlhqqn66aw7f25d8mtk4msvmugg9awwtk9        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qe7xw8gvxwz9unpnz26086w90lqhpl2xat3l2gr        BTC                   0.03200000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qe940k7dtlhurx3yy4m5482s2vys4csr6er6cly        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qe94a4pprel7sdejqh0mw4gg2a86y48h5nz04kk        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qe9jz4e5dpfawvtpz4rn6fmz3lzddrs845m5ghf        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qe9l22694rn5g2ykupkyjwkc8kqtdp5zrqkpek5        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qea9scdhywrpst9zln9g62mfdpzc8hmrjks8pmf        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qec6lxlpdymqkzh3g7c35jffcu2jgjvd5ze3rxk        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qeeggy7dmp7sp8yxtyean7ta8zre6ndhndwh32v        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qeetjvjsea8n7ea8dxzhwwjpxzd86ttu33244da        BTC                   0.03200000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qeglkcers2jj84fgsm7pqsjq7j3qzt3wj98wh3c        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qegrl8kzrcmfyrj8fphz9e25u4nuj8elh8s85ss        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qekpevsl5gvlktgl2utwmucnsd6x6ej4s52mecl        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qel6d238e2tm7kmz0v5ej284ss7n04yes0w0225        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qelkdd8hrwvjtwskgxdlumxxgd4c7m4ul7wnddy        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qemwdt7fkpknlflnjsawhwg9dyaymf04vsrqq76        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qen7mv5dz4fasqpay9ur80e7sg8rk0kcwc8xtq4        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qep8zjdam2t68839ghr9l6mcj2jw5mfcrpprmx7        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qeq93w5lc8v33pqtervq2t53un7kf0w6ef2wvld        BTC                   0.03200000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qeqlrnghtjv7jj2ygmjxuyjdt77wcan4g2hf4ac        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qequ3wcswkzh8lu9fcnf583j2aw4z2txsj9pqww        BTC                   0.03200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qerkamax7lsz06rtvqs9sfwzkjundwcygq07n8v        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qetn45smxrrcu9f907uae75q2534emage9ks28m        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qetrtz0dfme3deapc5vtzrkume4f7l5k3zey0jh        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qev9u6mew09j04fnxx830a2xf6y3wgg5wr2n26u        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qewfar8feajzlcgctzdlm6ahkpwzmpsssn9eacc        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qewyhqmz6nfgwtxw64euwhpfpd9rj4ngz30nwsj        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qf0tpjcfpel23pr6uhvd8ujp4stx746sm0l098n        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qf3de4w4r339mytcnj8pasauv2rheslkvwx007g        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qf4lxx8v9fchy2dhu7eyu2n9253tcdh4a9rzuv8        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qf5lkaahrx4jp3q745rrjxjtwtnkhmr7chhu56l        BTC                   0.03200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qf68d4g3x2xwmjljq3htw8rypwvwsfj8jel292h        BTC                   0.03200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qf9j9xt7s7y4v7kzcqdq3qv2dq3xtr544yw4zjq        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qf9xd78aml4yrwnjmg5lzha5pjvcz0zn5yex4w9        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qfa4agkdtajww7yuuzd2jrawvykw4zppnk3plwg        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qfclpd53u5hhzvrnfufkuhx6e2ggj33qv4ynk9s        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qfcmz4qzhraft9z685ma0xmstljssddal6p3la0        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qfds3a70kyyl9ut9fjjru0sh9vsqz8nj59v79fy        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qfe58zlgq309m4rtsm6lrwyf5rdhnrqtpntpgxf        BTC                   0.03200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qfe6wrx40etgfyam9089wm3m5mfna2uyvfm0t55        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qfedafahdqt35hrjd5d39nws6m4z3e53qgfsz44        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qfery6l0ccel0trqahpgagn207l5l7t8g75n0q7        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qff59qldsz76tgzfn7rljr6takzvzs64sd3syak        BTC                   0.03200000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qfge9z5pzkppwcyjark2h6r0d8aepw3v7hvhuy5        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qfgh5csqk7lhyreexgz37ra7sxkh2yelul5332h        BTC                   0.03200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qfhcuxxnkrcrp2azf9eytr2vqjjct5346570uk2        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qfjnwjzs87jg24pw56chzlf2cs06gkwgl8lmakz        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qfled8m9ma3g4hmp2rqvh8ktslwftu9vsgqjda7        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qfmcdj8r5hv3g9gz8r2zjaa4y2frrwvhyfg792t        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qfn7kvmxetmrg5uv7xn5r0cscap5l362akkcw9y        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qfqgk90dqw5vcayyuk4s7gnhfeg8zpf9f4q5d9x        BTC                   0.03200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qfqltehg6zl3z7rtupdyjc3gn5u3kcaklxd7vg8        BTC                   0.03200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qfr3qs9qtj0vmh8wqhftzg65gef9r7rp5dg0d5y        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qfsdnl3qj7hff3yv7ae6alkfe9qcpsu5ht4jcuf        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qfsq7w6cmudt9jnvg9yd02qfp2hk8pnza8umv97        BTC                   0.03200000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qfu5alealwucgcdma8zg2w7v9cx793vyxly0ks0        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qfvekl7uy5qk5xz9mcmefnqa8wkjwzlw3peckte        BTC                   0.03200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qfygwjdh4xnglf22a5ntahv95acypxvp4nfjcud        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qg0pzgyhtry9zllh62zlxvp4p2vw6skz334y4rf        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qg26y5hpc707xtludghjufrslk54cf23fe4c7lc        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qg2gft78jfxu09s60c7gf6sak7wv6pd60pe42a9        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qg48earhnjs7tzcluzy8ydt5u2ymy8zjymzkccz        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qg4dxld22lvrslf445njlrcltm4uyna77wrz3yn        BTC                   0.03200000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qg4urq2epvm3slgrawjcwkwv6qzela3cy78lwtd        BTC                   0.03200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qg5s0wjw7rcklduettqzdnmk5jnt6pdklkwhxvd        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qg6kxajahxkdnqavarr3fg2lces7w8wqqtres4t        BTC                   0.03200000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qg73nk3gj6hd9ewpurt30et9zucu6n579a45rey        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qg7kzhg37amnwcwtgxv8dsxdmkfnf6ha0nkavrl        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qg82cnfjte7nmmtacdxhh07d73a6mhcuukpze53        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qg8fqxg5eykwvzxas97qk44e95j03ezrz9k0xku        BTC                   0.03200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qgazj5msgl4p2fpwd6m04alh2r6wvusgvh859ad        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qgcfjze0x9hmq7k5999x29xruxka78fs4qdpsrr        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qgcwmfxc04lla4qr3ehd2xxwu32hk08652qp349        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qgdep84q57fzkgf0pg7a8765czgtxprr2fyttnx        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qgdqgcp72l048qq8pwq69n0l8cx0mysljk5j0c9        BTC                   0.03200000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qgenytlwx9qmh5ez4ffyw2803a72gtkwp497vjv        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qgf0p42khfh64920hld94k23rklq3fhc3mqx87w        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qgfxj47mv9n9zjx5klnxeh34yc53addets3dudx        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qgg9qzty3d5k9hsjw59v6453yu0xczss507j8y2        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qggj4m9efxu4h6fpm7j8fsveva7eu8va8adefa4        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qggjmf4xxwm83weyj3nq7hvlum0vyng5tj786nr        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qggyalg476fn03ehfpdjt7sc6t0gtezcaf0wjze        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qgh8ztaczhve6ru5chxjlpqtvfrtgl8j96tgfqc        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qgh9kx3q3fftxlp42ud04skpa5px6xe5zgr2zxv        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qgjj0nzd9z0ggu2ks6yr649pyahd0h8e4mg797m        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qgk5vgyqs7jgt5pkyvmd8wvlzdt70gyumhgsqlh        BTC                   0.03200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qgkghw420fwn2e3xnjzt854pqx3nrnem29fzx0h        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qgl2uxyp0rjvcysmue3lgqtxxfkyckr9u0m85a5        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qgl605cjqca7zcz5a9vsrlk3056kw8h03r6r3sh        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qglkum4f7ufcw03e5y399djp6y65lj56fcdq04q        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qglznz5e5nen6lj6h9tyhd7mvy80wtjj4yuaueg        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qgpdjxd29g59qkgk6j96p6922tyyt5r7303z77q        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qgptgs6vuqftwf2prgqf39sea32r6fmqqkfep95        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qgq09ze9lvu0aufhz9p34fynern30wzma3calu7        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qgqwk4326jlw47vpc70a3cp3e2hg0telvf4jn7a        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qgrwxvg5v2y20vy67kfk640p0gay0q2sxftzhtv        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qgs2vgxft44nvprvjwst0nneeyclum9pnhrjh6x        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qgs5tuw73d9v4cw54xajqul4gqcg3mx3uwjt67p        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qgsg0s6gjyz6x9p7afajrv2jk7q8hjyydrnz7k2        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qgu8ta39pjmzhnrphtwl6qn70t8397ll7jn7sjv        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qguh3v9k7jvp3y9hd6pyne5aelvyrqac33g6dcy        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qgx039v7q0hc7vnqr75k5w906ql0fefmpj8rpr0        BTC                   0.03200000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qgxdrml2keakmvyp4k228wfa0qxdr8u4x8lsc29        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qgxwpchdnux8mhafkmh7v83hfu6ld29x6nxwt7m        BTC                   0.03200000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qgyhyks82yzy6adylua6w4xjtl3ustzyjyrn88c        BTC                   0.03200000 2022-04-03 00:30:02   2022-04-03 00:30:02
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qgzgpzf3rmarueh8ph9vdpfl2tnxskqqs24z6q0        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qgzhdr0jyt9gthmchn45r4w56tcxgj4vpklgcqj        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qh2yxv4kvj9njg3rqmlnh20h6jugp64ku30u6sc        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qh3rc78eahudnw50q3yv5eeuwsfwzwfe2zvs8kv        BTC                   0.03200000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qh5vpu3gpyfax0yfje0se2f7ussee6vxvtjlsmv        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qh79s06jr7p6xq9u48ecycgruwuuvertuace9ds        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qh7t07shvux64u7qk7q2errrv292jhq2g6ycncv        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qh8qdrap5n6jn7k5gm6rf0q8vnpz9am5edj8j28        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qh9nvfe2dtr573e0q3ffrx8wdq4jk4fpq9t7cpu        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qhc3fgv6gcla2yp959mcf77f4u77fws5lryc6kz        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qhd2pfwcsvnng63qg4sm40va3wxdlx7hgay6dz5        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qhd8yks9pzkgsz6dveph0048evkr3c4jcalweaq        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qhdjaj6505p3nfdvcd07vqcvzu8h6ld046sh2y8        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qhdnyhtluc38m74r4u65x87kg975zhlkssrr44g        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qhegue93t9zn4zed4k44x75q6r9x4fngf27e649        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qhejx6j9rv3048p4a2fmmmslpms79gersjarg8l        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qhezp9qr6ua9t9ryzm6hnecl6r8cja0pchhhgmr        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qhf8vf7mqmnaxznyfx5l5kks0s605m8mrj9xmz7        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qhfjwr7qvrkvv8s3l7hkvjkrq7k2j8kat23mxuy        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qhfp8uh5xf494yp2e2f922wcyw7l7rgwh5hxv5m        BTC                   0.03200000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qhgwj93k2qlum40cae3kpytymx8dt6wm9759z9x        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qhh2xzly4km2vqugszl0466nc0cf68ewgkxycm4        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qhjyrajydn4asdvttasg3u3se82x58kvpq0jmel        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qhlteq6pc3hwk54ygpc2rjxhhg9luawkryvvu5q        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qhm06tpjwzajflz05javu3xn4d4kc7hs4tfajmn        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qhm7wpd0pn9vne4jp4cesgm9y3kk6y9jswcvtdk        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qhpemep0zhv72l3ledw46l9083rtspqp37zuwm0        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qhpj0tjml9ssgmlc9gzpeaxr6jrky9k5guvnm70        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qhqacrqltss8l0fgkgjnzxau8qy3mefpggfe8kd        BTC                   0.03200000 2022-03-31 22:53:55   2022-03-31 22:53:55
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qhqfmxdkr7vsy6vnjh7k7aes36hp6fm9zl9feur        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qhrjv5vz5kmpj9zs343sp9qhjfq7twxe8qu2ts8        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qhrrfu2qkfw5x7nnchjmwec0sn6mpeg50gr2xt0        BTC                   0.03200000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qhrxez60avp7sz97jlzag6gn03caaag7ndt0f0c        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qhs7a34ke4zud7fhe2japlt5ezskl3emzmveaua        BTC                   0.03200000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qhsmadk0zlylr0kp3juu9kf9m0mh7g7e5y0text        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qhtlads5ul99l7up7de77xa69z2x5468t0zvwuc        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qhtz5978t0y63helqrg4nymdlc3ws54gqp0er6k        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qhvc2mz824wwne0tqtyxuq7p34tznrh6rr5gwkt        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qhwnjwcwm6c2sxw9f24rxe33clpatr70xa74cwk        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qhwnm2jg9tuf4kztltf6jun2qel6vmdxgmge6qs        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qhwz9ayfz7clvwpkvm7ckeae83mwcxx7thh6w0k        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qhxr2ckpvvezpx8aq08duh9mauvex2trlgra79l        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qhy5c8z69ct323p8gzaaa3avd0f5lrwrx35h3t3        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qhyqf6ygmf6u682utn6slr2tkt3zy06y7pwaj5w        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qhyrzuwt7esda96kqt3fp62w2lhche240e98kdl        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qj0tk0r5z4pcfzdflgf3selal8eq0pz4934rxxe        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qj27nmz48akjy28t3d3fpukphpgre8juedy7lsu        BTC                   0.03200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qj2c9z5ncks8yn0hzdsau0ku3ly6an93yf3ftwu        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qj2dzhkyj2h3egxz35m6fmkyssmv3kag2xyyq79        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qj3676g77dn8gyn9z34zherl5j8ue60vuv58nln        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qj3cg0648pl8ckatkjdup9ls2v46f5wflexwyuz        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qj3muu5runcfdr43hkxydnp4etljmsrkv559u3h        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qj4p630epnw4p8yqmmgpx2nw3cyccpjrugm0lpy        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qj4ydsajurk5pctz0lzsqx988adm2gzjk3flulr        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qj4yjqet7vysh6nwthg92lq40q0sp43xvyfr7dr        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qj54l70flxd5l72l52hp0lezx0qzzn75vv6qww2        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qj582hxsu0gffx45fz93q4pyg4rmhpylq39lnw5        BTC                   0.03200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qj5e4hajqzvuma7jehe99w3y4qtzfvcmr7xcwwd        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qj5n4ds3edxscf8z7p6gmxff5lhrt94jsct3m20        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qj8hjhd4gpmvf5wvjqav3s5az73r9ltf0g60z8q        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qj8xefqhjr6h2dtv5z32em73f7cnx5z7929gxn0        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qj94vnaj57j3zqkhetj6kj7tn394rrz7cm5gw84        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qjam9wch4vag7czkzyetsy4lnxpa33alad2wunl        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qjdd6rsdvrdshrnmsqp8ggmzuycnwrkvq5mznq4        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qjdw32h78fhvc8d3htmmd9vq4r4r6lp897t39km        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qjdylu5sq9crw895lcakte77jc58a5ynwfnaksr        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qjf05n58dfsmsv5024pzfhd87cdxjsacrcrypxf        BTC                   0.03200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qjf0fdr4x58m2spp2zw7txjzd8aggsj9hqpsevm        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qjgasd2l6e6kglxckgafawdr8eqgm8lkphfnus6        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qjhe5pmsh554tn48ze2yglgjauj5s95h5g2zgfy        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qjj2wg89j2hsvdeue44u38v5sre9c7fqdl55xre        BTC                   0.03200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qjmzsej4t96x8gcnfd97hprhvl8l875wnrl0rmn        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qjn3vyhf7afvkq2lc6a4cmdfy43r79hw94j7hlm        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qjnk988z6vgm4236es42ulqnlrxczkdq80l5tw2        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qjq0ududlxntxknjg4v2sradwt6h2u73qky9rnx        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qjq7sjwek2puaycawcml5wr3nhpm0y3lkm9c94j        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qjr3fnqqjwxh7jahya278sfac9z9f4av7pvwg6z        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qjrqvxkmjl9xe94zrsgq9jgxyp0gsvxk55p4gdu        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qjrx6jrwyuvuk72r0dp9n59sk4cwnycqhgzmfdd        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qjs0ha0uuaw6kjxjerw4m3s29fltcjzvfj9s9rv        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qjsfpnw433z3ym34rvtkkthqwehr4lht0glk9sd        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qjuee9e5czjwhm6g8k3k6qhrg9j499lqdulh4hy        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qjw9667r9zdmep7l8ynkeas5936k5etjkp5w6kc        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qjxhazhsx7p5ngc90wspe79wx63cmwa63ha7frh        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qjz0r7xltvwu846av6uu2y0ajnfw70n5m9pu0xn        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qjzh5px5mxch9r0sr6nh7uv6p62fg6vfxq2gx30        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qk09uaravv9x2wnarm50g96wj7e87f785fzqge8        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qk3fl4pxkfseg2q7vsfzv93wn4pn66v44hg8m2l        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qk45c3say08636sh2le9avxupjshtm7j6sfvjvy        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qk69a2h9l368h0pfxklltlkxu896umg4p42t8vn        BTC                   0.03200000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qk6emrjwn8tqed0em5xjkdmt8cta70s42llgc5l        BTC                   0.03200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qk7lcu7sxw7mf99393hujw9z49phh4w65wyhc5r        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qkach2tfx7dquy2t8740whqdy02ahzd50ldpuaz        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qkadlhhvjmagcwewkwwgv6ha4qulv93z94y27f8        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qkawfuvs3hk5g2dru9vd7xmufuecrxns7qm9s64        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qkcguadpd632zjqlpf98lm0c7w3qfnxssvg6sg3        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qkd03l9zvaxd8q7pw3lfyyygsghkfq460tf0azu        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qke5cpxpagknd3yshz9j986apqcp0es7sdpqq9h        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qkeacf58a90pqnpfwkdukdrvmw9rfdz6ju08euw        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qkh62gfgu2jxhzuc9kcyl3uffvgf028rkmltg83        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qkhd9tqd8l36425ygjt2en2n4d2trthlmft9u3r        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qkj9mn7shtquyka2mfwtqep7pmat056qy0e6edu        BTC                   0.03200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qkkukgnf9zgwrrk3tjcaxhxfkvyhr3syczgtyt3        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qkl3we7e7ngrr69x8czxwdqel4tmwe4su2qfqjs        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qkmvfedw3d925k2a049pnkcwdhv0f2akzyg5ahh        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qknuw4t0lphuwqxvze2shccr2wztsysx3dxvwt7        BTC                   0.03200000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qkr7qlq4ys3qz6mekgf3h7xxw7hx57zx5qh5jn8        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qksff3ggfvzamn8s7m05fj5p6efd40zuhlpvtt2        BTC                   0.03200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qkuhd4egtf4c9eun8vugfehtnydpyxz5usce2xs        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qkunkurs2cc0x84v9y46lf89p5lxjlx7xvtmc97        BTC                   0.03200000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qkxprz7m95ncrl3pl56uu8epf7ff48qmapcpart        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qkxy74pmfwa8s6eyrk7z8vecdkzd5ekmzrda3fq        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qky3mkh0pvqdzqgfmat4vjwd44pvmalt5xh8d5s        BTC                   0.03200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qkyvafd2j3x3ysgeykk05jwn44j6d5jx2msd96u        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qkzclz87xnw2eee5kf4akvv0dzqd3rvlc0pp9a6        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1ql0ap7c3p6p7nap8mualhx0yn58m3v4n62uvld2        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1ql0en28udedvte67cq864xa9gfq4v38t0zdfedu        BTC                   0.03200000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1ql0k9t3lgnvw867kefylg8sa0jkdd0pt82hc6nw        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1ql26g8c0llqwp29rd7zyq0z5kn054u30xa64qtc        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1ql38h0pj42gryhd667wu9wwrd2spa07as5jhgvz        BTC                   0.03200000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1ql3sf8srps59md77nrau5nscv48rwtg7dvh9dma        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1ql4v53z2yp38xtufnz9vjnphweryzzkqdy6r0f4        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1ql84z3gqvz8plmgxd4p9ph95cudm7jyrtkhuqpp        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1ql879uefr3wsh693695rxem5akfaw2xd97qrnga        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qlapua96xjfxhxrf3ptrtua9n6zkm66nvyhlzu3        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qlatre4zp6y0jsdwxenatgap5k7p939t8s4p2wv        BTC                   0.03200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qlc3dutk7kxevysy7847fk6375pvdyszdlwx8qv        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qlc7dm5qzz4eu245t3zr9cle5cjks5hts9g2yqt        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qlcfd9sw68j7jvphs84f2tyjw5907vlkhm9xr8f        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qldca75ndlg57zc4wakcvdklxdvespfhhd3mnst        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qldmhffgqcwymeg5tmz73ce2m3az9eshm8ky5ld        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qlewjkta3wzjwx79cleqlsfquwdjgn9rdldk4tm        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qlfpyqy6nwz0zrvayfp52408s76385vdz4ppjcz        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qlg37708msyx83hsceev4vsne972crq5qmetnky        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qlgfaln6asugf3ha5rx52rcvjmhkaeahnd7mwcf        BTC                   0.03200000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qlj2v3ve7ure49lcqn35eccha7nyv5m2esv986a        BTC                   0.03200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qljlpwn20dywunl82txk0jc8h58ew0gj5d04l9z        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qllelekw0m9lj00k8qkxlxn4jd5dl7t86rstpnd        BTC                   0.03200000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qlljyqpmg99rwckk73sm64n6vkkkqt98u9rkvfe        BTC                   0.03200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qlmkyefrq98teh8f89gf505gstcqx5u0dg72xkh        BTC                   0.03200000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qlmmrueevmq7ls2l5em9nw6uqadatl9lwgcf6fd        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qlpgccupyyhfygvzthgyep9gfmajdkf69tf27as        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qlpness4pqq8fx4laghvvyqzgxthym38a8vqzu6        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qlpxt7gml8qpa7xl9pfty4rmsuek2fxqk0fv8a7        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qlqch7qjdaqxawn370u2jplt5dd9nudmllvt3lr        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qlr9zs5knxpec50uq7ejlcd8ru3kdqqg8uncd5r        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qlrvrte6e04k6zm3895wgqskkw54kg0eue9kfct        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qlrvtp6j29e3w6wg26k8gd62a46k0xzdk85vsa9        BTC                   0.03200000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qlslq743wnhq6qvr8zxc6ldg0ztjmfggerac385        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qlswh5gzaqfyf7mqn444y4x80eyd5yume7q3sak        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qlswkkcfk669ftf3g67szh8sw6nt4k2es38cd4s        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qltd5hyplf7drj7mtjxmkl0uarmzg0fswmdmqsq        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qltn25d3tmsrflzfpmf6rmmvln50heu8mr78w4s        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qluaullmeq0v7mhremwkddvf5l4sg3g9fzle4p8        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qlyp90vgsp73dp4fkpf0vdycvyzszynuzlqcprf        BTC                   0.03200000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qlyu8qeke8302uaky2gukrd79nf2spdgw0p436d        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qlz5szq3dxn77a9tgkuuy0p0nfvatt8kvduh4gq        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qlzl9h8k5pt3gs96xwc27jtc5ladwgru59zrk53        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qm05f49ku8075f3xl57vw3dfdyz9guylz726x36        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qm3fpeec8dafdat60m2ptr8reln880ks87vvcvu        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qm3hj8j5teq5dhlzugj5uwm5lagz2y3s9e9jdlx        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qm48s8uzpxap8v3z9l8fu5dlrk9mgcukxthu50l        BTC                   0.03200000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qm4zdguwnf5dultzfxpfn0rjdt9jw5qcztmzmvk        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qm5keta7vsv9zj6vl5cv2w6uxedgumfng4tew8u        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qm9qu3x2e6x6xl6fqp807qq5n037gm4mzkdmq3e        BTC                   0.03200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qmapld5nuf0azvay2rxf68ujglu6pvzlu3rprch        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qmdgkwkzd7zxggetsntq6msvpsq7ddkava47ued        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qmdwglyujuumzs9khxhp62jm6snh7ra4twgrx62        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qme8gdac4zptkjtlvcrtrgdjgs7lagt74cyt7c7        BTC                   0.03200000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qmfn7hw5mjyc6zaum8dfxufsvl5069lwlh444g2        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qmgpqym9j7fskg842l42azsfc340gdafq4dl990        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qmhe4yg97twlww3wxrrk54pttmf6aj9ty5cms66        BTC                   0.03200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qmhhznlsg6kyrga0pafqzq5llq7nntn8t544wlx        BTC                   0.03200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qmjelzu59hwhlwg2fsjfy5pk2drrq6yhz56aya4        BTC                   0.03200000 2022-04-03 23:47:56   2022-04-03 23:47:56
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qmkcemxm94mu88x450rjc02yg2zaqkd7ehn3wm0        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qmlg88nd3w8lelvugs56lrmapudg26zx2an2xfv        BTC                   0.03200000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qmlj4jgcrv4gud8vaujek0gqff775xul0z2jxaz        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qmnx4pfkv5xwa50ewtn3wp9840e763e24xz3tt3        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qmpl5m6v0073y2e6t8q3tqzl4tdf8wsqqmpdfay        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qmpp5z2fzwrtqe2nc6uc4t3ydvdnqqykvx8vw7w        BTC                   0.03200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qmpw5nc6p5ujvdgh2qqwlazhw3du94nhlyvu58r        BTC                   0.03200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qmpyhhplladkq0uh48atq50xlrht0rtm3u64ugm        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qmq0ej5xpm2zdv75ux9gw28jan038ffnzn9duzl        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qmq6h8rtt3vtn0tjks6xsgzzj3kpymz5t4pagvl        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qmqjekt3wkrz05d4hqd3846ndgev8gjewlwacw4        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qmqxru79l9wf0cxj60rplqws25gmk25fl8ewtwh        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qmrklv9s0t04j26zx0z3ndryuqusk9rjwynyd4k        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qmrlcdv6rk2pjregzyl054nm0l4uh6xukqqdsrp        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qmrmnzfle5awlfkwc7utq6tvnl0wj4lhygf3afv        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qms5pj3rnguaskkd9qw67s3kscdcjwd98ue62et        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qmsmg2g3rzruzu4e6evpfhdm0twd9un5ulgckdw        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qmtumjvnrr5aaqe873nxcc2zdtn6wzjzc6cmqms        BTC                   0.03200000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qmyhe3cwdmqz2qulx547r9f6f95nqpjw6rqk0t3        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qmzharj24g0m6tcwrg6xjcuullma8klv894umem        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qn0dcv9tja4m8es3x2n4hngve4y3n5trcq7vnu2        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qn0yf6qfeeql6a2mg7reyxe4zye943j824r7lcg        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qn3aq6ewv3rws4r78cgzpmrfd6m20kat05c2hk2        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qn569n33vtkeaa99xvtrtv5qny88fgwwpfm5wqv        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qn59altmp980avpjfna366hpc7emfu2rdn7k3jk        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qn6rsyy0pedqdfc4k8h4wneju9csuz5lkjwpdte        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qn7uhjcgkf4ttc3s6adwn7syu8uqp5lz2ehxpa7        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qn86rlpa2a5q4k8es9up0jffqcex77vej24hmdm        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qn8lnkqhps97m5t9ar0xpd5f8hleztet3q5rg8l        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qn9t49rl5hjrqafhqj3cjamqsg7s6ugynjrsrz0        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qn9w9mq5x2hqaf4m6hhj3lh8l7u3ajwnpsyp2f6        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qnagzjsttntjx6xm7t4rpkk45le2r6332vlsqhg        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qncglywl6v2kw9m0qal62mkwagy7sdg8dkc0kh6        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qncrlgh2ycraw4a5ct07fk5lh3guk8r2h6h5pnz        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qncttw3wuxw858zz62qrkxefwnvvnuvhwn9npv6        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qncvrnsua5jr6c4etaxqhumwqvmj9pkn5ycuvsu        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qncz86wx6w6c9wntdl7hzye5mqyf54ky55t7l9t        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qnczqrul6spqnq6rk4javgtsf7j8udd7rx4urwn        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qnd3t923wlfycl7edvumv9csckjxe0g28a76hny        BTC                   0.03200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qndpdha0pk7hgczl54etnl390guhe4rqcu7qng3        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qnh902d7nl5jux2zr24vshazxscryq3kt0rns6m        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qnhcut46xsgrl4elh2r535996ksgg564kk0mf39        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qnkgvecsj6ewyyvl839tdhelrk2z9pvx5cw56wz        BTC                   0.03200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qnkqnavegxgtt6rmcph2zrp8mg3u9fy7djt4wcx        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qnl4rtv2a9dym5tqvrut8v5gxnk82k78ea8ez0u        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qnm25zutmzv3gfxjzcl9p6nuwhh87kfdtk5walr        BTC                   0.03200000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qnpaayjttyjhphhv0pe5z0weqcn90gruv9mlmyk        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qnpvweet2jgxpt734z9mk25dzul73dvnyuyjsa5        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qnr5ngytgu4tt3tetj62frfcc6f6nmv6crepfvx        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qnr7n823rz9w323p4t8u8qv60dlue3fjmc0nyqc        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qnu67gnu72tqykpklrdplj0au93ycq5u4czjhth        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qnurmnus6aanlwfu5wyskke0wc48l67yjclk2fl        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qnuswdslh0wyautlgfp3stvwvtrkcn9nph3srla        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qnut2ydhzwuyuw65sznqna3mtenj4hp6ar0hzll        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qnv7cxlz865lpu0cp6ha04ghhw4dm22rn3c5m9v        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qnxn0znwmqqvz2l66zef23rz8yhyhsm5qlacu89        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qp0m80hevlslu3ucp99rhfgd3yukgn4pdaa3k9u        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qp0ta7wd9mjddhkftc20lcjqm453vwxvc3xc3r4        BTC                   0.03200000 2022-04-03 00:30:02   2022-04-03 00:30:02
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qp2cykhl84d7y7g4hjgakv8ryx7amf0ltetp3tk        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qp2l0dr9w72vj5994u4ldzz7cde8348tya4gv0t        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qp2t8wqhvmguzm9dwnz4rry80euranvd6gpwp5j        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qp3dhf94tewnn83986zp6k80ld0pnhq27xtnxyw        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qp3p7nj4r6jnjvdftd7w896s3uyv9pcknw44j4s        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qp5qd9h35gnqetjgwr4w6sl5ywmzx2hsr8deu3e        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qp6hcunnl7cug3py06rpyjrlfpw6k4e5a38s233        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qp9p6dfwad2e0q8dkdseenzsw66w6drk4068nnf        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qpdmda0chralztuhztys2qxspk6gxjxys54f2jn        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qpdmg9spkahpj0glfyj43h2s9azvxden8jc4pkf        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qpf2ryvnfxc9cslv9ed4249h6flyl3xfhv92flk        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qpfadh9mjz8errz4eknsdlpfkygwzqrpmkah45n        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qpg0ejw2tfwgnwh8dlfy6zzdzckzlf2rk2hxzan        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qpgxfqpy6wdh3t9h5uvdau87h9lc7zma0q9sz2n        BTC                   0.03200000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qph73ry74z3ra38fts73xcuq8hjx62ujwxy0fna        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qpj4eg9z2zas62nd3nqtdkks6sn9rzq5ep6ut45        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qpkdw2600lz42yxndpd06mu6yt7a668aqzg2jz2        BTC                   0.03200000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qplrzscn04sfmwmww8nf6jzusj46w0nnftuqhur        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qpm0dd0v0r2jux5lvvm26elha5vl7sghf2t0zyq        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qpmkzefkm9seqj6smqs7w8wcj6h2tjydpded55h        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qpmtauaf969v59hz7y5pzxxhkggza89s6f4k7dg        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qpnq7qpgdl3kx304l5j3fzq0vu43yyqlzjdrq7p        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qpqf77qrk8a56xv2fjnsu2mcld4lq9dj46gm2ga        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qpqy69gt5t3h52wfg7t93t7867lpnlrw4ndsqmx        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qpqze5eq7xe73na3v94d6jx99y9jg947wsx6c57        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qpsvu7aktu9geu7ghg8500r6mqvykmlhlk4qlnh        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qpsw60wuxhhua8peeu4kcmrf3dgmyx9u35z9vde        BTC                   0.03200000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qpt694kjssjfmcwcvmgw3gkqp2mwfl6epgazkw4        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qptvu7rlx76nw5vd46fv2f9yys4nmktmujc6379        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qpvhmw7uszwyfzflghe05rfsx9hl889dm8ncldf        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qpvm8f3hdue7d0fauspgzkkzckmt7tdzrka2egx        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qpvzz5jc7ygeg95k874wdxy0pyv5dhcvvqvy9e8        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qpweja98evysj0lyjuzhcmdtdf43a78syrwnx3e        BTC                   0.03200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qpwrpw4zw9x73gf70gxg76e00kzp67523xuqs0e        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qpx224qwwpzr6pmr6fu5al0m60xdellacsdp4n4        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qpxarje4ty9qeklpuu37s74xf6snjn2p98xr65n        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qpxfffsa9ddu0lhq7khmw6fmlqe7l6ckjpaexfz        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qpxk5v3ly342c25x597jpkq2ktvprf3ccxaukcc        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qpxulv95r7v4ycz5jcmukctxdg5lnl03s7xr7sd        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qpyj7l99z4dsnez0hmxmklmcw895nptvujyuwv2        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qpyrsde04j9rthv66tamkfv80a3tcfnwdgadq87        BTC                   0.03200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qq0jqsc9mvtcq8jn6cxl0ft97sxrzukxtr4f8g6        BTC                   0.03200000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qq2unw5sn3hatnyszvf8tnmaf447ljk7vqnqgpw        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qq3jraz8dn2s2s39wgffcv0zvr2duu03xrf97f8        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qq3lxhf7wv5hgdv4eguzasfdvn30cwcujcfqpz9        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qq3vxa6avynra35w7xf2vessmj4fsak0jfz63rn        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qq4dk4huxzndsv5elampcusyyua3c7vl07aqcks        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qq5l7d6dvp8v0xr76av5cwj0uprvn0dq96zaf8z        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qq6lpfvkm27trews07wk4wc8rq2puv60rpzg7ze        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qq77pc3yzzt6t4ng6k8evv4t3veu5jce2egygjw        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qq8w9065a7mtweavfdp8ptm4sfj4lrvpcups0lv        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qq9q0r7p83gqcqxatwtuktxg794c2370ew6nlvs        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qqc9p5nspe4cq0zsqkdqtln2zp9gn0k9u3w0ks3        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qqdegtkt29f0gcs89w0ahcg7gste4ncl5nqfyre        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qqdlpxf3u4ra6zfmfh58tdmhtz4vqg7exusefpc        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qqems8yscxxhhef0jqncrtjl7h4ymzfdzspadqf        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qqfc2pxnwm4u2mxucjn0vsrrdulplea2t3n3nmp        BTC                   0.03200000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qqh247yla4nknvyh8f8kzgu7cw4qlrs538l52th        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qqhgr06s0j65cypnv03j66hezrytp447yczz3na        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qqk7aac7frt2lexsdxuttnttegr6dzamfalmml9        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qqnu380ertllyj7vgvqac9j6svyr7p6f4vcapm7        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qqpywmnsskzz65wjqzrmw7c80q6c98zm6s27z42        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qqqddgg909cz9ugfpqsysct9eh0luh9pmhm29s9        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qqs6dwgcg9tuhhnn0n9gfwu4vuca2nmpjtcrq4y        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qqtlc3m3l24mhl3m37dlx6wg03cfknh6gsszvmy        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qqtvku36nfc2y7yjnjt4j2ajlwe2ewg942zn05w        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qqvqhl4w0va40ey03nzg56meeszcegw66w8hw8g        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qqwnumjvxl4vzxk2tn3c6zft6hzrz7su24m0y3t        BTC                   0.03200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qqy0xsm4nd9lqyc98dyz3687sr42trsf2le9ct0        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qr2pdp422dmqkelgkmtmcvaf5c93l3754f4rt4t        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qr2tprywz9y0q3j7zsk35kmw7qnsck6prpfp6gz        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qr2ymlnff9hcg68pkpmy854drxksdpkzqt5a4hl        BTC                   0.03200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qr3zv36a9lfd6vr5xsarwt0xym5mlpv6fkzss3g        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qr4d89jllr4y8m5ak4722rj6ksm4vd75pa977ze        BTC                   0.03200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qr5flpw5w5hwy6swhancckas0huhtpf6t5885f4        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qr5satv70dz8whlmnw09ja5g325dw8qu4ln0rk0        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qr7j5unpq607prmu0ju7mzhz8nmt3ntws06e82j        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qr8f03hzyj8g0zjjzmk9trktym35cssx8nk7mzl        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qr8vurxz87e5cna73zsxvsm5w3xx9da5kpqjmc4        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qr95k79phqhc00lztdmk34vvnthncr6uc07guml        BTC                   0.03200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qrag4zv6vchu3dtpxpunrkc2gnenk7072y2mv66        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qrcazk6ddkvv2m8vk7xdawt6wnh20ys9lm9aady        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qrcecxkxr60uxxzylheun8gyyctxmp7r9day0h2        BTC                   0.03200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qrck9gu65yqz4pk2r737kgysx4mncjju7ddd67r        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qre0y4hhqc5vgec2hee6mt64p4y9n82skqlh37h        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qres49vpw097ct5kzx2pu759wk49gjd7w69aput        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qrflwpazulupcsspzg2eg957pd67rn7q7h43df5        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qrfyg3h3k4zccju2jfdjrfqmpae725l4qq25zw5        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qrgk89r80pxcqswmw733xzzny6gyk2ku0lpwznu        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qrgqydzhx4cjdenyn8lu8u2vqcsyry8yljle5td        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qrgqygs2lhwh3vyar5cq636thdjcsyslwz2xwaf        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qrgxndmahaygh2khl9klyjvj8rzvtx443hgg564        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qrjl2a2ty2lj6ffc3d5ula20ptefkka9q8v44v6        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qrjrxsmmenqyk37424zawy33c04yuh5mwtcf74c        BTC                   0.03200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qrkm3hunyy5wlsux08ky5s3njcpem6mglr8ut3g        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qrkngdk7uqm4eyzffv3dysk4lzpf7z2urnmnl3z        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qrkrszd57jl8e63hnhcze67n9ec5pmw6l67edl8        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qrpdf7wne9dneg7u35aza87dshjzhjecw880xh5        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qrpfve30x6g7nkmwjrudjd8u3epk73yj6x4cns8        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qrpyal6ccavv65d39z26lxd080mldj9ajrqnypj        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qrqq2wdz53rj4es5s9nk63qyr6zv7qeua9jg0wu        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qrqu25wjy8ldmsw9kn9vrayyanpupm0thzpf5sd        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qrr70662js8vv62slq5uxx3d4ctl0lxv62ae22s        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qrrpejayewdhl9neew50qx8j88s4lpt5qsvclxf        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qrrq943a0lznk70jhd6pujwd8et84v6dkls2ur8        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qru9cxuvnf7yt5qmgmxcmycmjgqy2wv4dzy9z7c        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qrudwdl3syv42ggv78pzzdgc2v6d0f7ly4yr88s        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qrv78clmrhm0p8tu97p9ysg98syaeaz7mru6ulh        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qrv7a637xc6e6cxul77tdue2dlrulcd0vcuh59x        BTC                   0.03200000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qrv7mjqevl7ghd4zj55v49kspvh372wllc7z7cs        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qrvkq7xsj8qj7qsxttm3y6n8cgp6c2lpzl287af        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qrw6wmajatqz0k5cn49taguj05g0hy80g8l54r2        BTC                   0.03200000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qrwkd984xhay5qzpu84knnzv4nlyuan97s3rvym        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qrxfv5z6wgk739laf664pt7sx64ztzy2kl7c3tw        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qrylyj0vnhsuf8cada84sa7xuf4lvy55gv3jsw9        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qrzgc5p9wnkkelffm0tyxcu8d4xh3u3afp59p3m        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 471 of
                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qrzu24zt5en9asj2l93ekkyag6jvtjzwghnlc02        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qs07t5fxsmlfje9r6ft7fz2psgqgpt08krflhdx        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qs0hkk9mzqe5xspgljprdpatltzkzps7q909tfv        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qs28rsrmztyh9wld07zdpwf64fafmltc2hr5pwu        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qs2lg6zvlgadq3jpw6lh6l3aw26a5gv5h5txmrv        BTC                   0.03200000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qs330hhaz8kjxmcanuevfgc7dcdwdj4pr97va9w        BTC                   0.03200000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qs35xmgrqc56a7q4mzvffpfrljrx49ruv30eatg        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qs3fxx9sqmpz99q8acttv4pd8ryudewu6t9gljn        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qs4928yj2285rgnlp8pzcxurp77p89hg27v9n0g        BTC                   0.03200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qs504gqae8e4mzlmm5jq47kexz260p7rf2uwxrm        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qs5k4pn3e36m8wnp0amkdrjspcee7md7kugqw3w        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qs6dh8mlv4yn990vau4q23ue2aawrmlyv4avfvh        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qs7dj4quss4tg93ntsc6sltgmfq5ypeudq8hl0w        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qs7s9nav3hu8hayu0v69r04lmlpkz2eaz4t7fq9        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qsa28qpl80aumq4hvshh6sls5ukdf9f653n3ykw        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qsatm46adlugceeke6fwm8kwtv0sqltyk45h0ee        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qsc3cg2tkpy9yx90jmdjqzpj7tj2uanz66h3l77        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qsdg3kex3vhztjm0zl72as6azmu3uahecs7sft2        BTC                   0.03200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qsdguy857vd7ydqplf0tqjd7lr8agxxfqjd345x        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qse567ld39xwf899sm5ru4xxmh8uu0a2qedz0qh        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qsg8z09es2txngfy4wxtzrqzzc3m2k626przhl7        BTC                   0.03200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qsgm0h2fhe4rw3lu6ap5ug9xw72fhg96gj33y5p        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qshg2qys5d8g2cv3k9xuyttsgxgfq28nd866gaw        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qsjw835tp6c60q5ynlz8mjm4gqgfjeyxqamqtrl        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qskhzuzgkduf6maqqfej83faxnhgw4llpme2aq9        BTC                   0.03200000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qsldzgp6w7pjzzgwgruwftjyndn8dzpqvx0l6pc        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qslk6ylweq3n4l3fqlsrrdflqpmfk3w95nlxayk        BTC                   0.03200000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qslyyz064pchvtluh7rygeaclj2se5v40cvpqs6        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qsm3w7wlmggnen9nd097yezmft6altscjzu8mnf        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qsm3z0ug7yj2kqm2umgd6067fh9ylwvkqesspam        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qsmc5pryt4avssewpgdqdaxkzhnnjtyxn374c4m        BTC                   0.03200000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qsndhfjmrfw2qvwzlm7433593r3kwuck7jkpxq8        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qsqj9g9cuyx7ndqav4kx4qevet9emqak6uk8x03        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qsrn550lw3dusnzdcmsr9zjtsjuquffcnjm79e9        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qsru6e9h6mr4wukmy9d7zlfau7n4jgumyfryp52        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qss4ek7ufnx4s9qmj7yyr6qp835t5jh9zjsgrzs        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qsspsxfl9tfw4svzaq7t97pzm06tnza4scl76xz        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qstlzespvmg30vcnx85a3u43xgxc7z4xt6uqkzs        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qstnln67d876x5da008vxkt7hsuj74x40qeg663        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qstywdwy69u8f64swkm3gukg3gyhrw8hxdkff9e        BTC                   0.03200000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qsvuyezewn545fks90gc9p03sdm9ufe3geufupj        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qsw2ugeh46cp7xsa0lyndzq8d7anjjydm6ef6vl        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qswhpgwh5durjg673ykcmyrh27xnpwcrh2e366l        BTC                   0.03200000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qsx73mtm9xst5ha6njw0x007nvla7g90kxkuesd        BTC                   0.03200000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qsymf0qy88ef5k0gp9ukl26h4ke9f5mjlj9ap7e        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qt0cfpmn4sq882fpd82vq2tcmk42xmj3f7qul6d        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qt0gdp3z03j9kcwhy097e0gk7ntqzt3fzscc88c        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qt2glmr4cjwcj3zynrh40mj785pxvp7u96y9525        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qt2j9qftsmrx7ln4crz06e6jpaku9v7u0uy93lg        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qt2k4ua78vdptmf9lnypk2ct6jyfqxm237rm7h7        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qt2lrlfrx5lrylm4x2ql77napvwfz8d896tsqtk        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qt3d2gnv4hrd9lpy8arxj9qceqpz26hhvjqnul5        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qt3gh32mys9mtvrqr23w3g9qx3p9wyqjj8lztsm        BTC                   0.03200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qt3zhk90qhpsnzxh0p2hp6ah8kjgx4ev3jl89s0        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qt426akpaxaf57z4an9w6wvjwtxe0vpnnkef0n4        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qt4vsndd387rg9kcsku378ztqye32c2ht8rqxsn        BTC                   0.03200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qt5dz9lgmhnsur6hva4jl6kva7zs3fct5wfdwsc        BTC                   0.03200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qt6pnpmlakphmxxjp75l2p0z0xvv2m3wpree8k7        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qt89nxlvjm7s4kuwxej6ze9zlhgdnyaw28x8hcd        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qt89xk4mhtxctvkk9p9jnjm4vg2hrww2jgr5ewm        BTC                   0.03200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qt9drtk95y6y2ce6yq6v6gazcf7270hnl2y03u2        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qtarxmjzk6p8s6gmnzcxcnmnccxqf7m8qqme9vg        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qtchpn0d4x6s0jh5ua03ljgrux96322peastzcj        BTC                   0.03200000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qtcwl4zf0krxal9hx7vkc7aceqfmuarnk4mjlxv        BTC                   0.03200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qtem74fjat0m6lke7dtz0zn4lyazwxwllmayqe3        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qtfhztdtv4slxkvfw793y4q76af6crf22m3qvjn        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qtg7nhr9akr40myesujrtrrw0d5gradqcr237hk        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qtgl4yfjnyemxkfdccysva88gr09y678meqfkwh        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qtj9d5gaur9xysu7v3vmynp768u6sjfx64py23p        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qtjnuh4ltlamg0gft7gzszurqu3vlkhnd5x3qj4        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qtju9c645t6txdwakuzyj8rj52ds8uxk3cqev08        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qtjylx0vh53tuqrv8twwqle2xdunv3svlahu59j        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qtjzzp9gelucvuy3kw3tc8dlxd076qrlqnxwsu9        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qtlnm86js0ryrqpe52j9vpslw62zlcwwhytkpa6        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qtlx3zh0d7zc6930nsndwle47s3smdgexfxw53p        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qtm7jyyum403fy2aku67ynkwtf039ync7hazkr4        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qtpqapyw9g9m7xdvu9cxvk9mrmcqf5rdlxf57sv        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qtq3egmvzqa8yzl7q90kufup3sae98atgkggq8j        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qtrds57s3fr9kddz4kauk8evzvc2d0acmd2xvc6        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qtrq46uuh08l0vgnu9dldaztvsc6rle38csys9h        BTC                   0.03200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qtrympqjuqqu8yr0xmyq4uskp2z0hg7tx45yc63        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qts9rktqde8zwhg8f4ektk9l0zsxhr895ypxexm        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qtttaca8gwuvtcmdpymsg8p0wc6kts6grtpcz65        BTC                   0.03200000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qtug8nhdhlgc0majvwmtuz9zg69v0hxgguqzp6u        BTC                   0.03200000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qtv2wdgqktkznqy2968rkztvpyhfrearp2t6m79        BTC                   0.03200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qtxpset804pqz9sglgqs6gz65achlxh5jfcza6l        BTC                   0.03200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qty6qranx6eadgxpxp4gtfvj02j6xspkxuwkdd8        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qu05wmff6zmg3pw3ssy8euuw8yfwkl40egtrl0l        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qu0ntp4zmlv59jyufd83eea4hzeumydqgut2epq        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qu3g0m7crrxmak7wx5v3k6ewzrerkp8dgr66945        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qu3pjzgn8tea0h39k4a78a47dehlzl322p2g62r        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qu44u95345c5ynafpmtxusa2va5nan8q454l592        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qu60meva558m3ajewj2av352d90s6r899d8drxw        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qu6n5tnut2qpq3k949ewaueefdm7earghlw3d7e        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qu7fz0hpx5f4tesa9jzl3ny22xr2jr6l6ps9r8x        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qu836nqudurfw6dpqjzlcnf524e9wsel0f0v6tq        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qu84qe3hfkw53wqqsg37u8vwkvuktdmalgect72        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1quc6atnz09maud9xpry56gz5ncl7etnyjhxmwzy        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qudmyakg8rlxfvwc9zmmvyfygp0sn09yvdhja4t        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1que89tlzzmp0607trwgk3mgu8kp00m6f80rt3gh        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qufsq3rs50ldm2ya4d3lmt37lq6f0zjknw335cv        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1quhwwa8jqzheenme4x0m0g2jf08d9scl2wmx6cq        BTC                   0.03200000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qujmq7u9g8umcmly4ur8ymwgrx8k0kvqs5lad92        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1quknqxkvkl40xcwntxahu87nyuzue47cxru4rea        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qum6gtm9mjwk5plkt9f7h3ugg2c2q0sp3t46kjd        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qumuwp6a4qnhx008yd6rvjpfvj6vhyvgn5jzlre        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qup830lmfacpdm6m368zdjdphrhzctf500nyp2j        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qupuxzk9zaylhjdh3eah4nmnsqe5gv5z7smvzzg        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1quq6d8eyq3svx64rgvtprsz20qj4a7ww9tmc39y        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qur3g4s0y2v7eleut0846h3gp74qx0n07nqqp0z        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qutla5vwrwkgsc79fnt92lqyvg52yh8q9pa5yjv        BTC                   0.03200000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qutrtnhu708zkcc83qj7wlvv9hp5z4j9ayv2zra        BTC                   0.03200000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1quuaxx0evjwh47g4j7apx2vkrkqn5kfyjjdemgx        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1quuvrzy3yk9e8w5vcn49c6ra7u5gt2qkjg02v9v        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1quzpvrl8a5dvgrru99grxv0lggh3k2ydjxtza55        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qv2225krcdl5z8emdyn3zya3j2jq3m244x0t975        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qv3tazvdzele40e9ks9k78y370rj7n3dzy6hpkj        BTC                   0.03200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qv3zhdua0x5f0r53e5agsaydze3zssv7znug2ls        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qv47hk9tmht5v3vjwdnxxja98yfw9e7ym5rhx6d        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qv4dc8fnqu6cnp26ypmr6lxvrg29mkuev949kv4        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qv5g3jheeswg6zrwdrkd89em3244fyyt2c7unl6        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qv84tu6dgjtw8cypqql6j3vnulsefs7p3m59xdz        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qv8we8psmuzfht20454thf4l4qpsaqgpy3kkae4        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qv967e25k2wsatuan623etk5u6uc9v75mcu6qc2        BTC                   0.03200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qv9cx7p2m58w6nskhguuv5g24z7yulanlws7gjs        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qv9tv2fw37wp97r7lp09p2s27dgf9d5fp04ef0x        BTC                   0.03200000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qv9xjjy2npva3gph2t4wzfmeam49my46am0w5rm        BTC                   0.03200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qve4xsj6kmtck6vshfhd3d203vtqrqmdh9sujgp        BTC                   0.03200000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qvg8jlw4fp2hyykqlxxpjg3t89gfkhwq0dlhkl4        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qvkxkgfecfx6qlvcdhglvjzlk82ys6628frrrjp        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qvm324hk66n9y8ujcscuag667rwpu6vq2dfaxs5        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qvmvpsevt4357u8ymfu4wtf63l5vjfu6gl85yde        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qvns55szf5fu6lt3hugpq2yvn7j750qdaqqc2qf        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qvp4t5657pf5q8envgs6p2rjkwh5g806z0mlsjv        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qvpwyqpw628x50yl8cnuzndh5xj0ar8l67h5xlf        BTC                   0.03200000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qvpzvuw3hfmek46esdmk9w227x47thd70trnvm7        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qvq58gjp9m5z99jdt0grxyneht9xzgz0rh4e30r        BTC                   0.03200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qvq60zuqye28k30nz5zt3yyz3ve339r9wuu50pu        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qvqcncua40xyuzytfqqr8g3pl9gfc6a406wjv57        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qvr0jp8hk90qeccuww6qj8q4afux3tqvk8yawat        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qvuluqd7pzmffgte9cmdy2g8k4s9atzs36677v5        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qvvht5s8a09gqr04qaxlkg5vlsfsnmnq3amq3k7        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qvvq0al4kmfqwzjyl9ylja4r65xrk2r63dvzcrk        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qvx6kmtkn90nkf8htq74rkte8jf0mlq6cma46yp        BTC                   0.03200000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qvzypekl4mz87etmq8njlj56h2dvs7n3zxz8huz        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qw05ck3rv64dhrqszq222yhnwsqkztzd0vfmtkg        BTC                   0.03200000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qw0jspptdg6vm46kj50pt0t7l5e056nuc8xhnsc        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qw0s6zj0s885ury683axud7y2ay8sx6h68dyg44        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qw242yeqpcup6g9d2wkx8jsm607dnteszm000e8        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qw2ctk4kz4csly4d5tlnf3qjjruzq4k5rlr5c6m        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qw2gapwgn8jjkads8jtytepksc8hdxt9ut57k3t        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qw2ludtn47r64fgtrye5vghv9u7tdusrc7zthr3        BTC                   0.03200000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qw3vt6zssrffsf5k9jl575w26snvl9dqugkxx3t        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qw3wxfcv55mfpgq759lznhevzwl9xycgv50y7wc        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qw44dzuagysecl2vfvksp5aeal2vv7nm5u4paqq        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qw5aa6at2pw335yhkspgc2wgk7tk950zvx4azfq        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qw66sk2q3kqwyfdeyzktxs95crsfxvaf63stkmt        BTC                   0.03200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qw6mdqg90r9yhpcjgf02rglq2g9m7rdu6llzxnz        BTC                   0.03200000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qw74rys54ucn3ulzr3e8ahf23vktd4rm5ccmzkt        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qw7a80463cyjalpyx7qge9w25utauemmfvcqv57        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qw7g2mqc9j0pky336m9vm3el0p64z02wmmh2l8l        BTC                   0.03200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qw7tfwem2ma0lrjgjxzg2ggx99y5c0tx93nzzwr        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qw8073302mcf0zfru8hmecfylm2xh9u0n7t8gw3        BTC                   0.03200000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qw8hn4t7r20afpspjsc7xdal23d0gx8na30x3kt        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qw92zyeyh2ygfy0avrv3rcdhx6ej3ul23gaa607        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qw95wa96x7yvnh9s3ws2n2f5vuwh6qyczwhf0v6        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qwafjxsr6n7a7dvhv6s25gwe08ystjf9kx8459n        BTC                   0.03200000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qwakm4z7t9x043qajcnx2yarn8l3tk30rp4a86v        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qwc9vu2h09jux38egytur8ufyewktdyvytymwqc        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qwcv9802hycx28v3yjmdzua9ak9vjgmnjlkz3wp        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qwd9d3np4pej6csm23kvpq5swahu650v057dqne        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qwek2s6jvu7ywh33mz9efxtnweqszr9r3p2aqfz        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qwekmq9kdtke9ckl2k4ps92tx3syc799km0uwk0        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qwer4ugeeaww8qfpttpwxmc8r352lyhrszazrmf        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qwgnu35w6rpfwfjgpyk77mkueywp2usg0y4d67y        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qwh2nnu8lsrdzwafu753ekhluz6hr7thllr58ql        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qwjjamf4pf8e94h5ffjtmwcnahjpwqgz6duxg7l        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qwk4jwzun026dac82ej5g3qzxu8avpmm502wdr8        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qwkdcy7ln7n8vryc7h4s6dlvel3qqhfuhktgaug        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qwkjs69hh7rj4nesmn4resc7f8f079mrcmwddnz        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qwmxggnmwp5njmfzvkuj00znj35mtek44ld4a5d        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qwsa3qff2su0ckycgnnrn068g2j8w3yq4kz9rf8        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qwsn9s6hjw9drvxty8avtwg5l2ly3h28d0ajg8t        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qwt98g8y6j4uf45v4kkp8lz9gd2tjntnw5655ad        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qwuuk7sdfu86s20xefek63rp9k8re2jvvu6c49q        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qwuyujgm03vqr6qv4yma367jka3ht8ahfjpk86j        BTC                   0.03200000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qwvfysfdydhg2pcujkf9jgsawvggm6dnqk7drjt        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qwwhgczd63wruu6zgxm6xefsh0kqwvt62rchrc2        BTC                   0.03200000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qwwk82f7sw3e5k7adc4y0mhll0lkzh7mkvxg4sp        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qwwnzlzx5e2jf26ceev0sajgpc0vnzshx7nncff        BTC                   0.03200000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qwx8auc66zxg5dnu743q2p3kwv9vsz4s5r0a55c        BTC                   0.03200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qwz8tvyzl6k93geqjx694rs76dsadedvscq72ld        BTC                   0.03200000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qwzet92t0ufjdfhmerapg3qk8k9vgkkzlehzwnw        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qx0kxpg34ppqquccuhgu40hlkk0qqq4q3tpdv64        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qx0z2ns7gtd34t7pfac9ajvypkryh7nzv3crwvm        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qx2eqlf689mlvw4t2terpjqdll8p7f24gxdreqg        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qx2hxvethl4cxkt6jag94lfeavte9j754ag9yns        BTC                   0.03200000 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qx52rckasnyfzg3n8v29jmfka29kghy3xy5jktq        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qx697jgfmzzv6ygmxscjqdz3p0p32pmglm6kkv7        BTC                   0.03200000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qx69wjq3pk77pjj7pm2pq87mkn22s7lj6d76a6n        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qx7qq5dhujq3v6s8cxkrsmpetf2vg2ayxerzy7n        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qx9xlrmuhd27yu4h8fr9agt5vtr8wl65ys56uhg        BTC                   0.03200000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qxasu8ufk5vw5vk849nrw3wzqs7rya3u79fhhyt        BTC                   0.03200000 2022-04-03 00:21:12   2022-04-03 00:21:12
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qxcd7xurfs70g86atxaaakkn57hukcjns58pv5y        BTC                   0.03200000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qxfqe3h5h9vluasrq5tm2a9nk59k2n3wuuuuykl        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qxg33hgk772dufezcr3kgvqj8cj9ydhy48whkxp        BTC                   0.03200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qxjfprj9vvwlclev3uhgawr6dm2jf7ldz7zp542        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qxjjnd6xnktuxmxkdtn5lw2m8n6esuhr85262v6        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qxjlavz9u4kmsekfjltktf6499kst682d6360jr        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qxlathla2ctcas93p5c3xu3pyals3mc45u58p7u        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qxlrrh45e4qsw5cyde4j4kup5qr5x38s03a0fh9        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qxme0lm77yxs7et9squs5hrumn47xm8lt5nscwr        BTC                   0.03200000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qxnaxfz7uy4ywrpdx0vnwwspk4emg7lwzx065cp        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qxnrhw8548q6kve02v6fdw4ser5gz3acxrzd2ns        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qxnsvr30q4yxmut54uk5kf2mpfyuvyexwzfy2f9        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qxpna88njsxxrysfl0s60aga7t69gn2dp8sranv        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qxqa4ydp5kuw4c25q9zqgs6wwhev87gkcllsngz        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qxqn5ntfn8mlwgwelx704r5z5vyd7fypl8wk5dc        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qxqxh6fxw7e5qlhnnlr9t262tljx4ps0aqux2c3        BTC                   0.03200000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qxrfhznqml03a0pdfwmek20gwd3ne9n2jyl40ew        BTC                   0.03200000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qxrupyec8h73aqu3lz92asxeg8cvd9jhc7z62n3        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qxs2fz5s4vm3qekunnx6he66pl9mchzwe0yuzgs        BTC                   0.03200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qxs2nqd80adgcslq02mc86z89hvmhcqvm8u02k4        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qxszt0nmdrjadxa0rqryme9sqg472nhzlp2lrja        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qxt2gjcl5jkz8c20a2cvhnvh4kxguzpm4khqxun        BTC                   0.03200000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qxtgu3nm0vc9c776xl50jwv92rl6kweqqarzvm4        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qxu7a3nlpvr9fpq8ffdkv662tr8e3khjqzcr324        BTC                   0.03200000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qxvz7mfzmt5gf7e5tc0gazlq6hhcu0hm338p6jx        BTC                   0.03200000 2022-04-10 22:25:29   2022-04-10 22:25:29
                     bc1qxw224z8lnk9jp4pujsef93pxzvdtq06snnxhla        BTC                   0.03200000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qxwptvcj5tdngyamred8hjk3nygwvpqde7ku9v7        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qxwy6525jh6zxupd7fc6lnlskfvyapdycmy3h27        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qxxyf2jnqmvk5lqfmdyjmskl7ad0capwc6plgpq        BTC                   0.03200000 2022-04-03 00:19:04   2022-04-03 00:19:04
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qxzm9yzvkr5pd32cd9lmtvw9vk06kpyc6z9wlpk        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qy07qlghueqtam8hsc6a30r2whwv7n439pdqhn9        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qy28vlazdfpawrdfvudg5zqd0lfhyg8kwxuk5wm        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qy294lrkhs3809qtvkh2gyxxleng3qxlnwc8epu        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qy3r2lrtqn2e96ejhvfk6a64pw323q2y4k4z6k3        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qy6kgmncjd0w3uk729q3cnenxxdv8sav9cgkt35        BTC                   0.03200000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qy8hrttmlwwl26pegu8l3cuy4mm3aaemutlsk5c        BTC                   0.03200000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qy9plx7endk4e07hxqeudqqg34p5j6sahn46gza        BTC                   0.03200000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qy9x8ul6faggt009vnts602qlfxztfnve2lnc69        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qy9zxjll7drlhdexedec03uvw99efgjs6fygxgt        BTC                   0.03200000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qya53kadx6e8amr68qsmzwl4v5u5x7g74tekpz7        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qycfk6zzlagagjsuhwytx54g20rpjgdmksr4gly        BTC                   0.03200000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qydg8m24wnlt9qsqx598ym334etj66yx9at4dc9        BTC                   0.03200000 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qyfaaluvdlelermg9sg4parvtm4gcykqyenz8y5        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qyfz76enyt7nfglk3d42htye99dx6dukams4dle        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qygztqwupj2m6rd97a5jf3rgxqx6eqm85qnwvu8        BTC                   0.03200000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qyhycwaxk5e3yqhfgmzvqt6xwq7h3lp2z8yck2d        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qyktasw5vl6u0hu22rmy4u37tqwa04kw675y53c        BTC                   0.03200000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qylgnauyytmdmya4pjq2a72wufavj4hpg92ns3g        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qym0t0keuwypct2kateaqenwc57kk4dj7k0n3ka        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qymglyrffm2ch4z445gglvrg952jkd76vaddl2n        BTC                   0.03200000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qymxmznv6cd8csrvnjgjq2f6uaf7lzjcd4lfkmc        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qyncfwgh4k7dfgp5f7ceaq00c2mehlcu25zkn77        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qyp9w69mfed2tju6mdg9w95277ujc0jzwstxjyt        BTC                   0.03200000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qypv4qvankqedneuvxxmmw80zw9twlplhhtrv0l        BTC                   0.03200000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qyrfxr6xk80693erlkwajc5zdr6pd8h8d0q2pkx        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qyt786d8qwxsattwxu9hk5zy30nknthqguy8t63        BTC                   0.03200000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qyu5sygreetgt72vuc0ppe65tpyl8d4u6uvq4v5        BTC                   0.03200000 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qyuh6pflwl2vj0f53aptmdwf3dl6gkk7nasw5fv        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qyut5ts3ukga5l5rt76rrf6fgnust2l4ulwcez8        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qyv0tmdsqwazaznhwrncpyr6sln4p8fx5ycm8g8        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qyw0prxxg6r9umn8pysuck0xyzuvk5xx3qy0j85        BTC                   0.03200000 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qywrt739aty07v4h4lp2kvzqacf3tatzd7v02nw        BTC                   0.03200000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qyx6evpqhm7x6d3psv7s68kj8plmxmkdjt9pmtt        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qyzshlap0vlcscpdp6svsxs8jjuxcqe3ny6kt24        BTC                   0.03200000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qz35fwju4enlzgvlzelgmpxfhdaf3e46hdja92f        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qz52acnc47dt3c6q9pajen7cut48r02mmn7flaw        BTC                   0.03200000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qz63enudrffku2cm97u4syrqdfkmv9phjl9z764        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qz6c26vwce73y8sew8xtcuhdq055nja367n6u3d        BTC                   0.03200000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qz887eq8cyhck0x5fnmun388n8je8jl3vxsuja8        BTC                   0.03200000 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qz8jf2mm804r8549rdhpw92dfh7vkkcrtnyfs8g        BTC                   0.03200000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qz93lst2r3rskn3zp4l6py43czdxl0ffg9ptzq4        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qzczmghv0j6hwzygnldz57dfweq94y0a9p48tpg        BTC                   0.03200000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qzda4u8avy43956lcx2rsjnnwra5x4sckt23s3r        BTC                   0.03200000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qzgzqdqs38ut5vmqnvnzfhcvjehqmhy9n0ygc33        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qzj85hpypg75cv9uzntt0qh3tz7dzrlsglz7qrf        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qzkyt0chev0lcnsm28h3xe6tec6pyvmrk6nx59v        BTC                   0.03200000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qzl84qla80jsk5ejqn2zysa6edqj3s3d0j4tsc5        BTC                   0.03200000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qzlnw5mzmssvv4vvk62ytjku2pl4p9jq5pz0977        BTC                   0.03200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qzlr2ujnfxh9yquevm2mpr9vs0ertpp0qywc5c5        BTC                   0.03200000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qzm9xvnr8caeetqk2huauadd3w5yrm7strcx44z        BTC                   0.03200000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qzmezv5g52ss3ch9glw0prq7y24f46sn4mnxrgh        BTC                   0.03200000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qzn3wzmvshr7j0zmdzkahet2dlyddgmzsuzgasg        BTC                   0.03200000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qzpuxnxu7va4wdupt9re97n576vwajkgkqns75z        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qzqgf8xzql82z5xu889r2qknsmu2uslq3f0epyj        BTC                   0.03200000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qzqvk2umk065uzd8lwm7y3wud5d97ycwe86vjw2        BTC                   0.03200000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qzr9sk7x93ntd7w0nlucn8tjlv09wflnjj6vksm        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qzrv48x5alucncy2zvc5ylaqm874zltlnm4y6df        BTC                   0.03200000 2022-03-30 23:14:34   2022-03-30 23:14:34
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qzt7wtpwydsts5ccjghrm2d8mfrvrstjd275j77        BTC                   0.03200000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qzuy8tl2h00q0eduwfxdl4gg2fyr5j3mu2m5cxr        BTC                   0.03200000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qzwpnkjpnp7nm562rzzgcf220sc0ltfexyr3mfs        BTC                   0.03200000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qzyqpcgn5x9s8f7tf3enrg3tf04e4z49m5lhu8c        BTC                   0.03200000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qzzffnxzryyqwcqj4rz9x86zcsm9ra0jd6nuqhc        BTC                   0.03200000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qzzmrs6dtnw2jfqzfg3vkcwhhykj2rucdh8yc7y        BTC                   0.03200000 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qzzrgw5t86ee0c8efnhta059h5mavcxc8suvvny        BTC                   0.03200000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q09ujmze7d8j9z0pytvvy6c5uvwfprnzc7t24ga        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q0jj5x2f2s5junyyl6rtsr8gdcdqq2v622d9frl        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q25utjdpeunl5xmx32tdz6njef943k9h0djcuvq        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q2uwnudkh94arl0hx2a0fgyjenhqtavw3y27980        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q2ypd4ru8v479le5czpfzgvf59qrlfmpk2pfsvt        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q33h4wh3gppyhcluppk0qaa35z78sc6538ng3ng        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q3fcnrxzaeukczz4prne77nyuuxymsz7refwl06        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q3mg9zh6eqklffvdy9uqrrklxdz5rmmglke54zs        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q465eqgmjfv5na5ntw8jgqkv4a8ppfhlh704z9y        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q532x3kjvjj2zcwdwgmaa992ycc4zadyckf76ha        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q58mj0qvqqtdd7mre6uhq27fdpmygkeahatq63h        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q5d5meru9kzdr7ccmxfcmemq23k46ugnld2ntgn        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q5nl45pls756z57h8g9x22glcm9s3zg75pgd79q        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q5ttf37n7s5c9lsq4ngn2aqszpslpxsrga2a52p        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q6caq74kvvfp8uuc7ga85yu4ns4g5kvkctgwze9        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q6dfcql0c54glsn83j632ess6awf96dank9m2sn        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q6eypdrzzz7sr0fntfefk5xqxrr3kw7k032x704        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q7esttp5yuw8ysgeaj8wumk8dvm9au7yg0dtpqf        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q89043z4g57nwxhuet3z32qersjxxf0ewthc3h7        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q8mk9x3mh9ryd4mhcf6nvsskehaqc37cqfa4s9x        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1q8plmmhejwn67p58kzzex3m4ymd2v74samqssvs        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q8uy0xghtfqtt8k8nxu2ahkzj56qmrg75qzd2uy        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q9l07pxtjmhl0jnc37q7tm44hlwmr0l49n4ddg9        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q9q0hcjhdhacxhhyewe97rnn4atsjcu47wcjtg9        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qatxaujpdffp6e8ww9apvky7hv87fkle626gp0f        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qaus87cr528eaw0n4lw6d5aga4m6gdj42gme99g        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qcl7eqc59xa28a2s39cd4m5ndfce9u0e8waj80z        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qcr0t3n8jj6wppsjw78pppj5zmupyasxev4jqaa        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qcrwm2kydnlzc3c40ag88ef3nutw82wwl86qmzt        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qdtzdxezps72dpluxv9sh90te78cpq7v4qkpcr9        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qes0a5w0ypkw0xa9l9ayzu6dhhadp6dp60uunp5        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qetu0zv9k3fdj6w0zxlkcydgen5cs96ms2yp8q5        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qf2stdmkwr4ve665nqz0txeu66u6c86ln4rqqqv        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qf4jxqkuvnp64ryglcvxauv5atgvqzzkztt9z6c        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qfmk8q723dcc5rghrzwkmn47fu9r4c2jr7tfs7e        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qfmsx73ye7ar7m9e7ppf2uxhe0rg57ya7zmn75m        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qgddsw53yr8ndwnq59akmp2qzfc256hvg0flt69        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qgt4cygjsua9jk3exq4f4a83qve9xysy4xpfqkl        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qgvy33qmxvpa679dcj5twqkhl3zjsr5a68ar28r        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qhtz3e0ufv0uvny67fk2aqav98wv764sf09n5c7        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qj49y2a292xf0xac7dfyrap7a84tajvmry6jtcj        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qj86tvqn6zg72t96260dwvm9k00hvn8w6dmjnzk        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qjezup67k6052ch4av9upvwak0czv4ra9qjjrd8        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qjkhc6sx7p2qkftkmjxu49z7v072nhst0fp8wms        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qjteyl0fvgck4eah9nanp2npxdq9gx8qd5ghmrm        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qk9hf6gs0d08zrd8jvvm2tdqp97c4crpph52ys5        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qkyv8es2qvw5e9lqxx5wgp6wk4dfm0ze2qvhstz        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qljfqunt87qll5qu8atcgn67t0gerv69mcupu9r        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qlsavuh9gqz0k7d9jsch7pmr3ag9glfpfgtp35k        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qlv0snl473akw2ap396dllttl5ndjapsnqxmj2x        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qm04hpnwmc3j24jzaeamt2kppp890qvjlqg79zd        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qn4fxwyx78cc9eeykmnw23paeym9zcxyuhk44k7        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qnkr6t3qu3qgtj5d7wslh76s0yvwas3fc93w2gt        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qq2vdmtncadj77y95tu2vd84pqn3mw0g85eaac2        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qq79wcuzaesr2sw2n8m7l0sfm9yp3tkqkumqwue        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qrl5d973pf909l3f26ydlzugkdhptwe2smyna0z        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qrmwfzupew2swesc2zehwlfr6elasede038a0k7        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qtqw6jqqamaqaxcvf2zxkf0kt99sn00plrvkr85        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qttxe3t92p72jqxevw8puv2lcetwjtq4xqqud62        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qu8s4wxzwa3clxra4m5ulqftpp6hsd54kxd2y5f        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qudsd0jp8wzsxlpug24j66n9wy3rmcqynga2hx5        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qvr6p2d5cw3rafz4dpqhsrrhlhz5d6fuwplqy4d        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qvruu0zz9nf2jj7fwqlhcjrs99mrqjjac3mhwef        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qwmah46gc5pw974wc6lxlergstm2l647jtnn2u5        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qwrtlncfhs3w4yzaap9pe5djnjknnls2vyxtlqm        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qwtl6k274h4ckcumxpj5w6rm38krav3t7s2vmzl        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qww02qclamlv9kxu6sqp4zwp0uktv23quu7s2y4        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qx247qwn826cnzferdgkc6tfc20pvmljhg5kfc9        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qxm9ljca9e9qcgygsmsg35ljv069pys22pwjdeg        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qxrecnw32q27lpmwk8u5dwgtxwgx2acdskvz22j        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qxyjxaegsdgfraaqhlwhwjjwljjyhyqw96zzqjy        BTC                   0.03199998 2022-04-02 22:02:03   2022-04-02 22:02:03
                     bc1qy89nxlw0h9kkf675av4c9ey0trep9kqs6j8mmv        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qya6rt8r7ljjf2cr8wwh9g6a9tmv2qqkaw576m8        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qz2e3xwq9xad4wg0xht5mrzgp2m4uz0ndwst088        BTC                   0.03199998 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qzpr9mg3743ezp77tlahuywy88jtsehcezev9mj        BTC                   0.03199998 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q2tafl70nlsw3juz0s339zygqfe95gnkmlvxelj        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q3fe39saagqdkp5degcxchjfqs5q7hw2rz7cdsx        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q4k8n09clf4kl6zwr5739e0h80ywdkrpxemw93f        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q572uezlqu25sn9vddy7jmgpleeqvga92wejuj8        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q74r3emher44jwqnaawv2eg4w7v7zfv97cyt336        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q8fz7x98hpgulevzd0ecj2ap0hu3hf9fxltm0y9        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qayrypfe536crctnn733mflujdup909alp6gyxx        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qddg047r4f5x4xv28mmvx36hzruk8ugfzlyplu6        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qet6ra5e93jkq3kdzxfqn5fkarlnwpcpsnha0f8        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qfdtlntqexaer9r05elt9c4gcnsvg4sjx4hxh6u        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qh5fllxjwkw7j8dkhgarr6r5mlkda3mesamvv2z        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qh6y53zvs0mds3uxqyv9ey8k8pvnsghh03j32vr        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qjaz7c2ufw4a7hy6rkvewxfzyasadq8kt0jcdza        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qmhe4m3n2wtqpvmsulaxwrurjv43k8pzl07glwc        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qmm5ctdugd3f00kn860c5j8qw7g6n26gqtujh0s        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qpuh3h7guzfd2q9qgzhu7ts9lc6pzx429r5q557        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qsywu5ekv3wr4v2sqc030n3nnd2mc7h0l5qldqp        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qxqyjrllk2qje9cx46l7etuc7hf7w7vaytd0nw0        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qyqc63ehgmhzyyxzkqsgjark0m90vrf0wtf88q8        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q4nkryaztapqwq3tdahdmu8q06mkusxzlyt693e        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q4zsdr647ngveef3edhhem3kccj6rfzjcht9qnx        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qluuj0s8qvs8x9jhds8dccufjq8h67a9yglatwa        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qneashswenngt6qevd5jszekx3j2wxpfq867pvx        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qzt7sg6mefv9x4cngw8feslvm3e32j3d3e5z6md        BTC                   0.03199994 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q9h33hu6lfqrrxsn3txk85v29sj82krmh59tggf        BTC                   0.03199919 2022-04-08 00:23:49   2022-04-08 00:23:49
                     bc1qv59wgej9nd2hegzed7mhycl6gv5s0dllsx07s3        BTC                   0.03199890 2022-04-28 08:27:41   2022-04-28 08:27:41
                     bc1q0x4txlpv39tkeu83e4w8tgqn6r3sdh2wh5dcd7        BTC                   0.03199780 2022-04-12 21:46:09   2022-04-12 21:46:09
                     bc1q0w0h4ktrecv3n2efknepe0u6dulshksmwrj4lz        BTC                   0.03199740 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q5k85ph5yvf87lh70vlkdkynesy60sel68uuznh        BTC                   0.03199740 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q6h5cq4s57gde2ktdmcdg4g78pvgeu7a0cpttzq        BTC                   0.03199740 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q7wvz7jq7ywl8mvzafz5kxly2fhqh44rjjzhxhm        BTC                   0.03199740 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qc7zshkakljuxac9a97smfz0dgxfgchdqa7w73q        BTC                   0.03199740 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qddmzk9pt6qnmxzr93uuzsr8ffztsnr9nq496zc        BTC                   0.03199740 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qdpm05f4qhed90fqe8h0a794666xsfjzxpt3k0j        BTC                   0.03199740 2022-03-31 23:21:33   2022-03-31 23:21:33
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qe0494r2c8725eyvt8dysw4szuy5wzu7sevnqyj        BTC                   0.03199740 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qfmsrayu6npthpt2njsatvllzz443wte75p6f6a        BTC                   0.03199740 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qmqzwpwv8wprsqd7crg0ch3der052ls2wnm5rec        BTC                   0.03199740 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1quskxf2lmhvh9d0m8ffrtssh3jkxm8ucdqh9v02        BTC                   0.03199740 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q5646x6qqgqmfdfshhc5ud4gn53p2a5dtu4tqrl        BTC                   0.03199739 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q5nd3jv93za26sg05mqu3j3q368c585asnatlm8        BTC                   0.03199739 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qkty50zumnluvuzjec7xkqch8tk67974wgzvcr7        BTC                   0.03199739 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qnvqeq2d57l4f8kghxgl9s3hsxzvsgvlnr9acxq        BTC                   0.03199739 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qtm0ulc0zcnj5m8gwj02kxys454jz4ehwt2gl6k        BTC                   0.03199739 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qxxp9anpl6d5ayz8t66m66quywwu7gzky5y6g24        BTC                   0.03199739 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qygvd8u6qttsgg2aaxzzz9yl6rsksc5exuz5vlf        BTC                   0.03199739 2022-03-31 23:21:33   2022-03-31 23:21:33
                     18UFyARVPHNRcxoHmZBGLsf53jjKxcyA5q                BTC                   0.03199737 2022-04-17 01:39:26   2022-04-17 01:39:26
                     bc1qluc8g8pcp7ywhhnhgfpm7jf5y8d38n3gvzsdx3        BTC                   0.03199703 2022-04-24 19:54:09   2022-04-24 19:54:09
                     1BW2RbZqqkDaDAezap33t6n5tRKLNceATt                BTC                   0.03199661 2022-04-13 19:42:26   2022-04-13 19:42:26
                     bc1q20wh6xyuvwt0uzwx4txkqlwpasw8lxssxx33kv        BTC                   0.03199556 2022-04-26 22:07:42   2022-04-26 22:07:42
                     bc1q0dpf3euqw05dktm6a8dv5enekl2pv70rs8s67n        BTC                   0.03199528 2022-04-05 15:39:19   2022-04-05 15:39:19
                     bc1qum8c2rce78jrnw38jvu9enxery9mzya28rj7cn        BTC                   0.03199340 2022-04-13 08:00:45   2022-04-13 08:00:45
                     bc1qpw527sqxzrllj3lcp45j4vfxf92g9wawkj25x0        BTC                   0.03199294 2022-04-12 09:43:36   2022-04-12 09:43:36
                     bc1q330wv3j30wq9wmsml55d6aeyczgnhftyq7040z        BTC                   0.03199069 2022-04-06 13:09:01   2022-04-08 16:12:00
                     bc1qdtavzpay8wtf5723thv3hhg5w2qml53zn95euc        BTC                   0.03198797 2022-04-19 19:15:56   2022-04-19 19:15:56
                     bc1q9y50fvsdtx9cf8y7nasavd6swzvucc7swphcmr        BTC                   0.03198729 2022-04-29 16:38:30   2022-04-29 16:38:30
                     33HkkTpY4uZdY13qM2RmMLRCUNCStPJfs7                BTC                   0.03198723 2022-04-21 22:22:31   2022-04-21 22:22:31
                     bc1qa6dcfxuxqdn9zl62qc744dtsdtfcjlnn9tpplf        BTC                   0.03198678 2022-04-08 16:12:00   2022-04-08 16:12:00
                     bc1q3nq3gdket4f6fkly5cyk6s3h56ayflylyjr5g9        BTC                   0.03198615 2022-04-14 11:53:08   2022-04-14 11:53:08
                     3CZqNrakYZnFR8Q2yzHB42oygM5MJ6go8M                BTC                   0.03198590 2022-04-27 19:23:57   2022-04-27 19:23:57
                     bc1q6z00eth9c4mzjt55fyjcukau5ddljhmekuxvqc        BTC                   0.03198419 2022-04-02 14:58:33   2022-04-02 14:58:33
                     3F8VgTw3WSBwEWc4diHn5VZKRuLqwmJCkA                BTC                   0.03198213 2022-04-27 02:43:48   2022-04-27 02:43:48
                     bc1qet7c2gr6vywcvm2e2jyf3dtdyhp9rtrdl4z55q        BTC                   0.03197476 2022-04-29 02:14:10   2022-04-29 02:14:10
                     bc1qsecyvtj0z6u854fhasqpn7s40g97vdr4vpzjxa        BTC                   0.03197171 2022-04-29 19:35:28   2022-04-29 19:35:28
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     1A5Q51huLFt7hj8Ebt2JWDBXCAJykBfAKM                BTC                   0.03195639 2022-04-29 16:24:25   2022-04-29 16:24:25
                     37MjE27ozyc9wwwKoDyyQ2jKFYEBzAYCqD                BTC                   0.03195198 2022-04-29 16:24:25   2022-04-29 16:24:25
                     1ME1FQGPkrd5B1EP2Ex3hxgu7ookQ7dAed                BTC                   0.03192929 2022-05-01 06:10:02   2022-05-01 06:10:02
                     bc1q25ndd929wj7vzsad7m506n47as7j25av7v7xd2        BTC                   0.03192610 2022-04-30 12:15:48   2022-04-30 12:15:48
                     3Q3jyBjpy8z3ecAHzrsLvjMXaDx6NYuTJP                BTC                   0.03189416 2022-04-28 20:30:32   2022-04-28 20:30:32
                     bc1qengy7gyzsarpl2u2ysj0uqk4rdfuja7cykfl39        BTC                   0.03180698 2022-04-11 07:34:57   2022-04-11 07:34:57
                     bc1qhutz7pkn9v0n5xq90d5zpj4vh0fphweyry9snv        BTC                   0.03157301 2022-04-08 11:00:50   2022-04-08 11:00:50
                     32P9YWCmZDmyyFc5Jx6hddsk5DPXS5ykPu                BTC                   0.03157252 2022-04-04 09:00:11   2022-04-04 09:00:11
                     bc1qpj60arp9s5ygqfy38j3w0nrhu7s32ghv2fwz4a        BTC                   0.03151261 2022-05-01 19:26:10   2022-05-01 19:26:10
                     bc1q66gmd9lgtw87e50pfst4jck6fg36efyveusyx2        BTC                   0.03117781 2022-05-02 09:46:49   2022-05-02 09:46:49
                     bc1qysc4lpv7qwawhnk9ey0a6r63gnn8kupef7ukf0        BTC                   0.03110530 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1qsp207wxrh3ss3j0ra6te7hwmehv5qj8wulwl9t        BTC                   0.03102003 2022-04-04 09:00:11   2022-04-04 09:00:11
                     1Ljrd7bnD9tViTtjoMn4auWPDCJNf71Khm                BTC                   0.03100000 2022-04-18 18:16:35   2022-04-18 18:16:35
                     39s9jJwEED6UYn56M6B8Pir8rzzkRKVL8G                BTC                   0.03074912 2022-04-30 06:20:08   2022-04-30 06:20:08
                     38yyq14W6g5hEMDmDb9u7Bq69iREBPSykz                BTC                   0.03067828 2022-05-02 00:07:03   2022-05-02 00:07:03
                     3NAcanSdhsYKwdTQW6pZW1UTdmLbMY1u3t                BTC                   0.03050690 2022-04-02 19:09:17   2022-04-02 19:09:17
                     bc1qwpzxe9m3t4rxl8tj6esx2v4ctmhsnpt0ktj8rp        BTC                   0.03048001 2022-04-02 19:49:53   2022-04-02 19:49:53
                     bc1qhtrn4896axx2uhs4cjnmhdgkvj7mzswn327555        BTC                   0.03034389 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1qk5mk79nlyrajztyjucd8ed2ayk0hfzyg3k9nrj        BTC                   0.03034389 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1qk8cunf3vxl625qzhr5r6fpyqwrpf6aldw3xgae        BTC                   0.03034389 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1qlugkk5j279z00swhudxxslalm5df0flc07tzc3        BTC                   0.03034389 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1qxhyv07rudvfwac72gr8djkr4lfam2tdjpzda23        BTC                   0.03034389 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1q99wunt3pvr79sdvrxr0padmm74n7ezh246vcwd        BTC                   0.03034388 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1qcm08dta8vnu87fxymc34fhvk0fp23v39c9cptw        BTC                   0.03034388 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1qf44a364k8859yjetmc544fgk2dwjwtehk9qq5j        BTC                   0.03034388 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1qg9rwpfkcyz8aka7r300yqw8s7z85rnkcnwfz6j        BTC                   0.03034388 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1qjwhzjms6cpkxcep7xxyy2xtp0mmvgrwtpgc9lg        BTC                   0.03034388 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1qkhtegvupd84n2akxlhhvuz9arajuzqg8frx07k        BTC                   0.03034388 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1qlpsmve48mxzdnd53t6fu6v6k5rgyhs23r8spcg        BTC                   0.03034388 2022-04-29 23:25:42   2022-04-29 23:25:42
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qrnpaa3ykhg9e4k3pjtfu7kpep5jltfld8yqlvz        BTC                   0.03034388 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1qvxvpq3rkd9vdty7mghj64sp5k4qa9q52mk77r2        BTC                   0.03034388 2022-04-29 23:25:42   2022-04-29 23:25:42
                     16Q8VaHybDXezQQ6WqFQhvwYS9Ts41AYts                BTC                   0.03028177 2022-04-08 15:48:12   2022-04-08 15:48:12
                     1AwyRpD6KHJVHDuAAKQjE72aVNMn61J4FC                BTC                   0.03014960 2021-03-10 13:43:42   2021-03-10 13:43:42
                     bc1qwvzqh6anpkv72d8nz5vd2stskfzjr27a4gqqsn        BTC                   0.03014352 2022-05-01 22:26:26   2022-05-01 22:26:26
                     bc1qnqey6m8m8v3pa6geccdgvqvj88t9dt2teqxdlu        BTC                   0.03010927 2022-04-27 08:42:14   2022-04-27 08:42:14
                     3FtKJn9FtxJQMpqmFay5v7S1UKoK9ux3vg                BTC                   0.03010415 2022-04-04 00:37:47   2022-04-04 00:37:47
                     3Haw1W5NCVab4Zay6chqjYJqrZLqiJFqu8                BTC                   0.03008737 2022-04-24 21:55:43   2022-04-24 21:55:43
                     1DBtPcGSvdXcGUAFLcVpDkoCcaL4A2sxQh                BTC                   0.02994796 2022-04-20 01:53:43   2022-04-20 01:53:43
                     bc1qkfts3uj3crtzwlz3kjyd2thleqpz526lpuncl7        BTC                   0.02988603 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qnmrfr2s8l2qk324y9sdhvmm5kuv7wmxz558786        BTC                   0.02988603 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qf5ukl4h2n0smlswmnvdm4f755dppg7vhetss0v        BTC                   0.02988603 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qqdszq2z595cac6ht0gr75n98hv2wnfgy0t5u9q        BTC                   0.02988603 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qtlql97szqvltmuqc0clffvf02u544uu90xpc3m        BTC                   0.02988603 2022-04-07 22:18:58   2022-04-07 22:18:58
                     38cbjVbKznht7Kf2xhpcMjGHSfvrAwAoXW                BTC                   0.02973593 2022-05-02 05:19:58   2022-05-02 05:19:58
                     bc1q7jgzmdckeqv2053n449jcmc6mngxaz77kl8xve        BTC                   0.02971827 2022-04-07 12:11:02   2022-04-07 12:11:02
                     1C54GgR8GjnRVqFeim1SDhhUF1dSGRZ2QJ                BTC                   0.02971085 2022-04-23 11:47:27   2022-04-23 11:47:27
                     bc1q2axghekwprvfwxc6d4e5rvfn2qvwzqx3cs82x5        BTC                   0.02968609 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1q8zrxl2lk66llzrhduqjg7qkpwlxjcyhr9em7yn        BTC                   0.02955670 2022-03-29 12:13:30   2022-05-02 15:22:10
                     bc1qe3vqxeecsw2z862g69228zsefj8a42qxakykr8        BTC                   0.02948615 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qxyehv2cdk2xx2rgqz7rx8kqtkpvzrw2zhyqmfr        BTC                   0.02915259 2022-04-19 16:12:50   2022-04-19 16:12:50
                     1MAZJtAW3f5zo5Gsuj9TsCQ21TshtWw3uc                BTC                   0.02910373 2022-04-24 10:56:00   2022-04-26 09:52:57
                     3MeFgGaHSDuZvqJ2BggJUeDYgCnWonXLB5                BTC                   0.02881228 2022-05-01 18:24:29   2022-05-01 18:24:29
                     3FmtWZB6ZAH22dnvxzRnCLpeyXkmrPShGT                BTC                   0.02854731 2022-04-01 16:50:37   2022-04-05 22:12:55
                     1BgZDS3Z5LbyU3bDQcX5S9Uf7dztWrFSjb                BTC                   0.02848793 2021-03-10 17:31:56   2021-03-10 17:31:56
                     1KR1ZUCzGd4ndPjCFPoopRi4zxQ83MfBhw                BTC                   0.02827639 2021-03-11 16:36:36   2021-03-11 16:36:36
                     34KeFCqpUUgQLCwxhH6Ai5fDEMVkN14KgT                BTC                   0.02824479 2022-04-17 16:31:31   2022-04-17 16:31:31
                     3NUB1wFKTG5sXvkS7McNWeQHCm2QN2Kzru                BTC                   0.02783699 2022-04-04 04:30:20   2022-04-13 04:11:22
                     3ASaXD7i4fQ3CkVdZFxUH3AEU8bPTAG659                BTC                   0.02774241 2022-04-14 07:36:02   2022-04-14 07:36:02
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qrkxgccmf4rfvdnsut2rl4058wrg02jaqgcxx7u        BTC                   0.02762542 2022-05-01 07:56:03   2022-05-01 14:13:11
                     bc1qqrfrrc92esvja2s6cmg6rjttegweanezxtrqtd        BTC                   0.02760532 2022-04-28 19:23:45   2022-04-28 19:23:45
                     16EeTCT6Gw453HBcU3vxTNmeRbNxRpZ3Fd                BTC                   0.02716432 2022-05-02 08:37:35   2022-05-02 08:37:35
                     bc1qn6zyujrq3qckdmav0538n839xafxhjxscmdp0t        BTC                   0.02707143 2022-04-10 15:02:36   2022-04-10 15:02:36
                     3Qzp1y2boBsbyHp34xnim3f4pMz6bvD3jE                BTC                   0.02692839 2022-04-18 21:51:23   2022-04-18 21:51:23
                     3HwdBKSzMUJasNsuk3bDJx96w4ieDx8Vvm                BTC                   0.02683393 2022-04-24 19:54:09   2022-04-24 19:54:09
                     36bBwEtEFrQpaRvsE9FZpZoCt4pPntLFQ5                BTC                   0.02676541 2022-05-02 00:59:08   2022-05-02 00:59:08
                     13RRa4hhSzSUYEShNtnvQebp9NNMFySciA                BTC                   0.02664217 2022-04-11 05:51:33   2022-04-25 10:23:53
                     36baDhWnq9j1BwT7xteyh8zLvyNgfrDZFC                BTC                   0.02663709 2022-05-01 12:16:52   2022-05-01 12:16:52
                     1AFKt6f7wteTZgix1j1gzC9LibEPCYmczs                BTC                   0.02656550 2022-04-24 18:58:41   2022-04-24 18:58:41
                     bc1q3useeqngazektrujshud0er04cf8gt0fs062x8        BTC                   0.02649196 2022-05-01 21:21:02   2022-05-01 21:21:02
                     3BiRURvBA5Wutmk16xZTUQhRHiqLDn3kKy                BTC                   0.02623496 2022-04-11 06:51:53   2022-04-11 06:51:53
                     1AhNDX24iwCwamGPT8w2RYexWeM6t98s6v                BTC                   0.02619829 2021-03-10 16:20:36   2021-03-10 16:20:36
                     bc1q2zs5c8e2j4x62lx3va4cxeepxgg9ded57e76qz        BTC                   0.02608757 2022-04-20 18:34:29   2022-04-20 18:34:29
                     1L8YagKoWDzWk2PMCutb4MtnzieqznHxM2                BTC                   0.02608748 2022-04-09 11:36:50   2022-04-09 11:36:50
                     bc1qgdydhdwncd2h7e66389p73cq26vl4kv4y2jzvs        BTC                   0.02592095 2022-04-25 20:10:54   2022-04-25 20:10:54
                     18i4DfkgGu1AyYwS8oUiV1mRHwiaGDenJw                BTC                   0.02563038 2022-04-13 19:36:09   2022-04-13 19:36:09
                     bc1q3a8k92cjqdk23pmk3y7nm2ugs7rmzw9ccav4kg        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1q453drfjf3xjcnp5u28d4hhdeu6ll7atpypp33s        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1q557hjwsfku07vs70ue7kuas0seuvafsskalher        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1q5m858gv2kyg88wsafr6kgz2d3s0l9sqjdpyn30        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1q64z77fs4hxqflyjw4urdehzpu9zhtjqwlnw4hy        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1q70wgd54xenrxgfhmlz5t8rlz0kt9swquj5zk7q        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1q8m8wsc6xmgp2z6t89ype7n9ssfg5fscz4faw7t        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1q8q85yxk3algg54caqrurm9zrtqzujs5x8dx7cf        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qdctqjt3587dusudmtgcnry5pdyttrnvkjfvft7        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qdtay88uc78mlv7eq9edua2yjjun6ynyc69nn2r        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qdtusmdlhl76jjz05w8m5sx2qp5xgkenjkrzmr6        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qga3ugpm08xl8rnddnydq4k7p28px42dnauaam2        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qgj7t5k43jnd0ve8gvau7prkdq8gff2ptmgrcf0        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qgpytu3k574h2yqmp6xr2qt6he2988x84srqsda        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qjg75gy9eunhuzej5l8m22hjzhct2yslf0eqa58        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qk8unfgsalr84kvquajmdlnd65mg4ldp0j0pahe        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qntc2eveggtc9px05jrnrrq8tjawn8txf2h6xr7        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qp462ysd5g5hz4dgkax2cww8jj0zx5c0n8mw6xf        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qpt0zf5g20928khxyl9hxd0trk8ngfjx7yryqsx        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qqc6s35uf3zcyefur6kknupndxdp5uqtk55cx45        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qv8gyl2a3prnwvt3ad42c9a35tlvze3u3a0hcdx        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qxqet260rm7nz7u3lz5shvy7x0cmsqeqgl0v7nh        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qxwlnm8nm7dv8kexcp4uuqra4q5kdyvq97x4a2v        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qy8nze93cckraedzcpnqrazwwzhzdjv6rls5zwc        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     bc1qywpva7cj6maay3rqtlvgx8kqtggyhpdm0aanmc        BTC                   0.02563038 2022-04-03 22:15:25   2022-04-03 22:15:25
                     1PA1peCTKH5ZA7cJmhxraTKipQfZjfd9eV                BTC                   0.02558860 2022-05-02 05:46:23   2022-05-02 05:46:23
                     bc1qc5xdpuv6sypwnj8237s87rw3zvnc4ct0j9jg59        BTC                   0.02542636 2022-04-08 19:25:36   2022-04-08 19:25:36
                     bc1qykkcph4qqjx07dh8yd3gampa8nha7yzeq7np62        BTC                   0.02539343 2022-04-30 14:45:20   2022-04-30 14:45:20
                     3Jmdxcpo2jUbrVUW39J6RVRW72tSrhTdPC                BTC                   0.02537286 2022-05-02 13:57:28   2022-05-02 13:57:28
                     bc1qy630mydnjp4zj4lzccsnkkzc4t8lwdqqd9jeq7        BTC                   0.02531068 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1q237w70g8q4vwa7qje8h607pmr7ueq8yr4jdqx8        BTC                   0.02531063 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1q4eal8250703t2n4lawtl0dssv6z7alg4enhv3s        BTC                   0.02531063 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1q7hmr63wayt7x4653gh9dde4de0hz24d6t0hskk        BTC                   0.02531063 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1q806f7445jrgvmkt0zwj3e0jfr57n8q7xcwj4q8        BTC                   0.02531063 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1qcnwn65p75gjjwma2cjlp4rtxhs2wjthx23fhkk        BTC                   0.02531063 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1qcu0gddfj839ju4a08gujvzkg4dj42lpey5kdve        BTC                   0.02531063 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1qd4tjjpqdsymalkny50mpwnrzatwkwzp9avwxew        BTC                   0.02531063 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1qe0hznpwyzu6guq9ju8mhun26n236tuky55vhe8        BTC                   0.02531063 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1qmavqjawq3hvl2fvwqw0ynnaqyhml9hkjym5mfs        BTC                   0.02531063 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1qp48q0qez3qzlykj3w0naz8uxl6a7y0g9kumhqm        BTC                   0.02531063 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1qqtgswrmcvvgc5rqgtj8jwk4njpm9y06nlg4uz8        BTC                   0.02531063 2022-04-29 22:35:47   2022-04-29 22:35:47
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qrmx48f8re2fks0239wsuvawjw98tthdex9ac52        BTC                   0.02531063 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1qt0ypm927yqgr90kpggfz95hnvxa0d5mgf77ywm        BTC                   0.02531063 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1qthhjw563a95vna5quen48f8vuz6u89jw0nx55f        BTC                   0.02531063 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1qtvu8eq3agywqhq6vrddf4n2vl6ldjp4leujld4        BTC                   0.02531063 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1q4v8sxmvcnjn9hn52hxtadvc5serj6djzryktfy        BTC                   0.02531063 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1q9vhxlyrf5tceak2cas2mm8nd7x75htprgrgqft        BTC                   0.02531062 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1q2mltqekmkc0gzfsa4rmdz93xy6d3ytk00m7mxu        BTC                   0.02531062 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1q5m8jl70elu4xru4n9nfruu3pv82pfyqqe5ryfu        BTC                   0.02531062 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1q8u5p9zjwxjkff4t89kduk5t6lp35vdzvtkt2mj        BTC                   0.02531062 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1qejpmj5c5ydkr790vkyah4tkxt86r02wdl90fhd        BTC                   0.02531062 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1qxk67fypep5mvmap7zdtex39vgqpk0u9ed5vecw        BTC                   0.02531062 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1qwdrvd29r9dv7m3c339awwwsu3mf6xse60qracv        BTC                   0.02515857 2022-04-22 23:42:00   2022-04-22 23:42:00
                     bc1qn902s09y8fhhfs522pt4y7a0akmn4p8wyk06g2        BTC                   0.02507624 2022-04-29 01:40:58   2022-04-29 04:04:44
                     bc1qrzen7f3pzhluclxlvcfmecz3g4a68dlzm2u8j4        BTC                   0.02497900 2022-04-05 19:43:17   2022-04-05 19:43:17
                     bc1qgmqemhccu2yurt5w2y50k9jlgqeqmn05n2tg7f        BTC                   0.02483610 2022-04-29 23:25:42   2022-04-29 23:25:42
                     bc1q9v8z5v5dzz33w90hzhkv7ttdhk2z3f85cp8hmd        BTC                   0.02464251 2022-04-05 05:57:02   2022-04-05 14:44:31
                     bc1q2vuymlzqzrf9rw36r6zlzhutdpk73gal78uzx9        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q40ft3yvwdg42hpjjzsesyxjuvqery46qegtu9c        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q40wwrcm5ztza00c9rm9uye00wpyxysm98rcnft        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q5flr6hlk7n2ry0t3cw2rc46q5snm3s4eev0dzh        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q6m75jltzlql7xjq80hdmg2lgnj7xhfgykfn795        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q6ukj5g6resnvuqw2vqpgq6yc4kqyxyxjku75fh        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q9jse3wdpq2fwnmu3hagylysmg3vl82q8l26nyd        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qasac7ch9t07ef03alserv94pdpjy90xz7fe0ye        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qd0z69lvzxsz77zggrudq4vzdt7mrhjyw5s3gyg        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qfgnyr6ujvhv2sk5vu5chjm6ch9ttwttc9j83fw        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qflfdyms0mmtdaufw3cmxdhl70hjtvpn65wl3r2        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qfq67sc5dan5lwzrgtdys8dxfqyppv5yyk33mfz        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qfr296v2flku23k5j5h86tjstl0mul9vl9l5vy9        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qgntzdzn2vm2egefx79k9dm8kjuruysfaa0rv76        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qhtquh5ek5v4zlvzmljkpam8ap9jygwy9dgn0dd        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qkglhu83dhywmxzj0qfg59fcgynzthqn9e32wph        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qqtm72v5ep5jewjhhzd62d538390zjw3eeh73xm        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qrn5kjqlxw6nkwx0wyl9kn3qmfczdwuk2ttml7w        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qrr0682zmvgzqz75tt66rpcqfzn37frc4fknwwz        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qtfcuck3fk5csmkxfjk67gkqlmje8s09mfhv6uc        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qtfjfufxr5fjhmqa5e5mnhk4w5dghclccr4fawu        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qw65p0dawknganzxu6gsnmftdzufhr7pcrrn0pc        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qyrfnveasqlc52gej94ygz3ya74ktuc8myjwsmk        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qytsjc2uqerr0vrxga5yhmsux72fgdxjxyf78rq        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qzezettrw96nx0mk7gtfwnjjmu5tlxm363lstjl        BTC                   0.02446788 2022-04-07 00:14:17   2022-04-07 00:14:17
                     3LFxFbgYv7wsHnkWXoN57kTXerYojn8HW3                BTC                   0.02422422 2022-04-28 03:29:55   2022-04-28 03:29:55
                     bc1q6rlhfhazvw2mtqqjk8dqkq7una87ghwlagt2te        BTC                   0.02398722 2022-04-13 09:56:06   2022-04-13 09:56:06
                     bc1q976tvcp7rx4cqc97dwdmv0q87hfezmu5rrv87r        BTC                   0.02395598 2022-04-07 16:10:56   2022-04-07 16:10:56
                     bc1qrt6s2syxs78qqlw845f3nmy8sxcgssw53rnd2m        BTC                   0.02388218 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1q7m82lnw442kunjczdewz2d3yjkrm4wcyzj2exa        BTC                   0.02375124 2022-04-16 22:40:44   2022-04-16 22:40:44
                     38vwTkxrrJKFjVfhhNv8ZuvyQoGS6RE5Hf                BTC                   0.02350149 2022-04-16 11:53:38   2022-04-16 11:53:38
                     1CgeP3bo7i95kJaW1DrDD1amRSrovBHpCL                BTC                   0.02346233 2021-03-09 14:46:09   2021-03-09 14:46:09
                     1HC2yujTD71bPoKeHBa845x2tSa67Uw5h1                BTC                   0.02312133 2022-04-11 15:49:13   2022-04-11 15:49:13
                     13sEXszcG9b81316rzNCSUuKKkKdYEY3Mi                BTC                   0.02291238 2022-04-24 20:02:04   2022-04-28 12:35:33
                     bc1q8xlt6lnarqvvc2n7u9h2efyuurw0mxg7u2dt4u        BTC                   0.02281591 2022-04-27 08:42:14   2022-04-27 08:42:14
                     1Pk8PDi1oGhqxNoKEPkUrKaHTiGdEtatr8                BTC                   0.02262227 2022-04-26 19:19:21   2022-04-26 19:19:21
                     bc1q79l4rjrxp6s5t6tzxkhek7z5y3th7ckf5hv4kp        BTC                   0.02249688 2022-04-27 21:48:55   2022-05-01 16:22:28
                     1Pm81SszGX6pJCAGPBGQB5EmTnp8WXgBtE                BTC                   0.02244440 2022-04-20 10:22:38   2022-04-20 10:22:38
                     bc1q850n7wue43l395lycy46k0eugcsegvyudr7zrl        BTC                   0.02233934 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1qlu77dsg342stdh3mergh92vt46dmz3e6fpjpwt        BTC                   0.02233934 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1q8u2wu65gsu2sqcrwfku0sttev6uj9qtyg8z847        BTC                   0.02233934 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1qdm2p52n0u6qq3sjr3sky7m2dq8pqkzjlsvrvq9        BTC                   0.02233934 2022-04-30 22:33:27   2022-04-30 22:33:27
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qeq8mnh6wc6yqnyf9grzleefg3vusy0zv65hahm        BTC                   0.02233934 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1qk3v86xr3e65cyuts0gugzxvuccn0culhvs00xh        BTC                   0.02233934 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1qqlszy42zfw4zhgmwll0209uh74y9msf0pzzrms        BTC                   0.02233934 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1qszsh6lsmajum7quwlan406dwt4eudapr4qyqsa        BTC                   0.02233934 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1qtex8edcehgfxd0yupedr3e8pngfa7fadd3xtyr        BTC                   0.02233934 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1qwvg5xgp5k45nythhvflqapcuzl79w47sd882ul        BTC                   0.02233934 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1qz80aa4frnzdet5kg6qfwp5yryaj5ndhjvyd0j9        BTC                   0.02233934 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1q3qmxcxmk6gyfysk9628cya68vfwgltj07tlys7        BTC                   0.02233933 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1q5kyt4jdw6p8fp0w74zpkg0l36488ck57gnpucy        BTC                   0.02233933 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1q6zh7j09aqtzmepdpkgsg02z05t6uypkucen5zy        BTC                   0.02233933 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1qjf5nfxk35ywswj6gap396dkpncqp6akqstc36f        BTC                   0.02233933 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1qwqvjplj4msrlcwecdd00uuecjmrrjfx5dffytn        BTC                   0.02233933 2022-04-30 22:33:27   2022-04-30 22:33:27
                     1JfFKpjKAAUNpL1AP524K5iq5ExWqmj5gm                BTC                   0.02231798 2022-04-02 17:11:26   2022-04-02 18:56:48
                     bc1qswpnwmcxdmd3v3rtz6w6tcnm6tf3qf7qpy6625        BTC                   0.02215790 2022-05-01 12:24:11   2022-05-01 12:24:11
                     bc1qz8auns0l52uvm4szfzrup4ysh9sd8m3kk82tre        BTC                   0.02202640 2021-03-20 05:43:55   2021-03-20 05:43:55
                     3Ec4u14pcywbaDV5T63bQNR2tW6x7raj1M                BTC                   0.02200000 2022-04-06 10:56:16   2022-04-06 10:56:16
                     38sEYVj21SkzzNXrCRKe6KZp5WzRgAyGjG                BTC                   0.02158256 2022-04-16 18:01:07   2022-04-28 11:50:40
                     bc1qmpl82l4d662xs26wr5rtagl2h0lgncwtjcuyur        BTC                   0.02157863 2022-04-03 10:01:55   2022-04-03 10:01:55
                     36tANDWAA1u4k8ZrL6GX1dJyhWpxpxbscF                BTC                   0.02139953 2022-04-18 21:51:23   2022-04-18 21:51:23
                     bc1qfyd0mvvjdkqptnmzj6f83ms5s8gf6y4gd9n98g        BTC                   0.02120038 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1qrzslq8usk80wly95zj9pw8z068rfm7mu6wptje        BTC                   0.02120038 2022-04-30 22:33:27   2022-04-30 22:33:27
                     1MT61qG17FZUcTrKvotkXFTCMdGt93EupT                BTC                   0.02119018 2021-03-11 17:06:25   2021-03-11 17:06:25
                     1HkwEy3ucN3b9hwiUkPpimHEtjHTi1U8LT                BTC                   0.02118068 2022-05-01 14:02:07   2022-05-01 14:13:11
                     bc1qqqax8dzt42tfdwevjpvn9juu640lkxjxtqccky        BTC                   0.02106840 2022-04-30 17:01:02   2022-04-30 17:01:02
                     bc1qknzhgvuud484wfmtcfdz2c7c23svv97qk5xxjl        BTC                   0.02102321 2022-04-30 22:33:27   2022-04-30 22:33:27
                     bc1qwdtuaklqznhe5p4k9df9qz47uegrad2t2c3y8d        BTC                   0.02099470 2022-04-27 08:42:14   2022-04-27 08:42:14
                     bc1q7lelxd6r2yazr4rw2uc2qt7fkjqur7xzmmknam        BTC                   0.02095573 2022-04-28 19:11:39   2022-04-28 19:11:39
                     bc1qq4l6tkthym0kw3xgave5ej2zx4kushyr9fjfmz        BTC                   0.02094926 2022-04-29 16:54:12   2022-04-29 16:54:12
                     3GSmXG7ysJdxn1yHikhAAc6uX8Sx2MBtEx                BTC                   0.02092308 2022-04-04 04:30:20   2022-04-04 04:30:20
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q878zuh83g2h4c3ky8v082ct2amhjgdqhg8966m        BTC                   0.02092288 2022-04-04 04:30:20   2022-04-04 04:30:20
                     bc1qm28n3nxrchrv4ky98suavxwxyqrep6k22dk727        BTC                   0.02089485 2022-04-04 04:30:20   2022-04-04 04:30:20
                     bc1qv7xc2kcxe8g5jaznz8pz468tdwpt3khkh6e77m        BTC                   0.02086795 2022-05-01 05:35:44   2022-05-01 05:35:44
                     bc1qq45fzc28p8hwa33pa9g9ewljskkwjstdtzmrpm        BTC                   0.02079301 2022-04-29 22:35:47   2022-04-29 22:35:47
                     bc1qqluv3pzd969j2v32eswx2kraa49yd6ks0cqqfm        BTC                   0.02078753 2022-04-05 02:36:17   2022-04-05 02:36:17
                     bc1qmxeyfwa3xgvhqkcx97ls6sjdeavxuz9wkzt5wf        BTC                   0.02043309 2022-04-12 02:57:01   2022-04-12 02:57:01
                     bc1ql3mzrtaeywfg3yyptcv2e9cf8pt2ykh8muctr4        BTC                   0.02028845 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1qyac5x7xv3tj0y27p49qedvytrla3a3das5zmfe        BTC                   0.02028845 2022-04-13 22:48:01   2022-04-13 22:48:01
                     bc1qyu2uv2plfr28uvm9kha4cl0lmu7mch7xftq6j3        BTC                   0.02019637 2022-05-01 12:12:05   2022-05-01 18:41:37
                     bc1q3yuuhpur964ffwnhyfcylv7955raafccy8mkf4        BTC                   0.02015259 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q6ex2khygcevr9zgrpwkfy4dhf0ad8sadu4fl0a        BTC                   0.02015259 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qeez0qgz2eeusrclpdhnvght7g5vgygw8usfh73        BTC                   0.02015259 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qeka6vxj4frdq95m6fwjz82p7324vx34sz85skp        BTC                   0.02015259 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qfn33ch5yktk9zp29z93fyq3963zx9c7u9qej06        BTC                   0.02015259 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qh957ak3r48ds0s9ncmh37ual7l7prvplayjfgc        BTC                   0.02015259 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qkfpvh8rqpzhsla9fvyswt27gx88fue4ltqmgme        BTC                   0.02015259 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qnn8hhtzgty22usx524j2yvg08rz8e9qvc84njp        BTC                   0.02015259 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qp3t23ws6qh9epeg8ep76f5sqrr75c4ge4qjkk8        BTC                   0.02015259 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qqxuhfcesa0sdp2v29quyy2kgzmdagyd0unglfv        BTC                   0.02015259 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qr38z8hjvz07gtmym7ck0qeaqmev0668neuducx        BTC                   0.02015259 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qra5jlt53q974pmu6u95ygk4w6scch8lmd56rt0        BTC                   0.02015259 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qrr7wrcy5xddtt54cyx7m38fnz9p745ggh7pqx9        BTC                   0.02015259 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qshy220s4x7qvn0uzp8qac4a6cjdyqesdtc5mqu        BTC                   0.02015259 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qt5avxuzwht0jxyypwqysv8c8nj38nwshhewlfq        BTC                   0.02015259 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1quhsvtjq0hl7hjnr22uxstd9ey3tpk8fckems29        BTC                   0.02015259 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qujnkefrmlq8um3497fcv8rhnsznnlug4vuequa        BTC                   0.02015259 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1quxqk3u7kda5u4hxtfsyfhmcz66eda7z00c6276        BTC                   0.02015259 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qya43gh04l2sfy7emqmp9m72mfj3f732kxz0cse        BTC                   0.02015259 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qykhzq2kssnj3nhwn25cch2xe9hcued3menxu59        BTC                   0.02015259 2022-04-01 00:37:52   2022-04-01 00:37:52
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q768at99ag0udrf82v0cepjwn3qncxffzhexs8h        BTC                   0.02011448 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qc2wwys2ppgjtu0tu0gt6lltnsgqt593xzgpd9z        BTC                   0.02011448 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qqj9hx3v0hq9q2fzy7x3ycjg6me6n7lvzlhws0m        BTC                   0.02011448 2022-04-07 22:18:58   2022-04-07 22:18:58
                     3Nd5gNpjTnhVuX51L24EVbN8feQz9stGqx                BTC                   0.02004082 2022-05-01 11:30:44   2022-05-01 11:30:44
                     34yJ6sFQNa2CYTffS5qa4aRCbPBspbhZYH                BTC                   0.01984018 2022-04-26 10:47:36   2022-04-26 10:47:36
                     bc1q8gtjcdmyryykxhd8xn63ad2nm8nu94qrxh23q0        BTC                   0.01973611 2022-04-07 22:18:58   2022-04-07 22:18:58
                     3GzUvM7hzaCDfsZc8GZZRLM3tHMk1KWpZx                BTC                   0.01959923 2022-04-27 16:24:11   2022-04-27 16:24:11
                     bc1q9ar555ccqm7nkjwqqf5c797h6skrawazq5fuej        BTC                   0.01959831 2022-04-22 12:08:25   2022-04-22 12:08:25
                     bc1q28uvrefrtx2kvp7gtwnn90gegpgzc0cpl6ljak        BTC                   0.01950045 2022-04-08 16:00:38   2022-04-08 16:00:38
                     17uC3Ec8qmfQ41Y6ozjsnZc8ECauxztXUy                BTC                   0.01945799 2022-05-01 11:50:15   2022-05-01 11:50:15
                     bc1q0nnvfsa9cl8d6cernq7x4p4jyx0khv0ucvexqp        BTC                   0.01945597 2022-04-27 18:54:11   2022-05-01 14:57:23
                     bc1qzk646kypyctd2ul0vekl0gvpykfm4424phxy5t        BTC                   0.01938090 2022-04-25 09:41:04   2022-04-25 09:41:04
                     bc1qypwdkj4ueccnat5f3e0s22tz3k8ejpu34afqf7        BTC                   0.01929983 2022-04-10 22:09:31   2022-04-10 22:09:31
                     bc1qv3gy08kak4fjw9lddm068ury5urh5pk7p8rmhx        BTC                   0.01918907 2022-04-21 17:48:33   2022-04-21 23:18:54
                     bc1q7ae5ygyxkuswktxt6hwr3f2jpm4wkdcyfckfve        BTC                   0.01916670 2022-04-14 22:54:45   2022-04-22 00:16:38
                     bc1qutd93l2d6v3h2w7u6pau8ghhle8v9a5k8u04lc        BTC                   0.01903607 2022-04-21 00:10:14   2022-04-21 00:10:14
                     37HmdJJxsHWNsDuMi179ZViTGRzpxfu9t1                BTC                   0.01898928 2022-04-27 15:20:35   2022-04-27 15:20:35
                     1BUWqi7N8MRkZbWnFfUHBXoPpt9oi27ysi                BTC                   0.01894397 2022-05-01 14:02:07   2022-05-02 15:24:21
                     19SgstaQJVQiqxVtNRHyVZwZ28TsMGcVV6                BTC                   0.01888812 2022-04-02 19:49:53   2022-04-02 19:49:53
                     1DzAq8fjt3dy4smJvaoLJWzzA48jQokrDr                BTC                   0.01883086 2022-05-01 14:02:07   2022-05-02 15:24:21
                     1Atas9j2TmwkPuZVxAcxpAr2qbiR2tp7Kz                BTC                   0.01870276 2022-04-29 20:31:23   2022-04-29 20:31:23
                     1Q4FykBHDsi51PzGGumdDGLZe6Q98pLXvB                BTC                   0.01869136 2022-04-26 22:06:39   2022-04-26 22:06:39
                     1GtoXdWrx7cTUdUw4MW9yPoKzfzEtJhQfK                BTC                   0.01866368 2022-04-29 08:43:13   2022-04-29 08:43:13
                     bc1q4y3r0n6q8cegpcts475n5al5csepqv70e9sdma        BTC                   0.01865900 2022-04-25 09:41:04   2022-04-25 09:41:04
                     34jHFf1vS8VNTt64HpRfSkQZ1yD8xdjEDV                BTC                   0.01858281 2022-05-01 20:01:47   2022-05-01 20:01:47
                     bc1qju3xeerghf3cl7dpxr8x45g0cv8e2w2xc2wk9a        BTC                   0.01838501 2022-05-02 13:03:57   2022-05-02 13:03:57
                     3PtWefgRACB3j6sR1nDDUzeJSXDrFHsBvZ                BTC                   0.01818461 2022-04-03 09:41:49   2022-04-03 09:41:49
                     bc1qw2ptj3m8adneu7rtexh0qrwq5m3rxy7tyw5tpp        BTC                   0.01818408 2022-04-04 13:07:08   2022-04-04 13:07:08
                     3ELntQ8NZJxjbdUKHvGoWNhj1Pa3t7kWkX                BTC                   0.01809555 2022-04-19 16:26:10   2022-04-19 16:26:10
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     3F8PCxR397D28km7XXH73dgddN4iLDpntp                BTC                   0.01801602 2022-04-26 10:47:36   2022-04-27 20:14:08
                     bc1qcghenerursv2x2j94849p32cw63yar2rsa2sku        BTC                   0.01793657 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qdx0g8fw90v7h2pm3vdafduxm03jspwfgkrmyk5        BTC                   0.01793657 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qlwe448gmlm44cshekp0pgh750msv4d3jz3z42x        BTC                   0.01793657 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qpqtqar4sf7m2j86k7kduhw7hdpxgsmanl2lwgc        BTC                   0.01793657 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qjs83730g3uh2qe7vmu96suudkp2d0qr9z68zwn        BTC                   0.01784672 2022-04-03 13:01:41   2022-04-03 13:01:41
                     bc1qwlhyl8k0h7yjfjtldz7v7q622zcsu3gkdqed63        BTC                   0.01779260 2022-04-07 22:07:03   2022-04-07 22:07:03
                     3MGifHNQxyxR2SYzQggAoRiYXxTXyVuvw5                BTC                   0.01763194 2022-04-17 16:31:31   2022-04-17 16:31:31
                     bc1qazud2lkszdq8pr408mgkakjwwevccq90mmx4zz        BTC                   0.01722808 2022-04-12 16:23:31   2022-04-12 16:23:31
                     18NqEUW9wDw1s1Duoky5A5Q5UuYrKPvEG5                BTC                   0.01718900 2022-04-30 22:21:43   2022-04-30 22:21:43
                     16vPNC8HFHBLcQUuymEmXFqAxizJgcXzF9                BTC                   0.01714254 2022-04-12 09:43:36   2022-04-12 09:43:36
                     3H6tauWxQJ3RoRJ62hPwTxnsoz3WegBGgi                BTC                   0.01713425 2022-04-30 14:56:21   2022-04-30 14:56:21
                     bc1q0ugqu7ljl5vq7vuysedc9ewfycgyjuzftmqld4        BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1q203n284d2r56flhfjlqz70kykd4naewp996tc6        BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1q4v3lwwqlj3krkwcw37dz0wzqqlywyrq4rav7nx        BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1q55ay37yf9xxqe05f87fjgy9ar6ynh7c2vtrgt7        BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1q5funqm3pwumddjyd2gvqrxyt3r0nn48jtmu039        BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1q5yx24ss2fx6xjynpvpl4gefer0wrqjvwvl06zq        BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1q7u4l43hvcud3k03y0fj4edw29u396gsyhl0u72        BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1q7u5av59z9k3fmxrtg0cmlft8sn2rafaenjv5w9        BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1q7y4eh38djql3qmcy5wwkudz7g298ff7uqttare        BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1q9xxng67aw4zfwv6edcksuc0eus8g0ssz7hdsl4        BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qcsqm52r6dgwtwf7cq52kekfggv6a4rpp6wexde        BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qf3l5rvmyt74nzndkfawmnmryzp2wdezjtg5x3c        BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qfuwjclwpnlafpk3w4pw9qt93hfjr7qgkk5ta4n        BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qhq2nqxpmkyvxmq0wvc0n5rmnuc9rrs0wua9p0u        BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qj5cvgt90wlrp8snvczql70wfvgalth34fns9ly        BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1ql0nss6zpr256lc2zs8ttzd3sfm9w25gft329e8        BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qlethpsef3eha4xhjrcth8gjppssuq4usegnk6g        BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
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                                                                                           Funds under claim
                                                                                           (average confirmed
Owner   Beneficiar                                                       Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                         with the five
Name     y Name                                                               Unit                                      Time                 Time
                                                                                        tracing methodologies;
                                                                                         in cryptocurrency unit)

                     bc1qprt7razjlywnn4deunz6w3s5ucpshy08c9n525               BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qr796rxrxkgqhyeqmllrr8fgytjr3mfjtcrqmwu               BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qrggrvhz9hrzj9g065wsxsxv0v2q4da4vqsmtk5               BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qs3hgpk9d6h53pymq4kpumzpt5s7z3x4ls5duas               BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qskafw0ju73c0uszsvcyh0w86z62jhxcdnlkytt               BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qtkca3kktd5am7a9t8jn37829jzkjp0pexrs3vx               BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qu24jxdushq80jxhufc3zfg28ckk3x7hg5m6amh               BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1quqsqlreceyu43tzu5xg4v7jq8z57gy2wvjc8et               BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1quwd6zjnu5pj90uqldel8zqra3v6cp06s4jg0pf               BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qvcvvaduqwxcwx758jwnlwsnragm2fq0zw53jct               BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qw2swy3r54v7y8eksh0sn3qukw5xurl5kmau55h               BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qy7dn04wllzfthxm7kuq6fnnvmgthvq030trnrx               BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1qyf8c34xh3uvnhy90099cm6540wnsk4q3smvl3e               BTC                   0.01711501 2022-04-05 22:12:55   2022-04-05 22:12:55
                     bc1q0pd7ezh84azrpt5axdap323f66cx9ugz58v3g43xcrlzy        BTC                   0.01705377 2022-05-02 09:07:04   2022-05-02 09:07:04
                     bc1qaxzg6268lpvgv4fpf3wezcvyatf7qteyajefam               BTC                   0.01700218 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qgske42j2xxwyw0wqr7ps46uz4gjdg7356x8fx2               BTC                   0.01700218 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qm4ygmz40l99vwqhgur9npxd5sev8s38hl29hze               BTC                   0.01693176 2022-04-02 04:15:13   2022-04-02 04:15:13
                     3Jc325tbyw3Je4YB6y3BpoXagJzdGiZKab                       BTC                   0.01686444 2022-05-01 17:28:13   2022-05-01 17:28:13
                     bc1qkuf75vlwpskjwn7sawjughxjs5050zzymd3ug3               BTC                   0.01682918 2022-04-11 03:45:14   2022-04-11 03:45:14
                     bc1qyze3dedn2ppdmjl0adyv947p0lfshfkjvy7rex               BTC                   0.01681451 2022-04-26 01:34:16   2022-04-26 01:34:16
                     bc1q3v0hfg7fc985vegmvj9e7xp2kcruenyxv78k7z               BTC                   0.01680224 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qxvy6xnkql0pmf0v5r6h3rl8nh8taz96hx0rm2g               BTC                   0.01668671 2022-05-02 14:24:17   2022-05-02 15:11:27
                     bc1qy30v39680t0ehss0pfshg24p0alrk67jymvv65               BTC                   0.01655797 2022-05-01 11:08:10   2022-05-01 11:08:10
                     36gecDYoBrai3Akg652ixZGTPbZdzRjUC5                       BTC                   0.01649609 2022-04-20 02:13:54   2022-04-20 02:13:54
                     3J6VC67VGjYheem143D7HaXb9wzxs8Y7hL                       BTC                   0.01644915 2022-04-30 19:55:24   2022-04-30 19:55:24
                     bc1qqfscwfhp9sshwjwlhclw746l2fgxd6rpp7wzsr               BTC                   0.01629208 2022-05-02 09:39:10   2022-05-02 09:39:10
                     bc1qcltjx5l72ptt5n7hh98jufpd9mf0j2z3l72qeh               BTC                   0.01626287 2022-05-02 14:21:58   2022-05-02 14:21:58
                     bc1qgwyy6nkhmumcerc5x69p5zavnl8efsvvuylppr               BTC                   0.01613715 2022-04-13 08:00:45   2022-04-22 13:57:38
                     bc1q29qkex8m7zs6y6dkngklvwmc2l2ju7kfv4sysp               BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q4gsuy06geeknegm4yf36pq0rdl7uhapug5gswt        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q624yfpjhzd2u8qtgc9xtcv9gs9aq60qp3g0sv2        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q78x2mzklv9najtu8jfrz4s87387myr6mhs4fee        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q7cz4s5d6l4x6f8q5a05lpp8a24687qdske75sp        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q86ca2uquhck79py70vqdemhduz827xg77a3gc2        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q8a80ks8pmf3u50k24vk35eer78dxrshsqd2gjr        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q9sfw0u948spslm9crn8ph7ej2zppsmycczuk2e        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qa3zs2nwfczwmnf42jphg2u3aghr97pwtea3y7l        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qah6km2etru0zz47qwnpy0ex8vn0t40n5s8hahj        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qcvnvczapaxt7u0a28l5h6wsmgu6lxfwzp2dvdw        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qdesxe42z6ywjmtevw587967zzysqcgq9a7mzm6        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qe8fzn69x7xeqkzhuvya45htuc23hgvu3g5w4k2        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qfdjp6nlhnr6t9gwxsfgqem7f3u4xa8upcyc8ke        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qfyttzp5j4jkmezk2xds26y5htgaqc6x9sh8s40        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qh5mwlj8rtfkvmktswp2je9gckfpww8tdeyyq37        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qhary4ajn28hnc674mztkf899c7m63mj5erx294        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qj2900e3ky40xgcdl076qst8uh4wwtk5tql3url        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qjtdn8x5s5lrqrqav2uzy8mgep48a7udypxm49g        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qlsy3hd8c9meq3yvr0l4j7pnsfy3k3nz96k4ngy        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qmwj7hqenvfn4yg90uvmqr4smkr0vg56j24kn3n        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qrk5g3yh5t9d6c2cpw0fauurtaacd7zwglkzfg4        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qwp3jpy536h3qkfpqtvs7qr6lvrar6rea3788kg        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qwt8cnp379r8tvjv2ny0r8r6cwqetltwvppekm2        BTC                   0.01606696 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q00kvg4gah5g5djxudj7wkajyqc03az8gsdu77h        BTC                   0.01600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q02k3jjerhgvpa8a6fc9wj5wl5ujypw39m5g9zy        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q049hjca8kvewxz8uv5g7kaq574ltan5t77rsfv        BTC                   0.01600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q04e73nmt4acm76rp2g4juh9gflxsv0q9nyeah7        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q04l2pprlqcjrpsqaddkkj08j7cpsazzncmh23j        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q056nh8ldzjtd4g2q3gld2hk3f57zk2mmk46j6m        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q05ldchqrwttakl0kuck6vg4kjg8rwj54ddgv72        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q05vrallatq8fgnjl8yydaqynrj00r4jjdv5c5k        BTC                   0.01600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q062qphcuqlpfzuskv3ly3fx6j30yc3e2g8szlq        BTC                   0.01600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q06krkke8ut2w6nsjzt7jczccj02sevdjhfa64v        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q06l0hpqxcnwc5sw63nzwnal9mc5qc0atyyxmkz        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q07pcvjeqkk9ew2xarfjsl3z2w24ja2kufs8vlg        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q0ap2mqdjp66yp0at2q9w3xc3xuk0e8k999faw7        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q0esz0k4nhxmsqmfg2vlrtzxsrvp35q4nmmkzw6        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q0f95nmr3v7kmpkhw22pqx8ph9r57pcp7ym594u        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q0fa8u3f59uqadgjkc2e6alwtp0qvs8e5a26uc8        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q0fdyeh5ftpxjsdc7fge7afxr8zcmmgchecn72a        BTC                   0.01600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q0fu7vdrtjh4sknp96yre4664r25cxzagsrdz8k        BTC                   0.01600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q0g2kjqxj596wv7qpddrca0842feq63c2tl0k2j        BTC                   0.01600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q0j7p88y0ywecpw7zvm4zcuhtucnrxttm4hldct        BTC                   0.01600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q0lf63rzk606jv602qs5p3d23tu3t2zsft3taaf        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q0mz5keek3exeeulwtwlsp4qky3jna8kpa3k0f2        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q0ne7a8l8u5dn3y8vck08ufsvmn0wym4dfu5kjw        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q0nut7xskud3cxr57upwus6dp2kp6n5g9qy7np4        BTC                   0.01600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q0nvyls7jp5as5agn33n52t4p5yg47df9n3dvsj        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q0pt2t7nu0qj4fsrqlthj3y0j48hgjjrptsmx8h        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q0q7kelycxwu9y4s39dehr5hpwml3xxy5qnx2xh        BTC                   0.01600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q0regncrcumz0t7qetu0t7w2m8nqnugzsjj6f7z        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q0s8z9rn3z58msvztdtl67vfu9yny4qcjvzkg6c        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q0u92735xc0reluhzpaa54kcjradmu7sj28k2sd        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q0uswa2a2jhulnl6c3342rnq6xt43cmk253ycg8        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q0vch5jljk5xw4vg6q4en7h35zy5r02zcx8v5vs        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q0wp8cdngl8d8je9jzqmpdufrmj9mdzlptcf9pd        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q0xyjjugpeyez7m8qejhns9689yj59qx4mvaqg7        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q0zcxa5kkvgadjtngszdktyrzhzx69pgumwuaxg        BTC                   0.01600000 2022-04-04 22:51:20   2022-04-04 22:51:20
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q0zjz57lfdnhh4xq9jz9scmtkq6ykse592ug8sf        BTC                   0.01600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q206mcctqlmxwlhar9a2ws43e5pa80ve6jphnhm        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q206ngnyhvvejyvgetkxss3fa6xs4fam44qqprq        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q22as75sv9mdr8s80pgxajsn84pqn8chxhm4al7        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q24k3n7j73y8twllff5r5z8v9q000upljt2ktxf        BTC                   0.01600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q26dsxpxe9rwf3dayzwyvuaxd4vkjmvlhh6ct8m        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q27mjudng5pfg8xlf0glgww5fa9antl3yz6xg42        BTC                   0.01600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q27tg20qw9764sp8v3a0nmukt4wmuf03w3vckza        BTC                   0.01600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q283fkwpj7c9fxeq5mn6tz7sxztrfe6asj475m0        BTC                   0.01600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q2c044udsk6xlhdngxaxgjxs4ssm640674atjp6        BTC                   0.01600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q2c6qyz76au8255cg0wnzxxuvxgrp4s90qezfyf        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q2dky4peqs292ckkrmgevfdpc8twnuaa2v3n7sk        BTC                   0.01600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q2dtptuz3hv80d3fndtppl65g589tzsf3ssqagg        BTC                   0.01600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q2fcnnyw9phkkmqsdg0cdhu2ra5alzcx8lxzrkh        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q2fwug0lp5untdk5gur5mp7c9nsuh6yj2pw6dhr        BTC                   0.01600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q2gadm9hr2wlgheswpkl646xrl5lyaf3pjavm4g        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q2gquxzzry3v9mzllvneha6ptlmswuvyalw6d2l        BTC                   0.01600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q2k63nsp7ze8du63szv8mq0xpxv4jqagw6tep95        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q2kvpvn6lhdcyrrf4rpcc9vltskm23zr6ru8gsa        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q2mhzuezf8zknt952dymm07epwufzprjru8xdu0        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q2npdqkvrzdewl3tu86wn7kt2nas66s2hfz8kgw        BTC                   0.01600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q2pfpgs5h7a4tzwcaaaltqkrfhne46t5rmharma        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q2qhf3lh30ztz33e9c7yhy0ljeh0a57el6k65rj        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q2qskuu4kh2jjruuqmghut28wrdyqdjf244z885        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q2r0hzpejhulv3m8qt99dqtau5ynmvg9w67lzx9        BTC                   0.01600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q2r8fa9gt0s8alhnu7n5jj668y5wsgtae4dsujm        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q2sdaalygvgmlr2m4gs8punm425fgt0ejakmjpt        BTC                   0.01600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q2ssyhxv6nw5z0ddx6x23v5vpenelr7vukzgjdv        BTC                   0.01600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q2sttk3y2q7sqkvlmxkfavr4d2fw4px06u99l6x        BTC                   0.01600000 2022-03-31 23:17:52   2022-03-31 23:17:52
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q2swrpjlzfgyeafvx98h7wyte422rw8tg3m9sga        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q2uvy00s857a7h08c6x447d67araxlp4j3q7eml        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q2uywdqemak2as46xvw2er3fuvh9rry2fvlp35f        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q2uzs654fzpjz4t8apc3jernn5tgdsdjt45jrm6        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q2v8ukfcspfns536s55dd2gdezvu9xn6fjk3qps        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q2w0pane0lpzrqe44zkcgv5swenuvythgcmgdau        BTC                   0.01600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q2x49m8a66k3nrrz7v2flj2g5hljc5eysfveple        BTC                   0.01600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q2x782njfg687458y4vu2a80sg39q2vh9mkjfzv        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q2xtt59kwma28y9jlcgqd0vq3mes906hch6mp67        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q2ycrjam7gtkurha63k463vynyk68rd3l5ngxyt        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q305nlsfze8rjyxrt67rsw248ke77l3tvanc9gx        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q30d7hyeweqh095xa4k08zdlmlkendjajs73v7v        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q30gq7cdxf7t3v44pr9sy5eqx36am5yhx42akfx        BTC                   0.01600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q33avzeayez9ccy4q2thdlev3x32lw0guumscjj        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q3478qjamj5srvqkvvl77dzzzakrn5sm3qkydd0        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q34c3ajntm6d5k829mu2mj057tlat99zu9tweae        BTC                   0.01600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q34xarw3ys08h42mpf0vhgg05sd6eglsaf5wkw7        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q379350wpxjw2sndxqf7zmmp4en6rq6cv4cdx4z        BTC                   0.01600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q37kvnxjneqayn99mpwy6s3lfc7g20aecwuf6fu        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q37ral3cg5tw5ga4820fcc00qq3y0za0ya6zj4l        BTC                   0.01600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q394qj0w2npkmup9hagxe09lahwzud9x4qnu4gv        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q39y6cmljw62eqcv2g5wg5k73ekhahgmaskr8za        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q3a3h9v7695q26a28guryclw5fxa5e4qteku02u        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q3atm045lx60g9gwx9vc5k8vdx5vdjtw6lvv256        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q3d46ehzcxktefkmx85c64dasfw0rh3fmsqcdqe        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q3e66yz3ccepdtquvhhe9vgl5f2ck8j6pjzam2z        BTC                   0.01600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q3ev5d30ea4k3sgxnm38esknhmgv8pa7egv0sah        BTC                   0.01600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q3fdtr2vezy7d8eacerwhsz97ammtc3jc8j4a7c        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q3ggen583mptneqs2hvv584qzakym66wr903n8y        BTC                   0.01600000 2022-04-03 23:47:56   2022-04-03 23:47:56
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q3gw7xm2ac5hnwzje5fqzcazk59rajvu3gr5y4h        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q3j2z24tsv4gvd4w68e7yzw6t3cu4dpkqemzn93        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q3ju9eu2a527wx6h6f729qsjdc4r66cygflgs58        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q3k5hqn7q5hg6w0fegqc8j0sc2v4yqfsg6d7f7t        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q3lcplplgtzj2knr3v3ehcn7tske8rc4njdp22c        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q3mgnxxygw0w8zhqzh6rszsfkx564vr8fpz9ktg        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q3mn2lxywk9842fk278cdyzqfnl2z67qsk5gt9d        BTC                   0.01600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q3ndmwazuua4z026j2gxzf7uw9sx597rwxnc2x9        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q3pwcthwx39llp5ncl5wafdcuzxhxw2ufj5ew7l        BTC                   0.01600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q3q3wzfsj63ux43f0s0vk88hk0de4nq3lyvx54k        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q3q5v23akahf8eshhed305y02zfg8ax6ajvdsef        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q3q8wvcau8rm3ruz77luqvcfj87ayy4e7m3nha5        BTC                   0.01600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q3qrqxp3xkh5c07j8wfyxkh59g0wlvwcts2lr9t        BTC                   0.01600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q3rrdjd8kh2t2tkazu83l6q8me59tq8364crwjt        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q3rs3le4gu3krxs33zv46gd9ksyy9svca6sqpja        BTC                   0.01600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q3rxzkvel3mq3gwp5jd43y9uv69cj2pqneh285p        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q3s5w9xdtpumy68qr9xrnq5mklycwc5dfm70j2t        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q3ujygl3du03mcd9x7fe2kcyweahdgtqs35e5kc        BTC                   0.01600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q3uyrez7hea7eclqzjf7zz8ce72j65sz4jath49        BTC                   0.01600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q3v04x0g533hhlgudwrhqgh5ellhax59auz6c90        BTC                   0.01600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q3v8xfmu6dq8l9sthsej8h2el8ldggj34q690la        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q3vkj58fxkxjxaze8m9hv2kapz9ekvr5hg445n2        BTC                   0.01600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q3w79xmw78wzd7av2st5tsvtm964vq74zf9qwj5        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q3x5y0t7g0g0jv407s4cmzlr7cahaw0y0uxz3zy        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q3x649m2kce5kq3ql848qgf82nwlj9u5h55tyut        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q3x673rykfc9mczpnkhv294z0w9dvwx25mczwpv        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q3ysnnq8e5rxu8lp3487ff6sssaf6jgz8ralqnw        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q3z8mua54ck39rz9u0rtg3qn5nxz8uwk0achgn7        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q40yxuaqtyrfks9xs50lrkl4l7uhhgtwcufupvf        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q4347jd5qnzgqvaqm2362fzj4uuzrdddneavad6        BTC                   0.01600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1q43d2zrmjgpr656c866qqzhegs549h5q0weuqq4        BTC                   0.01600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q444r3yc6t47ppf4d2hka8tgg43c8uhyyl7f8c3        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q449wy2racmm7k0eg7efe2z2cqx8yeycv30f3aq        BTC                   0.01600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q44dezfkw7rsvnfcgpm3dgttsmgr6sme42lhde7        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q44vt3x2c5kl9mfk5sazy2xjxppf0xkn3a99adw        BTC                   0.01600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q44wwl7wpten4yfxev6hej77xqr4wfwgdplym8x        BTC                   0.01600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q462wnja4cw3malwp0nzmv8m56schchk36zjcf8        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q46e6mq4t8ehe3r7p970d2k0xuq6qu0jjwvldvc        BTC                   0.01600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q492cccmlucppgyky0xz30amng85pdx4z9j62hu        BTC                   0.01600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q493nj9u58sdgmpzshpy8s7ar3vsqejx5swnyqr        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q4a0kmxghne3fvx56pgzpkarukqxe7kum9d3v05        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q4aa7q8lkrtcdjclafv645asmvsxynyynwfgl8z        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q4aydvvryl9zwhz0am6ng3pzs22qptr0zwfv0h9        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q4cel5xny5nudx42l62kekr08zefx0kllxy2jjk        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q4cwn07en0a67l84fd4vtv4wxh037vxru7042cx        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q4fpmcysq9vx4s6nwl808lssm439jk26gqeauj3        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q4fql8zufy9u5jtj4k72mqrqzxca0prs97evej8        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q4kaqaa30akv2jxg044advnvmn8n54awd27lqk5        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q4lk9lldl3kg8tq3lhwkqm9kk452mdl6j83ur2t        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q4m79hk75p0v2tvdu5uh0aarkuadvm04t82meew        BTC                   0.01600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1q4p0gxz822j4qgvzs3r9wred4rzv54u0cxldshx        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q4q7kefy2yeq3f040gk7r55c74tn9xu7gmg0qaq        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q4qgachunu0lw8x4qylcv9mkn5pu7gqlzfr3fg7        BTC                   0.01600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q4qxx2jgr07rfqju6qudfc8jss3c6mg2nntpvem        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q4rfr2dnpadf53jhnym4pucx9x7gtpaykgd5l86        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q4rp0g22znsqcad7stumxuf4snkcdkt8zj8p67s        BTC                   0.01600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q4smpce54wvdrfe7e06sqq9l0f68jgqc0dj0k3s        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q4sx8e9rpc0xy32350g46wx3ppy9hpkpynf84m2        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q4v4jp29qd4sgcgz6xj6pn8gv82ypwa4h9cv848        BTC                   0.01600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q4vdrvgqma8hv9t7eg7s46z45t84lphqgnstmzs        BTC                   0.01600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q4vuxtwrav60fwjpvtugwwxtv6mftjl3v0txrpz        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q4wjsw7gn33ju9ytmarsd4exdzlqcwukqjw7hd7        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q4x5rezxy6hdxkglznm6vgvmv7rcly9nk9t9yva        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q4xlxecrt2hllrsujh8hrgg5r0md3h8feej96p8        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q4xt06gd5qc0u2xy6zaqj3p2ewmmv5fgnf7sj84        BTC                   0.01600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q4xyslj8yy7jdzz8z3gc8t3fc55wf6qc5d3gdmd        BTC                   0.01600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q4yclxte0lg9y5vzupn89d2rvaqkxa2wcz87gpd        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1q4zfw32xqk54j726k3fd9kfrl8twwqy235wks4c        BTC                   0.01600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q4zv8t88z9kvtdlxw4yaj4xglrt9qsrjgws55f2        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q5026mgr62lsw9a7tlcxhe5fjhz6wae7843jsct        BTC                   0.01600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q53ecdt62r95c7ld5208paferejr39alcqx8dr3        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q53hjmxt5xevvdet63eanr64akjeffjjauyjent        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q542swvvsu3pt6jzfkjjw5mnez50ycg4xu7ny98        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q553z3z88nqa3fc505cg4qecumpewpf72jfjpp9        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q568lk7694d6jwx4jwf8me6zdfnfrc2ur9jk5yt        BTC                   0.01600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q580emzgzag4dks43lxvnfmwqh8l209at9f9hat        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q58rwnzmrx6t3wsgtengtvjmtu5ep5w2q0yw0mr        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q58w9hh6tp8qp2wxtj06j335f4phqj6ra803qm9        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q597p7qcf7d55pgjj6hak64vwyrkwwg2svdt0aa        BTC                   0.01600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q5a0nj4qq467gsrvdgwrh65xpl0ucfmgf30g2kv        BTC                   0.01600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q5d9sees88tgcmxmgd7uyy90n77scg7uczezh8u        BTC                   0.01600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q5ea9fwn4um6slkgl7gzn6s8jz8ghkkqpr64k6t        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q5egdrtak8e9c3s5qct45cl5rqqtap09eg78ps8        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q5ehz5pprlhgkfsz5rm60gc7hxzrhwt2s3fr83e        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q5f0ygsrjls7thls4rk7sr62teuphlhxergaqjy        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q5fcv2g0xt9pzssse20mwfr74e6djauavt06lmg        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1q5fp2zdzzurz665uwystm2y0z4de0c7mh8gr6z7        BTC                   0.01600000 2022-04-02 00:17:11   2022-04-02 00:17:11
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q5gmy2n2pyvwzsrg4kwxak5yvu93glyt7cuaeem        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q5haff7x9lels8ncghhu5kqqrg77akljx7k7xvv        BTC                   0.01600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q5hrrd5pvtz2zdg4xy22x7x8r3axgdjn479lsdu        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q5jjvp02fuy0fv6jupmvh82q93n573w9skqgxu6        BTC                   0.01600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q5jvlew9g6h52euxtw56h00pzztkzm5fmyh5sa4        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q5l2xs58uvnjnhzqn440qkwsx5297a87atwfcnr        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q5lcq99jsq49kh48mzy9l3fmsm4zmh3vy0f6a7s        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q5m9wu8h96ypx2qwv5evaj97xy24havw40drsu3        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q5ptlm97wflgefvue9z3hx22puw2y3npkllp6py        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q5qeyakegamvcvg2g3pnrsu7t2c6mumgrjaq9t8        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q5qzdsjmd5jq6s46qq66hd9kslazlccfaz7w6jv        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q5r8j2cc48krg9hqfnypyuvfvleq6d5445zpuwv        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q5s0g68xvl30z83jq5ygvjt3nput38mhmen4u7q        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q5salqfn78murkd9unkaq7a7xf2wa7m7qvgl098        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q5slvm7kdzy77vmufpxpllddszj7zwsqqv2tdwp        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q5w65wwrm3e5sum7m2frdzyc77x4d3qrqk0leve        BTC                   0.01600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1q5whu3q3lk2tfcxr8q7zv75ep2kztuh4nzrw0fm        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q5x652c30k9lzg8a2qnkkflge8s290uuhmgz2h8        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q5x885ckhpx997ymwl5clcxl5z7r842y34cx950        BTC                   0.01600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q5xe5p3hhcn9vgz4z928nnhf43mf2ccyrj77kr8        BTC                   0.01600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q5ykuhtljk8hud5mhrjnm583m5u5quxfc6zww8u        BTC                   0.01600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q5z8g09hhmgccmeaq8elk6xlektqy5dapwavrsc        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q605k80mr2lru80lx8rs3mwqk6qd7yn70f3uyf4        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q627h79l6eacxwy2dykdsfm6m8cwt5p3qq99ny7        BTC                   0.01600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1q63eh92v2dguzcx6furaa9r53jawx39z6f2neka        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q63rfamnnzaxy6w9v2kyk7wysyrckq7c255lmkl        BTC                   0.01600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q658twrlun2hwkmueeyuyna5atn4r278j8g9094        BTC                   0.01600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q65hplv7gqxgt4pywfgw0qjua8jvmafjqdjzsq3        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q65jcrua8etx8xwt9cmpqg8uaxpl8kftejwl4aq        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q65m2spnnhtqtngakdl08u4mfnelx8mxp8vujtv        BTC                   0.01600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q65s7r4ng3pfzqsas6g4v9k0kvrdhympx278d9n        BTC                   0.01600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1q672evaqemvdz2xh07r0l92m8h8kahphdjcqmc0        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q67ec59ansh9dsl7aruz9cpecejqz0cl9uxa7hm        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q67q54ugdn29pxn0gxsrv9kevn09ypf6rpmdm4x        BTC                   0.01600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q68dj5hmtp4z5dnw92u53kj0650j0t4v5wtj6pe        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q69mxw9445jamfkjt4hqmngk4yd0jfedcela8sp        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1q69sx7yt9380a6alrd73vr9889frt8wfx2vj0pp        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q6a2r4muemazvnvua8laz5vf56kgmfe4mm27gs4        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1q6a5kkyc8rjxmu38vak8e7r7ft74vnvlejrkll2        BTC                   0.01600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q6cen4yg24m80004crw7ex4mp6aqrld6sl9h2rm        BTC                   0.01600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1q6dnk73gqreyyjxvq3q93mxjw3tuulxt2nscka6        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q6fa8n98xh2re5zt5erhznu5eq23z9pqqcc66uq        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q6gvudanarkdc5un6eld8lr6073yhpmv8zhsxp0        BTC                   0.01600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q6h6nyaukq6dsux3nl04s0h5valjmyva2jdgfdm        BTC                   0.01600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q6hg2xqvqq84sqspym77j3m6x65pw5hz9r75njd        BTC                   0.01600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q6hju54ql856x5385f9cqn4ktvta5yyh5eg099k        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q6le0590m6336ul4564g659d7kmx94rr8nnx3va        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q6memhvkv6s3nxkltncunnj2myhg65f2r450tzr        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1q6mqt05knnwgp2afd7pfx5d7hxusznyyx6ywe06        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q6n9e5vu90lydj5k7ky4m78f8zulzntskgnwvew        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q6peept8tfcy2spr48ufdtru6aex4lz3ukv2u02        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q6pp6zfzvdtjznjee7hv2mvqv0jch4xwyu9ltzg        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q6pvlnus4awpcfjapykvaj39wx0uau6v3m2gmrj        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q6rddtpgkecnsu4c7dt8hna4m4j3puuel9gv7jg        BTC                   0.01600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q6ualz8pql7j3p2hdet4wy46lmf7ffa63475rfu        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q6uasczwv5dnjprjljmyq966nlnt0usjufnyegg        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q6vn4c4qqpenvjramxsc7t7hs7jt9xlyz692eez        BTC                   0.01600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q6vr7rc4k78l2vyh7cjvjxdd0sn95qnvzlhc686        BTC                   0.01600000 2022-03-31 23:36:49   2022-03-31 23:36:49
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q6vsfkqn9hnqcsx9xfpujdldylnu43mfvkmdm2d        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q6wemwccwu4ew0fsjthq3f2at5sh4sktwvzh2x0        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q6wlk8z9zg3gc585j7hulwm60qp3mzeclcanhc3        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q6xhmxtj9h89n5knzzj55dmtzd4fvnpyyuxy44d        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q6xp5hgr8u5n2xq9yclvg60mfrrpm350wjqk6sm        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q6ygvpqx4la9dzsjyq4kdtmaeu7uevjjtpnk4rg        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q6ykj694yenav45rqfu0m6f70ck9d35rg76auu8        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q6zuvf9gv9gfzdc5umvqqcx6tqlgasws9qpjzz6        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q703nfenhj672fm7rl2w9yz65vz3l8n3wssrmgg        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q72wr9ax5trs76lh63337rkmyzsl44ed4yers59        BTC                   0.01600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1q75t3lh9d794xsdngvthm3vuge0kdg8fzyg43gt        BTC                   0.01600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q75wda0c5jhsmmtrzm9zvngn59frn082syqme7c        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1q762feh3up3ayhtxkky3medyanq0ex7u7yrhjmg        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q76p99xnwkqc7suhv3dqqkkth69ya955k03yc9m        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q77cy0gdqr7f4fqttgq29d5xhvf29yekawruzuc        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q78kq0mgjsxx3z9tnmweh0629a44rmudy0ryesk        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q7cm2xndkssvegy7v7sqzllycqnp2wykth9yt37        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q7esy2hw5t5urwq6xgzsqn0w7np6ns77xjzcfrl        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q7f85uxvzy6c02vtldlgyq8zldkxxfvhc9f3xwp        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q7geea6vzt0j63r79vrdr40dejun5plp70wy7jd        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1q7grzys9evu0yzaw6zkcn6qu79yqd44yxnmshv0        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1q7hhkkcpm4z6aku505sz4g0c65xx0s4fxjhtd9s        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q7hwwx9r9hu0jj69t45rekc0gg7lxyahv4uxj08        BTC                   0.01600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q7hxwdsq0ac0vjd56h7pjacn8yakzey7ykyfr6x        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q7kmytdl4y8a89m77u8qxenfxm6qsppwjpvquu8        BTC                   0.01600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q7l5x2a040w02v0zgmseu9ytq676dlugy889lu7        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q7r33x0rmtkukhnt7rcazqltf20yke35cwnlfww        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q7rwa4fd40uphfj52x8263jyck8c3wtnlup33fr        BTC                   0.01600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q7s2jagcnr3dsuzuktht3yrrlp2tshd3356uwqy        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 507 of
                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q7ulcdsus630hnj0gl5rkm9lh3547eknye86c9w        BTC                   0.01600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1q7uyl6q2qg4l85d44njq2j3y4zy433fjwzewnag        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1q7uyvpt9dec8plcav9xz60nm2qhl7ext3vm67mc        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q7vtsplg80mktm5ck88aq973ehn5ayzamhuj76m        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q7w9elezup2vuh5ac9tmp4nwquqx4nj0lyydlcv        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q7x4r3ww5qnqfwp3udacksuv4ndflvjfgt9t09m        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1q7yx6pcd9tjpk3lxwh3qkkwk98mhkwjwde8r8ce        BTC                   0.01600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q7z2l88w8fkuyp94gyywkfhxldr3qyxda8r979e        BTC                   0.01600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q7zs6dt8vnlj6zcc397wkd8c546rtcjl9lm9etk        BTC                   0.01600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1q82h75aftqj8cecke9dwfn2nux96zhh3rjclfk4        BTC                   0.01600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q84ssfd9usyvyvmq332g9zw63x29m9j884dlmfk        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q84uwk037s7a7leq0nx5nenn9wvstvjzjgfp92t        BTC                   0.01600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q85j2hddqhn3fjak0hh5vfc645qasgu4rvdhsh2        BTC                   0.01600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q86355qf2j5fhevxus7y27xg0ngp5tve8plvc9c        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q86a953eysrq88462r4lkul270yatw7x07gat2x        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q89t4hz6xht8h0vwfpera7fwycglwkqslk7zmar        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q89vztd026eypf5aw270ap9lpsvgr8wfsx3pvgf        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1q89wq4ju3mpedx4m9xc0y6206rt6fv4j9lxht83        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1q8c75ytjkck649yp8y5wy7mfwwpy57g3vzrq3x3        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q8cdkq5wg9n92fycrh57lkv2kfenjhhy0ewhh40        BTC                   0.01600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1q8dantkgal3whzh25tqq0uktmvpazs7wwexlasq        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q8dqdent5cznhjz8uxry6zz4y6p93nt7ds7trzh        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q8edw4ad6qefg3339m9u9grp3nx5cfuwlxj2scr        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q8ftfm8el0he6vzpakg5zmgyzpc5adyss4qxkwj        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q8fwe9axvfz5gq7pelg6207k5zn3x4c2amjlumv        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q8g2lvwm8c3jmzfu09whj09de4vz3fn9r5qdy6l        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q8gzy5vs49342skkcx3evw3nvn7vulx0pnlcar7        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q8k8k7y4t6rvztwn2z8a37phfwkx369ncdthk2u        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q8lz5ulka0jvr34yajsysn6exrqkzp74thzzgq7        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 508 of
                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q8m52e5n00rqfrl5s7yqz6ctmlplstksjt2vk7x        BTC                   0.01600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1q8mmgm30jul2t22zn3c2cr8sdsmf5fn7hudgefe        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q8q867hd5f3tpgn20cqgfufw07wekj3a8nhc8xd        BTC                   0.01600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1q8sfk36mdxttdzt4q9q7vkvamskxfznzmcqtjmk        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q8t2xlywqf6vpkxs8xm8t62m8wv82593na90vn4        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q8v9nwkk3crxun07mnjx5vegr4myxt6l8n6q767        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q8wpl9yl6cgg5j65z5807cmhpqe26xz85n5js6y        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1q8x39hafh4nnl9hnfp5fnukeahd9ulyuq4k8k2p        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q8xqgpprp2tscn6ev4marajmpkuwujcgmdlyf0g        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q8xue4e05n4ekc4er6ce69mmnxhm0n4mpn45cju        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q8zalt8jknyf77hs5980gupvlnlxeggkxn60x9y        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q90wf4dhcyjsz5npda977xem88pyjmc5vpawnuq        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q93jc44v8le959mtzknem53wd696gg49edqwtv5        BTC                   0.01600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1q95f4zur35kl9net0vnhmhpux92dz2hcptlewhd        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q97hjuy38ue8tcjl8mm0qc8r6qnjk58s0g8l2tn        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q97kn5j32wj7ewdd6jj9c8ku7j9rjj55qylp2lm        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1q97vmk73y0t9a4wjz8gvard5p905lksaesg79hq        BTC                   0.01600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1q9926vl5fvl8zz7ahdf5tc5pmgxgaxezfwcy27c        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1q99ehjsngml7jgaac6eekq7t8jygg304fu88l2z        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q99w8f2pa8yykaff3rndt4yn2tzm2mla72cyzqj        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q9azeqzr06taq723re7v6hd4juu8fzjyhj2r9kd        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1q9csz9veqg0k0dllfj4tds0kwpmwn0j3q4fehfl        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q9d3h6au7vhfy3f344ac7q8h6yanhll49uqdp22        BTC                   0.01600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1q9e3ut4uqygar4v5pynegepnq2c4zzauumk6p5f        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1q9eeqg3kelv5t3ekm82ym6yry4frgjtd5fas59m        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1q9hhtkhp8hcz0mc4zypz5e2gvae8pq70ew7ac2e        BTC                   0.01600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q9j9cctrh4y00hrpem36nn3rq954w3k2t4dvulf        BTC                   0.01600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1q9jkuyn3vgef3f548tdzv74xpdw9uvaqv45rzu4        BTC                   0.01600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1q9jqs8gnz3gvgrkjzhxa8cydju536q00ym6y3hw        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q9llupevsu9r3dp9zrkkupfnhtva795m4wtt3u0        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1q9ltdjnqtqu2xzalhkwh0v4hluf5hhavfe7heq5        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q9lxml57zn940ff6ja6m9w5aqgal0ganmkfy6rk        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q9m4e3guttup0ptwnhqpyer8aj64cr8zfd5k036        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q9m6xtfhmpkdg4feqfhfuzreqqzdql425v386yr        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1q9mvdem59jgcnzegsg2knmmm53vr8u09kuj6xen        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q9mw6kxfaaqpd4446a62fmjmzcgmd7enpd086rk        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1q9nznluwke85xs9yceh6fng690a0ncf8qzp9gfs        BTC                   0.01600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1q9pltcqy5d2nnrugzzmkagt0v7hv36txyh8vldp        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1q9pnum5r46rf7let42g99dr2lp92ncrg8sqlksc        BTC                   0.01600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1q9qf2d2qe458rkux3zes5rkhj2m6e88w83p65nv        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q9qn430s8kvlvexde3canlpxvajggq9qp9xm7ku        BTC                   0.01600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1q9scej0r94ak8yd6hhrdhsknuvzwsqaf9r97wtu        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1q9svtpejtwxwwe93cjxj8n9pupl43mrfpaj7pgr        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1q9t43e996as7denl04l59ake6xy9ea9c7h95fap        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q9tyh6556ggw0erhkahdyp3g5rl3s8wu39569ez        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1q9umts26692av0nffud9gxjamcflkl9xa3f639h        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1q9vsllcx9u60766fzvsp34hmg8wucr2rfvxtf76        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1q9yrlc3ejrndg8xm9n0m2mf9vv0x2fawtm48v8k        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qa0gwy9yf2dfex42ztl2n6yrm4xll575lhqxp8z        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qa2qh6ettah6afe4kj3z8866m2g4vsfqe55my9n        BTC                   0.01600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qa2xkd3rlshl6chydmegtakukz6w6z7lc4jdpyw        BTC                   0.01600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qa3jv8ncsg9zfay9h9hx3zwuh4haepp6us4kjaq        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qa44u98kjj0cq0gmwkspaya6sdnpgm2r5j8a6lu        BTC                   0.01600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qa6290rvxvnkl8zajh7gwytuts0nps65yqea0y6        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qa64n2gvkapvz5n3g6dt5hr7wjvpjwgss3um9e2        BTC                   0.01600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qa69gdd9h7nzk4rj265xvrprvdmqp52hwtrn7hs        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qa7r5kr3ad4m38a0m2hcm3lmvlvs67w67ws8q4k        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qa8l2d3l896yt5p3r0a9r26tfz8p7dyjdcq4wlk        BTC                   0.01600000 2022-04-02 00:13:17   2022-04-02 00:13:17
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qaa4dlgetzx5zqn2qqs7e89052a0y77wcg2kty5        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qacj9q9hgt9d9fddtg67tfjzt60nwm637zkjany        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qacsnepddwnzrerfgzu6y25uh2af93dam5reed6        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qad4d7t466x6gmhe807jcayq5z9chc8wl7naxgh        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qada8ydau62efzyd8tkcweauc5h2nmfxfenmng2        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qaesesj8dvlg87am844jxrfzppsgaexasqcdwza        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qag42p66aq8mf547stfjyjx2gewlfp5y0d57p24        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qagfmerks0dprkwrl085xp5yr429qdutp8sw6yp        BTC                   0.01600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qahj4dw0uwmd5y7gyy5g872frhdme8dxyd3shz3        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qahky8f9tulq43gj4s829qhrx3fj98g73gfs0fd        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qahu8ufxaqv7p2y7hnra7ljfq445qheculmumdt        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qahzdqlk50t5ecn8q0jy4aq5r8r9l863ukav25z        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qajfehfyw84klrz0tk2hzcah0tj94uftgk30ddg        BTC                   0.01600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qajw8rllfqvpe85yxj4elj4uqw9atu40pjgesmg        BTC                   0.01600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qamaazfkpc3mktv9rxuq777vfgutz9296yj99gx        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qamfzyg3fswtw8zysgefg2xppmk9ppx64h5kw8q        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qamk04gmysc7k3pxs8rrh0dmsmw59vc42e2zwj5        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qanptvmv0p4sfz3ca8gajzsh364rhzf6l3px4f7        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qapf67r3dhuz3845sa6thkq2pxuvcepcc5r2k3q        BTC                   0.01600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qar0jxywc6lc3q0vwzrwclc4gadldg2lj9yul7r        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qar2vu7rnuanzufnnmzal6alnf68cv0r36qnmuh        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qateylf3sgj93qdc2z8ky74my96xgrlt4lq25f0        BTC                   0.01600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qatpq95ja3kzp3fgd8xjc68d844eydfjtpqszcd        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qau2l8d9459tkz0uav3na7lhvrfgduukhmgp95p        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qavghwvewvva3lxm83plj4tcwjn4gu6h3u239ny        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qay2z64yqt59gy2qjx857yjl255ywjaeqk32k2m        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qaztzz20n4u64hksg56v97urzguehw3m229d6zd        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qc078uf4cgut5qd69wsxptz5hvfphhyvr2s60d9        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qc38t4sn8j0mxezp8nwh03zxa24tmermafzeuhw        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qc3dzklhzqzp4qhgee7prc99x2h8vsghe83msne        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qc3vj0jddgqvhy8ax6jru245h9vwfn0hl0qeayc        BTC                   0.01600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qc3z99tvj00mc0rwacut85ukg2sddtlrdypsszn        BTC                   0.01600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qc4fgzysllcf0tyjr32qvxkptn6ygyr2qvlze34        BTC                   0.01600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qc658nyt705kdg7u5upjyels9lsqnqdhe5ryzmt        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qc7un8ug4n7r9j394s0ckaerjhdvpvtn2ue75cd        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qc7x52k0tg0ynrxjzvchkw2n0fgkstwcsh07930        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qc8qyxrdkdv9qqe408ktzk9psfwsf59z2nrl502        BTC                   0.01600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qc8tyg9er6gjvfe6yfeleps4p42494k7fd68qq3        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qc9hswfwjy37uew5ke952rt5jhwewvpx9fu74pl        BTC                   0.01600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qc9s6h7eadw2ykkrmvayng30sew2fcqrjd4qwe5        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qc9uhpe08c4kl7l5cu3lxnvqwyt4acrlksekjmd        BTC                   0.01600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qcc4d2paqxff5fjwjwg7h2u2n84x8zvrlgrvjfr        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qcc4s8nsyt2c4stpud4qdx3ndk4cvpd0x9p5qgk        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qccwudttxly08m23fy38dmgp6e9jdksjnqnz9vy        BTC                   0.01600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qcdegstvwjhaxsz2jau37z7zulqz3pecxqdp09t        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qcdtkzk6fvy5a5vh66hpfk83l9nqktkayar2vkq        BTC                   0.01600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qce4dant4rr5j5xdw9en4scze90n542x2v6g7q3        BTC                   0.01600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qcfnpptjav2xxhqufv867494fc7srx82axg2egh        BTC                   0.01600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qcjeaaqjzk5mf30u5rfcp495ck8m5vpgud73m4c        BTC                   0.01600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qcjys6k24cawnwn9lmr09lhles9dcz9plhrq5dv        BTC                   0.01600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qckspenvd3658ap3q7jqlhxcn3kl4r34pdnscrk        BTC                   0.01600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qcku4usknu57sefflme0gf54peatfrm3ect97td        BTC                   0.01600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qcl3wd5sdw289t7q4evaeg7tp547kr3cwkqqr3v        BTC                   0.01600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qclalpf4xc8e2yqjm2rq6g4pkdwwt4e49wgs9d8        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qclmh2jdpjl72vdy5sfp05falp7cm9pc6zdc7th        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qclx8x35wtm58xk7nl8tngk8r0d86q7fnae5n4y        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qcp9c0k2rzl7gfnx0ej44uph5avcxh2ktyjh0nt        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qcpc5c0napgh6d4twufq4y7qyas7sll2933d09v        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qcqtz5slk38r8ywghjzwzl79m5yn29mlsl85fy6        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qcrcdc395v7cdfkd75ddt7sq2dqzqf37jwck9a3        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qcssct8hufk5m4y2gzf52kgsqs7s2jnheytlxjz        BTC                   0.01600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qcsx6w4q0lhrkr9h5m8mht6mv6rrfer74nq9a3r        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qcsyxa53jjndr7y8tnekg2587pmucdku0s5nqzh        BTC                   0.01600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qctvw5lu498wsr6dzleudus4vz5emnut4c9r4vq        BTC                   0.01600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qcvsc2mq0vp0ra9ta99falvstyy04606ld6p9ea        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qcxrqlasg7uju6nr2e442mls5prf3g0akpeczd2        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qcxxlflnrvw8w8xqy0mhxd5dx59c84frcsumrl7        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qcydggmyfl3lryxp5zpdfx83t6rmzlz5ysry5wr        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qd04cp39fxmmp3zt5dyshsfgrxchcvmp6vhq3dx        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qd0596qw3m8ldruky9aeyl762372ppq66ha3vq5        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qd0c8xw0el0xn8ntarsaafrjzahh9rdmj422q43        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qd0gnzjsj5hu0r790lhtnevhvu782zv94e0q94e        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qd0xgxyttxc5ktgk6qfmy6s0kuu8lj3avrde5ps        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qd0zmly8cm7stkh2mv70g3aawfsxy8lqvm6s4ul        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qd555srq4qr2hgnxdsqle0r35vjs65h67va80es        BTC                   0.01600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qd5nupc0rm6p5juuwgeq67fzxv0nlm26qs36ukf        BTC                   0.01600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qd657mg3l355hxzuffhn95syhrps736svwdl4eh        BTC                   0.01600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qd690zzt7lthvwfmyasjz6a36nc92ga584n6962        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qd6fltumd3az9swam8zgvqhsyscsuc2tpef4ytq        BTC                   0.01600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qd7npc3knvyphxgjegjjafau74uqww3wr35gl79        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qd8ec2fe9ntje9asc7r9urr8ka9rzmf62f8a3qn        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qd8f7vedzu9jx723zv6u74jthh2vwwh934q3y8h        BTC                   0.01600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qd8qky75jj3gyv59jym0fzu9e6c7rrxj5vfwdgm        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qda5nrmml0cjf2cux4devmg42ma7v8k43m2e3xl        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qde44vmmwg9l476pggvutzq5282e4d3h3d603jj        BTC                   0.01600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qded8gr2qxpntx2d5ay9r90dkvg4wm9vz6mcy28        BTC                   0.01600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qdekuxd3qpmxxuh8h2wsu3d6swemcuml4qgrydn        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qdh8esu4tj0cgj3xxfs8fu252tlwsk7kzx7amen        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qdhm4jugmxg5dtf27t09yj5gm2slvue953khg82        BTC                   0.01600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qdjdnc4zjrqeqvwscreadrnd6nlz4t3cfxvadl6        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qdlnulg0hg6e83284wnp2pav560vpt6237n7lvg        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qdm7plka30ge4ue0nj5tfpyy94fv5rxsqvkjw72        BTC                   0.01600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qdp6at0sut0fusmpz8zdf5xedyefrjzn099enhr        BTC                   0.01600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qdql935dvtx3y69fhmx6l4l6ej5r2u33k5mz0nm        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qdruvl6mnyw65mhs96s20jejyzsdq9gkj4u5y7w        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qdsasdezrgqc6vzcvvt7w22h36kx7hc0x2t5sn5        BTC                   0.01600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qdt0w9c8jj4yqr7rvd2seq5lnztg5wz0678xcq9        BTC                   0.01600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qdtqgq6ac5c7ppjgyqt347e9l0hk76qvgu4mfuw        BTC                   0.01600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qdu707zg2mh8xf73r9dyfh95fnjfrr00e3hvj9c        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qdv9pgsadhx97k7qndk6hnpxk5namxausan2g7u        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qdvwzd3fs98t5y2dt963g8vtf50t269rcvg78rh        BTC                   0.01600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qdw8n2x68wfvxwt4hud3j9nv438dncjlac3ehad        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qdyd9a7uur4rmq3ral0egl7adxtaujgtn4mx66t        BTC                   0.01600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qdz7d68uucsslr8ymqvj76txyxtjdzzlpnjku4t        BTC                   0.01600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qdzzfu9llzm6x7uxhjfgnhkzmlhmjq3c73tu8dr        BTC                   0.01600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qe248tc49ly0xwfm9f32rut27cgpa5ljffu2aat        BTC                   0.01600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qe2ae3psg2qlvhcjj9jhshrxwf3936hjyx98d0j        BTC                   0.01600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qe3f3fen7udzddktr3wn2s73gqu728eaqtaryuc        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qe5cveqxgxqtat60gsg8qnry0njdcsuuwanetfq        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qe6dl8wed0hht7l4ma0ne2kpcy2en6yy9d3ver9        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qe7agumefkg0t0wg8nt23qswtt35wxcscuvm5f7        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qe7rf4x3l5slwx2dggvgf33jq84ry0cux2elmvl        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qe86rzsz9dj24yf4er7z7nrzlq0ff5lnlun5tzt        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qe8qsu2l5ad7pr5qp55a3klvk529t9339yl8ut4        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qea7gfdx644maxzguc75pwv26yjcn2uc836q4k7        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qeauzqv7avupw2lnc2h6zrazpzj2e6um3z3eq47        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qeaxe744kppug9rzas36dvhl6a3u6zywj3ymj0j        BTC                   0.01600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qeaztl4da7rsyrnehuln4vup80r9rfl3r36dqfd        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qecgkkrdu205gcrazdne609ssslexchmqknc99v        BTC                   0.01600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qecz9qy7hlyqjn3kw3n0d5pclwv9w6sk0rm0qwc        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qee7gllu7gznf90acluhx3l8zxwl3ke7t2jrlxw        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qef82wfxf6z8tvvlwr2mzqwxr546fvxg5jfuhes        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qejxzgq07sac5n9wdry28fl7lteu0jdz8hsjt4s        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qek3twhgux6g77gwvthlh2syv8fgqdxssl48jm5        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qekrpl4czctc6xleaqa5wmvczp2l8jj2pe8xltd        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qemergggeevq82gwph6fngfzyucvt9a9f8w88yy        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qen4lrl5nnll6ee39n70rt2k43awqkt383m6m7t        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qep4lrh8hfsr35tvt5038ujmsxa9sj8r46m6usx        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qep5805x03tmez60acz3hsdzw6gvgmukz2qnavz        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qepxmuyvc2fsdg9rkmwl4f9thk6g0t3k3x55j85        BTC                   0.01600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qeqn0k49zjdh7td46lq8ca8j68mw3ka2pjwqc9v        BTC                   0.01600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qeqy4gxwjnjt8zfvlh6kfq8gsfgs7qsch0v5c9d        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qer25cmsdld2slns9pv4h2efjerzywdjxemyaf0        BTC                   0.01600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qercux7vsjn9hzdw4cp686n8n07clphdu035js4        BTC                   0.01600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qeu8xshkv2gwln5tkml7v85kwt9e2k5rw4ckj6c        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qeuhfvxnl6syqqszymv6qtthmakwwqpu74fent2        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qey6sag2tann8mxdh4mgu8xja7kea2n4wnkw8u6        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qey9a2t977wm872qljfxxhpwf689cenp4j5hm9c        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qey9lyyt2les5j3g28h6tpge0jfgxm9jmde4meu        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qeya2wn8un2j983zr6u88nv2ad73cqstcw966dw        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qezamjscsqu0x7pwl3xmuspc4m6dccnlygfcxxq        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qezjcapakngvdn050l69qx0q2v5d4fja980jphm        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qf3e5spwmujamw64vte92rympzn6faexwcfyu0k        BTC                   0.01600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qf69t5tslsx33eex54lsa2946fusjxwcy8qux59        BTC                   0.01600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qf6v25qjlkt7va3lqmkyy5yeszmly8sfquye9mt        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 515 of
                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qf9j78rrxvj3r5a073lxd3dgfq3jl2j3d4m2tcy        BTC                   0.01600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qfa28cheamdvna8v6lw53ldxfm9njmlv0xq6ufr        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qfcnnnexv52z68uvs4rslwnm3pwqkgc3uf7dz8r        BTC                   0.01600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qfdzmtqvsv80sfy9hn7p0qdgmgr33pm8s5f3489        BTC                   0.01600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qfez3e2vd73crjlqaw52t5twhsczz5j9czegpky        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qffgs2nl03csg43hhg0hgg3u5g4m6mc3cg52ywv        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qffs4ezlle5dt4dvdrm2t7lc236px84kal6zum8        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qfgvtkdexksswpdjkas2wne0anxd9y27llqadte        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qfhgg68jp436qka5778ngylq6h4mwtqyv43lu7u        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qfhkstqzpuuya7ju9a296r7r8t7493e7nawvxqz        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qfjcptk0y7g9a5z297kawpaqtmf9q8nnj2w6tf5        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qfk32dvglcamakus2p25h5jv5ld05zwhuzl5k44        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qfkg7yw8jxuxam7k0vaa99j2zjc0eu2srg39kgs        BTC                   0.01600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qfktg0dk2eftw8zhfv7gky6elcjglu60vfk3mne        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qflpppx0s6luuzerazpefdpc8yxwjserlmpgcvc        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qfmp636ctlyzyqgjjdj0aaz30kdxy9xrz5uuhef        BTC                   0.01600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qfmw4yuedg5lf0uf405wwt526dtptkgt33mz25c        BTC                   0.01600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qfnv8p97pajm862fjm87mt6wqwu6fyh9xa6fun0        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qfrdgrr37dvgxkuakgeuw3zll90fqkl5fqjhu0n        BTC                   0.01600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qft6ycv56kcwl5l9fsdjxezek8xu6a05hycql2g        BTC                   0.01600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qfu2zv4jx8n3muuqq550cxm42y38g5fhd9e4k9v        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qfuskpn50achvfmd748yxxmez58t3r0uvgflx68        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qfvwq00wfhf0mpfff4rng44tanugr02jj8dewts        BTC                   0.01600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qfw055dwvenyhd6h2hegedk5s5uyxadh6knsqv9        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qfwmmjcgg9zhmuwfhvh4nhmvs3cdest5df7vcx4        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qfxvxnp3g8nnttn0cy54wsccuy9dytw7rxfa3u3        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qfy5vgc2jrfx0wp3s9swryqyjv46rcg5zdg3dc3        BTC                   0.01600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qg2rqpcktgcxp355zhkhs23s87f0acwlc58rzsf        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qg3us08nt67npc8w7gdz7mzf226auzw27z5z9ma        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 516 of
                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qg7c2gn5rpyfw4myrycmlcswjdcl3slfp7n2a8s        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qga7wuf4uq5tw8r9j837t7g259390p003afdtkx        BTC                   0.01600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qgaj3p777ykfwkrcp4q63jda7fa69uk66wft24p        BTC                   0.01600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qgc3e96md7yd3gpcwy70zxau0xs3wumttlamhh5        BTC                   0.01600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qgc7nrdvhrm5d2y2l0p9hf4l802w9c86dnp7uh8        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qgedqp0z4kt36l54uqjmuxppruvkmcey3dw6nml        BTC                   0.01600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qgej2rlm8yczvj8zeh6zp52kvvlytfdc2ucw6mh        BTC                   0.01600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qggl6dhmmapuz4ayav2m2rdhuadz53gkkded7d8        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qggm46tx9tc6dqje8705dcrj5u22u7v895vfs4y        BTC                   0.01600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qgh4z0u2fsw3sjp5v939d0nu6pt5xfpun0lp4tz        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qgluffqx86jp7gelvw8xtq9khqn4z7v5kmf00g8        BTC                   0.01600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qgmfnamdm76zkv0lejmngdrmfjlca49ugtfhapv        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qgn0hwn2ac8mxdudqzc3xmq2lrshlrnr49guyl3        BTC                   0.01600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qgnws9pdzt076u64894uap85kglr7ygtycyuug6        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qgnxzmxgm6h20spswa2sl974xy2sv8q0vdyv599        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qgphsf46lr0jjjc3j2knpyaucews54lsxwfuq2e        BTC                   0.01600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qgpjxscauuv3286v400zdcawj5tehhah9sqmr7f        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qgqsltr6jqfj8la6lc3p8n0agu6m7hpwc4p5wjj        BTC                   0.01600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qgr7gr78mygdnt0vs60st4mqa6ezzavz0zursv2        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qgrd8upkv6nr83rq43hynwwephy9xxd2h45r0kh        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qgs0ueukf7kcq5xwqvu4f4nncz2cv8nlsfc8c82        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qgt6w68255tm3mqs08xnz8427l2pr6xzrrfv95l        BTC                   0.01600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qgts3ldseree5p5d7qnyddl9fkasa7hyjwtufly        BTC                   0.01600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qguuus9lkfe7qf3mnxy8e79yyt8seacy8yad4d4        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qgxwefeppczgghgzydquk054esjxjxz3k5356lw        BTC                   0.01600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qgxygey2z732yk4kaz5tr6c5c02mzuzf6435ua2        BTC                   0.01600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qgzcx5xv68trezrcccp025tctne9n3u2xwt00x2        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qgzy5hwwzqf6rzjdhf49rvcnp2757wrh0pcz9x2        BTC                   0.01600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qh28utt2w6hee03l5fzpua6vlxq0uydru0aaa68        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qh2ddzguxqpgaxn2r0ufce5h68qm7ughn82c837        BTC                   0.01600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qh2q8c7efj68m09gvmqm8kfky62z8a0nvc6k4vq        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qh3jmtyzzzpq3t2gdgl7f4ttvmd0lh9yf3vwcje        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qh4gf9je6wmk4suq62n80h5tw7wawjxt6l9nhnv        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qh4h5se4ys8k43yv4g6fn5syx2r663ry6yq9s9l        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qh5f9v4xmadek9k7q66fj5lvcwnncp7z7fyttkj        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qh7e2uz28ar277al9zre69upehvy6mf02pjxf6x        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qh7tltswwd35v37c3kmgfqjuwq9ccy4wsmwh0vv        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qh8mk97ux7wewxm3vsvm4379detupcmvavv5lp7        BTC                   0.01600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qh8v5wmw5pztdvjsx3n3cajrmm2lus8267z9f0g        BTC                   0.01600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qhdqkwphqgwdjva5n24ynv6dzqvjewcmtc72f63        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qhdzjdjzzs6097p8rhclr4zgyjaut7e4z8fqsav        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qhglc5t33wv9mwm6tcfxv06z5u3l9hd34jdv6qv        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qhj5akpmaju0ysurpnj8mwyshd63hxwq752a02r        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qhjgp7eajgzuqdvctrffrqjlq3d6aatsxkeapr4        BTC                   0.01600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qhjhqag2xfvtgwq5n6wv7n4473hzhkq3dfzwl88        BTC                   0.01600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qhjzcqwjfsxa0ht5t73ru52fef762tk5pd0nvmp        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qhlysaljkdg27q7p0l8jdn6mvva74lnu9hdq2j7        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qhm2uk2c6xsr0e09ztvfdl53v98ujqgszkfygjm        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qhq5vxcw4hj75jkryqkx0g64gqj0h9ps372y3my        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qhqgz38kz3wkjje3339u54zjmy7tapsvk0kaqsz        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qhryg67lwxnp4dsqldtu2cmjq3g7evc2mv3hkjv        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qht5h9f9wv9pg9skhnswr48q9xajurlq8cyj32k        BTC                   0.01600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qhvcee9epfcwk6gpm9nwhjev2gfu3lem784f5sk        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qhwtxz7ezy6a4jvx5u4hzhs9q8wj2a263cj8sjs        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qj274ujd3k748pqza9uyhf8egl62jgyvac3rcxw        BTC                   0.01600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qj2h5j3rs73j2a0u9pp3cdcx4qrjt7eqx99g4rj        BTC                   0.01600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qj362u664lnf6equhjz7fvgft2lcetyzeft9lj0        BTC                   0.01600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qj4825fsvahynxe7epaj2lrk3wz66slpl0uyepm        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qj4hrt7ef83vuz2cfc6z992fszkuve0gg2xq00v        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qj5axjya6s6y4u2ztvh36e8xxm8u8eu4ufjkng6        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qj772x9px86u82k3yw8vkq7s2dpkhpfngl9lxdr        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qj7fmhjm4fl4vg9vcequapwh2aurnpc3kgpf73v        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qj8g994ja7e9369uad2gl0rjfekxfd4xlj3fs2y        BTC                   0.01600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qj8zwey56sj2uvn6ycwc77j3cue8ve97vn6tdl0        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qjam3s6k5dt59hg8et2csth2dpfeh26vwrvz3wz        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qjclwwgafk4gjf84thlnwxj6kzna77epwkzj8fl        BTC                   0.01600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qjefn9wl2wcqrl0ruzl8f3p8axwxv5xpkc8tpvk        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qjfxqsytujdz6798mpa82793e9wu05f97uv9q8s        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qjgtzavg94szk54kemml4x2wmmvqzc27jwtmprw        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qjhwxr7dnkdd4le3whf8adp3jffplr20e0jr6q5        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qjj4zuc52znh56drkf6qqe949wkutx7thmka5fe        BTC                   0.01600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qjj6s5eft0vafalmwrw32fxal53d3krwqlfg6m5        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qjk7yarlanrpm7lvwe4rat0whj9tgwe39gmfkvq        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qjkfh7l98pcgdv5zxz6rwe44z2yqx60uvs5hw7j        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qjmgm50uhl4lua0m34f74hx3pag4dt09car4epn        BTC                   0.01600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qjnd0gy3fzq69q49kml7meg52tz3gusefs2qjf5        BTC                   0.01600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qjnyukrcqaw6968fhyu2n67gmd4dypexwr2ppma        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qjpev0mykyt6054zasly8cv3ednv56q98xc5lyy        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qjqpu05l3vp9jrcjqynzvg5mppv2qfwwkwcf32d        BTC                   0.01600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qjqrv2r645ggkvwjvnkexsq6xz8mljy05ry9lrk        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qjqzcqjex4ev3xktkvrrsqfaul0e4nuz67mca4h        BTC                   0.01600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qjr3zrzzauhjraqust52n8vvx5cxx6k2wn5r9y7        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qjrht3cxlnch5tjmjqd7sg0sczqd78mx2rl790z        BTC                   0.01600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qjsf3w0vecvkamwn5pvlqv02jyvfndkmz2xvkap        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qjw5mxxgk64gdewvp7ekqrlphfr2u4z6hfmugk7        BTC                   0.01600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qjz67p3h628tqtx56u8y8lzl6q7vlr3qjv0p9cm        BTC                   0.01600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qjzdf9yw0mfcfvx92c4plf5dxn68c50l0del4ql        BTC                   0.01600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 519 of
                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qjzjnxh9eqtuc0axwsyswgsq0ew79t88zh0hgpp        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qk006xuf3dk2nzf37c0p09hv3qk5jpzgdfum230        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qk09cxdtq2a0wncch83qqurn864n6xvnhc7245c        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qk3a6c9luh2y7srk2xz52m8cgmymw3aph2njpzm        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qk4twfszh9a5sj5vmdnrejr5mly8fcrxm94v8k8        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qk5yjmhxp6h6k7lv3g3eu69qtupw953jc45y7f2        BTC                   0.01600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qk5ysgyk3n7qnplr9cc4wn25dwqlshn4vfnv9dj        BTC                   0.01600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qk625x4nah9m55ys3r3h90l7v5xnm5nmhugkarf        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qk73htwc07nmgp9rpvl58fs857k8r85nauk4ckv        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qk9ztquw4mew72v7hnkx3ja7w4g4y9ltetf79jj        BTC                   0.01600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qkahxzatc0xappldr0kt8ejgzdx0ez37geuqy9r        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qke5ddd06lpsgk3h59smfdpdywyluh6e8fhhlyp        BTC                   0.01600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qkevn7hqxu4hhs054zyuvywx4xzjzqx2tgu8p82        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qkf8q0kauvm982may2jnf3rwzdslh7m7grvvdcc        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qkgqthhhju8phrxf9rhenrf073g9e5evvg4j2fy        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qkh02tj4yz0rexm453n2l4djv2v8dqvap8edf3c        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qkh4fqr26n69l2h392avmv0ll5gmfweyn7rhqz6        BTC                   0.01600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qkhxkzmga2uw9sz5zvxarctqscvzg569qe0g6ng        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qkjdnqu3l9uu9l83cv5g74hr5jj3qw2cxuh9mgv        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qklsf8glphej6m7zuefxchxqqaxxcygphet55ux        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qksm8xd3attpwqvypk8tpyu4xtplf5gkyxzyrgl        BTC                   0.01600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qkswzqx59zrlvs7tmcnjvg6td74c36wpg4gjw5k        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qksx8vphqw0uwau46xwphrulv80jmtvn322w4c8        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qkt683vrefw9y6gg6d86zz2gjhkupd837rw2cv9        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qkt68555fs7un7yhwevumwj3ml5nmdmfaws0p66        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qkuu06g08jteqzsc9maaxr0h062pn6j0cd7f6ax        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qkwf7y063wvecsuxv0hlufrnc7g3fr6r6kh2gca        BTC                   0.01600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qkwfeygv252ndgfh0yyhxyxq2chd43te9qxl36t        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qkwrvsrqyhwlytnc6gjnv04kezmugktwcacwwwc        BTC                   0.01600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 520 of
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qkwux5ryrm3e4vl35xg7ukfflzl8vw4jg9fjew2        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qkx7z030agk6t7suc6vmwgxgcef2gh2k52varm2        BTC                   0.01600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qkxpzussu3srervuyg4h4784v5qhu7ev5nsf4hu        BTC                   0.01600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qkxw6alze53pxs9pzmk9pt5hra53354pexsyn9l        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qkzfpvs9ttrgamasqnh9jn4wt8c7wzkkwnzfppl        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1ql2tshh3w3nqlwg0tncckyq5tszdf9vusfpqaln        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1ql324s4fq935p6v3j27e28ecdd5eu53l6mpwjjj        BTC                   0.01600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1ql4wfkt2vzcpznlr9lm5r02m2pphd3t2ggg654n        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1ql5kr63dley0d8pv87w8sptj39xc7jmpjp4l4lm        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1ql663p4jc29fmagjltu7fav9827dzkshvv9p6qq        BTC                   0.01600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1ql6emgs6g30dyhnzuv8na2zq2ny32p5dmtkvqp4        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1ql6vm3w6rk9wjzvnrxqly555mkrfesdlvspgufx        BTC                   0.01600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1ql7tzfhxl4q4j9rgaetfqzrcxwlkwks55cuevfz        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1ql86pmt6a80aj67kc8acddkqauctt4k946v67xg        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1ql8rkft3p5kcuy87wqfc7p604zqshzhdqscxffd        BTC                   0.01600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1ql9axuzz9chz6kwqva44ceutu3x9gtsnlurex5f        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1ql9fgae5d4r0lthswkw5rxjf6nwrmwqp90yjf4c        BTC                   0.01600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1ql9gstjh9jfwtm3gv5zlwzz9yq7f6hm9shhmruc        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qlacuxxc4vme9mflfse2mxs630ur4rh89em7z8d        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qlarn5tc9kfms30s3fe2le39rfpw3zjsqadl46x        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qlcspq6ehh0xt3wmyg9ettgscnwn2aufhyhs6dz        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qld62yqvqr38j2c8jf5ks4tsnvs03cj30hr07a8        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qldnjtqsgx84cxfjvzzjjrg96s9hcxr33vu3yy9        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qlf2vd7z36ec90udpqzkz4jpa3fp226xh7kdlmn        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qlf72m5pka96054kwpqr3mwxukzynhnwrmtjkcq        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qlgnk62t9y6wp99plpyfmvme9qsw478km6jtfcp        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qlj26ndnukna288y09qunrlyxekqq5ux7kx60qd        BTC                   0.01600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qlj9tj8nmuh3w2r9tmsmdzmkcuvjk7jxan8lwky        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qlkam4jqxnmuclajhu597ty7jd39j4x6h6p08t0        BTC                   0.01600000 2022-04-03 00:30:02   2022-04-03 00:30:02
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qlkwh0zlzjj7847q4pq308x0mvl5ycqjgmg8ylr        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qll6y3hdu33jpzm48setjy0hv5xqmytzyswhvhn        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qlq2y27swwqzh0ev4qums0em9t96apy93fvr5p5        BTC                   0.01600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qls6r9uv5xa87n94rx42lecn7jx7kv3f00p8v87        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qlszyk7l0pmaw8yh5fympa4n59xfmwxg5j9vhe6        BTC                   0.01600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qlt9t0j8mxadtp7zeleg4csgu02tuk4su92f7kz        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qlunkkq8uddmjtp36zxrqh8d4lgqywn2ag3a7y0        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qlw7stnfqcvwzrl7mzu76g0y4476433cfw38ewh        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qlx393c7drrp4e0xwcvll6m9ckr9kcz6yd9fcwt        BTC                   0.01600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qlxp7xw6snkxg2anu4y7wh03fahecukhzwncn46        BTC                   0.01600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qlxtt562628599ng8u8666qk5afhzst4u8d9jrn        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qlzqq7x42gz95fvvgty3aqjgz3vdnjzg00kzhe0        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qm02fnxx5httnyahuekahjhdkqwmpq07zavxtz3        BTC                   0.01600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qm2an9ac4nfwmypmxvpj5cgdthvy9dsehvl5z0e        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qm2sge20adh67h2e4rruedrg2k6v5x5xpakf7m8        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qm4684wxqyywnp0qxts5a3a8hd5h9n8rmq97xe8        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qm5gqldl99dc9lsf6ca6vj3zdkfdk9jnr397r64        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qm5z0dxgw3c7cp39cak2s6mdyz524zy2t6rvcqv        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qm6uq8xc6e07hr627zp06lhuv7pc382uqn3r768        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qm7z45zjav7l9a8n6m0vg9cf4xyv2jppdurke3z        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qma0nf87d2r4087c89cmj4lydcgn7emt5zg9u4j        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qmc4nju0nctzfped4ygv986gymz2rcvnnve6ssh        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qmcmhlwfn6mnpy6hf544uk7c3rkdd9xygxcdclf        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qmcqp24v4fy8ntdg46rquk8wzxkv04gfvvgk6zm        BTC                   0.01600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qme737lwk3mtrms20tlmgjeu853p0v20d587xlm        BTC                   0.01600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qmgkzmkm43kaksf8z76nzkjcns77prg5um68f6j        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qmkxwtj9h3ajay47tek3ceaa5m64sfgtpjnvnt7        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qmmv7hdnq45pvgm5hgzpk9sdpzpx0ylk4q89e5w        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qmp2tsshhtdhg9hjzqyjzkck30r5r38lps9mhv7        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qmpaddwjpkps2tnnh77dve53cp6hgc09nq0g8c5        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qmqx76uyk5wyxrlja6xnad8c4ru7hny7pewsyng        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qmrkh66ztdkg2e53j8x5a0flwwpe2ft4p73ups3        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qmrr2gwrgwx5ajxes20hr0pfxagfdxw3x3pgflt        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qms4rl3nx7nq874cp05rykvrv8mut2cf7rrrfy2        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qmsaq9kgwyu29awq4rxvgaldkrxzgu83952swuz        BTC                   0.01600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qmsd2y5dqrl93l92gtclmgzyer8ga4v3tqjg6y7        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qmsszsa3laq8qkqh54uexxvyk840emnqmnzc2ar        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qmuemak26m2jwn4nr2ek2k3pf9utfdqkurhhyzg        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qmupk50sc0nurt9ejkt0jw37zfe0jn6e8gx3w4g        BTC                   0.01600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qmvccpjkh6406aya4hfn9dc95exva0du2chv264        BTC                   0.01600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qmvp52ryncq3l0lpyzr0mrlna323qav5q4r29j7        BTC                   0.01600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qmw7e04460nk6wlp4cgyczgavlmc2etrflrgcu5        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qmweg64l8fngrcwe8ktprkn3tym9pl4gyqh4as4        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qmxm9npdwxphj6plarcx9f7tyfjdzfj5mjh6xza        BTC                   0.01600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qmyvkz8890y703m4zmhm8dv9h45gdqwpmpqggy4        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qmzecwtjkyfu5fckfcxfyhd2rz9798fjexssdmx        BTC                   0.01600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qn00fztyqspc63lkhkld339r34xpz99vd0zvu24        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qn0rkr3j62lh2gv7p3a9x8fj3nft4raltmh0jxx        BTC                   0.01600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qn0sg8lczhaumxqdh8e62g8ds47krc60mhgfwuq        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qn0zqeydaeqqk5jdwenvt54q06n74nvu83920cl        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qn22l3fq3cfwc4j8mg934gwf0wvpgwzgxc9sqnl        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qn292kjc6sqg7vr87el9dsrnmjt7fkt9fhf32hz        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qn34xfasksxx03u8g0kgjsyp2m5r24vqyxdcxvv        BTC                   0.01600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qn4nz38nzcp03gpr92lhgaj8amjk8y2cpsqmx2c        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qn5hqmsh8yy7szkxvl29pyr4gxy7jrzh76055u4        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qn5t85af6rsztr2rtk52tvuhq9l0dz6p9260vxp        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qn7h0d7t3cj4yuu4vc9jzafg3km5uf9mv3k0e5f        BTC                   0.01600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qn83cznxmwtx02rw7lmej0x0g05wfdj0kka5rh2        BTC                   0.01600000 2022-04-04 22:51:20   2022-04-04 22:51:20
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qn8j35yk56saddp0gmyee3a26t9kmp9pl4k520v        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qn930r4m7ujcavcasz6q4g8r2u62k5v2umaxfkd        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qncsw0r0lqf87zz788qgfl6mtlpyr63j3czz43u        BTC                   0.01600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qne3p9rmsrqvxehkwlwvkqsy74x6jn7gw0cgtee        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qne8anmj69d6lzpnax75xuukp596jn2xyadj6le        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qneesake00q6a3z6zhlqds5yc9tmdlrl9yhfew3        BTC                   0.01600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qnhulyc8erpqlyxtpk4ws09qjqe44lzn2tth8gs        BTC                   0.01600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qnj7r7sylgcljd4nn4ydmrtzzfy5zqsu9f0l0hv        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qnjjrrc7p44hajczlk9wjtj5009utsqkdprktzh        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qnkdm0jmfn4pk9zyfxvs90r72mfex2jxdq3wcgu        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qnlm3fgqq6t0rdds5lrgx6msgwd40trxy7v5332        BTC                   0.01600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qnlmp4u9xkv7htymtvl35578apavsez3zhhmwvu        BTC                   0.01600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qnmm79sw9wge8m6uczyrppd74kdd46ztd4j37fs        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qnp0uzn8xyfch283rpxz93wtrrzwsg420yyxa0f        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qnqhrjasy9nqga8ufd9z5l2e4c6l5v0vclrs05t        BTC                   0.01600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qnqw97elevwfq2334vkewu3x7yy04sxukyzgs0s        BTC                   0.01600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qns0he0rjax8qfv6aypz8enz75kcdnkwst6g4gz        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qntzuhs3lvptsed7jy8tcr4a55gedz48z3ad2q0        BTC                   0.01600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qnva77gk2d9keztpz6ecxla3ft5qlyvhvdfrndw        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qnzutencw06vyylf8nx68fejezxx5stjg6vyznw        BTC                   0.01600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qnzywkqvsy67ncwxcfmvq0p27enuf3c7vjgw90u        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qp0hl7a5fx6wp5zy4e5krar02p5ljd4frdh2p6s        BTC                   0.01600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qp0kzfhpayw8zp2ys96j07q4fruahsumsn0k2u0        BTC                   0.01600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qp0v5a7fqsec38yfxv26a29740rdacahl7lp8un        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qp0vazzttrxwyswpvd7f3cnthxcmrrujnxy55ng        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qp0xzces23k3aa56vjumknhjzdtn3ea3jquh92j        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qp28xsv5zyk4wuak69n4gw5sfg9g8deceq7kkc5        BTC                   0.01600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qp38ch7f4ggjy9w67dyh6j6kup8lytxs880mh9v        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qp39tt2ggmcxaxtgkeya7d2nssduq0pyyupky8e        BTC                   0.01600000 2022-04-03 22:35:17   2022-04-03 22:35:17
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qp3pu0r6e6dy5ms2vggqd2hpy4uursjde0awtaj        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qp5k4kufdhxmteqlk6mkrfsx0x24nwagguatskl        BTC                   0.01600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qp5swnygaasvs39qnpjq59m5tvrnv0ed359n4pl        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qp5u8mtsprqyx0lffpzntetwpp79gpkqs75k6uf        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qp5wvy7akrnv4qnal4s4dlzfhzu50d8lwe7myxh        BTC                   0.01600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qp62jacdwzc0pmhguzhpxj8mfpwf08e8cjfy4nd        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qp65x46na6xyyy770n66tuyx6lkv796xjl4f4nq        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qp80ewa9s7zkhk4kuurwe7639l64avraxptfsnl        BTC                   0.01600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qp89fyc4ny0xcqq67h74frh3cq6xrf58ft00km8        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qp94ss5273enqlptkqkx83z64wudl77elp8nlqe        BTC                   0.01600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qp9zmecnkv3g7pufjxdnk0vglctfpy8dsc2lcma        BTC                   0.01600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qpavcuqgz8ghqadhrte2zxdug542awg0hsc6wdd        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qpcys9llfk8zdjslq29p2rmucfgg4u6ykv3nedk        BTC                   0.01600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qpd5zazywsu7750deetxvwk94qgzarcpq56fvr2        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qpfa57sqxgxr84lfmw4lsuswrjsm060m7xc9spp        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qpfsdrmjdyakmzf2zqjsclgvwxcn65sjpy0f7zp        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qpgglsddyfz8f7tdch9f7f4px5n0x6nfp662vwk        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qph40hqywrj3cwlh5v0gxls0q6v2drj26ldjnxc        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qpjwsg4pxyl4jdzq4wd4w94fjfm9pnm04ux7tac        BTC                   0.01600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qpk7399pkyt9hmm9a9w8kz28heny5ullcmkqzjf        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qpkhjzeul4ecp73zfwm5yp5c4lwhgtrg8s7ln4a        BTC                   0.01600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qpklc653dvrexzhj5unsy9zcmlwu5r8fnkkagyn        BTC                   0.01600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qpkrzv0wfg2yqate6zaa00du8mstp2547g9wuu5        BTC                   0.01600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qplz2f25gn0r99csjgpnepd5gx2ksdf5dpm97ua        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qpp48gjrktez62msed9fm3du3c8csmh3ua42n9z        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qpqq9cwjx5aysd0kq5wn8uwl84atdtaa8997nl9        BTC                   0.01600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qpqwwyhkrqxr9vnxmugsclq4ul5pqk9fju8y339        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qpr0rla97skf2zknepqv2jr43f29grz88xhtrn8        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qprhn8t4xe9g7lswzk00jn9ly5ya5yuu0x3sc7l        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qpussc0h7kdd62y4jg7mhu72l385ushn5vwf4qa        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qpvhxsqfyypxvwpm79rucq9hmh50qd57epwu5t8        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qpx2f6ukpcu0vh2csgkx90t4n8f5n7axtjr0845        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qpxeqp8tg5l547r6g8w965j2qwgswkhxyexpwlm        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qpxlfwe8yufe9xvuryegq8e8k0hxfqq939ggrwy        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qpy060lwuhekyn2mr8cl58uucurdfv5kgs7mkt5        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qpypate982ggv6z26t8mklqm4g3qqk4wgf4zgq7        BTC                   0.01600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qpzm5kf09t5lgjfl54c8w6efk35qmrn6jv398pu        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qq0p5jq8qheyemyxqr0lzy05ca5cj9ku9wk0w8u        BTC                   0.01600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qq2fq79n0sdskxng28hs9dj6uzg3kjm8z6ql4q7        BTC                   0.01600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qq5h5s7ne50ugvvdnv00l5zhfqx0zghvmlxgggq        BTC                   0.01600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qq66q0u6crlhy7nsrd92r95zlcjekkgc24yr55q        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qq7gl86luqgsdcer7avnpv89c9flx2zrndmprnd        BTC                   0.01600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qq7n883m2alw9wrvmv0x88ttwl344erhrlf9306        BTC                   0.01600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qq8p68wlhlc263l5k3eu3w0ej4r692u2ha2u0d6        BTC                   0.01600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qqagv4mwsrktaucmpk730dv6zlx7h80fqv9r9na        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qqe50wyt467xsh2vv354vclvfwa7z8r9t9ugxmz        BTC                   0.01600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qqewattcnrnrk5w46w9gsyu9lqujgqmkkjfl0gt        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qqf4e704jv8ux88qtf9ywc5d8p6nk4es8yr8r6y        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qqfnun9t90mj6q9d4c3t8d27zl4wugngnykm86r        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qqfuhgwwuxks7zlgwft9r0chlv58cxes9l7lqcs        BTC                   0.01600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qqgxvdzslfv8vghhyss5x5pfj8hl4tege6ah5r4        BTC                   0.01600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qqjchcjeshn62640qra7t37agrdzej9ae52p7qp        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qqjjxxm50txxe3nsdpl66625uhl6g93tv3g256w        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qqju8x5ej5rdghlk6nvnrqteydtw7fkkkfsr3qd        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qqjz68kdm76fz5wpg2ygyjp3yrt5kjuwmlu9u8y        BTC                   0.01600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qqk4xvzfxwvln4cswse758ss5e4the7a9v8dlmm        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qqkx5nrmrw7y9sjzyuy566j98e2g7dr64277mad        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qqnkpawjtaqnp2ccytmd0x2je4hscdzwy9u0055        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qqplqugpvnhpjjlsx6uuc9uq6r9mvqqqtl7yn3y        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qqpw57yu3gmujugvkj5rfs0aumxcx5p78n2wlkh        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qqtjxrdpuyhs7qcttph9tlc5jewh253a5a68ynh        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qquf9gz5pv5v0nlp6nvj02r8xzkl0uzy76t4rh5        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qqwnal70pcggqswagav0kfl3tmlhnspgxrz3zhx        BTC                   0.01600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qqwvdc6cprexpdnxjrejmjuad82pnpkzm49vx5h        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qqwz8v406e0k5ajjrzwrzxgu9whfv8nv5p8hkah        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qr00dmz0tfj9ra2p984tugy64efexdjj8xsvyve        BTC                   0.01600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qr0lh6nn80ncde6ftn4a5tu32z7tmqxx80lzpkf        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qr2ldx98ahyzal0m4zgyhvztp80j8wtr5t8l8dt        BTC                   0.01600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qr4cr2eg8jpkc95ag5dwkxk3kcd77p9myvgy7g7        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qr4q3q3k7p5zerqcyycr5yhhnk0twhpygexyhg9        BTC                   0.01600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qr673jv7yqe3tcqkqp3l8y7wcfpkkj5gylzvjxl        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qr6fffgtmsug8vcycrjt7x3dphevyhace4y0cg8        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qr7njrl9rnfxrk3l849gz76mrk8dsqwpnrmtqzg        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qr9ha47g9enpdvv5tl4xzkejkszdc5mvzf5tnxz        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qrc9h3vprsgxq35z7gsmykgnnf4k6u4e859tl8h        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qrdwzzt8y6l5fr5q38g9r52s0w9wjmapnarp3jn        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qrf68l0l6yvqejms8s8s2ndykrsl0r2w9tx5e9u        BTC                   0.01600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qrflf2fmnd3zvhx5tspfvr73lcx8gdcevv76hu4        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qrgzkg0ltu3mxazv5mw8d588750k6cy23dsg0mm        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qrh04q9un6vjgzd74mmdan756vgfggvh2lwu43g        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qrhhwluxu0ygeupfjchr9a5jtnjcfwquglrmcux        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qrj5k8h0keedn2nz7zlcfyj9at9m2s6p3ux28pt        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qrjtphfdfsl06c35jtx0rhg4jujhje4ete4j8ul        BTC                   0.01600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qrm59hcrk7f9yt9ewwhrgm48lpnclerg8knvegc        BTC                   0.01600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qrm5z4erhv42y3dkamu9vnmgvj6c5ydrh7c2ud3        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qrpyfmxcgxmkd9gumh9xekpgfpmf2vy0jscpwmq        BTC                   0.01600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qrq7g7r4h5x2wtl7xuzrzysh0f8grjnnd79rt2f        BTC                   0.01600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 527 of
                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qrq8m7xe4tsepht0fhn6d9tnr8ma7kq5lug7frr        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qrqtady00522ma9e6uwttjlalv2kc6csaky400m        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qrqtf8h80uxlwtuyrx33a0kgntrahcc08gdjjkh        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qrtqpj3e7fkcmfwkzxvt9np5335j7t6f262vkm6        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qru9ccz6xtm28tnn62gyd06j04ekkzt23vqxqlu        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qrw4k3zuxhdq6wc5y9ww7ea6pgrux6ffedate0r        BTC                   0.01600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qrxuplvyjy002gge8urn5uh7zrkgwjtm30e6aem        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qrz5yeq6mjzsfge8q7edjp7t2q537jdmxl2zf82        BTC                   0.01600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qs0eg2vpht3djpdksrgrt0ghljhmkrym7fzp2x3        BTC                   0.01600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qs2tm82z5q4h3adp23wktfku2sn7c20wxysmavt        BTC                   0.01600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qs2xcefyhq5ydtmd2fe6sd86namtlhdq6ez489r        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qs2xlxjxwyys8je9xd4u4sqpjv0tag0h6hdymlt        BTC                   0.01600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qs2zgxefepzzp53wstjgacytw77xplcers3dqvh        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qs52663sj97x2p9cnjr7u394rgqfe3jkypcav4r        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qs6nfrf5j0l8mkh8hhh629nam735qchc0flf6qv        BTC                   0.01600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qs70zppmewzrukyrh420vyuxgkz4e74s6n3xxsu        BTC                   0.01600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qs7nezeddzxdc7eg0898hgqzjqp0yqnp8uu4zhz        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qs8479m07hkdymtgkewwq4cxyv2w304u9x37syh        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qs985pg5u90la5t5fxkcuxd7xzsv74a8yqmqkea        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qsac7tlfupfgsj2ut57gurl5cglag2x633jm0q8        BTC                   0.01600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qsc9pfyd06q04pazdnkutlwc7h4af7fkw06aj7w        BTC                   0.01600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qsf3qvn3hf56h9vk7e5skw5768v9lj2lrw35j5d        BTC                   0.01600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qsffzu93r0xq62wutcm09ez0j37m3mh87pkqle3        BTC                   0.01600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qsgeq3eu3arzw95vsssg97a04utmmqvnzly9t0f        BTC                   0.01600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qskz6gye7w7ul47rd0670wj6setu98jq3z03yl9        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qskz896dygqhzwp2ycem92hy4rcu6gjpcl8qqq2        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qslp6fl5wl93pdhvzvrkptuh4v79g7dzc9fq359        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qslq0xjl3tex446hhywe5fsq5m0ryq9jpqxqpgp        BTC                   0.01600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qslqq6cpgvll4s6sdmkgt3xqaaec74wwkf4ftwg        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qsncc8g73mjc0rqnxpytglh4jerwhp7cccn9t8a        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qsncvuq7m8uyck2tkfyz0njqg6kdfdhe8kx4p95        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qsq8rvq8mcafndeqyjld7va36s57k98vhknlt0x        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qsqr2gnh7dusyumnxhcl6n0kuf0vmm8slgwl64u        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qsrpaxkwvpel5cfuhrg43n34kuuseprnscvvnsd        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qsuzptskc8xlgvs06dcj2tt37zvvynq5te56erk        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qsv7l62r70pkzmaan226268kksyy8wwd7qmzw78        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qswag0mrezmpndvqqqawtlwf8rm4mfnscvrwc7q        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qsyqrneh9rnjxjl4j0ksff93g9lerdqzgq567jc        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qsz3q8tth6thysu6eadr33p3ve7ktsatn2ye8qy        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qsz5k44rrfmarlfnpleya6tqh5cmrg5wygnq8gy        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qszhzaju6ne72rxy6l4yvhxfsf98q5re5e7ma9z        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qt2dq09ur52pn5a8axtwh6cshf60gqg4pmtxk4k        BTC                   0.01600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qt2fsyfnruz36vuz0c3mtwmd57uaglwcnv5nm0q        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qt2qc7vc86rx6uugxxy7q8e0guqux93ffhr8mvx        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qt3lpcuwk6zxpjwdfw826yswqzaqdtep82ukcax        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qt4mrm5v3rgl80tfmz0hshu3ap0rm0pphyxswve        BTC                   0.01600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qt4zvs7sj3qqq2j4la00xcmmcnqfff6wfu4ml2w        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qt635p9m24499695gaglypg4nkn3k2ltj0u0fmu        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qt6zjvnzufe49jgmwmtv4hr0rq9s379zxza2st6        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qt7k9xhvh398kkja0key9z8pl46qksa9pdfyz4l        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qt7xqa0xlhj0hxj9d56hs8yzsuf6dl3h5njq7l3        BTC                   0.01600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qta0gsp2v946kwvka5xdee82kq5x6e9x62j9m2q        BTC                   0.01600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qtcdc7mha28dlrd98p8epes8dxwscjvz5hgy0f7        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qtd9lfn5gvzzpvnmkmsnavvtyueaez649n7rhw6        BTC                   0.01600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qtfnrpfkhh95rf5sk8w94qcu6zqkypafw4lfdx3        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qtgxxfw8fqe32vf6j4sjsjnhcqjc6deje6mnwjh        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qtjxd5gz58s8tys0cfkyetr0twh8v22ln4yau76        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qtk4p956jpuxasu0zk99sd92lx4f5glxvdwzqmm        BTC                   0.01600000 2022-04-04 22:57:34   2022-04-04 22:57:34
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qtmxvhhw0fgwqxe2l33fz6aa058mzs09tze0gtx        BTC                   0.01600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qtnr5fckqlh46h7c04mn3yyy7za8l6ghptpvztn        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qtnsed893lhp9g4gw7ml5hh9l53vchhkz7dnp5h        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qtpt3vvphuxpc5utmhp08zcpp82nquheuparj2w        BTC                   0.01600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qtrrykgrd8zt7s9t7u278rf7qlernvsx6lrx3ck        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qtrt9n5z0eylcp5f046hppgshc67qdvc2dh9w5y        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qts2ttvwn59scuyzt3vkf4cakx330xxefjh27zg        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qtu04t7gkt3n44j2fju3ky6jww80xfjqxsc0w6k        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qtv4j596g6nqdj24mdp7jfy5ljt2xz6qk5sakmd        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qu052k66rjpluy6mtl4vvglcewqpvvhcqggcfyg        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qu0n9snx2wmavp9dqq7nm8r0ec0fr5u698x779v        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qu3r3nx3e2q5fxsqujr4gyxfg9ussywz5x8njp6        BTC                   0.01600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qu4shcgvc6smxwk23wlhwcgzcgqvnftgdayqa7q        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qu66tlzx9hprqtu0npk590jefwu6rx2leq9mm29        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qu6npyn5uykvndv0ape4cupe95hpcz93r9qeef0        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qu7nsydlp8786xa0z9h5u0m07wpkm8ue0cz8a9l        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qu827x3madnfg9l64l9r84wkxnywpkacwgyzmcl        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qu8h54tyd59442te6lx6vm8qatg3ue3a0j40nt2        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1quayhg97rtsaw8d2mu353p7af3kmyzprllrp9uu        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1quc2x97rwjven4f8360se20nnfuwzu7wsnu5tsu        BTC                   0.01600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1quck3uu356dj0clkap28z9d07rpg0ucr7k6z9pt        BTC                   0.01600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1quelj5w3mxm04aas9pg4edcflnuz5rrvu9v3lf3        BTC                   0.01600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1quev2tp43ljtnyrwtagr27yg05lx54n6p04d7t4        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1quf8tt5jll6qcanlq8hm8xw447cw62eaeexxemu        BTC                   0.01600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qugzuvw0c5gll7mtd5megqf49mtdqzs3jv7t90k        BTC                   0.01600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1quh3uu5unelmrew7kh4dnehyz3uz9a9hpjjkgwf        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1quj6wsspuqv6efd5hhfgnqec5jk800sn2ggdqxa        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1quj9ca03cda3wyw5ntqgfwqutl3r3xf7jy35frc        BTC                   0.01600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qul54n69gmwsh9e3xn4u9nn5gz86uqggxrvpl6t        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qup85hj29593tk6csycxzxjcjuhfjd65vukdw8r        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qupaepsj4djurne7uvxvfrfpe9c07w9047thst4        BTC                   0.01600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qupxh3dnrkzkefpexl7a3shy66826rklw4ky42y        BTC                   0.01600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1quqcl8raxyq47whuasq3lu8z6naa04y5xrlt87u        BTC                   0.01600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1quqmragf7t6y8r4emxjysngx570susggzv5d64k        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qur8jgrs9yu5g5qlnz073e6e8cymm0xa9rc39m6        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qurazhs04fv5ld898npgpzt5mzg7pr4mhge950z        BTC                   0.01600000 2022-04-03 00:30:02   2022-04-03 00:30:02
                     bc1qus2jwlmycgnyxk39jqjxuqxfvlljdxg648j9xf        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qusd55f4mhl4clgha6jc5s5535aqgwymt520pma        BTC                   0.01600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qutgl95jkzcfsu3zc6jxu9z305hyqg4j0t4x8k8        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qutq0hql6le9rs78hzmhufhrhmeysnpx4kq297z        BTC                   0.01600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1quvqg9pecp2xg83mrw2kl0wq36ry7er60d73ad6        BTC                   0.01600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qux7u5tx64q0flttd8ez7ajnll8688z4ulfj78t        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1quyg4q4vj46a6gd8mm5w54ppqycdvs746lv9yxv        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1quyvpd962ectaudyam28u9sxkmpycrmnjpv6afa        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1quzgxvg8vtc3eqxy6xemdq0k8ncv38cmldqcyml        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qv24khwxlfj729f58x79v5dxpy8ne7fg6tzv5d7        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qv45ft4yzyk6k0mpzfv6d4uperxtx3g5msdp24e        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qv50ggqxa68nduphec0futsacz9hytqm0dvn3al        BTC                   0.01600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qv7am8t4mnp6yzrn0lhpm685e9d4fjlyg4g79ad        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qva6rat407nk49esvwxvwe2rz56nsug60p8zcwn        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qvahd87pvzxvzwlcqcg52z4u5hg9jtw8d28c0m4        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
                     bc1qvcrxpdlvwhn838sslhh7ghttl46p4n0tvggknk        BTC                   0.01600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qvcu2xjrvhdr0va9mey2pm9rah0urgcteyr88kq        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qvda6at2nkdn42s9s59hw0cmqsn4vre4g565ymw        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qvdzy8wj2ud5qzm393mu7n6k2lgjhkjp96maj79        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qvfvfehf8u85t2970pa0e2f5ds3g22taexqem25        BTC                   0.01600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qvkx3f9sn74k5r8zmxdg43zldkg9njephcjq9n7        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qvm3v97ms43z0khuzjxhh65x8ydev4a4gln7gk7        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qvn2ynr6ppq2zdfkwum4m3tgr43q57jrwet5gth        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qvnaejlkwtp8vjy3ummskpy6n6h7k7l0wt8wzvg        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qvnahgf87j8mg7uc39csqa7medl60r7rd89pzze        BTC                   0.01600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qvnr3fl0na692cu07snqdwegdc8hxvpxcnc3mdd        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qvp8vepzuh79mx0hvky4hww5tr9guaaqf80gkv4        BTC                   0.01600000 2022-04-03 23:32:57   2022-04-03 23:32:57
                     bc1qvq6wmccdvhqpy60kndy3rx22frd0v2rw2ldl30        BTC                   0.01600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qvrvhptgqzqh2mwttv6amm2c270jps6mmgeclsc        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qvs3kwq034hck5g070ynpvpsjtqhjaxqx8rskhd        BTC                   0.01600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qvsw9k0tqat6p36zgmd0ukt47m684fhvxu8mqh7        BTC                   0.01600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qvuhe4q97cvsj02qppelpf35kwtrrcyx4v22p76        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qvulawrpqyak8t4p9p883g2py67dtqsmnmt6u8h        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qvuxaud8l04kssmd5q4fzs3mnp439j7g4yph4r5        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qvwufhcranlghvz7m7qvx05tmsa0zry44xs5eaa        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qvxvg2uwxg6zyc954hqlvw8rynyna7qggd09vxn        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qvzhen5wkds9pc039npd33tfs8zslvpp6ff46ug        BTC                   0.01600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qvzp706aj4qge4fffxyyn7lupr393kc3xrq7265        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qw0vpgcrfvme6n9sjlet3fe7c274sz8nkevv4gz        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qw3gxgnx0udpaq9r5f4qcgadmhq8mjm28lvr3yj        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qw4n7n7vgwz2g88m9xz6eqrgfeqp9xmfla8g2x3        BTC                   0.01600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qw4y3a7e5mj3rupym8kcr3chw04ky7hpvqm3hg0        BTC                   0.01600000 2022-03-31 23:51:02   2022-03-31 23:51:02
                     bc1qw5p7dm5045wlutuf26wqh40kjtvxspjnqjw2e8        BTC                   0.01600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qw62pqy0kldcg8fauu6eu5x4g9nutkkcwdk5rq6        BTC                   0.01600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qw64z9xy9xvxnmnrd34a0hz0jq3zm3ej5xynjf3        BTC                   0.01600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qw7dsgt9yh8tk72rvjucujl2z53mzykuglkxy47        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qwcu8dcwzyqvx3usr896fzfcjm8neapzkqq7gxk        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qwdltq4vdgpys0ct0f8afalv8c6aufxs3e9nswj        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qwf354mtyhkzxlegrhp9ldyfxhxm6p7r58qm9rm        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qwfys00g6ggax0a9aus2m7lpa9rp6f3nevwwdcj        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qwg5c64wm2dr4nddx3336myvd2k4c4ykeddemdg        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qwgt9gj3uncdsufgfykqxxz6nyhylhhkvedl4am        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qwgvf7g6mcv5nk37yygqx0a7q224dh732g3r5jy        BTC                   0.01600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qwher3nzpv4ffhzvr4y4k5k8hek34v8zcw99nxh        BTC                   0.01600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qwhgf6wtamwvtsy4tgr4qxgdpjcsucgjq33saz6        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qwhu4g6kegkjrjqu4g7wz5cdgfyfzzttqtnju7s        BTC                   0.01600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qwjcznj9r3e0fff630zclg7rqtgcqqd6nx779aa        BTC                   0.01600000 2022-04-01 23:23:39   2022-04-01 23:23:39
                     bc1qwjpq2lly69rdfenxupaqh2w6d54tyudj0c6yp2        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qwlphcvehqxax8ltj5l205n9rkuk8qprhvxkzgs        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qwmdx99fv8c6r4c8ak4cqkhmgcdww5dn8xppx6y        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qwnqevvq0yjr93lacsdualqsy6j789tyyjpt2q7        BTC                   0.01600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qwp0h6jngyjlgvhjymfqgvt8jq0r2gnt5chwv34        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qwpc22xedjs6wfxvajqdym7l0xd7zt7ntkw9ku4        BTC                   0.01600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qwqx36hss4uupzkxwrt3mpf0j3znjklm2swu54u        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qwr6hrmmk97xfcv5vxnz6fr7gsls8t95lp6g3fd        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qwrhe8tak3up6cn6pys8rlrdusf0ksqhm4eltq9        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qwrkcj4pyhl5tvhpe3c46f3envqzsy06rpn034l        BTC                   0.01600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qwsqhselpuln3xwj3lvxfzcv4hfaf0wzuffru78        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qwswpamnqdul3j3v2qemhpwypxqcczzg3pwk0fm        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qwt4xrn3fgupk3umal9fy9va6ywjn9nh50lzew4        BTC                   0.01600000 2022-03-31 23:17:52   2022-03-31 23:17:52
                     bc1qwtxancvq9umpm5vpcvkd8p7utc4e07ajta876c        BTC                   0.01600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qwvq27nj2l7xxywmzwkquazjpn8w3gxa0agvveg        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qwx4yr786awtn3gw4eqj4su56w6r6rdjxwet6g2        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qwx9csd8vtqpmkh75n2xeca6zywup6f7wdkmtqq        BTC                   0.01600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qwxyd53jqrwjyuuttq90rnur0g7tk4d3xtfuyu4        BTC                   0.01600000 2022-04-03 22:53:46   2022-04-03 22:53:46
                     bc1qwy6054fgc4pzmeujt2pu0j24t6m9jex4pzlhf5        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qwyy37m73ghnvk6jf4z9fd7ph95zzsxlcq7pjer        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qwzv075put8hpq467dyyksfz32yzzvztp5d2ejh        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qx04n0teu7lakhsppggcz4vvuaxecv4ug75sjkw        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qx0ym8h4mhqfdv642qcw4dvukrx778j7n5twx6e        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 533 of
                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qx2kslg2lt7ta5ulmx0dfd80ryzcfmja5vz3f58        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qx3sk62zfy4v3xx8avy04ywdze2j2cq5zcyxj57        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qx5rdk2lcxavn9fhhvx32km9c5d7cmw4dlmxlqw        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qx66n55jrqlnd7pw00nqg8d37d88e2thn9dhx8u        BTC                   0.01600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qx7ulagy6uvwj2g9xasz6t7g7j7nkwkdxgvhanx        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qx86kn2k0yqsy0nn0tjulkku9kmgf458alp06ks        BTC                   0.01600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qx9ej33n4u8k485r3grgtafalmd63dx8cuvwx60        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qx9lkeggnfnac7h0f8aw72xwawmu7h0wvepksdx        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qx9u3lhswz5zh75pmm83h0p6ruqx8ky82f7ml0a        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qxddlxpptmqdd343s02svtpnmfua50vaueuyw2d        BTC                   0.01600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qxfzu88fmuw4r043u93zmt5vl4wty7mh9hd47u8        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qxglpc5vy7955rh5wm26vuvd75phdyu8k9w37ey        BTC                   0.01600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qxhjfp5v9ng79k4rn3wpc092mgyd8nen6yrpqx0        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qxhx8l4mzv99z8qeelf5lav3yy76tnmagsnzhsz        BTC                   0.01600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qxhz5jv98r2ltcmusakdwje4y5nhg7x5deggcsm        BTC                   0.01600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qxj9v3atyynd4ryg6t4yel4pa4tu8j7rpvg9v83        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qxjk9tmnp0mk0f27cdtg5dej8ql375jp4fgxwgu        BTC                   0.01600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qxjll76ehmqpdh23uqukmp942dc7kkjfyphe5x5        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qxjw6plvzffuzpjt2x7umv5kc7vy6yl6aayksfs        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qxllxn5d8ht0drygfj2f2mgcfa4mx34rcqr5sgf        BTC                   0.01600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qxlq6su0excdmkneqlxd2nu6x840lkrrneth8af        BTC                   0.01600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     bc1qxlvx42q94np4nhjrez0vqjepv4lutte9p7h9el        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qxlxn7tw3qhsas5tldtmsrdcp2y33tumrpuzrr5        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qxm2ys8xrqy0as7sw07qffk5xsg3mz8a2avzmsm        BTC                   0.01600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qxmyfkv9lqjpmgw0cmhr4zur7mhc40w5msu0mj4        BTC                   0.01600000 2022-04-02 00:13:17   2022-04-02 00:13:17
                     bc1qxngadlqn6yymdfqxhkr7edv5f8zsqwplmndpyl        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qxp0phyt789shuzhnjpdnltrem0uqlmukqz09dj        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qxprnafad2gkhtkcttktlyt5faqan9cjtn39gh5        BTC                   0.01600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qxs45mae6jtkwmy605j7hwmccgjj9dz5zpdc0j9        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qxspdruqujd8pxu4hwghmh7ztd4ty70sj4avkpr        BTC                   0.01600000 2022-04-03 00:15:53   2022-04-03 00:15:53
                     bc1qxsqpc486ryneuwz9z72zf9ueqyk6r7y2fw89rd        BTC                   0.01600000 2022-04-03 00:19:04   2022-04-03 00:19:04
                     bc1qxxxp0vlxuu2txjv4s8f9e77l8j9s649lekm988        BTC                   0.01600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qy00nexs96khnhekgx65fn9yad0vf20lm9ultr8        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qy087halj6tlt20k3645l59chjvfc4uglfx5ety        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qy40sdlm97ps5zccrm0gngkpnugtw2k2xvu9zx6        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qy4c6yt3rdka63k83sth8u0n3wa2a8s3qxjt4sj        BTC                   0.01600000 2022-04-02 22:29:11   2022-04-02 22:29:11
                     bc1qy4gt6tk8enu02lex7l5f7xfxpudh9ewlqdsvyn        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qy5g54q329snm3hhcwfn8uydwa7t2c8u5yeuldt        BTC                   0.01600000 2022-03-30 23:14:34   2022-03-30 23:14:34
                     bc1qy6k276lus9pwtmm98s0adfsmt92pwta9k283qa        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qy6rh4d7y4d3gcmfkgz4l6f48fs0u7uhk6fnaqa        BTC                   0.01600000 2022-03-31 23:21:33   2022-03-31 23:21:33
                     bc1qy7np06ghq9k7gupyjgv288w9h2e3grpcqn0nh9        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qy7p6wc0akc248twecx3tjwh7u9jkfvj7eytzld        BTC                   0.01600000 2022-04-01 23:03:38   2022-04-01 23:03:38
                     bc1qyapnc8t3qfdrg9z4vw2ugwrvc4slfyjv3r030l        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qyc3f7de87yuw8930nkxrjhp2dmshyvap9ff32c        BTC                   0.01600000 2022-04-02 23:45:35   2022-04-02 23:45:35
                     bc1qycfee88pxf3ldlspgq64ffz2vt8l0vlvkylr6q        BTC                   0.01600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qyd648kknelqly70rtkuhvsf5xyutzcp58c8yt2        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qydk54r40vfp0scq4mt804772tg23lr5qwgwzqz        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qyfearjjwp223n4a5zcuz20pm2arvytsafg3sfc        BTC                   0.01600000 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qyfg68s9703dx3vcgkuagz7l4jtnn9l3sxj9se0        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qyfsyea5x8smfuknmtc00m347xn7sckz5x5jrsd        BTC                   0.01600000 2022-04-04 23:09:54   2022-04-04 23:09:54
                     bc1qygdg3fdl3wzlmgfrcdfkt4se9j7sehj3fxxg6e        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qyhv9ytg9ycw4h6uzavlfus082sgkqk92pzmry7        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qyhwhjz66q0es2qerpapcatl3xykv6getes4tz8        BTC                   0.01600000 2022-04-02 00:17:11   2022-04-02 00:17:11
                     bc1qyhwz5uazc6n2huserjtgeqh4u6xq5qnxruu0zj        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qyk58zkyq444ksll2s8z5c3mhtyx6zurm9jl4je        BTC                   0.01600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qyk75qlz83jgemmdwv8fvkfvks9xpe5rzavw49n        BTC                   0.01600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qykq3gw58z9zlqc0cjzyvdvpz8wkqdkj66trzct        BTC                   0.01600000 2022-03-31 23:36:49   2022-03-31 23:36:49
                     bc1qyl0w8y43kjkvyz9fzg9qnv8ud3d6e35mj92vhg        BTC                   0.01600000 2022-03-30 22:39:40   2022-03-30 22:39:40
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qyrhpczy7zhyhtsf63wzaaa4edjt4s9psmnt49r        BTC                   0.01600000 2022-04-02 22:42:55   2022-04-02 22:42:55
                     bc1qyrkhnuq04s7n2hg5j08cjr2tzvw57y3rh80l62        BTC                   0.01600000 2022-03-31 23:03:58   2022-03-31 23:03:58
                     bc1qyrruff4wjzwwmzf7r90rhxurecyeceu9llrc26        BTC                   0.01600000 2022-04-04 23:18:34   2022-04-04 23:18:34
                     bc1qyw0uydfy9tmcm6spqszxztu5l6vw48hwc0xluq        BTC                   0.01600000 2022-04-04 22:51:20   2022-04-04 22:51:20
                     bc1qywf4a6cuhd4ck4tz77er6s9gm4zksk9x248q3v        BTC                   0.01600000 2022-04-01 23:51:10   2022-04-01 23:51:10
                     bc1qywtlvljwj5f676gfzx28wva5k8smdkzat2nrgy        BTC                   0.01600000 2022-04-01 22:57:58   2022-04-01 22:57:58
                     bc1qyxxum6mjc4apmm94eh28wl9lrxcdqlca8qp7gh        BTC                   0.01600000 2022-04-02 22:45:49   2022-04-02 22:45:49
                     bc1qyzx3xcnmq2vkj23fqr9aenmf28wrhwh68dqcfk        BTC                   0.01600000 2022-04-03 23:47:56   2022-04-03 23:47:56
                     bc1qz26z9m3ew2h2u2ma3k35mu4yv3fcajsda7e9ef        BTC                   0.01600000 2022-03-31 22:53:55   2022-03-31 22:53:55
                     bc1qz3cgwvr89dlmagfr6juqupmpalnzw77ckdq2ur        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qz3errrxa4r4u2awkcmagk96lh9ne6659ltzt8z        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qz4alc00anruhe8lntmaeek33p7knhdtz07ca6k        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qz4y3pf2vfee6fxecqpst82rj3zk4erhx8lt7zy        BTC                   0.01600000 2022-04-03 23:31:37   2022-04-03 23:31:37
                     bc1qz5gk8nnmt4rr6j4wsw7pmspn4nuc4hyk28x9hc        BTC                   0.01600000 2022-04-01 00:03:24   2022-04-01 00:03:24
                     bc1qz69fx83y97t5f93eac8l94p9nun4u5fgaezz7f        BTC                   0.01600000 2022-04-01 22:10:03   2022-04-01 22:10:03
                     bc1qz7a5fm2tmz2xsf5ltmmhvlf6qr93tt7pdqulse        BTC                   0.01600000 2022-04-04 22:14:59   2022-04-04 22:14:59
                     bc1qz84sat786j7lpnul20heae5v6230qy8qu75wvr        BTC                   0.01600000 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qz9qvdmnaupxfy4prv5v552092jh57rtng2gmx4        BTC                   0.01600000 2022-04-03 22:35:17   2022-04-03 22:35:17
                     bc1qz9zgqmcw37dnfk6dwa99rgly5gmveqlag6pz9m        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1qzc4ms4v8wzvq0z2sdrup7n4v9h73wp9wnt860z        BTC                   0.01600000 2022-04-01 00:37:52   2022-04-01 00:37:52
                     bc1qzcvlyl68uxhcy4jt272cdcq2dnpmhny8k53nx7        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qzeggp6n6n06rfu2zd4ht4de9z84ygh6qams3wk        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qzfsukya9mlplrf6uvsuehfcym0ukvcu42fvp7x        BTC                   0.01600000 2022-04-03 23:07:40   2022-04-03 23:07:40
                     bc1qzg4azg4sdu7ff7pceheqmsrpaqtusexjhm0wl0        BTC                   0.01600000 2022-04-06 23:28:42   2022-04-06 23:28:42
                     bc1qzjl3u6pyrmquge3hdlzdk5lcyesqnl7x3fps4t        BTC                   0.01600000 2022-04-03 22:58:45   2022-04-03 22:58:45
                     bc1qzk645najh59zqv6u2c9lh63gkjc474jlv3xqkq        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qzm5esm0pfdrtyyf8uy96vtpz5vm2hpm548rh0c        BTC                   0.01600000 2022-04-03 00:21:12   2022-04-03 00:21:12
                     bc1qzmjrf03fd7fhwqac9xkgueedj7cs6rttc5h0w5        BTC                   0.01600000 2022-03-30 22:36:21   2022-03-30 22:36:21
                     bc1qzmv9jd964vycewwfwxeyjuylcumv5rez2fg55x        BTC                   0.01600000 2022-04-01 23:40:02   2022-04-01 23:40:02
                     Case 9:16-cv-80060-KAM Document 198-1 Entered on FLSD Docket 12/27/2022 Page 536 of
                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qzq0l77wl6qzluvaqc6dkxl2hqk6dq5lfmgh753        BTC                   0.01600000 2022-04-04 22:57:34   2022-04-04 22:57:34
                     bc1qzr8lep0yu9a05048csshmpf0kdz6eexcvv3gh7        BTC                   0.01600000 2022-04-03 22:37:42   2022-04-03 22:37:42
                     bc1qzrja807cg7xhf4jh0exl8k7lfcnk03se4vu5q8        BTC                   0.01600000 2022-04-06 23:25:40   2022-04-06 23:25:40
                     bc1qzrljdj2wtqxk0p96yz8pu4t2q0qa59d97j9a9q        BTC                   0.01600000 2022-04-03 23:51:36   2022-04-03 23:51:36
                     bc1qzsf49mku6t6y9n7hed96yf5zh9ps3l4z7jzr7j        BTC                   0.01600000 2022-04-07 00:14:17   2022-04-07 00:14:17
                     bc1qztdzktde9s02me8qkml2y8a5uqxpk0z3ldvlvu        BTC                   0.01600000 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qzu36f53sgxexpgf8avdmfg6zv95s25ljynfn6u        BTC                   0.01600000 2022-04-07 00:08:00   2022-04-07 00:08:00
                     bc1qzu5x0gaxglxhnmprmu0xj7923nvt9a27e0mkw0        BTC                   0.01600000 2022-04-06 23:31:00   2022-04-06 23:31:00
                     bc1qzychqznvasq8wj0ywst69gye3z9v7lft69qeq7        BTC                   0.01600000 2022-04-04 22:17:50   2022-04-04 22:17:50
                     bc1qzyryxnwl50c54zn0zhsrjqtucvp79vq8cjl4gm        BTC                   0.01600000 2022-04-03 23:22:48   2022-04-03 23:22:48
                     bc1q5gzzxt8f8uzc27jzu7dphzezdwd6k5gke9p8tl        BTC                   0.01600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q67lgr9nvkwyx6gd7dnnr4tve285vxgj7a729qv        BTC                   0.01600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q77fd825fmty0rpdqz59dpyya32mw3rhel0d7sa        BTC                   0.01600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q7ctwk3n6sefalfhzakez2z5053azkwyxkrrhuc        BTC                   0.01600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q8qkw36vkjdtgs22xvl75p3ntdjtlq9p0fskukk        BTC                   0.01600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q93fzrq7pt7arusw8hsk8fewqpjjp23087c55a8        BTC                   0.01600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q9kmeyl5verqm6p5rn2ewlf5lz50cehn5dffnn8        BTC                   0.01600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qe5yqmn40sm99z5ulx033tfgq040du6jre0fjx2        BTC                   0.01600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qkugsrvp6cd99zvtyuefauytqwuudteazr6gp4t        BTC                   0.01600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qm4upzgmnknspfkx79pq4mx6m537rc0ec9g3fme        BTC                   0.01600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qnkj9dfrf50enct9k90edqf6ywrvcldklzctrxx        BTC                   0.01600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qqy3le3kvh0dp4jwvrqex6szj6dh74fmvzs8pxm        BTC                   0.01600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qrqzc80ekxwucs3c30wpjkm4es5eat5xm2754gs        BTC                   0.01600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qrun3ljcucwmjlrvcef0fd3p8lhsutd0xgjrq6n        BTC                   0.01600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qsyt0gdwzlrf07mqp0l8y0vsd2lccp8rw06grm7        BTC                   0.01600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qta3ntfu9snn4n2p53hwg97sup7vku9pc5luwqf        BTC                   0.01600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qx82egerg6cmae5vxtsd4jxynua5p6jet9sr6zg        BTC                   0.01600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1qyqk3d07vu7zfg8d9f0azq6672l6xtn997pwjx2        BTC                   0.01600000 2022-04-02 22:09:39   2022-04-02 22:09:39
                     bc1q05hzhq6800ck0tyeymnah59dlsdwnk9986e5kn        BTC                   0.01599999 2022-04-03 22:16:51   2022-04-03 22:16:51
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                  with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q28vc4yzr4avg4ur79nm2xpx3yzhf5nmjuuy4ja        BTC                   0.01599999 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q2pfz9842dhfe756kcrza5mpj59cx0rqtnvrfpf        BTC                   0.01599999 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q56cdrk67mm8ylwx44fhftmasexl7dw28atmdhl        BTC                   0.01599999 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q96f6zj2zmhtdadk3967a3hkqz9dx54dmgac5yc        BTC                   0.01599999 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q96sngchlcy6cepdhxvqmmlmgrr23jt0ewpkx75        BTC                   0.01599999 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q9tzf6jwp6mmxu3tdms5472gym00t5tx68uf89s        BTC                   0.01599999 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qa0504n6fynul5egz7c3xprhpkfmg0y674828wl        BTC                   0.01599999 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qasl92tpshmpfs3es4u8uqhextqvwtpnz2rczr3        BTC                   0.01599999 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qhsf3e36z0rg7lhxvlljrflvazxzq93ese3p4hw        BTC                   0.01599999 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qmu2u7nzf077tj2whstswlkvhxnn79lenjjxzrt        BTC                   0.01599999 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qmvdckjhjyj66vtjdytsg5vjmhn6erhqjtfuz5m        BTC                   0.01599999 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qpzdtndt0umg64sj7x0rqysk20gks24dxtw7pu3        BTC                   0.01599999 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qs7tddhspzryftls8rt595046593f085juf2vuj        BTC                   0.01599999 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qt303uljyucy7d6wqtmc8t4suxjgqkqg28zkwru        BTC                   0.01599999 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qtg0x52ehq4szmqkrg2h3zkaefe9e0xg3y3djfu        BTC                   0.01599999 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qulr0lg5y5wlwrdh8srmtmfcwekz37z0egcmg9u        BTC                   0.01599999 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1qv2ejuycnvdrzqmv8q95djtr93hhrgdrwzvad2j        BTC                   0.01599999 2022-04-03 22:16:51   2022-04-03 22:16:51
                     bc1q2c25ll43act29h87ldyrn5r988es5cgr9hpx29        BTC                   0.01599993 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q3ye5zfdc6zr6nzxcmkrljsmxleup4cmcul37ck        BTC                   0.01599993 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q78e5ppmngrwdw9fl98dtdztrr2r6wavxefe9es        BTC                   0.01599993 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qdkrnhr7uzquzdrp3nfpjrspmf5x76vdxp4re3u        BTC                   0.01599993 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qdlu8xe7ck0xx834w84pmgacrx3h6eyu6nwwasl        BTC                   0.01599993 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qh4ymur9m2yvknrljnvya4a0kmsat55393s3v8a        BTC                   0.01599993 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qhpqk496tszj22p9xqq3np2shs2jexerfmf022f        BTC                   0.01599993 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qjq52sw0g3p4573kse2lj3pfc6xltk7nxdczayt        BTC                   0.01599993 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qm9tqhtsg05j7v7qspdf2ek83fcnxuygqwzyzv9        BTC                   0.01599993 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qmtguw9ys0eh4mtr9wnum3q6aj07qaddgl5q6ar        BTC                   0.01599993 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qnu35gjtg2z3ets92jpcf9jtd7md86q682g3wl8        BTC                   0.01599993 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qp0eyh4c2jumwx8qqudtzlv3f28ejx5r3t5x96j        BTC                   0.01599993 2022-04-02 21:55:52   2022-04-02 21:55:52
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qpd25atrpsepjlrczmzm0uchjezfw9unulzkdvn        BTC                   0.01599993 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qpvfy7aquu2vvkyrcztdk8j7s6s0746ew95rchn        BTC                   0.01599993 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qq2lxuhg35z8mxkjj69caxkp7l05scmmg8xljyd        BTC                   0.01599993 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qq6c008yvzf6p9wvdlwp84a6yvu4ljk3pp7uvl5        BTC                   0.01599993 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qr88xpnaersyu5fjas2keegwqsn0rfqxadxfkqn        BTC                   0.01599993 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qydgscm0mcaagnyu9kvrjk47zrehxtq922kew7e        BTC                   0.01599993 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1qh7mkyphc90urgwrhcl259ht8ypr9fdal0rhsqm        BTC                   0.01599992 2022-04-02 21:55:52   2022-04-02 21:55:52
                     bc1q4fwdcmnkf3xnxmf9kgg6h2kt58tmjy5w7j95v6        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q4vh62t8wlhvurtpasuhset3gxn9s7h24fvztud        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q59qkxz9k6swgjq5qr9uyp9xzyfdm0d9xcmvl5c        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q5gvxzzs48kgvyh8xnzd94hxqzyhm2zpu6ra3gy        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q67c8p56ukedu4r74a5e3hpenz4sc0zz4af2l6q        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q6yzk4alzd8l2a4x3wumwen3ll65fr63tt2cxg4        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q8xdj4akgjeyycaeghaw87tyfc76uhga6ptug9q        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q8y88adl9m6ja5da37vcr3sytrmxpyvjra98zpf        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1q9sts2d9tt4wl72zamxk0m3vasfqrl2cp375d6g        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qctjcjj4mdcpj2sfvvnwvxg2mlmevan0jn38pat        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qcxkaerdcup4trcmm99k4ksljz64rceqpmrsyly        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qczerzlc4weznm8ehq82lgu2ks3t9x6mvrchs9u        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qmqvx8cm85jew2j7m039932c97pytnju9ncdmau        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qntlltp7ap7py9m5zqw3smq75ejhvjwz3s2l0nl        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qp8u32ffmne85wx8d3yxwcuxwmh5644vx3slcqd        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qqzsnm73gkf5s207ewj2sn7s37dny8xfpzh2d0r        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qrn4npqpmxg9hvc667fkzjwpwlc9qucycrcjlkw        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qrxcsc9dvyh5u7f7ngxud52ly0ktzs8mejp96jf        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1quv92ug73rtvnfv8zj6jhz6p32l5zw3gt58ykky        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qwqurpjt8q0vewg6g6h0666e089k9geq02udcn2        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qwudwjjhpue44a8ytswrleyvrs6tmxzfdnfeh0q        BTC                   0.01599991 2022-04-02 23:10:09   2022-04-02 23:10:09
                     bc1qec3epcvu08uy0qsz4pfn9uvma7czctuh5w5xsp        BTC                   0.01599891 2022-04-07 09:46:55   2022-04-07 09:46:55
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q396wpr5hclzs7npglk6xcmp80nhjgn74uhwu3c        BTC                   0.01599890 2022-04-12 07:37:06   2022-04-12 07:37:06
                     bc1q4esv202mmn8mhurtcvpkn0d88ntwh5rlegd0va        BTC                   0.01599890 2022-04-20 01:55:51   2022-04-20 01:55:51
                     bc1q6nd0qrzxzuhacce9aaw9ts2ql4r0yyv94qv0d7        BTC                   0.01599890 2022-04-21 04:55:11   2022-04-21 04:55:11
                     bc1q95r3unyzml6r52fpjurznpjvzgprfplz0fvsxp        BTC                   0.01599890 2022-04-07 12:17:43   2022-04-07 12:17:43
                     bc1qj9j6u76380t3npxav65pjzgrctrvw5n5cqt0ty        BTC                   0.01599890 2022-04-11 13:41:03   2022-04-11 13:41:03
                     bc1q0pkzmaslst0crzquxnu94u032xaupdq8q6rkja        BTC                   0.01599889 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q6fkrgnkcffgd7nu4hcrj05f5dqeuqx57ex7n2f        BTC                   0.01599889 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qazl6kuj7453r673fh34ljppae5d7wg7r06a324        BTC                   0.01599889 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qeun5gas7tfmvnh3x6dgl8kkuf4k9s849226lff        BTC                   0.01599889 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qgfdy07h6kl9rrkj2mnre8sh3n63v876zjctgk0        BTC                   0.01599889 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qkky62023xdwh3arppu0h5ywf8fvdxpd7pu8u3u        BTC                   0.01599889 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qq29rqgc868n679f8j4n8vefvswgx75trmsx39g        BTC                   0.01599889 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qqk0nrmy5uvzmhmpgtzuzz7c7nmphcnf60xcvez        BTC                   0.01599889 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qqtcsy9n34p2gqqrcn8u69fc7wl9mzft0dlzy0f        BTC                   0.01599889 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qs2u63we94pxdmyn3qgncp7s4zkw0km9asyta0v        BTC                   0.01599889 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qsz69phq68rr36ftqjyuvvu5e65p7lg3ckywjmj        BTC                   0.01599889 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qtm8ddwanqut0wc8wd524z6axzmkck3w6tks9ws        BTC                   0.01599889 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qzctupuprq6gz4extrr6e0rdc600jv0cc22m394        BTC                   0.01599889 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q29ms6hv56sau9f3fazgyhhzzt0kes3j2g0krhl        BTC                   0.01599889 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qanrtl0jf7tfzyghygzzyrv8jd74d3093hzxhnq        BTC                   0.01599889 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qc8nuu40v78eunusmjefjuej7w3yftcvnams8my        BTC                   0.01599889 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qe9pxr5ac449r00uyrmz3hs5c4dqwy99fllltln        BTC                   0.01599889 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qjz0rncrf3sdzs8skcc5pq3dugqq2xr8s2xuj4w        BTC                   0.01599889 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qly63hqad4pjgeteynj07ezvrgcvhcrqar5nm57        BTC                   0.01599889 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1qyvn6htf3y98gq4x50nn85a2z7hcdtpma303eqa        BTC                   0.01599889 2022-04-07 00:01:49   2022-04-07 00:01:49
                     bc1q297txg9ajx50t3k7sszfdk7mup50r33kpac39j        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q2g3gklf5d0ktfeakwrh7gcpd8vw7w2puvrzlm8        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q35wlagkgxg3sx7nxpdye3g4nmtrsuvvlwlgzqt        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q5kr9mrwzhduhfkas3ulx08ch8wel3qgun5sujv        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
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                                                           603


                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1q5w7f8un5jzqktx55c366w36fvd2caky8hp5wgx        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q6kqqk43yetfd25mnghczfte4p4tpsjkf43dajq        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qaqk4htp8pxdckhwtcv2zarywy2s9e5ma2uf42r        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qat3a4e8pukqqc4xhm6dw2wnyrhyae3wz9wgmyv        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qcxtk9gmaljxfu3y5felrfp04h0rjgxp82r6zf7        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qhlpfq6w5j9e4nvdw6j4r9974csa0vplc2ey6z9        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qjf7x63fyl2wqcz729x8xrrxf7cuy2hvdrkewz8        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qlsee0w8dgsv7d5c8pjrfcf6a3ayxjgqauf3jxq        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qlyh9f60yd8rwk280tr07kngm8252t5ge022svs        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qnjxtfh2lg8vum8q9c9wms0nx4sx20fw3vk0fgy        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qrzw60x6j9ja3j80du6nzq57vlqrwz2jrt277vc        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qucj0m5nmh9q7wyyu3gg4p93cv36qz770xrf0a4        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qwpfer5cwv3ec89kmt624usw97rrjnl0y3ntw2e        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qwuksc87mckgdql7l9gh4j48s5jgap32muktfnk        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qx3vj5ppvyn24amvuuh67xx69d6cnkd23cvlxe4        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qygd6v760mj688z9jxkzmnzstlwazxlnlcdzp6k        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qyw74634852s5fgul98whc0zmk6lemcvwwmeqdn        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1qz7hurqty8ykyqf7wml5qy2pdugxtesvgf34l5y        BTC                   0.01599877 2022-04-04 21:59:05   2022-04-04 21:59:05
                     bc1q0hud4fr7m9rs5n3yjwz302t34arrvzg260sw4d        BTC                   0.01599861 2022-04-08 00:23:49   2022-04-08 00:23:49
                     bc1qu7fxwgdcwvx0rkjq9atuufhmjyfegaexteqfk8        BTC                   0.01599858 2022-04-26 10:11:57   2022-04-26 10:11:57
                     bc1qlcgeal5cq4lhyecute220ydry6r4mr3scretzv        BTC                   0.01599847 2022-04-18 16:16:29   2022-04-18 16:16:29
                     bc1q3wuttut9dl7wzcfzw9sh2h50qwtansah9e0uqk        BTC                   0.01599842 2022-04-08 00:23:49   2022-04-08 00:23:49
                     bc1qlfhlwgrf5jzh6smay6vq2zwn40flyk46qkg4sj        BTC                   0.01599842 2022-04-07 09:46:55   2022-04-07 09:46:55
                     bc1qqghwkva0d8cft4pzsxphvw3pkhrq2wlr9rdjln        BTC                   0.01599842 2022-04-07 09:46:55   2022-04-07 09:46:55
                     bc1qklafydhyxamzkta3kp0spe3kw6m9j75wpg62e3        BTC                   0.01599793 2022-04-03 03:07:17   2022-04-03 03:07:17
                     bc1qmgzznmhkglnkgxt3a9wt526dd2cz8e5n7xl0wq        BTC                   0.01599793 2022-04-07 14:24:41   2022-04-07 14:24:41
                     bc1ql63chw0qfxe80j2p662gwku2ddh7w2ek834e7k        BTC                   0.01599780 2022-04-04 13:32:20   2022-04-04 13:32:20
                     bc1qv3erpd50yd2ahxjhrgg4aqh3yuc4nphey8vqhx        BTC                   0.01599758 2022-04-24 20:02:04   2022-04-24 20:02:04
                     bc1qtjlr6h2rm62v08ux44v7e5fhe9yvzdcchc3wja        BTC                   0.01599725 2022-04-20 22:29:43   2022-04-20 22:29:43
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qz5fs92fqpprg23jsvmgrr8l3qe7qht9gxna9p9        BTC                   0.01599669 2022-04-13 19:09:48   2022-04-13 19:09:48
                     bc1qrnee4y0ln60vfm0wen73qmcpu7tg4kjrx270f9        BTC                   0.01599581 2022-04-19 19:22:44   2022-04-19 19:22:44
                     bc1qmsl785l3cs9d4aau9ryvctxv0xw8fss0mwuefl        BTC                   0.01599548 2022-04-12 15:25:22   2022-04-12 15:25:22
                     bc1qsftjezvcs4dt2sxhtn5hx30864czt53qqc56e2        BTC                   0.01599498 2022-04-04 14:30:57   2022-04-04 14:30:57
                     bc1qd7xtx93u9ud6uv2vk2rx6ju5yjka8xgec2nhhv        BTC                   0.01599450 2022-04-15 21:54:53   2022-04-15 21:54:53
                     bc1qgkkng6fmn0fcy3qhttcc5v4s678dz0rd0katcg        BTC                   0.01599444 2022-04-15 11:35:03   2022-04-15 11:35:03
                     bc1qpte5llx0tx9hhnywd66zdccu5cvpcqf6an3phv        BTC                   0.01599384 2022-04-21 23:18:54   2022-04-21 23:18:54
                     bc1q25qe9mrhw258dza37wmzms96ugga84c4h6tp63        BTC                   0.01599340 2022-04-21 14:34:57   2022-04-21 14:34:57
                     bc1q6u6sfmu7fualh0rpwjkk28fevsmyx0k5kxkx2c        BTC                   0.01599340 2022-04-21 14:38:34   2022-04-21 14:38:34
                     bc1qg288xwvpaq98j7tunap36fhyfkvmn0pjs8nndl        BTC                   0.01599340 2022-04-21 13:06:24   2022-04-21 13:06:24
                     bc1qnzx6hq2t7mh56mq6fazccj4uqcvz3l53za0nzx        BTC                   0.01599340 2022-04-21 14:38:34   2022-04-21 14:38:34
                     bc1qrf62pmnqldwpuap9ylcrxqljwlvmucv599hyla        BTC                   0.01599340 2022-04-21 14:38:34   2022-04-21 14:38:34
                     bc1qupjrygzl5p8s3jv37depv7j0w3yrqefsg2n2v8        BTC                   0.01599340 2022-04-21 12:57:53   2022-04-21 12:57:53
                     bc1qvr9tugqs035slme3k5m9aqg5kup4fwt4y5vcxj        BTC                   0.01599065 2022-04-27 15:20:35   2022-04-27 15:20:35
                     bc1qe5pajqa2c7rr8km3pr2auv0t8jfmatlwdgkpde        BTC                   0.01598922 2022-04-12 18:47:23   2022-04-12 18:47:23
                     3AMZ9WoDjvfymB4TkQSvpYWjsyFMSjCDam                BTC                   0.01598912 2022-04-12 18:47:23   2022-04-12 18:47:23
                     3HMxEKy3FSCHZJTwi6ahrF5uTf4pcAMrHS                BTC                   0.01598801 2022-04-12 22:18:41   2022-04-12 22:18:41
                     1Ju6tf3GEFYSnsWkRUwGtShsikaShQnJ8U                BTC                   0.01598791 2022-05-02 15:11:27   2022-05-02 15:11:27
                     bc1qllqrvvmjc2tx74vu68g8mzxtwzpxpk9dr8f6h4        BTC                   0.01598735 2022-04-06 12:40:07   2022-04-06 12:40:07
                     bc1qdeatl908rlnnrq2swwel3sj52rla4j5rmu5e6c        BTC                   0.01598729 2022-04-29 16:49:43   2022-04-29 16:49:43
                     bc1q97fut2qjkwczpf4kt7y5kew6jae5jx0grhlf4g        BTC                   0.01598493 2022-04-26 06:02:37   2022-04-26 06:02:37
                     bc1q45p6h66afa8k7zflv5008tem0qw477pdynxdqv        BTC                   0.01598362 2022-04-05 20:21:57   2022-04-05 20:21:57
                     1NRVSa6mwYPWjqXVrA6MdRmEkmRMT9rtA2                BTC                   0.01598296 2022-04-05 22:47:17   2022-04-05 22:47:17
                     12BeSVzmVrsSXckeKiJRh8YZ1Bc78N1NjW                BTC                   0.01597958 2022-04-18 18:54:46   2022-04-18 18:54:46
                     bc1qf7yauehhyw05725tlardsejuet6wwv65v4vzux        BTC                   0.01597471 2022-04-08 07:44:00   2022-04-08 07:44:00
                     bc1q7kl4r7qd8htjmhnl7z25rh7wvu0hgfkl962fvl        BTC                   0.01596996 2022-04-22 21:07:50   2022-04-22 21:07:50
                     bc1q7trk0g57vuzl3h7qd5h6rt9k05wp6y9xg2cke7        BTC                   0.01594500 2022-04-29 18:14:34   2022-04-29 18:14:34
                     bc1q8ramuagqwrl66es3xhkfsga9p9fs3apfrax94m        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q36g98mlrl3fw28fa82ktgh9vlxevf6tsdt9hyc        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qe8w0jqqrvqfu6j7waw0fllcs9yq8em4vfa6uyh        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q4cqvulx0w2ppyxy0l2m0uxfawvlpzy6k2gayyk        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qgn3mmpzkavteq09umj3lmy6lunuah6xhv3pdar        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qjwulgka9ap5g5r9dn5rjyx56ylt9z5pkxh0gu5        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qn46z9a0df9lpjz7y8q5acqw4zy5y4a5nxsr25y        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qnrfq58swq4qug850z7mzp6h3nxdn5s0mnadhfg        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qnwcafk2pcftt9fugpwe4vlsy8vhvnuja4tarjp        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qrarvcvlsywez5cd286vctwycja73p2zne4ceht        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qt0mtq8yrugn45llzd230svzwqc9rf2u7saw7hr        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qt6yz0l00rgd34dce6navkgppq604uu8uk4r6mv        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qz8h9zrf5zq9rcf5ejya0aarsv85t4z7ggqzy0e        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q22fccw3a5mhm2f2h60d5rvvunefumkq6jltsx8        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q2e55ukgfkqktcyz674tmgslkqxa03w20dddzqg        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q2hhugz973dx58nt9ynceykesudrtn9p9a5x4xf        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1q7zmyvg23ew68r4r6mz05st9a2ez222q2lqq9uj        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qax8l8pk5tpk0vulkkxqdsy97rh59s5wtp8khdf        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qdj7pftqznemz947hh5fd7k76jhyg4qw97vsznf        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qdyd3g2twj0tzpyx6jhsfy4qzn6s9xduuygekcs        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qe9udkv0gznt62zudqjun0mp4sf0nuet48luj9f        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qglef0gcjsvgk7mxg4kmfmkkx7f3k4snvk7ywke        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     bc1qhvtk7l0vzccv66270383ajtxfpkf8l3c0gf52m        BTC                   0.01588408 2022-04-09 22:48:14   2022-04-09 22:48:14
                     32WN4mqP2YHJgbccEdsm2wWQVTUSH44tLL                BTC                   0.01585221 2022-04-02 19:09:17   2022-04-02 19:09:17
                     3MtG4DnyXffia8XszvnH1QjjTEc9FKrviK                BTC                   0.01580800 2022-04-26 18:39:38   2022-04-26 18:39:38
                     bc1q5xkh0634nmyx9uxtwxm7tzzsterprm89r6wccy        BTC                   0.01576605 2022-04-07 11:13:56   2022-04-07 11:13:56
                     bc1q3dgl4chkfa50hs2np4mnvy06w5ft94uzs2rwry        BTC                   0.01563842 2022-05-01 21:21:02   2022-05-01 21:21:02
                     bc1qncc952e9cxj9y0y2u3ejlfj89uthcet520fwlc        BTC                   0.01558362 2022-04-06 05:43:12   2022-04-06 05:43:12
                     bc1q6ua8ayrjsz84pqx34vmw8q2sta07d3v7yswavu        BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q78mhqf9ctnkd0ltkq2c33rw8zs5afxa3qw4fwg        BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q8873wfx6gafxsgyrjd55z3ccm62ce5aqw4edpj        BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
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                                                                                       Funds under claim
                                                                                       (average confirmed
Owner   Beneficiar                                                   Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                     with the five
Name     y Name                                                           Unit                                      Time                 Time
                                                                                    tracing methodologies;
                                                                                     in cryptocurrency unit)

                     bc1q8e4r8chen3jf205anln04vjzcmeqhl50uwe8jn           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qkvdy99edtq5fcw38es3lx4jl3m9r85aj4qzwyn           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qlf76r09rymwmxyy7y6wpxe9yylm79jhhsc4crv           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qmvl4qrn5dnd6kld6hd6ehflk4m5p2azjel2xq7           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qrjcye3z55lqlc0c7fvcll8d4l5sgw5n7a3xyxx           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qsv9f36ddlxcqz39qg27wdr4wyq98d5rtuvl2em           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qtheefy6gj4gw9gmas5qy53dxwtas5qc6f8ddyj           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qvcuvp66c2p4mz40ww4vhfpfum7jet8cmal5lzj           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qxep66qt94gg3vwwkkujutu74lalucq5yuzntmh           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qz6fyaqxs6veu4py9l48wf76tcmw8pltmhclq32           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qzt6lnxtdfrygqmye93742m3cx35pe4g9ru46tc           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q2nhslrejpqg84rxulrfqt3d6j3y8ac5zzrn3rq           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q3j7hnx5c25tfus5kkg582607smyuw2qwj5z2eu           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q5yx70nwmugtmcggn3mtyr85cvrdwg099dg6zkm           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q7m74rwahc2gwgcs2ce2qczstjqgu4rl2zcelwt           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q9qywp0thrjfwp5s05nnlz5my7qhxp9204xu7ll           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1q9w3r2uwnhelfear6t50st8xdrnaw3kcfvaz7z4           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qcupsatyq6662wrut8v0w6vp92kvrfy7emrf6am           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qg0g0nm54wx724sfhkn6uw92sgk2mmryzel5gnw           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qk3gc3rwadndfm7zyr8m6vex97r2ecufkmmknkd           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qnqymtc0ktf7cxx9rdk4ap6qswmnqjpkdpaeves           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qrxhqa06utq5wjs6sl5jmsn0pha6gw8fj7h2h7a           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qxf86faqs0x23cd7ge0vtmqdt3wqdgg04snv8kj           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qy64g9563rarau0qeg6k2wxhe9w954rlnv3agxu           BTC                   0.01554082 2022-04-07 22:07:03   2022-04-07 22:07:03
                     bc1qdv2y7k8ug9d4kg2hnmt9zq0ghwe2xat3ddec5f           BTC                   0.01553932 2022-04-16 03:33:41   2022-05-01 16:15:35
                     bc1qfz8apwc3qa4kr6zyecku4gzz0ehfxyhxu6dg2ld6fxvw0    BTC                   0.01545992 2022-04-14 07:06:52   2022-04-14 07:06:52
                     38xGoGfXuwcMmo6NNC8TsKeuEW83VW454W                   BTC                   0.01532193 2022-04-28 18:38:43   2022-04-28 18:38:43
                     3NXaXiSRr2nWWJbH6hKvWZ9zEkvus4KhHa                   BTC                   0.01529570 2022-04-11 18:39:33   2022-04-11 18:39:33
                     31rctJL9Qcu2VAPr66Vm8A8fRXpQ6RzihA                   BTC                   0.01527918 2022-04-27 16:26:22   2022-04-27 16:26:22
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     172rTurJaMveFewcTd8s9nx1uGihMpXU6H                BTC                   0.01520559 2022-04-13 10:57:07   2022-04-13 10:57:07
                     bc1ql6kpw3e2mn6zfnjhvztscy2tn3gn745q7w5r4t        BTC                   0.01520000 2022-04-10 16:15:17   2022-04-10 16:15:17
                     1UVEvyirm1GECM9NUB85BsuurCYX1t9JJ                 BTC                   0.01516892 2022-04-25 14:52:04   2022-04-25 14:52:04
                     1BsNpxphLsUVUDdYTFvfmf6Ye8bU7PQFs2                BTC                   0.01516426 2022-04-20 15:21:47   2022-04-20 15:21:47
                     bc1qr7ajt7z9055zfpzy0nq2uhyg5ynmvxtp09efqh        BTC                   0.01511276 2022-04-04 04:30:20   2022-04-04 04:30:20
                     1LiSTEbKVnmUnHEPbPb1QZkHidwJKSntqg                BTC                   0.01499662 2022-04-19 21:21:06   2022-04-19 21:21:06
                     1HhXzfhG5WsmJN47UWAbbHLHDAmsPDcTiV                BTC                   0.01495920 2022-04-20 04:21:00   2022-04-20 04:21:00
                     bc1qef0r5wjvzsjtn7zux89lwwq09264shfhj7wvez        BTC                   0.01483529 2022-04-11 03:47:00   2022-04-11 03:47:00
                     bc1qlcj445xfl54jjuj4ncdqg5f2cd8rvv72ntwe5v        BTC                   0.01478913 2022-04-02 21:55:52   2022-04-02 21:55:52
                     3EsTaKnJMBpjiuTN6fmvuG9AknhiRf271o                BTC                   0.01477879 2022-04-02 08:15:46   2022-04-02 08:15:46
                     bc1qjssqmq4r2t0h8wf2tshs0k5s288xcud47l7hmp        BTC                   0.01459395 2022-04-14 09:49:41   2022-04-14 09:49:41
                     bc1q7jc9ma3whrgun74w9dvnv8ahsud3xf6cc8c03w        BTC                   0.01441961 2022-04-08 16:42:04   2022-04-08 16:42:04
                     bc1qlhjh2q4udrkwyrz6a8609j43q29tm68vmzq0h0        BTC                   0.01430949 2022-04-10 01:52:38   2022-04-10 01:52:38
                     bc1q96xqtyu44470hrs8692s3mldqpx5sd870tsfl6        BTC                   0.01428112 2022-04-16 08:38:14   2022-04-16 08:38:14
                     18dP6cccpeQHXwEBPgCaq94UWs29Pa3h4x                BTC                   0.01424916 2022-04-26 07:07:48   2022-04-26 07:07:48
                     bc1qzfwzfzcktg9mwwa7lvfj9qd7gcp5p9f895esdq        BTC                   0.01412789 2022-05-01 21:02:21   2022-05-01 21:02:21
                     bc1qgwt7vlfksqslrxnagpyeqejj3nhsr8k35psfj5        BTC                   0.01411128 2022-04-03 13:01:41   2022-04-03 13:01:41
                     bc1qzzj3xphfk0k7hjefyg78p3dshflkzundn6d9qf        BTC                   0.01397870 2022-04-12 01:56:33   2022-04-12 01:56:33
                     1HQx2xZpvcKBdEJsjqkaZYHCRMpL2L5NpS                BTC                   0.01396177 2022-05-02 08:26:03   2022-05-02 08:26:03
                     bc1qnd7vqmsd49w8j235y92wxu6kh65n4j9d78lfrh        BTC                   0.01392418 2022-04-29 02:47:02   2022-04-29 02:47:02
                     3J9Kw8DLSgFk9ws8WRqn97fpU14PgBwJe9                BTC                   0.01391772 2022-04-05 08:32:52   2022-04-05 08:32:52
                     bc1q4wvh3226t2jz5rza7zvkh8y2mpxc5ymnfwu4lc        BTC                   0.01388988 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qlnrpqwex5r546nxxcvyf2aay4m9a6mqltmc4h9        BTC                   0.01388988 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1q8jtx2xp6gjzwp43hgaelgzsmdl2y7zqvjgz26s        BTC                   0.01388988 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qktzw3a25fnjjp7nuum59ca8p6vyasl57xcusxd        BTC                   0.01388988 2022-04-07 22:18:58   2022-04-07 22:18:58
                     bc1qczz5ur4895t7dfhxsf7z2q2zhz2h67tzaezx79        BTC                   0.01384236 2022-04-03 22:58:45   2022-04-06 10:25:32
                     bc1qlk3r8a0fhm7ur8ppg2pgf0etzgaarydk9u6rlw        BTC                   0.01381333 2022-04-22 13:57:38   2022-04-22 13:57:38
                     bc1q2z4da6xv7epx6gexpfwrwu6ydq5c6rfp22mvl4        BTC                   0.01374230 2022-04-07 03:53:15   2022-04-07 03:53:15
                     bc1qvwchnnxajpj4a2pmwpsju7tulns6x40dr9q7y3        BTC                   0.01325065 2022-04-04 04:30:20   2022-04-04 04:30:20
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qsxm4clfqkscw8n7vvh792vtsq7tp72e4c4r27z        BTC                   0.01323551 2022-04-25 12:32:52   2022-05-01 19:26:10
                     bc1qkguznh94qu08vp7n20s7lnz0t88x6rxafq30xr        BTC                   0.01319606 2022-04-26 00:47:54   2022-04-26 00:47:54
                     bc1qha08pnla30tr38knkrkytdrravhycfg82947vq        BTC                   0.01311152 2022-04-03 12:05:44   2022-04-03 12:05:44
                     14n5Tpon741KCkyZ7KxGgXGd2ztC1T6ioE                BTC                   0.01300000 2022-04-23 20:10:37   2022-04-28 03:29:55
                     bc1qzkqnu70q4fmnea4k6xazmwkuszlw8uztnrse2t        BTC                   0.01288765 2022-05-02 15:23:04   2022-05-02 15:23:04
                     bc1qqxnh5at5t3glvnlc3r03vw2kmdqc0dkqtf4qqj        BTC                   0.01287192 2022-05-02 09:46:49   2022-05-02 09:46:49
                     bc1qv0g9d3qh9852ukw5e86zenztwycc4tpwz24zdf        BTC                   0.01283869 2022-04-22 13:40:50   2022-04-22 13:40:50
                     34jn1owPtrq2GUa6iqgtBvgFR6zcu85Y4b                BTC                   0.01281622 2022-04-22 00:16:38   2022-04-22 00:16:38
                     bc1q05a8yl024e88twxwy3u3g2g6j3vhfhuvmctgh9        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q20828yuslv87l0sqdkjm2gn9rzfn58384w9995        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q2hct9u708gy6d0xn20va9jcpk0lzvp9gawm4lg        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q35ms7c3wd7640p877lx09xev84l3em7sj5kq2x        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q39f07c5p6hzmyzlg6kqegfq88ksyxlnrphclwm        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q4wgu02fme6atr87rftaduxxvjwnx8dxrds9hd8        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q687n3km8rzhp3qy8ju8akus2zprw6s6027sks0        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q6a0j62hm79zdmsfh4z42kdarh7r09ff0zymdxe        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q6ddwdvfpe09txfnuskgstxrv6fzt92chqdl9k3        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q7vj7y0czj6d5pdhykh6kkyfhcucutjn7v6klqq        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1q80m4sa93uj9ug0lwmpj3glurctupfzxc885fe7        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qcynhh6m0txn4aunah0jnj8wy5y70rc3eyh8x6k        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qdjc6dy02f8uqc4z9hxu0x75us50rxrxvap822g        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qj0fa8p9tqh2s8ugvjrha32u2u65k62ew66qk55        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qkgul0am8yz0gaumeanqgg08athlh0q5mnzhmtc        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qkpypey5rsw7fmfscl5dhkjd58yz7mtle2eavtg        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qn2mkcagpyp8jgdxsh4htcynzjdgfw0n80dfmzw        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qn2zmnuufpv49yz7uwcxzenvmunf540w7khhk7a        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qnhx74rl4gcvlumws3tzlktc2naxez3ntdcj0v0        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qp04jhskvnu3vcg9g42uwdpww4puu0umnktx5j0        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qqr0f6an254nkzh7ma7fcsrygv3par4x3tj470w        BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
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                                                                                       Funds under claim
                                                                                       (average confirmed
Owner   Beneficiar                                                   Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                   Destination Address                                     with the five
Name     y Name                                                           Unit                                      Time                 Time
                                                                                    tracing methodologies;
                                                                                     in cryptocurrency unit)

                     bc1qqrxdkjpvee248axzlcszwcxak9n34l4kxqs3tz           BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qst73zk6a5ccuamcl943q8snpr4v0zn3kmqq0dx           BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qyjpv8zk4066qslkqpmtc2tu3jw08hmn88sudus           BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     bc1qzdh88ltc6denxhaannlynagwarl5ry6jfwnvjs           BTC                   0.01279132 2022-04-05 22:47:17   2022-04-05 22:47:17
                     16TaJL7uCwfJYpiawrzVsU3j45GiaXKQg4                   BTC                   0.01256496 2022-05-01 22:19:47   2022-05-01 22:19:47
                     bc1qsf5eggqsck0gzy8v08c9h52umfayrmfxz5q0pw           BTC                   0.01252604 2022-04-28 20:42:26   2022-05-02 01:27:44
                     bc1qs02e5ytwhc44hmdlwtl2v9wk9htm29z4r9kz5y           BTC                   0.01250000 2022-04-07 11:04:23   2022-04-07 11:04:23
                     bc1qycygenz3hymlp7lnsf0cehrykzqc40ajlmmps5gtsyk74    BTC                   0.01235293 2022-05-01 21:21:02   2022-05-01 21:21:02
                     3Gum52vu3BqAqz1uQ7bGC42QwYezLnh5z3                   BTC                   0.01229622 2022-04-25 14:09:39   2022-04-25 14:09:39
                     bc1qwnvjx8804v2u84r9p6gcjmez3m9w5duuzn29jy08p24      BTC                   0.01221113 2022-04-24 14:09:38   2022-04-24 14:09:38
                     bc1q84dwsea8n56yhtsdefnz8m6mks9yhkece9rrct           BTC                   0.01214068 2022-04-22 03:55:26   2022-04-22 03:55:26
                     1GAySZo5Wm874KZ3TYVox8tXg3sQAhZQcF                   BTC                   0.01201701 2022-04-08 16:42:04   2022-04-08 16:42:04
                     1MRFjrnChHPMP9WH797Tg27eZNzQexQW6S                   BTC                   0.01200000 2022-04-18 12:37:35   2022-04-18 12:37:35
                     34wmPequSHbzQqSMjaoB1aSeoCeqKnF7m1                   BTC                   0.01187815 2022-04-20 04:14:28   2022-04-20 04:14:28
                     bc1q30kasxxs6ylss7aqpgac042z0eq09xsnzfzuc8           BTC                   0.01186449 2022-04-07 12:17:43   2022-04-07 12:17:43
                     38ZfJ3P9nYy1JJZQ4J6hkqZ4t4uyU75KLA                   BTC                   0.01173724 2022-04-13 15:09:23   2022-04-13 15:09:23
                     bc1qddkjm5v26gqcr662wqyu6rp89vt2lfras58w7f           BTC                   0.01170684 2022-04-08 10:16:45   2022-04-08 10:16:45
                     bc1qvyvmgglppzh8yy9sr0pueqy650q2pe4f2ujhaf           BTC                   0.01162234 2022-04-28 15:49:45   2022-04-28 15:49:45
                     bc1qdqtf6reme2pwwzaug8hx9rx923uehw4x0w3ean           BTC                   0.01158000 2022-04-08 16:34:53   2022-04-08 16:34:53
                     13W6kXAUYGupZmXs9BdSUBLP3LGvEGyA7b                   BTC                   0.01156378 2022-04-28 19:42:38   2022-04-28 19:42:38
                     1ENdW6UjJYh4phPzsytPMe7KQ91CMsLBZ6                   BTC                   0.01145491 2022-04-20 02:50:29   2022-04-20 02:50:29
                     bc1q0jx935vwgrrgh2fqfrpsdusxpkravxuejtv8wj           BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q3l45aafav4mml0r0sqg5chnwnpehd7rsm6tlpv           BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q57jzmtsh00lnda2qqfytgp0s9nq35vatvz9ns4           BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q5tamh6cyyapvg83f3y24q2pxksq3t68lv422ja           BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q88zj5zj9kxagenhcq7ttgd8fpexl9w0wxc7ehf           BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q8jy34l8f7uar69m0xzyj3ycy2zzyt36r94kn0y           BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q9n4gzap7wzlwap050zkjv296qlx4sq20x7pzfw           BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qave27msvnrch352aq24fren2gd8xsuv9rcklh7           BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qd0ggxdp3dgm2pllt9ntavyv7t5x39pat9hf2qt        BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qd7hrdw05zmd9j8djz9vmexpshg6gw6gefxqhxz        BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qde6ndj4nesr7ty30y6w0y8f7upxhyny9d8qpug        BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qe34tgq4s780ma0nk7xqt08x645m08qmldv8wvm        BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qe63wzrfa3483ng7qgfmdcc3fn8njpg9vu540p3        BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qhkduu6k0tuxc7yd0aw92rwvq4hlewdwef82jky        BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qjchf7kxk3645x6l42hg4rd3kuzsnklwejjza60        BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qls87up9d9w6amyc626jhg8j3styu9k9xzvhnhq        BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qpgp4xyenekyulcyj9pqrchmme5tkkqz3rnge24        BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qpyj7mh8rjna5p6nz97xcelu6jyg54pu6j6yyr6        BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qtgr3jdu966vdvpl6exc23eqettatxmdfar5c7u        BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qujw3xyxtkuycs37adtewwp5enrnjcq9m4yzrer        BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qwclsn06mcmda082sehvrvdey0cjh5n9xaplm4a        BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1qyy3nnjqujkyhf8mggrhjpjzf7pykpdp3z3xgla        BTC                   0.01145491 2022-04-10 22:40:08   2022-04-10 22:40:08
                     bc1q0p5pjd933ye0aw657njh470awqpa7ugjlas3r4        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1q0q20p9fmvc46sce7eau6x768k20nwaphakpcwg        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1q0vrgstv0n7tmz32krtpm7ktsqnts8dd8myd9eh        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1q0xf8s86tnpa4hdpsncdxvh83j0skuhju8lf0va        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1q4kyyutk5489h7vkmxkth5lyyl7jw7jez4tptxx        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1q4u36fljas0ylpl9znyrdkszkzhvkexk339hc5x        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1q80l2wgqm5fyw664hh8fxyelchgjxtj0sat6fd2        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qdqdvmqa2qclcnkqqa8j2hqvnfk8ycgzsh3ryfk        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qe80jhfqgqcpsvytyceh4lpeuy6d9l4jkv5crke        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qekva0a2pvk0mxlff8pa3yyxljud9rh4lsguls5        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qequuass8nrxaaqj8v9g9w8hru7t6zvuvmc0a64        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qes8gsfmsphrcl205srz6ttttw8m38949ggmylr        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qeucc937wwjvf7xpphjur0rzsdqjlp5m09hr660        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qfswhasemu9jentzq0klwre6hmrkqp778qafs40        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qh84xz2az2kdskyrkz7k9x64ym2cdd2cway438w        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qh99pgh2eq0ff48wg32arrsmeamamkhp39hjwrf        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qhms36mmffxdqhhl7hzu95s4elv0krhvsm4wvpj        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qj5jn5h243ap2fn9fmt6yak2ta35qzaju8vl0h6        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qj8t07n0je5s2d94qha5exy4qu9rh7fhm70c5w6        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1ql3qhvhndh8kjxlzq4gc0exa0h7vh03eznng03y        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qqqclg6lk6xcep8vxexytc3ea2xxefvl7ly40p0        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qs0wsyvstpe9wvx5q29p7u9t4tasudufq2texq4        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qs3l4r39dxadp85vmqtguhra3aljj9hf9ndz0sv        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qsg9d304knmz5ft4mtle2kq4l8qstqaefdyymcm        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qua9eg2xwp4ltsgxjt26vdcu6yrr9dxm05jt5q2        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qw3v6s62356xcu88jve9hpl2a8ffd67ywcdscs3        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qw66s3j6h3axp7vz44hl048nv8kn9h2p07ma29n        BTC                   0.01126916 2022-04-27 02:05:44   2022-04-27 02:05:44
                     bc1qye2at6nwnwpm2dra4craeza5ett96spk7pzz3h        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qyle9z6pc6xrx8pq2axn85j3amk2yccucrsms3y        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qyprrr0s5zevkfxrhg47hx8zp57g7lmqwj76ass        BTC                   0.01126916 2022-04-20 22:45:14   2022-04-20 22:45:14
                     bc1qw8ayhvzuvj5epgzn6tefs3tjjtpvrye8mun7nn        BTC                   0.01125021 2022-04-07 16:47:03   2022-04-07 16:47:03
                     bc1qrhlgt0mnpssrgetrkjqfujxn9rpsc7wj6j5chw        BTC                   0.01117857 2022-05-02 06:46:17   2022-05-02 06:46:17
                     15eCkN4yymA3YfRhdmUsmcXYNY4gzcg8mE                BTC                   0.01115214 2022-05-02 02:54:06   2022-05-02 02:54:06
                     3LBy4KjXHdQd4uH6cgG8n5mjRubobcSHpG                BTC                   0.01111740 2022-04-09 01:42:19   2022-04-09 01:42:19
                     31paYcrA5oMNE68he8pjbgu3gHUttiuGNK                BTC                   0.01110935 2022-04-24 20:29:34   2022-04-24 20:29:34
                     1Mx9mxjknyynK6HKoaS9qdeDCRpXQySUVh                BTC                   0.01108212 2022-04-17 09:13:59   2022-04-17 09:13:59
                     bc1q4yekpfwvq5emj4psjmf95wjn597ara5wnwu2da        BTC                   0.01093752 2022-04-27 08:42:14   2022-04-27 08:42:14
                     bc1qqqgjp5dmzu40v84456knqm68sy2x7p55h5wqcg        BTC                   0.01082399 2022-04-03 22:37:42   2022-04-30 12:15:48
                     bc1qppx3eqg8xe589m3496f5y3g86vwsty4ap0923q        BTC                   0.01081202 2022-04-08 20:55:07   2022-04-08 20:55:07
                     bc1qchalzpmdmc7mm7ey5qeylmkvd28ewxms00jmtk        BTC                   0.01065827 2022-04-07 11:42:43   2022-04-07 11:42:43
                     bc1qjt50cuj2dvrlyp79aw2u0mejf9js6j0d2hv8s6        BTC                   0.01063062 2022-05-02 07:17:56   2022-05-02 07:17:56
                     bc1qg5p56dchst263c7qg0csd65qp6k7k2zctt50ry        BTC                   0.01058771 2022-04-03 23:32:57   2022-05-02 08:26:03
                     36iDda6dzHqkn6eAi3sZQCXoAGGr5jTMSC                BTC                   0.01049818 2022-05-01 12:24:11   2022-05-01 13:25:15
                     3Ba6Mv7iEGaTNBf88yVPSh643KubHC2jaB                BTC                   0.01044963 2022-04-22 05:23:13   2022-05-01 21:36:28
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                                                                                    Funds under claim
                                                                                    (average confirmed
Owner   Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                   with the five
Name     y Name                                                        Unit                                      Time                 Time
                                                                                 tracing methodologies;
                                                                                  in cryptocurrency unit)

                     bc1qkskagpxnzxu3rzpejmnnjzph7d8ewwyl3ky3y0        BTC                   0.01037866 2022-05-01 18:41:37   2022-05-01 18:41:37
                     bc1qcxlpz604cc8lh6uk9xk7j53r0fs624axknz0kj        BTC                   0.01022300 2022-04-06 13:53:49   2022-04-06 13:53:49
                     bc1q0422tev9nuzaztwkudpr4l0wgycn209a5feujs        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q0wzpfweqs0yjg2u97n8r448r8u69rs8g9s6679        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q2cyp4wgyucss4uxe6djcvpps8rp8mfm2jfm5k0        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q3dzgj2tq3kzaauwgvlvle3sa8j9cas2qj7a0l3        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q3m5u4dwr9mrmxpj2dg6hk6hxlz3r60xnl5xm8k        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q3y7mzv96jlcs8scxu6s7ztry5xyzyrsyxhktrp        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q7jp5vm63uluskf8x2r036xrjz7cxj07neqaqrd        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1q882fkwmtcgx04pl750m4wcmg5mxa6k2tq2mqkq        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qa2ene0jerdjw969662whqwjg0g8m2smjnvgtjd        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qaqpegxqm0awtjf8z2mhqc7cudjtp54x9u9k480        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qc0n8lcu9ffut9dzjnrud6e59n4gq3w0pxjrjsr        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qcq2av82x5vdvch4fk0vgxkc3tma07n5hxd9fwa        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qejv4ecdnudngfh080t8wp9s9gy4ctpv9m2xfhr        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qeqxecgjz80x6jyxe3ndqf8t44pytxvw2803vmu        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qkgwgd0sda4gd4l5d67uj9jcd9su4swes0gmsqh        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qlyttlgn9v5j6usz0w7gs0yk0tw4gkv4hqgkflr        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qnw43au4lyu0ywpeyllmzstk3dpu5arcak0d8jc        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qp9stue95hkrr2fen5tg4mdptrqnmakzq0fvdj6        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qq6zlqzr7040m0vt0vvzdwdyp6ry6vrlegcgud6        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qr49xqafdjfzrtdktawp4mwmjl3222rlywglzdj        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     bc1qz2f9eamwuzp0r2wjmkrqxge0fsxq547pg7dzax        BTC                   0.01015001 2022-04-07 09:46:55   2022-04-07 09:46:55
                     bc1qzycd533x50yuc5zdve8ayy7hg4pucvw99mhquq        BTC                   0.01015001 2022-04-04 22:31:42   2022-04-04 22:31:42
                     1JYRNBNX4EyHyqFXFiRB88VhumZpBiXBED                BTC                   0.01013543 2022-05-01 14:13:11   2022-05-01 14:13:11
                     1FuckyoUeR6XVpE2CLDVRcggvEWRujJqt4                BTC                   0.01003358 2022-04-16 03:53:10   2022-04-16 03:53:10
                     3KZbnkv6ajTZbih2FRjRykBCq4y8VWXRyB                BTC                   0.00425168 2022-04-04 21:07:08   2022-04-07 17:31:50
                     1KBy6MvcBb2qQRS5fQT92o2c5Dq2W6ygx4                BTC                   0.00270375 2014-07-29 13:17:36   2022-03-29 18:30:06
                     3FdaRKiCg8ratbxWqgaJw4Vv1K9iqX14gd                BTC                   0.00155014 2022-04-28 14:18:20   2022-04-28 15:17:30
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                                                                                       Funds under claim
                                                                                       (average confirmed
 Owner     Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                      Destination Address                                  with the five
 Name       y Name                                                        Unit                                      Time                 Time
                                                                                    tracing methodologies;
                                                                                     in cryptocurrency unit)

                        159m8sYcDJwPfJaVpLeKJitkQTiPKevnY4                BTC                   0.00146536 2014-07-29 08:54:46   2021-02-19 14:37:16
                        bc1q3jyrgruwrjtcq0c5dzlr8ys5mvzczl2ntgslam        BTC                   0.00010263 2022-04-15 11:23:20   2022-04-17 01:19:15
                        bc1qsljhpyjlpgrshn84g7p3cqmeddzmap9znt0qru        BTC                   0.00009144 2022-04-26 01:34:16   2022-04-29 04:31:49
                        bc1q8pewtslsk743wmpjer7j5hvyyp4538ahpl6z4s        BTC                   0.00003381 2022-04-28 23:45:15   2022-05-02 08:26:03
                        bc1q5jzn339004pkgupjkwkffcxmhc5qgtrc97mg7z        BTC                   0.00002938 2022-04-29 00:49:09   2022-05-02 08:26:03
Advanced                3PbFDBew97xcz9XGLhg7tu7sTQEMBCMxtn                BTC                   0.09284234 2022-04-29 20:11:38   2022-04-29 20:11:38
Advanced                38Nm5UeD167VXJVeLDCU8Pyr7jZYDx1AEo                BTC                   0.06883000 2022-04-23 09:42:28   2022-04-23 09:42:28
Advanced                34xMAkjJJY9kaeEZiKTTmTEZzCoUdrm1t7                BTC                   0.06873000 2022-04-22 13:57:38   2022-04-22 13:57:38
Advanced                3ASFhbQDmXbHD1pvW4mMHG2ZybGZi7ZQsR                BTC                   0.06817600 2022-04-26 13:51:11   2022-04-26 13:51:11
Advanced                3PKrggKG8yNL2cVJmfay8VozWhmkYVaRMS                BTC                   0.06732400 2022-04-22 06:43:22   2022-04-22 06:43:22
Advanced                3QDc2XjEyPcqBtGfBMcqn7E9gsX1DpdDNY                BTC                   0.06725500 2022-04-21 22:05:35   2022-04-21 22:05:35
Advanced                3NARivWw2eDsyFRT2zGCH5qWi6Si5WaCWk                BTC                   0.06691061 2022-04-22 13:40:50   2022-04-22 13:40:50
Advanced                3NkWRPyMqGRCitw6o1K4TeWpffyyRa4TYY                BTC                   0.05797289 2022-04-22 13:57:38   2022-04-22 13:57:38
Advanced                338YaxuwDDb2XWx9SNEEs4TuVtVm4f8oWj                BTC                   0.05737780 2022-04-21 08:50:57   2022-04-21 08:50:57
Advanced                38aDQfnCiQL9apXAyc6YG54LvETwijKuPu                BTC                   0.05232087 2022-05-01 17:07:31   2022-05-01 17:07:31
Advanced                36fu3wuqik11tTAgJdx2bD3BdRWA7H5goW                BTC                   0.04962537 2022-04-27 20:21:29   2022-04-27 20:21:29
Advanced                347KhDzgTEwwCyZRXt2D64yJEvRFULAE5L                BTC                   0.04804857 2022-04-28 08:13:52   2022-04-28 08:13:52
Advanced                3Po81h2hjbfPCytAm6jckXqbnJFmwSerW7                BTC                   0.04479548 2022-04-26 13:51:11   2022-04-26 13:51:11
Advanced                3L7LcnHQKwCya6uigHAoFp7L6UYhNFZdei                BTC                   0.03820767 2022-05-01 16:52:45   2022-05-01 16:52:45
Advanced                3799xrac7KsbsgNXZcs56gJDuAycmDXzWP                BTC                   0.03429940 2022-04-26 14:01:11   2022-04-26 14:01:11
Advanced                3CFX4sdk1xnHywYjqJkoBvrM9FGgamj1PM                BTC                   0.02307325 2022-04-27 10:02:21   2022-04-27 10:02:21
Advanced                3R24UiWFRZZRCN7TsAJZdSZi48PutgDUJv                BTC                   0.02265400 2022-04-25 09:41:04   2022-04-25 09:41:04
Advanced                3Cp1VDT9PWHiqi4ZLWquf9PUvkbKHbTrtQ                BTC                   0.02168796 2022-05-01 17:07:31   2022-05-01 17:07:31
Advanced                34eorRhCBesoes65xQaehdRBjkPf3wgg3P                BTC                   0.01788088 2022-04-21 08:26:29   2022-04-21 08:26:29
Advanced                3NNN2jiRvnZeKwJZe4chh4jw7CifN6bdsi                BTC                   0.01725879 2022-04-23 08:31:36   2022-04-23 08:31:36
Any.Cash                3JrhXZMxQrDi7cAoYb5EvcFi5EoSLoihxA                BTC                   0.40619004 2022-04-04 12:27:13   2022-05-01 19:48:48
Any.Cash                3EmozXZrZcedReypNkefzZiAdBMb8mdkGR                BTC                   0.01905535 2022-04-04 19:55:29   2022-04-04 19:55:29
BetFury                 3LAhxTuHnGju2SJzUCvCRAf5PGFQfZNAQT                BTC                   0.02829465 2022-04-15 05:09:31   2022-04-15 05:09:31
BigBank                 329koRvovTyNnd4ADrpR2uJHzXxfvKxta5                BTC                   0.10627984 2022-04-12 05:39:04   2022-05-02 05:28:35
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                                                                                   Funds under claim
                                                                                   (average confirmed
 Owner    Beneficiar                                             Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                  Destination Address                                  with the five
 Name      y Name                                                     Unit                                      Time                 Time
                                                                                tracing methodologies;
                                                                                 in cryptocurrency unit)

Binance             bc1qm34lsc65zpw79lxes69zkqmk6ee3ewf0j77s3h        BTC                  41.81340831 2021-12-25 05:15:34   2022-05-01 14:13:11
Binance   Suex      1Edue8XZCWNoDBNZgnQkCCivDyr9GEo4x6                BTC                  31.14578175 2021-02-24 09:50:43   2021-05-11 09:17:00
Binance             1HXcR4SHXJseAXhW32PwCm2Ec8UQunpWJm                BTC                  26.36513566 2021-05-24 18:33:20   2022-04-29 06:10:57
Binance             1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg                BTC                  10.94525982 2021-02-24 08:11:46   2021-04-18 10:53:00
Binance             1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG                BTC                   9.06994620 2021-02-24 08:17:53   2021-04-18 10:53:00
Binance             1Bv5njyBqFwPTGuEeUav7sig4aNgna7jzH                BTC                   9.03232228 2021-06-01 14:01:08   2022-04-19 15:50:35
Binance             17iwoMJv33UgjWxsM1j4UpKtMnGC8hh5nD                BTC                   8.83901059 2021-04-01 13:43:02   2021-08-16 08:27:40
Binance             1ASNZz2dTiya1sQY1fqHbUdadZiERmzvLd                BTC                   5.35049845 2022-04-10 18:50:23   2022-05-01 23:04:10
Binance             13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR                BTC                   4.59320846 2021-03-14 19:43:26   2021-03-20 18:43:23
Binance             1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU                BTC                   3.84375359 2021-03-28 22:24:57   2022-05-02 13:18:02
Binance             bc1qt73y0anphywgrf570twd0htekatr435d9xf5mt        BTC                   3.58410164 2021-04-19 18:22:10   2021-04-19 18:22:10
Binance             1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx                BTC                   3.43832425 2021-03-08 09:34:45   2022-02-13 16:41:01
Binance             1Q1sEe2UoWQjbt8rndrcAmXNEobxrLrgRe                BTC                   2.78380879 2022-04-04 18:49:33   2022-04-05 16:39:16
Binance             1Fs4QNPYf7Zf7CeJiFmSkTK3kzvENVD5w4                BTC                   2.32731897 2021-02-16 02:39:49   2021-05-24 18:55:51
Binance   SimpleSwap19iSJXBSJpiGPmyLkz8c9sx3Nk3amyJok5                BTC                   2.16320808 2021-06-27 16:40:15   2022-05-01 14:46:55
Binance             1BtSE7AXX5RuRRcnbhiM3qBwMhEYwxqBsm                BTC                   1.83946224 2021-03-14 22:13:45   2022-05-02 07:36:42
Binance             17oFzfQQb79jHghVBLF5wic1tKASRjpT67                BTC                   1.52477837 2021-03-16 03:49:39   2021-05-20 03:37:24
Binance             1Ni5XszzPMdKHCGx2qMkRgyLXDjrsaZpas                BTC                   1.43854178 2022-04-02 06:20:37   2022-04-15 21:32:19
Binance             1PRB8uMJoLUgz8QTmrT6gPMSxPLdRZhu5j                BTC                   1.43178418 2022-04-07 18:42:10   2022-04-07 18:42:10
Binance             1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                BTC                   1.39406858 2021-04-27 18:07:07   2021-11-09 16:44:29
Binance             1PQBiVeMngjbJpvpDgFYGo37pVqkYxRHKz                BTC                   1.35606080 2022-04-28 14:18:20   2022-04-29 11:26:12
Binance             14kbqzg3mJrx6zmY5dYpCVhBJ3mrd7pYSt                BTC                   1.35380062 2021-05-11 11:53:29   2021-06-05 22:37:32
Binance             1J9UZvdFP5betiX2oFkeHBcDjVXD8ceFPV                BTC                   1.33290382 2021-03-27 14:28:50   2021-05-03 22:36:38
Binance             13m6MHvWBww1tbD1vtmfmwbwBYqcEYMPsf                BTC                   1.04297314 2022-04-02 03:33:56   2022-05-02 11:53:15
Binance   Suex      1L4ncif9hh9TnUveqWq77HfWWt6CJWtrnb                BTC                   1.02996683 2021-06-22 09:11:17   2021-06-22 09:11:17
Binance             1JTDfmnMJPUSE5iHM5tfvbWC8wGkiqJhsF                BTC                   1.00912125 2021-11-07 04:00:12   2021-11-11 18:21:08
Binance             1N8KS3c54AsX2MvD2ocLVjba7NvsbRMCCh                BTC                   0.93392822 2022-04-04 15:56:33   2022-04-04 19:34:44
Binance             13WeoUWU5qced9pFYKwUupjteA4HMvQfZM                BTC                   0.86173964 2022-04-11 10:53:52   2022-04-11 10:53:52
Binance             12K8u22kjGxWadyks4YSZbNqZbEGpmUNpm                BTC                   0.84215171 2021-02-27 23:53:43   2021-02-27 23:53:43
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                                                                                      Funds under claim
                                                                                      (average confirmed
 Owner    Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                     Destination Address                                  with the five
 Name      y Name                                                        Unit                                      Time                 Time
                                                                                   tracing methodologies;
                                                                                    in cryptocurrency unit)

Binance                bc1qa76elp38ah2ex5g99jny3vrw67ygw86pmllaf7        BTC                   0.83882009 2022-04-04 11:36:45   2022-05-01 10:09:03
Binance                bc1q5ewee3tn53kqapqhn4c2r652lpv5llvud0r40m        BTC                   0.79992927 2021-05-26 11:09:01   2021-05-26 11:09:01
Binance                1LArmCe82visDjDeKXq3xxCWGmFMW8f3Sz                BTC                   0.79904496 2021-07-06 09:22:06   2021-07-06 09:22:06
Binance                114fGZvR8MxbaJawSHhSN64mD3tbTshxdM                BTC                   0.78665902 2022-04-15 19:32:43   2022-04-15 19:32:43
Binance                1HVj6JWaAqu6JSjhQeq9YpG8kRCAywY8nk                BTC                   0.78480180 2021-05-12 14:10:25   2021-05-21 23:13:00
Binance                bc1qrnzj9d8ds32j2hwcwryd8hljv9m8ytjvsglq0j        BTC                   0.72697172 2022-04-08 16:54:02   2022-04-27 08:42:14
Binance                1FwAX1yW2szV6gG7YNJvRWY242dokFCrtf                BTC                   0.62657482 2021-03-27 21:29:01   2021-05-25 16:42:56
Binance                1B89tYAD1HvqxAu3pqKU2U4H1bWi4Cxahs                BTC                   0.60886688 2022-04-12 18:55:01   2022-04-21 14:34:57
Binance                bc1qhjja98qwyf8lhw480u7aq2je7vhstluvz3cqzn        BTC                   0.59769477 2021-05-12 13:09:23   2021-05-12 13:14:01
Binance                1NDGw2Jw672eLMyFKgUaNENiPZyzL5ugwA                BTC                   0.58740146 2022-04-04 22:51:20   2022-05-01 16:04:30
Binance                1DqfMX5dGC1pbPtHE9hb7b9NSe4krJXByH                BTC                   0.58142987 2021-05-13 14:24:04   2021-05-13 14:24:04
Binance                17ssMKaUL7vVJZQBs1CSP7oD8in6fFQ2vz                BTC                   0.56689702 2021-06-15 09:43:53   2021-10-08 12:39:37
Binance                1Hx1LfpYtXuWYNX9JUso4endcKa5PGCL3p                BTC                   0.54612791 2022-04-14 00:32:02   2022-04-14 00:32:02
Binance                12cMVBVvWSBzy8B9fMjKzvGaqTmnbDaBUh                BTC                   0.53708347 2022-04-30 06:21:44   2022-04-30 07:27:43
Binance                19U6Fk9YQGAhi5bBg6xcvNydPd9SJyCmXf                BTC                   0.52447578 2021-05-25 07:42:30   2021-05-25 07:42:30
Binance                1NkFXyXcaYKqnuc3EC5JB1CnvHjQYH1x5                 BTC                   0.50793289 2021-05-01 21:59:47   2021-10-20 16:37:20
Binance                1DML6c39gTnv2JxAfvzpgTFBATuusPYTi4                BTC                   0.50535042 2021-08-14 19:37:17   2022-05-02 11:57:44
Binance                1Czs7WkpzNCENedq1ej6TxU25W9vWAJ1bR                BTC                   0.49254994 2022-04-18 11:47:19   2022-04-18 11:47:19
Binance                bc1qeenlxvlh6zfc2ypdwwh2l0jxyn3pudz6mreq6f        BTC                   0.46397932 2022-04-07 22:18:58   2022-04-23 01:30:38
Binance                1XYEAuFfgrwzLbQvUKfJNZmwrqguXsnmd                 BTC                   0.46256888 2022-03-28 10:19:50   2022-03-28 10:19:50
Binance                17GNwhT5QkxvKNCYNSWUNyFFP3RDPSzLMi                BTC                   0.46000000 2022-04-08 11:16:41   2022-04-18 10:02:47
Binance   NEXO         1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG                BTC                   0.44757220 2021-03-26 21:30:05   2021-08-29 08:30:48
Binance                1Pkd5fM7hz8NNxqDwo9hoPnbMNgrSMUsMX                BTC                   0.43185565 2022-04-21 08:01:54   2022-04-27 08:42:14
Binance                1H1SkkVE1wrgwJxpU13W7a1DoCdKZ7JvRe                BTC                   0.41868531 2022-04-10 07:37:51   2022-04-28 21:36:59
Binance                bc1qe44ldnk6z0cpzmr0ynj02wg7kh9882q6cre4hf        BTC                   0.40451876 2022-04-07 11:31:58   2022-04-07 11:31:58
Binance                1M24btsEgeTYMt9UwUDtXzMJXSDwSecT1B                BTC                   0.39054918 2022-03-30 13:10:02   2022-03-30 13:10:02
Binance                1LmFmScFggjDak4JBZqJsxhAykRwYtkTFv                BTC                   0.35700215 2021-03-27 10:21:37   2021-04-05 05:46:37
Binance                1HaFBZvUSnaE7UGSpXcMWgsBzbqfYWWPbc                BTC                   0.35197366 2022-04-04 05:14:11   2022-04-18 04:51:31
Binance                1P1LCMr7U6jxf1Mx2XYTRPQzRSsvjZcTc                 BTC                   0.34528192 2021-05-01 09:50:27   2021-05-04 16:32:35
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                                                                                      Funds under claim
                                                                                      (average confirmed
 Owner    Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                    Destination Address                                   with the five
 Name      y Name                                                        Unit                                      Time                 Time
                                                                                   tracing methodologies;
                                                                                    in cryptocurrency unit)

Binance                18unz3uQznh2MqLqhuXEgrNe5doqJfay7s                BTC                   0.33995242 2022-04-18 03:25:10   2022-05-01 13:30:41
Binance                17s4r1R4e3pwDobrmwMmBNUPq5jsrBM7hM                BTC                   0.33903171 2022-04-12 09:43:36   2022-04-14 17:09:45
Binance                1J7N8fBeJfnVHHdGtW3ZTDZF4P3JqUrZJr                BTC                   0.33587747 2022-04-26 16:05:56   2022-04-26 16:05:56
Binance                17Lj8g28MyfouqKzGmwcrC34DKeqm5W4t6                BTC                   0.31986732 2021-04-15 17:32:16   2022-03-31 09:03:04
Binance                1FSufiBKbN6ooNBwzrRSUc5roTWpSCVy8K                BTC                   0.31310270 2021-03-19 19:54:15   2022-04-07 11:42:43
Binance                1JiJDCjGs67rYj45QZWedjkqhxevDAzjaV                BTC                   0.30643787 2022-04-13 20:15:43   2022-04-13 20:15:43
Binance                1DwfT75rr5R1jbUWrip3NKXDLk4rTTc5j9                BTC                   0.27396384 2022-05-02 07:36:42   2022-05-02 07:36:42
Binance                12T6d7EJUKft8Nh1AthLakm3hMuM7UXndv                BTC                   0.26408622 2021-02-24 17:59:31   2021-02-26 13:52:31
Binance                1DfxHcXj1nTSJzLLRNeDbP9v1aCyWUAsVY                BTC                   0.25332135 2022-04-11 09:29:44   2022-04-11 09:29:44
Binance                1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY                BTC                   0.24063387 2021-05-20 10:28:47   2021-07-31 02:01:07
Binance                bc1qkhcw98pdkweqgk4mu5up35k5ytm0gkp0c94l5m        BTC                   0.22099065 2022-04-05 23:34:57   2022-04-23 12:40:40
Binance                bc1qr2ua9l0vqjlcrvlz5uagwhprxapru2j80crel4        BTC                   0.21187429 2022-04-18 19:06:43   2022-04-24 13:26:00
Binance                1EtCW4kXghqHwBukFSy2vMH8AyRLd6ygLi                BTC                   0.19264390 2022-03-26 10:16:48   2022-04-17 04:05:05
Binance                1NPucuRcuYcMVHdrr24Sfufm67zFsqQe76                BTC                   0.19188864 2022-04-06 12:25:48   2022-04-23 14:32:37
Binance                1FAFnMER2EdsE1ovcn3MUEjfoqHaePkXcs                BTC                   0.19094966 2022-05-01 00:47:55   2022-05-01 00:47:55
Binance                1M4Z12GUNCX6hE4JrNUEo6LWrTdjrwzUAz                BTC                   0.18127892 2022-05-01 13:44:05   2022-05-01 14:46:55
Binance                1JBssVNNAskJhRYafwPg4wARUCPkpE94W8                BTC                   0.17595816 2022-04-05 18:00:57   2022-04-28 18:56:43
Binance                19PedDt74bzRDFkMV5XnoW3Fg8yw38J1jy                BTC                   0.17419843 2022-04-26 04:07:40   2022-04-26 04:07:40
Binance                127Trw5DfE75AD7i8jtTeStNFhYPYcWYsp                BTC                   0.16981706 2022-04-02 04:26:11   2022-05-02 00:47:55
Binance                1CEm9SwCV3Vd4n4ACW5eiUsSr31oTTYWzH                BTC                   0.16420789 2022-04-07 12:17:43   2022-04-19 19:15:56
Binance                1MHWVkgEV9ML5q7aHaeEnEhGX4SWkPFGw1                BTC                   0.15999435 2022-04-17 01:37:57   2022-04-29 00:39:35
Binance                1LrAWkgkFo6FnLeH5FrPvcp6pRBKoL4DXc                BTC                   0.14617468 2022-04-04 18:37:27   2022-04-04 18:37:27
Binance                1Cyr2d73K3cK76CqBiAcTipfJqutQs4i6m                BTC                   0.13798282 2022-03-03 13:40:21   2022-04-22 01:25:06
Binance                1Fqh8FJhcbQsPy8tR7SqTHM4mJGW6Mmc4p                BTC                   0.13347457 2021-06-13 13:02:27   2022-04-24 16:20:20
Binance                13xBrNBKSEdUGJkCPdvj8nYihPZaFnk6aE                BTC                   0.13202922 2022-03-28 12:53:46   2022-04-21 00:54:18
Binance                1Mw7UU1FNM61dLXAAgoPGFX7mRCfdKego1                BTC                   0.12797728 2022-04-24 11:11:42   2022-04-24 11:11:42
Binance                1NKqixzearqYuk16TQm5N72c8pRWRF45k6                BTC                   0.12274139 2022-04-03 17:38:04   2022-04-15 22:22:01
Binance                12or6jPtCQXvdU3H1EyEHgCEX62Ga6jSid                BTC                   0.12259585 2021-05-19 13:05:41   2021-10-04 13:14:36
Binance                1MyjBehenXersURLazwQNFFjcSToYNwyVZ                BTC                   0.12025331 2022-04-05 18:09:28   2022-04-06 01:03:28
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                                                                                      Funds under claim
                                                                                      (average confirmed
 Owner    Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                     Destination Address                                  with the five
 Name      y Name                                                        Unit                                      Time                 Time
                                                                                   tracing methodologies;
                                                                                    in cryptocurrency unit)

Binance                bc1q0cz9a9t8mpck7d8ujhkhteln7mkyturm06d6r9        BTC                   0.11969334 2022-04-05 13:31:46   2022-04-30 19:19:18
Binance                1EoiTRaT4XATgnh9hNe9SG5W4o8yBejzbD                BTC                   0.11701191 2022-04-12 00:14:11   2022-04-12 12:45:22
Binance                1MFN4wgbYz7U7YYxVfYDdRtw3gZUVrMTM9                BTC                   0.11517495 2022-04-22 01:13:33   2022-04-22 01:13:33
Binance                1PZBV6iBBvWDnLeAEDmTMLjXSsHa8CM5iQ                BTC                   0.10394234 2022-04-30 23:47:58   2022-05-02 01:19:53
Binance                bc1qthq4rhw6pdgy7xcrpv0h2l7dwhunk35a8jx842        BTC                   0.10086089 2022-04-03 19:52:45   2022-04-07 09:58:37
Binance                1AKtxjFfY3kGzWGX5XvEyGiZXR9ZCGmXFB                BTC                   0.09778368 2021-05-13 21:33:56   2021-06-11 23:01:57
Binance                1PJmnzvBe2PMVvjYookg2sv6zdAVZgwMrw                BTC                   0.09597490 2022-04-04 04:23:41   2022-04-04 04:23:41
Binance                bc1qavcfvk9y724sgrkgm0ejqhxgznm2msnt42z22l        BTC                   0.09570192 2022-04-10 04:58:41   2022-04-29 01:52:29
Binance                19ahKJrUwRSk3J85mwSTsGinUVtUpP2y2H                BTC                   0.08840330 2022-04-13 20:45:13   2022-04-14 19:45:28
Binance                19zV5CDfEiPNGP1Jd7mNkQDQMQaSn57o4f                BTC                   0.08732474 2022-01-08 16:16:18   2022-04-23 08:51:20
Binance                1N3bA9b9N7bpHgLXNJPt6Fnqh1PyN8AucA                BTC                   0.08607479 2022-04-11 12:00:54   2022-04-11 12:00:54
Binance                16Sihf3NMGeu3XxLhs8TSbViVJHxLT9BzM                BTC                   0.07999023 2022-04-08 06:10:33   2022-04-08 06:10:33
Binance                1Ko8QS2oBz1gJaCbtYMuDtkezZo2a8vZCY                BTC                   0.07957798 2022-04-05 07:23:47   2022-04-25 13:26:05
Binance                1AwhgUBg7ew6jcCpiun5zJXDmJMqo38HBh                BTC                   0.07857063 2021-03-11 20:42:39   2021-05-15 15:27:17
Binance                1GRk9P8iwLXyx3MEWWwYZgSgeM5okbviFs                BTC                   0.07812000 2022-04-28 11:07:18   2022-04-28 11:07:18
Binance                1EgdnPaY6aP5GqsTvMUqkARV3UM11uiHz1                BTC                   0.07787112 2022-04-04 01:03:13   2022-04-04 01:03:13
Binance                19sr8JszN2ZrtMc594tUHnUKAyRZAmq1CS                BTC                   0.07749516 2022-05-02 04:44:05   2022-05-02 04:44:05
Binance                bc1q7zngygfyu7eu2uxq38nvnhns3vvv7t03dzzlqv        BTC                   0.07664211 2022-03-21 09:46:22   2022-04-26 06:11:41
Binance                1BN77fYFjZvLwWAGf5szbLUaeJXMawZb8X                BTC                   0.07273785 2022-04-13 12:04:08   2022-04-13 12:04:08
Binance                1KLJE9xEPALVZp7rvmUSAmZBqwQCpaVjL4                BTC                   0.07096713 2022-05-01 21:21:02   2022-05-01 21:21:02
Binance                1KNWJDPqsykVXnJqVm898Wrpc6sncMqLDe                BTC                   0.06763370 2022-04-13 04:11:22   2022-04-26 04:07:40
Binance                13BTP1bMkbEVEos9bquDGxGjstjzCk6zM5                BTC                   0.06759030 2022-04-03 06:45:14   2022-04-19 10:02:10
Binance                15SQVn2HTJq9pYABgLiXYnqTQ3uH4yk3P4                BTC                   0.06751330 2022-04-19 13:25:06   2022-04-19 13:25:06
Binance                bc1q3y4vt4mcky4cf8nyv8tk3jy98av6ulcdcspnkr        BTC                   0.06681043 2022-03-31 10:22:33   2022-04-26 07:49:51
Binance                1AVtJrSUi52Jwvk7ogJQuUHBsLVJZ3uUPt                BTC                   0.06614305 2022-04-07 13:58:34   2022-04-07 13:58:34
Binance                bc1q0yssxqy7f3pcz666d6l6tsvjkgff5lcw7wzf3x        BTC                   0.06399763 2022-04-10 22:16:00   2022-04-10 22:16:00
Binance                bc1qxsaxzsgr3nu3rytgjm92dhqqj8m8at3qrp867m        BTC                   0.06397258 2022-05-01 07:10:33   2022-05-01 07:10:33
Binance                bc1qpzpg562k844cev3545xygxkwc6vxdtcswlfj4q        BTC                   0.06397052 2022-04-28 22:00:49   2022-04-28 22:00:49
Binance                1BX5HwxwmktcFsQZTjtJPDNWKDqNjRWXY                 BTC                   0.06274595 2022-04-13 03:49:34   2022-04-26 15:00:44
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                                                                                      Funds under claim
                                                                                      (average confirmed
 Owner    Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                     Destination Address                                  with the five
 Name      y Name                                                        Unit                                      Time                 Time
                                                                                   tracing methodologies;
                                                                                    in cryptocurrency unit)

Binance                15bb8PA9ENHGNBuaFnSz6uu5r57mPgZAA9                BTC                   0.06227936 2022-04-14 14:34:30   2022-04-14 14:34:30
Binance                17Zrpz9c4A4GnQT93oCiuHKRhucxQYjncT                BTC                   0.05867548 2022-04-04 15:56:48   2022-04-04 15:56:48
Binance                bc1q0lfwx3d7hnuttnmn8mzcegjda4avmq8sdxujey        BTC                   0.05800039 2022-03-27 04:08:58   2022-03-27 04:08:58
Binance                1KKFohFF6yBZhqqfKfMrwPUDE2BwTGU2N9                BTC                   0.05755191 2021-05-15 07:20:35   2021-05-15 07:20:35
Binance                1H23VQRYDYvTeov3CVEJopy4JdtzXzdeEa                BTC                   0.05699151 2021-05-17 04:23:19   2021-05-17 04:23:19
Binance                bc1qvw0876ldh6mfcmdv25xu9xqmfzth76lawkxhyd        BTC                   0.05699151 2021-04-25 14:54:33   2021-04-25 14:54:33
Binance                1FwzvF2cTFyUKczDP1NU2ubSnyCwdnu5Fa                BTC                   0.05670303 2022-04-21 06:05:59   2022-04-22 21:30:30
Binance                1NNC1t8quVLQz9dn2ZGQqZAsZV5dFEYEPe                BTC                   0.05582116 2021-03-29 17:52:04   2021-03-29 17:52:04
Binance                1MTjtfJ9XHtRoDtbbhqTfNxPP1fkbnYTrk                BTC                   0.05538003 2022-05-02 08:35:40   2022-05-02 08:35:40
Binance                1GjtDNbmeVuikzKwEBzaq8hCn5eaM71gDc                BTC                   0.05427907 2022-01-09 20:47:03   2022-04-30 16:34:32
Binance                1DzV3uYASXeG7W5YfHDpNAfZGnYEnqBciE                BTC                   0.05167197 2022-04-15 20:10:21   2022-04-29 08:33:06
Binance                1GetmRcZ5Wyj9RURquPRFSf6r6zm5yRs6F                BTC                   0.05159859 2022-02-10 16:02:30   2022-04-15 04:14:45
Binance                1DFN7HhSV35zbmKDyiKmUBcoFMYwhJGhBc                BTC                   0.05050484 2022-04-14 08:52:45   2022-04-14 08:52:45
Binance                19RuWhdXUruJECvdaiYVcHdtqT19Ue3Hin                BTC                   0.04953150 2021-06-21 12:22:44   2021-06-21 12:22:44
Binance                1HjCsxkyJBbRSZU7fqpUczz96wK1JP7eES                BTC                   0.04953150 2021-07-14 21:01:58   2021-07-14 21:01:58
Binance                146QSUpVgEnw6cPdvqK9Ektc6Fs6T6Y78m                BTC                   0.04953150 2021-07-03 18:24:11   2021-07-03 18:24:11
Binance                1FyL2e9mFyCgW4cDNNqKgPzy9KYeCgB5TB                BTC                   0.04887434 2022-04-09 07:41:48   2022-04-09 07:41:48
Binance                1EGekFrnhonY93URyXuQ8w1fYffSr4MrnU                BTC                   0.04794591 2022-04-08 19:19:02   2022-04-08 19:19:02
Binance                1Lp8RVXbGXR1SyembrPfpBatXp9ByQCCyU                BTC                   0.04570849 2022-04-05 22:47:17   2022-04-09 18:07:09
Binance                1rBg2NYbkDNZ6jUr4cQ5UiCS9o4AasS86                 BTC                   0.04560956 2022-04-04 07:58:25   2022-04-04 07:58:25
Binance                1HxgfMZ8TtWxueEynqcQbFmKK4FtLM5qmQ                BTC                   0.04470407 2022-04-05 23:00:43   2022-04-29 23:14:17
Binance                1BxaRQUpp5fVAU7XmffW2WLVRFzDhy7YJe                BTC                   0.04430578 2022-04-11 16:53:10   2022-04-11 16:53:10
Binance                16MoMBF2pQyq1xHWpU2QtdApSocWnkRdg4                BTC                   0.04398661 2021-05-12 22:52:21   2022-01-05 19:27:49
Binance                1D3XqcAkcUYz6N3mCLaK2brwPT28wrXCae                BTC                   0.04358540 2021-11-18 13:32:38   2021-12-18 12:23:18
Binance                1D8mU7DHyFcWMEHLn8PKME8P1NXAem6ur3                BTC                   0.04350228 2022-04-26 04:07:40   2022-04-26 04:07:40
Binance                1Hrkp9RFvimVwrkowpxFYhSPHCQ3vVHbHL                BTC                   0.04347136 2022-04-04 15:56:48   2022-05-02 10:36:45
Binance                1B75BDKfHgVgv1CgK9EadJQvNteHvE9h9u                BTC                   0.04316280 2022-04-01 19:51:22   2022-04-01 19:51:22
Binance                19udHxxmAgeRej7zKdQDgvRgH6Wr7K8kZn                BTC                   0.04247741 2022-04-30 16:51:15   2022-05-01 11:30:44
Binance                1CEvgeHddizVumNdT2V2P9yRgHtQjuMfhM                BTC                   0.04244118 2021-04-27 08:47:01   2021-04-27 08:47:01
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                                                                                      Funds under claim
                                                                                      (average confirmed
 Owner    Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                    Destination Address                                   with the five
 Name      y Name                                                        Unit                                      Time                 Time
                                                                                   tracing methodologies;
                                                                                    in cryptocurrency unit)

Binance                1GEBW62KjGVEnB16DBP7RtLqeENN2hVqmi                BTC                   0.04038252 2022-04-03 21:31:42   2022-04-06 13:51:17
Binance                13dZz4fSYQieR81vjxNyXuGthQp3UdcB4C                BTC                   0.03963968 2022-04-10 07:17:39   2022-04-19 00:45:38
Binance                1N2eqchdvN2PcSpZcJpb8v68XbcVpJiaZM                BTC                   0.03688177 2022-01-28 02:44:29   2022-05-01 18:24:29
Binance                193HdjriM1hGVS9w74vZmZzNb9WA81x5HB                BTC                   0.03657505 2022-01-08 11:56:43   2022-04-30 23:47:58
Binance                12ukrNc9hmxGr34Wy6LpWMW1qMJFb4ZEes                BTC                   0.03649729 2022-04-19 12:42:34   2022-04-20 15:39:10
Binance                15XeU1EtEwNzRQ9eWYRxkomBFdBMH79KDX                BTC                   0.03610531 2021-11-14 05:15:27   2022-03-27 04:08:58
Binance                1LYDi7trvgcCggFD5PQAJUADfaGuyT452e                BTC                   0.03597616 2022-04-28 23:11:03   2022-04-28 23:11:03
Binance                1MkFuvKhUaQj8vwuLZ4NTbzNVShbiDkvQn                BTC                   0.03588439 2022-04-06 09:12:46   2022-04-06 09:12:46
Binance                124aLd55F9Fz314BqWqbmtpQqpsjX8N78t                BTC                   0.03479001 2022-04-07 14:15:46   2022-04-07 14:15:46
Binance                16DHWd9D88WpHxL51d4MixrC1LvoTHE9oj                BTC                   0.03357427 2021-07-03 18:24:11   2021-11-23 08:33:30
Binance                1MjSucCt5JAvbFJS1gqQAufr8CNmZ9u6k8                BTC                   0.03354864 2022-04-25 23:24:05   2022-05-01 21:21:02
Binance                1GejPWi1ua7o8ZhCkcKrCY1f3CwFWBS8sj                BTC                   0.03327778 2022-04-22 18:48:51   2022-04-22 18:48:51
Binance                bc1qyje603p84rhql865uxep60zmzlulz4f88894n5        BTC                   0.03199249 2022-04-05 18:19:54   2022-04-05 18:19:54
Binance                1PmMTdGNQB9xmGVMxtAXcRcvS41xnyZ5yV                BTC                   0.03197693 2022-04-29 16:49:43   2022-04-29 16:49:43
Binance                bc1qt2kpgcj0kjz9jhwgxx27fzu2s3cg6eva284e7d        BTC                   0.03187017 2022-04-29 11:42:59   2022-05-01 12:36:03
Binance                1GpCQo5z9zaPNWBKhmC4TPkmZTXsJwvZQu                BTC                   0.03178112 2022-04-02 07:06:12   2022-04-21 14:26:43
Binance                1A7gcYJdT7WcJvFu2vvDsnQrnRprs4hMct                BTC                   0.03158178 2022-04-08 12:34:23   2022-04-08 12:34:23
Binance                194VgEJxdLKehbFaJUYGK1vUc1N15Wi55d                BTC                   0.02893445 2022-04-19 23:18:05   2022-04-19 23:18:05
Binance                1JGfcSd6QWK1gTMVEezSCtFVAJXTJEFP9F                BTC                   0.02807157 2022-04-20 04:14:28   2022-04-20 04:14:28
Binance                bc1qmazmlmkyl3995l3qw49uya2k97wjcrmumwg8ct        BTC                   0.02788380 2021-04-21 08:31:08   2021-04-21 08:31:08
Binance                1By1qybooFfCMXcu8J91r3wBinFDRp3jia                BTC                   0.02742114 2022-03-27 23:21:07   2022-05-02 00:59:08
Binance                1L2fsErrYzayBDzDzqjYX1qekEURNPi84p                BTC                   0.02688035 2022-04-25 12:26:29   2022-04-25 12:26:29
Binance                1HpM8TKngDNhHjQLGvLbVvgRNyWRToVqN3                BTC                   0.02685867 2022-04-21 09:41:14   2022-04-21 09:41:14
Binance                1KHACidNng3RtE8JA9dLxcQZ9ouCjzWGVf                BTC                   0.02627779 2022-04-17 16:53:09   2022-04-19 07:09:02
Binance                16UGrXmjfa1EK1xTh6WGQkpym3B3C51rAR                BTC                   0.02600000 2022-05-01 23:17:22   2022-05-01 23:17:22
Binance                1D2V6AQ6iTLXhAUGChJudJTw2cUy5e3a5U                BTC                   0.02587003 2022-04-23 22:04:28   2022-04-27 21:12:22
Binance                1B3UtQ1X7kpojwdcNeqqhsSanqiEnjZ45e                BTC                   0.02435139 2022-04-08 21:00:09   2022-04-08 21:00:09
Binance                13QyoAH1bzbcw17fYd9u4wJwJYTmzjPkp9                BTC                   0.02415220 2022-04-13 04:11:22   2022-04-13 04:11:22
Binance                1JLBsoYGKci8cZe9q7gqKtRjt6JeRDzmqi                BTC                   0.02321225 2022-04-22 05:23:13   2022-04-28 08:13:52
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                                                                                      Funds under claim
                                                                                      (average confirmed
 Owner    Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                     Destination Address                                  with the five
 Name      y Name                                                        Unit                                      Time                 Time
                                                                                   tracing methodologies;
                                                                                    in cryptocurrency unit)

Binance                1DQGDT173g8kz9b6UXVok9KNaexuJPzv2f                BTC                   0.02315730 2022-04-16 05:51:53   2022-04-16 05:51:53
Binance                1KV4a4gGnvHNTaKHroKHLFYGUp9EVoziwr                BTC                   0.02280256 2022-04-02 08:15:46   2022-04-02 21:23:50
Binance                16TyaZXKnv39qcMTtyX28zEkN7swjjYdZi                BTC                   0.02226056 2022-04-05 09:24:23   2022-04-05 09:24:23
Binance                1E1pCDfyhA82kjMbzNTn1HzRFEgn1Nahoy                BTC                   0.02211664 2022-04-30 06:41:39   2022-04-30 21:37:39
Binance                16CY4P4ADgyxkzNz8emcPSmtRUaRm7NCCz                BTC                   0.02167223 2022-04-03 20:27:19   2022-04-03 20:27:19
Binance                1JbRGuQsequKUFyARbJb9QjRTSHo5DAYPX                BTC                   0.01950878 2022-04-07 13:13:59   2022-04-07 13:13:59
Binance                1ETatJM4J7bFZhwbawb85DNNLtNLJkWyez                BTC                   0.01804426 2022-04-18 21:03:05   2022-04-18 21:03:05
Binance                16xF1JjwxkxMdrvVPPYWTxDvEiFA3tPYWU                BTC                   0.01758897 2022-04-29 13:16:15   2022-04-29 13:16:15
Binance                1K9VKg2675hhqV7zouivXMMJLvKCHSxKVF                BTC                   0.01747274 2022-05-02 07:48:22   2022-05-02 07:48:22
Binance                17chsw2ms7pJqV46onQqpMkiUc6ctKWvfP                BTC                   0.01689129 2021-04-19 08:58:40   2021-12-21 07:14:19
Binance                1LL4DoZP9vfEsw4VRqvx4M9CcE2qWFKYph                BTC                   0.01657129 2021-11-14 05:15:27   2022-03-27 04:08:58
Binance                1BriM1A4mquujSJJybXPxTeoDBXihpfRU1                BTC                   0.01599887 2022-05-01 08:43:59   2022-05-01 08:43:59
Binance                bc1qsfgpwrk4zcqs4u4s0pv0h6rk2hm8jr0s7txv7p        BTC                   0.01598655 2022-04-26 05:34:30   2022-04-26 05:34:30
Binance                13nFTTkcRD3XBuMY2ocWJweWMXWeZpEzmR                BTC                   0.01598147 2022-03-31 12:44:41   2022-03-31 12:44:41
Binance                1KPDCxag8qrDUAMLRz7UU3WGXSwwNKczci                BTC                   0.01597685 2022-04-24 14:43:06   2022-04-24 14:43:06
Binance                bc1q28z8kzwql5khzr45qke8jr5n045d5xrzc4ectg        BTC                   0.01597282 2022-04-04 15:21:07   2022-04-04 15:21:07
Binance                1eDiEyJM2BmupKB584ZXdY6vZTNqbCVX5                 BTC                   0.01577523 2022-04-13 04:35:01   2022-04-13 04:35:01
Binance                17v1gJsJuJecCecywzYGvC2TvSVtMKawmS                BTC                   0.01487075 2022-04-15 16:36:15   2022-04-15 16:36:15
Binance                17zNwRifH5cRkxdjbsPDVWcCbBztxdaxro                BTC                   0.01480949 2022-04-24 21:02:27   2022-04-24 21:02:27
Binance                bc1qhnhh3j2fxn9fu5vcuqly4ntc39wzsq3yp8476f        BTC                   0.01468140 2021-05-07 23:22:42   2021-10-12 13:34:23
Binance                1JCtjGpjD3ukejXvB21X5jDcWfwP8gr7Rx                BTC                   0.01451712 2022-04-29 19:15:02   2022-04-29 19:15:02
Binance                14REMzz1JFjRsyZQ6zEcPkKt8QbFkuSsvJ                BTC                   0.01443316 2021-06-17 17:11:28   2022-04-19 01:09:00
Binance                1KHWBhpEt3byP4CVwL7Aa6vysEUvokRgME                BTC                   0.01416267 2021-06-22 16:00:47   2022-04-03 21:11:20
Binance                16aVSQ8CK5Z9UTdtzHiRKrD8wg8b5K7Yij                BTC                   0.01384736 2022-03-27 04:08:58   2022-03-27 04:08:58
Binance                3L1p2tUHPwrRN3qgf4Hm1R73e29hFshbnp                BTC                   0.01299253 2022-04-03 21:57:01   2022-04-25 16:49:38
Binance                1EbngjR92PsxeiYGR2ES2KjHvgM8jw4qzM                BTC                   0.01145491 2022-04-15 21:01:25   2022-04-15 21:01:25
Binance                165aq15HV6PZSkyfprSBoMRtenXHq9DuQT                BTC                   0.01084292 2022-03-27 04:08:58   2022-04-26 04:07:40
Binance                17gG4UmRLqzLpNa4cxx42Ppwy2TWcFEvwZ                BTC                   0.01029208 2022-04-15 16:36:15   2022-04-15 16:36:15
Binance                1BqNAxgppfFTFRTXtiU6FebqR1XDzyNjYN                BTC                   0.00130640 2021-05-31 14:02:06   2021-06-02 15:46:10
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                                                                                       Funds under claim
                                                                                       (average confirmed
 Owner     Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                      Destination Address                                  with the five
 Name       y Name                                                        Unit                                      Time                 Time
                                                                                    tracing methodologies;
                                                                                     in cryptocurrency unit)

Binance US              1FroWd33M2bE6V6pzwkR3PwNs21bPHXtPJ                BTC                   0.02331004 2022-04-07 23:58:40   2022-04-07 23:58:40
Bitfinex.com            bc1qfvejaeuq8pef8dph9v2zgg0qndszxjvnupk74r        BTC                   1.12518030 2021-06-22 19:11:02   2021-08-24 18:07:51
Bitfinex.com            347ArWkSnTkbzTUkDQRh4SoNLF6h8WkvkY                BTC                   0.67014431 2021-06-22 14:19:15   2022-04-12 02:35:18
Bitfinex.com            3CWQTW6xbKGDTm6CjYGSr8KDNBKtwHdFUL                BTC                   0.31794080 2022-04-18 12:13:46   2022-04-18 12:13:46
Bitfinex.com            1Kr6QSydW9bFQG1mXiPNNu6WpJGmUa9i1g                BTC                   0.14236809 2021-04-28 02:37:09   2022-04-29 05:11:28
Bitfinex.com            bc1q0qs6xsghp0zp9e4ylvsdx57dsvc5fsxdkc7zft        BTC                   0.09908764 2022-04-20 01:55:51   2022-04-20 01:55:51
Bitfinex.com            32kkiVBxQCYJVNvPZ3XMmjLnexG24ftYuJ                BTC                   0.07573140 2022-02-09 23:04:30   2022-04-23 10:58:34
Bitfinex.com            bc1q0rpl2zsp6u376qzygfckdy89zhha53dpvtwdhh        BTC                   0.06472126 2022-05-01 14:57:23   2022-05-01 14:57:23
Bitfinex.com            bc1qnfd26kl2l9kyezchn9xa82k3nnyla2ascdzuwh        BTC                   0.04394173 2021-06-19 19:37:37   2021-06-19 19:37:37
Bitfinex.com            3MJbmjUJLTy31LDFLKnjt7ZhMriUM5LK2h                BTC                   0.01031999 2022-04-04 15:15:05   2022-04-04 15:15:05
BitFlyer                3DfEfRhE5KaN6w2oSudD9ioLHMBqjS1Neh                BTC                   0.06501246 2022-01-07 01:19:04   2022-04-21 04:01:30
BitHumb                 1FXNujQ7v8Ed4yQ65Z6pz7LW385kJWoHdD                BTC                   0.04455416 2022-04-18 09:32:39   2022-04-18 09:32:39
Bitkub                  3HzregDaCjcVqf5psdrEu4rX5XbsrfhDP2                BTC                   0.11437966 2022-04-06 02:22:25   2022-04-08 14:33:26
Bitkub                  3GetDvaKuXdyi9uca4TrsffSf6XEJosmow                BTC                   0.07506835 2021-06-07 17:53:24   2022-04-30 18:04:23
Bitkub                  3MEa9pn7tzM77jsi9LvhMEiryYr1vRGZf6                BTC                   0.04789627 2022-04-22 14:28:19   2022-04-28 12:35:33
Bitkub                  33wBG9KVyGjXj9WgxuiMYR6KTMiXDh8NTr                BTC                   0.01938497 2022-04-08 08:25:43   2022-04-09 13:06:40
Bitkub                  3AM72PRVf2ofww5EyHJ868Q31ECVEL3RXG                BTC                   0.01705810 2022-04-04 03:04:27   2022-04-07 16:16:30
Bitladon                bc1qseswvlt5c582q4ukwekat4h722s7c9d76f08ul        BTC                   0.10857190 2022-04-06 01:42:09   2022-04-27 20:29:52
Bitpanda                bc1q0zd4p9kaxma9vtt2g8r2ur4j2u25cu5964yfgs        BTC                   0.04669817 2022-05-01 15:15:54   2022-05-01 15:15:54
BitPay                  1MuJygoVsmyVDhwisjtAo7HSyBECcmTjtr                BTC                   0.12087833 2022-05-01 00:32:23   2022-05-01 00:32:23
BitPay                  19dUcmcETNbUwkVoBoXCGe7s9b8WeXCErj                BTC                   0.05759161 2022-04-16 18:46:53   2022-04-16 18:46:53
BitPay                  1LxciAavQ6zfP1jALPyxBYtJekDedcg2Aq                BTC                   0.05693729 2022-03-31 20:50:00   2022-03-31 20:50:00
BitPay                  1GCJXVdoHJdwbv6rbXaX7PST6FewQdSiVN                BTC                   0.03231681 2022-05-02 02:54:06   2022-05-02 02:54:06
BitPay                  1Egs2ygnFPuqZKExmDrrxNqbCf8t1YpgJF                BTC                   0.02704986 2022-04-18 16:36:32   2022-04-18 16:36:32
BitPay                  1Cu8hdB9rSMSpmEenXR5Rqr6s7hAnGKYPn                BTC                   0.02185148 2022-04-08 19:27:11   2022-04-08 19:27:11
BitPay                  1GpvCRo86qiGecmT6exD1Sr3amKDnZDGUx                BTC                   0.01559470 2022-04-08 22:20:41   2022-04-08 22:20:41
BitPay                  1JGZ6doMhu22t3HpdSCVqfmB3Qt4LCipVu                BTC                   0.01379277 2022-04-07 17:58:26   2022-04-07 17:58:26
BitPay                  18qnqp4zXNoyQKR1Vm4dxkEZDuZEdrMRoQ                BTC                   0.01103693 2022-04-04 06:16:50   2022-04-04 06:16:50
Bitrue                  14ufFFQnnFRinQnxu1UPr7ssru6terwoHs                BTC                   1.06860171 2022-03-29 20:41:56   2022-04-03 16:01:33
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                                                                                                Funds under claim
                                                                                                (average confirmed
 Owner        Beneficiar                                                      Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                          Destination Address                                       with the five
 Name          y Name                                                              Unit                                      Time                 Time
                                                                                             tracing methodologies;
                                                                                              in cryptocurrency unit)

Bitrue                     18h8HrP8A8XkgcpH4xnPyV8s6K14ovGJSJ                      BTC                   0.01064687 2022-04-02 19:49:53   2022-04-02 19:49:53
Bitstamp.n                 3QgTU5fwPWHMNkbx4fhwU9MgPzPbrYnXqY                      BTC                   0.61318338 2021-03-08 04:10:29   2021-07-25 06:15:20
Bitstamp.n                 3HXZYnqiND514cpPAfpTsMKFR9xNw6LzXP                      BTC                   0.49668751 2021-04-07 11:36:30   2022-05-01 16:00:26
Bitstamp.n                 bc1qv6mc6lhxh47ehz35pzzexa933wny80fy62kse0xcwyz         BTC                   0.43815542 2022-04-23 11:29:07   2022-04-23 11:29:07
Bitstamp.n                 3LEGvfbGeLvewUf15c6fSJ3hgDTSmRo4p5                      BTC                   0.16755255 2022-04-23 22:17:29   2022-04-24 14:54:43
Bitstamp.n                 37VWXtmckaPrKaeARcRvToJsEWLxeQYutd                      BTC                   0.14325588 2021-03-12 15:04:26   2021-05-06 16:41:07
Bitstamp.n                 3JbHhRfxWJExCiqy1PcwsyEE4fZP2mg9Qf                      BTC                   0.09896818 2022-04-08 08:43:44   2022-04-16 09:43:19
Bittrex.com                35AT3zTyciLxt8AaQSBRzKEPcnm159krcb                      BTC                   0.07550813 2022-04-02 03:33:56   2022-04-12 02:57:01
Bittrex.com                17RLVAczfgH4M46ifoYVAKriyWFAx62Pcw                      BTC                   0.01346845 2022-04-26 04:07:40   2022-04-26 04:07:40
Bit-x.com                  bc1qpq00d2yg848ljcsypg0p7jj5gttap9l4attpjw56rzn93x6c    BTC                   0.09341780 2021-04-08 02:56:14   2021-04-08 04:44:27
Bitzlato                   1ANjEdArWD46V2hUQoHfe3nhNrLGFSveG3                      BTC                   0.23861379 2022-04-15 13:00:52   2022-05-02 08:57:32
Bitzlato                   1LkK1CvKGmFPG4CvEcV3nUyhK4J4bVW8TH                      BTC                   0.14623729 2021-04-06 11:32:22   2022-04-30 17:36:41
Bitzlato                   19DMAmBinEBysJ8uGQMd71m8s54pHyyN5H                      BTC                   0.04799331 2022-04-02 01:18:30   2022-04-09 12:31:05
Bitzlato                   1PKScRsTzL83BwrVMmru2bHh8VDaHPQKWP                      BTC                   0.03770032 2022-05-01 17:42:09   2022-05-01 17:42:09
Bitzlato                   146W5DaDrPj5rjkXrFiyXnRYPksnhkgwak                      BTC                   0.02883651 2022-04-22 15:59:01   2022-04-25 11:23:31
Bitzlato                   18y3SkbWTDA7VVprcyCawCA3VXYK74566g                      BTC                   0.01452433 2022-04-04 01:46:59   2022-04-04 01:46:59
BlockFi                    31hQ8yCfvsQ1D6tx3GF4BjAottDSeXqvmY                      BTC                   0.12218276 2022-05-01 14:44:35   2022-05-01 14:44:35
BTCTurk                    bc1q0c899hhvdv7sr6gp9dgc4z688y3st930n86xsllyzkt9s       BTC                   2.30245080 2022-04-13 15:52:05   2022-04-13 15:52:05
BTCTurk                    3GJ9Ewx8C77HLc3Ux1BP8KVjVsEpsmAMrx                      BTC                   0.32898357 2022-04-04 15:56:48   2022-04-22 20:06:28
BTCTurk                    3HsCyZaiTkhU4VQYUB5Wpc5mb9wBLNFPmF                      BTC                   0.03036097 2022-03-25 02:20:37   2022-05-01 01:36:58
BTCTurk                    38m5bdhpxLGMiwH5ybwVEnX5ZQsnckNAyi                      BTC                   0.02047506 2022-04-17 10:21:23   2022-04-23 19:22:09
BTCTurk                    3MHcm9kUZnc51KHpcHxwcginceSvG46mJb                      BTC                   0.02009290 2022-04-21 14:38:56   2022-04-21 14:38:56
Bybit                      1yUCRHrJrhVKn2JcVNCNay8P45P2LhkuM                       BTC                  12.80347687 2022-04-23 18:10:09   2022-04-28 07:48:07
Bybit                      1Ge56URyncDsKj6SEPQApRFbyETwUmhvja                      BTC                   3.15767171 2022-04-01 09:23:08   2022-05-02 13:18:02
Bybit                      1BDw9RmRp1xAvHLgxL75VCFuQ1skiS8JXP                      BTC                   2.09260996 2022-04-09 09:39:01   2022-04-12 07:11:53
Bybit                      1Etc4GPZbe7iXY7y5zqpA3gRhGqSLBGXt1                      BTC                   1.59985854 2021-06-11 08:34:44   2021-06-11 08:40:16
Bybit                      1K2NLvcHwup8FbGiUVdRWefKxnTCLd8t5n                      BTC                   0.90420114 2021-03-25 20:04:03   2021-03-25 20:04:03
Bybit                      1DEBVQ1bVgvMXFmrTHi7AWSCaQGBCm55NB                      BTC                   0.52627984 2021-03-10 21:06:18   2021-04-06 19:10:10
Bybit                      1Kv16XrafsF4wrNPqrx8FvvoWAXX9sAeMS                      BTC                   0.45121796 2022-04-30 18:04:23   2022-04-30 18:04:23
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                                                                                         Funds under claim
                                                                                         (average confirmed
 Owner       Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                        Destination Address                                  with the five
 Name         y Name                                                        Unit                                      Time                 Time
                                                                                      tracing methodologies;
                                                                                       in cryptocurrency unit)

Bybit                     1GrwDkr33gT6LuumniYjKEGjTLhsL5kmqC                BTC                   0.18364878 2022-04-09 20:46:58   2022-04-26 19:26:48
Bybit                     1NQPijBEkzy2EdXeNJrpUUt5XcKarC51hG                BTC                   0.09785947 2022-04-11 18:54:50   2022-04-11 18:54:50
Bybit                     1GyUJhkPeF5GSRETyfJEPeFteNa497HUHC                BTC                   0.05198311 2022-04-27 21:12:22   2022-04-27 21:12:22
Bybit                     18Wn4PdYZXrrxyMdZvMofyLfNKWVtCZviM                BTC                   0.03745606 2021-03-24 16:16:19   2021-03-24 16:16:19
Bybit                     1CWfNbyJGQHhA76bx1WCPqmsvku13J7Vrj                BTC                   0.02353715 2022-05-01 11:50:15   2022-05-01 11:50:15
Cash App                  3QvLG95n8pAzNYbBzK8HhxjWoobs7kdtPK                BTC                   0.05571754 2022-04-24 05:45:43   2022-04-24 05:45:43
Celsius                   bc1qtz5jauq8886ua2kds9t8gqdk2uwnr95wr2y06v        BTC                   0.03435171 2022-04-22 02:50:56   2022-04-22 02:50:56
Celsius                   bc1q7hrfgspk055u35c22lp67ct93qmy9qrcw74r77        BTC                   0.01377066 2022-04-02 18:25:23   2022-04-02 18:25:23
ChangeNO                  33obNrQcEF2C2qiahED3YqS4E1kkgBGX77                BTC                   1.58542879 2022-02-26 04:05:57   2022-04-17 21:07:06
ChangeNO                  37VmBhezXHxL37WeGfiJT1Eercejqf5VtX                BTC                   0.32869236 2022-04-11 12:48:57   2022-04-11 12:48:57
ChangeNO                  3BwsGrJWiJYKjtGhNqpGs7urKhSKzDQ2Xp                BTC                   0.22890774 2022-04-07 07:08:44   2022-04-07 07:08:44
ChipMixer                 bc1qval78p9mpy3yrgwzhgclqzlth2jnp5jv2wp3aq        BTC                   1.99034752 2022-05-01 17:41:24   2022-05-01 17:41:24
Coinbase                  35yxnumGu23y5FYnRLssntZ86nUQZqkuCY                BTC                   0.01937410 2021-04-21 08:31:08   2021-04-21 08:31:08
Coinbase                  35MkdfL2CZidgvq3HsZQ1PLWdo1znuMMF8                BTC                   0.00582604 2021-03-01 18:17:42   2021-06-24 06:12:33
Coinbase                  3H332gtSHCYnUDuzVnzPNZu9V5jxhf6HX9                BTC                   0.00040478 2021-06-13 10:54:59   2021-06-13 10:54:59
Coinbase |                bc1qmrued99x8qyuld0mgqx55whekavyjfs3zs5c2u        BTC                   0.18343468 2022-04-02 18:25:23   2022-04-02 18:25:23
Coinbase |                33EQNBhD41i8k4BE6b5LdUdAeD7bgYwzYv                BTC                   0.14822073 2022-04-02 21:12:57   2022-04-02 21:12:57
Coinbase |                3Eb68pk3EpaKVHKitot7zZphaLYoHtt2Dt                BTC                   0.09563519 2022-04-26 04:07:40   2022-04-26 04:07:40
Coinbase |                3Mv9g6odKieNGHuB2qfjqEvd6ww4KPuLP5                BTC                   0.08287955 2022-04-03 21:31:42   2022-04-03 21:31:42
Coinbase |                3KhAwLGuABsH4vuw61n7haPqv3imMMabDs                BTC                   0.04677835 2022-04-10 14:34:17   2022-04-10 14:34:17
Coinbase |                33zn5S6qQpnwYAZzzckqgGCWKucAVhACjd                BTC                   0.03968301 2022-04-22 22:37:11   2022-04-22 22:37:11
Coinbase |                bc1q99v96gvxjg9mrzv94gpytwe4a5vtem4ul32tuv        BTC                   0.03835719 2022-04-02 19:49:53   2022-04-02 19:49:53
Coinbase |                3LP6YqtgUmvcscE3Hd3PGYFRKG1ScNRBU2                BTC                   0.03746235 2022-04-11 05:10:41   2022-04-11 05:10:41
Coinbase |                3N4Ggyd49PN5UJr16iSFcuXg56BF6H8kdj                BTC                   0.03348027 2022-04-14 20:35:59   2022-04-14 20:35:59
Coinbase |                3FkCsS7saGXQ8KV6w5odvXPJHcjJM4efLm                BTC                   0.03181081 2022-04-22 02:50:56   2022-04-22 02:50:56
Coinbase |                31twFTL9WoTt8S1X3P9ikXZvrrvWKJkFv6                BTC                   0.03131086 2022-05-01 21:02:21   2022-05-01 21:02:21
Coinbase |                3H7oGgwSFw5ujxBQQECJBpcmv5cWXZsHVs                BTC                   0.03057746 2022-04-23 22:45:31   2022-04-23 22:45:31
Coinbase |                38emHK5bkE6Z6dRf4RrZyZYk53MDCSCsRH                BTC                   0.02762777 2022-05-01 21:21:02   2022-05-01 21:21:02
Coinbase |                3CdNnnhMjvsHJJbWMq8VppiDrQM3EqUWkP                BTC                   0.02403770 2022-04-22 02:50:56   2022-04-22 02:50:56
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                                                                                         Funds under claim
                                                                                         (average confirmed
 Owner       Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                        Destination Address                                  with the five
 Name         y Name                                                        Unit                                      Time                 Time
                                                                                      tracing methodologies;
                                                                                       in cryptocurrency unit)

Coinbase |                39v5fsR9cY5bGDv27cZKYLCpCYEoosweDq                BTC                   0.02335465 2022-04-11 22:16:43   2022-04-11 22:16:43
Coinbase |                bc1qheq90szatt3hwgchn4weqj7nlf7h2r5pcms3eq        BTC                   0.02319158 2022-04-22 02:50:56   2022-04-22 02:50:56
Coinbase |                33mmaokM9P8ZFzyUF3ReAieHvwmiAP8Aso                BTC                   0.02005053 2022-04-23 13:55:09   2022-04-23 13:55:09
Coinbase |                3Gp3r9PjGzJwmhpVCkJQFxFSmXvFbbiBkR                BTC                   0.01813451 2022-04-20 16:09:23   2022-04-20 16:09:23
Coinbase |                33S3Ur4L5oEvToCj2VDEcKpSN89LjePSbS                BTC                   0.01755362 2022-04-08 00:56:15   2022-04-08 00:56:15
Coinbase |                3LvWns9ayJRLsStbp6KkETZuwoVovcHLBf                BTC                   0.01493341 2022-04-12 00:42:57   2022-04-12 00:42:57
Coinbase |                39pAuntCQ3eJgqJXR5KnLaRDPxta8FyerD                BTC                   0.01373714 2022-04-07 17:27:32   2022-04-07 17:27:32
Coinbase |                3MoB6u7nKNV4tehZVumHWs6zGMeah5dVUb                BTC                   0.01320000 2022-04-28 03:29:55   2022-04-28 03:29:55
Coinbase |                34j4qoTp87wpxhev66r8QWmuvnkc7LDb3f                BTC                   0.01305044 2022-04-15 08:47:06   2022-04-15 08:47:06
Coinbase |                3AUZE1wrARfzv1ZjuM9ZnjfgUNh31zmmY6                BTC                   0.01129230 2022-03-27 04:08:58   2022-03-27 04:08:58
Coinbase |                3NEiFLemukoopEMJAeeMP7aYGx9hqBVNe3                BTC                   0.01108480 2022-04-03 19:52:45   2022-04-03 19:52:45
Coinbase |                3LGmnbgobRuJPKqQvFMVtTqzWRgh7MqipD                BTC                   0.01062122 2022-05-01 15:29:55   2022-05-01 15:29:55
Coincheck                 1HZux1iEaBkUdSo8spKPXyWdT72m4ycqyA                BTC                   0.01228805 2022-04-05 02:36:17   2022-04-05 02:36:17
CoinEx                    1QCzeEZj5sfXyyCKqjs2ktttdQFqT6oyUh                BTC                   0.07927704 2022-04-02 15:12:55   2022-04-02 15:12:55
CoinEx                    1smSRTEQSq9CLDamvuGsAGeiQGffuPddD                 BTC                   0.03472114 2022-04-26 04:07:40   2022-04-26 04:07:40
CoinEx                    1PuwPKwGvCZ7sBApp3jsu2ApypJyYJEjNo                BTC                   0.01391410 2022-04-02 13:47:56   2022-04-02 13:47:56
Coinone                   185LjLdTkxsDL7a81Q7wLCY3DM9xNGVkPn                BTC                   0.23411696 2022-04-12 02:35:18   2022-04-12 02:35:18
Coins.ph                  3PMLHNwdLPyjKC5MGVucpyHXwHqnE6WQha                BTC                   0.16406747 2022-04-02 02:21:41   2022-04-08 09:14:47
Coins.ph                  3Cpf55h85XYxCjbpKZXWneTiyqUAxKtYd3                BTC                   0.04727883 2022-05-02 04:04:18   2022-05-02 04:04:18
Coins.ph                  3QaeNdCpVHn7XLfGuLLSefEpgJq4fgx6bn                BTC                   0.02436133 2022-04-14 02:39:57   2022-04-14 02:39:57
Coins.ph                  3PeQEbPjM2kxKxaidtBwVbvrp1tB5N79aD                BTC                   0.02104661 2022-04-08 02:13:24   2022-05-02 01:39:43
CoinsPaid                 37yVfB2BHNJJxCWvhDR3N1HA3ZPFhnyZmT                BTC                   1.85833975 2022-04-30 04:50:13   2022-04-30 04:56:13
CoinsPaid                 3QKCocNhzAgtgFLsD5qUZcG6e4TkfRf421                BTC                   1.48737977 2021-04-29 04:46:47   2022-04-28 16:36:55
CoinsPaid                 3CkzEkBGVydGXZtJR689L5AShT2CyrfMNM                BTC                   0.08408148 2022-04-21 00:39:54   2022-04-25 02:40:06
CoinsPaid                 3JodN7GmkHdPgKj9G7HCkn9NDLhrcWCjVN                BTC                   0.07674435 2021-03-25 09:31:36   2022-04-28 23:45:15
CoinsPaid                 3DSfu9SMZgrCNe3B5cQcKWjiA3XfmRZ2TH                BTC                   0.03332278 2022-04-09 01:59:19   2022-04-12 02:57:01
CoinsPaid                 34DNV5wBvyKyTLcVJn4KAJXnyrd9bBJRxv                BTC                   0.03260127 2022-04-11 03:06:05   2022-04-15 05:49:42
CoinsPaid                 3G2VabVJ92E4ci9wEUGRnpw7xJLSiscWWB                BTC                   0.01909462 2022-04-03 09:41:49   2022-04-28 03:10:01
Come Bac                  bc1qkd5az2ml7dk5j5h672yhxmhmxe9tuf97j39fm6        BTC                   0.01508038 2022-03-17 20:24:34   2022-04-30 12:15:48
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                                                                                         Funds under claim
                                                                                         (average confirmed
 Owner       Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                        Destination Address                                  with the five
 Name         y Name                                                        Unit                                      Time                 Time
                                                                                      tracing methodologies;
                                                                                       in cryptocurrency unit)

Crypto.com                33NzbY6adB5AoEWmn5ypBDC16agQgnLod5                BTC                   0.26852237 2022-02-10 18:30:26   2022-04-10 20:12:51
Crypto.com                3DtH5SJ1x5ZU221gcvsYj3Mfps5R8RBdm3                BTC                   0.17505047 2022-04-12 03:29:37   2022-04-14 08:52:45
Crypto.com                331m4U634kvZSnHuDsfP7ic5PyCSW2yEru                BTC                   0.15244569 2022-04-05 23:34:57   2022-04-15 12:16:27
Crypto.com                bc1q4c8n5t00jmj8temxdgcc3t32nkg2wjwz24lywv        BTC                   0.14865007 2022-03-26 21:05:29   2022-04-21 02:33:04
Crypto.com                3M3ofuj8Lop3PiesythsB8seBWPii5qBiQ                BTC                   0.12957846 2022-04-07 17:58:26   2022-04-07 17:58:26
Crypto.com                39RxM2VtB6ZFr9McnJMHiw4zr9pERd73By                BTC                   0.09038000 2022-04-07 22:05:10   2022-04-07 22:05:10
Crypto.com                3E1QLQM87yK7feSVoWsjJakoRXVTRo9QSY                BTC                   0.03233605 2022-04-13 10:11:52   2022-04-13 10:11:52
Crypto.com                31xNHjtC4NNAADU34YUUCeMWfjnW3Q4yTm                BTC                   0.03199661 2022-04-04 08:28:29   2022-04-12 09:48:59
Crypto.com                3CXDfdypUbQdu14NhhAfWerRcsifL8cTGk                BTC                   0.02965372 2021-03-30 03:16:23   2021-03-30 03:16:23
Crypto.com                32xfiqHDjhX9ewnq2Akjy7CTEKgEiV62RK                BTC                   0.02894740 2022-05-02 04:04:18   2022-05-02 04:04:18
Crypto.com                31wtSYJjeHLbSzGaeGdmgxCmqcZ1TWs8rs                BTC                   0.02483182 2022-04-29 17:49:46   2022-04-29 17:49:46
Crypto.com                3GDm97cZCT2LC9z7T3Ys7UorZ3bcck4YX4                BTC                   0.02313679 2022-05-01 06:40:56   2022-05-01 06:40:56
Crypto.com                3DhVWfxEYgbiFUQniVipeY4tYQA5DhQzdr                BTC                   0.02122652 2022-05-02 04:04:18   2022-05-02 04:04:18
Crypto.com                3B6BtFZdhy1HF2ResZSaQwSwAemVNMNr93                BTC                   0.01599629 2022-04-14 00:32:02   2022-04-14 00:32:02
Crypto.com                39cUnKwrRCPF7NqSRiAwF6x5Mk6nWywMDg                BTC                   0.01440663 2021-05-14 18:13:53   2021-06-20 10:23:50
Cryptonato                3NBkEfXH54HzSoGAeQyYuRu3nyMsKcdzJb                BTC                   0.33977456 2021-12-20 14:49:53   2022-04-06 16:17:55
Cryptonato                3KRvtHpY8cpFN7Hmh8eYEN7WGtNtE2mZCg                BTC                   0.29614681 2022-04-07 23:30:14   2022-04-07 23:58:40
Cryptonato                396siukrVpHQgpHYfJB5WsBoBXkgJHETQh                BTC                   0.01209346 2022-04-04 14:53:11   2022-04-04 14:53:11
Cryptonato                3LxeLijtdf3gpRK8CfBqFnmZ8Nyf4rwuLQ                BTC                   0.01209346 2022-04-04 14:30:57   2022-04-04 14:30:57
Cryptopay                 32TWmegnNSidoenSvZ2XQrmX5kXeX23VUp                BTC                   0.03176891 2022-04-09 06:58:51   2022-04-11 11:09:26
Deribit                   bc1q07d34mp36ced5qvffka3m29jxqqjq7gva0v5w9        BTC                   0.43915156 2022-04-27 14:30:10   2022-04-27 14:30:10
eezy.cash                 398FNpRVsj72YHcagHyExDeSTH4FG3t1KG                BTC                   3.59489019 2022-03-21 20:40:59   2022-03-28 20:14:28
eezy.cash                 bc1qw79lsj2zqp9p5t4d85rf4tk8920gk9pmag96qn        BTC                   0.06399563 2022-04-22 10:45:48   2022-04-22 10:45:48
ePay.com                  345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz                BTC                   6.16886627 2021-03-21 04:43:57   2022-04-26 14:20:44
ePay.com                  35Nm4Y73DESLYRS4b1574WguGjYfvqaRJv                BTC                   0.38426909 2022-04-29 01:52:29   2022-05-02 01:50:57
FTX                       3LmNPNQRWt74qvVrsFZerUcSpkH4UZg5sA                BTC                   6.95542552 2022-01-06 15:48:14   2022-04-04 04:23:41
FTX                       39ewULYNgyoCcgiddbnDGcMJ3UCeX92Ydv                BTC                   1.98996428 2022-04-06 04:13:59   2022-04-06 04:41:46
FTX                       34uSDVoDZoKMyKh8zbF2VBYbzfhHMSXcoQ                BTC                   0.93568386 2022-04-25 17:03:12   2022-04-25 17:03:12
FTX                       33fGt1BU1B879grxJ9M6QQGabUQK8Aio2t                BTC                   0.76845625 2022-03-30 15:25:48   2022-03-30 15:25:48
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                                                                                         Funds under claim
                                                                                         (average confirmed
 Owner       Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                        Destination Address                                  with the five
 Name         y Name                                                        Unit                                      Time                 Time
                                                                                      tracing methodologies;
                                                                                       in cryptocurrency unit)

FTX                       32p1yFa54bJxwEnRiciCvQWLA4dWS7vzZr                BTC                   0.70873540 2022-04-11 07:16:56   2022-04-11 07:16:56
FTX                       3HDYas614NqTCh38yiRT22q1Rky8cRt61U                BTC                   0.61859097 2022-03-30 16:15:42   2022-04-25 23:12:08
FTX                       3Lvr7473mA8fiJzpc6qf4oS7nAtGPTJ8ZA                BTC                   0.19399382 2022-03-25 13:51:03   2022-03-25 13:51:03
FTX                       37WAYjqCgSdbcejUE98Ab51qe1cKUAmR1N                BTC                   0.13206391 2022-04-04 04:30:20   2022-04-04 04:30:20
FTX                       3L1ZcaaMZEpMdwv4JMD4KejKVcyFUBRaGC                BTC                   0.10682660 2022-04-16 04:22:23   2022-04-29 04:09:53
FTX                       3Aqx9j4V3hipZdCEkM5RaEoYbo8CvmKmrP                BTC                   0.09815917 2022-03-27 12:26:43   2022-04-19 00:08:26
FTX                       384SvqaC8HuUTTEiGKJbcNPRjweH45Ncck                BTC                   0.05955160 2022-04-11 17:51:29   2022-04-11 17:51:29
FTX                       31pPYDVM5HeHmmy8UuWKfCK28pKenDsbpi                BTC                   0.04884439 2022-04-08 16:12:00   2022-04-08 16:12:00
FTX                       3D3xYUnTFhY7Zn5Vug1cvQNhvJBRK7DZJy                BTC                   0.02990457 2022-04-29 00:20:05   2022-04-30 13:11:11
FTX                       36uejukSwPLk5zQUt7HSxUizzvgERG92XY                BTC                   0.02205795 2022-04-25 17:18:11   2022-04-25 17:18:11
FTX                       31uamNMQZkjGShvLz7AyZZpVKH5dcdzEbA                BTC                   0.01599670 2022-05-02 03:50:13   2022-05-02 03:50:13
FTX                       35vK2uFCD9rFUKfdxRXvJgzu1u7f5gDhkm                BTC                   0.01082017 2022-04-21 18:01:18   2022-04-21 18:01:18
G2A Pay                   37dv68qLwqs1621M3JXSXwWZbDfbjfbHg6                BTC                   0.01898938 2022-04-25 03:51:08   2022-04-25 03:51:08
G2A Pay                   38wAb4gUkvWqvUCWDaEQqcqwAF6eEFMvDR                BTC                   0.01249824 2022-04-19 08:08:51   2022-04-19 08:08:51
G2A Pay                   37ggyna8pW1iDR1uHF7QKQixmrzTbtHvfT                BTC                   0.01235836 2022-04-25 11:23:31   2022-04-25 11:23:31
Garantex                  32N2L2553PSPhAnFSPFzWko4UyvjSyL49G                BTC                   0.06755718 2022-04-26 04:07:40   2022-04-26 04:07:40
Garantex                  3AfzeyksMuiXWNuz9UoxbHaLLvjmp9YBuh                BTC                   0.03199584 2022-04-15 22:46:43   2022-04-15 22:46:43
gate.io                   1G47mSr3oANXMafVrR8UC4pzV7FEAzo3r9                BTC                   0.06818740 2022-04-02 04:44:21   2022-04-29 04:11:47
gate.io                   1mjy7rkTQcXK1oL7YXBgRQUKWVYTibaTk                 BTC                   0.03465137 2022-02-03 01:03:17   2022-04-04 09:03:33
gate.io                   17MbTTbrDwuN2S71YK3U2Xbomm8ghW3P58                BTC                   0.02152656 2022-04-22 02:50:56   2022-04-22 02:50:56
Gemini                    bc1ql8c2rgv2qpa25cc77usap7lvsvms6tgyv6smxk        BTC                   2.02532661 2021-03-10 01:12:35   2021-03-30 05:38:04
Gemini                    1NysNMJXfaxArMVAWUwMsbHfZ1UcBxJq4t                BTC                   0.11490000 2022-04-02 18:56:48   2022-04-19 01:57:46
Gemini                    19TNyoWBB2VzXb14YoDFfsoDhu9D74j5RW                BTC                   0.05750684 2021-05-04 20:10:04   2022-04-04 09:00:11
Gemini                    1BfxwurMjjZF5WRDNpu8ftQCpbLCsrNnme                BTC                   0.05303131 2022-04-21 13:28:14   2022-04-23 21:18:01
Gemini                    bc1qvdeqq75jwc2nhjhr4rqm80jxkm79x9gy2j0ntj        BTC                   0.03596061 2022-04-12 23:59:17   2022-04-12 23:59:17
Gemini                    bc1q4d52c33xh7f9jnh9fcr5lk2ah8mlpt2lgmu3cp        BTC                   0.03199479 2022-04-07 01:03:56   2022-04-07 01:03:56
Gemini                    bc1qg3z6gv0gyn2pw3ktnr9h4ehfzcexdxq0yy8plc        BTC                   0.02888805 2021-04-07 16:14:27   2021-04-07 16:14:27
HitBtc.com                1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                BTC                   3.69796245 2021-05-11 09:43:18   2022-04-28 16:57:30
HitBtc.com                35MiwdASDkgFqUa3YQfHFucggwNYjrBjeG                BTC                   0.32627438 2021-02-28 13:02:44   2021-02-28 13:02:44
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                                                                                 Funds under claim
                                                                                 (average confirmed
 Owner       Beneficiar                                        Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                      Destination Address                            with the five
 Name         y Name                                                Unit                                      Time                 Time
                                                                              tracing methodologies;
                                                                               in cryptocurrency unit)

HitBtc.com                3JSc8fYRWsn6qAq7UnZE8Q9vm2aE5Whg1b        BTC                   0.30698342 2021-02-28 13:13:01   2021-02-28 13:13:01
HitBtc.com                3HxnoQXVhPXeZyqgmTRnV4pDJaZME4k1ZC        BTC                   0.15456499 2021-02-28 13:13:01   2021-02-28 13:13:01
HitBtc.com                3HVfPsMegSmX1PwUcmvRyqCrXng4tQpbzX        BTC                   0.06061241 2021-04-08 05:52:57   2021-04-08 05:52:57
HitBtc.com                1CnCfvUTFQf11QNeBEpk29rRXfNFg75R9n        BTC                   0.16051446 2022-03-30 05:10:47   2022-04-15 15:16:19
Hoo                       3EFgNUoKQU9uhr29oJFxoFFf495zyfhrnD        BTC                   0.03272748 2022-04-03 13:01:41   2022-04-03 13:01:41
Huobi.com                 1L15W6b9vkxV81xW5HDtmMBycrdiettHEL        BTC                  48.78953706 2022-03-29 13:58:11   2022-05-01 14:46:55
Huobi.com                 1EPMTE7S3j4mGG7LdKBh3Sbsr2W4Rj4HS6        BTC                  10.28649024 2022-03-29 21:22:50   2022-05-02 14:24:17
Huobi.com                 1NnwU2wqppE4f7cjHPHRh79kF6UDMcwGzB        BTC                   3.81539799 2021-06-02 22:37:14   2021-10-01 15:35:17
Huobi.com                 1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw        BTC                   1.18715936 2021-04-26 13:38:26   2021-08-21 08:30:12
Huobi.com                 1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66        BTC                   0.68128008 2021-11-07 04:47:25   2022-04-23 14:29:12
Huobi.com                 1xSEjfGqgxXkSzeG6MEVtfdjUuumEZqsB         BTC                   0.64986873 2021-04-29 13:58:34   2021-06-15 11:43:04
Huobi.com                 16jjLTYuDkxJMvqWCbp6vsznBGYoTgysNT        BTC                   0.59179182 2021-11-07 08:47:35   2021-11-09 08:25:49
Huobi.com                 1DgFr4KzUZD9cpgnBZCypK9iYeHb7vgRH1        BTC                   0.49915514 2021-04-05 03:53:54   2021-04-05 03:53:54
Huobi.com                 112jwwuC3urq4TzEXTjPWQHNpNqFKdTibF        BTC                   0.28438051 2022-01-06 09:57:54   2022-05-01 00:20:37
Huobi.com                 18vNSknxyHtEFDuHBxhg2LbEzXjo8eerYw        BTC                   0.25604197 2022-05-02 08:26:03   2022-05-02 08:26:03
Huobi.com                 16HtGeffNpV8YUdPVRyBEhXvcHaAKFWVwk        BTC                   0.18192961 2022-04-21 23:18:54   2022-05-02 11:53:15
Huobi.com                 1JoHsi5NpsYDjSyk37FGscPCMmodbfWV8R        BTC                   0.15146398 2022-04-16 18:52:56   2022-04-16 19:47:35
Huobi.com                 15ajRUp9eKqVvmbQ2P998h76vGRTDyPuJ6        BTC                   0.11324188 2021-11-29 13:49:20   2022-04-19 15:27:15
Huobi.com                 13tTq59H9wx78GPUC68mxqGn5p5M2mX3gi        BTC                   0.10494498 2022-04-08 10:28:09   2022-04-09 15:31:17
Huobi.com                 1FypU4fZbz8DvrN4oumJgVJ9bNbP4rGQm3        BTC                   0.09098030 2021-04-13 19:35:07   2022-05-01 22:01:58
Huobi.com                 1Pe7ewm1rAWz2zewpzPHZatGzsumvSNSq4        BTC                   0.06399718 2022-04-04 21:40:25   2022-04-04 21:40:25
Huobi.com                 17oXZFjxV3TRwPGRB5gwxEttEupphM4k3U        BTC                   0.05699151 2021-05-05 11:18:12   2021-05-05 11:18:12
Huobi.com                 13z7nQx7nLJNdQPxMa4RmVgsfqhhm9sgDC        BTC                   0.05261756 2021-04-05 09:19:22   2021-04-05 09:19:22
Huobi.com                 1LZWgqEEVpLhXzEHKjWbvLrySC6fDXgPqC        BTC                   0.04153573 2022-04-10 06:55:03   2022-05-01 16:00:26
Huobi.com                 1F7QV6tVAzfEhHni9GSKhtEJrQUHQzDMLW        BTC                   0.03891422 2022-04-07 13:25:37   2022-04-07 13:25:37
Huobi.com                 1Pc8mKiYhPx5N2BaWLuBCBPiwgAmAP1PVY        BTC                   0.02548064 2022-04-15 05:09:31   2022-04-15 05:09:31
Huobi.com                 18i377JFfHEo1skMzPEHKCcEhahJjpRvN7        BTC                   0.02351560 2022-04-22 07:11:11   2022-04-22 07:11:11
Huobi.com                 18NDDnPPMoZJSQxranmnbvWQgo6tcCcWJv        BTC                   0.01544411 2022-04-11 21:10:12   2022-04-11 21:10:12
Huobi.com                 18EGF84FYW3vARqpRy5m7hYMuSAZ8sVd6Y        BTC                   0.01507337 2022-04-22 15:38:32   2022-04-22 15:38:32
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                                                                                             Funds under claim
                                                                                             (average confirmed
 Owner       Beneficiar                                                    Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                        Destination Address                                      with the five
 Name         y Name                                                            Unit                                      Time                 Time
                                                                                          tracing methodologies;
                                                                                           in cryptocurrency unit)

Indodax.co                32Q7Rg9JwBXzDFLtqYUR351UVj7HC4rWxk                    BTC                   0.10467171 2022-04-12 07:00:16   2022-04-12 07:00:16
Indodax.co                37tpdCe4YS6BMqVFbWxYizQNAUd2rSMZab                    BTC                   0.06261452 2022-04-10 07:15:46   2022-05-01 13:08:46
Indodax.co                1FaRMh5FbSntUdmfh5w1jbL5zNs9t7S7mn                    BTC                   0.04303717 2021-11-12 03:51:06   2022-04-25 05:09:37
Indodax.co                1Ky57vyHcS53V1r3S1rr6rRD1jmC6Xn9gF                    BTC                   0.01872175 2022-04-04 15:15:05   2022-04-04 15:15:05
Kraken                    37cpjhm8p8Cqxv88JgpFAQFfq29EAimcwL                    BTC                   6.30657754 2022-04-17 12:55:05   2022-04-17 12:55:05
Kraken                    38HyrjdARosXGr8SXyzLQLWuSCdi8hqcDR                    BTC                   1.39992011 2021-02-27 15:21:00   2021-02-27 15:21:00
Kraken                    3Mb7wmXR1QtuaBF36m9vpC8P39m396rBb6                    BTC                   1.20350377 2022-04-17 14:06:32   2022-04-18 05:35:14
Kraken                    36XWTfSYJJz3WSNPZVZ3q3aa5eFuJHR9nu                    BTC                   0.66078442 2021-10-22 23:18:57   2022-05-02 11:38:11
Kraken                    bc1qfuddrpsmkymngxkm4nz99ac95vrxad7carhxp945ajrc      BTC                   0.59450753 2021-05-04 06:33:22   2021-05-04 06:33:22
Kraken                    3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                    BTC                   0.45644656 2021-04-06 23:56:53   2021-05-12 08:08:59
Kraken                    bc1qawzv6scmsxp8gjxgd038s69uukk7znc63fceepgxk4a       BTC                   0.40415971 2022-04-05 05:19:27   2022-04-05 05:19:27
Kraken                    39SaPmECYfU1EHc6Gxu1mYiarudJ2ywY42                    BTC                   0.33474991 2021-03-14 04:10:10   2022-04-30 18:25:23
Kraken                    bc1qqwy50uahzvnn8lpc8769sk3q8dsl3fe0ye02ksk43m7       BTC                   0.30821102 2021-06-22 18:34:31   2021-06-22 18:34:31
Kraken                    3K16cwhYkbjudPLPmdK9M1TtDr7Bpz8tsA                    BTC                   0.29624113 2022-04-21 19:24:39   2022-04-21 20:22:12
Kraken                    3FaQxYDunCJ6RzNCsyKNhwG1GbujPmTdBd                    BTC                   0.22960987 2022-04-07 18:42:10   2022-04-07 18:42:10
Kraken                    bc1qyxfd2ctza3npghs9qphpfa2p3su7wxhafs2z4txdmmpe      BTC                   0.20477522 2021-07-03 22:43:08   2021-07-03 22:43:08
Kraken                    3Ki8yYAvCkjs67J5uTt7nRLf9K1JriNaPH                    BTC                   0.20454957 2022-04-25 18:34:13   2022-04-25 18:34:13
Kraken                    3951aHa1re3hNUf3KK5kVtsJKv5vNk8NTc                    BTC                   0.13835629 2022-04-17 15:39:49   2022-04-26 09:03:29
Kraken                    bc1qyvqls3p8t6jp4g8yqjg50n6jpkaqfcypyqcgr9smy64ldz    BTC                   0.13533877 2021-06-22 19:40:48   2021-06-22 19:40:48
Kraken                    3FhegyKfjjPpzH2kHjhMaNWrQt9cJjUF79                    BTC                   0.08367988 2022-04-02 21:23:50   2022-05-01 19:26:10
Kraken                    384iWefg4HN8pcWnHMLPH4Wh1KsPbAxArd                    BTC                   0.07570085 2022-04-05 08:00:44   2022-05-02 08:57:32
Kraken                    3J3dWtKXgxMWKEAZyDENMRDSan753asAJi                    BTC                   0.07535693 2022-04-25 11:57:47   2022-04-25 12:49:55
Kraken                    38sVsNXnEqLLLJhT2Ve8eV9omZCWYs6tXe                    BTC                   0.07531677 2022-04-07 16:21:24   2022-04-09 18:07:09
Kraken                    3HfW1MMbjZMdnQ7SAQF5WdS553ne5fWUuf                    BTC                   0.07343751 2022-04-03 00:15:53   2022-04-03 00:15:53
Kraken                    33Nh8vwtMVa9t5pHpxSfaC38sNbDRZfSBN                    BTC                   0.05302793 2022-04-12 17:15:41   2022-04-12 17:15:41
Kraken                    3HGdiSbfnM3FH4CapoDctJ1ffXz8cd56er                    BTC                   0.05276544 2021-03-16 00:09:13   2021-03-16 00:09:13
Kraken                    3LuWimm9YW1qGqVE2GavGdBZ4VT59jdZzi                    BTC                   0.04439383 2022-03-14 23:13:13   2022-05-02 11:38:11
Kraken                    3GYKg2wdpWMyCcj32rzmHzXNZ5yoA3KF6L                    BTC                   0.04231760 2022-04-05 01:12:26   2022-04-05 01:12:26
Kraken                    3LRrwTB6iopBhPhyLbyYpujGcqjDddEjLg                    BTC                   0.03671071 2022-04-18 18:54:46   2022-04-18 18:54:46
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                                                                                              Funds under claim
                                                                                              (average confirmed
 Owner     Beneficiar                                                       Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                      Destination Address                                         with the five
 Name       y Name                                                               Unit                                      Time                 Time
                                                                                           tracing methodologies;
                                                                                            in cryptocurrency unit)

Kraken                  3A3zzhrJJpgKBsEmMJavYEUbmSeZ69pd3k                       BTC                   0.02310154 2022-04-24 18:35:13   2022-05-02 09:16:55
Kraken                  33s1jTjV75T7zA6ZMvuz5g4z16sfw5kiuy                       BTC                   0.02157979 2022-04-16 11:53:38   2022-04-16 11:53:38
Kraken                  bc1qlfyznlvatcm3wchudqmx79fg5u0xl5ejx6dq8xx6p3sr0        BTC                   0.01957083 2021-05-05 23:39:43   2021-05-05 23:39:43
Kraken                  36GNnB2G8mo7nv62MmtH4sUUg647rFxrwP                       BTC                   0.01581293 2021-06-20 12:07:54   2022-04-09 14:09:02
Kraken                  39YGmrxhAQrSfFobE368vXWBkxHkxAEdyC                       BTC                   0.01556918 2022-04-23 15:59:16   2022-04-23 15:59:16
Kraken |-| B            3D1ukvFykdgDdkJuLr8T4UFaCUULMzVmSZ                       BTC                   0.03936446 2022-01-07 19:04:13   2022-04-18 21:24:02
Kraken |-| H            1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit                        BTC                   0.86061844 2021-03-11 00:29:47   2021-09-07 22:56:08
KuCoin                  33WfY95Fb7RGZtzWLRxwR6wLsCDGHnkcRm                       BTC                   4.09596212 2022-04-23 16:06:31   2022-04-23 18:06:54
KuCoin                  3Q7vFxrx1wagJnHUZCD8toewPNFjZxGSyP                       BTC                   3.87432818 2022-05-01 19:26:10   2022-05-02 07:29:58
KuCoin                  36dnAbtS1yFeEeqm8dbvLEdT878EYU93K5                       BTC                   3.06049522 2022-04-07 00:01:49   2022-04-14 12:31:38
KuCoin                  36LKXRs5nvELt9oJDWa6wi66Zu8jiwxj9U                       BTC                   2.40796285 2022-03-27 22:35:33   2022-04-14 12:31:38
KuCoin                  3QjUrVVw6bazaGPJxDQDhfSsxomyX7GfuE                       BTC                   2.02343374 2022-04-06 14:40:04   2022-04-10 10:26:11
KuCoin                  bc1qx65xcxz6dfsge2g4eaerercslh83y66wrpm79r               BTC                   0.72165325 2021-04-28 15:08:19   2022-03-20 15:01:48
KuCoin                  38mtv2P85GLKLBQ99b9vk3MQ8vorVJ1TBB                       BTC                   0.63084930 2022-03-29 20:17:43   2022-03-29 20:17:43
KuCoin                  3Agw5GYmkpsJmg9kajCvxx4mq9UwtZKLvM                       BTC                   0.55118600 2021-08-20 19:33:42   2021-08-31 02:32:28
KuCoin                  3Lfm1a18NPQEpxVwwGocz8QRuLwLzsvD3T                       BTC                   0.47995177 2022-04-27 08:14:31   2022-04-27 08:42:14
KuCoin                  3NNVuZFnVbd6HQ1YbYHjTSmKg1Fx5ofoee                       BTC                   0.44405817 2022-04-04 22:31:42   2022-04-12 19:03:07
KuCoin                  3BA63wmaQPWYu7yJxm53A1ivUu6RAKspLQ                       BTC                   0.30810705 2022-04-14 18:50:38   2022-04-14 23:05:47
KuCoin                  37vKY5Nmqm44TboFG4nfkxduARRNHxds5T                       BTC                   0.17598844 2022-04-25 11:57:47   2022-04-25 11:57:47
KuCoin                  3G87L4CSZ3Dc89sN87Gqa6M4493fp8abys                       BTC                   0.17398973 2022-04-12 23:59:17   2022-04-25 22:30:14
KuCoin                  3LBmgrRp2pymTmvdU5f5XkBUYQDkdPQAF6                       BTC                   0.17126260 2022-04-10 17:38:02   2022-04-10 17:38:02
KuCoin                  3E3vAN49CA2tdyvDsKkKnVRXCn4rFxVfCC                       BTC                   0.15758144 2022-04-08 08:36:03   2022-04-08 08:36:03
KuCoin                  36ax878r2HGm8zSab7zkTe3dAqMs6NwZ3t                       BTC                   0.14392183 2022-04-01 16:20:51   2022-04-01 16:20:51
KuCoin                  3QW6AtjtvCsrR65gdgTVe3fmLjyMpuSmzi                       BTC                   0.11621793 2022-04-04 16:34:10   2022-04-04 16:34:10
KuCoin                  3NgEQb6dTjdLdtTjDnBaZMbau79gHScodt                       BTC                   0.09808890 2022-02-12 04:00:43   2022-03-28 08:33:09
KuCoin                  3MKGKmJa9FJx3Dd7oXFvYxMF8iWPkLMtJB                       BTC                   0.09630735 2022-04-29 09:52:34   2022-04-29 09:52:34
KuCoin                  3KHqhpTRU3uX3Y1kvUXUQjRn3okA67AD61                       BTC                   0.09594511 2022-04-21 20:51:58   2022-04-21 20:51:58
KuCoin                  3EtnttbT7MwzrMNwPc4SVsBtd5obqkcDzT                       BTC                   0.08008933 2022-01-15 22:37:14   2022-03-21 20:40:59
KuCoin                  3KaESZdP3q6pLRqSANTXsjKUNUkDC5Zda1                       BTC                   0.07832518 2022-04-18 17:12:18   2022-04-25 22:04:27
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                                                                                             Funds under claim
                                                                                             (average confirmed
 Owner        Beneficiar                                                   Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                        Destination Address                                      with the five
 Name          y Name                                                           Unit                                      Time                 Time
                                                                                          tracing methodologies;
                                                                                           in cryptocurrency unit)

KuCoin                     34dZCgZbVeBNwLGmm54JvxCEFgyGpXEzvE                   BTC                   0.07510918 2022-04-07 08:31:59   2022-04-18 08:13:58
KuCoin                     3QTMCRjBi9xeBkPhf1Lht92M7cYmpg4c9j                   BTC                   0.06399722 2022-04-04 21:59:05   2022-04-04 21:59:05
KuCoin                     3LvYEHUPUoRBgNURDGbdczYdQ1v1TNcg9v                   BTC                   0.06398806 2022-04-04 18:49:33   2022-04-04 18:49:33
KuCoin                     37iHsvnJCkMmwTrUmyRLY6ffRZ2HsVdREo                   BTC                   0.05856873 2022-02-12 14:12:41   2022-04-23 13:55:09
KuCoin                     37oztCZ2541YDWkrqARH4Yq2ZiofmntDPs                   BTC                   0.05716482 2022-02-12 06:30:51   2022-04-29 20:31:23
KuCoin                     35GVURsX7RzA86fvxG9oxPMdxaNQdMJf6U                   BTC                   0.03687932 2022-05-01 20:50:40   2022-05-01 20:50:40
KuCoin                     3Lr1TH2uokP6CfMZd95LRRWCtbyQqj72Td                   BTC                   0.03229120 2022-04-30 14:23:36   2022-04-30 14:23:36
KuCoin                     3Mb3nXiZYVzrcRDcYiej1jNboVyBawAzT9                   BTC                   0.03199551 2022-04-04 21:59:05   2022-04-04 21:59:05
KuCoin                     3JtozJ9CCkfw9KUpUD6tZnEF36bv4Mv54A                   BTC                   0.03077355 2021-04-21 08:31:08   2021-04-21 08:31:08
KuCoin                     3F9hmBSbsLENAroikRHmcDBt46GcQn9XK3                   BTC                   0.03002100 2022-04-28 09:35:46   2022-04-28 09:35:46
KuCoin                     3Hp7ED71fDnomfY9asRpP7WgXcEpiRzTFL                   BTC                   0.02517994 2022-04-04 19:34:44   2022-04-22 21:07:50
KuCoin                     3E4RVPvhVJXHsXALNKXqQhNc36aeUD11fj                   BTC                   0.01597556 2022-04-30 14:45:20   2022-04-30 14:45:20
KuCoin                     35t751pd5U1cfiX3yA37XSPMhT5WS1xZwr                   BTC                   0.01296583 2022-04-27 21:12:22   2022-04-27 21:12:22
KuCoin                     352KmMR67tWo3zRM2oFS4Y1eLjY28hcW3x                   BTC                   0.01138349 2022-04-13 04:11:22   2022-04-13 04:11:22
Kuna                       37DQMeRjNtxqSuJrabHRbkrViNQk8YcRYD                   BTC                   0.06380330 2022-04-09 23:32:56   2022-04-11 11:01:03
LocalBitcoi                3Hc17tSzv1L1J7GU7FC7624m7vm7EVnxZS                   BTC                   0.46658883 2021-03-12 20:12:05   2021-03-12 20:12:05
LocalBitcoi                37PPZuGqkg7rSXy1VNTvUB6CHeU3jz2poz                   BTC                   0.33190362 2021-04-05 10:23:29   2021-04-05 10:23:29
LocalBitcoi                3Fyg8b8416fvgB9SMLjxHZDSuVVvHBf7Te                   BTC                   0.26929146 2021-04-06 19:07:23   2021-04-06 19:07:23
LocalBitcoi                3PHS3rk7Rkwz8f39ZE7CuxjAL7YvH86rUH                   BTC                   0.19555794 2021-03-26 10:31:35   2021-03-26 10:31:35
LocalBitcoi                3JFrJ6P6t5icD7bSAGtVU9Vbg8bQhfDHpg                   BTC                   0.18868763 2021-07-26 11:04:09   2021-07-26 11:04:09
LocalBitcoi                3GQQM3zDK9tvvdnQ24vaoqkyCr8vzEQvM9                   BTC                   0.08439749 2021-08-26 16:05:39   2021-08-26 16:05:39
LocalBitcoi                33bwSdhWANkJKRWkbGhzLUmEeqVJXTpptc                   BTC                   0.02661256 2022-02-09 22:08:13   2022-04-12 13:41:16
LocalBitcoi                32kLJmSHGTNHF57oqM8vzUqKGyNXh8YFiB                   BTC                   0.01599832 2022-04-15 17:40:51   2022-04-15 17:40:51
LocalBitcoi                bc1qc979rs95z6eq7khjty34rul7jh2cr4q8hrgxwr           BTC                   0.01440659 2022-04-25 15:58:34   2022-04-25 15:58:34
Luno                       37zLggpw8xGkf1UBSkx9puFFzSAt3b6ZiQ                   BTC                   0.15168315 2022-04-09 19:08:24   2022-04-21 23:51:58
Luno                       bc1qd2kx8pmpnvfx40rmgd483988jcasamm9xw326zlm4        BTC                   0.04350199 2022-04-07 10:59:29   2022-04-21 14:38:15
Luno                       1M1o94Hkz8dSQGeiicx77N9MEGzCjxRpYx                   BTC                   0.04043452 2022-04-01 05:47:42   2022-04-01 05:47:42
Luno                       3G9NyDndSeQ4ct65Lz9UvB9LMf6eaQLib9                   BTC                   0.02987076 2022-04-22 16:48:09   2022-04-29 10:16:08
Luno                       3DPDkymBqPGWzFeWxok8T7EaPcDeZ2Bdzx                   BTC                   0.01107520 2022-04-08 13:03:21   2022-04-08 13:03:21
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                                                                                                Funds under claim
                                                                                                (average confirmed
 Owner       Beneficiar                                                       Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                        Destination Address                                         with the five
 Name         y Name                                                               Unit                                      Time                 Time
                                                                                             tracing methodologies;
                                                                                              in cryptocurrency unit)

Mandala                   1BqazAeRaCLJUquxWfQPhWGU1nqVmyFmMU                       BTC                   0.84861044 2021-02-23 15:36:54   2021-02-23 15:36:54
MercadoBi                 35AuVNTcQQDdnLFseKJzarbcwRG85wWadu                       BTC                   0.02018330 2022-04-22 23:08:44   2022-04-22 23:08:44
MEXC Glo                  32YgzEsdvt8Mh4s3skG7UYYAEcorxdoMo1                       BTC                   0.12886460 2022-02-14 04:01:36   2022-03-25 02:20:37
Nominex                   31s4AxJaFthfSG21ScGHT9LEPPrp4mR2Cn                       BTC                   0.09605104 2021-07-18 01:52:20   2021-08-11 08:04:31
OceanEx                   3HBeio12szxLaHLe2h1gNeHFZoaQFd9Xka                       BTC                   0.02816960 2022-04-27 02:13:00   2022-04-30 20:59:41
OKX (OKE                  32rKAri2ED9ngZiKZAKhfiRQ8hTSEEnDQw                       BTC                   1.00131787 2022-03-29 20:14:38   2022-03-31 06:50:38
OKX (OKE                  36QYcoc92YjHCnXnRRQHPM34B5qMvuqArd                       BTC                   0.24079111 2022-05-01 10:16:36   2022-05-01 10:16:36
OKX (OKE                  3PVJs9TqQQrvkizQzPVwx1fzgZPGhseHYV                       BTC                   0.20692018 2022-04-21 14:26:43   2022-04-30 16:06:39
OKX (OKE                  3NN3bG25zG86Z9wM46VyYtToysRYg7WwH5                       BTC                   0.18105317 2022-05-01 17:41:24   2022-05-01 17:41:24
OKX (OKE                  3M974H76L7ndHjLgr7BrY6sao2c1kTPexF                       BTC                   0.10979245 2022-04-12 15:42:24   2022-04-12 15:42:24
OKX (OKE                  bc1qaqeu4s7drfpxdrt505fe8qcraymplh7eh7339g6jfh30m        BTC                   0.09317869 2021-12-22 10:35:29   2022-01-19 10:33:26
OKX (OKE                  3Ejcov8UL29FW6sozV1vFfyT4npDUwEJsn                       BTC                   0.09127831 2021-09-16 15:54:52   2021-11-08 05:50:12
OKX (OKE                  3PKAmdanxjuVVqRpfZBxPPfDdN4BqgV85k                       BTC                   0.07015952 2022-04-24 00:25:18   2022-05-01 23:17:22
OKX (OKE                  32f5UKn3pv7HUWTtU9W9bAunkP23crwRKq                       BTC                   0.06356804 2022-04-29 14:39:03   2022-04-29 14:39:03
OKX (OKE                  3P3XpRj5cNU5hrSMTPSyS6yvykbaH1pxbB                       BTC                   0.05951267 2022-04-29 16:54:12   2022-04-29 16:54:12
OKX (OKE                  33Gc4jEhVUfwNSM74JWp3S1u7rT8HiM4P8                       BTC                   0.03199407 2022-04-09 10:43:14   2022-04-09 10:43:14
OKX (OKE                  39ZDCYgW9RhXMAHAqTvh4gfHw4hKaoQkXi                       BTC                   0.02045392 2022-04-20 17:10:19   2022-04-20 17:10:19
OKX (OKE                  3LkBUA2ye5kTMwHNkmzwhpENXdQhMcX1np                       BTC                   0.01857213 2022-04-25 01:23:58   2022-04-25 01:23:58
OKX (OKE                  3JfH8wMHodcwQ9uHniZ9gAvZy2oD89yTQu                       BTC                   0.01662288 2022-04-13 20:45:13   2022-04-15 10:33:16
OneObmen                  bc1q7f9q5w9lge7e3e8kdwcgm23d6l9d2mrhyuw35d               BTC                   0.81516217 2022-04-16 07:59:21   2022-04-22 15:59:01
Paxful.com                31iGbszbVQi4Gsh1SZbcWgrktTjhmipvNW                       BTC                   0.06877498 2022-04-12 00:42:57   2022-04-30 16:40:09
Paxful.com                37jdH27yixRNcK9Vyg5FvcBfMimTXjHTbG                       BTC                   0.05799017 2021-03-12 20:45:20   2021-03-12 20:45:20
Paxful.com                3LtH3TqtauUwNWA749Jf6PgcmHcmoUs1Gq                       BTC                   0.05362146 2022-04-12 01:58:54   2022-04-29 01:52:29
Paxful.com                3M7dxsKeC4j6NrbFBdiANpUsXb5VoJxfPQ                       BTC                   0.04866300 2022-04-12 00:14:11   2022-04-29 00:49:09
Paxful.com                3ELSJfyA7i9bxNotjDeKNoZS9yj9s74e9R                       BTC                   0.04797451 2022-04-05 14:01:09   2022-04-07 16:16:56
Paxful.com                37dkJ5i4UEPZQQTwkaHxr7kgimfbGj4opc                       BTC                   0.04361758 2022-04-11 22:34:28   2022-04-29 21:39:59
Paxful.com                33w1BA6ZgQ3yQfxuSaufuoTpE9SJjLPXfT                       BTC                   0.04324597 2022-04-02 18:25:23   2022-04-02 18:25:23
Paxful.com                37wjicC8wanWgFjVcxgjYne3tnCmgmHJho                       BTC                   0.04112705 2022-04-21 10:53:22   2022-04-21 10:53:22
Paxful.com                3GSHg9d6DXk41vYTwjkhDDkHrekZUJ76vW                       BTC                   0.03550339 2022-03-29 08:00:37   2022-04-17 18:09:50
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                                                                                 Funds under claim
                                                                                 (average confirmed
 Owner       Beneficiar                                        Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                     Destination Address                             with the five
 Name         y Name                                                Unit                                      Time                 Time
                                                                              tracing methodologies;
                                                                               in cryptocurrency unit)

Paxful.com                33ATPayFHSYNkRoFMTd4Exr6DccBxGCQR2        BTC                   0.02366683 2022-04-11 18:06:01   2022-04-28 23:45:15
Paxful.com                33qY1B3tK1GaCnW3qH9snvsJcg1hQ7njK5        BTC                   0.01598546 2022-04-07 17:17:55   2022-04-07 17:17:55
Paxful.com                3AbKLAvpRrjPmX5SJyJogjvLKhgZpvpoKm        BTC                   0.01032551 2022-04-02 17:28:02   2022-04-02 17:28:02
Poloniex                  13a56ZECcZWnqCFMfjNFMX2H93hmnCWCYH        BTC                   0.18057509 2022-04-23 08:21:59   2022-04-23 08:21:59
Poloniex                  1AQJFdK8aAiy7jSpu3KeoVP6sXzsPjBVvf        BTC                   0.15438851 2021-10-03 20:07:10   2021-11-11 18:21:08
Poloniex                  13px2ym732WrPoSsrR6QvHMbUbhztQBt8A        BTC                   0.11611268 2022-03-31 07:05:47   2022-04-05 16:39:16
Poloniex                  1917vGDrz4ukiuNx5vzMMkTXaXbsG9BWLF        BTC                   0.03074507 2022-03-28 17:52:59   2022-03-28 17:52:59
Poloniex                  1CRaTwf1U1rxTCqpRKfUBUbzf6acAHW6o7        BTC                   0.01981571 2022-04-29 01:14:02   2022-04-29 01:14:02
Remitano                  3LSxukTcFeq8bSvR6AcVj5cWoDHiodtwVx        BTC                   0.06936702 2022-04-04 08:05:02   2022-04-04 08:05:02
Ren                       3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x        BTC                  84.42122273 2022-04-14 07:17:12   2022-04-14 14:42:32
Ren                       19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6        BTC                  56.30993266 2021-04-27 21:43:52   2022-04-23 20:00:45
Ren                       3JDmvAZwH8wncpE7ZF3vUwdcuJxGHwhpd2        BTC                  45.47574718 2022-04-17 13:16:25   2022-04-17 13:25:23
Ren                       3LqdjTMqS7q9AeGfWd1xk9rz64D5qgUmzT        BTC                   9.28167776 2021-03-01 13:52:38   2021-03-01 13:52:38
Ren                       38L2i15SxTqJ2vD8X71DtfsBhuUefwibJX        BTC                   3.36616218 2021-03-01 13:52:38   2021-03-01 13:52:38
Ren                       3CzGP9Je4jHD591qW6e6c1AbtLQrsxQZo4        BTC                   1.99991662 2021-03-11 03:11:02   2021-03-11 03:11:02
Ren                       3HUQjCX6bLXzHMdCzTduAUWc3yMkzRA6La        BTC                   1.82352728 2021-03-26 23:53:49   2021-03-26 23:53:49
Ren                       36CpqVr1SHJ3aj5NcWbnnDaZNxTN3PrtcT        BTC                   1.39987192 2021-02-16 14:30:47   2021-02-16 14:30:47
Ren                       33DaZYib7zij1LP2x9VHHSb6dYDhUymqXt        BTC                   1.39987007 2021-02-16 14:56:40   2021-02-16 14:56:40
Ren                       3953TFvpANofLb45AkrtitCp2k35sp2kJg        BTC                   1.19998029 2021-03-15 13:36:06   2021-03-15 13:36:06
Ren                       3GwVA3kPCxkfxiTnZUJbBzF9cH7j5omtFh        BTC                   0.60953274 2021-03-25 08:11:10   2021-03-25 08:11:10
Ren                       3HSUqCM5BqF2mZW3RKExw9AGQvE5eAaCnb        BTC                   0.57000334 2021-03-24 14:20:43   2021-03-24 14:20:43
Ren                       35TjCuKRbKcofxnKG2EkC8B66ZNXKqE1aN        BTC                   0.49996934 2021-04-22 02:00:30   2021-04-22 02:00:30
Ren                       39TSkidWoFVb4qnnWDrcgXirwoxCLRjYbC        BTC                   0.46658883 2021-03-21 18:47:47   2021-03-21 18:47:47
Ren                       3M8VZjtAqi51LsMuRGGY9mhPvQk5hvubvt        BTC                   0.46658883 2021-04-22 02:00:30   2021-04-22 02:00:30
Ren                       3Nwebgx6r4cu8gsLcBao7SMayDHmjAaDYM        BTC                   0.39999020 2021-03-21 20:41:31   2021-03-21 20:41:31
Ren                       3BhWD6JtX3RXS6JeKyBoo2BEpfeoK3HhxE        BTC                   0.36839428 2021-03-09 22:03:57   2021-03-09 22:03:57
Ren                       3GrVa1413BKGL3CsUiwyKfjynZLRB2qK2T        BTC                   0.36350947 2022-04-17 02:03:30   2022-04-17 02:03:30
Ren                       3KN8ZNAmsfybuieLTU2rwJQoWttiSECztQ        BTC                   0.15058266 2021-03-25 22:33:21   2021-03-25 22:33:21
Ren                       3ErtV4K3sDHoshbudwAnkreSuXS7u2YREJ        BTC                   0.07513967 2021-05-05 06:22:24   2021-05-05 06:22:24
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                                                                                      Funds under claim
                                                                                      (average confirmed
 Owner    Beneficiar                                                Cryptocurrency                          Tainted Inflow Start Tainted Inflow End
                                     Destination Address                                  with the five
 Name      y Name                                                        Unit                                      Time                 Time
                                                                                   tracing methodologies;
                                                                                    in cryptocurrency unit)

TradeOgre              bc1qdmgqqq7uqhz274pm85vysfx6fy3evrqymythwr        BTC                   1.16116425 2022-04-30 05:51:01   2022-05-02 06:08:01
TradeOgre              bc1qz7m8llwshalzyjqr863ce7pdvewm0m9p59ekua        BTC                   0.11196875 2022-04-24 12:44:17   2022-04-30 19:27:51
TradeOgre              34H8iW6H5bf3uNzEGABWKPCuDXk2Jhurvs                BTC                   0.02553944 2022-04-03 20:27:19   2022-04-03 20:27:19
TradeOgre              bc1q2vzq2q75532yyjtdqwltmha5kg5j7llfcattm5        BTC                   0.01598755 2022-04-30 11:28:53   2022-04-30 11:28:53
Vilcov.com             1changerPHuUgXPdSHRxBd2wWT2TdQB1y                 BTC                   0.04574001 2022-04-08 07:44:00   2022-05-01 06:40:56
Waves.Exc              bc1qwqsyf3juxjj89mjck45e63rxe6jfvv4gjlu0tl        BTC                   3.95502521 2022-04-04 05:02:48   2022-04-18 04:01:01
Waves.Exc              bc1qq2x0vx5dhm48gyyrym9z2f9qqz0fwpt56637la        BTC                   0.02704988 2021-05-03 14:01:08   2022-04-18 21:54:01
Waves.Exc              1BDsLYuzak29w3kbhKBNMGYuDFwd4URPWY                BTC                   0.01599967 2022-05-02 01:55:44   2022-05-02 01:55:44
WazirX                 36igprPugfwJ83G2xfi4mznzm3mrtRdwm8                BTC                   0.04732976 2022-04-04 20:19:50   2022-04-04 20:19:50
WazirX                 bc1q0jsvr48s5dcge22nsqx584wkna92z7knn9axut        BTC                   0.03194902 2022-04-02 02:36:43   2022-04-02 02:36:43
WebMoney               1N615Az75xbRtQsTDvDRrxEaRuL4SxdARs                BTC                   0.70461396 2021-02-27 01:07:26   2021-02-27 01:07:26
WebMoney               1Dy4a2XPKz2odvwFYjrwjNLfiVLY8fLQb8                BTC                   0.23877967 2022-04-18 17:35:02   2022-04-18 17:35:02
Wirex                  38xtioZVd8hj51HZLchgB7WZN23EQ2FDvW                BTC                   0.10457871 2022-04-14 08:43:30   2022-04-14 08:43:30
Wirex                  3GtUzEjEhBRy7ZUhSp6mVid6xd34HiMNuB                BTC                   0.01831015 2022-05-02 04:04:18   2022-05-02 04:04:18
Wirex                  35sf9Jrp1mYuoe954aVwhaVvnfsVEraowm                BTC                   0.01059517 2022-04-01 23:51:10   2022-04-01 23:51:10
Zonda (BitB            3LEDiubbihZeNphpnBQg56DXC3qftrfphy                BTC                   0.63913631 2022-03-31 20:08:46   2022-03-31 20:08:46
Zonda (BitB            3P5yhMbLj6w7GK5a5q3fJqWFpsy41i9fNn                BTC                   0.03131192 2022-04-02 06:36:32   2022-05-01 17:17:52
Zonda (BitB            3L1NbDjw5o5ZPkaJxgN75sRM2hsDgemkGq                BTC                   0.01280828 2022-02-13 19:04:22   2022-04-29 08:33:06
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           Tab                      Column                                                                                  Description
                                                      The blockchain address to which the transaction was sent. Note: there may be multiple addresses receiving funds in on blockchain transaction.
   Transactions summary           Address To

                                                       An entity or an individual identified as managing the private keys allowing to distribute funds from blockchain addresses corresponding to these private
   Transactions summary       Owner (Address To)
                                                      keys.
   Transactions summary        Transaction Hash       Unqiue identifier of a particular blockchain transaction.
   Transactions summary       Transfer Date (UTC)     The time of adding indicated block to the blockchain ledger which is identical with the time of indicated transaction, provided in UTC standard.
                                                      The amount of stolen funds traced - the average from the five tracing methods. Coinfirm use Destination of Funds analysis to identify addresses that hold or
                                                      received funds originating from starting transfers indicated by Client as constituting assets misappropriation. An algorithm uses five different tracing
                              Funds under claim       methodologies, “First In First Out”, “Last In First Out”, “Pro Rata Distribution by Blocks”, “Pro Rata Distribution by All Outputs”, and “Taint Last”, to trace the
                              (average confirmed      fraudulent transaction. Only results confirmed with the said 5 tracing methods are provided, namely only addresses for which the amount traced by each
                                  with the five       tracing method varies less than 20% from the amount equal to the mean from the 5 tracing methods.
   Transactions summary              tracing
                                methodologies;
                               in cryptocurrency
                                       unit)



                                                      Asset Type – type of asset that was transferred by the transaction, for example "AMLT" for AMLT token on ETH. The value of this data field is "native", if the
                                                      asset type is the first asset supported by given blockchain network (e.g. ETH for Ethereum blockchain). Note: multiple assets types may be carried in one
                                                      transaction. Note 2: No such field in the BTC blockchain.
   Transactions summary            Asset Type




                                                      An entity or an individual identified as managing the private keys allowing to distribute funds from blockchain addresses corresponding to these private keys.
Receiving Addresses summary       Owner Name
Receiving Addresses summary    Beneficiary Name       The identified beneficiary of the address owned by the address owner.
                                                      "If Owner Name is empty then: addresses that currently hold traced funds. Those funds can be traced further, once a new transaction occurs.

                                                      If the Owner Name is identified then: the address that received traced funds, but the funds can't be traced any further - typically these are addresses with
                                                      the identified owner e.g. cryptocurrency exchanges, payment processors, online wallet services.

                                                  Whether traced funds are received by a VASP-controlled* wallet or not has an impact on our tracing analysis. Tracing of the Client's cryptocurrency will
                                                  continue until either those funds are received by a VASP-controlled wallet, or the funds are received by a wallet that still currently holds those funds (i.e.
                                                  there has been no further onward dissipation of the funds). Most VASPs operate pooling addresses used to store customer deposits and to execute
                                                  transfers. When a user of the VASP wishes to transfer cryptocurrency from their exchange account, often the exchange will use cryptocurrency held in one
                                                  of its pooling addresses to settle the transaction, rather than transfer cryptocurrency held in a wallet that only includes that specific user’s cryptocurrency. In
Receiving Addresses summary   Destination Address
                                                  these cases, the records matching user account transactions to the movements on the blockchain showing which addresses have been used to settle the
                                                  transaction are kept only by the exchange. These internal records are not publicly available. The tracing of the Claimant’s cryptocurrency must, therefore,
                                                  stop once those funds are received by a wallet controlled by an exchange as we do not know which user account transactions relate to transfers from these
                                                  wallets."

                                                      * The term ‘Virtual Asset Service Provider’ or ‘VASP’ was introduced by the FATF to recognize those firms that perform services relating to ‘Virtual Assets’
                                                      or ‘VAs’ which definition covers cryptocurrencies and other blockchain assets. The ‘VASP’ definition covers the providers of custodial digital wallet services,
                                                      transfer services and brokerage or investment-related services. A VASP under these regulations would become an ‘obliged entity’ with all the consequences
                                                      and obligations to comply with the same standards as traditional financial institutions such as banks.

Receiving Addresses summary   Cryptocurrency Unit Blockchain Type – the symbol of blockchain network on which the transaction was executed, for example "BTC" for Bitcoin or "ETH" for Ethereum.
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                                                     Asset Type – type of asset that was transferred by the transaction, for example "AMLT" for AMLT token on ETH. The value of this data field is "native", if the
Receiving Addresses summary       Asset Type         asset type is the first asset supported by given blockchain network (e.g. ETH for Ethereum blockchain). Note: multiple assets types may be carried in one
                                                     transaction. Note 2: No such field in the BTC blockchain.
                              Funds under claim      The amount of stolen funds traced - the average from the five tracing methods. Coinfirm use Destination of Funds analysis aims to identify addresses that
                              (average confirmed     hold or received funds originating from starting transfers indicated by Client as constituting assets misappropriation. An algorithm uses five different tracing
                                  with the five      methodologies, “First In First Out”, “Last In First Out”, “Pro Rata Distribution by Blocks”, “Pro Rata Distribution by All Outputs”, and “Taint Last”, to trace the
Receiving Addresses summary          tracing         fraudulent transaction. Only results confirmed with the said 5 tracing methods are provided, namely only addresses for which the amount traced by each
                                methodologies;       tracing method varies less than 20% from the amount equal to the mean from the 5 tracing methods.
                               in cryptocurrency
                                       unit)
                              Tainted Inflow Start   The time of the first Tainted Funds inflow of the indicated asset type and to the specific "Address DoF“, provided in UTC format. Note: The earliest date
Receiving Addresses summary
                                      Time           from the 5 tracing methods is taken
                              Tainted Inflow End     The time of the last Tainted Funds inflow of the indicated asset type and to the specific "Address DoF“, provided in UTC format. Note: The latest date from
Receiving Addresses summary
                                      Time           the 5 tracing methods is taken
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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

    BRANDON LEIDEL, individually,                                 CASE NO. 9:16-cv-80060-KAM
    And on behalf of All others Similarly Situated,

                    Plaintiffs,
    v.

    PROJECT INVESTORS, INC. d/b/a
    CRYPTSY, a Florida corporation, and
    PAUL VERNON, an individual,

                Defendants.
    ________________________________________/

                     ORDER GRANTING NORTH FIELD TECHNOLOGY’S
                    ASSIGNEE’S MOTION TO CLARIFY THE SCOPE OF THE
                    AMENDED JUDGMENT AND PERMANENT INJUNCTION

           THIS MATTER is before the Court with the consent of Plaintiff Brandon Leidel,

    individually and on behalf of all other similarly situated members of the Certified Class (“Plaintiff

    Class”), and upon the motion of North Field Technology (“North Field”), which is the assignee

    under the Assignment Agreement [ECF No. 139-1] to clarify the Amended Final Default Judgment

    (the “Amended Judgment”) [ECF No. 157] and the Order for Asset Freeze Injunction and to

    Transfer the Stolen Bitcoin to Assignee (“Permanent Injunction”) [ECF No. 177].

           BY ITS MOTION, Northfield seeks to clarify the original intent of the Amended Judgment

    and Permanent Injunction to apply to all secondary wallet addresses (the “Clarification Motion”

    or “Motion”).

           The Amended Judgment “declares that the 11,325.0961 Bitcoin which were stolen from

    Cryptsy customers on July 29, 2014 and which, as of the date of the initial Final Judgment, were

    stored in the cryptocurrency or digital wallet addresses identified in Table 1 below, are property

    of the Plaintiff Class and subject to and encompassed within this Amended Final Default

    Judgment[.]” [ECF No. 157, ¶ 4(d)]. The Amended Judgment further “adds and includes as
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    property of the Plaintiff Class an additional 500.052319 Bitcoin that were stolen from Cryptsy

    customers on July 29, 2014[.]” [ECF No. 157, ¶ 5]. The Amended Judgment further holds that the

    Plaintiff Class “is entitled to recover” the forked assets (the “Forked Digital Assets”) associated

    with the 11,825.1484 Bitcoin (the “Stolen Bitcoin”). [ECF No. 157, ¶¶ 4(e),(f), 5].

            The Permanent Injunction, in Paragraph 4, addresses the obligations of third parties that

    may obtain custody or control over the Stolen Bitcoin and/or Forked Digital Assets. It requires

    those parties to:

            a. locate the Stolen Bitcoin and Forked Digital Assets;

            b. freeze, or assist in or facilitate the freezing of, the Stolen Bitcoin and Forked Digital
               Assets held in or transferred from any wallet address listed in Tables 1 and 2 of this
               Order, and (other than as Ordered in subsection (d) hereof) refrain from transferring,
               disbursing, assigning, dissipating, disposing of, validating, or participating in or
               assisting in the validation of, any transaction in the Stolen Bitcoin and Forked Digital
               Assets;

            c. freeze all customer accounts related to the Stolen Bitcoin and Forked Digital Assets
               held in or transferred from any wallet addresses listed in Tables 1 or 2 of [this] Order,
               and (other than as Ordered in subsection (d) hereof) refrain from transferring,
               disbursing, assigning, dissipating, disposing of, validating, or participating in or
               assisting in the validation of, any transaction in the Stolen Bitcoin and Forked Digital
               Assets; and

            d. take all steps necessary to transfer, assist in the transfer of, facilitate the transfer of,
               validate or assist in the validation of the transfer of the Stolen Bitcoin and Forked
               Digital Assets to a digital wallet or account held by North Field.

    [ECF No. 177, at 7-8, ¶ 4].

            HAVING REVIEWED THE MOTION AND SUPPORTING PAPERS and being

    otherwise fully advised in the premises, the Court hereby ORDERS AND ADJUDGES:

            1.      The motion (DE 191) is GRANTED.

            2.      The Court hereby clarifies that the Amended Judgment by its terms awards the

    11,825.1484 Stolen Bitcoin and Forked Digital Assets to the Plaintiff Class as its property,

    regardless of which digital wallet addresses presently holds those assets, and in particular,

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    regardless of whether those assets are presently held in the original wallet addresses listed in Tables

    1 and 2 or new wallet addresses to which they were subsequently transferred.

           3.      The Court further clarifies that all subparts of Paragraph 4 of the Permanent

    Injunction apply not only to the original wallet addresses listed in Tables 1 and 2 but also to any

    and all subsequent wallet addresses into which the Stolen Bitcoin and Forked Digital Assets have

    been or are in the future transferred. The Permanent Injunction recognizes that the Stolen Bitcoin

    and Forked Digital Assets are the property of the Plaintiff Class. Therefore, by its terms, the order

    applies to those stolen digital assets whether they are held in the original “wallet addresses listed

    in Tables 1 and 2” of the Permanent Injunction or held in any subsequent wallet address into which

    they were directly or indirectly transferred after being “transferred from” the original wallet

    addresses.

           4.      The Court reserves jurisdiction to enter further orders that are proper to compel

    Defendant Vernon, his associates or conspirators, and all persons or entities subject to the

    Permanent Injunction to complete all procedures in execution of the Judgment and to otherwise

    facilitate the efforts of or taken on behalf of Plaintiff Class to recover the assets subject to the

    Judgment.

           DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County, Florida

    this 13th day of April, 2022.




                                                                   KENNETH A. MARRA
                                                                   United States District Judge




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                                       18 U.S.C. § 1956(a)(1)(B)(i)
                                       18 U.S.C. § 1030(a)(5)(A)
                                       26 u.s.c. § 7201
                                       18 u.s.c. § 1512
                                       18 u.s.c. § 1519
                                       18 U.S.C. § 981(a)(l)(C)
                                       18 U.S.C. § 982(a)(1)
                                       18 U.S.C. § 982(a)(2)(B)
                                       18 u.s.c. § 1030(i)
                                       26 u.s.c. § 7302

   UNITED STATES OF AMERICA

   vs.

   PAULE. VERNON,

                 Defendant.
   _____________________________ !

                                         INDICTMENT

          The Grand Jury charges that:

                                  GENERAL ALLEGATIONS

          At various times relevant to this Indictment:

          I.     Defendant, PAUL E. VERNON, was a resident of Palm Beach County,

   Florida, and the founder, operator, and Chief Executive Officer ("CEO") ofProject Investors

   Inc., doing business as Cryptsy.

          2.     Project Investors, Inc., was a Florida Corporation with its principle place of

   business located at 160 Congress Park Drive, Suite 101, Delray Beach, Florida 33445.

          3.     Cryptsy was an online cryptocurrency exchange which allowed its customers

   to exchange, invest, and trade in various forms of cryptocurrency, including Bitcoin. Its
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    webservers were located at Vault Networks, located at 100 N. Biscayne Blvd., Suite 604,

    Miami, Florida 33132.

           4.     Cryptsy was registered with the Financial Crimes Enforcement Network, or

    FinCEN, as a Money Services Business. Cryptsy offered its services to customers throughout

    the United States and various foreign countries.

           5.     Cryptsy operated from the website: www.cryptsy.com and also maintained a

    blog located at www.blog.cryptsy.com.

           6.     Cryptsy provided an internet platform that allowed Cryptsy's customers to

    trade cryptocurrencies with one another. The platform generally appeared as follows:




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                                                @) Pending Transactions




           7.     A customer interested in buying or selling a cryptocurrency like Bitcoin in
                                                                                                                                               !
    exchange for other virtual currencies could go to Cryptsy's website and open an account. The

    customer would then transfer his/her cryptocurrency directly to Cryptsy and then he/ she

    could begin trading his/her cryptocurrency for virtual currencies owned by other Cryptsy

    customers.


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           8.     Cryptsy earned revenue by charging a percentage fee (in the form of the

    underlying cryptocurrency) for each cryptocurrency exchange or trade that took place on the

    Cryptsy website.

           9.     Cryptsy, in the name of Project Investors, maintained a merchant account at

    Coinbase, located in San Francisco, California

           10.    Coinbase was a web-based cryptocurrency wallet and platform where

    merchants and consumers could buy, sell, and trade cryptocurrencies like Bitcoin.

           11.    Cryptsy used Coinbase to convert the revenue Cryptsy earned from the fees

    associated cryptocurrency exchanges on the Cryptsy platform, into cash. The cash was then

    distributed to Cryptsy's corporate bank accounts to pay for Cryptsy's expenses, employee

    paychecks, and employee bonuses, among other things.

           12.    Cryptsy did not maintain separate "wallets" or segregated accounts for the

    cryptocurrencies transferred or owned by each of its customers. Rather, Cryptsy essentially

    maintained one wallet for each type of cryptocurrency it allowed its customers to trade with

    one another. Within each of these wallets, a customer's cryptocurrency was comingled with

    the same type of cryptocurrency transferred to Cryptsy by its other customers and with the

    fees generated by Cryptsy from its customers' trading activities.

           13.     Cryptsy maintained internal software on its computer servers that provided the

    accounting and administrative support to track all of the trading activity of Cryptsy's

    customers including keeping track of the account balances for each of Cryptsy's customers

    and the fees generated for Cryptsy from their trading activities.

           14.    Cryptsy represented to its customers that they could at any time withdraw

    cryptocurrency from their Cryptsy accounts.
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                                             COUNTS 1-6
                                            WIRE FRAUD
                                          (18 u.s.c. § 1343)

           1.     Paragraphs 1-14 of the General Allegations section of this Indictment are re-

    alleged and incorporated by reference as though fully set forth herein.

           2.     From on or about May 23, 2013, and continuing through on or about January

    14, 2016, in Miami-Dade County, in the Southern District of Florida, and elsewhere, the

    defendant,

                                         PAULE. VERNON,

    did knowingly, and with intent to defraud, devise, and intend to devise, a scheme and artifice

    to defraud and to obtain money and property by means of materially false and fraudulent

    pretenses, representations, and promises, knowing that the pretenses, representations, and

    promises were false and fraudulent when made, and transmitted and caused to be transmitted

    in interstate commerce, by means of wire communication, certain writings, signs, signals,

    pictures, and sounds, for the purpose of executing the scheme and artifice, in violation of Title

    18, United States Code, Section 1343.

                         PURPOSE OF THE SCHEME AND ARTIFICE

           3.     It was the purpose of the scheme and artifice for PAUL E. VERNON to

    unjustly enrich himself by: (a) soliciting and causing others to solicit over one million dollars

    in funds from potential Cryptsy customers· through false and fraudulent misrepresentations

    and omissions as to the security of Cryptsy website and the financial health of the company,

    among others; (b) misappropriating and converting Cryptsy customer funds for VERNON's

    personal benefit, and the benefit of others without the consent or authority of Cryptsy




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    customers; and (c) engagmg m activities which were designed to fraudulently conceal

    VERNON's commission of such conduct.

                                   SCHEME AND ARTIFICE

           The manner and means by which the defendant sought to accomplish the purpose of

    the scheme and artifice included, among others, the following:

           4.     PAUL E. VERNON solicited cryptocurrency owners to deposit their

    cryptocurrency with Cryptsy by touting the safety and financial health of Cryptsy' s

    cryptocurrency trading platform. Through representations made in personal interviews with

    the investing public and announcements made through his website, VERNON caused

    cryptocurrency investors to trust the safety of Cryptsy for storing and trading their virtual

    currency.

           5.     As the founder and operator ofCryptsy, PAUL E. VERNON exercised control

    over cryptocurrencies deposited on the Cryptsy website. Between in and around May 2013,

    through in and around May 2015, VERNON used his control over Cryptsy's accounts,

    known as wallets, to falsely and fraudulently withdraw over one million of dollars from

    Cryptsy's self-maintained cryptocurrency wallets. Once VERNON stole his customers' funds

    from Cryptsy's wallets, he falsely and fraudulently deposited the funds into his personal

    Coinbase account, from which he transferred the funds into his personal TD Bank account

    ending in -2307. At no time during this time period did VERNON disclose his theft of his

    investors' funds from their Cryptsy accounts.

           6.     On or about July 29, 2014, PAUL E. VERNON informed Cryptsy employees

    that Cryptsy had been hacked by an unidentified party, and that the hacker had stolen more

    than five million dollars' worth ofbitcoins and other cryptocurrency from Cryptsy. For six


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    months following this disclosure to his employees, VERNON continued to operate Cryptsy,

    including soliciting new customers, without disclosing to his customers that the website's

    security had been compromised, resulting in the theft of millions of dollars of client funds.

           7.     In or around October 2014, months before disclosing the hack to the general

    public, VERNON sought to reassure his customers through the Cryptsy blog. VERNON

    falsely and fraudulently posted on the Cryptsy blog that Cryptsy "strived for transparency and

    doing what is right."     VERNON made this false and fraudulent representation while

    simultaneously failing to disclose the June 2014 hack, his own theft of Cryptsy customers'

    funds, and his use of new and existing Cryptsy customers' funds to conceal his fraudulent

    conduct.

           8.     In or around November of 2015, PAUL E. VERNON moved from the

    Southern District of Florida to China. Once outside the reach of his customers, on or about

    January 14, 2016, the Cryptsy blog, for the firsttime, publicly reported the 20 14loss ofbitcoin

    and other cryptocurrency to Cryptsy customers.

           9.     Based on various false and fraudulent representations detailed above, PAUL

    E. VERNON caused thousands of investors to deposit millions of dollars' worth of

    cryptocurrency through his Cryptsy website. Ultimately, VERNON misappropriated over

    one million dollars for his personal use and enrichment, and many Cryptsy customers never

    received the funds they had deposited with Cryptsy.

                                       USE OF THE WIRES

           10.    On or about the dates specified as to each count below, the defendant, PAUL

    E. VERNON, for the purpose of executing and in furtherance of the aforesaid scheme and

    artifice to defraud and to obtain money and property by means of materially false and


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    fraudulent pretenses, representations, and promises, knowing that the pretenses,

    representations, and promises were false and fraudulent when made, did knowingly transmit

    and cause to be transmitted in interstate commerce, by means of wire communication, certain

    writings, signs, signals, pictures, and sounds, as more particularly described below:

      COUNT          APPROX.             DESCRIPTION OF WIRE COM:MUNICATION
                      DATE                                ·.

          1        11/9/2014         Transferred 21 bitcoins from Cryptsy servers located in
                                     Miami, Florida to Coinbase, located in San Francisco,
                                     California, causing a wire transmission from the Southern
                                     District of Florida to San Francisco, California.
          2        11110/2014        Transferred 43 bitcoins from Cryptsy servers located in
                                     Miami, Florida to Coinbase, located in San Francisco,
                                     California, causing a wire transmission from the Southern
                                     District of Florida to San Francisco, California.
          3        1111112014        Transferred 30 bitcoins from Cryptsy servers located in


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                                     Miami, Florida to Coinbase, located in San Francisco,
                                     California, causing a wire transmission from the Southern
                                     District of Florida to San Francisco, California.
          4        11112/2014        Transferred 17 bitcoins from Cryptsy servers located in
                                     Miami, Florida to Coinbase, located in San Francisco,
                                     California, causing a wire transmission from the Southern
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                                     District of Florida to San Francisco, California.
          5        5/27/2015         Transferred 200 bitcoins from Cryptsy servers located in
                                     Miami, Florida to Coinbase, located in San Francisco,
                                     California, causing a wire transmission from the Southern
                                     District of Florida to San Francisco, California.
          6        5/3112015         Transferred 200 bitcoins from Cryptsy servers located in
                                     Miami, Florida to Coinbase, located in San Francisco,
                                     California, causing a wire transmission from the Southern
                                     District of Florida to San Francisco, California.

           In violation of Title 18, United States Code, Sections 1343 and 2.




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                                            COUNTS 7-12
                                      MONEY LAUNDERING
                                     (18 U.S.C. §1956(a)(1)(B)(i))

             1.    The allegations contained in paragraphs 1 through 14 of the General

    Allegations of this Indictment are realleged and incorporated as though fully set forth herein.

             2.    On or about the dates set forth below, each date constituting a separate count

    of this Indictment, in Palm Beach and Miami-Dade Counties, within the Southern District of

    Florida, and elsewhere, defendant,

                                         PAULE. VERNON,

    did knowingly conduct and attempt to conduct a financial transaction affecting interstate

    commerce, which financial transaction involved the proceeds of specified unlawful activity,

    knowing that the property involved in the financial transaction represented the proceeds of

    some form of unlawful activity, and knowing that the transaction was designed, in whole and

    in part, to conceal and disguise the nature, the location, the source, the ownership, and the

    control of the proceeds of specified unlawful activity, as set forth below:

     COUNT         APPROX.                        FINANCIAL TRANSACTION
                     DATE
         7        1119/2014        Wire transfer of approximately $26,640.27 from PAUL E.
                                   VERNON's personal Coinbase account to T.D. Bank
                                   account ending in -2307, belonging to PAUL E. VERNON,
                                   causing a wire transmission from San Francisco, California,
                                   to the Southern District of Florida.
         8        11110/2014       Wire transfer of approximately $43,303.61 from PAUL E.
                                   VERNON's personal Coinbase account to T.D. Bank
                                   account ending in -2307, belonging to PAUL E. VERNON,
                                   causing a wire transmission from San Francisco, California,
                                   to the Southern District of Florida.
         9        11111/2014       Wire transfer of approximately $31,694.63 from PAUL E.
                                   VERNON's personal Coinbase account to T.D. Bank
                                   account ending in -2307, belonging to PAUL E. VERNON,
                                   causing a wire transmission from San Francisco, California,
                                   to the Southern District of Florida.

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         10        11112/2014         Wire transfer of approximately $19,724.13 from PAUL E.
                                      VERNON's personal Coinbase account to T.D. Bank
                                      account ending in -2307, belonging to PAUL E. VERNON,
                                      causing a wire transmission from San Francisco, California,
                                      to the Southern District of Florida.
         11        5/27/2015          Wire transfer of approximately $47,040.84 from PAUL E.
                                      VERNON's personal Coinbase account to T.D. Bank
                                      account ending in -2307, belonging to PAUL E. VERNON,
                                      causing a wire transmission from San Francisco, California,
                                      to the Southern District of Florida.
         12        5/31/2015          Wire transfer of approximately $45,690.48 from PAUL E.
                                      VERNON's personal Coinbase account to T.D. Bank
                                      account ending in -2307, belonging to PAUL E. VERNON,
                                      causing a wire transmission from San Francisco, California,
                                      to the Southern District of Florida.

              It is further alleged that the specified unlawful activity is wire fraud, in violation of

    Title 18, United States Code, Section 1343.

              In violation of Title 18, United States Code, Sections 1956(a)(1)(B)(i) and 2.

                                               COUNT13
                                          COMPUTER FRAUD
                                        (18 U.S.C. § 1030(a)(5)(A))

              On or about Apri14, 2016, in Miami-Dade County, in the Southern District of Florida,

    and elsewhere, the defendant,

                                              PAULE. VERNON,

    did knowingly cause the transmission of a program, information, code, and commands, and,

    as a result of such conduct, did intentionally cause damage, without authorization, to a

    protected computer, that is, one or more computer servers owned by the receiver/ corporate

    monitor over Project Investors, Inc. d/b/a Cryptsy, with such damage causing a loss during

    the one year period beginning on or about April 4, 2016, aggregating more than $5,000, in

    violation of Title 18, United States Code, Sections 1030(a)(5)(A), and 1030 (c)(4)(B)(i), and

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                                COUNT 14
         TAMPERING WITH RECORDS, DOCUMENTS, AND OTHER OBJECTS
                            (18 u.s.c. § 1512)

           On or about April4, 2016, in Miami-Dade County, in the Sothern District of Florida,

    and elsewhere, the defendant,

                                       PAULE. VERNON,

    did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, that

    is, one or more computer servers owned by the receiver/corporate monitor over Project

    Investors, Inc. d/b/a Cryptsy, and attempted to do so, with the intent to impair the object's

    integrity and availability for use in an official proceeding, in violation of Title 18, United

    States Code, Sections 1512(c)(l) and 2.

                                   COUNT15
              DESTRUCTION OF RECORDS IN FEDERAL INVESTIGATION
                               (18 u.s.c. § 1519)

           On or about April4, 2016, in Miami-Dade County, in the Sothern District of Florida,

    and elsewhere, the defendant,

                                       PAULE. VERNON,

    did knowingly alter, destroy, mutilate, conceal, and cover up any record and tangible object,

    that is, one or more computer servers owned by the receiver I corporate monitor over Project

    Investors, Inc. d/b/a Cryptsy, with the intent to impede, obstruct, and influence the

    investigation and proper administration of any matter within the jurisdiction of the Internal

    Revenue Service, Criminal Investigations and the Federal Bureau of Investigations,

    departments and agencies of the United States, and in relation to and contemplation of any

    such matter, in violation of Title 18, United States Code, Sections 1519 and 2.



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                                       COUNT16
                         ATTEMPTING TO EVADE OR DEFEAT TAX
                                   (26 u.s.c. § 7201)

           On or about March 22, 2015, in Palm Beach County, in the Southern District of

    Florida, and elsewhere, the defendant,



                                       PAUL E. VERNON,

    a resident of Palm Beach County, did knowingly and willfully attempt to evade and defeat

    substantial income tax due and owing by him to the United States of America for the calendar

    year 2014, by preparing and causing to be prepared, and by signing and causing to be signed,

    a false and fraudulent U.S. Individual Income Tax Return, Form 1040, on behalf of himself,

    which was filed with the Internal Revenue Service, wherein the defendant stated that his

    taxable income for the calendar year 2014 was $694,057 and that the amount of tax due

    thereon was $225,850.00, when in truth and fact, as he then and there knew, his correct

    taxable income for the calendar year 2014 was substantially more than the amount reported

    on the tax return, and as a result of such additional taxable income, there was additional tax

    due and owing to the United States of America.

           In violation ofTitle 26, United States Code, Section 7201.

                                      COUNT17
                        ATTEMPTING TO EVADE OR DEFEAT TAX
                                  (26 u.s.c. § 7201)

           On or about Aprill3, 2016 in Palm Beach County, in the Southern District ofFlorida,

    and elsewhere, the defendant,

                                       PAUL E. VERNON,




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    a resident of Palm Beach County, Florida, did knowingly and willfully attempt to evade and

    defeat substantial income tax due and owing by him to the United States of America for the

    calendar year 2015, by, among other things, preparing and causing to be prepared, and by

    signing and causing to be signed, a false and fraudulent Form 4868 Application for Automatic

    Extension of Time To File a Tax Return, on behalf of himself, which was filed with the

    Internal Revenue Service wherein the defendant stated that his estimated tax liability for the

    calendar year 2015 was $1 ,244 and that the amount of tax due thereon was $0, when in truth

    and fact, as he then and there knew, that based on his taxable income for the calendar year

    2015, his tax due and owing to the United States was substantially more than $0.

           In violation of Title 26, United States Code, Section 7201.

                                           FORFEITURE

           1.     The allegations of this Indictment are re-alleged and incorporated herein for the

    purpose of alleging forfeiture to the United States of America of property in which defendant,

    PAUL E. VERNON, has an interest.

           2.     Upon conviction of any violation ofTitle 18, United States Code, Section 1343,

    the defendant shall forfeit to the United States, any property, real or personal, which

    constitutes or is derived from proceeds traceable to such violation.

           3.     Upon conviction of any violation of Title 18, United States Code, Section

    1956(a) as alleged in this Indictment, the defendant shall forfeit to the United States, any

    property, real or personal, involved in such violation, or any property traceable to such

    property.

           4.     Upon conviction of any violation of Title 18, United States Code, Section

    1030(a) as alleged in this Indictment, the defendant shall forfeit to the United States, any


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    property, real or personal, which constitutes or is derived from proceeds traceable to such

    violation, any property constituting or derived from proceeds obtained, directly or indirectly

    as a result of such violation, any personal property that was used or intended to be used to

    commit or to facilitate the commission of the violation, and any property, real or personal,

    constituting or derived from any proceeds obtained, directly or indirectly as a result of such

    violation.

           5.     Upon conviction of a violation of Title 26, United States Code, Section 7201

    as alleged in this Indictment, the defendant shall forfeit any property intended for use in

    violation of the internal revenue laws, or regulations prescribed under such laws, or which

    has been so used.




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             6.   All pursuant to Title 18, United States Code, Section 981(a)(1)(C), Title 18,

   United States Code, Section 982(a)(1), Title 18, United States Code, Section 982(a)(2)(B),

   Title 18, United States Code, Section 1030(i) and Title 26, United States Code, Section 7302

   and the procedures set forth at Title 21, United States Code, Section 853, made applicable by

   Title 28, United States Code, Section 2461(c) and Title 18, United States Code, Section

   982(b).



                                                     A TRUE BILL




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   ASSISTANT UNITED STATES ATTORNEY


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                              UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                    CASE NO._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  v.
                                                            CERTIFICATE OF TRIAL ATTORNEY*
PAUL E. VERNON,                                             Superseding Case Information:
                                Defendant.

Court Division: (Select One)                               New defendant(s)              Yes          No
 I     Miami                 Key West                      Number of new defendants
       FTL                   WPB             FTP           Total number of counts

         I.       I have carefully considered the allegations of the indictment, the number of defendants, the number of
                  probable witnesses and the legal complexities of the Indictment/Information attached hereto.
        2.       I am aware that the information supplied on this statement will be relied upon by the Judges of this
                 Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                 Act, Title 28 U.S.C. Section 3161.
        3.       Interpreter:    (Yes or No)         No
                 List language and/or dialect
        4.       This case will take 7-10 days for the parties to try.
        5.       Please check appropriate category and type of offense listed below:

                 (Check only one)                                   (Check only one)


        I        0 to 5 days                                        Petty
        II       6 to 10 days                                       Minor
        III      11 to 20 days                                      Misdem.
        IV       21 to 60 days                                      Felony               I

        v        61 days and over
        6.       Has this case previously been filed in this District Court?    (Yes or No) No
         Ifyes: Judge                                      Case No.
         (Attach copy of dispositive order)                           --------------
         Has a complaint been filed in this matter?         (Yes or No)      No
         If yes: Magistrate Case No.
         Related miscellaneous numbers:
         Defendant(s) in federal custody as of
         Defendant(s) in state custody as of
         Rule 20 from the District of
          Is this a potential death penalty case? (Yes or No)

         7.       Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                  prior to August 9, 2013 (Mag. Judge Alicia 0. Valle)?           Yes              No 1

         8.       Does this case originate from a matter pending in the Norther        e ·on U.S. Attorney's Office
                  prior to August 8, 2014 (Mag. Judge Shaniek Maynard?                                No 1




                                                                             A ON
                                                                              UNITED STATES ATTORNEY
                                                                    COURT NO. A5501844
 *Penalty Sheet(s) attached                                                                                    REV 8/13/2018
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 Case9:16-cv-80060-KAM
       1:19-cr-20509-RNS Document
                          Document198-1
                                   3 Entered
                                        Entered
                                             on FLSD
                                                on FLSD
                                                     Docket
                                                        Docket
                                                            08/16/2019
                                                               12/27/2022
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                      PENALTY SHEET

   Defendant's Name:       PAUL E. VERNON
                          ---------------------------------------------------
   CaseNo: __________________________________________________________

   Counts#: 1-6

   Wire Fraud

    18 U.S.C. § 1343

   *Max. Penalty: 20 Years' Imprisonment

   Counts #: 2-12

   Money Laundering

    18 U.S.C. § 1956(a)(l )(B)(i))

   *Max. Penalty: 20 Years' Imprisonment

   Count#: 13

   Computer Fraud

    18 U.S.C. § 1030

   *Max. Penalty: 20 Years' Imprisonment

   Count#: 14

   Tampering with Records, Documents, and Other Objects

    18 U.S.C. § 1512

    *Max. Penalty: 20 Years' Imprisonment



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 Case9:16-cv-80060-KAM
       1:19-cr-20509-RNS Document
                          Document198-1
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                                                on FLSD
                                                     Docket
                                                        Docket
                                                            08/16/2019
                                                               12/27/2022
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    Count#: 15

    Destruction of Evidence in a Federal Investigation

    18 U.S.C. § 1519

    *Max. Penalty: 20 Years' Imprisonment

    Counts#: 16 and 17

   Tax Evasion

   26 U.S.C. § 7201

    *Max. Penalty: 5 Years' Imprisonment


   *Refers only to possible term of incarceration, does not include possible fines, restitution,
   special assessments, parole terms, or forfeitures that may be applicable.




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                    EXHIBIT 5
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Kapp, Kara L.

From:                              Clarence Guo <clarence.guo@jacquelaw.com>
Sent:                              Tuesday, August 30, 2022 5:15 AM
To:                                Boss, Barry; Kapp, Kara L.
Subject:                           Ren Foundation - Cozen



**EXTERNAL SENDER**

Dear Sir/Madam

We have been engaged by the Ren foundation. We understand that you represent a class of persons who have the rights
to certain bitcoin that may be have been wrapped using the Ren protocol.

We note that the Ren protocol is just a wrapping service, and that all transactions are transparent and visible to the
community.

We further note that third party software is used to comply with sanctions and other restrictions. Apparently though,
the subject bitcoin transfer was not blocked using the fraud prevention software.

Could you please provide me with a complete list of the subject transactions, and total amount of applicable bitcoin?

We note that the Foundation does have some reserves if the transactions fall within certain prohibited category, but
that the amounts and availability is limited.

I appreciate your attention to this matter.


Warmest Regards

Clarence GUO
Director | Jacque Law LLC
t: +65 9298 1844 | f: +65 6286 2988
e: clarence.guo@jacquelaw.com
Telegram ID: @ClarenceSGLaw
Signal ID: Clarence SGLaw
WeChat ID: ClarenceGuoSGLawyer
160 Robinson Road #21‐08 SBF Center Singapore 068914


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                    EXHIBIT 6
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                                                                                                                                               Assets under claim
 Owner Name                                                                                                                                 (average across the five Cryptocurrency
                             Address To                                       Transaction Hash                        Transfer Date (UTC)
 (Address To)                                                                                                                               tracing methodologies;        Unit
                                                                                                                                             in cryptocurrency unit)


Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 6c8aba7c20235a12e8a838d010162f7818c36bed51c03e76b27af84f4c893058   2022-08-30 10:45:03              0.03808196        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 c4cb1b3fe3ba4acebab936e850e3266718d9c4d52d8cf620e2f48b6a94fd009b   2022-08-30 09:23:21              0.25596593        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 2709711c8c30f1d85c5742765f97dedd06ec37e1a4c00564ffa7759afd8cd364   2022-08-30 03:09:45              0.17247925        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 8507b75c4cb34982a692fcc635af109dac7814a1091e43b2dc0012fd45f77f50   2022-08-26 04:03:46             25.37892082        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 8e95540971e85b741eb8fce64f7e70184b681159a2e5b8ab6f9796e55b079e5c   2022-08-25 04:38:29             15.90278929        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 9a1dce7be55222e785426f88d6d5d802287d9af622785b66bab85dde9d5b37a6   2022-08-24 05:18:02              9.26764857        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 f86726bfd57edbc0bf82e256f96074525b25028e7fefeb823e7e8a810596eb05   2022-08-24 04:05:47              0.00903061        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 8bd441287ad35fe8c9f51c9addda6304b70daf85168964e9be18fc08dcb9f045   2022-08-24 01:54:54              0.00393890        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 e6805844d67fced8b4b75ed80da6448756b6a89eb58e6e066e09c750851d2c7b   2022-08-23 11:24:42              0.00624141        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 e3dd3765937cbbaf435dcbfcbb8e7836875fab9fededaf070ddbe863355ef3ed   2022-08-22 12:38:33              0.12799113        BTC
Ren             375YWy81pQ1pTpKa2c81YYB6i58Xyy5tRB bc849bcb9e1e3eb1716a6de7b6a5004e207519779fdef35587e5dc179ae2ac73   2022-08-19 20:49:08              0.12796612        BTC
Ren             3KJF13mvXqRmAVowDQcapmtWtug5D1cci3 8a1961fc5d74263f8f37b33cd19d14d92723b663d585df09e6dc2c0016560bb4   2022-08-15 18:39:05              0.12799039        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 7d7cb87fc930c44bac9a8608643ffc8e735db0f1b6ec0b1eda7d3fd673777273   2022-08-13 11:50:50              0.01187204        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 f9a1d187bbba240ebbc1d88c870e55b2459164637cf6a68c2c6f795de8c20cfc   2022-08-13 11:43:47              0.14988063        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 593fcdd0c27743e05463a1d4a2aa7809df39232ae2baf554dd958dc11ba00ded   2022-08-13 11:09:49              0.00307355        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 437458eedda846efe5ebf3cfdad7367246a19779e99c01593623de662ad1dc03   2022-08-13 09:26:30              0.01054241        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 fd46fb9dfe41bc08dbf1873d0ea570aa2734eaa6654b7f92939f5a6d214b8942   2022-08-13 06:31:57              0.01082445        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 2268918ddf25c0810bdc0cdc2e79c799788132191c5382bd90b1583cd0541d13   2022-08-11 02:45:48              0.02330229        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 7a38a2535afd65fabe94fa92ecad1e6bdee8e7a085e1aad7adcb489cbf8cd086   2022-08-11 01:38:20              0.02198918        BTC
Ren             32tbUrS1m4QfnMN2uZQZ2rZh4joc9TyY5C caf17b2853e0d4e363f9bc0ccb5d8b2f32277bca8cd7ac0eb181177ae81d4e27   2022-08-10 07:45:49              0.08726903        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 617ce22d377262b9f46173bff468e087290c5b5297f6de93d67462dcd5f96893   2022-08-10 06:57:39              0.02909434        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 65d438845f44cd6b13e7b691a85895dc9a8f11fb45b3d2fe76a0cc79b30e535e   2022-08-08 14:16:11              0.01110302        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 fd00e3ce105a7f1e388f41cd32186a69481ffaaa03253f1a898926c1ef4b5314   2022-08-06 21:05:47              0.00307355        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 8689cdc666b8e234b56194789d1f4a39cef7a941588416de8942311f6065b620   2022-08-05 14:01:48              0.11151592        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 2fd137513db8e0ddfb39f9cdef1922a10e623b4fad60a81b9c6967e8e5ed0130   2022-08-05 12:28:51              0.01880432        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 3cecbd71423ecb8da823fde1ab65cbb1daaac3f16c3a9e76b44c24dc71d3d9c7   2022-08-04 18:49:47              0.06507463        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 079f03c26f6ff6532e010808317d8889c53dbf2e6e62075abb4f02a471274a50   2022-08-04 17:39:44              0.04827502        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 0e397e540190ab6c2daac167c38a31cdce86bcaaa81fc3a0630efc16c2cae03d   2022-08-04 12:54:43              0.03062603        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 41d96bb3470f01a096c9005583102e3158ce5e23c17f564f9c50f4a4e418ebda   2022-08-04 05:04:15              1.04905039        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 1c16f4104ade22307727169093d42449529bbccaa3df80029639ac22e6bc872c   2022-08-01 05:45:47              3.33488622        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 3e36521e55dd849e6c3a44f0aecfb1c84f122205298ac2338d3484fa7b99f99d   2022-07-31 22:23:53              0.04989648        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 27557fd89ba20013fbe59d92f6011d6be63b4080cb8ba1d62d91e76a5ffb9984   2022-07-31 04:15:47             17.24593758        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 c31ba2025b106ed34938dcad4f94cf5319a0359a618f50305722735a679226b2   2022-07-30 03:12:32             31.99405809        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 e62f42b0b7707c4f6a419a86361998e760e7c44b12e5b0997632a7cd360b96fd   2022-07-29 14:26:26              0.08421446        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 09ac6f3d5f38d51eee8ddb541fcd0eb73927a8089cae3f5fbdb9fd8df363a12b   2022-07-28 17:03:54              0.01358673        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 143abf6d333b395ee6a5d83a8132430e38cbb9a757143d2fb501da8da46ac93d   2022-07-28 11:29:35              0.01446014        BTC
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                                                                                                                                               Assets under claim
 Owner Name                                                                                                                                 (average across the five Cryptocurrency
                             Address To                                       Transaction Hash                        Transfer Date (UTC)
 (Address To)                                                                                                                               tracing methodologies;        Unit
                                                                                                                                             in cryptocurrency unit)


Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 0e965806b265da24813e3cbb9ab962e58c68070abbddb840fc23a2043fc8fa6f   2022-07-28 02:55:30             18.92677818        BTC
Ren             3Lo6xMNcKn1FUi2ityfYi2jUgDT8wCkdh9 5b5d2742a97c9385794d77b4f6beb1f890960c05ef630edb921cd250d6cc0cd4   2022-07-27 03:57:23              0.05195630        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 94e1f4ed417339be88285b96a33fa8c5ae5d021cff7ce8ae5c62c972067c8f40   2022-07-27 03:38:11             15.16967075        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 6d0657a70e0e5c3b91d3d710ed8d8864b508dced2f65b1ad9f8c235556cd73dd   2022-07-25 12:18:38             11.58493474        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 a190074bb408e2191c7338b1f21349971c2f67f6b42b2d7d09f004371870ce91   2022-07-24 03:47:57             14.35668156        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 43f6a03cd1bd57b1be4f20f484dcc4ffe99f933f00e3518e97c002a7a3877da2   2022-07-24 00:09:04              0.00386849        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 1dbfee28f8d87b687354ae3a1122243876ad60db88d0ffaff2ff54925601a8a9   2022-07-23 03:36:06             11.94192366        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 5e4d883714f6a23eec9905ce389f30c1db688908b1e515086af827d4bc7129a7   2022-07-21 17:00:20              0.02815725        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 d957bdafef4d8e2e015737ab594dc479316b7684027f7d4cad439c09ba137036   2022-07-21 13:28:47              0.00334783        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 747a00db0b66009ff994b9e574572b8e1624df2ba6bf6c023afdaca116e614ed   2022-07-20 06:25:46              0.02640085        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 79068a13fd4b108591a1710e5e38fe84c7efb69a880489c3bf0399f1edc02dce   2022-07-20 03:02:51              0.13219959        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 4935a7eb4b66d87ba1cec8ff1d6c09770516b3fa5a40596459db0da5055ad83c   2022-07-20 02:59:29              0.04368453        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 85a137023615d2d5575d2d8cca9cc5360d4f597e4d3774dffba56a3295bfeb12   2022-07-20 02:39:12              0.08879964        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 b344dcc1dc41cf896e767577c84df204280eb7bb26f8f7c994fe97443d94fd03   2022-07-19 17:59:08              0.00289465        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 e22158bbcfedc4cc666338f66f08b666131fc8747d6c1a47210435e7a3fe35d1   2022-07-19 01:22:56              0.06394042        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 eaf7f6f4a51f5cb5902df15d6abed493f3ffeb9d5b5284ca36ef2bad70471e83   2022-07-18 11:26:44              0.10261649        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 afdad5fb5e4be6487a7293fda67d4d1527fe5a4e8ef4efdc7a43f7806d76a997   2022-07-17 02:52:10              0.09591561        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 d277851196eb004250e710d01a51cbcc458a72a2822691401d8797bc10e24ee2   2022-07-14 22:26:42              0.05429728        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 1e0ea53c80ec5dfab9ebd57225eec62902bbb11b2b25af094b00be282f2bfec9   2022-07-14 12:28:16              0.16402217        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 ad203cc251f290bfb88d4ba8bb96b5fa949c2d0e9576e59e1837fc698b356c27   2022-07-14 04:47:55              3.53360395        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 9fbfcfabcae3884edd20d9a5b8ef19c644d64b23c65ad4fa1cb87f5799b546e8   2022-07-09 18:01:01              0.25270503        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 c6d2a5ad9723dc5e0bc263b3c900ca684fe7f948b8ec22af894b79e0e3af1ff4   2022-07-09 05:44:47              0.11208377        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 3677403629fb65baac7951faa48b29a20b94e28e7c2079a9070dffad8366368b   2022-07-09 00:37:34              0.53079373        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 6190b1654a88e13418f6cba411346465f41ec478e86e379678deacfeca7569e1   2022-07-09 00:14:25              0.16381857        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 aed1a3e87e7ec061bdfea01386b29f1ff3acf64ebb98af32c5efc71cacda3127   2022-07-08 21:51:56              0.00296578        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 fccc09066ddfa2f981ba5194d1863df2cbec72bf5054d687180e19c04a430621   2022-07-07 13:56:54              0.03196915        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 f40dc9b709007e1fbfa7cc1b2d4ce0755e2f3a903db8d98e3c86f64389823618   2022-07-05 22:53:21              0.12768465        BTC
Ren             3Qu9D6WLN2MUfV7Mg2dpqhoGUVYgeiZ8Kn 5a68f5ccab61e31e2703460b5f7d85220333071c3fc7ffae29fe1cde03b3aa41   2022-06-29 13:52:22              0.12797015        BTC
Ren             3GNu8sjurnNFUpUreXJrjxyVNroDby7nW9 9bf7f8b3661429a829c0269f1b46dddccb5b40751e0fde3079ebcdaf1b025469   2022-06-25 10:24:33              0.03198914        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 6ef173b8e51c01f3e379a184159512745187e0d02696a8a29067f892b55a8e80   2022-06-18 23:12:30              0.00463714        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 01fee2472c79d9fa9c1ede981cea3e0dd8041b63c54fabe61d3f56572dc73107   2022-06-18 01:17:15              0.28197799        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 d1db9a712143a798c6354e802e6914d01cac165b7d0e20721466062b8d04423b   2022-06-18 01:17:15              0.30423741        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 ed1ef21e2cac286d036e40dd7158f49ed4f9b955ba5983fdbe2dfa202303906c   2022-06-18 01:17:15              1.12850254        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 9943eccd380a1882a5b341c864b17a4d89dc6e934c195d3bf0d583474b1fe1d2   2022-06-18 01:02:25              0.05051702        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 42d50babb38af3e1573779908df32b1186c190fcd5d7178feb85ba021e49693e   2022-06-16 21:09:19              0.01921922        BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 ebb302c5d65f31d1395f854b366e65e0fba0be938874ccd9267531916a06d569   2022-06-15 11:38:57              0.00492779        BTC
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                                                                                                                                               Assets under claim
 Owner Name                                                                                                                                 (average across the five Cryptocurrency
                             Address To                                       Transaction Hash                        Transfer Date (UTC)
 (Address To)                                                                                                                               tracing methodologies;        Unit
                                                                                                                                             in cryptocurrency unit)


Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 bbb0cc662b36908d5017408fdc37242fa76152d2e741c58a8fd07695a0a0c49e   2022-06-14 07:47:24               0.01090236       BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 c87e73de655ebd6084313120a91f59476fbbbd4860fdcc2bcaf06ffe7368b35d   2022-06-13 15:39:51               0.00300343       BTC
Ren             327Q3grbMy43FAY7ovKLUnnmEf5ATqYP1s 46026c415f1fb43c90fa3c34389d11b799d58eec41e979c61780f0cbb311a1eb   2022-06-10 23:07:19               0.27174912       BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 e9e585b3b1668dd3fc30be05d1926fc07d9492544f4f86bf205aa1e772e5d84c   2022-06-10 08:22:26               0.01016949       BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 085aa502bbce7f80dae1fedddc0b03d3c834766adeb30b346d6a4308ac269022   2022-06-09 19:45:22               0.11186628       BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 6d25a0c303a70b93da33cd4363e75834aa39aaa6a050f91c1f3a260e65c3778f   2022-06-08 12:10:32               0.02366810       BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 c2f164c05fd45bd1aa1a09a1bf9742b70eac6dfac19d621b06068f06904224dc   2022-06-06 09:54:05               0.00260395       BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 1b64d6bd68a0794d303607b1b5d742bc5a07a151be07aff7693f9f9cbdac3006   2022-06-04 07:10:04               2.58911758       BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 acbb908567345d9e6c8e43c43c3db978a61085052bfe8faec9a97c51ac3c4633   2022-06-01 21:13:31               0.00436833       BTC
Ren             3Lw8hRQatka8DaoCnBb3fhtuBmmBKshsh6 2a95be2d1664cc4ec7875ca17231ede16c36f62e4eb17edb68519f42836aea3e   2022-06-01 19:29:58               2.75495118       BTC
Ren             3Lw8hRQatka8DaoCnBb3fhtuBmmBKshsh6 5c3ac3a7b752aeb867ddbc3e289e9da96754175fc760ec5207baaa5c1af5ddc8   2022-06-01 19:21:32               0.19520217       BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 5a58fbed8c4e30db9399710ea5746c3bf6df54c3684b119944e9c62d191b5009   2022-06-01 18:33:57               0.00435831       BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 6b91fbc62fbbcd5bc116184f77473ed4884a05bb2098540d5c35e1a9b5dc3845   2022-06-01 16:43:10               0.00200825       BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 4be7cfeed45aecd480167e9894495ff5c82b43df9cb64b2d3ed065cc8b505908   2022-05-31 12:51:02               0.00372946       BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 05bb712ccf8d79d3ecb9df01a987868abde3d2fdc926c0daee91ea46e71a2de8   2022-05-31 12:19:55               0.00733551       BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 c3823abdf3278c4368f18f742fe7a1c1f0603ec59143ead3c97b9af36ce11127   2022-05-30 10:32:13               0.14478338       BTC
Ren             19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6 fad13a907491a0e2dd49b17d7b0638ebcc1a0d22f8a79c109c17d2ec45d44c4d   2022-05-27 06:10:09               1.33809355       BTC
Ren             3DptKZWpoJScW3cseYz4KjWPd7JbfPTmkz 7d329a777354d49548d763247a9b831a11c88893430d02ea4bd64cf122ea6a9e   2022-05-26 05:26:53               1.13943110       BTC
Ren             3DptKZWpoJScW3cseYz4KjWPd7JbfPTmkz 2d17543e761f63a583894c0e8f42f3c0ac1bbfac338d20c2bb3ee118eff01769   2022-05-26 04:02:48               0.63648782       BTC
Ren             37VeJ6rnXHfx3G7xWKNAoaDUkbGZrD3jT8 968d0782c1ba65f748fe1f193ae4d522c1ac9fefee2324cca43c151aea5b6d3c   2022-05-17 20:11:13               0.03661696       BTC
Ren             37VeJ6rnXHfx3G7xWKNAoaDUkbGZrD3jT8 9952297721edf0d2a0c6c4671c6b2ffee0303f2b34721c44f0935df426ebfecd   2022-05-17 19:51:12               0.13386440       BTC
Ren             36B23nVvAkvJypRHwvYXSF8MiYTHUjaJa2 17b0b9181d195c2d612826d359cfcbbbb56546768cf7f95cc73f5499d01fb9d0   2022-05-12 13:34:55               0.25591183       BTC
Ren             33eLDDgdzvafqvVB2S6opSeRaYrQG6kSd4 e7163040a698eb3d651c832b9515c8a427defa10944fe8f1533549a3c2e4dfd0   2022-05-11 11:58:09               5.62242573       BTC
Ren             33eLDDgdzvafqvVB2S6opSeRaYrQG6kSd4 7bfe10461925d304156410cae089f1b2bb81afc2d8daa29963efa99cbc6e1ef6   2022-05-11 11:47:28               5.09003839       BTC
Ren             33eLDDgdzvafqvVB2S6opSeRaYrQG6kSd4 e9ec292b1ab1566ce95540ec6d7335bf956ccadd3259e7807301aef848df1eb2   2022-05-11 11:41:45               5.95168641       BTC
Ren             33eLDDgdzvafqvVB2S6opSeRaYrQG6kSd4 a21d67918ac4464a21dde027579e63055b2cceea5544e913ff73e0d06d338e0d   2022-05-11 09:35:40               4.97567566       BTC
Ren             33eLDDgdzvafqvVB2S6opSeRaYrQG6kSd4 6556ebf0ecc68fa2cbe18e4a86c5e70065039d9249777ba43e34f14c6eed70f0   2022-05-11 08:32:10               0.02372319       BTC
Ren             3PPenFMKgR9JUY5N46K13cXGarEkeHKtw6 a18a5ddbd799ee4561b4912b1dba9f49408bcb1da47b64a2dd9648fdf07e47e4   2022-05-09 19:33:13               0.02049208       BTC
Ren             3NTWMbR7ut5A1WD6eifp19ZhH5ngFMUQWE 5be14aa4a4333fdda19926df266e96b9d19bc4aea4311bab2112d789fd179fe9   2022-05-08 14:41:02               0.03197427       BTC
Ren             3LJRGGh7fD9JgiP3M3mT7ZBCgW1gfGVKzM fb2ee101fc3ab5c9d4f1a64fc1fd9f2f90f31050d727ccb05c550fea47f5f2ac   2022-05-06 19:09:57               1.04094155       BTC
Ren             3LJRGGh7fD9JgiP3M3mT7ZBCgW1gfGVKzM 2ea942f77bdf328be328614db749e58a5e300f37c582418d794a58ba8248f6fc   2022-05-06 17:56:53               1.14023278       BTC
Ren             3LJRGGh7fD9JgiP3M3mT7ZBCgW1gfGVKzM 3a8f097253003c15bf7b0cfeb536f08dfd188901a619b55b059ffb82b3271edb   2022-05-06 16:06:52               0.67175964       BTC
Ren             3LJRGGh7fD9JgiP3M3mT7ZBCgW1gfGVKzM e40a20b5fc396f574da0cacec6ad6b9f9885b3390884d4b377dd0e98b2359a6c   2022-05-06 14:55:46               0.14490744       BTC
Ren             39T5gNTLFt7Mv7E5N3gHu6mF5ozcfqawYZ afe8f2ebb96fa3e0c51018e32e5cce272941122ac133c7af861ffb0b33b3a196   2022-05-03 12:15:21               0.06399100       BTC
Ren             3QreR4EKmW1iP9HbQgYjbAz7X1GwcvzfqP 918e76efdce8aa8d4377e97c4c6185e74fa7157e7a818af08b4895af7f920cfa   2022-05-02 21:38:02               0.08483070       BTC
Ren             3QreR4EKmW1iP9HbQgYjbAz7X1GwcvzfqP 4dc7e72610a3da980084f1fec6c846d4f13512510cbe7a5431de4cfec0140291   2022-05-02 19:43:55               0.46391648       BTC
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                                                             603


                                                                                                                                               Assets under claim
 Owner Name                                                                                                                                 (average across the five Cryptocurrency
                             Address To                                       Transaction Hash                        Transfer Date (UTC)
 (Address To)                                                                                                                               tracing methodologies;        Unit
                                                                                                                                             in cryptocurrency unit)


Ren             3JDmvAZwH8wncpE7ZF3vUwdcuJxGHwhpd2 9efaafa15ddcd5c75d2348fdae059a72d27e2a60ad0124f54c7b92ce00096c4c   2022-04-17 13:25:23              2.57306630        BTC
Ren             3JDmvAZwH8wncpE7ZF3vUwdcuJxGHwhpd2 bfccf8c64e2f859f9bd18512d15d7777bc7ae72afbf2e76b3a25cc3f3a462a69   2022-04-17 13:16:25             17.26373016        BTC
Ren             3JDmvAZwH8wncpE7ZF3vUwdcuJxGHwhpd2 1ace2c4c1f0a553a3b4d6e1d644d707cf3d6ce6ed311a4cba33babc3a522c0ad   2022-04-17 13:16:25             25.63896440        BTC
Ren             3JDmvAZwH8wncpE7ZF3vUwdcuJxGHwhpd2 5d88323a047fa06bcb165a9a8373e80203e7ddb4aac43b0dccedd632276f8055   2022-04-17 12:14:35             12.87203396        BTC
Ren             3JDmvAZwH8wncpE7ZF3vUwdcuJxGHwhpd2 53d922cd392413452fafc8599d2603816661ff2033969a87b998df8dac50dd72   2022-04-17 12:14:35             12.86405915        BTC
Ren             3GrVa1413BKGL3CsUiwyKfjynZLRB2qK2T bf9120251636b377941eea9beffe9152061173391eebc9a441cdc2cb902cf8c7   2022-04-17 02:03:30              0.36350950        BTC
Ren             3GrVa1413BKGL3CsUiwyKfjynZLRB2qK2T 39459056a81c80dcdacef16bd31d0ba539bd568a28ee973467ce28ed7189308c   2022-04-17 00:21:03              0.09376986        BTC
Ren             3B8kcdGBtpT7Wjzy5DWePtnTXfU6rpfSGb a5821df5abf68504dde1ab5dbbe14390a48aeb07dd25803afd13cff51272fe45   2022-04-16 09:43:19             12.84234451        BTC
Ren             3B8kcdGBtpT7Wjzy5DWePtnTXfU6rpfSGb a11de08fecdbc8640c8e2dbb5054f1e23891d1dd27b923a51e87ddeb6e8caab2   2022-04-16 08:39:17              6.57934466        BTC
Ren             3B8kcdGBtpT7Wjzy5DWePtnTXfU6rpfSGb 870ef82c692e30d87dddc6de9f4e46a95623c84f5af0922bfefcb3214b3d066b   2022-04-16 08:38:14             13.38713252        BTC
Ren             3B8kcdGBtpT7Wjzy5DWePtnTXfU6rpfSGb 90fbd664580e9d9a89d18f4c97dd33e7980e3a3fe4a46a696b5c50aec2addf09   2022-04-16 07:12:28             10.72997876        BTC
Ren             3B8kcdGBtpT7Wjzy5DWePtnTXfU6rpfSGb cc32bb17e34b6be9e97c377d6b6e9a6cce4acbbbd8b3cfccff6883abe79f40c2   2022-04-16 06:28:28              7.86045143        BTC
Ren             3B8kcdGBtpT7Wjzy5DWePtnTXfU6rpfSGb 48cd4c95bda170c8568aaa357047c20a17814e725f0c2b5818fdd5a2d9560aa5   2022-04-16 06:03:36             11.18764786        BTC
Ren             3B8kcdGBtpT7Wjzy5DWePtnTXfU6rpfSGb 04704eceefcc7e5c0375aa69a2a12ec7fc2b39a5798702514c51675ca673e5d5   2022-04-16 05:49:48              0.23840306        BTC
Ren             3NzssH359fhuiJRfhNXM6FmC4okYMTp1DY a63e47beb81c0f0fb5e58bbd2ea0da4ea51acccb1fb41f3a49b721b5fa7523a6   2022-04-16 04:22:23              4.74950943        BTC
Ren             3NCaoJtKssGeJQScbnHujSzmGiUD95Dtve 50440ee8c117e5ffd1aab3059d99e76870921f32f02e6a12d712de0e73c081af   2022-04-15 10:33:16              0.10000000        BTC
Ren             3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x 118e11b6f4d3cd42fd7366c500dc5b0040d658dd017ecec47b1b39873bd905ea   2022-04-14 14:42:32              9.35024980        BTC
Ren             3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x 9f8d1414deeb2ba0821572d6a06c49db9341d0babe26aedbc928386f28cc9f00   2022-04-14 14:26:47              8.96868891        BTC
Ren             3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x 0c9f74bb383ec75bec63c03230480979d7cd46ac864721dc77b6abf35d2fe6bf   2022-04-14 14:23:25             10.33202312        BTC
Ren             3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x 08857232e095aa1b0fbc6da24b48704abdd12b8316701aaaa13719a70c1513b5   2022-04-14 14:03:28              8.74995171        BTC
Ren             3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x f022c1ec26b1681b591e47f27738c9e5fbcd441709e9f1224f18112ce2dfcf24   2022-04-14 11:06:41              2.44765171        BTC
Ren             3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x 381760a9dbd66545156819323231c276f2e69a79481c3fef7f0f4b807d891e05   2022-04-14 09:52:49             11.59812861        BTC
Ren             3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x e857a30c17c7f60a308dfa19b267c2f3d28de79929e7717e3b883bc6b5a34fc8   2022-04-14 08:43:30              9.49183047        BTC
Ren             3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x 3465eb5c269e993b109b56ef3e8f4157938dc183b24e90814a28d132f1cff1c4   2022-04-14 07:17:35              7.33768703        BTC
Ren             3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x aa74a244673458315bf0bbfc291eb7fc7a1fb8710fd130ca81dc097a4645ddf3   2022-04-14 07:17:12              8.35744684        BTC
Ren             3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x b6f9144c76e74c8ecc9ac1efa02777e7ba3404d5955dfa3d7f2a2165eec0cd7c   2022-04-14 07:17:12              7.15849835        BTC
Ren             3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x 0ae567cc672d238a34362e0a3c5fb5b7e692b907d7e481bf42be94ff3dcd3d5c   2022-04-14 06:27:34              0.86996707        BTC
Ren             352ggMeaLkhm6Pn2FVpARnt1xSDX4ER5bh ca261a57ae78ad495b888e86c9261157c929e2c17aab24fc9288cee5b98acf41   2022-04-13 16:27:24              1.51299418        BTC
Ren             3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW 3c25a62685dc4ed08d759ba7d01c2c78db15865eaa6c09efdb481ed1152254ee   2022-04-13 15:52:05              8.47649939        BTC
Ren             3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW 8bf0f90245e32e832a7e3cec3760568710257c959a5b941d260e99433dce8601   2022-04-13 15:52:05              8.94330934        BTC
Ren             3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW 3948c713f33d04928766c7f3123d77edc3d16400abf7cd9d9ba35641df3a3830   2022-04-13 15:34:07             10.13831054        BTC
Ren             3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW 3a68892f3eabb1495e7db60f59ae2af246a0ca96e5d7d949646d8a6d05d7c472   2022-04-13 15:28:21              7.28148784        BTC
Ren             3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW 89779820198ff176a3632f80299aa659339b0066159937a86504e2de50ecd360   2022-04-13 15:09:23              8.88486149        BTC
Ren             3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW 0737c8c2eae1885a216d80a5837aa737629c867500c6731bb4a4502862647cff   2022-04-13 14:29:34              9.78471131        BTC
Ren             3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW d80922e466b4f1645a378be0c9330d8fbf19db15a9fb80bd780ee6c9323aced2   2022-04-13 14:29:34              7.46004790        BTC
Ren             324atJj8Jo3mP3FfXXH9H9wzRKrfqQZfKc 6055e0d2f020d8da6d4b516a6c419f930c724f0df872b731edfe42559b17a37d   2022-04-13 14:25:12              1.32568874        BTC
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                                                             603


                                                                                                                                               Assets under claim
 Owner Name                                                                                                                                 (average across the five Cryptocurrency
                             Address To                                       Transaction Hash                        Transfer Date (UTC)
 (Address To)                                                                                                                               tracing methodologies;        Unit
                                                                                                                                             in cryptocurrency unit)


Ren             3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW fbf98594a98e1830786136ba1565f4ec8f55da5ed255ef0783b2898a7218feb9   2022-04-13 12:04:08               3.91533322       BTC
Ren             3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW ea7306b333d991ce6d51a5cda9435302b6d70b981850986c6f570041e25d3a26   2022-04-13 11:10:35               3.89444832       BTC
Ren             3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW e743539b9c82f4bfba6c7015ae0c36d800e0708c6e62b90b94d6dc4aab408576   2022-04-13 10:57:07               3.24040493       BTC
Ren             3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW 401febfbabd8d097e3d98ae54bbb5136bfcca8b6032437625c343652c64de6c2   2022-04-13 09:56:06               1.85636848       BTC
Ren             3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW f9916e3320314e80abce64dbb3a8b88c8c3d0599152a9d5023cc4c5d99a5c6ef   2022-04-13 09:56:06               2.33618380       BTC
Ren             3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW 81f21d3051021c6539886b34d8b8ef9e71f8d90d12907186d80b09ebaec0b11b   2022-04-13 09:56:06               0.57107294       BTC
                                                                                                                            TOTAL                   524.0277574 BTC
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                                      603




                    EXHIBIT 7
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                                        603

Kapp, Kara L.

From:                             Boss, Barry
Sent:                             Monday, November 28, 2022 10:52 AM
To:                               Clarence Guo
Cc:                               Lewis, Samuel; Sullivan, John; Kapp, Kara L.
Subject:                          Cryptsy matter



Clarence, you said in response to our email of November 22nd that you were having problems getting
instructions from your client. As such, we have no choice but to conclude that Ren is refusing to honor the
settlement that we reached.

As you may know, Ren received copies of the Cryptsy judgments and permanent injunction on March 30,
2022. Yet, since that time, at least 685 stolen bitcoin have been deposited with Ren. Since Ren had notice of
the permanent injunction, and nonetheless accepted the transfer of the stolen bitcoin, it is our client’s
intention to have the Court hold Ren in contempt for willfully violating the permanent injunction.

Pursuant to the Court’s Rules, parties must confer with the parties to be affected by the relief sought prior to
filing a motion. Therefore, we respectfully request that you let us know when you have time to discuss the
contempt motion that we intend to bring against Ren. We look forward to hearing from you. Barry

                      Barry Boss | Cozen O’Connor
                      1200 19th Street, NW | Suite 300 | Washington, DC 20036
                      P: 202-912-4818 F: 866-413-0172 C: 202-669-7283
                      Email | Bio | LinkedIn | Map | cozen.com




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